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      SEPTEMBER
       INVOICES
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                            CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                          November 02, 2012

                                                                     Billed through 09/30/2012
Tammy Hamzephour                                                     Invoice # 51625      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 932 00050
190-FTW-L95
Fort Washington, PA 19034

Re: General Restructuring


PROFESSIONAL SERVICES

09/04/2012   DAB        Communicate with Ms. Zellman (ResCap)                        L120        0.10 hrs
                        regarding information update for Citi.

09/07/2012   DAB        Communicate with Ms. Zellman (Residential                    L120        0.10 hrs
                        Capital) regarding status of FHFA matter.

09/07/2012   DAB        Conference with Ms. Battle regarding CLL                     L120        0.20 hrs
                        projects in progress and additional assistance
                        requested by Morrison & Foerster.
09/11/2012   RBS        Obtain and prepare updates of requested                      L310        2.90 hrs
                        bankruptcy filings. (2.70) Send e-mail report of
                        same. (.20)
09/12/2012   RBS        Obtain and prepare updates of various bankruptcy             L310        2.20 hrs
                        pleadings. (2.10) Distribute e-mail report of same.
                        (.10)
09/12/2012   KMC        Review motion for judgment on the pleadings per              L110        0.30 hrs
                        request of Ms. Martin (Harrison & Foerster).

09/12/2012   KMC        E-mail correspondence Ms. Martin (Morrison &                 L110        0.20 hrs
                        Foerster) regarding motion for judgment on the
                        pleadings.
09/12/2012   DAB        Communicate with Mr. Samson regarding docket                 L120        0.10 hrs
                        tracking needed.

09/12/2012   DAB        Review recent bankruptcy court filings for                   L120        0.10 hrs
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                                                         Invoice # 51625       Page 2
                    relevance to matters within Carpenter Lipps &
                    Leland's special counsel engagement.
09/13/2012   RBS    Obtain and prepare updates of requested             L310     0.50 hrs
                    bankruptcy filings. (.40) Send e-mail report of
                    same. (1.10)
09/13/2012   RBS    Revise and update list of contact information for   L310     2.50 hrs
                    Major Professionals for Mr. Beck.

09/14/2012   RBS    Obtain and prepare updates of requested             L310     0.50 hrs
                    bankruptcy filings. (.30) Send e-mail report of
                    same. (.20)
09/17/2012   RBS    Obtain and prepare updates of requested             L310     0.30 hrs
                    bankruptcy filings. (.20) Send e-mail report of
                    same. (.10)
09/17/2012   DAB    Communicate with Mr. Lipps regarding recent         L120     0.30 hrs
                    filings of interest in the Bankruptcy Court.

09/19/2012   RBS    Obtain and prepare updates of requested             L310     0.50 hrs
                    bankruptcy filings. (.40) Send e-mail report of
                    same. (.10)
09/20/2012   RBS    Obtain and prepare updates of requested             L310     0.40 hrs
                    bankruptcy documents. (.30) Send e-mail report of
                    same. (.10)
09/20/2012   DAB    Communicate with Ms. Zellman (ResCap) and Ms.       L120     0.10 hrs
                    Battle regarding status of FHFA litigation.

09/21/2012   RBS    Obtain and prepare updates of requested             L310     0.30 hrs
                    bankruptcy documents. (.20) Send e-mail of same.
                    (.10)
09/24/2012   RBS    Revisions to table of Major Professionals contact   L310     0.60 hrs
                    information for Mr. Beck.

09/24/2012   RBS    Obtain and prepare updates of requested             L310     0.40 hrs
                    bankruptcy documents. (.30) Send e-mail report of
                    same. (.10)
09/25/2012   RBS    Obtain and prepare updates of requested             L310     0.50 hrs
                    bankruptcy documents.

09/25/2012   DAB    Communicate with Mr. Lipps and Ms. Battle           L120     0.20 hrs
                    regarding recent court filings and impact on
                    pending Carpenter Lipps & Leland projects.
09/25/2012   DAB    Analyze plan status report for impact on pending    L120     0.10 hrs
                    Carpenter Lipps & Leland projects.

09/26/2012   RBS    Obtain and prepare updates of requested             L310     0.40 hrs
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                      bankruptcy documents. (.30) Send e-mail report of
                      same. (.10)
09/26/2012   DAB      Communicate with Mr. Lipps and Ms. Battle               L120        0.10 hrs
                      regarding UCC filing on discovery issues on
                      RMBS motion.
09/27/2012   RBS      Obtain and prepare updates of requested                 L310        0.40 hrs
                      bankruptcy filings.

09/28/2012   RBS      Obtain and prepare updates of requested                 L310        0.50 hrs
                      bankruptcy filings. (.40) Send e-mail report of
                      same. (.10)


                      TOTAL FEES FOR THIS MATTER                                          $1,379.50


BILLING SUMMARY


         Beck, David A.                              1.40 hrs    230.00 /hr     $322.00


         Cadieux, Karen M.                           0.50 hrs    180.00 /hr      $90.00


         Samson, Robert B.                          12.90 hrs     75.00 /hr     $967.50



     TOTAL FEES                                     14.80 hrs                 $1,379.50

     TOTAL CHARGES FOR THIS INVOICE                                           $1,379.50
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                         CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                          November 02, 2012

                                                                  Billed through 09/30/2012
Tammy Hamzephour                                                  Invoice # 51635      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 932 00054
190-FTW-L95
Fort Washington, PA 19034

Re: SEC Post-Petition
Matter No.: 721750

PROFESSIONAL SERVICES

09/01/2012   JALB       Review current "punch list".                              L120        0.10 hrs


09/01/2012   GNM        E-mail communication with Ms. Hodge (contract             L120        0.10 hrs
                        reviewer) regarding SEC data.

09/01/2012   GNM        E-mail communication with Ms. Syrja (contract             L120        0.10 hrs
                        reviewer) regarding SEC data.

09/01/2012   GNM        Working in Discovery Partner researching the              L320        0.10 hrs
                        answer to Mr. Hoelzel's (Contract Reviewer)
                        question regarding privilege designations.
09/01/2012   GNM        Drafting and sending e-mail communications to             L120        0.20 hrs
                        Mr. Hoelzel (Contract Reviewer) regarding
                        privilege designations.
09/04/2012   VLS        Monitor review status of document review team.            L320        1.20 hrs
                        (.40) Assignment of review and quality control
                        batches. (.50) Update progress chart. (.30)
09/04/2012   VLS        E-mail exchange with contract document reviewers          L320        0.40 hrs
                        Mr. Mizelle and Mr. Sturkey regarding issues with
                        assignment batches.
09/04/2012   GNM        Working in Discovery Partner database researching         L320        0.40 hrs
                        answer to Ms. Higgins (contract reviewer)
                        questions regarding SEC data.
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09/05/2012   JDR    Conference with Ms. Marty regarding quality          L320     0.30 hrs
                    control second level review procedures and
                    training.
09/05/2012   GNM    Meeting with Mr. Rhode regarding quality control     L120     0.80 hrs
                    protocol for SEC review. (.30) Answer questions
                    from contract reviewers regarding review. (.50)
09/05/2012   AJM    Quality control review of documents produced in      L320     6.80 hrs
                    response to February 23, 2012 SEC subpoena:
                    batch Olson PP 003, initial review by Mr. Peck.
09/06/2012   JALB   Telephone conference with client and Morrison &      L120     0.30 hrs
                    Foerster regarding status update on subpoena
                    response.
09/06/2012   DJB    Quality check contract document reviewers'           L120     5.10 hrs
                    privilege coding of Flees e-mails responsive to
                    SEC document requests.
09/06/2012   DAB    Research regarding new SEC initiative on RMBS        L120     0.90 hrs
                    transactions.

09/06/2012   JDR    DTI and quality control training with Jonathan       L320     1.90 hrs
                    Shipler (DTI) and Ms. Marty.

09/06/2012   JDR    Quality control review of documents as outlined in   L320     2.50 hrs
                    quality control protocol and produced in response
                    to 6/13/2012 SEC subpoena, batch vanzyl 001,
                    initial review by Nida Salahuddin.
09/06/2012   GNM    Working in Discovery Partner performing second       L320     3.00 hrs
                    level review of Jim Young data as outlined in the
                    Quality Control Protocol.
09/06/2012   GNM    Meeting with Mr. Rhode regarding quality control     L120     0.20 hrs
                    protocol for SEC review.

09/06/2012   GNM    Drafting and sending e-mail communication to Ms.     L120     0.20 hrs
                    Syrja (Contract Reviewer) regarding list of
                    investors for the SEC.
09/06/2012   GNM    Drafting and sending e-mail communications to        L120     0.70 hrs
                    Ms. Walker (Contract Reviewer) regarding
                    privilege and confidentiality designations.
09/06/2012   AJM    Quality control review of documents produced in      L320     6.80 hrs
                    response to February 23, 2012 SEC subpoena
                    batch Olson PP 003, initial review by Mr. Peck.
09/06/2012   CC     Work in Discovery Partner database performing        L320     0.10 hrs
                    second level review of documents for production
                    pursuant to SEC subpoena for Jones Possibly
                    Privileged Batch 1 checking accuracy of redactions
                    for documents marked as partially privileged.
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09/07/2012   AMP    Review e-mails regarding deadline for completion       L320     0.20 hrs
                    of SEC quality control review.

09/07/2012   AMP    Attention to SEC quality control review of Young       L320     1.30 hrs
                    documents.

09/07/2012   VLS    Monitor review status of document review team.         L320     1.20 hrs
                    (.30) Assignment of review and quality control
                    batches. (.80) Update progress chart. (.10)
09/07/2012   KMC    Conference with Mr. Molnar regarding redaction         L110     0.20 hrs
                    issues on certain documents that were part of
                    quality control review.
09/07/2012   JALB   Prepare message to Quality Control reviewers           L120     0.40 hrs
                    regarding pace of production.

09/07/2012   JALB   Telephone conference with Mr. Fons (Morrison &         L120     0.50 hrs
                    Foerster) and Mr. Underhill (Residential Capital)
                    regarding timing and logistics for shared drive
                    analysis and review and vendor transition logistics.
09/07/2012   DJB    Quality check contract document reviewers'             L120     5.70 hrs
                    privilege coding of Flees e-mails responsive to
                    SEC document requests.
09/07/2012   JRC    Communicate with Ms. Marty regarding quality           L320     0.10 hrs
                    control review for documents in response to
                    subpoena from the SEC.
09/07/2012   JDR    Quality control review of documents as outlined in     L320     3.60 hrs
                    quality control protocol and produced in response
                    to 6/13/2012 SEC subpoena, batch vanzyl 001,
                    initial review by Ms. Salahuddin (contract
                    reviewer).
09/07/2012   JDR    Draft quality control feedback form and                L320     0.80 hrs
                    reassignment memorandum to Ms. Salahuddin
                    (contract reviewer) detailing issue annotation and
                    privilege mistakes with recommendations for
                    successful completion of first level review.
09/07/2012   SP     Perform quality control analysis of first-level        L320     0.50 hrs
                    review of potentially privileged documents
                    requested by the SEC.
09/07/2012   GNM    Working in Discovery Partner answering reviewer        L320     1.60 hrs
                    questions regarding privilege and confidentiality
                    designations.
09/07/2012   GNM    Exchanging e-mail communications with Ms.              L120     0.40 hrs
                    Battle regarding the status of the SEC review.

09/07/2012   GNM    Drafting and sending e-mail communication to Mr.       L120     0.70 hrs
                    Shipler (DTI) regarding SEC data for 3rd level
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                    review.
09/07/2012   AJM    Quality control review of documents produced in           L320     4.00 hrs
                    response to February 23, 2012 SEC subpoena:
                    batch Olson PP 003, initial review by Mr. Peck.
09/07/2012   AJM    Telephone conference with Ms. Marty to discuss            L120     0.10 hrs
                    progress of quality control reviews for February
                    23, 2012 SEC subpoena.
09/07/2012   AJM    Draft e-mail to Ms. Cadieux and Ms. Check                 L120     0.40 hrs
                    discussing inconsistent privilege determination on
                    certain items responsive to February 23, 2012 SEC
                    subpoena.
09/07/2012   AJM    Conference with Ms. Cadieux to discuss privilege          L120     0.10 hrs
                    status of item 1361755 as part of February 23,
                    2012 SEC subpoena quality control review.
09/07/2012   AJM    Review items 1312184, 1280389, and 1280387 and            L320     0.30 hrs
                    draft e-mail to Ms. Check regarding inconsistent
                    privilege determinations regarding February 23,
                    2012 SEC subpoena quality control review.
09/07/2012   CC     Work in Discovery Partner database performing             L320     2.30 hrs
                    second level review of documents for production
                    pursuant to SEC subpoena for Jones Possibly
                    Privileged Batch 1 checking accuracy of redactions
                    for documents marked as partially privileged.
09/08/2012   JDR    Quality control review of documents as outlined in        L320     5.30 hrs
                    quality control protocol and produced in response
                    to 6/13/2012 SEC subpoena, batch vanzyl 002,
                    initial review by Mr. Massey.
09/08/2012   SP     Perform quality control analysis of first-level           L120     6.20 hrs
                    review of potentially privileged documents
                    requested by the SEC relating to Mr. Olson.
09/08/2012   SP     Communicate with Ms. Marty regarding issues in            L120     0.40 hrs
                    first-level review and avenues for remediation.

09/08/2012   SP     Communicate with first-level reviewer regarding           L120     0.20 hrs
                    areas for improvement in analysis of privilege
                    issues.
09/08/2012   AJM    Quality control review of documents produced in           L320     3.00 hrs
                    response to February 23, 2012 SEC subpoena:
                    batch Olson PP 003, initial review by Mr. Peck.
09/09/2012   DJB    Quality check contract document reviewers'                L120     3.60 hrs
                    privilege coding of Olson e-mails responsive to
                    SEC document requests.
09/09/2012   JRC    Review for quality control documents for the       A104   L120     4.40 hrs
                    custodian Jim Jones (Residential Capital) coded by
                    first-level reviewers in response to the SEC's
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                    subpoena.
09/09/2012   SP     Perform quality control analysis of first-level      L120     6.60 hrs
                    review of potentially privileged documents
                    requested by the SEC relating to Mr. Olson.
09/09/2012   SP     Communicate with Ms. Marty regarding issues in       L120     0.30 hrs
                    first-level review and avenues for remediation.

09/09/2012   SP     Communicate with first-level reviewer regarding      L120     0.40 hrs
                    areas for improvement in analysis of privilege
                    issues.
09/09/2012   AJM    Quality control review of documents produced in      L320     1.60 hrs
                    response to February 23, 2012 SEC subpoena:
                    batch Olson PP 003, initial review by Mr. Peck.
09/09/2012   CC     Work in Discovery Partner database performing        L320     1.80 hrs
                    second level review of documents for production
                    pursuant to SEC subpoena for Jones Possibly
                    Privileged Batch 1 checking accuracy of redactions
                    for documents marked as partially privileged.
09/10/2012   AMP    Attention to conducting quality control review for   L320     3.40 hrs
                    privilege, responsiveness, and confidentiality
                    purposes on latest Young batches.
09/10/2012   AMP    Multiple e-mails with review team regarding          L120     0.40 hrs
                    quality control review issues.

09/10/2012   AMP    Conferences with Ms. Marty (.40) and Mr. Barthel     L120     0.60 hrs
                    (.20) regarding quality control review issues.

09/10/2012   JAL    Prepare for conference call regarding litigation     L120     0.30 hrs
                    database summary.

09/10/2012   JAL    Participate on call with Ms. Battle and Mr. Fons     L120     0.80 hrs
                    (Morrison & Foerster) regarding litigation data
                    base summary.
09/10/2012   JAL    Conference with Ms. Battle regarding preparing for   L120     0.20 hrs
                    call regarding litigation data base summary.

09/10/2012   VLS    Research MBIA vs. RFC document database for          L320     1.20 hrs
                    Homecoming Underwriting Guides.

09/10/2012   VLS    Conference with Mr. Gerdts at Kroll regarding        L320     0.40 hrs
                    Homecoming materials in database.

09/10/2012   VLS    Monitor review status of document review team.       L320     1.40 hrs
                    (.70) Assignment of review and quality control
                    batches. (.40) Update progress chart. (.30)
09/10/2012   JALB   Telephone conference with Mr. Fons (Morrison &       L120     1.30 hrs
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                    Foerster), Mr. Hoffman (Morrison & Foerster) and
                    Mr. Lipps regarding draft summary and detail
                    regarding litigation databases. (.80) Follow-up
                    regarding same. (.50)
09/10/2012   DJB    Quality check contract document reviewers'           L120     5.10 hrs
                    privilege coding of Olson e-mails responsive to
                    SEC document requests. (4.90) Conference with
                    Ms. Paul-Whitfield regarding qulaity control
                    review issues. (.20)
09/10/2012   JRC    Communicate with Mr. Phillips regarding quality      L120     0.10 hrs
                    control review of documents produced to the SEC.

09/10/2012   JRC    Review and analyze pleadings from previous SEC       L120     2.40 hrs
                    proceedings in order to draft memorandum
                    analyzing investigation by the SEC.
09/10/2012   JRC    Review and analyze documents in litigation           L120     2.90 hrs
                    databases in order to draft memorandum analyzing
                    investigation by the SEC.
09/10/2012   JRC    Draft memorandum analyzing investigation by the      L320     0.90 hrs
                    SEC based on previous enforcement actions.

09/10/2012   JDR    Quality control review of possibly privileged        L320     3.80 hrs
                    documents as outlined in quality control protocol
                    and produced in response to 6/13/2012 SEC
                    subpoena: batch VanZyl 002, initial review by Mr.
                    Massey.
09/10/2012   JDR    Quality control review of possibly privileged        L320     1.70 hrs
                    documents as outlined in quality control protocol
                    and produced in response to 6/13/2012 SEC
                    subpoena: batch VanZyl 002, initial review by Mr.
                    Massey.
09/10/2012   SP     Perform quality control analysis of first-level      L120     3.20 hrs
                    review of potentially privileged documents
                    requested by the SEC relating to Mr. Olson.
09/10/2012   GNM    Working in Discovery Partner database performing     L320     5.90 hrs
                    second level review of Bartsch data as outlined in
                    the quality control protocol.
09/10/2012   GNM    Working in Discovery Partner database answering      L320     3.70 hrs
                    reviewer questions regarding privilege
                    designations and issue coding about SEC data.
                    (3.50) Comminicate with Ms. Paul-Whitfield
                    about quality control review isues. (.20)
09/10/2012   AJM    Quality control review of documents produced in      L320     1.40 hrs
                    response to February 23, 2012 SEC subpoena:
                    batch Olson PP 003, initial review by Mr. Peck.
09/10/2012   AJM    Quality control review of documents produced in      L320     5.60 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
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                                                        Invoice # 51635         Page 7
                    response to February 23, 2012 SEC subpoena:
                    batch Flees PP 001, initial review by Mr. Mizelle.
09/10/2012   CC     Work in Discovery Partner database reviewing         L320     0.50 hrs
                    discrepancies between document redactions noted
                    by another reviewer.
09/10/2012   CC     Complete quality control feedback form for Jones     L320     0.10 hrs
                    Possible Privilege Batch 1 and e-mail form to
                    reviewing attorney.
09/10/2012   CC     Work in Discovery Partner database performing        L320     0.10 hrs
                    second level quality control review for
                    completeness and responsiveness for Young
                    Possibly Privileged Batch 1.
09/10/2012   CC     Work in Discovery Partner database performing        L320     0.70 hrs
                    second level quality control review of documents
                    that were not previously reviewed for privilege in
                    Young Possibly Privileged Batch 1.
09/10/2012   CC     Work in Discovery Partner database performing        L320     1.30 hrs
                    second level quality control review of documents
                    that were marked as entirely privileged for
                    accuracy of privilege designation in Young
                    Possibly Privileged Batch 1.
09/10/2012   CC     Work in Discovery Partner database performing        L320     1.60 hrs
                    second level review of documents for production
                    pursuant to SEC subpoena for Jones Possibly
                    Privileged Batch 1 checking random sample of
                    documents marked not privileged to ensure correct
                    privilege and significance designations.
09/11/2012   AMP    Review notes from quality control review of          L120     0.70 hrs
                    Young Responsive Batch No. 11.

09/11/2012   AMP    E-mail exchanges with Ms. Marty regarding            L120     0.20 hrs
                    feedback memorandum.

09/11/2012   AMP    E-mail exchanges with Ms. Marty regarding            L120     0.10 hrs
                    feedback memorandum.

09/11/2012   AMP    Attention to reviewing and updating log of           L120     1.10 hrs
                    unviewable documents based upon latest quality
                    control batch assignments.
09/11/2012   AMP    Attention to drafting, revising and finalizing       L250     0.90 hrs
                    feedback memorandum regarding quality control
                    review of Young Responsive Batch No. 11.
09/11/2012   AMP    Review notes from quality control review of          L120     1.10 hrs
                    Young Possible Privilege Batch No. 5.

09/11/2012   AMP    Attention to drafting, revising and finalizing       L250     1.00 hrs
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                    feedback memorandum regarding quality control
                    review of Young Possible Privilege Batch No. 5.
09/11/2012   DJB    Quality check contract document reviewers'             L120     7.20 hrs
                    privilege coding of Oslon e-mails responsive to
                    SEC document requests.
09/11/2012   JRC    Review proposed redactions for documents subject       L120     0.10 hrs
                    to clawback sent by Ms. Serfoss (Morrison &
                    Foerster).
09/11/2012   JRC    Conference with Ms. Battle regarding                   L120     0.20 hrs
                    memorandum analyzing parallel SEC proceedings.

09/11/2012   JRC    Draft memorandum analyzing investigation by the        L320     2.10 hrs
                    SEC based on previous enforcement actions.

09/11/2012   JRC    Review and analyze documents in litigation             L120     2.20 hrs
                    databases in order to draft memorandum analyzing
                    investigation by the SEC.
09/11/2012   JRC    Draft chart summarizing previous relevant              L120     1.10 hrs
                    enforcement actions by the SEC.

09/11/2012   JDR    Quality control review of possibly privileged          L320     3.00 hrs
                    documents as outlined in quality control protocol
                    and produced in response to 6/13/2012 SEC
                    subpoena: batch vanzyl 002, initial review by Brad
                    Massey.
09/11/2012   JDR    Quality control review of possibly privileged          L320     2.20 hrs
                    documents as outlined in quality control protocol
                    and produced in response to 6/13/2012 SEC
                    subpoena: batch VanZyl 002, initial review by
                    Brad Massey.
09/11/2012   GNM    Working in Discovery Partner performing second         L320     3.10 hrs
                    level review of Bartsch data, as outlined in quality
                    control protocol.
09/11/2012   GNM    Meeting with Mr. Rhode regarding privilege and         L120     0.60 hrs
                    confidentiality designations of Bartsch data.

09/11/2012   GNM    Drafting and sending e-mail communications to          L120     0.30 hrs
                    Ms. Serfoss (Morrison & Foerster) regarding status
                    of SEC review.
09/11/2012   AJM    Quality control review of documents produced in        L320     8.30 hrs
                    response to February 23, 2012 SEC subpoena:
                    batch Flees PP 001, initial review by Mr. Mizelle.
09/11/2012   CC     Work in Discovery Partner database performing          L320     1.80 hrs
                    second level quality control review of documents
                    that were marked as entirely privileged for
                    accuracy of privilege designation in Young
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                    Possibly Privileged Batch 1.
09/12/2012   VLS    E-mail exchange with Mr. Gerdts at Kroll, Ms.          L320     0.60 hrs
                    Marty and Ms. Battle regarding Homecoming
                    Underwriting Guides.
09/12/2012   VLS    Monitor review status of document review team.         L320     0.80 hrs
                    (.40) Assignment of review and quality control
                    batches. (.20) Update progress chart. (.20)
09/12/2012   DJB    Quality check contract document reviewers'             L120     4.70 hrs
                    privilege coding of Young e-mails responsive to
                    SEC document requests.
09/12/2012   DJB    Communications with Mr. Brad Massey and Ms.            L120     0.60 hrs
                    Mirelle Syrja (contract document reviewers)
                    regarding feedback relating to coding of SEC
                    documents for responsiveness and privilege.
09/12/2012   JRC    Draft memorandum analyzing investigation by the        L320     0.90 hrs
                    SEC based on previous enforcement actions.

09/12/2012   JRC    Draft chart summarizing previous relevant              L320     1.40 hrs
                    enforcement actions by the SEC.

09/12/2012   AJM    Quality control review of documents produced in        L320     0.80 hrs
                    response to February 23, 2012 SEC subpoena:
                    batch Flees PP 001, initial review by Mr. Mizelle.
09/13/2012   JALB   Correspondence with Mr. Underhill (Residential         L120     0.10 hrs
                    Capital) regarding plan for processing of data.

09/13/2012   JALB   Telephone conference with Mr. Corcoran                 L120     0.30 hrs
                    regarding analysis of likely claims by SEC.

09/13/2012   DJB    Research and draft e-mail regarding data               L120     0.80 hrs
                    processing complexities for e-discovery
                    processing, review, and productions.
09/13/2012   DJB    Quality check contract document reviewers'             L120     5.10 hrs
                    privilege coding of Young e-mails responsive to
                    SEC document requests.
09/13/2012   JRC    Draft memorandum analyzing investigation by the        L320     5.20 hrs
                    SEC based on previous enforcement actions.

09/13/2012   JRC    Review and analyze offering materials in order to      L120     2.70 hrs
                    draft memorandum analyzing investigation by the
                    SEC.
09/13/2012   GNM    Drafting and sending e-mail communications to          L120     0.60 hrs
                    Mr. Breyer (NightOwl) regarding diligence data to
                    be loaded into Relativity database.
09/13/2012   GNM    Editing list of production errors to incorporate Ms.   L320     0.30 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
  932 00054                 Monthly Invoices Pg 17 of 1163
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                    Battle's edits to send to NightOwl.

09/13/2012   CC     Work in Discovery Partner database performing         L320     7.60 hrs
                    second level quality control review of documents
                    that were marked as entirely privileged for
                    accuracy of privilege designation in Young
                    Possibly Privileged Batch 1.
09/14/2012   JALB   Discussion with Mr. Fons (Morrison & Foerster)        L120     0.50 hrs
                    regarding availability of seller files.

09/14/2012   JALB   Review and comment on draft memorandum                L120     1.00 hrs
                    regarding similar investigations.

09/14/2012   JALB   Discussion with Mr. Corcoran to discuss draft         L120     0.10 hrs
                    memorandum regarding similar investigations.

09/14/2012   DJB    Quality check contract document reviewers'            L120     2.30 hrs
                    privilege coding of Young e-mails responsive to
                    SEC document requests.
09/14/2012   JRC    E-mail exchange with Ms. Battle regarding             L120     0.10 hrs
                    memorandum analyzing parallel SEC proceedings.

09/14/2012   GNM    Telephone communication with Mr. Underhill            L120     0.60 hrs
                    (Residential Capital) regarding diligence custodian
                    data to be loaded into Relativity database.
09/14/2012   GNM    Telephone communication with Mr. Shipler (DTI)        L120     0.10 hrs
                    regarding data in SEC database.

09/14/2012   GNM    Working in Discovery Partner database answering       L320     1.20 hrs
                    reviewer questions regarding privilege and
                    confidentiality designations of VanZyl data.
09/14/2012   CC     Work in Discovery Partner database performing         L320     1.40 hrs
                    second level quality control review of documents
                    that were marked as entirely privileged for
                    accuracy of privilege designation in Young
                    Possibly Privileged Batch 1.
09/14/2012   CC     Complete quality control feedback form for Young      L320     0.10 hrs
                    Possible Privilege Batch 1 with errors found to
                    date.
09/16/2012   JRC    Revise memorandum analyzing investigation by          L120     3.90 hrs
                    the SEC based on suggestions of Ms. Battle.

09/16/2012   JRC    Review and analyze documents in litigation            L120     2.30 hrs
                    databases in order to revise memorandum
                    analyzing investigation by the SEC.
09/16/2012   JRC    Review and analyze offering materials in order to     L120     0.80 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
  932 00054                 Monthly Invoices Pg 18 of 1163
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                    revise memorandum analyzing investigation by the
                    SEC.
09/16/2012   JRC    Review and analyze materials on Vision website in    L120     0.50 hrs
                    order to revise memorandum analyzing
                    investigation by the SEC.
09/17/2012   JALB   Review and analyze Ally 10Ks.                        L120     0.20 hrs


09/17/2012   JALB   Correspondence with Mr. Corcoran regarding Ally      L120     0.20 hrs
                    10Ks.

09/17/2012   JRC    E-mail exchange with Ms. Battle regarding            L320     0.20 hrs
                    memorandum analyzing parallel SEC proceedings.

09/17/2012   GNM    E-mail communications with Ms. Battle regarding      L120     0.20 hrs
                    SEC production specifications.

09/17/2012   GNM    E-mail communications with Mr. Breyer                L120     0.20 hrs
                    (NightOwl) regarding SEC production
                    specifications.
09/17/2012   GNM    Telephone communications with Ms. Serfoss            L120     0.60 hrs
                    (Morrison & Foerster) regarding status of SEC
                    review.
09/17/2012   GNM    E-mail communications with Mr. Breyer                L120     0.20 hrs
                    (NightOwl) regarding SEC production
                    specifications.
09/17/2012   CC     Work in Discovery Partner database performing        L320     4.70 hrs
                    second level quality control review of documents
                    that were marked as not privileged to ensure no
                    privileged material is produced in Young Possibly
                    Privileged Batch 1.
09/17/2012   CC     Complete quality control feedback form for Young     L320     0.80 hrs
                    Possible Privilege Batch 1 and e-mail same to
                    reviewing attorney.
09/18/2012   VLS    Review and analysis of Seller files needed for       L320     1.00 hrs
                    production to SEC.

09/18/2012   JALB   Telephone conference with Mr. Fons, Mr.              L120     0.50 hrs
                    Hoffman, Ms. Serfoss (all Morrison & Foerster)
                    and Mr. Underhill (ResCap) regarding document
                    collection strategy.
09/18/2012   JDR    Quality control review of documents as outlined in   L320     1.00 hrs
                    quality control protocol and produced in response
                    to 6/13/2012 SEC subpoena: batch vanzyl 002,
                    initial review by Mr. Massey.
09/18/2012   GNM    E-mail communications with Ms. Serfoss               L120     0.20 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27        Exhibit E
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                    (Morrison & Foerster) regarding quality control
                    process.
09/18/2012   GNM    Working in Discovery Partner database answering         L320     1.80 hrs
                    reviewer question regarding privilege,
                    confidentiality and issue coding concerns.
09/19/2012   MMM    Complete review of all documents for DIP lien.          L120     2.90 hrs


09/19/2012   GNM    Communicate with Mr. Rhode regarding second             L120     0.80 hrs
                    level review of Bartsch data.

09/19/2012   GNM    Drafting and sending e-mail communication to Ms.        L120     0.40 hrs
                    Battle regarding production timeline for SEC
                    Investor Relations data.
09/19/2012   AJM    Quality control review of documents produced in         L320     0.30 hrs
                    response to February 23, 2012 subpoena: batch
                    Flees PP 001, initial review by Mr. Mizelle.
09/20/2012   AMP    Review and respond to e-mails from reviewers            L120     0.40 hrs
                    regarding privilege issues.

09/20/2012   AMP    Attention to quality control of latest assigned batch   L120     0.80 hrs
                    for privilege and confidentiality purposes.

09/20/2012   VLS    Monitor review status of document review team.          L320     0.60 hrs
                    (.20) Assignment of review batches. (.30) Update
                    progress chart. (.10)
09/20/2012   DJB    Quality check contract document reviewers'              L120     7.90 hrs
                    privilege coding of Young documents responsive
                    to SEC document requests.
09/20/2012   JRC    Revise memorandum analyzing investigation by            L320     1.80 hrs
                    the SEC based on suggestions of Ms. Battle.

09/20/2012   GNM    E-mail communications with Ms. Battle regarding         L120     0.20 hrs
                    data restored for SEC review.

09/20/2012   GNM    Drafting and sending e-mail to Ms. Serfoss              L120     0.30 hrs
                    (Morrison & Foerster) regarding data restoration
                    for SEC data.
09/20/2012   GNM    Telephone communications with Ms. Klun (Lumen           L120     0.30 hrs
                    Legal) regarding new reviewers for SEC review.

09/20/2012   AJM    Quality control review of documents produced in         L320     1.70 hrs
                    response to February 23, 2012 SEC subpoena:
                    batch Flees PP 001, initial review by Mr. Mizelle
                    (contract reviewer).
09/21/2012   AMP    Review documents identified as potential common         L120     0.40 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
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                    interest items.

09/21/2012   AMP    Review and respond to e-mails from reviewers          L120     0.20 hrs
                    regarding privilege issues.

09/21/2012   AMP    Prepare for and participate in Relativity Analytics   L120     1.00 hrs
                    discussion with vendor to assist in SEC review and
                    productions and subsequent witness preparation.
09/21/2012   AMP    Multiple e-mail exchanges with Ms. Battle, Mr.        L120     0.50 hrs
                    Corcoran and Ms. Marty regarding vendor issues
                    to assist with SEC review.
09/21/2012   AMP    Attention to privilege issues regarding               L120     0.20 hrs
                    communications with Cahill and Skadden.

09/21/2012   JAL    Review analysis of parallell prosecutions.            L120     0.70 hrs


09/21/2012   JAL    Conference with Ms. Battle regarding analysis of      L120     0.20 hrs
                    similar prosecutions.

09/21/2012   JAL    Review e-mails regarding similar prosecutions.        L120     0.10 hrs


09/21/2012   VLS    Monitor review status of document review team.        L320     1.50 hrs
                    (.60) Assignment of review batches. (.60) Update
                    progress chart. (.30)
09/21/2012   JALB   Review memorandum from Mr. Corcoran                   L120     0.30 hrs
                    regarding potential and similar claims by SEC.

09/21/2012   JALB   Correspondence with Mr. Lipps regarding potential     L120     0.10 hrs
                    and similar claims by SEC.

09/21/2012   JALB   Review draft master organizational chart.             L120     0.30 hrs


09/21/2012   DJB    Quality check contract document reviewers'            L120     5.80 hrs
                    privilege of coding Young e-mails responsive to
                    SEC document requests.
09/21/2012   JRC    Communicate with Ms. Battle regarding                 L120     0.20 hrs
                    memorandum analyzing parallel SEC proceedings.

09/21/2012   JRC    Communicate with Mr. Lipps regarding                  L120     0.10 hrs
                    memorandum analyzing parallel SEC proceedings.
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09/21/2012   JRC    Revise memorandum analyzing investigation by            L320     2.80 hrs
                    the SEC.

09/21/2012   JRC    Review and analyze public filings of Residential        L120     2.10 hrs
                    Capital, LLC in order to revise memorandum
                    analyzing investigation by the SEC.
09/21/2012   GNM    Working in Discovery Partner database researching       L320     0.60 hrs
                    and analyzing documents marked potentially
                    significant.
09/21/2012   GNM    Drafting and sending e-mail communications to           L120     0.50 hrs
                    Ms. Serfoss (Morrison & Foerster) regarding
                    potentially significant documents in the SEC
                    database.
09/21/2012   AJM    Quality control review of documents produced in         L320     1.60 hrs
                    response to February 23, 2012 SEC subpoena:
                    batch Flees PP 001, initial review by Mr. Mizelle.
09/23/2012   JRC    Revise memorandum analyzing parallel SEC                L120     0.60 hrs
                    investigations based on suggestions of Ms. Battle.

09/24/2012   VLS    Obtain and review document reviewer time cards.         L320     0.70 hrs
                    (.60) Approve payment. (.10)

09/24/2012   VLS    Monitor review status of document review team.          L320     0.60 hrs
                    (.30) Assignment of review batches. (.30)

09/24/2012   JALB   Telephonic meeting with Mr. Fons, Mr. Hoffman,          L120     2.40 hrs
                    Ms.Serfoss, Mr. Day (all of Morrison & Foerster)
                    to conduct detailed review of organizational charts
                    and revisions to global organizational structure
                    slides.
09/24/2012   JALB   Review, analyze and comment on draft global             L120     1.70 hrs
                    organizational structure slides.

09/24/2012   JALB   Prepare for and participate in discussion with client   L120     0.30 hrs
                    (Mr. Thompson, Mr. Ruckdaschel, Ms. Delehey,
                    Mr. Underhill, Ms. Zellmann) and Morrison &
                    Foerster (Mr. Fons, Mr. Hoffman, Ms. Serfoss)
                    regarding status of SEC collection and production
                    efforts.
09/24/2012   GNM    Working in Discovery Partner database answering         L320     1.80 hrs
                    reviewer questions regarding privilege and issue
                    designations.
09/24/2012   GNM    Drafting review protocol for loan tape review.          L320     1.30 hrs


09/24/2012   GNM    Updating custodian chart to reflect recently            L320     0.70 hrs
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                    restored data.

09/24/2012   AJM    Quality control review of documents produced in        L320     0.50 hrs
                    response to February 23, 2012 SEC subpoena:
                    batch Flees PP 001, initial review by Mr. Mizelle.
09/24/2012   AJM    Complete and revise quality control feedback for       L320     0.30 hrs
                    for Mr. Mizelle concerning batch Flees PP 001 for
                    February 23, 2012 SEC subpoena review.
09/25/2012   AMP    Attention to participating in Relativity usage         L120     1.00 hrs
                    conference call in preparation for further SEC
                    quality control review.
09/25/2012   AMP    Multiple e-mails with other quality control            L120     0.30 hrs
                    reviewers regarding Relativity database issues.

09/25/2012   VLS    Monitor review status of document review team.         L320     0.40 hrs
                    (.10) Assignment of review batches. (.20) Update
                    progress chart. (.10)
09/25/2012   JALB   Discussion with Mr. Fons and Mr. Clark (both           L120     0.20 hrs
                    Morrison & Foerster) regarding feasibility of
                    collecting seller files.
09/25/2012   JALB   Correspondence with Mr. Underhill (ResCap) and         L120     0.20 hrs
                    Mr. Fons (Morrison & Foerster) regarding
                    coordination of shared drive indexing project.
09/25/2012   DJB    Relativity training for SEC with Night Owl             L120     1.00 hrs
                    (vendor).

09/25/2012   JRC    Conference with Colin Breyer (Night Owl), Scott        L320     1.00 hrs
                    Sterkel (Night Owl), and attorneys from Carpenter
                    Lipps & Leland regarding training for Relativity.
09/25/2012   JDR    Rescap Relativity discovery platform training with     L320     0.90 hrs
                    Mr. Breyer in preparation for SEC document
                    quality control review.
09/25/2012   JDR    Quality control review of documents as outlined in     L320     1.10 hrs
                    quality control protocol and produced in response
                    to 6/13/2012 SEC subpoena: batch Bartsch
                    Responsive Only 002, initial review by Ms.
                    McIntyre.
09/25/2012   GNM    Drafting and sending e-mail to Mr. Shipler (DTI)       L120     0.40 hrs
                    regarding data ready for third level review.

09/25/2012   GNM    Working in Discovery Partner performing second         L320     2.80 hrs
                    level review of Bartsch data, as outlined in quality
                    control protocol.
09/25/2012   AJM    Relativity training session.                           L120     0.90 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
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09/25/2012   CC     Participate in Relativity User Training.             L320     0.90 hrs


09/26/2012   VLS    Communicate with I.T. department regarding           L320     0.20 hrs
                    additions and removal of various document review
                    team members.
09/26/2012   JALB   Correspondence with Mr. Brown, Mr. Hoffman,          L120     0.10 hrs
                    Ms. Tice (all Morrison & Foerster) and Ms. Marty
                    regarding privilege analysis.
09/26/2012   JDR    Quality control review of documents as outlined in   L320     2.50 hrs
                    quality control protocol and produced in response
                    to 6/13/2012 SEC subpoena: batch Bartsch
                    Responsive Only 002, initial review by Ms.
                    McIntyre.
09/26/2012   GNM    Working in the Discovery Partner database            L320     0.60 hrs
                    re-reviewing Item 7 custodian data for privilege
                    concerns.
09/26/2012   GNM    Drafting and sending e-mail communications to        L120     0.40 hrs
                    review team regarding re-review of Item 7
                    custodian data with specific concerns about
                    privilege and directions for complete re-review.
09/26/2012   GNM    Working in Discovery Partner database performing     L320     2.10 hrs
                    second level review of Mr. Vanzyl data as outlined
                    in the quality control protocol.
09/26/2012   AJM    Quality control review of documents produced in      L320     2.70 hrs
                    response to February 23, 2012 SEC subpoena:
                    batch Young responsive only 015, initial review by
                    Mr. Peck.
09/27/2012   JALB   Review and respond to Ms. Marty's questions          L320     0.10 hrs
                    regarding priorities for document production.

09/27/2012   JDR    Quality control review of documents as outlined in   L320     2.80 hrs
                    quality control protocol and produced in response
                    to 6/13/2012 SEC subpoena: batch Bartsch
                    Responsive Only 002, initial review by Ms.
                    McIntyre.
09/27/2012   GNM    Telephone communication with Mr. Blake               L120     0.20 hrs
                    (Contract Reviewer) regarding privilege
                    designations for SEC data.
09/27/2012   GNM    Telephone communication with Ms. Serfoss             L120     0.30 hrs
                    (Morrison & Foerster) regarding loan tape review.

09/27/2012   GNM    Re-drafting review protocol for loan tape review.    L320     0.60 hrs


09/27/2012   AJM    Quality control review of documents produced in      L320     4.30 hrs
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                    response to February 23, 2012 SEC subpoena:
                    batch Young PP 002, initial review by Ms. Syrja.
09/28/2012   VLS    Monitor review status of document review team.       L320     0.70 hrs
                    (.40) Assignment of review batches. (.20) Update
                    progress chart. (.10)
09/28/2012   JALB   Review correspondence from Mr. Hoffman               L120     0.20 hrs
                    (Morrison & Foerster) regarding Quality Control
                    and coding issues.
09/28/2012   JALB   Various correspondence and conversations with        L120     0.40 hrs
                    Ms. Marty regarding addressing Quality Control
                    and coding issues.
09/28/2012   JDR    Finalize quality control review of documents as      L320     0.60 hrs
                    outlined in quality control protocol and produced
                    in response to 6/13/2012 SEC subpoena: batch
                    Bartsch Responsive Only 002, initial review by
                    Ms. McIntyre.
09/28/2012   JDR    Quality control review of documents as outlined in   L320     1.90 hrs
                    quality control protocol and produced in response
                    to 6/13/2012 SEC subpoena: batch Bartsch
                    Responsive Only 003, initial review by Ms.
                    Madigan.
09/28/2012   GNM    Researching, drafting and send e-mail                L320     0.70 hrs
                    communication to Ms. Battle regarding privilege
                    designations concerning Cerberus.
09/28/2012   GNM    Working in Discovery Partner to answer reviewer      L320     1.90 hrs
                    questions regarding privilege and issue tagging.

09/28/2012   GNM    Drafting and sending e-mail communications to        L120     0.40 hrs
                    Ms. Serfoss (Morrison & Foerster) regarding
                    review of loan tape data.
09/28/2012   GNM    E-mail communications with Mr. Hoffman               L120     0.50 hrs
                    (Morrison & Foerster) regarding SEC data in 3rd
                    level review.
09/28/2012   GNM    Drafting and sending e-mail communication to         L120     0.60 hrs
                    SEC review team regarding privilege concerns
                    with SEC data.
09/28/2012   AJM    Quality control review of documents produced in      L320     5.10 hrs
                    response to February 23, 2012 SEC subpoena:
                    batch Young PP 003, initial review by Ms. Syrja.


                    TOTAL FEES FOR THIS MATTER                                   $62,370.50
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EXPENSES

09/01/2012              Litigation Support Vendors - Lumen Legal (services for 6/25/12              $4,512.82
                        to 7/1/12)

09/06/2012              Litigation Support Vendors - Robert Half International (services            $8,059.75
                        for 8/25/12 to 8/31/12)

09/09/2012              Litigation Support Vendors - Lumen Legal (services for 8/27/12              $57,418.5
                        to 9/9/12)                                                                          2

09/23/2012              Litigation Support Vendors - Lumen Legal (services for 9/10/12              $45,125.1
                        to 9/23/12)                                                                         4

                        TOTAL EXPENSES FOR THIS MATTER                                         $115,116.23


BILLING SUMMARY


         Molnar, Anthony J.                          56.60 hrs     210.00 /hr       $11,886.00


         Paul, Angela M.                             15.80 hrs     250.00 /hr        $3,950.00


         Check, Colleen A.                           25.80 hrs     200.00 /hr        $5,160.00


         Beck, David A.                                0.90 hrs    230.00 /hr          $207.00


         Barthel, David J.                           54.90 hrs     210.00 /hr       $11,529.00


         Marty, Gretchen N.                          46.50 hrs     150.00 /hr        $6,975.00


         Lipps, Jeffrey A.                             2.30 hrs    360.00 /hr          $828.00


         Battle, Jennifer A.L.                       11.80 hrs     250.00 /hr        $2,950.00


         Rhode, Jacob D.                             35.90 hrs     160.00 /hr        $5,744.00


         Corcoran, Jeffrey R.                        43.10 hrs     180.00 /hr        $7,758.00


         Cadieux, Karen M.                             0.20 hrs    180.00 /hr              $36.00
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      Mohler, Mallory M.                     2.90 hrs   160.00 /hr        $464.00


      Phillips, Segev                       17.80 hrs   220.00 /hr     $3,916.00


      Sholl, Veronica L.                    12.90 hrs    75.00 /hr        $967.50



   TOTAL FEES                              327.40 hrs                 $62,370.50

   TOTAL EXPENSES                                                    $115,116.23

   TOTAL CHARGES FOR THIS INVOICE                                    $177,486.73
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                              Monthly Invoices Pg 27 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                         November 02, 2012

                                                                   Billed through 09/30/2012
Tammy Hamzephour                                                   Invoice # 51628      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 932 00057
190-FTW-L95
Fort Washington, PA 19034

Re: RMBS Trust Settlement
Matter No.: 721750

PROFESSIONAL SERVICES

09/01/2012   JALB      Correspondence with Mr. Beck regarding                      L120        0.10 hrs
                       examples of representation and warranty
                       settlements.
09/03/2012   JAL       Review research memo addressing breach of                   L120        0.40 hrs
                       contract statute of limitation issues.

09/03/2012   JAL       Conference with Ms. Battle regarding breach of              L120        0.10 hrs
                       contract statute of limitation issues.

09/03/2012   JALB      Begin work on Lipps Declaration supporting 9019             L210        1.90 hrs
                       Motion.

09/03/2012   JALB      Survey status of research on various representative         L210        0.80 hrs
                       and warrant claims in connection with Lipps
                       Declaration.
09/03/2012   DAB       Research sample transaction documents from full             L120        2.30 hrs
                       range of securitization shelves to provide
                       supporting materials for Lipps declaration.
09/04/2012   JAL       Review and redraft memo identifying litigation              L160        0.40 hrs
                       issues on RMBS settlement.

09/04/2012   JAL       Conference with Mr. Beck regarding memo                     L160        0.10 hrs
                       identifying litigation issues on RMBS settlement.

09/04/2012   MNB       Update research regarding causation element (or             L120        3.00 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27         Exhibit E
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                    affirmative defense) in residential mortgage backed
                    securities claims for potential use in declaration of
                    Mr. Lipps in support of RMBS settlement.
09/04/2012   JALB   Review and analyze research on scope of                  L210     0.60 hrs
                    representations and warranties and diligence for
                    incorporation into Lipps Declaration.
09/04/2012   JALB   Prepare draft Lipps Declaration.                         L210     4.40 hrs


09/04/2012   DAB    Investigate Bank of America RMBS settlement              L160     0.30 hrs
                    pleadings to answer questions of Ms. Battle.

09/04/2012   DAB    Communicate with Ms. Battle regarding common             L160     0.10 hrs
                    interest issues in Bank of America settlement.

09/04/2012   DAB    Communicate with Mr. Sillman (Fortace)                   L160     0.30 hrs
                    regarding public record materials concerning other
                    RMBS settlements.
09/04/2012   GNM    Exchanging e-mail communications with Mr.                L120     0.40 hrs
                    Bergelson (Morrison & Foerster) regarding
                    productions already made to the UCC.
09/04/2012   GNM    E-mail communication with Ms. Battle regarding           L120     0.10 hrs
                    previous productions made to UCC.

09/05/2012   JALB   Continued preparation of draft Lipps Declaration.        L210     1.10 hrs


09/05/2012   JALB   Review and analyze research on scope of                  L210     0.40 hrs
                    representations and warranties and materiality for
                    incorporation into Lipps Declaration.
09/05/2012   JALB   Discussions by phone and e-mail with Mr. Clark           L120     0.40 hrs
                    (Morrison & Foerster) regarding privilege review
                    of e-mails and scope of joint defense privilege.
09/06/2012   JALB   Revise draft Lipps declaration.                          L210     1.20 hrs


09/06/2012   JALB   Telephone conference with Mr. Clark (Morrison &          L120     0.50 hrs
                    Foerster) regarding review and production of
                    documents.
09/06/2012   DAB    Revise summary on RMBS litigation issues.                L120     0.70 hrs


09/06/2012   SP     Research case law relating to insurer reliance on        L120     2.10 hrs
                    representations for analysis relating to the effect of
                    due diligence on contractual representation and
                    warranty claims.
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09/06/2012   GNM    Telephone communications with Mr. Gerdts                L120     0.40 hrs
                    (Kroll) regarding reproduction of litigation
                    databases for data room.
09/06/2012   GNM    E-mail communications with Mr. Clark (Morrison          L120     0.30 hrs
                    & Foerster) regarding reproduction of litigation
                    databases for data room.
09/07/2012   JALB   Revise draft Lipps declaration.                         L210     0.80 hrs


09/07/2012   JALB   Communicate with Mr. Beck regarding collection          L120     0.10 hrs
                    of additional information for Lipps declaration.

09/07/2012   DAB    Draft inserts for Lipps declaration in support of       L120     0.40 hrs
                    9019 motion.

09/07/2012   SP     Continued analysis of effect of due diligence on        L120     2.30 hrs
                    contractual representation and warranty claims and
                    send initial analysis to Ms. Battle.
09/08/2012   JALB   Revise draft Lipps declaration.                         L210     0.80 hrs


09/09/2012   MNB    Review prior research materials regarding               L250     1.30 hrs
                    causation element of RMBS claims and begin
                    updating research for potential use in declaration of
                    Mr. Lipps.
09/09/2012   JALB   Revise draft Lipps declaration.                         L210     0.60 hrs


09/09/2012   MMM    Research cases on whether borrower fraud is             L120     0.50 hrs
                    actionable to support Lipps declaration.

09/10/2012   JAL    Review and redraft 9019 issues list.                    L120     0.80 hrs


09/10/2012   JAL    Conference with Mr. Beck regarding finalizing           L120     0.30 hrs
                    9019 issues list.

09/10/2012   JAL    Review e-mails regarding 9019 issues list.              L120     0.20 hrs


09/10/2012   JALB   Review and analyze research on causation for            L210     1.10 hrs
                    incorporation into Lipps Declaration.

09/10/2012   JALB   Review news articles regarding Triaxx objection.        L120     0.10 hrs
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09/10/2012   JALB   Draft talking points regarding Triaxx objection.      L120     0.20 hrs


09/10/2012   JALB   Correspondence with Mr. Clark and Ms. Levitt          L120     0.30 hrs
                    (both Morrison & Foerster) regarding underwriting
                    guidelines questions from UCC and Trustees.
09/10/2012   JALB   Communicate with Mr. Beck and Mr. Lipps               L120     0.10 hrs
                    regarding Triaxx objection to RMBS settlement.

09/10/2012   JALB   Review and respond to correspondence with Mr.         L120     0.30 hrs
                    Mongelluzzo (Residential Capital) regarding
                    clarification of operative date for underwriting
                    analysis.
09/10/2012   JALB   Follow up with Ms. Sholl regarding available          L120     0.40 hrs
                    underwriting guidelines and status of seller file
                    collection.
09/10/2012   JALB   Correspondence with Mr. Clark and Ms. Levitt          L120     0.20 hrs
                    (Morrison & Foerster) regarding production of
                    loan files.
09/10/2012   DAB    Review e-mail from Ms. Battle regarding New           L120     0.20 hrs
                    York Times article on Triaxx analysis relating to
                    RMBS settlement.
09/10/2012   DAB    Analyze Triaxx court filings and likely objections    L120     0.40 hrs
                    to RMBS settlement.

09/10/2012   DAB    Communicate with Mr. Lipps regarding outline for      L120     0.10 hrs
                    Morrison & Foerster regarding key litigation issues
                    on RMBS 9019.
09/10/2012   DAB    Communicate with Mr. Clark (Morrison &                L120     0.10 hrs
                    Foerster) regarding Moelis request for address
                    information on loans.
09/10/2012   DAB    Review and analyze filings on RMBS schedule by        L120     0.40 hrs
                    Debtors and UCC.

09/10/2012   GNM    E-mail communications with Ms. Battle regarding       L120     0.10 hrs
                    reproducing underwriting guidelines for the 9019
                    dataroom.
09/11/2012   JAL    Review various decisions and settlement filings in    L120     1.50 hrs
                    other RMBS litigation to prepare for drafting
                    opinion disclosure.
09/11/2012   JAL    Review various e-mails regarding analysis of Mr.      L120     0.30 hrs
                    Sillman (Fortace) and materials reviewed by Mr.
                    Sillman.
09/11/2012   JAL    Draft opinion disclosure.                             L120     1.00 hrs
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09/11/2012   JAL    Review settlement agreement with KP group.             L160     0.50 hrs


09/11/2012   JAL    Review discovery status filings of various parties     L250     0.30 hrs
                    related to 9019 discovery.

09/11/2012   JALB   Continued revisions to affirmative defenses section    L210     2.40 hrs
                    of Lipps Declaration.

09/12/2012   JAL    Further drafting of disclosure of opinions regarding   L250     3.50 hrs
                    KP settlement.

09/12/2012   VLS    Conferences and e-mail exchange with Mr.               L320     0.30 hrs
                    Bergelson at Morrison and Foerster regarding
                    production of Underwriting Guides.
09/12/2012   JALB   Correspondence with Ms. Levitt (Morrison &             L120     0.30 hrs
                    Foerster) regarding discovery issues, status of
                    seller file production,and loan file analysis.
09/12/2012   JALB   Draft causation section of Lipps declaration. (.90)    L210     1.20 hrs
                    Revise other sections of same. (.30)

09/13/2012   JAL    Further review and revision to disclosure of           L250     1.30 hrs
                    opinions on KP settlement. (.90) Communicate
                    with Ms. Battle and Mr. Beck regarding report.
                    (.40)
09/13/2012   JALB   Incorporate veil-piercing research into analysis of    L120     1.40 hrs
                    Holdco election.

09/13/2012   JALB   Continue work on draft of background, material         L210     3.60 hrs
                    and adverse, and affirmative defenses sections of
                    Lipps Declaration.
09/13/2012   JALB   Discussions with Ms. Zellmann and Ms. Sholl            L120     0.40 hrs
                    regarding matchup of seller IDs (Residential
                    Capital) and research on location of seller files.
09/13/2012   JALB   Prepare update memorandum for Ms. Levitt               L120     0.30 hrs
                    (Morrison & Foerster) on status of locating missing
                    seller files.
09/13/2012   JALB   Follow up correspondence with Ms. Levitt               L120     0.20 hrs
                    (Morrison & Foerster) regarding location of
                    missing seller files.
09/13/2012   JALB   Discussion with Mr. Lipps and Mr. Beck regarding       L120     0.70 hrs
                    report. (.40) Review of applicable contract
                    language. (.30)
09/13/2012   DAB    Analyze contractual provisions related to veil         L120     1.10 hrs
                    piercing claims.
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09/13/2012   DAB    Update memorandum on veil piercing issues           L120     0.80 hrs
                    related to RMBS based on analysis of contractual
                    provisions.
09/13/2012   DAB    Communicate with Mr. Phillips regarding             L120     0.10 hrs
                    arguments against FGIC claims.

09/13/2012   DAB    Conference with Mr. Lipps and Ms. Battle            L120     0.40 hrs
                    regarding expert report and other issues on RMBS
                    settlement.
09/13/2012   DAB    Create chart with information regarding MBIA        L320     0.40 hrs
                    discovery at request of Ms. Levitt (Morrison &
                    Foerster) for use in status conference.
09/14/2012   JAL    Review revisions to RMBS settlement agreement.      L160     1.00 hrs
                    (.40) Review and respond to e-mails regarding
                    same. (.60)
09/14/2012   VLS    E-mail exchanges with Ms. Battle, Ms. Zellman at    L320     0.50 hrs
                    Residential Capital and Mr. Walter at Ally
                    regarding retrieval and review of Seller files.
09/14/2012   VLS    E-mail exchanges with Ms. Battle, Ms. Marty, Mr.    L320     0.80 hrs
                    Bergelson and Mr. Clark at Morrison and Foerster
                    regarding reproduction and delivery of
                    Underwriting Guides.
09/14/2012   VLS    E-mail exchange with Ms. Battle and Ms. Marty       L320     0.40 hrs
                    regarding assembly and production of Servicer
                    Guides.
09/14/2012   VLS    Quality control review of Underwriting Guide        L320     1.20 hrs
                    reproduction received from vendor. Upload to
                    Morrison and Foerster's FTP site.
09/14/2012   VLS    Download Services Guides and deliver to vendor      L320     0.50 hrs
                    for production.

09/14/2012   JALB   Various calls and e-mails with Ms. Levitt and Mr.   L120     1.30 hrs
                    Clark (Morrison & Foerster), Mr. Mongelluzzo
                    (Residential Capital), Ms. Sholl and Ms. Marty
                    regarding collection and production of servicer
                    guides, underwriting guidelines, historical
                    servicing data, loan files, and other materials
                    requested by UCC.
09/14/2012   DAB    Analyze amended RMBS settlement agreement.          L120     0.20 hrs


09/14/2012   GNM    Telephone communications with Mr. Clark             L120     0.20 hrs
                    (Morrison & Foerster) regarding production of
                    servicing guidelines for 9019 dataroom.
09/14/2012   GNM    Meeting with Ms. Sholl regarding underwriting       L120     0.70 hrs
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                    guidelines to be produced for 9019 dataroom.

09/14/2012   GNM    Working in Kroll database gathering servicing        L320     1.10 hrs
                    guidelines to be produced for 9019 dataroom.

09/14/2012   GNM    E-mail communications with Ms. Brandt (Kroll)        L120     0.30 hrs
                    regarding transfer of servicing guidelines to
                    produce for 9019 dataroom.
09/15/2012   JALB   Discussion with Mr. Lipps regarding Lipps            L120     0.20 hrs
                    declaration.

09/15/2012   JALB   Telephone conference with Mr. Rains (Morrison &      L120     0.40 hrs
                    Foerster) regarding progress on Lipps Declaration.

09/15/2012   JALB   Review of second set document requests, 30(b)        L320     0.20 hrs
                    notice, and questions from Ms. Levitt (Morrison &
                    Foerster).
09/15/2012   JALB   Prepare responses to second set document requests,   L320     0.60 hrs
                    30(b) notice, and questions from Ms. Levitt
                    (Morrison & Foerster).
09/17/2012   AMP    Attention to tolling agreement issues.               L120     1.10 hrs


09/17/2012   AMP    Review and respond to e-mails regarding tolling      L120     0.40 hrs
                    agreements.

09/17/2012   JAL    Further work on disclosure of expert opinions        L120     5.30 hrs
                    regarding KP settlement. (4.20) Conference with
                    Ms. Battle regarding same. (.30) Review agenda
                    filing by debtors identifying status of discovery
                    and areas in dispute. (.40) Telephone conference
                    with Ms. Battle regarding D&O indemnification
                    issues. (.20) Review various e-mails regarding
                    same. (.20)
09/17/2012   VLS    E-mail exchange with Ms. Battle and Ms.              L320     0.40 hrs
                    Zellmann of Residential Capital regarding
                    procedure for review and analysis of Seller files.
09/17/2012   VLS    Meeting with Mr. Walter at Ally regarding            L320     1.80 hrs
                    coordination and delivery of Seller files.

09/17/2012   VLS    Telephone conference with Ms. Battle and Ms.         L320     0.60 hrs
                    Zellmann at ResCap regarding procedure for
                    review and analysis of Seller files.
09/17/2012   JALB   Review interrogatory responses to MBIA relating      L310     0.20 hrs
                    to 9019 negotiations.
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09/17/2012   GNM    Telephone communications with Ms. Sholl             L120     0.30 hrs
                    regarding servicer guidelines production for 9019
                    dataroom.
09/17/2012   GNM    E-mail communications with Mr. Keck (ProFile)       L120     0.10 hrs
                    regarding servicer guidelines being produced for
                    9019 dataroom.
09/17/2012   GNM    Drafting Cover letter to be sent with servicer      L120     0.40 hrs
                    guidelines production.

09/18/2012   JAL    Review various filings regarding status of 9019     L250     2.00 hrs
                    discovery. (1.10) Review new MBIA suit against
                    Ally. (.60) Conference with Ms. Battle regarding
                    same. (.30)
09/18/2012   VLS    E-mail exchange with Mr. Walter at Ally regarding   L320     0.20 hrs
                    Seller files.

09/18/2012   VLS    Review and analysis of Seller files needed for      L320     7.00 hrs
                    production to UCC.

09/18/2012   VLS    E-mail exchange with Ms. Zellmann at ResCap         L320     0.20 hrs
                    regarding Seller files.

09/18/2012   JALB   Review e-mail from Ms. Levitt (Morrison &           L120     0.10 hrs
                    Foerster) regarding questions regarding loan file
                    analysis.
09/18/2012   JALB   Correspondence with Mr. Lipps regarding 9019        L120     0.10 hrs
                    discovery hearing.

09/18/2012   JALB   Prepare e-mail memorandum with responsive           L120     0.30 hrs
                    information to e-mail questions from Ms. Levitt
                    (Morrison & Foerster) regarding questions on loan
                    file analysis.
09/18/2012   JALB   Follow-up with client (Mr. Blaschko and Ms.         L120     0.80 hrs
                    Hreshko) regarding additional information needed
                    for e-mail memorandum.
09/18/2012   JALB   Telephone conference with Mr. Clark (Morrison &     L120     0.20 hrs
                    Foerster) regarding e-mail from Ms. Levitt
                    (Morrison & Foerster) regarding questions
                    regarding loan file analysis.
09/18/2012   DAB    Analyze Debtors' status report on RMBS              L120     0.20 hrs
                    settlement.

09/18/2012   DAB    Analyze UCC and FGIC status reports on RMBS         L120     0.40 hrs
                    settlement.

09/18/2012   DAB    Communicate with Mr. Lipps regarding status         L120     0.30 hrs
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                    reports on RMBS litigation.

09/18/2012   DAB    Draft outline of likely hearing issues on RMBS       L320     0.30 hrs
                    discovery.

09/18/2012   GNM    Telephone communications with Ms. Zellmann           L120     0.60 hrs
                    (Residential Capital) regarding gathering and
                    production of seller files for 9019 dataroom.
09/19/2012   JAL    Prepare for hearing on discovery issues and 9019     L230     0.50 hrs
                    hearing.

09/19/2012   JAL    Review and revise disclosure of expert opinions      L120     2.50 hrs
                    regarding KP settlement.

09/19/2012   JAL    Further review of filings regarding discovery        L250     1.00 hrs
                    disputes related to 9019 motion.

09/19/2012   JAL    Participate at hearing regarding 9019 schedule and   L230     3.00 hrs
                    discovery disputes.

09/19/2012   JAL    Review and respond to e-mails regarding              L120     0.50 hrs
                    underwriting of loan files.

09/19/2012   VLS    E-mail exchange with Mr. Walter at Ally regarding    L320     0.20 hrs
                    review of Seller files.

09/19/2012   VLS    Continue review and analyze of Seller files needed   L320     3.80 hrs
                    for production to UCC.

09/19/2012   JALB   Continued attention to developing responses based    L320     0.20 hrs
                    on client information to questions about loan file
                    review process.
09/19/2012   JALB   Correspondence with Mr. Lipps regarding              L120     0.20 hrs
                    developing responses based on client information
                    to questions about loan file review process.
09/19/2012   JALB   Correspondence with Mr. Lipps regarding court        L120     0.20 hrs
                    hearing regarding depositions, schedule and
                    discovery progress.
09/19/2012   JALB   Telephone conference with Mr. Clark (Morrison &      L120     0.40 hrs
                    Foerster) and Ms. Marty regarding collection and
                    review of additional e-mail for new October 3
                    deadline.
09/19/2012   JALB   Correspondence with Mr. Underhill (ResCap), Mr.      L120     0.40 hrs
                    Clark (Morrision & Foerster), Ms. Levitt
                    (Morrison & Foerster), and Mr. Lipps regarding
                    collection and review of additional e-mail for new
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                    October 3 deadline.
09/19/2012   JALB   Court hearing regarding depositions, schedule and     L230     0.50 hrs
                    discovery progress on 9019 settlement.

09/19/2012   JALB   Communicate with Mr. Underhill (Residential           L120     0.30 hrs
                    Capital) regarding collection and review of
                    additional e-mail for new October 3 production
                    deadline.
09/19/2012   JALB   Correspondence with Ms. Levitt and Mr. Clark          L120     0.20 hrs
                    (Morrison & Foerster) regarding loan file missing
                    documents questions.
09/19/2012   DAB    Communicate with Mr. Samson regarding late            L120     0.10 hrs
                    night filings related to RMBS scheduling.

09/19/2012   DAB    Communicate with Mr. Lipps regarding arguments        L120     0.30 hrs
                    being made at RMBS status conference.

09/19/2012   GNM    E-mail communications with Ms. Wong (Profile          L120     0.10 hrs
                    Imaging) regarding re-productions previously
                    produced to UCC.
09/19/2012   GNM    Draft cover letter to be sent with seller files       L120     0.40 hrs
                    production.

09/20/2012   AMP    Review and respond to e-mails regarding assisting     L120     0.30 hrs
                    Morrison and Foerster with privilege log for
                    RMBS settlement document production to UCC's
                    counsel.
09/20/2012   AMP    Review prior privilege logs in related actions for    L120     0.60 hrs
                    comparison purposes.

09/20/2012   AMP    Attention to reviewing RMBS documents for             L120     0.80 hrs
                    privilege and redaction purposes to assist Morrison
                    and Foerster in its production to the UCC.
09/20/2012   AMP    Call with Mr. Clark (Morrison & Foerster), Ms.        L120     0.40 hrs
                    Battle and Mr. Corcoran regarding privilege log
                    issues.
09/20/2012   AMP    Participate in Concordance training with Ms.          L120     0.50 hrs
                    Marty to access database for privilege log review.

09/20/2012   AMP    Multiple e-mails with Mr. Clark (Morrison and         L120     0.40 hrs
                    Foerster) regarding document review status and
                    impact on privilege log.
09/20/2012   JAL    Review e-mails regarding case schedule for            L120     0.20 hrs
                    discovery related to and hearing on the RMBS
                    9019 settlement.
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09/20/2012   JAL    Review and respond to e-mails regarding loan file           L120     0.30 hrs
                    re-underwriting.

09/20/2012   JAL    Conference with Ms. Battle regarding loan file              L120     0.20 hrs
                    re-underwriting.

09/20/2012   VLS    Analysis of loan spreadsheet provided by Mr.                L110     1.20 hrs
                    Johnson at Alston & Bird to determine deal
                    associated with each loan referenced.
09/20/2012   JALB   Prepare additional section on risk disclosures for          L210     0.70 hrs
                    Lipps Declaration.

09/20/2012   JALB   Revisions to main sections of Lipps Declaration.            L210     1.30 hrs


09/20/2012   JALB   Prepare additional sections on representations and          L210     1.00 hrs
                    warranties for Lipps Declaration.

09/20/2012   JALB   Telephone conference with Mr. Sillman (Fortace),            L120     1.10 hrs
                    Ms. Minier (Fortace), Ms. Levitt (Morrison &
                    Foerster) and Mr. Clark (Morrison & Foerster)
                    regarding supplemental declarations and loan file
                    review issues. (.70) Telephone conference with
                    Mr. Clark (Morrison & Foerster), Ms.
                    Paul-Whitfield and Mr. Corcoran regarding
                    privilege log creation. (.30) Follow-up
                    conversation with Ms. Paul-Whitfield and Mr.
                    Corcoran. (.10)
09/20/2012   DAB    Analyze recent Countrywide pleadings for possible           L120     0.20 hrs
                    additions to Mr. Lipps declaration on RMBS
                    settlement.
09/20/2012   DAB    Communicate with Mr. Lipps and Ms. Battle                   L120     0.20 hrs
                    regarding developments in Countrywide litigation.

09/20/2012   JRC    Teleconference with Ms. Battle, Ms. Whitfield,      A105    L120     0.30 hrs
                    and Mr. Clark (Morrison & Foerster) regarding
                    creation of privilege log for documents produced in
                    connection with RMBS trust settlement.
09/20/2012   JRC    Conference with Ms. Battle and Ms. Whitfield         A105   L120     0.10 hrs
                    regarding creation of privilege log for documents
                    produced in connection with RMBS trust
                    settlement.
09/20/2012   SP     Research rulings by Judge Pfaelzer relating to              L120     1.20 hrs
                    representations and warranties and send results to
                    Ms. Battle.
09/20/2012   GNM    Meeting with Ms. Paul-Whitfield regarding                   L120     0.60 hrs
                    Concordance training for privilege log for
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                    Morrison & Foerster document review.
09/20/2012   GNM    Meeting with Ms. Sholl regarding production of        L120     0.70 hrs
                    seller files for 9019 dataroom.

09/20/2012   GNM    Call with Mr. Clark (Morrison & Foerster)             L120     0.30 hrs
                    regarding production of seller files for 9019
                    dataroom.
09/20/2012   GNM    Meeting with Ms. Sholl regarding production of        L120     0.70 hrs
                    seller files for 9019 dataroom.

09/21/2012   AMP    Attention to quality review of documents              L120     2.10 hrs
                    designated as privileged from RMBS settlement
                    production.
09/21/2012   AMP    Prepare for and participate in conference call with   L120     0.90 hrs
                    Morrison and Foerster review and privilege team to
                    discuss issues for privilege log.
09/21/2012   AMP    E-mails with Ms. Battle regarding outcome of          L120     0.20 hrs
                    telephone call on privilege issues.

09/21/2012   AMP    Multiple e-mails with Mr. Clark (Morrison and         L120     1.10 hrs
                    Foerster) and Mr. Bergelson (Morrison and
                    Foerster) regarding privilege and redaction
                    designation issues.
09/21/2012   AMP    Telephone calls and e-mails with Mr. Clark            L120     0.30 hrs
                    (Morrison and Foerster) regarding responsiveness
                    issues.
09/21/2012   AMP    Review cases cited by Judge Glenn and the excerpt     L120     0.40 hrs
                    from the Judge's discussion regarding privilege
                    waiver.
09/21/2012   AMP    Attention to reviewing responsiveness                 L120     0.80 hrs
                    determinations.

09/21/2012   AMP    Multiple e-mails with Morrison and Foerster           L120     0.30 hrs
                    review team regarding follow-up to conference call
                    on privilege issues.
09/21/2012   JAL    Communicate with Ms. Battle and Mr. Beck              L120     0.30 hrs
                    regarding 9019 case schedule.

09/21/2012   JAL    Participate on Court call regarding 9019 case         L120     1.00 hrs
                    schedule.

09/21/2012   JAL    Review filings regarding discovery matters            L120     0.70 hrs
                    submitted in advance of Court conference.
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09/21/2012   JALB   Revise legal discussion for Lipps Declaration.        L210     1.20 hrs


09/21/2012   JALB   Revise discussion of tort claims for Lipps            L210     0.50 hrs
                    declaration.

09/21/2012   JALB   Prepare "key points" list of subjects for potential   L330     0.80 hrs
                    Marano deposition.

09/21/2012   JALB   Telephone conference with Mr. Rains and Mr.           L120     0.50 hrs
                    Clark (Morrison & Foerster) regarding status of
                    Lipps declaration.
09/21/2012   JALB   Communicate with Mr. Corcoran and Mr. Beck            L120     0.20 hrs
                    regarding reserve calculations.

09/21/2012   SCM    Legal research regarding trigger event for            L110     0.60 hrs
                    discovery of fraud in RMBS cases.

09/21/2012   SCM    Compose e-mail to Ms. Battle regarding legal          L190     0.20 hrs
                    research.

09/23/2012   AMP    Attention to review of documents designated as        L120     2.10 hrs
                    privileged from RMBS settlement production.

09/23/2012   AMP    Attention to redactions on documents previously       L120     1.80 hrs
                    marked withhold entirely.

09/23/2012   AMP    Attention to issues regarding consultants or          L120     0.30 hrs
                    testifying experts and scope of privilege.

09/23/2012   AMP    Multiple e-mails with Mr. Clark (Morrison and         L120     0.20 hrs
                    Foerster) regarding privilege and redaction
                    designation issues.
09/23/2012   AMP    Draft e-mail to Mr. Harris (Morrison and Foerster)    L120     0.40 hrs
                    and Mr. Clark (Morrison and Foerster) regarding
                    likely areas of challenge by UCC of privilege
                    designations.
09/23/2012   JALB   Add citations to draft Lipps Declaration.             L210     0.60 hrs


09/23/2012   JALB   E-mail to Mr. Barthel regarding cite-checking and     L120     0.10 hrs
                    pin cite cleanup of Lipps Declaration.

09/23/2012   DJB    Research and edit supporting materials citations to   L120     3.80 hrs
                    Lipps Supplemental Declaration in support of
                    RMBS settlement.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27       Exhibit E
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09/24/2012   AMP    Research and review documents to determine roles,      L120     1.00 hrs
                    positions and responsibilities.

09/24/2012   AMP    Multiple e-mails with Ms. Battle regarding             L120     0.30 hrs
                    responsibilities of relevant inhouse counsel for
                    RMBS privilege log issues.
09/24/2012   AMP    Attention to further review of documents               L120     1.90 hrs
                    designated as privileged from Morrison and
                    Foerster custodian documents in the RMBS
                    settlement production.
09/24/2012   AMP    Attention to redactions on documents previously        L120     0.90 hrs
                    marked withhold entirely.

09/24/2012   AMP    E-mails with Ms. Battle regarding Devine               L120     0.20 hrs
                    documents and common interest issues.

09/24/2012   AMP    Multiple e-mails with Mr. Clark and Mr. Harris         L120     0.40 hrs
                    (Morrison and Foerster) regarding roles and
                    responsibilities of inhouse counsel.
09/24/2012   AMP    Draft memorandum to Mr. Clark and Mr. Harris           L120     0.90 hrs
                    (Morrison & Foerster) regarding potential issues in
                    privilege designations.
09/24/2012   AMP    Multiple e-mails with Mr. Clark (Morrison and          L120     0.80 hrs
                    Foerster) regarding privilege and redaction
                    designation issues.
09/24/2012   AMP    Attention to business versus legal role and            L120     1.70 hrs
                    responsibilities of inhouse counsel Ms.
                    Hamzehpour, Mr. Thompson and Mr. Ruckdaschel
                    at Residential Capital for privilege analysis.
09/24/2012   AMP    Attention to tolling agreement issues.                 L120     0.20 hrs


09/24/2012   AMP    Review and respond to e-mails with Ms. Battle and      L120     0.20 hrs
                    Mr. Corcoran regarding tolling agreements.

09/24/2012   AMP    Review file for information previously pulled on       L120     0.40 hrs
                    tolling agreements.

09/24/2012   JAL    Review and finalize litigation case list for witness   L120     0.30 hrs
                    disclosures.

09/24/2012   JAL    Review and respond to various e-mails related to       L120     0.30 hrs
                    evidentiary issues.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27        Exhibit E
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09/24/2012   JAL    Review e-mails regarding finalizing litigation case     L120     0.20 hrs
                    list.

09/24/2012   JALB   Discussion with Mr. Clark (Morrison & Foerster),        L120     0.70 hrs
                    Mr. Rains (Morrison & Foerster), Ms. Levitt
                    (Morrison & Foerster), Mr. Sillman (Fortace) and
                    Ms. Minier (Fortace) regarding status of loan files
                    produced to date.
09/24/2012   JALB   Investigation of prior loan file pulls to assist with   L120     0.40 hrs
                    review of current status of loan files.

09/24/2012   JALB   Telephone conference with Mr. Lipps regarding           L120     0.30 hrs
                    deposition schedule and preparation for witness
                    testimony in connection with 9019 motion.
09/24/2012   JALB   Discussion with Mr. Barthel regarding research on       L120     0.20 hrs
                    legal expert admissibility.

09/24/2012   JALB   Correspondence with Mr. Rains (Morrison &               L120     0.20 hrs
                    Foerster), discussion with Ms. Levitt (Morrison &
                    Foerster) regarding preparation of Lipps
                    Declaration.
09/24/2012   DJB    Research and edit supporting materials citations to     L120     5.60 hrs
                    Lipps Supplemental Declaration in support of
                    RMBS settlement.
09/24/2012   DJB    Research case law regarding use of legal expert         L120     2.10 hrs
                    testimony and declarations in support of
                    settlements in S.D.N.Y.
09/24/2012   DJB    Draft e-mail to Ms. Battle regarding case law           L120     0.80 hrs
                    regarding use of legal expert testimony and
                    declarations in support of settlements in S.D.N.Y.
09/24/2012   DAB    Call with Mr. Sillman (Fortace), Mr. Rains              L120     0.70 hrs
                    (Morrison & Foerster) and Ms. Battle regarding
                    issues on loan file lists produced in RMBS dispute.
09/25/2012   AMP    Attention to further review of Morrison and             L120     0.90 hrs
                    Foerster custodian documents designated as
                    withhold entirely for privilege quality control.
09/25/2012   AMP    Attention to redactions on documents previously         L120     0.80 hrs
                    marked withhold entirely.

09/25/2012   AMP    Attention to revising and redrafting privilege log.     L120     0.70 hrs


09/25/2012   AMP    Review research memorandums relating to                 L120     0.60 hrs
                    privilege issues for purposes of preparation of
                    privilege log.
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09/25/2012   AMP    Multiple e-mails with Mr. Clark (Morrison and        L120     0.20 hrs
                    Foerster) regarding privilege and redaction
                    designation issues.
09/25/2012   AMP    Telephone conference with Mr. Clark regarding        L120     0.30 hrs
                    withheld privilege log for Part 1 (Morrison and
                    Foerster custodians) of review.
09/25/2012   JAL    Review motion to compel Institutional Investors to   L250     0.50 hrs
                    produce settlement communications.

09/25/2012   JAL    Communicate with Mr. Beck regarding motion to        L250     0.20 hrs
                    compel.

09/25/2012   JAL    Review and respond to e-mails regarding              L330     0.20 hrs
                    deposition schedule.

09/25/2012   VLS    E-mail exchange with Mr. Copple at RICOH             L320     0.30 hrs
                    regarding delivery of scanned material to DTI for
                    processing and uploading.
09/25/2012   VLS    E-mail exchanges with Ms. Battle and Ms.             L320     0.40 hrs
                    Zellmann at ResCap regarding status of scanning
                    and delivery of additional Seller files to be
                    produced to the UCC.
09/25/2012   JALB   Correspondence regarding deposition schedule and     L120     0.30 hrs
                    logistics for 9019 motion.

09/25/2012   JALB   Prepare revisions to Lipps Declaration.              L210     1.70 hrs


09/25/2012   JALB   Discussion with Mr. Fons and Mr. Clark (both         L120     0.20 hrs
                    Morrison & Foerster) regarding feasibility of
                    collecting seller files.
09/25/2012   JALB   Correspondence with Ms. Levitt (Morrison &           L120     0.60 hrs
                    Foerster), and Mr. Moeller regarding follow-up
                    research on statute of limitations issue.
09/25/2012   JALB   Telephone conference with Mr. Rains (Morrison &      L120     0.50 hrs
                    Foerster) regarding status of Lipps Declaration.

09/25/2012   DJB    Research case law nationwide regarding use of        L120     6.80 hrs
                    legal expert testimony and declarations in support
                    of settlements. (4.20) Research caselaw on
                    defenses against use of legal expert testimony.
                    (2.60)
09/25/2012   DJB    Draft e-mail to Ms. Battle regarding findings        L120     0.80 hrs
                    related to use of legal expert testimony and
                    declarations.
09/25/2012   DAB    Communicate with Mr. Moeller regarding               L120     0.20 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27        Exhibit E
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                    additional transaction document analysis needed
                    for statute of limitations memorandum.
09/25/2012   DAB    Draft calendar of deadlines related to RMBS             L120     0.40 hrs
                    motion discovery.

09/25/2012   GNM    Meeting with Ms. Sholl regarding seller files being     L120     1.30 hrs
                    produced for the 9019 data room.

09/26/2012   AMP    Attention to further review of Morrison and             L120     1.10 hrs
                    Foerster custodian documents designated as
                    withhold entirely for privilege quality control.
09/26/2012   AMP    Attention to redactions on documents previously         L120     0.70 hrs
                    marked withhold entirely.

09/26/2012   AMP    Attention to responsiveness issues.                     L120     0.60 hrs


09/26/2012   AMP    Attention to joint privilege/common interest issues.    L120     0.20 hrs


09/26/2012   AMP    Multiple e-mails with Ms. Battle regarding joint        L120     0.20 hrs
                    privilege/common interest issues.

09/26/2012   AMP    Multiple e-mail with Mr. Clark (Morrison and            L120     0.30 hrs
                    Foerster) regarding responsiveness issues.

09/26/2012   AMP    Multiple e-mails with Mr. Clark (Morrison and           L120     0.20 hrs
                    Foerster) regarding privilege and redaction
                    designation issues.
09/26/2012   AMP    Attention to revising and redrafting privilege log in   L120     0.80 hrs
                    light of privilege research memorandums from Mr.
                    Harris (Morrison and Foerster).
09/26/2012   AMP    Telephone conference with Mr. Clark (Morrison &         L120     0.20 hrs
                    Foerster) regarding clawback issues.

09/26/2012   AMP    Attention to issues regarding production of             L120     0.10 hrs
                    privileged communications involving Mr. Marano.

09/26/2012   AMP    Review and respond to multiple e-mails regarding        L120     0.20 hrs
                    Mr. Marano's presence on privileged documents.

09/26/2012   JAL    Review Institutional Investors' opposition to the       L240     0.30 hrs
                    motion to compel.

09/26/2012   JAL    Communicate with Mr. Beck regarding                     L240     0.10 hrs
                    Institutional Investors' opposition to the motion to
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27    Exhibit E
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                    compel.
09/26/2012   JAL    Revise disclosure of expert opinions.               L130     1.00 hrs


09/26/2012   JAL    Conference with Ms. Battle regarding expert         L130     0.30 hrs
                    opinions.

09/26/2012   JAL    Review agenda for omnibus hearing with focus on     L120     0.20 hrs
                    identification of 9019 discovery disputes.

09/26/2012   JAL    Review Judge Rakoff's summary judgment              L240     0.50 hrs
                    decision in Assured Guaranty v. Flagstar.

09/26/2012   JAL    Conference with Ms. Battle regarding summary        L240     0.20 hrs
                    judgment decision in Assured Guaranty v.
                    Flagstar.
09/26/2012   JAL    Review materials prepared by Mr. Sillman related    L130     1.00 hrs
                    to expert issues.

09/26/2012   VLS    Review database and annotate Seller files for       L320     3.50 hrs
                    production to the UCC.

09/26/2012   JALB   Finalize Lipps declaration.                         L210     0.60 hrs


09/26/2012   JALB   Discussion with Ms. Whitfield regarding status of   L120     0.30 hrs
                    and questions relating to privilege log.

09/26/2012   JALB   Analysis of loan lists and loan ID numbers at       L320     1.90 hrs
                    Morrison & Foerster request, in response to
                    questions regarding mismatch.
09/26/2012   JALB   Correspondence regarding analysis of loan lists     L120     0.40 hrs
                    and loan ID numbers at Morrison & Foerster
                    request, in response to questions regarding
                    mismatch.
09/26/2012   JALB   Correspondence with Ms. Hreshko (ResCap)            L120     0.10 hrs
                    regarding loan file review questions.

09/26/2012   JALB   Correspondence with Ms. Levitt, Mr. Clark           L120     0.30 hrs
                    (Morrison & Foerster), and Ms. Whitfield
                    regarding privilege analyses.
09/26/2012   JALB   Correspondence with Mr. Clark (Morrison &           L120     0.70 hrs
                    Foerster), Ms. Minier (Fortace), Ms. Levitt
                    (Morrison & Foerster), and Mr. Rains (Morrison &
                    Foerster) responding to questions posed by
                    Trustees regarding loan file review.
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09/26/2012   DAB    Communicate with Mr. Clark (Morrison &               L120     0.20 hrs
                    Foerster) regarding discovery issues and schedule
                    on RMBS 9019.
09/27/2012   AMP    Attention to continuing review of Morrison and       L120     1.10 hrs
                    Foerster custodian documents designated as
                    privileged from RMBS settlement production.
09/27/2012   AMP    Attention to redactions on documents previously      L120     0.60 hrs
                    marked withhold entirely.

09/27/2012   AMP    Attention to revising and redrafting privilege log   L120     2.10 hrs
                    entries.

09/27/2012   AMP    Attention to responsiveness of e-mails relating to   L120     0.30 hrs
                    loan file review.

09/27/2012   AMP    Revise privilege log to remove those entries as      L120     0.40 hrs
                    non-responsive.

09/27/2012   AMP    Multiple e-mails with Mr. Clark (Morrison and        L120     0.20 hrs
                    Foerster) regarding privilege and redaction
                    designation issues.
09/27/2012   AMP    Multiple e-mails with Mr. Clark (Morrison &          L120     0.20 hrs
                    Foerster) regarding responsiveness of e-mails
                    relating to loan file review.
09/27/2012   JAL    Communicate with Ms. Battle regarding expert         L130     0.30 hrs
                    opinions.

09/27/2012   JAL    Revise disclosure of expert opinions.                L130     2.00 hrs


09/27/2012   VLS    Research discovery partner database for select       L320     3.60 hrs
                    Seller files. (3.10) Code and annotate same for
                    production. (.50)
09/27/2012   VLS    E-mail exchanges with Mr. Shipler and Ms. Gulley     L320     0.40 hrs
                    at DTI regarding Seller files for production to
                    UCC.
09/27/2012   JALB   Follow up correspondence with Mr. Clark and Ms.      L120     0.20 hrs
                    Levitt (both Morrison & Foerster) regarding
                    coordination of responses to questions regarding
                    loan file review.
09/27/2012   JALB   Correspondence with Mr. Clark (Morrison &            L120     0.20 hrs
                    Foerster), Ms. Hreshko (Residential Capital) and
                    Ms. Baird (Residential Capital) regarding
                    clarifications relating to loan file review.
09/27/2012   JALB   Telephone conference with Mr. Clark (Morrison &      L120     0.40 hrs
                    Foerster), Ms. Hreshko (Residential Capital) and
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                    Ms. Baird (Residential Capital) regarding
                    clarifications relating to loan file review.
09/27/2012   JALB   Communicate with Mr. Lipps to finalize draft           L210     2.30 hrs
                    declaration. (.30) Revise declaration based on
                    comments of Mr. Lipps. (2.00)
09/27/2012   DJB    Research and provide examples of legal expert          L120     1.90 hrs
                    reports addressing fairness of settlements for Ms.
                    Battle to assist with Lipps Supplemental
                    Declaration in Support of RMBS Trust Settlement.
09/27/2012   DAB    Call with Ms. Hreschko, Ms. Baird (Residential         L120     0.70 hrs
                    Capital), Mr. Clark (Morrison & Foerster) and Ms.
                    Battle regarding trustee questions on repurchase
                    process. (.40) Follow-up investigation related to
                    same. (.30)
09/27/2012   GNM    Telephone communications with Mr. Clark                L120     0.40 hrs
                    (Morrison & Foerster) regarding productions for
                    9019 dataroom.
09/27/2012   GNM    Meeting with Ms. Sholl regarding seller files being    L120     0.60 hrs
                    produced for the 9019 data room.

09/27/2012   SCM    Legal research regarding effect of statute of          L110     2.80 hrs
                    limitations on potential claim against master
                    servicer.
09/27/2012   SCM    E-mail to Ms. Battle and Mr. Beck regarding effect     L190     0.20 hrs
                    on statute of limitations of potential claim against
                    master servicer.
09/28/2012   AMP    Attention to continuing review of Morrison and         L120     1.00 hrs
                    Foerster custodian documents designated as
                    privileged from RMBS settlement production.
09/28/2012   AMP    Attention to redactions on documents previously        L120     0.80 hrs
                    marked withhold entirely.

09/28/2012   AMP    Multiple e-mails with Clark (Morrison and              L120     0.30 hrs
                    Foerster) regarding privilege and redaction
                    designation issues.
09/28/2012   AMP    Attention to revising and redrafting privilege log     L120     0.70 hrs
                    entries.

09/28/2012   JAL    Revise disclosure of expert opinions. (1.30)           L130     2.30 hrs
                    Conference with Ms. Battle regarding same. (.40)
                    Conferences with Mr. Beck regarding same. (.20)
                    Review and respond to e-mails regarding same.
                    (.40)
09/28/2012   VLS    Review database. (3.10) Annotate additional            L320     4.40 hrs
                    documents for production. (1.30)
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09/28/2012   VLS    E-mail exchanges with Mr. Shipler and Ms. Gulley      L320     0.30 hrs
                    at DTI regarding production of Seller files to UCC.

09/28/2012   VLS    Telephone conference with Mr. Shipler at DTI          L320     0.40 hrs
                    regarding Seller files.

09/28/2012   JALB   Prepare for call regarding repurchase process and     L120     0.30 hrs
                    loan file review questions.

09/28/2012   JALB   Telephone conference with Ms. Levitt (Morrison &      L120     0.20 hrs
                    Foerster) regarding Trustee questions and next
                    steps.
09/28/2012   JALB   Correspondence with Ms. Whitfield regarding           L120     0.20 hrs
                    status of privilege log and privilege issues.

09/28/2012   JALB   Participate in call with Mr. Clark (Morrison &        L120     0.80 hrs
                    Foerster), Mr. Beck, Ms. Hreshko (Residential
                    Capital), Ms. Baird (Residential Capital), and
                    Trustees' counsel and experts regarding loan file
                    review questions.
09/28/2012   JALB   Work with Mr. Lipps to finalize declaration. (.40)    L210     1.10 hrs
                    Revise declaration. (.70)

09/28/2012   DJB    Research and compile materials referenced in          L120     4.70 hrs
                    Lipps Supplemental Declaration in support of
                    RMBS trust settlement.
09/28/2012   DAB    Call with Duff & Phelps personnel, Ms. Hreshko        L120     0.80 hrs
                    (Residential Capital), Mr. Clark (Morrison &
                    Foerster) and Ms. Battle regarding loan file
                    reunderwriting.
09/28/2012   DAB    Communicate with Mr. Lipps regarding                  L120     0.20 hrs
                    finalization of 9019 declaration.

09/28/2012   DAB    Revise Lipps declaration.                             L210     0.10 hrs


09/28/2012   DAB    Communicate with Ms. Battle regarding discovery       L120     0.30 hrs
                    issues on RMBS litigation.

09/28/2012   DAB    Communicate with Mr. Rhode regarding research         L120     0.20 hrs
                    needed on expert witnesses in RMBS litigation.

09/28/2012   DAB    Research on expert issues related to RMBS             L120     0.30 hrs
                    settlement.

09/28/2012   DAB    Call with Ms. Levitt (Morrison & Foerster) and        L120     0.10 hrs
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                    Ms. Battle regarding status of discovery on 9019
                    motion.
09/28/2012   JRC    Conference with Ms. Battle regarding expert        L160     0.20 hrs
                    disclosures for RMBS trust settlement.

09/28/2012   JDR    Conference with Mr. Beck regarding research for    L120     0.20 hrs
                    UCC testifying experts.

09/28/2012   JDR    Research SMBP information regarding UCC            L320     0.50 hrs
                    expert Bradford Cornell.

09/28/2012   JDR    Research Caltech information regarding UCC         L320     0.30 hrs
                    expert Bradford Cornell.

09/28/2012   JDR    Research summarized past litigation appearances    L320     1.70 hrs
                    of UCC expert Bradford Cornell.

09/28/2012   JDR    Research regarding summarized past rulings and     L320     1.00 hrs
                    settlements involving UCC expert Bradford
                    Cornell.
09/28/2012   JDR    Research Compass Lexecon bio and CV regarding      L320     0.20 hrs
                    UCC expert Bradford Cornell.

09/28/2012   JDR    Research regarding news publications by UCC        L320     0.50 hrs
                    expert Bradford Cornell.

09/29/2012   AMP    Attention to withheld privilege log issues for     L120     2.10 hrs
                    Morrison and Foerster custodian documents.

09/29/2012   AMP    Attention to creating redactions.                  L120     1.10 hrs


09/29/2012   AMP    Attention to finalizing review of part 1 of the    L120     1.00 hrs
                    withheld documents (Morrison and Foerster
                    custodians).
09/29/2012   AMP    Attention to redactions on documents previously    L120     0.60 hrs
                    marked withhold entirely.

09/29/2012   AMP    Revise and redraft priviliege log.                 L120     1.20 hrs


09/29/2012   AMP    Multiple e-mails with Mr. Clark (Morrison and      L120     0.20 hrs
                    Foerster) regarding privilege and redaction
                    designation issues.
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09/29/2012   VLS    Review database. (2.70) Annotate additional            L320     4.00 hrs
                    documents for production. (1.30)

09/29/2012   JALB   Correspondence with internal team (Mr. Lipps, Mr.      L120     0.40 hrs
                    Beck, Mr. Corcoran, Mr. Rhode) regarding
                    potential objectors' disclosures of expert witnesses
                    and analysis of same.
09/29/2012   DJB    Research and compile materials referenced in           L120     3.40 hrs
                    Lipps Supplemental Declaration in support of
                    RMBS trust settlement.
09/29/2012   DAB    Review expert witness designations.                    L120     0.20 hrs


09/29/2012   DAB    Communicate with Mr. Lipps and Ms. Battle              L120     0.10 hrs
                    regarding experts designated by committee.

09/29/2012   DAB    Communicate with Ms. Levitt (Morrison &                L120     0.10 hrs
                    Foerster) regarding expert witness designation by
                    committee.
09/29/2012   JDR    Research past publications by UCC expert               L320     2.60 hrs
                    Bradford Cornell including investment valuation
                    and other similar topics.
09/29/2012   JDR    Research past cases referencing the testimony of       L320     1.80 hrs
                    UCC expert Bradford Cornell.

09/29/2012   SP     Perform quality control review of e-mails from         L120     0.70 hrs
                    Morrison and Foerster in Concordance prior to
                    inclusion on privilege log.
09/29/2012   GNM    E-mail communications with Ms. Sholl regarding         L120     0.70 hrs
                    seller files to be produced for 9019 data room.

09/29/2012   GNM    Drafting and sending e-mail communication to Ms.       L120     0.10 hrs
                    Battle regarding confidentiality designations for
                    seller files to be produced for 9019 data room.
09/30/2012   AMP    Attention to continuing review of Morrison and         L120     3.10 hrs
                    Foerster custodian documents designated as
                    privileged from RMBS settlement production.
09/30/2012   AMP    Attention to redactions on documents previously        L120     2.40 hrs
                    marked withhold entirely.

09/30/2012   AMP    Attention to finalizing privilege log entries.         L120     2.20 hrs


09/30/2012   AMP    Multiple e-mails with Mr. Clark and Mr. Harris         L120     0.30 hrs
                    (Morrison and Foerster) regarding privilege and
                    redaction designation issues.
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09/30/2012   JDR    Research potential social media platform postings        L320     0.20 hrs
                    or comments by UCC expert Bradford Cornell.

09/30/2012   JDR    Research history of UCC expert Bradford Cornell          L320     0.50 hrs
                    at UCLA.

09/30/2012   JDR    Research potential social media platform postings        L320     0.20 hrs
                    or comments by UCC expert J.F. Morrow.

09/30/2012   JDR    Research and review cases where the testimony of         L320     1.30 hrs
                    UCC expert Bradford Cornell was challenged.

09/30/2012   JDR    Research regarding B&F experts for UCC expert            L320     0.30 hrs
                    J.F. Morrow.

09/30/2012   JDR    Research regarding publications of UCC expert            L320     0.60 hrs
                    J.F. Morrow.

09/30/2012   JDR    Research regarding UCC expert J.F. Morrow                L320     0.40 hrs
                    expert profiles and publications from third party
                    expert service databases.
09/30/2012   JDR    Research case appearances by UCC expert J.F.             L320     1.20 hrs
                    Morrow.

09/30/2012   SP     Attention to review of documents designated as           L120     4.30 hrs
                    privileged from RMBS settlement production of
                    MoFo custodian documents.
09/30/2012   SP     Attention to redactions on documents previously          L120     3.20 hrs
                    marked withhold entirely from RMBS settlement
                    production of MoFo documents.
09/30/2012   SP     Conference with Ms. Paul-Whitfield regarding             L120     0.60 hrs
                    responsiveness, privilege, and redaction
                    designation issues.
09/30/2012   SP     Attention to editing of coding of documents to           L120     0.80 hrs
                    assist in preparation of privilege log entries for the
                    withheld documents from the Morrison & Foerster
                    custodian documents.
09/30/2012   GNM    E-mail communications with Ms. Sholl regarding           L120     0.40 hrs
                    seller files to be produced for 9019 data room.

09/30/2012   GNM    E-mail communication with Ms. Battle regarding           L120     0.10 hrs
                    confidentiality designation for seller files being
                    produced for 9019 dataroom.
09/30/2012   GNM    Drafting and sending e-mail communication to Mr.         L120     0.20 hrs
                    Shipler (DTI) regarding production specifications
                    for seller files.
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                    TOTAL FEES FOR THIS MATTER                                           $63,654.00

EXPENSES

09/19/2012          (TRIP-JAL-9/18-19/12) Out-of-Town Travel/Airfare - travel to           $839.70
                    New York to attend hearing

09/19/2012          (TRIP-JAL-9/18-19/12) Out-of-Town Travel/Hotel - travel to             $493.49
                    New York to attend hearing

09/19/2012          (TRIP-JAL-9/18-19/12) Out-of-Town Travel/Taxi - travel to New               $47.25
                    York to attend hearing

09/19/2012          (TRIP-JAL-9/18-19/12) Out-of-Town Travel/Taxi - travel to New               $27.50
                    York to attend hearing

09/19/2012          (TRIP-JAL-9/18-19/12) Out-of-Town Travel/Taxi - travel to New               $23.62
                    York to attend hearing

09/19/2012          (TRIP-JAL-9/18-19/12) Out-of-Town Travel/Driver - travel to                 $60.00
                    New York to attend hearing

09/19/2012          (TRIP-JAL-9/18-19/12) Out-of-Town Travel/Food/Beverage -               $100.00
                    travel to New York to attend hearing

09/19/2012          (TRIP-JAL-9/18-19/12) Out-of-Town Travel/Food/Beverage -                    $17.50
                    travel to New York to attend hearing

09/19/2012          (TRIP-JAL-9/18-19/12) Out-of-Town Travel/Food/Beverage -                    $16.00
                    travel to New York to attend hearing

09/19/2012          (TRIP-JAL-9/18-19/12) Out-of-Town Travel/Bellman - travel to                $16.00
                    New York to attend hearing

09/19/2012          (TRIP-JAL-9/18-19/12) Out-of-Town Travel/Parking @ Port                     $15.00
                    Columbus - travel to New York to attend hearing

09/19/2012          (TRIP-VLS-9/17-/19/12) Out-of-Town Travel/Airfare - travel to         $1,071.60
                    Washington, PA to review Seller files

09/19/2012          (TRIP-VLS-9/17-/19/12) Out-of-Town Travel/Hotel - travel to            $401.99
                    Washington, PA to review Seller files

09/19/2012          (TRIP-VLS-9/17-/19/12) Out-of-Town Travel/Parking @ Port                    $51.00
                    Columbus - travel to Washington, PA to review Seller files

09/19/2012          (TRIP-VLS-9/17-/19/12) Out-of-Town Travel/Tolls - travel to                 $27.40
                    Washington, PA to review Seller files

09/19/2012          (TRIP-VLS-9/17-/19/12) Out-of-Town Travel/Rental Car - travel          $157.29
                    to Washington, PA to review Seller files
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27                 Exhibit E
  932 00057                    Monthly Invoices Pg 52 of 1163
                                                           Invoice # 51628                      Page 26

09/19/2012              (TRIP-VLS-9/17-/19/12) Out-of-Town Travel/Taxi - travel to                   $134.25
                        Washington, PA to review Seller files

09/19/2012              (TRIP-VLS-9/17-/19/12) Out-of-Town Travel/Food/Beverage -                      $42.56
                        travel to Washington, PA to review Seller files

09/19/2012              Court Fees - charge for remote telephone participation in status             $100.00
                        conference on 9019, US Bankruptcy Court South, Division New
                        York

                        TOTAL EXPENSES FOR THIS MATTER                                              $3,642.15


BILLING SUMMARY


         Paul, Angela M.                             54.30 hrs    250.00 /hr        $13,575.00


         Beck, David A.                              14.90 hrs    230.00 /hr         $3,427.00


         Barthel, David J.                           29.90 hrs    210.00 /hr         $6,279.00


         Marty, Gretchen N.                          11.60 hrs    150.00 /hr         $1,740.00


         Lipps, Jeffrey A.                           39.10 hrs    360.00 /hr        $14,076.00


         Battle, Jennifer A.L.                       57.20 hrs    250.00 /hr        $14,300.00


         Rhode, Jacob D.                             13.50 hrs    160.00 /hr         $2,160.00


         Corcoran, Jeffrey R.                          0.60 hrs   180.00 /hr           $108.00


         Mohler, Mallory M.                            0.50 hrs   160.00 /hr               $80.00


         Beekhuizen, Michael N.                        4.30 hrs   250.00 /hr         $1,075.00


         Moeller, Steven C.                            3.80 hrs   200.00 /hr           $760.00


         Phillips, Segev                             15.20 hrs    220.00 /hr         $3,344.00
    12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27   Exhibit E
932 00057                  Monthly Invoices Pg 53 of 1163
                                                       Invoice # 51628       Page 27
      Sholl, Veronica L.                   36.40 hrs   75.00 /hr     $2,730.00



   TOTAL FEES                             281.30 hrs               $63,654.00

   TOTAL EXPENSES                                                   $3,642.15

   TOTAL CHARGES FOR THIS INVOICE                                  $67,296.15
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                                Monthly Invoices Pg 54 of 1163
                         CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                          November 02, 2012

                                                                    Billed through 09/30/2012
Tammy Hamzephour                                                    Invoice # 51629      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 932 00058
190-FTW-L95
Fort Washington, PA 19034

Re: Securities Claims
Matter No.: 721750

PROFESSIONAL SERVICES

09/04/2012    RBS       Pull selected pleadings from various securities             L310        3.00 hrs
                        cases for Mr. Phillips.

09/06/2012    RBS       Print and prepare selected pleadings from various           L310        4.00 hrs
                        securities cases for Mr. Phillips.

09/07/2012    DAB       Review e-mails from Mr. Philips regarding new               L120        0.30 hrs
                        Goldman Sachs decision on damages in securities
                        cases.
09/07/2012    SP        Review decision in NECA-IBEW Health and                     L120        1.90 hrs
                        Welfare Fund v. Goldman Sachs & Co. and send
                        analysis of liquidity and class standing issues to
                        Mr. Lipps, Mr. Beck and Ms. Battle.
09/10/2012    RBS       Monitor Court activity. (.30) Prepare report of             L310        0.40 hrs
                        findings and pleadings for Mr. Phillips. (.10)

09/11/2012    RBS       Monitor Court activity. (.40) Prepare report of             L310        0.50 hrs
                        findings and pleadings for Mr. Phillips. (.10)

09/12/2012    RBS       Monitor Court activity in various cases. (.30)              L310        0.40 hrs
                        Prepare report of findings and pleadings for Mr.
                        Phillips. (.10)
09/12/2012    DAB       Analyze additional research needed to prepare for           L120        1.30 hrs
                        objections to securities claims.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
  932 00058                 Monthly Invoices Pg 55 of 1163
                                                        Invoice # 51629         Page 2
09/13/2012   RBS    Monitor Court activity in securities cases. (.10)    L310     0.20 hrs
                    Prepare report of findings and pleadings for Mr.
                    Phillips. (.10)
09/14/2012   RBS    Monitor Court docket activity in securities cases.   L310     0.40 hrs
                    (.30) Prepare report of findings and pleadings for
                    Mr. Phillips. (.10)
09/14/2012   JALB   Correspondence with Ms. Mohler regarding             L120     0.30 hrs
                    preparation for FHFA claims.

09/17/2012   RBS    Monitor Court docket activity in securities cases.   L310     0.50 hrs
                    (.30) Prepare report of findings and pleadings for
                    Mr. Phillips. (.20)
09/19/2012   RBS    Monitor Court docket activity in securities cases.   L310     0.30 hrs
                    (.20) Prepare report of findings and pleadings for
                    Mr. Phillips.(.10)
09/20/2012   RBS    Monitor Court docket activity in securities cases.   L310     0.40 hrs
                    (.30) Prepare report of findings and pleadings for
                    Mr. Phillips. (.10)
09/20/2012   MMM    Review e-mails from Ms. Battle regarding the         L120     1.60 hrs
                    knowledge defense to FHFA claims. (.40) Read
                    complaint filed regarding FHFA litigation. (1.20)
09/20/2012   MMM    Review prior research on Freddie Mac's knowledge     L120     0.70 hrs
                    of the practices and conduct issue in the FHFA
                    litigation.
09/21/2012   RBS    Monitor Court docket activity in securities cases.   L310     0.50 hrs
                    (.40) Prepare report of findings and pleadings for
                    Mr. Phillips. (.10)
09/21/2012   MMM    Read complaint filed in FHFA litigation to gain      L120     1.80 hrs
                    understanding of claims against ResCap. (.30)
                    Read memorandum by Mr. Owen on knowledge
                    that Freddie Mac had regarding ResCap securities.
                    (.40) Research applicable law on knowledge
                    defense to securities fraud claims. (1.10)
09/24/2012   RBS    Monitor Court docket for activity in securities      L310     0.50 hrs
                    cases. (.40) Prepare reports of findings and
                    pleadings for Mr. Phillips. (.10)
09/25/2012   RBS    Monitor Court docket for activity in securities      L310     0.30 hrs
                    cases. (.20) Prepare report of findings and
                    pleadings for Mr. Phillips. (.10)
09/25/2012   SP     Review memorandum opinion by Judge Rakoff in         L240     0.90 hrs
                    Assured Guaranty v. Flagstar Bank denying
                    defendant's summary judgment motion (.60) and
                    provide summary to Mr. Lipps, Mr. Beck and Ms.
                    Battle. (.30)
09/26/2012   RBS    Monitor Court docket for activity in securities      L310     0.40 hrs
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
  932 00058                    Monthly Invoices Pg 56 of 1163
                                                           Invoice # 51629                 Page 3
                        cases. (.30) Prepare report of findings and
                        pleadings for Mr. Phillips. (.10)
09/26/2012   MMM        Research applicable law on knowledge defense to            L120        1.90 hrs
                        securities fraud claims. (.90) Read cases found in
                        research regarding same. (1.00)
09/27/2012   RBS        Monitor Court docket for activity in securities            L310        0.50 hrs
                        cases.

09/28/2012   RBS        Monitor Court docket for activity in securities.           L310        0.40 hrs
                        (.30) Prepare report of findings and pleadings of
                        same for Mr. Phillips. (.10)


                        TOTAL FEES FOR THIS MATTER                                             $2,971.50


BILLING SUMMARY


         Beck, David A.                                1.60 hrs       230.00 /hr     $368.00


         Battle, Jennifer A.L.                         0.30 hrs       250.00 /hr      $75.00


         Mohler, Mallory M.                            6.00 hrs       160.00 /hr     $960.00


         Samson, Robert B.                            12.70 hrs        75.00 /hr     $952.50


         Phillips, Segev                               2.80 hrs       220.00 /hr     $616.00



     TOTAL FEES                                       23.40 hrs                    $2,971.50

     TOTAL CHARGES FOR THIS INVOICE                                                $2,971.50
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                              Monthly Invoices Pg 57 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                        November 02, 2012

                                                                  Billed through 09/30/2012
Tammy Hamzephour                                                  Invoice # 51630      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 932 00059
190-FTW-L95
Fort Washington, PA 19034

Re: Monoline Claims
Matter No.: 721750

PROFESSIONAL SERVICES

09/07/2012   JALB      Prepare note to Mr. Beck and Mr. Lipps                     L120        0.30 hrs
                       summarizing Deutsche servicing transfer issue and
                       implications for future litigation.
09/10/2012   MNB       Draft memo regarding causation element of RMBS             L120        2.00 hrs
                       claims.

09/10/2012   JALB      Review memorandum from Mr. Beck regarding                  L120        0.20 hrs
                       Deutsche servicing transfer implications for
                       litigation.
09/10/2012   JALB      Send memorandum from Mr. Beck regarding                    L120        0.10 hrs
                       Deutsche servicing transfer implications for
                       litigation with note to Mr. Ruckdaschel (ResCap).
09/10/2012   DAB       Communicate with Ms. Battle regarding questions            L120        0.10 hrs
                       of Mr. Ruckdaschel (Residential Capital) on
                       servicing transfers.
09/10/2012   DAB       Draft materials for Mr. Ruckdaschel (Residential           L120        0.70 hrs
                       Capital) regarding litigation issues raised by
                       servicing transfers during bankruptcy.
09/11/2012   MNB       Research and draft memo regarding causation                L120        5.00 hrs
                       element of RMBS claims.

09/18/2012   JALB      Review and analyze newly filed MBIA complaint              L120        0.30 hrs
                       against Ally entities.
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27          Exhibit E
  932 00059                    Monthly Invoices Pg 58 of 1163
                                                           Invoice # 51630               Page 2
09/18/2012   JALB       Correspondence with Morrison & Foerster team             L120        0.10 hrs
                        regarding newly filed MBIA complaint against
                        Ally entities.
09/18/2012   JALB       Correspondence with client (Ms. Zellmann, Mr.            L120        0.10 hrs
                        Thompson) regarding newly filed MBIA complaint
                        against Ally entities.
09/18/2012   JALB       Review and analyze newly filed MBIA complaint            L120        0.20 hrs
                        against JP Morgan.

09/18/2012   JALB       Review and analyze newly filed MBIA complaint            L120        0.20 hrs
                        against JP Morgan.

09/18/2012   JALB       Correspondence with Mr. Lipps and Mr. Beck               L120        0.20 hrs
                        regarding new MBIA complaint against JPMorgan.

09/18/2012   DAB        Analyze MBIA complaint against JP Morgan                 L120        0.20 hrs
                        related to 2006-HE4 deal.

09/20/2012   SCM        Edit and reformat memorandum regarding                   L110        0.50 hrs
                        application of New York statute of limitations of
                        representation and warranty claims.
09/28/2012   JALB       Participate in discussion with Mr. Ruckdaschel           L120        0.50 hrs
                        (ResCap), Mr. Rosenbaum (Morrison & Foerster)
                        and Mr. Beck regarding Ambac servicing
                        termination issues.
09/28/2012   DAB        Call with Mr. Ruckdaschel (Residential Capital),         L120        0.50 hrs
                        Mr. Rosenbaum (Morrison & Foerster) and Ms.
                        Battle regarding Ambac term sheet on servicing
                        transfer and business and litigation issues posed by
                        same.


                        TOTAL FEES FOR THIS MATTER                                           $2,745.00


BILLING SUMMARY


         Beck, David A.                                1.50 hrs     230.00 /hr    $345.00


         Battle, Jennifer A.L.                         2.20 hrs     250.00 /hr    $550.00


         Beekhuizen, Michael N.                        7.00 hrs     250.00 /hr   $1,750.00


         Moeller, Steven C.                            0.50 hrs     200.00 /hr    $100.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27   Exhibit E
932 00059                 Monthly Invoices Pg 59 of 1163
                                                      Invoice # 51630       Page 3


   TOTAL FEES                             11.20 hrs                $2,745.00

   TOTAL CHARGES FOR THIS INVOICE                                  $2,745.00
       12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                              Monthly Invoices Pg 60 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                         November 02, 2012

                                                                    Billed through 09/30/2012
Tammy Hamzephour                                                    Invoice # 51639      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 932 00060
190-FTW-L95
Fort Washington, PA 19034

Re: ResCap Discovery Issues
Matter No.: 721750

PROFESSIONAL SERVICES

09/02/2012   AMP       Attention to re-review of Tammy Hamzehpour                   L320        5.10 hrs
                       documents for privilege, joint privilege, redactions,
                       PEO, and confidentiality determinations to assist
                       Morrison and Foerster with supplemental
                       production or clawback.
09/02/2012   AMP       Multiple e-mail exchanges with review team                   L320        0.90 hrs
                       regarding joint privilege and PEO.

09/02/2012   AMP       Finalize latest batch of Tammy Hamzehpour                    L320        1.50 hrs
                       documents.

09/02/2012   AMP       E-mail exchanges with Ms. Battle and Mr.                     L320        0.40 hrs
                       Corcoran regarding documents requiring further
                       review.
09/02/2012   AMP       Review company profile reports.                              L320        1.10 hrs


09/02/2012   JALB      Review and respond to questions from Ms.                     L120        0.20 hrs
                       Paul-Whitfield re privilege and PEO
                       determinations.
09/02/2012   DAB       Communicate with Ms. Paul-Whitfield regarding                L120        0.20 hrs
                       issues on servicing re-review.

09/03/2012   AMP       Attention to re-review of final batch of Tammy               L320        4.90 hrs
                       Hamzehpour documents for privilege, joint
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
  932 00060                 Monthly Invoices Pg 61 of 1163
                                                        Invoice # 51639          Page 2
                    privilege, redactions, PEO, and confidentiality
                    determinations to assist Morrison & Foerster with
                    supplemental production or clawback.
09/03/2012   AMP    Multiple e-mail exchanges with review team            L320     1.10 hrs
                    regarding joint privilege and PEO.

09/04/2012   JALB   Various discussions with Mr. Corcoran, Ms.            L120     0.50 hrs
                    Marty, Mr. Brown (Morrison & Foerster), and Mr.
                    Klein (Morrison & Foerster) regarding consistency
                    of privilege and PEO/confidentiality designations
                    across review projects.
09/04/2012   DAB    Communicate with Ms. Evans (Morrison &                L120     0.10 hrs
                    Foerster) regarding identification of which law
                    firms worked for Residential Capital to assist in
                    privilege reviews.
09/04/2012   GNM    Meeting with Ms. Battle regarding status of           L120     0.70 hrs
                    document review projects.

09/05/2012   VLS    E-mail exchange with Ms. Zellmann of Residential      L320     0.30 hrs
                    Capital regarding Homecoming Financial.

09/05/2012   VLS    Assemble Homecoming Financial materials               L320     2.10 hrs
                    requested by Ms. Zellman of Residential Capital.

09/05/2012   JALB   Telephone conference with Mr. Underhill               L120     0.40 hrs
                    (Residential Capital), Mr. Fons (Morrison &
                    Foerster), Mr. Salerno (Morrison & Foerster), and
                    Ms. Marty regarding vendor transition update and
                    planning.
09/06/2012   JALB   Telephone conference with Mr. Underhill               L120     0.40 hrs
                    (Residential Capital) and Ms. Marty regarding
                    scope of available Marano data for various
                    discovery projects.
09/06/2012   JALB   Correspondence with Mr. Corcoran outlining            L120     0.20 hrs
                    handling of GSE communications per
                    confidentiality issues.
09/06/2012   JALB   Prepare and send memorandum to client requesting      L120     0.50 hrs
                    further guidance regarding GSE confidentiality
                    designations.
09/06/2012   JALB   Review correspondence and document request            L120     0.30 hrs
                    from Mr. Brown (Morrison & Foerster) regarding
                    DIP Lien discovery project.
09/06/2012   JALB   Correspondence with internal team (Mr. Corcoran,      L120     0.50 hrs
                    Ms. Marty) regarding coordination of DIP Lien
                    discovery project.
09/06/2012   DAB    Draft preparation outline for Mr. Lipps for hearing   L120     3.30 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
  932 00060                 Monthly Invoices Pg 62 of 1163
                                                        Invoice # 51639          Page 3
                    on FHFA discovery requests. (3.10) Conference
                    with Mr. Lipps regarding hearing preparations.
                    (.20)
09/07/2012   JAL    Review debtors' filing in support of maintenance of   L120     0.50 hrs
                    stay of FHFA disclosures. (.30) Conference with
                    Mr. Beck regarding same. (.20)
09/07/2012   JALB   Telephone conference with Mr. Brown (Morrison         L120     0.40 hrs
                    & Foerster) regarding coordination, collection of
                    materials, and staffing for document review for
                    DIP Lien rush project.
09/07/2012   JALB   Review and respond to e-mails regarding               L120     0.80 hrs
                    coordination, collection of materials, and staffing
                    for document review for DIP Lien rush project.
09/07/2012   JALB   Meet with Ms. Marty and Mr. Corcoran regarding        L120     0.50 hrs
                    coordination, collection of materials, and staffing
                    for document review for DIP Lien rush project.
09/07/2012   JALB   Correspondence with Mr. Corcoran regarding            L120     0.30 hrs
                    scope of request and drafting of review protocol.

09/07/2012   JALB   Weekly client update call.                            L120     1.20 hrs


09/07/2012   JALB   Follow up with references for new vendor.             L120     0.30 hrs


09/07/2012   JALB   Telephone conference regarding reference for          L120     0.30 hrs
                    Night Owl.

09/07/2012   JALB   Prepare note to team regarding reference for Night    L120     0.10 hrs
                    Owl.

09/07/2012   DAB    Communicate with Mr. Lipps and Ms. Battle             L120     0.30 hrs
                    regarding DIP order provisions on UCC review of
                    liens and topics for UCC discovery.
09/07/2012   DAB    Communicate with Mr. Lipps and Ms. Battle             L120     0.20 hrs
                    regarding FHFA's arguments on stay modification.

09/07/2012   JRC    E-mail exchange with Ms. Battle, Ms. Marty, Mr.       L320     0.20 hrs
                    Brown (Morrison & Foerster), Mr. Salerno
                    (Morrison & Foerster), and Ms. Levitt (Morrison &
                    Foerster) regarding search terms proposed by
                    Unsecured Creditors' Committee for documents
                    relating to the junior secured notes.
09/07/2012   JRC    Conference with Ms. Battle and Ms. Marty              L320     0.90 hrs
                    regarding request from the Unsecured Creditors'
                    Committee for documents relating to the junior
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
  932 00060                 Monthly Invoices Pg 63 of 1163
                                                        Invoice # 51639          Page 4
                    secured notes.
09/07/2012   JRC    Teleconference with Ms. Marty, Ms. Gulley (DTI),      L320     0.30 hrs
                    and Mr. Shipler (DTI) regarding request from the
                    Unsecured Creditors' Committee for documents
                    relating to the junior secured notes.
09/07/2012   JRC    Conference with Ms. Marty regarding request from      L320     0.10 hrs
                    the Unsecured Creditors' Committee for documents
                    relating to the junior secured notes.
09/07/2012   JRC    Teleconferences with Ms. Gulley (DTI) and Mr.         L320     0.20 hrs
                    Shipler (DTI) regarding import of data from FTI
                    Consulting and Centerview Partners for review in
                    response to request from the Unsecured Creditors'
                    Committee for documents relating to the junior
                    secured notes.
09/07/2012   JRC    Conference with Ms. Marty regarding import of         L320     0.10 hrs
                    data from FTI Consulting and Centerview Partners
                    for review in response to request from the
                    Unsecured Creditors' Committee for documents
                    relating to the junior secured notes.
09/07/2012   JRC    E-mail exchange with Ms. Battle and Ms. Marty         L320     0.10 hrs
                    regarding import of data from FTI Consulting and
                    Centerview Partners for review in response to
                    request from the Unsecured Creditors' Committee
                    for documents relating to the junior secured notes.
09/07/2012   JRC    Conference with Mr. Beekhuizen regarding              L120     0.10 hrs
                    outstanding subpoena issued in Florida for
                    borrower records from MBIA v. RFC.
09/07/2012   GNM    Telephone communications with Mr. Shipler and         L120     0.80 hrs
                    Ms. Gulley (DTI) regarding new database setup for
                    the DIP lien review for the UCC.
09/07/2012   GNM    Drafting and sending e-mail communications to         L120     0.40 hrs
                    Ms. Gulley regarding the new database setup for
                    the DIP lien review.
09/07/2012   GNM    E-mail communications with Ms. Gulley (DTI)           L120     0.20 hrs
                    regarding search terms for the DIP lien database.

09/08/2012   DAB    Communicate with Mr. Lipps regarding Second           L120     0.20 hrs
                    Circuit stay of FHFA discovery in FHFA
                    coordinated actions and Haims letter requesting
                    postponement of hearing.
09/08/2012   JRC    Research bankruptcy-related claims asserted           L320     0.60 hrs
                    against creditors in order to draft protocol for
                    review of documents in response to unsecured
                    creditors' committee's requests for documents
                    relating to Residential Capital's junior secured
                    notes.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27         Exhibit E
  932 00060                 Monthly Invoices Pg 64 of 1163
                                                        Invoice # 51639             Page 5
09/08/2012   JRC    Draft protocol for review of documents in response       L320     2.10 hrs
                    to unsecured creditors' committee's requests for
                    documents relating to Residential Capital's junior
                    secured notes.
09/08/2012   JRC    Review and analyze final order entered by the            L320     0.80 hrs
                    Bankruptcy Court relating to use of cash collateral
                    and adequate protection for the junior unsecured
                    bondholders in order to draft protocol for review of
                    documents in response to unsecured creditors'
                    committee's requests for documents relating to
                    Residential Capital's junior secured notes.
09/08/2012   JRC    Review and analyze protective order entered by the       L320     0.20 hrs
                    Bankruptcy Court in order to draft protocol for
                    review of documents in response to unsecured
                    creditors' committee's requests for documents
                    relating to Residential Capital's junior secured
                    notes.
09/08/2012   JRC    Review and analyze unsecured creditors'                  L320     0.30 hrs
                    committees' document requests in order to draft
                    protocol for review of documents in response to
                    unsecured creditors' committee's requests for
                    documents relating to Residential Capital's junior
                    secured notes.
09/08/2012   JRC    Review and analyze affidavit of James Whitlinger         L320     0.70 hrs
                    filed on the first day of bankruptcy in order to draft
                    protocol for review of documents in response to
                    unsecured creditors' committee's requests for
                    documents relating to Residential Capital's junior
                    secured notes.
09/08/2012   JRC    Review and analyze search terms proposed by the          L320     0.20 hrs
                    unsecured creditors' committee in order to draft
                    protocol for review of documents in response to
                    unsecured creditors' committee's requests for
                    documents relating to Residential Capital's junior
                    secured notes.
09/08/2012   JRC    Review and analyze e-mails exchanged relating to         L320     0.20 hrs
                    the junior unsecured bondholders in order to draft
                    protocol for review of documents in response to
                    unsecured creditors' committee's requests for
                    documents relating to Residential Capital's junior
                    secured notes.
09/09/2012   DAB    Review and comment on document review                    L120     0.40 hrs
                    protocol for UCC DIP lien review.

09/09/2012   JRC    E-mail exchange with Mr. Beck and Ms. Battle             L120     0.10 hrs
                    regarding protocol for review of documents
                    relating to the junior secured notes in response to
                    requests from the unsecured creditors' committee.
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09/10/2012   JAL    Review FHFA filing supporting lifting of stay.       L250     0.80 hrs


09/10/2012   JAL    Conference with Mr. Beck regarding FHFA filing       L120     0.20 hrs
                    supporting lifting of stay.

09/10/2012   JAL    Prepare for potential testimony at FHFA discovery    L120     2.00 hrs
                    hearing by reviewing original briefing and prior
                    hearing transcript.
09/10/2012   JAL    Review declaration and other materials to prepare    L120     2.80 hrs
                    for potential cross examination at FHFA discovery
                    hearing.
09/10/2012   JALB   Review materials pertinent to Mr. Lipps' potential   L230     0.50 hrs
                    testimony relating to FHFA discovery request.

09/10/2012   JALB   Meetings and discussions with Mr. Brown              L120     0.80 hrs
                    (Morrison & Foerster), Mr. Corcoran and Ms.
                    Marty regarding status of DIP lien review and
                    production effort.
09/10/2012   JALB   Correspondence with Ms. Levitt (Morrison &           L120     0.20 hrs
                    Foerster) and Ms. Zellmann (Residential Capital)
                    regarding retention of DTI.
09/10/2012   JALB   E-mails with Mr. Corcoran and Ms. Gulley (DTI)       L120     0.40 hrs
                    regarding parameters for DIP lien production.

09/10/2012   JALB   Correspondence with Mr. Corcoran and Ms. Marty       L120     0.40 hrs
                    regarding status of DIP lien project.

09/10/2012   JALB   Prepare and collect materials for Sept 11 hearing    L230     0.40 hrs
                    on FHFA discovery request.

09/10/2012   DAB    Respond to Mr. Lipps questions related to FHFA       L120     0.60 hrs
                    discovery hearing.

09/10/2012   DAB    Communicate with Mr. Lipps regarding Ally letter     L120     0.10 hrs
                    to FHFA about prebankruptcy references in
                    Residential Capital and Ally filing in FHFA to
                    loan files.
09/10/2012   JRC    Review and analyze data migration information for    L120     0.40 hrs
                    the junior secured notes review provided by DTI in
                    order to suggest revisions to the search strings
                    proposed by the unsecured creditors' committee.
09/10/2012   JRC    E-mail exchange with Ms. Battle and Ms. Marty        L120     0.10 hrs
                    regarding revisions to the search strings proposed
                    by the unsecured creditors' committee for
                    documents relating to the junior secured notes.
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09/10/2012   GNM    E-mail communications with Ms. Battle regarding        L120     0.20 hrs
                    search terms for the DIP lien data to be reviewed
                    and produced to the Examiner.
09/11/2012   AMP    Review and respond to e-mail from Ms. Battle           L120     0.10 hrs
                    regarding Morrison and Foerster's question as to
                    McKool Smith law firm for privilege review.
09/11/2012   AMP    Research role of McKool Smith law firm for             L120     0.10 hrs
                    privilege determination.

09/11/2012   JAL    Telephone conference with Mr. Beck regarding lift      L120     0.30 hrs
                    stay hearing.

09/11/2012   JAL    Prepare for hearing on FHFA discovery hearing.         L120     2.00 hrs


09/11/2012   JAL    Review declaration to prepare for potential            L120     1.50 hrs
                    cross-examination at FHFA hearing.

09/11/2012   JAL    Draft summary of lift stay hearing on FHFA issues.     L120     0.50 hrs


09/11/2012   JAL    Conference with Ms. Battle to prepare for potential    L120     1.20 hrs
                    testimony at FHFA hearing.

09/11/2012   JAL    Review Judge Glenn's rulings on various discovery      L250     0.10 hrs
                    issues in VELO Holdings.

09/11/2012   JAL    Conferences with Ms. Battle and Mr. Beck               L120     0.20 hrs
                    regarding Judge Glenn's rulings on various
                    discovery issues in VELO Holdings
09/11/2012   VLS    Review Seller files in database for additional         L320     5.30 hrs
                    identifying information at the request of Ms.
                    Zellmann at Residential Capital.
09/11/2012   JALB   Correspondence with Mr. Underhill (Residential         L120     0.10 hrs
                    Capital) regarding status of Sharepoint searching.

09/11/2012   JALB   Prepare for FHFA hearing and review materials          L230     1.50 hrs
                    pertinent to Mr. Lipps' potential testimony relating
                    to FHFA discovery request.
09/11/2012   JALB   Meet with Mr. Lipps to prepare for potential           L120     1.40 hrs
                    testimony relating to FHFA discovery request.

09/11/2012   JALB   Attend bankruptcy court hearings in NYC relating       L230     3.30 hrs
                    to open discovery issues and FHFA discovery
                    request.
09/11/2012   JALB   Correspondence with Mr. Corcoran and Ms. Marty         L120     0.40 hrs
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                    regarding status of DIP lien review and production
                    effort and review protocol, etc.
09/11/2012   JALB   Correspondence with Ms. Sholl regarding status of     L120     0.20 hrs
                    seller file identification.

09/11/2012   JALB   Telephone conference with Mr. Rothberg                L120     0.20 hrs
                    (Morrison & Foerster) regarding FHFA request for
                    collateral files and information contained therein.
09/11/2012   DAB    Communicate with Mr. Blaschko (Residential            L120     0.20 hrs
                    Capital) regarding originator information relevant
                    to CUNA loan file request.
09/11/2012   DAB    Analyze transcript of Ally 30(b)(6) witness in        L330     1.10 hrs
                    FHFA concerning testimony regarding which
                    records are in custody and control of Debtors
                    versus Ally.
09/11/2012   DAB    Communicate with Mr. Lipps and Ms. Battle             L120     0.20 hrs
                    regarding relevant information from Ally 30(b)(6)
                    transcript for discovery disputes with FHFA.
09/11/2012   DAB    Communicate with Ms. Battle and Mr. Lipps             L120     0.30 hrs
                    regarding contents of 9019 data room and
                    information provided to UCC and other objectors
                    concerning settlement to respond to FHFA
                    allegations.
09/11/2012   DAB    Communicate with Mr. Clark (Morrison &                L120     0.20 hrs
                    Foerster) regarding information provided to experts
                    on 9019 settlement.
09/11/2012   DAB    Analyze rulings of Judge Glenn on ESI and joint       L120     1.10 hrs
                    defense privilege in Velo Holdings.

09/11/2012   DAB    Draft memorandum to Mr. Lipps and Ms. Battle          L120     0.50 hrs
                    regarding previous rulings of Judge Glenn on joint
                    defense privilege.
09/11/2012   DAB    Communicate with Ms. Battle regarding questions       L120     0.40 hrs
                    being raised by Judge Glenn at FHFA hearing.

09/11/2012   DAB    Conference with Mr. Corcoran regarding                L120     0.20 hrs
                    explanations of relevant materials to review team
                    on DIP lien review.
09/11/2012   DAB    Analyze Second Circuit stay of FHFA actions.          L120     0.10 hrs


09/11/2012   DAB    Communicate with Ms. Battle regarding Second          L120     0.10 hrs
                    Circuit stay of FHFA actions.

09/11/2012   JRC    Conference with Ms. Battle and Ms. Marty              L120     0.20 hrs
                    regarding review of documents relating to the
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                    junior secured notes in response to requests from
                    the unsecured creditors' committee.
09/11/2012   JRC    Teleconference with Mr. Brown (Morrison &              L120     0.20 hrs
                    Foerster) regarding scope of review of documents
                    relating to the junior secured notes in response to
                    requests from the unsecured creditors' committee.
09/11/2012   JRC    Conference with Ms. Battle regarding protocol for      L120     0.10 hrs
                    review of documents relating to the junior secured
                    notes in response to requests from the unsecured
                    creditors' committee.
09/11/2012   JRC    Conference with Mr. Beck regarding protocol for        L120     0.10 hrs
                    review of documents relating to the junior secured
                    notes in response to requests from the unsecured
                    creditors' committee.
09/11/2012   JRC    Conference with Ms. Marty regarding filtering of       L120     0.10 hrs
                    junior secured noteholder data by DTI.

09/11/2012   JRC    E-mail exchange with Ms. Marty regarding               L120     0.10 hrs
                    filtering of junior secured noteholder data by DTI.

09/11/2012   JRC    Review documents in Discovery Partner to               L120     0.30 hrs
                    determine whether DTI correctly filtered the junior
                    secured noteholder data.
09/11/2012   JRC    Conference with Ms. Marty regarding data               L120     0.10 hrs
                    migration from Ally Bank subservicing agreement
                    review to the junior secured notes database in
                    Discovery Partner.
09/11/2012   JRC    E-mail exchange with Ms. Battle regarding staffing     L120     0.10 hrs
                    for review of documents relating to the junior
                    secured notes in response to requests from the
                    unsecured creditors' committee.
09/11/2012   JRC    Conference with Mr. Barthel regarding protocol for     L120     0.10 hrs
                    review of documents relating to the junior secured
                    notes in response to requests from the unsecured
                    creditors' committee.
09/11/2012   JRC    Draft e-mail providing instructions and                L120     0.30 hrs
                    summarizing key aspects of protocol for reviewers
                    for review of documents relating to the junior
                    secured notes in response to requests from the
                    unsecured creditors' committee.
09/11/2012   JRC    Revise protocol for review of documents relating       L120     2.80 hrs
                    to the junior secured notes in response to requests
                    from the unsecured creditors' committee based on
                    suggestions of Ms. Battle and Mr. Beck.
09/11/2012   JRC    E-mail exchange with Ms. Marty and Ms. Battle          L120     0.10 hrs
                    regarding use of issue tags in Discovery Partner for
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                    review of documents relating to the junior secured
                    notes in response to requests from the unsecured
                    creditors' committee.
09/11/2012   SP     Review and compile documents in Discovery             L120     2.60 hrs
                    Partner relating to treatment by the board of
                    directors and various committees of transactions in
                    2008 for significant issues that may arise during
                    interviews and prepare a binder regarding the same
                    for Mr. Beck.
09/11/2012   GNM    Reading and analyzing the DIP lien review             L320     0.90 hrs
                    protocol to review documents for responsiveness,
                    privilege and confidentiality designations.
09/11/2012   GNM    E-mail communications with Ms. Gulley (DTI)           L120     0.20 hrs
                    regarding search terms for the DIP lien data to be
                    reviewed and produced to the Examiner.
09/11/2012   GNM    Performing analytics in the DIP lien database to      L320     0.10 hrs
                    prepare data for review.

09/11/2012   GNM    Drafting and sending e-mail communications to         L120     0.40 hrs
                    Ms. Battle regarding DIP lien review staffing and
                    timeline.
09/11/2012   GNM    Telephone communications with Ms. Battle              L120     0.30 hrs
                    regarding DIP lien review staffing and timeline.

09/11/2012   GNM    Telephone communications with DTI team                L120     0.40 hrs
                    regarding status of data migration for DIP lien
                    data.
09/11/2012   GNM    Updating and sending DTI issue log to Ms. Battle.     L320     0.30 hrs


09/12/2012   AMP    Review junior secured noteholder review protocol      L120     1.80 hrs
                    materials to assist Morrison and Foerster in
                    production to UCC.
09/12/2012   AMP    E-mails with Mr. Corcoran and Ms. Battle              L120     0.30 hrs
                    regarding production parameters and potential
                    issues.
09/12/2012   AMP    Attention to assigned batch for junior secured        L120     1.70 hrs
                    noteholder review.

09/12/2012   AMP    Review and respond to e-mails regarding this          L120     0.40 hrs
                    review for production to UCC.

09/12/2012   JAL    Review 2nd Circuit stay order in FHFA case and        L250     0.30 hrs
                    letter to Judge Glenn regarding same.

09/12/2012   JAL    Revise summary of hearing on FHFA discovery           L120     1.50 hrs
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                    and analysis of lift stay issues.

09/12/2012   JALB   Correspondence with Mr. Corcoran and Mr. Brown           L120     0.30 hrs
                    (Morrison & Foerster) regarding DIP Lien staffing
                    and management, logistics and timing.
09/12/2012   JALB   Correspondence with Ms. Sholl regarding mapping          L120     0.30 hrs
                    of seller files.

09/12/2012   DAB    Analyze materials in 2004 database concerning            L120     0.40 hrs
                    Ally Bank transactions.

09/12/2012   JRC    Review and analyze search term frequency reports         L120     0.30 hrs
                    from DTI in order to suggest revisions to the
                    search terms for junior secured notes review.
09/12/2012   JRC    E-mail exchange with Ms. Battle and Mr. Brown            L120     0.20 hrs
                    (Morrison & Foerster) regarding training for
                    Morrison & Foerster reviewers on junior secured
                    notes review in response to requests from the
                    unsecured creditors' committee.
09/12/2012   JRC    E-mail exchange with Ms. Battle and Ms. Marty            L120     0.10 hrs
                    regarding custodians for the junior secured notes
                    review in response to requests from the unsecured
                    creditors' committee.
09/12/2012   JRC    E-mail exchange with Ms. Gulley (DTI) regarding          L120     0.10 hrs
                    filtering of data relating to the junior secured notes
                    review.
09/12/2012   JRC    Review and analyze revised protocol from                 L120     0.20 hrs
                    Morrison & Foerster relating to review of
                    documents in response to requests from the
                    bankruptcy examiner.
09/12/2012   SP     Review and code documents in the DIP Lien                L120     1.80 hrs
                    sub-project in Discovery Partner for
                    responsiveness and privilege for relating to Junior
                    Secured Noteholder document requests.
09/12/2012   GNM    Working in Discovery Partner database                    L320     0.60 hrs
                    configuring data for DIP lien review.

09/12/2012   GNM    Telephone communications with Ms. Gulley (DTI)           L120     0.70 hrs
                    regarding filtering of data being loaded in the DIP
                    lien database.
09/12/2012   AJM    Review document review protocol for DIP lien             L120     0.20 hrs
                    first level review project.

09/13/2012   AMP    Review and respond to e-mail from Mr. Corcoran           L120     0.40 hrs
                    regarding Ally Revolver and junior secured
                    noteholders document issues for purposes of
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                    assisting Morrison and Foerster with production to
                    UCC.
09/13/2012   JALB   Telephone conference with Mr. Corcoran                L120     0.20 hrs
                    regarding status of DIP lien review and production
                    effort.
09/13/2012   JALB   Correspondence with Mr. Englehardt (Morrison &        L120     0.10 hrs
                    Foerster) regarding revision of search terms for
                    Centerview data.
09/13/2012   JALB   Review draft list of issues to address with new       L320     0.30 hrs
                    vendor and suggest revisions.

09/13/2012   MMM    Review e-mails from Mr. Ruhlin for DIP lien           L120     3.80 hrs
                    document review.

09/13/2012   JRC    Conference with Mr. Lipps and Ms. Battle              L120     0.10 hrs
                    regarding notice of status conference arising from
                    subpoena to borrowers in Florida in connection
                    with MBIA v. RFC.
09/13/2012   JRC    Teleconference with court clerk regarding notice of   L120     0.10 hrs
                    status conference arising from subpoena to
                    borrowers in Florida in connection with MBIA v.
                    RFC.
09/13/2012   JRC    E-mail exchange with Mr. Beck and Ms. Battle          L120     0.10 hrs
                    regarding protocol for review of documents
                    relating to the junior secured notes in response to
                    request from the unsecured creditors' committee.
09/13/2012   JRC    E-mail exchange with Ms. Battle and Ms. Marty         L120     0.10 hrs
                    regarding training of Morrison & Foerster
                    reviewers for junior secured notes review.
09/13/2012   JRC    Draft e-mail to reviewers at Morrison & Foerster      L120     0.10 hrs
                    providing materials for training for review of
                    documents relating to the junior secured notes.
09/13/2012   JRC    Conference with Ms. Battle regarding protocol for     L120     0.30 hrs
                    review of documents relating to the junior secured
                    notes in response to request from the unsecured
                    creditors' committee.
09/13/2012   JRC    Review newly restored data in Discovery Partner       L120     1.10 hrs
                    relating to the junior secured notes in order to
                    revise protocol for coding documents relating to
                    the junior secured notes.
09/13/2012   JRC    E-mail exchange with Mr. Beck regarding protocol      L120     0.10 hrs
                    for reviewing documents relating to the junior
                    secured notes in response to requests for
                    documents from the unsecured creditors'
                    committee.
09/13/2012   JRC    Revise protocol for review of documents relating      L120     0.40 hrs
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                    to the junior secured notes in response to request
                    for production of documents from the unsecured
                    creditors' committee.
09/13/2012   JRC    Coordinate review of documents relating to the        L120     0.30 hrs
                    junior secured notes by reviewing and analyzing
                    documents identified by reviewers at Carpenter
                    Lipps & Leland and at Morrison & Foerster in
                    order to provide advice on how to correctly code
                    those documents.
09/13/2012   JRC    Coordinate review of documents relating to the        L120     0.20 hrs
                    junior secured notes by drafting e-mails to
                    attorneys at Carpenter Lipps & Leland and
                    Morrison & Foerster providing advice on how to
                    correctly code those documents.
09/13/2012   SP     Review and code documents from Mr. Marano in          L120     5.30 hrs
                    the DIP Lien sub-project in Discovery Partner for
                    responsiveness and privilege for relating to Junior
                    Secured Noteholder document requests.
09/13/2012   SP     Review and code documents from Mr. Whitlinger         L120     5.10 hrs
                    in the DIP Lien sub-project in Discovery Partner
                    for responsiveness and privilege for relating to
                    Junior Secured Noteholder document requests.
09/13/2012   GNM    Working in Discovery Partner reviewing DIP lien       L320     1.60 hrs
                    data for responsiveness, privilege, and
                    confidentiality as outlined in the review protocol.
09/13/2012   GNM    Telephone communications with Ms. Chinn               L120     0.80 hrs
                    (Contract Reviewer) regarding review protocol for
                    DIP lien review
09/13/2012   GNM    Telephone communications with Ms. Klun (Lumen         L120     0.40 hrs
                    Legal) regarding new reviewers for DIP lien data.

09/13/2012   AJM    Review document review protocol for DIP lien          L120     0.80 hrs
                    first level review project.

09/13/2012   AJM    DIP Lien project, first level document review,        L120     7.40 hrs
                    batch Marano responsive only 003.

09/14/2012   AMP    Attention to review of DIP Lien assigned Goren        L120     2.30 hrs
                    batch for responsiveness, confidentiality and
                    privilege.
09/14/2012   AMP    Review and respond to e-mails from reviewers          L120     0.40 hrs
                    regarding responsive determinations.

09/14/2012   KMC    Conference with Mr. Corcoran regarding UCC            L110     0.20 hrs
                    Junior Secured Noteholder document review.
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09/14/2012   KMC    Review document review protocol and related               L110     1.10 hrs
                    documents.

09/14/2012   KMC    Review documents for responsiveness and                   L110     0.80 hrs
                    privilege regarding creditor's committee's request
                    for documents regarding UCC Junior Secured
                    Noteholders.
09/14/2012   JALB   Participate in weekly client update call with Mr.         L120     0.90 hrs
                    Thompson (Residential Capital), Mr. Ruckdaschel
                    (Residential Capital), Ms. Delehey (Residential
                    Capital), Ms. Zellmann (Residential Capital), and
                    Mr. Underhill (Residential Capital)) regarding
                    status of open discovery projects, status of
                    potential litigation matters, and representation of
                    individuals.
09/14/2012   JALB   Coordination with Ms. Zellmann (Residential               L120     0.40 hrs
                    Capital) and Ms. Sholl regarding collection of
                    missing seller files across projects.
09/14/2012   JALB   Discussion with Mr. Englehardt and Mr. Brown              L120     0.40 hrs
                    (Morrison & Foerster) regarding status of DIP lien
                    review and production effort.
09/14/2012   JALB   Meetings and discussions with Mr. Corcoran and            L120     0.60 hrs
                    Ms. Marty regarding status of DIP lien review and
                    production effort.
09/14/2012   DJB    Code documents for responsiveness and privilege           L120     6.30 hrs
                    for custodian Lee relating to Junior Secured
                    Noteholder document requests.
09/14/2012   MMM    Conference with Mr. Corcoran to discuss review            L120     0.30 hrs
                    protocol regarding DIP lien document review.

09/14/2012   MMM    Review e-mails from Mr. Ruhlin for DIP lien               L120     3.40 hrs
                    document review.

09/14/2012   JRC    Review, analyze, and code newly restored data      A104   L120     2.60 hrs
                    relating to the junior secured notes in Discovery
                    Partner in order to produce those documents to the
                    unsecured creditors' committee.
09/14/2012   JRC    Teleconference with Mr. Isajiw (Cadwalader,               L120     0.10 hrs
                    Wickersham & Taft) regarding court-ordered status
                    conference relating to borrower subpoenas issued
                    in connection with MBIA v. RFC.
09/14/2012   JRC    Train reviewers from Morrison & Foerster on the           L120     1.50 hrs
                    protocol for reviewing documents in response to
                    the documents relating to the junior secured notes
                    from the unsecured creditors' committee.
09/14/2012   JRC    Conference with Ms. Mohler and Ms. Chinn                  L120     0.40 hrs
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                    (contract reviewer) regarding protocol for
                    reviewing documents in response to the documents
                    relating to the junior secured notes from the
                    unsecured creditors' committee.
09/14/2012   JRC    Teleconference with Mr. Brown (Morrison &             L120     0.10 hrs
                    Foerster) regarding protocol for reviewing
                    documents in response to the requests relating to
                    the junior secured notes from the unsecured
                    creditors' committee.
09/14/2012   JRC    Teleconference with Ms. Cadieux regarding             L120     0.20 hrs
                    protocol for reviewing documents in response to
                    the requests relating to the junior secured notes
                    from the unsecured creditors' committee.
09/14/2012   JRC    Teleconference with Mr. Galeotti (Morrison &          L120     0.10 hrs
                    Foerster) regarding protocol for reviewing
                    documents in response to the requests relating to
                    the junior secured notes from the unsecured
                    creditors' committee.
09/14/2012   JRC    E-mail exchange with Ms. Gulley (DTI) regarding       L120     0.20 hrs
                    access to Discovery Partner for Morrison &
                    Foerster reviewers.
09/14/2012   JRC    E-mail exchange with Ms. Gulley (DTI) regarding       L120     0.20 hrs
                    transfer of document coding from one subproject in
                    Discovery Partner to another.
09/14/2012   JRC    Coordinate review of documents relating to the        L120     0.40 hrs
                    junior secured notes by reviewing and analyzing
                    documents identified by reviewers at Carpenter
                    Lipps & Leland and at Morrison & Foerster in
                    order to provide advice on how to correctly code
                    those documents.
09/14/2012   JRC    Coordinate review of documents relating to the        L120     0.40 hrs
                    junior secured notes by drafting e-mails to
                    attorneys at Carpenter Lipps & Leland and
                    Morrison & Foerster providing advice on how to
                    correctly code those documents.
09/14/2012   JRC    Coordinate junior secured notes review in response    L120     0.30 hrs
                    to requests from the unsecured creditors'
                    committee by assigning batches in Discovery
                    Partner to reviewers.
09/14/2012   JRC    Review, analyze, and code documents transferred       L120     2.10 hrs
                    from the Ally Bank subservicing database in
                    Discovery Partner in order to produce those
                    documents to the unsecured creditors' committee in
                    response to requests relating to the junior secured
                    notes.
09/14/2012   JRC    Review for quality control coding of documents        L120     1.10 hrs
                    transferred from the Ally Bank subservicing
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                    database in Discovery Partner prior to production
                    to the unsecured creditors' committee.
09/14/2012   JRC    Review and tag for production documents               L120     0.20 hrs
                    responsive to request from unsecured creditors'
                    committee for documents relating to junior secured
                    notes.
09/14/2012   JRC    Draft instructions for production to Ms. Gulley       L320     0.20 hrs
                    (DTI) for documents relating to the junior secured
                    notes in response to requests from the unsecured
                    creditors' committee.
09/14/2012   SP     Review and code documents from Mr. Whitlinger         L120     4.30 hrs
                    in the DIP Lien sub-project in Discovery Partner
                    for responsiveness and privilege for relating to
                    Junior Secured Noteholder document requests.
09/14/2012   SP     Review and code documents from Mr. Morano in          L120     4.10 hrs
                    the DIP Lien sub-project in Discovery Partner for
                    responsiveness and privilege for relating to Junior
                    Secured Noteholder document requests.
09/14/2012   GNM    Working in Discovery Partner database reviewing       L320     1.50 hrs
                    DIP lien data data for responsiveness, privilege,
                    and confidentiality as outlined in the review
                    protocol.
09/14/2012   AJM    DIP Lien project, first level document review,        L320     1.00 hrs
                    batch Marano responsive only 006.

09/14/2012   AJM    DIP Lien project, first level document review,        L320     2.00 hrs
                    batch Marano responsive only 007.

09/14/2012   AJM    DIP Lien project, first level document review,        L320     1.00 hrs
                    batch Whitlinger responsive only 003.

09/14/2012   AJM    DIP Lien project, first level document review,        L320     1.80 hrs
                    batch Ruhlin responsive only 007.

09/15/2012   AMP    Review documents from assigned batch for              L120     3.10 hrs
                    responsiveness on DIP Lien issues.

09/15/2012   AMP    Review and respond to e-mails from Ms. Battle         L120     0.30 hrs
                    and reviewers regarding DIP Lien review.

09/15/2012   AMP    Attention to implementing comparevue tool to          L120     1.70 hrs
                    ensure responsive and privilege determinations are
                    accurate and consistent for UCC production of DIP
                    Lien documents.
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09/15/2012   JALB   Correspondence with Mr. Englehardt (Morrison &         L120     0.10 hrs
                    Foerster) regarding status of DIP lien review.

09/15/2012   JALB   Correspondence with Mr. Corcoran, Ms. Marty,           L120     0.30 hrs
                    and review team regarding status of DIP lien
                    review and production effort.
09/15/2012   DJB    Code documents for responsiveness and privilege        L120     2.40 hrs
                    for custodian Lee relating to Junior Secured
                    Noteholder document requests.
09/15/2012   MMM    Review e-mails from Mr. Ruhlin for DIP lien            L120     4.30 hrs
                    document review.

09/15/2012   JRC    Review, analyze, and code e-mails of Mr.               L120     1.90 hrs
                    Whitlinger (Residential Capital) relating to the
                    junior secured notes in Discovery Partner in
                    response to requests from the unsecured creditors'
                    committee.
09/15/2012   JRC    Review, analyze, and code e-mails of Mr. Marano        L120     4.20 hrs
                    (Residential Capital) relating to the junior secured
                    notes in Discovery Partner in response to requests
                    from the unsecured creditors' committee.
09/15/2012   JRC    E-mail exchange with Ms. Marty, Ms. Gulley             L120     0.10 hrs
                    (DTI), and Ms. Battle regarding transferring
                    redactions from one subproject to another in
                    Discovery Partner.
09/15/2012   JRC    Coordinate review of documents relating to the         L120     0.40 hrs
                    junior secured notes by reviewing and analyzing
                    documents identified by reviewers at Carpenter
                    Lipps & Leland and at Morrison & Foerster in
                    order to provide advice on how to correctly code
                    those documents.
09/15/2012   JRC    Coordinate review of documents relating to the         L120     0.30 hrs
                    junior secured notes by drafting e-mails to
                    attorneys at Carpenter Lipps & Leland and
                    Morrison & Foerster providing advice on how to
                    correctly code those documents.
09/15/2012   JRC    Coordinate junior secured notes review in response     L120     0.20 hrs
                    to requests from the unsecured creditors'
                    committee by assigning batches in Discovery
                    Partner to reviewers.
09/15/2012   SP     Review and code documents from Mr. Ruhlin in           L120     3.70 hrs
                    the DIP Lien sub-project in Discovery Partner for
                    responsiveness and privilege for relating to Junior
                    Secured Noteholder document requests.
09/15/2012   SP     Review and code documents from Mr. Morano in           L120     3.20 hrs
                    the DIP Lien sub-project in Discovery Partner for
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                    responsiveness and privilege for relating to Junior
                    Secured Noteholder document requests.
09/15/2012   GNM    E-mail communications with Ms. Gulley (DTI)                   L120     0.10 hrs
                    regarding filtering of privilege terms in DIP lien
                    database.
09/15/2012   GNM    Working in Discovery Partner database                         L320     0.20 hrs
                    configuring recently loaded custodian data for
                    review.
09/15/2012   AJM    DIP Lien project, first level document review,                L320     2.20 hrs
                    batch Ruhlin responsive only 006.

09/15/2012   AJM    DIP Lien project, first level document review,                L320     2.90 hrs
                    batch Whitlinger responsive only 001.

09/15/2012   AJM    DIP Lien project, first level document review,                L320     0.10 hrs
                    batch Whitlinger responsive only 002.

09/16/2012   AMP    Attention to reviewing documents in Ruhlin                    L120     3.90 hrs
                    responsive batch and Goren Batches 2 and 3 for
                    responsiveness and privilege.
09/16/2012   AMP    Review and respond to e-mails from Mr. Corcoran               L120     0.50 hrs
                    regarding joint representation/joint defense issues.

09/16/2012   AMP    E-mails with reviewers regarding various coding               L120     0.60 hrs
                    issues and resolving those issues.

09/16/2012   KMC    Review e-mails of Ms. Westam for responsiveness,              L110     6.20 hrs
                    confidentiality, and privilege regarding creditors
                    committee's request for documents regarding UCC
                    Junior Secured Noteholders.
09/16/2012   KMC    E-mail correspondence with Mr. Corcoran                       L110     0.30 hrs
                    regarding document review.

09/16/2012   JALB   Correspondence with Mr. Corcoran and Ms. Marty                L120     0.40 hrs
                    regarding status of DIP lien review and production
                    effort.
09/16/2012   DJB    Code documents for responsiveness and privilege               L120     6.40 hrs
                    for custodian Nashelsky relating to Junior Secured
                    Noteholder document requests.
09/16/2012   MMM    Review e-mails from Mr. Whitlinger (Residential               L120     4.00 hrs
                    Capital) that are possibly privileged for junior
                    secured notes project.
09/16/2012   MMM    Review e-mails from Mr. Nashelesky (Residential               L120     5.80 hrs
                    Capital) for junior secured notes project.

09/16/2012   JRC    Coordinate review of documents relating to the         A101   L120     0.20 hrs
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                    junior secured notes by reviewing and analyzing
                    documents identified by reviewers at Carpenter
                    Lipps & Leland and at Morrison & Foerster in
                    order to provide advice on how to correctly code
                    those documents.
09/16/2012   JRC    Coordinate review of documents relating to the        A101   L120     0.20 hrs
                    junior secured notes by drafting e-mails to
                    attorneys at Carpenter Lipps & Leland and
                    Morrison & Foerster providing advice on how to
                    correctly code those documents.
09/16/2012   JRC    Review, analyze, and code e-mails of Mr.              A104   L120     3.30 hrs
                    Whitlinger (Residential Capital) relating to the
                    junior secured notes in Discovery Partner in
                    response to requests from the unsecured creditors'
                    committee.
09/16/2012   JRC    Review, analyze, and code e-mails of Mr.              A104   L120     1.60 hrs
                    Nashelsky (Morrison & Foerster) relating to the
                    junior secured notes in Discovery Partner in
                    response to requests from the unsecured creditors'
                    committee.
09/16/2012   SP     Review and code documents from Mr. Ruhlin in                 L120     2.30 hrs
                    the DIP Lien sub-project in Discovery Partner for
                    responsiveness and privilege for relating to Junior
                    Secured Noteholder document requests.
09/16/2012   SP     Review and code documents from Mr. Whitlinger                L120     3.60 hrs
                    in the DIP Lien sub-project in Discovery Partner
                    for responsiveness and privilege for relating to
                    Junior Secured Noteholder document requests.
09/16/2012   GNM    Working in Discovery partner database reviewing              L320     9.10 hrs
                    Joe Ruhlin data for responsiveness, privilege and
                    confidentiality designations as outlined in review
                    protocol for DIP lien review.
09/16/2012   GNM    Working in Discovery Partner database redacting              L320     4.10 hrs
                    partially privileged items for production for DIP
                    lien review.
09/16/2012   GNM    E-mail communications with Mr. Corcoran                      L120     0.10 hrs
                    regarding staffing issues for DIP lien review.

09/16/2012   AJM    DIP Lien project, first level document review,               L320     1.20 hrs
                    batch Whitlinger responsive only 002.

09/16/2012   AJM    DIP Lien project, first level document review,               L320     5.00 hrs
                    batch Ruhlin possibly privileged 002.

09/16/2012   AJM    DIP Lien project, first level document review,               L320     1.10 hrs
                    batch Ruhlin possibly privileged 005.
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09/17/2012   AMP    Review and respond to e-mails with other              L120     1.10 hrs
                    reviewers regarding coding consistency issues for
                    UCC DIP Lien.
09/17/2012   AMP    Attention to reviewing documents in Goren             L120     2.80 hrs
                    Possible Privilege Batch 2 for responsiveness and
                    privilege for DIP lien review.
09/17/2012   AMP    Attention to reviewing documents in Goren             L120     3.20 hrs
                    Possible Privilege Batch 4 for responsiveness and
                    privilege for DIP lien review.
09/17/2012   AMP    Meeting with Ms. Cadieux regarding potentially        L120     0.20 hrs
                    significant document for DIP lien review.

09/17/2012   AMP    Review and respond to e-mails with Ms. Cadieux        L120     0.30 hrs
                    regarding potentially significant document for DIP
                    lien review.
09/17/2012   KMC    Review e-mails of Ms. Westman for                     L110     2.90 hrs
                    confidentiality, responsiveness and privilege
                    regarding creditor committee's request for
                    documents regarding UCC Junior Secured
                    Noteholders.
09/17/2012   KMC    E-mail correspondence with Mr. Corcoran               L110     0.30 hrs
                    regarding document review issues for DIP lien
                    review.
09/17/2012   JALB   Discussions with Mr. Corcoran and Ms. Marty           L120     0.70 hrs
                    regarding status and plan for DIP Lien e-mail
                    production.
09/17/2012   DJB    Code documents for responsiveness and privilege       L120     7.30 hrs
                    for custodian Nashelsky relating to Junior Secured
                    Noteholder document requests.
09/17/2012   MMM    Review e-mails from Mr. Nashelesky (Morrison &        L120     4.50 hrs
                    Foerster) for DIP lien document review.

09/17/2012   MMM    Review e-mails from Mr. Lee (Morrison &               L120     7.60 hrs
                    Foerster) that are possibly privileged for DIP lien
                    document review.
09/17/2012   DAB    Communicate with Mr. Schares (Residential             L120     0.20 hrs
                    Capital) regarding CUNA loan file requests.

09/17/2012   JRC    Conference with Ms. Paul Whitfield regarding          L320     0.20 hrs
                    protocol for review of documents relating to the
                    junior secured notes in response to request for
                    production from the unsecured creditors'
                    committee.
09/17/2012   JRC    Coordinate review of documents relating to the        L320     0.60 hrs
                    junior secured notes by reviewing and analyzing
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                    documents identified by reviewers at Carpenter
                    Lipps & Leland and at Morrison & Foerster in
                    order to provide advice on how to correctly code
                    those documents.
09/17/2012   JRC    Coordinate review of documents relating to the          L320     0.60 hrs
                    junior secured notes by drafting e-mails to
                    attorneys at Carpenter Lipps & Leland and
                    Morrison & Foerster providing advice on how to
                    correctly code those documents.
09/17/2012   JRC    E-mail exchange with Ms. Marty and Ms. Battle           L320     0.20 hrs
                    regarding progress of and plan for coding of
                    documents relating to the junior secured liens.
09/17/2012   JRC    Conference with Mr. Barthel regarding protocol for      L320     0.10 hrs
                    review of documents relating to the junior secured
                    notes in response to request for production from
                    the unsecured creditors' committee.
09/17/2012   JRC    Conference with Ms. Marty regarding loading of          L320     0.10 hrs
                    data relating to the junior secured notes in response
                    to request for production from the unsecured
                    creditors' committee.
09/17/2012   JRC    Teleconference with Mr. Galeotti (Morrison &            L320     0.10 hrs
                    Foerster) regarding protocol for review of
                    documents relating to the junior secured notes in
                    response to request for production from the
                    unsecured creditors' committee.
09/17/2012   JRC    Review protocol and accompanying materials in           L320     0.30 hrs
                    order to train contract reviewers on document
                    protocol for review of documents relating to the
                    junior secured notes in response to request for
                    production from the unsecured creditors'
                    committee.
09/17/2012   JRC    Train contract reviewers on document protocol for       L320     0.90 hrs
                    review of documents relating to the junior secured
                    notes in response to request for production from
                    the unsecured creditors' committee.
09/17/2012   JRC    E-mail exchange with Ms. Battle, Mr. Chopra             L320     0.20 hrs
                    (Centerview Partners), Mr. Brown (Morrison &
                    Foerster), and Mr. Engelhardt (Morrison &
                    Foerster) regarding production of Centerview
                    Partners data to the unsecured creditors' committee.
09/17/2012   JRC    E-mail exchange with Mr. Engelhardt (Morrison &         L320     0.10 hrs
                    Foerster) regarding Bates numbering for
                    productions to the unsecured creditors' committee.
09/17/2012   JRC    Review for quality control e-mails of Mr.               L320     3.20 hrs
                    Whitlinger (Residential Capital) relating to the
                    junior secured notes that were coded by first-level
                    reviewers in Discovery Partner in response to
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                    requests from the unsecured creditors committee.
09/17/2012   JRC    Review for quality control e-mails of Mr. Ruhlin       L320     3.50 hrs
                    (Residential Capital) relating to the junior secured
                    notes that were coded by first-level reviewers in
                    Discovery Partner in response to requests from the
                    unsecured creditors committee.
09/17/2012   JRC    Review, analyze, and code e-mails of Mr.               L320     2.10 hrs
                    Whitlinger (Residential Capital) relating to the
                    junior secured notes in response to requests from
                    the unsecured creditors' committee.
09/17/2012   SP     Review and code documents from Messrs.                 L120     2.30 hrs
                    Whitlinger, Morano, and Ruhlin in the DIP Lien
                    sub-project in Discovery Partner for
                    responsiveness and privilege for relating to Junior
                    Secured Noteholder document requests.
09/17/2012   GNM    New reviewer training for DIP lien review.             L320     0.80 hrs


09/17/2012   GNM    Working in Discovery Partner database reviewing        L320     1.90 hrs
                    potentially privileged items for privilege and
                    confidentiality designations as outlined in DIP lien
                    review protocol.
09/17/2012   GNM    E-mail communications with Ms. Klun and Ms.            L120     0.10 hrs
                    Burke (Lumen Legal) regarding new reviewer
                    training for DIP lien review.
09/17/2012   GNM    E-mail communications with Ms. Gulley (DTI)            L120     0.50 hrs
                    regarding data erroneously transferred into DIP
                    lien database.
09/17/2012   AJM    DIP Lien project, first level document review,         L320     2.40 hrs
                    batch Ruhlin possibly privileged 005.

09/17/2012   AJM    DIP Lien project, first level document review,         L320     3.80 hrs
                    batch Nashelsky responsive only 002.

09/18/2012   AMP    Attention to reviewing documents in Goren              L120     2.80 hrs
                    Possible Privilege Batch 1 for responsiveness and
                    privilege.
09/18/2012   AMP    Attention to reviewing documents in Goren              L120     3.20 hrs
                    Possible Privilege Batch 3 for responsiveness and
                    privilege.
09/18/2012   AMP    Attention to NDA issues regarding negotiations         L120     0.20 hrs
                    with White & Case and common interest issues
                    with Ally.
09/18/2012   AMP    Review and respond to e-mails with other               L120     0.30 hrs
                    reviewers regarding coding consistency issues for
                    UCC DIP Lien.
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09/18/2012   AMP    Multiple e-mail exchanges with Mr. Corcoran, Ms.       L120     0.30 hrs
                    Battle and Mr. Phillips regarding refined directions
                    to reviewers for responsiveness determinations for
                    DIP lien review.
09/18/2012   AMP    Multiple e-mails with Mr. Corcoran regarding           L120     0.20 hrs
                    additional batch assignments for DIP lien review.

09/18/2012   AMP    Meeting with Mr. Corcoran regarding quality            L120     0.20 hrs
                    control of document review and issues for same for
                    DIP lien review.
09/18/2012   AMP    Attention to quality control review for DIP lien       L120     1.50 hrs
                    review.

09/18/2012   KMC    Review e-mails of Ms. Westman for                      L110     4.90 hrs
                    responsiveness, confidentiality and privilege
                    regarding creditors committee's request for
                    documents regarding UCC Junior Secured
                    Noteholders.
09/18/2012   KMC    E-mail correspondence with Mr. Corcoran                L110     0.40 hrs
                    regarding document review for creditors
                    committee's request for documents regarding UCC
                    Junior Secured Noteholders.
09/18/2012   JALB   Discussion with client (Mr. Thompson, Ms.              L120     0.70 hrs
                    Delehey) and Morrison & Foerster team (Mr. Lee,
                    Mr. Fons, Mr. Rains, Mr. Tanenbaum) regarding
                    strategy as to representation of individual
                    defendants.
09/18/2012   JALB   Discussion with Mr. Corcoran, Mr. Englehardt           L120     0.40 hrs
                    (Morrison & Foerster) and Mr. Brown (Morrison
                    & Foerster) regarding status and plan for DIP lien
                    e-mail production.
09/18/2012   JALB   Telephone conference with Mr. Brown, Mr.               L120     0.40 hrs
                    Englehardt (both Morrison & Foerster) regarding
                    status, timetable for completion and priorities for
                    DIP Lien and JSN document review project.
09/18/2012   JALB   Review and respond to correspondence with Mr.          L120     0.20 hrs
                    Corcoran regarding edits to review protocol for
                    DIP Lien project.
09/18/2012   DJB    Code documents for responsiveness and privilege        L120     7.10 hrs
                    for custodian Nashelsky relating to Junior Secured
                    Noteholder document requests.
09/18/2012   MMM    Review e-mails from Mr. Lee (Residential Capital)      L120     1.60 hrs
                    that are possibly privileged for DIP lien document
                    review.
09/18/2012   MMM    Review e-mails from Mr. Goren (Residential             L120     8.50 hrs
                    Capital) that are possibly privileged for DIP lien
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                    document review.
09/18/2012   DAB    Communicate with Mr. Mongelluzo, Mr.                  L120     0.20 hrs
                    Thompson and Mr. Ruckdashel (Residential
                    Capital) regarding CUNA loan file requests.
09/18/2012   DAB    Communicate with Mr. Rosenbaum (Morrision &           L120     0.10 hrs
                    Foerster) regarding Allstate subpoenas.

09/18/2012   DAB    Communicate with Mr. Corcoran regarding issues        L120     0.30 hrs
                    for production for UCC DIP lien review.

09/18/2012   JRC    Teleconference with Ms. Battle, Mr. Engelhardt        L320     0.40 hrs
                    (Morrison & Foerster), and Mr. Brown (Morrison
                    & Foerster) regarding review of documents
                    relating to the junior secured notes in response to
                    request for production from the unsecured
                    creditors' committee.
09/18/2012   JRC    Conference with Mr. Beck regarding protocol for       L320     0.10 hrs
                    review of documents relating to the junior secured
                    notes in response to request for production from
                    the unsecured creditors' committee.
09/18/2012   JRC    Teleconference with Mr. Galeotti (Morrison &          L320     0.10 hrs
                    Foerster) regarding correct coding of documents
                    relating to the junior secured notes in response to
                    request for production from the unsecured
                    creditors' committee.
09/18/2012   JRC    Coordinate review of documents relating to the        L320     0.40 hrs
                    junior secured notes by reviewing and analyzing
                    documents identified by reviewers at Carpenter
                    Lipps & Leland and at Morrison & Foerster in
                    order to provide advice on how to correctly code
                    those documents.
09/18/2012   JRC    Coordinate review of documents relating to the        L320     0.40 hrs
                    junior secured notes by drafting e-mails to
                    attorneys at Carpenter Lipps & Leland and
                    Morrison & Foerster providing advice on how to
                    correctly code those documents.
09/18/2012   JRC    Review, analyze, and code e-mails of Mr.              L320     3.80 hrs
                    Nashelsky (Morrison & Foerster) for
                    responsiveness and privilege in response to request
                    from the unsecured creditors' committee relating to
                    the junior secured notes.
09/18/2012   JRC    Review, analyze, and code e-mails of Mr.              L320     3.40 hrs
                    Whitlinger (Morrison & Foerster) for
                    responsiveness and privilege in response to request
                    from the unsecured creditors' committee relating to
                    the junior secured notes.
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09/18/2012   JRC    Review for quality control e-mails of Mr. Marano       L320     2.30 hrs
                    (Residential Capital) relating to the junior secured
                    notes that were coded by first-level reviewers in
                    Discovery Partner in response to requests from the
                    unsecured creditors' committee.
09/18/2012   SP     Review and code documents from Mr. Ruhlin in           L120     1.80 hrs
                    the DIP Lien sub-project in Discovery Partner for
                    responsiveness and privilege for relating to Junior
                    Secured Noteholder document requests.
09/18/2012   SP     Review and code documents from Mr. Whitlinger          L120     3.20 hrs
                    in the DIP Lien sub-project in Discovery Partner
                    for responsiveness and privilege for relating to
                    Junior Secured Noteholder document requests.
09/18/2012   SP     Review and code documents from Mr. Goren in the        L120     4.30 hrs
                    DIP Lien sub-project in Discovery Partner for
                    responsiveness and privilege for relating to Junior
                    Secured Noteholder document requests.
09/18/2012   GNM    Working in Discovery Partner database reviewing        L320     2.50 hrs
                    potentially privileged items for privilege and
                    confidentiality designations as outlined in DIP lien
                    review protocol.
09/18/2012   GNM    Drafting and sending e-mail communications to          L120     0.20 hrs
                    Ms. Battle regarding data erroneously transferred
                    ing to DIP lien database.
09/18/2012   AJM    DIP Lien project, first level document review,         L320     5.10 hrs
                    batch Nashelsky responsive only 002.

09/19/2012   AMP    Attention to reviewing documents in Goren Batch        L120     3.10 hrs
                    No. 5 for responsiveness and privilege for
                    production of DIP Lien documents to UCC.
09/19/2012   AMP    Finalize the review of Goren Responsive Batch          L120     1.90 hrs
                    No. 4.

09/19/2012   AMP    Multiple e-mails with reviewers regarding joint        L120     0.70 hrs
                    defense issues.

09/19/2012   AMP    Attention to date limitation issues.                   L120     0.30 hrs


09/19/2012   AMP    Multiple e-mails with Mr. Corcoran regarding           L120     0.30 hrs
                    status of batch review for DIP lien review.

09/19/2012   AMP    Attention to quality control review of Howard          L120     2.90 hrs
                    batches for DIP lien review.

09/19/2012   AMP    Review and respond to multiple e-mails regarding       L120     0.20 hrs
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                    quality control for DIP lien review.

09/19/2012   JALB   Discussion with Mr. Corcoran regarding status and     L120     0.20 hrs
                    urgency of review project for DIP lien review
                    issues.
09/19/2012   JALB   Correspondence with Mr. Englehardt (Morrision &       L120     0.20 hrs
                    Foerster) regarding responsiveness calls and timing
                    of third party data for DIP lien review.
09/19/2012   JALB   Correspondence with DIP Lien team and Mr.             L120     0.20 hrs
                    Corcoran regarding status and urgency of review
                    project.
09/19/2012   JALB   Respond to client question (Mr. Chawla) regarding     L120     0.10 hrs
                    vendor platforms and use of analytics tools.

09/19/2012   JALB   Telephone conference with Mr. Englehardt              L120     0.20 hrs
                    (Morrison & Foerster) regarding upcoming PWC
                    retention document review project.
09/19/2012   JALB   Correspondence with Mr. Lipps, Mr. Beck, Mr.          L120     0.10 hrs
                    Corcoran, and Ms. Marty regarding upcoming
                    PWC retention document review project.
09/19/2012   JALB   Review PWC-related document requests.                 L320     0.20 hrs


09/19/2012   JALB   Follow-up correspondence regarding scope of           L120     0.10 hrs
                    PWC-related document requests.

09/19/2012   DJB    Code documents for responsiveness and privilege       L120     7.80 hrs
                    for custodian Westman relating to Junior Secured
                    Noteholder document requests.
09/19/2012   MMM    Review e-mails from Mr. Goren (Morrison &             L120     5.00 hrs
                    Foerster) that are possibly privileged for DIP lien
                    document review.
09/19/2012   JRC    Conference with Ms. Marty and Ms. Battle              L320     0.20 hrs
                    regarding production of documents relating to the
                    junior secured notes to the unsecured creditors'
                    committee.
09/19/2012   JRC    Conference with Ms. Marty regarding correction of     L120     3.00 hrs
                    confidentiality stamps used by vendor on
                    production to unsecured creditor's committee
09/19/2012   JRC    Draft e-mail to Ms. Gulley (DTI) directing            L320     0.10 hrs
                    preparation of documents in Discovery Partner for
                    production to the unsecured creditors' committee.
09/19/2012   JRC    Conference with Ms. Paul Whitfield regarding          L320     0.20 hrs
                    quality control protocol for documents relating to
                    the junior secured notes being produced to the
                    unsecured creditors' committee.
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09/19/2012   JRC    Review, analyze, and code e-mails of Mr.              L320     1.90 hrs
                    Nashelsky (Morrison & Foerster) for
                    responsiveness and privilege in response to request
                    from the unsecured creditors' committee relating to
                    the junior secured notes.
09/19/2012   JRC    Review for quality control e-mails of Mr. Goren       L320     1.90 hrs
                    (Morrison & Foerster) relating to the junior
                    secured notes that were coded by first-level
                    reviewers in Discovery Partner in response to
                    requests from the unsecured creditors' committee.
09/19/2012   JRC    Review for quality control e-mails of Mr. Lee         L320     1.80 hrs
                    (Morrison & Foerster) relating to the junior
                    secured notes that were coded by first-level
                    reviewers in Discovery Partner in response to
                    requests from the unsecured creditors' committee.
09/19/2012   JRC    Review for quality control e-mails of Mr.             L320     2.20 hrs
                    Whitlinger (Residential Capital) relating to the
                    junior secured notes that were coded by first-level
                    reviewers in Discovery Partner in response to
                    requests from the unsecured creditors' committee.
09/19/2012   JRC    Review for quality control e-mails of Ms.             L320     1.90 hrs
                    Westman (Residential Capital) relating to the
                    junior secured notes that were coded by first-level
                    reviewers in Discovery Partner in response to
                    requests from the unsecured creditors' committee.
09/19/2012   JRC    E-mail exchange with DTI technical support and        L320     0.10 hrs
                    Ms. Gulley (DTI) regarding technical issues
                    encountered in Discovery Partner.
09/19/2012   JRC    Draft e-mail providing instructions to first-level    L320     0.10 hrs
                    reviewers coding documents related to the junior
                    secured notes.
09/19/2012   JRC    Coordinate review of documents relating to the        L320     0.30 hrs
                    junior secured notes by reviewing and analyzing
                    documents identified by reviewers at Carpenter
                    Lipps & Leland and at Morrison & Foerster in
                    order to provide advice on how to correctly code
                    those documents.
09/19/2012   JRC    Coordinate review of documents relating to the        L320     0.20 hrs
                    junior secured notes by drafting e-mails to
                    attorneys at Carpenter Lipps & Leland and
                    Morrison & Foerster providing advice on how to
                    correctly code those documents.
09/19/2012   SP     Perform quality control review of documents in        L120     1.10 hrs
                    Discovery Partner (1.00) and communicate with
                    Mr. Corcoran regarding results from the same.
                    (.10)
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09/19/2012   SP     Review and code documents from Mr. Whitlinger          L120     1.30 hrs
                    in the DIP Lien sub-project in Discovery Partner
                    for responsiveness and privilege for relating to
                    Junior Secured Noteholder document requests.
09/19/2012   SP     Review and code documents from Mr. Goren in the        L120     1.40 hrs
                    DIP Lien sub-project in Discovery Partner for
                    responsiveness and privilege for relating to Junior
                    Secured Noteholder document requests.
09/19/2012   SP     Review and code documents from Mr. Nashelsky           L120     3.30 hrs
                    in the DIP Lien sub-project in Discovery Partner
                    for responsiveness and privilege for relating to
                    Junior Secured Noteholder document requests.
09/19/2012   SP     Confer with Mr. Corcoran regarding quality             L120     0.30 hrs
                    control review of coded documents in DIP Lien
                    sub-project.
09/19/2012   GNM    Working in Discovery Partner database reviewing        L320     3.10 hrs
                    potentially privileged items for privilege and
                    confidentiality designations as outlined in DIP lien
                    review protocol.
09/19/2012   GNM    Telephone communications with Ms. Martin               L120     0.30 hrs
                    (Morrison & Foerster) regarding timeline for
                    productions of DIP lien data.
09/19/2012   GNM    E-mail communications with Ms. Wong (Profile)          L120     0.10 hrs
                    regarding re-productions previously produced to
                    UCC.
09/19/2012   GNM    Conference call with Huron, Ms. Wong (ProFile),        L120     0.70 hrs
                    Mr. Shipler (DTI), and Kramer Levin regarding
                    reproductions previously produced to UCC.
09/19/2012   AJM    DIP Lien project, first level document review,         L320     1.90 hrs
                    batch Nashelsky responsive only 002.

09/20/2012   DAW    Conference with Ms. Cadieux regarding response         L120     0.30 hrs
                    to Morrison and Foerster regarding summary
                    judgment opposition.
09/20/2012   JAL    Review Court ordered Iron Mountain proposal            L120     0.10 hrs
                    relating to FHFA loan file request.

09/20/2012   JAL    Review e-mails regarding Court ordered Iron            L120     0.10 hrs
                    Mountain proposal relating to FHFA loan file
                    request.
09/20/2012   JAL    Conference with Ms. Battle regarding Court             L120     0.30 hrs
                    ordered Iron Mountain proposal on FHFA loan
                    files.
09/20/2012   JALB   Correspondence answering questions from Ms.            L120     0.20 hrs
                    Marty and reviewers regarding privilege or
                    confidentiality calls on selected documents.
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09/20/2012   JALB   Correspondence with Morrison & Foerster team         L120     0.20 hrs
                    (Mr. Englehardt, Ms. Levitt, Mr. Marinuzzi)
                    regarding questions from Ms. Marty and reviewers
                    regarding privilege or confidentiality calls on
                    selected documents.
09/20/2012   JALB   Attention to staffing issues for various review      L120     0.20 hrs
                    projects.

09/20/2012   JALB   Respond to client questions regarding vendor         L120     0.20 hrs
                    pricing and monthly projections.

09/20/2012   JALB   Work with Ms. Sholl and Ms. Zellmann regarding       L320     0.30 hrs
                    matchup and identification of seller files
                    challenges.
09/20/2012   JRC    Conference with Ms. Battle regarding protocol for    L120     0.20 hrs
                    coding personal information located during
                    document review.
09/20/2012   JRC    Conference with Mr. Clark (Morrison & Foerster),     L120     0.50 hrs
                    Mr. Bergelson (Morrison & Foerster), Ms. Marty,
                    and Ms. Paul-Whitfield regarding training for
                    Concordance.
09/20/2012   JRC    Conference with Ms. Marty regarding production       L120     0.10 hrs
                    format for documents produced to the unsecured
                    creditors' committee.
09/20/2012   JRC    Revise letter for production of documents relating   L120     0.10 hrs
                    to the junior secured notes to the unsecured
                    creditors' committee.
09/20/2012   JRC    E-mail exchange with Ms. Gulley (DTI) regarding      L120     0.20 hrs
                    production of documents relating to the junior
                    secured notes to the unsecured creditors'
                    committee.
09/20/2012   JRC    E-mail exchange with Ms. Marty and Ms. Battle        L120     0.10 hrs
                    regarding staffing for review of documents from
                    Centerview Partners and FTI Consulting relating to
                    the junior secured notes.
09/20/2012   JRC    Teleconference with Ms. Gulley (DTI) regarding       L120     0.10 hrs
                    uploading data from Centerview Partners and FTI
                    Consulting for review in Discovery Partner.
09/20/2012   JRC    E-mail exchange with Ms. Battle and Mr.              L120     0.10 hrs
                    Engelhart regarding cutoff date for documents
                    produced in response to requests from unsecured
                    creditors' committee.
09/20/2012   JRC    Review and analyze requests for documents            L120     0.30 hrs
                    relating to retention of PricewaterhouseCoopers,
                    Hudson Cook, and Pepper Hamilton from the
                    unsecured creditors' committee in order to draft
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                    document review protocol.
09/20/2012   JRC    Review and analyze motion to compensate               L120     0.30 hrs
                    PricewaterhouseCoopers in order to draft
                    document review protocol for review in response
                    to document requests from the unsecured creditors'
                    committee relating to compensation of
                    PricewaterhouseCoopers, Hudson Cook, and
                    Pepper Hamilton.
09/20/2012   JRC    Review and analyze declaration of Mr. Pensabene       L120     0.20 hrs
                    (GMAC Mortgage) in support of motion to
                    compensate PricewaterhouseCoopers in order to
                    draft document review protocol for review in
                    response to document requests from the unsecured
                    creditors' committee relating to compensation of
                    PricewaterhouseCoopers, Hudson Cook, and
                    Pepper Hamilton.
09/20/2012   JRC    Review and analyze declaration of Mr. Bocresion       L120     0.20 hrs
                    (GMAC Mortgage) in support of motion to
                    compensate PricewaterhouseCoopers in order to
                    draft document review protocol for review in
                    response to document requests from the unsecured
                    creditors' committee relating to compensation of
                    PricewaterhouseCoopers, Hudson Cook, and
                    Pepper Hamilton.
09/20/2012   GNM    Drafting and sending e-mail to Ms. Martin             L120     0.20 hrs
                    (Morrison & Foerster) regarding production of DIP
                    lien data.
09/20/2012   GNM    Drafting cover e-mail to be sent with production of   L120     0.50 hrs
                    DIP lien data.

09/21/2012   AMP    E-mails with Mr. Corcoran regarding finalizing        L120     0.20 hrs
                    DIP Lien document review and production.

09/21/2012   AMP    Finalize quality control review of Howard             L120     0.40 hrs
                    documents for DIP lien review.

09/21/2012   JALB   Telephone conference with Mr. Thompson                L120     0.50 hrs
                    (Residential Capital), Ms. Zellmann (Residential
                    Capital), and Mr. Underhill (Residential Capital)
                    regarding status of open discovery projects and
                    bankruptcy related proceedings and schedule.
09/21/2012   JALB   Telephone conference with Night Owl                   L120     0.80 hrs
                    representatives and client representatives (Mr.
                    Underhill, Mr. Chawla), Ms. Marty, Ms. Whitfield,
                    and Mr. Corcoran regarding use of analytics tool in
                    Relativity.
09/21/2012   JALB   Correspondence with Ms. Marty, Ms. Whitfield          L120     0.30 hrs
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                    and Mr. Corcoran regarding use of analytics tool in
                    Relativity.
09/21/2012   JALB   Correspondence with Mr. Corcoran regarding            L120     0.10 hrs
                    finalizing DIP Lien production.

09/21/2012   JALB   Discussion with Mr. Corcoran and Mr. Beck             L120     0.20 hrs
                    regarding reserve calculations.

09/21/2012   JALB   Telephone conference with Mr. Rothberg                L120     0.10 hrs
                    regarding use restrictions on collateral tape
                    production to FHFA.
09/21/2012   JALB   Follow-up correspondence regarding use                L120     0.10 hrs
                    restrictions on collateral tape production to FHFA.

09/21/2012   JALB   Review e-mail memorandum regarding Velo               L120     0.20 hrs
                    Holdings and Judge Glenn's discovery rulings.

09/21/2012   JALB   Correspondence with Morrison & Foerster team          L120     0.10 hrs
                    regarding Velo Holdings and Judge Glenn's
                    discovery rulings.
09/21/2012   DJB    Communications with Mr. Gerdts of Kroll               L120     0.40 hrs
                    regarding hosting fees at Ms. Zellmann's
                    (Residential Capital) request.
09/21/2012   DAB    Draft talking points for Mr. Ruckdaschel of           L120     0.30 hrs
                    Residential Capital on litigation issues related to
                    servicing transfers.
09/21/2012   JRC    Conference with Ms. Battle, Ms. Whitfield, Ms.        L120     0.80 hrs
                    Marty, Mr. Breyer (Night Owl), and Mr. Sterkel
                    (Night Owl) regarding training for Relativity.
09/21/2012   JRC    E-mail exchange with Ms. Marty and Ms. Battle         L120     0.10 hrs
                    regarding staffing for document review projects.

09/21/2012   JRC    Draft e-mail to first-level reviewers providing       L120     0.20 hrs
                    instructions for review of e-mails from Centerview
                    Partners and FTI Consulting in response to
                    requests for documents relating to the junior
                    secured notes from the unsecured creditors'
                    committee.
09/21/2012   JRC    Conferences with Ms. Marty regarding status of        L120     0.20 hrs
                    production of e-mails to the unsecured creditors'
                    committee.
09/21/2012   JRC    E-mail exchange with Ms. Marty, Ms. Gulley            L120     0.10 hrs
                    (DTI), and Ms. Battle regarding review of data
                    received from FTI Consulting.
09/21/2012   JRC    Review and analyze decisions by Judge Glenn           L120     0.40 hrs
                    relating to the attorney-client privilege and the
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                    joint defense privilege in order to revise the
                    protocol for review of documents requested by the
                    unsecured creditors' committee relating to the
                    junior secured notes.
09/21/2012   JRC    E-mail exchange with Ms. Gulley (DTI) regarding      L120     0.10 hrs
                    production of documents in response to requests
                    from unsecured creditors' committee relating to
                    junior secured notes.
09/21/2012   GNM    Conference call with NightOwl regarding the          L120     1.00 hrs
                    analytics tools in Relativity database and how the
                    SEC review would benefit.
09/21/2012   GNM    Working in Discovery Partner database reviewing      L320     2.40 hrs
                    DIP lien data data for responsiveness, privilege,
                    and confidentiality as outlined in the review
                    protocol.
09/22/2012   AMP    Review e-mail from Ms. Battle regarding              L120     0.20 hrs
                    Centerview and FTI document review and
                    production to UCC relating to junior secured
                    noteholders.
09/22/2012   JALB   Prepare e-mail to DIP lien review team regarding     L120     0.20 hrs
                    urgency of production.

09/22/2012   JALB   Respond to DTI question regarding document           L120     0.10 hrs
                    production.

09/22/2012   MMM    Review first set of e-mails from Centerview.         L120     2.60 hrs


09/22/2012   JRC    Coordinate review of documents in response to        L320     0.10 hrs
                    requests from the UCC relating to the junior
                    secured notes by reviewing and analyzing
                    documents identified by first-level document
                    reviewers in order to provide advice on how to
                    correctly code those documents.
09/22/2012   JRC    Coordinate review of documents in response to        L320     0.10 hrs
                    requests from the UCC relating to the junior
                    secured notes by drafting e-mails to first-level
                    document reviewers providing advice on how to
                    correctly code those documents.
09/22/2012   AJM    DIP Lien project, first level document review,       L320     2.10 hrs
                    batch Centerview possibly privileged 006.

09/23/2012   MMM    Review first set of e-mails from Centerview for      L120     2.50 hrs
                    DIP lien project.

09/23/2012   JRC    Review, analyze, and code Centerview Partners        L320     1.60 hrs
                    e-mails for responsiveness, privilege, and
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                    confidentiality in response to requests from the
                    UCC relating to the junior secured notes.
09/23/2012   AJM    DIP Lien project, first level document review,          L320     3.10 hrs
                    batch Centerview possibly privileged 006.

09/24/2012   VLS    Conference with Mr. Beck regarding Seller files         L320     0.20 hrs
                    for production in response to CUNA subpoena.

09/24/2012   VLS    Preparation of spreadsheet of Seller files related to   L320     1.80 hrs
                    the CUNA subpoena request.

09/24/2012   MMM    Review second set of e-mails from Centerview for        L120     4.00 hrs
                    DIP lien project.

09/24/2012   MMM    Review third set of e-mails from Centerview for         L120     3.10 hrs
                    DIP lien project.

09/24/2012   DAB    Communicate with Mr. Rosenbaum (Morison &               L120     0.10 hrs
                    Foerster) regarding third party subpoenas issued by
                    Allstate.
09/24/2012   DAB    Communicate with counsel to various parties who         L120     0.30 hrs
                    have served third party subpoenas.

09/24/2012   JRC    Review, analyze, and code documents provided by         L320     2.40 hrs
                    Centerview Partners for responsiveness and
                    privilege in response to request from the unsecured
                    creditors' committee relating to the junior secured
                    notes.
09/24/2012   JRC    Draft e-mail providing instructions to first-level      L320     0.10 hrs
                    reviewers reviewing documents in response to
                    requests from unsecured creditors' committee
                    relating to junior secured notes.
09/24/2012   JRC    Draft chart for Ms. Levitt (Morrison & Foerster)        L320     1.40 hrs
                    summarizing details of Residential Capital
                    residential mortgage-backed securities litigation.
09/24/2012   AJM    DIP Lien project, first level document review,          L320     3.30 hrs
                    batch Centerview responsive only 009.

09/25/2012   VLS    E-mail exchanges with Mr. Beck and Ms.                  L320     0.40 hrs
                    Zellmann at Residential Capital regarding Seller
                    files for CUNA subpoena.
09/25/2012   VLS    Monitor review status of document review team.          L320     0.40 hrs
                    (.20) Assignment of review batches. (.10) Update
                    progress chart. (.10)
09/25/2012   MMM    Review third set of e-mails from Centerview for         L120     3.00 hrs
                    DIP lien project.
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09/25/2012   MMM    Review first set FTI Consulting e-mails for DIP         L120     0.70 hrs
                    lien project.

09/25/2012   MMM    Review fourth set of e-mails from Centerview for        L120     3.00 hrs
                    DIP lien project.

09/25/2012   DAB    Analyze third party subpoenas to the Debtors from       L120     0.20 hrs
                    Allstate and Dexia.

09/25/2012   DAB    Draft chart summarizing status of third party           L120     0.20 hrs
                    subpoenas to the Debtors.

09/25/2012   DAB    Call with Mr. Rosenbaum (Morrision & Foerster)          L120     0.20 hrs
                    regarding Allstate subpoenas.

09/25/2012   DAB    Communicate with Mr. Ruckdashel (Residential            L120     0.10 hrs
                    Capital) regarding Allstate and Dexia subpoenas.

09/25/2012   DAB    Communicate with Mr. Ruckdashel (Residential            L120     0.20 hrs
                    Capital) and Mr. Rosenbaum (Morrison &
                    Foerster) regarding Dexia subpoena.
09/25/2012   DAB    Communicate with Ms. Sholl regarding CUNA               L120     0.10 hrs
                    document production.

09/25/2012   JRC    Review and analyze the unsecured creditors'             L320     0.50 hrs
                    committee's objections to the stipulations regarding
                    the junior secured notes in order to revise
                    document review protocol relating to the junior
                    secured notes.
09/25/2012   JRC    Draft e-mail to Ms. Battle regarding the unsecured      L320     0.20 hrs
                    creditors' committee's objections to the stipulations
                    regarding the junior secured notes.
09/25/2012   JRC    Review and analyze the engagement letter between        L320     0.40 hrs
                    PricewaterhouseCoopers, Ally Financial, and
                    Residential Capital in order to draft document
                    review protocol for review in response to
                    document requests from the unsecured creditors'
                    committee relating to compensation of
                    PricewaterhouseCoopers, Hudson Cook, and
                    Pepper Hamilton.
09/25/2012   JRC    Draft document review protocol for review in            L320     1.40 hrs
                    response to document requests from the unsecured
                    creditors' committee relating to compensation for
                    PricewaterhouseCoopers, Hudson Cook, and
                    Pepper Hamilton.
09/25/2012   JRC    Review, analyze, and code documents provided by         L320     3.20 hrs
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                    Centerview Partners for responsiveness and
                    privilege in response to request from the unsecured
                    creditors' committee relating to the junior secured
                    notes.
09/26/2012   VLS    Review and upload onto internal database loan file    L320     0.80 hrs
                    materials received from client in response to
                    CUNA subpoena.
09/26/2012   VLS    Research internal database of RMBS materials.         L320     0.50 hrs
                    Obtain Underwriting Guides and bulletins for
                    production in response to CUNA subpoena.
09/26/2012   VLS    Communicate with I.T. department regarding            L320     0.50 hrs
                    additions and removal of various document review
                    team members.
09/26/2012   JALB   Draft and send memorandum to Mr. Underhill            L120     0.50 hrs
                    (Residential Capital) regarding scope of collection
                    for PWC project.
09/26/2012   MMM    Review second set of FTI Consulting e-mails for       L120     1.90 hrs
                    DIP lien review.

09/26/2012   JRC    Teleconference with Mr. Engelhart (Morrison &         L320     0.10 hrs
                    Foerster) regarding review of documents in
                    response to requests for documents relating to the
                    junior secured notes by the unsecured creditors'
                    committee.
09/26/2012   JRC    Draft document review protocol for review in          L320     0.60 hrs
                    response to document requests from the unsecured
                    creditors' committee relating to compensation of
                    PricewaterhouseCoopers, Hudson Cook, and
                    Pepper Hamilton.
09/26/2012   JRC    Review for quality control documents coded as         L320     2.20 hrs
                    privileged by first-level reviewers in Discovery
                    Partner in response to unsecured creditors'
                    committee's for request for documents relating to
                    the junior secured notes.
09/26/2012   JRC    Review for quality control documents coded as not     L320     1.90 hrs
                    privileged by first-level reviewers in Discovery
                    Partner in response to unsecured creditors'
                    committee's request for documents relating to the
                    junior secured notes.
09/26/2012   GNM    Drafting and sending e-mail to Ms. Battle             L120     0.40 hrs
                    regarding data capture for PWC project.

09/26/2012   GNM    Drafting e-mail to be sent to Mr. Underhill           L120     0.40 hrs
                    (Residential Capital) regarding data needed for
                    PWC project.
09/26/2012   GNM    Meeting with Ms. Battle regarding new PWC             L120     0.50 hrs
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                    project.

09/27/2012   VLS    Conferences with Mr. Keck and Ms. Wong at              L320     0.40 hrs
                    Profile regarding production specifications and
                    confidential designation of material being
                    produced in response to CUNA subpoena.
09/27/2012   JALB   Correspondence with Mr. Underhill (Residential         L120     0.50 hrs
                    Capital), Mr. Englehardt (Morrison & Foerster),
                    and Mr. Corcoran regarding data collection and
                    identification of custodians for PWC document
                    review project.
09/27/2012   JALB   Listen to portions of court hearing relating to PWC    L230     0.40 hrs
                    discovery.

09/27/2012   DAB    Communicate with Mr. Blaschko (Residential             L120     0.20 hrs
                    Capital) regarding loan files requested by Allstate.

09/27/2012   DAB    Call with Mr. Ruckdaschel (Residential Capital),       L120     0.40 hrs
                    Mr. Rosenbaum (Morrison & Foerster) and Ms.
                    Battle regarding strategy on Allstate subpoenas.
09/27/2012   JRC    Review and analyze consent order between the           L210     0.40 hrs
                    FDIC, the Board of the Federal Reserve,
                    Residential Capital, and Ally Financial, in order to
                    draft document review protocol for review in
                    response to document requests from the unsecured
                    creditors' committee relating to compensation for
                    PricewaterhouseCoopers, Hudson Cook, and
                    Pepper Hamilton.
09/27/2012   JRC    Review and analyze Residential Capital's motion to     L210     0.40 hrs
                    comply with the Consent Order and the DOJ/AG
                    Settlement in order to draft document review
                    protocol for review in response to document
                    requests from the unsecured creditors' committee
                    relating to compensation for
                    PricewaterhouseCoopers, Hudson Cook, and
                    Pepper Hamilton.
09/27/2012   JRC    Review Court's order granting Residential Capital's    L320     0.20 hrs
                    motion to comply with the consent order and the
                    DOJ/AG settlement in order to draft document
                    review protocol for review in response to
                    document requests from the unsecured creditors'
                    committee relating to compensation for
                    PricewaterhouseCoopers, Hudson Cook, and
                    Pepper Hamilton.
09/27/2012   JRC    Listen to portion of teleconference with Judge         L320     0.90 hrs
                    Glenn relating to motion to compensate
                    PricewaterhouseCoopers in order to draft
                    document review protocol for review in response
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                    to document requests from the unsecured creditors'
                    committee relating to compensation for
                    PricewaterhouseCoopers, Hudson Cook, and
                    Pepper Hamilton.
09/27/2012   JRC    Conference with Ms. Battle regarding review in         L320     0.20 hrs
                    response to document requests from the unsecured
                    creditors' committee relating to compensation for
                    PricewaterhouseCoopers, Hudson Cook, and
                    Pepper Hamilton.
09/27/2012   JRC    E-mail exchange with Ms. Battle and Ms. Marty          L320     0.20 hrs
                    regarding custodians for review in response to
                    document requests from the unsecured creditors'
                    committee relating to compensation for
                    PricewaterhouseCoopers, Hudson Cook, and
                    Pepper Hamilton.
09/27/2012   JRC    Review and analyze documents in Discovery              L320     0.40 hrs
                    Partner in order to respond to unsecured creditors'
                    committee's proposed custodians for review
                    relating to compensation for
                    PricewaterhouseCoopers, Hudson Cook, and
                    Pepper Hamilton.
09/27/2012   JRC    Review for quality control documents coded by          L320     2.80 hrs
                    first-level reviewers in Discovery Partner in
                    response to unsecured creditors' committee's for
                    request for documents relating to the junior secured
                    notes.
09/27/2012   JRC    Research federal regulations relating to disclosure    L120     0.40 hrs
                    of materials submitted to the Board of Governers
                    for the Federal Reserve in order to draft document
                    review protocol for review in response to
                    document requests from the unsecured creditors'
                    committee relating to compensation for
                    PricewaterhouseCoopers, Hudson Cook, and
                    Pepper Hamilton.
09/27/2012   JRC    Research case law relating to the joint defense        L120     0.30 hrs
                    privilege in order to draft document review
                    protocol for review in response to document
                    requests from the unsecured creditors' committee
                    relating to compensation for
                    PricewaterhouseCoopers, Hudson Cook, and
                    Pepper Hamilton.
09/27/2012   JRC    Review and analyze motion to compensate                L210     0.40 hrs
                    PricewaterhouseCoopers and accompanying
                    exhibits in order to draft document review protocol
                    for review in response to document requests from
                    the unsecured creditors' committee relating to
                    compensation for PricewaterhouseCoopers,
                    Hudson Cook, and Pepper Hamilton.
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09/27/2012   JRC    Review and analyze motion to compensate Hudson         L210     0.30 hrs
                    Cook and Pepper Hamilton in order to draft
                    document review protocol for review in response
                    to document requests from the unsecured creditors'
                    committee relating to compensation for
                    PricewaterhouseCoopers, Hudson Cook, and
                    Pepper Hamilton.
09/27/2012   JRC    Draft document review protocol for review in           L320     1.60 hrs
                    response to document requests from the unsecured
                    creditors' committee relating to compensation for
                    PricewaterhouseCoopers, Hudson Cook, and
                    Pepper Hamilton.
09/27/2012   GNM    Performing quality control checks on RC409             L320     1.40 hrs
                    production to be sent to the UCC.

09/28/2012   JALB   Telephone conference with Mr. Englehardt               L120     0.60 hrs
                    (Morrison & Foerster) and Mr. Corcoran regarding
                    PWC document review scope and planning.
09/28/2012   JALB   Telephone conference with Mr. Englehardt               L120     0.60 hrs
                    (Morrison & Foerster) and Mr. Corcoran regarding
                    PWC document review scope and planning.
09/28/2012   DJB    Communications with Ms. Battle, Ms. Marty, and         L120     0.40 hrs
                    Mr. Corcoran regarding management of
                    PricewaterhouseCoopers key custodian e-mail
                    document review of materials responsive to UCC
                    document request.
09/28/2012   DAB    Communicate with Mr. Schares (Residential              L120     0.10 hrs
                    Capital) regarding loan files requested by Allstate.

09/28/2012   DAB    Call with Mr. Rosenbaum and Mr. Haims                  L120     0.20 hrs
                    (Morrison & Foerster) regarding next steps on third
                    party subpoenas.
09/28/2012   JRC    Teleconference with Mr. Brown (Morrison &              L320     0.10 hrs
                    Foerster) regarding production of documents
                    relating to the junior secured notes to the
                    unsecured creditors' committee.
09/28/2012   JRC    E-mail exchange with Mr. Barthel and Ms. Battle        L320     0.20 hrs
                    regarding document review in response to
                    document requests from the unsecured creditors'
                    committee relating to compensation for
                    PricewaterhouseCoopers, Hudson Cook, and
                    Pepper Hamilton.
09/28/2012   JRC    Review documents relating to the junior secured        L320     0.70 hrs
                    notes for quality control prior to production to the
                    unsecured creditors' committee.
09/28/2012   JRC    Teleconference with Mr. Engelhardt (Morrison &         L320     0.20 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
  932 00060                 Monthly Invoices Pg 98 of 1163
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                    Foerster) and Ms. Battle regarding document
                    review in response to document requests from the
                    unsecured creditors' committee relating to
                    compensation for PricewaterhouseCoopers,
                    Hudson Cook, and Pepper Hamilton.
09/28/2012   JRC    Draft document review protocol for review in                 L320     1.60 hrs
                    response to document requests from the unsecured
                    creditors' committee relating to compensation for
                    PricewaterhouseCoopers, Hudson Cook, and
                    Pepper Hamilton.
09/28/2012   JRC    Revise document review protocol for review in                L320     1.70 hrs
                    response to document requests from the unsecured
                    creditors' committee relating to compensation for
                    PricewaterhouseCoopers, Hudson Cook, and
                    Pepper Hamilton based on suggestions from Mr.
                    Engelhardt (Morrison & Foerster) and Ms. Battle.
09/28/2012   GNM    E-mail communications with Ms. Martin                        L120     0.40 hrs
                    (Morrison & Foerster) regarding RC409
                    production to be sent to the UCC.


                    TOTAL FEES FOR THIS MATTER                                          $102,234.50

EXPENSES

09/01/2012          Litigation Support Vendors - Kelly & Hannah (services for                   $32.50
                    6/14/12)

09/05/2012          Delivery Service/Messengers - Federal Express to Patty Zellmann             $23.33
                    from Ms. Sholl

09/11/2012          (TRIP-JALB-9/11/12) Out-of-Town Travel/Airfare - travel to            $1,037.60
                    New York to attend Court hearings regarding FHFA discovery
                    issues

09/11/2012          (TRIP-JALB-9/11/12) Out-of-Town Travel/Taxi - travel to New            $122.80
                    York to attend Court hearings regarding FHFA discovery issues

09/11/2012          (TRIP-JALB-9/11/12) Out-of-Town Travel/Parking @ Port                       $17.00
                    Columbus - travel to New York to attend Court hearings
                    regarding FHFA discovery issues

09/11/2012          (TRIP-JALB-9/11/12) Out-of-Town Travel/Food/Beverage -                       $1.79
                    travel to New York to attend Court hearings regarding FHFA
                    discovery issues

09/11/2012          (TRIP-JALB-9/11/12) Out-of-Town Travel/Food/Beverage -                      $50.74
                    travel to New York to attend Court hearings regarding FHFA
                    discovery issues
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
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09/12/2012          (TRIP-JAL-9/10-12/12) Out-of-Town Travel/Airfare - travel to          $1,170.70
                    New York to attend hearing regarding FHFA Lift Stay

09/12/2012          (TRIP-JAL-9/10-12/12) Out-of-Town Travel/Hotel - travel to            $1,152.22
                    New York to attend hearing regarding FHFA Lift Stay

09/12/2012          (TRIP-JAL-9/10-12/12) Out-of-Town Travel/Taxi - travel to New               $42.50
                    York to attend hearing regarding FHFA Lift Stay

09/12/2012          (TRIP-JAL-9/10-12/12) Out-of-Town Travel/Food/Beverage -                     $5.00
                    travel to New York to attend hearing regarding FHFA Lift Stay

09/12/2012          (TRIP-JAL-9/10-12/12) Out-of-Town Travel/Food/Beverage -                    $19.50
                    travel to New York to attend hearing regarding FHFA Lift Stay

09/12/2012          (TRIP-JAL-9/10-12/12) Out-of-Town Travel/Food/Beverage -                    $75.50
                    travel to New York to attend hearing regarding FHFA Lift Stay

09/12/2012          (TRIP-JAL-9/10-12/12) Out-of-Town Travel/Food/Beverage -                    $36.00
                    travel to New York to attend hearing regarding FHFA Lift Stay

09/12/2012          (TRIP-JAL-9/10-12/12) Out-of-Town Travel/Food/Beverage -                    $39.00
                    travel to New York to attend hearing regarding FHFA Lift Stay

09/12/2012          (TRIP-JAL-9/10-12/12) Out-of-Town Travel/Food/Beverage -                    $62.50
                    travel to New York to attend hearing regarding FHFA Lift Stay

09/12/2012          (TRIP-JAL-9/10-12/12) Out-of-Town Travel/Food/Beverage -                     $6.50
                    travel to New York to attend hearing regarding FHFA Lift Stay

09/12/2012          (TRIP-JAL-9/10-12/12) Out-of-Town Travel/Taxi - travel to New               $27.30
                    York to attend hearing regarding FHFA Lift Stay

09/12/2012          (TRIP-JAL-9/10-12/12) Out-of-Town Travel/Car Service - travel               $60.00
                    to New York to attend hearing regarding FHFA Lift Stay

09/12/2012          (TRIP-JAL-9/10-12/12) Out-of-Town Travel/Bellman - travel to                $11.00
                    New York to attend hearing regarding FHFA Lift Stay

09/12/2012          (TRIP-JAL-9/10-12/12) Out-of-Town Travel/Parking @ Port                     $42.00
                    Columbus - travel to New York to attend hearing regarding
                    FHFA Lift Stay

09/12/2012          (TRIP-JAL-9/10-12/12) Out-of-Town Travel/Mileage to/from                     $6.60
                    Port Columbus (12 miles X .55) - travel to New York to attend
                    hearing regarding FHFA Lift Stay

09/17/2012          Delivery Service/Messengers - Federal Express to Mr. Clark from             $15.42
                    Ms. Marty

                    TOTAL EXPENSES FOR THIS MATTER                                        $4,057.50


BILLING SUMMARY
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      Molnar, Anthony J.                     48.40 hrs   210.00 /hr    $10,164.00


      Paul, Angela M.                        59.10 hrs   250.00 /hr    $14,775.00


      Beck, David A.                         13.60 hrs   230.00 /hr     $3,128.00


      Wallace, David A.                       0.30 hrs   260.00 /hr         $78.00


      Barthel, David J.                      38.10 hrs   210.00 /hr     $8,001.00


      Marty, Gretchen N.                     41.50 hrs   150.00 /hr     $6,225.00


      Lipps, Jeffrey A.                      14.40 hrs   360.00 /hr     $5,184.00


      Battle, Jennifer A.L.                  31.10 hrs   250.00 /hr     $7,775.00


      Corcoran, Jeffrey R.                  109.10 hrs   180.00 /hr    $19,638.00


      Cadieux, Karen M.                      17.10 hrs   180.00 /hr     $3,078.00


      Mohler, Mallory M.                     69.60 hrs   160.00 /hr    $11,136.00


      Phillips, Segev                        55.00 hrs   220.00 /hr    $12,100.00


      Sholl, Veronica L.                     12.70 hrs    75.00 /hr        $952.50



   TOTAL FEES                               510.00 hrs                $102,234.50

   TOTAL EXPENSES                                                       $4,057.50

   TOTAL CHARGES FOR THIS INVOICE                                     $106,292.00
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                               Monthly Invoices Pg 101 of 1163
                            CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                          November 02, 2012

                                                                    Billed through 09/30/2012
Tammy Hamzephour                                                    Invoice # 51632      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 932 00062
190-FTW-L95
Fort Washington, PA 19034

Re: Automatic Stay Issues
Matter No.: 721750

PROFESSIONAL SERVICES

09/04/2012   KMC        Review pending cases per request of Ms.                     L110        0.90 hrs
                        McGinnis (Residential Capital) regarding which
                        cases are to be retained in the bankruptcy estate
                        after servicing platform sale.
09/04/2012   KMC        E-mail Ms. McGinnis (Residential Capital)                   L110        0.30 hrs
                        regarding which cases are to be retained in the
                        bankruptcy estate after servicing platform sale.
09/10/2012   DAW        Review e-mail regarding bankruptcy issues.                  L120        0.10 hrs


09/10/2012   KMC        Review e-mail from Ms. Martin (Morrison &                   L110        0.10 hrs
                        Foerster) regarding status of Lewises' bankruptcy
                        case.
09/10/2012   KMC        Review status of the Lewises' various bankruptcy            L110        1.10 hrs
                        cases on PACER.

09/10/2012   KMC        E-mail Ms. Martin (Morrison & Foerster)                     L110        0.30 hrs
                        regarding status of Lewises' bankruptcy case.

09/11/2012   KMC        Review e-mail from Ms. Martin (Morrison &                   L110        0.10 hrs
                        Foerster) regarding motion for judgment on the
                        pleadings in the Lewis adversary proceeding.
09/12/2012   DAW        Review motion for judgment on the pleadings.                L120        0.40 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
  932 00062                 Monthly Invoices Pg 102 of 1163
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09/17/2012   DAW    Review e-mail regarding lifting stay in Rodriguez    L120     0.20 hrs
                    case and confirm case is not one of ours.

09/20/2012   DAW    Review proposed opposition to motion for             L120     0.60 hrs
                    summary judgment filed by Lewises in Bankruptcy
                    Court.
09/20/2012   DAW    Review proposed response to request for              L120     0.60 hrs
                    admissions.

09/20/2012   KMC    Review response to the Lewises' (borrowers)          L110     0.20 hrs
                    motion for summary judgment per Ms. Martin's
                    (Morrison & Foerster) request.
09/20/2012   KMC    E-mail Ms. Martin (Morrison & Forester)              L110     0.20 hrs
                    regarding response to motion for summary
                    judgment.
09/20/2012   KMC    Review responses to the Lewises (borrowers)          L110     0.30 hrs
                    requests for admissions per Ms. Martin (Morrison
                    & Forester) request.
09/21/2012   DAW    Conference with Ms. Cadieux regarding response       L120     0.30 hrs
                    to requests for admission.

09/21/2012   DAW    Review additional filings by Lewises regarding       L120     0.30 hrs
                    motion to amend and allegations of fraud.

09/21/2012   KMC    E-mail Ms. Martin (Morrison & Foerster)              L110     0.40 hrs
                    regarding comments on responses to the Lewises
                    (borrowers) requests for admissions.
09/24/2012   KMC    Telephone conference with Ms. McGinnis               L120     0.20 hrs
                    (Residential Capital) regarding response to
                    Lewises (borrowers) requests for admissions in
                    their adversary proceeding.
09/24/2012   KMC    Locate and forward docket information related to     L190     0.60 hrs
                    the Lewises' (borrowers) foreclosure and
                    bankruptcy cases to Ms. Martin (Morrison &
                    Foerster).
09/25/2012   DAW    Review e-mails regarding resolution of motion for    L120     0.10 hrs
                    relief and status of adversary proceeding filings.

09/25/2012   KMC    Review and revise responses to requests for          L110     0.10 hrs
                    admissions served by the Lewises (borrowers) in
                    their adversary proceeding.


                    TOTAL FEES FOR THIS MATTER                                    $1,540.00


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      Wallace, David A.                     2.60 hrs   260.00 /hr        $676.00


      Cadieux, Karen M.                     4.80 hrs   180.00 /hr        $864.00



   TOTAL FEES                               7.40 hrs                $1,540.00

   TOTAL CHARGES FOR THIS INVOICE                                   $1,540.00
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                              Monthly Invoices Pg 104 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                          November 02, 2012

                                                                      Billed through 09/30/2012
Tammy Hamzephour                                                      Invoice # 51633      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 932 00064
190-FTW-L95
Fort Washington, PA 19034

Re: Examiner


PROFESSIONAL SERVICES

09/01/2012     JALB    Correspondence with vendor, Ms. Marty and Mr.                  L120        0.10 hrs
                       Corcoran regarding metadata requirements for
                       Examiner productions.
09/01/2012     JALB    Draft global preparation outline for initial                   L330        1.60 hrs
                       examiner witness interviews.

09/01/2012     SP      Analyze previously designated documents to be                  L320        3.90 hrs
                       produced to the bankruptcy examiner relating to
                       subservicing in Discovery Partner for privilege and
                       confidentiality designation.
09/01/2012     SP      Analyze documents from Ms. Hamzehpour relating                 L120        3.70 hrs
                       to subservicing in Discovery Partner for privilege
                       and confidentiality designation.
09/01/2012     SP      Conference with Mr. Corcoran regarding privilege               L120        0.20 hrs
                       status of several categories of documents.

09/01/2012     GNM     Working in Discovery Partner performing first                  L320        1.10 hrs
                       level review of Hamzehpour documents in the
                       Subservicing review as outlined in the document
                       review protocol.
09/02/2012     JALB    Prepare global preparation outline for initial                 L330        2.60 hrs
                       interviews by examiner.

09/02/2012     JALB    Correspondence with Mr. Beck regarding status of               L120        0.20 hrs
                       Nationstar sale for global preparation outline.
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09/02/2012   JALB   Note to Mr. Lipps and Mr. Beck regarding status       L120     0.10 hrs
                    and draft of global Examiner preparation outline.

09/02/2012   DAB    Communicate with Ms. Battle regarding examiner        L120     0.20 hrs
                    interest in sales process.

09/02/2012   SP     Analyze previously designated documents to be         L320     3.40 hrs
                    produced to the bankruptcy examiner relating to
                    subservicing in Discovery Partner for privilege and
                    confidentiality designation.
09/02/2012   SP     Analyze documents from Ms. Hamzehpour relating        L120     2.90 hrs
                    to subservicing in Discovery Partner for privilege
                    and confidentiality designation.
09/03/2012   AMP    Review board meeting materials and minutes for        L320     1.90 hrs
                    relevance to potential areas of inquiry by
                    Examiner.
09/03/2012   JAL    Review global preparation outline for examiner        L120     0.30 hrs
                    interviews.

09/03/2012   JAL    Review documents covered in global examiner           L120     0.30 hrs
                    preparation outline.

09/03/2012   JAL    Draft memo regarding redrafting of global             L120     0.20 hrs
                    examiner preparation outline.

09/03/2012   JAL    Review comments of Mr. Beck regarding global          L120     0.10 hrs
                    examiner preparation outline.

09/03/2012   JAL    Review and respond to e-mails regarding global        L120     0.10 hrs
                    examiner preparation outline.

09/03/2012   JAL    Conferences with Ms. Battle and Mr. Beck              L120     0.10 hrs
                    regarding finalizing circulation draft of global
                    examiner preparation outline.
09/03/2012   JALB   Review Mr. Lipps' comments to global examiner         L330     0.20 hrs
                    preparation outline.

09/03/2012   JALB   Incorporate Mr. Lipps' comments into global           L330     1.20 hrs
                    preparation outline and circulate to Ms. Levitt
                    (Morrison & Foerster).
09/03/2012   DAB    Comment on draft global examiner outline              L120     0.60 hrs
                    prepared by Ms. Battle.

09/03/2012   JRC    Coordinate review of documents related to the Ally    L320     0.30 hrs
                    Bank subservicing agreement by reviewing and
                    analyzing documents identified by reviewers at
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
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                    Carpenter Lipps & Leland and at Morrison &
                    Foerster in order to provide advice on how to
                    correctly code those documents.
09/03/2012   JRC    Coordinate review of documents related to the Ally    L320     0.30 hrs
                    Bank subservicing agreement by drafting e-mails
                    to attorneys at Carpenter Lipps & Leland and
                    Morrison & Foerster providing advice on how to
                    correctly code those documents.
09/03/2012   JRC    Review, analyze, and code documents in                L320     6.20 hrs
                    Discovery Partner in response to request for
                    production from bankruptcy examiner relating to
                    Ally Bank subservicing agreement.
09/03/2012   SP     Analyze previously designated documents to be         L320     2.90 hrs
                    produced to the bankruptcy examiner relating to
                    subservicing in Discovery Partner for privilege and
                    confidentiality designation.
09/03/2012   GNM    Working in Discovery Partner performing first         L320     3.70 hrs
                    level review of Hamzehpour documents in the
                    Subservicing review as outlined in the document
                    review protocol.
09/03/2012   GNM    E-mail communication with Mr. Corcoran                L120     0.10 hrs
                    regarding production of subservicing e-mail data.

09/04/2012   AMP    Review searches performed by DTI in databases         L320     1.20 hrs
                    relating to key issues.

09/04/2012   AMP    Conference call with DTI regarding key issue          L320     0.40 hrs
                    search results.

09/04/2012   AMP    Review proposed outline of issues and identifying     L320     0.70 hrs
                    documents relating to those issues.

09/04/2012   AMP    Review e-mails from Morrison and Foerster             L320     0.10 hrs
                    regarding request for information on key officers.

09/04/2012   AMP    E-mail exchange with Ms. Battle regarding             L320     0.20 hrs
                    Morrison and Foerster's request for key officer
                    information.
09/04/2012   AMP    Review and research corporate profiles for            L320     1.40 hrs
                    information on key officers of RFC, GMACM, and
                    ResCap.
09/04/2012   AMP    Draft memorandum regarding key officer                L320     0.90 hrs
                    information.

09/04/2012   AMP    Multiple e-mail exchanges with Mr. Beck and Ms.       L320     0.40 hrs
                    Battle regarding key officer information.
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09/04/2012   AMP    Review prior PLS litigations to identify individual   L320     0.80 hrs
                    defendants to include with key officer information.

09/04/2012   AMP    Review SEC subpoenas to identify key officers         L320     0.30 hrs
                    listed therein.

09/04/2012   AMP    Attention to issue coding to assist in identifying    L320     0.90 hrs
                    documents for witness kits.

09/04/2012   AMP    Attention to examiner witness kit preparation         L320     0.80 hrs
                    materials.

09/04/2012   VLS    Review document received from outside vendor          L320     1.20 hrs
                    DTI for production. (.90) Communication with Ms.
                    Marty regarding errors in production. (.30)
09/04/2012   JALB   Correspondence with Ms. Levitt (Morrison &            L120     0.20 hrs
                    Foerster) regarding status of preparation materials
                    and outline.
09/04/2012   JALB   Prepare memorandum for Ms. Levitt (Morrison &         L120     0.40 hrs
                    Foerster) regarding status of document collection
                    and production.
09/04/2012   JALB   Correspondence with Ms. Levitt (Morrison &            L120     0.20 hrs
                    Foerster) regarding division of labor regarding
                    Examiner preparation materials.
09/04/2012   JALB   Communicate with Mr. Klein (Morrison & Foerter)       L120     0.60 hrs
                    and Mr. Beck regarding draft outline and
                    preparation for examiner interviews. (.30)
                    Discussion with Ms. Paul-Whitfield regarding
                    examiner interview preaprations. (.30)
09/04/2012   JALB   Attention to document review staffing issues.         L120     0.30 hrs


09/04/2012   JALB   Prepare draft list of issue codes for Examiner key    L120     0.30 hrs
                    topics.

09/04/2012   JALB   Correspondence with Mr. Corcoran regarding            L120     0.20 hrs
                    preparation of review protocol, issue coding and
                    Quality Control planning.
09/04/2012   JALB   Correspondence with Ms. Paul-Whitfield regarding      L120     0.20 hrs
                    creation of key officers' chart.

09/04/2012   JALB   Review and comment on draft key officers' chart       L120     0.20 hrs
                    prepared by Ms. Paul-Whitfield.

09/04/2012   DJB    Analyze e-mail documents pooled from all              L120     7.80 hrs
                    custodians and containing attorney names for
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                    privilege and work product protections relating to
                    Ally-Rescap sub-servicing document review and
                    production to Examiner.
09/04/2012   DAB    Research securities filings, court records and other   L120     3.60 hrs
                    materials for information for inclusion in examiner
                    timeline.
09/04/2012   DAB    Draft timeline of major events in ResCap               L120     1.40 hrs
                    prepetition history for usage in examiner
                    investigation.
09/04/2012   DAB    Review previous correspondence on examiner             L120     0.20 hrs
                    search terms.

09/04/2012   DAB    Meeting with Ms. Paul-Whitfield to discuss             L120     0.30 hrs
                    examiner search terms and searches for documents
                    to assist in preparation of initial custodians.
09/04/2012   DAB    Communicate with Ms. Levitt (Morrison &                L120     0.10 hrs
                    Foerster), Ms. Battle and Ms. Paul-Whitfield
                    regarding director and officer history for debtors.
09/04/2012   DAB    Review draft by Ms. Battle of issue coding             L120     0.40 hrs
                    protocol for contract reviewers working on
                    examiner documents.
09/04/2012   DAB    E-mail Ms. Battle, Ms. Paul-Whitfield, Ms. Marty       L120     0.70 hrs
                    and Mr. Corcoran regarding issue coding protocol
                    on examiner review.
09/04/2012   DAB    Review and analyze previous Morrison & Foerster        L120     1.20 hrs
                    work product on prepetition transactions.

09/04/2012   DAB    Communicate with Ms. Battle and Ms.                    L120     0.30 hrs
                    Paul-Whitfield regarding examiner investigation
                    and materials needed for witness preparation.
09/04/2012   JRC    Conference with Ms. Marty regarding production         L120     0.10 hrs
                    of data related to the Ally Bank subservicing
                    agreement to the bankruptcy examiner.
09/04/2012   JRC    Conference with Ms. Marty and Ms. Battle               L120     0.90 hrs
                    regarding review of data in response to requests
                    form the bankruptcy examiner relating to the Ally
                    Bank subservicing agreement.
09/04/2012   JRC    Review and analyze the draft protocol for review       L120     0.70 hrs
                    of documents in response to requests from the
                    bankruptcy examiner in order to further revise the
                    protocol.
09/04/2012   JRC    Review and analyze affidavit of Mr. Whitlinger         L120     0.30 hrs
                    (Residential Capital) in order to revise draft
                    protocol for review of documents in response to
                    requests from the bankruptcy examiner.
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09/04/2012   JRC    Coordinate review of documents relating to the        L120     0.20 hrs
                    Ally Bank subservicing agreement by assigning
                    batches to reviewers.
09/04/2012   JRC    Coordinate review of documents relating to the        L120     0.50 hrs
                    Ally Bank subservicing agreement by reviewing
                    documents identified by reviewers at Morrison &
                    Foerster and Carpenter Lipps & Leland in order to
                    provide advice on how to code those documents.
09/04/2012   JRC    Coordinate review of documents relating to the        L120     0.50 hrs
                    Ally Bank subservicing agreement by drafting
                    e-mails to reviewers at Morrison & Foerster and
                    Carpenter Lipps & Leland providing advice on
                    how to code documents identified by reviewers.
09/04/2012   JRC    E-mail exchange with technical support for DTI        L120     0.10 hrs
                    regarding errors in the Ally Bank subservicing
                    database.
09/04/2012   JRC    E-mail exchange with Ms. Battle regarding staffing    L120     0.10 hrs
                    for the review of data related to the Ally Bank
                    subservicing agreement.
09/04/2012   JRC    Revise protocol for review of documents in            L120     4.60 hrs
                    response to requests from the bankruptcy examiner
                    based on newly received requests.
09/04/2012   JRC    E-mail exchange with Ms. Battle regarding             L120     0.10 hrs
                    revisions to draft protocol for review of documents
                    in response to requests from the bankruptcy
                    examiner.
09/04/2012   JRC    Review and analyze new discovery requests from        L120     0.40 hrs
                    the bankruptcy examiner in order to revise protocol
                    for review of documents in response to requests
                    from the bankruptcy examiner.
09/04/2012   JRC    E-mail exchange with Mr. Beck and Ms. Battle          L120     0.10 hrs
                    regarding issue tags for documents reviewed in
                    response to requests from the bankruptcy
                    examiner.
09/04/2012   SP     Analyze previously designated documents to be         L320     4.60 hrs
                    produced to the bankruptcy examiner relating to
                    subservicing in Discovery Partner for privilege and
                    confidentiality designation.
09/04/2012   SP     Analyze documents from Ms. Hamzehpour relating        L120     3.60 hrs
                    to subservicing in Discovery Partner for privilege
                    and confidentiality designation.
09/04/2012   SP     Conference with Ms. Paul Whitfield and Mr.            L120     0.20 hrs
                    Barthel regarding privilege designations of
                    numerous documents.
09/04/2012   GNM    E-mail communications with Ms. Wafalosky              L120     0.10 hrs
                    (Robert Half Legal) regarding new reviewer
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                    training for Examiner review.
09/04/2012   GNM    Telephone communication with Mr. Shipler and          L120     0.60 hrs
                    Ms. Reily ( DTI) regarding data load for the
                    Examiner review.
09/04/2012   GNM    Working in Discovery Partner performing first         L320     2.80 hrs
                    level review of Hamzehpour documents in the
                    Subservicing review as outlined in the document
                    review protocol.
09/04/2012   GNM    Working in Discovery Partner performing first         L320     5.20 hrs
                    level review of potentially privileged documents in
                    the Subservicing review as outlined in the
                    document review protocol.
09/04/2012   GNM    Meeting with Ms. Battle regarding training for        L120     0.80 hrs
                    Examiner review.

09/04/2012   GNM    Working in Discovery Partner database performing      L320     0.80 hrs
                    quality control check of production of subservicing
                    e-mails for Examiner.
09/04/2012   GNM    E-mail communications with Ms. Gulley (DTI)           L120     0.10 hrs
                    regarding errors found in the subservicing e-mail
                    production.
09/04/2012   GNM    Telephone communications with Ms. Gulley              L120     0.40 hrs
                    (DTI) regarding errors found in the subservicing
                    e-mail production.
09/04/2012   GNM    E-mail communications with Ms. Klun and Ms.           L120     0.30 hrs
                    Burke (Lumen Legal) regarding new reviewer
                    training for Examiner review.
09/05/2012   JAL    Review Ms. Levitt's (Morrison & Foerster)             L120     0.40 hrs
                    revisions to Global preparation outline.

09/05/2012   JAL    Conference with Ms. Battle regarding Ms. Levitt's     L120     0.20 hrs
                    (Morrison & Foerster) revisions to Global
                    preparation outline.
09/05/2012   JAL    Communicate with Ms. Battle regarding document        L120     0.20 hrs
                    review protocol.

09/05/2012   JAL    Review e-mail from examiner regarding                 L120     0.10 hrs
                    interviews.

09/05/2012   JAL    Revise outline based on examiner issues.              L120     0.50 hrs


09/05/2012   JAL    Review and finalize document review protocol for      L120     0.40 hrs
                    bankruptcy examiner review.
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09/05/2012   VLS    Quality control document production received          L320     0.80 hrs
                    from outside vendor DTI. (.70) Release documents
                    to Morrison and Foerster. (.10)
09/05/2012   JALB   Review Examiner discovery requests to Ally (0.2)      L120     0.30 hrs
                    and correspond with Mr. Bryan (Kirkland & Ellis)
                    regarding scope of same. (.10)
09/05/2012   JALB   Update preparation outline to incorporate key         L330     0.90 hrs
                    topics and comments from Ms. Levitt (Morrison &
                    Foerster) and circulate updated version to Ms.
                    Levitt.
09/05/2012   JALB   Review and revise materials in advance of             L320     0.90 hrs
                    orientation and training session for first level
                    document reviewers.
09/05/2012   JALB   Participate in orientation and training session for   L320     1.40 hrs
                    first level document reviewers, and present
                    background on Examiner investigation and
                    company history.
09/05/2012   JALB   Review Chadbourne's list of proposed topics for       L320     0.30 hrs
                    prioritization in discovery.

09/05/2012   JALB   Correspondence regarding Chadbourne's list of         L120     0.20 hrs
                    proposed topics for prioritization in discovery.

09/05/2012   JALB   Review Examiner discovery requests to Ally.           L320     0.20 hrs


09/05/2012   JALB   Correspondence with Mr. Bryan (Kirkland & Ellis)      L120     0.10 hrs
                    regarding scope of Examiner discovery requests to
                    Ally.
09/05/2012   JALB   Telephone conference with Mr. Underhill               L120     0.20 hrs
                    (ResCap) regarding collection of Marano e-mails.

09/05/2012   DJB    Strategy conference with Ms. Battle, Mr. Beck,        L120     1.10 hrs
                    Mr. Phillips, and Mr. Corcoran regarding Examiner
                    witness preparations.
09/05/2012   DJB    Communications with Mr. Bergelson (Morrison &         L120     0.30 hrs
                    Foerster) regarding setting up Sharepoint site for
                    coordination of Examiner witness preparation
                    materials.
09/05/2012   DJB    Analyze e-mail documents pooled from all              L120     6.30 hrs
                    custodians and containing attorney names for
                    privilege and work product protections relating to
                    Ally-Rescap sub-servicing document review and
                    production to Examiner.
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09/05/2012   DJB    Research and analyze documents to help prepare       L120     2.30 hrs
                    witnesses for Examiner questioning.

09/05/2012   DJB    Communications with Mr. Beck and Mr. Shipler         L120     0.40 hrs
                    (DTI) regarding search terms to prepare Examiner
                    witnesses.
09/05/2012   MMM    Conference with Ms. Battle, Ms. Marty, Mr.           L120     1.90 hrs
                    Philips, Mr. Corcoran, and contractors regarding
                    protocol for Examiner Bankruptcy review.
09/05/2012   MMM    Read confidentiality agreement for ResCap            L120     0.50 hrs
                    bankruptcy discovery to prepare for document
                    review.
09/05/2012   MMM    Review protocol memorandum regarding                 L120     0.50 hrs
                    instructions for document review.

09/05/2012   DAB    Research regarding ResCap liquidation plan for       L120     0.30 hrs
                    background materials for contract reviewers.

09/05/2012   DAB    Communicate with Ms. Levitt (Morrison &              L120     0.20 hrs
                    Foerster) regarding changes to examiner
                    preparation outline.
09/05/2012   DAB    Revise examiner preparation outline in response to   L120     0.70 hrs
                    comments of Ms. Levitt of Morrison & Foerster.

09/05/2012   DAB    Revise timeline of major examiner events.            L120     0.50 hrs


09/05/2012   DAB    Communicate with Mr. Phillips regarding board        L120     0.20 hrs
                    minutes analysis needed regarding Ally Bank sale.

09/05/2012   DAB    Communicate with Ms. Battle regarding timing on      L120     0.10 hrs
                    Ally Bank sale.

09/05/2012   DAB    Review Whitlinger first day declaration for          L120     0.40 hrs
                    information needed by contract reviewers working
                    on examiner review.
09/05/2012   DAB    Communicate with Ms. Marty and Mr. Corcoran          L120     0.30 hrs
                    regarding searching for materials for examiner
                    interview witness preparation.
09/05/2012   DAB    Analyze request for informal factual assistance      L120     0.40 hrs
                    from examiner.

09/05/2012   DAB    Review materials in previous litigation databases    L120     4.80 hrs
                    for materials relevant to examiner review.

09/05/2012   DAB    Meeting with Ms. Battle, Mr. Barthel, Mr.Corcoran    L120     1.00 hrs
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                    and Mr. Phillips regarding next projects on
                    examiner investigation.
09/05/2012   JRC    Conference with Ms. Battle, Mr. Phillips, Mr.         L120     1.10 hrs
                    Barthel, and Mr. Beck regarding interview
                    preparation materials for individuals being
                    interviewed by the bankruptcy examiner.
09/05/2012   JRC    Train first-level reviewers on protocol for review    L120     1.90 hrs
                    of documents in response to requests from the
                    bankruptcy examiner.
09/05/2012   JRC    Revise protocol for review of documents in            L120     0.90 hrs
                    response to requests from the bankruptcy
                    examiner.
09/05/2012   JRC    Review training materials for review of documents     L120     0.20 hrs
                    in response to requests from the bankruptcy
                    examiner in order to train first-level reviewers.
09/05/2012   JRC    E-mail exchange with Morrison & Foerster              L120     0.10 hrs
                    attorneys regarding review of documents in
                    response to requests from the bankruptcy
                    examiner.
09/05/2012   JRC    Review and analyze discovery requests from the        L120     0.40 hrs
                    unsecured creditors' committee in order to draft
                    chart comparing bankruptcy-related discovery
                    requests for Ms. Levitt (Morrison & Foerster).
09/05/2012   JRC    Review and analyze discovery requests from the        L120     0.40 hrs
                    bankruptcy examiner in order to draft chart
                    comparing bankruptcy-related discovery requests
                    for Ms. Levitt (Morrison & Foerster).
09/05/2012   JRC    Draft chart comparing bankruptcy-related              L320     1.30 hrs
                    discovery requests for Ms. Levitt (Morrison &
                    Foerster).
09/05/2012   SP     Participate in training session relating to the       L120     1.00 hrs
                    examiner review protocol.

09/05/2012   SP     Analyze previously designated documents to be         L320     2.10 hrs
                    produced to the bankruptcy examiner relating to
                    subservicing in Discovery Partner for privilege and
                    confidentiality designation.
09/05/2012   SP     Review board meeting materials to extract             L120     0.70 hrs
                    information requested by Mr. Beck relating to
                    transfers of interest in Ally Bank.
09/05/2012   GNM    Drafting cover letter to be sent to Examinerwith      L120     0.40 hrs
                    subservicing e-mail production.

09/05/2012   GNM    E-mail communications with Mr. Brown and Mr.          L120     0.30 hrs
                    Bergelson (Morrison & Foerster) regarding
                    subservicing e-mail productions to Examiner.
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09/05/2012   GNM    Performing quality control checks on re-do           L320     0.70 hrs
                    production of subservicing e-mails for production
                    to Examiner.
09/05/2012   GNM    E-mail communications with Ms. Gulley (DTI)          L120     0.20 hrs
                    regarding errors found in the subservicing e-mail
                    production.
09/05/2012   GNM    Finalizing review protocol for new reviewer          L320     0.90 hrs
                    training for Examiner Review.

09/05/2012   GNM    New reviewer training for Examiner Review.           L320     3.10 hrs


09/05/2012   GNM    Meeting with Mr. Beck regarding witness              L120     0.40 hrs
                    preparation kits for Examiner interviews.

09/05/2012   GNM    Working in Discovery Partner database                L320     0.40 hrs
                    configuring data for witness preparation kits.

09/06/2012   AMP    Review multiple e-mails and materials regarding      L320     0.30 hrs
                    review of latest Examiner requested documents.

09/06/2012   AMP    Review multiple e-mails and materials regarding      L320     0.30 hrs
                    sharepoint for examiner witness preparation
                    materials.
09/06/2012   JAL    Attention to finalizing next draft of global         L120     1.00 hrs
                    examiner preparation outline.

09/06/2012   JAL    Review and respond to e-mails regarding global       L120     0.30 hrs
                    examiner preparation outline.

09/06/2012   VLS    Conference with Ms. Marty and Mr. Shipler at DTI     L320     0.80 hrs
                    regarding exporting documents to be used in
                    deposition preparation.
09/06/2012   JALB   Prepare notes for Ms. Levitt (Morrison & Foerster)   L320     0.30 hrs
                    regarding status of document discovery and
                    projected completion.
09/06/2012   JALB   Review and incorporate Ms. Levitt (Morrison &        L330     0.60 hrs
                    Foerster) edits to global interview preparation
                    outline.
09/06/2012   JALB   Discussion with Ms. Levitt (Morrison & Foerster)     L120     0.20 hrs
                    regarding planning for Examiner preparation.

09/06/2012   JALB   Confer with Ms. Marty and Mr. Corcoran               L120     0.30 hrs
                    regarding status of document discovery and
                    projected completion.
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09/06/2012   JALB   Discuss logistics of SharePoint site to collect      L120     0.40 hrs
                    preparation materials with Mr. Barthel, Mr. Lipps,
                    Mr. Beck, and Ms. Levitt (Morrison & Foerster).
09/06/2012   JALB   Analysis of second wave document requests and        L320     0.80 hrs
                    preparation of chart reflecting same.

09/06/2012   DAB    Revise global preparation outline for examiner       L120     0.30 hrs
                    based on comments of Ms. Levitt of Morrison &
                    Foerster.
09/06/2012   DAB    Conference with Mr. Phillips regarding additional    L120     0.10 hrs
                    analysis needed on board materials for examiner
                    witness interview preparations.
09/06/2012   DAB    Research role of Morrison & Cohen in advising        L120     0.40 hrs
                    Residential Capital prepetition.

09/06/2012   DAB    Communicate with Ms. Battle and Mr. Corcoran         L120     0.10 hrs
                    regarding Morrison & Cohen materials.

09/06/2012   DAB    Communicate with Ms. Marty regarding best            L120     0.30 hrs
                    procedures for exporting items from production
                    databases and ways to share materials
                    electronically with Morrison & Foerster for
                    examiner witness interview preparations.
09/06/2012   DAB    Communicate with Ms. Marty regarding DTI             L120     0.10 hrs
                    exporting of files for examiner.

09/06/2012   DAB    Communicate with Ms. Battle, Ms. Marty and Ms.       L120     0.30 hrs
                    Sholl regarding technical issues on preparation of
                    witness kits for examiner interviews.
09/06/2012   DAB    Investigate technical options for most efficient     L120     0.30 hrs
                    production of witness kits out of prepetition
                    litigation kits.
09/06/2012   DAB    Review draft file folder structure for examiner      L120     0.30 hrs
                    documents prepared by Ms. Battle.

09/06/2012   DAB    Communicate with Ms. Battle regarding comments       L120     0.10 hrs
                    on examiner review file folder structure.

09/06/2012   DAB    Communicate with Ms. Sholl regarding assembly        L120     0.20 hrs
                    of witness kit for examiner interviews.

09/06/2012   DAB    Call with Ms. Levitt, Mr. Clark (Morrison &          L120     0.30 hrs
                    Foerster) and Ms. Battle regarding joint defense
                    privilege issues involving Ally and Residential
                    Capital for examiner investigations.
09/06/2012   JRC    Review documents relating to the Ally Bank           L320     4.20 hrs
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                    subservicing agreement coded by attorneys at
                    Carpenter Lipps & Leland and Morrison &
                    Foerster for quality control prior to production to
                    bankruptcy examiner.
09/06/2012   JRC    Draft e-mail to Mr. Shipler (DTI) and Ms. Gulley      L320     0.20 hrs
                    (DTI) providing production specifications and
                    instructions for production to bankruptcy
                    examiner.
09/06/2012   JRC    E-mail exchange with Ms. Marty regarding              L320     0.10 hrs
                    preparation of documents requested by the
                    bankruptcy examiner for production.
09/06/2012   JRC    Conference with Ms. Marty and Ms. Battle              L320     0.30 hrs
                    regarding review of documents in response to
                    requests for production of documents by the
                    bankruptcy examiner.
09/06/2012   JRC    E-mail exchange with Ms. Marty and Ms. Battle         L320     0.10 hrs
                    regarding timeline for production of documents to
                    the bankruptcy examiner.
09/06/2012   JRC    Review, analyze, and code documents in                L320     2.50 hrs
                    Discovery Partner for privilege and confidentiality
                    in response to the bankruptcy examiner's requests.
09/06/2012   SP     Review board meeting materials and minutes to         L120     2.30 hrs
                    identify documents relating to the Operating
                    Agreement and affiliate transaction procedures and
                    approvals for Mr. Beck.
09/06/2012   GNM    Telephone communications with Mr. Underhill           L120     0.30 hrs
                    (Residential Capital) regarding Marano data.

09/06/2012   GNM    Communicate with Ms. Sholl regarding witness          L120     0.60 hrs
                    preparation kits.

09/06/2012   GNM    Working in Discovery Partner answering reviewer       L320     0.80 hrs
                    questions regarding privilege and confidentiality
                    designations.
09/06/2012   GNM    Drafting and sending e-mail communications to         L120     0.60 hrs
                    Ms. Gulley (DTI) regarding database configuration
                    for the data to be reviewed for the Examiner.
09/06/2012   GNM    Exchanging e-mail communication with Ms.              L120     0.50 hrs
                    Gulley (DTI) regarding new reviewer training.

09/06/2012   GNM    Telephone communications with Ms. Hancock             L120     0.30 hrs
                    (Bradley Arant) regarding confidentiality order.

09/07/2012   AMP    Review board meeting materials and minutes for        L320     1.40 hrs
                    relevance to potential areas of inquiry by
                    Examiner.
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09/07/2012   JAL    Review, revise and finalize outline for Ms.         L120     1.00 hrs
                    Dondzila's interview.

09/07/2012   JAL    Conference with Ms. Battle and Mr. Beck             L120     0.20 hrs
                    regarding Ms. Dondzila's interview.

09/07/2012   JAL    Review potential documents for Ms. Dondzila's       L120     1.30 hrs
                    preparation.

09/07/2012   JAL    Conference with Ms. Levitt (Morrison & Foerster),   L120     0.30 hrs
                    Mr. Beck and Ms. Battle regarding Ms. Dondzila's
                    interview.
09/07/2012   JAL    Review e-mail from Ms. Levitt (Morrison &           L120     0.20 hrs
                    Foerster) regarding examiner preparation issues
                    and document protocol.
09/07/2012   JALB   Telephone conference with Mr. Brown (Morrison       L120     0.60 hrs
                    & Foerster) regarding status of document
                    collection and production.
09/07/2012   JALB   Telephone conference with Ms. Levitt (Morrison &    L120     1.00 hrs
                    Foerster) and Mr. Lipps regarding planning for
                    Examiner witness interviews (.30) and preparation
                    for same. (.50) Meeting with Mr. Lipps regarding
                    Dondzila preparations. (.20)
09/07/2012   JALB   Review and respond to e-mails regarding proposed    L120     0.40 hrs
                    clawback of Devine materials.

09/07/2012   JALB   Review and communication with Ms. Marty             L120     0.30 hrs
                    regarding e-mails identifying gaps in Board
                    material productions.
09/07/2012   MMM    Review e-mails with Ms. Gess as custodian per       L120     3.90 hrs
                    examiners request.

09/07/2012   DAB    Communicate with Ms. Sholl regarding exporting      L120     0.10 hrs
                    by DTI of materials for examiner witness kits.

09/07/2012   DAB    Review and analyze materials from securities        L120     3.20 hrs
                    filings relevant to examiner topics of inquiry.
                    (2.70) Conference with Mr. Lipps and Ms. Battle
                    regarding Dondzila preparations. (.20) Call with
                    Ms. Levitt (Morrison & Foerster), Mr. Lipps and
                    Ms. Battle regarding Dondzila preparations. (.30)
09/07/2012   DAB    Analyze materials from Morrison & Foerster          L120     3.30 hrs
                    prepetition claims investigation.
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09/07/2012   DAB    Communicate with Mr. Philips regarding materials       L120     0.20 hrs
                    from board minutes on Ally Bank transactions.

09/07/2012   JRC    E-mail exchange with Ms. Marty regarding               L320     0.20 hrs
                    documents identified for clawback from unsecured
                    creditors' committee by Kirkland and Ellis.
09/07/2012   JRC    Review and analyze documents identified for            L320     0.20 hrs
                    clawback from unsecured creditors' committee by
                    Kirkland and Ellis in order to determine which
                    portions of the documents should be clawed back.
09/07/2012   JRC    Conference with Ms. Battle regarding documents         L320     0.10 hrs
                    identified for clawback from unsecured creditors'
                    committee by Kirkland and Ellis in order to
                    determine which portions of the documents should
                    be clawed back.
09/07/2012   JRC    E-mail exchange with Ms. Battle regarding              L320     0.30 hrs
                    documents identified for clawback from unsecured
                    creditors' committee by Kirkland and Ellis in order
                    to determine which portions of the documents
                    should be clawed back.
09/07/2012   JRC    Research the attorney-client privilege under 2nd       L320     0.30 hrs
                    circuit law in order to revise protocol for examiner
                    document review.
09/07/2012   JRC    E-mail exchange with Ms. Battle regarding review       L320     0.20 hrs
                    protocol for documents requested by the
                    bankruptcy examiner.
09/07/2012   GNM    Working in Discovery Partner performing second         L320     0.40 hrs
                    level review of Lisa Gess data as outlined in the
                    Quality Control Protocol.
09/07/2012   GNM    Researching in Discovery Partner database to           L320     0.60 hrs
                    answer question for Ms. Battle regarding Board
                    Materials previously produced.
09/07/2012   GNM    E-mail communication with Ms. Gulley (DTI)             L120     0.20 hrs
                    regarding database configuration for Examiner
                    data.
09/07/2012   GNM    Exchanging e-mail communications with Mr.              L120     0.60 hrs
                    Massey (Contract Reviewer) regarding
                    responsiveness and privilege designations of
                    Examiner data.
09/09/2012   AMP    Review materials and e-mails from Ms. Battle to        L320     3.70 hrs
                    assist in creating witness preparation kits to help
                    Morrison and Foerster prepare witnesses before
                    Examiner interviews.
09/09/2012   JALB   Prepare notes to Mr. Beck and Ms. Paul-Whitfield       L120     0.50 hrs
                    regarding coordination of preparation and
                    collection of materials for preparation books.
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09/09/2012   DAB    Review and analyze Morrison & Foerster                 L120     0.80 hrs
                    presentations on claims related to examiner
                    investigation.
09/09/2012   DAB    Review materials collected by Morrison & Foerster      L120     2.30 hrs
                    in prepetition claims review for relevance to
                    examiner witness interview kits. (2.00)
                    Conference with Ms. Paul-Whitfield regarding
                    dividing tasks on witness preparation. (.30)
09/10/2012   AMP    Conference with Mr. Barthel regarding searches of      L120     0.30 hrs
                    documents maintained in Kroll database to assist in
                    witness kit preparation.
09/10/2012   AMP    Multiple e-mails regarding Kroll searches.             L120     0.40 hrs


09/10/2012   AMP    Conference with Mr. Beck regarding witness             L120     0.30 hrs
                    preparation kit division of labor for efficiency
                    purposes.
09/10/2012   AMP    Draft notes regarding witness preparation kit          L120     0.50 hrs
                    division of labor for efficiency purposes.

09/10/2012   AMP    Review additional materials and timelines              L320     2.20 hrs
                    potentially relevant to witness kits.

09/10/2012   AMP    Review board meeting materials and minutes for         L320     1.20 hrs
                    relevance to potential areas of inquiry by
                    Examiner.
09/10/2012   DJB    Communications with Kroll regarding running            L120     0.60 hrs
                    searches in litigation database to prepare witnesses
                    for Examiner interviews.
09/10/2012   MMM    Review e-mails with Ms. Gess as custodian per          L120     3.20 hrs
                    examiner request.

09/10/2012   DAB    Conference with Mr. Barthel regarding allocation       L120     0.10 hrs
                    of review of prepetition litigation databases for
                    examiner prep materials.
09/10/2012   DAB    Review 2004 review database for materials              L320     4.10 hrs
                    relevant to examiner inquiry.

09/10/2012   DAB    Communicate with Ms. Marty regarding issue tags        L120     0.20 hrs
                    for review of examiner documents.

09/10/2012   JRC    Conference with Ms. Marty regarding document           L120     0.10 hrs
                    clawback request to examiner.

09/10/2012   JRC    E-mail exchange with Ms. Marty regarding               L120     0.10 hrs
                    redaction of documents previously produced to the
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                    bankruptcy examiner.
09/10/2012   SP     Review documents in Discovery Partner relating to      L120     3.20 hrs
                    the board of directors and various committees for
                    significant issues that may arise during interviews.
09/10/2012   GNM    Working in Discovery Partner database answering        L320     1.20 hrs
                    reviewer questions regarding privilege
                    designations and issue coding about Examiner
                    data.
09/10/2012   GNM    Researching in Discovery Partner database to           L320     1.60 hrs
                    locate presentations given to the ResCap Board of
                    Directors.
09/10/2012   GNM    Meeting with Mr. Beck regarding witness                L120     0.20 hrs
                    preparation kits for Examiner interviews.

09/10/2012   GNM    Drafting clawback letter for documents previously      L320     0.30 hrs
                    inadvertently produced to the Examiner.

09/11/2012   AMP    Attention to reviewing, researching and locating       L120     2.10 hrs
                    key documents for witness preparation materials.

09/11/2012   AMP    Attention to witness preparation issues.               L120     1.30 hrs


09/11/2012   DAB    Analyze materials in 2004 review database for          L320     1.70 hrs
                    possible usage in witness preparation kits for
                    examiner review.
09/11/2012   DAB    Analyze previous board minutes and                     L120     2.40 hrs
                    correspondence collected in Morrison & Foerster
                    prepetition claims analysis for usage in examiner
                    witness preparation kits.
09/11/2012   SP     Review documents in Discovery Partner relating to      L120     2.90 hrs
                    the board of directors and various committees for
                    significant issues that may arise during interviews.
09/11/2012   GNM    Meeting with Mr. Corcoran regarding search terms       L120     0.50 hrs
                    for the DIP lien data to be reviewed and produced
                    to the Examiner.
09/11/2012   GNM    Working in Discovery Partner database answering        L320     0.90 hrs
                    reviewer questions regarding privilege and
                    confidentiality designations of Lisa Gess data.
09/12/2012   AMP    Attention to sample witness kit issues for             L120     0.20 hrs
                    preparation of witness kits for Examiner interviews
                    and e-mails regarding those sample witness kits.
09/12/2012   AMP    Review e-mails from Morrison and Foerster (team)       L120     0.20 hrs
                    and Mr. Barthel regarding Examiner materials
                    sharepoint access.
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09/12/2012   VLS    Conference with Ms. Gulley at DTI, Ms. Marty           L330     0.60 hrs
                    and Ms. Battle regarding preparation of materials
                    for witness preparation notebooks.
09/12/2012   JALB   Correspondence with Mr. Klein (Morrison &              L120     0.30 hrs
                    Foerster), Mr. Corcoran and Ms. Marty regarding
                    revisions to document review protocol.
09/12/2012   DJB    Communications with Kroll regarding running            L120     0.30 hrs
                    searches in litigation database to prepare witnesses
                    for Examiner interviews.
09/12/2012   DAB    Research materials regarding related party             L120     0.20 hrs
                    transactions.

09/12/2012   DAB    Communicate with Mr. Rhode regarding research          L120     0.10 hrs
                    needed on prebankruptcy related party
                    transactions.
09/12/2012   GNM    Working in Discovery Partner database redacting        L320     0.20 hrs
                    privileged items for production.

09/12/2012   GNM    Reviewing and analyzing document review                L320     0.90 hrs
                    protocol provided by Morrison Foerster for
                    Examiner review.
09/12/2012   GNM    Drafting and sending e-mail communication to Ms.       L120     0.30 hrs
                    Battle regarding document review protocol
                    provided by Morrison Foerster.
09/13/2012   AMP    Attention to issues regarding Sandler O'Neill's role   L120     0.90 hrs
                    and involvement for purposes of Examiner's
                    subpoena.
09/13/2012   AMP    Review documents and materials to determine            L120     1.00 hrs
                    Sandler O'Neill's role.

09/13/2012   AMP    Review and respond to multiple e-mails regarding       L120     0.80 hrs
                    Sandler O'Neill's role and report conclusions.

09/13/2012   AMP    Review Kroll search results for witness preparation    L120     0.40 hrs
                    materials from other litigation matters.

09/13/2012   AMP    Review e-mails regarding Kroll search results to       L120     0.20 hrs
                    identify items for preparation kits.

09/13/2012   AMP    Attention to materials for preparation kits for        L120     0.60 hrs
                    Examiner interviews.

09/13/2012   AMP    Review and respond to e-mails regarding                L120     0.10 hrs
                    preparation kit materials.

09/13/2012   JAL    Review examiner subpoenas. (.30) Review e-mails        L120     2.00 hrs
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                    regarding same. (.30) Review and revise Global
                    preparation outline. (.80) Conference with Ms.
                    Battle and Mr. Beck regarding issues for examiner
                    witness interviews. (.30) Conference with Mr.
                    Beck regarding same. (.30)
09/13/2012   VLS    Conference with Mr. Beck and Mr. Keck at Profile         L330     0.80 hrs
                    Discovery regarding preparation of witness
                    preparation kits. (.50) Communicate with Ms.
                    Marty regarding same. (.30)
09/13/2012   VLS    Download and prepare document production for             L320     3.20 hrs
                    quality control review and production.

09/13/2012   JALB   Telephone conference with Mr. Lipps and Mr.              L120     0.30 hrs
                    Beck regarding planning and strategy for Examiner
                    witness preparation.
09/13/2012   JALB   E-mail discussion with Ms. Marty and Ms.                 L120     0.40 hrs
                    Corcoran regarding pace of production and new
                    third party document requests.
09/13/2012   JALB   Telephone conference with Ms. Levitt regarding           L120     0.40 hrs
                    current schedule for initial round of Examiner
                    witness interviews and coordination for preparation
                    of same.
09/13/2012   DJB    Research which debtor entities employed                  L120     2.30 hrs
                    McCumber, Scholtz, Hayden, Wold, and
                    Thompson by searching deposition transcripts and
                    exhibits in litigation databases.
09/13/2012   MMM    Continue review of e-mails with Ms. Gess as              L120     2.80 hrs
                    custodian per examiners request.

09/13/2012   DAB    Analyze examiner subpoena to Cerberus.                   L330     0.20 hrs


09/13/2012   DAB    Research key documents from previous PLS                 L330     1.10 hrs
                    litigation for including in Examiner witness kits.

09/13/2012   DAB    Call with Mr. Keck (Profile Imaging) and Ms.             L120     0.50 hrs
                    Sholl regarding exporting materials from previous
                    databases for usage in examiner witness kits.
09/13/2012   DAB    Review materials in 2004 review database relevant        L330     1.60 hrs
                    to Ally Bank questions asked by examiner.

09/13/2012   DAB    Communicate with Mr. Rhode regarding research            L120     0.60 hrs
                    needed on transaction documents for examiner
                    investigation. (.20) Draft topics list for research on
                    transaction dosuments. (.40)
09/13/2012   DAB    Conference with Mr. Lipps and Ms. Battle                 L120     0.60 hrs
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                    regarding examiner investigation and pending
                    work products. (.30) Conference with Mr. Lipps
                    regarding same. (.30)
09/13/2012   JRC    Review and compare new requests for documents        L120     0.20 hrs
                    from the bankruptcy examiner to previous requests.

09/13/2012   JRC    Draft e-mail to Mr. Lipps, Mr. Beck, and Ms.         L120     0.10 hrs
                    Battle providing summary of new requests from
                    the bankruptcy examiner.
09/13/2012   JRC    Review and analyze documents in Discovery            L120     0.40 hrs
                    Partner in response to new requests for documents
                    from the bankruptcy examiner.
09/13/2012   JDR    Conference with Mr. Beck regarding examiner          L120     0.20 hrs
                    review, witness preparation and transaction
                    documents.
09/13/2012   JDR    Review examiner preparation folder structure,        L320     1.20 hrs
                    major rescap events timeline, and bankruptcy
                    examiner review protocol to develop strategy for
                    obtaining witness materials.
09/13/2012   JDR    Research regarding GMAC Bank transfer                L320     1.30 hrs
                    documents for 2006 to obtain necessary transaction
                    documents for examiner witness materials.
09/13/2012   JDR    Research regarding GMAC Bank transfer                L320     1.60 hrs
                    documents for 2008 to obtain necessary transaction
                    documents for examiner witness materials.
09/13/2012   JDR    Research regarding GMAC Bank transfer                L320     1.50 hrs
                    documents for 2009 to obtain necessary transaction
                    documents for examiner witness materials.
09/13/2012   JDR    Review Whitlinger's affidavit to obtain relevant     L320     1.60 hrs
                    financing, SSA discussion and filings location for
                    examiner witness materials.
09/13/2012   JDR    Create index for organization and location           L320     0.30 hrs
                    reference of PDF examiner witness materials.

09/13/2012   GNM    Reviewing and editing Examiner review protocol.      L320     2.00 hrs


09/13/2012   GNM    Drafting cover letter to be sent to Examiner with    L120     0.30 hrs
                    subservicing e-mail production.

09/13/2012   GNM    Perform quality control checks on second half of     L320     1.20 hrs
                    re-do production of subservicing e-mails for
                    Examiner.
09/13/2012   GNM    Telephone communications with Ms. Hancock            L120     0.10 hrs
                    (Bradley Arant) regarding confidentiality order.
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09/13/2012   GNM    Meeting with Mr. Beck regarding witness              L120     0.30 hrs
                    preparation kits for Examiner interviews.

09/13/2012   GNM    Drafting and sending e-mail communications to        L120     0.50 hrs
                    Ms. Battle regarding status of the Examiner review
                    and timeline for productions.
09/13/2012   GNM    E-mail communications with Ms. Palmer (Bradley       L120     0.10 hrs
                    Arant) regarding confidentiality order.

09/14/2012   AMP    Attention to identification of documents for         L120     0.90 hrs
                    witness kits.

09/14/2012   AMP    Develop witness kits to assist Morrison and          L120     0.60 hrs
                    Foerster in preparing witnesses.

09/14/2012   AMP    Review and respond to multiple e-mails regarding     L120     0.30 hrs
                    Examiner's witness interviews.

09/14/2012   AMP    Review and respond to e-mails regarding Sandler      L120     0.40 hrs
                    O'Neill, Houlihan and other subpoenaed entities
                    involvement for purposes of Examiner subpoena.
09/14/2012   AMP    Revise and redraft memorandum regarding              L120     0.80 hrs
                    subpoenaed entities requested by Examiner and
                    their relevant roles.
09/14/2012   AMP    Review documents for specific examiner               L120     1.10 hrs
                    interviewees.

09/14/2012   JAL    Review e-mail regarding examiner interview           L120     0.30 hrs
                    schedule. (.20) Conference with Ms. Battle
                    regarding same. (.10)
09/14/2012   JALB   Meeting with Mr. Lipps and Mr. Beck regarding        L120     0.50 hrs
                    key themes and focal points for potential Examiner
                    questioning. (.30) Communicate with Ms.
                    Paul-Whitfield and Mr. Beck regarding same. (.20)
09/14/2012   JALB   Telephone conference with Mr. Lipps, Mr. Beck,       L120     0.60 hrs
                    Mr. Illovsky (MoFo), Mr. Klein (MoFo) and others
                    on Examiner team regarding coordination of
                    efforts and division of labor to prepare for
                    Examiner interviews.
09/14/2012   JALB   Review and analyze documents relating to global      L320     1.80 hrs
                    examiner.

09/14/2012   JALB   Follow up correspondence with Ms. Andrews            L120     0.20 hrs
                    (Morrison & Foerster) regarding Sharepoint and
                    key documents for Dondzila preparation materials.
09/14/2012   MMM    Continue review of e-mails with Ms. Gess as          L120     4.10 hrs
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                    custodian per examiners request.

09/14/2012   DAB    Communicate with Mr. Phillips regarding                L120     0.20 hrs
                    additional research needed on board minutes.

09/14/2012   DAB    Communicate with Ms. Battle and Ms.                    L120     0.20 hrs
                    Paul-Whitfield regarding preparation of witness
                    kits for examiner interviews.
09/14/2012   DAB    Review materials in 2004 production database           L330     2.30 hrs
                    regarding transactions with Ally Bank for
                    examiner witness preparation.
09/14/2012   DAB    Communicate with Ms. Battle regarding witness          L120     0.30 hrs
                    kit for Ms. Donzila.

09/14/2012   DAB    Communicate with Mr. Rhode regarding research          L120     0.20 hrs
                    needed on transaction documents for affiliate
                    transactions.
09/14/2012   DAB    Research ResCap securities filings for information     L120     2.70 hrs
                    relevant to examiner inquiry.

09/14/2012   DAB    Call with Mr. Illovsky, Mr. Klein (Morrison &          L120     0.50 hrs
                    Foerster), Mr. Lipps and Ms. Battle regarding
                    coordination on examiner witness preparations.
09/14/2012   JRC    Conference with Ms. Marty, Ms. Battle, and             L120     0.20 hrs
                    contract reviewers reviewing documents in
                    response to the requests from the bankruptcy
                    examiner regarding correct coding for
                    responsiveness and privilege.
09/14/2012   JRC    Conference with Ms. Marty and Ms. Battle               L120     0.40 hrs
                    regarding document requests from the bankruptcy
                    examiner and timeline for production.
09/14/2012   JDR    Research to obtain Ally debtor in possession           L120     1.20 hrs
                    filings, objections, and other relevant documents
                    for examiner witness materials.
09/14/2012   JDR    Research to obtain Barclays debtor in possession       L120     1.30 hrs
                    filings, objections, and other relevant documents
                    for examiner witness materials.
09/14/2012   JDR    Research to obtain Citibank cash collateral filings,   L320     0.80 hrs
                    objections, and other relevant documents for
                    examiner witness materials.
09/14/2012   JDR    Research to obtain shared services agreement           L320     1.00 hrs
                    filings, objections, and other relevant documents
                    for examiner witness materials.
09/14/2012   JDR    Update index of examiner witness documents             L320     0.30 hrs
                    obtained.
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09/14/2012   JDR    Conference with Mr. Beck regarding the Citibank       L320     0.20 hrs
                    cash collateral and GMAC Bank transaction
                    documents necessary for examiner witness
                    materials.
09/14/2012   GNM    Meeting with Ms. Battle regarding staffing levels     L120     0.80 hrs
                    of Examiner and DIP lien review.

09/14/2012   GNM    Working in Discovery Partner database answering       L320     0.60 hrs
                    reviewer questions regarding privilege and
                    confidentiality designations of Lisa Gess data.
09/14/2012   GNM    Telephone communication with Ms. Gulley (DTI)         L120     0.20 hrs
                    regarding highlighting of search terms and
                    privilege terms in Examiner database.
09/14/2012   GNM    Meeting with Examiner review team regarding           L120     0.40 hrs
                    issue coding and privilege designations.

09/14/2012   GNM    E-mail communications with Mr. Brown and Mr.          L120     0.30 hrs
                    Bergelson (Morrison & Foerster) regarding second
                    subservicing e-mail production.
09/15/2012   GNM    E-mail communications with Mr. Corcoran               L120     0.40 hrs
                    regarding newly loaded data for review in
                    Examiner database.
09/16/2012   GNM    E-mail communications with Ms. Gulley (DTI)           L120     0.10 hrs
                    regarding production errors with second production
                    of subservicing e-mails.
09/16/2012   GNM    E-mail communications with Ms. Battle regarding       L120     0.10 hrs
                    production errors with second production of
                    subservicing e-mails.
09/17/2012   JALB   Review and respond to questions from Mr. Beck         L120     0.40 hrs
                    on PEO determinations for various presentations.

09/17/2012   JALB   Review and analyze selected board materials for       L330     1.60 hrs
                    incorporation into witness outlines.

09/17/2012   JALB   Prepare outline for preparation of Ms. Dondzila for   L330     2.90 hrs
                    Examiner interview.

09/17/2012   JALB   Review and analyze Morrison & Foerster                L330     0.90 hrs
                    presentation materials for incorporation into Ms.
                    Dondzila's witness outline.
09/17/2012   JALB   Review and analyze Morrison & Foerster interview      L330     0.70 hrs
                    notes of Ms. Dondzila for incorporation into
                    witness outline.
09/17/2012   DAB    Review of presentations for privilege and             L120     3.70 hrs
                    relevance for presentation to examiner.
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09/17/2012   DAB    Communicate with Ms. Battle regarding review of      L120     0.20 hrs
                    presentations for privilege.

09/17/2012   DAB    Communicate with Ms. Battle regarding additional     L120     0.20 hrs
                    research issues for examiner interviews.

09/17/2012   DAB    Conference with Mr. Sechler regarding research       L120     0.30 hrs
                    needed on valuation committee materials for
                    examiner review.
09/17/2012   DAB    Communicate with Ms. Marty regarding                 L120     0.20 hrs
                    preparation of examiner witness kits.

09/17/2012   DAB    Communicate with Mr. Rhode regarding research        L120     0.10 hrs
                    on transaction documents between Ally and
                    Rescap.
09/17/2012   DAB    Review 2004 database for communications on           L120     2.40 hrs
                    accounting issues.

09/17/2012   JDR    Research transaction documents and sec filings for   L320     0.50 hrs
                    material ResCap transactions in preparation for
                    Examiner witnesses.
09/17/2012   GNM    Working in Discovery Partner database performing     L320     5.20 hrs
                    second level review of Lisa Gess data as outlined
                    in the QC protocol.
09/17/2012   GNM    Drafting and sending e-mail communications to        L120     0.30 hrs
                    Ms. Gulley regarding quality control set ready for
                    production in Examiner database.
09/17/2012   GNM    Drafting and sending e-mail communications to        L120     0.20 hrs
                    Ms. Battle regarding status of the Examiner review
                    and timeline for productions.
09/18/2012   JAL    Review and redraft Ms. Dondzila's preparation        L120     1.00 hrs
                    outline. (.70) Conference with Ms. Battle
                    regarding same. (.10) Review e-mails regarding
                    same. (.20)
09/18/2012   VLS    E-mail exchanges with Mr. Beck and Ms. Gulley at     L330     0.80 hrs
                    DTI regarding data processing requirements for
                    witness kits.
09/18/2012   JES    Review valuation committee documents for             L120     7.80 hrs
                    possible use in connection with Dondzila
                    deposition preparation outline. (5.70) Draft
                    analysis of valuation committee materials. (1.80)
                    Conference with Mr. Beck regarding research
                    needed on valuation committee materials. (.30)
09/18/2012   JALB   Prepare draft examiner interview outline for Ms.     L330     2.30 hrs
                    Dondzila.
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09/18/2012   JALB   Various discussions with Ms. Levitt, Mr. Klein,         L120     1.10 hrs
                    Mr. Illovsky (all Morrison & Foerster) regarding
                    status of document collection and production
                    efforts and preparation for witness interviews. (.60)
                    Call with Ms. Levitt, Mr. Klein and Mr. Beck
                    regarding examiner discovery requests. (.50)
09/18/2012   JALB   Review and analyze selected board materials for         L330     1.90 hrs
                    incorporation into witness outlines.

09/18/2012   JALB   Participate in meet and confer update call with Ms.     L120     0.40 hrs
                    Miller (Chadbourne) and Mr. Klein (Morrison &
                    Foerster).
09/18/2012   JALB   Discussions with Ms. Marty regarding pace and           L120     0.30 hrs
                    staffing of review and anticipated timeline.

09/18/2012   JALB   Follow-up discussion with Mr. Underhill regarding       L120     0.10 hrs
                    access to Novatus contract documents.

09/18/2012   JALB   Correspondence with Mr. Sechler and Mr. Beck            L120     0.30 hrs
                    regarding analysis of board materials and
                    identification of key documents for Cathy
                    Dondzila outline.
09/18/2012   DAB    Call with Ms. Levitt, Mr. Klein (Morrison &             L120     0.50 hrs
                    Foerster) and Ms. Battle regarding examiner
                    discovery requests.
09/18/2012   DAB    Communicate with Ms. Battle regarding                   L120     0.30 hrs
                    preparation for examiner witness interviews.

09/18/2012   DAB    Communicate with Mr. Sechler regarding analysis         L120     0.30 hrs
                    on valuation reports.

09/18/2012   DAB    Communicate with Ms. Marty regarding extracting         L120     0.30 hrs
                    information from various litigation databases for
                    use in examiner interview preparations.
09/18/2012   DAB    Research 2004 databases for documents regarding         L330     4.20 hrs
                    Ms. Dondzila.

09/18/2012   DAB    Research subservicing review database for               L330     1.30 hrs
                    documents regarding Ms. Dondzila.

09/18/2012   DAB    Draft inserts for Dondzila examiner preparation         L330     2.00 hrs
                    outline.

09/18/2012   JDR    Research transaction documents and sec filings for      L320     2.00 hrs
                    material ResCap transactions, including the Resort
                    Financing and Model home sales in preparation for
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                    Examiner witnesses.
09/18/2012   GNM    Working in Discovery Partner database performing     L320     4.50 hrs
                    second level review on Lisa Gess data, as outlined
                    in quality control protocol.
09/18/2012   GNM    Telephone communications with Ms. Gulley (DTI)       L120     0.20 hrs
                    regarding data erroneously transferred into DIP
                    lien database.
09/18/2012   GNM    Working in Discovery Partner database reviewing      L320     2.10 hrs
                    Board Materials previously produced to Examiner.

09/18/2012   GNM    Working in Discovery Partner database reviewing      L320     4.50 hrs
                    partially privileged documents and redacting items
                    marked for privilege.
09/18/2012   GNM    Working in Discovery Partner database analyzing      L320     0.90 hrs
                    data and gathering completed items for production.

09/18/2012   GNM    Creating privilege log for Board Materials           L320     0.70 hrs
                    previously produced to Examiner.

09/18/2012   GNM    Telephone communications with DTI team               L120     0.70 hrs
                    regarding data migration for Examiner review.

09/19/2012   JAL    Review and revise draft of examiner interview        L120     2.00 hrs
                    preparation outline for Ms. Dondzila.

09/19/2012   JAL    Review and respond to e-mails regarding draft of     L120     0.30 hrs
                    examiner interview preparation outline for Ms.
                    Dondzila.
09/19/2012   JAL    Conference with Ms. Battle regarding draft of        L120     0.20 hrs
                    examiner interview preparation outline for Ms.
                    Dondzila.
09/19/2012   JES    Conduct document review related to Ms. Dondzila      L120     5.00 hrs
                    materials for use in preparation outline. (4.70)
                    Conference with Mr. Beck and Ms. Marty
                    regarding same. (.30)
09/19/2012   RBS    Scan marked documents for examiner interview         L310     3.00 hrs
                    prep kits. (2.40) Upload documents to proper files
                    in GMAC securities files for Mr. Beck. (.60)
09/19/2012   JALB   Continued drafting of Dondzila interview             L330     0.90 hrs
                    preparation outline.

09/19/2012   JALB   Incorporation of Board materials and transaction     L330     1.50 hrs
                    documents into Dondzila interview preparation
                    outline.
09/19/2012   JALB   Incorporate comments from Mr. Beck into              L330     0.50 hrs
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                    Dondzila interview preparation outline.

09/19/2012   JALB   Correspondence with Mr. Lipps regarding               L120     0.10 hrs
                    Dondzila interview preparation outline.

09/19/2012   JALB   Correspondence regarding status of document           L120     0.10 hrs
                    collection and upload to Sharepoint.

09/19/2012   JALB   Circulate draft of Dondzila outline to working        L330     0.20 hrs
                    group team (Ms. Andrews - Morrison & Foerster,
                    Mr. Lipps, Mr. Beck).
09/19/2012   DAB    Communicate with Mr. Rhode regarding analysis         L120     0.10 hrs
                    on transaction documents.

09/19/2012   DAB    Analyze transaction documents located by Mr.          L330     3.30 hrs
                    Rhode for potential usage in deposition preparation
                    kit for Ms. Dondzila.
09/19/2012   DAB    Draft calendar of pending deadlines relating to       L120     0.70 hrs
                    RMBS litigation and examiner investigation.

09/19/2012   DAB    Review and finalize exhibits for including in         L330     1.80 hrs
                    Dondzila notebook.

09/19/2012   DAB    Conference with Mr. Sechler and Ms. Marty             L120     0.20 hrs
                    regarding valuation committee minutes.

09/19/2012   DAB    Research in Discovery Partners database additional    L330     3.30 hrs
                    materials for inclusion in Dondzila preparation
                    notebook.
09/19/2012   DAB    Revise Dondzila outline to reflect additional         L330     1.10 hrs
                    research.

09/19/2012   JDR    Research transaction documents and SEC filings        L320     2.10 hrs
                    for material ResCap transactions, including sale of
                    securities backed by excess servicing fees,
                    broker-dealers, and Eden Prairie and Lewisville, in
                    preparation for Examiner witnesses.
09/19/2012   GNM    Working in Discovery Partner database performing      L320     5.40 hrs
                    second level review of Lisa Gess data as outlined
                    in the QC protocol.
09/19/2012   GNM    Drafting and sending e-mail communications to         L120     0.40 hrs
                    Ms. Gulley (DTI) submitting documents for
                    production.
09/19/2012   GNM    E-mail communication with Ms. Gulley (DTI)            L120     0.10 hrs
                    regarding production specifications for Examiner
                    review.
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09/20/2012   JAL    Participate on conference call with Mr. Illovsky,    L120     0.50 hrs
                    Mr. Klein (Morrison & Foerster), Ms. Battle and
                    Mr. Beck regarding coordinating of Dondzila
                    preparation materials regarding examiner
                    preparation outline.
09/20/2012   JAL    Conference with Ms. Battle regarding examiner        L120     0.50 hrs
                    preparation outline.

09/20/2012   JAL    Telephone conference with Ms. Battle regarding       L120     0.10 hrs
                    Mr. Marano's preparation schedule.

09/20/2012   JAL    Review Mr. Marano's preparation materials.           L120     1.90 hrs


09/20/2012   JAL    Review and finalize cover memo accompanying          L120     0.80 hrs
                    circulation draft of Ms. Dondzila's preparation
                    memo.
09/20/2012   JAL    Review and respond to e-mails regarding Mr.          L120     0.30 hrs
                    Marano's preparation.

09/20/2012   JAL    Review and revise Mr. Marano's preparation           L120     0.20 hrs
                    memo.

09/20/2012   JAL    Review and respond to e-mails regarding Mr.          L120     0.20 hrs
                    Marano's preparation.

09/20/2012   VLS    E-mail exchange with Ms. Marty, Ms. Gulley at        L330     0.40 hrs
                    DTI and Mr. Keck at Profile Discovery regarding
                    witness kit preparation.
09/20/2012   JES    Review SEC production regarding potential            L120     3.00 hrs
                    Dondzila-related documents. (2.80) Communicate
                    with Mr. Beck and Ms. Battle regarding the same.
                    (.20)
09/20/2012   JALB   Prepare cover memorandum for Dondzila                L330     0.80 hrs
                    preparation outline.

09/20/2012   JALB   Meet with Mr. Lipps regarding revisions to           L120     0.40 hrs
                    Dondzila cover memorandum and outline.

09/20/2012   JALB   Incorporate revisions from Mr. Lipps and Mr. Beck    L330     0.60 hrs
                    to Dondzila cover memorandum and outline.

09/20/2012   JALB   Telephone conference with Mr. Klein (Morrison &      L120     0.50 hrs
                    Foerster), Mr. Illovsky (Morrison & Foerster), Mr.
                    Lipps and Mr. Beck regarding coordination of and
                    status of Dondzila preparation materials.
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09/20/2012   JALB   Telephone conference with Ms. Levitt regarding       L330     0.10 hrs
                    planning for Dondzila preparation.

09/20/2012   JALB   Correspondence regarding gathering of materials      L120     0.10 hrs
                    and coordination with Morrison & Foerster for
                    Marano initial preparation.
09/20/2012   DAB    Revise Dondzila outline.                             L330     2.50 hrs


09/20/2012   DAB    Research in Discovery Partners database additional   L330     4.10 hrs
                    materials to add to Dondzila outline.

09/20/2012   DAB    Conference call with Ms. Levitt, Mr. Illovsky, Ms.   L120     0.70 hrs
                    Levitt, Mr. Klein (Morrison & Foerster), Mr. Lipps
                    and Ms. Battle regarding coordination of
                    preparations for upcoming examiner witness
                    interviews.
09/20/2012   DAB    Analyze materials placed in examiner repository.     L120     2.20 hrs


09/20/2012   GNM    Telephone communications with Mr. Matusicky          L120     0.10 hrs
                    (RHL) regarding new reviewers for Examiner
                    review.
09/20/2012   GNM    Training call with Mr. Bergelson regarding           L120     0.60 hrs
                    Concordance database.

09/20/2012   GNM    E-mail communications with Ms. Battle regarding      L120     0.20 hrs
                    staffing levels for Examiner review.

09/20/2012   GNM    E-mail communications with Ms. Battle regarding      L120     0.20 hrs
                    protocol for not responsiveness.

09/21/2012   JAL    Participate on conference call with Ms. Levitt       L120     0.50 hrs
                    (Morrison & Foerster) and Ms. Battle regarding
                    Ms. Dondzila's preparation.
09/21/2012   JAL    Telephone conference with Mr. Haims (Morrison        L120     0.10 hrs
                    & Foerster) regarding Mr. Marano's preparation.

09/21/2012   JAL    Telephone conference with Mr. Klein (Morrison &      L120     0.20 hrs
                    Foerster) regarding examiner interviews of other
                    party witnesses.
09/21/2012   JAL    Review Ms. Dondzila's preparation notebook and       L120     1.40 hrs
                    outline.

09/21/2012   JAL    Conferences with Ms. Battle and Mr. Beck             L120     0.30 hrs
                    regarding Ms. Dondzila's preparation notebook and
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                    outline.
09/21/2012   JAL    Conference with Ms. Battle regarding Mr.             L120     0.10 hrs
                    Marano's preparation.

09/21/2012   JAL    Review and respond to e-mails regarding Ms.          L120     0.20 hrs
                    Dondzila's preparation.

09/21/2012   JAL    Review and respond to e-mails regarding scope of     L120     0.20 hrs
                    examiner's investigation.

09/21/2012   VLS    Monitor review status of document review team.       L320     0.80 hrs
                    (.20) Assignment of review batches. (.30) Update
                    progress chart. (.30)
09/21/2012   VLS    Conference with Ms. Wong at Profile and Ms.          L330     0.40 hrs
                    Gulley at DTI regarding revised specifications for
                    witness preparation kits.
09/21/2012   VLS    Preparation of review assignment log.                L320     2.60 hrs


09/21/2012   RBS    Upload documents from U-drive to Morrison and        L310     1.00 hrs
                    Foerster for Mr. Beck.

09/21/2012   JALB   Correspondence with Ms. Marty and Mr. Underhill      L120     0.30 hrs
                    (Residential Capital) regarding scope of available
                    Marano data.
09/21/2012   JALB   Correspondence with Ms. Levitt (Morrison &           L120     0.10 hrs
                    Foerster) regarding estimated time for completion
                    of review.
09/21/2012   JALB   Telephone conference with Ms. Levitt, Mr. Klein,     L120     0.90 hrs
                    Mr. Illovsky (all Morrison & Foerster), Mr. Lipps
                    and Mr. Beck regarding status of Dondzila
                    preparation outline, and additional materials
                    needed. (.50) Follow-up on same. (.10)
09/21/2012   JALB   Meet with Mr. Lipps and Mr. Beck regarding key       L120     0.50 hrs
                    points for Dondzila outline.

09/21/2012   JALB   Correspondence with Ms. Marty regarding              L120     0.20 hrs
                    estimated time for completion of review.

09/21/2012   JALB   Review and revise cover letter for Examiner          L120     0.10 hrs
                    production.

09/21/2012   JALB   Prepare materials for initial Marano meeting.        L120     0.40 hrs


09/21/2012   MMM    Continue review of e-mails with Ms. Gess as          L120     0.20 hrs
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                    Custodian per examiners request.

09/21/2012   DAB    Research in Discovery Partners database additional     L330     2.90 hrs
                    materials to add to Dondzila witness kit.

09/21/2012   DAB    Revise Dondzila outline to reflect additional          L330     3.00 hrs
                    research.

09/21/2012   DAB    Conference with Mr. Lipps and Ms. Battle               L120     0.50 hrs
                    regarding examiner preparations and likely issues
                    to be raised in examiner interviews.
09/21/2012   DAB    Research 2004 database for materials relevant to       L330     2.10 hrs
                    examiner interview of Mr. Marano.

09/21/2012   DAB    Conference with Mr. Illovsky, Mr. Klein (Morrison      L120     0.20 hrs
                    & Foerster), Mr. Lipps and Ms. Battle regarding
                    Dondzila interview preparations.
09/21/2012   DAB    Communicate with Mr. Lipps regarding likely            L120     0.30 hrs
                    issues for examiner interview of Mr. Marano.

09/21/2012   SP     Review documents in Discovery Partner relating to      L120     1.20 hrs
                    the Board of Directors and various committees for
                    significant issues that may arise during interviews.
09/21/2012   SP     Review and compile documents in Discovery              L120     4.20 hrs
                    Partner relating to treatment by the Board of
                    Directors and various committees of transactions in
                    2009 for significant issues that may arise during
                    interviews and prepare a binder regarding the same
                    for Mr. Beck.
09/21/2012   GNM    E-mail communications with Mr. Brown (Morrison         L120     0.50 hrs
                    & Foerster) regarding errors found in EXAM101
                    production.
09/21/2012   GNM    Drafting and sending e-mail communications to          L120     0.30 hrs
                    Ms. Martin (Morrison & Foerster) regarding DIP
                    lien e-mail production.
09/21/2012   GNM    Working in Discovery Partner database performing       L320     2.80 hrs
                    second level review of Lisa Gess data as outlined
                    in quality control protocol.
09/21/2012   GNM    Drafting and sending e-mail to Ms. Battle              L120     0.30 hrs
                    regarding staffing levels for Examiner review.

09/21/2012   GNM    Performing quality control check of EXAM101            L320     0.90 hrs
                    production to be sent to the Examiner.

09/21/2012   GNM    Telephone communications with Ms. Gulley (DTI)         L120     0.50 hrs
                    regarding errors found in EXAM101 production.
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09/21/2012   GNM    E-mail communications with Ms. Gulley (DTI)            L120     0.40 hrs
                    regarding errors found in EXAM101 production.

09/21/2012   GNM    Telephone communications with Mr. Bergelson            L120     0.20 hrs
                    (Morrison & Foerster) regarding errors found in
                    EXAM101 production.
09/22/2012   JAL    Prepare for meeting with Ms. Dondzila.                 L120     0.30 hrs


09/22/2012   JAL    Review preparation notebook.                           L120     1.80 hrs


09/22/2012   JAL    Review Ms. Dondzila's outline.                         L120     0.50 hrs


09/22/2012   JAL    Review Morrison Foerster's investigation materials     L120     1.50 hrs
                    related to Ally settlement.

09/23/2012   JAL    Prepare for meeting with Mr. Marano.                   L120     0.30 hrs


09/23/2012   JAL    Review preparation materials and Mr. Marano's          L120     2.30 hrs
                    documents.

09/23/2012   JAL    Review Mr. Marano's outline.                           L120     0.40 hrs


09/23/2012   JALB   Correspondence with Ms. Levitt (Morrison &             L120     0.20 hrs
                    Foerster), Mr. Corcoran, and Mr. Lipps regarding
                    updated chart of all pending PLS and
                    representation and warrant litigation.
09/23/2012   DAB    Communicate with Mr. Corcoran and Ms. Battle           L120     0.10 hrs
                    regarding updating of litigation lists for examiner.

09/23/2012   DAB    Update status of ResCap related litigation in          L120     0.30 hrs
                    response to inquiry from the examiner.

09/23/2012   JRC    Draft e-mail to Ms. Battle, Mr. Beck, and Mr.          L120     0.10 hrs
                    Barthel summarizing post bankruptcy suits against
                    Ally.
09/23/2012   JRC    Review and analyze pleadings in Residential            L120     2.10 hrs
                    Capital residential-mortgage backed securities
                    cases in order to draft chart for Ms. Levitt
                    (Morrison & Foerster) providing information
                    regarding the parties and cases statuses.
09/23/2012   JRC    Draft chart for Ms. Levitt (Morrison & Foerster)       L120     0.60 hrs
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                    providing information regarding the parties and
                    cases statuses for Residential Capital
                    mortgage-backed securities cases.
09/24/2012   JAL    Review Mr. Marano's materials.                       L120     2.50 hrs


09/24/2012   JAL    Conference with Mr. Marano and Mr. Haims             L120     1.50 hrs
                    (Morrison & Foerster) to prepare for interview.

09/24/2012   JAL    Conference with Ms. Levitt (Morrison & Foerster)     L120     1.00 hrs
                    regarding Ms. Dondzila's interview preparation.

09/24/2012   JAL    Conference with Mr. Marano and Ms. Levitt            L120     1.00 hrs
                    (Morrison & Foerster) regarding interview
                    preparation.
09/24/2012   JAL    Prepare for meeting with Ms. Dondzila.               L120     0.30 hrs


09/24/2012   JAL    Review preparation notebook.                         L120     0.80 hrs


09/24/2012   JAL    Review Ms. Dondzila's outline.                       L120     0.50 hrs


09/24/2012   JAL    Review Morrison Foerster's investigation materials   L120     1.50 hrs
                    related to Ally settlement.

09/24/2012   JAL    Review and respond to e-mails regarding Mr.          L120     0.50 hrs
                    Marano's preparation.

09/24/2012   VLS    Obtain and review document reviewer time cards.      L320     0.70 hrs
                    (.20) Review for accuracy. (.40) Approve
                    payment. (.10)
09/24/2012   VLS    Telephone conference with Ms. Gulley at DTI and      L320     3.00 hrs
                    Ms. Wong at Profile regarding technical issues
                    with witness kits which are being assembled to aid
                    Morrison and Foerster.
09/24/2012   VLS    E-mail exchange with Ms. Gulley at DTI and Ms.       L320     0.20 hrs
                    Wong at Profile regarding technical issues with
                    witness kits which are being assembled to aid
                    Morrison and Foerster.
09/24/2012   VLS    Receipt from Profile Discovery of examiner           L330     0.40 hrs
                    witness kit. (.20) Upload same onto internal
                    database for review by Mr. Beck. (.20)
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09/24/2012   JALB   Begin analysis of issues for Hamzehpour outline      L330     0.70 hrs
                    for Examiner initial interview.

09/24/2012   JALB   Discussions with Mr. Day (Morrison & Foerster)       L120     0.40 hrs
                    and Mr. Beck regarding preparation for Ms.
                    Hamzehpour's interview by Examiner.
09/24/2012   JALB   Telephone conference with Mr. Lipps regarding        L120     0.20 hrs
                    planning and coordination for preparation of Ms.
                    Dondzila, Mr.Marano, and others for Examiner
                    interviews.
09/24/2012   DAB    Review litigation status charts provided by          L120     0.10 hrs
                    Morrison & Foerster.

09/24/2012   DAB    Communicate with Mr. Corcoran regarding              L120     0.20 hrs
                    comments on litigation lists for examiner.

09/24/2012   DAB    Communicate with Mr. Corcoran regarding tolling      L120     0.20 hrs
                    agreements.

09/24/2012   DAB    Review deposition test preparation kit produced by   L330     0.90 hrs
                    DTI.

09/24/2012   DAB    Communicate with Ms. Battle regarding upcoming       L120     0.70 hrs
                    witness kits in Examiner investigation.

09/24/2012   DAB    Examine audit committee reports for possible         L120     3.70 hrs
                    usage in examiner investigation.

09/24/2012   DAB    Call with Mr. Day (Morrison & Foerster) and Ms.      L120     0.20 hrs
                    Battle regarding Hamzephour examiner interview
                    preparations.
09/24/2012   DAB    Update master calendar on RMBS and examiner          L120     0.60 hrs
                    schedules.

09/24/2012   JRC    E-mail exchange with Ms. Battle regarding chart      L320     0.10 hrs
                    for Ms. Levitt (Morrison & Foerster) summarizing
                    details of Residential Capital residential
                    mortgage-backed securities litigation.
09/24/2012   JRC    Review key pleadings in Residential Capital          L320     1.60 hrs
                    mortgage-backed securities cases in order to draft
                    chart for Ms. Levitt (Morrison & Foerster)
                    summarizing details of Residential Capital
                    residential mortgage-backed securities litigation.
09/24/2012   JRC    Review notices and summonses filed against           L320     0.40 hrs
                    Residential Capital relating to mortgage-backed
                    securities in order to draft chart for Ms. Levitt
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                    (Morrison & Foerster) summarizing details of
                    Residential Capital residential mortgage-backed
                    securities litigation.
09/24/2012   JRC    Review tolling agreements relating to Residential      L320     1.10 hrs
                    Capital mortgage-backed securities claims chart for
                    Ms. Levitt (Morrison & Foerster) summarizing
                    details of Residential Capital residential
                    mortgage-backed securities litigation.
09/24/2012   JRC    Revise chart for Ms. Levitt (Morrison & Foerster)      L320     0.60 hrs
                    summarizing details of Residential Capital
                    residential mortgage-backed securities litigation
                    based on suggestions from Ms. Battle.
09/24/2012   SP     Review documents in Discovery Partner relating to      L120     0.60 hrs
                    the Board of Directors and various committees for
                    significant issues that may arise during interviews.
09/24/2012   SP     Review and compile documents in Discovery              L120     1.90 hrs
                    Partner relating to treatment by the Board of
                    Directors and various committees of transactions in
                    2009 for significant issues that may arise during
                    interviews and prepare a binder regarding the same
                    for Mr. Beck.
09/24/2012   SP     Review and compile documents in Discovery              L120     1.70 hrs
                    Partner relating to treatment by the Board of
                    Directors and various committees of transactions in
                    2010 for significant issues that may arise during
                    interviews and prepare a binder regarding the same
                    for Mr. Beck.
09/24/2012   GNM    E-mail communications with Mr. Brown (Morrison         L120     0.20 hrs
                    & Foerster) regarding EXAM101 production for
                    the Examiner.
09/24/2012   GNM    E-mail communications with Ms. Gulley (DTI)            L120     0.30 hrs
                    regarding new user accounts for Examiner data.

09/24/2012   GNM    Working in Discovery Partner database gather           L320     0.30 hrs
                    items for production.

09/24/2012   GNM    Working in Discovery Partner database performing       L320     1.10 hrs
                    second level review on re-do EXAM101
                    production.
09/24/2012   GNM    New reviewer training.                                 L320     3.40 hrs


09/24/2012   GNM    Telephone communications with Ms. Klun (Lumen          L120     0.10 hrs
                    Legal) regarding new reviewer training.

09/24/2012   GNM    Gathering accounting policies previously produced      L320     1.10 hrs
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                    at request of Mr. Beck

09/25/2012   JAL    Prepare for conference with Ms. Dondzila             L120     0.30 hrs
                    (Residential Capital).

09/25/2012   JAL    Conference with Ms. Dondzila (Residential            L120     4.00 hrs
                    Capital), Mr. Klein and Ms. Levitt (Morrison &
                    Foerster) to prepare for examiner interview.
09/25/2012   JAL    Review Dondzila preparation notebook.                L120     0.50 hrs


09/25/2012   JAL    Review Ms. Dondzila's outline.                       L120     0.30 hrs


09/25/2012   JAL    Review Morrison Foerster's investigation materials   L120     1.00 hrs
                    related to Ally settlement.

09/25/2012   JAL    Review and respond to e-mails regarding Ms.          L120     0.50 hrs
                    Dondzila's interview.

09/25/2012   JAL    Review topic list for examiner interview.            L120     0.20 hrs


09/25/2012   JAL    Review and respond to e-mails regarding logistics    L120     0.20 hrs
                    for interview.

09/25/2012   JES    Review documents related to Department of            L120     4.00 hrs
                    Justice consent order for use in Hamzehpour
                    witness preparation.
09/25/2012   JALB   Discussion with Mr. Beck regarding Chadbourne        L120     0.40 hrs
                    list of Ms. Dondzila topics. (.10) Follow-up on
                    same. (.30)
09/25/2012   JALB   Review Ms. Hamzehpour interview notes in             L330     0.50 hrs
                    preparation for Examiner interview preparation
                    outline.
09/25/2012   JALB   Review selected board materials for preparation of   L330     0.60 hrs
                    Examiner interview preparation outline.

09/25/2012   JALB   Prepare outline of Ms. Hamzehpour topics for         L330     3.30 hrs
                    Examiner interview.

09/25/2012   JALB   Review Chadbourne list of topics for Ms.             L330     0.30 hrs
                    Dondzila.

09/25/2012   DAB    Analyze topic list from examiner for Dondzila        L330     0.20 hrs
                    interview.
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09/25/2012   DAB    Draft calendar of examiner interviews and related      L120     0.40 hrs
                    deadlines.

09/25/2012   DAB    Research materials in 2004 document production         L330     3.50 hrs
                    for potential use in Hamzehpour interview
                    preparation kit.
09/25/2012   DAB    Analyze materials in subservicing production for       L330     2.10 hrs
                    potential use in Hamzehpour interview preparation
                    kit.
09/25/2012   DAB    Draft question list for Dondzila based on securities   L330     0.40 hrs
                    disclosures.

09/25/2012   DAB    Call with Mr. Ilovsky, Mr. Day, Ms. Andrews and        L120     0.50 hrs
                    Mr. Serrano (Morrison & Foerster) and Ms. Battle
                    regarding Hamzehpour witness preparation.
09/25/2012   DAB    Communicate with Mr. Philips regarding board           L120     0.10 hrs
                    minute analysis needed for upcoming examiner
                    interviews.
09/25/2012   DAB    Communicate with Mr. Rhode regarding analysis          L120     0.10 hrs
                    needed on securities filings for Hamzehpour
                    preparation kit.
09/25/2012   DAB    Communicate with Mr. Sechler regarding analysis        L120     0.10 hrs
                    needed on federal consent order for Hamzehpour
                    preparation kit.
09/25/2012   JRC    Review e-mail exchange with counsel for the            L120     0.10 hrs
                    bankruptcy examiner responding to clawback
                    request by Residential Capital.
09/25/2012   JRC    Draft response to counsel for the bankruptcy           L120     0.70 hrs
                    examiner providing basis for asserting privilege
                    over documents that were the subject of a
                    clawback request.
09/25/2012   JDR    Research regarding initial IPO by Ally and draft       L120     1.00 hrs
                    notes pertaining to relevant Rescap discussion to
                    assist with Examiner witness preparation.
09/25/2012   SP     Review and compile documents in Discovery              L120     1.90 hrs
                    Partner relating to treatment by the Board of
                    Directors and various committees of transactions in
                    2010 for significant issues that may arise during
                    interviews and prepare a binder regarding the same
                    for Mr. Beck.
09/25/2012   GNM    Telephone communications with Ms. Gulley (DTI)         L120     0.40 hrs
                    regarding database configuration.

09/25/2012   GNM    Working in Discovery Partner database performing       L320     5.70 hrs
                    second level review of Lisa Gess data as outlined
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                    in the Quality Control protocol.
09/25/2012   GNM    New reviewer training.                              L320     3.10 hrs


09/26/2012   JAL    Review draft of Ms. Hamzehpour's preparation        L120     0.70 hrs
                    outline.

09/26/2012   JAL    Review and respond to e-mails regarding Ms.         L120     0.30 hrs
                    Dondzila and Ms. Hamzehpour's interviews.

09/26/2012   JES    Complete review of consent order exhibits and       L120     4.90 hrs
                    related agreements. (3.20) Draft Department of
                    Justice settlement outline excerpt for Hamzehpour
                    preparation. (1.70)
09/26/2012   JALB   Correspondence with Mr. Beck regarding ResCap       L120     0.20 hrs
                    operating agreements, pull same and forward.

09/26/2012   JALB   Correspondence with Mr. Brown, Mr. Hoffman,         L120     0.10 hrs
                    Ms. Tice (all Morrison & Foerster) and Ms. Marty
                    regarding privilege analysis.
09/26/2012   DAB    Communicate with Mr. Day (Morrison & Foerster)      L120     0.10 hrs
                    regarding Residential Capital operating agreement
                    and LLC agreement.
09/26/2012   DAB    Communicate with Ms. Battle regarding               L120     0.10 hrs
                    Hamzehpour witness outline.

09/26/2012   DAB    Review board minutes for materials relevant to      L330     2.60 hrs
                    Hamzehpour outline.

09/26/2012   DAB    Review and analyze fairness opinions for various    L120     2.50 hrs
                    related party transactions.

09/26/2012   DAB    Update master discovery calendar based on           L120     0.10 hrs
                    additional examiner dates.

09/26/2012   DAB    Draft outline for Hamzehpour examiner interview.    L330     4.80 hrs


09/26/2012   DAB    Conference with Mr. Lipps regarding information     L120     1.00 hrs
                    learned from Dondzila preparation session.

09/26/2012   GNM    Working in Discovery Partner database performing    L320     3.70 hrs
                    second level review of Lisa Gess data as outlined
                    in the Quality Control protocol.
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09/26/2012   GNM    Telephone communications with DTI team                  L120     0.60 hrs
                    regarding data migration and production pipeline.

09/26/2012   GNM    Working in Discovery Partner answering reviewer         L320     1.90 hrs
                    questions regarding privilege and confidentiality
                    designations.
09/26/2012   GNM    E-mail communications with Ms. Battle regarding         L120     0.30 hrs
                    role of Cerberus as it relates to privilege analysis.

09/27/2012   JAL    Review and respond to e-mails regarding Ms.             L120     0.30 hrs
                    Dondzila's interview.

09/27/2012   VLS    Conferences and e-mail exchange with Mr. Keck at        L320     0.30 hrs
                    Profile Discovery regarding production of
                    Underwriting Guides.
09/27/2012   JALB   Work on Examiner outline for Hamzehpour initial         L330     2.20 hrs
                    interview.

09/27/2012   JALB   Discussion with Mr. Beck regarding additions to         L120     0.60 hrs
                    and organization of Hamzehpour outline for initial
                    interview.
09/27/2012   JALB   Review notes from Ms. Levitt (Morrison &                L330     0.40 hrs
                    Foerster) regarding progress of Dondzila interview.

09/27/2012   JALB   Internal correspondence with Mr. Lipps and Mr.          L120     0.30 hrs
                    Beck regarding progress of Dondzila interview and
                    impact on Hamzehpour preparation.
09/27/2012   JALB   Prepare talking points response for Ms. Levitt          L330     0.50 hrs
                    (Morrison & Foerster) regarding questions raised
                    by Examiner regarding Bank history.
09/27/2012   MMM    Continue review of e-mails with Ms. Gess as             L120     3.10 hrs
                    custodian per examiners request.

09/27/2012   DAB    Research materials on Ally settlement agreement         L330     3.60 hrs
                    for Hamzehpour call.

09/27/2012   DAB    Draft inserts for Hamzpehour preparation outline.       L330     2.30 hrs


09/27/2012   DAB    Analyze 2009 and 2010 board packages for                L330     3.10 hrs
                    materials relevant to Hamzehpour witness kit.

09/27/2012   DAB    Analyze MSR swap issues raised by examiner in           L330     0.40 hrs
                    Dondzila interviews.

09/27/2012   SP     Review documents in Discovery Partner relating to       L120     0.70 hrs
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                    the Board of Directors and various committees for
                    significant issues that may arise during interviews.
09/27/2012   SP     Review and compile documents in Discovery              L120     2.30 hrs
                    Partner relating to treatment by the Board of
                    Directors and various committees of transactions in
                    2010 for significant issues that may arise during
                    interviews and prepare a binder regarding the same
                    for Mr. Beck.
09/27/2012   SP     Review and compile documents in Discovery              L120     3.20 hrs
                    Partner relating to treatment by the Board of
                    Directors and various committees of transactions in
                    2011 for significant issues that may arise during
                    interviews and prepare a binder regarding the same
                    for Mr. Beck.
09/27/2012   GNM    Performing quality control checks on EXAM103           L320     1.70 hrs
                    and EXAM104 productions to be sent to Examiner.

09/27/2012   GNM    Researching in Discovery Partner to locate             L320     1.10 hrs
                    presentation as requested by Ms. Tice (Morrison &
                    Foerster).
09/27/2012   GNM    Telephone communications with Mr. Bergelson            L120     0.30 hrs
                    (Morrison & Foerster) regarding Concordance
                    database.
09/27/2012   GNM    Drafting and sending e-mail communications to          L120     0.40 hrs
                    Mr. Brown (Morrison & Forester) regarding
                    EXAM103 and EXAM104 production ready to be
                    sent to Examiner.
09/28/2012   VLS    Monitor review status of document review team.         L320     0.70 hrs
                    (.30) Assignment of review batches. (.20) Update
                    progress chart. (.20)
09/28/2012   MMM    Continue review of e-mails with Ms. Gess as            L120     1.80 hrs
                    custodian per examiners request.

09/28/2012   DAB    Call with Mr. Day and Mr. Newton (Morrison &           L120     0.50 hrs
                    Foerster) regarding Dondzila interview by
                    examiner and lessons for examiner interviews
                    going forward.
09/28/2012   DAB    Revise Hamzehpour preparation outline.                 L330     2.60 hrs


09/28/2012   DAB    Analyze potential documents for inclusion in           L330     2.10 hrs
                    Hamzephour preparation kit.

09/28/2012   DAB    Call with Mr. Day (Morrison & Foerster) regarding      L120     0.20 hrs
                    preparations for Hamzehpour examiner interview.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
  932 00064                 Monthly Invoices Pg 144 of 1163
                                                         Invoice # 51633         Page 41
09/28/2012   SP     Review and compile documents in Discovery             L120     2.20 hrs
                    Partner relating to treatment by the Board of
                    Directors and various committees of transactions in
                    2011 for significant issues that may arise during
                    interviews and prepare a binder regarding the same
                    for Mr. Beck.
09/28/2012   GNM    E-mail communications with Mr. Brown (Morrison        L120     0.20 hrs
                    & Foerster) regarding EXAM101 production for
                    the Examiner.
09/28/2012   GNM    Meeting with Ms. Mohler regarding privilege           L120     0.30 hrs
                    concerns with item ID 194170.

09/28/2012   GNM    Sending e-mail communication to Ms. Battle            L120     0.30 hrs
                    regarding privilege concerns with item ID 194170.

09/28/2012   GNM    Drafting and sending e-mail communications to         L120     0.30 hrs
                    Mr. Salerno (Morrison & Foerster) regarding
                    ResCap legal department structure.
09/28/2012   GNM    E-mail communications with Ms. Battle regarding       L120     0.40 hrs
                    ELR archive to be produced to the Examiner.

09/28/2012   GNM    E-mail communications with Mr. Scarseth               L120     0.30 hrs
                    (Residential Capital) regarding ELR archive to be
                    produced to the Examiner.
09/28/2012   GNM    Telephone communications with Mr. Scarseth            L120     0.20 hrs
                    (Residential Capital) regarding ELR archive to be
                    produced to Examiner.
09/29/2012   JAL    Review Ms. Hamzehpour's documents for                 L120     0.70 hrs
                    preparation regarding examiner investigation.

09/29/2012   JAL    Review preparation outline for Ms. Hamzehpour.        L120     0.30 hrs


09/29/2012   DAB    Analyze privilege and work product issues related     L330     0.60 hrs
                    to examiner interview of Ms. Hamzephour
                    (Residential Capital).
09/29/2012   DAB    Communicate with Mr. Lipps and Ms. Battle             L120     0.10 hrs
                    regarding analysis on privilege and work product
                    issues related to Ms. Hamzehpour.
09/30/2012   JAL    Review Ms. Hamzehpour's documents for                 L120     0.70 hrs
                    preparation regarding examiner investigation.

09/30/2012   JAL    Review preparation outline for Ms. Hamzehpour.        L120     0.30 hrs


09/30/2012   JALB   Correspondence with Mr. Lipps and Mr. Beck            L120     0.40 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27               Exhibit E
  932 00064                 Monthly Invoices Pg 145 of 1163
                                                         Invoice # 51633                  Page 42
                    regarding preparing privilege scope talking points
                    at request of Ms. Levitt of Morrison & Foerster.
09/30/2012   JALB   Revisions to correspondence with Mr. Lipps and                L320      0.40 hrs
                    Mr. Beck regarding privilege scope talking points,
                    and circulate to Ms. Levitt of Morrison & Foerster.
09/30/2012   JALB   Prepare privilege scope talking points at request of          L320      0.30 hrs
                    Ms. Levitt.

09/30/2012   DAB    Communicate with Mr. Lipps regarding questions                L120      0.10 hrs
                    on examiner confidentiality order.

09/30/2012   DAB    Analyze background of expert witnesses                        L120      1.10 hrs
                    designated by various potential objectors to RMBS
                    settlement.
09/30/2012   DAB    Analyze additional materials for potential usage in           L330      3.70 hrs
                    Hamzehpour preparation book.



                    TOTAL FEES FOR THIS MATTER                                           $123,856.50

EXPENSES

09/09/2012          Litigation Support Vendors - Lumen Legal (services for 9/3/12            $722.84
                    to 9/9/12)

09/14/2012          Delivery Service/Messengers - Federal Express to Morrison &                   $23.33
                    Forester from Ms. Sholl

09/19/2012          Delivery Service/Messengers - Federal Express to Mr. Clark from               $26.31
                    Ms. Marty

09/20/2012          Outside Copying - convert files, burn CD's by ProFile Imaging           $15,909.0
                                                                                                    9

09/21/2012          Delivery Service/Messengers - Federal Express to Mr. Lipps               $154.54
                    from Mr. Lipps of Morano and Dondzila preparation materials

09/21/2012          Delivery Service/Messengers - Federal Express to Ms. Levitt                   $86.03
                    from Mr. Beck with Ms. Dondzila preparation materials

09/23/2012          Litigation Support Vendors - Lumen Legal (services for 9/10/12          $14,511.8
                    to 9/23/12)                                                                     8

09/24/2012          Outside Copying - convert files to PDF, witness kits, burn CD's         $1,166.40
                    by ProFile Imaging

09/24/2012          Outside Copying - convert files to PDF, burn CD's witmess kits          $2,767.81
                    by ProFile Imaging
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
  932 00064                   Monthly Invoices Pg 146 of 1163
                                                           Invoice # 51633                  Page 43

09/26/2012            Delivery Service/Messengers - Federal Express to Mr. Lipps                   $58.19
                      from Mr. Lipps

09/26/2012            (TRIP-JAL-9/24-26/12) Out-of-Town Travel/Mileage to/frpm                      $6.60
                      Port Columbus (12 miles X .55) - travel to New York for
                      examiner interviews

09/26/2012            (TRIP-JAL-9/24-26/12) Out-of-Town Travel/Airfare - travel to                $971.98
                      New York for examiner interviews

09/26/2012            (TRIP-JAL-9/24-26/12) Out-of-Town Travel/Hotel - travel to                 $1,051.22
                      New York for examiner interviews

09/26/2012            (TRIP-JAL-9/24-26/12) Out-of-Town Travel/Taxi - travel to New                $54.36
                      York for examiner interviews

09/26/2012            (TRIP-JAL-9/24-26/12) Out-of-Town Travel/Food/Beverage -                       $5.00
                      travel to New York for examiner interviews

09/26/2012            (TRIP-JAL-9/24-26/12) Out-of-Town Travel/Food/Beverage -                     $95.00
                      travel to New York for examiner interviews

09/26/2012            (TRIP-JAL-9/24-26/12) Out-of-Town Travel/Food/Beverage -                     $17.50
                      travel to New York for examiner interviews

09/26/2012            (TRIP-JAL-9/24-26/12) Out-of-Town Travel/Food/Beverage -                     $82.50
                      travel to New York for examiner interviews

09/26/2012            (TRIP-JAL-9/24-26/12) Out-of-Town Travel/Food/Beverage -                     $17.50
                      travel to New York for examiner interviews

09/26/2012            (TRIP-JAL-9/24-26/12) Out-of-Town Travel/Food/Beverage -                     $15.22
                      travel to New York for examiner interviews

09/26/2012            (TRIP-JAL-9/24-26/12) Out-of-Town Travel/Taxi - travel to New                $60.00
                      York for examiner interviews

09/26/2012            (TRIP-JAL-9/24-26/12) Out-of-Town Travel/Bellman - travel to                 $12.00
                      New York for examiner interviews

09/26/2012            (TRIP-JAL-9/24-26/12) Out-of-Town Travel/Parking @ Port                      $51.00
                      Columbus - travel to New York for examiner interviews

                      TOTAL EXPENSES FOR THIS MATTER                                            $37,866.30


BILLING SUMMARY


         Paul, Angela M.                          32.50 hrs    250.00 /hr           $8,125.00


         Beck, David A.                          141.40 hrs    230.00 /hr          $32,522.00
    12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
932 00064                   Monthly Invoices Pg 147 of 1163
                                                         Invoice # 51633         Page 44


      Barthel, David J.                      21.40 hrs   210.00 /hr     $4,494.00


      Marty, Gretchen N.                    100.70 hrs   150.00 /hr    $15,105.00


      Lipps, Jeffrey A.                      47.50 hrs   360.00 /hr    $17,100.00


      Battle, Jennifer A.L.                  56.20 hrs   250.00 /hr    $14,050.00


      Rhode, Jacob D.                        18.10 hrs   160.00 /hr     $2,896.00


      Sechler, Joel E.                       24.70 hrs   190.00 /hr     $4,693.00


      Corcoran, Jeffrey R.                   39.30 hrs   180.00 /hr     $7,074.00


      Mohler, Mallory M.                     22.00 hrs   160.00 /hr     $3,520.00


      Samson, Robert B.                       4.00 hrs    75.00 /hr        $300.00


      Phillips, Segev                        57.50 hrs   220.00 /hr    $12,650.00


      Sholl, Veronica L.                     17.70 hrs    75.00 /hr     $1,327.50



   TOTAL FEES                               583.00 hrs                $123,856.50

   TOTAL EXPENSES                                                      $37,866.30

   TOTAL CHARGES FOR THIS INVOICE                                     $161,722.80
12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27   Exhibit E
                      Monthly Invoices Pg 148 of 1163




         OHIO
      LITIGATION
       MATTERS
       12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27         Exhibit E
                               Monthly Invoices Pg 149 of 1163
                         CARPENTER LIPPS & LELAND LLP

                                      280 Plaza, Suite 1300
                                      280 North High Street
                                      Columbus, OH 43215
                                         (614) 365-4100
                                     Federal ID # XX-XXXXXXX



                                        November 02, 2012

                                                                Billed through 09/30/2012
Tammy Hamzephour                                                Invoice # 51617      JAL
Residential Capital, LLC
1100 Virginia Drive                                             Our file # 621 01124
190-FTW-L95
Fort Washington, PA 19034

Re: Nicholas Stincic
Matter No.: 705844

PROFESSIONAL SERVICES

09/07/2012    DAW      Review e-mail from Mr. Stincic regarding payment         L120        0.10 hrs
                       issues.

09/17/2012    DAW      Review e-mail from Mr. Stincic regarding GMAC            L120        0.10 hrs
                       contact person.

09/19/2012    DAW      Review e-mail from Mr. Stincic regarding loan            L120        0.10 hrs
                       issues.



                       TOTAL FEES FOR THIS MATTER                                              $78.00


BILLING SUMMARY


          Wallace, David A.                         0.30 hrs    260.00 /hr         $78.00



      TOTAL FEES                                    0.30 hrs                      $78.00

      TOTAL CHARGES FOR THIS INVOICE                                              $78.00
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
                              Monthly Invoices Pg 150 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                        November 02, 2012

                                                                 Billed through 09/30/2012
Tammy Hamzephour                                                 Invoice # 51618      JAL
Residential Capital, LLC
1100 Virginia Drive                                              Our file # 621 01127
190-FTW-L95
Fort Washington, PA 19034

Re: Diane E. Clark
Matter No.: 705862

PROFESSIONAL SERVICES

09/05/2012   DAW       Draft e-mail to Ms. Ho (Residential Capital, LLC)         L120        0.30 hrs
                       regarding status of foreclosure and property
                       preservation.


                       TOTAL FEES FOR THIS MATTER                                               $78.00


BILLING SUMMARY


         Wallace, David A.                           0.30 hrs    260.00 /hr         $78.00



     TOTAL FEES                                      0.30 hrs                      $78.00

     TOTAL CHARGES FOR THIS INVOICE                                                $78.00
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                              Monthly Invoices Pg 151 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                         November 02, 2012

                                                                  Billed through 09/30/2012
Tammy Hamzephour                                                  Invoice # 51619      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 621 01128
190-FTW-L95
Fort Washington, PA 19034

Re: David Long
Matter No.: 706040

PROFESSIONAL SERVICES

09/12/2012   DAW       Review reply brief.                                        L120        0.40 hrs


09/13/2012   DAW       Review motion to strike and Court order regarding          L120        0.20 hrs
                       motion for leave.

09/14/2012   DAW       Draft e-mail to Ms. McGinnis (Residential Capital,         L120        0.20 hrs
                       LLC) regarding reply, motion to strike, and Court
                       order.
09/18/2012   DAW       Review motion for extension, and letter granting           L120        1.20 hrs
                       motion for extension and denying motion to strike.

09/18/2012   DAW       Draft e-mail to Ms. McGinnis (Residential Capital,         L120        0.10 hrs
                       LLC) regarding motion, and letter ruling.



                       TOTAL FEES FOR THIS MATTER                                              $546.00


BILLING SUMMARY


         Wallace, David A.                           2.10 hrs    260.00 /hr         $546.00



     TOTAL FEES                                      2.10 hrs                      $546.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
621 01128                 Monthly Invoices Pg 152 of 1163
                                                       Invoice # 51619         Page 2


   TOTAL CHARGES FOR THIS INVOICE                                        $546.00
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
                              Monthly Invoices Pg 153 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                        November 02, 2012

                                                                 Billed through 09/30/2012
Tammy Hamzephour                                                 Invoice # 51620      JAL
Residential Capital, LLC
1100 Virginia Drive                                              Our file # 621 01140
190-FTW-L95
Fort Washington, PA 19034

Re: Freddie Hoop
Matter No.: 709674

PROFESSIONAL SERVICES

09/05/2012   DAW       Draft e-mail to Ms. Ho (Residential Capital, LLC)         L120        0.20 hrs
                       regarding status of case.



                       TOTAL FEES FOR THIS MATTER                                               $52.00


BILLING SUMMARY


         Wallace, David A.                           0.20 hrs    260.00 /hr         $52.00



     TOTAL FEES                                      0.20 hrs                      $52.00

     TOTAL CHARGES FOR THIS INVOICE                                                $52.00
       12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
                                 Monthly Invoices Pg 154 of 1163
                            CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                           November 02, 2012

                                                                    Billed through 09/30/2012
Tammy Hamzephour                                                    Invoice # 51621      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 621 01145
190-FTW-L95
Fort Washington, PA 19034

Re: James Walton, Jr., et al.
Matter No.: 713075

PROFESSIONAL SERVICES

09/05/2012     DAW        Draft e-mail to Ms. Ho (Residential Capital, LLC)         L120        0.20 hrs
                          regarding appeal.



                          TOTAL FEES FOR THIS MATTER                                               $52.00


BILLING SUMMARY


           Wallace, David A.                            0.20 hrs    260.00 /hr         $52.00



      TOTAL FEES                                        0.20 hrs                      $52.00

      TOTAL CHARGES FOR THIS INVOICE                                                  $52.00
       12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                               Monthly Invoices Pg 155 of 1163
                         CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                           November 02, 2012

                                                                     Billed through 09/30/2012
Tammy Hamzephour                                                     Invoice # 51622      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 621 01155
190-FTW-L95
Fort Washington, PA 19034

Re: National Remediation Project
Matter No.: 702040

PROFESSIONAL SERVICES

09/04/2012   DAW        (Christopher Weil, et al. matter) Draft proposed             L210        3.40 hrs
                        Magistrate's decision.

09/04/2012   DAW        (Daniel S. Bledsoe, et al. matter) Draft e-mail to           L120        0.10 hrs
                        Ms. Ho (Residential Capital, LLC) regarding
                        payment address.
09/04/2012   DAW        (Daniel S. Bledsoe, et al. matter) Telephone                 L120        0.20 hrs
                        conference with Ms. Scott (Mr. Bledsoe's assistant)
                        regarding payment address.
09/04/2012   KMC        (Daniel S. Bledsoe, et al. matter) Review e-mail             L110        0.10 hrs
                        correspondence regarding where first payment
                        should be made.
09/05/2012   DAW        (Edward Charles Miller, Jr. matter) Draft e-mail to          L120        0.20 hrs
                        Ms. Ho (Residential Capital, LLC) regarding status
                        of financials.
09/05/2012   DAW        (Edward Charles Miller, Jr. matter) Review                   L120        0.20 hrs
                        completed financials and listing contract.

09/05/2012   DAW        (Edward Charles Miller, Jr. matter) Draft e-mail to          L120        0.20 hrs
                        Ms. Ho regarding financials and listing contract.

09/05/2012   DAW        (Christopher Weil, et al. matter) Revise proposed            L210        2.20 hrs
                        Magistrate's decision.

09/05/2012   DAW        (Christopher Weil, et al. matter) Draft notice of            L210        0.30 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
  621 01155                 Monthly Invoices Pg 156 of 1163
                                                         Invoice # 51622         Page 2
                    filing and service correspondence.

09/05/2012   DAW    (Christopher Weil, et al. matter) Draft e-mail to     L120     0.20 hrs
                    Court and counsel regarding proposed Magistrate
                    decision.
09/05/2012   KMC    (Christopher Weil, et al. matter) Revise              L210     1.80 hrs
                    magistrate's decision.

09/06/2012   DAW    (Edward Charles Miller, Jr. matter) Draft e-mail to   L120     0.10 hrs
                    Ms. Ho (Residential Capital, LLC) regarding title
                    issues.
09/06/2012   DAW    (Daniel S. Bledsoe, et al. matter) Review             L120     0.10 hrs
                    correspondence from Mr. Bledsoe regarding check.

09/06/2012   DAW    (Daniel S. Bledsoe, et al. matter) Draft              L120     0.20 hrs
                    correspondence to Ms. Ho (Residential Capital,
                    LLC) regarding check.
09/13/2012   DAW    (Daniel S. Bledsoe, et al. matter) Draft notice of    L210     0.10 hrs
                    voluntary dismissal.

09/17/2012   DAW    (Edward Charles Miller, Jr. matter) Review e-mail     L120     0.10 hrs
                    from Ms. Ho (Residential Capital, LLC) regarding
                    interim broker price opinion.
09/17/2012   DAW    (Edward Charles Miller, Jr. matter) Draft e-mail to   L120     0.10 hrs
                    Ms. Ho (Residential Capital, LLC) regarding
                    interim broker price opinion.
09/17/2012   KMC    (Christopher Weil, et al. matter) Review              L210     0.20 hrs
                    magistrate's decision.

09/18/2012   DAW    (Christopher Weil, et al. matter) Review              L120     0.30 hrs
                    Magistrate's decision.

09/18/2012   DAW    (Christopher Weil, et al. matter) Draft e-mail to     L120     0.30 hrs
                    Ms. Ho (Residential Capital, LLC) regarding
                    Magistrate's decision.
09/19/2012   DAW    (Edward Charles Miller, Jr. matter) Review e-mail     L120     0.10 hrs
                    from Mr. Smith (Miami Valley Fair Housing
                    Center) regarding contact for broker price opinion.
09/19/2012   DAW    (Edward Charles Miller, Jr. matter) Draft e-mail to   L120     0.20 hrs
                    Ms. Ho (Residential Capital, LLC) regarding
                    contact for broker price opinion.
09/24/2012   DAW    (Anthony L. Harkins matter) Review docket             L120     0.10 hrs
                    regarding Court order regarding trial setting.

09/24/2012   DAW    (Anthony L. Harkins matter) Telephone conference      L120     0.20 hrs
                    with Court regarding trial date issues.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27       Exhibit E
  621 01155                 Monthly Invoices Pg 157 of 1163
                                                         Invoice # 51622          Page 3


09/27/2012   DAW    (Gary T. Thorne matter) Telephone conference           L120     0.10 hrs
                    with Ms. McGinnis (Residential Capital, LLC)
                    regarding attorney general settlement letter issues.
09/27/2012   DAW    (Christopher Weil, et al. matter) Draft nunc pro       L210     0.90 hrs
                    tunc section of objections to Magistrate's decision.

09/27/2012   DAW    (Christopher Weil, et al. matter) Draft waiver         L210     0.80 hrs
                    section of objections to Magistrate's decision.

09/27/2012   DAW    (Christopher Weil, et al. matter) Draft face-to-face   L210     1.20 hrs
                    meeting section of objections to Magistrate's
                    decision.
09/27/2012   DAW    (Christopher Weil, et al. matter) Draft Rule           L210     0.70 hrs
                    60(B)(4) section of objections to Magistrate's
                    decision.
09/27/2012   DAW    (Christopher Weil, et al. matter) Draft Rule           L210     0.60 hrs
                    60(B)(5) section of objections to Magistrate's
                    decision.
09/27/2012   DAW    (Christopher Weil, et al. matter) Draft timeliness     L210     0.70 hrs
                    section of objections to Magistrate's decision.

09/28/2012   DAW    (Gary T. Thorne matter) Review form letter and         L120     0.10 hrs
                    financial package regarding attorney general
                    settlement funds.
09/28/2012   DAW    (Christopher Weil, et al. matter) Revise nunc pro      L210     0.50 hrs
                    tunc section of objections to Magistrate's decision.

09/28/2012   DAW    (Christopher Weil, et al. matter) Revise               L210     0.40 hrs
                    face-to-face meeting section of objections to
                    Magistrate's decision.
09/28/2012   DAW    (Christopher Weil, et al. matter) Revise waiver        L210     0.20 hrs
                    section of objections to Magistrate's decision.

09/28/2012   DAW    (Christopher Weil, et al. matter) Revise Rule          L210     0.20 hrs
                    60(B)(4) section of objections to Magistrate's
                    decision.
09/28/2012   DAW    (Christopher Weil, et al. matter) Revise Rule          L210     0.20 hrs
                    60(B)(5) section of objections to Magistrate's
                    decision.
09/28/2012   DAW    (Christopher Weil, et al. matter) Revise timeliness    L120     0.30 hrs
                    section of objections to Magistrate's decision.

09/28/2012   KMC    (Christopher Weil, et al. matter) Revise objections    L110     1.80 hrs
                    to Magistrate's decision.
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27               Exhibit E
  621 01155                  Monthly Invoices Pg 158 of 1163
                                                          Invoice # 51622                  Page 4


                      TOTAL FEES FOR THIS MATTER                                             $4,810.00

EXPENSES

09/06/2012            Delivery Service/Messengers - Federal Express to Jacqueline Ho               $15.42
                      from Mr. Wallace

                      TOTAL EXPENSES FOR THIS MATTER                                               $15.42


BILLING SUMMARY


         Wallace, David A.                        15.80 hrs    260.00 /hr        $4,108.00


         Cadieux, Karen M.                         3.90 hrs    180.00 /hr          $702.00



     TOTAL FEES                                   19.70 hrs                     $4,810.00

     TOTAL EXPENSES                                                                $15.42

     TOTAL CHARGES FOR THIS INVOICE                                             $4,825.42
       12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                                 Monthly Invoices Pg 159 of 1163
                             CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                           November 02, 2012

                                                                     Billed through 09/30/2012
Tammy Hamzephour                                                     Invoice # 51557      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01009
190-FTW-L95
Fort Washington, PA 19034

Re: Deborah A. Charity
Matter No.: 698543

PROFESSIONAL SERVICES

09/05/2012   JES         Review and respond to e-mails from client                   L120        0.30 hrs
                         regarding settlement status.

09/07/2012   JES         Telephone conference with Ms. McGinnis                      L120        0.30 hrs
                         (Residential Capital) regarding status of Civil
                         Rights Commission case dismissal and status of
                         HAMP modification.
09/10/2012   JES         Review and respond to e-mails from Ms. McGinnis             L120        0.30 hrs
                         (Residential Capital) regarding outstanding loan
                         modification offer.
09/21/2012   JES         Telephone conference with Ms. McGinnis                      L120        0.20 hrs
                         (Residential Capital) regarding upcoming
                         deadlines and settlement status.


                         TOTAL FEES FOR THIS MATTER                                               $209.00


BILLING SUMMARY


          Sechler, Joel E.                             1.10 hrs      190.00 /hr        $209.00



     TOTAL FEES                                        1.10 hrs                       $209.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
096 01009                 Monthly Invoices Pg 160 of 1163
                                                       Invoice # 51557         Page 2
   TOTAL CHARGES FOR THIS INVOICE                                        $209.00
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
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                        CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                         November 02, 2012

                                                                    Billed through 09/30/2012
Tammy Hamzephour                                                    Invoice # 51637      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01011
190-FTW-L95
Fort Washington, PA 19034

Re: Emily Bradac
Matter No.: 690339

PROFESSIONAL SERVICES

09/04/2012   AMP       Conference with Mr. Rhode regarding research on              L120        0.80 hrs
                       communicating with Ms. Bradac on a loan
                       unrelated to the one in litigation. (.20) Review
                       research regarding communicating with Ms.
                       Bradac on a loan unrelated to the one in litigation.
                       (.60)
09/04/2012   JDR       Research Ohio Rules of Professional Conduct                  L120        0.30 hrs
                       regarding communications between attorney and
                       opposing client.
09/04/2012   JDR       Correspondence to Ms. Paul Whitfield regarding               L120        0.20 hrs
                       Ohio Rules of Professional Conduct research.

09/05/2012   AMP       Review notice of status conference.                          L210        0.10 hrs


09/05/2012   AMP       E-mails with Ms. LeBeau regarding contacting                 L230        0.20 hrs
                       Court to reschedule status conference.

09/05/2012   AMP       Communications with opposing counsel regarding               L230        0.20 hrs
                       rescheduling conference.

09/05/2012   AMP       Multiple e-mails regarding rescheduling efforts.             L230        0.10 hrs


09/06/2012   AMP       Multiple e-mails regarding attempts to reschedule            L230        0.30 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27       Exhibit E
  096 01011                 Monthly Invoices Pg 162 of 1163
                                                         Invoice # 51637          Page 2
                    status conference.

09/07/2012   AMP    Review order from Court rescheduling conference        L210     0.20 hrs
                    call.

09/10/2012   AMP    Conference with Mr. Wallace regarding HELOC            L120     0.20 hrs
                    communication and upcoming status conference.

09/10/2012   DAW    Review Court order rescheduling telephone              L120     0.10 hrs
                    conference.

09/10/2012   KMC    Review notice scheduling telephone status              L210     0.10 hrs
                    conference.

09/11/2012   AMP    Attention to logistics for telephonic status           L120     0.20 hrs
                    conference with Court.

09/11/2012   AMP    Revise and finalize e-mail to opposing counsel         L120     0.20 hrs
                    regarding conference call details.

09/11/2012   AMP    Attention to locating pro se party's contact           L120     0.30 hrs
                    information.

09/11/2012   AMP    Revise and finalize letter to pro se party regarding   L120     0.10 hrs
                    conference call details.

09/13/2012   AMP    Prepare for and participate in status conference       L230     1.00 hrs
                    with Court.

09/13/2012   AMP    Meetings with Mr. Wallace and Ms. Cadieux              L120     0.50 hrs
                    regarding status conference.

09/13/2012   AMP    Telephone conference with client regarding             L120     0.20 hrs
                    outcome of status conference.

09/13/2012   AMP    Draft notice of submission of supplemental order       L250     0.30 hrs
                    from bankruptcy court.

09/13/2012   AMP    Attention to filing and service of submission.         L250     0.10 hrs


09/13/2012   AMP    Telephone conferences with Bay Village Law             L120     0.30 hrs
                    Director and neighbors regarding property issues.

09/13/2012   AMP    E-mails with client regarding property issues.         L120     0.20 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27               Exhibit E
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09/13/2012   DAW    Conference with Ms. Paul-Whitfield regarding                   L120     0.20 hrs
                    case issues and status conference with Court.

09/13/2012   KMC    Prepare for telephone conference with Court.                   L120     0.40 hrs


09/13/2012   KMC    Telephone conference with the Court regarding                  L120     0.70 hrs
                    bankruptcy issues and transfer of note.

09/13/2012   KMC    Telephone conference with Ms. McGinnis                         L110     0.30 hrs
                    (Residential Capital) regarding transfer of the note.

09/13/2012   KMC    Review e-mail regarding transfer of custodian of               L110     0.20 hrs
                    note.

09/13/2012   KMC    E-mail correspondence regarding conference call                L110     0.10 hrs
                    to discuss transfer of note.

09/13/2012   KMC    Review e-mail regarding motion to substitute and               L110     0.20 hrs
                    transfer of the note issues.

09/13/2012   KMC    Review e-mails regarding condition of the property             L110     0.20 hrs
                    and whether to secure.

09/13/2012   KMC    Review notice of submission of bankruptcy court's              L210     0.10 hrs
                    final supplemental order.

09/14/2012   AMP    Review e-mails regarding filing of notice of                   L120     0.10 hrs
                    supplemental bankruptcy court as requested by the
                    Court.
09/14/2012   AMP    Attention to preparing for and participating in                L120     0.30 hrs
                    conference call with client regarding real party in
                    interest issues.
09/14/2012   AMP    Meetings with Ms. Cadieux regarding note                       L120     0.30 hrs
                    ownership issues.

09/14/2012   KMC    Prepare for telephone conference with Ms.                      L110     0.40 hrs
                    McGinnis (Residential Capital) and Mr. Chiodo
                    (Ally) regarding transfer of note.
09/14/2012   KMC    Attend telephone conference with with Ms.                      L110     0.70 hrs
                    McGinnis (Residential Capital) and Mr. Chiodo
                    (Ally) regarding transfer of note.
09/14/2012   KMC    Telephone conference with Ms. McGinnis                         L110     0.20 hrs
                    (Residential Capital) regarding additional
                    information needed regarding transfer of rate.
09/14/2012   KMC    Review additional information regarding transfer        A104   L110     0.20 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
  096 01011                 Monthly Invoices Pg 164 of 1163
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                    of loan.

09/17/2012   AMP    Review material from client regarding                 L120     0.30 hrs
                    endorsements on notes.

09/18/2012   AMP    Review notice from Court as a result of status        L120     0.10 hrs
                    conference.

09/18/2012   AMP    Draft e-mail to client regarding Court notice.        L120     0.10 hrs


09/18/2012   AMP    Meeting with Ms. Cadieux regarding discrepancies      L120     0.20 hrs
                    in timing of note transfers.

09/18/2012   AMP    Review materials from client regarding note           L120     0.20 hrs
                    transfers.

09/18/2012   DAW    Review Court's order regarding bankruptcy stay        L120     0.10 hrs
                    and trial date.

09/18/2012   KMC    Review documents from Mr. Chiodo (Ally)               L110     0.30 hrs
                    regarding transfer of note to RFC.

09/19/2012   KMC    Review e-mail and documents from Mr. Chiodo           L110     0.30 hrs
                    (Ally) regarding transfer of note to RFC.

09/19/2012   KMC    Telephone conference with Ms. McGinnis                L110     0.30 hrs
                    (Residential Capital) regarding e-mail and
                    documents from Mr. Chiodo (Ally) regarding
                    transfer of note to RFC.
09/20/2012   AMP    Telephone call from Bay Village law director and      L120     0.30 hrs
                    Mayor regarding property issues.

09/20/2012   AMP    Telephone call to counsel for neighbors regarding     L120     0.20 hrs
                    property issues.

09/20/2012   AMP    Review loan documents for authority to enter          L120     0.70 hrs
                    premises.

09/20/2012   AMP    Draft e-mail to client regarding proposed letter to   L120     0.10 hrs
                    borrower's counsel on HELOC payment issues.

09/20/2012   AMP    Draft letter to Ms. Connick (opposing counsel)        L120     0.80 hrs
                    regarding HELOC monthly payment charges and
                    basis therefore.
09/21/2012   AMP    Review notice of trial date from Court.               L120     0.10 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
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09/21/2012   AMP    Draft e-mail to client regarding trial notice.        L120     0.10 hrs


09/21/2012   AMP    Review and respond to e-mails with client             L120     0.30 hrs
                    regarding HELOC letter and confirming payments
                    were correctly calculated.
09/21/2012   DAW    Review Court's trial setting notice.                  L120     0.10 hrs


09/24/2012   AMP    Review and revise proposed e-mail to client           L120     0.20 hrs
                    regarding follow up questions on note ownership
                    issues.
09/24/2012   AMP    Review e-mails with client regarding those            L120     0.20 hrs
                    questions.

09/24/2012   AMP    Meeting with Ms. Cadieux regarding note               L120     0.10 hrs
                    ownership issues.

09/24/2012   AMP    Review e-mail from client regarding HELOC             L120     0.10 hrs
                    payment calculation issues.

09/24/2012   AMP    Respond to e-mail from client regarding HELOC         L120     0.10 hrs
                    payment calculation issues.

09/24/2012   AMP    Meeting with Ms. Cadieux regarding HELOC              L120     0.20 hrs
                    payment calculation issues.

09/24/2012   AMP    Telephone conference with Bay Village law             L120     0.30 hrs
                    director regarding property issues.

09/24/2012   KMC    Review e-mail correspondence regarding issues         L110     0.10 hrs
                    with interest rate for HELOC loan.

09/24/2012   KMC    Review e-mail regarding when endorsements were        L110     0.30 hrs
                    placed on note and supporting documents.

09/24/2012   KMC    Draft e-mail regarding where date of endorsements     L110     0.30 hrs
                    was located and motion to substitute.

09/24/2012   KMC    Telephone conference with Ms. McGinnis                L110     0.20 hrs
                    (Residential Capital) regarding issues related when
                    endorsements were placed on note.
09/25/2012   AMP    Attention to issues regarding interest rate used to   L120     0.30 hrs
                    calculate HELOC monthly payments for past 10
                    years.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27       Exhibit E
  096 01011                 Monthly Invoices Pg 166 of 1163
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09/25/2012   AMP    Multiple e-mails with client regarding interest rate   L120     0.20 hrs
                    used to calculate HELOC monthly payments for
                    past 10 years.
09/25/2012   AMP    Meeting with Ms. Cadieux regarding interest rate       L120     0.20 hrs
                    used to calculate HELOC monthly payments for
                    past 10 years.
09/25/2012   AMP    Participate in conference call with client and Ms.     L120     0.40 hrs
                    Cadieux regarding interest rate used to calculate
                    HELOC monthly payments for past 10 years.
09/25/2012   AMP    Review original note to determine if addendum          L120     0.20 hrs
                    there.

09/25/2012   AMP    Conference call with client regarding original note    L120     0.20 hrs
                    including addendum.

09/25/2012   AMP    Telephone conference with neighbors' counsel           L120     0.20 hrs
                    regarding property issues.

09/25/2012   AMP    Draft e-mail to client regarding property              L120     0.10 hrs
                    preservation issues.

09/25/2012   KMC    Review documents regarding HELOC loan and              L110     0.40 hrs
                    Ms. Bradac's (borrowers) status as a GM
                    employee.
09/25/2012   KMC    Prepare for telephone conference with Ms.              L110     0.20 hrs
                    McGinnis (Residential Capital) and Ms. Frame
                    (Residential Capital) regarding HELOC payments
                    and interest rate.
09/25/2012   KMC    Telephone conference with Ms. McGinnis                 L110     0.40 hrs
                    (Residential Capital) and Ms. Frame (Residential
                    Capital) regarding HELOC payments and interest
                    rate.
09/25/2012   KMC    Review original note for HELOC.                        L110     0.10 hrs


09/25/2012   KMC    Telephone conference with Ms. McGinnis                 L110     0.10 hrs
                    (Residential Capital) regarding recalculating
                    payments based on interest rate in executive rider.
09/25/2012   KMC    Review e-mail correspondence regarding problems        L110     0.10 hrs
                    with property.

09/26/2012   AMP    Review additional materials from client regarding      L120     0.30 hrs
                    note ownership explanation and transfer history.

09/26/2012   AMP    Meeting with Ms. Cadieux regarding transfer            L120     0.20 hrs
                    history.
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
  096 01011                   Monthly Invoices Pg 167 of 1163
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09/27/2012   AMP      Attention to scheduling call with client regarding          L120        0.10 hrs
                      bankruptcy stay issues.

09/27/2012   AMP      Meeting with Ms. Cadieux regarding upcoming                 L120        0.10 hrs
                      call.

09/27/2012   AMP      Attention to note transfer history issues.                  L120        0.20 hrs


09/27/2012   AMP      Multiple e-mails regarding transfer history.                L120        0.20 hrs


09/27/2012   KMC      Review additional information regarding                     L110        0.30 hrs
                      endorsements on the note.

09/27/2012   KMC      Telephone conference with Ms. McGinnis                      L210        0.30 hrs
                      (Residential Capital) regarding motion to
                      substitute.


                      TOTAL FEES FOR THIS MATTER                                              $5,010.00

EXPENSES

09/13/2012            Delivery Service/Messengers - Federal Express to Cuyahoga                   $13.49
                      County from Ms. LeBeau

                      TOTAL EXPENSES FOR THIS MATTER                                              $13.49


BILLING SUMMARY


         Paul, Angela M.                             13.80 hrs     250.00 /hr     $3,450.00


         Wallace, David A.                            0.50 hrs     260.00 /hr       $130.00


         Rhode, Jacob D.                              0.50 hrs     160.00 /hr        $80.00


         Cadieux, Karen M.                            7.50 hrs     180.00 /hr     $1,350.00



     TOTAL FEES                                      22.30 hrs                    $5,010.00

     TOTAL EXPENSES                                                                 $13.49
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27    Exhibit E
096 01011                 Monthly Invoices Pg 168 of 1163
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   TOTAL CHARGES FOR THIS INVOICE                                   $5,023.49
       12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                              Monthly Invoices Pg 169 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                         November 02, 2012

                                                                    Billed through 09/30/2012
Tammy Hamzephour                                                    Invoice # 51559      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01012
190-FTW-L95
Fort Washington, PA 19034

Re: Eric Rogers
Matter No.: 687375

PROFESSIONAL SERVICES

09/10/2012   DAW       Revise complaint, including review of payment                L210        2.40 hrs
                       history and escrow analyses.

09/10/2012   KMC       Conference with Mr. Wallace regarding complaint              L110        0.20 hrs
                       and escrow analyses.

09/11/2012   DAW       Revise complaint for declaratory judgment.                   L210        1.90 hrs


09/11/2012   KMC       Conference with Mr. Wallace regarding escrow                 L190        0.30 hrs
                       issues.

09/11/2012   KMC       Telephone conference with Ms. McGinnis                       L110        0.20 hrs
                       (Residential Capital) regarding escrow issues and
                       scheduling a call to discuss the same.
09/12/2012   KMC       Review e-mail regarding discussion of escrow                 L110        0.10 hrs
                       issues with Ms. Frame (Residential Capital).

09/12/2012   KMC       Forward escrow analyses to Ms. McGinnis                      L110        0.20 hrs
                       (Residential Capital).

09/13/2012   DAW       Review escrow analysis documents.                            L120        0.20 hrs


09/13/2012   DAW       Telephone conference with Ms. Frame and Ms.                  L120        0.80 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
  096 01012                 Monthly Invoices Pg 170 of 1163
                                                         Invoice # 51559              Page 2
                    McGinnis (Residential Capital, LLC) regarding
                    escrow analysis issues.
09/13/2012   KMC    Prepare for telephone conference with Ms.                  L110     0.30 hrs
                    McGinnis (Residential Capital) and Ms. Frame
                    (Residential Capital) regarding escrow issues.
09/13/2012   KMC    Telephone conference with Ms. McGinnis                     L110     0.70 hrs
                    (Residential Capital) and Ms. Frame (Residential
                    Capital) regarding escrow issues.
09/13/2012   KMC    Conference with Mr. Wallace regarding complaint.           L110     0.10 hrs


09/13/2012   KMC    Review messages from Ms. McGinnis (Residential             L110     0.10 hrs
                    Capital) regarding conference call to discuss
                    escrow issues.
09/17/2012   DAW    Revise complaint.                                          L210     0.50 hrs


09/17/2012   RBS    Prepare exhibits for complaint for Ms. Cadieux.     A902   L310     0.50 hrs


09/17/2012   KMC    Revise complaint.                                          L110     0.40 hrs


09/17/2012   KMC    Attention to preparing exhibits for complaint.             L110     0.10 hrs


09/17/2012   KMC    Conference with Mr. Samson regarding preparing             L110     0.10 hrs
                    exhibits for complaint.

09/17/2012   KMC    Conference with Mr. Wallace regarding revising             L110     0.20 hrs
                    complaint.

09/18/2012   DAW    Telephone conference with Ms. McGinnis                     L120     0.40 hrs
                    (Residential Capital, LLC) regarding complaint
                    issues.
09/18/2012   KMC    Telephone conference with Ms. McGinnis                     L110     0.40 hrs
                    (Residential Capital) regarding complaint.

09/20/2012   DAW    Review payment history to identify areas of                L120     0.50 hrs
                    concern to address in conference call.

09/20/2012   KMC    Review payment history.                                    L110     0.40 hrs


09/20/2012   KMC    Conference with Mr. Wallace regarding issues with          L110     0.30 hrs
                    payment history.
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27          Exhibit E
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                                                          Invoice # 51559              Page 3

09/20/2012   KMC      Revise complaint.                                        L210        0.20 hrs


09/20/2012   KMC      E-mail Ms. McGinnis (Residential Capital)                L110        0.10 hrs
                      regarding discussing payment history.

09/21/2012   DAW      Telephone conference with Ms. Frame and Ms.              L120        1.10 hrs
                      McGinnis (Residential Capital, LLC) regarding
                      pay history issues.
09/21/2012   KMC      Prepare for telephone conference with Ms.                L110        0.30 hrs
                      McGinnis (Residential Capital) and Ms. Frame
                      (Residential Capital) regarding payment history.
09/21/2012   KMC      Telephone conference with Ms. McGinnis                   L110        0.10 hrs
                      (Residential Capital) regarding payment history.

09/21/2012   KMC      Telephone conference with Ms. McGinnis                   L110        1.30 hrs
                      (Residential Capital) and Ms. Frame (Residential
                      Capital) regarding payment history.
09/21/2012   KMC      Review fact package.                                     L110        0.40 hrs


09/21/2012   KMC      E-mail correspondence with Ms. McGinnis                  L110        0.10 hrs
                      (Residential Capital) regarding discussion of
                      payment history.
09/21/2012   KMC      Review notes history for payment history.                L110        0.20 hrs


09/21/2012   KMC      Review purged note history.                              L110        0.20 hrs


09/26/2012   KMC      Draft case designation form.                             L110        0.20 hrs


09/28/2012   KMC      E-mail correspondence with Ms. McGinnis                  L110        0.20 hrs
                      (Residential Capital) regarding short payment
                      letters.


                      TOTAL FEES FOR THIS MATTER                                           $3,397.50


BILLING SUMMARY


         Wallace, David A.                           7.80 hrs     260.00 /hr   $2,028.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27    Exhibit E
096 01012                 Monthly Invoices Pg 172 of 1163
                                                       Invoice # 51559        Page 4
      Cadieux, Karen M.                     7.40 hrs   180.00 /hr    $1,332.00


      Samson, Robert B.                     0.50 hrs    75.00 /hr        $37.50



   TOTAL FEES                              15.70 hrs                $3,397.50

   TOTAL CHARGES FOR THIS INVOICE                                   $3,397.50
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                              Monthly Invoices Pg 173 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                         November 02, 2012

                                                                  Billed through 09/30/2012
Tammy Hamzephour                                                  Invoice # 51560      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 096 01029
190-FTW-L95
Fort Washington, PA 19034

Re: Lamar Bridges
Matter No.: 705862

PROFESSIONAL SERVICES

09/04/2012   DAW       Revise e-mail to Ms. Ho (Residential Capital,              L120        0.20 hrs
                       LLC) regarding case status.

09/10/2012   DAW       Review e-mail from foreclosure counsel regarding           L120        0.10 hrs
                       case issues.



                       TOTAL FEES FOR THIS MATTER                                                $78.00


BILLING SUMMARY


         Wallace, David A.                           0.30 hrs    260.00 /hr          $78.00



     TOTAL FEES                                      0.30 hrs                       $78.00

     TOTAL CHARGES FOR THIS INVOICE                                                 $78.00
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
                               Monthly Invoices Pg 174 of 1163
                            CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                         November 02, 2012

                                                                  Billed through 09/30/2012
Tammy Hamzephour                                                  Invoice # 51561      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 096 01044
190-FTW-L95
Fort Washington, PA 19034

Re: Ray E. Potter
Matter No.: 698440

PROFESSIONAL SERVICES

09/05/2012   JES        E-mail client and opposing counsel regarding              L120        0.20 hrs
                        reverse mortgage.

09/07/2012   JES        E-mail opposing counsel regarding settlement.             L120        0.20 hrs




                        TOTAL FEES FOR THIS MATTER                                               $76.00


BILLING SUMMARY


         Sechler, Joel E.                             0.40 hrs   190.00 /hr          $76.00



     TOTAL FEES                                       0.40 hrs                      $76.00

     TOTAL CHARGES FOR THIS INVOICE                                                 $76.00
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                              Monthly Invoices Pg 175 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                         November 02, 2012

                                                                   Billed through 09/30/2012
Tammy Hamzephour                                                   Invoice # 51562      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01048
190-FTW-L95
Fort Washington, PA 19034

Re: Ronald McGinn
Matter No.: 694500

PROFESSIONAL SERVICES

09/10/2012   JES       Review and respond to e-mails from opposing                 L120        0.20 hrs
                       counsel regarding status of loan modification
                       applications.
09/11/2012   JES       E-mail opposing counsel and client regarding                L120        0.20 hrs
                       status of loan modification and/or settlement.

09/19/2012   JES       Review notice scheduling oral argument.                     L120        0.10 hrs


09/20/2012   DAW       Review Court's notice of oral argument.                     L120        0.10 hrs


09/20/2012   JES       E-mail client regarding upcoming oral argument.             L120        0.10 hrs


09/21/2012   JES       Telephone conference with Ms. McGinnis                      L120        0.20 hrs
                       (Residential Capital) regarding upcoming
                       deadlines and settlement status.
09/24/2012   JES       Review and respond to e-mails from Ms. McGinnis             L120        0.10 hrs
                       (Residential Capital) regarding new loan
                       modification options.


                       TOTAL FEES FOR THIS MATTER                                               $197.00
     12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
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BILLING SUMMARY


       Wallace, David A.                       0.10 hrs   260.00 /hr         $26.00


       Sechler, Joel E.                        0.90 hrs   190.00 /hr        $171.00



    TOTAL FEES                                 1.00 hrs                     $197.00

    TOTAL CHARGES FOR THIS INVOICE                                          $197.00
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                              Monthly Invoices Pg 177 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                         November 02, 2012

                                                                    Billed through 09/30/2012
Tammy Hamzephour                                                    Invoice # 51563      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01058
190-FTW-L95
Fort Washington, PA 19034

Re: Timothy Bryant
Matter No.: 713600

PROFESSIONAL SERVICES

09/04/2012   KMC       Conference with Mr. Wallace regarding findings of            L120        0.30 hrs
                       fact and conclusions of law.

09/04/2012   KMC       Telephone conference with court reporter                     L330        0.10 hrs
                       regarding obtaining transcript.

09/05/2012   DAW       Review memorandum regarding equitable                        L120        0.30 hrs
                       considerations for foreclosure in reference to
                       findings of fact and conclusions of law.
09/05/2012   DAW       Draft findings of fact and conclusions of law                L210        1.20 hrs
                       regarding U.S. Bank representative testimony.

09/05/2012   KMC       Research regarding equitable foreclosure.                    L110        0.60 hrs


09/05/2012   KMC       Review trial exhibits.                                       L110        0.60 hrs


09/05/2012   KMC       Draft findings of fact and conclusions of law.               L210        4.30 hrs


09/05/2012   KMC       Conference with Mr. Wallace regarding findings of            L210        0.30 hrs
                       facts and conclusions of law.

09/05/2012   KMC       Review prior orders entered by Court on issues of            L210        0.40 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27               Exhibit E
  096 01058                 Monthly Invoices Pg 178 of 1163
                                                         Invoice # 51563                  Page 2
                    standing and lost note.

09/06/2012   DAW    Draft findings of fact and conclusions of law,             L210         5.60 hrs
                    including review of transcript.

09/06/2012   DAW    Review equitable foreclosure cases, including              L120         1.90 hrs
                    review of trial notes and prior testimony.

09/06/2012   KMC    Draft findings of fact and conclusions of law.             L210         1.90 hrs


09/07/2012   DAW    Revise findings of fact and conclusions of law.            L210         0.70 hrs


09/07/2012   KMC    Revise proposed findings of fact and conclusions           L210         2.90 hrs
                    of law.

09/07/2012   KMC    Telephone conference with Mr. Wallace regarding            L210         0.60 hrs
                    proposed findings of fact and conclusions of law.

09/07/2012   KMC    Telephone conference with Court regarding                  L110         0.10 hrs
                    submission of proposed findings of fact and
                    conclusions of law.
09/07/2012   KMC    Attention to filing and service of proposed findings       L210         0.20 hrs
                    of fact and conclusions of law.

09/13/2012   DAW    Review defendants' proposed findings of fact and           L120         0.40 hrs
                    conclusions of law.

09/14/2012   DAW    Draft e-mail to Ms. Ho (Residential Capital, LLC)          L120         0.20 hrs
                    regarding proposed findings of fact and
                    conclusions of law.
09/14/2012   DAW    Draft memorandum regarding opposition to motion            L240         0.60 hrs
                    to dismiss.

09/14/2012   DAW    Draft e-mail to Ms. Ho (Residential Capital, LLC)          L120         0.10 hrs
                    regarding findings of facts and conclusions of law.



                    TOTAL FEES FOR THIS MATTER                                              $5,074.00

EXPENSES

09/07/2012          Out-of-Town Travel/Mileage (232 miles X .55) - travel to Butler          $127.60
                    County for filing (VW)
     12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
 096 01058                 Monthly Invoices Pg 179 of 1163
                                                        Invoice # 51563         Page 3
                    TOTAL EXPENSES FOR THIS MATTER                                  $127.60


BILLING SUMMARY


       Wallace, David A.                    11.00 hrs   260.00 /hr    $2,860.00


       Cadieux, Karen M.                    12.30 hrs   180.00 /hr    $2,214.00



    TOTAL FEES                              23.30 hrs                $5,074.00

    TOTAL EXPENSES                                                        $127.60

    TOTAL CHARGES FOR THIS INVOICE                                   $5,201.60
       12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                              Monthly Invoices Pg 180 of 1163
                         CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                          November 02, 2012

                                                                   Billed through 09/30/2012
Tammy Hamzephour                                                   Invoice # 51564      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01061
190-FTW-L95
Fort Washington, PA 19034

Re: Cleveland Housing Renewal Project
Matter No.: 715020

PROFESSIONAL SERVICES

09/04/2012   DAW       Review notice of dismissal of Carrington.                   L120        0.10 hrs




                       TOTAL FEES FOR THIS MATTER                                                 $26.00


BILLING SUMMARY


          Wallace, David A.                           0.10 hrs     260.00 /hr         $26.00



     TOTAL FEES                                       0.10 hrs                       $26.00

     TOTAL CHARGES FOR THIS INVOICE                                                  $26.00
       12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                                 Monthly Invoices Pg 181 of 1163
                              CARPENTER LIPPS & LELAND LLP

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                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                            November 02, 2012

                                                                       Billed through 09/30/2012
Tammy Hamzephour                                                       Invoice # 51565      JAL
Residential Capital, LLC
1100 Virginia Drive                                                    Our file # 096 01062
190-FTW-L95
Fort Washington, PA 19034

Re: Jamie L. Gindele, et al.
Matter No.: 697753

PROFESSIONAL SERVICES

09/07/2012     DAW        Review e-mails regarding stay issues.                        L120        0.10 hrs


09/07/2012     JES        E-mail Ms. McGinnis (Residential Capital)                    L120        0.10 hrs
                          regarding order of stay in appellate case.

09/27/2012     DAW        Telephone conference with Ms. McGinnis                       L120        0.10 hrs
                          (Residential Capital, LLC) regarding attorney
                          general settlement letter issues.
09/28/2012     DAW        Review form letter and financial package regarding           L120        0.10 hrs
                          attorney general settlement funds.



                          TOTAL FEES FOR THIS MATTER                                                  $97.00


BILLING SUMMARY


           Wallace, David A.                            0.30 hrs    260.00 /hr            $78.00


           Sechler, Joel E.                             0.10 hrs    190.00 /hr            $19.00



      TOTAL FEES                                        0.40 hrs                         $97.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
096 01062                 Monthly Invoices Pg 182 of 1163
                                                       Invoice # 51565        Page 2


   TOTAL CHARGES FOR THIS INVOICE                                        $97.00
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                               Monthly Invoices Pg 183 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                      280 Plaza, Suite 1300
                                      280 North High Street
                                      Columbus, OH 43215
                                         (614) 365-4100
                                     Federal ID # XX-XXXXXXX



                                        November 02, 2012

                                                                 Billed through 09/30/2012
Tammy Hamzephour                                                 Invoice # 51566      JAL
Residential Capital, LLC
1100 Virginia Drive                                              Our file # 096 01078
190-FTW-L95
Fort Washington, PA 19034

Re: Ronald J. Markus
Matter No.: 699618

PROFESSIONAL SERVICES

09/07/2012   JES       Draft motion for summary judgment.                            L240     5.00 hrs


09/07/2012   JES       E-mail opposing counsel regarding settlement.                 L120     0.20 hrs


09/11/2012   JES       Revise motion for summary judgment and prepare                L240     0.50 hrs
                       and organize accompanying exhibits and
                       deposition transcripts.


                       TOTAL FEES FOR THIS MATTER                                             $1,083.00

EXPENSES

09/13/2012             Delivery Service/Messengers - Federal Express to Magistrate                  $13.76
                       Hippley from Mr. Sechler

09/13/2012             Delivery Service/Messengers - Federal Express to Cuyahoga                    $18.70
                       County Filing Department from Mr. Sechler

                       TOTAL EXPENSES FOR THIS MATTER                                               $32.46


BILLING SUMMARY
    12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
096 01078                   Monthly Invoices Pg 184 of 1163
                                                         Invoice # 51566        Page 2
      Sechler, Joel E.                        5.70 hrs   190.00 /hr    $1,083.00



   TOTAL FEES                                 5.70 hrs                $1,083.00

   TOTAL EXPENSES                                                          $32.46

   TOTAL CHARGES FOR THIS INVOICE                                     $1,115.46
       12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                                 Monthly Invoices Pg 185 of 1163
                              CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                            November 02, 2012

                                                                       Billed through 09/30/2012
Tammy Hamzephour                                                       Invoice # 51568      JAL
Residential Capital, LLC
1100 Virginia Drive                                                    Our file # 096 01097
190-FTW-L95
Fort Washington, PA 19034

Re: Richard M. Guiliano, et al.
Matter No.: 719064

PROFESSIONAL SERVICES

09/04/2012    DAW         Review e-mails regarding ACS endorsement issue.              L120        0.10 hrs


09/04/2012    DAW         Attend telephone conference with Ms. McGinnis                L120        0.30 hrs
                          (Residential Capital, LLC) and Mr. Allen (Bradley
                          Arant Boult Cummings) regarding ACS
                          endorsement issues.
09/04/2012    JES         Prepare for and attend telephone conference with             L120        0.50 hrs
                          client regarding issues related to original borrower
                          note.


                          TOTAL FEES FOR THIS MATTER                                                $199.00


BILLING SUMMARY


           Wallace, David A.                              0.40 hrs    260.00 /hr         $104.00


           Sechler, Joel E.                               0.50 hrs    190.00 /hr          $95.00



      TOTAL FEES                                          0.90 hrs                      $199.00

      TOTAL CHARGES FOR THIS INVOICE                                                    $199.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27    Exhibit E
096 01097                 Monthly Invoices Pg 186 of 1163
                                                       Invoice # 51568       Page 2
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                              Monthly Invoices Pg 187 of 1163
                        CARPENTER LIPPS & LELAND LLP

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                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                         November 02, 2012

                                                                   Billed through 09/30/2012
Tammy Hamzephour                                                   Invoice # 51569      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01112
190-FTW-L95
Fort Washington, PA 19034

Re: Thang Nguyen
Matter No.: 712051

PROFESSIONAL SERVICES

09/05/2012   JES       Review and respond to e-mails from client                   L120        0.30 hrs
                       regarding settlement status.

09/07/2012   JES       Review e-mail from Mr. Pittman (opposing                    L120        0.30 hrs
                       counsel) regarding settlement agreement revisions.
                       (.20) E-mail Ms. McGinnis (Residential Capital)
                       regarding same. (.10)
09/10/2012   JES       E-mail Ms. McGinnis (Residential Capital) and               L120        0.50 hrs
                       Mr. Pittman (opposing counsel) regarding
                       settlement agreement changes and coordination of
                       recording of settlement-related documents.
09/11/2012   JES       E-mail opposing counsel and client regarding                L120        0.20 hrs
                       status of loan modification and/or settlement.

09/12/2012   JES       Revise settlement agreement. (.40) E-mail Ms.               L120        0.50 hrs
                       McGinnis (Residential Capital) and borrowers'
                       counsel regarding same. (.10)
09/13/2012   JES       E-mail Ms. McGinnis (Residential Capital)                   L120        0.30 hrs
                       regarding status of settlement check and settlement
                       agreement execution.
09/17/2012   JES       Complete settlement information form for Ms.                L120        0.50 hrs
                       McGinnis (Residential Capital).



                       TOTAL FEES FOR THIS MATTER                                               $494.00
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27        Exhibit E
  096 01112                    Monthly Invoices Pg 188 of 1163
                                                            Invoice # 51569           Page 2


EXPENSES

09/17/2012              Delivery Service/Messengers - Federal Express to GMAC                 $15.42
                        Mortgage from Mr. Sechler

                        TOTAL EXPENSES FOR THIS MATTER                                        $15.42


BILLING SUMMARY


         Sechler, Joel E.                           2.60 hrs   190.00 /hr       $494.00



     TOTAL FEES                                     2.60 hrs                    $494.00

     TOTAL EXPENSES                                                              $15.42

     TOTAL CHARGES FOR THIS INVOICE                                             $509.42
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                                Monthly Invoices Pg 189 of 1163
                          CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                           November 02, 2012

                                                                     Billed through 09/30/2012
Tammy Hamzephour                                                     Invoice # 51570      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01114
190-FTW-L95
Fort Washington, PA 19034

Re: Mardean Bridges, et al.
Matter No.: 712079

PROFESSIONAL SERVICES

09/07/2012    DAW        Review e-mail regarding settlement position.                L120        0.10 hrs


09/07/2012    KMC        Review e-mail from Ms. McGinnis (Residential                L160        0.10 hrs
                         Capital) regarding settlement authority.

09/11/2012    DAW        Review reinstatement quote.                                 L120        0.10 hrs


09/11/2012    KMC        Review reinstatement quote.                                 L110        0.10 hrs


09/11/2012    KMC        Conference with Mr. Wallace regarding settlement            L120        0.10 hrs
                         issues.

09/14/2012    KMC        Telephone conference with Ms. McGinnis                      L110        0.30 hrs
                         (Residential Capital) regarding terms of settlement
                         offer.
09/28/2012    KMC        Review reinstatement quote.                                 L110        0.10 hrs


09/28/2012    KMC        Telephone conference with Ms. McGinnis                      L110        0.10 hrs
                         (Residential Capital) regarding settlement offer to
                         be made.
     12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
 096 01114                 Monthly Invoices Pg 190 of 1163
                                                        Invoice # 51570         Page 2
                    TOTAL FEES FOR THIS MATTER                                      $196.00


BILLING SUMMARY


       Wallace, David A.                     0.20 hrs   260.00 /hr         $52.00


       Cadieux, Karen M.                     0.80 hrs   180.00 /hr        $144.00



    TOTAL FEES                               1.00 hrs                     $196.00

    TOTAL CHARGES FOR THIS INVOICE                                        $196.00
       12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
                                 Monthly Invoices Pg 191 of 1163
                              CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                           November 02, 2012

                                                                    Billed through 09/30/2012
Tammy Hamzephour                                                    Invoice # 51571      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01116
190-FTW-L95
Fort Washington, PA 19034

Re: Jack H. Donnelly, et al.
Matter No.: 712313

PROFESSIONAL SERVICES

09/04/2012    JES         Review loan modification financial information.           L120        0.30 hrs


09/07/2012    JES         E-mail Ms. McGinnis (Residential Capital) and             L120        0.20 hrs
                          Mr. Lorenzon (opposing counsel) regarding loan
                          modification application.
09/10/2012    JES         E-mail opposing counsel regarding loan                    L120        0.20 hrs
                          modification offer.



                          TOTAL FEES FOR THIS MATTER                                             $133.00


BILLING SUMMARY


           Sechler, Joel E.                             0.70 hrs   190.00 /hr         $133.00



      TOTAL FEES                                        0.70 hrs                     $133.00

      TOTAL CHARGES FOR THIS INVOICE                                                 $133.00
       12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                               Monthly Invoices Pg 192 of 1163
                            CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                           November 02, 2012

                                                                    Billed through 09/30/2012
Tammy Hamzephour                                                    Invoice # 51572      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01128
190-FTW-L95
Fort Washington, PA 19034

Re: City of Cleveland (Muni CT Action)
Matter No.: 627238

PROFESSIONAL SERVICES

09/14/2012   AMP        Telephone call to City's counsel regarding status of        L120        0.20 hrs
                        settlement agreement execution.



                       TOTAL FEES FOR THIS MATTER                                                  $50.00


BILLING SUMMARY


          Paul, Angela M.                              0.20 hrs    250.00 /hr          $50.00



     TOTAL FEES                                        0.20 hrs                       $50.00

     TOTAL CHARGES FOR THIS INVOICE                                                   $50.00
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                               Monthly Invoices Pg 193 of 1163
                         CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                        November 02, 2012

                                                                   Billed through 09/30/2012
Tammy Hamzephour                                                   Invoice # 51573      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01133
190-FTW-L95
Fort Washington, PA 19034

Re: Shawn W. Ferrell
Matter No.: 715760

PROFESSIONAL SERVICES

09/24/2012   DAW       Review Court's judgment decree in foreclosure               L120        0.10 hrs
                       concluding case.

09/24/2012   DAW       Draft e-mail to Ms. McGinnis (Residential Capital,          L120        0.10 hrs
                       LLC) regarding Court's judgment decree in
                       foreclosure.
09/27/2012   DAW       Review notice of voluntary dismissal with                   L120        0.10 hrs
                       prejudice of defendant.

09/27/2012   DAW       Draft e-mail to Ms. McGinnis (Residential Capital,          L120        0.10 hrs
                       LLC) regarding voluntary dismissal with prejudice
                       of defendant.


                       TOTAL FEES FOR THIS MATTER                                               $104.00


BILLING SUMMARY


          Wallace, David A.                          0.40 hrs      260.00 /hr        $104.00



     TOTAL FEES                                      0.40 hrs                       $104.00

     TOTAL CHARGES FOR THIS INVOICE                                                 $104.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27    Exhibit E
096 01133                 Monthly Invoices Pg 194 of 1163
                                                       Invoice # 51573       Page 2
       12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
                                 Monthly Invoices Pg 195 of 1163
                          CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                           November 02, 2012

                                                                    Billed through 09/30/2012
Tammy Hamzephour                                                    Invoice # 51574      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01134
190-FTW-L95
Fort Washington, PA 19034

Re: Jeffrey A. Secrest
Matter No.: 716073

PROFESSIONAL SERVICES

09/13/2012    DAW        Review Allison's reply to objections.                      L120        0.40 hrs


09/14/2012    DAW        Draft e-mail to Ms. McGinnis (Residential Capital,         L120        0.20 hrs
                         LLC) regarding reply to objections.

09/20/2012    DAW        Review Court's journal entry denying objections.           L120        0.20 hrs


09/20/2012    DAW        Draft e-mail to Ms. McGinnis (Residential Capital,         L120        0.30 hrs
                         LLC) regarding denial of objections.

09/24/2012    DAW        Draft e-mail to Ms. McGinnis (Residential Capital,         L120        0.20 hrs
                         LLC) regarding Court's judgment entry adopting
                         Magistrate's judgment entry and overruling the
                         objections to the Magistrate's Findings of Fact and
                         Conclusions of Law.
09/24/2012    JES        Review reply of defendant Allison in support of            L210        0.50 hrs
                         objection to Magistrate decision.

09/25/2012    DAW        Review Allison's motion for reconsideration of             L120        0.30 hrs
                         judgment.

09/25/2012    DAW        Conference with Mr. Sechler regarding Allison's            L120        0.10 hrs
                         motion for reconsideration of judgment.
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27        Exhibit E
  096 01134                    Monthly Invoices Pg 196 of 1163
                                                            Invoice # 51574           Page 2

09/26/2012   DAW        Draft e-mail to Ms. McGinnis (Residential Capital,     L120       0.20 hrs
                        LLC) regarding Allison's motion for
                        reconsideration.


                        TOTAL FEES FOR THIS MATTER                                         $589.00


BILLING SUMMARY


         Wallace, David A.                            1.90 hrs    260.00 /hr    $494.00


         Sechler, Joel E.                             0.50 hrs    190.00 /hr     $95.00



     TOTAL FEES                                       2.40 hrs                  $589.00

     TOTAL CHARGES FOR THIS INVOICE                                             $589.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
                                Monthly Invoices Pg 197 of 1163
                          CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                          November 02, 2012

                                                                   Billed through 09/30/2012
Tammy Hamzephour                                                   Invoice # 51575      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01140
190-FTW-L95
Fort Washington, PA 19034

Re: Steven T. Biermann, et al.
Matter No.: 718120

PROFESSIONAL SERVICES

09/05/2012    DAW        Conference with Mr. Sechler regarding status of           L120        0.10 hrs
                         financials.

09/05/2012    JES        Telephone opposing counsel regarding mediation.           L120        0.10 hrs


09/06/2012    DAW        Conference with Mr. Sechler regarding mediation           L120        0.10 hrs
                         issues.

09/06/2012    JES        Review and respond to e-mails from Ms. Gregory            L120        0.10 hrs
                         (GMAC) regarding reverse mortgage.

09/06/2012    JES        Telephone conference with borrowers' counsel              L120        0.20 hrs
                         regarding upcoming mediation and loan
                         modification options.
09/07/2012    DAW        Conference with Mr. Sechler regarding bankruptcy          L120        0.10 hrs
                         stay issues and mediation.

09/07/2012    JES        Telephone conference with Ms. McGinnis                    L120        0.20 hrs
                         (Residential Capital) and Mr. Smith (opposing
                         counsel) regarding automatic stay, mediation and
                         loan modification application.
09/19/2012    JES        Telephone conference with mediator confirming             L120        0.10 hrs
                         cancellation of mediation.
     12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
 096 01140                   Monthly Invoices Pg 198 of 1163
                                                          Invoice # 51575         Page 2


                      TOTAL FEES FOR THIS MATTER                                      $211.00


BILLING SUMMARY


       Wallace, David A.                       0.30 hrs   260.00 /hr         $78.00


       Sechler, Joel E.                        0.70 hrs   190.00 /hr        $133.00



    TOTAL FEES                                 1.00 hrs                     $211.00

    TOTAL CHARGES FOR THIS INVOICE                                          $211.00
       12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
                              Monthly Invoices Pg 199 of 1163
                         CARPENTER LIPPS & LELAND LLP

                                      280 Plaza, Suite 1300
                                      280 North High Street
                                      Columbus, OH 43215
                                         (614) 365-4100
                                     Federal ID # XX-XXXXXXX



                                        November 02, 2012

                                                                 Billed through 09/30/2012
Tammy Hamzephour                                                 Invoice # 51576      JAL
Residential Capital, LLC
1100 Virginia Drive                                              Our file # 096 01143
190-FTW-L95
Fort Washington, PA 19034

Re: Jeanette Jordon
Matter No.: 718899

PROFESSIONAL SERVICES

09/04/2012   DAW       Draft e-mail to prosecutor regarding payment              L120        0.10 hrs
                       issues.

09/05/2012   DAW       Review e-mail from prosecutor regarding payment.          L120        0.10 hrs


09/05/2012   DAW       Draft correspondence forwarding payment to                L120        0.20 hrs
                       prosecutor.

09/24/2012   DAW       Telephone conference with prosecutor regarding            L120        0.10 hrs
                       confirmation of receipt of check.



                       TOTAL FEES FOR THIS MATTER                                             $130.00


BILLING SUMMARY


          Wallace, David A.                          0.50 hrs   260.00 /hr         $130.00



      TOTAL FEES                                     0.50 hrs                     $130.00

      TOTAL CHARGES FOR THIS INVOICE                                              $130.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27    Exhibit E
096 01143                 Monthly Invoices Pg 200 of 1163
                                                       Invoice # 51576       Page 2
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                                Monthly Invoices Pg 201 of 1163
                           CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                           November 02, 2012

                                                                    Billed through 09/30/2012
Tammy Hamzephour                                                    Invoice # 51577      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01145
190-FTW-L95
Fort Washington, PA 19034

RE: Niesreen Abdalla, et al.
Matter No.: 718973

PROFESSIONAL SERVICES

09/20/2012    DAW        Review Court's order granting GMAC's motion for            L120        0.30 hrs
                         summary judgment on counterclaims and denying
                         summary judgment on foreclosure claims.
09/20/2012    DAW        Conference with Mr. Sechler regarding settlement           L120        0.30 hrs
                         terms.

09/20/2012    DAW        Review Court orders regarding pretrial conference          L120        0.10 hrs
                         and cancellation of mediation.

09/20/2012    JES        Review orders related to motion for summary                L120        1.00 hrs
                         judgment and entry scheduling pretrial. (.40) Draft
                         e-mail to client regarding same and trial strategy.
                         (.60)
09/21/2012    JES        Telephone conference with Ms. McGinnis                     L120        0.20 hrs
                         (Residential Capital) regarding upcoming
                         deadlines and settlement status.


                         TOTAL FEES FOR THIS MATTER                                              $410.00


BILLING SUMMARY


          Wallace, David A.                             0.70 hrs    260.00 /hr        $182.00
    12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
096 01145                   Monthly Invoices Pg 202 of 1163
                                                         Invoice # 51577         Page 2
      Sechler, Joel E.                        1.20 hrs   190.00 /hr        $228.00



   TOTAL FEES                                 1.90 hrs                     $410.00

   TOTAL CHARGES FOR THIS INVOICE                                          $410.00
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27          Exhibit E
                              Monthly Invoices Pg 203 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                      280 Plaza, Suite 1300
                                      280 North High Street
                                      Columbus, OH 43215
                                         (614) 365-4100
                                     Federal ID # XX-XXXXXXX



                                        November 02, 2012

                                                                Billed through 09/30/2012
Tammy Hamzephour                                                Invoice # 51578      JAL
Residential Capital, LLC
1100 Virginia Drive                                             Our file # 096 01148
190-FTW-L95
Fort Washington, PA 19034

Re: James M. Unger
Matter No.:729635

PROFESSIONAL SERVICES

09/28/2012   DAW       Review Supreme Court's order denying jurisdiction        L120        0.10 hrs
                       to accept appeal.

09/28/2012   DAW       Draft e-mail to Ms. McGinnis and Ms. Campbell            L120        0.30 hrs
                       (Residential Capital, LLC) regarding denial of
                       jurisdiction.


                       TOTAL FEES FOR THIS MATTER                                            $104.00


BILLING SUMMARY


         Wallace, David A.                          0.40 hrs    260.00 /hr        $104.00



     TOTAL FEES                                     0.40 hrs                     $104.00

     TOTAL CHARGES FOR THIS INVOICE                                              $104.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                                Monthly Invoices Pg 204 of 1163
                             CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                           November 02, 2012

                                                                    Billed through 09/30/2012
Tammy Hamzephour                                                    Invoice # 51579      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01150
190-FTW-L95
Fort Washington, PA 19034

Re: Melissa D. Lallo
Matter No.: 719854

PROFESSIONAL SERVICES

09/04/2012   JES         E-mail client and opposing counsel regarding               L120        0.20 hrs
                         rescheduling Montoya deposition.

09/05/2012   JES         Draft motion to continue case deadlines. (.30)             L250        0.50 hrs
                         Review and respond to e-mails from opposing
                         counsel regarding the same. (.20)


                         TOTAL FEES FOR THIS MATTER                                              $133.00

EXPENSES

09/05/2012               Delivery Service/Messengers - Federal Express Cuyahoga                    $11.08
                         County Common Pleas from Mr. Sechler

09/05/2012               Delivery Service/Messengers - Federal Express Cuyahoga                    $11.08
                         County Common Pleas from Mr. Sechler

                         TOTAL EXPENSES FOR THIS MATTER                                            $22.16


BILLING SUMMARY


          Sechler, Joel E.                              0.70 hrs    190.00 /hr        $133.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
096 01150                 Monthly Invoices Pg 205 of 1163
                                                       Invoice # 51579         Page 2
   TOTAL FEES                               0.70 hrs                     $133.00

   TOTAL EXPENSES                                                         $22.16

   TOTAL CHARGES FOR THIS INVOICE                                        $155.16
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
                              Monthly Invoices Pg 206 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                         November 02, 2012

                                                                 Billed through 09/30/2012
Tammy Hamzephour                                                 Invoice # 51580      JAL
Residential Capital, LLC
1100 Virginia Drive                                              Our file # 096 01153
190-FTW-L95
Fort Washington, PA 19034

Re: Danna Rogers
Matter No.: 720558

PROFESSIONAL SERVICES

09/04/2012   KMC       Review order setting new case schedule.                   L210        0.10 hrs


09/27/2012   KMC       Review notice of service of discovery.                    L110        0.10 hrs




                       TOTAL FEES FOR THIS MATTER                                               $36.00


BILLING SUMMARY


         Cadieux, Karen M.                           0.20 hrs    180.00 /hr         $36.00



     TOTAL FEES                                      0.20 hrs                      $36.00

     TOTAL CHARGES FOR THIS INVOICE                                                $36.00
       12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                              Monthly Invoices Pg 207 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                          November 02, 2012

                                                                    Billed through 09/30/2012
Tammy Hamzephour                                                    Invoice # 51581      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01160
190-FTW-L95
Fort Washington, PA 19034

Re: Linda R. Heeter
Matter No.: 722162

PROFESSIONAL SERVICES

09/25/2012   KMC       Review docket to confirm no appeal was filed.                L110        0.10 hrs


09/25/2012   KMC       E-mail correspondence with Ms. McGinnis                      L110        0.20 hrs
                       (Residential Capital) regarding no appeal being
                       filed and ability to proceed with foreclosure sale.


                       TOTAL FEES FOR THIS MATTER                                                  $54.00


BILLING SUMMARY


          Cadieux, Karen M.                            0.30 hrs    180.00 /hr          $54.00



     TOTAL FEES                                        0.30 hrs                       $54.00

     TOTAL CHARGES FOR THIS INVOICE                                                   $54.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                                Monthly Invoices Pg 208 of 1163
                           CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                           November 02, 2012

                                                                    Billed through 09/30/2012
Tammy Hamzephour                                                    Invoice # 51582      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01163
190-FTW-L95
Fort Washington, PA 19034

Re: Elizabeth Campbell, et al.
Matter No.: 722676

PROFESSIONAL SERVICES

09/04/2012    KMC        Review order setting status conference.                    L210        0.10 hrs


09/04/2012    KMC        Forward order setting status conference to Ms.             L210        0.10 hrs
                         McGinnis (Residential Capital).



                         TOTAL FEES FOR THIS MATTER                                                $36.00


BILLING SUMMARY


           Cadieux, Karen M.                            0.20 hrs   180.00 /hr          $36.00



      TOTAL FEES                                        0.20 hrs                      $36.00

      TOTAL CHARGES FOR THIS INVOICE                                                  $36.00
       12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27          Exhibit E
                                 Monthly Invoices Pg 209 of 1163
                           CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                          November 02, 2012

                                                                   Billed through 09/30/2012
Tammy Hamzephour                                                   Invoice # 51583      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01170
190-FTW-L95
Fort Washington, PA 19034

Re: H. Marc Chrysler, et al.
Matter No.: 725008

PROFESSIONAL SERVICES

09/05/2012    DAW        Review Court's order regarding bankruptcy stay.           L120        0.10 hrs




                         TOTAL FEES FOR THIS MATTER                                               $26.00


BILLING SUMMARY


           Wallace, David A.                           0.10 hrs   260.00 /hr          $26.00



      TOTAL FEES                                       0.10 hrs                      $26.00

      TOTAL CHARGES FOR THIS INVOICE                                                 $26.00
        12-12020-mg         Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                                    Monthly Invoices Pg 210 of 1163
                             CARPENTER LIPPS & LELAND LLP

                                             280 Plaza, Suite 1300
                                             280 North High Street
                                             Columbus, OH 43215
                                                (614) 365-4100
                                            Federal ID # XX-XXXXXXX



                                              November 02, 2012

                                                                         Billed through 09/30/2012
Tammy Hamzephour                                                         Invoice # 51584      JAL
Residential Capital, LLC
1100 Virginia Drive                                                      Our file # 096 01171
190-FTW-L95
Fort Washington, PA 19034

Re: Jon G. Paglio, et al.
Matter No.: 724325

PROFESSIONAL SERVICES

09/04/2012     KMC          Review docket to determine status of case.                   L110        0.10 hrs


09/05/2012     KMC          Draft correspondence to borrowers' counsel                   L120        0.20 hrs
                            regarding loss mitigation documents.

09/05/2012     KMC          Conference with Mr. Wallace regarding status of              L120        0.20 hrs
                            case and loss mitigation review.

09/05/2012     KMC          Telephone conference with Ms. McGinnis                       L120        0.20 hrs
                            (Residential Capital) regarding status of loss
                            mitigation review and upcoming trial.
09/05/2012     KMC          Review e-mail regarding status of HAMP review.               L110        0.10 hrs


09/06/2012     KMC          E-mail correspondence with borrowers' counsel                L160        0.20 hrs
                            regarding settlement and additional funds required.

09/06/2012     KMC          E-mail correspondence with Ms. McGinnis                      L160        0.10 hrs
                            (Residential Capital) regarding settlement and
                            additional funds required.
09/06/2012     KMC          Leave message for bailiff regarding status of case.          L110        0.10 hrs


09/06/2012     KMC          Conference with Mr. Wallace regarding submitting             L210        0.10 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
  096 01171                 Monthly Invoices Pg 211 of 1163
                                                         Invoice # 51584              Page 2
                    entry dismissing counterclaim and third-party
                    complaint to Court.
09/07/2012   DAW    Conference with Ms. Cadieux regarding loan                 L120     0.10 hrs
                    modification status and trial issues.

09/07/2012   KMC    Review e-mails regarding status of loan                    L110     0.20 hrs
                    modification review.

09/11/2012   KMC    Conference with Mr. Wallace regarding motion to            L210     0.20 hrs
                    refer to mediation and memorandum in opposition
                    to motion for summary judgment.
09/11/2012   KMC    Review docket to determine status of motions.       A104   L110     0.10 hrs


09/12/2012   DAW    Review opposition to motion for summary                    L120     0.40 hrs
                    judgment.

09/13/2012   DAW    Review e-mail regarding trial preparation issues.          L120     0.10 hrs


09/13/2012   DAW    Review motion to refer to mediation.                       L120     0.10 hrs


09/13/2012   DAW    Review e-mail regarding trial preparation session          L120     0.10 hrs
                    issue.

09/13/2012   DAW    Revise motion for leave to file opposition to              L250     0.40 hrs
                    motion.

09/13/2012   DAW    Conference with Ms. Cadieux regarding trial                L120     0.20 hrs
                    readiness issues.

09/13/2012   KMC    E-mail correspondence with Ms. McGinnis                    L110     0.10 hrs
                    (Residential Capital) regarding scheduling trial
                    preparation with Mr. Lucas.
09/13/2012   KMC    Review motion to refer to mediation.                       L210     0.10 hrs


09/13/2012   KMC    Draft motion for leave to file memorandum in               L210     0.20 hrs
                    opposition to motion to refer to mediation.

09/13/2012   KMC    Draft memorandum in opposition to motion to                L210     0.50 hrs
                    refer to mediation.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
  096 01171                 Monthly Invoices Pg 212 of 1163
                                                         Invoice # 51584         Page 3

09/13/2012   KMC    Telephone conference with Ms. McGinnis                L110     0.20 hrs
                    (Residential Capital) regarding loss mitigation.

09/13/2012   KMC    Conference with Mr. Wallace regarding trial           L120     0.20 hrs
                    preparation and reply in support of motion for
                    summary judgment.
09/14/2012   DAW    Revise opposition to motion to refer case to          L240     0.10 hrs
                    mediation.

09/14/2012   DAW    Review proposed asset plan.                           L120     0.40 hrs


09/14/2012   DAW    Attend telephone conference regarding loss            L120     0.50 hrs
                    mitigation and asset plan.

09/14/2012   DAW    Review additional e-mails regarding trustee and       L120     0.20 hrs
                    investor issues.

09/14/2012   DAW    Telephone conference with Ms. Priore and Ms.          L120     0.20 hrs
                    McGinnis (Residential Capital, LLC) regarding
                    loan modification issues.
09/14/2012   DAW    Telephone conference with Ms. McGinnis                L120     0.10 hrs
                    (Residential Capital, LLC) regarding loan
                    modification issues.
09/14/2012   KMC    Review asset plan.                                    L110     0.20 hrs


09/14/2012   KMC    E-mail Ms. McGinnis (Residential Capital)             L110     0.10 hrs
                    regarding asset plan.

09/14/2012   KMC    E-mail Ms. McGinnis (Residential Capital)             L120     0.10 hrs
                    regarding scheduling trial preparation.

09/14/2012   KMC    Review e-mails regarding the current investor of      L110     0.20 hrs
                    the loan.

09/14/2012   KMC    Review e-mail regarding loan modification.            L110     0.10 hrs


09/14/2012   KMC    Prepare for telephone conference with Ms.             L110     0.20 hrs
                    McGinnis (Residential Capital) and Ms. Libert
                    (Residential Capital) regarding asset plan and loan
                    modification offer.
09/14/2012   KMC    Attend telephone conference with Ms. McGinnis         L110     0.50 hrs
                    (Residential Capital) and Ms. Libert (Residential
                    Capital) regarding asset plan and loan modification
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
  096 01171                 Monthly Invoices Pg 213 of 1163
                                                         Invoice # 51584         Page 4
                    offer.
09/14/2012   KMC    Telephone conference with Ms. McGinnis                L110     0.10 hrs
                    (Residential Capital) regarding confirming investor
                    guidelines are correct for loan modification.
09/14/2012   KMC    Telephone conference with Ms. McGinnis                L110     0.20 hrs
                    (Residential Capital) and Ms. Priore (Residential
                    Capital regarding confirming investor guidelines
                    are correct for loan modification.
09/14/2012   KMC    Review information regarding escrow payment.          L110     0.10 hrs


09/14/2012   KMC    Calculate total amount advanced for taxes.            L110     0.30 hrs


09/14/2012   KMC    Review pooling and servicing agreement.               L110     0.30 hrs


09/14/2012   KMC    Revise motion for leave to file memorandum in         L210     0.20 hrs
                    opposition to motion to refer to mediation.

09/14/2012   KMC    Draft order granting motion for leave to file         L110     0.20 hrs
                    memorandum in opposition to motion to refer to
                    mediation.
09/16/2012   KMC    Draft reply in support of motion for summary          L210     0.30 hrs
                    judgment.

09/17/2012   DAW    Review loan modification terms.                       L120     0.20 hrs


09/17/2012   DAW    Telephone conference with Mr. Patterson (Paglios'     L120     0.30 hrs
                    counsel) regarding loan modification offer.

09/17/2012   DAW    Review trial preparation materials to prepare for     L120     0.40 hrs
                    trial preparation telephone conference.

09/17/2012   DAW    Revise reply in support of motion for summary         L240     2.20 hrs
                    judgment.

09/17/2012   DAW    Draft e-mail regarding settlement proposal made to    L120     0.10 hrs
                    borrowers.

09/17/2012   DAW    Revise motion for leave.                              L250     0.20 hrs


09/17/2012   KMC    Research for reply in support of motion for           L210     0.10 hrs
                    summary judgment.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27         Exhibit E
  096 01171                 Monthly Invoices Pg 214 of 1163
                                                         Invoice # 51584            Page 5

09/17/2012   KMC    Draft reply in support of motion for summary             L210     4.60 hrs
                    judgment.

09/17/2012   KMC    Draft motion for leave to file reply in support of       L210     0.30 hrs
                    motion for summary judgment.

09/17/2012   KMC    Draft order granting motion for leave to file reply      L110     0.10 hrs
                    in support of motion for summary judgment.

09/17/2012   KMC    Conference with Mr. Wallace regarding loan               L110     0.20 hrs
                    modification offer.

09/17/2012   KMC    Telephone conference with Ms. McGinnis                   L110     0.10 hrs
                    (Residential Capital) regarding loan modification
                    offer.
09/17/2012   KMC    Draft order granting motion for summary                  L210     0.20 hrs
                    judgment.

09/18/2012   DAW    Telephone conference with Mr. Patterson (Paglios'        L120     0.10 hrs
                    counsel) regarding settlement issues.

09/18/2012   KMC    Draft entry granting leave to file reply in support of   L210     0.20 hrs
                    motion for summary judgment.

09/18/2012   KMC    Conference with Mr. Wallace regarding settlement         L110     0.10 hrs
                    offer.

09/18/2012   KMC    Revise reply in support of motion for summary            L210     1.20 hrs
                    judgment.

09/18/2012   KMC    Revise motion for leave to file motion for               L210     0.10 hrs
                    summary judgment.

09/19/2012   DAW    Review e-mails regarding trial preparation issues.       L120     0.10 hrs


09/19/2012   KMC    Telephone conference with Ms. McGinnis                   L110     0.20 hrs
                    regarding trial preparation.

09/20/2012   DAW    Telephone conference with Mr. Patterson (counsel         L120     0.40 hrs
                    for Paglios) regarding loan modification and
                    settlement.
09/20/2012   DAW    Conference with Ms. Cadieux regarding settlement         L120     0.20 hrs
                    and release agreement issues.

09/21/2012   DAW    Telephone conference with Court regarding status         L120     0.20 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27               Exhibit E
  096 01171                 Monthly Invoices Pg 215 of 1163
                                                         Invoice # 51584                  Page 6
                    of settlement.

09/21/2012   DAW    Revise correspondence confirming settlement                L120         0.50 hrs
                    terms.

09/21/2012   KMC    Conference with Ms. McGinnis (Residential                  L110         0.20 hrs
                    Capital) regarding settlement being accepted.

09/21/2012   KMC    E-mail Ms. McGinnis (Residential Capital)                  L110         0.10 hrs
                    confirming settlement.

09/24/2012   DAW    Telephone conference with Mr. Patterson (counsel           L120         0.10 hrs
                    for Paglios) regarding settlement and trial
                    continuance.
09/24/2012   DAW    Telephone conference with Court regarding                  L120         0.20 hrs
                    settlement and trial continuance.

09/24/2012   DAW    Revise correspondence confirming settlement.               L120         0.20 hrs


09/24/2012   KMC    Telephone conference with Ms. McGinnis                     L160         0.10 hrs
                    (Residential Capital) regarding settlement.

09/24/2012   KMC    Revise correspondence to borrowers' counsel                L110         0.20 hrs
                    regarding settlement.

09/25/2012   DAW    Draft e-mail to Ms. McGinnis (Residential Capital,         L120         0.10 hrs
                    LLC ) regarding settlement.

09/25/2012   KMC    Review e-mail regarding trial being cancelled due          L160         0.10 hrs
                    to settlement.

09/28/2012   DAW    Telephone conference with Mr. Patterson (counsel           L120         0.30 hrs
                    for Paglios) regarding question about the loan
                    modification terms.


                    TOTAL FEES FOR THIS MATTER                                              $4,836.00

EXPENSES

09/14/2012          Delivery Service/Messengers - Federal Express to Geauga                       $13.49
                    County Clerk of Courts from Mr. Wallace

09/18/2012          Out-of-Town Travel/Mileage (348 miles X .55 split X 2) - travel               $95.70
                    to Geauga County and Cleveland for filing and obtain deed (VW)
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
  096 01171                  Monthly Invoices Pg 216 of 1163
                                                          Invoice # 51584                Page 7

09/18/2012            Out-of-Town Travel/Parking - travel to Geauga County and                   $3.50
                      Cleveland for filing and obtain deed (VW)

                      TOTAL EXPENSES FOR THIS MATTER                                         $112.69


BILLING SUMMARY


         Wallace, David A.                         8.70 hrs   260.00 /hr         $2,262.00


         Cadieux, Karen M.                        14.30 hrs   180.00 /hr         $2,574.00



     TOTAL FEES                                   23.00 hrs                      $4,836.00

     TOTAL EXPENSES                                                               $112.69

     TOTAL CHARGES FOR THIS INVOICE                                              $4,948.69
        12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27          Exhibit E
                                  Monthly Invoices Pg 217 of 1163
                            CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                            November 02, 2012

                                                                    Billed through 09/30/2012
Tammy Hamzephour                                                    Invoice # 51585      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01172
190-FTW-L95
Fort Washington, PA 19034

Re: William J. Barrett, et al.
Matter No.: 724024

PROFESSIONAL SERVICES

09/07/2012     KMC         E-mail correspondence with counsel for Fannie            L110        0.20 hrs
                           Mae regarding status of case.



                           TOTAL FEES FOR THIS MATTER                                              $36.00


BILLING SUMMARY


           Cadieux, Karen M.                            0.20 hrs    180.00 /hr         $36.00



      TOTAL FEES                                        0.20 hrs                      $36.00

      TOTAL CHARGES FOR THIS INVOICE                                                  $36.00
       12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                              Monthly Invoices Pg 218 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                          November 02, 2012

                                                                   Billed through 09/30/2012
Tammy Hamzephour                                                   Invoice # 51586      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01173
190-FTW-L95
Fort Washington, PA 19034

Re: Price Hill Will
Matter No.: 724458

PROFESSIONAL SERVICES

09/04/2012   DAW       Review e-mails regarding defense call and answer            L120        0.10 hrs
                       strategy.

09/04/2012   DAW       Attend conference call among defense counsel                L120        0.40 hrs
                       regarding answer.

09/04/2012   JES       Prepare for and attend Deutsche Bank Counsel                L120        0.50 hrs
                       conference call.

09/05/2012   DAW       Revise answer to complaint by Group F                       L210        1.20 hrs
                       defendants.

09/05/2012   DAW       Conference with Mr. Sechler regarding answer.               L120        0.30 hrs


09/05/2012   JES       Revise answer.                                              L120        1.00 hrs


09/06/2012   DAW       Review proposed answer of co-defendants and                 L120        0.30 hrs
                       Deutsche Bank.

09/06/2012   DAW       Revise answer of Group F defendants.                        L210        0.50 hrs


09/06/2012   DAW       Review e-mail regarding corporate witness                   L120        0.10 hrs
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27          Exhibit E
  096 01173                  Monthly Invoices Pg 219 of 1163
                                                          Invoice # 51586              Page 2
                      availability for trial.

09/06/2012   JES      Revise answer to Price Hill Will's Second                L120        1.00 hrs
                      Amended Complaint.

09/07/2012   DAW      Draft e-mail to Ms. McGinnis (Residential Capital,       L120        0.10 hrs
                      LLC) regarding corporate witness availability.

09/10/2012   DAW      Review e-mails regarding position on answer from         L120        0.20 hrs
                      Deutsche Bank's counsel.

09/10/2012   DAW      Review final version of answer to second amended         L120        0.20 hrs
                      complaint.

09/10/2012   DAW      Review e-mail regarding position on answer from          L120        0.10 hrs
                      Group A defendants' counsel.

09/10/2012   DAW      Conference with Mr. Sechler regarding answer             L120        0.20 hrs
                      issues.

09/10/2012   JES      Revise answer to second amended complaint to             L120        1.00 hrs
                      conform to instructions from counsel for Trustee.

09/11/2012   JES      Review co-counsel e-mails regarding answers to           L120        0.50 hrs
                      second amended complaint.

09/13/2012   DAW      Review answer of Wells Fargo, Deutsche Bank,             L120        0.40 hrs
                      and Groups B, C, E defendants.

09/19/2012   DAW      Review answers of Group D and J defendants.              L120        0.20 hrs


09/19/2012   DAW      Review e-mail regarding discovery responses from         L120        0.10 hrs
                      counsel for Price Hill Will.

09/19/2012   DAW      Draft e-mail regarding answers of Group J and D          L120        0.10 hrs
                      defendants.



                      TOTAL FEES FOR THIS MATTER                                           $1,930.00


BILLING SUMMARY


         Wallace, David A.                           4.50 hrs     260.00 /hr   $1,170.00
    12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
096 01173                   Monthly Invoices Pg 220 of 1163
                                                         Invoice # 51586         Page 3


      Sechler, Joel E.                        4.00 hrs   190.00 /hr        $760.00



   TOTAL FEES                                 8.50 hrs                $1,930.00

   TOTAL CHARGES FOR THIS INVOICE                                     $1,930.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                                Monthly Invoices Pg 221 of 1163
                             CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                           November 02, 2012

                                                                      Billed through 09/30/2012
Tammy Hamzephour                                                      Invoice # 51587      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 096 01174
190-FTW-L95
Fort Washington, PA 19034

Re: Harold W. Rapp, et al.
Matter No.: 724334

PROFESSIONAL SERVICES

09/11/2012    JES        E-mail opposing counsel and client regarding                 L120        0.20 hrs
                         status of loan modification and/or settlement.

09/13/2012    JES        E-mail opposing counsel and client regarding loan            L120        0.20 hrs
                         modification status.

09/17/2012    DAW        Review update on loan modification status.                   L120        0.10 hrs


09/27/2012    JES        Review and respond to opposing counsel regarding             L230        0.10 hrs
                         status of permanent loan modification.



                         TOTAL FEES FOR THIS MATTER                                                $121.00


BILLING SUMMARY


          Wallace, David A.                             0.10 hrs    260.00 /hr           $26.00


          Sechler, Joel E.                              0.50 hrs    190.00 /hr           $95.00



      TOTAL FEES                                        0.60 hrs                       $121.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
096 01174                 Monthly Invoices Pg 222 of 1163
                                                       Invoice # 51587         Page 2

   TOTAL CHARGES FOR THIS INVOICE                                        $121.00
       12-12020-mg        Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                                  Monthly Invoices Pg 223 of 1163
                           CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                            November 02, 2012

                                                                      Billed through 09/30/2012
Tammy Hamzephour                                                      Invoice # 51588      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 096 01175
190-FTW-L95
Fort Washington, PA 19034

Re: Melissa Fox, et al.
Matter No.: 723432

PROFESSIONAL SERVICES

09/13/2012    JES         Review e-mail from Ms. McGinnis (Residential                L120        0.20 hrs
                          Capital) regarding failure of borrowers to qualify
                          for loan modification.
09/21/2012    JES         Telephone conference with Ms. McGinnis                      L120        0.20 hrs
                          (Residential Capital) regarding upcoming
                          deadlines and settlement status.
09/24/2012    JES         E-mail opposing counsel regarding settlement                L120        0.20 hrs
                          options.

09/24/2012    JES         Review and respond to e-mails from Ms. McGinnis             L120        0.10 hrs
                          (Residential Capital) regarding new loan
                          modification options.
09/25/2012    JES         E-mail Ms. McGinnis (Residential Capital)                   L120        0.20 hrs
                          regarding notice of default sent to borrower.

09/27/2012    JES         Review underlying pleadings in preparation for              L120        2.00 hrs
                          upcoming oral argument.

09/27/2012    JES         Review recent sixth district decision in Mitchell           L120        0.50 hrs
                          case in preparation for potential questions from
                          panel at upcoming oral argument.
09/27/2012    JES         Draft letter requesting copy of motion for summary          L240        0.20 hrs
                          judgment and affidavit utilized by lender in the
                          Mitchell case.
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
  096 01175                    Monthly Invoices Pg 224 of 1163
                                                            Invoice # 51588               Page 2


                        TOTAL FEES FOR THIS MATTER                                            $684.00

EXPENSES

09/27/2012              Outside Copying - copy of motion filed in March 2009, Sandusky             $4.80
                        County Clerk of Courts

09/27/2012              Delivery Service/Messengers - Federal Express to Sandusky                 $11.08
                        Clerk of Court from Mr. Sechler

                        TOTAL EXPENSES FOR THIS MATTER                                            $15.88


BILLING SUMMARY


         Sechler, Joel E.                            3.60 hrs   190.00 /hr          $684.00



     TOTAL FEES                                      3.60 hrs                       $684.00

     TOTAL EXPENSES                                                                  $15.88

     TOTAL CHARGES FOR THIS INVOICE                                                 $699.88
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                                Monthly Invoices Pg 225 of 1163
                             CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                           November 02, 2012

                                                                     Billed through 09/30/2012
Tammy Hamzephour                                                     Invoice # 51589      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01181
190-FTW-L95
Fort Washington, PA 19034

Re: Louise R. Young-Berdella, et al.
Matter No.: 725757

PROFESSIONAL SERVICES

09/11/2012    JES        E-mail opposing counsel and client regarding                L120        0.20 hrs
                         status of loan modification and/or settlement.

09/13/2012    JES        E-mail opposing counsel regarding trial loan                L120        0.20 hrs
                         modification.

09/19/2012    JES        Telephone conference with opposing counsel                  L120        0.10 hrs
                         confirming settlement.

09/20/2012    DAW        Review report of mediator confirming settlement.            L120        0.10 hrs




                         TOTAL FEES FOR THIS MATTER                                               $121.00


BILLING SUMMARY


          Wallace, David A.                             0.10 hrs    260.00 /hr          $26.00


          Sechler, Joel E.                              0.50 hrs    190.00 /hr          $95.00



      TOTAL FEES                                        0.60 hrs                      $121.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
096 01181                 Monthly Invoices Pg 226 of 1163
                                                       Invoice # 51589         Page 2

   TOTAL CHARGES FOR THIS INVOICE                                        $121.00
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
                              Monthly Invoices Pg 227 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                      280 Plaza, Suite 1300
                                      280 North High Street
                                      Columbus, OH 43215
                                         (614) 365-4100
                                     Federal ID # XX-XXXXXXX



                                        November 02, 2012

                                                                 Billed through 09/30/2012
Tammy Hamzephour                                                 Invoice # 51590      JAL
Residential Capital, LLC
1100 Virginia Drive                                              Our file # 096 01182
190-FTW-L95
Fort Washington, PA 19034

Re: Tyrone McIntyre
Matter No.: 725803

PROFESSIONAL SERVICES

09/04/2012   DAW       Draft e-mail to prosecutor regarding payment              L120        0.10 hrs
                       issues.

09/05/2012   DAW       Review e-mail from prosecutor regarding payment.          L120        0.10 hrs


09/05/2012   DAW       Draft correspondence forwarding payment to                L120        0.20 hrs
                       prosecutor.

09/24/2012   DAW       Telephone conference with prosecutor regarding            L120        0.10 hrs
                       confirmation of receipt of check.



                       TOTAL FEES FOR THIS MATTER                                             $130.00


BILLING SUMMARY


         Wallace, David A.                           0.50 hrs   260.00 /hr         $130.00



     TOTAL FEES                                      0.50 hrs                     $130.00

     TOTAL CHARGES FOR THIS INVOICE                                               $130.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27    Exhibit E
096 01182                 Monthly Invoices Pg 228 of 1163
                                                       Invoice # 51590       Page 2
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                              Monthly Invoices Pg 229 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                          November 02, 2012

                                                                  Billed through 09/30/2012
Tammy Hamzephour                                                  Invoice # 51591      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 096 01183
190-FTW-L95
Fort Washington, PA 19034

Re: Jamah Jackson
Matter No.: 726125

PROFESSIONAL SERVICES

09/10/2012   DAW       Draft e-mail to Ms. Frohlich (Morgan Lewis)                L120        0.20 hrs
                       regarding motion to amend and change of plea.

09/11/2012   DAW       Revise e-mail to Ms. Frohlich and Mr. Radke                L120        0.50 hrs
                       (Morgan Lewis & Bockius LLP) regarding motion
                       to amend and change of plea.
09/11/2012   DAW       Telephone conference with Mr. Radke (Morgan                L120        0.40 hrs
                       Lewis & Bockius LLP) regarding follow-up plea
                       issues and motion to amend.
09/11/2012   DAW       Draft revised motion to amend.                             L250        0.30 hrs


09/11/2012   DAW       Draft notice of filing of Exhibit A.                       L210        0.50 hrs


09/13/2012   DAW       Draft e-mails to Mr. Radke (Morgan Lewis &                 L120        0.60 hrs
                       Bockius LLP) regarding waiver issues.

09/13/2012   DAW       Review docket regarding motion in Case No. 2012            L120        0.10 hrs
                       CRB 2122.

09/13/2012   DAW       Draft e-mail to Prosecutor Armstrong regarding             L120        0.60 hrs
                       waivers.

09/13/2012   DAW       Review e-mails from Prosecutor Armstrong                   L120        0.30 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
  096 01183                 Monthly Invoices Pg 230 of 1163
                                                         Invoice # 51591        Page 2
                    regarding waiver process.

09/17/2012   DAW    Review docket and confirm filing of motion to        L120     0.10 hrs
                    amend in Case No. 2012CRB2122.

09/17/2012   DAW    Telephone conference with Ms. Frohlich and Mr.       L120     0.40 hrs
                    Radke (Morgan, Lewis & Bockius LLP) regarding
                    change of plea issues and strategy.
09/17/2012   DAW    Telephone conference with Prosecutor Armstrong       L120     0.20 hrs
                    regarding hearing issues and waiver.

09/18/2012   DAW    Review deed in connection with obtaining certified   L120     0.10 hrs
                    copy.

09/18/2012   DAW    Review Criminal Rules in preparation for hearing.    L120     0.30 hrs


09/18/2012   DAW    Review before and after photographs of the           L120     0.20 hrs
                    property.

09/18/2012   DAW    Review certified copy of deed.                       L120     0.10 hrs


09/18/2012   DAW    Prepare for hearing and trial, including review of   L120     2.20 hrs
                    code ordinances and preparation of potential
                    cross-examination.
09/18/2012   DAW    Additional hearing preparation.                      L230     1.20 hrs


09/19/2012   DAW    Prepare for hearing.                                 L120     0.40 hrs


09/19/2012   DAW    Meet with Prosecutor Armstrong before hearing.       L120     0.20 hrs


09/19/2012   DAW    Attend hearing.                                      L230     0.20 hrs


09/19/2012   DAW    Draft e-mail reports on hearing to Ms. McGinnis      L120     0.90 hrs
                    (Residential Capital, LLC) and Ms. Frohlich
                    (Morgan Lewis & Bockius LLP.
09/20/2012   DAW    Review e-mail from Ms. Frohlich (Morgan, Lewis       L120     0.10 hrs
                    & Bockius LLP) regarding hearing issues.

09/24/2012   DAW    Review e-mail from Ms. McGinnis (Residential         L120     0.10 hrs
                    Capital, LLC) regarding waiver payments and
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27                 Exhibit E
  096 01183                  Monthly Invoices Pg 231 of 1163
                                                          Invoice # 51591                    Page 3
                      dismissals.
09/24/2012   DAW      Draft e-mail to Ms. McGinnis (Residential Capital,          L120         0.20 hrs
                      LLC) regarding waiver payments and dismissals.



                      TOTAL FEES FOR THIS MATTER                                               $2,704.00

EXPENSES

09/12/2012            Out-of-Town Travel/Mileage (290 miles X .55 split X 4) - travel                $39.87
                      to Cleveland, OH for filing (VW)

09/12/2012            Out-of-Town Travel/Food/Beverage (split X 4) - travel to                        $1.25
                      Cleveland, OH for filing (VW)

09/12/2012            Out-of-Town Travel/Parking (split X 4) - travel to Cleveland, OH                $0.94
                      for filing (VW)

09/18/2012            Out-of-Town Travel/Mileage (348 miles X .55 split X 2) - travel                $95.70
                      to Geauga County and Cleveland for filing and obtain deed (VW)

09/18/2012            Out-of-Town Travel/Food/Beverage - travel to Geauga County                      $2.50
                      and Cleveland for filing and obtain deed (VW)

09/18/2012            Out-of-Town Travel/Parking - travel to Geauga County and                        $3.50
                      Cleveland for filing and obtain deed (VW)

                      TOTAL EXPENSES FOR THIS MATTER                                            $143.76


BILLING SUMMARY


         Wallace, David A.                         10.40 hrs    260.00 /hr        $2,704.00



     TOTAL FEES                                    10.40 hrs                     $2,704.00

     TOTAL EXPENSES                                                                $143.76

     TOTAL CHARGES FOR THIS INVOICE                                              $2,847.76
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                              Monthly Invoices Pg 232 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                          November 02, 2012

                                                                    Billed through 09/30/2012
Tammy Hamzephour                                                    Invoice # 51592      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01184
190-FTW-L95
Fort Washington, PA 19034

Re: Ngozi Nkemere
Matter No.: 726176

PROFESSIONAL SERVICES

09/04/2012   DAW       Review e-mail from Ms. McGinnis (Residential                 L120        0.10 hrs
                       Capital, LLC) regarding lack of corporate witness
                       for pretrial hearing.
09/10/2012   DAW       Draft e-mail to Prosecutor Armstrong regarding               L120        0.30 hrs
                       affidavit of facts.

09/11/2012   DAW       Review e-mail from Prosecutor Armstrong                      L120        0.10 hrs
                       regarding position on dismissal, and proposed
                       affidavit.
09/17/2012   DAW       Draft e-mail to Prosecutor Armstrong regarding               L120        0.20 hrs
                       affidavit.

09/17/2012   DAW       Draft e-mail to Ms. McGinnis (Residential Capital,           L120        0.40 hrs
                       LLC) regarding affidavit and supporting materials.

09/17/2012   KMC       E-mail correspondence with Ms. McGinnis                      L110        0.20 hrs
                       (Residential Capital) regarding affidavit of facts
                       related to title.
09/18/2012   DAW       Review signed affidavit of facts.                            L120        0.10 hrs


09/18/2012   DAW       Draft e-mail to Prosecutor Armstrong regarding               L120        0.40 hrs
                       affidavit of facts.

09/18/2012   DAW       Review e-mail from Prosecutor Armstrong                      L120        0.10 hrs
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27                 Exhibit E
  096 01184                  Monthly Invoices Pg 233 of 1163
                                                          Invoice # 51592                    Page 2
                      regarding affidavit of facts.

09/18/2012   DAW      Additional hearing preparation.                               L230        1.20 hrs


09/19/2012   DAW      Prepare for hearing.                                          L120        0.20 hrs


09/19/2012   DAW      Meet with Prosecutor Armstrong before hearing.                L120        0.20 hrs


09/19/2012   DAW      Attend hearing.                                               L230        0.70 hrs


09/19/2012   DAW      Draft e-mail report on hearing to Ms. McGinnis                L120        0.90 hrs
                      (Residential Capital, LLC) and Ms. Frohlich
                      (Morgan Lewis & Bockius LLP.
09/27/2012   DAW      Review e-mail from Mr. Batson (GMAC Mortgage                  L120        0.10 hrs
                      LLC) regarding trial and case status.

09/27/2012   DAW      Draft e-mail to Ms. McGinnis (Residential Capital,            L120        0.10 hrs
                      LLC) regarding affidavit of facts.

09/28/2012   DAW      Draft e-mail to Mr. Armstrong regarding affidavit             L120        0.20 hrs
                      of facts relating to title.



                      TOTAL FEES FOR THIS MATTER                                                $1,414.00

EXPENSES

09/27/2012            Court Fees - fee for Cuyahoga Fiscal Officer to record affidavit               $44.00
                      of facts regarding title

09/28/2012            Out-of-Town Travel/Mileage (290 miles X .55) - travel to                   $159.50
                      Cleveland, OH for recording (VW)

09/28/2012            Out-of-Town Travel/Parking - travel to Cleveland, OH for                        $2.50
                      recording (VW)

                      TOTAL EXPENSES FOR THIS MATTER                                             $206.00


BILLING SUMMARY


         Wallace, David A.                            5.30 hrs   260.00 /hr         $1,378.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
096 01184                 Monthly Invoices Pg 234 of 1163
                                                       Invoice # 51592         Page 3


      Cadieux, Karen M.                     0.20 hrs   180.00 /hr         $36.00



   TOTAL FEES                               5.50 hrs                $1,414.00

   TOTAL EXPENSES                                                        $206.00

   TOTAL CHARGES FOR THIS INVOICE                                   $1,620.00
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                              Monthly Invoices Pg 235 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                         November 02, 2012

                                                                   Billed through 09/30/2012
Tammy Hamzephour                                                   Invoice # 51593      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01185
190-FTW-L95
Fort Washington, PA 19034

Re: Lisa M. Ramey
Matter No.: 726140

PROFESSIONAL SERVICES

09/10/2012   JES       Review and respond to e-mails from opposing                 L120        0.20 hrs
                       counsel regarding status of loan modification
                       applications.
09/11/2012   DAW       Review e-mail regarding case status update and              L120        0.10 hrs
                       loss mitigation status.

09/11/2012   JES       E-mail opposing counsel and client regarding                L120        0.20 hrs
                       status of loan modification and/or settlement.

09/12/2012   JES       Review loan and servicing files from client in              L300        1.00 hrs
                       preparation in preparing case assessment,
                       discovery responses, and possible motion for
                       summary judgment.
09/13/2012   DAW       Review e-mail regarding loss mitigation issues.             L120        0.10 hrs


09/13/2012   JES       E-mail opposing counsel and client regarding loan           L120        0.20 hrs
                       modification status.

09/17/2012   JES       Review pleadings and discovery from prior                   L210        2.00 hrs
                       foreclosure case.

09/17/2012   JES       Draft initial case assessment.                              L120        2.00 hrs
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
  096 01185                    Monthly Invoices Pg 236 of 1163
                                                            Invoice # 51593                 Page 2
09/19/2012   JES        E-mail Ms. McGinnis (Residential Capital)                L120         0.10 hrs
                        regarding additional loss mitigation documents
                        provided by Ms. Ramey.
09/20/2012   JES        Draft responses to borrower's written discovery          L210         2.00 hrs
                        requests.

09/21/2012   DAW        Revise responses to interrogatories and request for      L310         1.10 hrs
                        production of documents.

09/21/2012   JES        Telephone conference with Ms. McGinnis                   L120         0.20 hrs
                        (Residential Capital) regarding upcoming
                        deadlines and settlement status.
09/21/2012   JES        Revise written discovery responses.                      L210         1.00 hrs


09/24/2012   JES        E-mail client regarding information necessary to         L120         0.50 hrs
                        verify discovery responses.

09/25/2012   JES        E-mail Ms. McGinnis (Residential Capital)                L120         0.20 hrs
                        regarding notice of default sent to borrower.

09/27/2012   JES        Review e-mail from Mr. Knapp (GMAC)                      L120         0.20 hrs
                        regarding verified discovery responses.



                        TOTAL FEES FOR THIS MATTER                                            $2,200.00

EXPENSES

09/26/2012              Delivery Service/Messengers - Federal Express to Ms. McGinnis               $31.58
                        from Mr. Sechler

                        TOTAL EXPENSES FOR THIS MATTER                                              $31.58


BILLING SUMMARY


         Wallace, David A.                             1.30 hrs    260.00 /hr      $338.00


         Sechler, Joel E.                              9.80 hrs    190.00 /hr     $1,862.00



     TOTAL FEES                                       11.10 hrs                  $2,200.00

     TOTAL EXPENSES                                                                 $31.58
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27    Exhibit E
096 01185                 Monthly Invoices Pg 237 of 1163
                                                       Invoice # 51593       Page 3


   TOTAL CHARGES FOR THIS INVOICE                                   $2,231.58
      12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27               Exhibit E
                                Monthly Invoices Pg 238 of 1163
                         CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                          November 02, 2012

                                                                   Billed through 09/30/2012
Tammy Hamzephour                                                   Invoice # 51594      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01186
190-FTW-L95
Fort Washington, PA 19034

Re: George W. Roberts
Matter No.: 726189

PROFESSIONAL SERVICES

09/11/2012   DAW        Review docket in connection with waiver payment.            L120        0.30 hrs


09/13/2012   DAW        Review payment receipt for fine.                            L120        0.10 hrs


09/13/2012   DAW        Draft e-mail to Ms. McGinnis (Residential Capital,          L120        0.20 hrs
                        LLC) regarding receipt for payment of fine.

09/13/2012   DAW        Review request for payment, and draft e-mail                L120        0.20 hrs
                        regarding same.

09/17/2012   DAW        Telephone conference with Prosecutor Armstrong              L120        0.20 hrs
                        regarding affidavit issues.

09/17/2012   DAW        Telephone conference with Ms. McGinnis                      L120        0.20 hrs
                        (Residential Capital, LLC) regarding affidavit
                        issues.


                        TOTAL FEES FOR THIS MATTER                                               $312.00

EXPENSES

09/12/2012              Out-of-Town Travel/Mileage (290 miles X .55 split X 4) - travel               $39.87
                        to Cleveland, OH for filing (VW)
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27                 Exhibit E
  096 01186                  Monthly Invoices Pg 239 of 1163
                                                          Invoice # 51594                    Page 2

09/12/2012            Out-of-Town Travel/Parking (split X 4) - travel to Cleveland, OH                $0.94
                      for filing (VW)

                      TOTAL EXPENSES FOR THIS MATTER                                                 $40.81


BILLING SUMMARY


         Wallace, David A.                          1.20 hrs    260.00 /hr          $312.00



     TOTAL FEES                                     1.20 hrs                       $312.00

     TOTAL EXPENSES                                                                 $40.81

     TOTAL CHARGES FOR THIS INVOICE                                                $352.81
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                                Monthly Invoices Pg 240 of 1163
                           CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                           November 02, 2012

                                                                     Billed through 09/30/2012
Tammy Hamzephour                                                     Invoice # 51595      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01187
190-FTW-L95
Fort Washington, PA 19034

Re: Martha A. Richner, et al.
Matter No.: 726603

PROFESSIONAL SERVICES

09/04/2012    KMC        Review e-mail correspondence regarding summary              L110        0.10 hrs
                         of case for Mr. Newton (Morrison & Forester).

09/04/2012    KMC        Telephone conference with Ms. McGinnis                      L110        0.10 hrs
                         (Residential Capital) regarding discussing case
                         with Mr. Newton (Morrison & Forester).
09/07/2012    DAW        Review motion for relief from stay by Union                 L120        0.20 hrs
                         Savings Bank.

09/07/2012    KMC        Review motion for relief from stay filed by Union           L210        0.20 hrs
                         Savings Bank.

09/12/2012    KMC        E-mail correspondence with Ms. McGinnis                     L110        0.10 hrs
                         (Residential Capital) regarding scheduling
                         conference call to discuss motion for relief from
                         stay.
09/13/2012    DAW        Review e-mails regarding Richner motion for relief          L120        0.10 hrs
                         from stay.

09/14/2012    DAW        Prepare for and attend telephone conference                 L120        0.60 hrs
                         regarding motion for relief from stay.

09/14/2012    KMC        Attend telephone conference with Ms. McGinnis               L110        0.60 hrs
                         (Residential Capital), Ms. Scoliard (Residential
                         Capital) and Mr. Newton (Morrison & Foerster).
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27        Exhibit E
  096 01187                 Monthly Invoices Pg 241 of 1163
                                                         Invoice # 51595           Page 2
09/14/2012   KMC    Review broker price opinion.                            L110     0.20 hrs


09/14/2012   KMC    Telephone conference with Ms. McGinnis                  L110     0.20 hrs
                    (Residential Capital) regarding broker price
                    opinion.
09/14/2012   KMC    Prepare for telephone conference with Ms.               L110     0.30 hrs
                    McGinnis (Residential Capital) Ms. Scoliard
                    (Residential Capital) and Mr. Newton (Morrison &
                    Foerster).
09/14/2012   KMC    E-mail borrowers' counsel regarding status of           L110     0.10 hrs
                    settlement payment.

09/17/2012   DAW    Telephone conference with Ms. McGinnis                  L120     0.20 hrs
                    (Residential Capital, LLC) regarding conflict
                    waiver issue for counsel in bankruptcy.
09/17/2012   DAW    Review e-mails regarding proposed judgment              L120     0.10 hrs
                    language.

09/17/2012   KMC    E-mail correspondence with Mr. Newton                   L120     0.20 hrs
                    (Morrison & Foerster) regarding amended
                    language for judgment decree in foreclosure in
                    state court action in exchange for agreeing to relief
                    from stay.
09/17/2012   KMC    E-mail correspondence with Ms. McGinnis                 L110     0.10 hrs
                    (Residential Capital) regarding identity of
                    opposing counsel.
09/18/2012   KMC    Review e-mail from Mr. Newton (Morrison &               L210     0.10 hrs
                    Foerster) regarding stipulation on relief from
                    bankruptcy stay.
09/18/2012   KMC    Revise stipulation to include submitting an agreed      L210     0.20 hrs
                    entry amending judgment decree in foreclosure.

09/18/2012   KMC    Telephone conference with Ms. McGinnis                  L110     0.10 hrs
                    (Residential Capital) regarding title counsel.

09/18/2012   KMC    Forward title counsel's contact information to Ms.      L110     0.10 hrs
                    McGinnis (Residential Capital).

09/19/2012   DAW    Review e-mail regarding journal entry and motion        L120     0.30 hrs
                    for relief from stay.

09/19/2012   DAW    Review proposed Bankruptcy Court order                  L120     0.10 hrs
                    resolving relief from stay motion by Union
                    Savings.
09/19/2012   DAW    Draft e-mail to Ms. Cadieux regarding proposed          L120     0.20 hrs
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
  096 01187                  Monthly Invoices Pg 242 of 1163
                                                          Invoice # 51595              Page 3
                      order.

09/19/2012   KMC      E-mail correspondence with Mr. Wallace regarding         L110        0.20 hrs
                      stipulation for relief from bankruptcy stay.

09/19/2012   KMC      E-mail Mr. Newton (Morrison & Foerster) with             L110        0.10 hrs
                      proposed revised stipulation.

09/19/2012   KMC      Revise agreed amended judgment decree in                 L210        0.30 hrs
                      foreclosure.

09/19/2012   KMC      Telephone conference with Mr. Wallace regarding          L110        0.40 hrs
                      negotiations on first lienholder's motion for relief
                      from judgment.
09/19/2012   KMC      E-mail correspondence with Mr. Newton                    L110        0.50 hrs
                      (Morrison & Foerster) regarding negotiations on
                      first lienholder's motion for relief from judgment.
09/28/2012   DAW      Review lifting of stay order.                            L120        0.10 hrs




                      TOTAL FEES FOR THIS MATTER                                           $1,250.00


BILLING SUMMARY


         Wallace, David A.                            1.90 hrs    260.00 /hr     $494.00


         Cadieux, Karen M.                            4.20 hrs    180.00 /hr     $756.00



     TOTAL FEES                                       6.10 hrs                 $1,250.00

     TOTAL CHARGES FOR THIS INVOICE                                            $1,250.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
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                           CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                           November 02, 2012

                                                                      Billed through 09/30/2012
Tammy Hamzephour                                                      Invoice # 51596      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 096 01189
190-FTW-L95
Fort Washington, PA 19034

Re: Bernard Turzynski, et al.
Matter No.: 726793

PROFESSIONAL SERVICES

09/04/2012    KMC        Telephone conference with Ms. McGinnis                       L110        0.10 hrs
                         (Residential Capital) regarding settlement issues.

09/04/2012    KMC        E-mail borrowers' counsel regarding second                   L110        0.10 hrs
                         settlement check.

09/05/2012    KMC        E-mail borrowers' counsel regarding settlement               L160        0.10 hrs
                         agreement and check not being received.

09/05/2012    KMC        Leave message for borrowers' counsel regarding               L160        0.10 hrs
                         settlement agreement and check not being
                         received.
09/07/2012    KMC        Review e-mail regarding status of settlement                 L110        0.10 hrs
                         payments.

09/11/2012    KMC        E-mail borrowers' counsel regarding status of                L160        0.10 hrs
                         settlement.

09/11/2012    KMC        Telephone conference with Ms. McGinnis                       L160        0.20 hrs
                         (Residential Capital) regarding status of settlement.

09/17/2012    DAW        Conference with Ms. Cadieux regarding status of              L120        0.20 hrs
                         settlement.

09/17/2012    KMC        Review e-mail from borrowers' counsel regarding              L160        0.10 hrs
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  096 01189                 Monthly Invoices Pg 244 of 1163
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                    status of settlement.

09/17/2012   KMC    Conference with Ms. McGinnis (Residential              L160     0.10 hrs
                    Capital) regarding status of settlement.

09/17/2012   KMC    Review complaint filed by borrowers with the           L110     0.10 hrs
                    Consumer Financial Protection Bureau.

09/17/2012   KMC    Conference with Ms. McGinnis (Residential              L110     0.10 hrs
                    Capital) regarding complaint filed by borrowers
                    with the Consumer Financial Protection Bureau.
09/17/2012   KMC    Review e-mail correspondence regarding                 L110     0.30 hrs
                    complaint filed by borrowers with the Consumer
                    Financial Protection Bureau.
09/17/2012   KMC    Draft correspondence to borrowers' counsel             L110     0.60 hrs
                    regarding settlement to complaint filed by
                    borrowers with the Consumer Financial Protection
                    Bureau.
09/18/2012   DAW    Revise letter of counsel regarding settlement and      L120     0.90 hrs
                    CFPB complaint.

09/18/2012   KMC    Review e-mail regarding when borrowers made            L110     0.10 hrs
                    complaint.

09/18/2012   KMC    Conference with Mr. Wallace regarding settlement       L110     0.10 hrs
                    and complaint.

09/18/2012   KMC    Revise letter regarding settlement and complaint       L110     2.20 hrs
                    per Mr. Wallace.

09/18/2012   KMC    E-mail correspondence with Ms. McGinnis                L110     0.10 hrs
                    (Residential Capital) regarding response to
                    complaint.
09/18/2012   KMC    Telephone conference with Ms. McGinnis                 L110     0.10 hrs
                    (Residential Capital) regarding response to
                    complaint.
09/19/2012   DAW    Review e-mails regarding settlement status.            L120     0.10 hrs


09/19/2012   KMC    Telephone conference with Ms. McGinnis                 L110     0.50 hrs
                    (Residential Capital) and Ms. Hancock
                    (Residential Capital) regarding status of settlement
                    and claim filed by borrowers.
09/19/2012   KMC    Review e-mail from borrowers' counsel regarding        L160     0.10 hrs
                    status of settlement.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
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09/20/2012   DAW    Conference with Ms. Cadieux regarding response       L120     0.40 hrs
                    of Turzynski, and correspondence regarding
                    settlement issues.
09/20/2012   KMC    E-mail Ms. McGinnis (Residential Capital)            L120     0.40 hrs
                    regarding borrowers' efforts related to settlement
                    and recommendations for how to proceed.
09/20/2012   KMC    Telephone conference with plaintiff's counsel        L110     0.40 hrs
                    regarding status of settlement.

09/20/2012   KMC    Review e-mail regarding status of obtaining          L110     0.40 hrs
                    additional settlement funds and withdrawal of
                    complaint.
09/21/2012   DAW    Conference with Ms. Cadieux regarding                L120     0.30 hrs
                    forbearance agreement issues.

09/21/2012   KMC    Telephone conference with Ms. McGinnis               L110     0.20 hrs
                    (Residential Capital) regarding how to proceed
                    with settlement.
09/21/2012   KMC    Draft correspondence confirming settlement.          L160     0.90 hrs


09/21/2012   KMC    Draft correspondence to borrowers' counsel           L160     0.40 hrs
                    regarding terms of settlement extension.

09/21/2012   KMC    Review e-mail regarding response to CFPB             L120     0.20 hrs
                    complaint.

09/21/2012   KMC    Review spreadsheet regarding escrow advances.        L110     0.20 hrs


09/25/2012   KMC    E-mail correspondence with borrowers' counsel        L160     0.30 hrs
                    regarding status of settlement and proposal to
                    extend settlement.
09/25/2012   KMC    Telephone conference with court regarding issues     L160     0.20 hrs
                    with settlement and timeframe to submit dismissal
                    entry.
09/28/2012   KMC    E-mail Ms. McGinnis (Residential Capital)            L110     0.10 hrs
                    regarding status of settlement.

09/28/2012   KMC    Telephone conference with Ms. McGinnis               L110     0.10 hrs
                    (Residential Capital) regarding status of matter.



                    TOTAL FEES FOR THIS MATTER                                    $2,132.00
     12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
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BILLING SUMMARY


       Wallace, David A.                     1.90 hrs   260.00 /hr        $494.00


       Cadieux, Karen M.                     9.10 hrs   180.00 /hr    $1,638.00



    TOTAL FEES                              11.00 hrs                $2,132.00

    TOTAL CHARGES FOR THIS INVOICE                                   $2,132.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                                Monthly Invoices Pg 247 of 1163
                         CARPENTER LIPPS & LELAND LLP

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                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                          November 02, 2012

                                                                    Billed through 09/30/2012
Tammy Hamzephour                                                    Invoice # 51597      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01192
190-FTW-L95
Fort Washington, PA 19034

Re: Judith G. Bigelow
Matter No.: 728487

PROFESSIONAL SERVICES

09/05/2012   KMC        E-mail correspondence with borrowers' counsel               L120        0.20 hrs
                        regarding discovery and loss mitigation.

09/06/2012   KMC        Review e-mail regarding additional third-party              L110        0.10 hrs
                        authorization.

09/06/2012   KMC        Telephone conference with Ms. McGinnis                      L120        0.20 hrs
                        (Residential Capital) regarding status of loss
                        mitigation and additional third-party authorization.
09/18/2012   KMC        Review e-mail regarding denial of loan                      L110        0.10 hrs
                        modification under HAMP.

09/21/2012   KMC        Review e-mail regarding third party authorization.          L110        0.10 hrs


09/25/2012   KMC        Review loan modification proposal.                          L110        0.20 hrs


09/25/2012   KMC        Calculate debt to income ratio and housing to               L110        0.40 hrs
                        income ratios for loan modification proposal.

09/25/2012   KMC        Telephone conference with Ms. McGinnis                      L110        0.30 hrs
                        (Residential Capital) regarding affordability of
                        loan modification proposal and whether there were
                        any other options of programs to lower payment.
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27          Exhibit E
  096 01192                  Monthly Invoices Pg 248 of 1163
                                                          Invoice # 51597             Page 2
09/26/2012   KMC      Review e-mail correspondence regarding loan              L110       0.40 hrs
                      modification.

09/26/2012   KMC      Review Fannie Mae loan modification guidelines.          L110       0.20 hrs


09/26/2012   KMC      Determine loan to value ratio.                           L110       0.40 hrs


09/26/2012   KMC      Telephone conference with Ms. McGinnis                   L110       0.20 hrs
                      (Residential Capital) regarding loan modification
                      offer and obtaining Fannie Mae approval.
09/27/2012   KMC      Telephone conference with magistrate regarding           L110       0.20 hrs
                      status of case.

09/27/2012   KMC      E-mail borrower's counsel regarding status of loan       L110       0.20 hrs
                      modification review and discovery.

09/28/2012   KMC      Review e-mail from borrowers' counsel regarding          L110       0.10 hrs
                      discovery and loss mitigation review.



                      TOTAL FEES FOR THIS MATTER                                           $594.00


BILLING SUMMARY


         Cadieux, Karen M.                             3.30 hrs   180.00 /hr    $594.00



     TOTAL FEES                                        3.30 hrs                 $594.00

     TOTAL CHARGES FOR THIS INVOICE                                             $594.00
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                               Monthly Invoices Pg 249 of 1163
                        CARPENTER LIPPS & LELAND LLP

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                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                         November 02, 2012

                                                                     Billed through 09/30/2012
Tammy Hamzephour                                                     Invoice # 51598      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01198
190-FTW-L95
Fort Washington, PA 19034

Re: Nancy M. Pannell
Matter No.: 729288

PROFESSIONAL SERVICES

09/04/2012   DAW       Review Court's dismissal entry.                               L120        0.10 hrs


09/04/2012   KMC       Review order regarding case being settled.                    L210        0.10 hrs


09/11/2012   KMC       Review signed settlement agreement.                           L160        0.10 hrs


09/11/2012   KMC       E-mail correspondence with Ms. McGinnis                       L160        0.20 hrs
                       (Residential Capital) regarding issues with
                       settlement agreement.
09/13/2012   KMC       E-mail correspondence with borrowers' counsel                 L160        0.20 hrs
                       regarding settlement agreement not being fully
                       executed.
09/13/2012   KMC       Forward settlement agreement to borrowers'                    L110        0.20 hrs
                       counsel to complete.

09/21/2012   KMC       Review e-mail regarding Mr. Pannell's calling                 L110        0.20 hrs
                       about his credit report.

09/21/2012   KMC       E-mail correspondence with borrower's counsel                 L110        0.20 hrs
                       regarding Mr. Pannell's call to GMACM and status
                       of settlement.
09/25/2012   KMC       Forward signed settlement agreement to Ms.                    L110        0.10 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
  096 01198                 Monthly Invoices Pg 250 of 1163
                                                         Invoice # 51598                Page 2
                    McGinnis (Residential Capital) to have it executed
                    by GMACM.
09/25/2012   KMC    Telephone conference with Ms. McGinnis                       L110     0.20 hrs
                    (Residential Capital) regarding 1099 issue.

09/25/2012   KMC    Draft litigation settlement proposal per Ms.                 L160     0.70 hrs
                    McGinnis' (Residential Capital) request.

09/26/2012   KMC    Telephone conference with Ms. McGinnis                       L110     0.10 hrs
                    (Residential Capital) regarding discussing 1099
                    issue.
09/26/2012   KMC    Telephone conference with Ms. McGinnis                       L110     0.30 hrs
                    (Residential Capital) and Mr. Yarnell (Residential
                    Capital) regarding settlement and how to effectuate
                    terms, including 1099 issue.
09/26/2012   KMC    Draft correspondence regarding settlement and                L110     0.30 hrs
                    how to effectuate terms, including 1099 issue.

09/27/2012   KMC    Telephone conference with Ms. McGinnis                       L110     0.20 hrs
                    (Residential Capital) regarding settlement
                    agreement.
09/27/2012   KMC    Review fully executed settlement agreement.                  L160     0.20 hrs


09/27/2012   KMC    Telephone conference with borrower's counsel                 L160     0.20 hrs
                    regarding settlement agreement and submitting
                    consent entry.
09/27/2012   KMC    Forward fully executed settlement agreement to               L160     0.10 hrs
                    borrower's counsel.

09/27/2012   KMC    Telephone conference with Court regarding                    L210     0.20 hrs
                    extension for dismissal entry.

09/28/2012   KMC    E-mail correspondence with borrowers' counsel                L110     0.10 hrs
                    regarding filing consent entry.



                    TOTAL FEES FOR THIS MATTER                                             $728.00

EXPENSES

09/13/2012          Delivery Service/Messengers - Federal Express to Mr. Brown                  $7.28
                    from Ms. Cadieux

                    TOTAL EXPENSES FOR THIS MATTER                                              $7.28
     12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
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BILLING SUMMARY


       Wallace, David A.                     0.10 hrs   260.00 /hr         $26.00


       Cadieux, Karen M.                     3.90 hrs   180.00 /hr        $702.00



    TOTAL FEES                               4.00 hrs                     $728.00

    TOTAL EXPENSES                                                          $7.28

    TOTAL CHARGES FOR THIS INVOICE                                        $735.28
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                              Monthly Invoices Pg 252 of 1163
                        CARPENTER LIPPS & LELAND LLP

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                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                         November 02, 2012

                                                                    Billed through 09/30/2012
Tammy Hamzephour                                                    Invoice # 51599      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01199
190-FTW-L95
Fort Washington, PA 19034

Re: Larry Crosser
Matter No.:729410

PROFESSIONAL SERVICES

09/04/2012   DAW       Revise opposition to motion to reconsider.                   L250        1.30 hrs


09/04/2012   DAW       Revise opposition to motion to vacate judgment.              L240        0.30 hrs


09/04/2012   DAW       Revise e-mail to Ms. McGinnis (Residential                   L120        0.20 hrs
                       Capital, LLC) regarding pretrial conference and
                       trial date.
09/04/2012   KMC       Draft opposition to motion to reconsider and to              L210        2.60 hrs
                       vacate default judgment.

09/04/2012   KMC       Research regarding motions to reconsider.                    L210        0.40 hrs


09/04/2012   KMC       Research regarding excusable neglect.                        L120        0.60 hrs


09/04/2012   KMC       Revise opposition to motion to reconsider and to             L210        0.70 hrs
                       vacate default judgment.

09/04/2012   KMC       Review motion for default judgment.                          L240        0.10 hrs


09/11/2012   KMC       E-mail correspondence with foreclosure counsel               L110        0.20 hrs
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
  096 01199                  Monthly Invoices Pg 253 of 1163
                                                          Invoice # 51599                Page 2
                      regarding reinstatement quote.

09/11/2012   KMC      Telephone conference with Ms. Crosser regarding            L160        0.30 hrs
                      possible resolution of matter and status of case.

09/11/2012   KMC      Telephone conferene with Ms. McGinnis                      L190        0.20 hrs
                      (Residential Capital) regarding status of case and
                      possible resolution.
09/13/2012   KMC      Review orders vacating judgment and granting               L110        0.20 hrs
                      leave to file answer and counterclaim instanter.

09/14/2012   KMC      Review reinstatement quote sent by foreclosure             L110        0.10 hrs
                      counsel.

09/14/2012   KMC      Compare reinstatement quote sent by foreclosure            L110        0.20 hrs
                      counsel to one received from GMAC.

09/14/2012   KMC      Forward Manley Deas reinstatement quote to Ms.             L110        0.10 hrs
                      McGinnis (Residential Capital).

09/14/2012   KMC      Telephone conference with Ms. McGinnis                     L110        0.20 hrs
                      (Residential Capital) regarding issues with
                      reinstatement quote.
09/17/2012   KMC      E-mail Ms. McGinnis (Residential Capital)                  L110        0.10 hrs
                      regarding issues with reinstatement quote.

09/19/2012   KMC      Telephone conference with Ms. McGinnis                     L110        0.20 hrs
                      regarding issue with varying reinstatement quotes.

09/19/2012   KMC      E-mail correspondence regarding updating                   L110        0.20 hrs
                      reinstatement quotes after fees were waived and
                      obtaining one good through October 31.


                      TOTAL FEES FOR THIS MATTER                                             $1,620.00


BILLING SUMMARY


         Wallace, David A.                             1.80 hrs     260.00 /hr     $468.00


         Cadieux, Karen M.                             6.40 hrs     180.00 /hr   $1,152.00



     TOTAL FEES                                        8.20 hrs                  $1,620.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27    Exhibit E
096 01199                 Monthly Invoices Pg 254 of 1163
                                                       Invoice # 51599       Page 3
   TOTAL CHARGES FOR THIS INVOICE                                   $1,620.00
       12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                                 Monthly Invoices Pg 255 of 1163
                              CARPENTER LIPPS & LELAND LLP

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                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                           November 02, 2012

                                                                       Billed through 09/30/2012
Tammy Hamzephour                                                       Invoice # 51600      JAL
Residential Capital, LLC
1100 Virginia Drive                                                    Our file # 096 01201
190-FTW-L95
Fort Washington, PA 19034

Re: Robert D. Kehoe, et al.
    Matter No.:729779

PROFESSIONAL SERVICES

09/25/2012    DAW         Review defendants' opposition to motion to                   L120        0.10 hrs
                          dismiss counterclaim.



                         TOTAL FEES FOR THIS MATTER                                                   $26.00


BILLING SUMMARY


           Wallace, David A.                            0.10 hrs   260.00 /hr             $26.00



      TOTAL FEES                                        0.10 hrs                         $26.00

      TOTAL CHARGES FOR THIS INVOICE                                                     $26.00
       12-12020-mg         Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                                   Monthly Invoices Pg 256 of 1163
                            CARPENTER LIPPS & LELAND LLP

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                                           280 North High Street
                                           Columbus, OH 43215
                                              (614) 365-4100
                                          Federal ID # XX-XXXXXXX



                                             November 02, 2012

                                                                        Billed through 09/30/2012
Tammy Hamzephour                                                        Invoice # 51601      JAL
Residential Capital, LLC
1100 Virginia Drive                                                     Our file # 096 01203
190-FTW-L95
Fort Washington, PA 19034

Re: Caley Coleff, et al.
Matter No.: 729894

PROFESSIONAL SERVICES

09/13/2012     DAW         Review notice of appeal and docketing statement.             L120        0.10 hrs


09/13/2012     JES         Review notice of appeal. (.10) E-mail Ms.                    L120        0.20 hrs
                           McGinnis (Residential Capital) regarding same.
                           (.10)
09/13/2012     KMC         Review notice of appeal.                                     L210        0.10 hrs


09/19/2012     DAW         Conference with mediation office regarding                   L120        0.20 hrs
                           prehearing conference issues.

09/21/2012     DAW         Review Court's notice of pre-mediation hearing.              L120        0.10 hrs


09/21/2012     KMC         Review entry setting prehearing conference.                  L110        0.20 hrs


09/24/2012     DAW         Review e-mail confirming attendance at                       L120        0.10 hrs
                           pre-hearing conference.

09/25/2012     JES         Telephone conference with Ms. McGinnis                       L120        0.20 hrs
                           (Residential Capital) regarding loan modification
                           options for borrower.
     12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
 096 01203                   Monthly Invoices Pg 257 of 1163
                                                          Invoice # 51601         Page 2
                      TOTAL FEES FOR THIS MATTER                                      $260.00


BILLING SUMMARY


       Wallace, David A.                       0.50 hrs   260.00 /hr        $130.00


       Sechler, Joel E.                        0.40 hrs   190.00 /hr         $76.00


       Cadieux, Karen M.                       0.30 hrs   180.00 /hr         $54.00



    TOTAL FEES                                 1.20 hrs                     $260.00

    TOTAL CHARGES FOR THIS INVOICE                                          $260.00
      12-12020-mg        Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27         Exhibit E
                                 Monthly Invoices Pg 258 of 1163
                          CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                           November 02, 2012

                                                                  Billed through 09/30/2012
Tammy Hamzephour                                                  Invoice # 51602      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 096 01204
190-FTW-L95
Fort Washington, PA 19034

Re: Carolyn J. Huffman
Matter No.: 729967

PROFESSIONAL SERVICES

09/21/2012   KMC         Review loss mitigation application.                      L110        0.40 hrs




                         TOTAL FEES FOR THIS MATTER                                              $72.00


BILLING SUMMARY


          Cadieux, Karen M.                            0.40 hrs   180.00 /hr         $72.00



     TOTAL FEES                                        0.40 hrs                     $72.00

     TOTAL CHARGES FOR THIS INVOICE                                                 $72.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
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                          CARPENTER LIPPS & LELAND LLP

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                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                            November 02, 2012

                                                                      Billed through 09/30/2012
Tammy Hamzephour                                                      Invoice # 51603      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 096 01205
190-FTW-L95
Fort Washington, PA 19034

Re: Charles H. Loudermilk, et al.
Matter No.: 729944

PROFESSIONAL SERVICES

09/19/2012    KMC        Review docket to determine due date of appellate             L510        0.10 hrs
                         brief.

09/19/2012    KMC        E-mail Ms. McGinnis (Residential Capital)                    L510        0.10 hrs
                         regarding due date of appellate brief.

09/25/2012    KMC        Review docket to determine due date of appellee              L110        0.10 hrs
                         brief.

09/25/2012    KMC        Telephone conference with Ms. McGinnis                       L110        0.20 hrs
                         (Residential Capital) regarding appellee brief.

09/25/2012    KMC        E-mail correspondence with Ms. Van Slyke (title              L110        0.20 hrs
                         counsel) regarding appellee brief.

09/26/2012    DAW        Review e-mail regarding appeal status.                       L120        0.10 hrs


09/26/2012    KMC        E-mail Mr. Van Slyke (title counsel) regarding               L510        0.10 hrs
                         motion for extension of time to file appellate brief.

09/26/2012    KMC        E-mail correspondence with Ms. McGinnis                      L110        0.20 hrs
                         (Residential Capital) regarding appellate brief.

09/27/2012    KMC        Review docket to see if motion for extension has             L110        0.10 hrs
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27        Exhibit E
  096 01205                  Monthly Invoices Pg 260 of 1163
                                                          Invoice # 51603           Page 2
                      been filed.

09/28/2012   KMC      E-mail correspondence with title counsel regarding     L110       0.10 hrs
                      assignment issue on appeal.



                      TOTAL FEES FOR THIS MATTER                                         $242.00


BILLING SUMMARY


         Wallace, David A.                          0.10 hrs    260.00 /hr     $26.00


         Cadieux, Karen M.                          1.20 hrs    180.00 /hr    $216.00



     TOTAL FEES                                     1.30 hrs                  $242.00

     TOTAL CHARGES FOR THIS INVOICE                                           $242.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27               Exhibit E
                                Monthly Invoices Pg 261 of 1163
                          CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                            November 02, 2012

                                                                       Billed through 09/30/2012
Tammy Hamzephour                                                       Invoice # 51604      JAL
Residential Capital, LLC
1100 Virginia Drive                                                    Our file # 096 01206
190-FTW-L95
Fort Washington, PA 19034

Re: Kevin D. Edwards, et al.
Matter No.: 730106

PROFESSIONAL SERVICES

09/05/2012    KMC        Conference with Mr. Rhode regarding drafting                  L110        0.20 hrs
                         discovery requests and responses.

09/05/2012    JDR        Review complaint, amended answer and                          L210        0.30 hrs
                         counterclaims, and notice of bankruptcy filing in
                         preparation for drafting discovery requests.
09/05/2012    JDR        Draft first set of requests for production of                 L210        2.10 hrs
                         documents to defendant Kevin Edwards and
                         defendant Kimber Edwards.
09/05/2012    JDR        Draft first set of interrogatories to defendant Kevin         L210        1.30 hrs
                         Edwards and defendant Kimber Edwards.

09/05/2012    JDR        Revise first set of requests for production and first         L210        0.20 hrs
                         set of interrogatories.

09/05/2012    JDR        Draft responses to defendant's first request for              L210        1.40 hrs
                         production of documents.

09/06/2012    KMC        Conference with Mr. Rhode regarding documents                 L310        0.30 hrs
                         to be provided in discovery.

09/06/2012    KMC        Exchange voice mail messages with borrowers'                  L120        0.10 hrs
                         counsel regarding loss mitigation and discovery.

09/06/2012    JDR        Draft responses to defendant's first request for              L210        2.30 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
  096 01206                 Monthly Invoices Pg 262 of 1163
                                                         Invoice # 51604                 Page 2
                    production of documents and first set of
                    interrogatories.
09/06/2012   JDR    Review and compile document set 1 of 3 produced               L320     1.80 hrs
                    by GMAC Mortgage in preparation for responsive
                    discovery production.
09/07/2012   JDR    Review and compile document sets 2 and 3 of 3                 L320     2.10 hrs
                    produced by GMAC Mortgage in preparation for
                    responsive discovery production.
09/07/2012   JDR    Revise responses to first requests for production of          L210     0.70 hrs
                    documents and first set of interrogatories.

09/14/2012   JDR    Create index of documents produced by GMACM                   L320     0.90 hrs
                    in preparation for objections to discovery and
                    production of documents.
09/20/2012   KMC    Review documents for production for                           L310     1.40 hrs
                    responsiveness and privilege.

09/20/2012   KMC    Revise discovery responses.                                   L310     1.10 hrs


09/20/2012   KMC    Conference with Mr. Rhode regarding discovery                 L310     0.30 hrs
                    responses and documents.

09/20/2012   KMC    E-mail Ms. McGinnis (Residential Capital)                     L110     0.10 hrs
                    regarding additional discovery documents needed.

09/20/2012   JDR    Prepare discovery responses to exclude privileged,            L310     0.70 hrs
                    duplicate, and non-responsive materials.

09/20/2012   JDR    Revise responses to defendants' first discovery               L310     1.50 hrs
                    requests.

09/21/2012   DAW    Revise responses to interrogatories and request for           L310     1.10 hrs
                    production of documents.

09/21/2012   RBS    Redact and prepare Bates numbered sets of              A902   L310     3.00 hrs
                    documents to be produced for Ms. Cadieux.

09/21/2012   KMC    Telephone conference with Ms. McGinnis                        L110     0.10 hrs
                    (Residential Capital) regarding fact package.

09/21/2012   KMC    Review fact package sent by Ms. McGinnis                      L110     0.20 hrs
                    (Residential Capital) and determine if it is for the
                    wrong loan.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
  096 01206                 Monthly Invoices Pg 263 of 1163
                                                         Invoice # 51604        Page 3

09/21/2012   KMC    Revise responses to discovery.                       L310     2.30 hrs


09/21/2012   KMC    Review fact package and determine what is            L110     2.30 hrs
                    responsive and not privileged and should be
                    produced.
09/21/2012   KMC    E-mail Ms. McGinnis (Residential Capital)            L110     0.10 hrs
                    regarding whether Birmingham Bancorp Mortgage
                    Corporation was a GMACM broker.
09/24/2012   KMC    Forward discovery requests and documents to Ms.      L310     0.30 hrs
                    McGinnis (Residential Capital) for approval and
                    verification of interrogatories.
09/24/2012   KMC    Revise discovery responses.                          L110     0.80 hrs


09/24/2012   KMC    Review documents to be produced for privilege.       L110     0.60 hrs


09/24/2012   KMC    E-mail correspondence with Ms. McGinnis              L110     0.20 hrs
                    (Residential Capital) regarding relationship with
                    Birmingham Bancorp Mortgage Corporation.
09/24/2012   KMC    Review broker agreement between GMACM and            L110     0.20 hrs
                    Birmingham Bancorp Mortgage Corporation.

09/24/2012   KMC    Review loss mitigation application from              L120     0.30 hrs
                    borrowers.

09/24/2012   KMC    E-mail Ms McGinnis (Residential Capital)             L110     0.10 hrs
                    regarding loss mitigation application.

09/24/2012   KMC    E-mail borrowers' counsel regarding missing items    L110     0.10 hrs
                    for loss mitigation application.

09/24/2012   KMC    Telephone conference with Ms. McGinnis               L110     0.20 hrs
                    (Residential Capital) regarding discovery
                    responses.
09/25/2012   KMC    E-mail correspondence with foreclosure counsel       L110     0.20 hrs
                    regarding status of case.

09/25/2012   KMC    Revise discovery requests to borrowers.              L310     0.60 hrs


09/26/2012   KMC    Review Dodd certificate.                             L110     0.10 hrs


09/26/2012   KMC    Revise discovery requests and attention to serving   L310     1.90 hrs
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
  096 01206                  Monthly Invoices Pg 264 of 1163
                                                          Invoice # 51604              Page 4
                      the same.

09/26/2012   KMC      Forward complete loss mitigation application to          L110        0.10 hrs
                      Ms. McGinnis (Residential Capital).

09/26/2012   KMC      Review e-mail from Ms. McGinnis (Residential             L110        0.10 hrs
                      Capital) regarding loss mitigation application.

09/26/2012   KMC      Telephone conference with Ms. McGinnis                   L110        0.20 hrs
                      (Residential Capital) regarding loss mitigation
                      application.
09/26/2012   JDR      Revise discovery requests to defendants Kimber           L310        1.00 hrs
                      and Kevin Edwards.

09/28/2012   KMC      Review information regarding loss mitigation             L110        0.30 hrs
                      offers and whether accepted by borrowers.

09/28/2012   KMC      Review documents to be produced for privilege.           L310        1.80 hrs


09/28/2012   KMC      Revise discovery responses.                              L310        0.40 hrs


09/28/2012   KMC      Draft correspondence regarding discovery                 L310        0.20 hrs
                      responses.



                      TOTAL FEES FOR THIS MATTER                                           $6,215.00


BILLING SUMMARY


         Wallace, David A.                           1.10 hrs    260.00 /hr      $286.00


         Rhode, Jacob D.                            16.30 hrs    160.00 /hr    $2,608.00


         Cadieux, Karen M.                          17.20 hrs    180.00 /hr    $3,096.00


         Samson, Robert B.                           3.00 hrs      75.00 /hr     $225.00



     TOTAL FEES                                     37.60 hrs                  $6,215.00

     TOTAL CHARGES FOR THIS INVOICE                                            $6,215.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27    Exhibit E
096 01206                 Monthly Invoices Pg 265 of 1163
                                                       Invoice # 51604       Page 5
       12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27                Exhibit E
                                 Monthly Invoices Pg 266 of 1163
                              CARPENTER LIPPS & LELAND LLP

                                             280 Plaza, Suite 1300
                                             280 North High Street
                                             Columbus, OH 43215
                                                (614) 365-4100
                                            Federal ID # XX-XXXXXXX



                                               November 02, 2012

                                                                         Billed through 09/30/2012
Tammy Hamzephour                                                         Invoice # 51605      JAL
Residential Capital, LLC
1100 Virginia Drive                                                      Our file # 096 01207
190-FTW-L95
Fort Washington, PA 19034

Re: Orlinda Beatty, et al.
Matter No.: 730101

PROFESSIONAL SERVICES

09/13/2012     KMC           E-mail correspondence to foreclosure counsel                L110        0.10 hrs
                             regarding status hearing.

09/19/2012     KMC           Telephone conference with Ms. McGinnis                      L110        0.10 hrs
                             (Residential Capital) regarding status conference.

09/19/2012     KMC           Review contact history to determine what                    L110        0.40 hrs
                             recordings to pull.

09/19/2012     KMC           E-mail Ms. McGinnis (Residential Capital)                   L110        0.10 hrs
                             regarding what recordings to pull.

09/26/2012     KMC           Telephone conference with Court regarding status            L110        0.20 hrs
                             report.

09/26/2012     KMC           Review e-mail from borrowers' counsel regarding             L110        0.10 hrs
                             status of case.

09/26/2012     KMC           Telephone conference with Ms. McGinnis                      L110        0.30 hrs
                             (Residential Capital) regarding status conference
                             and loss mitigation review under Attorney General
                             settlement.
09/27/2012     DAW           Telephone conference with Ms. McGinnis                      L120        0.10 hrs
                             (Residential Capital, LLC) regarding attorney
                             general settlement letter issues.
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27          Exhibit E
  096 01207                  Monthly Invoices Pg 267 of 1163
                                                          Invoice # 51605             Page 2
09/27/2012   KMC      Draft e-mail regarding mediation and loss                L110       0.30 hrs
                      mitigation application.

09/27/2012   KMC      Telephone conference with Ms. McGinnis                   L110       0.30 hrs
                      (Residential Capital) regarding Attorney General
                      letters and status of loss mitigation applicaition.
09/28/2012   DAW      Review form letter and financial package regarding       L120       0.10 hrs
                      attorney general settlement funds.

09/28/2012   KMC      Review information regarding Attorney General            L110       0.20 hrs
                      settlement solicitations.

09/28/2012   KMC      Telephone conference with Ms. McGinnis                   L310       0.20 hrs
                      (Residential Capital) regarding Attorney General
                      settlement letter and mediation.


                      TOTAL FEES FOR THIS MATTER                                           $466.00


BILLING SUMMARY


         Wallace, David A.                            0.20 hrs    260.00 /hr     $52.00


         Cadieux, Karen M.                            2.30 hrs    180.00 /hr    $414.00



     TOTAL FEES                                       2.50 hrs                  $466.00

     TOTAL CHARGES FOR THIS INVOICE                                             $466.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                                Monthly Invoices Pg 268 of 1163
                            CARPENTER LIPPS & LELAND LLP

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                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                          November 02, 2012

                                                                    Billed through 09/30/2012
Tammy Hamzephour                                                    Invoice # 51606      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01208
190-FTW-L95
Fort Washington, PA 19034

Re: Michael J. Schuessler
Matter No.:730191

PROFESSIONAL SERVICES

09/04/2012    KMC       Review motion to amend complaint.                           L210        0.20 hrs


09/04/2012    KMC       Review motion for default judgment.                         L240        0.10 hrs


09/10/2012    KMC       Review e-mail correspondence regarding default              L120        0.10 hrs
                        hearing.

09/17/2012    KMC       Review entry regarding Fifth Third's amended                L110        0.10 hrs
                        answer and cross-claim.

09/25/2012    DAW       Review notice of hearing on motion for default              L120        0.10 hrs
                        judgment.

09/25/2012    KMC       Conference with Mr. Wallace regarding hearing on            L110        0.10 hrs
                        motion for default judgment.

09/26/2012    KMC       E-mail correspondence with Ms. McGinnis                     L110        0.10 hrs
                        (Residential Capital) regarding payoff quote.

09/26/2012    KMC       E-mail correspondence with title counsel for Fifth          L160        0.20 hrs
                        Third Bank regarding settlement offer.

09/26/2012    KMC       E-mail correspondence with Ms. McGinnis                     L110        0.10 hrs
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27         Exhibit E
  096 01208                  Monthly Invoices Pg 269 of 1163
                                                          Invoice # 51606            Page 2
                      (Residential Capital) regarding payoff quote.

09/28/2012   KMC      Review payoff quote.                                    L110       0.10 hrs




                      TOTAL FEES FOR THIS MATTER                                          $224.00


BILLING SUMMARY


         Wallace, David A.                           0.10 hrs    260.00 /hr     $26.00


         Cadieux, Karen M.                           1.10 hrs    180.00 /hr    $198.00



     TOTAL FEES                                      1.20 hrs                  $224.00

     TOTAL CHARGES FOR THIS INVOICE                                            $224.00
       12-12020-mg        Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                                  Monthly Invoices Pg 270 of 1163
                           CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                            November 02, 2012

                                                                      Billed through 09/30/2012
Tammy Hamzephour                                                      Invoice # 51607      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 096 01209
190-FTW-L95
Fort Washington, PA 19034

Re: Jesus Laboy, et al.
Matter No.: 730485

PROFESSIONAL SERVICES

09/11/2012    KMC         Review letter from counsel for Aurora Bank                  L110        0.10 hrs
                          regarding bankruptcy issues.

09/18/2012    KMC         Review motion for extension of time.                        L110        0.10 hrs


09/18/2012    KMC         Review borrower's discovery requests to plaintiff.          L110        0.10 hrs


09/18/2012    KMC         E-mail correspondence with Ms. McGinnis                     L110        0.10 hrs
                          (Residential Capital) regarding service.



                          TOTAL FEES FOR THIS MATTER                                                 $72.00


BILLING SUMMARY


           Cadieux, Karen M.                             0.40 hrs    180.00 /hr          $72.00



      TOTAL FEES                                         0.40 hrs                       $72.00

      TOTAL CHARGES FOR THIS INVOICE                                                    $72.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27    Exhibit E
096 01209                 Monthly Invoices Pg 271 of 1163
                                                       Invoice # 51607       Page 2
       12-12020-mg        Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                                  Monthly Invoices Pg 272 of 1163
                           CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                            November 02, 2012

                                                                      Billed through 09/30/2012
Tammy Hamzephour                                                      Invoice # 51608      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 096 01210
190-FTW-L95
Fort Washington, PA 19034

Re: Kevin W. Bolds, Jr.
Matter No.: 731181

PROFESSIONAL SERVICES

09/14/2012    DAW         Review motion for continuance.                              L120        0.10 hrs


09/17/2012    DAW         Review Court order staying proceedings for loss             L120        0.10 hrs
                          mitigation.

09/17/2012    KMC         Review entry staying case for loss mitigation.              L210        0.10 hrs




                          TOTAL FEES FOR THIS MATTER                                                 $70.00


BILLING SUMMARY


          Wallace, David A.                              0.20 hrs    260.00 /hr          $52.00


          Cadieux, Karen M.                              0.10 hrs    180.00 /hr          $18.00



      TOTAL FEES                                         0.30 hrs                       $70.00

      TOTAL CHARGES FOR THIS INVOICE                                                    $70.00
      12-12020-mg        Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                                 Monthly Invoices Pg 273 of 1163
                          CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                           November 02, 2012

                                                                     Billed through 09/30/2012
Tammy Hamzephour                                                     Invoice # 51609      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01211
190-FTW-L95
Fort Washington, PA 19034

Re: Michael A. Marinin
Matter No.: 731141

PROFESSIONAL SERVICES

09/05/2012   KMC         Telephone conference with plaintiff's counsel's             L110        0.20 hrs
                         office and leave message for same regarding
                         bankruptcy issues.
09/06/2012   KMC         Exchange voice mails with borrowers' counsel                L120        0.10 hrs
                         regarding bankruptcy issues.

09/07/2012   KMC         Telephone conference with borrowers' counsel                L110        0.40 hrs
                         regarding bankruptcy and possible resolution.

09/07/2012   KMC         Telephone conference with Ms. McGinnis                      L160        0.20 hrs
                         (Residential Capital) regarding possible resolution.

09/11/2012   KMC         Review e-mail correspondence from Ms. McGinnis              L110        0.10 hrs
                         (Residential Capital) regarding credit reporting.



                         TOTAL FEES FOR THIS MATTER                                               $180.00


BILLING SUMMARY


          Cadieux, Karen M.                             1.00 hrs     180.00 /hr        $180.00



     TOTAL FEES                                         1.00 hrs                      $180.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
096 01211                 Monthly Invoices Pg 274 of 1163
                                                       Invoice # 51609         Page 2


   TOTAL CHARGES FOR THIS INVOICE                                        $180.00
       12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                                 Monthly Invoices Pg 275 of 1163
                              CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                            November 02, 2012

                                                                     Billed through 09/30/2012
Tammy Hamzephour                                                     Invoice # 51610      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01212
190-FTW-L95
Fort Washington, PA 19034

Re: Felix R. Aponte, et al.
Matter No.: 731345

PROFESSIONAL SERVICES

09/13/2012     DAW        Review Court order granting extension of time to           L120        0.10 hrs
                          file brief of appellant.

09/14/2012     KMC        Review order granting borrower's extension to file         L110        0.10 hrs
                          brief.

09/24/2012     DAW        Review Court order confirming new counsel.                 L120        0.10 hrs


09/24/2012     DAW        Draft e-mail to Ms. McGinnis (Residential Capital,         L120        0.10 hrs
                          LLC) regarding notice by Court.

09/24/2012     KMC        Review entry regarding notice of appearance.               L110        0.10 hrs




                          TOTAL FEES FOR THIS MATTER                                              $114.00


BILLING SUMMARY


           Wallace, David A.                             0.30 hrs   260.00 /hr          $78.00


           Cadieux, Karen M.                             0.20 hrs   180.00 /hr          $36.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
096 01212                 Monthly Invoices Pg 276 of 1163
                                                       Invoice # 51610         Page 2



   TOTAL FEES                               0.50 hrs                     $114.00

   TOTAL CHARGES FOR THIS INVOICE                                        $114.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                                Monthly Invoices Pg 277 of 1163
                           CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                           November 02, 2012

                                                                     Billed through 09/30/2012
Tammy Hamzephour                                                     Invoice # 51611      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01213
190-FTW-L95
Fort Washington, PA 19034

Re: Robert L. Rhodes, et al.
Matter No.: 731453

PROFESSIONAL SERVICES

09/04/2012    DAW        Review e-mails regarding foreclosure sale issue.            L120        0.20 hrs


09/04/2012    DAW        Review e-mail regarding sheriff's sale.                     L120        0.10 hrs


09/04/2012    DAW        Conference with Ms. Cadieux regarding allowing              L120        0.10 hrs
                         sale to go forward.

09/04/2012    KMC        Telephone conference with Ms. McGinnis                      L120        0.20 hrs
                         (Residential Capital) regarding proceeding with
                         sheriff's sale.
09/04/2012    KMC        E-mail correspondence with foreclosure counsel              L120        0.10 hrs
                         regarding proceeding with sheriff's sale.

09/04/2012    KMC        Draft correspondence to borrowers regarding sale            L120        0.30 hrs
                         and loss mitigation application.

09/07/2012    DAW        Review e-mail regarding bankruptcy filing                   L120        0.10 hrs
                         cancelling short sale.

09/07/2012    KMC        Review e-mail regarding borrowers' bankruptcy               L110        0.10 hrs
                         filing.

09/14/2012    KMC        Review docket to determine whether appellate                L110        0.10 hrs
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
  096 01213                  Monthly Invoices Pg 278 of 1163
                                                          Invoice # 51611                Page 2
                      brief was filed.

09/19/2012   KMC      Review bankruptcy docket to determine status of             L110       0.20 hrs
                      borrowers' bankruptcy.

09/19/2012   KMC      E-mail correspondence with Ms. McGinnis                     L110       0.20 hrs
                      (Residential Capital) regarding filing motion for
                      relief from stay.
09/21/2012   KMC      Attention to service and filing of notice of                L110       0.10 hrs
                      bankruptcy.

09/21/2012   KMC      Telephone conference with Ms. McGinnis                      L210       0.10 hrs
                      (Residential Capital) regarding motion for relief
                      from bankruptcy.
09/21/2012   KMC      Review e-mail regarding foreclosure counsel filing          L210       0.10 hrs
                      motion for relief from judgment.



                      TOTAL FEES FOR THIS MATTER                                              $400.00


BILLING SUMMARY


         Wallace, David A.                            0.50 hrs       260.00 /hr    $130.00


         Cadieux, Karen M.                            1.50 hrs       180.00 /hr    $270.00



     TOTAL FEES                                       2.00 hrs                     $400.00

     TOTAL CHARGES FOR THIS INVOICE                                                $400.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                                Monthly Invoices Pg 279 of 1163
                          CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                           November 02, 2012

                                                                      Billed through 09/30/2012
Tammy Hamzephour                                                      Invoice # 51612      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 096 01216
190-FTW-L95
Fort Washington, PA 19034

Re: Robert H. Denny, et al. (Foreclosure Action)
Matter No.: 731863

PROFESSIONAL SERVICES

09/04/2012    KMC        Review docket to determine if motion for                     L110        0.10 hrs
                         extension of time was granted.

09/19/2012    DAW        Conference with Ms. Cadieux regarding                        L120        0.30 hrs
                         assignment trial issues and response to discovery.

09/19/2012    KMC        E-mail Ms. McGinnis (Residential Capital)                    L110        0.10 hrs
                         regarding obtaining document establishing that
                         GMACM is the servicer for the trust.
09/19/2012    KMC        Research regarding in blank assignments.                     L120        0.30 hrs


09/19/2012    KMC        Review various assignments and determine which               L110        0.50 hrs
                         had been recorded.

09/19/2012    KMC        Draft timeline of events regarding transfers of note         L110        1.40 hrs
                         and mortgage.

09/19/2012    KMC        Conference with Mr. Wallace regarding issues                 L110        0.60 hrs
                         related to transers and current holder of note and
                         mortgage and how to address these issues.
09/19/2012    KMC        Review trust agreement regarding servicer's right            L110        0.60 hrs
                         to foreclosure in own name for trust.

09/19/2012    KMC        Conference with Mr. Sechler regarding how to                 L110        0.30 hrs
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27          Exhibit E
  096 01216                  Monthly Invoices Pg 280 of 1163
                                                          Invoice # 51612             Page 2
                      correct assignment issues.

09/21/2012   KMC      Review servicing agreement for authority to file in     L110        0.80 hrs
                      servicer's name for trust.

09/26/2012   KMC      Draft motion for default judgment.                      L210        0.60 hrs


09/28/2012   KMC      Telephone conference with Ms. McGinnis                  L110        0.20 hrs
                      (Residential Capital) regarding plan to proceed
                      with case.


                      TOTAL FEES FOR THIS MATTER                                          $1,068.00


BILLING SUMMARY


         Wallace, David A.                           0.30 hrs    260.00 /hr      $78.00


         Cadieux, Karen M.                           5.50 hrs    180.00 /hr     $990.00



     TOTAL FEES                                      5.80 hrs                 $1,068.00

     TOTAL CHARGES FOR THIS INVOICE                                           $1,068.00
       12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27               Exhibit E
                              Monthly Invoices Pg 281 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                         November 02, 2012

                                                                     Billed through 09/30/2012
Tammy Hamzephour                                                     Invoice # 51613      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01217
190-FTW-L95
Fort Washington, PA 19034

Matter No.: 732619


PROFESSIONAL SERVICES

09/13/2012   JES       Review new matter to formulate strategy for                   L120        2.00 hrs
                       response to debtors' motion for relief.

09/17/2012   JES       Draft notice of appearance and notice of                      L210        1.00 hrs
                       bankruptcy stay.

09/18/2012   JES       Telephone conference with Court regarding                     L120        0.20 hrs
                       response to debtor's motion for relief from
                       mortgage payment.
09/24/2012   JES       E-mail Ms. Scoliard (Residential Capital)                     L120        0.20 hrs
                       regarding information for responding to Cummings
                       motion.
09/25/2012   JES       Draft affidavit for response to Mr. Cummings'                 L210        1.00 hrs
                       motion.

09/25/2012   JES       Review file and pooling and servicing agreement.              L120        1.00 hrs




                       TOTAL FEES FOR THIS MATTER                                                $1,026.00

EXPENSES

09/18/2012             Delivery Service/Messengers - Federal Express to Jennifer                    $15.42
                       Scoliard from Mr. Sechler
     12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
 096 01217                   Monthly Invoices Pg 282 of 1163
                                                          Invoice # 51613        Page 2


                      TOTAL EXPENSES FOR THIS MATTER                                     $15.42


BILLING SUMMARY


       Sechler, Joel E.                        5.40 hrs   190.00 /hr    $1,026.00



    TOTAL FEES                                 5.40 hrs                $1,026.00

    TOTAL EXPENSES                                                          $15.42

    TOTAL CHARGES FOR THIS INVOICE                                     $1,041.42
       12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                              Monthly Invoices Pg 283 of 1163
                         CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                        November 02, 2012

                                                                  Billed through 09/30/2012
Tammy Hamzephour                                                  Invoice # 51614      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 096 01218
190-FTW-L95
Fort Washington, PA 19034

Matter No.: 732965


PROFESSIONAL SERVICES

09/28/2012   DAW       Review e-mail from Ms. McGinnis (Residential               L120        0.10 hrs
                       Capital, LLC) regarding new case assignment.

09/28/2012   KMC       Review documents from GMACM regarding                      L110        0.10 hrs
                       matter.

09/28/2012   KMC       Research on Recorder's office website as to                L110        0.20 hrs
                       whether the mortgage lien has been released.

09/28/2012   KMC       Forward lien release to Ms. McGinnis (Residential          L110        0.10 hrs
                       Capital).



                       TOTAL FEES FOR THIS MATTER                                                $98.00


BILLING SUMMARY


          Wallace, David A.                          0.10 hrs    260.00 /hr          $26.00


          Cadieux, Karen M.                          0.40 hrs    180.00 /hr          $72.00



     TOTAL FEES                                      0.50 hrs                       $98.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
096 01218                 Monthly Invoices Pg 284 of 1163
                                                       Invoice # 51614        Page 2

   TOTAL CHARGES FOR THIS INVOICE                                        $98.00
       12-12020-mg         Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27         Exhibit E
                                   Monthly Invoices Pg 285 of 1163
                            CARPENTER LIPPS & LELAND LLP

                                           280 Plaza, Suite 1300
                                           280 North High Street
                                           Columbus, OH 43215
                                              (614) 365-4100
                                          Federal ID # XX-XXXXXXX



                                            November 02, 2012

                                                                    Billed through 09/30/2012
Tammy Hamzephour                                                    Invoice # 51615      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01219
190-FTW-L95
Fort Washington, PA 19034

Re: Nancy George, et al.
Matter No.: 733039

PROFESSIONAL SERVICES

09/28/2012    DAW          Review e-mail from Ms. McGinnis (Residential             L120        0.10 hrs
                           Capital, LLC) regarding new case assignment.

09/28/2012    KMC          Calculate answer date.                                   L110        0.20 hrs


09/28/2012    KMC          Telephone conference with Ms. McGinnis                   L110        0.30 hrs
                           (Residential Capital) regarding insurance
                           documents needed and plan to proceed with case.


                           TOTAL FEES FOR THIS MATTER                                            $116.00


BILLING SUMMARY


          Wallace, David A.                             0.10 hrs    260.00 /hr         $26.00


          Cadieux, Karen M.                             0.50 hrs    180.00 /hr         $90.00



      TOTAL FEES                                        0.60 hrs                     $116.00

      TOTAL CHARGES FOR THIS INVOICE                                                 $116.00
12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27   Exhibit E
                      Monthly Invoices Pg 286 of 1163




              OCTOBER
              INVOICES
       12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27               Exhibit E
                               Monthly Invoices Pg 287 of 1163
                            CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                          November 15, 2012

                                                                      Billed through 10/31/2012
Tammy Hamzephour                                                      Invoice # 51831      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 932 00050
190-FTW-L95
Fort Washington, PA 19034

Re: General Restructuring


PROFESSIONAL SERVICES

10/01/2012   RBS        Obtain and prepare electronic copies of bankruptcy            L310        0.40 hrs
                        pleadings requested by Mr. Beck.

10/01/2012   RBS        Draft and prepare e-mail to distribute with                   L310        0.20 hrs
                        requested bankruptcy pleadings.

10/02/2012   RBS        Obtain and prepare electronic copies of bankruptcy            L310        0.10 hrs
                        pleadings requested by Mr. Beck.

10/02/2012   RBS        Draft and prepare e-mail to distribute requested              L310        0.10 hrs
                        bankruptcy pleadings.

10/04/2012   RBS        Obtain and prepare electronic copies of bankruptcy            L310        0.20 hrs
                        pleadings requested by Mr. Beck.

10/04/2012   RBS        Draft and prepare e-mail to distribute with                   L310        0.20 hrs
                        requested bankruptcy pleadings.

10/05/2012   RBS        Obtain and prepare electronic sets of bankruptcy              L310        0.20 hrs
                        pleadings requested by Mr. Beck.

10/05/2012   RBS        Draft and prepare e-mail to distribute with                   L310        0.10 hrs
                        requested bankruptcy pleadings.

10/08/2012   RBS        Obtain and prepare electronic copies of bankruptcy            L310        0.40 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
  932 00050                 Monthly Invoices Pg 288 of 1163
                                                         Invoice # 51831        Page 2
                    pleadings requested by Mr. Beck.

10/08/2012   RBS    Draft and prepare e-mail to distribute with          L310     0.40 hrs
                    requested pleadings.

10/09/2012   RBS    Obtain and prepare electronic sets of bankruptcy     L310     0.10 hrs
                    pleadings requested by Mr. Beck.

10/09/2012   RBS    Draft and prepare e-mail to distribute with          L310     0.10 hrs
                    requested bankruptcy pleadings.

10/10/2012   RBS    Draft and prepare e-mail to distribute with          L310     0.10 hrs
                    requested bankruptcy pleadings.

10/10/2012   RBS    Obtain and prepare electronic copies of bankruptcy   L310     0.20 hrs
                    pleadings requested by Mr. Beck.

10/11/2012   RBS    Obtain and prepare electronic copies of bankruptcy   L310     0.40 hrs
                    pleadings requested by Mr. Beck.

10/11/2012   RBS    Draft and prepare e-mail to distribute with          L310     0.20 hrs
                    requested bankruptcy pleadings.

10/12/2012   RBS    Obtain and prepare electronic copies of bankruptcy   L310     0.20 hrs
                    pleadings requested by Mr. Beck.

10/12/2012   RBS    Prepare e-mail to distribute with requested          L310     0.10 hrs
                    bankruptcy pleadings.

10/12/2012   DAB    Communicate with Ms. Zellman (Residential            L120     0.10 hrs
                    Capital) regarding update for Citi on case status.

10/15/2012   RBS    Prepare and distribute e-mail of requested           L310     0.20 hrs
                    bankruptcy pleadings.

10/15/2012   RBS    Obtain and prepare electronic sets of bankruptcy     L310     0.40 hrs
                    pleadings requested by Mr. Beck.

10/16/2012   RBS    Obtain and prepare electronic copies of bankruptcy   L310     0.20 hrs
                    pleadings requested by Mr. Beck.

10/16/2012   RBS    Prepare e-mail to distribute with requested          L310     0.10 hrs
                    bankruptcy pleadings.

10/17/2012   RBS    Obtain electronic sets of bankruptcy pleadings       L310     0.20 hrs
                    requested by Mr. Beck.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
  932 00050                 Monthly Invoices Pg 289 of 1163
                                                         Invoice # 51831         Page 3

10/17/2012   RBS    Draft e-mail to distribute with requested             L310     0.10 hrs
                    bankruptcy filings.

10/18/2012   RBS    Prepare electronic sets of bankruptcy pleadings       L310     0.30 hrs
                    requested by Mr. Beck.

10/18/2012   RBS    Prepare e-mail to distribute with requested           L310     0.10 hrs
                    bankruptcy pleadings.

10/19/2012   RBS    Prepare electronic sets of bankruptcy pleadings for   L310     0.20 hrs
                    Mr. Beck.

10/19/2012   RBS    Draft e-mail to distribute with requested             L310     0.10 hrs
                    bankruptcy pleadings.

10/22/2012   RBS    Obtain bankruptcy pleadings requested by Mr.          L310     1.70 hrs
                    Beck.

10/22/2012   RBS    Prepare e-mails to distribute with requested          L310     0.80 hrs
                    pleadings.

10/23/2012   RBS    Obtain and prepare electronic sets of bankruptcy      L310     0.20 hrs
                    pleadings requested by Mr. Beck.

10/23/2012   RBS    Prepare e-mail to distribute with requested           L310     0.10 hrs
                    bankruptcy filings.

10/23/2012   DAB    Draft calendar of outstanding dates in bankruptcy     L120     0.40 hrs
                    case related to Carpenter Lipps & Leland special
                    counsel retention.
10/24/2012   RBS    Obtain and prepare electronic sets of bankruptcy      L310     0.20 hrs
                    pleadings requested by Mr. Beck.

10/24/2012   RBS    Draft e-mail to distribute with requested             L310     0.10 hrs
                    bankruptcy pleadings.

10/25/2012   RBS    Obtain and prepare electronic sets of bankruptcy      L310     0.10 hrs
                    pleadings requested by Mr. Beck.

10/25/2012   RBS    Prepare e-mail to distribute with requested           L310     0.10 hrs
                    bankruptcy pleadings.

10/26/2012   RBS    Obtain electronic copies of bankruptcy pleadings      L310     0.30 hrs
                    requested by Mr. Beck.

10/26/2012   RBS    Draft e-mail to distribute with requested             L310     0.10 hrs
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
  932 00050                  Monthly Invoices Pg 290 of 1163
                                                          Invoice # 51831                 Page 4
                      bankruptcy pleadings.

10/26/2012   DAB      Call with Ms. Zellman (Residential Capital)                 L120        0.10 hrs
                      regarding update for Citi regarding loan file
                      requests.
10/29/2012   RBS      Obtain electronic copies of bankruptcy pleadings            L310        0.20 hrs
                      requested by Mr. Beck.

10/29/2012   RBS      Prepare e-mail to distribute with requested                 L310        0.10 hrs
                      bankruptcy pleadings.

10/30/2012   RBS      Obtain electronic copies of bankruptcy pleadings            L310        1.10 hrs
                      requested by Mr. Beck.

10/30/2012   RBS      Draft e-mails to distribute with requested                  L310        0.40 hrs
                      bankruptcy pleadings.

10/31/2012   RBS      Obtain electronic copies of bankruptcy pleadings            L310        0.30 hrs
                      requested by Mr. Beck.

10/31/2012   RBS      Prepare e-mail to distribute with requested                 L310        0.10 hrs
                      bankruptcy pleadings.



                      TOTAL FEES FOR THIS MATTER                                              $1,000.50


BILLING SUMMARY


         Beck, David A.                               0.60 hrs      230.00 /hr      $138.00


         Samson, Robert B.                          11.50 hrs         75.00 /hr     $862.50



     TOTAL FEES                                     12.10 hrs                     $1,000.50

     TOTAL CHARGES FOR THIS INVOICE                                               $1,000.50
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                              Monthly Invoices Pg 291 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                         November 15, 2012

                                                                   Billed through 10/31/2012
Tammy Hamzephour                                                   Invoice # 51832      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 932 00051
190-FTW-L95
Fort Washington, PA 19034

Re: Stay Motion


PROFESSIONAL SERVICES

10/01/2012   JAL       Conference with Ms. Battle regarding motion to              L240        0.30 hrs
                       extend stay (.20). Review and respond to e-mails
                       regarding same and supplemental declaration (.10).
10/01/2012   DAB       Communicate with Mr. Rothberg (Morrision &                  L120        0.10 hrs
                       Foerster) regarding additional actions needing to
                       be addressed by supplemental Lipps Declaration in
                       support of extend stay.
10/02/2012   JALB      Discussion with Mr. Beekhuizen regarding                    L120        0.20 hrs
                       preparation of supplemental Mr. Lipps' declaration.

10/02/2012   JALB      Provide backup and background materials for                 L320        0.10 hrs
                       preparation of supplemental declaration of Mr.
                       Lipps.
10/05/2012   MNB       Review and research current procedural status of            L120        2.30 hrs
                       cases subject to extend stay motion.

10/05/2012   MNB       Draft supplemental declaration of Mr. Lipps in              L250        1.60 hrs
                       support of extend stay motion.

10/05/2012   JALB      Correspondence with Mr. Brown (Kirkland &                   L120        0.20 hrs
                       Ellis) regarding updates to Mr. Lipps' declaration
                       for extend stay.
10/08/2012   JAL       Review and revise supplemental declaration                  L120        0.50 hrs
                       regarding discovery burden (.30). Conference with
                       Mr. Beekhuizen regarding same (.10). Review and
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27       Exhibit E
  932 00051                 Monthly Invoices Pg 292 of 1163
                                                         Invoice # 51832          Page 2
                    respond to e-mails regarding same (.10).
10/08/2012   MNB    Draft supplemental declaration of Mr. Lipps in         L250     0.90 hrs
                    support of extend stay motion.

10/08/2012   MNB    Research and review information regarding              L120     2.90 hrs
                    securitizations at issue in recently filed lawsuits,
                    and current status of lawsuits, identified in
                    supplemental declaration of Mr. Lipps in support
                    of extend stay motion.
10/09/2012   MNB    Research and review status of Cambridge Place          L120     0.20 hrs
                    lawsuit for inclusion in supplemental declaration of
                    Mr. Lipps in support of motion to extend stay.
10/10/2012   MNB    Communications with Ms. Viggiani (Morrison &           L120     0.20 hrs
                    Foerster) regarding supplemental declaration in
                    support of motion to extend stay.
10/10/2012   MNB    Research, review and update information regarding      L120     1.30 hrs
                    total number of securitizations and mortgage loans
                    at issue in lawsuits subject to the motion to extend
                    stay.
10/10/2012   MNB    Draft and revise supplemental declaration of Mr.       L240     0.50 hrs
                    Lipps in support of motion to extend stay.

10/11/2012   MNB    Research and provide information to Ms. Viggiani       L120     0.70 hrs
                    (Morrison & Foerster) regarding status of
                    discovery in MBIA lawsuits against RFC and
                    GMAC Mortgage at time of bankruptcy filing.
10/11/2012   JALB   Review and respond to e-mails from Mr.                 L120     0.30 hrs
                    Beekhuizen regarding supplemental declaration
                    supporting renewed extend stay motion.
10/15/2012   JAL    Review and revise supplemental declaration             L120     0.30 hrs
                    regarding discovery burden (.10). Conference with
                    Mr. Beekhuizen regarding same (.10). Review and
                    respond to e-mails regarding same (.10).
10/15/2012   MNB    Review proposed revisions to declaration of Mr.        L120     0.20 hrs
                    Lipps in support of motion to extend stay.

10/16/2012   MNB    Update declaration of Mr. Lipps in support of          L250     0.20 hrs
                    motion to extend stay to reflect court decision
                    certifying class in New Jersey Carpenters matter.
10/19/2012   JAL    Review e-mail report on status of negotiations over    L120     0.80 hrs
                    extension of extend stay (.20). Conference with
                    Mr. Beekhuizen regarding declaration (.30).
                    Conference with Ms. Battle regarding extend stay
                    stipulation (.30).
10/19/2012   JALB   Telephone conference with Mr. Rothberg and Mr.         L120     0.10 hrs
                    Haims (Morrison & Foerster) regarding proposed
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
  932 00051                    Monthly Invoices Pg 293 of 1163
                                                            Invoice # 51832              Page 3
                        extend stay stipulation language.
10/19/2012   JALB       Telephone conference with Mr. Rothberg and Mr.           L120        0.20 hrs
                        Haims (Morrison & Foerster) regarding proposed
                        extend stay stipulation language.
10/19/2012   JALB       Correspondence with Mr. Haims and Mr. Rothberg           L120        0.20 hrs
                        (Morrison & Foerster) regarding impact of
                        proposed stipulation language on individual
                        defendants.
10/19/2012   DAB        Analyze proposed language on extend stay from            L120        0.20 hrs
                        counsel for securities claimants.

10/19/2012   DAB        Communicate with Ms. Battle regarding issues on          L120        0.10 hrs
                        proposed language.

10/23/2012   JAL        Review proposed stipulation on extend stay from          L120        0.80 hrs
                        counsel for New Jersey Carpenters (.40).
                        Telephone conference with Ms. Battle regarding
                        concerns on stipulation (.20). Review and respond
                        to e-mails regarding same (.20).
10/26/2012   DAB        Analyze proposed language on extend stay                 L120        0.10 hrs
                        extension.

10/26/2012   DAB        Communicate with Mr. Lipps and Ms. Battle                L120        0.20 hrs
                        regarding issues related to extend stay extension.



                        TOTAL FEES FOR THIS MATTER                                           $4,208.00


BILLING SUMMARY


         Beck, David A.                                 0.70 hrs    230.00 /hr     $161.00


         Lipps, Jeffrey A.                              2.70 hrs    360.00 /hr     $972.00


         Battle, Jennifer A.L.                          1.30 hrs    250.00 /hr     $325.00


         Beekhuizen, Michael N.                       11.00 hrs     250.00 /hr   $2,750.00



     TOTAL FEES                                       15.70 hrs                  $4,208.00

     TOTAL CHARGES FOR THIS INVOICE                                              $4,208.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27    Exhibit E
932 00051                 Monthly Invoices Pg 294 of 1163
                                                       Invoice # 51832       Page 4
12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27   Exhibit E
                      Monthly Invoices Pg 295 of 1163
12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27   Exhibit E
                      Monthly Invoices Pg 296 of 1163
12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27   Exhibit E
                      Monthly Invoices Pg 297 of 1163
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                                Monthly Invoices Pg 298 of 1163
                         CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                          November 15, 2012

                                                                   Billed through 10/31/2012
Tammy Hamzephour                                                   Invoice # 51834      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 932 00054
190-FTW-L95
Fort Washington, PA 19034

Re: SEC Post-Petition
Matter No.: 721750

PROFESSIONAL SERVICES

10/01/2012   VLS        Monitor review status of document review teams.            L320        0.70 hrs
                        (.20) Assignment of review batches. (.30) Update
                        progress chart. (.20)
10/01/2012   VLS        Review seller files recently obtained and loaded           L320        1.20 hrs
                        into DTI database. (.60) Annotate same for
                        production to SEC. (.60)
10/01/2012   JALB       Review filetree spreadsheets.                              320         0.50 hrs


10/01/2012   JALB       Teleconference and web meeting with Mr. Fons               L120        1.00 hrs
                        and Ms. Serfoss (both Morrison & Foerster) and
                        Mr. Underhill (Residential Capital) regarding
                        detailed review of filetree spreadsheets,
                        preliminary questions, and strategy for meetings
                        with business personnel regarding same.
10/01/2012   JRC        Review and analyze complaint filed by the New              L210        0.40 hrs
                        York Attorney General in order to update
                        memorandum regarding parallel residential
                        mortgage-backed securities litigation.
10/01/2012   JDR        Quality control review of documents as outlined in         L320        1.00 hrs
                        quality control protocol and produced in response
                        to 6/13/2012 SEC subpoena: batch Bartsch
                        Responsive Only 003, initial review by Ms.
                        Madigan.
10/01/2012   GNM        Communicate with Ms. Sholl regarding status of             L120        0.60 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
  932 00054                 Monthly Invoices Pg 299 of 1163
                                                         Invoice # 51834        Page 2
                    SEC review.

10/01/2012   GNM    Exchanging e-mail communications with Ms.            L120     0.30 hrs
                    Battle regarding impact of Cerberus on privilege
                    determinations.
10/01/2012   GNM    E-mail communications with Mr. Shipler (DTI)         L120     0.10 hrs
                    regarding production of ELR data.

10/01/2012   GNM    E-mail communications with Ms. Battle regarding      L120     0.20 hrs
                    production of ELR archives.

10/01/2012   GNM    Conference call with SEC review team regarding       L120     0.40 hrs
                    review feedback.

10/01/2012   GNM    Working in Discovery Partner database correcting     L320     0.90 hrs
                    privilege determinations.

10/01/2012   GNM    E-mail communications with Ms. Chinn (Contract       L120     0.30 hrs
                    Reviewer) regarding privilege determinations.

10/01/2012   AJM    Quality control review of documents produced in      L320     5.10 hrs
                    response to February 23, 2012 SEC subpoena:
                    batch Young PP 003, initial review by Ms. Syrja.
10/02/2012   VLS    Monitor review status of document review teams.      L320     0.50 hrs
                    (.10) Assignment of review batches. (.20) Update
                    progress chart. (.20)
10/02/2012   JALB   Review filetree spreadsheets. (1.10) Prepare for     L320     1.70 hrs
                    meetings with client. (.60)

10/02/2012   DJB    Strategy meeting with quality control contract       L120     0.50 hrs
                    reviewers regarding quality control protocol
                    updates for confidentiality and privilege coding
                    concerning key custodian e-mails responsive to
                    SEC subpoenas.
10/02/2012   MMM    Attend quality control protocol meeting with Ms.     L120     0.50 hrs
                    Marty.

10/02/2012   JRC    Conference with Ms. Marty and Ms. Battle             L320     0.30 hrs
                    regarding status of review of documents for
                    production to the SEC.
10/02/2012   JRC    E-mail exchange with first-level reviewer            L120     0.10 hrs
                    regarding proper coding of documents in response
                    to SEC subpoena.
10/02/2012   JDR    Conference with quality control team of reviewers    L320     0.40 hrs
                    regarding additional privilege coding searches and
                    procedures going forward.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
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10/02/2012   JDR    Quality control review of documents as outlined in    L320     2.00 hrs
                    quality control protocol and produced in response
                    to 6/13/2012 SEC subpoena: batch Bartsch
                    Responsive Only 003, initial review by Ms.
                    Madigan.
10/02/2012   GNM    Working in Discovery Partner database analyzing       L320     1.10 hrs
                    data sets to be reviewed.

10/02/2012   GNM    Relativity database training.                         L320     0.50 hrs


10/02/2012   GNM    Drafting and sending e-mail communications to         L120     0.60 hrs
                    Ms. Serfoss (Morrison & Foerster) regarding
                    status of SEC review.
10/02/2012   AJM    Quality control review of documents produced in       L320     5.40 hrs
                    response to February 23, 2012 SEC subpoena:
                    batch Young PP 003, initial review by Ms. Syrja.
10/02/2012   AJM    Conference with Ms. Marty and others on quality       L120     0.50 hrs
                    control team to discuss updated review protocol for
                    June 13, 2012 SEC subpoena.
10/02/2012   SCM    Review examiner protocol memorandum.                  L190     0.30 hrs


10/03/2012   VLS    Monitor review status of document review teams.       L320     0.40 hrs
                    (.10) Assignment of review batches. (.20) Update
                    progress chart. (.10)
10/03/2012   JALB   Discussion with Mr. Underhill (Residential            L120     0.60 hrs
                    Capital) and Mr. Fons (Morrison & Foerster)
                    regarding filetree issues.
10/03/2012   JALB   Prepare for meeting in Ft. Washington regarding       L120     1.50 hrs
                    shard drive filetree review.

10/03/2012   JALB   Meeting with client in Minneapolis (Mr. Underhill,    L120     5.20 hrs
                    Ms. Anderson, Mr. Blaschko, Ms. Zellmann) and
                    Mr. Fons (Morrison & Foerster) to review details
                    of shared drive main filetree.
10/03/2012   JDR    Review revised Quality control procedure to           L120     0.50 hrs
                    ensure consistency in review of first level
                    documents.
10/03/2012   GNM    Telephone communications with Ms. Klun (Lumen         L120     0.40 hrs
                    Legal) regarding staffing levels.

10/03/2012   GNM    Re-drafting review protocol based on edits from       L320     0.60 hrs
                    Ms. Serfoss (Morrison & Foerster).

10/03/2012   GNM    Working in Discovery Partner database answering       L320     0.70 hrs
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                    reviewer questions regarding responsiveness and
                    privilege determinations.
10/03/2012   GNM    Drafting review protocol for next set of data.         L320     1.10 hrs


10/03/2012   GNM    Telephone communications with Mr. Hoffman              L120     0.50 hrs
                    (Morrison & Foerster) regarding organizational
                    charts collected and produced to SEC.
10/03/2012   GNM    Drafting status report for SEC review.                 L320     2.10 hrs


10/03/2012   GNM    Drafting and sending e-mail communications to          L120     0.40 hrs
                    Ms. Serfoss (Morrison & Foerster) regarding status
                    of SEC review.
10/03/2012   GNM    Drafting and sending e-mail communications to          L120     0.30 hrs
                    Mr. Massey, Ms. Searles, and Ms. Chinn (Contract
                    Reviewers) regarding Cerberus privilege
                    determinations.
10/03/2012   GNM    Exchanging e-mail communications with Ms.              L120     0.40 hrs
                    Battle regarding organizational charts collected and
                    produced to the SEC.
10/04/2012   VLS    Monitor review status of document review teams.        L320     0.80 hrs
                    (.40) Assignment of review batches. (.20) Update
                    progress chart. (.20)
10/04/2012   JALB   Meeting with client in Ft. Washington (Mr.             L120     5.60 hrs
                    Underhill, Mr. Thompson, Ms. Pio, Ms. Horst, and
                    Ms. Hreshko) to review details of shared drive
                    main filetree.
10/04/2012   JALB   Discussion with Mr. Fons (Morrison & Foerster)         L120     0.60 hrs
                    and Mr. Underhill (Residential Capital) regarding
                    information learned in interviews and next steps.
10/04/2012   GNM    E-mail communication with Mr. Rhode regarding          L120     0.20 hrs
                    privilege determinations.

10/04/2012   GNM    Working with Mr. Breyer (Night Owl) to configure       L320     0.90 hrs
                    annotation pane in Relativity database.

10/04/2012   GNM    Working in Discovery Partner database performing       L320     6.50 hrs
                    second level review of data targeted for privilege
                    errors.
10/04/2012   GNM    E-mail communications with Mr. Corcoran and            L120     0.60 hrs
                    Ms. Battle regarding data analytics in Relativity
                    database.
10/05/2012   VLS    E-mail exchange with Mr. Shipler and Ms. Gulley        L320     0.10 hrs
                    at DTI regarding document reviewer status.
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10/05/2012   VLS    Assignment of quality control batches to quality     L320     0.30 hrs
                    control team.

10/05/2012   VLS    Monitor review status of document review teams.      L320     0.90 hrs
                    (.30) Assignment of review batches. (.30) Update
                    progress chart. (.30)
10/05/2012   JALB   Correspondence with Ms. Hreshko (Residential         L120     0.10 hrs
                    Capital) and Mr. Fons (Morrison & Foerster)
                    regarding shared drive review questions.
10/05/2012   DJB    Quality check and provide feedback to contract       L120     3.00 hrs
                    document reviewers regarding coding of
                    confidentiality and privilege concerning Bartsch
                    e-mails (batch coded by Michelle Chinn)
                    responsive to SEC document requests.
10/05/2012   DJB    Quality check and provide feedback to contract       L120     5.20 hrs
                    document reviewers regarding coding of
                    redactions, and issues concerning Bartsch e-mails
                    (batch coded by Michelle Chinn) responsive to
                    SEC document requests.
10/05/2012   JRC    Review and analyze documents coded by                L320     2.40 hrs
                    first-level reviewers in response to SEC subpoena
                    in Discovery Partner for quality control.
10/05/2012   JDR    Quality control review of documents as outlined in   L320     0.50 hrs
                    quality control protocol and produced in response
                    to 6/13/2012 SEC subpoena, batch Bartsch 010,
                    initial review by Kleinman.
10/05/2012   JDR    Quality control review of documents as outlined in   L320     3.20 hrs
                    review protocol and produced in response to
                    6/13/2012 SEC subpoena, batch Bartsch 003,
                    initial review by Madigan.
10/05/2012   SP     Perform quality control analysis of first-level      L320     7.80 hrs
                    review of potentially privileged documents
                    requested by the SEC relating to Mr. Young.
10/05/2012   GNM    Working in Discovery Partner database answering      L320     1.00 hrs
                    quality control team member questions regarding
                    privilege determinations.
10/05/2012   GNM    Telephone communications with Mr. Blake              L120     0.20 hrs
                    (Contract Reviewer) regarding review of SEC data.

10/05/2012   GNM    Meeting with Mr. Rhode regarding quality control     L120     0.40 hrs
                    procedure and privilege determinations.

10/05/2012   GNM    Drafting and sending e-mail to Mr. Hoffman           L120     0.50 hrs
                    (Morrison & Foerster) regarding re-review of SEC
                    data.
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10/05/2012   AJM    Quality control review of documents produced in      L320     3.20 hrs
                    response to June 13, 2012 SEC subpoena, batch
                    Bartsch 004, initial review by Ms. Ragon.
10/06/2012   JRC    Review and analyze documents coded by                L320     1.30 hrs
                    first-level reviewers in Discovery Partner in
                    response to subpoena from the SEC.
10/06/2012   JRC    Complete quality control feedback form for batch     L320     0.20 hrs
                    of documents reviewed in response to SEC
                    subpoena.
10/06/2012   JDR    Quality control review of documents as outlined in   L320     1.00 hrs
                    quality control protocol and produced in response
                    to 6/13/2012 SEC subpoena, batch Bartsch 003,
                    initial review by Madigan.
10/06/2012   JDR    Quality control review of documents as outlined in   L320     1.60 hrs
                    quality control protocol and produced in response
                    to 6/13/2012 SEC subpoena, batch Bartsch 010,
                    initial review by Kleinman.
10/06/2012   JDR    Quality control review of documents as outlined in   L320     3.20 hrs
                    quality control protocol and produced in response
                    to 6/13/2012 SEC subpoena, batch Bartsch 007,
                    initial review by Mr. Salahuddin.
10/06/2012   SP     Perform quality control analysis of first-level      L320     8.40 hrs
                    review of potentially privileged documents
                    requested by the SEC relating to Mr. Young.
10/06/2012   SP     Communicate with Ms. Marty regarding privilege       L120     0.30 hrs
                    designations for various documents.

10/07/2012   JDR    Quality control review of documents as outlined in   L320     0.80 hrs
                    quality control protocol and produced in response
                    to 6/13/2012 SEC subpoena, batch Bartsch 007,
                    initial review by Salahuddin.
10/07/2012   JDR    Quality control review of documents as outlined in   L320     4.30 hrs
                    quality control protocol and produced in response
                    to 6/13/2012 SEC subpoena, batch Bartsch 009,
                    initial review by Massey.
10/07/2012   SP     Perform quality control analysis of first-level      L320     1.60 hrs
                    review of potentially privileged documents
                    requested by the SEC relating to Mr. Bartsch.
10/08/2012   VLS    Obtain and review document reviewer time cards.      L320     0.40 hrs
                    (.10) Review same for accuracy. (.10) Approve
                    for payment. (.20)
10/08/2012   VLS    Monitor review status of document review team.       L320     2.40 hrs
                    (1.00) Assignment of review batches. (1.00)
                    Assignment of quality control batches. (.20)
                    Update progress chart. (.20)
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10/08/2012   VLS    Training on Relativity database with Mr. Breyer at   L320     1.00 hrs
                    Night Owl.

10/08/2012   VLS    E-mail exchanges with Mr. Breyer at Night Owl        L320     0.40 hrs
                    and Ms. Marty regarding setup of Relativity review
                    platform.
10/08/2012   JALB   Participate in call with client (Mr. Thompson, Mr.   L120     0.40 hrs
                    Ruckdaschel, Ms. Delehey, Ms. Zellmann) and
                    Morrison & Foerster (Mr. Fons, Mr. Hoffman, Ms.
                    Serfoss) regarding status of SEC subpoena
                    response.
10/08/2012   DJB    Quality check and provide feedback to contract       L120     3.80 hrs
                    document reviewers' coding of redactions and
                    issues concerning Bartsch e-mails (batch coded by
                    Jocelynn Armstrong) responsive to SEC document
                    requests.
10/08/2012   DJB    Quality check and provide feedback to contract       L120     4.90 hrs
                    document reviewers regarding coding of
                    confidentiality and privilege concerning Bartsch
                    e-mails (batch coded by Jocelynn Armstrong)
                    responsive to SEC document requests.
10/08/2012   JDR    Quality control review of privilege coding for       L320     0.50 hrs
                    batches first level reviewed by Madigan,
                    Salahuddin, Kleinman, and Massey.
10/08/2012   SP     Perform quality control analysis of first-level      L320     2.10 hrs
                    review of potentially privileged documents
                    requested by the SEC relating to Mr. Bartsch.
10/08/2012   GNM    Meeting with Mr. Rhode regarding quality control     L120     0.50 hrs
                    procedure and privilege determinations.

10/08/2012   GNM    Drafting and sending e-mail to Ms. Chinn             L120     0.30 hrs
                    (Contract Reviewer) regarding privilege
                    determinations.
10/08/2012   GNM    Working in Relativity database to configure data     L320     0.30 hrs
                    for review.

10/08/2012   GNM    Telephone communications with Mr. Blake              L120     0.20 hrs
                    (Contract Reviewer) regarding review of new SEC
                    data.
10/08/2012   GNM    Working in database configuring data for privilege   L320     0.90 hrs
                    re-review.

10/08/2012   GNM    E-mail communications with Mr. Karam (Contract       L120     0.10 hrs
                    Reviewer) regarding privilege determinations.

10/08/2012   AJM    Quality control review of documents produced in      L320     3.30 hrs
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                    response to February 23, 2012 SEC subpoena:
                    batch Young PP 003, initial review by Ms. Syrja.
10/09/2012   VLS    Conferences with document reviewer Mr. Shaw             L320     0.50 hrs
                    and Mr. Bennett of Carpenter Lipps and Leland IT
                    regarding technical issues being experienced by
                    Mr. Shaw regarding the Relativity database.
10/09/2012   VLS    Monitor review status of document review team.          L320     1.50 hrs
                    (.40) Assignment of review batches. (.80)
                    Assignment of quality control batches. (.10)
                    Update progress chart. (.20)
10/09/2012   VLS    Conference with Mr. Shipler and Ms. Gulley at           L320     0.30 hrs
                    DTI regarding status of productions.

10/09/2012   VLS    Conferences with Ms. Marty and Mr. Breyer at            L320     0.50 hrs
                    Night Owl regarding status of document upload.
                    (.40) Batching of documents for assignment to
                    reviewers. (.10)
10/09/2012   VLS    Preparation of progress tracking chart for loan tape    L320     1.20 hrs
                    data recently loaded into Relativity database.

10/09/2012   JRC    Communicate with Ms. Battle and Ms. Marty               L120     0.50 hrs
                    regarding status of productions to the SEC.

10/09/2012   SP     Perform quality control analysis of first-level         L320     4.30 hrs
                    review of potentially privileged documents
                    requested by the SEC relating to Mr. Bartsch.
10/09/2012   AJM    Quality control review of documents produced in         L320     2.70 hrs
                    response to February 23, 2012 SEC subpoena:
                    batch Young PP 003, initial review by Ms. Syrja.
10/10/2012   VLS    Monitor review status of document review team.          L320     1.20 hrs
                    (.20) Assignment of review batches. (.40)
                    Assignment of quality control batches. (.40)
                    Update progress chart. (.20)
10/10/2012   DJB    Quality check and provide feedback to contract          L120     3.80 hrs
                    document reviewers regarding coding of
                    confidentiality, privilege, and redactions of Bartsch
                    e-mails (batch coded by Todd Peck) responsive to
                    SEC document requests.
10/10/2012   JDR    Quality control review of ResCap attorney coding        L320     0.90 hrs
                    for batches first level reviewed by Madigan,
                    Salahuddin, Kleinman, and Massey.
10/10/2012   GNM    Communicate with Mr. Rhode regarding quality            L120     0.60 hrs
                    control procedure and privilege determinations.
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10/10/2012   GNM    Drafting and sending e-mail communications to        L120     0.30 hrs
                    Ms. Battle regarding staffing levels.

10/10/2012   GNM    Working in Discovery Partner database to answer      L320     1.10 hrs
                    reviewer questions regarding privilege and issue
                    designations.
10/10/2012   GNM    Working in Discovery Partner database to             L320     0.40 hrs
                    configure data for privilege re-review.

10/10/2012   AJM    Quality control review of documents produced in      L320     3.20 hrs
                    response to February 23, 2012 SEC subpoena:
                    batch Young PP 003, initial review by Ms. Syrja.
10/10/2012   AJM    Quality control review of documents produced in      L320     1.00 hrs
                    response to June 13, 2012 SEC subpoena: batch
                    Bartsch 012, initial review by Ms. Searls.
10/11/2012   VLS    Monitor review status of document review team.       L320     2.10 hrs
                    (1.00) Assignment of review batches. (.10)
                    Assignment of quality control batches. (.40)
                    Update progress chart. (.60)
10/11/2012   JALB   Review and comment on talking points regarding       L320     0.40 hrs
                    litigation databases, at request of Mr. Hoffman
                    (Morrison & Foerster).
10/11/2012   JDR    Quality control review of documents as outlined in   L320     2.80 hrs
                    quality control protocol and produced in response
                    to 6/13/2012 SEC subpoena, batch Bartsch 013,
                    initial review by Grimes.
10/11/2012   JDR    Finalize quality control review feedback for         L320     0.80 hrs
                    batches first level reviewed by Madigan and
                    Salahuddin.
10/11/2012   JDR    Finalize quality control review feedback for         L320     0.70 hrs
                    batches first level reviewed by Kleinman and
                    Massey.
10/11/2012   GNM    E-mail communications with Ms. Zellman               L120     0.30 hrs
                    (Residential Capital) regarding Seller Files.

10/11/2012   GNM    Drafting and sending e-mail to Mr. Hoffman           L120     0.50 hrs
                    (Morrison & Foerster) regarding deal specific
                    information.
10/11/2012   GNM    Working in Discovery Partner database performing     L320     3.00 hrs
                    second level review on data batched for privilege
                    re-review.
10/11/2012   GNM    Telephone communication with Mr. Blake               L120     0.40 hrs
                    (Contract Reviewer) regarding privilege and issue
                    designations.
10/11/2012   GNM    Meeting with Mr. Rhode regarding quality control     L120     0.40 hrs
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                    procedure and privilege determinations.

10/11/2012   GNM    Telephone communications with Ms. Klun (Lumen          L120     0.20 hrs
                    Legal) regarding staffing levels.

10/11/2012   GNM    Meeting with Ms. Searles (Contract Reviewer)           L120     0.20 hrs
                    regarding privilege determinations.

10/11/2012   GNM    Working in Kroll database to locate deal specific      L320     0.90 hrs
                    information at the request of Mr. Hoffman
                    (Morrison & Foerster).
10/11/2012   AJM    Quality control review of documents produced in        L320     3.40 hrs
                    response to February 23, 2012 SEC subpoena:
                    batch Young PP 003, initial review by Ms. Syrja.
10/11/2012   AJM    Quality control review of documents produced in        L320     0.10 hrs
                    response to February 23, 2012 SEC subpoena:
                    draft e-mail to Ms. Marty explaining identified
                    discrepancy in third-level privilege determinations.
10/11/2012   AJM    Quality control review of documents produced in        L320     0.90 hrs
                    response to June 13, 2012 SEC subpoena: batch
                    Bartsch 012, initial review by Ms. Searls.
10/12/2012   VLS    Monitor review status of document review team.         L320     1.50 hrs
                    (.70) Assignment of review batches. (.60)
                    Assignment of quality control batches. (.10)
                    Update progress chart. (.10)
10/12/2012   VLS    E-mail exchange with Mr. Hoffman at Morrison           L320     0.40 hrs
                    and Foerster regarding seller files requested by the
                    SEC.
10/12/2012   JALB   Telephone conference with Mr. Fons (Morrison &         L120     0.50 hrs
                    Foerster) and Mr. Underhill (Residential Capital)
                    regarding follow up for shared drive file review.
10/12/2012   DJB    Quality check and provide feedback to contract         L120     4.20 hrs
                    document reviewers' confidentiality and privilege
                    re-coding of Bartsch e-mails (batch coded by Todd
                    Peck) responsive to SEC document requests.
10/13/2012   VLS    Preparation of spreadsheet of seller files for DTI     L320     1.50 hrs
                    analyst review and static coding related to
                    production to SEC.
10/14/2012   DJB    Check contract reviewers' confidentiality and          L120     3.20 hrs
                    privilege re-coding of Bartsch e-mails (batch coded
                    by Todd Peck) responsive to SEC document
                    requests.
10/15/2012   VLS    Monitor review status of document review team.         L320     1.90 hrs
                    (.30) Assignment of review batches. (.70)
                    Assignment of quality control batches. (.70)
                    Update progress chart. (.20)
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10/15/2012   VLS    Obtain document reviewer time cards. (.10)            L320     0.40 hrs
                    Review same for accuracy. (.10) Approve for
                    payment. (.20)
10/15/2012   VLS    Conference with Mr. Hoffman at Morrison and           L320     0.40 hrs
                    Foerster regarding collection of seller files
                    requested by the SEC.
10/15/2012   GNM    Drafting and sending e-mail to Mr. Hoffman            L120     0.40 hrs
                    (Morrison & Foerster) regarding status of SEC
                    review.
10/15/2012   GNM    SEC quality control training for three new team       L320     1.00 hrs
                    members.

10/15/2012   GNM    Working in Discovery Partner database performing      L320     0.60 hrs
                    re-review of privileged items.

10/16/2012   VLS    Monitor review status of document review team.        L320     0.50 hrs
                    (.10) Assignment of review batches. (.10)
                    Assignment of quality control batches. (.20)
                    Update progress chart. (.10)
10/16/2012   JALB   Review and comment on draft master                    L120     0.50 hrs
                    organizational charts.

10/16/2012   GNM    Working in Discovery Partner database performing      L320     1.10 hrs
                    re-review of privileged items.

10/16/2012   GNM    Drafting and sending e-mail communications to         L120     0.50 hrs
                    Ms. Gulley (DTI) regarding datasets ready for third
                    level review.
10/17/2012   GNM    Telephone communications with Mr. Hoffman             L120     0.60 hrs
                    (Morrison & Foerster) regarding loan tape data to
                    be reviewed for SEC.
10/17/2012   GNM    Working in Discovery Partner database gather data     L320     0.40 hrs
                    regarding production metrics.

10/18/2012   VLS    Telephone conference with Mr. Hoffman at              L320     0.30 hrs
                    Morrison and Foerster regarding seller files.

10/19/2012   VLS    Assignment of quality control batches to quality      L320     1.10 hrs
                    control review team. (.80) Update status chart.
                    (.30)
10/19/2012   VLS    Research database. (.80) Annotate for possible        L320     1.40 hrs
                    production select seller files identified by Mr.
                    Hoffman at Morrison and Foerster. (.60)
10/19/2012   VLS    E-mail exchange with Ms. Zellmann at ResCap           L320     0.20 hrs
                    regarding seller files.
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10/19/2012   JALB   Participate in Webex to review shared drive file      L320     2.00 hrs
                    trees with GMACM Capital Markets
                    representatives (Ms. Reichel, Mr. Felix), Mr. Fons,
                    Mr Hoffman (both Morrison & Foerster), and Mr.
                    Underhill (Residential Capital).
10/22/2012   JALB   Telephone conference with Mr. Thompson, Ms.           L120     0.60 hrs
                    Zellmann (both Residential Capital), Mr. Fons, Mr.
                    Hoffman (both Morrison & Foerster) regarding
                    status of SEC dialogue and collection/production
                    efforts.
10/22/2012   JALB   Telephone conference with Mr. Fons regarding          L120     0.10 hrs
                    overlap issues between SEC and Examiner.

10/22/2012   GNM    Meeting with Ms. Searles (Contract Reviewer)          L120     0.30 hrs
                    regarding privilege determinations.

10/22/2012   GNM    E-mail communications with Mr. Massey                 L120     0.40 hrs
                    (Contract Reviewer) regarding privilege
                    determinations.
10/22/2012   GNM    Drafting and sending e-mail communications to         L120     0.40 hrs
                    Mr. Hoffman and Ms. Serfoss (Morrison &
                    Foerster) regarding review metrics.
10/22/2012   GNM    E-mail communications with Mr. Hoffman                L120     0.30 hrs
                    (Morrison & Foerster) regarding production
                    timelines.
10/22/2012   GNM    Drafting and sending e-mail communications to         L120     0.30 hrs
                    Ms. Gulley (DTI) regarding database latency.

10/22/2012   GNM    Telephone communications with Mr. Breyer              L120     0.30 hrs
                    (NightOwl) regarding annotation pane in
                    Relativity.
10/23/2012   VLS    Monitor review status of document review team.        L320     1.10 hrs
                    (.60) Assignment of review batches. (.30)
                    Assignment of quality control batches. (.10)
                    Update progress chart. (.10)
10/23/2012   JALB   Meet with Ms. Marty and Mr. Corcoran regarding        L120     0.30 hrs
                    status of various document productions and pace
                    and staffing issues.
10/23/2012   JALB   Correspondence regarding revisions to draft master    L120     0.20 hrs
                    organizational chart.

10/24/2012   GNM    Drafting and sending e-mail communications to         L120     0.70 hrs
                    Mr. Breyer (NightOwl) regarding searched to be
                    run to filter data for review.
10/25/2012   MMM    Perform second quality control review of a            L120     5.80 hrs
                    privilege batch to ensure privilege coding is
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                    correct.
10/25/2012   GNM    Working in Discovery Partner database performing       L320     2.50 hrs
                    second level review on data batched for privilege
                    re-review.
10/25/2012   GNM    Drafting and sending e-mail to Ms. Armstrong           L120     0.30 hrs
                    regarding privilege determinations.

10/25/2012   GNM    Performing second level review on Loan Tape            L320     1.40 hrs
                    data.

10/26/2012   JAL    Prepare for conference call to identify persons with   L120     1.30 hrs
                    knowledge of RFC operations (.30). Conference
                    with Ms. Battle regarding same (.30). Conference
                    call with Ms. Battle, Mr. Fons and Mr. Hoffman
                    (Morrison & Foerster) to discuss same (.30).
                    Review and respond to e-mails regarding same
                    (.30).
10/26/2012   JALB   Follow-up discussion with Mr. Hoffman and Mr.          L120     0.70 hrs
                    Serfoss (Morrison & Foerster) regarding more
                    detail on SEC requests for testimony.
10/26/2012   JALB   Call with Mr. Fons, Mr. Hoffman, Ms. Serfoss (all      L120     0.70 hrs
                    Morrison & Foerster) and Mr. Lipps regarding
                    SEC requests for testimony.
10/26/2012   MMM    Continue second quality control review of a            L120     2.90 hrs
                    privilege batch to ensure privilege coding is
                    correct.
10/26/2012   GNM    Working in Discovery Partner database performing       L320     4.70 hrs
                    second level review of data targeted for privilege
                    errors.
10/26/2012   GNM    E-mail communications with Mr. Shaw (Contract          L120     0.30 hrs
                    Reviewer) regarding new SEC data.

10/26/2012   GNM    Telephone communications with Mr. Breyer               L120     0.40 hrs
                    (NightOwl) regarding loan tape data.

10/26/2012   GNM    E-mail communications with Mr. Breyer                  L120     0.20 hrs
                    (NightOwl) regarding loan tape data.

10/26/2012   GNM    Telephone communications with Mr. Hoffman              L120     0.40 hrs
                    (Morrison & Foerster) regarding loan tape data.

10/26/2012   GNM    E-mail communications with Mr. Hoffman                 L120     0.20 hrs
                    (Morrison & Foerster) regarding loan tape data.

10/29/2012   JAL    Conference with Ms. Battle regarding potential         L120     1.80 hrs
                    RFC employees who could testify regarding
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                    business (.30). Review e-mail to Mr. Thompson
                    (Residential Capital) regarding SEC requested
                    witnesses (.20). Conference call with Mr. Fons,
                    Mr. Hoffman (Morrison & Foerster), Ms. Battle
                    and Residential Capital personnel regarding SEC
                    testimony request (.80). Review and revise e-mail
                    to Mr. Hoffman regarding alternative potential
                    witness (.30). Conference with Ms. Battle
                    regarding same (.20).
10/29/2012   VLS    Monitor status of quality control review team. (.40)   L320     1.10 hrs
                    Assignment of quality control batches. (.60)
                    Update status chart. (.10)
10/29/2012   JALB   Review status of matters and upcoming                  L120     0.10 hrs
                    teleconferences and communicate regarding same
                    with Mr. Lipps.
10/29/2012   JALB   Participate in weekly client strategy discussion       L120     0.80 hrs
                    with Mr. Ruckdaschel, Ms. Zellmann, Mr.
                    Underhill (all Residential Capital), Mr. Fons and
                    Mr. Hoffman (both Morrison & Foerster), and Mr.
                    Lipps.
10/29/2012   GNM    Working in Relativity performing second level          L320     4.20 hrs
                    review of loan tape documents.

10/29/2012   GNM    Drafting and sending e-mail to quality control team    L120     0.40 hrs
                    regarding updated review protocol.

10/29/2012   GNM    Telephone communications with Ms. Serfoss              L120     0.10 hrs
                    (Morrison & Foerster).

10/30/2012   JAL    Participate on conference call with Mr. Thompson,      L120     0.50 hrs
                    Ms. Delehey (Residential Capital), Mr. Fons, Mr.
                    Hoffman (Morrison & Foerster) and Ms. Battle
                    regarding witness testimony (.40). Review and
                    respond to e-mails regarding same (.10).
10/30/2012   JALB   Telephone conference with Mr. Thompson, Ms.            L120     0.90 hrs
                    Delehey (Residential Capital), Mr. Fons, Mr.
                    Hoffman (Morrison & Foerster), and Mr. Lipps
                    regarding SEC request for witness testimony and
                    next steps. (.50) Follow-up on same. (.40)
10/30/2012   JALB   Correspondence with Mr. Beck and Mr. Lipps             L120     0.10 hrs
                    regarding 10-Ks and registration statements.

10/30/2012   JALB   Correspondence with Mr. Corcoran and Mr.               L120     0.30 hrs
                    Barthel regarding research on witnesses requested.

10/30/2012   DJB    Research and create chart of employers, positions,     L120     6.20 hrs
                    and dates of employment for requested witnesses
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27       Exhibit E
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                    in preparation for SEC interviews.
10/30/2012   DAB    Communicate with Mr. Phillips regarding research       L120     0.20 hrs
                    needed on shelf registration statements.

10/30/2012   DAB    Communicate with Ms. Battle regarding research         L120     0.10 hrs
                    needed regarding securities filings.

10/30/2012   SP     Conference with Mr. Beck regarding shelf               L120     4.30 hrs
                    registration statements, review shelf registration
                    statements from RALI, RAMP, and other sponsors.
                    (.20) Identify signatories to such statements.
                    (4.00) Provide Ms. Battle and Mr. Beck with
                    examples of such documents. (.10)
10/30/2012   GNM    Editing SDG data protocol.                             L320     0.80 hrs


10/30/2012   GNM    Training for SDG protocol.                             L320     0.50 hrs


10/30/2012   GNM    Working in Relativity database to configure data       L320     1.60 hrs
                    for review.

10/30/2012   GNM    Telephone communications with Mr. Breyer               L120     0.30 hrs
                    (NightOwl) regarding SDG data.

10/30/2012   GNM    E-mail communications with Mr. Breyer                  L120     0.20 hrs
                    (NightOwl) regarding SDG data.

10/31/2012   VLS    Monitor status of quality control review team. (.10)   L320     0.40 hrs
                    Assignment of quality control batches. (.20)
                    Update status chart. (.10)
10/31/2012   RBS    Upload shelf registration documents to share with      L310     1.20 hrs
                    Mr. Hoffman (Morrison & Foerster) for Ms. Battle.

10/31/2012   JALB   Discussion with Mr. Corcoran regarding research        L120     0.20 hrs
                    on target witnesses.

10/31/2012   DAB    Communicate with Mr. Samson regarding SEC              L120     0.10 hrs
                    filings needed by Morrison & Foerster.

10/31/2012   DAB    Communicate with Mr. Bergelson and Mr. Day             L120     0.10 hrs
                    (Morrison & Foerster) regarding SEC materials
                    needed by Mr. Hoffman of Morrison & Foerster.
10/31/2012   DAB    Communicate with Ms. Battle regarding materials        L120     0.10 hrs
                    needed by Mr. Hoffman of Morrison & Foerster.
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10/31/2012   JRC    Conference with Mr. Barthel regarding preparation          L320        0.10 hrs
                    materials for interviews with the SEC.

10/31/2012   JRC    Conference with Ms. Battle regarding preparation           L320        0.20 hrs
                    materials for interviews with the SEC.

10/31/2012   JRC    Conference with Mr. Hoffman (Morrison &                    L320        0.10 hrs
                    Foerster) regarding preparation materials for
                    interviews with the SEC.
10/31/2012   JRC    Review and analyze documents in Discovery                  L320        0.40 hrs
                    Partner in order to locate parent e-mails with
                    mismatched attachments.
10/31/2012   GNM    E-mail communications with Mr. Hoffman                     L120        0.20 hrs
                    (Morrison & Foerster) regarding "Unviewable"
                    loan tape data.
10/31/2012   GNM    Meeting with Ms. Chinn (Contract Reviewer)                 L120        0.70 hrs
                    regarding privilege determinations when Canadian
                    entities are involved.
10/31/2012   GNM    Working in Relativity database troubleshooting             L320        0.30 hrs
                    "Unviewable" documents.

10/31/2012   GNM    Drafting and sending e-mail to review team                 L120        0.20 hrs
                    regarding new data for review.



                    TOTAL FEES FOR THIS MATTER                                            $45,185.00

EXPENSES

10/04/2012          (TRIP-JALB-10/2-4/12) Out-of-Town Travel/Airfare - travel to           $2,350.40
                    St. Paul, MN and Philadelphia, PA to attend client meetings
                    regarding shared drive review

10/04/2012          (TRIP-JALB-10/2-4/12) Out-of-Town Travel/Hotel - travel to St.          $335.08
                    Paul, MN and Philadelphia, PA to attend client meetings
                    regarding shared drive review

10/04/2012          (TRIP-JALB-10/2-4/12) Out-of-Town Travel/Rental Car - travel            $160.23
                    to St. Paul, MN and Philadelphia, PA to attend client meetings
                    regarding shared drive review

10/04/2012          (TRIP-JALB-10/2-4/12) Out-of-Town Travel/Food/Beverage -                     $10.23
                    travel to St. Paul, MN and Philadelphia, PA to attend client
                    meetings regarding shared drive review

10/04/2012          (TRIP-JALB-10/2-4/12) Out-of-Town Travel/Food/Beverage -                      $7.76
                    travel to St. Paul, MN and Philadelphia, PA to attend client
                    meetings regarding shared drive review
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10/04/2012              (TRIP-JALB-10/2-4/12) Out-of-Town Travel/Food/Beverage -                        $6.70
                        travel to St. Paul, MN and Philadelphia, PA to attend client
                        meetings regarding shared drive review

10/04/2012              (TRIP-JALB-10/2-4/12) Out-of-Town Travel/Food/Beverage -                       $41.56
                        travel to St. Paul, MN and Philadelphia, PA to attend client
                        meetings regarding shared drive review

10/04/2012              (TRIP-JALB-10/2-4/12) Out-of-Town Travel/Parking @ Port                        $42.00
                        Columbus - travel to St. Paul, MN and Philadelphia, PA to attend
                        client meetings regarding shared drive review

10/07/2012              Litigation Support Vendors - Lumen Legal (services for 9/24/12             $55,058.2
                        to 10/1/12)                                                                        4

10/21/2012              Litigation Support Vendors - Lumen Legal (services for 10/8/12             $27,133.6
                        to 10/21/12)                                                                       4

                        TOTAL EXPENSES FOR THIS MATTER                                            $85,145.84


BILLING SUMMARY


         Molnar, Anthony J.                          28.80 hrs    210.00 /hr        $6,048.00


         Beck, David A.                               0.60 hrs    230.00 /hr           $138.00


         Barthel, David J.                           34.80 hrs    210.00 /hr        $7,308.00


         Marty, Gretchen N.                          59.60 hrs    150.00 /hr        $8,940.00


         Lipps, Jeffrey A.                            3.60 hrs    360.00 /hr        $1,296.00


         Battle, Jennifer A.L.                       25.60 hrs    250.00 /hr        $6,400.00


         Rhode, Jacob D.                             24.20 hrs    160.00 /hr        $3,872.00


         Corcoran, Jeffrey R.                         6.00 hrs    180.00 /hr        $1,080.00


         Mohler, Mallory M.                           9.20 hrs    160.00 /hr        $1,472.00


         Samson, Robert B.                            1.20 hrs     75.00 /hr             $90.00
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      Moeller, Steven C.                      0.30 hrs   200.00 /hr        $60.00


      Phillips, Segev                        28.80 hrs   220.00 /hr     $6,336.00


      Sholl, Veronica L.                     28.60 hrs    75.00 /hr     $2,145.00



   TOTAL FEES                               251.30 hrs                 $45,185.00

   TOTAL EXPENSES                                                      $85,145.84

   TOTAL CHARGES FOR THIS INVOICE                                     $130,330.84
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                              Monthly Invoices Pg 316 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                         November 15, 2012

                                                                   Billed through 10/31/2012
Tammy Hamzephour                                                   Invoice # 51835      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 932 00057
190-FTW-L95
Fort Washington, PA 19034

Re: RMBS Trust Settlement
Matter No.: 721750

PROFESSIONAL SERVICES

10/01/2012   AMP       Attention to drafting and revising log for withheld         L320        3.20 hrs
                       documents from Set 1 of the production to the
                       UCC.
10/01/2012   AMP       Review documents coding as privileged entire to             L320        2.40 hrs
                       confirm privilege status for purposes of creating
                       privilege log for Set 1.
10/01/2012   AMP       Multiple e-mails with Ms. Battle regarding status           L120        0.90 hrs
                       of privilege logs.

10/01/2012   AMP       Multiple e-mails with privilege log review team             L320        0.90 hrs
                       regarding privilege calls.

10/01/2012   AMP       Review documents in Set 1 involving experts and             L320        0.80 hrs
                       consultants to confirm privilege designations.

10/01/2012   AMP       Multiple e-mails with Mr. Clark (Morrison &                 L320        1.30 hrs
                       Foerster) and Mr. Bergelson (Morrison & Foerster)
                       regarding exporting data for logs from
                       Concordance.
10/01/2012   AMP       Multiple e-mails with Mr. Harris (Morrison &                L120        0.60 hrs
                       Foerster) regarding privilege issues regarding
                       experts and consultants.
10/01/2012   AMP       Conference call with Morrison & Foerster                    L320        1.10 hrs
                       regarding redaction issues in Set 1.
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10/01/2012   JAL    Review disclosures of experts by potential            L130     1.00 hrs
                    objectors (.30). Conference with Mr. Beck
                    regarding obtaining background on experts (.20).
                    Review and respond to e-mails regarding discovery
                    disputes and experts' background (.20).
                    Conference with Ms. Battle regarding same (.30).
10/01/2012   VLS    Review seller files recently obtained and loaded      L320     5.00 hrs
                    into DTI database. (.30) Annotate same for
                    production to UCC. (.20)
10/01/2012   JALB   Telephone conference with Mr. Rains (Morrison &       L120     0.20 hrs
                    Foerster) regarding scope of supporting materials
                    relating to declaration.
10/01/2012   JALB   Telephone conference with Mr. Clark (Morrison &       L120     0.20 hrs
                    Foerster) regarding status of production for seller
                    files and other materials.
10/01/2012   JALB   Respond to Morrison & Foerster questions              L120     0.30 hrs
                    regarding status of document productions.

10/01/2012   JALB   Begin reviewing draft privilege log.                  L320     0.20 hrs


10/01/2012   JALB   Meet with Mr. Lipps regarding scope of supporting     L120     0.40 hrs
                    materials relating to declaration.

10/01/2012   DAB    Conference with Mr. Lipps and Ms. Battle              L120     0.30 hrs
                    regarding preparations for expert depositions in
                    RMBS and other discovery tasks related to 9019
                    motion.
10/01/2012   DAB    Conference with Ms. Levitt (Morrison & Foerster)      L120     0.30 hrs
                    regarding statute of limitations analysis needed on
                    RMBS claims and expert witnesses identified by
                    potential objectors.
10/01/2012   DAB    Communicate with Ms. Levitt (Morrison &               L120     0.30 hrs
                    Foerster) regarding background of expert witnesses
                    identified by potential objectors to RMBS
                    settlement.
10/01/2012   DAB    Analyze RMBS transaction documents on statute         L120     0.70 hrs
                    of limitation issues.

10/01/2012   JRC    Conference with Ms. Battle regarding RMBS trust       L210     0.30 hrs
                    settlement motion.

10/01/2012   JRC    Review and analyze supplemental declaration of        L210     0.50 hrs
                    Mr. Lipps in order to prepare for expert reports of
                    parties objecting to the RMBS trust settlement.
10/01/2012   JRC    Review and analyze Residential Capital, LLC's         L210     0.40 hrs
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                    motion to assume the plan support agreements in
                    order to prepare for expert reports of parties
                    objecting to the RMBS trust settlement.
10/01/2012   JRC    Review and analyze Residential Capital, LLC's            L210     0.60 hrs
                    motion for approval of the RMBS trust settlement
                    in order to prepare for expert reports of parties
                    objecting to the RMBS trust settlement.
10/01/2012   JRC    Conference with Mr. Rhode regarding research on          L120     0.10 hrs
                    expert witnesses disclosed by parties objecting to
                    the RMBS trust settlement.
10/01/2012   JRC    Review and analyze declaration of Mr. Sillman in         L320     0.70 hrs
                    support of RMBS trust settlement in order to
                    prepare deposition preparation materials for Mr.
                    Sillman.
10/01/2012   JRC    Review and analyze objections of Triaxx to RMBS          L210     0.30 hrs
                    trust settlement in order to prepare for expert
                    reports of parties objecting to the RMBS trust
                    settlement.
10/01/2012   JDR    Conference with Ms. Battle regarding expert              L120     0.20 hrs
                    witness research and memoranda.

10/01/2012   JDR    Research regarding expert reports and testimony          L340     1.50 hrs
                    excerpts given by UCC expert Mr. Cornell.

10/01/2012   SP     Redact documents previously marked withhold              L120     3.10 hrs
                    entirely from RMBS settlement production of
                    Morrison Foerster documents.
10/01/2012   SP     Conference with Ms. Paul-Whitfield regarding             L120     0.40 hrs
                    responsiveness, privilege, and redaction
                    designation issues.
10/01/2012   SP     Attention to editing of coding of documents to           L120     0.60 hrs
                    assist in preparation of privilege log entries for the
                    withheld documents from the Morrison Foerster
                    custodian documents.
10/01/2012   SP     Review of documents designated as privileged             L320     3.90 hrs
                    from RMBS settlement production of Morrison
                    Foerster custodian documents.
10/02/2012   AMP    Attention to quality control review of potentially       L320     3.80 hrs
                    privileged documents in Set 2 to assist MoFo in its
                    productions to the UCC.
10/02/2012   AMP    Attention to responsiveness issues relating to the       L320     0.80 hrs
                    documents in Set 2.

10/02/2012   AMP    Multiple e-mails with review team regarding              L320     0.70 hrs
                    responsiveness decisions as to Set 2.
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10/02/2012   AMP    Attention to drafting, editing, and developing         L320     1.90 hrs
                    privilege log entries for documents being withheld
                    for attorney-client, work product, or common
                    interest privilege from Set 1 to assist MoFo in its
                    productions to the UCC.
10/02/2012   AMP    Attention to preparing additional information          L320     1.10 hrs
                    inserts to the privilege log for Set 1 to provide
                    more detailed descriptions at the request of the
                    UCC's counsel.
10/02/2012   AMP    Revise and finalize withheld privilege log for Set     L320     0.40 hrs
                    1.

10/02/2012   AMP    Attention to adding those clawed back documents        L320     0.60 hrs
                    to the withheld privilege log for Set 1.

10/02/2012   AMP    Multiple e-mails with Mr. Clark (Morrison &            L320     0.80 hrs
                    Foerster) and Mr. Harris (Morrison & Foerster)
                    regarding withheld privilege log for Set 1.
10/02/2012   AMP    Multiple e-mails with Mr. Clark (Morrison &            L320     0.50 hrs
                    Foerster) regarding clawback letter related to first
                    production.
10/02/2012   AMP    Conference call with Mr. Clark (Morrison &             L320     0.90 hrs
                    Foerster) regarding timing of withheld log for Set 2
                    and redacted logs for Sets 1 and 2.
10/02/2012   JAL    Review and respond to e-mails regarding schedule       L330     0.50 hrs
                    for fact discovery and expert depositions (.20).
                    Conference with Ms. Battle regarding preparing for
                    expert deposition (.50).
10/02/2012   VLS    Review excel spreadsheet of custodian 1 seller files   L320     1.20 hrs
                    which did not get swept into recent seller file
                    production due to file naming issues.
10/02/2012   VLS    E-mail exchanges with Mr. Shipler (DTI)                L320     0.40 hrs
                    regarding production of seller files.

10/02/2012   VLS    Review seller files in DTI database. (1.40) Select     L320     2.90 hrs
                    and annotate additional seller files for production
                    to UCC. (1.50)
10/02/2012   JALB   Review draft privilege log and provide comments        L320     0.40 hrs
                    to Ms. Paul-Whitfield.

10/02/2012   JALB   Follow-up correspondence with Ms.                      L120     0.20 hrs
                    Paul-Whitfield regarding draft privilege log.

10/02/2012   DJB    Compile supporting materials cited in Lipps            L120     6.40 hrs
                    Declaration in support of RMBS Trust settlement.
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10/02/2012   DJB    Draft index of authorities cited in Lipps               L120     3.10 hrs
                    Declaration in support of RMBS Trust Settlement.

10/02/2012   DAB    Call with Ms. Beck (Morrison & Foerster)                L120     0.30 hrs
                    regarding transactional provisions relevant for
                    statute of limitations analysis.
10/02/2012   DAB    Communicate with Ms. Battle regarding MBIA              L120     0.20 hrs
                    meeting and next projects needed on RMBS
                    settlement.
10/02/2012   DAB    Communicate with Mr. Moeller regarding statute          L120     0.10 hrs
                    of limitation issues related to RMBS settlement.

10/02/2012   DAB    Conference with Mr. Rhode regarding research on         L120     0.10 hrs
                    expert witnesses identified by potential objectors to
                    RMBS settlement.
10/02/2012   DAB    Examine MBIA prepetition expert report on loan          L120     0.80 hrs
                    reunderwriting to prepare for expert reports in
                    RMBS litigation.
10/02/2012   DAB    Communicate with Ms. Battle regarding MBIA              L120     0.20 hrs
                    prepetition expert report.

10/02/2012   JRC    Review and analyze objections of Triaxx entities to     L210     0.20 hrs
                    RMBS Trust Settlement in order to prepare for
                    expert reports objecting to the RMBS Trust
                    Settlement.
10/02/2012   JRC    Review and analyze affidavit of Mr. Priore              L210     0.30 hrs
                    (Triaxx) in support of Triaxx's objections in order
                    to prepare for expert reports objecting to the
                    RMBS Trust Settlement.
10/02/2012   JRC    Review internal memoranda addressing potential          L210     0.30 hrs
                    objections to the RMBS Trust Settlement in order
                    to prepare for expert reports objecting to the
                    RMBS Trust Settlement.
10/02/2012   JDR    Research to obtain available expert reports,            L340     2.80 hrs
                    motions, and orders from cases involving UCC
                    expert Mr. Cornell.
10/02/2012   JDR    Review and analyze publications by UCC expert           L340     1.30 hrs
                    Mr. Cornell regarding asset valuation methodology
                    and accounting principles.
10/02/2012   JDR    Research to obtain available expert reports,            L340     2.20 hrs
                    motions, and orders in cases involving UCC expert
                    Mr. Morrow.
10/02/2012   JDR    Research regarding experience and biographical          L340     0.50 hrs
                    information for FGIC expert Mr. Rosenberg.

10/02/2012   JDR    Research regarding social media and legal blog          L340     0.30 hrs
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                    postings by FGIC expert Mr. Rosenberg.

10/02/2012   JDR    Research news publications regarding FGIC expert       L340     0.20 hrs
                    Mr. Rosenburg.

10/02/2012   JDR    Review most recent Court decisions involving           L210     1.00 hrs
                    UCC expert Mr. Cornell and his expert testimony.

10/02/2012   SP     Review of documents designated as privileged           L320     1.80 hrs
                    from RMBS settlement production of Morrison
                    Foerster custodian documents.
10/02/2012   SP     Review redactions on documents previously              L120     1.70 hrs
                    marked withhold entirely from RMBS settlement
                    production of Morrison & Foerster documents.
10/03/2012   AMP    Revise and finalize withheld privilege log for Set     L320     0.60 hrs
                    2.

10/03/2012   AMP    Multiple e-mails with Mr. Clark (Morrison &            L320     0.50 hrs
                    Foerster) and Mr. Harris (Morrison & Foerster)
                    regarding withheld privilege log for Set 2.
10/03/2012   AMP    Quality control review of potentially privileged       L320     2.20 hrs
                    documents in Set 2 to assist Morrison & Foerster in
                    its productions to the UCC.
10/03/2012   AMP    Drafting, editing, and developing privilege log        L320     1.10 hrs
                    entries for documents being withheld for
                    attorney-client, work product, or common interest
                    privilege from Set 2 to assist Morrison & Foerster
                    in its productions to the UCC.
10/03/2012   AMP    Prepare additional information inserts to the          L320     1.20 hrs
                    privilege log for Set 2 to provide more detailed
                    descriptions at the request of the UCC's counsel.
10/03/2012   AMP    Conference call with Mr. Clark (Morrison &             L320     0.40 hrs
                    Foerster) regarding timing of withheld log for Set 2
                    and redacted logs for Sets 1 and 2.
10/03/2012   VLS    Conference with Mr. Bergelson and Mr. Clark at         L320     0.40 hrs
                    Morrison and Foerster and Ms. Marty regarding
                    production of seller files to UCC.
10/03/2012   VLS    Review seller files in DTI database. (1.10) Select     L320     2.20 hrs
                    and annotate additional seller files for production
                    to UCC. (1.10)
10/03/2012   JALB   Correspondence with Mr. Beck regarding impact          L120     0.30 hrs
                    of tolling agreements on statute of limitations
                    analysis.
10/03/2012   JALB   Correspondence with Mr. Corcoran regarding             L120     0.30 hrs
                    status of differently situated investors.
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10/03/2012   DJB    Compile supporting materials cited in Lipps            L120     2.40 hrs
                    Declaration in support of RMBS Trust Settlement.

10/03/2012   DJB    Review document review protocol regarding              L120     0.40 hrs
                    RMBS settlement agreement, subsequent
                    amendment, and plan support agreement
                    negotiations.
10/03/2012   DJB    Quality check and provide feedback to contract         L120     4.70 hrs
                    reviewers' Set 2 privilege determinations and
                    redactions in Concordance concerning RMBS
                    settlement agreement, subsequent amendment, and
                    plan support agreement negotiations.
10/03/2012   DJB    Draft, edit and develop Set 2 privilege log entries    L120     4.90 hrs
                    for documents being withheld and redacted for
                    attorney-client, work product, or common interest
                    privilege regarding RMBS settlement agreement,
                    subsequent amendment, and plan support
                    agreement negotiations to assist Morrison Foerster
                    in its productions to the UCC.
10/03/2012   DAB    Research issues related to statute of limitation       L120     1.70 hrs
                    claims against servicers related to RMBS
                    securitizations.
10/03/2012   JRC    Review and analyze ResCap's supplemental               L210     0.30 hrs
                    motion in support of RMBS Trust Settlement in
                    order to prepare for expert reports objecting to the
                    RMBS Trust Settlement.
10/03/2012   JRC    Review and analyze the RMBS Trust Settlement in        L210     0.20 hrs
                    order to prepare for expert reports objecting to the
                    RMBS Trust Settlement.
10/03/2012   JRC    Review and analyze Pooling and Servicing               L210     0.40 hrs
                    Agreement in order to prepare for expert reports
                    objecting to the RMBS Trust Settlement.
10/03/2012   JRC    Review and analyze Mr. Sillman's supplemental          L210     0.60 hrs
                    declaration in support of the RMBS Trust
                    Settlement and the accompanying exhibits in order
                    to prepare for expert reports objecting to the
                    RMBS Trust Settlement.
10/03/2012   JRC    Conference with Mr. Beck regarding motion to           L210     0.10 hrs
                    approve RMBS Trust Settlement.

10/03/2012   JRC    Review and analyze research articles written by        L340     2.70 hrs
                    Kose John (expert designated by MBIA Insurance
                    Corporation) in order to prepare memorandum on
                    possible testimony.
10/03/2012   JRC    Review and analyze presentations given by Kose         L340     1.40 hrs
                    John (expert designated by MBIA Insurance
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                    Corporation) in order to prepare memorandum on
                    possible testimony.
10/03/2012   JDR    Research to obtain available testimony excerpts       L340     1.00 hrs
                    given by UCC expert Mr. Cornell.

10/03/2012   JDR    Draft memorandum of relevant research on UCC          L340     0.90 hrs
                    expert Mr. Cornell's background and experience.

10/03/2012   SP     Review of documents designated as privileged          L320     2.20 hrs
                    from RMBS settlement production of Morrison &
                    Foerster custodian documents.
10/03/2012   SP     Redactions on documents previously marked             L120     2.30 hrs
                    withhold entirely from RMBS settlement
                    production of Morrison & Foerster documents.
10/03/2012   GNM    Telephone communications with Mr. Shipler (DTI)       L120     0.40 hrs
                    regarding seller file production.

10/03/2012   GNM    Telephone communications with Mr. Bergleson           L120     0.20 hrs
                    and Mr. Clark (Morrison & Foerster) regarding
                    seller files production.
10/03/2012   AJM    Conference with Ms. Paul-Whitfield and Mr.            L120     0.70 hrs
                    Barthel to discuss revision process for privilege
                    logs for UCC document request regarding 9019
                    settlement, set 2.
10/03/2012   AJM    Quality control review of documents deemed to be      L320     3.80 hrs
                    entirely privileged, UCC document request
                    regarding 9019 settlement, set 2.
10/03/2012   AJM    Revise privilege log of documents deemed to be        L320     3.80 hrs
                    entirely privileged, UCC document request
                    regarding 9019 settlement, set 2.
10/03/2012   AJM    Review document review protocol and instructions      L120     0.20 hrs
                    from Ms. Paul-Whitfield in preparation for revising
                    privilege logs for UCC document request regarding
                    Ms. Patrick's settlement.
10/04/2012   AMP    Revise and finalize withheld privilege log for Set    L320     1.20 hrs
                    2.

10/04/2012   AMP    Multiple e-mails with privilege log review team for   L320     0.30 hrs
                    issues regarding privilege determinations.

10/04/2012   AMP    Review documents for privilege determinations.        L320     0.40 hrs


10/04/2012   AMP    Attention to reviewing and revising redactions of     L320     1.70 hrs
                    privileged information from documents in Set 1 to
                    be produced to the UCC.
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10/04/2012   AMP    Multiple e-mails with Mr. Clark (Morrison &             L120     1.10 hrs
                    Foerster) and Mr. Harris (Morrison & Foerster)
                    regarding withheld privilege log for Set 2.
10/04/2012   AMP    Draft, edit, and develop privilege log entries for      L320     1.90 hrs
                    documents being withheld for attorney-client, work
                    product, or common interest privilege from Set 2 to
                    assist Morrison & Foerster in its productions to the
                    UCC.
10/04/2012   AMP    Prepare additional information inserts to the           L320     0.80 hrs
                    privilege log for Set 2 to provide more detailed
                    descriptions at the request of the UCC's counsel.
10/04/2012   AMP    Draft and revise chart of individuals appearing on      L320     1.00 hrs
                    Set 1 withheld privilege log.

10/04/2012   AMP    Revise redacted privilege log for Set 1.                L320     0.90 hrs


10/04/2012   AMP    Multiple e-mails with Morrison & Foerster and           L320     1.10 hrs
                    privilege log review team regarding descriptions of
                    basis for redaction.
10/04/2012   AMP    Correct redactions in Set 1 for purposes of log.        L320     0.80 hrs


10/04/2012   AMP    Review privilege research memorandums prepared          L320     0.30 hrs
                    by Morrison & Foerster.

10/04/2012   AMP    E-mails with Mr. Corcoran and Ms. Battle                L120     0.20 hrs
                    regarding privilege research memorandums
                    prepared by Morrison & Foerster.
10/04/2012   JAL    Review further expert disclosures by potential          L130     0.50 hrs
                    objectors (.10). Conference with Mr. Beck
                    regarding same (.20). Review and respond to
                    e-mails regarding case schedule (.20).
10/04/2012   VLS    Review DTI database. (1.50) Select and annotate         L320     3.00 hrs
                    additional seller files for production to UCC. (1.50)

10/04/2012   JALB   Various e-mails with Ms. Levitt and Mr. Rains           L120     0.20 hrs
                    (Morrison & Foerster) and Mr. Lipps regarding
                    coordination of witness preparation efforts.
10/04/2012   JALB   Respond to questions from Ms. Levitt (Morrison &        L120     0.30 hrs
                    Foerster) regarding loan file review questions
                    regarding missing documents.
10/04/2012   JALB   Follow up discussion with Fortace (Ms. Minier),         L120     0.40 hrs
                    ResCap (Ms. Hreshko and Ms. Baird) and Mr.
                    Clark (Morrison & Foerster) regarding loan file
                    review questions regarding missing documents.
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10/04/2012   JALB   Review correspondence from Mr. Sidman (counsel           L120     0.10 hrs
                    for FGIC) regarding expert disclosures and
                    circulate to internal expert team.
10/04/2012   JALB   Correspondence with Ms. Moloff (Morrison &               L120     0.10 hrs
                    Foerster) regarding Mr. Marano's preparation
                    materials and attention to Marano preparation
                    planning.
10/04/2012   JALB   Review reports from Ms. Whitfield regarding              L320     0.30 hrs
                    status and issues in connection with 9019 privilege
                    log. (.20) Provide comments and guidance on
                    same. (.10)
10/04/2012   DJB    Quality check and provide feedback to contract           L120     5.10 hrs
                    reviewers' Set 2 privilege determinations in
                    Concordance to assist Morrison & Foerster in its
                    productions to the UCC concerning RMBS
                    settlement agreement, subsequent amendment, and
                    plan support agreement negotiations.
10/04/2012   DJB    Draft, edit, and develop Set 2 privilege log entries     L120     5.80 hrs
                    for documents being withheld for attorney-client,
                    work product, or common interest privilege to
                    assist Morrison & Foerster in its productions to the
                    UCC.
10/04/2012   DAB    Communicate with Mr. Lipps, Ms. Battle and Mr.           L120     0.10 hrs
                    Beekhuizen regarding WSJ article disclosures on
                    GSE repurchase positions with other issuers.
10/04/2012   DAB    Draft analysis on statute of limitation issues related   L120     1.00 hrs
                    to claims against servicers.

10/04/2012   DAB    Listen in on hearing regarding RMBS discovery.           L230     1.70 hrs


10/04/2012   DAB    Conference with Mr. Rhode regarding research on          L120     0.20 hrs
                    experts identified by potential objectors to RMBS
                    settlement.
10/04/2012   DAB    Communicate with Mr. Lipps and Ms. Battle                L120     0.30 hrs
                    regarding Judge Glenn rulings on discovery related
                    to RMBS motion.
10/04/2012   JRC    Conference with Mr. Rhode regarding research on          L340     0.30 hrs
                    expert witnesses disclosed by parties objecting to
                    the RMBS Trust Settlement.
10/04/2012   JRC    Review and analyze declaration of Mr. Nolan (FTI         L210     0.30 hrs
                    Consulting) in support of motion for approval of
                    the RMBS Trust Settlement in order to prepare for
                    expert reports objecting to the RMBS Trust
                    Settlement.
10/04/2012   JRC    Review and analyze research articles written by          L340     2.10 hrs
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                    Kose John (expert designated by MBIA Insurance
                    Corporation) in order to prepare memorandum
                    providing potential testimony.
10/04/2012   JRC    Review and analyze research articles written by      L340     1.10 hrs
                    Benjamin Keys (expert designated by MBIA
                    Insurance Corporation) in order to prepare
                    memorandum analyzing potential testimony.
10/04/2012   JDR    Review and analyze relevant research publications    L120     1.60 hrs
                    of UCC expert Mr. Cornell to prepare for drafting
                    memorandum.
10/04/2012   JDR    Conference with Mr. Corcoran regarding expert        L120     0.30 hrs
                    designation research.

10/04/2012   JDR    Review declaration of Mr. Lipps to assist in         L120     0.80 hrs
                    research and in response to disclosed information
                    regarding potential FGIC, UCC, and Trustee expert
                    witness designation testimony.
10/04/2012   JDR    Research information regarding FGIC Expert Mr.       L120     0.50 hrs
                    Vinella from the Berkeley Research Group.

10/04/2012   JDR    Quality control review of documents as outlined in   L320     1.80 hrs
                    QC protocol and produced in response to
                    6/13/2012 SEC subpoena, various batches to
                    ensure proper privilege coding of Cerberus
                    documents.
10/04/2012   JDR    Research regarding background of UCC expert          L120     1.10 hrs
                    Moelis Co.

10/04/2012   JDR    Review declaration of Mr. Sillman to assist in       L120     1.00 hrs
                    research and in response to disclosed information
                    regarding potential FGIC, UCC, and Trustee expert
                    witness designation testimony.
10/04/2012   SP     Review and revise of documents designated as         L320     1.60 hrs
                    privileged from RMBS settlement production of
                    Morrison & Foerster custodian documents.
10/04/2012   SP     Attention to redactions on documents previously      L120     2.10 hrs
                    marked withhold entirely from RMBS settlement
                    production of Morrison Foerster documents.
10/04/2012   AJM    Conference with Ms. Paul-Whitfield to discuss        L120     0.20 hrs
                    revisions to privilege log for redacted documents,
                    UCC document request regarding RMBS
                    settlement, set 2.
10/04/2012   AJM    Quality control review of documents deemed to be     L320     2.50 hrs
                    partially privileged, UCC document request
                    regarding RMBS settlement, set 2.
10/04/2012   AJM    Revise privilege log of documents deemed to be       L320     2.30 hrs
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                    partially privileged, UCC document request
                    regarding RMBS settlement, set 2.
10/05/2012   AMP    Review and revise redactions of privileged            L320     2.40 hrs
                    information from documents in Set 1 to be
                    produced to the UCC.
10/05/2012   AMP    Draft, edit and develop privilege log entries for     L320     1.80 hrs
                    documents in Set 1 being redacted for
                    attorney-client, work product, or common interest
                    privilege to assist Morrison & Foerster in its
                    productions to the UCC.
10/05/2012   AMP    Prepare additional information inserts to the         L320     1.60 hrs
                    redacted privilege log for Set 1 to provide more
                    detailed descriptions at the request of the UCC's
                    counsel.
10/05/2012   AMP    Review and revise redactions of privileged            L320     2.20 hrs
                    information from documents in Set 2 to be
                    produced to the UCC.
10/05/2012   AMP    Draft, edit and develop privilege log entries for     L320     1.20 hrs
                    documents in Set 2 being redacted for
                    attorney-client, work product, or common interest
                    privilege to assist Morrison & Foerster in its
                    productions to the UCC.
10/05/2012   AMP    Prepare additional information inserts to the         L320     0.90 hrs
                    redacted privilege log for Set 2 to provide more
                    detailed descriptions at the request of the UCC's
                    counsel.
10/05/2012   AMP    Multiple e-mails with privilege log review team       L320     1.20 hrs
                    and Morrison & Foerster regarding redaction
                    issues and privilege logs for redacted documents in
                    Sets 1 and 2.
10/05/2012   AMP    Finalize withheld log for Set 1.                      L320     0.30 hrs


10/05/2012   AMP    Finalize withheld log for Set 2.                      L320     0.40 hrs


10/05/2012   AMP    Finalize redacted log for Sets 1 and 2.               L320     0.40 hrs


10/05/2012   AMP    Revise key of personnel on privilege logs.            L320     0.60 hrs


10/05/2012   JAL    Review recent Trustee decision to prepare for         L330     0.40 hrs
                    potential expert deposition examination.

10/05/2012   JAL    Review and respond to e-mails regarding case          L120     0.40 hrs
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                    schedule and witness preparation.

10/05/2012   VLS    Review seller files in DTI database. (1.00) Select    L320     2.10 hrs
                    and annotate additional seller files for production
                    to UCC. (1.10)
10/05/2012   JALB   At request of Ms. Levitt (Morrison & Foerster),       L120     0.70 hrs
                    review and analyze individual loan questions
                    raised by Trustees.
10/05/2012   JALB   Prepare with Mr. Clark (Morrison & Foerster) for      L120     0.30 hrs
                    call with Trustees regarding loan file underwriting
                    questions.
10/05/2012   JALB   Participate with Mr. Clark (Morrison & Foerster)      L120     1.10 hrs
                    in call with Trustees regarding loan file
                    underwriting questions.
10/05/2012   JALB   Prepare file memorandum to Ms. Levitt (Morrison       L120     0.40 hrs
                    & Foerster) regarding call with Trustees regarding
                    loan file underwriting questions.
10/05/2012   JALB   Follow up correspondence with Ms. Levitt and Mr.      L120     0.50 hrs
                    Clark (both Morrison & Foerster) regarding
                    strategy for providing responses to Trustees.
10/05/2012   JALB   Review and comment on proposals regarding             L320     1.10 hrs
                    custodians and search terms for second wave
                    e-mail production.
10/05/2012   JALB   Correspondence regarding backup tape and restore      L120     0.30 hrs
                    planning.

10/05/2012   JALB   Discussion with client (Ms. Hreshko, Ms. Baird),      L120     0.60 hrs
                    Fortace (Ms. Minier) and Morrison & Foerster
                    (Mr. Clark) regarding Trustee questions.
10/05/2012   JALB   Follow-up on open discovery questions relating to     L320     0.20 hrs
                    9019.

10/05/2012   DJB    Research the identities and roles of individuals      L120     0.60 hrs
                    appearing on the Set 2 privilege log to assist
                    Morrison & Foerster in its productions of
                    documents to the UCC.
10/05/2012   DAB    Review decision from US Bank v. WMC Mortgage          L120     0.30 hrs
                    on representation and warranty claims.

10/05/2012   DAB    Communicate with Mr. Lipps and Ms. Battle             L120     0.20 hrs
                    regarding importance of WMC Mortgage decision
                    to RMBS settlement and possible litigation with
                    monolines.
10/05/2012   DAB    Conference with Mr. Moeller regarding update          L120     0.20 hrs
                    needed on statute of limitations research.
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10/05/2012   DAB    Research regarding experience of trustees'            L120     0.30 hrs
                    reunderwriting experts.

10/05/2012   JRC    Review and analyze research articles written by       L340     1.90 hrs
                    Benjamin Keys (expert designated by MBIA
                    Insurance Corporation) in order to prepare
                    memorandum analyzing potential expert testimony.
10/05/2012   JRC    Conference with Mr. Rhode and Ms. Battle              L120     0.20 hrs
                    regarding research on expert witnesses designated
                    by objectors to the RMBS Trust Settlement.
10/05/2012   JDR    Conference with Ms. Battle and Mr. Corcoran           L120     0.20 hrs
                    regarding designated experts and diligence.

10/05/2012   SP     Review decision U.S. Bank v. WMC Mortgage,            L120     0.70 hrs
                    which relates to a trustee's seeking to have loans
                    repurchased, and send analysis to team.
10/05/2012   GNM    Research the universe of Client Guides previously     L320     1.10 hrs
                    produced to the UCC.

10/05/2012   AJM    Revise privilege log of documents deemed to be        L320     2.40 hrs
                    partially privileged, UCC document request
                    regarding RMBS settlement, set 2.
10/05/2012   AJM    Identify instances where Mayer Brown attorneys        L120     0.20 hrs
                    and Chadbourne & Parke attorneys may have
                    defeated privilege in privilege logs for UCC
                    document request regarding Patrick settlement, set
                    2.
10/06/2012   AMP    Attention to supplemental production issues for       L320     2.00 hrs
                    documents with corrected redactions and/or
                    redactions instead of being withheld as a result of
                    privilege log reviews.
10/06/2012   AMP    Multiple e-mails with Mr. Clark (Morrison &           L320     0.50 hrs
                    Foerster) regarding redacted log for Set 2.

10/06/2012   AMP    Finalize redacted log for Set 2.                      L320     0.40 hrs


10/06/2012   AMP    Revise key of personnel on privilege logs.            L320     0.60 hrs


10/06/2012   JALB   Review revised search term list for Mr. Clark         L320     0.20 hrs
                    (Morrison & Foerster).

10/07/2012   AMP    Attention to supplemental production issues for       L320     1.20 hrs
                    documents with corrected redactions and/or
                    redactions instead of being withheld as a result of
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                    privilege log reviews.
10/07/2012   AMP    Multiple e-mails with Mr. Clark (Morrison &           L320     0.50 hrs
                    Foerster) regarding redacted log for Set 2.

10/07/2012   AMP    Revise key of personnel on privilege logs.            L320     1.90 hrs


10/07/2012   AMP    Finalize redacted log for Set 2.                      L320     0.40 hrs


10/07/2012   JALB   Follow-up correspondence with Mr. Underhill           L120     0.50 hrs
                    (Residential Capital), Mr. Clark (Morrison &
                    Foerster) regarding status of e-mail collection and
                    search term negotiation for new wave of document
                    production.
10/08/2012   AMP    Multiple e-mails with Ms. Battle regarding meet       L320     0.20 hrs
                    and confer with UCC's counsel on privilege logs.

10/08/2012   AMP    Draft e-mail to Ms. Battle regarding expert issues    L120     0.20 hrs
                    and privilege log issues.

10/08/2012   AMP    Review documents on logs to confirm no BCC            L320     1.80 hrs
                    data.

10/08/2012   AMP    Attention to edits to privilege log.                  L320     0.80 hrs


10/08/2012   AMP    Review Ally's privilege log.                          L320     0.60 hrs


10/08/2012   AMP    Multiple e-mails with Ms. Battle regarding Ally's     L120     0.40 hrs
                    log and common interest issues.

10/08/2012   AMP    Multiple e-mails and telephone calls with Mr.         L320     1.30 hrs
                    Clark (Morrison & Foerster) regarding privilege
                    issues and orphan attachments on logs with no
                    e-mails.
10/08/2012   AMP    Telephone conference with Mr. Clark (Morrison &       L120     0.20 hrs
                    Foerster) regarding meet and confer.

10/08/2012   AMP    Review logs for privilege issues and orphan           L320     0.80 hrs
                    attachments on logs with no e-mails.

10/08/2012   AMP    Participate in meet-and-confer on RMBS                L120     1.10 hrs
                    discovery.
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10/08/2012   JAL    Review report on hearing regarding schedule for       L120     1.00 hrs
                    trial (.10) Review and respond to e-mails
                    regarding same (.10). Review FGIC disclosure of
                    experts for 9019 trial (.10). Review potential
                    objectors fact witness disclosures (.10). Review
                    steering committee filing in support of settlement
                    (.40). Conference with Mr. Beck and Ms. Battle
                    regarding input, if any, on expert opinions (.20).
10/08/2012   JALB   Various discussions with Ms. Levitt, Mr. Princi,      L120     0.40 hrs
                    Mr. Clark (all Morrison & Foerster), Mr. Lipps and
                    Mr. Beck regarding adjustments to hearing
                    schedule.
10/08/2012   JALB   Various discussions with Ms. Levitt, Mr. Clark        L120     0.80 hrs
                    (both Morrison & Foerster), Ms. Whitfield
                    regarding document production planning and
                    issues, including privilege issues.
10/08/2012   JALB   Telephone conference with Mr. Rains (Morrison &       L120     0.30 hrs
                    Foerster) regarding roles and responsibilities of
                    in-house attorneys and impact on privilege
                    determinations.
10/08/2012   JALB   Begin preparation of timeline of RMBS analysis by     L120     0.20 hrs
                    client.

10/08/2012   JALB   Participate in teleconference and follow-up e-mails   L120     0.40 hrs
                    regarding changes to proposed hourly schedule.

10/08/2012   JALB   Review and respond to e-mails with Ms. Levitt         L120     0.60 hrs
                    (Morrison & Foerster) and Ms. Minier (Fortace)
                    regarding responses to Trustee questions on loan
                    file issues.
10/08/2012   JALB   Correspondence with Mr. Rains and Mr. Salerno         L120     0.20 hrs
                    (Morrison & Foerster) regarding roles and
                    responsibilities of in-house attorneys and impact
                    on privilege determinations.
10/08/2012   JALB   Review scope of Ally joint defense agreement and      L120     0.40 hrs
                    correspond with Ms. Levitt (Morrison & Foerster)
                    regarding applicability of same to RMBS Trust
                    Settlement discussions.
10/08/2012   JRC    Review news articles regarding The Blackstone         L340     1.10 hrs
                    Group (identified as MBIA's expert witness on
                    RMBS Trust Settlement) in order to prepare for
                    expert reports.
10/08/2012   JRC    Review and analyze the steering committee             L210     0.40 hrs
                    investor's statement in support of settlement and
                    response to objections in order to prepare for
                    expert objections to the RMBS Trust Settlement.
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10/08/2012   JRC    Review and analyze declaration of Ms. Patrick          L210     0.60 hrs
                    (Gibbs & Bruns) in support of RMBS Trust
                    Settlement and accompanying exhibits in order to
                    prepare for expert objections to the RMBS Trust
                    Settlement.
10/08/2012   JRC    Review and analyze the steering committee's            L210     0.40 hrs
                    objections to the discovery of Triaxx in order to
                    prepare for expert objections to the RMBS Trust
                    Settlement.
10/08/2012   JRC    Review and analyze Residential Capital, LLC's          L320     2.10 hrs
                    residential mortgage-backed securitization tolling
                    agreements in order to draft chart analyzing the
                    tolling agreements for Mr. Beck.
10/08/2012   JRC    Draft chart analyzing Residential Capital, LLC's       L320     3.70 hrs
                    residential mortgage-backed securitization tolling
                    agreements.
10/08/2012   JDR    Research regarding case appearances and research       L120     1.70 hrs
                    of FGIC expert Mr. Vinella.

10/08/2012   JDR    Research regarding FGIC expert Mr. Vinella prior       L120     1.10 hrs
                    congressional testimony.

10/08/2012   JDR    Research regarding case appearances or research of     L120     1.10 hrs
                    FGIC expert Mr. Rosenberg.

10/08/2012   GNM    E-mail communications with Mr. Clark (Morrison         L120     0.50 hrs
                    & Foerster) regarding the seller file productions.

10/08/2012   AJM    Review privilege log for UCC document request          L320     0.60 hrs
                    regarding RMBS settlement to identify instances of
                    e-mail attachments not listed with parent e-mail.
10/08/2012   SCM    E-mail to Mr. Beck on statute of limitations issues.   L120     0.20 hrs


10/08/2012   SCM    Review Statute of Limitations position in              L110     0.20 hrs
                    Statement of Steering Committee Investors in
                    Support of Settlement and Response to Settlement
                    Objections filed on behalf of Steering Committee
                    Group of RMBS Holders.
10/08/2012   SCM    Legal research regarding Statute of Limitations        L110     0.30 hrs
                    issues.

10/09/2012   AMP    Draft and revise chart of orphan attachments.          L320     1.30 hrs


10/09/2012   AMP    Conference with privilege log review team for          L320     0.80 hrs
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                    assistance in review of orphan attachments.

10/09/2012   AMP    Attention to Board material privilege issues.          L320     1.20 hrs


10/09/2012   AMP    E-mails with Ms. Battle regarding the production       L120     0.20 hrs
                    of Board materials into the dataroom.

10/09/2012   AMP    Multiple e-mails and telephone conferences with        L320     0.80 hrs
                    Mr. Clark (Morrison & Foerster) regarding
                    privilege issues and orphan attachments on logs
                    with no e-mails.
10/09/2012   AMP    Review logs and documents for orphan                   L320     0.70 hrs
                    attachments.

10/09/2012   AMP    Revise logs in light of meet and confer.               L320     1.10 hrs


10/09/2012   AMP    Multiple e-mails with Morrison & Foerster and          L320     0.90 hrs
                    Ms. Battle regarding specific documents identified
                    by UCC on the log.
10/09/2012   JAL    Review and respond to e-mails regarding schedule       L330     0.30 hrs
                    for expert depositions (.20). Conference with Ms.
                    Battle regarding same. (.10)
10/09/2012   JAL    Review summary judgment motions of                     L240     1.30 hrs
                    Countrywide and MBIA in their state court
                    litigation (.90). Conferences with Mr. Beck and
                    Ms. Battle regarding impact, if any, on expert
                    opinion (.30). Review and respond to e-mails
                    regarding same (.10).
10/09/2012   VLS    E-mail exchange with Mr. Bergelson at Morrison         L320     0.30 hrs
                    and Foerster regarding logistics of producing seller
                    files in PDF format for 9019 data room.
10/09/2012   JALB   Prepare timeline of representation and warranty        L120     1.60 hrs
                    analysis by client.

10/09/2012   JALB   Various discussions with Ms. Marty, Ms. Zellmann       L120     2.30 hrs
                    (Residnetial Capital), and Mr. Clark (Morrison &
                    Foerster) regarding coordination and expedition of
                    document production.
10/09/2012   JALB   Various communications with Ms. Paul-Whitfield,        L120     1.10 hrs
                    Mr. Corcoran and Mr. Rains (Morrison & Foerster)
                    regarding scope of attorney client privilege for
                    materials produced in connection with 9019
                    document requests.
10/09/2012   DAB    Conference with Mr. Moeller regarding analysis on      L120     0.20 hrs
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                    statute of limitation issues on servicing claims.

10/09/2012   JRC    Revise chart providing analysis of Residential        L210     0.80 hrs
                    Capital, LLC's residential mortgage-backed
                    securities-related tolling agreements based on
                    suggestions of Mr. Beck.
10/09/2012   JRC    Conference with Mr. Samson regarding research         L120     0.10 hrs
                    on MBIA's expert witnesses for RMBS Trust
                    Settlement.
10/09/2012   JDR    Draft memorandum analyzing relevant                   L340     2.60 hrs
                    publications and research by UCC expert Mr.
                    Cornell.
10/09/2012   JDR    Draft memorandum analyzing expert reports             L340     1.00 hrs
                    prepared by UCC expert Mr. Cornell.

10/09/2012   GNM    Telephone communications with Mr. Clark               L120     0.50 hrs
                    (Morrison & Foerster) regarding data restoration.

10/09/2012   AJM    Determine whether parent e-mails of attachments       L320     3.10 hrs
                    not listed with e-mails on privilege log for UCC
                    document requests regarding RMBS settlement
                    were produced and draft chart so illustrating.
10/09/2012   AJM    Review e-mails that did not appear on privilege log   L320     0.50 hrs
                    of documents for UCC Ms. Patrick's settlement
                    request with their attachments to determine if they
                    were deemed non-responsive.
10/09/2012   SCM    Telephone conference with Mr. Beck on statute of      L120     0.10 hrs
                    limitation arguments raised by various parties.

10/10/2012   AMP    E-mail exchanges with Ms. Battle and Mr. Clark        L120     0.80 hrs
                    (Morrison & Foerster) regarding follow-up
                    meet-and-confer with Kaufman (UCC's counsel).
10/10/2012   AMP    Analyze responses to UCC's specific concerns          L120     1.00 hrs
                    regarding the privilege logs.

10/10/2012   RBS    Research and obtain various professional articles     L310     6.00 hrs
                    and papers of experts for Mr. Corcoran.

10/10/2012   JALB   Follow-up correspondence regarding staffing and       L120     0.30 hrs
                    coordination for expedited document production.

10/10/2012   JALB   Review back-up materials for Mr. Lipps'               L120     0.40 hrs
                    Declaration. (.20) Provide supplements for same
                    to Mr. Barthel. (.20)
10/10/2012   DJB    Communications with Mr. Beck regarding Bank of        L120     0.90 hrs
                    New York Mellon and Lehman Brothers' materials
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                    in support of Lipps Supplemental Declaration
                    regarding RMBS Trust Settlement.
10/10/2012   DAB    Analyze letter to Judge Glenn regarding changes to    L120     0.20 hrs
                    RMBS discovery schedule.

10/10/2012   DAB    Communicate with Mr. Lipps and Ms. Battle             L120     0.10 hrs
                    regarding proposed changes to RMBS discovery
                    schedule.
10/10/2012   DAB    Communicate with Ms. Battle and Mr. Lipps             L120     0.20 hrs
                    regarding preparations for Mr. Lipps' deposition in
                    RMBS settlement.
10/10/2012   GNM    Drafting communication to Mr. Clark (Morrison &       L120     0.30 hrs
                    Foerster) regarding staffing concerns for the 9019
                    review.
10/11/2012   AMP    Conference call with Mr. Clark (Morrison &            L320     0.40 hrs
                    Foerster) regarding the next round of production
                    issues.
10/11/2012   AMP    Multiple e-mail exchanges with Mr. Clark              L320     0.60 hrs
                    (Morrison & Foerster) and Ms. Battle regarding the
                    next round of production and privilege logging to
                    assist Morrison & Foerster.
10/11/2012   JAL    Prepare for expert deposition (review recent cases,   L330     1.50 hrs
                    declaration and supporting materials).

10/11/2012   VLS    Upload exhibits for Lipps Declaration to Morrison     L210     0.50 hrs
                    and Foerster 's FTP site.

10/11/2012   VLS    Conference with Mr. Keck and Ms. Wong at              L320     0.60 hrs
                    Profile Discovery regarding technical issues with
                    current format of seller files produced to the UCC.
                    (.40) Conversion to PDF for loading of same into
                    9019 data room. (.20)
10/11/2012   JALB   Prepare for discussion with Trustees' counsel and     L120     0.40 hrs
                    experts regarding loan file review.

10/11/2012   JALB   Discussion with Ms. Minier (Fortace) to prepare       L120     0.30 hrs
                    for call with Trustees' counsel regarding loan file
                    review.
10/11/2012   JALB   Follow-up discussion with Trustees' counsel and       L120     1.10 hrs
                    experts regarding loan file review.

10/11/2012   JALB   Correspondence with Ms. Marty regarding staffing      L120     0.40 hrs
                    and coordination with Mr. Clark (Morrison &
                    Foerster) for e-mail review.
10/11/2012   JALB   Coordination with Mr. Barthel of production of        L120     0.20 hrs
                    Lipps Supplemental Declaration supporting
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                    materials.
10/11/2012   JALB   Telephone conference with Ms. DeArcy and Mr.           L120     0.30 hrs
                    Clark (both Morrison & Foerster) regarding
                    coordination of document production and expert
                    preparation for 9019 trial.
10/11/2012   JALB   Discussion with Ms. Levitt (Morrison & Foerster)       L120     0.40 hrs
                    regarding scope of attorney-client privilege and
                    common interest privilege.
10/11/2012   DJB    Research Bank of New York Mellon and Lehman            L120     4.40 hrs
                    Brothers materials in support of Lipps
                    Supplemental Declaration re RMBS Trust
                    Settlement.
10/11/2012   DJB    Compile electronic versions of supporting              L120     2.30 hrs
                    materials for Lipps Supplemental Declaration
                    regarding RMBS Trust Settlement to transmit to
                    Morrison Foerster.
10/11/2012   DJB    Communications with Ms. Sholl, Mr. Bergelson,          L120     0.40 hrs
                    and Mr. Clark (Morrison Foester) concerning
                    transmission of electronic versions of supporting
                    materials for Lipps Supplemental Declaration in
                    support of RMBS Trust Settlement to Morrison
                    Foerster.
10/11/2012   DAB    Multiple e-mails with Mr. Lee, Ms. Levitt, Mr.         L120     0.40 hrs
                    Rains, Mr. Princi (Morrison & Foerster) and Mr.
                    Renzi (FTI) regarding analysis on effect of various
                    statute of limitations on claims pool.
10/11/2012   DAB    Analyze Residential Capital analysis of post May       L120     0.60 hrs
                    2, 2006 securitizations.

10/11/2012   DAB    Communicate with Mr. Lipps and Ms. Battle              L120     0.20 hrs
                    regarding analysis of post May 2, 2006
                    securitizations.
10/11/2012   JRC    Review and analyze tolling agreements and              L320     0.30 hrs
                    prospectus supplements for securitizations subject
                    to those tolling agreements in order to draft e-mail
                    to Mr. Beck providing analysis.
10/11/2012   JRC    Draft e-mail to Mr. Beck providing analysis of         L120     0.10 hrs
                    securitizations subject to tolling agreements.

10/11/2012   SCM    Work on revisions to Statute of Limitations            L190     0.20 hrs
                    research.

10/11/2012   SCM    Telephone conference with Ms. Battle regarding         L120     0.10 hrs
                    statute of limitations analysis.
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10/12/2012   AMP    Attention to privilege issues involving CLL.         L120     0.20 hrs


10/12/2012   AMP    E-mail exchanges with Ms. Battle regarding           L120     0.20 hrs
                    privilege issues.

10/12/2012   AMP    E-mails with privilege log review team for same.     L120     0.30 hrs


10/12/2012   AMP    Draft e-mail to Mr. Clark (Morrison & Foerster)      L320     0.60 hrs
                    regarding feedback on issues discovered in first
                    round of privilege logging.
10/12/2012   AMP    Attention to feedback memorandum to Morrison &       L320     0.80 hrs
                    Foerster review team regarding issues addressed in
                    first round of privilege logging of production to
                    UCC.
10/12/2012   JAL    Review analysis of various statute of limitations    L120     0.30 hrs
                    assumptions on exposures (.20). Conference with
                    Mr. Beck regarding same (.10).
10/12/2012   JAL    Review Assured Guaranty decision dismissing          L120     0.80 hrs
                    damage claims (.30). Conference with Ms. Battle
                    and Mr. Beck regarding same (.20). Review
                    summaries of decision (.20). Review and respond
                    to e-mails regarding same (.10).
10/12/2012   VLS    Conference with Mr. Clark at Morrison and            L210     0.30 hrs
                    Foerster regarding exhibits to Lipps Declaration.

10/12/2012   VLS    Upload additional Lipps Declaration exhibits to      L210     0.40 hrs
                    Morrison and Foerster's FTP site.

10/12/2012   JALB   Discussion with Mr. Lipps regarding potential        L120     0.20 hrs
                    meeting with Mr. Rains (Morrison & Foerster)
                    regarding experts, etc.
10/12/2012   DJB    Communications with Ms. Paul-Whitfield               L120     0.60 hrs
                    concerning the providing of feedback to Morrison
                    & Foerster associates as to their privilege coding
                    and redactions of documents responsive to RMBS
                    Trust proposed settlement.
10/12/2012   DJB    Draft index of authorities for Lipps Supplemental    L210     2.10 hrs
                    Declaration in support of RMBS Trust settlement.

10/12/2012   GNM    Telephone communications with Mr. Clark              L320     1.90 hrs
                    (Morrison & Foerster) regarding review protocol
                    for 9019 review.
10/12/2012   GNM    Telephone communications with Mr. Clark              L120     0.30 hrs
                    (Morrison & Foerster) regarding review protocol
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                    for 9019 review.
10/12/2012   GNM    Drafting and sending e-mail communications to         L320     0.50 hrs
                    Mr. Bergleson (Morrison & Foerster) regarding
                    new reviewer training for 9019 project.
10/12/2012   SCM    Revise Statute of Limitations memorandum and          L190     1.40 hrs
                    transmit same to Mr. Beck.

10/13/2012   AMP    Multiple e-mails with Mr. Clark (Morrison &           L320     0.20 hrs
                    Foerster) regarding status of review of documents
                    to begin privilege log for second round of
                    productions to the UCC.
10/13/2012   AMP    Analyze status of review of documents to begin        L320     0.30 hrs
                    privilege log for second round of productions to
                    the UCC.
10/14/2012   AMP    Attention to privilege log issues for second round    L320     0.60 hrs
                    of logging to assist Morrison & Foerster in
                    productions to UCC.
10/15/2012   AMP    Review red-lined log reflecting additional            L120     0.60 hrs
                    information requested by UCC's counsel.

10/15/2012   AMP    Review e-mail from Mr. Clark (Morrison &              L120     0.40 hrs
                    Foerster) regarding privilege log and anticipated
                    changes in light of meeting with UCC's counsel for
                    upcoming log.
10/15/2012   RBS    Prepare report of findings regarding Mr. Keys'        L310     0.30 hrs
                    professional articles for Mr. Corcoran.

10/15/2012   JALB   Correspondence with Ms. Levitt (Morrison &            L120     0.30 hrs
                    Foerster) regarding new questions on loan files and
                    Homecomings servicing.
10/15/2012   JALB   Follow-up with Ms. Zellmann (Residential Capital)     L120     0.20 hrs
                    regarding new questions on loan file and
                    Homecomings servicing.
10/15/2012   JALB   Review background materials on expert witnesses.      L330     0.60 hrs
                    (.30) Prepare outline of topics for meeting with
                    Mr. Rains and Ms. Levitt (Morrison & Foerster).
                    (.30)
10/15/2012   JALB   Telephone conference with Ms. Levitt (Morrison &      L120     0.10 hrs
                    Foerster) regarding new questions on loan files and
                    Homecomings servicing.
10/15/2012   DAB    Analyze opinion approving Dewey settlement to         L120     1.10 hrs
                    understand Judge Glenn analysis on 9019 approval
                    factors.
10/15/2012   GNM    New reviewer training for 9019 review.                L320     2.10 hrs
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10/15/2012   GNM    Telephone communications with Mr. Shaw                L120     0.20 hrs
                    (Contract Reviewer) regarding 9019 protocol.

10/16/2012   JAL    Prepare for meeting with Morrison Foerster            L130     1.50 hrs
                    regarding expert testimony and expert depositions
                    (.30). Conference with Ms. Battle regarding same
                    (.20). Conference with Mr. Levitt and Mr. Rains
                    (Morrison & Foerster) regarding same (.80).
                    Review and respond to e-mails regarding
                    deposition schedule (.20).
10/16/2012   JALB   Meet with Mr. Rains, Ms. Levitt, Ms. DeArcy (all      L120     1.40 hrs
                    Morrison & Foerster) regarding preparation for
                    defense of 9019 motion.
10/17/2012   AMP    Attention to privilege log issues and new deadline.   L120     0.30 hrs


10/17/2012   AMP    Attention to privilege log issues.                    L120     0.40 hrs


10/17/2012   AMP    Multiple e-mails with Mr. Clark (Morrison &           L120     0.30 hrs
                    Foerster) regarding status of responsiveness
                    review.
10/17/2012   AMP    Review e-mails from Mr. Raines (Morrison &            L120     0.20 hrs
                    Foerster) and Ms. Battle regarding privilege log
                    issues and new deadlines.
10/17/2012   JAL    Review and respond to e-mails regarding               L330     0.30 hrs
                    deposition scheduling.

10/17/2012   JDR    Draft correspondence to Ms. Battle and Mr.            L120     0.20 hrs
                    Corcoran regarding expert diligence.

10/17/2012   JDR    Prepare documents for designated expert diligence     L120     0.30 hrs
                    meeting.

10/18/2012   AMP    Review Ally's clawback letter request.                L120     0.10 hrs


10/18/2012   AMP    Conference with Ms. Battle regarding common           L120     0.20 hrs
                    interest issues.

10/18/2012   AMP    Telephone conference with Mr. Clark (Morrison &       L120     0.30 hrs
                    Foerster) regarding same and status of document
                    review to begin privilege log review.
10/18/2012   AMP    Analyze common interest issues.                       L120     0.30 hrs
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10/18/2012   AMP    Draft common interest protocol for Mr. Clark of      L120     0.20 hrs
                    Morrison & Foerster.

10/18/2012   AMP    Review e-mail from Mr. Clark (Morrison &             L120     0.10 hrs
                    Foerster) regarding common interest issues.

10/18/2012   JAL    Review various materials to prepare for expert       L330     1.00 hrs
                    deposition (.80). Conference with Ms. Battle
                    regarding same (.20).
10/18/2012   VLS    E-mail exchange with Mr. Shipler at DTI regarding    L320     0.30 hrs
                    production of additional seller files to UCC.

10/18/2012   JALB   Correspondence with Ms. Levitt, Mr. Clark (both      L120     0.40 hrs
                    Morrison & Foerster) and Ms. Paul-Whitfield
                    regarding status, timing and scope of privilege
                    review.
10/18/2012   JRC    Conference with Mr. Rhode regarding research on      L120     0.10 hrs
                    expert witnesses designated for RMBS Trust
                    Settlement.
10/18/2012   JRC    Review and analyze research articles written by      L340     1.40 hrs
                    Mr. Keys (designated by MBIA as expert witness
                    on RMBS Trust Settlement) in order to draft
                    memorandum analyzing potential testimony.
10/18/2012   JRC    Draft memorandum summarizing research on Mr.         L210     0.60 hrs
                    Keys (designated by MBIA as expert witness on
                    RMBS Trust Settlement) in order to prepare for
                    expert reports.
10/19/2012   AMP    E-mails with Mr. Clark (Morrison & Foerster)         L120     0.30 hrs
                    regarding protocol for common interest
                    determinations.
10/19/2012   AMP    Draft protocol for common interest determinations.   L120     0.60 hrs


10/19/2012   AMP    Review Set 3 documents for purposes of privilege     L320     3.40 hrs
                    log.

10/19/2012   AMP    Multiple e-mails with Morrison & Foerster            L320     1.10 hrs
                    regarding access to database and identifying any
                    corrected coding for purposes of a supplemental
                    production.
10/19/2012   JAL    Communicate with Ms. Battle and Ms.                  L120     0.80 hrs
                    Paul-Whitfield regarding privilege issues and
                    Carpenter Lipps & Leland e-mails (.40). Review
                    correspondence and e-mails regarding same (.40).
10/19/2012   JALB   Internal correspondence regarding correspondence     L120     0.10 hrs
                    from Kramer Levin regarding clawback demand.
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10/19/2012   JALB   Review correspondence with Ms. Paul-Whitfield        L120     0.10 hrs
                    from Kramer Levin regarding clawback demand.

10/19/2012   JRC    Draft memorandum summarizing research on             L210     0.60 hrs
                    Benjamin Keys (MBIA's designated expert
                    witness) in order to prepare for expert reports on
                    RMBS Trust Settlement.
10/19/2012   JDR    Revise memorandum analyzing UCC expert               L210     1.10 hrs
                    Cornell diligence.

10/19/2012   JDR    Draft memorandum analyzing UCC expert Morrow         L210     1.90 hrs
                    diligence.

10/19/2012   GNM    Drafting and sending e-mail to Mr. Clark             L120     0.30 hrs
                    (Morrison & Foerster) regarding privilege
                    determinations.
10/20/2012   AMP    Attention to reviewing Set 3 documents for           L320     1.90 hrs
                    purposes of privilege log.

10/20/2012   AMP    Further attention to access and coding issues in     L320     0.70 hrs
                    Concordance database.

10/20/2012   AMP    Multiple e-mails with Mr. Clark (Morrison &          L320     0.60 hrs
                    Foerster) regarding Concordance issues.

10/21/2012   AMP    Attention to reviewing and revising redactions of    L320     3.10 hrs
                    privileged information from documents in Set 3 to
                    be produced to the UCC.
10/21/2012   AMP    Draft, edit and develop privilege log entries for    L320     2.10 hrs
                    documents in Set 3 being redacted for
                    attorney-client, work product, or common interest
                    privilege to assist Morrison & Foerster in its
                    productions to the UCC.
10/21/2012   JRC    Review and analyze research articles written by      L340     1.20 hrs
                    Mr. Keys (expert designated by MBIA) in order to
                    draft memorandum analyzing his potential expert
                    testimony.
10/21/2012   JRC    Draft memorandum analyzing potential expert          L340     1.10 hrs
                    testimony of Mr. Keys (expert designated by
                    MBIA).
10/22/2012   AMP    Review issues regarding common interest privilege    L320     1.50 hrs
                    and work product privilege.

10/22/2012   AMP    Multiple e-mails with privilege log review team      L320     1.00 hrs
                    regarding the privilege logs.
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10/22/2012   AMP    Prepare additional information inserts to the          L320     1.40 hrs
                    privilege logs to provide more detailed descriptions
                    at the request of the UCC's counsel and to address
                    common interest issues.
10/22/2012   JAL    Review supplemental filing in support of approval      L120     0.50 hrs
                    of RMBS settlement. (.30) Communicate with Mr.
                    Beck and Ms. Battle regarding impact, if any, on
                    expert opinion. (.20)
10/22/2012   VLS    Telephone conference with Ms. Wong at Profile          L320     0.30 hrs
                    Discovery regarding conversion of documents to
                    PDF format for upload to 9019 data room.
10/22/2012   RBS    Order and obtain Mr. Keys' professional paper for      L310     0.40 hrs
                    Mr. Corcoran.

10/22/2012   JRC    Draft memorandum summarizing research on The           L340     0.70 hrs
                    Blackstone Group (expert designated by MBIA).

10/22/2012   JRC    Draft memorandum summarizing research on SDI           L340     0.40 hrs
                    Advisory Services, LLC (expert designated by
                    MBIA).
10/22/2012   JRC    Review and analyze news articles on The                L340     1.10 hrs
                    Blackstone Group (expert designated by MBIA) in
                    order to draft memorandum analyzing potential
                    testimony.
10/22/2012   JRC    Review and analyze publicly available information      L340     0.60 hrs
                    on SDI Advisory Services, LLC (expert designated
                    by MBIA) in order to draft memorandum
                    analyzing potential testimony.
10/22/2012   JRC    Review and analyze research articles on Dr. John       L340     0.70 hrs
                    (expert designated by MBIA) in order to draft
                    memorandum analyzing potential testimony.
10/22/2012   JDR    Review and analyze obtained FGIC expert Mr.            L410     1.70 hrs
                    Vinella Congressional testimony to highlight and
                    summarize potentially relevant passages applicable
                    to proposed testimony on behalf of the FGIC.
10/22/2012   JDR    Draft memorandum analyzing FGIC expert Mr.             L410     1.90 hrs
                    Vinella's background and case appearances.

10/22/2012   JDR    Draft memorandum analyzing FGIC expert Mr.             L410     1.00 hrs
                    Vinella's research and testimony.

10/23/2012   AMP    Attention to adjusting privilege log review protocol   L320     0.50 hrs
                    in light of common interest privilege change.

10/23/2012   AMP    Attention to responsiveness issues.                    L120     0.30 hrs
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10/23/2012   AMP    Review list of documents from privilege log            L320     0.20 hrs
                    review team.

10/23/2012   AMP    Multiple e-mail exchanges with Mr. Clark               L320     0.50 hrs
                    (Morrison & Foerster) regarding responsiveness
                    determinations in Sets 3 and 4.
10/23/2012   AMP    Conference call with Morrison & Foerster review        L120     0.80 hrs
                    team regarding status of initial and quality control
                    reviews so we can begin privilege log review of
                    next sets in light of UCC's deadline.
10/23/2012   AMP    Review and review redactions of privileged             L320     0.70 hrs
                    information from documents in Set 3 to be
                    produced to the UCC.
10/23/2012   AMP    Draft, edit and develop privilege log entries for      L320     0.90 hrs
                    documents in Set 3 being redacted for
                    attorney-client, work product, or common interest
                    privilege to assist MoFo in its productions to the
                    UCC.
10/23/2012   AMP    Prepare additional information inserts to the          L320     1.20 hrs
                    redacted privilege log for Set 3 to provide more
                    detailed descriptions at the request of the UCC's
                    counsel.
10/23/2012   AMP    Review and review log of documents being               L320     0.90 hrs
                    withheld from Set 3.

10/23/2012   AMP    Review and revise log of documents being               L320     0.80 hrs
                    withheld from Set 4.

10/23/2012   AMP    Draft, edit and develop privilege log entries for      L320     1.20 hrs
                    documents in Set 4 being withheld for
                    attorney-client, work product, or common interest
                    privilege to assist Morrison & Foerster in its
                    productions to the UCC.
10/23/2012   AMP    Multiple e-mails with privilege log review team        L320     1.10 hrs
                    and Morrison & Foerster regarding privilege issues
                    and common interest concerns.
10/23/2012   JAL    Review research memorandum regarding potential         L130     0.30 hrs
                    objector experts.

10/23/2012   VLS    E-mail exchange with Ms. Wong at Profile               L320     0.20 hrs
                    regarding third production of seller files which
                    need converted to PDFs for the 9019 data room.
10/23/2012   VLS    E-mail exchange with Mr. Bergelson and Mr.             L320     0.20 hrs
                    Clark at Morrison and Foerster regarding third
                    production of seller files.
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10/23/2012   RBS    Compile and send Mr. John's published articles to      L310     0.50 hrs
                    Mr. Corcoran.

10/23/2012   JALB   Discussion with Mr. Lipps, Mr. Corcoran and Mr.        L120     0.30 hrs
                    Rhode regarding sharing of information and
                    planning for expert depositions.
10/23/2012   JALB   Discussion with Ms. Levitt, Ms. DeArcy (Morrison       L120     0.30 hrs
                    & Foerster) and Ms. Zellmann (Residential
                    Capital) regarding identification of Residential
                    Capital spokesperson on loan file questions.
10/23/2012   DJB    Quality check Morrison & Foerster reviewers'           L120     5.20 hrs
                    privilege coding in Concordance of Set 3 withheld
                    log for RMBS Settlement Agreement and Plan
                    Support Negotiation documents to assist Morrison
                    & Foerster in its productions to the UCC.
10/23/2012   DJB    Draft, edit, and develop privilege log entries for     L120     7.80 hrs
                    Set 3 documents being withheld for attorney-client,
                    work product, or common interest privilege to
                    assist Morrison & Foerster in its productions to the
                    UCC.
10/23/2012   JRC    Conference with Mr. Rhode regarding research on        L120     0.10 hrs
                    expert witness designated to prepare reports
                    regarding the RMBS Trust Settlement.
10/23/2012   JRC    Conference with Ms. Battle regarding research on       L120     0.10 hrs
                    expert witnesses designated by MBIA to testify
                    regarding the RMBS Trust Settlement.
10/23/2012   JRC    Draft memorandum analyzing potential expert            L340     2.10 hrs
                    testimony of Mr. Keys (expert designated by
                    MBIA).
10/23/2012   JRC    Review and analyze research articles written by        L340     1.40 hrs
                    Mr. Keys (expert designated by MBIA) in order to
                    draft memorandum analyzing his potential expert
                    testimony.
10/23/2012   JRC    Draft memorandum analyzing potential expert            L340     1.90 hrs
                    testimony of Mr. John (expert designated by
                    MBIA).
10/23/2012   JRC    Review and analyze research articles written by        L340     0.80 hrs
                    Mr. John (expert designated by MBIA) in order to
                    draft memorandum analyzing his potential expert
                    testimony.
10/23/2012   JDR    Finalize memorandum of background research and         L340     1.20 hrs
                    analysis on UCC expert Mr. Cornell for internal
                    distribution in preparation for conference with Ms.
                    Battle and Mr. Lipps on expert diligence.
10/23/2012   JDR    Finalize memorandum of background research and         L340     0.70 hrs
                    analysis on UCC expert Mr. Morrow for internal
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                    distribution in preparation for conference with Ms.
                    Battle and Mr. Lipps on expert diligence.
10/23/2012   JDR    Finalize memorandum of background research and        L340     0.60 hrs
                    analysis on FGIC expert Mr. Rosenberg for
                    internal distribution in preparation for conference
                    with Ms. Battle and Mr. Lipps on expert diligence.
10/23/2012   JDR    Finalize memorandum of background research and        L340     0.90 hrs
                    analysis on FGIC expert Mr. Vinella for internal
                    distribution in preparation for conference with Ms.
                    Battle and Mr. Lipps on expert diligence.
10/23/2012   JDR    Research regarding all individuals employed by        L340     1.50 hrs
                    UCC designated expert witness Moelis & Co. who
                    are authorized to access the UCC.
10/23/2012   JDR    Draft memorandum analyzing research on UCC            L340     1.40 hrs
                    designated expert witness Moelis & Co.

10/23/2012   JDR    Prepare relevant enclosures and materials to          L340     0.60 hrs
                    accompany research memorandum on UCC
                    designated expert Moelis & Co. in preparation for
                    conference with Ms. Battle and Mr. Lipps on
                    expert diligence.
10/23/2012   JDR    Prepare relevant enclosures and materials to          L340     1.60 hrs
                    accompany research memorandum on UCC
                    designated expert Bradford Cornell in preparation
                    for conference with Ms. Battle and Mr. Lipps on
                    expert diligence.
10/23/2012   JDR    Prepare relevant enclosures and materials to          L340     0.80 hrs
                    accompany research memorandum on UCC
                    designated expert Mr. Morrow in preparation for
                    conference with Ms. Battle and Mr. Lipps on
                    expert diligence.
10/23/2012   JDR    Prepare relevant enclosures and materials to          L340     0.70 hrs
                    accompany research memorandum on FGIC
                    designated expert Mr. Vinella in preparation for
                    conference with Ms. Battle and Mr. Lipps on
                    expert diligence.
10/23/2012   JDR    Prepare relevant enclosures and materials to          L340     0.40 hrs
                    accompany research memorandum on FGIC
                    designated expert Mr. Rosenberg in preparation for
                    conference with Ms. Battle and Mr. Lipps on
                    expert diligence.
10/23/2012   AJM    Conference with Mr. Barthel to discuss quality        L120     0.10 hrs
                    control review of documents deemed to be entirely
                    privileged, UCC document request regarding
                    RMBS settlement, set 3.
10/23/2012   AJM    Conference with Ms. Paul-Whitfield to discuss         L120     0.40 hrs
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                    quality control review and privilege log drafting
                    for sets 3, 4 and 5, documents responsive to UCC
                    document request regarding RMBS settlement.
10/23/2012   AJM    Quality control review of documents deemed to be        L320     3.20 hrs
                    entirely privileged, UCC document request
                    regarding RMBS settlement, set 3.
10/23/2012   AJM    Draft privilege log of documents deemed to be           L320     4.40 hrs
                    entirely privileged, UCC documents request
                    regarding RMBS settlement, set 3.
10/24/2012   AMP    Incorporate and address comments from privilege         L320     0.60 hrs
                    log review team to ensure accuracy in privilege
                    determinations in Sets 3 and 4.
10/24/2012   AMP    Attention to finalizing drafts of withheld log for      L320     0.40 hrs
                    Set 3.

10/24/2012   AMP    Attention to finalizing draft of withheld log for Set   L320     0.60 hrs
                    4.

10/24/2012   AMP    Attention to revising draft of redacted log for Sets    L320     1.10 hrs
                    3 and 4.

10/24/2012   AMP    Research regarding role of Mr. Polk and whether         L320     0.70 hrs
                    within the common interest.

10/24/2012   AMP    Multiple e-mails with Mr. Clark and privilege log       L120     0.40 hrs
                    review team regarding role of Mr. Polk and
                    whether within the common interest.
10/24/2012   AMP    E-mails with Mr. Clark (Morrison & Foerster)            L320     0.60 hrs
                    regarding GSE communications.

10/24/2012   AMP    Review and revise withheld privileged information       L320     1.10 hrs
                    from documents in Set 4 in the UCC document
                    review.
10/24/2012   AMP    Draft, edit and develop privilege log entries for       L320     1.30 hrs
                    documents in Set 4 being withheld for
                    attorney-client, work product, or common interest
                    privilege to assist MoFo in its productions to the
                    UCC.
10/24/2012   AMP    Prepare additional information inserts to the           L320     0.70 hrs
                    withheld privilege log for Set 4 to provide more
                    detailed descriptions at the request of the UCC's
                    counsel.
10/24/2012   AMP    Review and revise log of redacted documents in          L320     0.90 hrs
                    Sets 3 and 4.

10/24/2012   AMP    Draft, edit and develop privilege log entries for       L320     1.50 hrs
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                    documents in Sets 3 and 4 being redacted for
                    attorney-client, work product, or common interest
                    privilege to assist Morrison & Foerster in its
                    productions to the UCC.
10/24/2012   AMP    Multiple e-mails with privilege log review team       L320     0.90 hrs
                    and Morrison & Foerster regarding redaction
                    issues in Sets 3 and 4.
10/24/2012   AMP    Multiple e-mails with Mr. Clark (Morrison &           L320     0.80 hrs
                    Foerster) regarding status of privilege log review.

10/24/2012   AMP    Analyze issues regarding GSE communications           L320     0.40 hrs
                    and professional eyes only status of same.

10/24/2012   AMP    E-mails with Mr. Clark (Morrison & Foerster)          L320     0.20 hrs
                    regarding role of Mr. Polk and whether within the
                    common interest.
10/24/2012   AMP    Analyze responsiveness issues on production.          L320     0.20 hrs


10/24/2012   JAL    Conference with Ms. Battle, Mr. Rhode, and Mr.        L120     2.30 hrs
                    Corcoran to discuss experts and their anticipated
                    testimony (1.30). Review and redraft memoranda
                    analyzing each proposed expert (.50). Review
                    various e-mails about privilege clawback (.30).
                    Conference with Ms. Battle and Ms. Paul Whitfield
                    regarding Carpenter, Lipps & Leland e-mails (.20).
10/24/2012   JALB   Review draft memoranda on backgrounds of other        L120     0.50 hrs
                    parties' experts.

10/24/2012   JALB   Meet with Mr. Lipps, Mr. Rhode and Mr. Corcoran       L120     1.40 hrs
                    regarding status of expert analysis and next steps.

10/24/2012   JALB   Follow-up discussion with Mr. Rhode, Mr.              L120     0.20 hrs
                    Corcoran and Mr. Beck regarding expert analyses.

10/24/2012   JALB   Telephone conference with Ms. DeArcy (Morrison        L120     0.30 hrs
                    & Foerster) regarding fact witness preparation
                    planning and expert witness preparation
                    coordination.
10/24/2012   JALB   Correspondence with Ms. Whitfield regarding           L120     0.60 hrs
                    status of privilege log review and clawback issues.

10/24/2012   JALB   Begin analysis of Mr. Sillman's expert report and     L330     1.60 hrs
                    potential areas for cross-examination.
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10/24/2012   JALB   Draft preparation outline for expert, Mr. Sillman.   L330     2.10 hrs


10/24/2012   DJB    Quality check Morrison & Foerster reviewers'         L120     7.90 hrs
                    privilege coding in Concordance for Set 4 withheld
                    log of RMBS Settlement Agreement and Plan
                    Support Negotiation documents to assist Morrison
                    & Foester with productions to the UCC.
10/24/2012   DJB    Draft, edit, and develop privilege log entries for   L120     7.80 hrs
                    documents in Concordance for Set 4 withheld log
                    of RMBS Settlement Agreement documents that
                    are being withheld for attorney-client, work
                    product, and common interest privilege to assist
                    Morrison &Foerster in its production to the UCC.
10/24/2012   DAB    Review MBIA response to RMBS clawback letter         L120     0.10 hrs
                    and communicate with Mr. Lipps, Ms. Battle and
                    Ms. Paul-Whitfield regarding same.
10/24/2012   DAB    Communicate with Mr. Corcoran regarding              L120     0.10 hrs
                    discussions with MBIA on major issues for RMBS
                    settlement.
10/24/2012   JRC    Prepare materials regarding MBIA's experts in        L120     0.10 hrs
                    advance of meeting with Mr. Lipps and Ms. Battle.

10/24/2012   JRC    Conference with Mr. Lipps, Ms. Battle, and Mr.       L340     1.30 hrs
                    Rhode regarding research on experts designated to
                    testify regarding the RMBS Trust Settlement.
10/24/2012   JRC    Review and analyze pleadings relating to the         L210     0.60 hrs
                    RMBS Trust Settlement in order to draft
                    memoranda on the expert witnesses designated by
                    MBIA.
10/24/2012   JRC    Research case law regarding the standard of          L120     0.70 hrs
                    approval of a settlement under Rule 9019 of the
                    Federal Rules of Bankruptcy Procedure.
10/24/2012   JRC    Revise memorandum analyzing potential expert         L340     1.90 hrs
                    testimony of Mr. Keys (expert designated by
                    MBIA) based on suggestions of Mr. Lipps and Ms.
                    Battle.
10/24/2012   JRC    Revise memorandum analyzing potential expert         L340     0.60 hrs
                    testimony of Mr. John (expert designated by
                    MBIA) based on suggestions of Mr. Lipps and Ms.
                    Battle.
10/24/2012   JRC    Review and analyze research articles written by      L340     0.90 hrs
                    Mr. John (expert designated by MBIA) in order to
                    revise memorandum analyzing his potential expert
                    testimony.
10/24/2012   JRC    Review and analyze research articles written by      L340     1.20 hrs
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                    Mr. Keys (expert designated by MBIA) in order to
                    revise memorandum analyzing his potential expert
                    testimony.
10/24/2012   JDR    Conference with Ms. Battle and Mr. Lipps             L320     1.20 hrs
                    regarding designated expert diligence.

10/24/2012   JDR    Review select documents produced to examiner in      L320     1.00 hrs
                    anticipation of designated expert testimony and
                    further expert diligence.
10/24/2012   JDR    Review and analyze recent decisions construing       L160     0.80 hrs
                    the relevant factors for approving a 9019
                    settlement.
10/24/2012   JDR    Research regarding legal standards governing         L420     3.20 hrs
                    potential testimony of FGIC designated experts.

10/24/2012   JDR    Draft correspondence to Ms. Battle and Mr. Lipps     L420     0.20 hrs
                    regarding designated UCC expert Moelis research.

10/24/2012   JDR    Review and analyze 9019 filing motions and           L210     1.00 hrs
                    responses by UCC to assist in expert diligence.

10/24/2012   JDR    Research regarding expert diligence for mortgage     L420     1.00 hrs
                    related services of UCC designated expert Moelis
                    & Co.
10/24/2012   JDR    Revise diligence memorandum on FGIC                  L420     1.80 hrs
                    designated expert Mr. Rosenberg.

10/24/2012   AJM    Quality control review of documents deemed to be     L320     2.20 hrs
                    entirely privileged, UCC document request
                    regarding RMBS settlement, set 3.
10/24/2012   AJM    Draft privilege log of documents deemed to be        L320     2.70 hrs
                    entirely privileged, UCC document request
                    regarding RMBS settlement, set 4.
10/24/2012   AJM    Quality control review of documents deemed to be     L320     2.80 hrs
                    entirely privileged, UCC document request
                    regarding RMBS settlement, set 4.
10/24/2012   AJM    Draft privilege log of documents deemed to be        L320     4.30 hrs
                    entirely privileged, UCC document request
                    regarding RMBS settlement.
10/25/2012   AMP    Multiple e-mails with privilege log review team      L120     0.50 hrs
                    and MoFo regarding responsiveness issues relating
                    to DOJ and presentation of services.
10/25/2012   AMP    Attention to finalizing privilege log for withheld   L320     0.30 hrs
                    documents from Set 3.
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10/25/2012   AMP    Attention to finalizing privilege log for withheld    L320     0.50 hrs
                    documents from Set 4.

10/25/2012   AMP    Attention to revising redactions of privileged        L320     0.20 hrs
                    information from documents in Set 4.

10/25/2012   AMP    Attention to revising and editing privilege log for   L320     1.30 hrs
                    redacted documents from Sets 3 and 4.

10/25/2012   AMP    Multiple e-mails with privilege log review team       L120     0.40 hrs
                    regarding edits to privilege log for redacted
                    documents from Sets 3 and 4.
10/25/2012   AMP    Finalize draft of redacted log for Sets 3 and 4.      L320     0.30 hrs


10/25/2012   AMP    Attention to reviewing privilege log for documents    L320     1.10 hrs
                    withheld from Set 5.

10/25/2012   AMP    Review documents from Set 5 to confirm privilege      L320     1.80 hrs
                    status.

10/25/2012   AMP    E-mails with Mr. Harris (Morrison & Foerster) and     L120     0.40 hrs
                    Mr. Clark (Morrison & Foerster) regarding
                    withheld log for Set 3.
10/25/2012   AMP    Analyze responsiveness issues relating to DOJ and     L120     1.20 hrs
                    presentation of services.

10/25/2012   AMP    E-mails with Mr. Harris and Mr. Clark (Morrison       L120     0.40 hrs
                    & Foerster) regarding withheld log for Set 4.

10/25/2012   AMP    Draft, edit and develop privilege log entries for     L320     2.90 hrs
                    documents in Set 5 being withheld for
                    attorney-client, work product, or common interest
                    privilege to assist MoFo in its productions to the
                    UCC.
10/25/2012   AMP    Multiple e-mails with privilege log review team       L120     1.60 hrs
                    and Morrison & Foerster review team regarding
                    privilege determinations in Set 5.
10/25/2012   RBS    Obtain Mr. John paper requested by Mr. Corcoran.      L310     0.40 hrs


10/25/2012   JALB   Review and respond to correspondence with Mr.         L120     0.10 hrs
                    Rhode regarding UCC experts.

10/25/2012   JALB   Circulate pre-existing Daubert research to internal   L120     0.10 hrs
                    expert team (Mr. Rhode, Mr. Corcoran, Mr. Lipps).
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10/25/2012   JALB   Meet with Mr. Rhode regarding expert memoranda       L120        0.80 hrs
                    and background to potential UCC objections.

10/25/2012   JALB   Discussion with Mr. Beck regarding fact              L120        0.20 hrs
                    development of representations and warrant
                    reserve timeline.
10/25/2012   JALB   Correspondence with Mr. Corcoran regarding           L120        0.10 hrs
                    scope and timing of expert memorandum revisions.

10/25/2012   JALB   Discussion with Mr. Beck regarding fact              L120        0.20 hrs
                    development of representations and warrant
                    reserve timeline.
10/25/2012   JALB   Telephone conference with Ms. Zellmann, Ms.          120         0.50 hrs
                    Baird, and Ms. Latzka (all Residential Capital),
                    and Ms. DeArcy (Morrison & Foerster) regarding
                    missing documents loan file questions.
10/25/2012   JALB   Telephone conference with Mr. Backora                L120        0.50 hrs
                    (Residential Capital) and Ms. DeArcy (Morrison &
                    Foerster) regarding missing documents loan file
                    questions.
10/25/2012   JALB   Prepare memorandum to Ms. Levitt (Morrison &         L120        0.40 hrs
                    Foerster) at request of Ms. DeArcy (Morrison &
                    Foerster) regarding information gathered in
                    response to loan file questions.
10/25/2012   JALB   Continued analysis of Mr. Sillman declarations for   L330        1.20 hrs
                    deposition preparation and identification of
                    potential cross examination issues.
10/25/2012   JALB   Discussion with Mr. Beck regarding timeline of       L120        0.10 hrs
                    settlement.

10/25/2012   JALB   Telephone conference with potential expert           L120        0.10 hrs
                    regarding call planning.

10/25/2012   JALB   Review and respond to e-mail questions from Ms.      L120        0.10 hrs
                    Levitt (Morrison & Foerster) regarding Trustee
                    loan data request.
10/25/2012   JALB   Review draft expert memorandum on FGIC               L120        0.30 hrs
                    designated expert Mr. Rosenberg.

10/25/2012   JALB   Follow-up discussion with Ms. DeArcy (Morrison       L120        0.20 hrs
                    & Foerster) on missing document question.

10/25/2012   JALB   Discussion with Ms. Zellmann (Residential            L120        0.30 hrs
                    Capital) regarding scheduling of calls and
                    identification of potentially knowledgeable
                    employees.
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10/25/2012   JALB   Follow-up correspondence with Ms. Levitt and Ms.      L120     0.20 hrs
                    DeArcy (Morrison & Foerster) regarding
                    information gathered in response to loan file
                    questions.
10/25/2012   JALB   Review and respond to e-mails from Ms.                L120     0.20 hrs
                    Paul-Whitfield regarding privilege log finalization
                    questions.
10/25/2012   JALB   Review and respond to e-mail questions from Ms.       L120     0.10 hrs
                    Levitt (Morrison & Foerster) regarding Trustee
                    loan data request.
10/25/2012   DJB    Quality check Morrison & Foester reviewers'           L120     7.80 hrs
                    privilege coding and redactions in Concordance for
                    Set 3 and 4 combined redacted log of RMBS
                    Settlement Agreement and Plan Support
                    Negotiation documents to assist Morrison &
                    Foester with productions to the UCC.
10/25/2012   DJB    Draft, edit, and develop Set 3 and 4 combined         L120     7.30 hrs
                    redacted privilege log entries for documents
                    redacted for attorney-client, work product, and
                    common interest privilege to assist Morrison
                    Foerster in its productions to the UCC.
10/25/2012   JRC    Conference with Mr. Beck regarding potential          L420     0.10 hrs
                    expert testimony of Dr. John (expert designated by
                    MBIA).
10/25/2012   JRC    Revise memorandum analyzing potential expert          L420     0.70 hrs
                    testimony of Mr. Keys (expert designated by
                    MBIA) based on suggestions of Mr. Lipps and Ms.
                    Battle.
10/25/2012   JRC    Revise memorandum analyzing potential expert          L420     2.30 hrs
                    testimony of Mr. John (expert designated by
                    MBIA) based on suggestions of Mr. Lipps and Ms.
                    Battle.
10/25/2012   JRC    Review and analyze research articles written by       L340     3.10 hrs
                    Mr. John (expert designated by MBIA) in order to
                    revise memorandum analyzing his potential expert
                    testimony.
10/25/2012   JDR    Conference with Ms. Battle regarding expert           L420     0.20 hrs
                    diligence.

10/25/2012   JDR    Research regarding permissible limits of potential    L420     1.70 hrs
                    testimony of FGIC designated experts.

10/25/2012   JDR    Revise diligence memorandum on FGIC                   L420     2.40 hrs
                    designated expert Mr. Rosenberg.

10/25/2012   SP     Meeting with Ms. Whitfield, Mr. Barthel and Mr.       L320     0.30 hrs
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                    Molnar regarding quality control review of
                    documents responsive to UCC document request.
10/25/2012   SP     Perform quality control review of documents            L320     4.10 hrs
                    responsive to UCC document request that have
                    been marked as entirely privileged.
10/25/2012   SP     Revise privilege log for documents responsive to       L320     5.10 hrs
                    UCC document request that have been marked as
                    entirely privileged.
10/25/2012   AJM    Quality control review of documents deemed to be       L320     1.20 hrs
                    entirely privileged, UCC document request
                    regarding RMBS settlement, set 4.
10/25/2012   AJM    Draft privilege log of documents deemed to be          L320     1.10 hrs
                    entirely privileged, UCC document request
                    regarding RMBS settlement, set 4.
10/25/2012   AJM    Conference with Ms. Paul-Whitfield, Mr. Barthel,       L120     0.30 hrs
                    and Mr. Phillips to discuss quality control review
                    and privilege log drafting for set 5, documents
                    responsive to UCC document request regarding
                    RMBS settlement.
10/25/2012   AJM    Quality control review of documents deemed to be       L320     4.20 hrs
                    entirely privileged, UCC document request
                    regarding RMBS settlement, set 4.
10/25/2012   AJM    Draft privilege log of documents deemed to be          L320     5.30 hrs
                    entirely privileged, UCC document request
                    regarding RMBS settlement, set 5.
10/25/2012   AJM    Conference with Ms. Paul-Whitfield, Mr. Barthel,       L120     0.30 hrs
                    and Mr. Phillips to discuss quality control review
                    and privilege log drafting for set 5, documents
                    responsive to UCC document request regarding
                    RMBS settlement.
10/26/2012   AMP    Multiple e-mails with privilege log review team        L120     0.20 hrs
                    regarding edits to privilege log for redacted
                    documents from Sets 3 and 4.
10/26/2012   AMP    Finalize draft of redacted log for Sets 3 and 4.       L320     0.20 hrs


10/26/2012   AMP    Review documents from Set 5 to confirm privilege       L320     0.40 hrs
                    status.

10/26/2012   AMP    Attention to revising and editing key of individuals   L320     2.30 hrs
                    on the withheld and redacted logs for Sets 3, 4, and
                    5 with privilege log review team.
10/26/2012   AMP    Multiple e-mails with Mr. Molnar, Mr. Barthel,         L120     0.90 hrs
                    Ms. Battle and Mr. Beck regarding revising and
                    editing key of individuals on the withheld and
                    redacted logs for Sets 3, 4, and 5.
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10/26/2012   AMP    Attention to finalizing all outstanding issues for      L320     0.60 hrs
                    privilege log preparation for this round of
                    production to UCC.
10/26/2012   AMP    E-mails with Mr. Harris (Morrison & Foerster) and       L120     0.20 hrs
                    Mr. Clark (Morrison & Foerster) regarding
                    withheld log for Set 3.
10/26/2012   AMP    Attention to incorporating Morrison & Foerster          L320     0.30 hrs
                    team's edits to privilege log for withheld
                    documents from Set 3.
10/26/2012   AMP    Attention to incorporating Morrison & Foerster          L320     0.40 hrs
                    team's edits to privilege log for withheld
                    documents from Set 4.
10/26/2012   AMP    E-mails with Mr. Harris and Mr. Clark (Morrison         L120     0.20 hrs
                    & Foerster) regarding withheld log for Set 4.

10/26/2012   AMP    Revise redactions of privileged information from        L320     0.30 hrs
                    documents in Set 4.

10/26/2012   AMP    Revise privilege log for redacted documents from        L320     0.70 hrs
                    Sets 3 and 4.

10/26/2012   AMP    Review and revise privilege log for documents           L320     0.80 hrs
                    withheld from Set 5.

10/26/2012   AMP    Draft, edit and develop privilege log entries for       L320     1.10 hrs
                    documents in Set 5 being withheld for
                    attorney-client, work product, or common interest
                    privilege to assist Morrison & Foerster in its
                    productions to the UCC.
10/26/2012   AMP    Multiple e-mails with privilege log review team         L120     0.50 hrs
                    and Morrison & Foerster regarding privilege
                    determinations in Set 5.
10/26/2012   AMP    Conference call with Mr. Ziegler (Morrison &            L120     0.30 hrs
                    Foerster) regarding finalizing all outstanding issues
                    for privilege log preparation for this round of
                    production to UCC.
10/26/2012   JAL    Conferences with Ms. Battle regarding potential         L130     0.80 hrs
                    rebuttal experts related to loan underwriting issues
                    (.30). Conference call with Ms. Battle and
                    potential statistical expert (.50).
10/26/2012   JALB   Review correspondence among Ms. Levitt                  L120     0.20 hrs
                    (Morrison & Foerster), Ms. Minier (Fortace) and
                    Mr. Cancelliere (Residential Capital) regarding
                    loan level data question.
10/26/2012   JALB   Draft proposed response to Trustees.                    L210     0.20 hrs
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10/26/2012   JALB   Coordinate participants for call with Trustees on       L120     0.20 hrs
                    loan file review questions.

10/26/2012   JALB   Telephone conference with Mr. Delfs (Residential        L120     0.30 hrs
                    Capital) regarding loan file questions.

10/26/2012   JALB   Send e-mail memorandum to Ms. Levitt and Ms.            L120     0.20 hrs
                    DeArcy (both Morrison & Foerster) memorializing
                    call and proposing next steps.
10/26/2012   JALB   Review and respond to e-mail correspondence             L120     0.20 hrs
                    between Ms. Levitt (Morrison & Foerster) and Ms.
                    Minier (Fortace) regarding CoreLogic data.
10/26/2012   JALB   Telephone conference with potentialResidential          L120     0.50 hrs
                    Capital expert regarding background on other
                    experts and potential next steps.
10/26/2012   DJB    Quality check Morrison & Foerster reviewers'            L120     6.40 hrs
                    privilege coding in Relativity for Set 5 documents
                    withheld for privilege to assist Morrison &
                    Foerster with productions to the UCC.
10/26/2012   DJB    Research the identities, roles, and affiliations of     L120     3.60 hrs
                    individuals identified on Set 1-5 privilege logs to
                    assist Morrison & Foerster with productions to the
                    UCC.
10/26/2012   DJB    Draft, edit and develop Set 5 withheld privilege log    L120     4.70 hrs
                    entries for documents being withheld on the basis
                    of attorney-client, work product, and common
                    interest privilege to assist Morrison Foerster in its
                    productions to the UCC.
10/26/2012   DAB    Communicate with Ms. Paul-Whitfield, Mr.                L120     0.20 hrs
                    Molner and Ms. Battle regarding identification of
                    Residential Capital vs. Ally professionals for
                    RMBS privilege log.
10/26/2012   JRC    Revise memorandum analyzing potential testimony         L340     0.60 hrs
                    of Dr. John (expert designated by MBIA) based on
                    suggestions of Mr. Lipps and Ms. Battle.
10/26/2012   JDR    Communicate with Ms. Battle and Mr. Lipps               L420     0.50 hrs
                    regarding expert diligence.

10/26/2012   SP     Identify recipients and senders of documents on         L320     4.80 hrs
                    privilege log. (1.20) Research the employment
                    history of those individuals. (3.60)
10/26/2012   SP     Edit chart relating to the identification of            L320     1.90 hrs
                    individuals on the privilege log.

10/26/2012   SP     Perform quality control review of documents             L320     0.60 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27    Exhibit E
  932 00057                 Monthly Invoices Pg 356 of 1163
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                    responsive to UCC document request that have
                    been marked as entirely privileged.
10/26/2012   AJM    Quality control review of documents deemed to be   L320      0.30 hrs
                    entirely privileged, UCC document request
                    regarding RMBS settlement, set 4.
10/26/2012   AJM    Draft privilege log of documents deemed to be      L320      0.50 hrs
                    entirely privileged, UCC document request
                    regarding RMBS settlement, set 5.
10/26/2012   AJM    Identify new individuals to add to privilege log   L320      5.30 hrs
                    name key for privilege log for documents
                    responsive to UCC document request for RMBS
                    settlement documents, sets 3, 4 and 5, and
                    determine organizational affiliation thereof.
10/26/2012   AJM    Revise privilege log name key, adding newly        L320      1.80 hrs
                    identified individuals from privilege log for
                    documents responsive to UCC document request
                    for RMBS settlement documents, sets 3, 4 and 5.
10/28/2012   AMP    Analyze common interest implications on those      L320      0.30 hrs
                    professional eyes only documents that UCC
                    requestes designation removal on.
10/28/2012   AMP    Review e-mails from Mr. Ruiz (Morrison &           L120      0.20 hrs
                    Foerster) and Ms. Battle regarding professional
                    eyes only documents at issue.
10/28/2012   AMP    Analyze professional eyes only documents that      L320      0.30 hrs
                    UCC requested the professional eyes only
                    designation be removed.
10/28/2012   JALB   Review professional eyes only questions and        L120      0.50 hrs
                    prepare memorandum for Mr. Ruiz (Morrison &
                    Foerster) and Ms. Whitfield regarding same.
10/29/2012   AMP    E-mails with Mr. Ziegler (Morrison & Foerster)     L120      0.20 hrs
                    regarding final privilege logs as produced.

10/29/2012   AMP    Create chart for Ms. Battle on designation of      L120      0.40 hrs
                    documents as professional eyes only.

10/29/2012   AMP    Analyze common interest issues.                    L120      0.20 hrs


10/29/2012   AMP    Conference call with Mr. Ruiz (Morrison &          L320      0.40 hrs
                    Foerster) regarding professional eyes only
                    designations of specific documents identified by
                    UCC.
10/29/2012   AMP    Analyze professional eyes only document issues.    L320      0.70 hrs


10/29/2012   JALB   Discussion with Ms. Whitfield regarding            L120      0.10 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
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                    preparation for Mr. Lipps' deposition.

10/29/2012   JALB   Review notes on professional eyes only review         L120     0.10 hrs
                    items.

10/29/2012   JALB   Telephone conference with Mr. Ruiz (Morrison &        L120     0.40 hrs
                    Foerster) and Ms. Paul-Whitfield regarding
                    analysis of professional eyes only and common
                    interest items.
10/29/2012   JALB   Follow-up on correspondence with Mr. Harris           L120     0.30 hrs
                    (Morrison & Foerster), Ms. Paul-Whitfield and
                    others on 9019 review team regarding professional
                    eyes only and common interest issues.
10/29/2012   JALB   E-mail update to Ms. Levitt regarding status of       L120     0.20 hrs
                    professional eyes only question review.

10/29/2012   JALB   Prepare summary memorandum for Ms. Levitt             L120     0.40 hrs
                    (Morrison & Foerster) of professional eyes only
                    and common interest analysis.
10/30/2012   AMP    Analyze common interest issues and change in          L120     1.10 hrs
                    common interest determinations by Morrison &
                    Foerster.
10/30/2012   AMP    Analyze professional eyes only designations.          L120     0.30 hrs


10/30/2012   AMP    Revise chart for Ms. Battle on camparison of          L320     0.40 hrs
                    professional eyes only designations.

10/30/2012   AMP    Multiple e-mail exchanges with Ms. Battle and         L120     0.90 hrs
                    Morrison & Foerster regarding common interest
                    and professional eyes only issues.
10/30/2012   JALB   Review and respond to various e-mails with Mr.        L120     1.80 hrs
                    Rains, Mr. Harris, Ms. Levitt (all Morrison &
                    Foerster) and Ms. Whitfield regarding professional
                    eyes only and common interest designations.
10/30/2012   DAB    Communicate with Mr. Lipps, Ms. Battle and Ms.        L120     0.10 hrs
                    Paul-Whitfield regarding upcoming hearing on
                    RMBS discovery.
10/30/2012   DAB    Analyze provisions of transactional documents for     L320     2.30 hrs
                    sample deals with each monoline insurer to
                    understand interplay between monoline and trustee
                    claims.
10/30/2012   JDR    Draft summary of strategy discussed with Ms.          L420     0.30 hrs
                    Battle and Mr. Lipps regarding expert diligence.

10/30/2012   JDR    Research in preparation for potential challenges to   L420     2.60 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
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                                                         Invoice # 51835         Page 43
                    debtors designated experts.

10/30/2012   JDR    Research regarding merits of objecting parties        L420     1.50 hrs
                    contentions to debtors' designated experts.

10/31/2012   AMP    Conference with privilege log review team             L120     0.30 hrs
                    regarding documents to ensure no general
                    assessment information needs to be redacted.
10/31/2012   AMP    Analyze common interest doctrine instructions as      L120     0.90 hrs
                    revised by Morrison & Foerster.

10/31/2012   AMP    Attention to reviewing and revising supplemental      L320     2.40 hrs
                    privilege logs to identify documents to be produced
                    in light of Morrison & Foerster's latest stance on
                    common interest.
10/31/2012   AMP    Review documents to ensure no general                 L320     1.30 hrs
                    assessment information needs to be redacted.

10/31/2012   JALB   Telephone conference with Mr. Backora                 L120     0.10 hrs
                    (Residential Capital) regarding call with Trustees
                    on loan file questions.
10/31/2012   JALB   Telephone conference with Ms. DeArcy (Morrison        L120     0.10 hrs
                    & Foerster) regarding call with Trustees on loan
                    file questions.
10/31/2012   JALB   Telephone conference with Ms. DeArcy (Morrison        L120     0.40 hrs
                    & Foerster) regarding status of deposition
                    preparation, key issues, and planning for same.
10/31/2012   JALB   Participate in call with Mr. Backora (Residential     L120     0.80 hrs
                    Capital), Trustees' counsel, Ms. Levitt and Ms.
                    DeArcy (both Morrison & Foerster) regarding loan
                    file handling questions.
10/31/2012   JALB   Follow-up correspondence with Mr. Delfs               L120     0.20 hrs
                    (Residential Capital), Mr. Backora (Residential
                    Capital), Ms. Levitt (Morrison & Foerster) and Ms.
                    DeArcy (Morrison & Foerster) regarding same.
10/31/2012   JALB   Correspondence with Mr. Lipps updating on status      L120     0.10 hrs
                    of 9019 litigation.

10/31/2012   JALB   Discussion with Mr. Rhode regarding legal             L120     0.20 hrs
                    research relating to Mr. Lipps' declaration.

10/31/2012   JALB   Telephone conference with Mr. Harris (Morrison        L120     0.50 hrs
                    & Foerster) regarding professional eyes only and
                    common interest status.
10/31/2012   JALB   Meet with Ms. Paul-Whitfield regarding                L120     0.30 hrs
                    professional eyes only and common interest issues.
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10/31/2012   DAB    Conference with Ms. Battle and Mr. Rhode                  L120        0.10 hrs
                    regarding expert witness issues.

10/31/2012   JDR    Revise memorandum analyzing research and                  L420        1.00 hrs
                    potential challenged to debtor designated
                    witnesses.
10/31/2012   JDR    Conference with Ms. Battle regarding expert               L420        0.20 hrs
                    witnesses legal issues.

10/31/2012   JDR    Analyze and research legal issues related to expert       L420        2.30 hrs
                    witnesses.



                    TOTAL FEES FOR THIS MATTER                                         $126,763.50

EXPENSES

10/17/2012          (TRIP-JAL-10/15-17/12) Out-of-Town Travel/Food/Beverage -                   $50.00
                    travel to New York to attend 9019 meetings

10/17/2012          (TRIP-JAL-10/15-17/12) Out-of-Town Travel/Food/Beverage -                    $5.25
                    travel to New York to attend 9019 meetings

10/17/2012          (TRIP-JAL-10/15-17/12) Out-of-Town Travel/Food/Beverage -                   $38.50
                    travel to New York to attend 9019 meetings

10/17/2012          (TRIP-JAL-10/15-17/12) Out-of-Town Travel/Food/Beverage -                    $4.22
                    travel to New York to attend 9019 meetings

10/17/2012          (TRIP-JAL-10/15-17/12) Out-of-Town Travel/Parking @ Port                    $17.00
                    Columbus - travel to New York to attend 9019 meetings

10/17/2012          (TRIP-JAL-10/15-17/12) Out-of-Town Travel/Bellman - travel to                $5.50
                    New York to attend 9019 meetings

10/17/2012          (TRIP-JAL-10/15-17/12) Out-of-Town Travel/Airfare - travel to          $521.00
                    New York to attend 9019 meetings

10/17/2012          (TRIP-JAL-10/15-17/12) Out-of-Town Travel/Hotel - travel to            $570.65
                    New York to attend 9019 meetings

10/17/2012          (TRIP-JAL-10/15-17/12) Out-of-Town Travel/Taxi - travel to                  $20.00
                    New York to attend 9019 meetings

10/17/2012          (TRIP-JAL-10/15-17/12) Out-of-Town Travel/Taxi - travel to                   $8.37
                    New York to attend 9019 meetings

10/17/2012          (TRIP-JAL-10/15-17/12) Out-of-Town Travel/Car Sevice - travel               $30.00
                    to New York to attend 9019 meetings
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27               Exhibit E
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10/17/2012              (TRIP-JAL-10/15-17/12) Out-of-Town Travel/Mileage to/from                     $3.30
                        Port Columbus - travel to New York to attend 9019 meetings

10/21/2012              Litigation Support Vendors - Lumen Legal (services for 10/8/12             $11,163.5
                        to 10/21/12)                                                                       6

10/22/2012              Outside Copying - report from Review of Financial Studies,                   $32.00
                        article Lender Screening and the Role of Securtization

                        TOTAL EXPENSES FOR THIS MATTER                                            $12,469.35


BILLING SUMMARY


         Molnar, Anthony J.                          60.70 hrs   210.00 /hr          $12,747.00


         Paul, Angela M.                           156.50 hrs    250.00 /hr          $39,125.00


         Beck, David A.                              15.20 hrs   230.00 /hr           $3,496.00


         Barthel, David J.                         102.60 hrs    210.00 /hr          $21,546.00


         Marty, Gretchen N.                           8.30 hrs   150.00 /hr           $1,245.00


         Lipps, Jeffrey A.                           15.50 hrs   360.00 /hr           $5,580.00


         Battle, Jennifer A.L.                       46.60 hrs   250.00 /hr          $11,650.00


         Rhode, Jacob D.                             68.10 hrs   160.00 /hr          $10,896.00


         Corcoran, Jeffrey R.                        53.90 hrs   180.00 /hr           $9,702.00


         Samson, Robert B.                            7.60 hrs    75.00 /hr            $570.00


         Moeller, Steven C.                           2.50 hrs   200.00 /hr            $500.00


         Phillips, Segev                             37.20 hrs   220.00 /hr           $8,184.00


         Sholl, Veronica L.                          20.30 hrs    75.00 /hr           $1,522.50
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   TOTAL FEES                             595.00 hrs              $126,763.50

   TOTAL EXPENSES                                                  $12,469.35

   TOTAL CHARGES FOR THIS INVOICE                                 $139,232.85
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                                Monthly Invoices Pg 362 of 1163
                         CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                           November 15, 2012

                                                                      Billed through 10/31/2012
Tammy Hamzephour                                                      Invoice # 51836      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 932 00058
190-FTW-L95
Fort Washington, PA 19034

Re: Securities Claims
Matter No.: 721750

PROFESSIONAL SERVICES

10/01/2012    RBS       Prepare report of recent filings in securities cases          L310        0.30 hrs
                        for Mr. Phillips.

10/01/2012    RBS       Print and prepare recent pleadings in various                 L310        0.60 hrs
                        securities cases.

10/02/2012    RBS       Prepare report of recent securities case filings for          L310        0.10 hrs
                        Mr. Phillips.

10/02/2012    RBS       Print and prepare recent pleadings in various                 L310        0.30 hrs
                        securities cases.

10/02/2012    MMM       Read cases found in research regarding knowledge              L120        0.50 hrs
                        defense for securities fraud.

10/02/2012    MMM       Begin drafting memorandum regarding knowledge                 L120        0.60 hrs
                        defense in securities fraud.

10/02/2012    MMM       Continue researching cases regarding knowledge                L120        0.60 hrs
                        defense in securities fraud.

10/03/2012    MMM       Read cases found in research regarding knowledge              L120        1.30 hrs
                        defense for securities fraud.

10/03/2012    MMM       Continue drafting memorandum regarding                        L120        0.40 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27        Exhibit E
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                                                         Invoice # 51836           Page 2
                    knowledge defense in securities fraud.

10/03/2012   MMM    Continue researching cases regarding knowledge          L120     0.40 hrs
                    defense in securities fraud.

10/04/2012   RBS    Print and prepare recent pleadings in various           L310     0.30 hrs
                    securities cases.

10/04/2012   RBS    Prepare report of securities cases recent filings for   L310     0.10 hrs
                    Mr. Phillips.

10/04/2012   MMM    Read cases found in research regarding knowledge        L120     1.30 hrs
                    defense for securities fraud.

10/04/2012   MMM    Continue drafting memorandum regarding                  L120     0.60 hrs
                    knowledge defense in securities fraud.

10/08/2012   RBS    Print and prepare recent pleadings in various           L310     0.30 hrs
                    securities cases.

10/08/2012   RBS    Prepare report of recent filings of securities cases    L310     0.10 hrs
                    for Mr. Phillips.

10/09/2012   RBS    Print and prepare recent pleadings in various           L310     0.30 hrs
                    securities cases.

10/09/2012   RBS    Prepare report of securities cases recent filings for   L310     0.10 hrs
                    Mr. Phillips.

10/09/2012   DAB    Communicate with Mr. Barthel regarding record           L120     0.30 hrs
                    access issues for litigation and impact of servicing
                    platform sale.
10/10/2012   RBS    Print and prepare recent pleadings in various           L310     0.30 hrs
                    securities cases.

10/10/2012   RBS    Prepare report of securities cases recent filings for   L310     0.10 hrs
                    Mr. Phillips.

10/10/2012   MMM    Continue to research cases regarding knowledge          L120     1.10 hrs
                    defense in securities fraud.

10/10/2012   MMM    Continue to draft memorandum regarding                  L120     2.20 hrs
                    knowledge defense in securities fraud.

10/11/2012   RBS    Prepare reports of recent filings in securities cases   L310     0.20 hrs
                    for Mr. Phillips.
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                                                         Invoice # 51836           Page 3

10/11/2012   RBS    Print and prepare recent pleadings in various           L310     0.30 hrs
                    securities cases.

10/11/2012   MMM    Continue to draft memorandum regarding                  L120     1.30 hrs
                    knowledge defense in securities fraud.

10/15/2012   RBS    Print and prepare recent pleadings in various           L310     0.30 hrs
                    securities cases for review by Mr. Phillips.

10/15/2012   RBS    Draft report of recent securities cases filings for     L310     0.10 hrs
                    Mr. Phillips.

10/16/2012   RBS    Print and prepare recent pleadings in various           L310     0.40 hrs
                    securities cases.

10/16/2012   RBS    Prepare report of recent securities cases filings for   L310     0.20 hrs
                    Mr. Phillips.

10/17/2012   RBS    Print recent pleadings in various securities cases      L310     0.30 hrs
                    for Mr. Phillips.

10/17/2012   RBS    Prepare report of recent pleadings in securities        L310     0.10 hrs
                    cases for Mr. Phillips.

10/19/2012   RBS    Print recent pleadings in various securities cases      L310     0.30 hrs
                    for Mr. Phillips.

10/19/2012   RBS    Prepare report of recent securities cases filings for   L310     0.20 hrs
                    Mr. Phillips.

10/22/2012   RBS    Print recent pleadings in various securities cases      L310     0.20 hrs
                    for Mr. Phillips.

10/22/2012   RBS    Prepare report of recent securities cases filings for   L310     0.10 hrs
                    Mr. Phillips.

10/24/2012   RBS    Print and prepare recent pleadings in various           L310     0.30 hrs
                    securities cases for Mr. Phillips.

10/24/2012   RBS    Prepare report of recent securities cases pleadings     L310     0.10 hrs
                    for Mr. Phillips.

10/25/2012   RBS    Print recent pleadings in various securities cases      L310     0.30 hrs
                    for Mr. Phillips.

10/25/2012   RBS    Prepare report of recent securities cases filings for   L310     0.10 hrs
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
  932 00058                    Monthly Invoices Pg 365 of 1163
                                                            Invoice # 51836               Page 4
                        Mr. Phillips.

10/26/2012   RBS        Print recent pleadings in various securities cases        L310        0.30 hrs
                        for Mr. Phillips.

10/26/2012   RBS        Prepare report of recent securities cases filings for     L310        0.10 hrs
                        Mr. Phillips.

10/30/2012   RBS        Print recent pleadings filed in various securities        L310        0.40 hrs
                        cases for Mr. Phillips.

10/30/2012   RBS        Prepare report of recent filings in securities cases      L310        0.10 hrs
                        for Mr. Phillips.

10/31/2012   JAL        Review and respond to e-mails regarding                   L120        1.00 hrs
                        conference call to address New Jersey Carpenters'
                        objection (.30). Participate on conference call to
                        discuss preservation of loan files in sale (.50).
                        Telephone conference with Ms. Battle regarding
                        follow-up tasks (.20).
10/31/2012   RBS        Print recent pleadings from various securities            L310        0.20 hrs
                        cases.

10/31/2012   RBS        Prepare report of recent securities cases filings for     L310        0.10 hrs
                        Mr. Phillips.



                       TOTAL FEES FOR THIS MATTER                                             $2,647.00


BILLING SUMMARY


         Beck, David A.                                  0.30 hrs    230.00 /hr      $69.00


         Lipps, Jeffrey A.                               1.00 hrs    360.00 /hr     $360.00


         Mohler, Mallory M.                            10.30 hrs     160.00 /hr   $1,648.00


         Samson, Robert B.                               7.60 hrs     75.00 /hr     $570.00



     TOTAL FEES                                        19.20 hrs                  $2,647.00

     TOTAL CHARGES FOR THIS INVOICE                                               $2,647.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27    Exhibit E
932 00058                 Monthly Invoices Pg 366 of 1163
                                                       Invoice # 51836       Page 5
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                              Monthly Invoices Pg 367 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                         November 15, 2012

                                                                  Billed through 10/31/2012
Tammy Hamzephour                                                  Invoice # 51837      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 932 00059
190-FTW-L95
Fort Washington, PA 19034

Re: Monoline Claims
Matter No.: 721750

PROFESSIONAL SERVICES

10/01/2012   JAL       Review statute of limitations research                     L120        0.50 hrs
                       memorandum from Cadwalader Wickersham &
                       Taft (.20). Conference with Mr. Beck regarding
                       same (.20). Review e-mails regarding same (.10).
10/01/2012   DAB       Participate in pre-call with FTI personnel and             L120        0.30 hrs
                       Morrison & Foerster team regarding MBIA
                       meeting.
10/01/2012   DAB       Call with MBIA representatives, Cadwalader                 L120        1.60 hrs
                       lawyers, Blackstone, FTI representatives and
                       Morrison & Foerster team regarding MBIA claims
                       and other claims against the Debtors.
10/01/2012   DAB       Conference with Mr. Lipps regarding results of             L120        0.20 hrs
                       MBIA meeting.

10/01/2012   DAB       Analyze position paper from MBIA on RMBS                   L120        0.40 hrs
                       related claims.

10/02/2012   JALB      Discussion with Mr. Beck regarding potential               L120        0.20 hrs
                       MBIA discussion issues.

10/02/2012   JALB      Analysis of potential MBIA discussion issues.              L320        0.60 hrs


10/02/2012   JALB      Memorandum to Mr. Lipps and Mr. Beck                       L120        0.30 hrs
                       regarding Mr. Pawlowski's report and potential
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
  932 00059                 Monthly Invoices Pg 368 of 1163
                                                         Invoice # 51837        Page 2
                    MBIA discussion issues.
10/02/2012   JALB   Discussion with Mr. Beck regarding direction on      L120     0.20 hrs
                    statute of limitations issues raised by MBIA.

10/02/2012   JALB   Respond to client questions (Ms. Zellmann)           L120     0.20 hrs
                    regarding total claims paid by MBIA.

10/02/2012   DAB    Analyze MBIA position paper on RMBS claims.          L120     0.40 hrs


10/02/2012   DAB    Review Mr. Lipps' declaration to prepare for         L120     0.50 hrs
                    drafting response to MBIA position paper on
                    RMBS claims.
10/02/2012   DAB    Research various issues raised in MBIA position      L120     2.80 hrs
                    paper on RMBS claims.

10/02/2012   SCM    Telephone conference with Mr. Beck regarding         L120     0.10 hrs
                    statute of limitations issues rep and warrant on
                    claims.
10/02/2012   SCM    Legal research regarding Cadwalader                  L110     0.30 hrs
                    memorandum.

10/02/2012   SCM    Draft and transmit e-mail regarding Cadwalader       L190     0.40 hrs
                    memorandum to Mr. Beck, Ms. Battle and Mr.
                    Lipps.
10/03/2012   JAL    Review analysis of MBIA claims (.30).                L120     1.80 hrs
                    Conference with Mr. Beck regarding same (.20).
                    Prepare for conference call to discuss MBIA
                    claims (.30). Participate on MBIA claims call
                    (.50). Review Syncora papers and Judge Crotty's
                    decision regarding impact of insurer default on
                    standing (.20). Conference with Mr. Beck
                    regarding circulating same (.30).
10/03/2012   DAB    Conference with Mr. Lipps regarding call with        L120     0.10 hrs
                    Morrison & Foerster on MBIA claims.

10/03/2012   DAB    Call with Mr. Lee, Mr. Princi, Mr. Rains, and Ms.    L120     0.80 hrs
                    Levitt (Morrison & Foerster) regarding options on
                    MBIA.
10/03/2012   DAB    Draft memorandum on MBIA legal issues.               L120     3.40 hrs


10/03/2012   DAB    Conference with Mr. Lipps regarding issues related   L120     0.50 hrs
                    to MBIA claims.

10/04/2012   JAL    Review and revise e-mail addressing monoline         L120     1.00 hrs
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                                                         Invoice # 51837            Page 3
                    default and standing to assert claims (.20). Review
                    and revise memorandum to CWT on claims
                    settlement issues(.40). Review chart regarding
                    SOL issues (.10). Revise same (.10). Review and
                    respond to e-mails with Mr. Beck regarding same
                    (.20).
10/04/2012   JALB   Review analysis by Mr. Beck of statute of                L320     0.20 hrs
                    limitations issues and provide responsive
                    comments.
10/04/2012   DAB    Analyze pleadings in Syncora v. Countrywide case         L120     0.50 hrs
                    on insurer default.

10/04/2012   DAB    Communicate with Ms. Levitt (Morrison &                  L120     0.20 hrs
                    Foerster) regarding causes of action in FGIC
                    complaint.
10/04/2012   DAB    Conference with Ms. Barrage (Morrision &                 L120     0.20 hrs
                    Foerster) regarding likely FGIC cure claim
                    objection to monoline sale.
10/04/2012   DAB    Draft analysis on statute of limitation issues related   L120     0.70 hrs
                    to RMBS servicing and origination claims.

10/04/2012   DAB    Draft memorandum for Mr. Lee of Morrison &               L120     2.90 hrs
                    Foerster on legal issues raised by MBIA.

10/05/2012   JAL    Further review and revision of proposed                  L120     0.50 hrs
                    memorandum on MBIA issues (.30). Telephone
                    conference with Mr. Beck regarding same (.10).
                    Review and respond to e-mails regarding same
                    (.10).
10/05/2012   JALB   Review and respond to correspondence from Mr.            L120     0.10 hrs
                    Beck regarding status of Ambac servicing transfer
                    discussions.
10/05/2012   DAB    Revise MBIA issues memorandum for Mr. Lee of             L120     0.50 hrs
                    Morrison & Foerster.

10/05/2012   SCM    Telephone conference with Mr. Beck regarding             L120     0.20 hrs
                    statute of limitations research.

10/05/2012   SCM    Additional telephone conference with Mr. Beck.           L120     0.30 hrs


10/05/2012   SCM    Work on Statute of Limitations memorandum.               L190     2.90 hrs


10/07/2012   DAB    Analyze FGIC cure objection to servicing platform        L120     0.80 hrs
                    sale.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27       Exhibit E
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10/08/2012   RBS    Obtain and prepare Countrywide's motion for            L310     1.30 hrs
                    summary judgement and memorandum in support.

10/08/2012   DAB    Conference with Mr. Phillips regarding prepetition     L120     0.10 hrs
                    analysis on FGIC claims.

10/08/2012   DAB    Research counter-arguments to each element of          L120     2.90 hrs
                    FGIC's cure claim objection to servicing platform
                    sale.
10/08/2012   DAB    Draft outline of responses to FGIC cure objection.     L120     1.80 hrs


10/08/2012   DAB    Communicate with Mr. Lipps and Ms. Battle              L120     0.20 hrs
                    regarding calls with Morrison & Foerster and
                    Residential Capital and next projects on monoline
                    cure claim objections.
10/08/2012   DAB    Analyze MBIA cure claim on servicing platform          L120     0.90 hrs
                    sale and related contractual document provisions.

10/08/2012   DAB    Draft analysis for Ms. Barrage of Morrison &           L120     1.20 hrs
                    Foerster regarding arguments on MBIA cure claim.

10/08/2012   DAB    Research litigation databases for materials relevant   L330     2.10 hrs
                    to examiner interview of Mr. Marano.

10/08/2012   DAB    Call with Mr. Goren, Mr. Rosenbaum, Mr. Lee,           L120     0.70 hrs
                    Ms. Beck and Ms. Barrage (Morrison & Foerster),
                    Mr. Weingarten, Mr. Chopra (Residential Capital)
                    and Mr. Ruckdashel, Mr. Schares and Ms. Woerh
                    (Counterview) regarding strategy for responding
                    to monoline cure claims on servicing platform sale.
10/08/2012   DAB    Call with Mr. Rosenbaum (Morrison & Foerster)          L120     0.30 hrs
                    and Mr. Ruckdaschel (Residential Capital)
                    regarding servicing transfers issues related to
                    Ambac wrapped deals.
10/08/2012   SP     Conference with Mr. Beck regarding arguments           L120     1.30 hrs
                    relating to claims arising from amortization events
                    and send materials regarding the same to Mr. Beck.
10/09/2012   JAL    Review Cadwalader, Wickersham & Taft                   L120     0.50 hrs
                    communication regarding distinctions between
                    MBIA claims and those of others (.40).
                    Conference with Mr. Beck regarding responding to
                    same (.10).
10/09/2012   DAB    Communicate with Ms. Barrage (Morrison &               L120     0.10 hrs
                    Foerster) regarding options on FGIC cure claims.
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10/09/2012   DAB    Communicate with Centerview and Morrison &            L120     0.20 hrs
                    Foerster team regarding additional financial
                    analysis needed for FGIC cure claims.
10/10/2012   JALB   Correspondence with Mr. Klein (Morrison &             L120     0.20 hrs
                    Foerster) regarding cure claim objections.

10/10/2012   DAB    Communicate with Ms. Barrage (Morrison &              L120     0.20 hrs
                    Foerster) regarding MBIA cure claim objection to
                    servicing platform sale.
10/10/2012   DAB    Call with Ms. Barrage (Morrison & Foerster)           L120     0.40 hrs
                    regarding strategy on servicing related cure
                    objections.
10/10/2012   DAB    Draft inserts for Morrison & Foerster grid on         L120     0.70 hrs
                    servicing sale objections.

10/11/2012   JAL    Review memorandum from CWT regarding                  L120     0.30 hrs
                    distinctions between MBIA claims and those of
                    Monolines (.10). Conference with Mr. Beck
                    regarding responding to same (.10). Review
                    e-mails regarding same (.10).
10/11/2012   RBS    Prepare electronic and hard copies of Mr. Cowan's     L310     0.20 hrs
                    expert report to distribute.

10/11/2012   DAB    Call with Mr. Lee, Mr. Goren, Mr. Rosenbaum,          L120     1.00 hrs
                    and Ms. Barrage (Morrison & Foerster) regarding
                    strategy on servicing sale objections.
10/11/2012   DAB    Communicate with Ms. Barrage (Morrison &              L120     0.20 hrs
                    Foerster) regarding provisions in FGIC transaction
                    documents related to FGIC servicing claim.
10/11/2012   DAB    Analyze MBIA cure claim and related transaction       L120     0.70 hrs
                    documents.

10/11/2012   DAB    Draft outline of response to MBIA cure claim.         L120     0.90 hrs


10/12/2012   DAB    Review previous research related to MBIA claims.      L120     0.50 hrs


10/12/2012   DAB    Call with Sidley Austin lawyers for Nationstar, Mr.   L120     0.80 hrs
                    Goren, Ms. Barrage (Morrison & Foerster), Ms.
                    Woehr and Mr. Ruckdashel (Residential Capital)
                    regarding monoline cure claim objections to
                    servicing platform sale.
10/12/2012   DAB    Review and comment on materials for Nationstar        L120     0.20 hrs
                    regarding sale.
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10/12/2012   DAB    Research regarding defenses to monoline claims.     L120     3.50 hrs


10/12/2012   DAB    Draft memorandum responding to MBIA position        L120     1.20 hrs
                    paper.

10/12/2012   DAB    Call with MBIA regarding cure claim objection to    L120     0.20 hrs
                    servicing platform sale.

10/12/2012   DAB    Analyze summary judgment ruling in Assured          L120     0.40 hrs
                    Guaranty v. Credit Suisse.

10/12/2012   DAB    Draft analysis on Assured Guaranty v. Credit        L120     0.40 hrs
                    Suisse summary judgment ruling.

10/12/2012   DAB    E-mail Ms. Barrage (Morrison & Foerster)            L120     0.10 hrs
                    regarding comments on materials for Nationstar on
                    cure claims.
10/12/2012   DAB    Communicate with Mr. Lee and Ms. Levitt             L120     0.20 hrs
                    (Morrison & Foerster) regarding Assured Guaranty
                    ruling.
10/12/2012   SP     Review ruling on motion to dismiss in Assured       L240     0.40 hrs
                    Guaranty v. Credit Suisse and send analysis to
                    team.
10/13/2012   DAB    Draft memorandum responding to MBIA position        L120     1.30 hrs
                    paper.

10/15/2012   JAL    Reviewing, redrafting and finalizing circulation    L120     0.50 hrs
                    draft of memorandum to EWT on MBIA claims.

10/15/2012   JAL    Telephone conference with Mr. Beck regarding        L120     0.20 hrs
                    circulation draft of memorandum to EWT on
                    MBIA claims.
10/15/2012   JAL    E-mails regarding circulation draft of              L120     0.10 hrs
                    memorandum to EWT on MBIA claims.

10/15/2012   JALB   Gather and review background materials. (.30)       L330     0.60 hrs
                    Prepare outline of topics for meeting with Mr.
                    Rains and Ms. Levitt (Morrison & Foerster). (.30)
10/15/2012   JALB   Meet with Mr. Lipps regarding preparation for       L120     0.30 hrs
                    meeting tomorrow.

10/15/2012   DAB    At request of Ms. Barrage of Morrison & Foerster,   L120     0.20 hrs
                    analyze Ambac cure amount objection.

10/15/2012   DAB    Conference call with Mr. Goren, Mr. Rosenbaum,      L120     1.30 hrs
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                    Ms. Barrage (Morrison & Foerster), and Mr.
                    Ruckdashel, Mr. Schares (Residential Capital)
                    regarding monoline cure issues related to servicing
                    platform sale.
10/15/2012   DAB    E-mails with Mr. Goren, Mr. Rosenbaum and Ms.         L120     0.20 hrs
                    Barrage of Morrison & Foerster regarding
                    transactional document samples relevant to
                    monoline cure claims.
10/15/2012   DAB    Communicate with Ms. Barrage (Morrison &              L120     0.10 hrs
                    Foerster) regarding MBIA cure claim objection.

10/15/2012   DAB    Conference with Mr. Lipps regarding monoline          L120     0.20 hrs
                    cure claims on servicing platform sale and
                    memorandum to MBIA.
10/16/2012   JAL    Further review and revision of memorandum to          L120     0.50 hrs
                    CWT regarding claims settlement issues (.20).
                    Conference with Ms. Battle and Mr. Beck
                    regarding revising and finalizing same (.20).
                    Review e-mails from Mr. Lee regarding trustee
                    view of Monoline claims (.10).
10/16/2012   JALB   Meet with Mr. Rains, Ms. Levitt (Morrison &           L120     0.30 hrs
                    Foerster) regarding preparation for defense of
                    monoline claims.
10/16/2012   DAB    Call with Ms. Bagby, Mr. McCormack, Mr.               L120     0.70 hrs
                    Johnson (Cadwalader), Ms. Barrage (Morrison &
                    Foerster) regarding MBIA cure claims being
                    asserted on servicing sale.
10/16/2012   DAB    Follow-up conversation with Ms. Barrage               L120     0.10 hrs
                    (Morrison & Foerster) regarding next steps on
                    MBIA's cure claims.
10/16/2012   DAB    Analyze provisions in MBIA insurance agreements       L120     0.80 hrs
                    related to MBIA cure claims.

10/16/2012   DAB    Call with Ms. Crost (Orrick) regarding                L120     0.20 hrs
                    reimbursement claims under insurance agreements.

10/17/2012   JAL    Further review and revision of memorandum to          L120     1.80 hrs
                    CWT regarding claims settlement issues (.20).
                    Conference with Ms. Battle and Mr. Beck
                    regarding revising and finalizing same (.20).
                    Review e-mails from Mr. Lee regarding trustee
                    view of Monoline claims (.10). Review
                    Countrywide brief addressing "made whole" legal
                    concept as it applies to MBIA (.50). Conference
                    with Mr. Beck regarding same (.30). Telephone
                    conference with Mr. Lee regarding redrafting
                    MBIA memorandum (.30). Conference with Mr.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27         Exhibit E
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                    Beck regarding same (.10). Review and redraft
                    response to e-mails regarding same (.10).
10/17/2012   JALB   Review and provide comments to Mr. Lipps and             L120     0.60 hrs
                    Mr. Beck on draft memorandum to MBIA
                    regarding legal issues.
10/17/2012   DAB    E-mail Mr. Lee, Mr. Marinuzzi, Mr. Goren, Ms.            L120     0.20 hrs
                    Beck, Ms. Barrage and Ms. Princi (Morrison &
                    Foerster) regarding contract interpretation issues
                    related to MBIA cure claims on servicing platform
                    sale.
10/17/2012   DAB    Multiple conferences with Mr. Lipps regarding            L120     0.30 hrs
                    response to MBIA memorandum.

10/17/2012   DAB    Revise memorandum responding to MBIA                     L210     2.30 hrs
                    memorandum on ResCap claims.

10/17/2012   DAB    Communicate with Mr. Lipps and Ms. Battle                L120     0.10 hrs
                    regarding strategy on monoline objections to
                    servicing platform sale.
10/17/2012   DAB    Draft insert to letter to bidders on servicing sale on   L120     1.40 hrs
                    monoline cure claims.

10/17/2012   DAB    Communicate with Mr. Lipps regarding research            L120     0.20 hrs
                    requested by Mr. Lee (Morrison & Foerster) on
                    monoline future claims.
10/17/2012   DAB    Draft analysis for Mr. Lee, Mr. Princi, Mr. Goren,       L120     1.30 hrs
                    Ms. Levitt, Mr. Newton and Ms. Schaaf (Morrison
                    & Forester), Mr. Lipps and Ms. Battle regarding
                    relationship between monoline and trustee future
                    claims.
10/18/2012   JAL    Conference with Mr. Beck regarding revisions to          L120     1.00 hrs
                    MBIA memorandum (.30). Continue review of
                    Countrywide memorandum regarding subrogation
                    rights (.40). Conference with Mr. Beck regarding
                    same (.30).
10/18/2012   DAB    Research developments in various New York state          L120     0.40 hrs
                    court cases involving monolines.

10/18/2012   DAB    Conference with Mr. Potter (Lazare Potter)               L120     0.20 hrs
                    regarding state court pleadings in monoline cases.

10/18/2012   DAB    Analyze briefing in MBIA v. Countrywide case in          L120     1.00 hrs
                    California.

10/18/2012   DAB    Conference with Mr. Lipps regarding key                  L120     0.20 hrs
                    arguments in MBIA v. Countrywide case in
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                    California.
10/19/2012   JAL    Review analysis of MBIA claim from Mr. Beck in       L120     1.80 hrs
                    preparation for conference call with counsel for
                    trustees and Mr. Lee (.90). Conference with Mr.
                    Beck regarding same (.30). Participate on
                    conference call with Mr. Segal (Dechert), Mr. Lee,
                    Mr. Newton (Morrison & Foerster) and Mr. Beck
                    regarding MBIA claims (.30). Call with Mr. Lee,
                    Mr. Newton and Mr. Beck regarding monoline
                    claims. (.10) Review and respond to e-mails
                    regarding memorandum on MBIA claims (.20).
10/19/2012   DAB    Draft talking points for call with Mr. Siegel        L120     0.40 hrs
                    (counsel to Indenture Trustees) regarding trustee
                    and monoline claims for future damages.
10/19/2012   DAB    Call with Mr. Lee, Mr. Newton (Morrison &            L120     0.10 hrs
                    Foerster) and Mr. Lipps regarding trustee and
                    monoline claims for future damages.
10/19/2012   DAB    Call with Mr. Siegel (Dechert), Mr. Lee, Mr.         L120     0.30 hrs
                    Newton (Morrison & Foerster) and Mr. Lipps
                    regarding trustee and monoline claims for future
                    damages.
10/19/2012   DAB    Follow up conversation with Mr. Lipps regarding      L120     0.20 hrs
                    next steps on monoline claims.

10/19/2012   DAB    Call with Ms. Barrage (Morrison & Foerster)          L120     0.10 hrs
                    regarding monoline cure claim issues on servicing
                    platform sale.
10/19/2012   DAB    Participate in conference call with Morrison &       L120     1.00 hrs
                    Foerster, Centerview, FTI and ResCap teams on
                    cure objection and other sale issues.
10/19/2012   DAB    Participate in call with Orrick, Morrison &          L120     0.10 hrs
                    Foerster and Residential Capital teams on FGIC
                    issues on servicing platform sale.
10/20/2012   DAB    Communicate with Mr. Lee (Morrison & Foerster)       L120     0.10 hrs
                    regarding Mr. Schares (Residential Capital)
                    analysis on advances related to monoline wrapped
                    deals.
10/20/2012   DAB    Communicate with Mr. Ruckdashel (Residential         L120     0.10 hrs
                    Capital) regarding Mr. Schares (Residential
                    Capital) analysis on advances related to monoline
                    wrapped deals.
10/21/2012   JAL    Review and revise memorandum to CWT on               L120     1.50 hrs
                    claims settlement process (1.10). Telephone
                    conference with Mr. Beck regarding same (.20).
                    Review and respond to e-mails regarding finalizing
                    memorandum (.20).
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10/21/2012   DAB    Call with Ms. Barrage (Morrison & Foerster)           L120     0.10 hrs
                    regarding monoline cure claim objections to sale
                    and potential ways for handling objection.
10/21/2012   DAB    Participate in all hands call with Rescap, Morrison   L120     1.00 hrs
                    & Foerster and Centerview teams regarding
                    monoline objections to sale and potential options
                    for resolving same.
10/22/2012   DAB    Analyze materials from Mr. Weingarten                 L120     0.40 hrs
                    (Centerview) regarding cure claims related to
                    monoline wrapped deals.
10/23/2012   DAB    Communicate with Mr. Lipps regarding follow up        L120     0.10 hrs
                    on call with Trustee counsel on Monoline claims.

10/23/2012   DAB    Analyze previous analytical work on Monoline          L120     0.70 hrs
                    claims.

10/23/2012   DAB    Call with Mr. Newton and Ms. Schaaf (Morrison &       L120     0.50 hrs
                    Forester) regarding coordination of additional
                    research on Monoline claims.
10/23/2012   DAB    Research recent developments in litigation between    L120     2.10 hrs
                    other issuers and Monoline insurers.

10/24/2012   DAB    Communicate with Mr. Lipps and Mr. Potter             L120     0.10 hrs
                    (Lazare Potter) regarding MBIA v. Countrywide
                    pleadings.
10/24/2012   DAB    Communicate with Morrison & Foerster and              L120     0.20 hrs
                    Centerview teams regarding cure information
                    provided by Ambac.
10/24/2012   DAB    Call with Mr. Rosenbaum and Ms. Beck (Morrison        L120     0.40 hrs
                    & Foerster) regarding Ambac cure claims and
                    agreement transfer issues.
10/25/2012   DAB    Research recent filings in MBIA v. Countrywide        L120     0.40 hrs
                    case.

10/25/2012   DAB    Analyze Ambac provided information on cure            L120     1.20 hrs
                    claims and research performance of Ambac
                    wrapped transactions.
10/25/2012   DAB    Draft list of issues with Ambac's asserted cure       L120     0.40 hrs
                    claim for Mr. Rosenbaum of Morrison & Foerster.

10/26/2012   DAB    Call with counsel to Ambac, Mr. Rosenbaum and         L120     0.30 hrs
                    Ms. Beck (Morrison Foerster) regarding Ambac
                    cure claims.
10/26/2012   DAB    Discussion with Mr. Rosenbaum and Ms. Beck            L120     0.30 hrs
                    (Morrison & Foerster) regarding next steps on
                    Ambac cure claims based on call with Ambac.
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10/26/2012   DAB      Call with FGIC's counsel, Mr. Goren and Ms.             L120          0.30 hrs
                      Barrage (Morrison & Foerster) regarding FGIC
                      cure claims.
10/26/2012   DAB      Follow-up call with Ms. Barrage (Morrison &             L120          0.20 hrs
                      Foerster) on next steps with FGIC.

10/26/2012   DAB      Call with Residential Capital and Morrison &            L120          0.60 hrs
                      Foerster teams regarding advance recovery and
                      other issues related to monoline wrapped deals.
10/26/2012   DAB      E-mail Ms. Barrage (Morrison & Foerster)                L120          0.10 hrs
                      regarding FGIC prepetition communications on
                      servicing.
10/26/2012   DAB      Draft e-mail to Mr. Ruckdashel (Residential             L120          0.30 hrs
                      Capital) regarding results of call with Ambac on
                      cure claims.
10/26/2012   DAB      Conference with Mr. Lipps regarding status of           L120          0.20 hrs
                      discussion with monolines on cure claims.

10/30/2012   DAB      Research regarding insurance claims treatment           L120          3.20 hrs
                      under section 502 of the Bankruptcy Code.

10/31/2012   DAB      Conference with Ms. Barrage (Morrison &                 L120          0.20 hrs
                      Foerster) regarding strategy on monoline cure
                      claims related to servicing platform sale.
10/31/2012   DAB      Analyze Countrywide summary judgment briefs             L120          1.20 hrs
                      for materials relevant to RMBS settlement.

10/31/2012   DAB      Draft memorandum on interplay between monoline          L120          3.10 hrs
                      claims and RMBS trustee issues.

10/31/2012   DAB      Research subordination issues related to monoline       L120          3.70 hrs
                      claims.

10/31/2012   DAB      Conference with Mr. Newton (Morrison &                  L120          0.20 hrs
                      Foerster) regarding coordination of research tasks
                      on relationship between monoline and trustee
                      claims.


                      TOTAL FEES FOR THIS MATTER                                           $23,961.50


BILLING SUMMARY


         Beck, David A.                             75.50 hrs    230.00 /hr   $17,365.00
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      Lipps, Jeffrey A.                      12.00 hrs   360.00 /hr    $4,320.00


      Battle, Jennifer A.L.                   3.80 hrs   250.00 /hr        $950.00


      Samson, Robert B.                       1.50 hrs    75.00 /hr        $112.50


      Moeller, Steven C.                      4.20 hrs   200.00 /hr        $840.00


      Phillips, Segev                         1.70 hrs   220.00 /hr        $374.00



   TOTAL FEES                                98.70 hrs                $23,961.50

   TOTAL CHARGES FOR THIS INVOICE                                     $23,961.50
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                              Monthly Invoices Pg 379 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                          November 15, 2012

                                                                     Billed through 10/31/2012
Tammy Hamzephour                                                     Invoice # 51838      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 932 00060
190-FTW-L95
Fort Washington, PA 19034

Re: ResCap Discovery Issues
Matter No.: 721750

PROFESSIONAL SERVICES

10/01/2012   JALB      Prepare tracking sheet for document production                L320        0.90 hrs
                       statuses.

10/01/2012   DAB       Communicate with Ms. Clinton (Residential                     L120        0.10 hrs
                       Capital) regarding materials to be produced to
                       CUNA.
10/01/2012   JRC       Communicate with Ms. Marty regarding staffing                 L120        0.20 hrs
                       for review project relating to the unsecured
                       creditors' committee's requests related to the
                       motion to compensate PricewaterhouseCoopers.
10/01/2012   JRC       Revise chart for Ms. Battle providing update of               L320        0.10 hrs
                       status of all bankruptcy-related document
                       productions.
10/01/2012   GNM       Conference call with DTI regarding current status             L120        0.30 hrs
                       of productions in the pipeline.

10/01/2012   GNM       Drafting and sending e-mail to Ms. Martin                     L120        0.40 hrs
                       (Morrison & Foerster) regarding DIP Lien
                       production.
10/01/2012   GNM       Performing quality control checks on DIP Lien                 L320        0.70 hrs
                       production to be sent to UCC.

10/02/2012   VLS       Review DTI Discovery Partner database. (.70)                  L320        2.70 hrs
                       Annotate select seller files for proper identification
                       for future production. (2.00)
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10/02/2012   JALB   Correspondence with Mr. Underhill (Residential          L120     0.20 hrs
                    Capital) and Mr. Corcoran regarding status of data
                    delivery and planning for PricewaterhouseCoopers
                    document review project.
10/02/2012   JALB   Correspondence with Ms. Levitt, Mr. Salerno, Mr.        L120     0.30 hrs
                    Klein, and Mr. Englehardt (all Morrison &
                    Foerster) regarding scope of statutory privilege for
                    communications with Federal Reserve.
10/02/2012   JALB   Communicate with Ms. Marty and Mr. Corcoran             L120     0.50 hrs
                    regarding status of document productions and
                    staffing for review.
10/02/2012   DAB    Communicate with Mr. Haims and Mr. Rosenbaum            L120     0.20 hrs
                    (Morrison & Foerster) regarding Allstate
                    subpoenas.
10/02/2012   DAB    Communicate with Mr. Corcoran and Ms. Marty             L120     0.20 hrs
                    regarding discovery burden questions from Ms.
                    Richards of Morrison & Foerster.
10/02/2012   DAB    Analyze materials provided by Mr. Corcoran on           L120     0.30 hrs
                    discovery burdens.

10/02/2012   DAB    Draft letter to Allstate regarding impact of stay on    L120     0.30 hrs
                    Allstate subpoena.

10/02/2012   DAB    Communicate with Ms. Richards (Morrison &               L120     0.40 hrs
                    Foerster) regarding burden of discovery for lift stay
                    reply.
10/02/2012   JRC    Conference with Ms. Marty and Ms. Battle                L320     0.20 hrs
                    regarding status of review of documents for
                    production to the unsecured creditors' committee
                    relating to the motion to compensate
                    PricewaterhouseCoopers.
10/02/2012   JRC    Revise the protocol for review of documents             L320     1.10 hrs
                    relating to motion to compensate
                    PricewaterhouseCoopers in response to requests
                    from the unsecured creditors' committee based on
                    suggestions of Mr. Engelhardt (Morrison &
                    Foerster).
10/02/2012   JRC    E-mail exchange with Mr. Engelhardt (Morrison &         L320     0.10 hrs
                    Foerster) regarding protocol for review of
                    documents relating to motion to compensate
                    PricewaterhouseCoopers in response to requests
                    from the unsecured creditors' committee based on
                    suggestions of Mr. Engelhardt (Morrison &
                    Foerster).
10/02/2012   JRC    E-mail exchange with Ms. Gulley (DTI) regarding         L120     0.10 hrs
                    processing time for documents relating to motion
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
  932 00060                 Monthly Invoices Pg 381 of 1163
                                                         Invoice # 51838         Page 3
                    to compensate PricewaterhouseCoopers in
                    response to requests from the unsecured creditors'
                    committee.
10/02/2012   GNM    Meeting with Ms. Battle regarding status of review    L120     0.80 hrs
                    and production of documents.

10/03/2012   VLS    Review seller files in DTI Discovery Partner          L320     1.50 hrs
                    database. (1.00) Annotate select seller files for
                    proper identification for future production. (.50)
10/03/2012   JALB   Correspondence with Mr. Brown (Morrison &             L120     0.20 hrs
                    Foerster) and Ms. Marty regarding miscellaneous
                    documents to be produced and status of collection
                    efforts on various subjects.
10/04/2012   VLS    Review seller files in DTI Discovery Partner          L320     1.00 hrs
                    database. (.30) Annotate select seller files for
                    proper identification for future production. (.70)
10/04/2012   JALB   Review and revise PricewaterhouseCoopers              L320     0.80 hrs
                    document review protocol for Mr. Corcoran.

10/04/2012   DAB    Call with Mr. Scheck (Quinn Emmanuel) regarding       L120     0.20 hrs
                    Allstate subpoenas to GMAC.

10/04/2012   DAB    E-mail Mr. Scheck (Quinn Emmanuel) regarding          L120     0.20 hrs
                    Allstate subpoenas to GMAC.

10/04/2012   JRC    E-mail exchange with Ms. Chang (Morrison &            L120     0.10 hrs
                    Foerster) regarding training on protocol for review
                    of documents relating to motion to compensate
                    PricewaterhouseCoopers in response to requests
                    from the unsecured creditors' committee.
10/04/2012   JRC    Conference with Ms. Marty regarding training of       L120     0.10 hrs
                    reviewers for review of documents relating to
                    motion to compensate PricewaterhouseCoopers in
                    response to requests from the unsecured creditors'
                    committee.
10/04/2012   JRC    E-mail exchange with Ms. Battle regarding             L120     0.10 hrs
                    revisions the the protocol for review of documents
                    relating to motion to compensate
                    PricewaterhouseCoopers in response to requests
                    from the unsecured creditors' committee.
10/04/2012   JRC    Revise the protocol for review of documents           L320     0.70 hrs
                    relating to motion to compensate
                    PricewaterhouseCoopers in response to requests
                    from the unsecured creditors' committee based on
                    suggestions of Ms. Battle.
10/04/2012   JRC    E-mail exchange with Mr. Engelhardt (Morrison &       L120     0.10 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27         Exhibit E
  932 00060                 Monthly Invoices Pg 382 of 1163
                                                         Invoice # 51838            Page 4
                    Foerster) regarding protocol for review of
                    documents relating to motion to compensate
                    PricewaterhouseCoopers in response to requests
                    from the unsecured creditors' committee.
10/04/2012   JRC    Conference with Ms. Marty regarding annotation           L120     0.10 hrs
                    pane in Discovery Partner for review of documents
                    relating to motion to compensate
                    PricewaterhouseCoopers in response to requests
                    from the unsecured creditors' committee.
10/04/2012   JRC    Organize training session with review of                 L320     0.20 hrs
                    documents relating to motion to compensate
                    PricewaterhouseCoopers in response to requests
                    from the unsecured creditors' committee.
10/04/2012   JRC    Teleconference with Mr. Brown (Morrison &                L320     0.10 hrs
                    Foerster) regarding staffing for review of
                    documents relating to motion to compensate
                    PricewaterhouseCoopers in response to requests
                    from the unsecured creditors' committee.
10/04/2012   JRC    E-mail exchange with Ms. Battle and Ms. Marty            L120     0.20 hrs
                    regarding cost and benefits of Analytics function to
                    sort documents for reviewers in Relativity.
10/04/2012   JRC    Train first-level reviewers on protocol for review       L320     1.00 hrs
                    of documents relating to motion to compensate
                    PricewaterhouseCoopers in response to requests
                    from the unsecured creditors' committee.
10/04/2012   JRC    Review and analyze research memoranda                    L120     0.20 hrs
                    regarding the attorney-client privilege from
                    Morrison & Foerster in order to revise document
                    review protocols.
10/04/2012   GNM    New reviewer training for PWC subproject.                L320     1.40 hrs


10/04/2012   GNM    Working with Ms. Gulley (DTI) to configure data          L320     0.60 hrs
                    for PWC review.

10/05/2012   VLS    Review DTI Discovery Partner database. (1.00)            L320     1.10 hrs
                    Annotate select seller files for proper identification
                    for future production. (.10)
10/05/2012   JALB   Coordination with Ms. Marty and Mr. Corcoran             L120     0.30 hrs
                    regarding review staffing and status across
                    projects.
10/05/2012   DAB    Conference with Mr. Rosenbaum (Residential               L120     0.10 hrs
                    Capital) regarding response to recent third party
                    subpoenas received by Debtors.
10/05/2012   DAB    Communicate with Ms. Zellman (Residential                L120     0.10 hrs
                    Capital) regarding developments on FHFA loan
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27    Exhibit E
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                    file request.
10/05/2012   DAB    Analyze MBIA letter requesting to disclose          L120     0.20 hrs
                    confidential materials to New York regulators.

10/05/2012   DAB    Analyze letter received from Dexia concerning       L120     0.30 hrs
                    discovery requests.

10/05/2012   JRC    E-mail exchange with Mr. Engelhardt (Morrison &     L120     0.10 hrs
                    Foerster) regarding cancellation of the review of
                    documents relating to the motion to compensate
                    PricewaterhouseCoopers.
10/05/2012   JRC    E-mail exchange with Mr. Brown (Morrison &          L120     0.10 hrs
                    Foerster) and Ms. Chang (Morrison & Foerster)
                    regarding cancellation of the review of documents
                    relating to the motion to compensate
                    PricewaterhouseCoopers.
10/06/2012   JALB   Correspondence with Mr. Lipps and Mr. Beck          L120     0.20 hrs
                    regarding MBIA confidentiality issues.

10/07/2012   JALB   Review further information regarding MBIA           L320     0.20 hrs
                    disclosure request.

10/07/2012   JALB   Correspondence with Mr. Lipps and Mr. Beck          L120     0.10 hrs
                    regarding information regarding MBIA disclosure
                    request.
10/07/2012   DAB    Draft response to Dexia letter concerning           L120     0.80 hrs
                    applicability of stay to discovery.

10/08/2012   VLS    E-mail exchange with Mr. Shipler at DTI regarding   L320     0.40 hrs
                    assembly and production of select seller files in
                    response to CUNA subpoena.
10/08/2012   JALB   Review materials relating to MBIA request to        L120     0.50 hrs
                    disclose confidential material.

10/08/2012   JALB   Correspondence with Mr. Lipps regarding             L120     0.20 hrs
                    materials relating to MBIA request to disclose
                    confidential material.
10/08/2012   JALB   Prepare memorandum to Mr. Lee, Mr. Haims and        L120     0.40 hrs
                    Ms. Levitt (all Morrison & Foerster) regarding
                    MBIA request and recommended course of action.
10/08/2012   JALB   Review and respond to correspondence with Ms.       L120     0.30 hrs
                    Paul-Whitfield regarding privilege determinations
                    for in-house Ally/ResCap attorneys.
10/08/2012   DAB    Revise letter to Dexia regarding applicability of   L120     0.10 hrs
                    stay.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27       Exhibit E
  932 00060                 Monthly Invoices Pg 384 of 1163
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10/08/2012   GNM    Updating review project status report for Ms.          L320     0.60 hrs
                    Battle.

10/09/2012   JALB   Meeting with Mr. Underhill (Residential Capital)       L120     0.40 hrs
                    regarding presentation questions.

10/09/2012   JALB   Meeting with Ms. Marty and Mr. Corcoran                L120     0.60 hrs
                    regarding status of document productions and
                    staffing for review.
10/09/2012   JALB   Follow-up review of and comments on memoranda          L120     0.40 hrs
                    regarding tracking of status of document
                    productions and staffing for review.
10/09/2012   JALB   Internal discussions regarding staffing for quality    L120     0.50 hrs
                    control review.

10/09/2012   JALB   Follow-up discussion with Mr. Barthel regarding        L120     0.20 hrs
                    research on scope of preservation obligation in sale
                    context.
10/09/2012   JALB   Review and comment on memorandum from Mr.              L120     0.30 hrs
                    Barthel regarding research on scope of
                    preservation obligation in sale context.
10/09/2012   DJB    Communications with Ms. Battle regarding               L120     0.20 hrs
                    research concerning seller's and buyer's obligations
                    to preserve discoverable material in sale of a
                    business.
10/09/2012   DJB    Communications with Mr. Beck regarding research        L120     0.30 hrs
                    concerning seller's and buyer's obligations to
                    preserve discoverable material in sale of a
                    business.
10/09/2012   DJB    Research nationwide case law concerning seller's       L120     3.10 hrs
                    and buyer's obligations to preserve discoverable
                    material in sale of a business.
10/09/2012   DJB    Draft e-mail to Ms. Battle regarding seller's and      L120     0.90 hrs
                    buyer's obligations to preserve discoverable
                    material in sale of a business.
10/09/2012   DAB    Revise letter to Dexia regarding automatic stay.       L120     0.20 hrs


10/09/2012   DAB    Communicate with Mr. Haims and Mr. Rosenbaum           L120     0.10 hrs
                    (Morrison & Foerster) regarding strategy on Dexia
                    discovery requests.
10/09/2012   GNM    Conference call with DTI regarding current status      L120     0.60 hrs
                    of productions in the pipeline.

10/10/2012   VLS    Review seller files in DTI database. (1.90)            L320     3.80 hrs
                    Annotate same for production in response to
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                    CUNA subpoena. (1.90)
10/10/2012   JALB   Follow-up correspondence with Mr. Underhill          L120     0.20 hrs
                    (Residential Capital) regarding research on
                    preservation obligations in sale context.
10/10/2012   DJB    Research nationwide case law concerning seller's     L120     1.20 hrs
                    and buyer's obligations to preserve discoverable
                    material in sale of a business.
10/10/2012   DJB    Draft memorandum to Ms. Battle regarding seller's    L120     0.90 hrs
                    and buyer's obligations to preserve discoverable
                    material in sale of a business.
10/10/2012   GNM    Updating Key Custodian list to reflect most recent   L320     0.80 hrs
                    data restoration.

10/11/2012   VLS    Conference with Mr. Shipler at DTI and Mr. Keck      L320     1.10 hrs
                    and Ms. Wong at Profile Discovery regarding
                    output format of load files for delivery of select
                    seller files in DTI database to Profile for bates
                    numbering and production in response to CUNA
                    subpoena.
10/11/2012   JALB   Correspondence with Mr. Englehardt (Morrison &       L120     0.40 hrs
                    Foerster) and others regarding scope of Federal
                    Reserve privilege and impact on ongoing
                    document productions.
10/12/2012   VLS    E-mail exchange with Mr. Shipler at DTI and Ms.      L320     0.40 hrs
                    Wong at Profile regarding status of delivery of
                    seller files to Profile imaging for production in
                    response to CUNA subpoena.
10/15/2012   JAL    Review decision of Judge Glenn denying loan file     L120     0.70 hrs
                    production to FHFA (.30). Review appeal filings
                    of FHFA (.20). Review and respond to e-mails
                    regarding procedural options available to debtors
                    (.20).
10/15/2012   DJB    Communications with Ms. Marty, Ms. Zellmann,         L120     1.20 hrs
                    Ms. Battle, and EED-DTI regarding general
                    EED-DTI invoice issues across document
                    productions.
10/15/2012   DAB    Analyze Judge Glenn's decision on FHFA loan file     L120     0.80 hrs
                    requests for relevance to other parties seeking
                    discovery.
10/15/2012   DAB    Analyze appealability issues related to FHFA         L120     0.20 hrs
                    ruling.

10/15/2012   DAB    Conference with Mr. Rosenbaum (Morrison &            L120     0.20 hrs
                    Foerster) regarding next steps with FHFA
                    discovery dispute and relevance of FHFA letter to
                    other loan file requests.
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                                                         Invoice # 51838          Page 8
10/15/2012   DAB    Analyze transcript of October 15, 2012 FHFA            L120     0.60 hrs
                    hearing concerning Judge Cote's statements about
                    ResCap loan file production.
10/15/2012   GNM    Updating status report for Ms. Battle regarding all    L320     0.50 hrs
                    active reviews.

10/16/2012   JAL    Review joint order setting hearing to address loan     L120     0.30 hrs
                    file production (.10). Conference with Ms. Battle
                    and Mr. Levitt (Morrison & Foerster) regarding
                    same (.20).
10/16/2012   JALB   Correspondence with Morrison & Foerster team           L120     0.30 hrs
                    (Ms. Levitt, Mr. Rains) on strategy for MBIA letter
                    regarding use of confidential materials in Examiner
                    position paper process.
10/17/2012   VLS    E-mail exchange with Ms. Wong at Profile               L320     0.30 hrs
                    regarding status of documents for production in
                    response to CUNA subpoena.
10/17/2012   JALB   Telephone conference with Mr. Lipps, various           L120     1.00 hrs
                    Residential Capital legal representatives, including
                    Mr. Underhill and Mr. Thompson, and Mr. Fons
                    and Mr. Salerno (both Morrison & Foerster)
                    regarding preservation obligations for structured
                    data in connection with sale of assets.
10/17/2012   JALB   E-mail memorandum to file regarding confidential       L120     0.20 hrs
                    materials protected by state court order proposed to
                    be cited in Examiner submissions.
10/17/2012   JALB   Follow-up correspondence regarding confidential        L120     0.10 hrs
                    materials protected by state court order proposed to
                    be cited in Examiner submissions.
10/18/2012   JALB   Discussion with Mr. Lipps regarding MBIA               L120     0.50 hrs
                    confidentiality notice and response strategy.

10/18/2012   JALB   Prepare and revise draft communication to MBIA         L120     0.40 hrs
                    and circulate to Morrison & Foerster team for
                    review (Ms. Levitt, Mr. Rains, Mr. Klein).
10/18/2012   JALB   Finalize and sent response to Mr. Hoff                 L120     0.20 hrs
                    (Cadwalader/MBIA).

10/18/2012   JALB   Various discussions with Ms. Scaggs and Mr.            L120     0.50 hrs
                    Lipps regarding request from Mr. Marinuzzi
                    (Morrison & Foerster) for retention information.
10/22/2012   JAL    Review FHFA briefing on production of loan files       L320     0.50 hrs
                    (.30). Conference with Mr. Beck regarding
                    responding to same (.20).
10/22/2012   VLS    Receipt and review of documents from vendor            L320     1.60 hrs
                    Profile Discovery. (.80) Prepare same for
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
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                    production related to the CUNA subpoena. (.80)
10/22/2012   JALB   Telephone conference with Mr. Thompson, Ms.           L120     0.50 hrs
                    Zellmann, Ms. Delehey (all Residential Capital
                    regarding status of various discovery projects and
                    bankruptcy-related matters.
10/22/2012   GNM    Updating weekly discovery status report for Ms.       L320     0.70 hrs
                    Battle.

10/23/2012   DAB    Analyze third party subpoena from Federal Home        L120     0.20 hrs
                    Loan Bank of Atlanta.

10/23/2012   DAB    Analyze third party subpoena from Barclays.           L120     0.20 hrs


10/23/2012   DAB    E-mail correspondence with counsel to Barclays        L120     0.10 hrs
                    regarding applicability of stay to discovery
                    requests.
10/23/2012   DAB    E-mail Mr. Ruckdashel (Residential Capital)           L120     0.20 hrs
                    regarding production of documents to CUNA.

10/23/2012   DAB    E-mail Mr. Ruckdaschel (Residential Capital)          L120     0.10 hrs
                    regarding production of documents to CUNA.

10/23/2012   DAB    Call with counsel to Federal Home Loan Bank of        L120     0.10 hrs
                    Atlanta regarding subpoena.

10/23/2012   DAB    Call with counsel to Barclays regarding subpoena.     L120     0.10 hrs


10/24/2012   JALB   Internal discussion (with Ms. Marty, Mr. Lipps,       L120     0.30 hrs
                    Ms. Whitfield and Mr. Carpenter) regarding
                    staffing for open discovery projects.
10/25/2012   JAL    Review briefing on order regarding production of      L120     0.30 hrs
                    loan files requested by FHFA.

10/25/2012   DAB    Analyze joint order of Judge Cote and Judge Glenn     L120     0.20 hrs
                    regarding briefing of loan file requests related to
                    FHFA.
10/25/2012   DAB    Conference with Mr. Brodsky (counsel to Dexia)        L120     0.10 hrs
                    regarding third party subpoena issued by Dexia.

10/25/2012   DAB    E-mail Mr. Brodsky (counsel to Dexia) regarding       L120     0.20 hrs
                    Judge Glenn opinion on FHFA discovery requests.

10/26/2012   JALB   Participate in weekly call with client (Mr.           L120     0.60 hrs
                    Thompson, Mr. Ruckdaschel, Ms. Delehey, Ms.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27       Exhibit E
  932 00060                 Monthly Invoices Pg 388 of 1163
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                    Zellmann) regarding status of various bankruptcy
                    matters, SEC, and discovery matters.
10/26/2012   DAB    Analyze court filings regarding additional FHFA        L120     0.70 hrs
                    loan file requests.

10/26/2012   DAB    Prepare materials for Mr. Lipps regarding joint        L230     0.40 hrs
                    Glenn/Cote hearing on FHFA.

10/27/2012   JALB   Review correspondence from Kasowitz regarding          L120     0.30 hrs
                    AFI witness disclosures and e-mails with Mr.
                    Lipps regarding import of same.
10/29/2012   JALB   Weekly update meeting with Ms. Marty regarding         L120     0.50 hrs
                    status of document review productions, pace and
                    staffing.
10/29/2012   JALB   Review and summarize for Mr. Lipps AFI letter to       L120     0.20 hrs
                    court regarding FHFA e-mail productions.

10/29/2012   DAB    Communicate with Mr. Ruckdsaschel (Residential         L120     0.10 hrs
                    Capital) regarding CUNA loan file request.

10/29/2012   DAB    Review materials to be produced to CUNA.               L320     0.30 hrs


10/30/2012   JALB   Review and respond to Mr. Lipps' e-mails               L120     0.10 hrs
                    regarding MBIA expert reports.

10/30/2012   DAB    Review additional Dexia subpoena to Debtors.           L120     0.10 hrs


10/30/2012   DAB    Communicate with counsel to Dexia regarding            L120     0.10 hrs
                    additional subpoena Dexia has issued to Debtors.

10/30/2012   DAB    Call with Mr. Ruckdaschel, Ms. Zellman and Ms.         L120     0.30 hrs
                    Busch (Residential Capital) regarding invoice to
                    CUNA.
10/31/2012   JALB   Correspondence regarding document retention            L120     0.10 hrs
                    questions raised by Mr. Thompson (Residential
                    Capital).
10/31/2012   JALB   Participate in conference call with Mr. Thompson,      L120     0.60 hrs
                    Ms. Delehey, Ms. Campbell (all Residential
                    Capital), Mr. Englehardt and others from Morrison
                    & Foerster, and Mr. Lipps regarding strategy for
                    document preservation and response to
                    preservation inquiry from class plaintiffs' counsel.
10/31/2012   JALB   Follow-up correspondence regarding strategy for        L120     0.20 hrs
                    document preservation and response to
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
  932 00060                    Monthly Invoices Pg 389 of 1163
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                        preservation inquiry from class plaintiffs' counsel.
10/31/2012   JRC        E-mail exchange with Mr. Barthel regarding chart            L320         0.10 hrs
                        relating to client's document preservation
                        obligations.


                        TOTAL FEES FOR THIS MATTER                                              $11,106.50

EXPENSES

10/19/2012              Outside Copying - convert to PDF, embedded text and bates                $21,022.6
                        number images, burn to CD/DVD by ProFile Imaging                                 6

10/29/2012              Delivery Service/Messengers - Federal Express to Mr. Klenov                $26.79
                        from Mr. Beck

10/31/2012              Outside Copying - convert to PDF, embedded text and Bates                $21,796.1
                        number images, burn CD/DVD by ProFile Imaging                                    5

                        TOTAL EXPENSES FOR THIS MATTER                                          $42,845.60


BILLING SUMMARY


         Beck, David A.                                 9.10 hrs    230.00 /hr      $2,093.00


         Barthel, David J.                              7.80 hrs    210.00 /hr      $1,638.00


         Marty, Gretchen N.                             7.40 hrs    150.00 /hr      $1,110.00


         Lipps, Jeffrey A.                              1.80 hrs    360.00 /hr        $648.00


         Battle, Jennifer A.L.                         14.70 hrs    250.00 /hr      $3,675.00


         Corcoran, Jeffrey R.                           5.00 hrs    180.00 /hr        $900.00


         Sholl, Veronica L.                            13.90 hrs      75.00 /hr     $1,042.50



     TOTAL FEES                                        59.70 hrs                  $11,106.50

     TOTAL EXPENSES                                                               $42,845.60
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27    Exhibit E
932 00060                 Monthly Invoices Pg 390 of 1163
                                                       Invoice # 51838       Page 12
   TOTAL CHARGES FOR THIS INVOICE                                  $53,952.10
       12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                               Monthly Invoices Pg 391 of 1163
                            CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                          November 15, 2012

                                                                     Billed through 10/31/2012
Tammy Hamzephour                                                     Invoice # 51839      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 932 00062
190-FTW-L95
Fort Washington, PA 19034

Re: Automatic Stay Issues
Matter No.: 721750

PROFESSIONAL SERVICES

10/04/2012   DAW        Review e-mails from Ms. Ho and Ms. McGinnis                  L120        0.20 hrs
                        (Residential Capital, LLC) regarding identification
                        of pre-petition matters where Court ruled
                        post-petition.
10/15/2012   KMC        Telephone conference with Ms. McGinnis                       L110        0.30 hrs
                        (Residential Capital) regarding what types of
                        matters should be retained by the estate
                        post-servicing sale.
10/15/2012   KMC        Review e-mails regarding what types of matters               L110        0.20 hrs
                        should be retained by the estate post-servicing sale.

10/16/2012   DAW        Review bankruptcy order regarding second lien                L120        0.20 hrs
                        procedure.

10/17/2012   KMC        Telephone conference with Ms. McGinnis                       L110        0.80 hrs
                        (Residential Capital) regarding matters to be
                        retained by the estate post-servicing sale.


                        TOTAL FEES FOR THIS MATTER                                                $338.00


BILLING SUMMARY


          Wallace, David A.                             0.40 hrs    260.00 /hr         $104.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
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      Cadieux, Karen M.                     1.30 hrs   180.00 /hr        $234.00



   TOTAL FEES                               1.70 hrs                     $338.00

   TOTAL CHARGES FOR THIS INVOICE                                        $338.00
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
                              Monthly Invoices Pg 393 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                      280 Plaza, Suite 1300
                                      280 North High Street
                                      Columbus, OH 43215
                                         (614) 365-4100
                                     Federal ID # XX-XXXXXXX



                                        November 15, 2012

                                                                 Billed through 10/31/2012
Tammy Hamzephour                                                 Invoice # 51840      JAL
Residential Capital, LLC
1100 Virginia Drive                                              Our file # 932 00064
190-FTW-L95
Fort Washington, PA 19034

Re: Examiner


PROFESSIONAL SERVICES

10/01/2012     JAL     Review and redraft Ms. Hamzehpour's preparation           L120        1.30 hrs
                       outline (.30). Review Ms. Hamzehpour's
                       preparation documents (.30). Conference with Ms.
                       Battle regarding finalizing same (.10). Review
                       notes from examiner interview of Ms. Dondzila
                       (.20). Develop supplemental areas of inquiry
                       based upon notes (.20). Review memorandum
                       regarding interview of Mr. Maddox (.10).
                       Conference with Ms. Battle regarding same (.10).
10/01/2012     VLS     Monitor review status of document review teams.           L320        0.70 hrs
                       (.30) Assignment of review batches. (.30) Update
                       progress chart. (.10)
10/01/2012     JALB    Telephone conference with Mr. Brown (Morrison             L120        0.50 hrs
                       & Foerster) and Ms. Marty regarding status of
                       document collection and production.
10/01/2012     JALB    Correspondence with Morrison & Foerster and               L120        0.40 hrs
                       Carpenter Lipps & Leland teams regarding
                       Cerberus privilege issue, Federal Reserve and
                       FDIC privilege issues.
10/01/2012     JALB    Meet with Mr. Lipps regarding status of Examiner          L120        0.40 hrs
                       preparation.

10/01/2012     MMM     Review e-mails from Ms. Gess to respond to                L120        6.30 hrs
                       Examiner request.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27       Exhibit E
  932 00064                 Monthly Invoices Pg 394 of 1163
                                                         Invoice # 51840          Page 2
10/01/2012   DAB    Review and analyze discovery materials for use in      L330     3.80 hrs
                    deposition preparation kit for Ms. Hamzehpour.

10/01/2012   DAB    Revise Ms. Hamzehpour's examiner interview             L330     3.60 hrs
                    outline.

10/01/2012   JRC    Draft e-mail to Ms. Battle regarding documents         L320     0.10 hrs
                    relating to Lazard in Discovery Partner in order to
                    respond to document requests relating to Lazard
                    from the bankruptcy examiner.
10/01/2012   JRC    Review and analyze documents in Discovery              L320     0.20 hrs
                    Partner in order to locate preparation materials for
                    Ms. Hamzehpour.
10/01/2012   JRC    Review and analyze documents in Discovery              L320     0.40 hrs
                    Partner relating to Lazard in order to respond to
                    documents requests relating to Lazard from the
                    bankruptcy examiner.
10/01/2012   JRC    Teleconference with technical support regarding        L120     0.10 hrs
                    error in Discovery Partner database for bankruptcy
                    examiner.
10/01/2012   JRC    Conference with Ms. Marty regarding production         L320     0.10 hrs
                    of documents relating to the Ally Bank
                    subservicing agreement to the bankruptcy
                    examiner.
10/01/2012   SP     Communicate with Mr. Beck and Ms. Marty                L120     1.90 hrs
                    regarding board meeting materials (.20) and search
                    database for requested items. (1.70)
10/01/2012   GNM    Research regarding outside counsel to update list      L320     1.10 hrs
                    of internal and external legal personnel for review
                    team.
10/01/2012   GNM    Meeting with Mr. Phillips regarding Board              L120     0.40 hrs
                    Materials.

10/01/2012   GNM    Telephone communications with Mr. Brown                L120     0.50 hrs
                    (Morrison & Foerster) regarding second and third
                    wave of examiner document requests.
10/01/2012   GNM    E-mail communications with Ms. Klun (Lumen             L120     0.40 hrs
                    Legal) regarding staffing levels for examiner
                    review.
10/02/2012   AMP    Participate in quality control review training         L320     0.80 hrs
                    meeting and updated coding issues.

10/02/2012   AMP    Multiple e-mails with quality control review team      L320     0.40 hrs
                    regarding review training meeting and updated
                    coding issues.
10/02/2012   JAL    Further review of Ms. Hamzehpour's documents           L120     1.00 hrs
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                    and outline to prepare for interview (.60). Review
                    and respond to e-mails regarding same (.10).
                    Review and respond to e-mails regarding outline
                    preparation and witness interview process (.10).
                    Conference with Ms. Battle regarding same (.20).
10/02/2012   VLS    Monitor review status of document review teams.      L320     0.50 hrs
                    (.30) Assignment of review batches. (.10) Update
                    progress chart. (.10)
10/02/2012   RBS    Upload documents regarding Ms. Hamzehpour            L310     1.20 hrs
                    preparation material to Morrison and Foerster
                    sharepoint.
10/02/2012   JALB   Telephone conference with Schulte Roth & Zabel       L120     0.40 hrs
                    team, Mr. Salerno (Morrison & Foerster), and Mr.
                    Brown (Morrison & Foerster) regarding logistics
                    for Cerberus privilege issues.
10/02/2012   JALB   Telephone conference with Mr. Salerno (Morrison      L120     0.40 hrs
                    & Foerster) and Mr. Brown (Morrison & Foerster)
                    regarding response to Examiner question regarding
                    outstanding objections.
10/02/2012   JALB   Review and respond to questions from Ms. Marty       L120     0.20 hrs
                    and Ms. Mohler regarding responsiveness and
                    privilege decisions in document review.
10/02/2012   DAB    Analyze Ally board minutes provided by Mr. Day       L120     0.30 hrs
                    of Morrison & Foerster.

10/02/2012   DAB    Revise Ms. Hamzehpour's outline to reflect           L330     0.60 hrs
                    additional materials.

10/02/2012   DAB    Communicate with Ms. Levitt, Mr. Ilovsky, Mr.        L120     0.20 hrs
                    Day (Morrison & Foerster), Mr. Lipps and Ms.
                    Battle regarding Ms. Hamzehpour's outline.
10/02/2012   DAB    Communicate with Mr. Day (Morrison & Foerster)       L120     0.20 hrs
                    regarding board minutes relevant for upcoming
                    examiner interviews.
10/02/2012   DAB    Analyze notes of Mr. Newton of Morrison &            L330     0.40 hrs
                    Foerster from Ms. Dondzila's first examiner
                    interview to prepare for upcoming examiner
                    interviews.
10/02/2012   DAB    Communicate with Ms. Battle regarding                L120     0.20 hrs
                    preparations for upcoming examiner interviews.

10/02/2012   JRC    Communicate with Ms. Marty and Ms. Battle            L320     0.30 hrs
                    regarding status of review of documents for
                    production to the bankruptcy examiner.
10/02/2012   JRC    Conference with Ms. Marty, Ms. Whitfield, Mr.        L320     0.40 hrs
                    Barthel, Mr. Molnar, Ms. Mohler, Ms. Chinn
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                    (contract reviewer), and Mr. Rhode regarding
                    quality control review for documents in response to
                    requests from the bankruptcy examiner.
10/02/2012   SP     Analyze previously designated documents to be         L320     1.10 hrs
                    produced to the bankruptcy examiner in Discovery
                    Partner for privilege and confidentiality
                    designation.
10/02/2012   GNM    Working in Discovery Partner database answering       L320     3.20 hrs
                    reviewer questions regarding responsiveness and
                    privilege determinations.
10/02/2012   GNM    Analyzing effect of Cerberus on privilege             L320     0.50 hrs
                    determinations.

10/02/2012   GNM    Drafting and sending e-mail to Mr. Brown              L120     0.90 hrs
                    (Morrison & Foerster) regarding effect of Cerberus
                    on privilege determinations.
10/02/2012   GNM    Quality control meeting regarding feedback and        L320     0.60 hrs
                    protocol updates.

10/02/2012   GNM    Drafting and sending e-mail to Ms. Battle             L120     0.20 hrs
                    regarding responsiveness determinations.

10/02/2012   GNM    Telephone communication with Mr. Corcoran             L120     0.10 hrs
                    regarding productions made to the Examiner.

10/02/2012   GNM    E-mail communications with Mr. Beck regarding         L120     0.20 hrs
                    productions made to the Examiner.

10/03/2012   AMP    Review updated quality control protocol for quality   L320     0.40 hrs
                    control review of Examiner productions.

10/03/2012   JAL    Further review of Ms. Hamzehpour's documents          L120     1.00 hrs
                    and outline to prepare for interview (.60). Review
                    and respond to e-mails regarding same (.10).
                    Review and respond to e-mails regarding outline
                    preparation and witness interview process (.10).
                    Conference with Ms. Battle regarding same (.20).
10/03/2012   MNB    Research in response to inquiries from examiner       L120     1.20 hrs
                    regarding third-party claims against Ally.

10/03/2012   VLS    Monitor review status of document review teams.       L320     0.40 hrs
                    (.20) Assignment of review batches. (.10) Update
                    progress chart. (.10)
10/03/2012   JALB   Review correspondence forwarded by Ms. Levitt         L120     0.10 hrs
                    (Morrison & Foerster) listing Examiner questions
                    regarding third party claims.
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10/03/2012   JALB   Follow up correspondence with Mr. Beck                 L120     0.10 hrs
                    regarding correspondence forwarded by Ms. Levitt
                    (Morrison & Foerster) listing Examiner questions
                    regarding third party claims.
10/03/2012   JALB   Send notes to Mr. Beck regarding comments on           L120     0.20 hrs
                    Ms. Hamzehpour's preparation materials from Mr.
                    Day of Morrison & Foerster.
10/03/2012   JALB   Correspondence with Mr. Brown (Morrison &              L120     0.70 hrs
                    Foerster) and Ms. Marty regarding miscellaneous
                    documents to be produced and status of collection
                    efforts on various subjects.
10/03/2012   JALB   Review comments on Ms. Hamzehpour's                    L330     0.20 hrs
                    preparation materials from Mr. Day.

10/03/2012   MMM    Continue reviewing e-mails from Ms. Gess for           L120     1.60 hrs
                    production.

10/03/2012   DAB    Research materials on third party claims to help       L120     1.50 hrs
                    Mr. Lipps prepare for call with examiner on third
                    party claims.
10/03/2012   DAB    Conference with Mr. Lipps regarding preparations       L120     0.20 hrs
                    for call with examiner on third party claims.

10/03/2012   DAB    Research additional issues for Ms. Hamzehpour's        L330     3.10 hrs
                    interview preparation for Mr. Lipps.

10/03/2012   JRC    Conference with Mr. Beck regarding interview           L330     0.10 hrs
                    preparation for Ms. Hamzehpour.

10/03/2012   JRC    Review, analyze, and summarize deposition              L330     2.30 hrs
                    testimony of Residential Capital employees in
                    order to prepare interview preparation materials for
                    Ms. Hamzehpour.
10/03/2012   JRC    Review and analyze documents produced to the           L330     2.30 hrs
                    bankruptcy examiner in Discovery Partner in order
                    to prepare interview preparation materials for Ms.
                    Hamzehpour.
10/03/2012   JRC    Draft e-mail to Mr. Beck providing important           L320     0.10 hrs
                    deposition testimony and documents for interview
                    preparation for Ms. Hamzehpour.
10/03/2012   GNM    Researching in Discovery Partner database the          L320     0.60 hrs
                    impact that Houlihan Lokey has on privilege
                    determinations.
10/03/2012   GNM    Updating quality control protocol.                     L320     0.90 hrs
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10/03/2012   GNM    E-mail communications with Ms. Earley (Contract         L120     0.30 hrs
                    Reviewer) regarding privilege determinations.

10/03/2012   GNM    Drafting and sending e-mail communication to Ms.        L120     0.20 hrs
                    Mohler regarding privilege determinations.

10/03/2012   BNS    Review seller file documents in DTI database.           L320     0.70 hrs
                    (.30) Annotate select seller files for proper
                    identification for future production. (.40)
10/04/2012   JAL    Review and revise Ms. Hamzehpour's preparation          L120     7.80 hrs
                    outline (.30). Review Ms. Hamzehpour's
                    documents (.30). Conference with Mr. Levitt, Mr.
                    Klein (Morrison & Foerster) and Ms. Hamzehpour
                    (Residential Capital) to prepare for examiner
                    interview (5.6). Participate on call with examiner's
                    counsel regarding third-party claims (1.0). Review
                    and respond to e-mails regarding interview
                    schedule (.20). Review e-mails and supporting
                    materials regarding PLS reserves and possible
                    liability disclosures (.20). Review e-mail report
                    from Mr. Raines (Morrison & Foerster) regarding
                    third-party claims call (.20).
10/04/2012   VLS    Monitor review status of document review teams.         L320     0.80 hrs
                    (.30) Assignment of review batches. (.10) Update
                    progress chart. (.40)
10/04/2012   JALB   Correspondence with Mr. Day (Morrison &                 L120     0.10 hrs
                    Foerster) regarding coordination of efforts between
                    Morrison & Foerster and Carpenter Lipps &
                    Leland.
10/04/2012   JALB   Correspondence with Mr. Lipps regarding                 L120     0.20 hrs
                    coordination of efforts between Morrison &
                    Foerster and Carpenter Lipps & Leland.
10/04/2012   JALB   Review list of questions from Mr. Rains (Morrison       L330     0.20 hrs
                    & Foerster) regarding Examiner issues.

10/04/2012   JALB   Coordinate with Mr. Beck regarding preparation of       L330     0.20 hrs
                    responses regarding list of questions from Mr.
                    Rains (Morrison & Foerster) regarding Examiner
                    issues.
10/04/2012   JALB   Prepare for meeting with Mr. Brown (Morrison &          L120     0.40 hrs
                    Foerster) and Ms. Marty regarding status of
                    document collection efforts, production efforts, etc.
10/04/2012   JALB   Participate in call with Mr. Brown (Morrison &          L120     1.00 hrs
                    Foerster) and Ms. Marty regarding status of
                    document collection efforts, production efforts, etc.
10/04/2012   JALB   Various e-mails with Mr. Lipps and Ms. Marty            L120     0.50 hrs
                    responding to questions regarding scope of
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                    restored and captured e-mail for various custodians
                    across projects.
10/04/2012   MMM    Read document review protocol for SEC quality         L120     0.20 hrs
                    control.

10/04/2012   DAB    Communicate with Mr. Lipps regarding reserve          L120     0.40 hrs
                    issues and PLS litigation claims for Ms.
                    Hamzehpour's preparation.
10/04/2012   DAB    Research history of representation and warranty       L120     1.20 hrs
                    reserves to respond to questions of Ms. Levitt
                    (Morrison & Foerster).
10/04/2012   DAB    Research additional materials for Ms. Hamzehpour      L330     1.00 hrs
                    preparation based on examiner topics list.

10/04/2012   GNM    Telephone communications with Mr. Brown               L120     0.50 hrs
                    (Morrison & Foerster) regarding second and third
                    wave of document requests.
10/04/2012   GNM    Drafting and sending feedback form to Ms. Walker      L320     1.10 hrs
                    (Contract Reviewer) regarding errors made during
                    her review.
10/04/2012   GNM    Redrafting review protocol to reflect updated         L320     0.70 hrs
                    review parameters.

10/04/2012   GNM    E-mail communications with Mr. Klein (Morrison        L120     0.20 hrs
                    & Foerster) regarding custodians for Examiner
                    review
10/04/2012   GNM    E-mail communications with Mr. Beck regarding         L120     0.30 hrs
                    productions made to the Examiner.

10/04/2012   GNM    Exchanging e-mail communications with Ms.             L120     0.30 hrs
                    Battle and Mr. Lipps regarding previously restored
                    custodian data.
10/04/2012   GNM    E-mail communications with Ms. Klun (Lumen            L120     0.30 hrs
                    Legal) regarding staffing levels.

10/04/2012   GNM    Working in Discovery Partner database performing      L320     1.90 hrs
                    second level review of Ms. Gess data as outlined in
                    the quality control protocol.
10/05/2012   JAL    Preparation meeting with Ms. Hamzehpour (.50).        L120     8.30 hrs
                    Participate at examiner interview of Ms.
                    Hamzehpour (7.0). Conference with Mr. Levitt
                    and Mr. Klein regarding Ms. Hamzehpour's
                    interview (.30). Conference with Ms. Battle
                    regarding responding to examiner inquiry
                    regarding third-party claims (.30). Review and
                    respond to e-mails regarding same (.10). Review
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                    e-mail from examiner regarding MBIA expert
                    reports (.10).
10/05/2012   VLS    Monitor review status of document review teams.     L320     0.90 hrs
                    (.20) Assignment of review batches. (.60) Update
                    progress chart. (.10)
10/05/2012   VLS    E-mail exchange with Mr. Shipler and Ms. Gulley     L320     0.15 hrs
                    at DTI regarding document reviewer status.

10/05/2012   VLS    Assignment of quality control batches to quality    L320     0.25 hrs
                    control team.

10/05/2012   JALB   Telephone conference with Mr. Illovsky and Mr.      L120     0.70 hrs
                    Day (both Morrison & Foerster) and Mr. Beck
                    regarding examiner witness preparation planning
                    and coordination.
10/05/2012   JALB   Discussion with Mr. Lipps in follow-up to notes     L120     0.30 hrs
                    from Mr. Rains (Morrison & Foerster) regarding
                    call with Chadbourne attorneys.
10/05/2012   JALB   Prepare responsive notes for Mr. Rains (Morrison    L120     0.80 hrs
                    & Foerster) regarding questions from Chadbourne
                    attorneys.
10/05/2012   JALB   Discussion with Mr. Beck regarding prior analysis   L120     0.40 hrs
                    of MMLPSA issues and other key points arising in
                    Ms. Dondzila's interview for follow-up.
10/05/2012   JALB   Correspondence with Mr. Lipps regarding progress    L120     0.20 hrs
                    of Ms. Hamzehpour's interview.

10/05/2012   MMM    Attend quality control training on Discovery        L120     1.00 hrs
                    Partner with Ms. Marty.

10/05/2012   MMM    Perform quality control review of Gess documents    L120     3.20 hrs
                    marked as privileged.

10/05/2012   MMM    Perform quality control review of Gess documents    L120     3.00 hrs
                    with Freddie, Fannie and Ginnie terms.

10/05/2012   DAB    Research temporal piercing issues.                  L120     4.70 hrs


10/05/2012   DAB    Research board materials being referenced in Ms.    L330     1.20 hrs
                    Hamzehpour's interview by examiner.

10/05/2012   DAB    Communicate with Mr. Lipps, Ms. Battle and Ms.      L120     0.20 hrs
                    Paul-Whitfield regarding tolling agreements.

10/05/2012   DAB    Communicate with Ms. Levitt (Morrison &             L120     0.20 hrs
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                    Foertser) regarding changes in representation and
                    warranty reserves.
10/05/2012   DAB    Communicate with Mr. Clark (Morrison &                 L120     0.20 hrs
                    Foerster) regarding temporal issues on veil
                    piercing claims.
10/05/2012   GNM    Quality control training with Ms. Mohler.              L320     1.20 hrs


10/05/2012   GNM    Editing quality control protocol to reflect adjusted   L320     1.10 hrs
                    review parameters.

10/05/2012   GNM    Meeting with Ms. Sholl regarding status of             L120     0.30 hrs
                    Examiner review.

10/05/2012   GNM    Meeting with Mr. Molnar regarding privilege            L120     0.40 hrs
                    determinations.

10/05/2012   GNM    Meeting with Ms. Diem (Contract Reviewer)              L120     0.30 hrs
                    regarding privilege determinations.

10/05/2012   GNM    Drafting and sending e-mail to quality control team    L120     0.70 hrs
                    regarding updated review protocol.

10/05/2012   GNM    Drafting and sending memorandum to reviewers           L120     1.20 hrs
                    regarding feedback from quality control and
                    updated review protocol.
10/05/2012   GNM    Exchanging e-mail communications with review           L120     0.60 hrs
                    team regarding the postponement of the PWC sub
                    project.
10/05/2012   GNM    Working in Discovery Partner database performing       L320     1.20 hrs
                    second level review of Ms. Gess data as outlined in
                    the quality control protocol.
10/05/2012   AJM    Conference with Ms. Marty to discuss examiner          L120     0.10 hrs
                    review document review protocol in preparation
                    for quality control review.
10/05/2012   SCM    First level review of T. Hamzehpour documents.         L110     2.20 hrs


10/05/2012   BNS    Review seller file documents in DTI database.          L320     0.60 hrs
                    (.30) Annotate select seller files for proper
                    identification. (.30)
10/06/2012   AMP    Review e-mail from Mr. Beck regarding tolling          L120     0.20 hrs
                    agreements.

10/06/2012   AMP    Exchange e-mails with Mr. Beck regarding tolling       L120     0.20 hrs
                    agreements.
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10/06/2012   AMP    Research attorney notice information for certain       L120     0.40 hrs
                    tolling agreements.

10/06/2012   JALB   Correspondence with Ms. Levitt (Morrison &             L120     0.40 hrs
                    Foerster) and Mr. Beck regarding strategy for
                    articulating third party claims discussion.
10/06/2012   JALB   Continued follow-up and drafting of bullet point       L120     1.30 hrs
                    responses for Mr. Rains (Morrison & Foerster) on
                    questions raised by Examiner.
10/06/2012   DAB    Draft inserts for third party claims outline on        L120     2.10 hrs
                    timing issues on veil piercing claims.

10/07/2012   JALB   Review draft of inserts on veil piercing claims        L120     0.30 hrs
                    from Mr. Beck.

10/07/2012   JALB   Incorporate draft of inserts of veil piercing claims   L120     0.20 hrs
                    from Mr. Beck into memorandum.

10/07/2012   JALB   Continued drafting of responses for Mr. Rains          L120     0.60 hrs
                    (Morrison & Foerster) on questions raised by
                    Examiner.
10/07/2012   JALB   Follow-up correspondence with Ms. Levitt               L120     0.10 hrs
                    (Morrison & Foerster) regarding scheduling of
                    witness interviews.
10/07/2012   MMM    Perform quality control review of Gess batch           L120     2.60 hrs
                    coded by Ms. Diem.

10/07/2012   MMM    Perform quality control review of Gess batch           L120     2.70 hrs
                    coded by Mr. Parker.

10/07/2012   MMM    Perform quality control review of Gess batch           L120     1.50 hrs
                    coded by Mr. Jackson.

10/07/2012   DAB    Communicate with Mr. Corcoran regarding                L120     0.10 hrs
                    analysis needed on tolling agreements.

10/07/2012   JRC    Review documents coded by first-level reviewer in      L320     3.80 hrs
                    Discovery Partner in response to document
                    requests from the bankruptcy examiner for quality
                    control.
10/07/2012   JRC    Draft e-mail to first-level document reviewer          L120     0.10 hrs
                    providing quality control feedback on documents
                    coded in response to document requests from the
                    bankruptcy examiner.
10/07/2012   JRC    E-mail exchange with Ms. Marty regarding               L120     0.10 hrs
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                    protocol for coding documents in response to
                    document requests from the bankruptcy examiner.
10/07/2012   SP     Analyze previously designated documents to be         L320     9.40 hrs
                    produced to the bankruptcy examiner relating to
                    Ms. Gess in Discovery Partner for privilege and
                    confidentiality designation.
10/07/2012   GNM    Work in Discovery Partner database performing         L320     3.50 hrs
                    second level review of Ms. Gess data as outlined in
                    the quality control protocol.
10/07/2012   GNM    Exchange e-mails with Mr. Corcoran, Ms. Mohler        L120     1.20 hrs
                    and Mr. Phillips regarding privilege and
                    responsiveness determinations.
10/07/2012   AJM    Quality control review of documents to be             L320     2.00 hrs
                    produced in response to examiner requests, batches
                    Gess 016 and 025, initial review done by Mr.
                    Cable.
10/08/2012   AMP    Conduct quality control review of assigned batch.     L320     0.50 hrs


10/08/2012   AMP    E-mails with Ms. Marty regarding quality control      L120     0.20 hrs
                    review issues and timing.

10/08/2012   JAL    Review memorandum by Mr. Rains (Morrison &            L120     0.80 hrs
                    Foerster) identifying examiner questions on
                    various third-party claim issues (.30). Conference
                    with Ms. Battle regarding supplying responses to
                    the open issues (.30). Review and respond to
                    e-mails regarding same and MBIA releasing
                    confidential documents (.20).
10/08/2012   VLS    Obtain and review document reviewer time cards.       L320     0.40 hrs
                    (.20) Review same for accuracy. (.10) Approve
                    for payment. (.10)
10/08/2012   VLS    Monitor review status of document review team.        L320     2.40 hrs
                    (1.00) Assignment of review batches. (1.00)
                    Assignment of quality control batches. (.20)
                    Update progress chart. (.20)
10/08/2012   JALB   Incorporate Mr. Lipps' comments into draft notes      L120     0.80 hrs
                    for Mr. Rains (Morrison & Foerster) responding to
                    Chadbourne questions and circulate same.
10/08/2012   JALB   Telephone conference with Mr. Brown and Mr.           L120     0.60 hrs
                    Salerno (both Morrison & Foerster) regarding
                    status of document collection and production
                    efforts.
10/08/2012   JALB   Follow-up e-mails to custodians regarding status of   L120     0.50 hrs
                    document collection and production efforts.
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10/08/2012   JALB   Meet with Mr. Lipps regarding draft notes in          L120     0.40 hrs
                    response to Chadbourne questions to assist Mr.
                    Rains (Morrison & Foerster) in responding.
10/08/2012   JALB   Begin review of materials for Mr. Whitlinger          L330     0.90 hrs
                    interview outline.

10/08/2012   MMM    Begin quality control review of Lombardo Batch        L120     0.70 hrs
                    027.

10/08/2012   MMM    Perform quality control review of batch coded by      L120     2.30 hrs
                    Mr. Massey (contract reviewer).

10/08/2012   DAB    Meeting with Mr. Lipps and Ms. Battle regarding       L120     0.80 hrs
                    issues for examiner interviews and examiner
                    inquiry on third party claims.
10/08/2012   DAB    Communicate with Ms. Battle regarding research        L120     0.10 hrs
                    needed for Mr. Marano's deposition interview by
                    examiner.
10/08/2012   DAB    Communicate with Mr. Corcoran regarding               L120     0.10 hrs
                    revisions to chart on tolling agreements.

10/08/2012   GNM    Meeting with Mr. Phillips regarding quality control   L120     0.40 hrs
                    procedure and determinations.

10/08/2012   GNM    Updating quality control protocol.                    L320     0.20 hrs


10/08/2012   GNM    Drafting and sending e-mail to reviewers regarding    L120     0.40 hrs
                    issue tagging in the system.

10/08/2012   GNM    E-mail to Ms. Chang (Morrison & Foerster)             L120     0.40 hrs
                    regarding privilege determinations.

10/08/2012   GNM    Telephone communications with Mr. Brown               L120     0.50 hrs
                    (Morrison & Foerster) regarding second and third
                    wave of document requests.
10/08/2012   GNM    Performing quality control checks on EXAM101          L320     0.60 hrs
                    and 102 productions to be sent to Examiner.

10/08/2012   GNM    Working in database performing second level           L320     3.20 hrs
                    review on custodian data to be produced, as
                    outlined in the quality control Protocol.
10/08/2012   GNM    E-mail communications with Ms. Tice (Morrison         L120     0.20 hrs
                    & Foerster) regarding privilege log.

10/08/2012   GNM    Drafting and sending e-mail communication to Mr.      L120     0.40 hrs
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                    Brown (Morrison & Foerster) regarding production
                    of liquidity reports.
10/08/2012   GNM    Conduct new reviewer training for six reviewers         L320     2.10 hrs
                    transferring from PWC project.

10/08/2012   AJM    Quality control review of documents to be               L320     1.70 hrs
                    produced in response to examiner requests, batches
                    Gess 016 and 025, initial review done by Mr.
                    Cable.
10/09/2012   AMP    Attention to quality control review issues.             L320     0.40 hrs


10/09/2012   AMP    Communicate with Ms. Battle regarding assisting         L320     0.50 hrs
                    in witness preparation and quality control review.

10/09/2012   JAL    Conference with Mr. Day (Morrison & Foerster),          L120     1.30 hrs
                    Ms. Battle and Mr. Beck to discuss Ms.
                    Hamzehpour's interview and potential topics for
                    Mr. Whitlinger and Mr. Marano's interviews (1.0).
                    Review final damages presentation to examiner
                    (.30).
10/09/2012   JAL    Review and revise PLS timeline to assist in             L120     1.00 hrs
                    preparation of interviewees (.50). Conferences
                    with Ms. Battle and Mr. Beck regarding finalizing
                    same (.20). Review and respond to e-mails
                    regarding same (.10). Review and respond to
                    e-mails regarding disclosure of MBIA expert
                    reports (.10). Review e-mails regarding financial
                    statement analysis for financial witness preparation
                    (10).
10/09/2012   VLS    E-mail exchange and conference with Ms. Gulley          L320     0.30 hrs
                    of DTI regarding discrepancy in database time log.

10/09/2012   VLS    Receipt and review of production 2 of seller files to   L320     0.50 hrs
                    be produced to UCC.

10/09/2012   VLS    Monitor review status of document review team.          L320     1.50 hrs
                    (.40) Assignment of review batches. (.80)
                    Assignment of quality control batches. (.10)
                    Update progress chart. (.20)
10/09/2012   VLS    Conference with Mr. Shipler and Ms. Gulley at           L320     0.30 hrs
                    DTI regarding status of productions.

10/09/2012   VLS    Conference with Mr. Bergelson at Morrison and           L320     0.40 hrs
                    Foerster regarding upload of second production of
                    seller files to FTP site.
10/09/2012   JALB   Discussion with Ms. Marty and Mr. Beck                  L120     0.40 hrs
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                    regarding planning for meetings with Mr. Day
                    (Morrison & Foerster).
10/09/2012   JALB   Begin preparation of cover memorandum for Mr.       L330     0.70 hrs
                    Whitlinger's outline.

10/09/2012   JALB   Various follow-up communications (with Mr.          L120     0.70 hrs
                    Brown and Ms. Levitt of Morrison & Foerster and
                    Mr. Scarseth of Residential Capital) regarding
                    status of document collection and production
                    efforts and response to Chadbourne attorneys
                    regarding same.
10/09/2012   JALB   Review Mr. Whitlinger's interview notes. (.20)      L330     0.50 hrs
                    Begin planning for Mr. Whitlinger's interview
                    preparation outline. (.30)
10/09/2012   MMM    Perform quality control review of batch coded by    L120     2.10 hrs
                    Ms. Diem.

10/09/2012   MMM    Continue quality control of review of Lombardo      L120     3.30 hrs
                    batch 027.

10/09/2012   DAB    Conference with Ms. Battle, Ms. Marty and Mr.       L120     0.30 hrs
                    Corcoran regarding preparations for visit of Mr.
                    Day (Morrison & Foerster).
10/09/2012   DAB    Communicate with Mr. Day (Morrison & Foerster)      L120     0.10 hrs
                    regarding meeting.

10/09/2012   DAB    Research discovery databases for materials          L330     4.90 hrs
                    relevant for examiner interview of Ms.
                    Hamzehpour.
10/09/2012   DAB    Communicate with Mr. Klein (Morrison &              L120     0.20 hrs
                    Foerster) regarding examiner interview of Ms.
                    Dondzila and lessons for upcoming examiner
                    interviews.
10/09/2012   DAB    Communicate with Ms. Battle regarding analyses      L120     0.20 hrs
                    needed on history of representation and warranty
                    claims and PLS litigation.
10/09/2012   DAB    Revise timelines on representation and warranty     L120     1.60 hrs
                    claims and PLS exposure.

10/09/2012   DAB    Analyze board presentations on Ally settlement to   L120     1.80 hrs
                    prepare for upcoming examiner interviews.

10/09/2012   DAB    Review notes of Mr. Klein (Morrison & Foerster)     L330     0.70 hrs
                    regarding Ms. Dondzila's interview.

10/09/2012   JRC    Conference with Ms. Battle and Ms. Marty            L120     0.40 hrs
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                    regarding status of productions to the bankruptcy
                    examiner.
10/09/2012   JRC    Conference with Ms. Battle and Ms. Marty             L120     0.20 hrs
                    regarding review of board materials produced to
                    the bankruptcy examiner for privilege designation
                    in order to draft clawback letter.
10/09/2012   JRC    Review and analyze board materials produced to       L320     0.90 hrs
                    the bankruptcy examiner for privilege designations
                    in order to draft clawback letter.
10/09/2012   SP     Analyze previously designated documents to be        L320     1.60 hrs
                    produced to the bankruptcy examiner relating to
                    Mr. Whitlinger in Discovery Partner for privilege
                    and confidentiality designation.
10/09/2012   GNM    Working in Discovery Partner database performing     L320     6.50 hrs
                    second level review of custodian data to be
                    produced as outlined in the quality control
                    Protocol.
10/09/2012   GNM    Drafting and sending e-mail to Ms. Battle            L120     0.70 hrs
                    regarding production metrics.

10/09/2012   GNM    E-mail communication with Ms. Chang (Morrison        L120     0.20 hrs
                    & Foerster) regarding privilege determinations.

10/09/2012   GNM    Meeting with Ms. Earley (Contract Reviewer)          L120     0.30 hrs
                    regarding responsiveness and privilege
                    determinations.
10/09/2012   GNM    E-mail communications with review team               L120     0.60 hrs
                    regarding issue and privilege determinations.

10/09/2012   GNM    Meeting with Ms. Battle and Mr. Corcoran             L120     0.60 hrs
                    regarding status of review and production of
                    documents. (.40) Conference with Ms. Battle and
                    Mr. Beck regarding preparations for visit of Mr.
                    Day of Morrison & Foerster. (.20)
10/09/2012   GNM    Drafting and sending e-mail communications to        L120     0.30 hrs
                    Mr. Underhill (Residential Capital) regarding data
                    restoration.
10/10/2012   VLS    Monitor review status of document review team.       L320     1.20 hrs
                    (.20) Assignment of review batches. (.40)
                    Assignment of quality control batches. (.40)
                    Update progress chart. (.20)
10/10/2012   JALB   E-mails to Mr. Beck, Mr. Lipps and Ms. Levitt        L120     0.40 hrs
                    (Morrison & Foerster) regarding follow up
                    research and fact-gathering on Bank sale of loans
                    to GMAC Mortgage.
10/10/2012   JALB   Correspondence with Ms. Marty regarding staffing     L120     0.50 hrs
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                    and timing of document productions.

10/10/2012   JALB   Correspondence with Ms. Marty and Mr. Corcoran        L120     0.40 hrs
                    regarding privilege designations for Board
                    materials.
10/10/2012   JALB   Follow-up correspondence with Mr. Rains               L120     0.20 hrs
                    (Morrison & Foerster) regarding privilege
                    designations for Board materials.
10/10/2012   JALB   Meet with Mr. Day (Morrison & Foerster), Mr.          L120     1.60 hrs
                    Lipps and Mr. Beck regarding download of Ms.
                    Hamzehpour's preparation and useful aspects of
                    preparation materials.
10/10/2012   JALB   Continued work on general background sections         L330     0.80 hrs
                    and substantive sections of Mr. Whitlinger's
                    witness preparation outline.
10/10/2012   JALB   Prepare cover memorandum for Mr. Whitlinger's         L330     0.60 hrs
                    outline. (.20) Begin general background sections
                    of Examiner outline. (.40)
10/10/2012   JALB   Meet with Mr. Day (Morrison & Foerster), Mr.          L120     2.20 hrs
                    Beck and Ms. Marty regarding document
                    collection, review/analysis process, and key issues
                    for Examiner interviews. (1.90) Prepare for same.
                    (.30)
10/10/2012   MMM    Continue quality control of batch coded by Ms.        L120     2.90 hrs
                    Diem.

10/10/2012   DAB    Review Mr. Whitlinger's interview notes.              L330     0.60 hrs


10/10/2012   DAB    Research third party productions for materials        L330     0.60 hrs
                    relevant for upcoming witness interviews.

10/10/2012   DAB    Meeting with Mr. Day (Morrison & Foerster), Ms.       L120     1.90 hrs
                    Battle and Ms. Marty regarding document
                    productions to examiner.
10/10/2012   DAB    Analyze different topic lists provided by examiner    L330     0.20 hrs
                    for preparation for upcoming witnesses.

10/10/2012   DAB    Analyze Morrison & Foerster outline on Mr.            L330     0.40 hrs
                    Whitlinger's issues.

10/10/2012   DAB    Analyze documents provided by Mr. Day of              L330     1.10 hrs
                    Morrison & Foerster.

10/10/2012   DAB    Meeting with Mr. Day (Morrison & Foerster), Mr.       L120     1.50 hrs
                    Lipps and Ms. Battle regarding Ms. Dondzila's
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                    interview preparation and Ms. Hamzehpour's
                    deposition.
10/10/2012   JRC    Review for quality control e-mails of Ms. Gess       L320     4.10 hrs
                    coded by first-level reviewer in Discovery Partner
                    in response to document requests from the
                    bankruptcy examiner.
10/10/2012   JRC    Complete quality control form for e-mails of Ms.     L320     0.10 hrs
                    Gess coded by first-level reviewer in Discovery
                    Partner in response to document requests from the
                    bankruptcy examiner.
10/10/2012   JRC    Review and analyze board materials produced to       L320     2.10 hrs
                    the bankruptcy examiner for privilege designations
                    in order to draft clawback letter.
10/10/2012   SP     Analyze previously designated documents to be        L320     7.20 hrs
                    produced to the bankruptcy examiner relating to
                    Mr. Whitlinger in Discovery Partner for privilege
                    and confidentiality designation.
10/10/2012   GNM    Working in Discovery Partner database performing     L320     5.00 hrs
                    second level review of custodian data to be
                    produced as outlined in the quality control
                    Protocol.
10/10/2012   GNM    Working in Discovery Partner database                L320     0.80 hrs
                    configuring data for production.

10/10/2012   GNM    Email with Ms. Klun (Lumen Legal) regarding          L120     0.30 hrs
                    staffing levels.

10/10/2012   GNM    Drafting memorandum to Ms. Battle regarding          L120     0.80 hrs
                    review timeline projections.

10/10/2012   GNM    Meeting with Ms. Battle, Mr. Beck and Mr. Day        L120     1.60 hrs
                    regarding Examiner production status and related
                    issues.
10/11/2012   AMP    Review documents for privilege determinations.       L320     1.60 hrs


10/11/2012   AMP    Review and respond to e-mails from quality           L320     0.60 hrs
                    control team regarding certain privilege
                    determinations.
10/11/2012   JAL    Prepare for conference call with examiner            L120     5.50 hrs
                    regarding third-party claims (2.50). Conference
                    with Ms. Battle regarding same (.50). Review
                    analysis of issues raised by examiner (.30).
                    Participate on examiner third-party claims call
                    (1.00). Review and respond to e-mails regarding
                    potential issues and responses to examiner
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                    inquiries (1.00). Review and respond to e-mails
                    regarding disclosures of MBIA expert reports and
                    rebuttal to same (.30).
10/11/2012   VLS    Monitor review status of document review team.       L320     2.10 hrs
                    (1.00) Assignment of review batches. (.10)
                    Assignment of quality control batches. (.40)
                    Update progress chart. (.60)
10/11/2012   JALB   Various discussions with Ms. Marty and Mr.           L120     0.80 hrs
                    Brown (Morrison & Foerster) regarding pace of
                    document production and quality control staffing.
10/11/2012   JALB   Gather materials for Mr. Lipps responsive to         L120     1.10 hrs
                    questions raised by Examiner.

10/11/2012   JALB   Discussion with Mr. Lipps regarding division of      L120     0.30 hrs
                    topics for call with Examiner's counsel.

10/11/2012   JALB   Correspondence with various client representatives   L120     0.80 hrs
                    and Ms. Marty regarding collection of documents
                    responsive to second wave Examiner requests.
10/11/2012   JALB   Provide follow-up information to Mr. Lipps, Mr.      L120     0.50 hrs
                    Rains (Morrison & Foerster) and Mr. Beck
                    responding to questions raised by Chadbourne.
10/11/2012   JALB   Review e-mail notes from Mr. Klein (Morrison &       L120     0.20 hrs
                    Foerster) regarding research into sale of Bank
                    loans to GMAC Mortgage.
10/11/2012   JALB   Correspondence with Mr. Klein (Morrison &            L120     0.20 hrs
                    Foerster) regarding historical MMLPSA
                    agreements.
10/11/2012   MMM    Continue quality control review of Lombardo 027      L120     0.90 hrs
                    batch.

10/11/2012   DAB    Communicate with Ms. Battle regarding MBIA           L120     0.10 hrs
                    witness testimony on separation of Ally and
                    Residential Capital.
10/11/2012   JRC    Review for quality control e-mails of Ms. Gess       L320     1.70 hrs
                    coded by first-level reviewer in Discovery Partner
                    in response to document requests from the
                    bankruptcy examiner.
10/11/2012   SP     Analyze previously designated documents to be        L320     0.60 hrs
                    produced to the bankruptcy examiner relating to
                    Mr. Whitlinger in Discovery Partner for privilege
                    and confidentiality designation.
10/11/2012   GNM    Telephone communication with Mr. Corcoran            L120     0.10 hrs
                    regarding productions made to the Examiner.

10/11/2012   GNM    Communicate with Ms. Battle regarding status of      L120     0.80 hrs
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                    review and production of documents.

10/12/2012   AMP    E-mail exchanges with GM and DTI regarding            L120     0.30 hrs
                    creating and developing format for privilege logs.

10/12/2012   AMP    Review privilege coding issues for same.              L120     0.70 hrs


10/12/2012   AMP    Investigate privilege log issues.                     L320     0.40 hrs


10/12/2012   AMP    Develop template for privilege logs.                  L120     0.80 hrs


10/12/2012   JAL    Review and respond to e-mails regarding MBIA          L130     3.80 hrs
                    expert reports and RFC expert reports and potential
                    usage in examiner papers (.30). Conference with
                    Ms. Battle regarding same (.20). Review MBIA
                    and RFC expert reports to respond to inquiries
                    from examiner (3.0). Review and respond to
                    e-mails regarding observations from completed
                    interviews (.30).
10/12/2012   VLS    Monitor review status of document review team.        L320     1.50 hrs
                    (.70) Assignment of review batches. (.60)
                    Assignment of quality control batches. (.10)
                    Update progress chart. (.10)
10/12/2012   JALB   Various e-mails with Ms. Marty, Ms. Levitt            L120     0.80 hrs
                    (Morrison & Foerster) and Mr. Brown (Morrison
                    & Foerster) regarding status of Examiner
                    document production.
10/12/2012   JALB   Telephonic meeting with various Residential           L120     1.30 hrs
                    Capital representatives from accounting, finance
                    and legal, as well as Morrison & Foerster
                    Examiner team (Mr. Brown, Mr. Salerno, Ms.
                    Levitt, Mr. Klein) regarding collection of
                    documents responsive to second wave document
                    requests.
10/12/2012   JALB   Various follow up e-mails with individual             L120     0.60 hrs
                    Residential Capital custodians regarding collection
                    of documents for production to Examiner.
10/12/2012   JALB   Telephone conference with Mr. Klein (Morrison &       L120     1.00 hrs
                    Foerster), Ms. Horst and Mr. Ruckdaschel (both
                    Residential Capital) regarding Ally Bank
                    questions.
10/12/2012   JALB   Correspondence with Mr. Beck regarding witness        L120     0.40 hrs
                    preparation materials for Mr. Whitlinger and Mr.
                    Marano.
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10/12/2012   JALB   Telephone conference with Mr. Brown (Morrison        L120     0.50 hrs
                    & Foerster) regarding status of Examiner
                    document production.
10/12/2012   MMM    Perform quality control review of Whitlinger         L120     3.20 hrs
                    documents coded as privileged.

10/12/2012   MMM    Perform quality control review of documents with     L120     3.30 hrs
                    Freddie, Fannie, and Ginnie terms.

10/12/2012   JRC    Review for quality control e-mails of Ms. Gess       L320     3.10 hrs
                    coded by first-level reviewer in Discovery Partner
                    in response to document requests from the
                    bankruptcy examiner.
10/12/2012   JRC    Teleconference with Ms. Battle, Mr. Brown            L320     1.00 hrs
                    (Morrison & Foerster), and employees of
                    Residential Capital regarding document collection
                    in response to requests from the bankruptcy
                    examiner.
10/12/2012   JDR    Review 2004 subpoena and orders concerning           L210     0.30 hrs
                    scope in preparation for examiner review training
                    and document review.
10/12/2012   JDR    Review document review protocol and all              L120     0.80 hrs
                    attachments in preparation for examiner review
                    training and document review.
10/12/2012   JDR    Review quality control procedures in preparation     L120     0.30 hrs
                    for examiner review training and subsequent
                    quality control reviews.
10/12/2012   JDR    Examiner review protocol training with Ms. Marty.    L120     2.00 hrs


10/12/2012   JDR    First level review of documents produced in          L320     1.80 hrs
                    response to examiner requests; batch Hamzehpour
                    004.
10/12/2012   JDR    Quality control review of documents as outlined in   L320     0.90 hrs
                    quality control protocol and produced in response
                    to 6/13/2012 SEC subpoena, batch Bartsch 013,
                    initial review by Grimes.
10/12/2012   SP     Analyze previously designated documents to be        L320     6.30 hrs
                    produced to the bankruptcy examiner relating to
                    Mr. Whitlinger in Discovery Partner for privilege
                    and confidentiality designation.
10/12/2012   GNM    New reviewer training for ten reviewers              L320     2.00 hrs
                    transferring over from SEC.
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10/12/2012   GNM    Performing quality control checks on productions         L320     1.10 hrs
                    to be made to Examiner.

10/12/2012   GNM    Drafting and sending e-mail communications to            L120     0.30 hrs
                    Mr. Brown (Morrison & Foerster) regarding
                    productions EXAM104 - EXAM107 to be sent to
                    Examiner.
10/12/2012   GNM    Telephone communications with Ms. Klun (Lumen            L120     0.40 hrs
                    Legal) regarding staffing levels.

10/12/2012   GNM    Researching in Discovery Partner database to             L320     0.60 hrs
                    determine if specific financial data was produced.

10/12/2012   GNM    E-mail communications with Mr. Brown (Morrison           L120     0.20 hrs
                    & Foerster) regarding review protocol.

10/12/2012   GNM    Researching in Discovery Partner database to             L120     0.60 hrs
                    determine if specific financial data was produced.

10/12/2012   GNM    Drafting e-mail communication for Ms. Battle to          L120     0.50 hrs
                    send to quality control team regarding production
                    timelines.
10/12/2012   GNM    Telephone communications with Ms. Wafalosky              L120     0.70 hrs
                    (Robert Half Legal) regarding staffing levels.

10/12/2012   AJM    Quality control review of documents to be                L320     0.60 hrs
                    produced in response to examiner requests: batch
                    Whitlinger Responsive Only 004, initial review
                    done by Mr. Winkfield.
10/12/2012   AJM    Quality control review of documents to be                L320     0.70 hrs
                    produced in response to examiner request, batch
                    Whitlinger Responsive Only 016, initial review
                    done by Ms. Williams.
10/12/2012   AJM    Quality control review of documents to be                L320     2.50 hrs
                    produced in response to examiner requests: batch
                    Lombardo Responsive Only 001, initial review
                    done by Ms. Diem.
10/12/2012   SCM    Conference call with review team.                        L120     1.90 hrs


10/12/2012   SCM    Review of documents sent to examiner review              L320     0.90 hrs
                    team.

10/12/2012   BNS    Review DTI database. (.90) Annotate select seller        L320     1.30 hrs
                    files for proper identification for future production.
                    (.40)
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10/13/2012   MMM    Begin quality control review of Whitlinger batch       L120     2.30 hrs
                    009.

10/13/2012   JDR    First level review of documents produced in            L320     7.80 hrs
                    response to examiner requests; batch Hamzehpour
                    004.
10/13/2012   JDR    Communicate with Ms. Marty regarding necessity         L120     0.10 hrs
                    for additional attorney name privilege highlighting.

10/13/2012   SP     Analyze previously designated documents to be          L320     2.40 hrs
                    produced to the bankruptcy examiner relating to
                    Mr. Whitlinger in Discovery Partner for privilege
                    and confidentiality designation.
10/13/2012   AJM    Quality control review of documents to be              L320     1.20 hrs
                    produced in response to examiner request: batch
                    Lombardo Responsive Only 001, initial review
                    done by Ms. Diem.
10/14/2012   AMP    Review question from Mr. Phillips regarding            L320     0.20 hrs
                    parameters of coding documents professional eyes
                    only for purposes of review of documents to be
                    produced to Examiner.
10/14/2012   MMM    Continue quality control review of Whitlinger          L120     2.00 hrs
                    batch 009.

10/14/2012   JRC    Review for quality control e-mails of Ms. Gess         L320     1.20 hrs
                    (Residential Capital) coded by first-level reviewers
                    in Discovery Partner in response to requests from
                    the bankruptcy examiner.
10/14/2012   JDR    First level review of documents produced in            L320     7.60 hrs
                    response to examiner requests; batch Hamzehpour
                    004.
10/14/2012   SP     Analyze previously designated documents to be          L320     3.60 hrs
                    produced to the bankruptcy examiner relating to
                    Mr. Lombardo in Discovery Partner for privilege
                    and confidentiality designation.
10/14/2012   GNM    Working in Discovery Partner database to answer        L320     0.60 hrs
                    reviewer questions regarding privilege and issue
                    designations.
10/14/2012   GNM    Communicate with Mr. Moeller regarding second          L120     0.90 hrs
                    level review protocol.

10/14/2012   AJM    Quality control review of documents to be              L320     2.50 hrs
                    produced in response to examiner requests: batch
                    Lombardo Responsive Only 002, initial review
                    done by Mr. Clark.
10/14/2012   AJM    Quality control review of documents to be              L320     2.70 hrs
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                    produced in response to examiner requests: batch
                    Lombardo Responsive Only 005, initial review
                    done by Ms. Earley.
10/14/2012   AJM    Quality control review of documents to be             L320     0.90 hrs
                    produced in response to examiner requests: batch
                    Whitlinger Responsive Only 004, initial review
                    done by Mr. Winkfield.
10/14/2012   SCM    Telephone conference with Ms. Marty regarding         L120     0.90 hrs
                    examiner research.

10/14/2012   SCM    Review Whitlinger affidavit.                          L390     0.60 hrs


10/14/2012   SCM    Review Court orders.                                  L250     0.50 hrs


10/14/2012   SCM    Review examiner document requests.                    L390     0.30 hrs


10/15/2012   AMP    Attention to status of export of data for privilege   L120     0.30 hrs
                    log purposes from Discovery Partner.

10/15/2012   AMP    Conference with Ms. Marty regarding privilege log     L320     0.30 hrs
                    issues for production to Examiner last week.

10/15/2012   AMP    E-mail exchanges with Ms. Marty regarding status      L120     0.20 hrs
                    of export of data for privilege log purposes from
                    Discovery Partners.
10/15/2012   JAL    Telephone conference with Mr. McKane                  L120     1.70 hrs
                    (Chadbourne) regarding examiner request for
                    interview of former ResCap officers/directors
                    (.30). Conference with Mr. Beekhuizen regarding
                    same (.10). Review e-mails regarding positions
                    held by interviewees and dates (.20). Review and
                    respond to e-mails with Mr. McKane regarding
                    foregoing (.20). Review request from Mr. Hoff
                    (Chadbourne) to disclose confidential material in
                    submission to examiner (.20). Conference with
                    Ms. Battle regarding responding to request (.20).
                    Review analysis of RFC protective order (.30).
                    Review and respond to e-mails regarding same
                    (.20).
10/15/2012   MNB    Conference call with Mr. Paradis (former              L120     0.20 hrs
                    Residential Capital officer) regarding potential
                    interview with bankruptcy examiner.
10/15/2012   MNB    Obtain information regarding former directors and     L120     0.70 hrs
                    officers identified for potential interviews with
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                    bankruptcy examiner. (.50) Conference call with
                    Mr. McKane (Chadbourne) regarding same. (.20)
10/15/2012   VLS    Monitor review status of document review team.        L320     1.90 hrs
                    (.30) Assignment of review batches. (.70)
                    Assignment of quality control batches. (.70)
                    Update progress chart. (.20)
10/15/2012   VLS    Obtain document reviewer time cards. (.10)            L320     0.40 hrs
                    Review same for accuracy. (.10) Approve for
                    payment. (.20)
10/15/2012   VLS    E-mail exchange with Mr. Bennett in IT regarding      L320     0.30 hrs
                    additional document reviewers for the examiner
                    reviewer project.
10/15/2012   VLS    E-mail exchange with Mr. Keck at Profile              L320     0.30 hrs
                    regarding conversion of documents to PDF format
                    for 9019 data room.
10/15/2012   JALB   Update collection chart for Phase 2 materials.        L330     0.80 hrs


10/15/2012   JALB   Work on reorganization of Mr. Whitlinger's            L330     0.70 hrs
                    outline.

10/15/2012   JALB   Correspondence with Mr. Lipps and Mr.                 L120     0.30 hrs
                    Beekhuizen regarding new interview requests.

10/15/2012   JALB   Telephone conference with Ms. Levitt (Morrison &      L120     0.20 hrs
                    Foerster) regarding interview preparation status
                    and next steps.
10/15/2012   JALB   Correspondence with Mr. Underhill (Residential        L120     0.30 hrs
                    Capital), Mr. Salerno (Morrison & Foerster) and
                    Mr. Brown (Morrison & Foerster) regarding
                    second wave of e-mail production backup tape
                    count and timing estimates.
10/15/2012   DJB    Quality check and provide feedback to contract        L120     5.80 hrs
                    reviewers' first level responsiveness and privilege
                    determinations of documents to be produced to
                    Examiner for custodian Lisa Gess 014 (batch
                    coded by Nicole Hodge).
10/15/2012   DJB    Quality check and provide feedback to contract        L120     6.10 hrs
                    reviewers' first level redaction and issue coding
                    determinations of documents to be produced to
                    Examiner for custodian Ms. Gess 014 (batch coded
                    by contract review Ms. Hodge).
10/15/2012   MMM    Begin quality control review of Lombardo batch        L120     4.00 hrs
                    006.

10/15/2012   MMM    Begin quality control review of Lombardo batch        L120     1.80 hrs
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                    007.

10/15/2012   MMM    Begin quality control review of Whitlinger batch      L120     0.70 hrs
                    15.

10/15/2012   DAB    Communicate with Mr. Beekhuizen regarding             L120     0.10 hrs
                    background of former employees examiner has
                    requested interview of.
10/15/2012   DAB    Call with Mr. Day (Morrison & Foerster) and Ms.       L120     0.40 hrs
                    Battle regarding coordinating preparations for
                    upcoming examiner interviews.
10/15/2012   DAB    Communicate with Mr. Beekhuizen regarding             L120     0.10 hrs
                    examiner papers on third party claims.

10/15/2012   DAB    Analyze confidentiality orders in examiner            L120     0.60 hrs
                    investigation and in MBIA v. RFC litigation to
                    respond to MBIA request to provide confidential
                    documents to examiner.
10/15/2012   JDR    First level review of documents produced in           L320     3.80 hrs
                    response to examiner requests; batch Hamzehpour
                    004.
10/15/2012   JDR    Quality control procedure training for examiner       L120     1.00 hrs
                    review production with Ms. Marty.

10/15/2012   SP     Analyze previously designated documents to be         L320     5.10 hrs
                    produced to the bankruptcy examiner relating to
                    Mr. Lombardo in Discovery Partner for privilege
                    and confidentiality designation.
10/15/2012   SP     Provide feedback to first-level reviewers regarding   L120     0.70 hrs
                    privilege and confidentiality designations.

10/15/2012   GNM    Examiner quality control training for four new        L320     0.90 hrs
                    team members.

10/15/2012   GNM    New reviewer training for Morrison & Foerster         L320     2.10 hrs
                    associates.

10/15/2012   GNM    Conference call with Ms. Battle and Mr. Day           L120     0.50 hrs
                    (Morrison & Foerster) regarding Examiner review.

10/15/2012   GNM    E-mail communications with Ms. Gulley (DTI)           L120     0.20 hrs
                    regarding production sets.

10/15/2012   GNM    Exchanging e-mail communications with Mr.             L120     0.60 hrs
                    Barthel regarding re-production of litigation
                    databases.
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10/15/2012   AJM    Quality control review of documents to be                L320     4.10 hrs
                    produced in response to examiner requests: batch
                    Whitlinger Responsive Only 004, initial review
                    done by Mr. Winkfield.
10/15/2012   AJM    Quality control review of documents to be                L320     1.90 hrs
                    produced in response to examiner requests: batch
                    Lombardo Responsive Only 011, initial review
                    done by Mr. Ritzler.
10/15/2012   SCM    Telephone conference with quality control review         L320     0.90 hrs
                    team.

10/15/2012   SCM    Review of orders and documents related to review.        L320     1.30 hrs


10/15/2012   BNS    Review DTI database. (.80) Annotate select seller        L320     1.40 hrs
                    files for proper identification for future production.
                    (.60)
10/16/2012   JAL    Prepare for meeting with Morrison Foerster               L130     1.00 hrs
                    regarding production of expert reports from MBIA
                    litigation (.20). Conference with Ms. Battle
                    regarding same (.20). Conference with Mr. Levitt
                    and Mr. Rains regarding same (.20). Review and
                    respond to e-mails regarding RFC case protective
                    order (.20). Review response on BOA reserve
                    change (.20).
10/16/2012   VLS    Monitor review status of document review team.           L320     4.10 hrs
                    (2.00) Assignment of review batches. (.30)
                    Assignment of quality control batches. (.90)
                    Update progress chart. (.90)
10/16/2012   JALB   Correspondence with Mr. Brown and Ms. Levitt             L120     0.20 hrs
                    (Morrison & Foerster) regarding custodian list.

10/16/2012   JALB   Update collection chart for Phase 2 materials.           L330     0.90 hrs


10/16/2012   DJB    Quality check and provide feedback to contract           L120     4.30 hrs
                    reviewers' first level coding of documents for
                    custodian Gess 14 (batch coded by Nicole Hodge)
                    potentially responsive to Examiner document
                    requests for responsiveness, privilege, and issues.
10/16/2012   DJB    Quality check and provide feedback to contract           L120     6.10 hrs
                    reviewers' first level coding of documents for
                    custodian Gess 26 (coded by Nicole Hodge)
                    potentially responsive to Examiner document
                    requests for responsiveness, privilege, redactions,
                    and issues.
10/16/2012   MMM    Continue quality control review of Whitlinger            L120     4.90 hrs
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                    batch 15.

10/16/2012   MMM    Begin quality control review of Young batch 001.      L120     2.00 hrs


10/16/2012   JDR    Complete Ms. Hodge feedback memorandum and            L320     0.20 hrs
                    draft correspondence to Ms. Marty regarding
                    re-review of responsiveness coding.
10/16/2012   JDR    Quality control review of documents as outlined in    L320     2.70 hrs
                    quality control protocol and produced in response
                    to examiner requests, batch Whitlinger 009 initial
                    review by Ms. Cericola (contract reviewer).
10/16/2012   JDR    Continue quality control review batch Whitlinger      L320     2.10 hrs
                    009, initial review by Ms. Cericola (contract
                    reviewer).
10/16/2012   JDR    Quality control review of documents as outlined in    L320     0.90 hrs
                    quality control protocol and produced in response
                    to examiner requests, batch Lombardo 016 initial
                    review by Ms. Hodge.
10/16/2012   SP     Analyze previously designated documents to be         L320     4.30 hrs
                    produced to the bankruptcy examiner relating to
                    Ms. Gess in Discovery Partner for privilege and
                    confidentiality designation.
10/16/2012   GNM    Working in Discovery Partner database performing      L320     3.90 hrs
                    second level review of custodian data to be
                    produced as outlined in the quality control
                    Protocol.
10/16/2012   GNM    Drafting and sending e-mail to Ms. Gulley (DTI)       L120     0.50 hrs
                    regarding production set.

10/16/2012   GNM    Research regarding production metrics for             L320     0.40 hrs
                    Examiner review through the end of August at the
                    request of Mr. Beck
10/16/2012   GNM    Drafting e-mail communication to Mr. Beck             L120     0.30 hrs
                    regarding production metrics for Examiner review
                    through the end of August.
10/16/2012   GNM    Drafting and sending e-mail communications to the     L120     0.50 hrs
                    review team regarding outside counsel for
                    Residential Capital and the privilege analysis when
                    outside counsel is present.
10/16/2012   GNM    E-mailing with Ms. Williams (Contract Reviewer)       L120     0.20 hrs
                    regarding privilege determinations.

10/16/2012   AJM    Quality control review of documents to be             L320     1.50 hrs
                    produced in response to examiner requests: batch
                    Lombardo Responsive Only 011, initial review
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                    done by Mr. Ritzler.
10/16/2012   AJM    Quality control review of documents to be              L320     2.50 hrs
                    produced in response to examiner requests: batch
                    Lombardo Responsive Only 012, initial review
                    done by Ms. Cericola.
10/16/2012   AJM    Quality control review of documents to be              L320     2.00 hrs
                    produced in response to examiner requests: batch
                    Lombardo Responsive Only 013, initial review
                    done by Ms. Walker.
10/16/2012   SCM    Review documents related to Examiner review            L320     0.20 hrs
                    project phase 1.

10/16/2012   SCM    First level review of documents for Examiner           L320     1.10 hrs
                    phase 1.

10/17/2012   AMP    Review and respond to e-mails regarding Examiner       L320     0.20 hrs
                    production issues.

10/17/2012   AMP    Analyze Examiner production issues.                    L320     0.20 hrs


10/17/2012   JAL    Review and analyze MBIA's request to lift              L120     3.30 hrs
                    confidentiality (.20). Review and respond to
                    e-mails regarding same (.20). Conference with
                    Ms. Battle regarding same (.20). Review and
                    redraft Mr. Whitlinger's preparation outline (1.30).
                    Review Mr. Whitlinger's documents to determine
                    which are key to preparation (1.1). Review e-mail
                    regarding conversation with Mr. Hoff
                    (Cadwalader) (.10). Conference with Ms. Battle
                    regarding conversation with Mr. Hoff (.20).
10/17/2012   VLS    Monitor review status of document review team.         L320     2.20 hrs
                    (.90) Assignment of review batches. (.10)
                    Assignment of quality control batches. (.20)
                    Update progress chart. (1.00)
10/17/2012   JALB   Telephone conference with Mr. Salerno (Morrison        L120     0.40 hrs
                    & Foerster) and Ms. Marty regarding pace of
                    document production and impact of proposed
                    ramp-up in staffing.
10/17/2012   JALB   Continued work on Mr. Whitlinger's draft outline.      L330     1.80 hrs


10/17/2012   JALB   Follow-up correspondence with internal staffing        L120     0.50 hrs
                    team regarding ramp-up and staffing for quality
                    control.
10/17/2012   JALB   Coordination with Mr. Beck and Mr. Lipps               L330     0.60 hrs
                    regarding preparation of Mr. Whitlinger's and Mr.
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                    Marano's materials.
10/17/2012   JALB   Follow-up research regarding status of Mr. Benton      L120     0.20 hrs
                    (Ally Bank) and production of his e-mails.

10/17/2012   JALB   Telephone conference with Mr. Underhill                L120     0.50 hrs
                    (Residential Capital) regarding status of tape
                    restoration, document collection and delivery to
                    vendor.
10/17/2012   JALB   Telephone conference with Mr. Hoff (Cadwalader         L120     0.30 hrs
                    Wickersham & Taft) regarding confidential
                    materials protected by state court order proposed to
                    be cited in Examiner submissions.
10/17/2012   DJB    Quality check and provide feedback to contract         L120     5.80 hrs
                    reviewers' first level coding of documents for
                    custodian Lisa Gess 26 (coded by Nicole Hodge)
                    potentially responsive to Examiner document
                    requests for responsiveness and privilege.
10/17/2012   MMM    Continue quality control review of Young batch         L120     2.60 hrs
                    001.

10/17/2012   MMM    Perform quality control review of Whitlinger           L120     3.80 hrs
                    privilege batch 001.

10/17/2012   MMM    Begin quality control review of Young batch 006.       L120     0.30 hrs


10/17/2012   DAB    Research previous exhibits used by examiner for        L330     0.70 hrs
                    potential relevance to interviews of Mr. Whitlinger
                    and Mr. Marano.
10/17/2012   DAB    Communicate with Ms. Battle regarding outline for      L120     0.20 hrs
                    examiner interview of Mr. Whitlinger.

10/17/2012   DAB    Analyze Residential Capital board presentations        L120     1.40 hrs
                    for relevance to examiner interview of Mr.
                    Whitlinger.
10/17/2012   DAB    Draft and revise outline for interview of Mr.          L330     3.30 hrs
                    Whitlinger by examiner.

10/17/2012   JRC    Conference with Mr. Beck regarding preparation         L120     0.20 hrs
                    materials for Mr. Marano's interview with the
                    bankruptcy examiner.
10/17/2012   JRC    Review for quality control e-mails of Ms.              L320     0.90 hrs
                    Hamzehpour coded by first-level review in
                    Discovery Partner in response to requests from the
                    bankruptcy examiner.
10/17/2012   JRC    E-mail exchange with first-level document              L320     0.10 hrs
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                    reviewer regarding protocol for review of
                    documents in response to requests from the
                    bankruptcy examiner.
10/17/2012   JRC    Review for quality control e-mails of Ms. Gess         L320     2.10 hrs
                    (Residential Capital) coded by first-level review in
                    Discovery Partner in response to requests from the
                    bankruptcy examiner.
10/17/2012   JRC    Draft e-mail to first-level reviewer providing         L120     0.10 hrs
                    quality control feedback on coding of documents in
                    response to requests from the bankruptcy
                    examiner.
10/17/2012   JRC    E-mail exchange with Ms. Battle and Ms. Marty          L120     0.10 hrs
                    regarding the professionals' eyes only designation
                    under the examiner confidentiality agreement.
10/17/2012   JRC    Review and analyze the confidentiality agreement       L320     0.20 hrs
                    for documents produced to the bankruptcy
                    examiner in order to respond to question from Ms.
                    Battle regarding the professionals' eyes only
                    designation.
10/17/2012   JDR    Quality control review of documents as outlined in     L320     5.30 hrs
                    quality control protocol and produced in response
                    to examiner requests, batch Whitlinger 009 initial
                    review by Cericola.
10/17/2012   SP     Analyze previously designated documents to be          L320     5.60 hrs
                    produced to the bankruptcy examiner relating to
                    Mr. Lombardo in Discovery Partner for privilege
                    and confidentiality designation.
10/17/2012   SP     Provide feedback to first-level reviewers regarding    L120     0.60 hrs
                    privilege and confidentiality designations.

10/17/2012   GNM    Conference call with Ms. Battle, Mr. Salerno and       L120     0.50 hrs
                    Mr. Brown (Morrison & Foerster) regarding
                    production deadlines for the Examiner.
10/17/2012   GNM    Telephone communications with Mr. Salerno              L120     0.30 hrs
                    (Morrison & Foerster) regarding production
                    deadlines for Examiner review.
10/17/2012   GNM    Updating review protocol.                              L320     0.50 hrs


10/17/2012   GNM    Meeting with Ms. Battle regarding production           L120     0.80 hrs
                    deadlines for Examiner review.

10/17/2012   GNM    Telephone communications with Ms. Battle               L120     0.20 hrs
                    regarding revised production deadline for
                    Examiner
10/17/2012   GNM    Drafting and sending e-mail communications to          L120     0.30 hrs
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                    review team regarding updated production
                    deadlines for Examiner review.
10/17/2012   GNM    Work in Discovery Partner performing second          L320     1.10 hrs
                    level review on data for production as outlined in
                    the quality control protocol.
10/17/2012   GNM    Telephone communications with Ms. Klun (Lumen        L120     0.80 hrs
                    Legal) regarding staffing levels.

10/17/2012   GNM    Communicate with Ms. Battle regarding revised        L120     0.50 hrs
                    production deadline for Examiner review.

10/17/2012   GNM    Exchange e-mail communications with Mr. Rhode        L120     0.50 hrs
                    regarding privilege determinations.

10/17/2012   GNM    Exchange e-mail communications with Mr.              L120     0.90 hrs
                    Salerno (Morrison & Foerster) regarding revised
                    production deadlines for Examiner.
10/17/2012   GNM    Exchange e-mail communications with Ms. Battle       L120     0.40 hrs
                    regarding production deadlines for Examiner
                    Review.
10/17/2012   GNM    Exchange e-mail communications with Ms. Klun         L120     0.40 hrs
                    and Ms. Labadie (Lumen Legal) regarding increase
                    in staffing levels for Examiner review.
10/17/2012   AJM    Quality control review of documents to be            L320     0.90 hrs
                    produced in response to examiner requests: batch
                    Lombardo Responsive Only 012, initial review
                    done by Ms. Cericola.
10/17/2012   AJM    Quality control review of documents to be            L320     1.50 hrs
                    produced in response to examiner requests: batch
                    Lombardo Responsive Only 013, initial review
                    done by Ms. Walker.
10/17/2012   AJM    Quality control review of documents to be            L320     0.40 hrs
                    produced in response to examiner requests: batch
                    Young Responsive Only 003, initial review done
                    by Ms. Searls.
10/17/2012   AJM    Quality control review of documents to be            L320     0.40 hrs
                    produced in response to examiner requests: batch
                    Whitlinger Responsive Only 016, initial review
                    done by Ms. Williams.
10/17/2012   SCM    First level review of T. Hamzehpour e-mails.         L320     2.90 hrs


10/18/2012   AMP    Meeting regarding quality control issues and         L320     1.00 hrs
                    conducting revised quality control review to meet
                    Examiner deadline.
10/18/2012   JAL    Review and revise Mr. Whitlinger's interview         L120     1.80 hrs
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                    outline (1.0). Conference with Ms. Battle
                    regarding same (.30). Review and respond to
                    e-mails regarding MBIA request to lift RFC case
                    confidentiality (.10). Review, redraft and finalize
                    response to Mr. Hoff (Cadwalader) (.40).
10/18/2012   VLS    Monitor review status of document review team.        L320     4.40 hrs
                    (1.10) Assignment of review batches. (.30)
                    Assignment of quality control batches. (2.10)
                    Update progress chart. (.90)
10/18/2012   VLS    E-mail exchange with Mr. Bennett in IT regarding      L320     0.40 hrs
                    additional individuals to add to document review
                    list serve.
10/18/2012   VLS    Preparation of review batches for custodian data of   L320     0.80 hrs
                    Ms. Gess, Mr. Lomardo, Mr. Whitlinger, Mr.
                    Marano and Ms. Hamzehpour.
10/18/2012   VLS    Preparation of document tracking spreadsheet for      L320     2.20 hrs
                    new custodian data.

10/18/2012   TKI    Participate in document review training.              L110     3.70 hrs


10/18/2012   TKI    Review relevant documents pertaining to the           L110     1.60 hrs
                    chapter 11 cases for document review and strategic
                    litigation purposes.
10/18/2012   JALB   Discussion with Mr. Klein (Morrison & Foerster)       L120     0.20 hrs
                    regarding status of Whitlinger outline and key
                    points.
10/18/2012   JALB   Prepare draft Mr. Whitlinger's preparation outline.   L330     2.50 hrs


10/18/2012   JALB   Review Whitlinger themes outline from Mr. Day         L330     0.30 hrs
                    (Morrison & Foerster) and incorporate into draft
                    Mr. Whitlinger's outline.
10/18/2012   JALB   Discussions with Ms. Marty and Mr. Carpenter          L120     0.50 hrs
                    regarding staffing for Examiner Quality Control
                    review.
10/18/2012   DJB    Examiner meeting regarding changes to document        L120     0.40 hrs
                    review protocol.

10/18/2012   DJB    Quality check and provide feedback to contract        L120     5.90 hrs
                    reviewers' first level coding of documents for
                    custodian Whitlinger (batch coded by Mr. Clark)
                    potentially responsive to Examiner document
                    requests for responsiveness and privilege.
10/18/2012   MMM    Continue quality control review of Young batch        L120     5.70 hrs
                    006.
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10/18/2012   MMM    Meet with Ms. Marty and rest of review team            L120     0.40 hrs
                    regarding review protocol and status of review.

10/18/2012   MMM    Begin quality control review of Young batch 007.       L120     4.20 hrs


10/18/2012   DAB    Draft and revise outline for interview of Mr.          L330     3.10 hrs
                    Whitlinger by examiner.

10/18/2012   DAB    Research valuation committee minutes for               L330     4.20 hrs
                    materials relevant to Mr. Whitlinger.

10/18/2012   DAB    Communicate with Mr. Serrano, Mr. Illovsky and         L120     0.20 hrs
                    Mr. Day (Morrison & Foerster) regarding board
                    fiduciary duty presentations and relevance to
                    examiner interviews of Mr. Whitlinger and Mr.
                    Marano.
10/18/2012   JRC    Conference with first and second-level reviewers       L320     0.40 hrs
                    regarding revised protocol for review of documents
                    in response to requests from the bankruptcy
                    examiner.
10/18/2012   JRC    Review for quality control documents coded by          L320     1.10 hrs
                    first-level reviewer in Discovery Partner in
                    response to requests from the bankruptcy
                    examiner.
10/18/2012   JRC    Review and analyze documents in Discovery              L320     0.80 hrs
                    Partner in order to locate preparation materials for
                    Mr. Marano's interview with the bankruptcy
                    examiner.
10/18/2012   JDR    Conference with Ms. Marty regarding quality            L120     0.50 hrs
                    control procedures.

10/18/2012   JDR    Quality control review of documents as outlined in     L320     0.60 hrs
                    quality control protocol and produced in response
                    to examiner requests, batch Young 009 initial
                    review by Massey.
10/18/2012   JDR    Quality control review of documents as outlined in     L320     0.70 hrs
                    quality control protocol and produced in response
                    to examiner requests, batch Young 010 initial
                    review by Ms. Diem.
10/18/2012   JDR    Quality control review of documents as outlined in     L320     2.50 hrs
                    quality control protocol and produced in response
                    to examiner requests, batch Young 010 initial
                    review by Ms. Diem.
10/18/2012   JDR    Quality control review of documents as outlined in     L320     2.10 hrs
                    quality control protocol and produced in response
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                    to examiner requests, batch Young 010 initial
                    review by Ms. Diem.
10/18/2012   SP     Analyze previously designated documents to be        L320     0.90 hrs
                    produced to the bankruptcy examiner relating to
                    Mr. Whitlinger in Discovery Partner for privilege
                    and confidentiality designation.
10/18/2012   GNM    Working in Discovery Partner database to answer      L320     1.00 hrs
                    reviewer questions regarding privilege and issue
                    designations.
10/18/2012   GNM    Telephone communications with Ms. Gulley (DTI)       L120     0.60 hrs
                    regarding errors with the data in the system.

10/18/2012   GNM    Telephone communications with Ms. Klun (Lumen        L120     0.50 hrs
                    Legal) regarding staffing levels.

10/18/2012   GNM    E-mail communications with Ms. Klun (Lumen           L120     0.60 hrs
                    Legal) regarding staffing levels.

10/18/2012   GNM    E-mail communications with Mr. Matusicky             L120     0.50 hrs
                    (Robert Half Legal) regarding staffing levels

10/18/2012   GNM    Telephone communications with Mr. Matusicky          L120     0.40 hrs
                    (Robert Half Legal) regarding staffing levels.

10/18/2012   GNM    Meeting with review team regarding revised           L320     0.60 hrs
                    production deadlines for Examiner review.

10/18/2012   GNM    Meeting with Mr. Sechler regarding quality control   L120     0.30 hrs
                    protocol.

10/18/2012   GNM    Reviewing resumes from staffing agencies to hire     L320     1.10 hrs
                    additional reviewers for Examiner Review.

10/18/2012   GNM    Exchanging e-mail communications with Ms.            L120     0.60 hrs
                    Gulley (DTI) regarding errors with the data in the
                    system
10/18/2012   GNM    E-mail communications with Ms. Gulley (DTI)          L120     0.40 hrs
                    regarding errors with the data in the system.

10/18/2012   GNM    Conduct new reviewer training for 17 new             L320     3.20 hrs
                    reviewers.

10/18/2012   AJM    Quality control review of documents to be            L320     7.60 hrs
                    produced in response to examiner requests: batch
                    Young Responsive Only 003, initial review done
                    by Ms. Searls.
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10/18/2012   AJM    Conference with Ms. Marty and others to discuss       L120     0.40 hrs
                    revisions to examiner review protocol.

10/18/2012   AJM    Quality control review of documents to be             L320     0.40 hrs
                    produced in response to examiner requests: batch
                    Young Responsive Only 004, initial review done
                    by Mr. Cable.
10/18/2012   SCM    Telephone conference with team.                       L120     0.50 hrs


10/18/2012   SCM    Review of Whitlinger affidavit.                       L390     0.90 hrs


10/18/2012   SCM    First level review of T. Hamzehpour documents.        L320     1.70 hrs


10/19/2012   JAL    Review, redraft and finalize Mr. Whitlinger's         L120     2.00 hrs
                    outline (.50). Review Mr. Whitlinger's key
                    documents and finalize selection for preparation
                    (1.0). Conference with Ms. Battle and Mr. Beck
                    regarding same (.10). Review e-mails regarding
                    same (.10). Review and respond to e-mails
                    regarding timeline on litigation assessments (.10).
                    Review and respond to e-mails regarding
                    third-party claim position papers (.20).
10/19/2012   VLS    Monitor review status of document review team         L320     5.30 hrs
                    consisting of 70 first level review team members.
                    (3.90) Assignment of review batches. (.70)
                    Update progress chart. (.70)
10/19/2012   TKI    Review documents for responsiveness and               L110     2.30 hrs
                    privilege status.

10/19/2012   TKI    Review relevant documents pertaining to the           L110     1.40 hrs
                    chapter 11 cases for document review and strategic
                    litigation purposes.
10/19/2012   JALB   Correspondence with Ms. Hamzehpour, Ms.               L120     0.80 hrs
                    Zellmann, Mr. Underhill, Ms. Shank, Ms.
                    Fitzpatrick, and Ms. Westman (all Residential
                    Capital) regarding follow-up on collection efforts.
10/19/2012   JALB   Review quality control protocol.                      L320     0.20 hrs


10/19/2012   JALB   Correspondence with Ms. Marty regarding status        L120     0.10 hrs
                    of review and quality control.
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10/19/2012   JALB   Provide additional comments on Mr. Whitlinger's     L330     0.50 hrs
                    interview preparation outline.

10/19/2012   JALB   Correspondence with Mr. Beck and Mr. Lipps          L120     0.10 hrs
                    regarding status of Mr. Whitlinger's interview
                    preparation outline.
10/19/2012   JALB   Correspondence with Mr. Brown (Morrison &           L120     0.20 hrs
                    Foerster) regarding next steps to follow up on
                    collection efforts.
10/19/2012   DJB    Quality check and provide feedback to contract      L120     5.80 hrs
                    reviewers' first level coding of documents for
                    custodian Whitlinger (coded by Mr. Clark)
                    potentially responsive to Examiner document
                    requests for responsiveness and privilege.
10/19/2012   DJB    Quality check and provide feedback to contract      L120     3.90 hrs
                    reviewers' first level coding of documents for
                    custodian Whitlinger (coded by Mr. Clark)
                    potentially responsive to Examiner document
                    requests for redactions and issues.
10/19/2012   MMM    Continue quality control review of Young batch      L120     1.20 hrs
                    007.

10/19/2012   MMM    Perform quality control review of Young batch       L120     5.50 hrs
                    008.

10/19/2012   MMM    Begin quality control review of Young possible      L120     2.20 hrs
                    privilege batch 003.

10/19/2012   DAB    Revise timeline on major PLS events.                L120     0.40 hrs


10/19/2012   DAB    Revise outline for interview of Mr. Whitlinger by   L330     2.30 hrs
                    examiner.

10/19/2012   DAB    Conference with Mr. Lipps regarding comments on     L120     0.10 hrs
                    examiner outline.

10/19/2012   DAB    Communicate with Mr. Beekhuizen regarding           L120     0.20 hrs
                    issues on third party claims memoranda for
                    examiner.
10/19/2012   JRC    Review for quality control documents coded by       L320     0.20 hrs
                    first-level reviewer in Discovery Partner in
                    response to requests for production from the
                    bankruptcy examiner.
10/19/2012   JRC    Review and analyze documents used to prepare        L320     0.40 hrs
                    Residential Capital employees for examiner
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                    interviews in order to prepare interview
                    preparation materials for Mr. Marano.
10/19/2012   JRC    Review and analyze documents in Discovery              L320     3.40 hrs
                    Partner in order to locate preparation materials for
                    Mr. Marano's interview with the bankruptcy
                    examiner.
10/19/2012   JDR    Quality control review of documents as outlined in     L320     1.10 hrs
                    quality control protocol and produced in response
                    to examiner requests, batch Lombardo 017 initial
                    review by Massey/Ritzler.
10/19/2012   JDR    Quality control review of documents as outlined in     L320     1.80 hrs
                    quality control protocol and produced in response
                    to examiner requests, batch Lombardo 016 initial
                    review by Massey/Ritzler.
10/19/2012   GNM    New Reviewer training for 19 new reviewers.            L320     3.20 hrs


10/19/2012   GNM    E-mailing with new reviewers to troubleshoot           L120     0.60 hrs
                    accessing the database.

10/19/2012   GNM    E-mail communications with Ms. Klun (Lumen             L120     0.70 hrs
                    Legal) regarding staffing levels.

10/19/2012   GNM    E-mail communications with Mr. Matusicky               L120     0.40 hrs
                    (Robert Half Legal) regarding staffing levels

10/19/2012   GNM    Quality control training for Morrison & Foerster       L320     1.10 hrs
                    associates.

10/19/2012   GNM    Working in Discovery Partner database answering        L320     1.50 hrs
                    reviewer questions regarding responsiveness and
                    privilege determinations.
10/19/2012   GNM    Performing quality control checks on EXAM110           L320     0.70 hrs
                    and 111 productions to be sent to Examiner.

10/19/2012   GNM    Drafting and sending e-mail communications to          L120     0.40 hrs
                    Mr. Brown (Morrison & Foerster) regarding
                    productions EXAM110/111 to be sent to
                    Examiner.
10/19/2012   GNM    E-mail communications with Ms. Gulley (DTI)            L120     0.50 hrs
                    regarding new user accounts for training.

10/19/2012   GNM    E-mail communications with new reviewers               L120     0.60 hrs
                    regarding training.

10/19/2012   AJM    Quality control review of documents to be              L320     3.50 hrs
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                    produced in response to examiner requests: batch
                    Young Responsive Only 004, initial review done
                    by Mr. Cable.
10/19/2012   SCM    First level review of T. Hamzehpour documents.        L320        2.90 hrs


10/20/2012   JALB   Begin work on Mr. Marano's interview preparation      L330        0.40 hrs
                    outline.

10/20/2012   JRC    E-mail exchange with first-level reviewer             L320        0.20 hrs
                    regarding protocol for coding documents in
                    Discovery Partner in response to requests from the
                    bankruptcy examiner.
10/20/2012   JRC    Teleconference with first-level reviewer regarding    L320        0.20 hrs
                    protocol for coding documents in Discovery
                    Partner in response to requests from the bankruptcy
                    examiner.
10/20/2012   JRC    Review for quality control e-mails of Ms.             L320        3.40 hrs
                    Hamzehpour (Residential Capital) coded in
                    Discovery Partner by first-level review in response
                    to requests from the bankruptcy examiner.
10/20/2012   SCM    First level review of T. Hamzehpour documents.        L320        0.90 hrs


10/21/2012   TKI    Review documents for responsiveness and               L110        2.00 hrs
                    privilege status.

10/21/2012   JALB   Correspondence with Mr. Klein, Mr. Illovsky, Mr.      120         0.20 hrs
                    Day (all Morrison & Foerster) and Mr. Beck and
                    Mr. Lipps regarding status of Whitlinger
                    preparation materials.
10/21/2012   DAB    Communicate with Mr. Day and Mr. Serrano              L120        0.20 hrs
                    (Morrison & Foerster) regarding materials needed
                    for Whitlinger interview preparation kit.
10/21/2012   DAB    Analyze hot documents for examiner interview of       L330        1.10 hrs
                    Mr. Marano (Residential Capital) identified by Mr.
                    Corcoran.
10/21/2012   DAB    Analyze production databases and Whitlinger           L330        3.20 hrs
                    deposition preparation outline and identify
                    materials for inclusion in Whitlinger deposition
                    preparation kit.
10/21/2012   JRC    Review for quality control e-mails of Ms.             L320        5.60 hrs
                    Hamzehpour (Residential Capital) coded in
                    Discovery Partner by first-level review in response
                    to requests from the bankruptcy examiner.
10/21/2012   JDR    Quality control review of documents as outlined in    L320        2.90 hrs
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                    quality control protocol and produced in response
                    to examiner requests, batch Lombardo 017 initial
                    review by Massey/Ritzler.
10/21/2012   JDR    Quality control review of documents as outlined in    L320     2.20 hrs
                    quality control protocol and produced in response
                    to examiner requests, batch Whitlinger 008 initial
                    review by Small.
10/21/2012   SP     Analyze previously designated documents to be         L120     1.40 hrs
                    produced to the bankruptcy examiner relating to
                    Mr. Whitlinger in Discovery Partner for privilege
                    and confidentiality designation.
10/21/2012   AJM    Quality control review of documents to be             L320     1.00 hrs
                    produced in response to examiner requests: batch
                    Young Responsive Only 004, initial review done
                    by Mr. Cable.
10/21/2012   AJM    Quality control review of documents to be             L320     3.80 hrs
                    produced in response to examiner requests: batch
                    Young Responsive Only 005, initial review done
                    by Ms. Cericola.
10/21/2012   AJM    Quality control review of documents to be             L320     3.20 hrs
                    produced in response to examiner requests: batch
                    Young Responsive Only 011, initial review done
                    by Ms. Cericola.
10/21/2012   SCM    First level review of T. Hamzehpour documents.        L320     4.90 hrs


10/22/2012   JAL    Review and revise Mr. Whitlinger's preparation        L120     2.00 hrs
                    outline cover memorandum (.80). Conference with
                    Mr. Beck and Ms. Battle regarding same (.20).
                    Finalize revisions to Mr. Whitlinger's base outline
                    (.30). Review and respond to e-mails regarding
                    Mr. Whitlinger's preparation issues (.20). Review
                    and respond to e-mails regarding representation of
                    former officers and directors (.50).
10/22/2012   VLS    Monitor review status of document review team         L320     4.80 hrs
                    consisting of 70 first level review team members.
                    (3.10) Assignment of review batches. (.90)
                    Assignment of quality control batches. (.20)
                    Update progress chart. (.60)
10/22/2012   VLS    Telephone conference with document reviewer Mr.       L320     0.30 hrs
                    Stiller regarding technical issues with review
                    platform.
10/22/2012   VLS    Telephone conference with document reviewer Ms.       L320     0.30 hrs
                    Ross regarding technical issues with review
                    platform.
10/22/2012   VLS    E-mail exchange with document reviewer Mr.            L320     0.20 hrs
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                    Stiller regarding technical issues with review
                    platform.
10/22/2012   VLS    E-mail exchanges with document reviewer Ms.            L320     0.20 hrs
                    Ross regarding technical issues with review
                    platform.
10/22/2012   TKI    Review documents for responsiveness and                L110     3.10 hrs
                    privilege status.

10/22/2012   JALB   Draft cover memorandum to Mr. Marano's                 L330     0.70 hrs
                    interview preparation outline.

10/22/2012   JALB   Review Morrison & Foerster/FTI Consulting              L330     0.60 hrs
                    materials for incorporation into Mr. Marano's
                    preparation outline.
10/22/2012   JALB   Follow-up correspondence with Ms. Zellmann, Mr.        L120     0.40 hrs
                    Underhill (both Residential Capital), Mr. Brown,
                    Mr. Salerno, Ms. Levitt (all Morrison & Foerster)
                    regarding status of collection efforts responsive to
                    Examiner Wave 2 document requests.
10/22/2012   JALB   Telephone conference with Mr. Illovsky, Mr. Klein      L120     0.60 hrs
                    (both Morrison & Foerster) and Mr. Beck
                    regarding coordination of preparation materials and
                    themes for Mr. Whitlinger and Mr. Marano.
10/22/2012   JALB   Prepare draft of Mr. Marano's cover memorandum         L330     4.40 hrs
                    and preparation outline.

10/22/2012   JALB   Telephone conference with Mr. Day (Morrison &          L120     0.10 hrs
                    Foerster) regarding coordination of preparation
                    materials for Mr. Whitlinger and Mr. Marano.
10/22/2012   JALB   Telephone conference with Mr. Fons (Morrison &         L120     0.10 hrs
                    Foerster) regarding overlap issues between SEC
                    and Examiner.
10/22/2012   JALB   Telephone conference with Mr. Rains (Morrison &        L120     0.30 hrs
                    Foerster) regarding coordination of preparation for
                    Examiner interviews of Mr. Whitlinger and Mr.
                    Marano.
10/22/2012   DJB    Quality check and provide feedback to contract         L120     3.20 hrs
                    reviewers' first level coding of documents for
                    custodian Lombardo 18 (coded by Ms. Diem)
                    potentially responsive to Examiner document
                    requests for responsiveness and privilege.
10/22/2012   DJB    Quality check and provide feedback to contract         L120     4.90 hrs
                    reviewers' first level coding of documents for
                    custodian Lombardo 18 (coded by Ms. Diem)
                    potentially responsive to Examiner document
                    requests for redactions and issues.
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10/22/2012   DJB    Quality check and provide feedback to contract        L120     5.10 hrs
                    reviewers' first level coding of documents for
                    custodian Young 13 (coded by Mr. Ritzler)
                    potentially responsive to Examiner document
                    requests for responsiveness and privilege.
10/22/2012   DJB    Quality check and provide feedback to contract        L120     3.90 hrs
                    reviewers' first level coding of documents for
                    custodian Young 13 (coded by Mr. Ritzler)
                    potentially responsive to Examiner document
                    requests for redactions and issues.
10/22/2012   MMM    Continue quality control review of Young              L120     3.40 hrs
                    documents coded as privileged.

10/22/2012   MMM    Perform quality control review of documents           L120     3.60 hrs
                    coded as not privileged but contain privileged
                    terms.
10/22/2012   MMM    Perform quality control review of documents with      L120     3.50 hrs
                    Fannie, Freddie, and Ginnie terms.

10/22/2012   DAB    Analyze production databases and Whitlinger           L330     1.10 hrs
                    deposition preparation outline and identify
                    materials for inclusion in Whitlinger deposition
                    preparation kit.
10/22/2012   DAB    Analyze potential hot documents for examiner          L330     0.80 hrs
                    interview of Mr. Marano.

10/22/2012   DAB    Research and analyze key document used by             L330     1.90 hrs
                    examiner in previous witness interviews.

10/22/2012   DAB    Conference with Ms. Battle regarding key topics       L120     0.20 hrs
                    for examiner interview of Mr. Marano.

10/22/2012   DAB    Meeting with Mr. Lipps and Ms. Battle regarding       L120     0.60 hrs
                    previous preparation session for Mr. Marano and
                    likely areas of focus for examiner interview of Mr.
                    Marano.
10/22/2012   DAB    Research production databases for materials           L330     2.90 hrs
                    relevant to examiner interviews of Mr. Whitlinger,
                    Mr. Marano and Ms. Dondzila.
10/22/2012   DAB    Call with Mr. Illovsky, Mr. Klein (Morrison &         L120     0.80 hrs
                    Foerster) and Ms. Battle regarding key themes for
                    examiner interviews of Mr. Marano and Mr.
                    Whitlinger and results of earlier interviews.
10/22/2012   JRC    E-mail exchange with first-level document             L320     0.10 hrs
                    reviewer regarding protocol for coding documents
                    in Discovery Partner in response to requests from
                    the bankruptcy examiner.
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10/22/2012   JDR    Quality control review of documents as outlined in   L320     2.30 hrs
                    quality control protocol and produced in response
                    to examiner requests, batch Whitlinger 008 initial
                    review by Small.
10/22/2012   SP     Analyze previously designated documents to be        L120     5.40 hrs
                    produced to the bankruptcy examiner relating to
                    Mr. Whitlinger in Discovery Partner for privilege
                    and confidentiality designation.
10/22/2012   SP     Analyze previously designated documents to be        L120     5.20 hrs
                    produced to the bankruptcy examiner relating to
                    Mr. Lombardo in Discovery Partner for privilege
                    and confidentiality designation.
10/22/2012   GNM    Working in Discovery Partner database answering      L320     2.90 hrs
                    reviewer questions regarding responsiveness and
                    privilege determinations.
10/22/2012   GNM    Updating the decision log to be sent to reviewers    L320     3.10 hrs
                    with feedback as outlined in the quality control
                    protocol.
10/22/2012   GNM    Updating quality control protocol.                   L320     0.90 hrs


10/22/2012   GNM    E-mail communications with Mr. Jamison               L120     0.20 hrs
                    (Contract Reviewer) regarding database annotation
                    pane.
10/22/2012   GNM    Telephone communications with Ms. Hancock            L120     0.10 hrs
                    (Bradley Arant) regarding confidentiality
                    agreements.
10/22/2012   GNM    Communicate with Ms. Mohler regarding privilege      L120     0.40 hrs
                    and issue determinations.

10/22/2012   GNM    E-mail communications with Ms. Gulley (DTI)          L120     0.40 hrs
                    regarding new user accounts.

10/22/2012   AJM    Quality control review of documents to be            L320     1.30 hrs
                    produced in response to examiner requests: batch
                    Young Responsive Only 011, initial review done
                    by Ms. Cericola.
10/22/2012   AJM    Quality control review of documents to be            L320     8.80 hrs
                    produced in response to examiner requests: batch
                    Whitlinger Possibly Privileged 010, initial review
                    done by Ms. Walker.
10/22/2012   SCM    First level review of T. Hamzehpour documents.       L320     2.10 hrs


10/23/2012   JAL    Meeting with Mr. Powell and Mr. Donovan              L120     1.00 hrs
                    (Kirkland) regarding representation of former
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                    ResCap employees (.40). Review Morrison
                    Foerster's preparation outline for Mr. Marano (.30).
                    Revise same (.10). Review and respond to e-mails
                    with Ms. Battle regarding Mr. Marano's
                    preparation (.20).
10/23/2012   VLS    Monitor review status of expanded document             L320     5.80 hrs
                    review and document quality control teams. (3.80)
                    Assignment of review and quality control batches.
                    (1.10) Update progress chart. (.90)
10/23/2012   VLS    E-mail exchanges with select document reviewers        L320     0.40 hrs
                    to discuss document batch status.

10/23/2012   VLS    E-mail exchanges with document reviewers and           L320     0.30 hrs
                    Discovery Partner database support to address
                    issues with database.
10/23/2012   VLS    E-mail exchange with Ms. Marty and Mr. Bennett         L320     0.30 hrs
                    in IT department regarding updates to the
                    document reviewer e-mail group.
10/23/2012   VLS    E-mail exchange with Ms. Marty and Mr. Bennett         L320     0.30 hrs
                    in IT department regarding updates to the quality
                    control review e-mail group.
10/23/2012   TKI    Review documents for responsiveness and                L110     1.80 hrs
                    privilege status.

10/23/2012   TKI    Participate in quality control document review         L110     1.30 hrs
                    training.

10/23/2012   JALB   Revisions to cover memorandum for outline of Mr.       L330     0.50 hrs
                    Marano.

10/23/2012   JALB   Revisions to and reorganization of main outline of     L330     2.80 hrs
                    Mr. Marano.

10/23/2012   JALB   Discussion with Mr. Corcoran and Mr. Beck              L120     0.30 hrs
                    regarding revisions to and reorganization of main
                    outline of Mr. Marano.
10/23/2012   JALB   Discussion with Mr. Lipps of revisions to cover        L120     0.30 hrs
                    memorandum for outline of Mr. Marano.

10/23/2012   JALB   Finalize and circulate draft Mr. Marano's outline.     L330     0.60 hrs


10/23/2012   JALB   Review list of Mr. Marano's themes from Mr. Day        L330     0.20 hrs
                    (Morrison & Foerster).

10/23/2012   JALB   Correspondence regarding Morrison & Foerster           L120     0.10 hrs
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                    theme list.

10/23/2012   JALB   Participate in quality control review protocol        L320     0.60 hrs
                    training.

10/23/2012   JALB   Meet with Ms. Marty and Mr. Corcoran regarding        L120     0.30 hrs
                    status of various document productions and pace
                    and staffing issues.
10/23/2012   JALB   Draft correspondence to Chadbourne regarding          L120     0.20 hrs
                    status of document productions and timing.

10/23/2012   JALB   Follow-up correspondence regarding status of          L120     0.20 hrs
                    document productions and timing.

10/23/2012   JALB   Review of selected e-mails of Mr. Marano for use      L330     1.40 hrs
                    in outline.

10/23/2012   MMM    Continue quality control review of Young possible     L120     5.40 hrs
                    privilege batch 003.

10/23/2012   MMM    Begin quality control review of Young possible        L120     4.60 hrs
                    privilege batch 009.

10/23/2012   DAB    Review e-mails from Ms. Tice (Morrison &              L120     0.20 hrs
                    Foerster) regarding production status of Rescap
                    2012 board minutes.
10/23/2012   DAB    Research examiner production database to try to       L320     1.40 hrs
                    identify gaps in board production materials.

10/23/2012   DAB    Review and comment on draft Marano outline.           L330     0.50 hrs


10/23/2012   JRC    Teleconference with first-level reviewer regarding    L320     0.30 hrs
                    correct coding of documents in Discovery Partner
                    in response to requests from bankruptcy examiner.
10/23/2012   JRC    Conference with Ms. Battle and Ms. Marty              L320     0.40 hrs
                    regarding status of review of documents in
                    response to requests from the bankruptcy
                    examiner.
10/23/2012   JRC    Conference with Ms. Battle regarding materials to     L320     0.20 hrs
                    prepare Mr. Marano (Residential Capital) for his
                    interview with the bankruptcy examiner.
10/23/2012   JRC    Review and analyze documents in Discovery             L320     1.40 hrs
                    Partner in order to locate materials to prepare Mr.
                    Marano (Residential Capital) for his interview with
                    the bankruptcy examiner.
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10/23/2012   JRC    E-mail exchange with Ms. Battle regarding            L120     0.10 hrs
                    materials to prepare Mr. Marano (Residential
                    Capital) for his interview with the bankruptcy
                    examiner.
10/23/2012   JRC    E-mail exchanges with first-level document           L320     0.20 hrs
                    reviewers regarding correct coding of documents
                    in Discovery Partner in response to requests from
                    the bankruptcy examiner.
10/23/2012   SP     Conference with Mr. Beck regarding missing           L320     1.60 hrs
                    materials from board materials. Review produced
                    documents to identify such items.
10/23/2012   SP     Analyze previously designated documents to be        L120     3.10 hrs
                    produced to the bankruptcy examiner relating to
                    Mr. Whitlinger in Discovery Partner for privilege
                    and confidentiality designation.
10/23/2012   SP     Analyze previously designated documents to be        L120     4.80 hrs
                    produced to the bankruptcy examiner relating to
                    Ms. Gess in Discovery Partner for privilege and
                    confidentiality designation.
10/23/2012   GNM    Meeting with Ms. Battle regarding ramped up          L120     1.00 hrs
                    review for Examiner.

10/23/2012   GNM    Meeting with Ms. Sholl regarding status of           L120     0.30 hrs
                    Examiner review.

10/23/2012   GNM    Exchanging e-mails with Mr. Brown (Morrison &        L120     0.60 hrs
                    Foerster) regarding Morrison & Foerster associates
                    on quality control team.
10/23/2012   GNM    Working in Discovery Partner database answering      L320     1.20 hrs
                    reviewer questions regarding responsiveness and
                    privilege determinations.
10/23/2012   GNM    Quality control training for Morrison & Foerster     L320     1.00 hrs
                    associates.

10/23/2012   GNM    New reviewer training for 5 new reviewers.           L320     3.10 hrs


10/23/2012   GNM    Researching to determine whether Board Minutes       L320     0.30 hrs
                    were produced for the February to May 2012 time
                    period.
10/23/2012   GNM    Exchanging e-mails with the new reviewers            L120     0.70 hrs
                    regarding training and database access.

10/23/2012   GNM    Drafting and sending e-mail communication to Ms.     L120     0.50 hrs
                    Gulley (DTI) regarding data for production.
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10/23/2012   SCM    First level review of T. Hamzehpour documents.       L320     0.70 hrs


10/24/2012   VLS    Assignment of document review batches to             L320     0.50 hrs
                    document reviewers. (.40) Update status chart.
                    (.10)
10/24/2012   RBS    Prepare exhibits and references to Mr. Marano's      L310     2.10 hrs
                    memorandum for Mr. Beck.

10/24/2012   TKI    Review documents for responsiveness and              L110     3.70 hrs
                    privilege status.

10/24/2012   JALB   Review proposed topic list from Chadbourne of        L330     0.10 hrs
                    Mr. Marano.

10/24/2012   JALB   Correspondence regarding follow-up plan for          L120     0.20 hrs
                    integrating proposed topic list from Chadbourne of
                    Mr. Marano into main outline.
10/24/2012   JALB   Review proposed topic list from Chadbourne of        L120     0.10 hrs
                    Mr. Marano.

10/24/2012   JALB   Correspondence with Ms. Levitt, Mr. Brown, Mr.       L120     0.40 hrs
                    Salerno (all Morrison & Foerster) and Ms. Marty
                    regarding status of document review project and
                    projected completion date.
10/24/2012   JALB   Correspondence with Mr. Brown and Ms. Martin         L120     0.20 hrs
                    (both Morrison & Foerster) regarding status of
                    document requests propounded by Examiner.
10/24/2012   JALB   Correspondence with Mr. Corcoran regarding           L120     0.20 hrs
                    additional materials for Mr. Whitlinger's
                    preparation session.
10/24/2012   JALB   Correspondence with Mr. Klein (Morrison &            L120     0.30 hrs
                    Foerster) regarding additional materials for Mr.
                    Whitlinger's preparation session.
10/24/2012   JALB   Begin quality control of Whitlinger Partial          L320     1.00 hrs
                    Privilege batch.

10/24/2012   JALB   Discussion with Ms. Levitt, Mr. Klein (Morrison &    L120     0.10 hrs
                    Foerster) and Mr. Beck regarding Ms. Dondzila's
                    supplemental preparation.
10/24/2012   MMM    Continue quality control review of random sample     L120     5.80 hrs
                    of Young possible privilege batch 009.

10/24/2012   MMM    Perform quality control review of documents          L120     3.20 hrs
                    coded as privileged.
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10/24/2012   DAB    Conference with Mr. Samson regarding materials        L120     0.20 hrs
                    needed for Mr. Marano's witness preparation kit.

10/24/2012   DAB    Research public records relevant to examiner          L120     2.20 hrs
                    interview of Mr. Marano.

10/24/2012   DAB    Revise timeline on representation and warranty        L120     1.50 hrs
                    issues.

10/24/2012   DAB    Draft e-mail to Mr. Rains and Mr. Klein (Morrison     L120     0.40 hrs
                    & Foerster) on additional representation and
                    warranty materials relevant to Mr. Whitlinger's
                    deposition preparation.
10/24/2012   DAB    Research materials on representation and warranty     L330     5.90 hrs
                    reserves for Ms. Dondzila's day two preparations.

10/24/2012   JRC    E-mail exchanges with document reviewers              L320     0.20 hrs
                    regarding correct coding of documents in
                    Discovery Partner in response to requests from the
                    bankruptcy examiner.
10/24/2012   JRC    Review and analyze documents in Discovery             L320     1.30 hrs
                    Partner in order to locate interview preparation
                    materials for Mr. Whitlinger (Residential Capital).
10/24/2012   JRC    E-mail exchange with Ms. Battle regarding             L120     0.10 hrs
                    interview preparation materials for Mr. Whitlinger
                    (Residential Capital).
10/24/2012   JDR    Quality control review of documents as outlined in    L320     1.00 hrs
                    quality control protocol and produced in response
                    to examiner requests, batch Lombardo 017 initial
                    review by Massey/Ritzler.
10/24/2012   SP     Analyze previously designated documents to be         L320     3.10 hrs
                    produced to the bankruptcy examiner relating to
                    Mr. Whitlinger in Discovery Partner for privilege
                    and confidentiality designation.
10/24/2012   SP     Analyze previously designated documents to be         L320     5.10 hrs
                    produced to the bankruptcy examiner relating to
                    Ms. Gess in Discovery Partner for privilege and
                    confidentiality designation.
10/24/2012   GNM    Working in Discovery Partner database answering       L320     1.20 hrs
                    reviewer questions regarding responsiveness and
                    privilege determinations.
10/24/2012   GNM    Working in Discovery Partner database performing      L320     2.80 hrs
                    second level review of Ms. Gess data as outlined in
                    the quality control protocol.
10/24/2012   GNM    Drafting and sending e-mail communications to         L120     0.20 hrs
                    Ms. Battle regarding Board Materials previously
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                    produced.
10/24/2012   GNM    Drafting and sending e-mail communications to         L120     0.40 hrs
                    Mr. Brown (Morrison & Foerster) regarding board
                    materials previously produced.
10/24/2012   GNM    E-mail communications with Ms. Mohler                 L120     0.30 hrs
                    regarding privilege determinations.

10/24/2012   GNM    Updating decision log.                                L320     2.60 hrs


10/24/2012   GNM    E-mail communications with Ms. Gulley (DTI)           L120     0.20 hrs
                    regarding data for production.

10/24/2012   SCM    First level review of T. Hamzehpour documents.        L320     1.90 hrs


10/24/2012   SCM    E-mails to Ms. Marty regarding questions on           L120     0.20 hrs
                    privilege review.

10/25/2012   JAL    Conference with Ms. Battle regarding call with        L120     2.00 hrs
                    Morrison Foerster to discuss preparation issues
                    (.30). Participate on conference call with Morrison
                    Foerster team to discuss same (1.00). Review and
                    respond to e-mails regarding scheduling
                    interviewee contact (.40). Review and redraft Ms.
                    Dondzila's supplemental outline (.30)
10/25/2012   RBS    Revise Marano preparation kit. (1.10) Upload          L310     1.70 hrs
                    documents to Morrison and Foerster sharepoint for
                    Mr. Beck. (.60)
10/25/2012   TKI    Review e-mail documents for quality control           L110     1.50 hrs
                    purposes.

10/25/2012   JALB   Review draft Ms. Dondzila's supplemental outline.     L330     0.20 hrs


10/25/2012   JALB   Correspondence with Mr. Beck regarding draft Ms.      L120     0.10 hrs
                    Dondzila's supplemental outline.

10/25/2012   JALB   Revise draft Ms. Dondzila's outline.                  L330     0.20 hrs


10/25/2012   JALB   Continued revisions to Ms. Dondzila's                 L330     0.30 hrs
                    supplemental outline.

10/25/2012   JALB   Correspondence with Mr. Beck regarding revisions      L120     0.20 hrs
                    to Ms. Dondzila's supplemental outline.
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10/25/2012   JALB   Attempts to quality control Mr. Whitlinger's partial   L320     0.90 hrs
                    privilege batch.

10/25/2012   JALB   Discussion with DTI support and Ms. Marty              L120     0.30 hrs
                    regarding attempts to quality control Mr.
                    Whitlinger's partial privilege batch.
10/25/2012   JALB   Telephone conference with Mr. Klein, Mr. Day           L120     0.50 hrs
                    (both Morrison & Foerster) and Mr. Beck
                    regarding updates on Mr. Whitlinger's preparation,
                    key issues, and Mr. Marano's outline.
10/25/2012   JALB   Telephone conference with Mr. Brown, Ms. Tice          L120     0.10 hrs
                    (both Morrison & Foerster) and Ms. Marty
                    regarding missing Board materials.
10/25/2012   JALB   Correspondence regarding position papers               L120     0.20 hrs
                    received.

10/25/2012   JALB   Follow-up discussion with Mr. Lipps regarding          L120     0.10 hrs
                    new Examiner former employee witnesses.

10/25/2012   JALB   Correspondence with Ms. Shank (Residential             L120     0.10 hrs
                    Capital) regarding missing Board materials.

10/25/2012   JALB   Correspondence with Mr. Klein (Morrison &              L120     0.10 hrs
                    Foerster) regarding key points and themes for Mr.
                    Whitlinger.
10/25/2012   JALB   Telephone conference with Ms. Levitt (Morrison &       L120     0.20 hrs
                    Foerster) regarding strategy on position papers and
                    availability of supporting materials.
10/25/2012   JALB   Discussion with Ms. Levitt (Morrison & Foerster)       L120     0.30 hrs
                    and Mr. Lipps regarding new Examiner former
                    employee witnesses.
10/25/2012   MMM    Continue quality control review of Young possible      L120     3.90 hrs
                    privilege batch 009.

10/25/2012   MMM    Begin quality control review of Young possible         L120     2.90 hrs
                    privilege batch 12.

10/25/2012   DAB    Research litigation databases and produced             L330     2.00 hrs
                    documents for materials relevant for examiner
                    interview of Mr. Marano.
10/25/2012   DAB    Draft inserts for Mr. Marano's outline on materials    L330     2.10 hrs
                    found in review of litigation databases.

10/25/2012   DAB    Conference with Mr. Corcoran regarding e-mail          L120     0.40 hrs
                    search needed for Mr. Marano e-mails.
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10/25/2012   DAB    Call with Mr. Illovsky, Mr. Day, Mr. Klein           L120     1.00 hrs
                    (Morrison & Foerster) and Ms. Battle regarding
                    preparations for examiner interviews of Mr.
                    Marano, Mr. Whitlinger and Ms. Dondzila.
10/25/2012   DAB    Draft insets for continuation outline for Ms.        L330     0.80 hrs
                    Dondzila.

10/25/2012   DAB    Draft timeline on key events in history of RMBS      L120     1.60 hrs
                    exposure.

10/25/2012   DAB    Conference with Mr. Beekhuizen regarding key         L120     0.10 hrs
                    issues for examiner third party party position
                    papers.
10/25/2012   JRC    E-mail exchange with first-level document            L320     0.10 hrs
                    reviewer regarding correct coding of documents in
                    Discovery Partner in response to requests from the
                    bankruptcy examiner.
10/25/2012   JDR    Quality control review of first level reviewed       L320     3.90 hrs
                    documents containing select privileged phrases and
                    attorney names produced in response to SEC
                    subpoenas.
10/25/2012   SP     Analyze previously designated documents to be        L320     1.80 hrs
                    produced to the bankruptcy examiner relating to
                    Ms. Gess in Discovery Partner for privilege and
                    confidentiality designation.
10/25/2012   GNM    Working in Discovery Partner database answering      L320     2.80 hrs
                    reviewer questions regarding responsiveness and
                    privilege determinations.
10/25/2012   GNM    Updating Attorney reference list for accurate        L320     1.60 hrs
                    privilege determinations.

10/25/2012   GNM    Performing quality control checks on EXAM112         L320     0.70 hrs
                    production to be sent to Examiner.

10/25/2012   GNM    Drafting and sending e-mail communications to        L120     0.70 hrs
                    Mr. Lipps regarding Residential Capital
                    employment time periods.
10/25/2012   GNM    E-mail communications with Ms. Wafalosky             L120     0.20 hrs
                    (Robert Half Legal) regarding reviewer Ms. Diem.

10/25/2012   SCM    First level review of T. Hamzehpour documents.       L320     0.60 hrs


10/26/2012   JAL    Review creditor position papers related to           L120     2.50 hrs
                    third-party claims (1.10). Conference with Ms.
                    Battle and Mr. Beekhuizen regarding responses to
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                    same (.30). Review and respond to e-mails
                    regarding interviewee contact (.30). Review and
                    respond to supplemental outline (.30). Review and
                    respond to e-mails regarding same (.20). Review
                    and respond to e-mails regarding MBIA expert
                    reports (.30).
10/26/2012   MNB    Meet with Mr. Lipps and Ms. Battle to develop       L120     0.50 hrs
                    strategy for responding to third-party submission
                    papers.
10/26/2012   RBS    Upload Dondzila second day preparation kit to       L310     0.30 hrs
                    Morrison and Foerster sharepoint for Mr. Beck.

10/26/2012   TKI    Review e-mail documents for quality control         L110     1.80 hrs
                    purposes.

10/26/2012   JALB   Begin review and analysis of FGIC position paper.   L120     0.40 hrs


10/26/2012   JALB   Continue review and analysis of FGIC position       L120     1.40 hrs
                    paper.

10/26/2012   JALB   Begin review and analysis of                        L120     0.50 hrs
                    AIG/Allstate/Prudential/Mass Mutual position
                    paper ("investor position paper").
10/26/2012   JALB   Correspondence with Mr. Ruckdaschel                 L120     0.20 hrs
                    (Residential Capital) regarding position papers.

10/26/2012   JALB   Correspondence with Ms. Levitt, Mr. Rains (both     L120     0.20 hrs
                    Morrison & Foerster) and Mr. Lipps regarding
                    MBIA confidentiality issues and Examiner position
                    papers.
10/26/2012   JALB   Discussions with Mr. Beekhuizen and Mr. Lipps       L120     0.90 hrs
                    regarding triage of position papers and response
                    strategy.
10/26/2012   JALB   Discussions with Mr. Beck and Mr. Lipps             L120     0.30 hrs
                    regarding status of Examiner witness preparation.

10/26/2012   JALB   Telephone conference with Mr. Ruckdaschel           L120     0.20 hrs
                    (Residential Capital) regarding FGIC position
                    paper.
10/26/2012   JALB   Review and respond to correspondence from Mr.       L120     0.10 hrs
                    Day (Morrison & Foerster) regarding new witness
                    preparation planning.
10/26/2012   DAB    Draft inserts for Mr. Marano's outline.             L330     0.40 hrs
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10/26/2012   DAB    Conference with Ms. Battle regarding work tasks      L120     0.30 hrs
                    for upcoming examiner interviews and
                    preparations on response papers on third party
                    claims.
10/26/2012   DAB    Conference with Mr. Beekhuizen and Mr. Moeller       L120     0.10 hrs
                    regarding research needed on responding to third
                    party claims.
10/26/2012   DAB    Research materials from MBIA v. RFC relevant to      L120     0.60 hrs
                    responding to third party claims position papers.

10/26/2012   DAB    Draft updated calendar of deadlines in examiner      L120     0.20 hrs
                    and RMBS discovery.

10/26/2012   DAB    Research additional questions for Ms. Dondzila's     L330     1.40 hrs
                    preparation.

10/26/2012   DAB    E-mail Mr. Rains and Ms. Levitt (Residential         L120     0.30 hrs
                    Capital) regarding additional representation and
                    warranty documents relevant to Ms. Dondzila.
10/26/2012   JRC    Review for quality control e-mails of Ms.            L320     1.80 hrs
                    Hamzehpour (Residential Capital) coded in
                    Discovery Partner in response to requests from the
                    bankruptcy examiner.
10/26/2012   JRC    E-mail exchanges with document reviewers             L320     0.30 hrs
                    regarding correct coding of documents in
                    Discovery Partner in response to requests from the
                    bankruptcy examiner.
10/26/2012   JDR    Quality control review of first level reviewed       L320     3.00 hrs
                    documents containing select privileged phrases and
                    attorney names produced in response to SEC
                    subpoenas.
10/26/2012   GNM    Working in Discovery Partner database answering      L320     0.50 hrs
                    reviewer questions regarding responsiveness and
                    privilege determinations.
10/26/2012   GNM    Drafting and sending e-mail communications to        L120     0.40 hrs
                    Ms. Higgins (review team) regarding Cerberus
                    impact on privilege determinations.
10/26/2012   GNM    Drafting and sending e-mail communications to        L120     0.70 hrs
                    Mr. Brown (Morrison & Foerster) regarding
                    review progression.
10/26/2012   GNM    Telephone communications with Ms. Gulley (DTI)       L120     0.50 hrs
                    regarding system latency.

10/26/2012   GNM    Performing quality control check on EXAM111          L320     0.60 hrs
                    production to be sent to Examiner.
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10/26/2012   SCM    Telephone conference with Mr. Beck and Mr.            L120     0.20 hrs
                    Beekhuizen regarding research needed for response
                    to examiner third-party submissions..
10/26/2012   SCM    E-mails to Ms. Marty regarding review questions.      L120     0.10 hrs


10/26/2012   SCM    First level review of T. Hamzehpour documents.        L320     2.00 hrs


10/27/2012   VLS    Assignment of document review batches to              L320     0.50 hrs
                    document reviewers. (.30) Update status chart.
                    (.20)
10/27/2012   JALB   Review and analyze investor litigants' position       L120     1.30 hrs
                    paper submission.

10/27/2012   JRC    Review for quality control e-mails of Ms. Gess        L320     1.20 hrs
                    (Residential Capital) coded by first-level reviewer
                    in Discovery Partner in response to requests from
                    the bankruptcy examiner.
10/27/2012   JRC    Complete quality control feedback form for            L120     0.10 hrs
                    e-mails coded by first-level reviewer.

10/27/2012   SP     Analyze previously designated documents to be         L320     1.90 hrs
                    produced to the bankruptcy examiner relating to
                    Mr. Whitlinger in Discovery Partner for privilege
                    and confidentiality designation.
10/27/2012   SP     Analyze previously designated documents to be         L320     5.20 hrs
                    produced to the bankruptcy examiner relating to
                    Ms. Gess in Discovery Partner for privilege and
                    confidentiality designation.
10/28/2012   AMP    Review e-mails from Ms. Battle and Ms. Marty          L120     0.40 hrs
                    regarding audit committee materials and privilege
                    logs.
10/28/2012   JAL    Review creditor position papers on third-party        L120     7.50 hrs
                    claims (3.00). Outline potential debtor responses
                    (1.00). Review Ms. Dondzila's supplemental
                    documents (1.00). Review and revise preparation
                    outline for Ms. Dondzila (1.00). Review and
                    respond to e-mails regarding Ms. Dondzila's
                    preparation (.30). Review key documents for Ms.
                    Dondzila's preparation (1.20).
10/28/2012   MNB    Review third-party submission papers submitted to     L120     2.30 hrs
                    examiner.

10/28/2012   VLS    Assignment of document review batches to              L320     0.50 hrs
                    document reviewers. (.20) Update status chart.
                    (.30)
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10/28/2012   JALB   Prepare notes regarding position paper response        L120     0.70 hrs
                    strategy for Mr. Beekhuizen.

10/28/2012   MMM    Continue quality control review of Young possible      L120     1.60 hrs
                    privilege batch 12.

10/28/2012   MMM    Begin quality control review of Young possible         L120     4.40 hrs
                    privilege batch 11.

10/28/2012   DAB    Review and analyze first round of third party          L120     0.90 hrs
                    claims submissions to examiner.

10/28/2012   SP     Analyze previously designated documents to be          L320     5.10 hrs
                    produced to the bankruptcy examiner relating to
                    Mr. Whitlinger in Discovery Partner for privilege
                    and confidentiality designation.
10/28/2012   SP     Analyze previously designated documents to be          L320     4.60 hrs
                    produced to the bankruptcy examiner relating to
                    Ms. Gess in Discovery Partner for privilege and
                    confidentiality designation.
10/28/2012   GNM    Working in Discovery Partner database performing       L320     4.30 hrs
                    second level review of Lombardo data as outlined
                    in the quality control protocol.
10/28/2012   GNM    Working in Discovery Partner database answering        L320     5.60 hrs
                    reviewer questions regarding responsiveness and
                    privilege determinations.
10/28/2012   SCM    Review quality control examiner protocol.              L320     0.10 hrs


10/28/2012   SCM    Legal research regarding Delaware LLC's power to       L190     1.10 hrs
                    pierce its own corporate veil.

10/29/2012   AMP    Attention to privilege log issues for production No.   L320     0.80 hrs
                    1.

10/29/2012   AMP    Attention to generating and creating data for log.     L320     0.40 hrs


10/29/2012   JAL    Review creditor position papers on third-party         L120     6.50 hrs
                    claims (1.00). Attention to outlining potential
                    debtor responses (.40). Conference call with Ms.
                    Battle, Mr. Beck and Mr. Beekhuizen to discuss
                    same (.80). Review and respond to e-mails
                    regarding logistics for Ms. Dondzila's preparation
                    (.20). Review Ms. Dondzila's supplemental
                    preparation documents and outline (.50).
                    Conference with Ms. Dondzila, Mr. Levitt and Mr.
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                    Klein (Morrison & Foerster) to prepare for Ms.
                    Dondzila's examiner interview (3.0). Draft e-mail
                    to Mr. Levitt regarding proposed approach for
                    response to third-party claim position papers (.20).
                    Review e-mails regarding MBIA request to lift
                    RFC case confidentiality (.40).
10/29/2012   MNB    Review background materials, including briefs          L120     1.70 hrs
                    from other lawsuits, in order to prepare outline of
                    substantive response to submission papers.
10/29/2012   VLS    Monitor review status of expanded document             L320     5.40 hrs
                    review and document quality control teams. (2.40)
                    Assignment of review and quality control batches.
                    (1.80) Update progress chart. (1.20)
10/29/2012   VLS    E-mail exchange with Ms. Battle and Mr.                L110     0.20 hrs
                    Beekhuizen regarding Federal Home Loan Bank
                    cases.
10/29/2012   VLS    Assemble requested material regarding Federal          L110     0.40 hrs
                    Home Loan Bank.

10/29/2012   JALB   Review status of matters and upcoming                  L120     0.10 hrs
                    teleconferences and communicate regarding same
                    with Mr. Lipps.
10/29/2012   JALB   Meet with Mr. Lipps, Mr. Beekhuizen and Mr.            L120     1.10 hrs
                    Beck to triage position papers submitted to
                    Examiner and map out next steps.
10/29/2012   JALB   Prepare preliminary draft outline of proposed          L120     0.30 hrs
                    response regarding triage position papers submitted
                    to Examiner.
10/29/2012   JALB   Participate in weekly coordination meeting with        L120     0.70 hrs
                    Mr. Illovsky, Mr. Day (both Morrison & Foerster)
                    and Mr. Beck regarding next steps on Examiner
                    witness preparation issues.
10/29/2012   JALB   E-mails to Mr. Lipps regarding coordination of         L120     0.30 hrs
                    Examiner position paper responses.

10/29/2012   JALB   Correspondence with Ms. Gulley (DTI) and Ms.           L120     0.10 hrs
                    Marty regarding review of Novatus contract
                    documents.
10/29/2012   JALB   Telephone conference with Mr. Redmond (former          L120     0.30 hrs
                    Residential Capital employee).

10/29/2012   JALB   Prepare note to Mr. Lipps regarding telephone          L120     0.10 hrs
                    conference with Mr. Redmond (former Residential
                    Capital employee).
10/29/2012   JALB   Gather materials for call with Chadbourne              L120     0.80 hrs
                    regarding MBIA confidentiality issues.
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10/29/2012   JALB   Gather materials for call with Chadbourne             L120     0.80 hrs
                    regarding MBIA confidentiality issues.

10/29/2012   JALB   Telephone conferences and correspondence with         L120     0.40 hrs
                    Ms. Zellmann (Residential Capital) regarding
                    information gathering for Examiner position paper
                    responses.
10/29/2012   JALB   Telephone conference with Mr. Redmond (former         L120     0.10 hrs
                    Residential Capital employee).

10/29/2012   DJB    Quality check and provide feedback to contract        L120     6.10 hrs
                    reviewers' first level coding of documents for
                    custodian Young (coded by Robert Ritzler)
                    potentially responsive to Examiner document
                    requests for responsiveness and privilege.
10/29/2012   DJB    Quality check and provide feedback to contract        L120     6.80 hrs
                    reviewers' first level coding of documents for
                    custodian Young (coded by Robert Ritzler)
                    potentially responsive to Examiner document
                    requests for redactions and issues.
10/29/2012   MMM    Continue quality control review of Young possible     L120     0.90 hrs
                    privilege batch 12.

10/29/2012   MMM    Continue quality control review of Young possible     L120     1.90 hrs
                    privilege batch 11.

10/29/2012   MMM    Continue quality control review of Young possible     L120     1.00 hrs
                    privilege batch 11.

10/29/2012   MMM    Begin quality control review of Gess batch 004        L120     2.80 hrs
                    documents coded as privileged.

10/29/2012   MMM    Begin quality control review of Gess batch 004        L120     3.50 hrs
                    documents coded as privileged but does not
                    contain privileged terms.
10/29/2012   DAB    Review submission papers to examiner on third         L120     0.80 hrs
                    party claims.

10/29/2012   DAB    Meeting with Mr. Lipps, Mr. Beekhuizen, and Ms.       L120     0.80 hrs
                    Battle regarding issues raised in submission papers
                    to examiner on third party claims and strategy for
                    Debtors' responses.
10/29/2012   DAB    Discuss with Mr. Beekhuizen and Ms. Battle            L120     0.20 hrs
                    division of tasks on response to examiner's work
                    papers.
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10/29/2012   DAB    Communicate with Ms. Battle regarding                  L120     0.10 hrs
                    preparation for upcoming examiner interviews.

10/29/2012   DAB    Call with Mr. Ilovsky, Mr. Day (Morrison &             L120     0.70 hrs
                    Foerster) and Ms. Battle regarding preparations for
                    upcoming examiner interviews and division of
                    labor.
10/29/2012   DAB    Research additional audit committee materials          L330     3.90 hrs
                    relevant to examiner interview of Ms. Dondzila.

10/29/2012   DAB    Communicate with Mr. Lipps regarding additional        L120     0.10 hrs
                    research needed on audit committee materials.

10/29/2012   DAB    Communicate with Mr. Klein (Morrison &                 L120     0.20 hrs
                    Foerster) regarding relevant audit committee
                    minutes to examiner interview of Ms. Dondzila.
10/29/2012   JRC    Review for quality control e-mails of Mr. Young        L320     0.70 hrs
                    (Residential Capital) coded by first-level reviewers
                    in Discovery Partner.
10/29/2012   JRC    Review and analyze documents identified by             L320     0.20 hrs
                    first-level reviewers in order to provide
                    instructions on correct coding under bankruptcy
                    examiner document review protocol.
10/29/2012   JRC    E-mail exchanges with first-level document             L320     0.10 hrs
                    reviewers regarding the protocol for review of
                    documents requested by the bankruptcy examiner.
10/29/2012   JDR    Review quality control corrections and notes from      L320     0.70 hrs
                    Mr. Corcoran regarding Hamzehpour documents
                    produced in response to examiner requests.
10/29/2012   SP     Analyze previously designated documents to be          L320     1.10 hrs
                    produced to the bankruptcy examiner relating to
                    Mr. Whitlinger in Discovery Partner for privilege
                    and confidentiality designation.
10/29/2012   SP     Analyze previously designated documents to be          L320     5.40 hrs
                    produced to the bankruptcy examiner relating to
                    Ms. Gess in Discovery Partner for privilege and
                    confidentiality designation.
10/29/2012   GNM    Working in Discovery Partner database answering        L320     5.30 hrs
                    reviewer questions regarding responsiveness and
                    privilege determinations.
10/29/2012   GNM    E-mail communications with Ms. Chang (Morrison         L120     0.20 hrs
                    & Foerster) regarding productions deadline for
                    Examiner review.
10/29/2012   GNM    E-mail communications with Mr. Corcoran                L120     0.20 hrs
                    regarding redaction protocol.
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10/29/2012   GNM    E-mail communications with Ms. Klun (Lumen             L120     0.40 hrs
                    Legal) regarding staffing levels.

10/29/2012   GNM    E-mail communications with Ms. Gulley (DTI)            L120     0.20 hrs
                    regarding data configuration in the system.

10/29/2012   AJM    Quality control review of documents to be              L320     0.80 hrs
                    produced in response to examiner requests, batch
                    Whitlinger Possibly Privileged 10, initial review
                    done by Ms. Walker.
10/29/2012   AJM    Quality control review of documents to be              L320     7.90 hrs
                    produced in response to examiner requests: batch
                    Lombardo Possibly Privileged 3, initial review
                    done by Ms. Walker.
10/29/2012   AJM    Quality control review of documents to be              L320     0.50 hrs
                    produced in response to examiner requests: batch
                    Lombardo Possibly Privileged 8, initial review
                    done by Ms. Salahuddin.
10/29/2012   AJM    Quality control review of documents to be              L320     0.90 hrs
                    produced in response to examiner requests: batch
                    Whitlinger responsive only 04, initial review done
                    by Ms. Diem.
10/29/2012   SCM    Legal research regarding power of a Delaware           L190     2.00 hrs
                    entity to pierce its own veil.

10/30/2012   AMP    Conference with Mr. Barthel regarding key              L120     0.10 hrs
                    officers.

10/30/2012   AMP    Draft key officers memorandum.                         L120     0.30 hrs


10/30/2012   JAL    Prepare for conference call to discuss use of MBIA     L120     6.30 hrs
                    expert responses (1.20). Review and respond to
                    e-mail regarding same (.30). Participate on
                    conference call to discuss additional examiner
                    interview requests (1.00). Participate on conference
                    call to discuss witness interview schedule (1.00).
                    Conference call regarding position paper response
                    with Mr. Illovsky, Mr. Rains, Ms. Levitt and Ms.
                    Barrage (Moorison & Foerster) and Ms. Battle
                    (.50). Review and redraft outline for position paper
                    response (1.50). Review and respond to e-mails
                    with Mr. Beck, Mr. Beekhuizen, and Ms. Battle
                    regarding revisions to outline (.80).
10/30/2012   VLS    Monitor review status of expanded document             L320     6.80 hrs
                    review and document quality control teams. (3.1)
                    Assignment of review and quality control batches.
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                    (3.3) Update progress chart. (.40)
10/30/2012   VLS    Review spreadsheet received from Ms. Wong at         L320     0.80 hrs
                    Profile identifying groupings for seller files for
                    PDF conversion. (.40) Edit spreadsheet to correct
                    some grouping. (.30) Return to Ms. Wong. (.10)
10/30/2012   VLS    E-mail exchange and telephone conference with        L320     0.60 hrs
                    Mr. Shipler at DTI regarding errors with the .dat
                    file for seller production 1.
10/30/2012   JALB   Review and revise proposed outline for position      L120     0.30 hrs
                    paper responses.

10/30/2012   JALB   Correspondence with Mr. Salerno, Mr Brown (both      L120     0.40 hrs
                    Morrison & Foerster), Ms. Marty, and Morrison &
                    Foerster Quality Control review team regarding
                    status and pace of quality control review.
10/30/2012   JALB   Telephone conference with Mr. Illovsky, Mr.          L120     0.50 hrs
                    Rains, Ms. Levitt, Ms. Barrage (all Morrison &
                    Foerster) and Mr. Lipps regarding strategy and
                    division of labor for position paper responses.
10/30/2012   JALB   Review and analyze Steering Committee position       L120     0.40 hrs
                    paper.

10/30/2012   JALB   Correspondence with Mr. Lipps regarding strategy     L120     0.10 hrs
                    for responding to Steering Committee position
                    paper.
10/30/2012   JALB   Review and analyze Steering Committee and            L120     0.40 hrs
                    Talcot Franklin position papers.

10/30/2012   JALB   Prepare draft outline regarding response to          L120     0.70 hrs
                    Steering Committee and Talcot Franklin position
                    papers.
10/30/2012   JALB   Correspondence with Mr. Beck and Mr. Lipps           L120     0.10 hrs
                    regarding 10-Ks and registration statements.

10/30/2012   DJB    Research and create chart of employers, positions,   L120     4.80 hrs
                    and dates of employment for Ralph Flees, Barry
                    Bier, Bruce Paradis, Jim Redmond and David
                    Applegate in preparation for Examiner interviews.
10/30/2012   MMM    Continue quality control review of Gess batch 004.   L120     3.70 hrs


10/30/2012   MMM    Begin quality control of Gess batch 12.              L120     0.60 hrs


10/30/2012   DAB    Analyze Thrivent settlement confidentiality          L120     0.40 hrs
                    provisions and ability to disclose to examiner.
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10/30/2012   DAB    Revise outline of response strategy to position       L120     0.70 hrs
                    papers on third party releases sent to examiner.

10/30/2012   JRC    Draft e-mail to first-level document reviewer         L320     0.10 hrs
                    providing quality control feedback.

10/30/2012   JRC    Conference with Mr. Ibom regarding correct            L320     0.10 hrs
                    coding of documents under bankruptcy examiner
                    review protocol.
10/30/2012   JRC    E-mail exchanges with first-level document            L320     0.30 hrs
                    reviewers regarding the protocol for review of
                    documents requested by the bankruptcy examiner.
10/30/2012   JRC    Review and analyze documents identified by            L320     0.30 hrs
                    first-level reviewers in order to provide
                    instructions on correct coding under bankruptcy
                    examiner document review protocol.
10/30/2012   JDR    Finalize quality control review and feedback of       L320     0.50 hrs
                    documents as outlined in quality control protocol
                    and produced in response to examiner requests,
                    batch Lombardo 017 initial review by
                    Massey/Ritzler.
10/30/2012   JDR    Quality control review of documents as outlined in    L320     4.70 hrs
                    quality control protocol and produced in response
                    to examiner requests, batch Whitlinger 008, initial
                    review by Small.
10/30/2012   SP     Analyze previously designated documents to be         L320     4.40 hrs
                    produced to the bankruptcy examiner relating to
                    Mr. Young in Discovery Partner for privilege and
                    confidentiality designation.
10/30/2012   SP     Analyze previously designated documents to be         L320     1.20 hrs
                    produced to the bankruptcy examiner relating to
                    Ms. Gess in Discovery Partner for privilege and
                    confidentiality designation.
10/30/2012   SP     Analyze previously designated documents to be         L320     2.40 hrs
                    produced to the bankruptcy examiner relating to
                    Mr. Whitlinger in Discovery Partner for privilege
                    and confidentiality designation.
10/30/2012   GNM    Working in Discovery partner database performing      L320     3.50 hrs
                    second level review

10/30/2012   GNM    Working in Discovery Partner database answering       L320     2.90 hrs
                    reviewer questions regarding responsiveness and
                    privilege determinations.
10/30/2012   GNM    Updating decision log.                                L320     2.10 hrs
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10/30/2012   GNM    Drafting memorandum for Ms. Battle to send to          L120     0.90 hrs
                    review team.

10/30/2012   GNM    E-mail communications with Mr. Barthel regarding       L120     0.20 hrs
                    previously produced organizational charts.

10/30/2012   GNM    Drafting and sending e-mail communications to          L120     0.40 hrs
                    Ms. Battle regarding Morrison & Foerster quality
                    control team.
10/30/2012   GNM    Telephone communications with Ms. Hancock              L120     0.10 hrs
                    (Bradley Arant) regarding confidentiality
                    agreements.
10/30/2012   GNM    Drafting and sending e-mail communications to          L120     0.40 hrs
                    Ms. Gulley (DTI) regarding data ready for
                    production.
10/30/2012   AJM    Quality control review of documents to be              L320     2.50 hrs
                    produced in response to examiner requests: batch
                    Whitlinger responsive only 04, initial review done
                    by Ms. Diem.
10/30/2012   SCM    Legal research regarding Delaware LLC ability to       L190     2.60 hrs
                    pierce its own corporate veil.

10/30/2012   SCM    Draft e-mail regarding research to Mr. Beck.           L190     0.60 hrs


10/31/2012   JAL    Multiple conference calls regarding witness            L120     4.10 hrs
                    availability for interviews by examiner (1.00).
                    Multiple e-mails with Morrison & Foerster team
                    regarding examiner interview schedule. (.80)
                    Communicate with Ms. Battle and Mr. Beck
                    regarding response to institutional investor paper.
                    (.30) Review and respond to e-mails on MBIA
                    issues. (.40) Review institutional investor position
                    paper. (.80) Review FGIC position paper. (.80)
10/31/2012   VLS    Monitor review status of expanded document             L320     8.20 hrs
                    review and document quality control teams. (4.10)
                    Assignment of review and quality control batches.
                    (3.90) Update progress chart. (.20)
10/31/2012   VLS    Review database completion report. (.40) Update        L320     1.10 hrs
                    production status log to include completion
                    percentage information on each outstanding batch
                    of documents. (.70)
10/31/2012   VLS    E-mail exchange with Ms. Gulley and Mr. Shipler        L320     0.30 hrs
                    at DTI regarding account deactivation for several
                    document reviewers who have left the project.
10/31/2012   VLS    Receipt from Mr. Shipler at DTI of revised .dat file   L320     0.30 hrs
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                    for seller file production 1. (.20) Forward same to
                    Ms. Wong at Profile. (.10)
10/31/2012   RBS    Prepare notebooks of 10-K reports for Mr. Lipps       L310     1.20 hrs
                    and Ms. Battle.

10/31/2012   JALB   Prepare draft outline of response to Institutional    L120     0.80 hrs
                    Investors' submissions.

10/31/2012   JALB   Begin preparing detailed outline for position paper   L120     0.50 hrs
                    responses.

10/31/2012   JALB   Review and respond to correspondence among Ms.        L120     0.30 hrs
                    Levitt, Mr. Salerno (Morrison & Foerster) and Ms.
                    Marty regarding timing for completion of "wave 2"
                    e-mail discovery.
10/31/2012   JALB   Correspondence with Mr. Beck and Mr. Lipps            L120     0.20 hrs
                    regarding status of PSAs and response to
                    Institutional Investor submissions.
10/31/2012   JALB   Follow-up discussion with Mr. Beck regarding          L120     0.20 hrs
                    status of PSAs and response to Institutional
                    Investor submissions.
10/31/2012   JALB   Follow-up discussion with Ms. Levitt (Morrison &      L120     0.10 hrs
                    Foerster) regarding status of PSAs and response to
                    Institutional Investor submissions.
10/31/2012   JALB   Discussion with Ms. Levitt (Morrison & Foerster)      L120     0.20 hrs
                    regarding planning and strategy for position paper
                    responses.
10/31/2012   DJB    Quality check and provide feedback to contract        L120     5.90 hrs
                    reviewers' first level coding of documents for
                    custodian Young possible privilege 001 (coded by
                    Mr. Parker) potentially responsive to Examiner
                    document requests for responsiveness and
                    privilege.
10/31/2012   DJB    Quality check and provide feedback to contract        L120     6.80 hrs
                    reviewers' first level coding of documents for
                    custodian Young possible privilege 001 (coded by
                    Mr. Parker) potentially responsive to Examiner
                    document requests for redactions and issues.
10/31/2012   MMM    Continue quality control review of Gess batch 12      L120     4.20 hrs
                    documents coded as privileged.

10/31/2012   MMM    Continue quality control review of documents          L120     2.30 hrs
                    coded as not privileged but contain privileged
                    terms in Gess batch 12.
10/31/2012   DAB    Research production databases for materials           L320     0.80 hrs
                    relevant to Kathy Patrick noteholder group position
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                    paper to examiner.
10/31/2012   DAB    Call with Ms. Levitt (Morrison & Foerster) and         L120     0.10 hrs
                    Ms. Battle regarding issues on Ms. Patrick's
                    noteholder position paper.
10/31/2012   DAB    Research issues regarding settlement and plan          L120     1.30 hrs
                    support agreement with noteholder group related to
                    Gibbs & Brun position paper to examiner.
10/31/2012   DAB    Communicate with Ms. Battle regarding possible         L120     0.30 hrs
                    arguments on Gibbs & Brun's position paper.

10/31/2012   JRC    E-mail exchange with first-level document              L320     0.10 hrs
                    reviewer regarding correct coding of documents
                    under the bankruptcy examiner review protocol.
10/31/2012   JRC    Review and analyze public filings in order to          L320     2.40 hrs
                    locate preparation materials for the SEC's
                    interviews of Residential Capital employees.
10/31/2012   JRC    Review and analyze documents in Discovery              L320     3.70 hrs
                    Partner in order to locate preparation materials for
                    the SEC's interviews of Residential Capital
                    employees.
10/31/2012   JDR    Finalize quality control feedback for Whitlinger       L320     0.20 hrs
                    008 and draft correspondence to first level
                    reviewer.
10/31/2012   JDR    Complete quality control review of documents as        L320     2.60 hrs
                    outlined in quality control protocol and produced
                    in response to examiner requests, batch Whitlinger
                    008, initial review by Small.
10/31/2012   GNM    Working in Discovery Partner database answering        L320     2.90 hrs
                    reviewer questions regarding responsiveness and
                    privilege determinations.
10/31/2012   GNM    Telephone communications with Ms. Gulley (DTI)         L120     0.10 hrs
                    regarding new reviewer training.

10/31/2012   GNM    Drafting and sending e-mail communications to          L120     0.40 hrs
                    Mr. Kitano (Morrison & Foerster) regarding
                    privilege determinations.
10/31/2012   GNM    Meeting with Ms. Sholl regarding status of             L120     1.00 hrs
                    Examiner review.

10/31/2012   GNM    Drafting and sending e-mail communications to          L120     0.50 hrs
                    Ms. Battle regarding new data for Examiner
                    review.
10/31/2012   GNM    New reviewer training for Morrison & Foerster          L320     3.10 hrs
                    associates.
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10/31/2012   GNM    Drafting and sending e-mail communications to                L120      0.30 hrs
                    Mr. Kapadia (Morrison & Foerster) regarding
                    privilege determinations.
10/31/2012   GNM    Drafting and sending e-mail to Ms. Simon and Mr.             L120      0.20 hrs
                    Cooper (Morrison & Foerster regarding new
                    reviewer training.
10/31/2012   GNM    E-mail communications with Ms. Gulley (DTI)                  L120      0.10 hrs
                    regarding new user accounts.

10/31/2012   AJM    Quality control review of documents to be                    L320      1.30 hrs
                    produced in response to examiner requests: batch
                    Whitlinger responsive only 04, initial review done
                    by Ms. Diem.
10/31/2012   AJM    Quality control review of documents to be                    L320      7.70 hrs
                    produced in response to examiner requests: batch
                    Lombardo possibly privileged 8, initial review
                    done by Ms. Salahuddin.
10/31/2012   SCM    E-mail to Mr. Beck summarizing legal research                L190      0.60 hrs
                    regarding Delaware entity's power to pierce its own
                    corporate veil.
10/31/2012   SCM    Quality control review of Lombardo RO 004                    L320      2.20 hrs
                    documents.



                    TOTAL FEES FOR THIS MATTER                                          $227,890.00

EXPENSES

10/01/2012          Delivery Service/Messengers - Federal Express to Mr. Levitt of               $65.22
                    Morrison & Foerster from Mr. Beck

10/03/2012          Delivery Service/Messengers - Federal Express to Mr. Lipps              $139.21
                    from Mr. Beck

10/05/2012          (TRIP-JAL-10/4-5/12) Out-of-Town Travel/Airfare - travel to             $842.39
                    New York City for preparation and interview by examiner of Ms.
                    Hamzehpour

10/05/2012          (TRIP-JAL-10/4-5/12) Out-of-Town Travel/Hotel - travel to New           $438.41
                    York City for preparation and interview by examiner of Ms.
                    Hamzehpour

10/05/2012          (TRIP-JAL-10/4-5/12) Out-of-Town Travel/Food/Beverage -                       $5.00
                    travel to New York City for preparation and interview by
                    examiner of Ms. Hamzehpour

10/05/2012          (TRIP-JAL-10/4-5/12) Out-of-Town Travel/Food/Beverage -                      $95.00
                    travel to New York City for preparation and interview by
                    examiner of Ms. Hamzehpour
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10/05/2012          (TRIP-JAL-10/4-5/12) Out-of-Town Travel/Food/Beverage -                        $17.50
                    travel to New York City for preparation and interview by
                    examiner of Ms. Hamzehpour

10/05/2012          (TRIP-JAL-10/4-5/12) Out-of-Town Travel/Food/Beverage -                        $15.00
                    travel to New York City for preparation and interview by
                    examiner of Ms. Hamzehpour

10/05/2012          (TRIP-JAL-10/4-5/12) Out-of-Town Travel/Taxi - travel to New                   $46.00
                    York City for preparation and interview by examiner of Ms.
                    Hamzehpour

10/05/2012          (TRIP-JAL-10/4-5/12) Out-of-Town Travel/Car Service - travel                   $60.00
                    to New York City for preparation and interview by examiner of
                    Ms. Hamzehpour

10/05/2012          (TRIP-JAL-10/4-5/12) Out-of-Town Travel/Bellman - travel to                    $10.00
                    New York City for preparation and interview by examiner of Ms.
                    Hamzehpour

10/05/2012          (TRIP-JAL-10/4-5/12) Out-of-Town Travel/Parking @ Port                         $68.00
                    Columbus - travel to New York City for preparation and
                    interview by examiner of Ms. Hamzehpour

10/05/2012          (TRIP-JAL-10/4-5/12) Out-of-Town Travel/Mileage to/from Port                    $6.60
                    Columbus (12 miles X .55) - travel to New York City for
                    preparation and interview by examiner of Ms. Hamzehpour

10/07/2012          Litigation Support Vendors - Lumen Legal (services for 9/24/12           $12,048.9
                    to 10/7/12)                                                                      2

10/08/2012          Delivery Service/Messengers - Federal Express to Mr. Lipps                     $91.81
                    from Mr. Lipps of deposition preparation materials

10/11/2012          Litigation Support Vendors - Robert Half International (services         $45,334.5
                    for 9/1/12 to 9/28/12)                                                           9

10/12/2012          Delivery Service/Messengers - Federal Express to Mr. Day of                    $98.25
                    Morrison & Foerster from Mr. Beck

10/21/2012          Litigation Support Vendors - Lumen Legal (services for 10/8/12           $27,214.9
                    to 10/21/12)                                                                     6

10/21/2012          Litigation Support Vendors - Lumen Legal (services for 10/8/12           $12,923.4
                    to 10/21/12)                                                                     0

10/26/2012          Delivery Service/Messengers - Federal Express to Mr. Lipps                $176.72
                    from Ms. Scaggs

10/31/2012          (TRIP-JAL-10/28-31/12) Out-of-Town Travel/Airfare - travel to             $505.30
                    New York City to attend examiner interview of Ms. Dondzila

10/31/2012          (TRIP-JAL-10/28-31/12) Out-of-Town Travel/Hotel - travel to               $908.40
                    New York City to attend examiner interview of Ms. Dondzila
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10/31/2012          (TRIP-JAL-10/28-31/12) Out-of-Town Travel/Taxi - travel to                  $45.37
                    New York City to attend examiner interview of Ms. Dondzila

10/31/2012          (TRIP-JAL-10/28-31/12) Out-of-Town Travel/Food/Beverage -                   $14.86
                    travel to New York City to attend examiner interview of Ms.
                    Dondzila

10/31/2012          (TRIP-JAL-10/28-31/12) Out-of-Town Travel/Food/Beverage -                   $85.14
                    travel to New York City to attend examiner interview of Ms.
                    Dondzila

10/31/2012          (TRIP-JAL-10/28-31/12) Out-of-Town Travel/Food/Beverage -                   $17.50
                    travel to New York City to attend examiner interview of Ms.
                    Dondzila

10/31/2012          (TRIP-JAL-10/28-31/12) Out-of-Town Travel/Food/Beverage -                   $16.29
                    travel to New York City to attend examiner interview of Ms.
                    Dondzila

10/31/2012          (TRIP-JAL-10/28-31/12) Out-of-Town Travel/Food/Beverage -                   $52.00
                    travel to New York City to attend examiner interview of Ms.
                    Dondzila

10/31/2012          (TRIP-JAL-10/28-31/12) Out-of-Town Travel/Food/Beverage -                   $17.50
                    travel to New York City to attend examiner interview of Ms.
                    Dondzila

10/31/2012          (TRIP-JAL-10/28-31/12) Out-of-Town Travel/Food/Beverage -                    $9.72
                    travel to New York City to attend examiner interview of Ms.
                    Dondzila

10/31/2012          (TRIP-JAL-10/28-31/12) Out-of-Town Travel/Food/Beverage -                   $52.15
                    travel to New York City to attend examiner interview of Ms.
                    Dondzila

10/31/2012          (TRIP-JAL-10/28-31/12) Out-of-Town Travel/Bellman - travel to                $5.00
                    New York City to attend examiner interview of Ms. Dondzila

10/31/2012          (TRIP-JAL-10/28-31/12) Out-of-Town Travel/Car Service -                     $66.00
                    travel to New York City to attend examiner interview of Ms.
                    Dondzila

10/31/2012          (TRIP-JAL-10/28-31/12) Out-of-Town Travel/Rental Car - travel          $467.18
                    to New York City to attend examiner interview of Ms. Dondzila

10/31/2012          (TRIP-JAL-10/28-31/12) Out-of-Town Travel/Tolls - travel to                 $38.30
                    New York City to attend examiner interview of Ms. Dondzila

10/31/2012          (TRIP-JAL-10/28-31/12) Out-of-Town Travel/Gasoline for                      $41.00
                    Rental Car - Return from New York City after cancelled
                    examiner interview of Ms. Dondzila
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10/31/2012              (TRIP-JAL-10/28-31/12) Out-of-Town Travel/Parking @ Port                     $68.00
                        Columbus - travel to New York City to attend examiner interview
                        of Ms. Dondzila

10/31/2012              (TRIP-JAL-10/28-31/12) Out-of-Town Travel/Milegae to/from                     $6.60
                        Port Columbus (12 miles X .55) - travel to New York City to
                        attend examiner interview of Ms. Dondzila

10/31/2012              (TRIP-JAL-10/28-31/12) Out-of-Town Travel/American Express                   $44.00
                        cancellation fees - travel to New York City to attend examiner
                        interview of Ms. Dondzila

                        TOTAL EXPENSES FOR THIS MATTER                                      $102,157.29


BILLING SUMMARY


         Molnar, Anthony J.                         81.70 hrs    210.00 /hr       $17,157.00


         Paul, Angela M.                            12.80 hrs    250.00 /hr        $3,200.00


         Stone, Brittany N.                          4.00 hrs     75.00 /hr           $300.00


         Beck, David A.                            107.60 hrs    230.00 /hr       $24,748.00


         Barthel, David J.                          91.60 hrs    210.00 /hr       $19,236.00


         Marty, Gretchen N.                        167.20 hrs    150.00 /hr       $25,080.00


         Lipps, Jeffrey A.                          73.50 hrs    360.00 /hr       $26,460.00


         Battle, Jennifer A.L.                      83.50 hrs    250.00 /hr       $20,875.00


         Rhode, Jacob D.                            70.90 hrs    160.00 /hr       $11,344.00


         Corcoran, Jeffrey R.                       60.40 hrs    180.00 /hr       $10,872.00


         Mohler, Mallory M.                        147.60 hrs    160.00 /hr       $23,616.00


         Beekhuizen, Michael N.                      6.60 hrs    250.00 /hr        $1,650.00
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      Samson, Robert B.                       6.50 hrs    75.00 /hr        $487.50


      Moeller, Steven C.                     42.50 hrs   200.00 /hr     $8,500.00


      Phillips, Segev                       114.10 hrs   220.00 /hr    $25,102.00


      Ibom, Tyler K.                         24.20 hrs   150.00 /hr     $3,630.00


      Sholl, Veronica L.                     75.10 hrs    75.00 /hr     $5,632.50



   TOTAL FEES                              1169.80 hrs                $227,890.00

   TOTAL EXPENSES                                                     $102,157.29

   TOTAL CHARGES FOR THIS INVOICE                                     $330,047.29
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         OHIO
      LITIGATION
       MATTERS
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                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                         November 15, 2012

                                                                  Billed through 10/31/2012
Tammy Hamzephour                                                  Invoice # 51825      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 621 01122
190-FTW-L95
Fort Washington, PA 19034

Re: Michael A. Fox
Matter No.: 704281

PROFESSIONAL SERVICES

10/01/2012   DAW       Conference with Mr. Sechler regarding oral                 L120        0.20 hrs
                       argument and Sixth District standing position.



                       TOTAL FEES FOR THIS MATTER                                                $52.00


BILLING SUMMARY


         Wallace, David A.                            0.20 hrs    260.00 /hr         $52.00



     TOTAL FEES                                       0.20 hrs                      $52.00

     TOTAL CHARGES FOR THIS INVOICE                                                 $52.00
       12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
                               Monthly Invoices Pg 463 of 1163
                         CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                         November 15, 2012

                                                                  Billed through 10/31/2012
Tammy Hamzephour                                                  Invoice # 51826      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 621 01124
190-FTW-L95
Fort Washington, PA 19034

Re: Nicholas Stincic
Matter No.: 705844

PROFESSIONAL SERVICES

10/17/2012    DAW      Review payment records in reference to                     L120        1.90 hrs
                       responding to Mr. Stincic's questions.

10/25/2012    DAW      Review e-mail regarding results of investigation of        L120        0.10 hrs
                       payment history.

10/25/2012    DAW      Telephone conference with Ms. Frame and Ms. Ho             L120        0.50 hrs
                       (Residential Capital, LLC) regarding payment and
                       account issues.
10/25/2012    DAW      Draft e-mail to Ms. Frame and Ms. Ho (Residential          L120        0.10 hrs
                       Capital, LLC) regarding payment and account
                       issues.


                       TOTAL FEES FOR THIS MATTER                                              $676.00


BILLING SUMMARY


          Wallace, David A.                           2.60 hrs    260.00 /hr        $676.00



      TOTAL FEES                                      2.60 hrs                     $676.00

      TOTAL CHARGES FOR THIS INVOICE                                               $676.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27    Exhibit E
621 01124                 Monthly Invoices Pg 464 of 1163
                                                       Invoice # 51826       Page 2
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27               Exhibit E
                              Monthly Invoices Pg 465 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                          November 15, 2012

                                                                     Billed through 10/31/2012
Tammy Hamzephour                                                     Invoice # 51827      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 621 01127
190-FTW-L95
Fort Washington, PA 19034

Re: Diane E. Clark
Matter No.: 705862

PROFESSIONAL SERVICES

10/25/2012   DAW       Review e-mail from Ms. Ho (Residential Capital,               L120        0.10 hrs
                       LLC) regarding original collateral file.

10/26/2012   DAW       Draft e-mail regarding original collateral file.              L120        0.10 hrs


10/29/2012   DAW       Review Court's order and notice of sale.                      L120        0.10 hrs




                       TOTAL FEES FOR THIS MATTER                                                   $78.00

EXPENSES

10/26/2012             Delivery Service/Messengers - Federal Express to Ms. Ho from                 $26.79
                       Mr. Wallace

                       TOTAL EXPENSES FOR THIS MATTER                                               $26.79


BILLING SUMMARY


         Wallace, David A.                              0.30 hrs    260.00 /hr          $78.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
621 01127                 Monthly Invoices Pg 466 of 1163
                                                       Invoice # 51827         Page 2
   TOTAL FEES                               0.30 hrs                      $78.00

   TOTAL EXPENSES                                                         $26.79

   TOTAL CHARGES FOR THIS INVOICE                                        $104.79
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
                              Monthly Invoices Pg 467 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                        November 15, 2012

                                                                 Billed through 10/31/2012
Tammy Hamzephour                                                 Invoice # 51828      JAL
Residential Capital, LLC
1100 Virginia Drive                                              Our file # 621 01140
190-FTW-L95
Fort Washington, PA 19034

Re: Freddie Hoop
Matter No.: 709674

PROFESSIONAL SERVICES

10/03/2012   DAW       Draft e-mail to Ms. Ho (Residential Captial, LLC)         L120        0.20 hrs
                       regarding status of case.



                       TOTAL FEES FOR THIS MATTER                                               $52.00


BILLING SUMMARY


         Wallace, David A.                           0.20 hrs    260.00 /hr         $52.00



     TOTAL FEES                                      0.20 hrs                      $52.00

     TOTAL CHARGES FOR THIS INVOICE                                                $52.00
       12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
                                 Monthly Invoices Pg 468 of 1163
                            CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                           November 15, 2012

                                                                    Billed through 10/31/2012
Tammy Hamzephour                                                    Invoice # 51829      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 621 01145
190-FTW-L95
Fort Washington, PA 19034

Re: James Walton, Jr., et al.
Matter No.: 713075

PROFESSIONAL SERVICES

10/03/2012     DAW        Draft e-mail to Ms. Ho (Residential Capital, LLC)         L120        0.20 hrs
                          regarding case status.



                          TOTAL FEES FOR THIS MATTER                                               $52.00


BILLING SUMMARY


           Wallace, David A.                            0.20 hrs    260.00 /hr         $52.00



      TOTAL FEES                                        0.20 hrs                      $52.00

      TOTAL CHARGES FOR THIS INVOICE                                                  $52.00
       12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                               Monthly Invoices Pg 469 of 1163
                         CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                          November 15, 2012

                                                                    Billed through 10/31/2012
Tammy Hamzephour                                                    Invoice # 51830      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 621 01155
190-FTW-L95
Fort Washington, PA 19034

Re: National Remediation Project
Matter No.: 702040

PROFESSIONAL SERVICES

10/02/2012   DAW        (Edward Charles Miller, Jr. matter) Review e-mail           L120        0.10 hrs
                        regarding short sale offer and offer from
                        defendant's counsel.
10/02/2012   DAW        (Edward Charles Miller, Jr. matter) Draft e-mail to         L120        0.10 hrs
                        Ms. Ho (Residential Capital, LLC) regarding short
                        sale offer and offer from defendant's counsel.
10/02/2012   DAW        (Edward Charles Miller, Jr. matter) Telephone               L120        0.30 hrs
                        conference with Mr. Smith (Miami Valley Fair
                        Housing Center) regarding financials and short sale
                        issues
10/02/2012   DAW        (Edward Charles Miller, Jr. matter) Draft e-mail to         L120        0.20 hrs
                        Ms. Ho (Residential Capital, LLC) regarding
                        corporate documents and financials.
10/02/2012   DAW        (Gary T. Thorne matter) Conference with Ms.                 L120        0.10 hrs
                        McGinnis (Residential Capital, LLC) regarding
                        contact with borrower issues.
10/03/2012   DAW        (Edward Charles Miller, Jr. matter) Draft e-mail to         L120        0.10 hrs
                        Ms. Ho (Residential Capital, LLC) regarding
                        signed offer to purchase.
10/03/2012   DAW        (Gary T. Thorne matter) Review correspondence               L120        0.20 hrs
                        regarding collection contacts and prior loss
                        mitigation.
10/03/2012   DAW        (Gary T. Thorne matter) Telephone conference                L120        0.40 hrs
                        with Mr. Smith (counsel for Thorne) regarding
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
  621 01155                 Monthly Invoices Pg 470 of 1163
                                                         Invoice # 51830         Page 2
                    attorney general settlement letter and bankruptcy
                    issue.
10/03/2012   DAW    (Anthony L. Harkins matter) Review e-mail from        L120     0.10 hrs
                    Ms. Ho (Residential Capital, LLC) regarding
                    status.
10/03/2012   DAW    (Christopher Weil, et al. matter) Draft e-mail to     L120     0.10 hrs
                    Ms. Ho (Residential Capital, LLC) regarding
                    objections to Magistrate's decision.
10/03/2012   KMC    (Gary T. Thorne matter) Review correspondence         L110     0.20 hrs
                    regarding telephone calls from GMACM.

10/04/2012   DAW    (Edward Charles Miller, Jr. matter) Review e-mail     L120     0.10 hrs
                    regarding sale offer from potential buyer.

10/04/2012   DAW    (Anthony L. Harkins matter) Telephone conference      L120     0.10 hrs
                    with Ms. Kolasinski (Court Clerk) regarding trial
                    cancellation.
10/04/2012   DAW    (Anthony L. Harkins matter) Draft e-mail from Ms.     L120     0.20 hrs
                    Ho (Residential Capital, LLC) regarding trial
                    cancellation.
10/04/2012   DAW    (Daniel S. Bledsoe, et al. matter) Review             L120     0.10 hrs
                    correspondence regarding lack of monthly
                    statements from Mr. Bledsoe.
10/04/2012   DAW    (Daniel S. Bledsoe, et al. matter) Draft              L120     0.30 hrs
                    correspondence to Ms. Ho (Residential Capital,
                    LLC) regarding monthly payments and lack of
                    monthly statements.
10/05/2012   DAW    (Anthony L. Harkins matter) Review e-mail from        L120     0.10 hrs
                    Court regarding trial cancellation.

10/05/2012   DAW    (Anthony L. Harkins matter) Telephone conference      L120     0.20 hrs
                    with Ms. Baron (counsel for Harkins) regarding
                    trial cancellation
10/05/2012   DAW    (Christopher Weil, et al. matter) Review Court's      L120     0.10 hrs
                    order setting oral hearing on objections to
                    Magistrate's decision.
10/05/2012   DAW    (Christopher Weil, et al. matter) Draft e-mail to     L120     0.10 hrs
                    Ms. Ho (Residential Capital, LLC) regarding
                    Court's order setting oral hearing on objections to
                    Magistrate's decision.
10/05/2012   DAW    (Gary T. Thorne matter) Review e-mail regarding       L120     0.10 hrs
                    attorney general settlement issues.

10/09/2012   DAW    (Daniel S. Bledsoe, et al. matter) Review e-mail      L120     0.10 hrs
                    regarding address to send payments to and from
                    Ms. Ho (Residential Capital, LLC).
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27       Exhibit E
  621 01155                 Monthly Invoices Pg 471 of 1163
                                                         Invoice # 51830          Page 3

10/09/2012   DAW    (Daniel S. Bledsoe, et al. matter) Draft               L120     0.30 hrs
                    correspondence to Mr. Bledsoe and Ms. Scott
                    (Assistant to Mr. Bledsoe) regarding address to
                    send payments to until monthly statements begin to
                    arrive.
10/12/2012   DAW    (Edward Charles Miller, Jr. matter) Review e-mail      L120     0.20 hrs
                    from short sale purchaser regarding status of offer,
                    and draft e-mail to Ms. Ho (Residential Capital,
                    LLC) regarding same.
10/15/2012   DAW    (Heather Goodman, et al. matter) Review Court          L120     0.10 hrs
                    order regarding sheriff sale.

10/15/2012   DAW    (Heather Goodman, et al.) Draft e-mail to Ms. Ho       L120     0.20 hrs
                    (Residential Capital, LLC) regarding order
                    regarding sheriff sale.
10/17/2012   DAW    (Anthony L. Harkins matter) Telephone conference       L120     0.30 hrs
                    with Ms. Baron regarding bankruptcy issues.

10/17/2012   DAW    (Christopher Weil, et al. matter) Review               L120     0.40 hrs
                    defendants' response to objections to Magistrate
                    decision.
10/17/2012   DAW    (Christopher Weil, et al. matter) Draft e-mail to      L120     0.20 hrs
                    Ms. Ho (Residential Capital, LLC) regarding
                    response to Magistrate's decision.
10/17/2012   DAW    (Gary T. Thorne matter) Conference with Ms.            L120     0.10 hrs
                    Cadieux regarding insurance issues.

10/17/2012   KMC    (Gary T. Thorne matter) Telephone conference           L110     0.20 hrs
                    with Ms. McGinnis (Residential Capital) regarding
                    issues regarding insurance claim for property
                    damage.
10/17/2012   KMC    (Gary T. Thorne matter) Telephone conference           L110     0.10 hrs
                    with Ms. McGinnis (Residential Capital) regarding
                    Attorney General letter.
10/18/2012   DAW    (Gary T. Thorne matter) Review e-mails regarding       L120     0.10 hrs
                    insurance issues.

10/19/2012   DAW    (Daniel S. Bledsoe, et al. matter) Telephone           L120     0.10 hrs
                    conference with Ms. Scott (Mr. Bledsoe's assistant)
                    regarding account issues.
10/22/2012   DAW    (Gary T. Thorne matter) Conference with Ms.            L120     0.10 hrs
                    Cadieux regarding insurance issues.

10/22/2012   DAW    (Daniel S. Bledsoe, et al. matter) Telephone           L120     0.20 hrs
                    conference with Ms. Scott (Mr. Bledsoe's assistant)
                    regarding account issues.
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
  621 01155                  Monthly Invoices Pg 472 of 1163
                                                          Invoice # 51830                Page 4

10/22/2012   DAW      (Daniel S. Bledsoe, et al. matter) Review monthly         L120        0.10 hrs
                      statement.

10/22/2012   DAW      (Daniel S. Bledsoe, et al. matter) Draft e-mail to        L120        0.40 hrs
                      Ms. Ho (Residential Capital, LLC) regarding
                      monthly statement and account issues.
10/23/2012   DAW      (Gary T. Thorne matter) Review e-mail regarding           L120        0.10 hrs
                      summary of insurance funds status.

10/23/2012   DAW      (Gary T. Thorne matter) Review correspondence             L120        0.30 hrs
                      regarding insurance claim, including adjuster's
                      summary.
10/23/2012   DAW      (Gary T. Thorne matter) Review Picasso file               L120        0.30 hrs
                      materials.

10/23/2012   DAW      (Daniel S. Bledsoe, et al. matter) Review e-mail          L120        0.10 hrs
                      regarding payment and assumption status from Ms.
                      Ho (Residential Capital, LLC).
10/23/2012   DAW      (Daniel S. Bledsoe, et al. matter) Draft e-mail           L120        0.10 hrs
                      regarding payment and assumption status to Ms.
                      Ho (Residential Capital, LLC).
10/26/2012   DAW      (Gary T. Thorne matter) Telephone conference              L120        0.40 hrs
                      with Mr. Smith regarding status of financial and
                      insurance issues.
10/26/2012   DAW      (Gary T. Thorne matter) Review Court order                L120        0.10 hrs
                      regarding hearing on Rule 60(B) motion.

10/29/2012   JES      (Gary T. Thorne matter) Review e-mail from Mr.            L120        0.20 hrs
                      Wallace and Ms. McGinnis and order scheduling
                      60(B) motion hearing in the case.


                      TOTAL FEES FOR THIS MATTER                                            $2,052.00

EXPENSES

10/04/2012            Delivery Service/Messengers - Federal Express to Ms. Ho from               $15.70
                      Mr. Wallace

                      TOTAL EXPENSES FOR THIS MATTER                                             $15.70


BILLING SUMMARY


         Wallace, David A.                            7.40 hrs    260.00 /hr    $1,924.00
    12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
621 01155                   Monthly Invoices Pg 473 of 1163
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      Sechler, Joel E.                        0.20 hrs   190.00 /hr        $38.00


      Cadieux, Karen M.                       0.50 hrs   180.00 /hr        $90.00



   TOTAL FEES                                 8.10 hrs                $2,052.00

   TOTAL EXPENSES                                                          $15.70

   TOTAL CHARGES FOR THIS INVOICE                                     $2,067.70
       12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                                 Monthly Invoices Pg 474 of 1163
                          CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                           November 15, 2012

                                                                     Billed through 10/31/2012
Tammy Hamzephour                                                     Invoice # 51762      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01009
190-FTW-L95
Fort Washington, PA 19034

Re: Deborah A. Charity
Matter No.: 698543

PROFESSIONAL SERVICES

10/04/2012   JES         Telephone conference with Ms. McGinnis                      L120        0.20 hrs
                         regarding options for handling borrowers' failure to
                         execute loan modification.
10/10/2012   DAW         Revise e-mail to Ms. Charity regarding                      L120        0.40 hrs
                         cancellation of HAMP.

10/10/2012   JES         Draft e-mail to Ms. Charity regarding cancellation          L120        0.50 hrs
                         of modification due to her failure to execute and
                         return modification by the extended deadline.
10/12/2012   JES         Revise e-mail to Ms. Charity regarding                      L120        0.30 hrs
                         cancellation of HAMP modification.

10/17/2012   DAW         Telephone conference with Ms. McGinnis                      L120        0.20 hrs
                         (Residential Capital, LLC) regarding HAMP
                         modification issues.
10/17/2012   DAW         Telephone conference with Ms. McGinnis                      L120        0.40 hrs
                         (Residential Capital, LLC) and Ms. Geirlich
                         (GMAC Mortgage, LLC) regarding HAMP issues
                         and correspondence to Ms. Charity concerning
                         loan modification.
10/17/2012   JES         Prepare for and attend conference call regarding            L120        0.50 hrs
                         Charity loan modification.

10/18/2012   DAW         Review revised e-mail regarding cancellation of             L120        0.10 hrs
                         loan modification.
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27               Exhibit E
  096 01009                    Monthly Invoices Pg 475 of 1163
                                                            Invoice # 51762                  Page 2


10/18/2012   DAW        Conference with Ms. McGinnis (Residential                  L120          0.10 hrs
                        Capital, LLC) regarding cancellation of loan
                        modification.
10/19/2012   JES        Finalize letter to Ms. Charity regarding loan              L120          0.20 hrs
                        modification cancellation.

10/29/2012   JES        E-mail Ms. McGinnis regarding remedies available           L120          0.50 hrs
                        to plaintiffs in OCRC actions.



                        TOTAL FEES FOR THIS MATTER                                                $730.00

EXPENSES

10/19/2012              Delivery Service/Messengers - Federal Express to Ms. Charity                 $16.82
                        from Mr. Sechler

                        TOTAL EXPENSES FOR THIS MATTER                                               $16.82


BILLING SUMMARY


         Wallace, David A.                              1.20 hrs    260.00 /hr         $312.00


         Sechler, Joel E.                               2.20 hrs    190.00 /hr         $418.00



     TOTAL FEES                                         3.40 hrs                       $730.00

     TOTAL EXPENSES                                                                     $16.82

     TOTAL CHARGES FOR THIS INVOICE                                                    $746.82
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                              Monthly Invoices Pg 476 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                          November 15, 2012

                                                                    Billed through 10/31/2012
Tammy Hamzephour                                                    Invoice # 51763      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01011
190-FTW-L95
Fort Washington, PA 19034

Re: Emily Bradac
Matter No.: 690339

PROFESSIONAL SERVICES

10/01/2012   AMP       Review e-mail from client regarding status of                L120        0.30 hrs
                       complaints by Bay Village and neighbors.

10/01/2012   AMP       Conference with Ms. Cadieux regarding                        L120        0.10 hrs
                       complaints.

10/01/2012   KMC       Review e-mail regarding property preservation                L110        0.10 hrs
                       issues.

10/03/2012   AMP       Conference with client regarding case status and             L120        0.60 hrs
                       bankruptcy issues.

10/03/2012   AMP       E-mails with client regarding revised HELOC                  L120        0.30 hrs
                       letter and inspection of house.

10/03/2012   AMP       Revise inspection letter.                                    L120        0.10 hrs


10/03/2012   AMP       E-mails with client regarding inspection letter.             L120        0.10 hrs


10/03/2012   KMC       Telephone conference with Ms. McGinnis                       L110        0.40 hrs
                       (Residential Capital) regarding status of
                       foreclosure action.
10/03/2012   KMC       Review correspondence regarding HELOC loan                   L110        0.30 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27       Exhibit E
  096 01011                 Monthly Invoices Pg 477 of 1163
                                                         Invoice # 51763          Page 2
                    and inspection of property.

10/07/2012   AMP    Review e-mail from Mr. Connick (opposing               L120     0.20 hrs
                    counsel) regarding inspection of property.

10/08/2012   AMP    Attention to HELOC payment calculation issues.         L120     0.20 hrs


10/08/2012   AMP    E-mails with client regarding HELOC payment            L120     0.20 hrs
                    calculation issues.

10/08/2012   KMC    Review calculation of interest under qualified         L110     0.20 hrs
                    executive rate.

10/09/2012   AMP    Review research by Mr. Rhode regarding                 L120     0.60 hrs
                    continued telephonic conference with Court.

10/09/2012   AMP    Draft letter to Mr. Connick (opposing counsel)         L120     0.30 hrs
                    regarding right to inspect property.

10/09/2012   KMC    Draft affidavit regarding transfer of note from        L210     1.30 hrs
                    GMAC Bank to RFC.

10/09/2012   KMC    Draft supplemental affidavit in support of motion      L210     0.50 hrs
                    for summary judgment.

10/09/2012   KMC    Review e-mail correspondence regarding                 L110     0.10 hrs
                    complaints about condition of the property.

10/09/2012   JDR    Review loan documents to find express authority to     L310     0.70 hrs
                    preserve collateral in order to enter and inspect
                    Bradac's property.
10/11/2012   DAW    Conference with Ms. Paul Whitfield regarding           L120     0.10 hrs
                    affidavit issues.

10/12/2012   AMP    Review e-mail from Mr. Connick (opposing               L120     0.30 hrs
                    counsel) regarding refusal to allow GMAC to
                    inspect the property.
10/12/2012   AMP    E-mails with client regarding refusal to allow         L120     0.20 hrs
                    GMAC to inspect the property.

10/12/2012   AMP    Telephone conferences with Bay Village lawyer          L120     0.30 hrs
                    and neighbors lawyer regarding refusal to allow
                    GMAC to inspect the property.
10/12/2012   AMP    Attention to affidavits for motion to substitute and   L210     0.30 hrs
                    to correct original note.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27       Exhibit E
  096 01011                 Monthly Invoices Pg 478 of 1163
                                                         Invoice # 51763          Page 3

10/12/2012   AMP    E-mails with Ms. Cadieux regarding affidavits for      L210     0.20 hrs
                    motion to substitute and to correct original note.

10/12/2012   KMC    Review e-mail regarding borrower's counsel             L110     0.10 hrs
                    refusing to allow inspection.

10/15/2012   AMP    Telephone conference with locksmith regarding          L120     0.20 hrs
                    cancellation of inspection.

10/15/2012   AMP    Conference with Ms. Cadieux regarding                  L210     0.20 hrs
                    supplemental affidavit of Mr. Zeitz and affidavit of
                    Mr. Chiodo (Ally) regarding transfer of ownership
                    of note.
10/15/2012   KMC    Revise affidavit in support of motion to substitute.   L210     0.60 hrs


10/15/2012   KMC    Draft motion to substitute.                            L210     1.40 hrs


10/15/2012   KMC    Draft motion to substitute.                            L210     0.80 hrs


10/15/2012   KMC    Research regarding equitable assignment.               L110     0.90 hrs


10/15/2012   KMC    Research regarding substitution rule of civil          L110     0.80 hrs
                    procedures.

10/17/2012   DAW    Conference with Ms. Cadieux regarding GMAC             L120     0.10 hrs
                    Bank and noteholder issues.

10/18/2012   AMP    Attention to Zeitz supplemental affidavit and          L210     0.30 hrs
                    Chiodo affidavit regarding transfer of note.

10/18/2012   AMP    E-mails with Ms. Cadieux regarding Zeitz               L120     0.10 hrs
                    supplemental affidavit and Chiodo affidavit
                    regarding transfer of note.
10/18/2012   KMC    Telephone conference with Ms. McGinnis                 L110     0.10 hrs
                    (Residential Capital) regarding portion of case
                    transferring to bankruptcy estate.
10/18/2012   KMC    Telephone conference with Ms. McGinnis                 L110     0.20 hrs
                    (Residential Capital) regarding affidavit for motion
                    to substitute.
10/18/2012   KMC    Forward affidavit for motion to substitute to Ms.      L110     0.20 hrs
                    McGinnis (Residential Capital).
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27        Exhibit E
  096 01011                   Monthly Invoices Pg 479 of 1163
                                                           Invoice # 51763           Page 4
10/24/2012   KMC      Review Mr. Chiodo's (Ally) comments to affidavit       L110        0.20 hrs
                      regarding transfer of the note.

10/24/2012   KMC      Revise affidavit per Mr. Chiodo's (Ally) comments      L210        0.20 hrs
                      to affidavit regarding transfer of the note.

10/25/2012   KMC      Telephone conference with Ms. McGinnis                 L110        0.10 hrs
                      (Residential Capital) revising David Chiodo (Ally)
                      affidavit.


                      TOTAL FEES FOR THIS MATTER                                         $2,969.00


BILLING SUMMARY


         Paul, Angela M.                            5.10 hrs    250.00 /hr   $1,275.00


         Wallace, David A.                          0.20 hrs    260.00 /hr      $52.00


         Rhode, Jacob D.                            0.70 hrs    160.00 /hr     $112.00


         Cadieux, Karen M.                          8.50 hrs    180.00 /hr   $1,530.00



     TOTAL FEES                                    14.50 hrs                 $2,969.00

     TOTAL CHARGES FOR THIS INVOICE                                          $2,969.00
       12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                              Monthly Invoices Pg 480 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                           November 15, 2012

                                                                    Billed through 10/31/2012
Tammy Hamzephour                                                    Invoice # 51764      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01012
190-FTW-L95
Fort Washington, PA 19034

Re: Eric Rogers
Matter No.: 687375

PROFESSIONAL SERVICES

10/01/2012   DAW       Review and revise complaint.                                 L120        0.30 hrs


10/02/2012   DAW       Review service instructions.                                 L120        0.20 hrs


10/02/2012   KMC       Finalize complaint for declaratory judgment for              L110        0.60 hrs
                       filing.

10/02/2012   KMC       Revise complaint.                                            L210        0.20 hrs


10/02/2012   KMC       Telephone conference with Ms. McGinnis                       L110        0.20 hrs
                       (Residential Capital) regarding address to use in
                       complaint for declaratory judgment.
10/02/2012   KMC       Draft instructions for service of complaint for              L210        0.10 hrs
                       declaratory judgment.

10/03/2012   KMC       Forward time-stamped complaint and scheduling                L110        0.20 hrs
                       order to Ms. McGinnis (Residential Capital).

10/08/2012   KMC       Review e-mail from Ms. McGinnis (Residential                 L110        0.10 hrs
                       Capital) regarding short pay letters not being
                       available.
10/09/2012   DAW       Review Court's notices of trial setting.                     L120        0.10 hrs
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27                   Exhibit E
  096 01012                  Monthly Invoices Pg 481 of 1163
                                                          Invoice # 51764                      Page 2



10/30/2012   DAW      Review notice of return of summons unclaimed.                     L120       0.10 hrs


10/30/2012   KMC      Review notice of failure of service.                              L110       0.10 hrs


10/31/2012   DAW      Review Court's notice of pretrial date.                           L120       0.20 hrs




                      TOTAL FEES FOR THIS MATTER                                                    $504.00

EXPENSES

10/02/2012            Court Fees - Franklin County Court, filing fee to file original               $231.75
                      complaint

                      TOTAL EXPENSES FOR THIS MATTER                                                $231.75


BILLING SUMMARY


         Wallace, David A.                            0.90 hrs    260.00 /hr             $234.00


         Cadieux, Karen M.                            1.50 hrs    180.00 /hr             $270.00



     TOTAL FEES                                       2.40 hrs                           $504.00

     TOTAL EXPENSES                                                                      $231.75

     TOTAL CHARGES FOR THIS INVOICE                                                      $735.75
       12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                              Monthly Invoices Pg 482 of 1163
                         CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                         November 15, 2012

                                                                    Billed through 10/31/2012
Tammy Hamzephour                                                    Invoice # 51765      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01041
190-FTW-L95
Fort Washington, PA 19034

Re: Patricia Joanne McNerney


PROFESSIONAL SERVICES

10/17/2012   DAW       Conference with Ms. Cadieux regarding propriety              L120        0.10 hrs
                       of case being transferred to the estate.

10/18/2012   DAW       Telephone conference with Ms. McGinnis                       L120        0.10 hrs
                       (Residential Capital, LLC) regarding case status
                       and transfer to estate.
10/18/2012   KMC       Telephone conference with Ms. McGinnis                       L110        0.20 hrs
                       (Residential Capital) regarding case transferring to
                       the bankruptcy estate.


                       TOTAL FEES FOR THIS MATTER                                                  $88.00


BILLING SUMMARY


          Wallace, David A.                            0.20 hrs    260.00 /hr          $52.00


          Cadieux, Karen M.                            0.20 hrs    180.00 /hr          $36.00



     TOTAL FEES                                        0.40 hrs                       $88.00

     TOTAL CHARGES FOR THIS INVOICE                                                   $88.00
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                               Monthly Invoices Pg 483 of 1163
                            CARPENTER LIPPS & LELAND LLP

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                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                          November 15, 2012

                                                                   Billed through 10/31/2012
Tammy Hamzephour                                                   Invoice # 51766      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01044
190-FTW-L95
Fort Washington, PA 19034

Re: Ray E. Potter
Matter No.: 698440

PROFESSIONAL SERVICES

10/01/2012   JES        E-mail client and opposing counsel regarding               L120        0.10 hrs
                        status of reverse mortgage.

10/03/2012   JES        E-mail client and opposing counsel regarding               L120        0.20 hrs
                        recent developments in loan modification request.

10/05/2012   JES        E-mail client and opposing counsel regarding               L120        0.20 hrs
                        completion of reverse mortgage.

10/11/2012   JES        Review and respond to e-mails from Ms. Priore              L120        0.30 hrs
                        (Residential Capital) regarding reverse mortgage.



                        TOTAL FEES FOR THIS MATTER                                              $152.00


BILLING SUMMARY


         Sechler, Joel E.                              0.80 hrs   190.00 /hr         $152.00



     TOTAL FEES                                        0.80 hrs                     $152.00

     TOTAL CHARGES FOR THIS INVOICE                                                 $152.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27    Exhibit E
096 01044                 Monthly Invoices Pg 484 of 1163
                                                       Invoice # 51766       Page 2
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
                               Monthly Invoices Pg 485 of 1163
                            CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                         November 15, 2012

                                                                  Billed through 10/31/2012
Tammy Hamzephour                                                  Invoice # 51767      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 096 01045
190-FTW-L95
Fort Washington, PA 19034

Re: Raymond Thomas
Matter No.: 695604

PROFESSIONAL SERVICES

10/29/2012   JES        Prepare case status summaries requested by Ms.            L120        0.50 hrs
                        McGinnis (Residential Capital).



                        TOTAL FEES FOR THIS MATTER                                               $95.00


BILLING SUMMARY


         Sechler, Joel E.                            0.50 hrs    190.00 /hr          $95.00



     TOTAL FEES                                      0.50 hrs                       $95.00

     TOTAL CHARGES FOR THIS INVOICE                                                 $95.00
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                              Monthly Invoices Pg 486 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                         November 15, 2012

                                                                    Billed through 10/31/2012
Tammy Hamzephour                                                    Invoice # 51768      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01048
190-FTW-L95
Fort Washington, PA 19034

Re: Ronald McGinn
Matter No.: 694500

PROFESSIONAL SERVICES

10/09/2012   JES       E-mail client and opposing counsel regarding                 L120        0.20 hrs
                       updated loan modification application.

10/10/2012   JES       Review and respond to e-mails from Ms. McGinnis              L120        0.10 hrs
                       (Residential Capital) regarding loan modification
                       application status.
10/12/2012   JES       Prepare litigation exposure summary for Ms.                  L120        0.20 hrs
                       McGinnis (Residential Capital).

10/15/2012   JES       Prepare oral argument outline and supporting                 L530        4.00 hrs
                       materials from record.

10/17/2012   DAW       Conference with Ms. Sechler regarding oral                   L120        0.10 hrs
                       argument issues.

10/17/2012   JES       Conference with opposing counsel regarding status            L120        0.20 hrs
                       of loan modifications.

10/17/2012   JES       Prepare for (3.70) and attend oral argument (1.80).          L530        5.00 hrs


10/29/2012   JES       Prepare case status summaries requested by Ms.               L120        0.50 hrs
                       McGinnis (Residential Capital).
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27         Exhibit E
  096 01048                    Monthly Invoices Pg 487 of 1163
                                                            Invoice # 51768             Page 2
                        TOTAL FEES FOR THIS MATTER                                          $1,964.00

EXPENSES

10/17/2012              (TRIP-JES-10/17/12) Out-of-Town Travel/Mileage (285.74 miles         $157.16
                        X .55) - travel to Toledo, OH to attend oral argument

                        TOTAL EXPENSES FOR THIS MATTER                                       $157.16


BILLING SUMMARY


         Wallace, David A.                          0.10 hrs   260.00 /hr          $26.00


         Sechler, Joel E.                          10.20 hrs   190.00 /hr       $1,938.00



     TOTAL FEES                                    10.30 hrs                   $1,964.00

     TOTAL EXPENSES                                                              $157.16

     TOTAL CHARGES FOR THIS INVOICE                                            $2,121.16
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                               Monthly Invoices Pg 488 of 1163
                            CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                          November 15, 2012

                                                                     Billed through 10/31/2012
Tammy Hamzephour                                                     Invoice # 51769      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01058
190-FTW-L95
Fort Washington, PA 19034

Re: Timothy Bryant
Matter No.: 713600

PROFESSIONAL SERVICES

10/03/2012   DAW        Draft e-mail to Ms. Ho (Residential Captial, LLC)            L120        0.10 hrs
                        regarding status of Court's decision.

10/12/2012   JES        Prepare litigation exposure summary for Ms.                  L120        0.20 hrs
                        McGinnis (Residential Capital).

10/25/2012   DAW        Review e-mail from Mr. Aguirre (Residential                  L120        0.10 hrs
                        Capital) regarding status of decision on trial.



                        TOTAL FEES FOR THIS MATTER                                                  $90.00


BILLING SUMMARY


         Wallace, David A.                              0.20 hrs    260.00 /hr          $52.00


         Sechler, Joel E.                               0.20 hrs    190.00 /hr          $38.00



     TOTAL FEES                                         0.40 hrs                       $90.00

     TOTAL CHARGES FOR THIS INVOICE                                                    $90.00
       12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                              Monthly Invoices Pg 489 of 1163
                         CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                          November 15, 2012

                                                                  Billed through 10/31/2012
Tammy Hamzephour                                                  Invoice # 51770      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 096 01061
190-FTW-L95
Fort Washington, PA 19034

Re: Cleveland Housing Renewal Project
Matter No.: 715020

PROFESSIONAL SERVICES

10/01/2012   DAW       Review motions for extension of time for Saxon to          L120        0.10 hrs
                       answer.

10/01/2012   DAW       Review stipulation dismissal of Deutsche Bank              L120        0.10 hrs
                       defendants.

10/03/2012   DAW       Review Court order regarding dismissal and case            L120        0.20 hrs
                       management conference.

10/11/2012   DAW       Review recent nuisance case decision by Judge              L120        0.20 hrs
                       Beckwith in related City of Cincinnati case.

10/12/2012   DAW       Telephone conference with Ms. McGinnis                     L120        0.10 hrs
                       (Residential Capital, LLC) regarding risk exposure
                       analysis.
10/12/2012   DAW       Draft risk exposure analysis.                              L120        0.30 hrs




                       TOTAL FEES FOR THIS MATTER                                              $260.00


BILLING SUMMARY


          Wallace, David A.                            1.00 hrs   260.00 /hr        $260.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
096 01061                 Monthly Invoices Pg 490 of 1163
                                                       Invoice # 51770         Page 2



   TOTAL FEES                               1.00 hrs                     $260.00

   TOTAL CHARGES FOR THIS INVOICE                                        $260.00
       12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
                                 Monthly Invoices Pg 491 of 1163
                              CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                           November 15, 2012

                                                                    Billed through 10/31/2012
Tammy Hamzephour                                                    Invoice # 51771      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01062
190-FTW-L95
Fort Washington, PA 19034

Re: Jamie L. Gindele, et al.
Matter No.: 697753

PROFESSIONAL SERVICES

10/01/2012     JES        Draft letter to Ms. Gindele regarding Department          L120        0.20 hrs
                          of Justice/Attorney General settlement.

10/16/2012     JES        Review and respond to e-mail from Ms. McGinnis            L120        0.10 hrs
                          (Residential Capital) regarding MERS issues raised
                          in the case.
10/26/2012     JES        Review and respond to e-mails from Ms. McGinnis           L120        0.20 hrs
                          (Residential Capital) regarding AG settlement
                          letter.


                          TOTAL FEES FOR THIS MATTER                                               $95.00


BILLING SUMMARY


           Sechler, Joel E.                             0.50 hrs    190.00 /hr         $95.00



      TOTAL FEES                                        0.50 hrs                      $95.00

      TOTAL CHARGES FOR THIS INVOICE                                                  $95.00
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27                Exhibit E
                               Monthly Invoices Pg 492 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                         November 15, 2012

                                                                    Billed through 10/31/2012
Tammy Hamzephour                                                    Invoice # 51772      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01078
190-FTW-L95
Fort Washington, PA 19034

Re: Ronald J. Markus
Matter No.: 699618

PROFESSIONAL SERVICES

10/24/2012   DAW       Review opposition to motion for summary                      L120        0.60 hrs
                       judgment.

10/26/2012   JES       E-mail opposing counsel regarding reply brief                L120        0.10 hrs
                       extension.

10/29/2012   JES       Draft motion for extension of time to file reply             L250        0.20 hrs
                       brief.

10/31/2012   JES       Review motion for summary judgment opposition                L240        1.00 hrs
                       brief filed in the Markus case.



                       TOTAL FEES FOR THIS MATTER                                                $403.00

EXPENSES

10/12/2012             Out-of-Town Travel/Mileage (290 miles X .55 split X 2) - travel                $79.75
                       to Cleveland, OH for filing (VW)

10/12/2012             Out-of-Town Travel/Food/Beverage (split X 2) - travel to                        $2.50
                       Cleveland, OH for filing (VW)

10/12/2012             Out-of-Town Travel/Parking (split X 2) - travel to Cleveland, OH                $0.63
                       for filing (VW)
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
  096 01078                    Monthly Invoices Pg 493 of 1163
                                                            Invoice # 51772                 Page 2

10/29/2012              Delivery Service/Messengers - Federal Express to filing                     $11.28
                        department, Cuyahoga County from Mr. Sechler

10/29/2012              Delivery Service/Messengers - Federal Express to Magistrate                 $11.28
                        Hippley from Mr. Sechler

                        TOTAL EXPENSES FOR THIS MATTER                                          $105.44


BILLING SUMMARY


         Wallace, David A.                            0.60 hrs    260.00 /hr          $156.00


         Sechler, Joel E.                             1.30 hrs    190.00 /hr          $247.00



     TOTAL FEES                                       1.90 hrs                        $403.00

     TOTAL EXPENSES                                                                   $105.44

     TOTAL CHARGES FOR THIS INVOICE                                                   $508.44
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27                 Exhibit E
                               Monthly Invoices Pg 494 of 1163
                            CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                           November 15, 2012

                                                                        Billed through 10/31/2012
Tammy Hamzephour                                                        Invoice # 51774      JAL
Residential Capital, LLC
1100 Virginia Drive                                                     Our file # 096 01112
190-FTW-L95
Fort Washington, PA 19034

Re: Thang Nguyen
Matter No.: 712051

PROFESSIONAL SERVICES

10/01/2012   JES        E-mail client and opposing counsel regarding                    L120        0.20 hrs
                        status of settlement.

10/15/2012   JES        Review and respond to e-mail from Ms. McGinnis                  L120        0.20 hrs
                        (Residential Capital) regarding release of mortgage
                        and settlement completion.
10/24/2012   JES        Prepare letter regarding filing of release of                   L120        0.20 hrs
                        mortgage.



                        TOTAL FEES FOR THIS MATTER                                                   $114.00

EXPENSES

10/24/2012              Delivery Service/Messengers - Federal Express to Cuyahoga                      $11.28
                        County Recorder from Mr. Sechler

                        TOTAL EXPENSES FOR THIS MATTER                                                 $11.28


BILLING SUMMARY


         Sechler, Joel E.                                0.60 hrs       190.00 /hr        $114.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
096 01112                 Monthly Invoices Pg 495 of 1163
                                                       Invoice # 51774         Page 2


   TOTAL FEES                               0.60 hrs                     $114.00

   TOTAL EXPENSES                                                         $11.28

   TOTAL CHARGES FOR THIS INVOICE                                        $125.28
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                                Monthly Invoices Pg 496 of 1163
                          CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                           November 15, 2012

                                                                      Billed through 10/31/2012
Tammy Hamzephour                                                      Invoice # 51775      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 096 01114
190-FTW-L95
Fort Washington, PA 19034

Re: Mardean Bridges, et al.
Matter No.: 712079

PROFESSIONAL SERVICES

10/01/2012    DAW        Review e-mail regarding status of contact with               L120        0.10 hrs
                         borrower's counsel.

10/01/2012    KMC        E-mail correspondence with Ms. McGinnis                      L160        0.30 hrs
                         (Residential Capital) regarding status of settlement
                         discussion.
10/02/2012    DAW        Revise e-mail regarding settlement.                          L120        0.20 hrs


10/02/2012    DAW        Telephone conference with Ms. McGinnis                       L120        0.20 hrs
                         (Residential Capital, LLC) regarding Bridges
                         settlement and inspection issues.
10/02/2012    KMC        Telephone conference with borrowers' counsel                 L160        0.30 hrs
                         regarding settlement proposal and notices received
                         by borrowers.
10/02/2012    KMC        Draft correspondence to borrowers' counsel                   L160        0.40 hrs
                         regarding settlement proposal.

10/02/2012    KMC        Multiple telephone conferences with Ms.                      L160        0.40 hrs
                         McGinnis (Residential Capital) regarding
                         settlement offer, inspection issues, and current
                         escrow payment.
10/02/2012    KMC        E-mail Ms. McGinnis (Residential Capital)                    L110        0.10 hrs
                         regarding current escrow payment.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
  096 01114                 Monthly Invoices Pg 497 of 1163
                                                         Invoice # 51775         Page 2
10/02/2012   KMC    Revise correspondence regarding settlement offer      L120     0.20 hrs
                    per Mr. Wallace.

10/03/2012   DAW    Review contractor property inspection contract        L120     0.10 hrs
                    documents from Ms. McGinnis (Residential
                    Capital, LLC).
10/03/2012   KMC    Revise letter regarding settlement proposal.          L160     0.20 hrs


10/03/2012   KMC    Review information regarding escrow payment.          L110     0.10 hrs


10/03/2012   KMC    Telephone conference with Ms. McGinnis                L110     0.20 hrs
                    (Residential Capital) regarding escrow issues.

10/03/2012   KMC    Forward settlement proposal to borrowers' counsel     L160     0.10 hrs


10/03/2012   KMC    Review information regarding call back notices left   L110     0.30 hrs
                    for borrowers and notices sent to borrowers during
                    litigation.
10/08/2012   DAW    Conference with Ms. Cadieux regarding status of       L120     0.10 hrs
                    settlement conference.

10/10/2012   KMC    Review e-mail from Ms. Frame (Residential             L110     0.10 hrs
                    Capital) regarding unpaid principal balance after
                    reinstatement.
10/10/2012   KMC    Review voicemail from borrowers' counsel              L110     0.10 hrs
                    regarding questions about settlement proposal.

10/10/2012   KMC    Draft e-mail to Ms. McGinnis (Residential Capital)    L110     0.20 hrs
                    regarding borrowers questions about settlement
                    proposal.
10/10/2012   KMC    Review e-mail regarding questions about               L160     0.10 hrs
                    settlement.

10/10/2012   KMC    Telephone conference with borrowers' counsel          L160     0.30 hrs
                    regarding settlement proposal.

10/10/2012   KMC    Telephone conference with Ms. McGinnis                L160     0.20 hrs
                    (Residential Capital) regarding settlement.

10/11/2012   DAW    Review e-mails regarding reinstatement issues.        L120     0.10 hrs


10/11/2012   DAW    Conference with Ms. Cadieux regarding settlement      L120     0.10 hrs
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
  096 01114                  Monthly Invoices Pg 498 of 1163
                                                          Invoice # 51775              Page 3
                      issues.

10/11/2012   KMC      Review e-mail regarding current insurer of                L110       0.10 hrs
                      property.

10/11/2012   KMC      E-mail borrowers' counsel with responses to               L160       0.30 hrs
                      question regarding settlement.

10/16/2012   KMC      Review message from Ms. Brown (Residential                L160       0.10 hrs
                      Capital) regarding status of settlement.

10/23/2012   KMC      E-mail borrowers' counsel regarding status of             L160       0.20 hrs
                      settlement response.

10/24/2012   DAW      Review e-mail regarding settlement status.                L120       0.10 hrs


10/24/2012   KMC      E-mail correspondence with Ms. McGinnis                   L160       0.20 hrs
                      (Residential Capital) regarding status of settlement
                      negotiations.
10/29/2012   KMC      Review e-mail from borrowers' counsel with                L110       0.10 hrs
                      counteroffer.

10/29/2012   KMC      E-mail Ms. McGinnis (Residential Capital)                 L110       0.10 hrs
                      regarding counteroffer.

10/29/2012   KMC      Telephone conference with Ms. McGinnis                    L110       0.30 hrs
                      (Residential Capital) regarding counteroffer.

10/29/2012   KMC      Review e-mail correspondence regarding obtaining          L110       0.10 hrs
                      reinstatement good through November 30, 2012.

10/29/2012   KMC      Review reinstatement quote good through                   L110       0.10 hrs
                      November 30, 2012.



                      TOTAL FEES FOR THIS MATTER                                           $1,196.00


BILLING SUMMARY


         Wallace, David A.                            1.00 hrs     260.00 /hr    $260.00


         Cadieux, Karen M.                            5.20 hrs     180.00 /hr    $936.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27    Exhibit E
096 01114                 Monthly Invoices Pg 499 of 1163
                                                       Invoice # 51775       Page 4


   TOTAL FEES                               6.20 hrs                $1,196.00

   TOTAL CHARGES FOR THIS INVOICE                                   $1,196.00
       12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                                 Monthly Invoices Pg 500 of 1163
                           CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                            November 15, 2012

                                                                      Billed through 10/31/2012
Tammy Hamzephour                                                      Invoice # 51776      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 096 01116
190-FTW-L95
Fort Washington, PA 19034

Re: Jack H. Donnelly, et al.
Matter No.: 712313

PROFESSIONAL SERVICES

10/03/2012    JES         E-mail opposing counsel regarding status                    L120        0.20 hrs
                          conference.

10/04/2012    JES         Prepare for and attend status conference.                   L120        0.20 hrs


10/04/2012    JES         E-mail opposing counsel regarding completion of             L120        0.20 hrs
                          loan modification.

10/12/2012    JES         Prepare litigation exposure summary for Ms.                 L120        0.20 hrs
                          McGinnis (Residential Capital).

10/15/2012    DAW         Review Court order regarding status conference.             L120        0.10 hrs


10/19/2012    DAW         Review e-mail regarding status conference and loss          L120        0.10 hrs
                          mitigation status.

10/19/2012    JES         E-mail Ms. McGinnis (Residential Capital)                   L120        0.10 hrs
                          regarding status conference notice.

10/30/2012    JES         E-mail Mr. Lorenzon (counsel for borrower)                  L120        0.20 hrs
                          regarding items needed to complete loan
                          modification application.
     12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
 096 01116                   Monthly Invoices Pg 501 of 1163
                                                          Invoice # 51776         Page 2
                      TOTAL FEES FOR THIS MATTER                                      $261.00


BILLING SUMMARY


       Wallace, David A.                       0.20 hrs   260.00 /hr         $52.00


       Sechler, Joel E.                        1.10 hrs   190.00 /hr        $209.00



    TOTAL FEES                                 1.30 hrs                     $261.00

    TOTAL CHARGES FOR THIS INVOICE                                          $261.00
       12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27                 Exhibit E
                               Monthly Invoices Pg 502 of 1163
                         CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                           November 15, 2012

                                                                        Billed through 10/31/2012
Tammy Hamzephour                                                        Invoice # 51777      JAL
Residential Capital, LLC
1100 Virginia Drive                                                     Our file # 096 01128
190-FTW-L95
Fort Washington, PA 19034

Re: City of Cleveland (Muni CT Action)
Matter No.: 627238

PROFESSIONAL SERVICES

10/09/2012   AMP        Review and respond to e-mail from client                        L160        0.30 hrs
                        regarding status of City's execution of settlement
                        agreement.
10/09/2012   AMP        Draft e-mail to City's counsel regarding status of              L160        0.30 hrs
                        City's execution of settlement agreement.

10/12/2012   AMP        Review response.                                                L160        0.10 hrs


10/12/2012   AMP        Draft e-mail to client regarding status update.                 L160        0.20 hrs


10/12/2012   AMP        Draft e-mail to City's counsel regarding signed                 L160        0.20 hrs
                        settlement agreement.

10/16/2012   AMP        E-mails with Ms. McGinnis and Mr. Booth                         L120        0.30 hrs
                        (Residential Capital) regarding oversight of this
                        matter on going forward basis.
10/24/2012   AMP        Review notice from Court regarding settlement                   L160        0.20 hrs
                        with one of the other defendants.

10/29/2012   AMP        E-mail exchange with City's counsel regarding                   L160        0.20 hrs
                        status of City's execution of settlement agreement.

10/29/2012   AMP        E-mail with client regarding status of City's                   L160        0.20 hrs
     12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
 096 01128                  Monthly Invoices Pg 503 of 1163
                                                         Invoice # 51777         Page 2
                    execution of settlement agreement.



                    TOTAL FEES FOR THIS MATTER                                       $500.00


BILLING SUMMARY


       Paul, Angela M.                            2.00 hrs   250.00 /hr    $500.00



    TOTAL FEES                                    2.00 hrs                 $500.00

    TOTAL CHARGES FOR THIS INVOICE                                         $500.00
       12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                                 Monthly Invoices Pg 504 of 1163
                             CARPENTER LIPPS & LELAND LLP

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                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                           November 15, 2012

                                                                     Billed through 10/31/2012
Tammy Hamzephour                                                     Invoice # 51778      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01134
190-FTW-L95
Fort Washington, PA 19034

Re: Jeffrey A. Secrest
Matter No.: 716073

PROFESSIONAL SERVICES

10/12/2012    DAW        Telephone conference with Ms. McGinnis                      L120        0.10 hrs
                         (Residential Capital, LLC) regarding risk exposure
                         analysis.
10/16/2012    DAW        Review Court's judgment entry ruling on Allison's           L120        0.20 hrs
                         conclusions of law against Secrest.

10/16/2012    DAW        Draft e-mail to Ms. McGinnis (Residential Capital,          L120        0.40 hrs
                         LLC) regarding judgment and appeal date.

10/16/2012    JES        Review entry regarding Allison motion for                   L120        0.30 hrs
                         reconsideration.



                         TOTAL FEES FOR THIS MATTER                                               $239.00


BILLING SUMMARY


          Wallace, David A.                            0.70 hrs      260.00 /hr        $182.00


          Sechler, Joel E.                             0.30 hrs      190.00 /hr         $57.00



      TOTAL FEES                                       1.00 hrs                       $239.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
096 01134                 Monthly Invoices Pg 505 of 1163
                                                       Invoice # 51778         Page 2


   TOTAL CHARGES FOR THIS INVOICE                                        $239.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27               Exhibit E
                                Monthly Invoices Pg 506 of 1163
                          CARPENTER LIPPS & LELAND LLP

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                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                          November 15, 2012

                                                                   Billed through 10/31/2012
Tammy Hamzephour                                                   Invoice # 51779      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01140
190-FTW-L95
Fort Washington, PA 19034

Re: Steven T. Biermann, et al.
Matter No.: 718120

EXPENSES

10/01/2012               (TRIP-TKI-7/27/12) Out-of-Town Travel/Mileage (328 miles X              $180.40
                         .55) - travel to Geauga County Common Pleas to attend pretrial
                         conference

                         TOTAL EXPENSES FOR THIS MATTER                                          $180.40


BILLING SUMMARY


      TOTAL EXPENSES                                                                 $180.40

      TOTAL CHARGES FOR THIS INVOICE                                                 $180.40
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27               Exhibit E
                                Monthly Invoices Pg 507 of 1163
                           CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                           November 15, 2012

                                                                       Billed through 10/31/2012
Tammy Hamzephour                                                       Invoice # 51780      JAL
Residential Capital, LLC
1100 Virginia Drive                                                    Our file # 096 01145
190-FTW-L95
Fort Washington, PA 19034

RE: Niesreen Abdalla, et al.
Matter No.: 718973

PROFESSIONAL SERVICES

10/08/2012    DAW        Review e-mails regarding trial preparation issues.            L120        0.10 hrs


10/09/2012    DAW        Review objections to Magistrate's decision.                   L120        0.30 hrs


10/09/2012    JES        Review objection to motion to summary judgment                L240        0.50 hrs
                         ruling filed by borrowers' counsel.

10/10/2012    DAW        Revise response to objections.                                L210        0.40 hrs


10/10/2012    JES        Telephone conference with Ms. McGinnis                        L120        0.40 hrs
                         (Residential Capital) regarding objection filed by
                         defendants' counsel.
10/10/2012    JES        Draft opposition to Defendants' objection to                  L210        2.00 hrs
                         summary judgment ruling.

10/10/2012    JES        Research case law cited in Defendants' objection.             L120        2.00 hrs


10/12/2012    JES        Revise response to objection.                                 L120        0.50 hrs


10/16/2012    DAW        Attend telephone conference with Ms. McGinnis                 L120        0.60 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27                Exhibit E
  096 01145                 Monthly Invoices Pg 508 of 1163
                                                         Invoice # 51780                   Page 2
                    (Residential Capital, LLC) and Ms. Geirlich
                    (GMAC Mortgage, LLC) regarding Abdalla case
                    issues.
10/16/2012   JES    Prepare for (.40) and attend telephone conference           L120         1.00 hrs
                    with Ms. McGinnis (Residential Capital), Ms.
                    Gierlich (GMAC Mortgage) and Mr. Wallace
                    regarding status of Abdalla case. (.60)
10/17/2012   DAW    Conference with Mr. Sechler regarding pretrial              L120         0.20 hrs
                    conference issues.

10/17/2012   JES    Telephone conference with Court regarding                   L120         0.20 hrs
                    borrowers' objection.

10/19/2012   DAW    Review Court orders denying motion for                      L120         0.10 hrs
                    reconsideration.

10/19/2012   JES    E-mail Ms. McGinnis (Residential Capital                    L120         0.20 hrs
                    regarding decision denying borrowers' summary
                    judgment objection.
10/22/2012   JES    Prepare for and attend pretrial hearing.                    L120         3.00 hrs


10/23/2012   DAW    Review Court orders setting pretrial and trial.             L120         0.20 hrs




                    TOTAL FEES FOR THIS MATTER                                               $2,356.00

EXPENSES

10/12/2012          Out-of-Town Travel/Mileage (290 miles X .55 split X 2) - travel                $79.75
                    to Cleveland, OH for filing (VW)

10/12/2012          Out-of-Town Travel/Parking (split X 2) - travel to Cleveland, OH                $0.62
                    for filing (VW)

10/22/2012          (TRIP-JES-10/22/12) Out-of-Town Travel/Mileage (284 miles X               $156.20
                    .55) - travel to Cleveland, OH to attend pretrial hearing

10/22/2012          (TRIP-JES-10/22/12) Out-of-Town Travel/Parking - travel to                      $5.00
                    Cleveland, OH to attend pretrial hearing

                    TOTAL EXPENSES FOR THIS MATTER                                            $241.57


BILLING SUMMARY
    12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
096 01145                   Monthly Invoices Pg 509 of 1163
                                                         Invoice # 51780         Page 3
      Wallace, David A.                       1.90 hrs   260.00 /hr        $494.00


      Sechler, Joel E.                        9.80 hrs   190.00 /hr    $1,862.00



   TOTAL FEES                                11.70 hrs                $2,356.00

   TOTAL EXPENSES                                                          $241.57

   TOTAL CHARGES FOR THIS INVOICE                                     $2,597.57
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                              Monthly Invoices Pg 510 of 1163
                        CARPENTER LIPPS & LELAND LLP

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                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                        November 15, 2012

                                                                    Billed through 10/31/2012
Tammy Hamzephour                                                    Invoice # 51781      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01146
190-FTW-L95
Fort Washington, PA 19034

Re: Vicki J. Mayse
Matter No.: 719178

PROFESSIONAL SERVICES

10/02/2012   KMC       E-mail correspondence with Ms. McGinnis                      L110        0.20 hrs
                       (Residential Capital) regarding deed being
                       recorded.
10/02/2012   KMC       Research regarding whether deed was recorded.                L120        0.20 hrs




                       TOTAL FEES FOR THIS MATTER                                                  $72.00


BILLING SUMMARY


         Cadieux, Karen M.                           0.40 hrs   180.00 /hr             $72.00



     TOTAL FEES                                      0.40 hrs                         $72.00

     TOTAL CHARGES FOR THIS INVOICE                                                   $72.00
       12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                               Monthly Invoices Pg 511 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                         November 15, 2012

                                                                    Billed through 10/31/2012
Tammy Hamzephour                                                    Invoice # 51782      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01150
190-FTW-L95
Fort Washington, PA 19034

Re: Melissa D. Lallo
Matter No.: 719854

PROFESSIONAL SERVICES

10/02/2012   JES       Telephone conference with Ms. McGinnis                       L120        0.20 hrs
                       (Residential Capital) regarding upcoming case
                       deadlines and strategy.
10/04/2012   JES       Telephone conference with Ms. McGinnis                       L120        0.30 hrs
                       (Residential Capital) regarding preparation of
                       deposition witness.
10/08/2012   DAW       Review e-mail regarding deposition issues.                   L120        0.10 hrs


10/08/2012   JES       Review and respond to e-mail from Mr. Dann                   L120        0.20 hrs
                       (opposing counsel) regarding settlement offer and
                       deposition scheduling.
10/12/2012   JES       Prepare litigation exposure summary for Ms.                  L120        0.20 hrs
                       McGinnis (Residential Capital).

10/16/2012   JES       Review file in preparation for preparing witness for         L120        6.00 hrs
                       deposition, and prepare agenda for introductory
                       telephone conference with witness.
10/17/2012   DAW       Telephone conference with Ms. McGinnis                       L120        0.10 hrs
                       (Residential Capital, LLC) regarding deposition
                       preparation issues.
10/17/2012   DAW       Conference with Mr. Sechler regarding deposition             L120        0.60 hrs
                       preparation issues.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
  096 01150                 Monthly Invoices Pg 512 of 1163
                                                         Invoice # 51782         Page 2
10/18/2012   DAW    Review memorandum regarding attorney-client           L120     0.90 hrs
                    privilege issues.

10/18/2012   DAW    Review timeline in reference to Montoya (GMAC         L120     0.90 hrs
                    Mortgage) deposition preparation.

10/18/2012   JES    Review research memorandum from Mr. Rhode             L120     1.00 hrs
                    regarding attorney-client privilege.

10/18/2012   JES    Revise case timeline.                                 L120     2.00 hrs


10/18/2012   JES    Draft custodian affidavit for motion for summary      L240     1.00 hrs
                    judgment.

10/18/2012   JDR    Research regarding avenues for waiving attorney       L120     1.50 hrs
                    client privilege in preparation for deposition
                    strategy.
10/18/2012   JDR    Research regarding boundaries of permissible          L120     1.70 hrs
                    testimony by client without voluntary waiver of
                    privilege in preparation for deposition strategy.
10/18/2012   JDR    Research regarding interpretations of "same           L120     0.80 hrs
                    subject matter" to determine potential scope of any
                    waiver in preparation for deposition strategy.
10/18/2012   JDR    Draft memorandum to Mr. Wallace and Mr.               L120     1.80 hrs
                    Sechler analyzing attorney client privilege
                    potential waiver and boundaries of client testimony
                    in preparation for deposition strategy.
10/22/2012   DAW    Conference with Mr. Sechler regarding Montoya         L120     0.60 hrs
                    (GMAC Mortgage) deposition preparation.

10/22/2012   DAW    Attend deposition preparation of Mr. Montoya          L330     1.60 hrs
                    (GMAC Mortgage).

10/22/2012   JES    Prepare Mr. Montoya (GMAC Mortgage) for               L331     4.50 hrs
                    upcoming deposition.

10/23/2012   DAW    Meet with Mr. Montoya (GMAC Mortgage, LLC)            L330     1.20 hrs
                    and Mr. Sechler regarding deposition preparation.

10/23/2012   DAW    Conference with Mr. Montoya (GMAC Mortgage,           L330     0.60 hrs
                    LLC) and Mr. Sechler regarding deposition
                    outcome.
10/23/2012   DAW    Telephone conference with Ms. McGinnis                L120     0.20 hrs
                    (Residential Capital, LLC) regarding deposition
                    outcome with Mr. Montoya (GMAC Mortgage,
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
  096 01150                    Monthly Invoices Pg 513 of 1163
                                                            Invoice # 51782                 Page 3
                        LLC).
10/23/2012   JES        Review memorandum and cases provided by Mr.              L120           2.00 hrs
                        Rhode regarding scope of attorney-client privilege
                        waiver.
10/23/2012   JES        Prepare for (2.20) and attend Montoya deposition.        L330           4.00 hrs
                        (1.80)

10/29/2012   JES        Prepare case status summaries requested by Ms.           L120           0.50 hrs
                        McGinnis (Residential Capital).

10/31/2012   JDR        Review and analyze recent Ohio Supreme Court             L210           0.60 hrs
                        Shwartzwald decision in preparation for drafting
                        memorandum analyzing future implications.
10/31/2012   JDR        Research regarding vacating void judgments and           L120           0.90 hrs
                        collateral attacks on appeal in preparation for
                        drafting memorandum analyzing future
                        implications of Shwartzwald decision.


                        TOTAL FEES FOR THIS MATTER                                              $7,097.00

EXPENSES

10/23/2012              Food/Beverage - lunch for Mr. Sechler and Mr. Montoya during                $20.40
                        deposition

                        TOTAL EXPENSES FOR THIS MATTER                                              $20.40


BILLING SUMMARY


         Wallace, David A.                             6.80 hrs   260.00 /hr      $1,768.00


         Rhode, Jacob D.                               7.30 hrs   160.00 /hr      $1,168.00


         Sechler, Joel E.                            21.90 hrs    190.00 /hr      $4,161.00



     TOTAL FEES                                      36.00 hrs                   $7,097.00

     TOTAL EXPENSES                                                                    $20.40

     TOTAL CHARGES FOR THIS INVOICE                                              $7,117.40
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                              Monthly Invoices Pg 514 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                         November 15, 2012

                                                                  Billed through 10/31/2012
Tammy Hamzephour                                                  Invoice # 51783      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 096 01151
190-FTW-L95
Fort Washington, PA 19034

Re: David P. Joyce
Matter No.: 719763

PROFESSIONAL SERVICES

10/03/2012   DAW       Review proposed order and e-mails regarding                L120        0.20 hrs
                       same.

10/09/2012   DAW       Draft e-mail to Mr. Perdew and Mr. Cunningham              L120        0.30 hrs
                       (pro hac counsel) regarding amended complaint.

10/11/2012   DAW       Review Court's order regarding pretrial conference         L120        0.10 hrs
                       and setting additional pretrial conference.



                       TOTAL FEES FOR THIS MATTER                                              $156.00


BILLING SUMMARY


         Wallace, David A.                           0.60 hrs    260.00 /hr         $156.00



     TOTAL FEES                                      0.60 hrs                      $156.00

     TOTAL CHARGES FOR THIS INVOICE                                                $156.00
      12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                                Monthly Invoices Pg 515 of 1163
                         CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                          November 15, 2012

                                                                    Billed through 10/31/2012
Tammy Hamzephour                                                    Invoice # 51784      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01157
190-FTW-L95
Fort Washington, PA 19034

Re: Stephanie J. Ramm
Matter No.: 721790

PROFESSIONAL SERVICES

10/17/2012   DAW        Conference with Ms. Cadieux regarding insurance             L120        0.10 hrs
                        issues.

10/17/2012   KMC        Telephone conference with Ms. McGinnis                      L110        0.20 hrs
                        (Residential Capital) regarding issues regarding
                        insurance claim for property damage.
10/17/2012   KMC        Telephone conference with borrower's counsel                L110        0.30 hrs
                        regarding damage to property, insurance proceeds
                        and loss mitigation.
10/18/2012   KMC        Telephone conference with borrowers' counsel                L110        0.20 hrs
                        regarding insurance proceeds and loss mitigation.

10/18/2012   KMC        Telephone conference with Ms. McGinnis                      L110        0.30 hrs
                        (Residential Capital) regarding insurance proceeds
                        and loss mitigation.
10/18/2012   KMC        E-mail borrower's counsel regarding information             L110        0.20 hrs
                        and documents needed for insurance proceeds to be
                        processed.
10/19/2012   KMC        Review e-mail regarding insurance claim.                    L110        0.10 hrs


10/22/2012   KMC        Review correspondence regarding insurance claim             L110        0.20 hrs
                        and how to proceed.

10/23/2012   KMC        Telephone conference with Ms. McGinnis                      L110        0.20 hrs
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27        Exhibit E
  096 01157                  Monthly Invoices Pg 516 of 1163
                                                          Invoice # 51784           Page 2
                      (Residential Capital) regarding insurance claim
                      procedures.
10/23/2012   KMC      Review insurance claim packet.                         L110       0.20 hrs


10/23/2012   KMC      Forward insurance claim packet to borrowers'           L110       0.20 hrs
                      counsel.



                      TOTAL FEES FOR THIS MATTER                                         $404.00


BILLING SUMMARY


         Wallace, David A.                           0.10 hrs   260.00 /hr     $26.00


         Cadieux, Karen M.                           2.10 hrs   180.00 /hr    $378.00



     TOTAL FEES                                      2.20 hrs                 $404.00

     TOTAL CHARGES FOR THIS INVOICE                                           $404.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                                Monthly Invoices Pg 517 of 1163
                           CARPENTER LIPPS & LELAND LLP

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                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                           November 15, 2012

                                                                     Billed through 10/31/2012
Tammy Hamzephour                                                     Invoice # 51785      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01163
190-FTW-L95
Fort Washington, PA 19034

Re: Elizabeth Campbell, et al.
Matter No.: 722676

PROFESSIONAL SERVICES

10/12/2012    DAW        Review e-mail regarding risk exposure analysis.             L120        0.10 hrs


10/15/2012    KMC        Review file for information on address of                   L110        0.30 hrs
                         borrowers.

10/15/2012    KMC        Review docket to determine whether appearance               L110        0.20 hrs
                         by telephone at status conference is allowed.

10/15/2012    KMC        Telephone conference with clerk's office regarding          L110        0.30 hrs
                         returned notices of status conference.

10/15/2012    KMC        Communicate with Ms. McGinnis (Residential                  L110        0.10 hrs
                         Capital) regarding whether any property inspection
                         reports show property as vacant or whether
                         GMACM received any notice of borrowers' change
                         in address.
10/16/2012    KMC        E-mail correspondence with Ms. McGinnis                     L110        0.20 hrs
                         (Residential Capital) regarding loss mitigation
                         options available for rental properties.
10/16/2012    KMC        Telephone conference with judge's chambers                  L110        0.20 hrs
                         regarding appearing at status conference by
                         telephone and notices being returned.
10/16/2012    KMC        Review information regarding whether property is            L110        0.20 hrs
                         occupied.
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27         Exhibit E
  096 01163                  Monthly Invoices Pg 518 of 1163
                                                          Invoice # 51785            Page 2

10/17/2012   DAW      Conference with Ms. Cadieux regarding status            L120       0.20 hrs
                      conference and case issues.

10/17/2012   KMC      Telephone conference with court regarding issue         L110       0.30 hrs
                      with hearing notices and attending status
                      conference by telephone.
10/18/2012   DAW      Conference with Ms. Cadieux regarding status            L120       0.30 hrs
                      conference and case approach.

10/18/2012   KMC      Attend telephone status conference.                     L110       0.30 hrs


10/18/2012   KMC      Review loan file to ensure no documents needed          L110       1.10 hrs
                      for motion for summary judgment are missing.

10/18/2012   KMC      Telephone conference with Ms. McGinnis                  L110       0.20 hrs
                      (Residential Capital) regarding status conference.

10/18/2012   KMC      E-mail foreclosure counsel regarding missing            L110       0.10 hrs
                      pages of complaint.

10/18/2012   KMC      E-mail correspondence with Ms. McGinnis                 L110       0.10 hrs
                      (Residential Capital) regarding status conference.



                      TOTAL FEES FOR THIS MATTER                                          $804.00


BILLING SUMMARY


         Wallace, David A.                           0.60 hrs    260.00 /hr    $156.00


         Cadieux, Karen M.                           3.60 hrs    180.00 /hr    $648.00



     TOTAL FEES                                      4.20 hrs                  $804.00

     TOTAL CHARGES FOR THIS INVOICE                                            $804.00
       12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                                 Monthly Invoices Pg 519 of 1163
                           CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                            November 15, 2012

                                                                       Billed through 10/31/2012
Tammy Hamzephour                                                       Invoice # 51786      JAL
Residential Capital, LLC
1100 Virginia Drive                                                    Our file # 096 01169
190-FTW-L95
Fort Washington, PA 19034

Re: Theodore Klotz II, et al.
Matter No.: 725104

PROFESSIONAL SERVICES

10/29/2012     KMC        E-mail correspondence with Ms. McGinnis                      L110        0.20 hrs
                          (Residential Capital) regarding status of case.



                          TOTAL FEES FOR THIS MATTER                                                  $36.00


BILLING SUMMARY


           Cadieux, Karen M.                              0.20 hrs    180.00 /hr          $36.00



      TOTAL FEES                                          0.20 hrs                       $36.00

      TOTAL CHARGES FOR THIS INVOICE                                                     $36.00
        12-12020-mg         Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                                    Monthly Invoices Pg 520 of 1163
                             CARPENTER LIPPS & LELAND LLP

                                             280 Plaza, Suite 1300
                                             280 North High Street
                                             Columbus, OH 43215
                                                (614) 365-4100
                                            Federal ID # XX-XXXXXXX



                                               November 15, 2012

                                                                          Billed through 10/31/2012
Tammy Hamzephour                                                          Invoice # 51787      JAL
Residential Capital, LLC
1100 Virginia Drive                                                       Our file # 096 01171
190-FTW-L95
Fort Washington, PA 19034

Re: Jon G. Paglio, et al.
Matter No.: 724325

PROFESSIONAL SERVICES

10/05/2012     KMC          Review loan modification documents.                           L110        0.30 hrs


10/09/2012     DAW          Review e-mail to Ms. McGinnis (Residential                    L120        0.10 hrs
                            Capital, LLC) regarding loan modification issues.

10/09/2012     KMC          Review loan modification documents.                           L110        0.20 hrs


10/09/2012     KMC          Telephone conference with Ms. McGinnis                        L110        0.20 hrs
                            (Residential Capital) regarding problems with loan
                            modification documents.
10/09/2012     KMC          Revise loan modification documents.                           L110        0.20 hrs


10/09/2012     KMC          Draft settlement agreement.                                   L160        0.70 hrs


10/09/2012     KMC          E-mail correspondence with Ms. McGinnis                       L110        0.20 hrs
                            (Residential Capital) regarding settlement
                            agreement and whether bankruptcy provision
                            should be included if party to the action is trust.
10/10/2012     KMC          E-mail Ms. McGinnis (Residential Capital)                     L160        0.20 hrs
                            regarding down payment for settlement.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27    Exhibit E
  096 01171                 Monthly Invoices Pg 521 of 1163
                                                         Invoice # 51787       Page 2
10/10/2012   KMC    Revise loan modification documents.                 L110     0.10 hrs


10/10/2012   KMC    Review e-mail regarding down payment amount.        L110     0.10 hrs


10/10/2012   KMC    Telephone conference with Ms. McGinnis              L110     0.20 hrs
                    (Residential Capital) regarding changes to loan
                    modification documents.
10/10/2012   KMC    Telephone conference with Ms. McGinnis              L110     0.10 hrs
                    (Residential Capital) regarding date down payment
                    is due.
10/11/2012   DAW    Revise settlement agreement and loan modification   L160     0.80 hrs
                    documents.

10/11/2012   KMC    Revise settlement agreement.                        L110     0.30 hrs


10/11/2012   KMC    Prepare blacklined settlement agreement.            L160     0.20 hrs


10/11/2012   KMC    Draft stipulation of dismissal.                     L210     0.30 hrs


10/11/2012   KMC    E-mail correspondence regarding bankruptcy          L160     0.20 hrs
                    provision in settlement agreement.

10/11/2012   KMC    Forward draft of settlement agreement to Ms.        L160     0.10 hrs
                    McGinnis (Residential Capital) for review and
                    approval.
10/11/2012   KMC    E-mail Ms. McGinnis (Residential Capital)           L110     0.10 hrs
                    regarding credit reporting.

10/12/2012   DAW    Review proposed dismissal entry.                    L120     0.20 hrs


10/12/2012   DAW    Review order granting summary judgment issues.      L120     0.30 hrs


10/12/2012   KMC    Revise dismissal entry based on comments of Mr.     L210     0.20 hrs
                    Wallace.

10/15/2012   DAW    Review e-mail to MERS counsel regarding             L120     0.10 hrs
                    dismissal.

10/15/2012   DAW    Review judgment entry granting summary              L120     0.30 hrs
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
  096 01171                  Monthly Invoices Pg 522 of 1163
                                                          Invoice # 51787              Page 3
                      judgment, allowing late briefs denying motion to
                      refer to mediation, and granting motion to dismiss
                      counterclaim.
10/15/2012   DAW      Draft e-mail regarding settlement agreement and          L120        0.30 hrs
                      dismissal to Mr. Patterson (counsel for Paglios).

10/15/2012   KMC      E-mail entry dismissing third-party claims against       L110        0.10 hrs
                      MERS to Ms. Betta (MERS counsel).

10/15/2012   KMC      Prepare settlement agreement and dismissal entry         L110        0.40 hrs
                      to be sent to borrowers' counsel.

10/15/2012   KMC      Review orders granting motion for summary                L110        0.20 hrs
                      judgment and motion to dismiss.

10/15/2012   KMC      Forward orders granting motion for summary               L110        0.30 hrs
                      judgment and motion to dismiss to Ms. McGinnis
                      (Residential Capital).
10/15/2012   KMC      Review e-mail from Ms. McGinnis (Residential             L160        0.10 hrs
                      Capital) approving settlement agreement.

10/29/2012   DAW      Telephone conference with Mr. Patterson (counsel         L120        0.30 hrs
                      for Paglios) regarding loan modification issues and
                      extension of time on payment deadline.
10/29/2012   DAW      Telephone conference with Ms. McGinnis                   L120        0.30 hrs
                      (Residential Capital, LLC) regarding extension of
                      time on payment deadline.
10/30/2012   DAW      Telephone conference with Mr. Patterson (counsel         L120        0.30 hrs
                      for Paglios) regarding extending date for payment
                      of down payment and credit reporting.
10/31/2012   DAW      Telephone conference with Ms. McGinnis                   L120        0.20 hrs
                      (Residential Capital) regarding settlement issues.



                      TOTAL FEES FOR THIS MATTER                                           $1,732.00


BILLING SUMMARY


         Wallace, David A.                           3.20 hrs     260.00 /hr     $832.00


         Cadieux, Karen M.                           5.00 hrs     180.00 /hr     $900.00



     TOTAL FEES                                      8.20 hrs                  $1,732.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27    Exhibit E
096 01171                 Monthly Invoices Pg 523 of 1163
                                                       Invoice # 51787       Page 4


   TOTAL CHARGES FOR THIS INVOICE                                   $1,732.00
        12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                                  Monthly Invoices Pg 524 of 1163
                            CARPENTER LIPPS & LELAND LLP

                                           280 Plaza, Suite 1300
                                           280 North High Street
                                           Columbus, OH 43215
                                              (614) 365-4100
                                          Federal ID # XX-XXXXXXX



                                             November 15, 2012

                                                                      Billed through 10/31/2012
Tammy Hamzephour                                                      Invoice # 51788      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 096 01172
190-FTW-L95
Fort Washington, PA 19034

Re: William J. Barrett, et al.
Matter No.: 724024

PROFESSIONAL SERVICES

10/26/2012     KMC         E-mail correspondence with Ms. McGinnis                    L110        0.30 hrs
                           (Residential Capital) regarding whether case
                           should be retained by the estate post-sale.


                           TOTAL FEES FOR THIS MATTER                                                $54.00


BILLING SUMMARY


           Cadieux, Karen M.                             0.30 hrs    180.00 /hr          $54.00



      TOTAL FEES                                         0.30 hrs                       $54.00

      TOTAL CHARGES FOR THIS INVOICE                                                    $54.00
       12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                              Monthly Invoices Pg 525 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                         November 15, 2012

                                                                    Billed through 10/31/2012
Tammy Hamzephour                                                    Invoice # 51789      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01173
190-FTW-L95
Fort Washington, PA 19034

Re: Price Hill Will
Matter No.: 724458

PROFESSIONAL SERVICES

10/01/2012   DAW       Review notice of deposition by Wells Fargo of Mr.            L120        0.20 hrs
                       Huber and Mr. Strauss of Price Hill Will.

10/04/2012   DAW       Confirm deposition coverage.                                 L120        0.10 hrs


10/10/2012   JES       Review federal District Court decision in related            L120        0.50 hrs
                       litigation.

10/11/2012   DAW       Review e-mails regarding discovery issues and                L120        0.20 hrs
                       deposition dates.

10/11/2012   DAW       Review e-mail regarding decision in related City of          L120        0.20 hrs
                       Cincinnati case.

10/11/2012   DAW       Review recent nuisance case decision by Judge                L120        0.20 hrs
                       Beckwith in related City of Cincinnati case.

10/11/2012   JES       Review e-mails from Mr. Burke (counesl to Wells              L120        0.50 hrs
                       Fargo) and Mr. Schrider (counsel for Price Hill
                       Will) regarding discovery issues.
10/12/2012   DAW       Review e-mail regarding deposition issues.                   L120        0.10 hrs


10/12/2012   DAW       Telephone conference with Ms. McGinnis                       L120        0.10 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
  096 01173                 Monthly Invoices Pg 526 of 1163
                                                         Invoice # 51789        Page 2
                    (Residential Capital, LLC) regarding risk exposure
                    analysis.
10/12/2012   JES    Prepare litigation exposure summary for Ms.          L120     0.20 hrs
                    McGinnis (Residential Capital).

10/16/2012   DAW    Review e-mails confirming Price Hill Will            L120     0.20 hrs
                    depositions.

10/17/2012   DAW    Review correspondence regarding document             L120     0.10 hrs
                    production issues.

10/17/2012   DAW    Review e-mail regarding status of production of      L120     0.10 hrs
                    documents from Mr. Schrider (counsel for Price
                    Hill Will).
10/19/2012   DAW    Review e-mails regarding deposition date             L120     0.10 hrs
                    confirmation.

10/22/2012   DAW    Review correspondence regarding discovery            L120     0.10 hrs
                    responses.

10/24/2012   DAW    Review e-mail regarding Wells Fargo Rule             L120     0.10 hrs
                    30(B)(5) depositions.

10/24/2012   DAW    Review e-mail regarding proposed stipulation         L120     0.10 hrs
                    regarding the specific knowledge of Wells Fargo's
                    CEO.
10/24/2012   DAW    Review deposition notice and subject matter of       L120     0.10 hrs
                    Wells Fargo Rule 30(B)(5) deposition of Price Hill
                    Will.
10/26/2012   JES    Review e-mails from counsel regarding                L120     0.50 hrs
                    outstanding discovery and scheduling upcoming
                    depositions.
10/29/2012   DAW    Conference with Mr. Sechler regarding document       L120     0.20 hrs
                    production issues.

10/29/2012   JES    Review document production by co-defendants.         L310     4.00 hrs


10/30/2012   JES    E-mail Mr. Schrider (counsel for Price Hill Will)    L120     0.20 hrs
                    regarding document production extension.

10/31/2012   DAW    Review e-mail from Deutsche Bank counsel             L120     0.10 hrs
                    regarding verification language.



                    TOTAL FEES FOR THIS MATTER                                    $1,719.00
     12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
 096 01173                   Monthly Invoices Pg 527 of 1163
                                                          Invoice # 51789         Page 3


BILLING SUMMARY


       Wallace, David A.                       2.30 hrs   260.00 /hr        $598.00


       Sechler, Joel E.                        5.90 hrs   190.00 /hr    $1,121.00



    TOTAL FEES                                 8.20 hrs                $1,719.00

    TOTAL CHARGES FOR THIS INVOICE                                     $1,719.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                                Monthly Invoices Pg 528 of 1163
                             CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                           November 15, 2012

                                                                      Billed through 10/31/2012
Tammy Hamzephour                                                      Invoice # 51790      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 096 01174
190-FTW-L95
Fort Washington, PA 19034

Re: Harold W. Rapp, et al.
Matter No.: 724334

PROFESSIONAL SERVICES

10/05/2012    JES        Review permanent loan modification documents.                L120        0.30 hrs
                         (.20) E-mail opposing counsel regarding same.
                         (.10)
10/08/2012    JES        Review and respond to e-mails from opposing                  L120        0.20 hrs
                         counsel regarding execution of loan modification
                         documents.
10/10/2012    JES        Draft settlement agreement.                                  L120        2.00 hrs


10/11/2012    JES        E-mail executed loan modifications and settlement            L120        0.10 hrs
                         agreement to Ms. McGinnis (Residential Capital).

10/12/2012    JES        Prepare litigation exposure summary for Ms.                  L120        0.20 hrs
                         McGinnis (Residential Capital).

10/16/2012    JES        Revise settlement agreement.                                 L120        0.20 hrs


10/16/2012    JES        Telephone conference with Ms. McGinnis                       L120        0.20 hrs
                         (Residential Capital) regarding finalizing
                         settlement agreement.
10/18/2012    JES        E-mail settlement agreement to opposing counsel.             L120        0.10 hrs


10/23/2012    JES        E-mail Ms. McGinnis (Residential Capital)                    L120        0.20 hrs
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
  096 01174                    Monthly Invoices Pg 529 of 1163
                                                            Invoice # 51790              Page 2
                        regarding Rapp loan modification execution.



                        TOTAL FEES FOR THIS MATTER                                           $665.00

EXPENSES

10/24/2012              Delivery Service/Messengers - Federal Express to Cynthia                 $23.74
                        Hamilton, GMAC Mortgage from Mr. Sechler

                        TOTAL EXPENSES FOR THIS MATTER                                           $23.74


BILLING SUMMARY


         Sechler, Joel E.                             3.50 hrs   190.00 /hr        $665.00



     TOTAL FEES                                       3.50 hrs                     $665.00

     TOTAL EXPENSES                                                                 $23.74

     TOTAL CHARGES FOR THIS INVOICE                                                $688.74
       12-12020-mg        Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27               Exhibit E
                                  Monthly Invoices Pg 530 of 1163
                           CARPENTER LIPPS & LELAND LLP

                                           280 Plaza, Suite 1300
                                           280 North High Street
                                           Columbus, OH 43215
                                              (614) 365-4100
                                          Federal ID # XX-XXXXXXX



                                             November 15, 2012

                                                                         Billed through 10/31/2012
Tammy Hamzephour                                                         Invoice # 51791      JAL
Residential Capital, LLC
1100 Virginia Drive                                                      Our file # 096 01175
190-FTW-L95
Fort Washington, PA 19034

Re: Melissa Fox, et al.
Matter No.: 723432

PROFESSIONAL SERVICES

10/01/2012    DAW         Conference with Mr. Sechler regarding appeal                   L120        0.30 hrs
                          issues.

10/01/2012    JES         Review summary judgment materials underlying                   L240        1.00 hrs
                          recent sixth district foreclosure standing decision
                          for use in oral argument preparation.
10/02/2012    JES         Prepare oral argument outline.                                 L530        2.00 hrs


10/02/2012    JES         Telephone conference with Ms. McGinnis                         L120        0.20 hrs
                          (Residential Capital) regarding upcoming case
                          deadlines and strategy.
10/03/2012    JES         E-mail opposing counsel regarding loan                         L120        0.10 hrs
                          modification option.

10/03/2012    JES         Prepare for (4.20) and attend appellate oral                   L530        6.00 hrs
                          argument (1.80).

10/05/2012    JES         Review proposed loan modification.                             L120        0.30 hrs


10/05/2012    JES         E-mail opposing counsel regarding loan                         L120        0.30 hrs
                          modification offer.

10/05/2012    JES         Telephone conference with Ms. McGinnis                         L120        0.40 hrs
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
  096 01175                    Monthly Invoices Pg 531 of 1163
                                                            Invoice # 51791                 Page 2
                        (Residential Capital) regarding loan modification
                        offer.
10/12/2012   JES        Prepare litigation exposure summary for Ms.              L120           0.20 hrs
                        McGinnis (Residential Capital).

10/16/2012   JES        E-mail client and opposing counsel regarding             L120           0.20 hrs
                        conditional borrower loan modification approval.

10/17/2012   JES        Conference with opposing counsel regarding status        L120           0.20 hrs
                        of loan modifications.



                        TOTAL FEES FOR THIS MATTER                                              $2,149.00

EXPENSES

10/01/2012              Outside Copying - copies of documents from Sandusky County                  $6.80
                        Clerk of Courts

10/01/2012              Delivery Service/Messengers - Federal Express Sandusky Clerk               $11.28
                        of Courts from Mr. Sechler

10/05/2012              (TRIP-JES-10/5/12) Out-of-Town Travel/Mileage (285.74 miles              $157.16
                        X .55) - travel to Lucas County Court of Appeals

                        TOTAL EXPENSES FOR THIS MATTER                                           $175.24


BILLING SUMMARY


         Wallace, David A.                             0.30 hrs   260.00 /hr           $78.00


         Sechler, Joel E.                            10.90 hrs    190.00 /hr      $2,071.00



     TOTAL FEES                                      11.20 hrs                   $2,149.00

     TOTAL EXPENSES                                                                $175.24

     TOTAL CHARGES FOR THIS INVOICE                                              $2,324.24
      12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
                                Monthly Invoices Pg 532 of 1163
                         CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                          November 15, 2012

                                                                   Billed through 10/31/2012
Tammy Hamzephour                                                   Invoice # 51792      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01179
190-FTW-L95
Fort Washington, PA 19034

Re: Bertha O. Cameron
Matter No.: 725474

PROFESSIONAL SERVICES

10/16/2012   DAW        Review Court's notice regarding cancellation of            L120        0.10 hrs
                        sale.



                        TOTAL FEES FOR THIS MATTER                                                $26.00


BILLING SUMMARY


         Wallace, David A.                            0.10 hrs    260.00 /hr          $26.00



     TOTAL FEES                                       0.10 hrs                       $26.00

     TOTAL CHARGES FOR THIS INVOICE                                                  $26.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27               Exhibit E
                                Monthly Invoices Pg 533 of 1163
                             CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                           November 15, 2012

                                                                      Billed through 10/31/2012
Tammy Hamzephour                                                      Invoice # 51793      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 096 01181
190-FTW-L95
Fort Washington, PA 19034

Re: Louise R. Young-Berdella, et al.
Matter No.: 725757

PROFESSIONAL SERVICES

10/19/2012    JES        Draft motion to extend dismissal deadline.                   L120        0.20 hrs




                         TOTAL FEES FOR THIS MATTER                                                   $38.00

EXPENSES

10/19/2012               Delivery Service/Messengers - Federal Express to Stark County                $11.28
                         Common Pleas from Mr. Sechler

                         TOTAL EXPENSES FOR THIS MATTER                                               $11.28


BILLING SUMMARY


          Sechler, Joel E.                             0.20 hrs       190.00 /hr         $38.00



      TOTAL FEES                                       0.20 hrs                          $38.00

      TOTAL EXPENSES                                                                     $11.28

      TOTAL CHARGES FOR THIS INVOICE                                                     $49.28
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27    Exhibit E
096 01181                 Monthly Invoices Pg 534 of 1163
                                                       Invoice # 51793       Page 2
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                              Monthly Invoices Pg 535 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                         November 15, 2012

                                                                    Billed through 10/31/2012
Tammy Hamzephour                                                    Invoice # 51794      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01183
190-FTW-L95
Fort Washington, PA 19034

Re: Jamah Jackson
Matter No.: 726125

PROFESSIONAL SERVICES

10/01/2012   DAW       Review waiver checks received from GMAC.                     L120        0.10 hrs


10/02/2012   DAW       Draft e-mail to Mr. Armstrong (Prosecutor)                   L120        0.30 hrs
                       regarding case status.

10/02/2012   DAW       Review e-mail from Mr. Armstrong (Prosecutor)                L120        0.10 hrs
                       regarding case status.

10/03/2012   DAW       Review dockets to confirm waiver instructions.               L120        0.10 hrs


10/03/2012   DAW       Draft e-mail to Mr. Armstrong (Prosecutor)                   L120        0.20 hrs
                       regarding waiver instructions on docket, and
                       discrepancy with agreement.
10/03/2012   DAW       Draft e-mail to Magistrate Roberts regarding                 L120        0.30 hrs
                       docket instructions.

10/03/2012   DAW       Review e-mail from Magistrate Roberts regarding              L120        0.20 hrs
                       docket instructions.

10/03/2012   DAW       Review e-mails from Mr. Armstrong (Prosecutor)               L120        0.20 hrs
                       confirming agreement.

10/04/2012   DAW       Review e-mail regarding owned real estate issues.            L120        0.10 hrs
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27                  Exhibit E
  096 01183                  Monthly Invoices Pg 536 of 1163
                                                          Invoice # 51794                     Page 2



10/04/2012   DAW      Draft e-mail regarding owned real estate issues and          L120         0.20 hrs
                      case dismissal by prosecutor to Ms. McGinnis
                      (Residential Capital, LLC)
10/10/2012   DAW      Review docket regarding dismissals.                          L120         0.10 hrs


10/11/2012   DAW      Review dockets regarding dismissal and waiver                L120         0.10 hrs
                      payments.

10/16/2012   DAW      Draft e-mail to Magistrate Roberts regarding status          L120         0.60 hrs
                      of dismissals and waiver payment.

10/18/2012   DAW      Conference with Ms. Cadieux regarding lien                   L120         0.30 hrs
                      release issues.

10/18/2012   DAW      Revise correspondence regarding case issues.                 L120         0.30 hrs




                      TOTAL FEES FOR THIS MATTER                                                 $832.00

EXPENSES

10/01/2012            (TRIP-DAW-9/18-19/12) Out-of-Town Travel/Mileage (284                           $52.06
                      miles X .55 split X3) - travel to Cleveland, OH to attend hearing
                      and pretrial conference

10/01/2012            (TRIP-DAW-9/18-19/12) Out-of-Town Travel/Hotel (split X2) -                $144.75
                      travel to Cleveland, OH to attend hearing and pretrial conference

10/01/2012            (TRIP-DAW-9/18-19/12) Out-of-Town Travel/Parking (split X2)                     $10.00
                      - travel to Cleveland, OH to attend hearing and pretrial
                      conference

                      TOTAL EXPENSES FOR THIS MATTER                                             $206.81


BILLING SUMMARY


         Wallace, David A.                           3.20 hrs    260.00 /hr          $832.00



     TOTAL FEES                                      3.20 hrs                        $832.00

     TOTAL EXPENSES                                                                  $206.81
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27    Exhibit E
096 01183                 Monthly Invoices Pg 537 of 1163
                                                       Invoice # 51794       Page 3

   TOTAL CHARGES FOR THIS INVOICE                                   $1,038.81
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                              Monthly Invoices Pg 538 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                        November 15, 2012

                                                                    Billed through 10/31/2012
Tammy Hamzephour                                                    Invoice # 51795      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01184
190-FTW-L95
Fort Washington, PA 19034

Re: Ngozi Nkemere
Matter No.: 726176

PROFESSIONAL SERVICES

10/05/2012   DAW       Draft e-mail to Mr. Armstrong (Prosecutor)                   L120        0.20 hrs
                       regarding status of dismissal decision.

10/05/2012   DAW       Review e-mail from Mr. Armstrong (Prosecutor)                L120        0.10 hrs
                       regarding status of dismissal decision.

10/05/2012   DAW       Draft e-mail to Ms. McGinnis (Residential Capital,           L120        0.10 hrs
                       LLC) regarding status of dismissal decision.



                       TOTAL FEES FOR THIS MATTER                                                $104.00


BILLING SUMMARY


         Wallace, David A.                           0.40 hrs    260.00 /hr           $104.00



     TOTAL FEES                                      0.40 hrs                        $104.00

     TOTAL CHARGES FOR THIS INVOICE                                                  $104.00
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
                              Monthly Invoices Pg 539 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                          November 15, 2012

                                                                 Billed through 10/31/2012
Tammy Hamzephour                                                 Invoice # 51796      JAL
Residential Capital, LLC
1100 Virginia Drive                                              Our file # 096 01185
190-FTW-L95
Fort Washington, PA 19034

Re: Lisa M. Ramey
Matter No.: 726140

PROFESSIONAL SERVICES

10/05/2012   JES       Draft liability assessment.                               L120        1.00 hrs


10/05/2012   JES       Finalize written discovery responses.                     L210        0.50 hrs


10/08/2012   JES       Draft written document requests to Ms. Ramey.             L120        2.00 hrs


10/08/2012   JES       E-mail borrower's counsel regarding outstanding           L120        0.20 hrs
                       discovery and status of loan modification
                       application.
10/10/2012   JES       Review and respond to e-mails from Ms. McGinnis           L120        0.10 hrs
                       (Residential Capital) regarding loan modification
                       application status.
10/18/2012   JES       E-mail opposing counsel regarding loan                    L120        0.20 hrs
                       modification denial.

10/19/2012   DAW       Review face-to-face meeting risk assessment               L120        0.40 hrs
                       materials.

10/23/2012   JES       Review and respond to e-mail from Ms. Ramey's             L120        0.10 hrs
                       counsel regarding reinstatement quote.

10/29/2012   JES       E-mail opposing counsel regarding reinstatement           L120        0.10 hrs
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27               Exhibit E
  096 01185                    Monthly Invoices Pg 540 of 1163
                                                            Invoice # 51796                  Page 2
                        issues.



                        TOTAL FEES FOR THIS MATTER                                               $902.00

EXPENSES

10/09/2012              Outside Copying - certified copy from Erie County Recorder                    $9.00

10/09/2012              Delivery Service/Messengers - Federal Express to Erie County                 $11.28
                        Recorder from Mr. Sechler

10/23/2012              Delivery Service/Messengers - Federal Express to Erie County                 $11.28
                        Recorder from Mr. Sechler

                        TOTAL EXPENSES FOR THIS MATTER                                               $31.56


BILLING SUMMARY


         Wallace, David A.                           0.40 hrs    260.00 /hr            $104.00


         Sechler, Joel E.                            4.20 hrs    190.00 /hr            $798.00



     TOTAL FEES                                      4.60 hrs                          $902.00

     TOTAL EXPENSES                                                                     $31.56

     TOTAL CHARGES FOR THIS INVOICE                                                    $933.56
      12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                                Monthly Invoices Pg 541 of 1163
                         CARPENTER LIPPS & LELAND LLP

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                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                          November 15, 2012

                                                                    Billed through 10/31/2012
Tammy Hamzephour                                                    Invoice # 51797      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01186
190-FTW-L95
Fort Washington, PA 19034

Re: George W. Roberts
Matter No.: 726189

PROFESSIONAL SERVICES

10/29/2012   DAW        Telephone conference with Ms. McGinnis                      L120        0.20 hrs
                        (Residential Capital, LLC) regarding case status.

10/29/2012   DAW        Review e-mail regarding case status and dismissal.          L120        0.10 hrs




                        TOTAL FEES FOR THIS MATTER                                                 $78.00


BILLING SUMMARY


         Wallace, David A.                             0.30 hrs    260.00 /hr          $78.00



     TOTAL FEES                                        0.30 hrs                       $78.00

     TOTAL CHARGES FOR THIS INVOICE                                                   $78.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                                Monthly Invoices Pg 542 of 1163
                           CARPENTER LIPPS & LELAND LLP

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                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                           November 15, 2012

                                                                     Billed through 10/31/2012
Tammy Hamzephour                                                     Invoice # 51798      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01187
190-FTW-L95
Fort Washington, PA 19034

Re: Martha A. Richner, et al.
Matter No.: 726603

PROFESSIONAL SERVICES

10/01/2012    DAW        Review notice of termination of automatic stay.             L120        0.10 hrs


10/01/2012    KMC        Review order terminating bankruptcy stay.                   L110        0.10 hrs


10/01/2012    KMC        Forward order terminating bankruptcy stay to Ms.            L110        0.10 hrs
                         McGinnis (Residential Capital).

10/04/2012    DAW        Review e-mail from Mr. Newton (Morrison &                   L120        0.10 hrs
                         Foerster) regarding Bankruptcy Court stipulation.

10/04/2012    KMC        Review stipulation entered in bankruptcy court              L110        0.10 hrs
                         lifting bankruptcy stay.

10/30/2012    KMC        E-mail correspondence with borrower regarding               L110        0.20 hrs
                         payment and completing settlement.

10/30/2012    KMC        Telephone conference with Ms. McGinnis                      L110        0.20 hrs
                         (Residential Capital) regarding extension of time
                         for payment.


                         TOTAL FEES FOR THIS MATTER                                               $178.00
     12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
 096 01187                 Monthly Invoices Pg 543 of 1163
                                                        Invoice # 51798         Page 2
BILLING SUMMARY


       Wallace, David A.                     0.20 hrs   260.00 /hr         $52.00


       Cadieux, Karen M.                     0.70 hrs   180.00 /hr        $126.00



    TOTAL FEES                               0.90 hrs                     $178.00

    TOTAL CHARGES FOR THIS INVOICE                                        $178.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                                Monthly Invoices Pg 544 of 1163
                           CARPENTER LIPPS & LELAND LLP

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                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                          November 15, 2012

                                                                     Billed through 10/31/2012
Tammy Hamzephour                                                     Invoice # 51799      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01189
190-FTW-L95
Fort Washington, PA 19034

Re: Bernard Turzynski, et al.
Matter No.: 726793

PROFESSIONAL SERVICES

10/10/2012    KMC        E-mail borrowers' counsel regarding withdrawal of           L210        0.10 hrs
                         consumer complaint.

10/11/2012    KMC        E-mail Ms. McGinnis (Residential Capital)                   L210        0.10 hrs
                         regarding withdrawal of consumer complaint.

10/15/2012    KMC        Review check for October payment to ensure it is            L110        0.10 hrs
                         made in correct amount.

10/15/2012    KMC        E-mail Ms. McGinnis (Residential Capital)                   L110        0.10 hrs
                         regarding check for October payment.

10/30/2012    DAW        Conference with Ms. Cadieux regarding settlement            L120        0.10 hrs
                         status.



                         TOTAL FEES FOR THIS MATTER                                                 $98.00


BILLING SUMMARY


           Wallace, David A.                           0.10 hrs   260.00 /hr            $26.00


           Cadieux, Karen M.                           0.40 hrs   180.00 /hr            $72.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
096 01189                 Monthly Invoices Pg 545 of 1163
                                                       Invoice # 51799        Page 2



   TOTAL FEES                               0.50 hrs                     $98.00

   TOTAL CHARGES FOR THIS INVOICE                                        $98.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                                Monthly Invoices Pg 546 of 1163
                         CARPENTER LIPPS & LELAND LLP

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                                          November 15, 2012

                                                                    Billed through 10/31/2012
Tammy Hamzephour                                                    Invoice # 51800      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01192
190-FTW-L95
Fort Washington, PA 19034

Re: Judith G. Bigelow
Matter No.: 728487

PROFESSIONAL SERVICES

10/04/2012   KMC        Review order regarding status report.                       L110        0.10 hrs


10/04/2012   KMC        E-mail correspondence with borrower's counsel               L110        0.20 hrs
                        regarding e-mail purporting to be from GMAC
                        regarding HAMP denial.
10/04/2012   KMC        E-mail Ms. McGinnis (Residential Capital) to                L110        0.10 hrs
                        confirm e-mail to borrower regarding HAMP
                        denial was not sent by GMACM.
10/05/2012   KMC        Review correspondence regarding e-mail to                   L110        0.10 hrs
                        borrowers regarding HAMP not being from
                        GMACM.
10/05/2012   KMC        E-mail borrower's counsel to confirm e-mail to              L110        0.10 hrs
                        borrowers regarding HAMP not being from
                        GMACM.
10/08/2012   DAW        Review Court order regarding financial review and           L120        0.10 hrs
                        setting report date.

10/09/2012   KMC        Review e-mail regarding approval of modification            L110        0.10 hrs
                        by Fannie Mae.

10/10/2012   KMC        Telephone conference with Ms. McGinnis                      L110        0.30 hrs
                        (Residential Capital) regarding difference in
                        approved modification and prior proposed
                        modification.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
  096 01192                 Monthly Invoices Pg 547 of 1163
                                                         Invoice # 51800         Page 2

10/10/2012   KMC    Telephone conference with Ms. McGinnis                L110     0.30 hrs
                    (Residential Capital) regarding issues with
                    approved loan modification.
10/11/2012   KMC    Review revised approved loan modification.            L110     0.20 hrs


10/11/2012   KMC    Telephone conference with Ms. McGinnis                L110     0.30 hrs
                    (Residential Capital) regarding revised approved
                    loan modification and issues with escrow.
10/11/2012   KMC    Review current Fi-serv information regarding          L110     0.20 hrs
                    escrow.

10/16/2012   KMC    Review new loan modification terms approved by        L110     0.30 hrs
                    Fannie Mae.

10/17/2012   KMC    Review updated loan modification offer and            L110     0.30 hrs
                    compare to prior offer.

10/17/2012   KMC    Telephone conference with Ms. McGinnis                L110     0.30 hrs
                    (Residential Capital) regarding escrow issues and
                    difference in escrow amounts.
10/18/2012   KMC    Review information regarding change in escrow         L110     0.20 hrs
                    payment.

10/19/2012   KMC    Draft correspondence to borrowers' counsel with       L110     0.60 hrs
                    loan modification terms.

10/19/2012   KMC    E-mail correspondence with borrowers' counsel         L110     0.20 hrs
                    regarding escrow changes.

10/19/2012   KMC    E-mail Ms. McGinnis (Residential Capital)             L110     0.10 hrs
                    regarding escrow changes.

10/22/2012   KMC    Review e-mail from borrowers' counsel regarding       L110     0.30 hrs
                    question about loan modification offer.

10/22/2012   KMC    Draft e-mail to Ms. McGinnis (Residential Capital)    L110     0.30 hrs
                    regarding questions about loan modification offer

10/22/2012   KMC    Telephone conference with Ms. McGinnis                L110     0.30 hrs
                    (Residential Capital) regarding question about loan
                    modification offer.
10/22/2012   KMC    Forward updated fax information to Ms. McGinnis       L110     0.10 hrs
                    (Residential Capital).
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
  096 01192                 Monthly Invoices Pg 548 of 1163
                                                         Invoice # 51800        Page 3

10/22/2012   KMC    Research regarding taxes on property.                L110     0.20 hrs


10/23/2012   KMC    Review e-mail correspondence regarding loan          L110     0.20 hrs
                    modification offer.

10/24/2012   KMC    Telephone conference with Ms. McGinnis               L110     0.30 hrs
                    (Residential Capital) regarding reduction in taxes
                    and issues with differing figures for escrow
                    payment.
10/26/2012   KMC    Review e-mail regarding changes in escrow            L110     0.10 hrs
                    payment.

10/26/2012   KMC    E-mail correspondence with Ms. McGinnis              L110     0.30 hrs
                    (Residential Capital) regarding questions from
                    borrower's counsel regarding loan modification
                    offer.
10/26/2012   KMC    Telephone conference with Ms. McGinnis               L110     0.20 hrs
                    (Residential Capital) regarding whether we can
                    waive escrow for Home Owners Association fees
                    and issues regarding payment amount.
10/26/2012   KMC    E-mail borrower's counsel regarding answers to       L110     0.10 hrs
                    questions regarding loan modification offer.

10/29/2012   KMC    E-mail correspondence with borrower's counsel        L110     0.20 hrs
                    regarding status update and status of response to
                    loan modification offer.
10/29/2012   KMC    Telephone conference with magistrate regarding       L160     0.20 hrs
                    status of settlement discussions.

10/30/2012   KMC    Review e-mail from borrowers' counsel regarding      L110     0.10 hrs
                    review for HAMP and Attorney General
                    settlement.
10/30/2012   KMC    Telephone conference with Ms. McGinnis               L110     0.30 hrs
                    (Residential Capital) regarding e-mail from
                    borrowers' counsel regarding review for HAMP
                    and Attorney General settlement.
10/30/2012   KMC    Review HAMP denial letter.                           L110     0.10 hrs


10/30/2012   KMC    Review file for information regarding prior HAMP     L110     0.20 hrs
                    trial plan and loan modification order.

10/30/2012   KMC    E-mail Ms. Lopez (Residential Capital) regarding     L110     0.20 hrs
                    prior HAMP offer and response.
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27         Exhibit E
  096 01192                  Monthly Invoices Pg 549 of 1163
                                                          Invoice # 51800            Page 4
10/31/2012   KMC      Review e-mail regarding prior HAMP loan                L110        0.10 hrs
                      modification offer.

10/31/2012   KMC      Draft e-mail to borrowers' counsel responding to       L110        0.40 hrs
                      questions regarding loan modification.



                      TOTAL FEES FOR THIS MATTER                                         $1,502.00


BILLING SUMMARY


         Wallace, David A.                          0.10 hrs    260.00 /hr      $26.00


         Cadieux, Karen M.                          8.20 hrs    180.00 /hr   $1,476.00



     TOTAL FEES                                     8.30 hrs                 $1,502.00

     TOTAL CHARGES FOR THIS INVOICE                                          $1,502.00
       12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                              Monthly Invoices Pg 550 of 1163
                         CARPENTER LIPPS & LELAND LLP

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                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                         November 15, 2012

                                                                  Billed through 10/31/2012
Tammy Hamzephour                                                  Invoice # 51801      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 096 01195
190-FTW-L95
Fort Washington, PA 19034

Re: William A. Thorman III
Matter No.: 728793

PROFESSIONAL SERVICES

10/12/2012   DAW       Review e-mail regarding risk exposure analysis.            L120        0.10 hrs


10/12/2012   KMC       Forward risk exposure to Ms. McGinnis                      L110        0.10 hrs
                       (Residential Capital).

10/12/2012   KMC       Draft risk exposure analysis.                              L110        0.20 hrs




                       TOTAL FEES FOR THIS MATTER                                                $80.00


BILLING SUMMARY


          Wallace, David A.                            0.10 hrs   260.00 /hr         $26.00


          Cadieux, Karen M.                            0.30 hrs   180.00 /hr         $54.00



     TOTAL FEES                                        0.40 hrs                     $80.00

     TOTAL CHARGES FOR THIS INVOICE                                                 $80.00
       12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27                 Exhibit E
                               Monthly Invoices Pg 551 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                          November 15, 2012

                                                                        Billed through 10/31/2012
Tammy Hamzephour                                                        Invoice # 51802      JAL
Residential Capital, LLC
1100 Virginia Drive                                                     Our file # 096 01196
190-FTW-L95
Fort Washington, PA 19034

Re: Kevin B. Shetzer
Matter No.:728951

PROFESSIONAL SERVICES

10/29/2012   KMC       Telephone conference with Ms. McGinnis                           L110        0.10 hrs
                       (Residential Capital) regarding status of case.

10/29/2012   KMC       Forward information regarding Green Tree not                     L110        0.10 hrs
                       wanting to protect the lien to Ms. McGinnis
                       (Residential Capital).
10/30/2012   KMC       E-mail Ms. McGinnis (Residential Capital)                        L110        0.20 hrs
                       regarding not filing a disclaimer of interest.



                       TOTAL FEES FOR THIS MATTER                                                      $72.00


BILLING SUMMARY


          Cadieux, Karen M.                             0.40 hrs    180.00 /hr             $72.00



     TOTAL FEES                                         0.40 hrs                          $72.00

     TOTAL CHARGES FOR THIS INVOICE                                                       $72.00
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                               Monthly Invoices Pg 552 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
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                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                         November 15, 2012

                                                                    Billed through 10/31/2012
Tammy Hamzephour                                                    Invoice # 51803      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01198
190-FTW-L95
Fort Washington, PA 19034

Re: Nancy M. Pannell
Matter No.: 729288

PROFESSIONAL SERVICES

10/03/2012   KMC       E-mail correspondence with borrowers' counsel                L110        0.10 hrs
                       regarding judgment decree in foreclosure.

10/09/2012   DAW       Review consent judgment decree in foreclosure.               L120        0.10 hrs


10/09/2012   KMC       Review entry entering consent judgment decree in             L110        0.10 hrs
                       foreclosure.

10/09/2012   KMC       Forward executed consent judgment decree in                  L210        0.10 hrs
                       foreclosure to Ms. McGinnis (Residential Capital)

10/23/2012   KMC       E-mail correspondence with Ms. McGinnis                      L110        0.10 hrs
                       (Residential Capital) regarding status of case.



                       TOTAL FEES FOR THIS MATTER                                                  $98.00


BILLING SUMMARY


         Wallace, David A.                             0.10 hrs    260.00 /hr          $26.00


         Cadieux, Karen M.                             0.40 hrs    180.00 /hr          $72.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
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                                                       Invoice # 51803        Page 2



   TOTAL FEES                               0.50 hrs                     $98.00

   TOTAL CHARGES FOR THIS INVOICE                                        $98.00
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                              Monthly Invoices Pg 554 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                         November 15, 2012

                                                                   Billed through 10/31/2012
Tammy Hamzephour                                                   Invoice # 51804      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01199
190-FTW-L95
Fort Washington, PA 19034

Re: Larry Crosser
Matter No.:729410

PROFESSIONAL SERVICES

10/04/2012   KMC       E-mail correspondence with foreclosure counsel              L190        0.20 hrs
                       regarding upcoming hearing and moving to vacate
                       sale.
10/04/2012   KMC       E-mail correspondence with Ms. McGinnis                     L110        0.20 hrs
                       (Residential Capital) regarding settlement offer and
                       obtaining updated reinstatement quote.
10/04/2012   KMC       Draft bankruptcy notice.                                    L110        0.40 hrs


10/04/2012   KMC       Review e-mail correspondence regarding                      L110        0.10 hrs
                       bankruptcy notice and what claims should be
                       stayed.
10/05/2012   DAW       Conference with Ms. Cadieux regarding pretrial              L120        0.20 hrs
                       conference issues.

10/05/2012   DAW       Review notice of stay.                                      L120        0.10 hrs


10/05/2012   DAW       Revise answer to counterclaim.                              L120        0.60 hrs


10/05/2012   KMC       Telephone conference with Court regarding                   L110        0.10 hrs
                       attending status conference by telephone.

10/05/2012   KMC       Draft correspondence regarding call in information          L110        0.20 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27       Exhibit E
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                                                         Invoice # 51804          Page 2
                    for status conference.

10/05/2012   KMC    Draft reply to counterclaim.                           L210     1.40 hrs


10/05/2012   KMC    E-mail correspondence with Ms. McGinnis                L110     0.30 hrs
                    (Residential Capital) and Ms. Scoliard (Residential
                    Capital) regarding bankruptcy notice.
10/05/2012   KMC    Revise bankruptcy notice per Ms. Scoliard              L110     0.20 hrs
                    (Residential Capital).

10/08/2012   DAW    Conference with Ms. Cadieux regarding status of        L120     0.10 hrs
                    settlement conference.

10/08/2012   KMC    Telephone conference with borrowers' counsel           L110     0.30 hrs
                    regarding attending pretrial by telephone and
                    possible settlement.
10/08/2012   KMC    Review prior loan modifications.                       L110     0.60 hrs


10/08/2012   KMC    Leave message for borrowers' counsel regarding         L110     0.10 hrs
                    interest in loss mitigation.

10/08/2012   KMC    Prepare for pretrial.                                  L110     0.30 hrs


10/08/2012   KMC    Review reinstatement quote.                            L110     0.20 hrs


10/08/2012   KMC    Draft settlement offer to borrowers.                   L160     0.40 hrs


10/08/2012   KMC    Telephone conference with Ms. McGinnis                 L160     0.20 hrs
                    (Residential Capital) regarding settlement position.

10/09/2012   KMC    Prepare for pretrial.                                  L110     0.30 hrs


10/09/2012   KMC    Telephone conference with Ms. McGinnis                 L110     0.30 hrs
                    (Residential Capital) regarding pretrial.

10/09/2012   KMC    Attend telephone pretrial.                             L110     0.40 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
  096 01199                 Monthly Invoices Pg 556 of 1163
                                                         Invoice # 51804        Page 3

10/10/2012   KMC    E-mail borrowers' counsel regarding status of        L110     0.10 hrs
                    response to counter offer.

10/10/2012   KMC    Telephone conference with Ms. McGinnis               L110     0.20 hrs
                    (Residential Capital) regarding credit reporting
                    issues.
10/10/2012   KMC    E-mail Ms. McGinnis (Residential Capital)            L160     0.20 hrs
                    regarding outcome of pretrial conference and
                    counter offer made by borrowers for settlement.
10/11/2012   DAW    Review Court's order regarding pretrial conference   L120     0.10 hrs
                    and setting additional pretrial conference.

10/11/2012   KMC    E-mail correspondence with borrowers' counsel        L160     0.40 hrs
                    regarding settlement and finalizing terms.

10/15/2012   KMC    Review entry vacating sale.                          L110     0.10 hrs


10/16/2012   KMC    Draft litigation settlement proposal.                L160     0.50 hrs


10/16/2012   KMC    Draft settlement agreement.                          L160     0.70 hrs


10/16/2012   KMC    Prepare blacklined settlement agreement for Ms.      L160     0.20 hrs
                    McGinnis (Residential Capital).

10/16/2012   KMC    Forward litigation settlement proposal, settlement   L160     0.20 hrs
                    agreement and blacklined settlement agreement to
                    Ms. McGinnis (Residential Capital).
10/17/2012   KMC    Draft dismissal entry.                               L210     0.30 hrs


10/17/2012   KMC    Forward settlement agreement and dismissal entry     L160     0.20 hrs
                    to borrowers' counsel.

10/17/2012   KMC    E-mail correspondence with Ms. McGinnis              L110     0.10 hrs
                    (Residential Capital) regarding settlement
                    agreement.
10/26/2012   KMC    Review message from borrowers' counsel               L110     0.10 hrs
                    regarding settlement agreement.

10/26/2012   KMC    Telephone conference with Ms. McGinnis               L160     0.10 hrs
                    (Residential Capital) regarding changes to
                    settlement agreement.
10/29/2012   KMC    Revise settlement agreement.                         L160     0.20 hrs
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
  096 01199                  Monthly Invoices Pg 557 of 1163
                                                          Invoice # 51804              Page 4



10/29/2012   KMC      Forward revised settlement agreement to Ms.              L110        0.10 hrs
                      McGinnis (Residential Capital) for review and
                      approval.
10/29/2012   KMC      Revise dismissal entry.                                  L210        0.10 hrs


10/29/2012   KMC      Forward revised settlement agreement and revised         L160        0.10 hrs
                      dismissal entry to borrowers' counsel.

10/29/2012   KMC      Review reinstatement quote good through                  L110        0.10 hrs
                      November 30, 2012.

10/29/2012   KMC      E-mail correspondence with Ms. McGinnis                  L110        0.30 hrs
                      (Residential Capital) regarding fees and costs that
                      were waived and adding language to settlement
                      agreement regarding additional fees and costs
                      being added to account for current default.
10/30/2012   DAW      Conference with Ms. Cadieux regarding settlement         L120        0.10 hrs
                      status.

10/31/2012   DAW      Review notice of withdrawal of order of sale.            L120        0.10 hrs




                      TOTAL FEES FOR THIS MATTER                                           $2,228.00


BILLING SUMMARY


         Wallace, David A.                            1.30 hrs    260.00 /hr     $338.00


         Cadieux, Karen M.                          10.50 hrs     180.00 /hr   $1,890.00



     TOTAL FEES                                     11.80 hrs                  $2,228.00

     TOTAL CHARGES FOR THIS INVOICE                                            $2,228.00
       12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                                 Monthly Invoices Pg 558 of 1163
                              CARPENTER LIPPS & LELAND LLP

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                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                            November 15, 2012

                                                                       Billed through 10/31/2012
Tammy Hamzephour                                                       Invoice # 51805      JAL
Residential Capital, LLC
1100 Virginia Drive                                                    Our file # 096 01201
190-FTW-L95
Fort Washington, PA 19034

Re: Robert D. Kehoe, et al.
    Matter No.:729779

PROFESSIONAL SERVICES

10/03/2012    KMC         Review entry regarding plaintiff's motion to                 L210        0.10 hrs
                          dismiss counterclaim.

10/29/2012    KMC         Telephone conference with Ms. McGinnis                       L110        0.10 hrs
                          (Residential Capital) regarding status of case.



                         TOTAL FEES FOR THIS MATTER                                                   $36.00


BILLING SUMMARY


           Cadieux, Karen M.                              0.20 hrs    180.00 /hr          $36.00



      TOTAL FEES                                          0.20 hrs                       $36.00

      TOTAL CHARGES FOR THIS INVOICE                                                     $36.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                                Monthly Invoices Pg 559 of 1163
                          CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                          November 15, 2012

                                                                    Billed through 10/31/2012
Tammy Hamzephour                                                    Invoice # 51806      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01202
190-FTW-L95
Fort Washington, PA 19034

Re: Kirksey Property (The City of Cleveland/ Pinkie and Maurice Kirksey)
    Case Matter No.: 729782
    Flat Fee No.: 699323
    Loan No.:

PROFESSIONAL SERVICES

10/29/2012    DAW       Telephone conference with Ms. McGinnis                      L120        0.20 hrs
                        (Residential Capital, LLC) regarding case status.



                        TOTAL FEES FOR THIS MATTER                                                 $52.00


BILLING SUMMARY


          Wallace, David A.                            0.20 hrs    260.00 /hr          $52.00



      TOTAL FEES                                       0.20 hrs                       $52.00

      TOTAL CHARGES FOR THIS INVOICE                                                  $52.00
       12-12020-mg         Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                                   Monthly Invoices Pg 560 of 1163
                            CARPENTER LIPPS & LELAND LLP

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                                           280 North High Street
                                           Columbus, OH 43215
                                              (614) 365-4100
                                          Federal ID # XX-XXXXXXX



                                             November 15, 2012

                                                                       Billed through 10/31/2012
Tammy Hamzephour                                                       Invoice # 51807      JAL
Residential Capital, LLC
1100 Virginia Drive                                                    Our file # 096 01203
190-FTW-L95
Fort Washington, PA 19034

Re: Caley Coleff, et al.
Matter No.: 729894

PROFESSIONAL SERVICES

10/03/2012     DAW         Conference with Ms. Cadieux regarding                       L120        0.20 hrs
                           pre-hearing conference issues.

10/04/2012     DAW         Draft e-mail to foreclosure counsel regarding               L120        0.10 hrs
                           mediation issues.

10/05/2012     KMC         Forward notice of pre-hearing conference to Ms.             L110        0.10 hrs
                           McGinnis (Residential Capital).

10/08/2012     DAW         Revise mediation statement.                                 L210        0.70 hrs


10/08/2012     DAW         Conference with Ms. Cadieux regarding mediation             L120        0.40 hrs
                           issues.

10/08/2012     KMC         E-mail Ms. McGinnis (Residential Capital)                   L110        0.10 hrs
                           regarding face-to face meeting issue.

10/08/2012     KMC         Review current amount owed.                                 L110        0.10 hrs


10/08/2012     KMC         Draft prehearing conference form.                           L110        0.90 hrs


10/08/2012     KMC         Revise prehearing conference form per Mr.                   L110        0.20 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
  096 01203                 Monthly Invoices Pg 561 of 1163
                                                         Invoice # 51807         Page 2
                    Wallace.

10/08/2012   KMC    Telephone conference with Ms. McGinnis                L110     0.40 hrs
                    (Residential Capital) regarding position on
                    settlement.
10/08/2012   KMC    Telephone conference with Ms. McGinnis                L110     0.70 hrs
                    (Residential Capital) regarding mediation.

10/09/2012   DAW    Conference with Ms. Cadieux regarding mediation       L120     0.30 hrs
                    outcome and briefing schedule.

10/09/2012   KMC    Telephone conference with Ms. McGinnis                L110     0.30 hrs
                    (Residential Capital) regarding what is needed for
                    loss mitigation review.
10/09/2012   KMC    Prepare for prehearing mediation conference.          L110     0.60 hrs


10/09/2012   KMC    Attend prehearing mediation conference.               L110     2.60 hrs


10/09/2012   KMC    Telephone conference with Ms. McGinnis                L110     0.40 hrs
                    regarding cash for cash for keys offer.

10/09/2012   KMC    Telephone conference with Ms. McGinnis                L110     0.40 hrs
                    (Residential Capital) regarding whether we would
                    be willing to review for loan modification and
                    vacate sale if accepted.
10/09/2012   KMC    E-mail borrowers' counsel loss mitigation with loss   L110     0.30 hrs
                    mitigation application and list of documents
                    needed for same.
10/09/2012   KMC    Review payouts for cash for keys settlements.         L110     0.10 hrs


10/09/2012   KMC    Review e-mail from Ms. McGinnis (Residential          L110     0.10 hrs
                    Capital) regarding reviewing Ms. Coleff for loan
                    modifications and withdrawing writ of possession.
10/10/2012   KMC    Review e-mail regarding writ of possession being      L110     0.10 hrs
                    withdrawn.

10/15/2012   DAW    Review Court order regarding briefing schedule        L120     0.10 hrs
                    after mediation.

10/15/2012   KMC    Forward entry setting status conference to Ms.        L110     0.20 hrs
                    McGinnis (Residential Capital)

10/16/2012   DAW    Review Court order confirming date for filing brief   L120     0.10 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27         Exhibit E
  096 01203                 Monthly Invoices Pg 562 of 1163
                                                         Invoice # 51807            Page 3
                    of appellee and follow-up telephone conference.

10/16/2012   KMC    Review orders regarding prehearing conference            L110     0.20 hrs
                    and borrower's appellate brief.

10/16/2012   KMC    Forward orders regarding prehearing conference           L110     0.10 hrs
                    and borrower's appellate brief to Ms. McGinnis
                    (Residential Capital).
10/17/2012   KMC    E-mail correspondence with borrowers' counsel            L110     0.20 hrs
                    regarding status of loss mitigation application.

10/18/2012   KMC    Review loss mitigation application and supporting A104   L110     0.40 hrs
                    documents.

10/18/2012   KMC    E-mail borrowers' counsel regarding missing              L110     0.40 hrs
                    documents for loss mitigation review.

10/18/2012   KMC    Review updated loss mitigation application and           L110     0.50 hrs
                    supporting documents.

10/18/2012   KMC    E-mail borrower's counsel regarding items still          L110     0.30 hrs
                    missing from loss mitigation review.

10/19/2012   KMC    E-mail borrowers' counsel regarding Frank Dodd           L110     0.10 hrs
                    certificate being missing.

10/19/2012   KMC    Organize loss mitigation applications for John           L110     0.20 hrs
                    Coleff and Caley Coleff (borrowers).

10/19/2012   KMC    Forward loss mitigation applications to Ms.              L110     0.30 hrs
                    McGinnis (Residential Capital).

10/19/2012   KMC    Telephone conference with Ms. McGinnis                   L110     0.10 hrs
                    (Residential Capital) regarding loss mitigation
                    applications.
10/19/2012   KMC    Review updated loss mitigation applications and          L110     0.60 hrs
                    supporting documents to determine if complete.

10/22/2012   DAW    Review e-mail from Ms. McGinnis (Residential             L120     0.10 hrs
                    Capital, LLC) regarding loss mitigation.

10/22/2012   KMC    E-mail correspondence with Ms. McGinnis                  L110     0.20 hrs
                    (Residential Capital) regarding issues with loss
                    mitigation review.
10/24/2012   KMC    Telephone conference with Ms. McGinnis                   L110     0.20 hrs
                    (Residential Capital) regarding sale of property to
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
  096 01203                  Monthly Invoices Pg 563 of 1163
                                                          Invoice # 51807              Page 4
                      GMACM.
10/24/2012   KMC      Forward sale confirmation entry to Ms. McGinnis         L110        0.20 hrs
                      (Residential Capital).

10/25/2012   KMC      Review e-mail correspondence regarding vacating         L110        0.20 hrs
                      sale.

10/25/2012   KMC      E-mail correspondence with Ms. McGinnis                 L110        0.20 hrs
                      (Residential Capital) regarding additional
                      information needed for loss mitigation review.
10/25/2012   KMC      E-mail borrowers' counsel regarding additional          L110        0.10 hrs
                      information needed for loss mitigation review.

10/25/2012   KMC      Review e-mail from Ms. McGinnis (Residential            L110        0.10 hrs
                      Capital) regarding loss mitigation review.

10/25/2012   KMC      Telephone conference with Ms. McGinnis                  L110        0.30 hrs
                      (Residential Capital) regarding loss mitigation and
                      procedure for vacating sale.
10/31/2012   KMC      E-mail correspondence with borrowers' counsel           L110        0.20 hrs
                      regarding missing documents for loss mitigation
                      review.


                      TOTAL FEES FOR THIS MATTER                                          $2,806.00

EXPENSES

10/12/2012            (TRIP-KMC-10/11/2012)Out-of-Town Travel/Mileage (274*.55)            $150.70
                      - travel to Cleveland to attend prehearing conference

10/12/2012            (TRIP-KMC-10/11/2012)Out-of-Town Travel/Food/Beverage -                  $5.69
                      travel to Cleveland to attend prehearing conference

10/12/2012            (TRIP-KMC-10/11/2012)Out-of-Town Travel/Parking- travel to               $3.00
                      Cleveland to attend prehearing conference

                      TOTAL EXPENSES FOR THIS MATTER                                       $159.39


BILLING SUMMARY


         Wallace, David A.                           2.00 hrs    260.00 /hr    $520.00


         Cadieux, Karen M.                          12.70 hrs    180.00 /hr   $2,286.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
096 01203                 Monthly Invoices Pg 564 of 1163
                                                       Invoice # 51807         Page 5
   TOTAL FEES                              14.70 hrs                $2,806.00

   TOTAL EXPENSES                                                        $159.39

   TOTAL CHARGES FOR THIS INVOICE                                   $2,965.39
      12-12020-mg        Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27          Exhibit E
                                 Monthly Invoices Pg 565 of 1163
                          CARPENTER LIPPS & LELAND LLP

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                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                           November 15, 2012

                                                                   Billed through 10/31/2012
Tammy Hamzephour                                                   Invoice # 51808      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01204
190-FTW-L95
Fort Washington, PA 19034

Re: Carolyn J. Huffman
Matter No.: 729967

PROFESSIONAL SERVICES

10/12/2012   DAW         Review e-mail regarding risk exposure analysis.           L120        0.10 hrs


10/12/2012   KMC         Forward risk exposure to Ms. McGinnis                     L110        0.10 hrs
                         (Residential Capital).

10/12/2012   KMC         Draft risk exposure.                                      L110        0.30 hrs




                         TOTAL FEES FOR THIS MATTER                                               $98.00


BILLING SUMMARY


          Wallace, David A.                            0.10 hrs    260.00 /hr         $26.00


          Cadieux, Karen M.                            0.40 hrs    180.00 /hr         $72.00



     TOTAL FEES                                        0.50 hrs                      $98.00

     TOTAL CHARGES FOR THIS INVOICE                                                  $98.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                                Monthly Invoices Pg 566 of 1163
                          CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                            November 15, 2012

                                                                      Billed through 10/31/2012
Tammy Hamzephour                                                      Invoice # 51809      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 096 01205
190-FTW-L95
Fort Washington, PA 19034

Re: Charles H. Loudermilk, et al.
Matter No.: 729944

PROFESSIONAL SERVICES

10/01/2012    KMC        Review motion for extension of time filed by title           L110        0.10 hrs
                         counsel.

10/02/2012    KMC        Telephone conference with Ms. McGinnis                       L110        0.20 hrs
                         (Residential Capital) regarding extension to file
                         appellate brief.
10/04/2012    KMC        Review e-mail from title counsel regarding                   L510        0.10 hrs
                         appellate brief.

10/11/2012    DAW        Review proposed brief of appellant to be filed by            L120        1.90 hrs
                         foreclosure counsel.

10/12/2012    DAW        Telephone conference with Ms. McGinnis                       L120        0.20 hrs
                         (Residential Capital, LLC) regarding risk exposure
                         analysis.
10/12/2012    DAW        Draft e-mail to title counsel regarding brief of             L120        0.60 hrs
                         appellee.

10/12/2012    DAW        Review e-mail regarding risk exposure analysis.              L120        0.10 hrs


10/12/2012    KMC        Forward risk exposure to Ms. McGinnis                        L110        0.10 hrs
                         (Residential Capital).

10/12/2012    KMC        Draft risk exposure analysis.                                L110        0.30 hrs
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27          Exhibit E
  096 01205                  Monthly Invoices Pg 567 of 1163
                                                          Invoice # 51809             Page 2



10/15/2012   DAW      Revise e-mail to title insurer counsel regarding         L120       0.30 hrs
                      brief of appellee.

10/15/2012   KMC      Review e-mail regarding appellate brief.                 L520       0.10 hrs




                      TOTAL FEES FOR THIS MATTER                                           $968.00


BILLING SUMMARY


         Wallace, David A.                            3.10 hrs    260.00 /hr    $806.00


         Cadieux, Karen M.                            0.90 hrs    180.00 /hr    $162.00



     TOTAL FEES                                       4.00 hrs                  $968.00

     TOTAL CHARGES FOR THIS INVOICE                                             $968.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                                Monthly Invoices Pg 568 of 1163
                          CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                           November 15, 2012

                                                                      Billed through 10/31/2012
Tammy Hamzephour                                                      Invoice # 51810      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 096 01206
190-FTW-L95
Fort Washington, PA 19034

Re: Kevin D. Edwards, et al.
Matter No.: 730106

PROFESSIONAL SERVICES

10/01/2012    KMC        Telephone conference with Ms. McGinnis                       L110        0.20 hrs
                         (Residential Capital) regarding pretrial.

10/01/2012    KMC        E-mail correspondence with Ms. McGinnis                      L110        0.10 hrs
                         (Residential Capital) regarding attending pretrial
                         by telephone.
10/01/2012    KMC        Draft motion to allow representative to appear at            L210        0.40 hrs
                         pretrial by telephone.

10/01/2012    KMC        Telephone conference with borrowers' counsel                 L130        0.20 hrs
                         regarding representative appearing at pretrial
                         conference and settlement.
10/02/2012    DAW        Conference with Ms. Cadieux regarding mediation              L120        0.30 hrs
                         referral issue.

10/02/2012    KMC        Review e-mail from Ms. McGinnis (Residential                 L110        0.10 hrs
                         Capital) regarding status of loss mitigation review.

10/02/2012    KMC        Review message from borrower's counsel                       L230        0.10 hrs
                         regarding GMACM's representative appearing by
                         telephone at pretrial.
10/02/2012    KMC        Multiple telephone conferences with Ms.                      L120        0.40 hrs
                         McGinnis (Residential Capital) regarding how to
                         proceed in light of loss mitigation review and
                         upcoming trial.
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
  096 01206                  Monthly Invoices Pg 569 of 1163
                                                          Invoice # 51810              Page 2
10/03/2012   KMC      Telephone conference with borrowers' counsel              L110       0.20 hrs
                      regarding mediation and loan modification process.

10/03/2012   KMC      Telephone conference with Court regarding status          L110       0.20 hrs
                      of trial and possible referral to mediation.

10/03/2012   KMC      Telephone conference with Ms. McGinnis                    L110       0.20 hrs
                      (Residential Capital) regarding case being stayed.

10/17/2012   KMC      Telephone conference with Ms. McGinnis                    L110       0.10 hrs
                      (Residential Capital) regarding trial modification.

10/17/2012   KMC      Review trial modification documents and compare           L110       0.30 hrs
                      to note terms.

10/17/2012   KMC      E-mail correspondence with Ms. McGinnis                   L110       0.20 hrs
                      (Residential Capital) regarding the type of trial
                      modification.
10/17/2012   KMC      Leave message for borrowers' counsel regarding            L110       0.10 hrs
                      trial modification.

10/17/2012   KMC      Forward e-mail trial modification documents to            L110       0.20 hrs
                      borrowers' counsel.

10/22/2012   KMC      E-mail correspondence with Ms. McGinnis                   L110       0.20 hrs
                      (Residential Capital) regarding information
                      regarding permanent modification.
10/22/2012   KMC      E-mail borrowers' counsel to explain no                   L110       0.10 hrs
                      information about modification can be determined
                      until trial modification is completed.
10/22/2012   KMC      Telephone conference with borrowers' counsel              L110       0.30 hrs
                      regarding trial modification and terms of
                      permanent modification.


                      TOTAL FEES FOR THIS MATTER                                            $726.00


BILLING SUMMARY


         Wallace, David A.                            0.30 hrs     260.00 /hr     $78.00


         Cadieux, Karen M.                            3.60 hrs     180.00 /hr    $648.00



     TOTAL FEES                                       3.90 hrs                   $726.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
096 01206                 Monthly Invoices Pg 570 of 1163
                                                       Invoice # 51810         Page 3

   TOTAL CHARGES FOR THIS INVOICE                                        $726.00
       12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27                 Exhibit E
                                 Monthly Invoices Pg 571 of 1163
                              CARPENTER LIPPS & LELAND LLP

                                             280 Plaza, Suite 1300
                                             280 North High Street
                                             Columbus, OH 43215
                                                (614) 365-4100
                                            Federal ID # XX-XXXXXXX



                                              November 15, 2012

                                                                          Billed through 10/31/2012
Tammy Hamzephour                                                          Invoice # 51811      JAL
Residential Capital, LLC
1100 Virginia Drive                                                       Our file # 096 01207
190-FTW-L95
Fort Washington, PA 19034

Re: Orlinda Beatty, et al.
Matter No.: 730101

PROFESSIONAL SERVICES

10/01/2012     KMC           Draft correspondence to borrowers' counsel                   L160        0.30 hrs
                             regarding Attorney General settlement.

10/01/2012     KMC           E-mail correspondence with Ms. McGinnis                      L110        0.10 hrs
                             (Residential Capital) regarding Attorney General
                             letters.
10/01/2012     KMC           Telephone conference with Ms. McGinnis                       L110        0.20 hrs
                             (Residential Capital) regarding whether Attorney
                             General letters have also been sent directly to
                             borrowers.
10/01/2012     KMC           E-mail borrowers' counsel regarding Attorney                 L110        0.10 hrs
                             General settlement.

10/02/2012     DAW           Review e-mail regarding financial packet from Ms.            L120        0.10 hrs
                             Dunn (counsel for Beatty).

10/02/2012     DAW           Review e-mail regarding financial packet to Ms.              L120        0.30 hrs
                             Dunn (counsel for Beatty) from Ms. Cadieux.

10/02/2012     KMC           Review e-mail from borrowers' counsel regarding              L110        0.30 hrs
                             loss mitigation and bankruptcy stay.

10/02/2012     KMC           E-mail Ms. McGinnis (Residential Capital)                    L110        0.20 hrs
                             regarding AG settlement issues.
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27          Exhibit E
  096 01207                  Monthly Invoices Pg 572 of 1163
                                                          Invoice # 51811             Page 2
10/02/2012   KMC      Draft e-mail regarding bankruptcy issues and             L160       0.40 hrs
                      settlement.

10/08/2012   KMC      Draft correspondence to borrowers' counsel               L110       0.40 hrs
                      regarding bankruptcy being lifted for loss
                      mitigation.
10/12/2012   KMC      Telephone conference with mediation department           L110       0.30 hrs
                      regarding bankruptcy.

10/17/2012   DAW      Conference with Ms. Cadieux regarding loss               L120       0.20 hrs
                      mitigation issues and bankruptcy stay concerns of
                      opposing counsel.
10/17/2012   KMC      Telephone conference with Ms. McGinnis                   L110       0.20 hrs
                      (Residential Capital) regarding status of loss
                      mitigation.
10/23/2012   KMC      Telephone conference with Ms. McGinnis                   L110       0.20 hrs
                      (Residential Capital) regarding status of case and
                      loss mitigation.
10/26/2012   KMC      Telephone conference with Ms. McGinnis                   L160       0.10 hrs
                      (Residential Capital) regarding Attorney General
                      settlement letter responses.


                      TOTAL FEES FOR THIS MATTER                                           $660.00


BILLING SUMMARY


         Wallace, David A.                            0.60 hrs    260.00 /hr    $156.00


         Cadieux, Karen M.                            2.80 hrs    180.00 /hr    $504.00



     TOTAL FEES                                       3.40 hrs                  $660.00

     TOTAL CHARGES FOR THIS INVOICE                                             $660.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                                Monthly Invoices Pg 573 of 1163
                            CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                          November 15, 2012

                                                                    Billed through 10/31/2012
Tammy Hamzephour                                                    Invoice # 51812      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01208
190-FTW-L95
Fort Washington, PA 19034

Re: Michael J. Schuessler
    Matter No.:730191

PROFESSIONAL SERVICES

10/08/2012    KMC       Forward updated pay off to title counsel.                   L110        0.20 hrs


10/10/2012    DAW       Conference with Ms. Cadieux regarding default               L120        0.50 hrs
                        hearing issues.

10/10/2012    DAW       Telephone conferences with Ms. Cadieux                      L120        0.30 hrs
                        regarding settlement of lien issues.

10/10/2012    KMC       Telephone conference with Ms. McGinnis                      L160        0.30 hrs
                        (Residential Capital) regarding possible settlement.

10/10/2012    KMC       Prepare for default judgment hearing.                       L110        0.30 hrs


10/10/2012    KMC       Telephone conference with title counsel regarding           L160        0.30 hrs
                        settlement.

10/10/2012    KMC       E-mail correspondence with title counsel regarding          L160        0.20 hrs
                        settlement.

10/10/2012    KMC       Attend default judgment hearing.                            L230        2.40 hrs


10/10/2012    KMC       Telephone conference with Magistrate's                      L160        0.20 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27       Exhibit E
  096 01208                 Monthly Invoices Pg 574 of 1163
                                                         Invoice # 51812          Page 2
                    department regarding settlement.

10/10/2012   KMC    E-mail title counsel regarding paying by certified     L110     0.20 hrs
                    check as opposed to wire transfer.

10/10/2012   KMC    E-mail Ms. McGinnis (Residential Capital)              L110     0.10 hrs
                    regarding possible settlement.

10/10/2012   KMC    Telephone conference with Ms. McGinnis                 L110     0.20 hrs
                    (Residential Capital) regarding possible settlement.

10/11/2012   KMC    Review order regarding motion for default              L110     0.10 hrs
                    judgment.

10/11/2012   KMC    Forward order regarding motion for default             L110     0.10 hrs
                    judgment to Ms. McGinnis (Residential Capital).

10/11/2012   KMC    Review payoff check.                                   L110     0.10 hrs


10/11/2012   KMC    Forward payoff check to Ms. McGinnis                   L110     0.10 hrs
                    (Residential Capital)

10/15/2012   KMC    Review check from title insurer to payoff loan.        L120     0.10 hrs


10/15/2012   KMC    Telephone conference with Ms. McGinnis                 L110     0.10 hrs
                    (Residential Capital) regarding where to send
                    payoff check.
10/15/2012   KMC    Draft correspondence to Ms. Frame (Residential         L110     0.10 hrs
                    Capital) with payoff check.

10/15/2012   KMC    Review e-mail from Ms. McGinnis regarding              L110     0.10 hrs
                    payoff.

10/17/2012   DAW    Conference with Ms. Cadieux regarding case             L120     0.10 hrs
                    status.

10/17/2012   KMC    Review e-mail regarding payment made and               L110     0.20 hrs
                    overage for payoff.

10/17/2012   KMC    Telephone conference with Ms. McGinnis                 L110     0.20 hrs
                    (Residential Capital) regarding how to handle
                    overage.
10/17/2012   KMC    Draft correspondence to send to borrower               L120     0.30 hrs
                    regarding payoff and closure of account.
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
  096 01208                  Monthly Invoices Pg 575 of 1163
                                                          Invoice # 51812                  Page 3

10/18/2012   DAW      Revise correspondence to Mr. Schuessler regarding            L120        0.50 hrs
                      payoff of line of credit.

10/18/2012   KMC      Draft correspondence regarding payoff and closure            L110        0.40 hrs
                      of line of credit.

10/18/2012   KMC      Revise correspondence regarding payoff and                   L110        0.60 hrs
                      closure of line of credit per Mr. Wallace.

10/19/2012   KMC      Review e-mails regarding closure letter and check            L110        0.20 hrs
                      returning overage.



                      TOTAL FEES FOR THIS MATTER                                               $1,642.00

EXPENSES

10/10/2012            (TRIP-KMC-10/10/12) Out-of-Town Travel/Mileage (274 miles                 $150.70
                      X .55) - travel to Cleveland, OH to attend default hearing

10/10/2012            (TRIP-KMC-10/10/12) Out-of-Town Travel/Parking - travel to                  $6.25
                      Cleveland, OH to attend default hearing

10/15/2012            Delivery Service/Messengers - Federal Express to Ms. Frame                  $8.67
                      from Ms. Cadieux

                      TOTAL EXPENSES FOR THIS MATTER                                            $165.62


BILLING SUMMARY


         Wallace, David A.                          1.40 hrs    260.00 /hr          $364.00


         Cadieux, Karen M.                          7.10 hrs    180.00 /hr         $1,278.00



     TOTAL FEES                                     8.50 hrs                   $1,642.00

     TOTAL EXPENSES                                                                 $165.62

     TOTAL CHARGES FOR THIS INVOICE                                            $1,807.62
       12-12020-mg        Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
                                  Monthly Invoices Pg 576 of 1163
                           CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                            November 15, 2012

                                                                     Billed through 10/31/2012
Tammy Hamzephour                                                     Invoice # 51813      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01210
190-FTW-L95
Fort Washington, PA 19034

Re: Kevin W. Bolds, Jr.
Matter No.: 731181

PROFESSIONAL SERVICES

10/12/2012    DAW         Review e-mail regarding risk exposure analysis.            L120        0.10 hrs


10/12/2012    KMC         Forward risk exposure to Ms. McGinnis                      L110        0.10 hrs
                          (Residential Capital).

10/12/2012    KMC         Draft risk exposure analysis.                              L110        0.20 hrs




                          TOTAL FEES FOR THIS MATTER                                                $80.00


BILLING SUMMARY


          Wallace, David A.                               0.10 hrs   260.00 /hr         $26.00


          Cadieux, Karen M.                               0.30 hrs   180.00 /hr         $54.00



      TOTAL FEES                                          0.40 hrs                     $80.00

      TOTAL CHARGES FOR THIS INVOICE                                                   $80.00
       12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27               Exhibit E
                                 Monthly Invoices Pg 577 of 1163
                              CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                            November 15, 2012

                                                                        Billed through 10/31/2012
Tammy Hamzephour                                                        Invoice # 51814      JAL
Residential Capital, LLC
1100 Virginia Drive                                                     Our file # 096 01212
190-FTW-L95
Fort Washington, PA 19034

Re: Felix R. Aponte, et al.
Matter No.: 731345

PROFESSIONAL SERVICES

10/01/2012     KMC        E-mail correspondence with Ms. McGinnis                       L110        0.30 hrs
                          (Residential Capital) regarding status of appeal.

10/05/2012     DAW        Review Court's order extending time to file brief of          L120        0.10 hrs
                          appellant.

10/05/2012     KMC        Forward entry granting extension of time to                   L110        0.10 hrs
                          borrowers to file brief to Ms. McGinnis
                          (Residential Capital).
10/12/2012     DAW        Review e-mail regarding risk exposure analysis.               L120        0.10 hrs


10/12/2012     KMC        Forward risk exposure to Ms. McGinnis                         L110        0.10 hrs
                          (Residential Capital).

10/12/2012     KMC        Draft risk exposure analysis.                                 L110        0.30 hrs




                          TOTAL FEES FOR THIS MATTER                                                 $196.00


BILLING SUMMARY


           Wallace, David A.                              0.20 hrs    260.00 /hr           $52.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
096 01212                 Monthly Invoices Pg 578 of 1163
                                                       Invoice # 51814         Page 2



      Cadieux, Karen M.                     0.80 hrs   180.00 /hr        $144.00



   TOTAL FEES                               1.00 hrs                     $196.00

   TOTAL CHARGES FOR THIS INVOICE                                        $196.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                                Monthly Invoices Pg 579 of 1163
                           CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                          November 15, 2012

                                                                     Billed through 10/31/2012
Tammy Hamzephour                                                     Invoice # 51815      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01213
190-FTW-L95
Fort Washington, PA 19034

Re: Robert L. Rhodes, et al.
Matter No.: 731453

PROFESSIONAL SERVICES

10/09/2012    DAW        Review Court's judgment entry staying case                  L120        0.10 hrs
                         pending bankruptcy proceedings.

10/09/2012    KMC        Review entry staying appeal due to borrowers'               L110        0.10 hrs
                         bankruptcy.

10/09/2012    KMC        E-mail entry staying case to Ms. McGinnis                   L110        0.10 hrs
                         (Residential Capital)



                         TOTAL FEES FOR THIS MATTER                                                 $62.00


BILLING SUMMARY


           Wallace, David A.                           0.10 hrs      260.00 /hr         $26.00


           Cadieux, Karen M.                           0.20 hrs      180.00 /hr         $36.00



      TOTAL FEES                                       0.30 hrs                        $62.00

      TOTAL CHARGES FOR THIS INVOICE                                                   $62.00
       12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27               Exhibit E
                              Monthly Invoices Pg 580 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                         November 15, 2012

                                                                     Billed through 10/31/2012
Tammy Hamzephour                                                     Invoice # 51816      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01215
190-FTW-L95
Fort Washington, PA 19034

Re: John V. Seel


PROFESSIONAL SERVICES

10/02/2012   KMC       Review message from plaintiff's counsel regarding             L110        0.10 hrs
                       bankruptcy notice.

10/03/2012   KMC       Telephone conference with counsel for first                   L110        0.20 hrs
                       lienholder regarding bankruptcy stay.

10/03/2012   KMC       E-mail Ms. McGinnis (Residential Capital)                     L110        0.20 hrs
                       regarding bankruptcy stay issues.

10/04/2012   KMC       E-mail correspondence with Ms. McGinnis                       L110        0.10 hrs
                       (Residential Capital) regarding whether there is
                       any way around filing a motion for relief from stay
                       to allow foreclosure to proceed.
10/05/2012   KMC       Review motion to establish streamlined procedure              L110        0.20 hrs
                       for relief from stay in cases where GMACM has a
                       second lien.
10/08/2012   KMC       Forward motion regarding procedure for first lien             L210        0.30 hrs
                       holders to get relief from bankruptcy stay to
                       counsel for first lien holder.
10/12/2012   DAW       Review e-mail regarding risk exposure analysis.               L120        0.10 hrs


10/12/2012   KMC       Draft risk exposure.                                          L110        0.20 hrs
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27          Exhibit E
  096 01215                  Monthly Invoices Pg 581 of 1163
                                                          Invoice # 51816             Page 2
10/12/2012   KMC      Forward risk exposure to Ms. McGinnis                    L110       0.10 hrs
                      (Residential Capital).

10/16/2012   KMC      Review entry regarding second lien procedure for         L110       0.30 hrs
                      first lienholders to obtain relief from bankruptcy
                      stay.
10/16/2012   KMC      Forward entry to counsel for first lien holder           L110       0.20 hrs
                      regarding procedure for first lienholders to obtain
                      relief from bankruptcy stay where debtor has a
                      second lien.


                      TOTAL FEES FOR THIS MATTER                                           $368.00


BILLING SUMMARY


         Wallace, David A.                            0.10 hrs    260.00 /hr     $26.00


         Cadieux, Karen M.                            1.90 hrs    180.00 /hr    $342.00



     TOTAL FEES                                       2.00 hrs                  $368.00

     TOTAL CHARGES FOR THIS INVOICE                                             $368.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                                Monthly Invoices Pg 582 of 1163
                          CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                            November 15, 2012

                                                                     Billed through 10/31/2012
Tammy Hamzephour                                                     Invoice # 51817      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01216
190-FTW-L95
Fort Washington, PA 19034

Re: Robert H. Denny, et al. (Foreclosure Action)
Matter No.: 731863

PROFESSIONAL SERVICES

10/01/2012    KMC        Draft affidavit for motion for default judgment.            L110        1.10 hrs


10/01/2012    KMC        Review payment history.                                     L110        0.20 hrs


10/01/2012    KMC        Draft military affidavit.                                   L110        0.30 hrs


10/01/2012    KMC        Review contact history.                                     L110        0.30 hrs


10/01/2012    KMC        Review information regarding current payment                L110        0.10 hrs
                         amount.

10/02/2012    DAW        Revise motion for default judgment.                         L240        0.30 hrs


10/02/2012    DAW        Review motion for protective order.                         L120        0.20 hrs


10/02/2012    DAW        Review motion and affidavit in support of motion.           L120        0.10 hrs


10/02/2012    DAW        Review military affidavit.                                  L210        0.10 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27    Exhibit E
  096 01216                 Monthly Invoices Pg 583 of 1163
                                                         Invoice # 51817       Page 2


10/03/2012   KMC    Draft entry granting default judgment.              L110     0.20 hrs


10/04/2012   KMC    E-mail correspondence regarding affidavit for       L110     0.10 hrs
                    motion for default judgment.

10/05/2012   DAW    Review e-mail from Ms. McGinnis (Residential        L120     0.20 hrs
                    Capital, LLC) regarding loan modification
                    documents.
10/05/2012   KMC    Review affidavit in support of motion for default   L210     0.20 hrs
                    judgment.

10/05/2012   KMC    Revise motion for default judgment.                 L210     0.30 hrs


10/05/2012   KMC    Revise motion for protective order.                 L210     0.20 hrs


10/05/2012   KMC    Revise military affidavit.                          L210     0.10 hrs


10/08/2012   KMC    Forward motion for default judgment to Ms.          L210     0.20 hrs
                    McGinnis (Residential Capital)

10/09/2012   DAW    Telephone conference with Magistrate regarding      L120     0.20 hrs
                    proposed order.

10/09/2012   DAW    Revise judgment entry regarding decree in           L210     0.20 hrs
                    foreclosure.

10/09/2012   KMC    Draft order granting default judgment.              L210     0.30 hrs


10/10/2012   DAW    Revise proposed entry.                              L210     0.10 hrs


10/10/2012   DAW    Draft correspondence forwarding entry to Court.     L120     0.10 hrs


10/11/2012   KMC    Draft notice of filing original affidavit.          L210     0.20 hrs


10/12/2012   DAW    Review e-mail regarding risk exposure analysis.     L120     0.10 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27          Exhibit E
  096 01216                 Monthly Invoices Pg 584 of 1163
                                                         Invoice # 51817             Page 3
10/12/2012   KMC    Forward risk exposure analysis to Ms. McGinnis            L110     0.10 hrs
                    (Residential Capital).

10/12/2012   KMC    Draft risk exposure analysis.                             L110     0.30 hrs


10/15/2012   DAW    Review Court's notice of non-oral hearing.                L120     0.10 hrs


10/15/2012   KMC    E-mail correspondence with foreclosure counsel            L210     0.20 hrs
                    regarding service copy of answer.

10/15/2012   KMC    Review entry setting non-oral hearing on motion           L110     0.10 hrs
                    for default judgment.

10/15/2012   KMC    E-mail Ms. McGinnis (Residential Capital)                 L110     0.20 hrs
                    regarding non-oral hearing and how to proceed.

10/22/2012   DAW    Revise motion to strike.                                  L120     0.50 hrs


10/22/2012   KMC    Draft motion to strike.                                   L110     1.10 hrs


10/22/2012   KMC    E-mail correspondence with foreclosure counsel            L110     0.20 hrs
                    regarding service copy of answer.

10/22/2012   KMC    Research regarding standard for pro se litigants.         L110     0.30 hrs


10/23/2012   KMC    Revise motion to strike.                                  L210     0.30 hrs


10/24/2012   DAW    Telephone conference with Court regarding answer          L120     0.20 hrs
                    and motion to strike.

10/24/2012   DAW    Prepare e-mail summary regarding telephone                L120     0.20 hrs
                    conference with Court regarding answer and
                    motion to strike.


                    TOTAL FEES FOR THIS MATTER                                         $1,864.00

EXPENSES

10/05/2012          Out-of-Town Travel/Mileage (60 miles X .55) - travel to                  $33.00
                    Lancaster, OH for filing (VW)
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27               Exhibit E
  096 01216                  Monthly Invoices Pg 585 of 1163
                                                          Invoice # 51817                  Page 4

10/23/2012            Delivery Service/Messengers - Federal Express to Fairfield                   $11.28
                      County filing dept

                      TOTAL EXPENSES FOR THIS MATTER                                               $44.28


BILLING SUMMARY


         Wallace, David A.                          2.60 hrs    260.00 /hr           $676.00


         Cadieux, Karen M.                          6.60 hrs    180.00 /hr         $1,188.00



     TOTAL FEES                                     9.20 hrs                       $1,864.00

     TOTAL EXPENSES                                                                  $44.28

     TOTAL CHARGES FOR THIS INVOICE                                                $1,908.28
       12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                              Monthly Invoices Pg 586 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                         November 15, 2012

                                                                    Billed through 10/31/2012
Tammy Hamzephour                                                    Invoice # 51818      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01217
190-FTW-L95
Fort Washington, PA 19034

Matter No.: 732619


PROFESSIONAL SERVICES

10/01/2012   JES       Revise affidavit. (.80) E-mail Ms Scoliard                   L120        1.00 hrs
                       regarding same. (.20)

10/04/2012   JES       Draft and finalize response to debtor's motion               L210        1.00 hrs
                       seeking stay of payment obligation.

10/11/2012   JES       Prepare for (3.10) and attend hearing on motion for          L120        5.00 hrs
                       relief based on alleged fraudulent documents.
                       (2.90)
10/11/2012   JES       E-mail Ms. Scoliard (GMAC) regarding denial of               L120        0.30 hrs
                       debtor's motion.

10/15/2012   JES       E-mail Ms. Scoliard (GMAC) a copy of the Court's             L120        0.10 hrs
                       decision sustaining GMAC's objection to debtor's
                       motion for relief.


                       TOTAL FEES FOR THIS MATTER                                               $1,406.00

EXPENSES

10/11/2012             (TRIP-JES-10/11/12) Out-of-Town Travel/Mileage (284 miles X               $156.20
                       .55) - travel to Cleveland, OH to attend hearing

10/11/2012             (TRIP-JES-10/11/12) Out-of-Town Travel/Parking - travel to                  $12.00
                       Cleveland, OH to attend hearing
     12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
 096 01217                   Monthly Invoices Pg 587 of 1163
                                                          Invoice # 51818         Page 2


                      TOTAL EXPENSES FOR THIS MATTER                                  $168.20


BILLING SUMMARY


       Sechler, Joel E.                        7.40 hrs   190.00 /hr    $1,406.00



    TOTAL FEES                                 7.40 hrs                $1,406.00

    TOTAL EXPENSES                                                          $168.20

    TOTAL CHARGES FOR THIS INVOICE                                     $1,574.20
       12-12020-mg         Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                                   Monthly Invoices Pg 588 of 1163
                            CARPENTER LIPPS & LELAND LLP

                                             280 Plaza, Suite 1300
                                             280 North High Street
                                             Columbus, OH 43215
                                                (614) 365-4100
                                            Federal ID # XX-XXXXXXX



                                              November 15, 2012

                                                                       Billed through 10/31/2012
Tammy Hamzephour                                                       Invoice # 51819      JAL
Residential Capital, LLC
1100 Virginia Drive                                                    Our file # 096 01219
190-FTW-L95
Fort Washington, PA 19034

Re: Nancy George, et al.
Matter No.: 733039

PROFESSIONAL SERVICES

10/08/2012    KMC          Review fact package.                                        L110        0.30 hrs


10/11/2012    KMC          E-mail correspondence regarding insurance                   L110        0.20 hrs
                           agreement.

10/15/2012    KMC          Review insurance policy.                                    L110        0.10 hrs


10/21/2012    KMC          Draft notice of bankruptcy.                                 L210        0.40 hrs


10/22/2012    DAW          Revise answer to complaint.                                 L210        0.60 hrs


10/22/2012    KMC          Revise answer.                                              L210        0.30 hrs


10/23/2012    DAW          Conferences with Ms. Cadieux regarding insurance            L120        0.40 hrs
                           policy issues.

10/23/2012    KMC          Review e-mail approving bankruptcy notice.                  L110        0.10 hrs


10/23/2012    KMC          Draft correspondence regarding owner of property            L110        0.60 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
  096 01219                 Monthly Invoices Pg 589 of 1163
                                                         Invoice # 51819               Page 2
                    and lack of insurance coverage.

10/23/2012   KMC    Revise answer.                                              L210     0.30 hrs


10/23/2012   KMC    Revise notice of bankruptcy.                                L210     0.20 hrs


10/23/2012   KMC    E-mail correspondence with Ms. McGinnis                     L110     0.20 hrs
                    (Residential Capital) regarding sending declaration
                    page to plaintiff's counsel to confirm lender placed
                    insurance has no liability coverage.
10/23/2012   KMC    Review inspection reports.                                  L110     0.30 hrs


10/23/2012   KMC    E-mail correspondence with Ms. McGinnis                     L110     0.20 hrs
                    (Residential Capital) regarding property
                    inspections.
10/24/2012   DAW    Review correspondence to plaintiffs' counsel                L120     0.30 hrs
                    regarding lack of insurance coverage.

10/24/2012   KMC    Revise letter regarding ownership of property, lack         L110     0.30 hrs
                    of insurance and seeking dismissal of GMACM
                    and the trust based on comments of Mr. Wallace.
10/25/2012   KMC    Forward letter seeking dismissal of GMACM and               L110     0.10 hrs
                    trust to Ms. McGinnis (Residential Capital).

10/31/2012   DAW    Review Court's order and notice of stay due to              L120     0.10 hrs
                    GMAC bankruptcy.

10/31/2012   KMC    Review order staying case.                                  L210     0.10 hrs




                    TOTAL FEES FOR THIS MATTER                                           $1,030.00

EXPENSES

10/23/2012          Delivery Service/Messengers - Federal Express to Cuyahoga                  $8.16
                    County filing dept

                    TOTAL EXPENSES FOR THIS MATTER                                             $8.16


BILLING SUMMARY
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
096 01219                 Monthly Invoices Pg 590 of 1163
                                                       Invoice # 51819         Page 3
      Wallace, David A.                     1.40 hrs   260.00 /hr        $364.00


      Cadieux, Karen M.                     3.70 hrs   180.00 /hr        $666.00



   TOTAL FEES                               5.10 hrs                $1,030.00

   TOTAL EXPENSES                                                         $8.16

   TOTAL CHARGES FOR THIS INVOICE                                   $1,038.16
        12-12020-mg        Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
                                   Monthly Invoices Pg 591 of 1163
                             CARPENTER LIPPS & LELAND LLP

                                           280 Plaza, Suite 1300
                                           280 North High Street
                                           Columbus, OH 43215
                                              (614) 365-4100
                                          Federal ID # XX-XXXXXXX



                                             November 15, 2012

                                                                      Billed through 10/31/2012
Tammy Hamzephour                                                      Invoice # 51820      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 096 01220
190-FTW-L95
Fort Washington, PA 19034

Re: Robert C. Luft, Jr., et al.
Matter No.: 733433

PROFESSIONAL SERVICES

10/11/2012     DAW         Review e-mails from Ms. McGinnis (Residential              L120        0.10 hrs
                           Capital, LLC) regarding new case assignment.

10/11/2012     DAW         Review correspondence and additional e-mails               L120        0.30 hrs
                           regarding new case.

10/11/2012     KMC         Review complaint.                                          L110        0.20 hrs


10/11/2012     KMC         Review assignment to RFC.                                  L110        0.10 hrs


10/11/2012     KMC         Review note and mortgage.                                  L110        0.20 hrs


10/11/2012     KMC         Review contact history.                                    L110        0.20 hrs


10/11/2012     KMC         Telephone conference with Ms. McGinnis                     L110        0.20 hrs
                           (Residential Capital) regarding case.

10/11/2012     KMC         E-mail correspondence with Ms. McGinnis                    L210        0.10 hrs
                           (Residential Capital) regarding obtaining complete
                           copy of complaint.
10/17/2012     KMC         Telephone conference with Ms. McGinnis                     L110        0.30 hrs
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27          Exhibit E
  096 01220                  Monthly Invoices Pg 592 of 1163
                                                          Invoice # 51820             Page 2
                      (Residential Capital) regarding how to proceed
                      with case.
10/17/2012   KMC      Research regarding subordination agreement.              L110       0.30 hrs


10/18/2012   KMC      Telephone conference with clerk regarding                L110       0.20 hrs
                      obtaining complete copy of complaint.

10/21/2012   KMC      Draft notice of bankruptcy.                              L210       0.40 hrs


10/21/2012   KMC      Draft answer.                                            L210       1.80 hrs


10/22/2012   KMC      Prepare notice of bankruptcy for filing.                 L110       0.20 hrs


10/23/2012   KMC      Review e-mail approving bankruptcy notice.               L110       0.10 hrs


10/31/2012   KMC      Review docket regarding service on GMACM.                L110       0.10 hrs




                      TOTAL FEES FOR THIS MATTER                                           $896.00


BILLING SUMMARY


         Wallace, David A.                            0.40 hrs    260.00 /hr    $104.00


         Cadieux, Karen M.                            4.40 hrs    180.00 /hr    $792.00



     TOTAL FEES                                       4.80 hrs                  $896.00

     TOTAL CHARGES FOR THIS INVOICE                                             $896.00
       12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                                 Monthly Invoices Pg 593 of 1163
                           CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                           November 15, 2012

                                                                      Billed through 10/31/2012
Tammy Hamzephour                                                      Invoice # 51821      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 096 01221
190-FTW-L95
Fort Washington, PA 19034

Re: Richard E. Jackson, et al.
Matter No.: 733428

PROFESSIONAL SERVICES

10/11/2012    DAW         Review e-mail regarding new case assignment                 L120        0.10 hrs
                          from Ms. McGinnis (Residential Capital, LLC).

10/11/2012    DAW         Review correspondence and additional e-mails                L120        0.30 hrs
                          regarding new case.

10/11/2012    KMC         Review docket in foreclosure case to determine              L110        0.20 hrs
                          status.

10/11/2012    KMC         Review complaint.                                           L110        0.30 hrs


10/11/2012    KMC         Review legal correspondence regarding case.                 L110        0.20 hrs


10/11/2012    KMC         Review goodbye letter.                                      L110        0.10 hrs


10/11/2012    KMC         Review service and determine answer date.                   L110        0.10 hrs


10/11/2012    KMC         Forward docket in foreclosure case to Ms.                   L110        0.20 hrs
                          McGinnis (Residential Capital).

10/11/2012    KMC         Telephone conference with Ms. McGinnis                      L110        0.30 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
  096 01221                 Monthly Invoices Pg 594 of 1163
                                                         Invoice # 51821         Page 2
                    (Residential Capital) regarding case.

10/17/2012   KMC    Telephone conference with Ms. McGinnis                L110     0.20 hrs
                    (Residential Capital) regarding how to proceed
                    with case.
10/18/2012   KMC    Telephone conference with Ms. McGinnis                L110     0.30 hrs
                    (Residential Capital) regarding releasing the lien.

10/18/2012   KMC    Review information regarding current owner and        L190     0.30 hrs
                    servicer of loan.

10/18/2012   KMC    Review pooling and servicing agreement.               L110     0.20 hrs


10/18/2012   KMC    Draft correspondence to Ms. McGinnis                  L190     0.30 hrs
                    (Residential Capital) regarding issues in case and
                    how to proceed.
10/18/2012   KMC    Revise correspondence to Ms. McGinnis                 L110     0.40 hrs
                    (Residential Capital) regarding issues in case and
                    how to proceed per Mr. Wallace.
10/22/2012   KMC    E-mail correspondence with Ms. McGinnis               L110     0.20 hrs
                    (Residential Capital) regarding whether bankruptcy
                    notice needs to be filed.
10/23/2012   DAW    Review e-mail regarding assignment of mortgage        L120     0.10 hrs
                    to Dreambuilders.

10/23/2012   DAW    Conference with Ms. Cadieux regarding disclaimer      L120     0.30 hrs
                    of interest and contacting subsequent servicer.

10/23/2012   KMC    Review e-mail approving bankruptcy notice.            L110     0.10 hrs


10/23/2012   KMC    Telephone conference with Ms. McGinnis                L110     0.20 hrs
                    (Residential Capital) regarding assignment of
                    mortgage to Dreambuilder.
10/23/2012   KMC    Telephone conference with Ms. McGinnis                L110     0.20 hrs
                    (Residential Capital) regarding escrow issues.

10/23/2012   KMC    Review loan documents.                                L110     0.30 hrs


10/23/2012   KMC    Research property records.                            L110     0.30 hrs


10/23/2012   KMC    Draft correspondence to Ms. McGinnis                  L110     0.40 hrs
                    (Residential Capital) regarding how we should
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
  096 01221                  Monthly Invoices Pg 595 of 1163
                                                          Invoice # 51821              Page 3
                      proceed given servicing transfer and sale of
                      mortgage.
10/29/2012   KMC      Telephone conference with Ms. McGinnis                   L110        0.10 hrs
                      (Residential Capital) regarding status of case.

10/29/2012   KMC      Review good bye letter.                                  L110        0.10 hrs




                      TOTAL FEES FOR THIS MATTER                                           $1,108.00


BILLING SUMMARY


         Wallace, David A.                            0.80 hrs    260.00 /hr     $208.00


         Cadieux, Karen M.                            5.00 hrs    180.00 /hr     $900.00



     TOTAL FEES                                       5.80 hrs                 $1,108.00

     TOTAL CHARGES FOR THIS INVOICE                                            $1,108.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
                                Monthly Invoices Pg 596 of 1163
                          CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                          November 15, 2012

                                                                   Billed through 10/31/2012
Tammy Hamzephour                                                   Invoice # 51822      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01222
190-FTW-L95
Fort Washington, PA 19034

Re: John M. Wysocki, et al.
Matter No.: 733461

PROFESSIONAL SERVICES

10/11/2012    KMC       Review information regarding new case.                     L110        0.10 hrs


10/11/2012    KMC       Review docket.                                             L110        0.20 hrs


10/11/2012    KMC       Telephone conference with clerk's office regarding         L210        0.20 hrs
                        obtaining copy of complaint.

10/11/2012    KMC       Review complaint.                                          L110        0.20 hrs


10/11/2012    KMC       Forward complaint to Ms. McGinnis (Residential             L210        0.10 hrs
                        Capital).

10/11/2012    KMC       E-mail correspondence with Ms. McGinnis                    L110        0.20 hrs
                        (Residential Capital) regarding who signed for
                        complaint.
10/17/2012    KMC       Telephone conference with Ms. McGinnis                     L110        0.30 hrs
                        (Residential Capital) regarding how to proceed
                        with case.
10/19/2012    DAW       Review e-mail regarding new case assignment.               L120        0.10 hrs


10/19/2012    DAW       Review complaint and judicial report.                      L120        0.30 hrs
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27         Exhibit E
  096 01222                  Monthly Invoices Pg 597 of 1163
                                                          Invoice # 51822            Page 2



10/19/2012   KMC      Review payment history.                                 L110       0.20 hrs


10/19/2012   KMC      Review note and mortgage.                               L110       0.20 hrs


10/21/2012   KMC      Draft notice of bankruptcy.                             L210       0.40 hrs


10/22/2012   KMC      E-mail correspondence with Ms. McGinnis                 L110       0.10 hrs
                      (Residential Capital) regarding bankruptcy notice.

10/22/2012   KMC      E-mail counsel for first lienholder regarding new       L110       0.20 hrs
                      procedures for obtaining relief from bankruptcy
                      stay.
10/26/2012   KMC      Review fact package.                                    L110       0.20 hrs




                      TOTAL FEES FOR THIS MATTER                                          $572.00


BILLING SUMMARY


         Wallace, David A.                           0.40 hrs    260.00 /hr    $104.00


         Cadieux, Karen M.                           2.60 hrs    180.00 /hr    $468.00



     TOTAL FEES                                      3.00 hrs                  $572.00

     TOTAL CHARGES FOR THIS INVOICE                                            $572.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                                Monthly Invoices Pg 598 of 1163
                           CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                           November 15, 2012

                                                                      Billed through 10/31/2012
Tammy Hamzephour                                                      Invoice # 51823      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 096 01223
190-FTW-L95
Fort Washington, PA 19034

Re: Christopher C. Dubay et, al.


PROFESSIONAL SERVICES

10/17/2012    KMC        Telephone conference with Ms. McGinnis                       L110        0.30 hrs
                         (Residential Capital) regarding answer and
                         counterclaim and how to proceed.
10/17/2012    KMC        Research regarding current owner of property.                L110        0.40 hrs


10/17/2012    KMC        Telephone conference with borrowers' counsel                 L190        0.30 hrs
                         regarding interest in loss mitigation.

10/17/2012    KMC        Review answer and counterclaim, note, mortgage,              L110        0.40 hrs
                         and assumption letter.

10/21/2012    KMC        Review defenses and counterclaims.                           L110        0.40 hrs


10/21/2012    KMC        Draft notice of bankruptcy.                                  L210        0.70 hrs


10/22/2012    DAW        Review e-mail regarding new case assignment.                 L120        0.10 hrs


10/22/2012    DAW        Review answer and counterclaim and affirmative               L120        0.30 hrs
                         defenses.

10/23/2012    KMC        Review e-mail approving bankruptcy notice.                   L110        0.10 hrs
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
  096 01223                  Monthly Invoices Pg 599 of 1163
                                                          Invoice # 51823         Page 2


10/23/2012   KMC      Review fact package.                              L110          0.40 hrs




                      TOTAL FEES FOR THIS MATTER                                       $644.00


BILLING SUMMARY


         Wallace, David A.                     0.40 hrs   260.00 /hr        $104.00


         Cadieux, Karen M.                     3.00 hrs   180.00 /hr        $540.00



     TOTAL FEES                                3.40 hrs                     $644.00

     TOTAL CHARGES FOR THIS INVOICE                                         $644.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27               Exhibit E
                                Monthly Invoices Pg 600 of 1163
                           CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                           November 15, 2012

                                                                       Billed through 10/31/2012
Tammy Hamzephour                                                       Invoice # 51824      JAL
Residential Capital, LLC
1100 Virginia Drive                                                    Our file # 096 01224
190-FTW-L95
Fort Washington, PA 19034

Re: Ronald E. Saunders, et al.
Matter No.: 733731

PROFESSIONAL SERVICES

10/22/2012    DAW        Review e-mail regarding new case assignment                   L120        0.10 hrs
                         from Ms. McGinnis (Residential Capital, LLC).

10/22/2012    DAW        Review complaint and confirm service and answer               L120        0.20 hrs
                         dates.

10/22/2012    DAW        Review note and mortgage.                                     L120        0.20 hrs


10/22/2012    KMC        Telephone conference with Ms. McGinnis                        L110        0.20 hrs
                         (Residential Capital) regarding new matter.



                         TOTAL FEES FOR THIS MATTER                                                 $166.00


BILLING SUMMARY


           Wallace, David A.                            0.50 hrs   260.00 /hr            $130.00


           Cadieux, Karen M.                            0.20 hrs   180.00 /hr             $36.00



      TOTAL FEES                                        0.70 hrs                        $166.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
096 01224                 Monthly Invoices Pg 601 of 1163
                                                       Invoice # 51824         Page 2

   TOTAL CHARGES FOR THIS INVOICE                                        $166.00
12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27   Exhibit E
                      Monthly Invoices Pg 602 of 1163




       NOVEMBER
        INVOICES
       12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                               Monthly Invoices Pg 603 of 1163
                            CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                           January 02, 2013

                                                                   Billed through 11/30/2012
Tammy Hamzephour                                                   Invoice # 52553      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 932 00050
190-FTW-L95
Fort Washington, PA 19034

Re: General Restructuring


PROFESSIONAL SERVICES

11/01/2012   RBS        Obtain and prepare bankruptcy pleadings requested          L310        0.30 hrs
                        by Mr. Beck.

11/01/2012   RBS        Draft e-mail to distribute requested bankruptcy            L310        0.10 hrs
                        documents.

11/02/2012   RBS        Obtain and prepare bankruptcy pleadings requested          L310        0.20 hrs
                        by Mr. Beck.

11/02/2012   RBS        Draft e-mail and distribute requested bankruptcy           L310        0.10 hrs
                        pleadings.

11/02/2012   DAB        Draft update for Ms. Zellman of Residential                L320        0.20 hrs
                        Capital regarding FHFA discovery disputes.

11/05/2012   RBS        Obtain and prepare bankruptcy pleadings requested          L310        0.70 hrs
                        by Mr. Beck.

11/05/2012   RBS        Draft e-mail and distribute requested bankruptcy           L310        0.50 hrs
                        pleadings.

11/06/2012   RBS        Obtain and prepare bankruptcy pleadings requested          L310        0.40 hrs
                        by Mr. Beck.

11/06/2012   RBS        Draft e-mail to distribute requested bankruptcy            L310        0.20 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27    Exhibit E
  932 00050                 Monthly Invoices Pg 604 of 1163
                                                         Invoice # 52553       Page 2
                    pleadings.

11/07/2012   RBS    Obtain and prepare bankruptcy pleadings requested   L310     0.10 hrs
                    by Mr. Beck.

11/07/2012   RBS    Draft e-mail to distribute requested bankruptcy     L310     0.10 hrs
                    pleadings.

11/08/2012   RBS    Draft e-mail to distribute requested bankruptcy     L310     0.20 hrs
                    pleadings.

11/08/2012   RBS    Obtain and prepare bankruptcy pleadings requested   L310     0.50 hrs
                    by Mr. Beck.

11/08/2012   DAB    Analyze pleadings extending bar date.               L120     0.10 hrs


11/08/2012   DAB    Draft update for Ms. Zellman of Residential         L320     0.30 hrs
                    Capital regarding FHFA discovery disputes.

11/09/2012   RBS    Obtain and prepare bankruptcy pleadings requested   L310     0.10 hrs
                    by Mr. Beck.

11/09/2012   RBS    Prepare e-mail to distribute requested bankruptcy   L310     0.10 hrs
                    pleadings.

11/09/2012   DAB    Call with Ms. Zellman (Residential Capital)         L120     0.20 hrs
                    regarding update for Citi on FHFA.

11/12/2012   RBS    Obtain and prepare bankruptcy pleadings requested   L310     0.20 hrs
                    by Mr. Beck.

11/12/2012   RBS    Prepare and distribute e-mail of requested          L310     0.10 hrs
                    bankruptcy pleadings.

11/13/2012   RBS    Obtain and prepare bankruptcy pleadings requested   L310     0.30 hrs
                    by Mr. Beck.

11/13/2012   RBS    Prepare e-mail to distribute requested bankruptcy   L310     0.20 hrs
                    pleadings.

11/15/2012   RBS    Obtain and prepare bankruptcy pleadings requested   L310     0.30 hrs
                    by Mr. Beck.

11/15/2012   RBS    Prepare e-mail to distribute requested bankruptcy   L310     0.10 hrs
                    pleadings.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27    Exhibit E
  932 00050                 Monthly Invoices Pg 605 of 1163
                                                         Invoice # 52553       Page 3

11/16/2012   RBS    Obtain and prepare bankruptcy pleadings requested   L310     0.40 hrs
                    by Mr. Beck.

11/16/2012   RBS    Draft e-mail to distribute requested bankruptcy     L310     0.20 hrs
                    pleadings.

11/16/2012   DAB    Communicate with Ms. Zellman (Residential           L120     0.10 hrs
                    Capital) regarding Residential Capital litigation
                    update for Citi.
11/19/2012   RBS    Prepare and obtain documents requested in           L310     0.50 hrs
                    bankruptcy pleadings by Mr. Beck.

11/19/2012   RBS    Draft e-mail to distribute requested bankruptcy     L310     0.20 hrs
                    pleadings.

11/20/2012   RBS    Prepare and obtain bankruptcy case requested by     L310     0.60 hrs
                    Mr. Beck.

11/20/2012   RBS    Draft e-mail to distribute requested bankruptcy     L310     0.20 hrs
                    pleadings.

11/27/2012   JAL    Prepare for meeting with examiner team to discuss   L120     1.60 hrs
                    various interview preparation issues (.50).
                    Participate in meeting with examiner team to
                    discuss same (1.0). Telephone conference with Ms.
                    Battle regarding same (.10).
11/27/2012   JES    Prepare for and attend conference regarding         L120     1.00 hrs
                    upcoming deadlines and case issues.

11/27/2012   JALB   Telephone conference with Mr. Lipps regarding       L120     0.20 hrs
                    staffing and agenda for team meeting.

11/27/2012   JALB   Telephone conference with Mr. Lipps regarding       L120     0.20 hrs
                    staffing and agenda for team meeting.

11/27/2012   JALB   Telephone conference with Mr. Lipps regarding       L120     0.10 hrs
                    staffing and agenda for team meeting.

11/27/2012   JALB   Organize and participate in internal team meeting   L120     0.90 hrs
                    regarding current status of open projects and
                    staffing priorities.
11/27/2012   JALB   Organize and participate in internal team meeting   L120     0.80 hrs
                    regarding current status of open projects and
                    staffing priorities.
11/27/2012   DAB    Meeting with Mr. Lipps, Ms. Battle, Mr.             L120     0.80 hrs
                    Beekhuizen, Mr. Sechler, Mr. Corcoran, Ms.
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27         Exhibit E
  932 00050                    Monthly Invoices Pg 606 of 1163
                                                            Invoice # 52553            Page 4
                        Rhode and Ms. Mohler regarding work
                        assignments and staffing issues accross matters.
11/27/2012   JRC        Conference with Mr. Lipps, Ms. Battle, Mr. Rhode,       L120       0.70 hrs
                        Ms. Mohler, Mr. Beck, Ms. Marty, and Mr.
                        Beekhuizen regarding work assignments and
                        staffing issues accross matters.
11/27/2012   JDR        Conference with Mr. Lipps, Ms. Battle, Mr. Rhode,       L120       0.90 hrs
                        Ms. Mohler, Mr. Beck, Ms. Marty, and Mr.
                        Beekhuizen regarding accross cases. (.80)
                        Follow-up on same. (.10)
11/27/2012   GNM        Meeting with Mr. Lipps, Ms. Battle and others           L120       0.70 hrs
                        regarding projects

11/28/2012   RBS        Obtain bankruptcy pleadings requested by Mr.            L310       0.70 hrs
                        Beck.

11/28/2012   RBS        Prepare e-mail to distribute requested bankruptcy       L310       0.30 hrs
                        pleadings.



                        TOTAL FEES FOR THIS MATTER                                         $2,674.50


BILLING SUMMARY


         Beck, David A.                                1.70 hrs    230.00 /hr    $391.00


         Marty, Gretchen N.                            0.70 hrs    150.00 /hr    $105.00


         Lipps, Jeffrey A.                             1.60 hrs    360.00 /hr    $576.00


         Battle, Jennifer A.L.                         2.20 hrs    250.00 /hr    $550.00


         Rhode, Jacob D.                               0.90 hrs    160.00 /hr    $144.00


         Sechler, Joel E.                              1.00 hrs    190.00 /hr    $190.00


         Corcoran, Jeffrey R.                          0.70 hrs    180.00 /hr    $126.00


         Samson, Robert B.                             7.90 hrs     75.00 /hr    $592.50
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27    Exhibit E
932 00050                 Monthly Invoices Pg 607 of 1163
                                                       Invoice # 52553       Page 5


   TOTAL FEES                              16.70 hrs                $2,674.50

   TOTAL CHARGES FOR THIS INVOICE                                   $2,674.50
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
                               Monthly Invoices Pg 608 of 1163
                         CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                           January 02, 2013

                                                                  Billed through 11/30/2012
Tammy Hamzephour                                                  Invoice # 52554      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 932 00051
190-FTW-L95
Fort Washington, PA 19034

Re: Stay Motion


PROFESSIONAL SERVICES

11/28/2012   JAL        Review second circuit brief regarding Judge Cote's        L120        1.80 hrs
                        denial of extend stay (1.50). Conference with Mr.
                        Haims (Morrison & Foerster) regarding same (.30).


                       TOTAL FEES FOR THIS MATTER                                              $648.00


BILLING SUMMARY


         Lipps, Jeffrey A.                            1.80 hrs   360.00 /hr         $648.00



     TOTAL FEES                                       1.80 hrs                     $648.00

     TOTAL CHARGES FOR THIS INVOICE                                                $648.00
       12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27                Exhibit E
                              Monthly Invoices Pg 609 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                      280 Plaza, Suite 1300
                                      280 North High Street
                                      Columbus, OH 43215
                                         (614) 365-4100
                                     Federal ID # XX-XXXXXXX



                                          January 02, 2013

                                                                 Billed through 11/30/2012
Tammy Hamzephour                                                 Invoice # 52555      JAL
Residential Capital, LLC
1100 Virginia Drive                                              Our file # 932 00053
190-FTW-L95
Fort Washington, PA 19034

Re: Administrative


EXPENSES

11/02/2012             Delivery Service/Messengers - Federal Express to Mr. Eckstein                 $32.14
                       from Mr. Beck

11/02/2012             Delivery Service/Messengers - Federal Express to Mr. Ziman                    $29.63
                       from Mr. Beck

11/02/2012             Delivery Service/Messengers - Federal Express to Mr. Cleri from               $32.14
                       Mr. Beck

11/02/2012             Delivery Service/Messengers - Federal Express to Ms. Nashelsky                $32.14
                       from Mr. Beck

11/02/2012             Delivery Service/Messengers - Federal Express Ms. Davis from                  $32.14
                       Mr. Beck

11/15/2012             Delivery Service/Messengers - Federal Express to Mr. Zimman                   $26.84

11/15/2012             Delivery Service/Messengers - Federal Express to Ms. Davis                    $40.08

11/15/2012             Delivery Service/Messengers - Federal Express to Mr. Cieri                    $31.79

11/15/2012             Delivery Service/Messengers - Federal Express to Ms. Nashelsky                $29.08
                       from Mr. Beck

11/15/2012             Delivery Service/Messengers - Federal Express to Mr. Mannal                   $26.84
                       from Mr. Beck

                       TOTAL EXPENSES FOR THIS MATTER                                           $312.82
     12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
 932 00053                 Monthly Invoices Pg 610 of 1163
                                                        Invoice # 52555         Page 2


BILLING SUMMARY


    TOTAL EXPENSES                                                        $312.82

    TOTAL CHARGES FOR THIS INVOICE                                        $312.82
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                                Monthly Invoices Pg 611 of 1163
                         CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                            January 02, 2013

                                                                     Billed through 11/30/2012
Tammy Hamzephour                                                     Invoice # 52562      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 932 00054
190-FTW-L95
Fort Washington, PA 19034

Re: SEC Post-Petition
Matter No.: 721750

PROFESSIONAL SERVICES

11/01/2012   JALB       Provide witness background information to                    L330        0.10 hrs
                        Morrison & Foerster SEC witness preparation
                        team.
11/01/2012   JALB       Discussion with Mr. Corcoran regarding witness               L120        0.20 hrs
                        background research.

11/01/2012   JRC        Review and analyze documents in Discovery                    L310        0.50 hrs
                        Partner in order to locate preparation materials for
                        interviews with the SEC. (.30) Communicate with
                        Ms. Battle regarding same. (.20)
11/02/2012   JAL        Review e-mails regarding response to SEC request             L120        1.00 hrs
                        for factual testimony (.10). Conference with Ms.
                        Battle regarding same (.10). Review and respond
                        to e-mails regarding scheduling phone interviews
                        with potential deponents (.10). Review and revise
                        proposed communication to potential deponents
                        (.20). Telephone conference with Mr. Powell
                        (Kirkland), Ms. Battle and Mr. Hoffman (Morrison
                        & Foerster) regarding potential deponents (.20).
                        Telephone conference with Mr. Powell and Ms.
                        Battle regarding same (.20). Review and respond
                        to e-mails regarding same (.10).
11/02/2012   VLS        Update progress chart to include new custodian               L320        0.80 hrs
                        data.

11/02/2012   VLS        Assignment of review batches to document review              L320        0.40 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
  932 00054                 Monthly Invoices Pg 612 of 1163
                                                         Invoice # 52562         Page 2
                    team members.

11/02/2012   VLS    Update document review status chart.                  L320     0.40 hrs


11/02/2012   JALB   Telephone conference with Mr. Hoffman                 L120     0.20 hrs
                    (Morrison & Foerster) regarding representation of
                    witnesses.
11/02/2012   JALB   Telephone conferences with Mr. Powell                 L120     0.40 hrs
                    (Kirkland), Mr. Hoffman (Morrison & Foerster),
                    Mr. Lipps and witness contacts regarding
                    scheduling of testimony.
11/02/2012   JALB   Note to Mr. Lipps regarding representation of         L120     0.10 hrs
                    witnesses.

11/02/2012   GNM    Telephone communications with Mr. Shaw                L120     0.20 hrs
                    (Contract Reviewer) regarding SEC data.

11/05/2012   JAL    Prepare for client status call (.10). Conferences     L120     1.30 hrs
                    with Ms. Battle regarding same (.10). Participate
                    on client status call (.20). Participate on all to
                    potential witness designees (.30). Review e-mail
                    from Mr. Thompson (Residential Capital)
                    regarding indemnification and representation (.10).
                    Review witness response (.10). Review e-mails
                    scheduling interviews (.10). Conference with Ms.
                    Battle regarding same (.30).
11/05/2012   VLS    E-mail exchange with Mr. Breyers (Night Owl)          L320     0.20 hrs
                    regarding technical issues a reviewer is
                    experiencing with database.
11/05/2012   VLS    Telephone conference with Mr. Breyer at Night         L320     0.30 hrs
                    Owl regarding review activity tracking reports.

11/05/2012   VLS    Approve contract reviewer time cards for payment.     L320     0.10 hrs


11/05/2012   VLS    Approve contract reviewer time cards for payment.     L320     0.10 hrs


11/05/2012   VLS    Obtain and review time cards for document review      L320     0.30 hrs
                    team members.

11/05/2012   VLS    E-mail exchange with Mr. Breyer at Night Owl          L320     0.20 hrs
                    regarding review activity tracking reports.

11/05/2012   JALB   Participate in weekly client update call.             L120     0.40 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27       Exhibit E
  932 00054                 Monthly Invoices Pg 613 of 1163
                                                         Invoice # 52562          Page 3


11/05/2012   GNM    Work in Relativity database to answer reviewers'       L320     0.40 hrs
                    questions regarding SEC data.

11/06/2012   JAL    Conference with Ms. Battle regarding interviews        L120     0.50 hrs
                    with former executives (.20). Telephone
                    conferences with Mr. Hoffman (Morrison &
                    Foerster), Ms. Battle and Mr. Jones and then Mr.
                    Bricker (former Residential Capital employee) to
                    discuss SEC investigation (.30).
11/06/2012   VLS    Monitor review status of document review team.         L320     0.20 hrs


11/06/2012   VLS    Check in completed batch sets to remove items          L320     0.30 hrs
                    from document reviewers' assignment list.

11/06/2012   VLS    Assignment of review batches to document               L320     0.40 hrs
                    reviewers.

11/06/2012   VLS    Update document review tracking spreadsheet.           L320     0.40 hrs


11/06/2012   JALB   Discussion with Mr. Lipps regarding SEC                L120     0.30 hrs
                    subpoena calls to former employees. (.20)
                    Conference with Mr. Corcoran regarding
                    interviews of former employees. (.10)
11/06/2012   JALB   Follow-up with Mr. Ruckdaschel (Residential            L120     0.10 hrs
                    Capital) regarding individuals on which SEC
                    focused.
11/06/2012   JALB   Meet with Mr. Corcoran regarding individuals on        L120     0.30 hrs
                    which SEC focused. (.10) Analyze materials
                    regarding focus of SEC investigation. (.20)
11/06/2012   JALB   Telephone conference with former Residential           L120     0.50 hrs
                    Capital employee regarding SEC subpoena.

11/06/2012   JALB   Telephone conference with former Residrential          L120     0.50 hrs
                    Capital employee regarding SEC subpoena. (.20)
                    Telephone conference with Mr. Hoffman
                    (Morrison & Foerster), Mr. Lipps, and former
                    Residential Capital employee regarding
                    investigation. (.30)
11/06/2012   JRC    Conference with Ms. Battle regarding interviews of     L120     0.10 hrs
                    former Residential Capital employees by the SEC.

11/06/2012   JRC    Review Residential Capital's public filings with the   L210     1.20 hrs
                    SEC in order to prepare for interviews of former
                    Residential Capital employees by the SEC.
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11/07/2012   VLS    Monitor review status of document review team.       L320     0.40 hrs


11/07/2012   VLS    Check in completed batch sets to remove items        L320     0.20 hrs
                    from document reviewers' assignment list.

11/07/2012   VLS    Assignment of review batches to document             L320     0.40 hrs
                    reviewers.

11/07/2012   VLS    Update document review tracking spreadsheet.         L320     0.60 hrs


11/07/2012   JALB   Telephone conference with Mr. Ruckdaschel            L120     0.50 hrs
                    (Residential Capital) regarding background on S-3
                    shelf registration statements.
11/07/2012   JALB   E-mail memorandum to Mr. Lipps and Mr.               L120     0.30 hrs
                    Corcoran regarding background on S-3 shelf
                    registration statements.
11/07/2012   GNM    Drafting and sending e-mail communications to        L120     0.60 hrs
                    Mr. Shipler (DTI) regarding SEC data for 3rd level
                    review.
11/07/2012   GNM    Drafting and sending e-mail communications to        L120     0.60 hrs
                    Mr. Hoffman and Ms. Serfoss (Morrison &
                    Foerster) regarding status of SEC review.
11/07/2012   GNM    Telephone communications with Mr. Hoffman            L120     0.30 hrs
                    (Morrison & Foerster) regarding SDG data for
                    review in Relativity database.
11/07/2012   GNM    Working in Relativity database to configure SDG      L320     1.10 hrs
                    data for review.

11/08/2012   JAL    Review and redraft submission regarding quality      L120     0.80 hrs
                    control procedures (.40). Review e-mails
                    regarding same (.20). Communicate with Ms.
                    Battle regarding reaction and comments (.20).
11/08/2012   VLS    Monitor review status of document review team.       L320     0.30 hrs


11/08/2012   VLS    Check in completed batch sets to remove items        L320     0.20 hrs
                    from document reviewers' assignment list.

11/08/2012   VLS    Assignment of review batches to document             L320     0.60 hrs
                    reviewers.

11/08/2012   VLS    Update document review tracking spreadsheet.         L320     0.40 hrs
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11/08/2012   VLS    Research discovery partner database to confirm     L320      0.70 hrs
                    correct tagging of selected seller files.

11/08/2012   VLS    Draft e-mail to Mr. Shipler at DTI requesting      L320      0.20 hrs
                    detailed listing of select seller files.

11/09/2012   VLS    Monitor review status of document review team.     L320      0.20 hrs


11/09/2012   VLS    Check in completed batch sets to remove items      L320      0.40 hrs
                    from document reviewers' assignment list.

11/09/2012   VLS    Assignment of review batches to document           L320      0.60 hrs
                    reviewers.

11/09/2012   VLS    Update document review tracking spreadsheet.       L320      0.20 hrs


11/09/2012   JALB   Review and respond to Mr. Hoffman's (Morrison      L120      0.40 hrs
                    & Foerster's) request for comments on question &
                    answer talking points.
11/09/2012   GNM    Communicate with Ms. Battle regarding privilege    L120      0.30 hrs
                    determinations of seller files.

11/12/2012   VLS    Monitor review status of document review team.     L320      0.30 hrs


11/12/2012   VLS    Check in completed batch sets to remove items      L320      0.40 hrs
                    from document reviewers' assignment list.

11/12/2012   VLS    Assignment of review batches to document           L320      0.60 hrs
                    reviewers.

11/12/2012   VLS    Update document review tracking spreadsheet.       L320      0.40 hrs


11/12/2012   DAB    Communicate with Mr. Lipps, Ms. Battle and Mr.     L120      0.10 hrs
                    Corcoran regarding SEC settlement with JP
                    Morgan.
11/12/2012   JRC    E-mail exchange with Ms. Battle, Mr. Beck, and     L120      0.20 hrs
                    Mr. Lipps regarding SEC's enforcement action
                    against JP Morgan.
11/12/2012   JRC    Teleconference with DTI technical support          L120      0.10 hrs
                    regarding errors in Relativity database.

11/12/2012   JRC    Review and analyze documents in RMBS litigation    L320      4.10 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
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                    databases in order to locate interview preparation
                    materials for SEC interviews.
11/12/2012   JRC    Draft e-mail to Mr. Lipps and Ms. Battle regarding   L320     0.10 hrs
                    documents reviewed in RMBS litigation databases
                    relating to SEC interviews.
11/12/2012   GNM    Meeting with Ms. Diem, Ms. Hodge, and Ms.            L120     0.30 hrs
                    Cericola (Contract Reviewers) regarding re-review
                    of privileged data.
11/13/2012   VLS    Monitor review status of document review team.       L320     0.20 hrs


11/13/2012   VLS    Check in completed batch sets to remove items        L320     0.60 hrs
                    from document reviewers' assignment list.

11/13/2012   VLS    Assignment of review batches to document             L320     0.60 hrs
                    reviewers.

11/13/2012   VLS    Update document review tracking spreadsheet.         L320     0.40 hrs


11/13/2012   GNM    Telephone communications with DTI team               L120     0.20 hrs
                    regarding status of unviewable items for review.

11/14/2012   VLS    Monitor review status of document review team.       L320     0.40 hrs


11/14/2012   VLS    Check in completed batch sets to remove items        L320     0.30 hrs
                    from document reviewers' assignment list.

11/14/2012   VLS    Assignment of review batches to document             L320     0.20 hrs
                    reviewers.

11/14/2012   VLS    Update document review tracking spreadsheet.         L320     0.40 hrs


11/14/2012   GNM    Drafting and sending e-mail communications to        L120     0.40 hrs
                    Mr. Shipler (DTI) regarding SEC data for 3rd level
                    review.
11/15/2012   VLS    Monitor review status of document review team.       L320     0.40 hrs


11/15/2012   VLS    Check in completed batch sets to remove items        L320     0.40 hrs
                    from document reviewers' assignment list.

11/15/2012   VLS    Assignment of review batches to document             L320     0.40 hrs
                    reviewers.
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11/15/2012   VLS    Update document review tracking spreadsheet.       L320      0.60 hrs


11/15/2012   VLS    Telephone conference with Ms. Lenkey at            L320      0.60 hrs
                    Morrison and Foerster regarding production of
                    select seller files to the SEC.
11/16/2012   VLS    Update document review tracking spreadsheet.       L320      0.40 hrs


11/16/2012   VLS    Monitor review status of document review team.     L320      0.40 hrs


11/16/2012   VLS    Assignment of document review batches.             L320      0.20 hrs


11/16/2012   VLS    Check in completed batch sets to remove items      L320      0.30 hrs
                    from document reviewers' assignment list.

11/19/2012   VLS    Monitor review status of document review team.     L320      0.80 hrs


11/19/2012   VLS    Assignment of document review batches.             L320      0.60 hrs


11/19/2012   VLS    Update document review progress chart.             L320      0.80 hrs


11/19/2012   VLS    Monitor review status of document review team.     L320      0.30 hrs


11/19/2012   VLS    Assignment of document review batches.             L320      0.20 hrs


11/19/2012   VLS    Check in completed batch sets to remove items      L320      0.30 hrs
                    from document reviewers' assignment list.

11/19/2012   VLS    Update document review tracking spreadsheet.       L320      0.40 hrs


11/19/2012   VLS    Obtain document reviewer time cards and review     L320      0.60 hrs
                    for accuracy.

11/19/2012   VLS    Approve document reviewer time cards.              L320      0.20 hrs


11/19/2012   GNM    Working in Relativity database performing second   L320      2.40 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27    Exhibit E
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                    level review on diligence data as outlined in the
                    Quality Control Protocol.
11/26/2012   VLS    Monitor review status of document review team.      L320     0.40 hrs


11/26/2012   VLS    Identify documents that were mistakenly not coded   L320     0.60 hrs
                    within reviewers' assigned batch.

11/26/2012   VLS    E-mail exchange with document reviewer Mr.          L320     0.20 hrs
                    Blake regarding documents not yet coded.

11/26/2012   VLS    E-mail exchange with document reviewer Mr.          L320     0.20 hrs
                    Grimes regarding documents not yet coded.

11/26/2012   VLS    E-mail exchange with document reviewer Mr.          L320     0.20 hrs
                    Shaw regarding documents not yet coded.

11/26/2012   VLS    E-mail exchange with document reviewer Mr.          L320     0.20 hrs
                    Helm regarding documents not yet coded.

11/26/2012   VLS    E-mail exchange with document reviewer Mr.          L320     0.20 hrs
                    Karam regarding documents not yet coded.

11/26/2012   VLS    Check in completed review batches.                  L320     0.40 hrs


11/26/2012   VLS    Obtain document reviewer time cards and review      L320     0.40 hrs
                    for accuracy.

11/26/2012   VLS    Approve document reviewer time cards.               L320     0.20 hrs


11/26/2012   JALB   Telephone conference with Mr. Hoffman               L120     0.20 hrs
                    (Morrison & Foerster) regarding witness testimony
                    status.
11/26/2012   JALB   Review notes from Mr. Hoffman (Morrison &           L120     0.30 hrs
                    Foerster) regarding Question/Answer reports.

11/26/2012   JALB   Follow-up e-mails regarding notes from Mr.          L120     0.20 hrs
                    Hoffman (Morrison & Foerster) regarding
                    Question/Answer reports.
11/26/2012   JRC    Review and analyze documents in litigation          L320     1.90 hrs
                    databases in order to locate management reports
                    requested by the Securities and Exchange
                    Commission.
11/26/2012   HLB    Review of SEC documents. (1.40) Review protocol     L120     2.10 hrs
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                    in preparation to begin quality control document
                    review. (.70)
11/27/2012   VLS    Monitor review status of document review team.       L320     0.40 hrs


11/27/2012   VLS    Update document review status chart.                 L320     0.60 hrs


11/27/2012   VLS    Check in completed review batches.                   L320     0.40 hrs


11/27/2012   VLS    E-mail exchange with document reviewer Mr.           L320     0.20 hrs
                    Schlegel regarding completion status of batches.

11/27/2012   VLS    E-mail exchange with document reviewer Mr.           L320     0.20 hrs
                    Karam regarding completion status of batches.

11/27/2012   JALB   Telephone conference with Mr. Corcoran               L120     0.40 hrs
                    regarding follow up on questions from Mr.
                    Hoffman (Morrison & Foerster) regarding QA
                    inquiry from SEC.
11/27/2012   JRC    Teleconference with Ms. Battle regarding review      L120     0.20 hrs
                    of management reports in response to requests
                    from the SEC.
11/27/2012   JRC    Teleconference with Mr. Hoffman (Morrison &          L120     0.20 hrs
                    Foerster) regarding review of management reports
                    in response to requests from the SEC.
11/27/2012   JRC    Review deposition testimony from Residential         L330     1.60 hrs
                    Capital RMBS litigation in order to locate
                    management reports in response to requests from
                    the SEC.
11/27/2012   JRC    Review documents in Residential Capital RMBS         L320     1.90 hrs
                    litigation databases in order to locate management
                    reports in response to requests from the SEC.
11/27/2012   HLB    Review of 2/23/12 subpoena from SEC to ResCap        L120     0.90 hrs
                    in preparation to begin quality control examiner
                    review and review of SEC documents.
11/27/2012   HLB    Review of 6/13/12 subpoena from SEC to ResCap        L120     0.70 hrs
                    in preparation to begin quality control examiner
                    review and review of SEC documents.
11/27/2012   HLB    Review of Document Review Protocol and               L120     2.70 hrs
                    Addendums in preparation to begin quality control
                    examiner review and review of SEC documents.
11/27/2012   HLB    Review of ResCap Shelf Structure and Securities      L120     0.40 hrs
                    List in preparation to begin quality control
                    examiner review and review of SEC documents.
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11/27/2012   HLB    Review of ResCap Shelf Structure and Securities    L120      0.70 hrs
                    List in preparation to begin quality control
                    examiner review and review of SEC documents.
11/28/2012   VLS    Monitor review status of document review team.     L320      0.40 hrs


11/28/2012   VLS    Update document review status chart.               L320      0.40 hrs


11/28/2012   VLS    E-mail exchange with document reviewer Mr.         L320      0.30 hrs
                    Blake regarding status of document reviewer.

11/28/2012   VLS    E-mail exchange with document reviewer Mr.         L320      0.20 hrs
                    Shaw regarding additional document review
                    material.
11/28/2012   VLS    E-mail exchange with document reviewer Ms.         L320      0.20 hrs
                    Armstrong regarding changes to document coding
                    viewer.
11/28/2012   JRC    Teleconference with Mr. Hoffman (Morrison &        L120      0.10 hrs
                    Foerster) regarding management reports produced
                    to the SEC.
11/28/2012   JRC    Draft analysis of management reports produced to   L210      1.20 hrs
                    the SEC for Mr. Hoffman (Morrison & Foerster).

11/28/2012   JRC    Review and analyze documents in Residential        L320      5.80 hrs
                    Capital litigation databases in order to locate
                    management reports for production to the SEC.
11/28/2012   GNM    Meeting with Ms. Buchanan regarding SEC review     L120      1.40 hrs
                    protocol.

11/28/2012   HLB    Overview of examiner protocol and training on      L120      2.40 hrs
                    Relativity program in preparation for quality
                    control review with Ms. Marty. (1.40) Review
                    materials regarding SEC investigation. (.40)
11/29/2012   VLS    Monitor review status of document review team.     L320      0.40 hrs


11/29/2012   VLS    Check in completed review batches.                 L320      0.30 hrs


11/29/2012   VLS    Update document review status chart.               L320      0.40 hrs


11/29/2012   GNM    Telephone communications with Mr. Hoffman          L120      0.30 hrs
                    (Morrison & Foerster) regarding SEC project.
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11/29/2012   HLB        Complete second tier review of SDG-privilege                 L120          0.60 hrs
                        documents per quality control protocol.

11/30/2012   VLS        Monitor review status of document review team.               L320          0.40 hrs


11/30/2012   VLS        Check in completed review batches.                           L320          0.30 hrs


11/30/2012   VLS        Update document review status chart.                         L320          0.40 hrs


11/30/2012   JRC        Review documents in Residential Capital's RMBS               L320          0.20 hrs
                        litigation databases in order to respond to the
                        SEC's request for management reports.
11/30/2012   GNM        Drafting and sending e-mail communications to                L120          0.30 hrs
                        Mr. Shipler (DTI) regarding SEC data for 3rd level
                        review.


                        TOTAL FEES FOR THIS MATTER                                                $12,303.50

EXPENSES

11/09/2012              Litigation Support Vendors - Robert Half International contact             $102,836.
                        reviewer (services for 10/5/12 to 11/02/12, 3,097.56 hours x                      71
                        $31.10 per hour + $6,502.47 tax)

                        TOTAL EXPENSES FOR THIS MATTER                                       $102,836.71


BILLING SUMMARY


         Beck, David A.                                0.10 hrs   230.00 /hr             $23.00


         Marty, Gretchen N.                            8.80 hrs   150.00 /hr         $1,320.00


         Buchanan, Heather L.                        10.50 hrs    240.00 /hr         $2,520.00


         Lipps, Jeffrey A.                             3.60 hrs   360.00 /hr         $1,296.00


         Battle, Jennifer A.L.                         5.40 hrs   250.00 /hr         $1,350.00


         Corcoran, Jeffrey R.                        19.40 hrs    180.00 /hr         $3,492.00
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      Sholl, Veronica L.                    30.70 hrs   75.00 /hr     $2,302.50



   TOTAL FEES                               78.50 hrs                $12,303.50

   TOTAL EXPENSES                                                   $102,836.71

   TOTAL CHARGES FOR THIS INVOICE                                   $115,140.21
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                              Monthly Invoices Pg 623 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                          January 02, 2013

                                                                   Billed through 11/30/2012
Tammy Hamzephour                                                   Invoice # 52563      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 932 00057
190-FTW-L95
Fort Washington, PA 19034

Re: RMBS Trust Settlement
Matter No.: 721750

PROFESSIONAL SERVICES

11/01/2012   AMP       Attention to follow-up issues regarding privilege           L320        0.80 hrs
                       logs for productions to the UCC.

11/01/2012   AMP       Draft e-mail to Ms. Battle to forward to Morrison           L120        0.30 hrs
                       & Foerster regarding position on professional eyes
                       only and privilege issues as to specific documents
                       identified by UCC.
11/01/2012   AMP       Multiple e-mails with Mr. Harris (Morrison &                L120        0.60 hrs
                       Foerster) and Ms. Battle regarding professional
                       eyes only designations.
11/01/2012   AMP       Review documents for professional eyes only                 L120        0.80 hrs
                       designations.

11/01/2012   AMP       Multiple e-mails with review team regarding                 L120        0.40 hrs
                       follow-up issues (.30). Attention to professional
                       eyes only designation issues. (.10)
11/01/2012   JAL       Review outline of 9019 issues (.30). Conference             L120        0.50 hrs
                       with Ms. Battle regarding same (.20).

11/01/2012   JALB      Review topic list from Ms. DeArcy (Morrison &               L120        0.10 hrs
                       Foerster).

11/01/2012   JALB      Planning for defense of Mr. Lipps' deposition. (.30)        L330        0.50 hrs
                       Conference with Mr. Lipps regarding same. (.20)
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
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11/01/2012   JRC    Revise memorandum analyzing potential testimony      L420     0.30 hrs
                    of Kose John (designated by MBIA as expert
                    witness).
11/02/2012   AMP    Review and respond to e-mails from Ms. Battle        L120     0.30 hrs
                    and Mr. Ziegler (Morrison & Foerster) regarding
                    clawback issues.
11/02/2012   AMP    Conference with Ms. Battle regarding Mr. Lipps'      L120     0.20 hrs
                    deposition preparation.

11/02/2012   AMP    E-mail exchanges with Ms. Battle regarding Mr.       L120     0.20 hrs
                    Lipps's deposition preparation.

11/02/2012   AMP    Draft e-mail to Mr. Molnar regarding identifying     L320     0.30 hrs
                    and pulling any documents on privilege logs
                    involving Mr. Lipps and/or Carpenter Lipps &
                    Leland to assist in Mr. Lipps' deposition
                    preparation.
11/02/2012   AMP    Attention to clawback issues regarding produced      L120     1.40 hrs
                    document.

11/02/2012   AMP    Review documents produced that include Mr.           L320     2.10 hrs
                    Lipps and/or our firm to assist in Mr. Lipps'
                    deposition preparation.
11/02/2012   JALB   Respond to question from Mr. Delfs (Residential      L120     0.10 hrs
                    Capital ) regarding purpose of loan file request.

11/02/2012   JALB   Discussion with Mr. Rhode regarding scope of         L120     0.20 hrs
                    expert cross examination.

11/02/2012   JALB   Preparation for Sillman and Lipps testimony. (.10)   L330     0.30 hrs
                    Conference with Ms. Paul-Whitfield regarding
                    same. (.20)
11/02/2012   DAB    Communicate with Mr. Lipps, Ms. Paul Whitfield       L120     0.10 hrs
                    and Ms. Battle regarding rescheduling of hearing
                    on RMBS discovery disputes.
11/02/2012   JRC    Revise memorandum analyzing potential testimony      L420     3.00 hrs
                    of Kose John (designated by MBIA as expert
                    witness).
11/02/2012   JDR    Review and analyze Sillman declarations to           L420     2.20 hrs
                    evaluate designated expert challenges. (2.00)
                    Discussion with Ms. Battle regarding possible
                    challenges to Sillman. (.20)
11/02/2012   JDR    Draft summary of Sillman declarations and analyze    L420     1.80 hrs
                    potential designated expert challenges.

11/02/2012   JDR    Draft memorandum of potential key designated         L420     0.40 hrs
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                    expert challenges to the Sillman declarations.

11/02/2012   JDR    Prepare notebook of Sillman declarations and        L420     0.20 hrs
                    designated expert diligence.

11/02/2012   AJM    Gather documents involving Carpenter Lipps &        L320     2.70 hrs
                    Leland fully withheld from production to the UCC
                    for use in Mr. Lipps' deposition preparation.
11/03/2012   AMP    Attention to privilege log issues.                  L320     1.90 hrs


11/03/2012   AMP    Review and respond to e-mail from Mr. Harris        L320     0.20 hrs
                    (Morrison & Foerster) regarding privilege logs.

11/03/2012   AMP    Review letter from UCC's counsel regarding          L120     0.30 hrs
                    privilege issues.

11/03/2012   AMP    Multiple e-mails with Mr. Harris and Mr. Ziegler    L320     0.60 hrs
                    (Morrison & Foerster) regarding supplemental
                    production of documents initially withheld as
                    common interest relating to RMBS settlement.
11/03/2012   AMP    Multiple e-mails with Mr. Ziegler (Morrison &       L320     0.90 hrs
                    Foerster), Mr. Barthel and Mr. Molnar regarding
                    supplemental production review and assignments
                    for same.
11/03/2012   AMP    Multiple e-mails with Morrison & Foerster's         L320     0.30 hrs
                    vendor to regain access to database to be able to
                    conduct supplemental production review.
11/03/2012   AMP    Analyze document on withheld or redacted logs in    L320     1.70 hrs
                    second production set to determine what needs to
                    be supplementally produced.
11/03/2012   JALB   Review and respond to e-mails among Mr. Harris      L120     0.20 hrs
                    (Morrison & Foerster) and Ms. Paul-Whitfield
                    regarding scope of privilege assessment.
11/03/2012   JALB   Correspondence with Mr. Lipps regarding scope of    L120     0.10 hrs
                    privilege assessment.

11/03/2012   JALB   Prepare for Mr. Lipps' deposition.                  L330     0.10 hrs


11/04/2012   AMP    Multiple e-mails with Morrison & Foerster's         L320     0.40 hrs
                    vendor to regain access to database to be able to
                    conduct supplemental production review.
11/04/2012   AMP    Attention to reviewing Morrison & Foerster's        L120     0.30 hrs
                    response letters regarding privilege issues and
                    waiver issues.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
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                                                         Invoice # 52563         Page 4
11/04/2012   AMP    Multiple e-mails with Ms. Battle and Mr. Lipps        L120     0.30 hrs
                    regarding privilege issues and waiver issues.

11/04/2012   AMP    E-mails with Mr. Barthel and Mr. Molnar               L120     0.50 hrs
                    regarding research regarding waiver issue.

11/04/2012   AMP    Conference call with Mr. Barthel and Mr. Molnar       L120     0.40 hrs
                    regarding research on waiver issue.

11/04/2012   AMP    Attention to re-review of documents on withheld or    L320     2.90 hrs
                    redacted logs in second production set to determine
                    what needs to be supplementally produced in light
                    of change in Morrison & Foerster's common
                    interest position.
11/04/2012   AMP    Multiple e-mails with Mr. Barthel and Mr. Molnar      L320     0.90 hrs
                    regarding supplemental production review.

11/04/2012   AMP    Multiple e-mails with Mr. Harris and Mr. Ziegler      L320     1.10 hrs
                    (Morrison & Foerster) regarding supplemental
                    production and current privilege positions.
11/04/2012   AMP    Multiple e-mails with Ms. Battle and Mr. Lipps        L320     0.60 hrs
                    regarding produced documents involving Mr.
                    Lipps or other Carpenter Lipps & Leland personnel
                    for deposition preparation purposes.
11/04/2012   JALB   Correspondence with Ms. Paul-Whitfield, Mr.           L120     0.80 hrs
                    Lipps, Mr. Barthel and Mr. Molnar regarding
                    privilege waiver arguments.
11/04/2012   JALB   Work on outline of issues for Mr. Lipps' deposition   L330     1.70 hrs
                    preparation.

11/04/2012   DJB    Research regarding attorney expert and waiver of      L120     5.70 hrs
                    privilege. (3.30) Draft memorandum regarding
                    same. (2.00) Call with Ms. Paul-Whitfield and Mr.
                    Molnar regarding privilege research. (.40)
11/04/2012   DJB    Review e-mails involving CLL attorneys withheld       L120     3.80 hrs
                    from production to UCC on the basis of
                    attorney-client privilege and attorney work
                    product, to assist Morrison Foerster in determining
                    whether to supplement productions based on new
                    developments in the proceedings.
11/04/2012   DJB    Review e-mails previously produced in redacted        L120     4.60 hrs
                    form to the UCC on the basis of common interest
                    privilege, to assist Morrison Foerster in
                    determining whether to supplement productions
                    based on new developments in the proceedings.
11/04/2012   JDR    Review prepetition CPIM complaints filed against      L210     1.90 hrs
                    Residential Capital and draft analysis chart
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
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                    isolating key areas in preparation for upcoming
                    expert depositions and 9019 hearing.
11/04/2012   JDR    Review prepetition FGIC complaints filed against      L210     1.60 hrs
                    Rescap and draft analysis chart isolating key areas
                    in prepartion for upcoming expert depositions and
                    9019 hearing.
11/04/2012   AJM    Review fully withheld documents on supplemental       L320     1.80 hrs
                    privilege log for UCC document request regarding
                    Patrick settlement to determine if common interest
                    designation still applicable.
11/04/2012   AJM    Revise supplemental fully withheld privilege log      L320     0.90 hrs
                    for UCC Patrick document request to document
                    instances where common interest privilege
                    possibly no longer applicable.
11/04/2012   AJM    Determine if documents related to Carpenter Lipps     L320     2.30 hrs
                    & Leland previously withheld from UCC in
                    relation to Patrick document request would be
                    produced with new formulation of
                    common-interest privilege.
11/05/2012   AMP    Attention to privilege waiver issues regarding Mr.    L120     0.20 hrs
                    Lipps' role as expert.

11/05/2012   AMP    Telephone conference with Mr. Harris (Morrison        L120     0.20 hrs
                    & Foerster) regarding privilege issues.

11/05/2012   AMP    Multiple e-mails regarding privilege issues.          L120     0.30 hrs


11/05/2012   AMP    Review annotated chart of specific documents          L320     0.60 hrs
                    from withheld or redacted logs.

11/05/2012   AMP    Conference with Ms. Battle regarding specific         L120     0.20 hrs
                    documents from withheld or redacted logs.

11/05/2012   AMP    Conference with Ms. Battle and Mr. Lipps              L120     0.30 hrs
                    regarding privilege waiver issue.

11/05/2012   AMP    Multiple e-mail exchanges with Ms. Battle and Mr.     L120     0.50 hrs
                    Harris (Morrison & Foerster) regarding privilege
                    waiver issue.
11/05/2012   AMP    Review e-mail from Mr. Ziegler (Morrison &            L320     0.30 hrs
                    Foerster) regarding review of documents in 9019
                    production for professional eyes only or
                    confidentiality purposes.
11/05/2012   AMP    Research regarding review of documents in 9019        L320     0.60 hrs
                    production for professional eyes only or
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
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                    confidentiality purposes.
11/05/2012   AMP    Respond to e-mail from Mr. Ziegler (Morrison &        L320     0.20 hrs
                    Foerster) regarding review of documents in 9019
                    production for professional eyes only or
                    confidentiality purposes.
11/05/2012   AMP    Review research from Mr. Barthel regarding            L120     0.20 hrs
                    waiver issue.

11/05/2012   AMP    Review documents from withheld or redacted logs       L320     1.40 hrs
                    including Mr. Lipps or other Carpenter Lipps &
                    Leland attorneys.
11/05/2012   AMP    Multiple e-mails with Mr. Barthel and Mr. Molnar      L320     0.80 hrs
                    regarding supplemental production review. (.60)
                    Conference with Mr. Molnar regarding same. (.20)
11/05/2012   AMP    Revise edits to privilege logs from second set of     L320     1.20 hrs
                    productions to reflect supplemental production
                    changes.
11/05/2012   AMP    Re-review of documents on withheld or redacted        L320     1.20 hrs
                    logs in second production set to determine what
                    needs to be supplementally produced in light of
                    common interest developments.
11/05/2012   JAL    Communicate with Ms. Battle and Ms.                   L120     1.50 hrs
                    Paul-Whitfield regarding privilege issues regarding
                    Carpenter Lipps & Leland documents (.30).
                    Participate on Court conference regarding same
                    (.70). Review and respond to e-mails regarding
                    privilege issues (.20). Review various creditor
                    submission letters on pertinent discovery issues
                    regarding privilege (.30).
11/05/2012   JALB   Correspondence with Mr. Barthel and Ms.               L120     0.20 hrs
                    Paul-Whitfield regarding privilege waiver
                    arguments.
11/05/2012   JALB   Various e-mails with Mr. Lipps relating to            L120     0.40 hrs
                    privilege waiver arguments.

11/05/2012   JALB   Follow-up discussion with Mr. Lipps and Ms.           L120     0.30 hrs
                    Paul-Whitfield regarding privilege and clawback
                    issues.
11/05/2012   JALB   Continued work on outline of issues for Mr. Lipps'    L330     0.20 hrs
                    deposition preparation.

11/05/2012   JALB   Review correspondence and other materials             L120     0.40 hrs
                    relating to privilege waiver arguments.

11/05/2012   JALB   Review e-mail production for materials relevant to    L120     2.40 hrs
                    Mr. Lipps' deposition preparation.
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11/05/2012   JALB   Review correspondence regarding privilege waiver      L120     0.30 hrs
                    arguments.

11/05/2012   JALB   Conference call with Court regarding scope of         L120     0.90 hrs
                    privilege and clawback arguments.

11/05/2012   JALB   Correspondence with Ms. Levitt (Morrison &            L120     0.10 hrs
                    Foerster) and Mr. Ruckdaschel (Residential Capital
                    regarding deposition preparation scheduling.
11/05/2012   JALB   Review and analyze research from Ms.                  L120     0.40 hrs
                    Paul-Whitfield regarding privilege waiver
                    arguments.
11/05/2012   JALB   Various teleconferences and e-mails with Mr.          L120     0.40 hrs
                    Rains of Morrison & Foerster relating to privilege
                    waiver arguments.
11/05/2012   JALB   Various teleconferences with Ms. Paul-Whitfield       L120     0.30 hrs
                    relating to privilege waiver arguments.

11/05/2012   DJB    Respond to follow-up e-mail communications from       L120     0.60 hrs
                    Ms. Battle regarding waiver of privilege research.

11/05/2012   DJB    Review e-mails previously withheld from               L120     5.40 hrs
                    production to the UCC on the basis of common
                    interest privilege to assist Morrison Foerster in
                    determining whether to supplement productions.
11/05/2012   DAB    Communicate with Mr. Lee and Mr. Newton               L120     0.20 hrs
                    (Morrison & Foerster) regarding analysis on
                    interplay of monoline and trustee claims.
11/05/2012   DAB    Revise outline on relationship between monoline       L120     0.40 hrs
                    and trustee claims.

11/05/2012   JRC    Review and analyze documents from RMBS                L330     1.20 hrs
                    litigation databases in order to prepare deposition
                    preparation materials for Mr. Lipps.
11/05/2012   AJM    Conference with Ms. Paul-Whitfield to discuss         L120     0.20 hrs
                    revision of supplemental privilege logs for UCC
                    Patrick document request in light of new
                    formulation of common-interest rule.
11/05/2012   AJM    Determine if documents related to Carpenter Lipps     L320     0.50 hrs
                    & Leland previously withheld from UCC in
                    relation to Patrick document request would be
                    produced with new formulation of
                    common-interest privilege.
11/05/2012   AJM    Review fully withheld documents on supplemental       L320     2.70 hrs
                    privilege log for UCC document request regarding
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                    Patrick settlement to determine if common interest
                    designation still applicable.
11/05/2012   AJM    Pull documents related to Carpenter Lipps &           L330     0.20 hrs
                    Leland previously produced to UCC for use in Mr.
                    Lipps' deposition preparation.
11/05/2012   AJM    Review redacted documents on supplemental             L320     0.90 hrs
                    privilege log for UCC document request regarding
                    Patrick settlement to determine if common interest
                    designation still appliable.
11/05/2012   AJM    Revise supplemental redacted privilege log for        L320     0.60 hrs
                    UCC Patrick document request to document
                    instances where common interest privilege
                    possibly no longer applicable.
11/05/2012   AJM    Revise supplemental fully withheld privilege log      L320     1.60 hrs
                    for UCC document request to document instances
                    where common interest privilege possibly no
                    longer applicable.
11/06/2012   AMP    Conference call with Ms. Herlihy (Morrison &          L120     0.30 hrs
                    Foerster) regarding information requested and
                    available.
11/06/2012   AMP    Multiple e-mails with Ms. Herlihy (Morrison &         L120     0.40 hrs
                    Foerster) regarding information requested and
                    available.
11/06/2012   AMP    E-mails with Mr. Molnar regarding charts and data     L320     0.40 hrs
                    pulled together regarding Mr. Lipps and Carpenter
                    Lipps & Leland privilege logs.
11/06/2012   AMP    Review charts and data pulled together regarding      L320     0.60 hrs
                    Mr. Lipps and Carpenter Lipps & Leland privilege
                    logs.
11/06/2012   AMP    Review and respond to e-mails from Ms. Battle         L120     0.20 hrs
                    regarding professional eyes only designation
                    issues.
11/06/2012   AMP    E-mails with Ms. Battle regarding Mr. Lipps'          L320     0.30 hrs
                    related documents on the privilege logs requested
                    from Mr. Rains (Morrison & Foerster) in advance
                    of hearing on discovery issues.
11/06/2012   AMP    Re-review of documents on withheld or redacted        L320     2.50 hrs
                    logs in second production set to determine what
                    needs to be supplementally produced in light of
                    change in Morrison & Foerster's common interest
                    position.
11/06/2012   AMP    Prepare amendments to second set of redacted          L320     0.90 hrs
                    privilege log from Mr. Molnar's assigned section of
                    the review.
11/06/2012   AMP    Review and analyze professional eyes only             L120     0.30 hrs
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                    designation issues.

11/06/2012   JAL    Review materials regarding admissibility of expert    L130     0.50 hrs
                    opinions to prepare for expert deposition.

11/06/2012   RBS    Prepare electronic versions of documents by           L310     0.60 hrs
                    Bradford Cornell for Mr. Rhode.

11/06/2012   JALB   Conference with Mr. Corcoran and Mr. Rhode            L120     0.40 hrs
                    regarding analysis of proposed experts. (.20)
                    Communicate with Mr. Corcoran regarding same.
                    (.20)
11/06/2012   JALB   Prepare e-mail memoranda to Mr. Harris (Morrison      L120     0.70 hrs
                    & Foerster) responding to questions regarding
                    scope of privilege and waiver for Mr. Lipps
                    e-mails.
11/06/2012   JALB   Review and comment on Morrison & Foerster key         L120     0.30 hrs
                    issues list.

11/06/2012   DJB    Review e-mails previously redacted on the basis of    L120     9.20 hrs
                    common interest privilege and included on
                    supplemental redaction logs 3-5 to assist Morrison
                    Foerster in determining whether to supplement
                    productions.
11/06/2012   DAB    Update calendar of pending RMBS depositions.          L330     0.10 hrs


11/06/2012   JRC    Communicate with Ms. Battle regarding potential       L120     0.20 hrs
                    testimony of experts designated by MBIA.

11/06/2012   JRC    Conference with Ms. Battle and Mr. Rhode              L420     0.20 hrs
                    regarding potential testimony of experts designated
                    by objectors to the RMBS Trust Settlement.
11/06/2012   JRC    Conference with Mr. Rhode regarding potential         L420     0.10 hrs
                    testimony of experts designated by objectors to the
                    RMBS Trust settlement.
11/06/2012   JRC    Review October 4, 2012 transcript of hearing          L420     0.20 hrs
                    before Judge Glenn in order to revise memoranda
                    analyzing potential expert testimony of experts
                    designated by MBIA.
11/06/2012   JRC    Revise memorandum analyzing potential testimony       L420     0.20 hrs
                    of Mr. Keys (expert designated by MBIA).

11/06/2012   JRC    Revise memorandum analyzing potential testimony       L420     0.20 hrs
                    of Dr. John (expert designated by MBIA).
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11/06/2012   JDR    Draft analysis of 10/4 hearing testimony excerpts     L120     0.40 hrs
                    for use in diligence memorandums.

11/06/2012   JDR    Revise FGIC designated expert Rosenberg               L420     0.50 hrs
                    memorandum.

11/06/2012   JDR    Review and analyze October 4 hearing transcript to    L120     0.80 hrs
                    develop expert diligence. (.50) Conference with
                    Ms. Battle and Mr. Cocoran regarding research on
                    experts. (.20) Conference with Mr. Corcoran
                    regarding expert analysis. (.10)
11/06/2012   AJM    Analyze attachments to certain e-mails produced to    L330     1.10 hrs
                    the UCC for use in Mr. Lipps' deposition
                    preparation.
11/06/2012   AJM    Analyze documents involving Carpenter Lipps &         L320     0.60 hrs
                    Leland fully withheld from production to the UCC
                    for use in Mr. Lipps' deposition preparation.
11/06/2012   AJM    Review redacted documents on supplemental             L320     1.50 hrs
                    privilege log for UCC document request regarding
                    Patrick settlement to determine if common interest
                    designation still applicable.
11/06/2012   AJM    Revise supplemental redacted privilege log for        L320     0.90 hrs
                    UCC Patrick document request to document
                    instances where common interest privilege
                    possibly no longer applicable.
11/06/2012   AJM    Gather unredacted version of documents produced       L330     3.50 hrs
                    to UCC involving Carpenter Lipps & Leland for
                    use in Mr. Lipps' deposition preparation.
11/06/2012   AJM    Revise entirely withheld privilege and                L320     0.70 hrs
                    supplemental entirely withheld privilege logs for
                    UCC Patrick settlement document request to show
                    only materials involving Carpenter Lipps & Leland
                    for use in evaluating of impact potential waiver of
                    privilege caused by designation of Mr. Lipps as
                    expert.
11/07/2012   AMP    Multiple e-mails with Mr. Barthel regarding           L320     0.40 hrs
                    additional redacted documents to review for
                    purposes of determining whether any need to be
                    supplementally produced in light of common
                    interest privilege change.
11/07/2012   AMP    Multiple e-mails with Ms. Battle and Mr. Lipps        L120     0.50 hrs
                    regarding five documents that Mr. Lipps authored
                    for purposes of privilege waiver argument.
11/07/2012   AMP    Research and review of the five documents that        L320     0.40 hrs
                    Mr. Lipps authored for purposes of privilege
                    waiver argument.
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11/07/2012   AMP    Draft materials for Ms. Battle regarding privileged    L320     0.70 hrs
                    documents involving Mr. Lipps or Carpenter Lipps
                    & Leland for preparation of Mr. Lipps' deposition.
11/07/2012   AMP    Re-review of documents on withheld or redacted         L320     3.20 hrs
                    logs in second production set to determine what
                    needs to be supplementally produced in light of
                    change in Morrison & Foerster's common interest
                    position.
11/07/2012   AMP    Prepare amendments to second set of redacted           L320     2.10 hrs
                    privilege log from Mr. Barthel's assigned section of
                    the review.
11/07/2012   JAL    Review e-mails regarding privilege issues (.10).       L120     1.00 hrs
                    Review 9019 fact depositions (.60). Review
                    e-mails regarding same (.10). Communicate with
                    Ms. Battle regarding same (.20).
11/07/2012   JALB   Conference with Mr. Rhode regarding draft expert       L120     0.50 hrs
                    memoranda on research and analysis of planned
                    testimony. (.30) Review draft expert memoranda.
                    (.20)
11/07/2012   JALB   Correspondence with Mr. Lipps and Ms.                  L120     0.40 hrs
                    Paul-Whitfield regarding scope of privilege issues.

11/07/2012   JALB   Review 5 questioned documents authored by Mr.          L330     0.40 hrs
                    Lipps.

11/07/2012   DJB    Review e-mails previously redacted on the basis of     L120     6.80 hrs
                    common interest privilege and included on
                    supplemental redaction logs 3-5 to assist Morrison
                    Foerster in determining whether to supplement
                    productions.
11/07/2012   JRC    Review and analyze documents in RMBS litigation        L330     0.30 hrs
                    databases in order to locate deposition preparation
                    materials for Mr. Lipps.
11/07/2012   JRC    Revise memorandum addressing potential expert          L420     0.50 hrs
                    testimony of Mr. Keys (expert designated by
                    MBIA).
11/07/2012   JRC    Revise memorandum addressing potential expert          L420     0.90 hrs
                    testimony of Dr. John (expert designated by
                    MBIA).
11/07/2012   JDR    Revise expert diligence summary memorandum of          L420     0.80 hrs
                    UCC designated experts.

11/07/2012   JDR    Conference with Ms. Battle regarding expert            L420     0.30 hrs
                    diligence.

11/07/2012   JDR    Revise UCC Expert Moelis memorandum and                L420     0.90 hrs
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                    incorporate comments and strategy from Ms.
                    Battle.
11/07/2012   JDR    Revise summary memorandum analyzing all expert        L420     2.00 hrs
                    diligence and incorporate comments and strategy
                    from Ms. Battle.
11/07/2012   JDR    Revise UCC Expert Morrow memorandum to                L420     1.00 hrs
                    incorporate comments and strategy from Ms.
                    Battle.
11/07/2012   JDR    Revise UCC Expert Cornell memorandum to               L420     1.20 hrs
                    incorporate comments and strategy from Ms.
                    Battle.
11/07/2012   JDR    Revise FGIC Expert Vinella memorandum to              L420     1.30 hrs
                    incorporate comments and strategy from Ms.
                    Battle.
11/07/2012   AJM    Analyze documents involving Carpenter Lipps &         L320     1.10 hrs
                    Leland fully withheld from production to the UCC
                    for use in Mr. Lipps' deposition preparation.
11/07/2012   AJM    Research documents authored by Mr. Lipps              L330     0.30 hrs
                    appearing on fully withheld privilege logs for UCC
                    Patrick settlement document production for use in
                    Mr. Lipps' deposition preparation.
11/07/2012   AJM    Confirm that series of audit reports were not         L120     1.70 hrs
                    included in 9019 disclosures to UCC for purposes
                    of Mr. Lipps' deposition preparation.
11/08/2012   AMP    Review multiple e-mails from Morrison & Foerster      L320     0.40 hrs
                    regarding allowing Examiner access to 9019
                    production database and interplay of clawback and
                    documents to be supplementally produced.
11/08/2012   JALB   Prepare for deposition preparation session with Mr.   L330     0.60 hrs
                    Lipps.

11/08/2012   JALB   Meet with Mr. Lipps to prepare for expert             L330     0.80 hrs
                    deposition.

11/08/2012   JALB   Discussion with Mr. Rhode regarding expert            L120     0.20 hrs
                    analyses.

11/08/2012   JALB   Discussion with Ms. Mohler regarding analysis of      L120     0.40 hrs
                    fact deposition transcripts to assist with expert
                    preparation.
11/08/2012   MMM    Meeting with Ms. Battle regarding summary of          L120     0.40 hrs
                    fact depositions.

11/08/2012   MMM    Read Mr. Lipps' declaration prior to reviewing fact   L120     0.90 hrs
                    depositions and draft summaries.
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11/08/2012   MMM    Review Chopra deposition and draft summary.            L120     1.40 hrs


11/08/2012   MMM    Review Puntus deposition and draft summary.            L120     0.90 hrs


11/08/2012   JRC    Review and analyze documents in RMBS litigation        L330     1.30 hrs
                    databases in order to prepare deposition
                    preparation materials for Mr. Lipps.
11/08/2012   JRC    Draft e-mail to Ms. Battle summarizing key             L330     0.20 hrs
                    deposition preparation documents for Mr. Lipps.

11/08/2012   JDR    Revise summary memorandum analyzing all expert         L420     0.30 hrs
                    diligence and incorporate comments and strategy
                    from Ms. Battle.
11/08/2012   JDR    Draft correspondence to Ms. Battle regarding           L120     0.20 hrs
                    anticipated expert testimony.

11/09/2012   JAL    Attention to creditor experts (.20). Review and        L130     1.00 hrs
                    revise write-up regarding same (.30). Conference
                    with Ms. Battle regarding same (.20). Further
                    review of fact witness transcripts (.30).
11/09/2012   JALB   Meet with Mr. Rhode regarding revisions to expert      L120     0.50 hrs
                    summaries. (.20) Conference with Mr. Lipps
                    regarding follow-up issues raised by Mr. Lipps.
                    (.20)
11/09/2012   JALB   Review and comment on revised expert memos             L120     1.10 hrs
                    from Mr. Rhode and Mr. Corcoran.

11/09/2012   JALB   Prepare draft memorandum to Morrison & Foerster        L120     0.90 hrs
                    RMBS Settlement team regarding expert research
                    and analysis.
11/09/2012   MMM    Read Puntus fact deposition and draft summary.         L120     2.90 hrs


11/09/2012   MMM    Read Chopra fact deposition and draft summary.         L120     0.50 hrs


11/09/2012   DAB    Analyze ARE adversary complaint for possible           L120     0.20 hrs
                    coverage by RMBS settlement at request of Ms.
                    Levitt of Morrison & Foerster.
11/09/2012   JDR    Review hearing transcripts and past complaints         L420     0.40 hrs
                    filed by FGIC related to potential expert testimony.

11/09/2012   JDR    Draft correspondence to Ms. Battle and Mr. Beck        L420     0.20 hrs
                    concerning anticipated areas of FGIC expert
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                    testimony.
11/09/2012   JDR    Revise expert diligence memorandum on FGIC           L420     1.00 hrs
                    expert Mr. Vinella.

11/09/2012   JDR    Conference with Ms. Battle regarding expert          L420     0.20 hrs
                    diligence.

11/09/2012   JDR    Finalize all expert diligence memoranda drafts.      L420     0.90 hrs


11/12/2012   AMP    Review e-mail from Mr. Beck regarding cut-off        L320     0.10 hrs
                    date for 9019 productions.

11/12/2012   AMP    E-mail exchanges with Mr. Ziegler (Morrison &        L120     0.10 hrs
                    Foerster) regarding production cut-off date.

11/12/2012   AMP    Respond to Mr. Beck regarding productioncut-off      L120     0.10 hrs
                    date.

11/12/2012   JAL    Review and respond to e-mails regarding expert       L330     0.50 hrs
                    deposition preparation (.20). Communicate with
                    Ms. Battle regarding deposition preparation work
                    (.10). Review e-mails regarding expert depositions
                    (.10). Telephone conference with Ms. Battle
                    regarding same (.10).
11/12/2012   JALB   Correspondence with Ms. DeArcy (Morrison &           L120     0.10 hrs
                    Foerster) regarding catch-up items.

11/12/2012   JALB   Telephone conference with Ms. DeArcy (Morrison       L120     0.30 hrs
                    & Foerster) and correspondence with Ms. Levitt
                    (Morrison &Foerster) and others regarding scope
                    of use of privileged materials.
11/12/2012   MMM    Read Renzi fact deposition and draft summary.        L120     3.50 hrs


11/12/2012   MMM    Read Ruckdaschel fact deposition and draft           L120     3.10 hrs
                    summary.

11/12/2012   DAB    Communicate with Mr. Rhode regarding board           L120     0.20 hrs
                    approvals history on RMBS settlement.

11/12/2012   DAB    Communicate with Ms. Battle regarding research       L120     0.20 hrs
                    needed for preparation for depositions of objector
                    experts.
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11/12/2012   DAB    Research RMBS production to locate materials          L320     1.10 hrs
                    requested by Ms. Battle.

11/13/2012   JAL    Review fact depositions (.3). Review e-mails          L120     0.80 hrs
                    regarding same (.1). Telephone conference with
                    Ms. Battle regarding same (.1). Review status
                    report on open issues in 9019 discovery (.3).
11/13/2012   JALB   Telephone conference with Ms. DeArcy (Morrison        L120     0.30 hrs
                    & Foerster) regarding coordination of expert issues
                    for 9019 Trust Settlement.
11/13/2012   JALB   Analyze Sillman report and prepare notes for          L330     0.60 hrs
                    witness preparation session. (.30) Conference with
                    Mr. Lipps regarding issues from fact depositions.
                    (.10) Communicate with Mr. Corcoran and Mr.
                    Rhode regarding cross examination materials
                    needed for witnesses. (.20)
11/13/2012   MMM    Continue to read Ruckdaschel fact deposition and      L120     0.50 hrs
                    draft summary.

11/13/2012   JRC    E-mail exchange with Ms. Battle regarding             L420     0.10 hrs
                    preparation of cross examination materials for
                    expert witnesses designated by objectors to the
                    RMBS Trust Settlement.
11/13/2012   JRC    Communicate with Mr. Rhode and Ms. Battle             L420     0.20 hrs
                    regarding preparation of cross examination
                    materials for expert witnesses designated by
                    objectors to the RMBS Trust Settlement.
11/13/2012   JRC    Review and analyze deposition transcript of Mr.       L420     1.30 hrs
                    Renzi in order to prepare potential cross
                    examination for MBIA's designated expert
                    witnesses. (.70) Review and analyze deposition
                    summary of Mr. Chopra in order to prepare
                    potential cross examination for MBIA's designated
                    expert witnesses. (.30) Review and analyze
                    deposition summary of Mr. Puntus in order to
                    prepare potential cross examination for MBIA's
                    designated expert witnesses. (.30)
11/13/2012   JDR    Review deposition summaries of fact witnesses to      L330     0.80 hrs
                    analyze portions relating to expert diligence.

11/14/2012   JALB   Telephone conference with Ms. DeArcy (Morrison        L120     0.30 hrs
                    & Foerster) regarding status of privilege disputes.

11/14/2012   JALB   Prepare memorandum to Mr. Lipps regarding             L120     0.20 hrs
                    status of privilege disputes.

11/14/2012   JALB   Review deposition summaries of Mssrs. Renzi,          L330     0.60 hrs
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                    Ruckdaschel, Puntus and Chopra.

11/14/2012   MMM    Read Hamzehpour fact deposition and draft            L120     0.70 hrs
                    summary.

11/14/2012   DAB    E-mail with counsel to investors regarding claims.   L120     0.30 hrs


11/14/2012   DAB    Conference with Mr. Lipps regarding conversation     L120     0.10 hrs
                    with investor on claims.

11/14/2012   DAB    Analyze FGIC amended expert designation.             L120     0.10 hrs


11/15/2012   JAL    Prepare for expert deposition (1.5). Review          L330     2.30 hrs
                    e-mails regarding deposition of creditor experts
                    (.30). Telephone conference with Ms. Battle
                    regarding same (.20). Review and respond to
                    e-mails regarding Mr. Sillman (.30).
11/15/2012   JALB   Correspondence with Mr. Rhode regarding expert       L120     0.10 hrs
                    analyses for 9019.

11/15/2012   JALB   Discussion with Mr. Lipps regarding coordination     L120     0.30 hrs
                    of tasks and witness preparation.

11/15/2012   JALB   Meet with Ms. DeArcy (Morrison &                     L120     0.40 hrs
                    Foerster)regarding expert witness tasks and
                    coordination.
11/15/2012   JALB   Continued work on deposition preparation notes       L330     1.60 hrs
                    for Mr. Sillman.

11/15/2012   MMM    Continue to read Hamzehpour fact deposition and      L120     2.00 hrs
                    draft summary.

11/15/2012   MMM    Read Marano fact deposition and draft summary.       L120     5.10 hrs


11/15/2012   JRC    Conference with Mr. Rhode regarding deposition       L330     0.10 hrs
                    preparation materials for Mr. Sillman.

11/15/2012   JRC    Review and analyze declaration of Mr. Sillman in     L330     0.20 hrs
                    order to prepare his deposition preparation
                    materials.
11/15/2012   JRC    Review and analyze pleadings from Residential        L330     0.60 hrs
                    Capital RMBS cases in order to prepare deposition
                    preparation materials for Mr. Sillman.
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11/15/2012   JRC    Review and analyze documents in Residential          L330     2.80 hrs
                    Capital litigation databases in order to prepare
                    deposition preparation materials for Mr. Sillman.
11/15/2012   JRC    Draft e-mail to Mr. Lipps and Ms. Battle providing   L120     0.20 hrs
                    analysis of materials reviewed in RMBS litigation
                    databases relating to Mr. Sillman's analysis.
11/15/2012   JDR    Review and analyze Sillman declarations to           L420     0.80 hrs
                    respond to specific questions from Ms. Battle
                    regarding expert diligence. (.70) Conference with
                    Mr. Corcoran regarding deposition preparation
                    materials for Mr. Sillman. (.10)
11/16/2012   AMP    Review and respond to e-mail from Ms. Battle         L320     0.30 hrs
                    regarding assisting Morrison & Foerster in the
                    review of Ally's production.
11/16/2012   AMP    Conference with Mr. Beck regarding assisting         L320     0.20 hrs
                    Morrison & Foerster in the review of Ally's
                    production.
11/16/2012   AMP    Multiple e-mails with Mr. Ziegler (Morrison &        L320     0.40 hrs
                    Foerster) regarding review of Ally's production.

11/16/2012   AMP    Attention to review team assignments.                L320     0.50 hrs


11/16/2012   AMP    Review key issues memorandums.                       L120     0.40 hrs


11/16/2012   AMP    Telephone conference with Mr. DeArcy (Morrison       L120     0.20 hrs
                    & Foerster) regarding timing for review of Ally's
                    production for key documents to assist in
                    deposition and hearing preparation.
11/16/2012   AMP    Review and respond to e-mails from Mr. Ziegler       L120     0.60 hrs
                    (Morrison & Foerster) and Mr. Brown (Morrison
                    & Foerster) regarding review and privilege log
                    stats in preparation for Monday's hearing.
11/16/2012   AMP    E-mail exchange with Mr. Barthel regarding           L320     0.40 hrs
                    follow-up on additional documents that need to be
                    logged in light of common interest agreement.
11/16/2012   AMP    Telephone conferences and meeting with Mr.           L120     0.90 hrs
                    Beck, Mr. Searls (contract reviewers) and Mr.
                    Massey (contract reviewers) regarding review
                    needed on Ally production. (.60) Calls with Mr.
                    Searls and Mr. Massey regarding same. (.30)
11/16/2012   JAL    Prepare for expert deposition (1.8). Telephone       L330     5.80 hrs
                    conference with Mr. Rains (Morrison & Foerster)
                    to prepare for deposition (1.0). Telephone
                    conference with Ms. Battle regarding same (.40).
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                    Review declaration and related class (1.2).
                    Conferences with Morrison Foerster lawyers
                    regarding factual issues raised by UCC in
                    depositions (.40). Review fact witness depositions
                    (1.0).
11/16/2012   JALB   Gather key materials for preparation of Mr. Lipps.   L330     0.40 hrs


11/16/2012   JALB   Attention to caselaw updates since Mr. Lipps'        L120     0.10 hrs
                    supplemental declaration.

11/16/2012   JALB   Telephone conference with Mr. Rains (Morrison &      L120     0.20 hrs
                    Foerster) regarding preparation for expert
                    discovery phase.
11/16/2012   JALB   Correspondence with Mr. Lipps regarding              L120     0.20 hrs
                    preparation for deposition.

11/16/2012   JALB   Correspondence with Mr. Lipps and Mr. Rains          L120     0.20 hrs
                    (Morrison & Foerster) regarding preparation notes
                    for Mr. Sillman's deposition preparation.
11/16/2012   JALB   Correspondence with Mr. Rains (Morrison &            L120     0.20 hrs
                    Foerster) regarding chart of complaints.

11/16/2012   JALB   Conference with Mr. Lipps to begin preparation for   L330     0.50 hrs
                    deposition.

11/16/2012   MMM    Review Ruckdaschel deposition to check for issues    L330     1.90 hrs
                    regarding Ally's control of ResCap.

11/16/2012   MMM    Review Hamzehpour deposition to check for issues     L330     0.70 hrs
                    regarding the separation of Ally and ResCap.

11/16/2012   MMM    Review Puntus deposition to check for issues         L330     0.50 hrs
                    regarding the separation of Ally and ResCap.

11/16/2012   DAB    Communicate with Mr. Phillips regarding caselaw      L120     0.10 hrs
                    update for Mr. Lipps for deposition preparation.

11/16/2012   DAB    E-mails to Ms. Searls, Mr. Massey and Ms. Chinn      L120     0.20 hrs
                    (contract reviewers) regarding RMBS settlement.

11/16/2012   DAB    Analyze fee statements regarding Mr. Lipps work      L120     0.30 hrs
                    on RMBS settlement for expert deposition
                    preparation.
11/16/2012   DAB    Conference with Ms. Paul-Whitfield regarding         L120     0.60 hrs
                    review needed on Ally production of 9019
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                    documents. (.20) Review e-mails relating to same.
                    (.40)
11/16/2012   DAB    Conference with Ms. Paul-Whitfield, Ms. Searls         L120     0.60 hrs
                    and Mr. Massey (contract reviewers) regarding
                    review needed on Ally production of RMBS
                    related documents.
11/16/2012   DAB    Research materials for preparation of Mr. Lipps for    L330     1.10 hrs
                    deposition.

11/16/2012   DAB    Research in 9019 data room regarding litigation        L120     1.00 hrs
                    summaries.

11/16/2012   DAB    Communicate with Ms. Battle regarding research         L120     0.10 hrs
                    in 9019 data room regarding litigation summaries.

11/16/2012   DAB    Draft search terms to be used on review of new         L320     0.20 hrs
                    Ally production of Residential Capital documents.

11/16/2012   DAB    Conference with Ms. Chinn (contract reviewer)          L120     0.60 hrs
                    regarding review needed on Ally production of
                    Ally documents.
11/16/2012   DAB    Review materials from Mr. Philips on new RMBS          L120     0.10 hrs
                    decisions since Mr. Lipps' declaration on RMBS.

11/16/2012   DAB    Communicate with Ms. Battle regarding materials        L120     0.10 hrs
                    from Mr. Philips on new RMBS decisions since
                    Lipps declaration on RMBS.
11/16/2012   DAB    Research questions of Mr. Rains (Morrison &            L120     1.60 hrs
                    Foerster) regarding prepetition litigation on
                    RMBS.
11/16/2012   DAB    Communicate with Ms. Battle regarding materials        L120     0.10 hrs
                    for Mr. Rains regarding prepetition litigation on
                    RMBS.
11/16/2012   DAB    Conference with Mr. Rhode regarding reserve            L120     0.10 hrs
                    issues and RMBS settlement.

11/16/2012   DAB    Communicate with Mr. Lipps and Ms. Battle              L120     0.10 hrs
                    regarding fee statements regarding Mr. Lipps work
                    on RMBS settlement.
11/16/2012   JDR    Review Mr. Nolan's declaration and 9019 materials      L420     0.40 hrs
                    related to expected expert challenges.

11/16/2012   JDR    Draft summary regarding FGIC specific areas of         L330     1.80 hrs
                    inquiry in fact depositions for purposes of revising
                    expert diligence and preparing for expert
                    depositions.
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11/16/2012   JDR    Draft FGIC designated expert Rossi diligence           L420     1.60 hrs
                    memorandum.

11/16/2012   JDR    Research regarding FGIC designated expert Rossi        L420     1.40 hrs
                    background and research publications.

11/16/2012   JDR    Research regarding FGIC designated expert Rossi        L420     1.10 hrs
                    blog postings and news articles.

11/16/2012   JDR    Research regarding case appearance or testimony        L420     0.70 hrs
                    offered by FGIC designated expert Rossi.

11/16/2012   SP     Review recent decisions on claims of special           L120     1.90 hrs
                    relationships justifying negligent misrepresentation
                    claims in order to determine whether there have
                    been any changes since Mr. Lipps's supplemental
                    affidavit.
11/16/2012   SP     Review Mr. Lipps's supplemental affidavit to           L120     0.70 hrs
                    determine topics that may need to be updated in
                    advance of Mr. Lipps's upcoming testimony.
11/16/2012   SP     Review decisions relating to rescission and            L120     0.90 hrs
                    repurchase demands.

11/16/2012   SP     Summarize updates to case law and send to Mr.          L120     0.40 hrs
                    Beck.

11/16/2012   SP     Review recent decisions in representation and          L120     2.20 hrs
                    warranty cases, most notably the decisions in the
                    FHFA cases, to determine whether there are any
                    updates to the case law in Lipps Declaration.
11/16/2012   GNM    E-mail communications with Ms. Paul-Whitfield          L120     0.10 hrs
                    regarding staffing levels for 9019 review.

11/17/2012   AMP    Attention to review of Ally's production for key       L320     0.60 hrs
                    documents to assist Morrison & Foerester in
                    preparation of depositions and hearing.
11/17/2012   AMP    Multiple e-mails with review team regarding status     L120     0.30 hrs
                    of review.

11/17/2012   AMP    Attention to targeted searches to identify key         L320     0.40 hrs
                    documents.

11/17/2012   JAL    Prepare for expert deposition (6.5). Review and        L330     7.30 hrs
                    respond to e-mails regarding preparation for expert
                    deposition (.50). Review e-mails regarding UCC
                    request to look at MBIA creditor submission (.20).
                    Telephone conference with Ms. Battle regarding
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                    same (.10).
11/17/2012   DAB    E-mails with Mr. Lipps and Ms. Battle regarding        L120     0.20 hrs
                    possible lines of attack in Mr. Lipps expert
                    deposition.
11/17/2012   DAB    Investigate status of Bank of America settlement       L120     0.30 hrs
                    with investors.

11/18/2012   AMP    Attention to review of Ally's production for key       L330     1.10 hrs
                    documents to assist Morrison & Foerster in
                    preparation of depositions and hearing.
11/18/2012   AMP    Multiple e-mails with review team regarding status     L120     0.60 hrs
                    of review.

11/18/2012   AMP    Attention to targeted searches to identify key         L320     0.70 hrs
                    documents.

11/18/2012   JAL    Prepare for expert deposition (2.40). Conference       L330     7.50 hrs
                    with Ms. Battle to prepare for expert deposition
                    (2.20). Conference with Ms. Battle and Mr. Rains
                    (Morrison & Foerster) regarding same (2.50).
                    Review and respond to e-mails regarding
                    preparation issues (.40).
11/18/2012   JALB   Review Mr. Lipps' notes and declarations to            L330     1.30 hrs
                    prepare for deposition preparation session.

11/18/2012   JALB   Meet with Mr. Lipps regarding upcoming                 L120     2.20 hrs
                    deposition.

11/18/2012   JALB   Review transcript of Mr. Marano's deposition.          L330     0.60 hrs


11/18/2012   JALB   Review notes on objectors' potential experts.          L120     0.40 hrs


11/18/2012   JALB   Review notes on Mr. Sillman's declarations to          L330     0.30 hrs
                    prepare for deposition preparation session.

11/18/2012   JALB   Meet with Mr. Rains (Morrison & Foerster) and          L120     2.50 hrs
                    Mr. Lipps regarding upcoming deposition of Mr.
                    Lipps.
11/18/2012   JALB   Correspondence with Mr. Beck and Mr. Ziegler           L120     0.20 hrs
                    (Morrison & Foerster) regarding factual
                    information relating to 9019 issues.
11/18/2012   DJB    Draft, edit and develop Set 5 withheld privilege log   L120     4.20 hrs
                    entries for documents being withheld on the basis
                    of common interest privilege to assist Morrison
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                    Foerster in its productions to the UCC.
11/18/2012   DJB    Quality check Morrison Foerster reviewers'            L120     4.80 hrs
                    privilege coding in Relativity for Set 5 documents
                    being withheld on the basis of common interest
                    privilege to assist Morrison Foerster with its
                    productions to the UCC.
11/18/2012   MMM    Review Chopra deposition to check for issues          L330     0.40 hrs
                    regarding the separation of Ally and ResCap.

11/18/2012   MMM    Read Whitlinger fact deposition and draft             L330     4.30 hrs
                    summary.

11/18/2012   MMM    Read Mack fact deposition and draft summary.          L330     2.90 hrs


11/18/2012   DAB    Communicate with Ms. Searls (contract reviewer)       L120     0.20 hrs
                    regarding review of Ally production of RMBS
                    documents.
11/18/2012   DAB    Communicate with Ms. Battle regarding questions       L120     0.10 hrs
                    of Mr. Ziegler of Morrison & Foerster regarding
                    comparison of RMBS settlements.
11/18/2012   JDR    Review internal memorandum regarding                  L420     0.50 hrs
                    representation and warranty reserves in relation to
                    potential designated expert challenges.
11/18/2012   JDR    Review publications and articles of Mr. Rossi for     L420     1.00 hrs
                    purposes of drafting expert diligence memorandum
                    regarding expected areas of testimony.
11/18/2012   JDR    Review and analyze fact deposition and exhibits of    L420     0.70 hrs
                    Chopra and Puntus to incorporate into expert
                    diligence for purposes of planning areas of
                    potential FGIC and UCC designated expert
                    testimony challenges.
11/18/2012   JDR    Review and analyze fact deposition and exhibits of    L420     1.40 hrs
                    Marano to incorporate into expert diligence for
                    purposes of planning areas of potential FGIC and
                    UCC designated expert testimony challenges.
11/18/2012   JDR    Review and analyze fact deposition and exhibits of    L420     0.80 hrs
                    Ruckdaschel to incorporate into expert diligence
                    for purposes of planning areas of potential FGIC
                    and UCC designated expert testimony challenges.
11/18/2012   JDR    Review and analyze fact deposition and exhibits of    L420     0.70 hrs
                    Renzi to incorporate into expert diligence for
                    purposes of planning areas of potential FGIC and
                    UCC designated expert testimony challenges.
11/18/2012   JDR    Review and analyze fact deposition and exhibits of    L420     1.20 hrs
                    Hamzepour to incorporate into expert diligence for
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                    purposes of planning areas of potential FGIC and
                    UCC designated expert testimony challenges.
11/18/2012   JDR    Draft FGIC designated expert Rossi diligence           L420     2.10 hrs
                    memorandum.

11/18/2012   JDR    Draft correspondence to Ms. Battle regarding           L420     0.30 hrs
                    FGIC expert Rossi diligence.

11/18/2012   JDR    Draft categorical outline of expected designated       L420     0.70 hrs
                    expert testimony and challenges to the 9019.

11/19/2012   AMP    Attention to finalizing review of Ally's production.   L320     0.80 hrs


11/19/2012   AMP    Multiple e-mails with review team regarding            L320     0.90 hrs
                    review of Ally's production.

11/19/2012   AMP    Review reports of Ally's production.                   L320     0.60 hrs


11/19/2012   AMP    E-mails with Ms. Battle regarding culling of key       L320     0.20 hrs
                    documents.

11/19/2012   AMP    Attention to adding families for completeness.         L120     0.30 hrs


11/19/2012   AMP    E-mails with Mr. Ziegler (Morrison & Foerster)         L120     0.20 hrs
                    regarding adding families for completeness.

11/19/2012   AMP    E-mail Mr. Beck regarding further culling of key       L320     0.20 hrs
                    documents.

11/19/2012   JAL    Prepare for expert deposition (.50). Meet with Ms.     L330     6.90 hrs
                    Battle to prepare for deposition. (.50) Conferences
                    with Ms. Battle and Mr. Raines (Morrison &
                    Foerster) regarding same (.80). Attendance at
                    expert deposition (4.5). Review fact deposition
                    transcripts (.50). Review and respond to e-mails
                    regarding same (.10).
11/19/2012   JALB   Meet with Mr. Lipps to prepare for deposition.         L120     0.50 hrs


11/19/2012   JALB   Review notes on Mr. Sillman's declaration in           L330     0.30 hrs
                    advance of deposition preparation meeting.
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11/19/2012   JALB   Meet with Mr. Lipps and Mr. Rains (Morrison &          L120     0.80 hrs
                    Foerster) to prepare for deposition.

11/19/2012   JALB   Telephone conference with Mr. Ziegler (Morrison        L120     0.30 hrs
                    & Foerster) and Mr. Beck regarding factual
                    background relating to settlement.
11/19/2012   JALB   Meet with Mr. Rains (Morrison & Foerster) and          L120     1.80 hrs
                    Mr. Sillman (Fortace) regarding preparation for
                    deposition.
11/19/2012   JALB   Attend deposition of Mr. Lipps. (4.50) Prepare for     L330     5.20 hrs
                    same. (.70)

11/19/2012   JALB   Review deposition transcript of Mr. Devine.            L330     0.40 hrs


11/19/2012   MMM    Continue to read Mack fact deposition and draft        L330     1.00 hrs
                    summary.

11/19/2012   MMM    Read Cancellieri fact deposition and draft             L330     3.90 hrs
                    summary.

11/19/2012   MMM    Review Renzi deposition to check for issues            L330     0.20 hrs
                    regarding the separation of Ally and ResCap.

11/19/2012   DAB    Analyze monoline control of trust question posed       L120     0.30 hrs
                    by Mr. Lee of Morrison & Foerster.

11/19/2012   DAB    Communicate with Mr. Lipps and Ms. Battle              L120     0.20 hrs
                    regarding monoline control of trusts question
                    posed by Mr. Lee of Morrison & Foerster.
11/19/2012   DAB    Conference with Mr. Rhode regarding board              L120     0.20 hrs
                    approval issues on RMBS settlement.

11/19/2012   DAB    Analyze materials on various pending RMBS              L120     0.30 hrs
                    settlement.

11/19/2012   DAB    Call with Mr. Ziegler (Morrison & Foerster) and        L120     0.40 hrs
                    Ms. Battle on comparing various RMBS
                    settlements.
11/19/2012   DAB    Follow-up e-mails with Mr. Ziegler (Morrison &         L120     0.40 hrs
                    Foerster) regarding settlement.

11/19/2012   JDR    Review and analyze fact deposition and exhibits of     L420     1.20 hrs
                    Mr. Cancelliere to incorporate into expert diligence
                    for purposes of planning areas of potential FGIC
                    and UCC designated expert testimony challenges.
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11/19/2012   JDR    Review and analyze fact deposition and exhibits of    L420     0.60 hrs
                    Mr. Mack to incorporate into expert diligence for
                    purposes of planning areas of potential FGIC and
                    UCC designated expert testimony challenges.
11/19/2012   JDR    Review and analyze fact deposition and exhibits of    L420     0.90 hrs
                    Mr. Whitlinger to incorporate into expert diligence
                    for purposes of planning areas of potential FGIC
                    and UCC designated expert testimony challenges.
11/19/2012   JDR    Review and analyze materials produced related to      L420     1.00 hrs
                    board settlement approval process in preparation
                    for expected designated expert challenges. (.80)
                    Conference with Mr. Beck regarding same. (.20)
11/19/2012   JDR    Draft categorical outline of expected designated      L420     0.80 hrs
                    expert testimony and challenges to the 9019.

11/19/2012   JDR    Review and analyze representation and warranty        L420     0.60 hrs
                    reserve materials produced in discovery for
                    preparation of expert depositions.
11/19/2012   JDR    Revise FGIC designated expert Rossi diligence         L420     0.80 hrs
                    memorandum.

11/19/2012   JDR    Draft correspondence to Ms. Battle regarding          L420     0.20 hrs
                    expert diligence.

11/20/2012   AMP    E-mails with Ms. DeArcy (Morrison & Foerster)         L320     0.20 hrs
                    regarding key documents.

11/20/2012   AMP    Multiple e-mails with Ms. Chinn (contract             L320     1.00 hrs
                    reviewer) regarding issues regarding Ally
                    production review for key documents.
11/20/2012   JALB   Discussion with Mr. Lipps regarding status of         L120     0.30 hrs
                    depositions and deposition of Mr. Sillman.

11/20/2012   JALB   Review notes of reviewers on Ally key documents.      L120     0.20 hrs


11/20/2012   JALB   Correspondence with Ms. Paul-Whitfield regarding      L120     0.20 hrs
                    notes of reviewers on Ally key documents.

11/20/2012   JALB   Review excerpts of deposition transcript of Mr.       L330     0.60 hrs
                    Devine.

11/20/2012   MMM    Read Devine fact deposition and draft summary.        L120     3.70 hrs


11/20/2012   DAB    Conference with Mr. Lipps and Mr. Beekhuzien          L120     0.20 hrs
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                    regarding expert deposition of Mr. Lipps.

11/21/2012   AMP    Attention to Ally production review.                 L320     0.20 hrs


11/21/2012   AMP    Review e-mails from Morrison & Foerster              L320     0.40 hrs
                    regarding additional documents produced by Ally.

11/21/2012   AMP    Attention to supplemental production after           L320     0.60 hrs
                    meet-and-confer.

11/21/2012   AMP    Multiple e-mails with Mr. Ziegler and Ms. Herlihy    L320     0.40 hrs
                    (Morrison & Foerster) regarding supplemental
                    production.
11/21/2012   AMP    E-mails and telephone conferences with Mr.           L320     0.30 hrs
                    Ziegler of Morrison & Foerster regarding Ally
                    production review.
11/21/2012   DAW    Review U.S. Bank v. WMC decision regarding           L120     0.80 hrs
                    extinguishment of loan after foreclosure in
                    reference to rep and warranty claims. (.50)
                    Conference with Mr. Beck regarding same. (.30)
11/21/2012   JALB   Prepare notes for Mr. Rhode regarding expert cross   L120     0.50 hrs
                    issues.

11/21/2012   MMM    Continue to read Devine fact deposition and          L120     3.10 hrs
                    drafting of summary.

11/21/2012   MMM    E-mail Mr. Beekhuizen regarding Ally/ResCap          L120     0.10 hrs
                    relationship issues found in Devine Deposition.

11/21/2012   DAB    Draft agenda for meeting claimants.                  L120     0.80 hrs


11/21/2012   DAB    Conference with Mr. Lipps regarding revisions to     L120     0.10 hrs
                    agenda for Monday meeting with claimants.

11/21/2012   DAB    Conference with Mr. Wallace regarding US Bank        L120     0.30 hrs
                    v. WMC opinion.

11/21/2012   DAB    Conference with Mr. Rhode regarding comparison       L120     0.30 hrs
                    of RMBS settlements.

11/21/2012   JDR    Review 9019 discovery regarding Residential          L310     0.30 hrs
                    Capital Board 9019 approval process.

11/21/2012   JDR    Review and analyze fact deposition and exhibits of   L420     1.20 hrs
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                    Devine to incorporate into expert diligence for
                    purposes of planning areas of potential designated
                    expert testimony challenges.
11/21/2012   JDR    Conference with Mr. Beck regarding expert            L120     0.20 hrs
                    diligence and defect rate percentages.

11/21/2012   JDR    Prepare designated expert witness deposition         L420     2.30 hrs
                    examination materials and outline of responses to
                    areas of anticipated testimony.
11/21/2012   JDR    Review 9019 discovery regarding Rescap quality       L420     1.40 hrs
                    assurance processes in preparation for designated
                    expert depositions and outline of responses to
                    anticipated areas of testimony.
11/21/2012   JDR    Draft correspondence to Ms. Battle regarding         L420     0.60 hrs
                    expert diligence and defect rates.

11/22/2012   JDR    Prepare designated expert witness deposition         L420     2.40 hrs
                    examination materials and outline of responses to
                    areas of anticipated testimony.
11/23/2012   JDR    Prepare designated expert witness deposition         L420     1.10 hrs
                    examination materials and outline of responses to
                    areas of anticipated testimony.
11/24/2012   JALB   Respond to questions from Mr. Rhode regarding        L120     0.20 hrs
                    9019 expert issues.

11/24/2012   JDR    Review and analyze ResCap historical audit           L420     1.10 hrs
                    procedures in preparation for upcoming designated
                    expert depositions.
11/24/2012   JDR    Review and analyze MBIA deposition and exhibits      L420     0.90 hrs
                    of Will Thompson volume I to incorporate into
                    expert diligence for purposes of planning areas of
                    potential designated expert testimony challenges.
11/24/2012   JDR    Review and analyze MBIA deposition and exhibits      L420     0.80 hrs
                    of Will Thompson volume II to incorporate into
                    expert diligence for purposes of planning areas of
                    potential designated expert testimony challenges.
11/25/2012   JAL    Review draft outline of reply in support of motion   L120     0.50 hrs
                    to approve settlement (.30). Review e-mails
                    regarding same (.10). Conference with Ms. Battle
                    regarding same (.10).
11/25/2012   JDR    Review and analyze 9019 documents produced           L420     1.00 hrs
                    regarding quality assurance in preparation for
                    expert depositions.
11/25/2012   JDR    Review and analyze 9019 documents produced           L420     1.50 hrs
                    regarding defect rates and board approval in
                    preparation for expert depositions.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27       Exhibit E
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11/25/2012   JDR    Draft memorandum to Ms. Battle regarding defect        L120     1.30 hrs
                    rates, board approval process, and expert diligence.

11/26/2012   JAL    Prepare for meeting to discuss securitization claims   L120     6.30 hrs
                    (1.80). Conference with Ms. Battle regarding same
                    (.50). Participate in meeting with creditors and
                    Morrison Foerster to discuss same (2.40).
                    Conference with Mr. Lee, Mr. Princi (Morrison &
                    Foerster) and Mr. Beck regarding RMBS issues.
                    (.30) Participate on conference call to discuss
                    claims resolution procedures (.80). Review chart
                    regarding MBIA/FGIC claims (.20). Conference
                    with Ms. Battle and Mr. Beck regarding same
                    (.30).
11/26/2012   JALB   Review master trial brief outline prepared by Mr.      L330     0.30 hrs
                    Rains (Morrison & Foerster) in advance of trial
                    team meeting.
11/26/2012   JALB   Prepare memorandum to Mr. Beck and Mr. Lipps           L120     0.70 hrs
                    regarding tasks to be done for trial preparation and
                    trial brief.
11/26/2012   JALB   Follow-up correspondence with Mr. Ziegler              L120     0.20 hrs
                    (Morrison & Foerster) regarding factual analysis
                    for 9019 trial preparation and briefing.
11/26/2012   JALB   Begin review of Sillman deposition transcript.         L330     0.30 hrs


11/26/2012   JALB   Attend meeting with Morrison & Foerster 9019           L120     3.20 hrs
                    trial team regarding tasks and analysis for trial
                    preparation.
11/26/2012   DAB    Prepare for meeting with creditors regarding           L120     2.30 hrs
                    claims.

11/26/2012   DAB    Multiple conferences with Mr. Lipps and Ms.            L120     0.50 hrs
                    Battle regarding major issues on 9019 litigation.

11/26/2012   DAB    Meeting with Mr. Lee, Mr. Princi (Morrison &           L120     0.30 hrs
                    Foerster) and Mr. Lipps regarding strategy on
                    RMBS settlement litigation and other case issues.
11/26/2012   DAB    Meeting with Mr. Lee, Mr. Princi (Morrison             L120     2.40 hrs
                    Foerster), Mr. Lipps and creditors regarding
                    claims.
11/26/2012   JDR    Prepare designated expert witness deposition           L420     0.70 hrs
                    examination materials and outline of responses to
                    areas of anticipated testimony.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
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11/26/2012   JDR    Prepare 9019 discovery documents and draft            L310     1.10 hrs
                    memorandum to Ms. Battle regarding settlement.

11/26/2012   JDR    Review and analyze Mr. Lipps' deposition for          L420     0.50 hrs
                    purposes of expert diligence and anticipated areas
                    of testimony.
11/27/2012   AMP    Review e-mails from Morrison & Foerster               L320     0.90 hrs
                    regarding additional Ally production documents
                    that need to be reviewed for Key documents to
                    assist in preparation for depositions or hearing.
11/27/2012   AMP    E-mails with Ms. Battle regarding additional Ally     L320     0.20 hrs
                    production documents that need to be reviewed for
                    Key documents to assist in preparation for
                    depositions or hearing.
11/27/2012   DAW    Review case law regarding loan merger after           L120     1.40 hrs
                    foreclosure for analysis of WMC mortgage case.
                    (1.10) Multiple conferences with Mr. Beck
                    regardin g same. (.30)
11/27/2012   DAW    Study briefs in WMC case in reference of review       L120     0.90 hrs
                    of WMC decision.

11/27/2012   DAW    Review Lipps deposition transcript excerpts with      L120     0.40 hrs
                    reference to WMC case questions.

11/27/2012   JAL    Review e-mail from Ms. Battle regarding creditor      L120     0.50 hrs
                    objection reports (.10). Conference with Ms. Battle
                    regarding same (.10). Review list of fact witnesses
                    and summaries of deposition testimony (.10).
                    Review factual chronologies (.10). Conference
                    with Ms. Battle regarding same (.10).
11/27/2012   JALB   Telephone conference with Mr. Sillman (Fortace)       L120     0.30 hrs
                    and Mr. Rains (Morrison & Foerster) regarding
                    rebuttal report.
11/27/2012   JALB   Discussion with Mr. Rhode regarding expert            L120     0.50 hrs
                    issues.

11/27/2012   JALB   Meet with Mr. Rains (Morrison & Foerster)             L120     0.80 hrs
                    regarding expert witness, Mr. Sillman's rebuttal
                    report.
11/27/2012   MMM    Meeting with Mr. Lipps and Ms. Battle regarding       L120     0.80 hrs
                    current action items for 9019 settlement and
                    examiner witness preparation.
11/27/2012   MMM    Search Lipps deposition for questions and answers     L120     0.40 hrs
                    regarding MASTR case decision.

11/27/2012   DAB    Multiple conferences with Mr. Wallace regarding       L120     0.30 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
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                    WMC mortgage case and implications for RMBS
                    settlement.
11/27/2012   DAB    Conference with Mr. Rhode regarding analysis          L120     0.10 hrs
                    needed on complaints for RMBS settlement.

11/27/2012   JDR    Review and analyze Mr. Sillman's deposition           L420     2.20 hrs
                    transcript to incorporate into expert diligence for
                    purposes of planning areas of potential designated
                    expert testimony challenges and 9019 brief. (1.70)
                    Conference with Ms. Battle regarding expert
                    issues. (.50)
11/27/2012   JDR    Review and analyze Sillman deposition exhibits        L420     0.80 hrs
                    and data reviewed in preparation of declarations
                    for purposes of upcoming deposition and hearing
                    strategy.
11/27/2012   JDR    Review and analyze 9019 documents produced to         L320     1.20 hrs
                    locate granular and loan shelf specific data in
                    prepetition for upcoming expert depositions and
                    hearing.
11/27/2012   JDR    Draft correspondence to Ms. Battle regarding 9019     L120     0.20 hrs
                    documents and hearing strategy.

11/27/2012   JDR    Review prepetition Allstate and Assured               L210     1.70 hrs
                    complaints filed against Rescap and draft analysis
                    chart isolating key areas in prepartion for
                    upcoming expert depositions and 9019 hearing.
11/28/2012   AMP    Attention to e-mails with review team regarding       L320     0.20 hrs
                    next round of review of Ally produce documents to
                    assist Morrison & Foerster.
11/28/2012   AMP    Attention to issues regarding supplemental            L320     0.40 hrs
                    production.

11/28/2012   AMP    Compare what was produced versus identified for       L320     2.10 hrs
                    potential production in light of meet-and-confer.

11/28/2012   AMP    Review file for key officer memorandum.               L120     0.10 hrs


11/28/2012   AMP    E-mails with Mr. Beck regarding key officer           L120     0.10 hrs
                    memorandum.

11/28/2012   AMP    Telephone conference with Mr. Ziegler (Morrison       L320     0.30 hrs
                    & Foerster) regarding review of additional 26,000
                    Ally produced documents for key documents to
                    assist in preparation for depositions or hearing.
11/28/2012   AMP    Draft e-mail to Mr. Ziegler (Morrison & Foerster)     L320     0.20 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27       Exhibit E
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                    regarding review of additional 26,000 Ally
                    produced documents for key documents to assist in
                    preparation for depositions or hearing.
11/28/2012   AMP    E-mails with Mr. Ziegler (Morrison & Foerster)         L320     0.30 hrs
                    regarding what was produced versus identified for
                    potential production in light of meet-and-confer.
11/28/2012   AMP    Conference with Mr. Barthel regarding                  L320     0.20 hrs
                    determining whether documents from Mr. Harris'
                    (Morrison & Foerster) chart were produced in
                    redacted form.
11/28/2012   AMP    Attention to determining whether documents from        L320     0.20 hrs
                    Mr. Harris' (Morrison & Foerster) chart were
                    produced in redacted form.
11/28/2012   DAW    Draft memorandum regarding preliminary issues          L120     3.20 hrs
                    related to impact of Minnesota decision, including
                    discussion of law on whether loans cease to exist
                    after foreclosure.
11/28/2012   JAL    Review accounting memorandums regarding                L120     1.00 hrs
                    reserve policies (.50). Review e-mail analyzing
                    accounting memorandums (.30). Communicate
                    with Ms. Battle regarding same (.10). Review
                    analysis of Wilmington decision and related issues
                    (.10).
11/28/2012   JALB   Telephone conference with Mr. Rhode and Mr.            L120     0.30 hrs
                    Sillman (Fortace) regarding preparation of report
                    and direct testimony.
11/28/2012   JALB   Review chronologies, file memoranda and other          L120     0.40 hrs
                    work product regarding reserving, timelines, and
                    witnesses.
11/28/2012   JALB   Correspondence with Mr. Rains (Morrison &              L120     0.20 hrs
                    Foerster), Mr. Rhode and Mr. Lipps regarding
                    schedule discussions.
11/28/2012   JALB   Meet with Mr. Rhode regarding Mr. Sillman's            L120     0.60 hrs
                    report and direct testimony.

11/28/2012   JALB   Meet with Mr. Beck regarding preparation of draft      L120     0.50 hrs
                    reply brief sections. (.20) Analyze reply brief
                    outline. (.30)
11/28/2012   DJB    Review e-mails previously produced to the UCC          L120     1.60 hrs
                    and clawed back on the basis of common interest
                    privilege to assist Morrison Foerster in determining
                    whether to supplement productions.
11/28/2012   MMM    Read Lipps fact deposition and begin drafting          L120     1.30 hrs
                    summary.

11/28/2012   DAB    Communicate with Mr. Lee and Ms. Beck                  L120     0.10 hrs
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                    (Morrison & Foerster) regarding insurance policy
                    questions.
11/28/2012   DAB    Conference with Ms. Battle regarding work needed      L120     0.20 hrs
                    on reply brief on RMBS trial.

11/28/2012   DAB    Draft analysis distinguishing WMC Mortgage case.      L120     2.50 hrs


11/28/2012   DAB    Multiple conferences with Mr. Wallace regarding       L120     0.20 hrs
                    WMC Mortgage case.

11/28/2012   DAB    Revise analysis on WMC Mortgage case to               L120     0.40 hrs
                    incorporate Wallace comments.

11/28/2012   JDR    Conference with Ms. Battle regarding 9019 brief       L120     0.80 hrs
                    strategy. (.60) Follow-up regarding same. (.20)

11/28/2012   JDR    Teleconference with Mr. Sillman (expert) and Ms.      L120     0.50 hrs
                    Battle regarding 9019 objections and hearing
                    preparation. (.30) Follow-up on same. (.20)
11/28/2012   JDR    Review prepetition FGIC complaints filed against      L210     1.40 hrs
                    Rescap and draft analysis chart isolating key areas
                    in prepartion for upcoming expert depositions and
                    9019 hearing.
11/28/2012   JDR    Review and analyze draft 9019 brief outline and       L210     0.40 hrs
                    documents produced in relation to assigned
                    section.
11/28/2012   JDR    Review prepetition FHFA and FHLB complaints           L210     1.50 hrs
                    filed against Rescap and draft analysis chart
                    isolating key areas in preparation for upcoming
                    expert depositions and 9019 hearing.
11/28/2012   JDR    Review prepetition Huntington and Mass Mutual         L210     1.20 hrs
                    complaints filed against Rescap and draft analysis
                    chart isolating key areas in preparation for
                    upcoming expert depositions and 9019 hearing.
11/28/2012   JDR    Review prepetition MBIA, NCUA, and NJ                 L210     1.60 hrs
                    Carpenters complaints filed against Rescap and
                    draft analysis chart isolating key areas in
                    preparation for upcoming expert depositions and
                    9019 hearing.
11/28/2012   JDR    Review prepetition Stichting, Union Central,          L210     1.70 hrs
                    Western and Southern, and WVIMB complaints
                    filed against Rescap and draft analysis chart
                    isolating key areas in preparation for upcoming
                    expert depositions and 9019 hearing.
11/28/2012   JDR    Review 9019 documents and Sillman declaration         L210     1.10 hrs
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                    and deposition in preparation for teleconference.

11/28/2012   SP     Review board and audit committee meeting              L120     2.30 hrs
                    minutes and materials for discussion of PLS
                    litigation activity and reserves.
11/28/2012   SP     Draft analysis for Ms. Battle and Mr. Beck            L120     0.30 hrs
                    regarding discussion of PLS litigation in board and
                    audit committee meeting materials and minutes.
11/29/2012   AMP    Attention to issues regarding supplemental            L320     0.90 hrs
                    production.

11/29/2012   AMP    Compare what was produced versus identified for       L320     1.10 hrs
                    potential production in light of meet-and-confer.

11/29/2012   AMP    E-mails with Mr. Ziegler (Morrison & Foerster)        L320     0.70 hrs
                    regarding what was produced versus identified for
                    potential production in light of meet-and-confer.
11/29/2012   JAL    Review and redraft second supplemental                L120     2.80 hrs
                    declaration (1.0). Review research memorandum
                    regarding WMC decision and related issues (.30).
                    Review creditor objections to 9019 motion (.60).
                    Conference with Ms. Battle regarding strategy on
                    same. (.40) Review expert declarations (.30).
                    Conference with Ms. Battle regarding
                    supplemental declaration (.20).
11/29/2012   RBS    Compile pleadings from Scroll pertaining to           L310     3.20 hrs
                    motion to strike Butler report for Mr. Beck.

11/29/2012   JALB   Telephone conference with Mr. Rains (Morrison &       L120     0.40 hrs
                    Foerster) regarding objections and revised
                    schedule.
11/29/2012   JALB   Review and analyze proposed objections and            L330     2.20 hrs
                    materials regarding proposed objectors' experts.

11/29/2012   JALB   Meet with Mr. Rhode regarding proposed                L120     0.60 hrs
                    objections and materials regarding proposed
                    objectors' experts.
11/29/2012   JALB   Discussion with Mr. Lipps regarding objections of     L120     0.40 hrs
                    MBIA, FGIC and UCC.

11/29/2012   JALB   Telephone conference with Mr. Rains and Mr.           L120     0.40 hrs
                    Princi (both Morrison & Foerster) regarding expert
                    triage.
11/29/2012   JALB   Prepare summary of key expert opinions for Mr.        L330     0.90 hrs
                    Rains of Morrison & Foerster.
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11/29/2012   JALB   Discussion with Mr. Lipps (.20) and Ms. Mohler        L120     0.50 hrs
                    regarding preparation of Lipps supplemental
                    declaration. (.10) Analyze topics for supplemental
                    declaration. (.20)
11/29/2012   MMM    Draft second supplemental Lipps declaration.          L120     5.00 hrs
                    (3.60) Drafting session with Mr. Beck on
                    supplemental declaration. (1.30) Conference with
                    Mr. Beck and Ms. Battle regarding same. (.10)
11/29/2012   DAB    Communicate with counsel to investors regarding       L120     0.10 hrs
                    insurance ordeals.

11/29/2012   DAB    Draft chart regarding which claims are released/not   L120     0.80 hrs
                    released by RMBS trust settlement.

11/29/2012   DAB    Conference with Ms. Battle and Ms. Mohler             L120     0.10 hrs
                    regarding supplemental Lipps Declaration on
                    WMC mortgage.
11/29/2012   DAB    Drafting session with Ms. Mohler on supplemental      L120     1.30 hrs
                    Lipps Declaration.

11/29/2012   DAB    Review and analyze Triaxx objection to RMBS           L120     0.20 hrs
                    settlement motion.

11/29/2012   DAB    Communicate with Mr. Lipps and Ms. Battle             L120     0.10 hrs
                    regarding Triaxx objection.

11/29/2012   JRC    Review and analyze MBIA's objections to the           L210     0.40 hrs
                    RMBS Trust Settlement.

11/29/2012   JRC    Review publicly available information on CJ           L420     0.30 hrs
                    Brown (MBIA's expert witness) in order to draft
                    analysis of his testimony.
11/29/2012   JDR    Review and analyze draft objections to 9019 to        L120     0.70 hrs
                    evaluate passages related to Mr. Sillman.

11/29/2012   JDR    Review and analyze 9019 key materials in              L210     1.50 hrs
                    preparation for reply brief.

11/29/2012   JDR    Review and analyze draft objections to 9019 to        L120     1.00 hrs
                    evaluate expert passages.

11/29/2012   JDR    Review and analyze draft objections to 9019 to        L120     1.20 hrs
                    evaluate passages related to reserve disclosures.
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11/29/2012   JDR    Review and analyze 9019 key documents                  L120     2.30 hrs
                    regarding estimated reserves.

11/30/2012   AMP    Review e-mail from Mr. Ziegler (Morrison &             L320     0.20 hrs
                    Foerster) regarding emergency project for the
                    review of Devine specific documents in Rescap's
                    production.
11/30/2012   AMP    Attention to review of the production for              L320     2.50 hrs
                    documents relating to Mr. Devine (Ally) and the
                    RMBS settlement amount.
11/30/2012   AMP    Multiple e-mails with Mr. Ziegler (Morrison &          L320     0.20 hrs
                    Foerster) regarding review of the production for
                    documents relating to Mr. Devine (Ally) and the
                    RMBS settlement amount.
11/30/2012   JAL    Review and redraft second supplemental                 L120     0.50 hrs
                    declaration addressing WMC trust. (.20) Review
                    and respond to e-mail regarding same. (.10)
                    Conference with Ms. Battle regarding same. (.20)
11/30/2012   RBS    Prepare notebooks with index of pleadings related      L310     4.00 hrs
                    to Countrywide's motion to strike Butler reports for
                    Mr. Beck.
11/30/2012   JALB   Review selected Board materials referring to R&W       L120     0.80 hrs
                    discussions.

11/30/2012   JALB   Correspondence with Mr. Harris and Ms. DeArcy          L120     0.30 hrs
                    (both Morrison & Foerster) regarding selected
                    Board materials referring to R&W discussions.
11/30/2012   JALB   Discussion with Mr. Rhode regarding main expert        L120     0.90 hrs
                    theories and rebuttal.

11/30/2012   JALB   Review and revise draft Lipps' Supplemental            L120     0.40 hrs
                    Declaration.

11/30/2012   JALB   Meet with Ms. Mohler regarding draft Lipps             L120     0.20 hrs
                    Supplemental Declaration.

11/30/2012   JALB   Discussion with Mr. Lipps regarding draft Lipps        L120     0.20 hrs
                    Supplemental Declaration.

11/30/2012   JALB   Review and revise chart of breach allegations.         L120     0.20 hrs


11/30/2012   JALB   Discussions with Mr. Rhode regarding chart of          L120     0.40 hrs
                    breach allegations.

11/30/2012   JALB   Finalize chart and circulate to Morrison & Foerster    L120     0.20 hrs
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                    9019 team.

11/30/2012   JALB   Review and follow-up regarding revised task list.      L120     0.40 hrs


11/30/2012   JALB   Correspondence with Morrison & Foerster                L120     1.10 hrs
                    document production team and Ms. Marty and Ms.
                    Paul-Whitfield regarding status of document
                    collection, production and privilege logs.
11/30/2012   JALB   Follow-up conversation with Mr. Harris and Ms.         L120     0.30 hrs
                    DeArcy (Morrison & Foerster) regarding selected
                    Board materials referring to R&W discussions.
11/30/2012   JALB   Telephone conference with Mr. Sillman (expert)         L120     0.80 hrs
                    regarding supplemental report and loan file review.

11/30/2012   MMM    Finalize Lipps second supplemental declaration         L120     1.70 hrs
                    draft.

11/30/2012   DAB    Analyze Morrison & Foerster memorandum on              L120     0.70 hrs
                    subordination issues related to securitizations.

11/30/2012   JDR    Discussion with Ms. Battle regarding 9019 UCC          L210     0.80 hrs
                    objections and expert analysis.

11/30/2012   JDR    Review and analyze draft objections and Sillman        L120     2.00 hrs
                    declarations and deposition to plan deposition and
                    hearing strategy.
11/30/2012   JDR    Draft representation and warranty claims analysis      L120     1.70 hrs
                    chart in preparation for upcoming reply brief and
                    9019 hearing.
11/30/2012   JDR    Revise representation and warranty claims analysis     L120     0.90 hrs
                    chart in preparation for upcoming reply brief and
                    9019 hearing.
11/30/2012   JDR    Draft memorandum regarding areas of discussion         L210     1.00 hrs
                    and analysis for Sillman reply declaration.

11/30/2012   JDR    Review analogous litigation challenges to 9019         L120     0.30 hrs
                    underwriting experts in preparation for depositions.

11/30/2012   SP     Review board and audit committee meeting               L120     2.80 hrs
                    minutes and materials for discussion of PLS
                    litigation activity and reserves.
11/30/2012   SP     Communicate with Ms. Battle regarding discussion       L120     0.20 hrs
                    of PLS litigation in board and audit committee
                    meeting materials and minutes.
11/30/2012   GNM    Telephone communications with Mr. Barthel              L120     0.20 hrs
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                    regarding Insurance Policies previously produced
                    in MBIA litigation for Ms. Tice (Morrison &
                    Foerster).
11/30/2012   GNM    Telephone communications with Mr. Sholl                       L120     0.30 hrs
                    regarding Insurance Policies previously produced
                    in MBIA litigation for Ms. Tice (Morrison &
                    Foerster).
11/30/2012   GNM    Meeting with Ms. Battle regarding Insurance                   L120     0.30 hrs
                    Policies previously produced in MBIA litigation
                    for Ms. Tice (Morrison & Foerster).
11/30/2012   GNM    Drafting and sending e-mail communications to                 L120     0.20 hrs
                    Ms. Tice (Morrison & Foerster) regarding
                    Insurance policies previously produced in MBIA
                    litigation.
11/30/2012   SCM    Legal research regarding availability of                      L110     2.90 hrs
                    pre-confirmation motion to determine the
                    classification of claims of security holders.
11/30/2012   SCM    E-mail to Mr. Beck regarding availability of                  L190     0.90 hrs
                    pre-confirmation motion to determine the
                    classification of claims of security holders.


                    TOTAL FEES FOR THIS MATTER                                           $102,947.00

EXPENSES

11/15/2012          Delivery Service/Messengers - Federal Express to Ms. Battle                  $73.82
                    from Ms. LeBeau

11/20/2012          (TRIP-JAL-11/15-20/12) Out-of-Town Travel/Hotel - travel to            $1,231.83
                    New York City to attend 9019 deposition and Examiner
                    Investigation

11/20/2012          (TRIP-JAL-11/15-20/12) Out-of-Town Travel/Taxi - travel to                   $26.73
                    New York City to attend 9019 deposition and Examiner
                    Investigation

11/20/2012          (TRIP-JAL-11/15-20/12) Out-of-Town Travel/Car Service -                      $40.00
                    travel to New York City to attend 9019 deposition and Examiner
                    Investigation

11/20/2012          (TRIP-JAL-11/15-20/12) Out-of-Town Travel/Parking @ Port                     $56.66
                    Columbus - travel to New York City to attend 9019 deposition
                    and Examiner Investigation

11/20/2012          (TRIP-JAL-11/15-20/12) Out-of-Town Travel/Mileage to/from                     $4.03
                    Port Columbus - travel to New York City to attend 9019
                    deposition and Examiner Investigation
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11/20/2012          (TRIP-JAL-11/15-20/12) Out-of-Town Travel/Bellman - travel to                $12.00
                    New York City to attend 9019 deposition and Examiner
                    Investigation; tips to bellman for carrying multiple boxes with
                    materials for depositions and Examiner investigattion

11/20/2012          (TRIP-JAL-11/15-20/12) Out-of-Town Travel/Food/Beverage -                    $27.33
                    travel to New York City to attend 9019 deposition and Examiner
                    Investigation (11/16/12 Breakfast - Mr. Lipps and Ms. Battle)

11/20/2012          (TRIP-JAL-11/15-20/12) Out-of-Town Travel/Food/Beverage -                     $2.16
                    travel to New York City to attend 9019 deposition and Examiner
                    Investigation (11/16/12 Breakfast/Coffee)

11/20/2012          (TRIP-JAL-11/15-20/12) Out-of-Town Travel/Food/Beverage -                     $9.40
                    travel to New York City to attend 9019 deposition and Examiner
                    Investigation (11/17/12 Lunch)

11/20/2012          (TRIP-JAL-11/15-20/12) Out-of-Town Travel/Food/Beverage -                    $11.66
                    travel to New York City to attend 9019 deposition and Examiner
                    Investigation (11/18/12 Breakfast)

11/20/2012          (TRIP-JAL-11/15-20/12) Out-of-Town Travel/Food/Beverage -                     $2.70
                    travel to New York City to attend 9019 deposition and Examiner
                    Investigation (11/18/12 Breakfast/Coffee)

11/20/2012          (TRIP-JAL-11/15-20/12) Out-of-Town Travel/Food/Beverage -                     $9.43
                    travel to New York City to attend 9019 deposition and Examiner
                    Investigation (11/18/12 Lunch)

11/20/2012          (TRIP-JAL-11/15-20/12) Out-of-Town Travel/Food/Beverage -                    $23.33
                    travel to New York City to attend 9019 deposition and Examiner
                    Investigation (11/19/12 Breakfast - Mr. Lipps and Ms. Battle)

11/20/2012          (TRIP-JAL-11/15-20/12) Out-of-Town Travel/Food/Beverage -                    $11.66
                    travel to New York City to attend 9019 deposition and Examiner
                    Investigation (11/20/12 Breakfast)

11/20/2012          (TRIP-JAL-11/15-20/12) Out-of-Town Travel/Coach Airfare -               $673.86
                    travel to New York City to attend 9019 deposition and Examiner
                    Investigation

11/20/2012          (TRIP-JAL-11/15-20/12) Out-of-Town Travel/Food/Beverage -                    $20.00
                    travel to New York City to attend 9019 deposition and Examiner
                    Investigation (11/15/12 Dinner)

11/20/2012          (TRIP-JAL-11/15-20/12) Out-of-Town Travel/Food/Beverage -                    $20.00
                    travel to New York City to attend 9019 deposition and Examiner
                    Investigation (11/16/12 Dinner)

11/20/2012          (TRIP-JAL-11/15-20/12) Out-of-Town Travel/Food/Beverage -                    $20.00
                    travel to New York City to attend 9019 deposition and Examiner
                    Investigation (11/17/12 Dinner)
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27                Exhibit E
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11/20/2012            (TRIP-JAL-11/15-20/12) Out-of-Town Travel/Food/Beverage -                      $20.00
                      travel to New York City to attend 9019 deposition and Examiner
                      Investigation (11/18/12 Dinner)

11/20/2012            (TRIP-JAL-11/15-20/12) Out-of-Town Travel/Food/Beverage -                      $20.00
                      travel to New York City to attend 9019 deposition and Examiner
                      Investigation (11/19/12 Dinner)

11/26/2012            (TRIP-JAL-11/26/12) Out-of-Town Travel/Food/Beverage -                          $2.00
                      travel to New York for meeting with investors

11/26/2012            (TRIP-JAL-11/26/12) Out-of-Town Travel/Parking @ Port                          $27.00
                      Columbus - travel to New York for meeting with investors

11/26/2012            (TRIP-JAL-11/26/12) Out-of-Town Travel/Mileage to/from Port                     $6.60
                      Columbus (12 miles X .55) - travel to New York for meeting
                      with investors

11/26/2012            (TRIP-DAB-11/26/12) Out-of-Town Travel/Taxis - travel to New                   $86.20
                      York to attend meeting with Morrison & Forester

11/26/2012            (TRIP-DAB-11/26/12) Out-of-Town Travel/Parking @ Port                          $17.00
                      Columbus - travel to New York to attend meeting with Morrison
                      & Forester

11/26/2012            (TRIP-JAL-11/26/12) Out-of-Town Travel/Food/Beverage -                         $12.74
                      travel to New York for meeting with investors (11/26/12 Lunch)

11/26/2012            (TRIP-JAL-11/26/12) Out-of-Town Travel/Coach Airfare - travel               $1,035.60
                      to New York for meeting with investors

11/26/2012            (TRIP-DAB-11/26/12) Out-of-Town Travel/Coach Airfare -                      $2,079.60
                      travel to New York to attend meeting with Morrison & Forester

11/26/2012            (TRIP-JAL-11/26/12) Out-of-Town Travel/Food/Beverage -                         $40.00
                      travel to New York for meeting with investors (dinner for Mr.
                      Beck and Mr. Lipps)

                      TOTAL EXPENSES FOR THIS MATTER                                              $5,623.34


BILLING SUMMARY


         Molnar, Anthony J.                        25.80 hrs    210.00 /hr            $5,418.00


         Paul, Angela M.                           67.50 hrs    250.00 /hr        $16,875.00


         Beck, David A.                            26.80 hrs    230.00 /hr            $6,164.00
    12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
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                                                         Invoice # 52563         Page 40
      Wallace, David A.                       6.70 hrs   260.00 /hr     $1,742.00


      Barthel, David J.                      46.70 hrs   210.00 /hr     $9,807.00


      Marty, Gretchen N.                      1.10 hrs   150.00 /hr        $165.00


      Lipps, Jeffrey A.                      47.20 hrs   360.00 /hr    $16,992.00


      Battle, Jennifer A.L.                  62.90 hrs   250.00 /hr    $15,725.00


      Rhode, Jacob D.                        92.70 hrs   160.00 /hr    $14,832.00


      Corcoran, Jeffrey R.                   15.00 hrs   180.00 /hr     $2,700.00


      Mohler, Mallory M.                     53.80 hrs   160.00 /hr     $8,608.00


      Samson, Robert B.                       7.80 hrs    75.00 /hr        $585.00


      Moeller, Steven C.                      3.80 hrs   200.00 /hr        $760.00


      Phillips, Segev                        11.70 hrs   220.00 /hr     $2,574.00



   TOTAL FEES                               469.50 hrs                $102,947.00

   TOTAL EXPENSES                                                       $5,623.34

   TOTAL CHARGES FOR THIS INVOICE                                     $108,570.34
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27               Exhibit E
                                Monthly Invoices Pg 663 of 1163
                         CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                            January 02, 2013

                                                                       Billed through 11/30/2012
Tammy Hamzephour                                                       Invoice # 52558      JAL
Residential Capital, LLC
1100 Virginia Drive                                                    Our file # 932 00058
190-FTW-L95
Fort Washington, PA 19034

Re: Securities Claims
Matter No.: 721750

PROFESSIONAL SERVICES

11/01/2012    RBS       Prepare report of recent activity of various                   L310        0.20 hrs
                        securities dockets for Mr. Phillips.

11/01/2012    RBS       Obtain recent pleadings from various securities                L310        0.20 hrs
                        dockets.

11/02/2012    RBS       Obtain recent pleadings from various securities                L310        0.20 hrs
                        dockets.

11/02/2012    RBS       Prepare report of recent activity of various                   L310        0.10 hrs
                        securities cases for Mr. Phillips.

11/05/2012    RBS       Obtain recent pleadings from various securities                L310        0.40 hrs
                        dockets.

11/05/2012    RBS       Prepare report of recent Court activity of various             L310        0.20 hrs
                        securities cases for Mr. Phillips.

11/05/2012    SP        Review decision by Judge Cote in Federal Housing               L240        0.40 hrs
                        Finance Agency for JPMorgan Chase relating to
                        motion to dismiss fraud claims.
11/05/2012    SP        Summarize Judge Cote's decision in Federal                     L120        1.10 hrs
                        Housing Finance Agency and distribute to team.

11/06/2012    RBS       Obtain recent pleadings from various securities                L310        0.10 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27        Exhibit E
  932 00058                 Monthly Invoices Pg 664 of 1163
                                                         Invoice # 52558           Page 2
                    dockets.

11/06/2012   RBS    Prepare report of recent activity of various            L310     0.20 hrs
                    securities dockets for Mr. Phillips.

11/08/2012   RBS    Obtain recent pleadings from various securities         L310     0.20 hrs
                    dockets.

11/08/2012   RBS    Prepare report of recent Court activity of various      L310     0.10 hrs
                    securities cases for Mr. Phillips.

11/09/2012   RBS    Obtain recent pleadings from various securities         L310     0.20 hrs
                    dockets.

11/09/2012   RBS    Prepare report of recent Court activity of various      L310     0.10 hrs
                    securities cases for Mr. Phillips.

11/13/2012   RBS    Obtain decisions and orders requested by Mr.            L310     0.20 hrs
                    Phillips.

11/13/2012   RBS    Obtain recent filings from various securities cases.    L310     0.20 hrs


11/13/2012   RBS    Prepare report of recent activity in securities cases   L310     0.10 hrs
                    for Mr. Phillips.

11/14/2012   RBS    Obtain recent pleadings from various securities         L310     0.20 hrs
                    cases.

11/14/2012   RBS    Prepare report of recent Court activity for Mr.         L310     0.10 hrs
                    Phillips.

11/14/2012   RBS    Distribute sets of requested pleadings via e-mail.      L310     0.40 hrs


11/15/2012   RBS    Obtain recent pleadings from various securities         L310     0.20 hrs
                    cases.

11/15/2012   RBS    Prepare report of recent Court activity in securities   L310     0.20 hrs
                    cases for Mr. Phillips.

11/16/2012   RBS    Obtain pleadings from various securities cases.         L310     0.20 hrs


11/16/2012   RBS    Prepare report of recent filings in securities cases    L310     0.10 hrs
                    for Mr. Phillips.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27       Exhibit E
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11/18/2012   JALB   Correspondence with Mr. Wishnew (Morrison &            L120     0.10 hrs
                    Foerster) regarding strategy for handling claims.

11/19/2012   JALB   Correspondence with Mr. Wishnew regarding              L120     0.10 hrs
                    strategy for handling claims.

11/20/2012   RBS    Obtain recent filings of various securities cases.     L310     0.20 hrs


11/20/2012   RBS    Prepare report of recent filings in securities cases   L310     0.10 hrs
                    for Mr. Phillips.

11/26/2012   JALB   Attend meeting with Mr. Wishnew, Mr.                   L120     0.20 hrs
                    Rosenbaum (both Morrison & Foerster) regarding
                    proposed plan for claims resolution.
11/26/2012   JALB   Discuss claims handling process with Mr. Lipps.        L120     0.20 hrs


11/26/2012   DAB    Conference with Ms. Moss (Morrison & Foerster)         L120     0.20 hrs
                    regarding subordination issues on securities claims.

11/27/2012   JAL    Review motion of AIG to classify PLS Securities        L120     3.90 hrs
                    claims and rep. and warranty claims regarding
                    same (3.30). Telephone conference with Mr. Beck
                    regarding same (.50). Review and respond to
                    e-mails regarding same (.10).
11/27/2012   DAB    Communicate with Mr. Lipps, Ms. Battle and Mr.         L120     0.20 hrs
                    Beekhuizen regarding AIG motions on claims
                    status.
11/28/2012   JAL    Review and respond to e-mails regarding AIG's          L120     0.30 hrs
                    subordination motion.

11/28/2012   JALB   Review notes from Mr. Beck regarding AIG               L120     0.10 hrs
                    motion.

11/28/2012   DAB    Review and analyze AIG motion on claims                L120     0.60 hrs
                    subordination.

11/28/2012   DAB    Read previous Morrison & Foerster memoranda on         L120     0.30 hrs
                    claims subordination.

11/28/2012   DAB    Prepare for call on AIG motion by outlining key        L120     0.20 hrs
                    issues.

11/28/2012   DAB    Call with Mr. Marinuzzi and Mr. Newton                 L120     0.30 hrs
                    (Morrison & Foerster) regarding AIG motion.
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                                                         Invoice # 52558        Page 4

11/28/2012   DAB    E-mails with Mr. Lipps and Ms. Battle regarding      L120     0.20 hrs
                    next steps on AIG motion.

11/28/2012   DAB    Research regarding whether AIG relief should         L120     0.80 hrs
                    have been brought by adversary proceeding.

11/29/2012   JAL    Review motion to classify PLS securities claims      L120     5.00 hrs
                    and warranty and rep claims (2.0). Review research
                    memorandum regarding subordination (2.20).
                    Communicate with Mr. Beck regarding response to
                    motion (.30). Review AIG proofs of claim (.50).
11/29/2012   DAB    E-mails with Mr. Lipps regarding AIG motion on       L120     0.20 hrs
                    claims subordination.

11/29/2012   DAB    Research regarding procedural issues raised by       L120     0.30 hrs
                    AIG motion.

11/29/2012   DAB    Communicate with Mr. Newton (Morrison &              L120     0.10 hrs
                    Foerster) regarding FHFA claims.

11/29/2012   DAB    Review claims register for securities claims.        L120     0.20 hrs


11/29/2012   DAB    Call with Mr. Marinuzzi, Mr. Newton and Ms.          L120     0.30 hrs
                    Marines (Morrison & Foerster) regarding AIG
                    objection and procedural issues related to same.
11/29/2012   DAB    E-mails with Mr. Lipps regarding call with Mr.       L120     0.30 hrs
                    Marinuzzi (Morrison & Foerster) and next steps on
                    security claims.
11/29/2012   DAB    Conference with Mr. Lipps regarding arguments        L120     0.40 hrs
                    against AIG motion.

11/30/2012   DAB    Conference with Mr. Moeller regarding research       L120     0.20 hrs
                    needed on procedural issues related to AIG claims
                    motion.
11/30/2012   DAB    Communicate with Mr. Rosenbaum and Ms. Beck          L120     0.10 hrs
                    (Morrison & Foerster) regarding next steps on
                    Ambac.
11/30/2012   DAB    Draft comments for Mr. Lipps regarding comments      L120     0.60 hrs
                    on subordination memorandum.

11/30/2012   DAB    Research regarding subordination issues.             L120     1.70 hrs
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 932 00058                   Monthly Invoices Pg 667 of 1163
                                                          Invoice # 52558         Page 5
                      TOTAL FEES FOR THIS MATTER                                      $5,803.00


BILLING SUMMARY


       Beck, David A.                          7.20 hrs   230.00 /hr    $1,656.00


       Lipps, Jeffrey A.                       9.20 hrs   360.00 /hr    $3,312.00


       Battle, Jennifer A.L.                   0.70 hrs   250.00 /hr        $175.00


       Samson, Robert B.                       4.40 hrs    75.00 /hr        $330.00


       Phillips, Segev                         1.50 hrs   220.00 /hr        $330.00



    TOTAL FEES                                23.00 hrs                $5,803.00

    TOTAL CHARGES FOR THIS INVOICE                                     $5,803.00
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                              Monthly Invoices Pg 668 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                          January 02, 2013

                                                                  Billed through 11/30/2012
Tammy Hamzephour                                                  Invoice # 52559      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 932 00059
190-FTW-L95
Fort Washington, PA 19034

Re: Monoline Claims
Matter No.: 721750

PROFESSIONAL SERVICES

11/01/2012   DAB       Comment on Ms. Barrage (Morrison & Foerster)               L120        0.20 hrs
                       e-mail updating Mr. Lee of Morrison & Foerster
                       regarding MBIA cure claim negotiations.
11/01/2012   DAB       E-mails with Cadwalader lawyers representing               L120        0.10 hrs
                       MBIA regarding conference call on servicing
                       platform sale.
11/01/2012   DAB       Draft memorandum regarding interplay between               L120        1.90 hrs
                       monoline and trustee claims.

11/01/2012   DAB       Research section 502 cases related to monoline             L120        1.60 hrs
                       claims.

11/01/2012   DAB       Communicate with Ms. Barrage (Morrison &                   L120        0.20 hrs
                       Foerster) regarding next steps on MBIA cure claim
                       objection.
11/01/2012   DAB       Call with Ms. Bagby, Mr. Johnson (Cadwalader)              L120        0.20 hrs
                       and Ms. Barrage (Morrison & Foerster) regarding
                       MBIA cure claims on servicing platform sale.
11/01/2012   DAB       Call with Mr. Rosenbaum and Ms. Beck (Morrison             L120        0.40 hrs
                       & Foerster) regarding strategy on Ambac cure
                       claim objection.
11/01/2012   DAB       Research caselaw on section 502 issues related to          L120        1.70 hrs
                       monoline claims.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
  932 00059                 Monthly Invoices Pg 669 of 1163
                                                         Invoice # 52559        Page 2
11/02/2012   DAB    Analyze Ambac provided information on cure           L120     0.30 hrs
                    claims and draft issues list for Mr. Rosenbaum of
                    Morrison & Foerster.
11/02/2012   DAB    Research regarding section 502 issues related to     L120     2.60 hrs
                    monoline and trustee claims.

11/02/2012   DAB    Conference with Mr. Newton (Morrison &               L120     0.60 hrs
                    Foerster) regarding research on relationship of
                    monoline and trustee claims.
11/02/2012   DAB    Draft outline of issues relating to monoline and     L120     2.80 hrs
                    trustee claims.

11/04/2012   JAL    Review e-mail request from Morrison Foerster to      L120     1.30 hrs
                    address RMBS trust control issues (.10). Review
                    and respond to e-mails regarding same. (.20).
                    Telephone conference with Mr. Beck regarding
                    same (.20). Review and revise write-up addressing
                    RMBS issues (.80).
11/04/2012   DAB    Analyze request from Mr. Princi and Ms. Beck         L120     0.20 hrs
                    (Morrison & Foerster) regarding research on
                    control issues on trusts wrapped by monolines.
11/04/2012   DAB    Communicate with Mr. Lipps regarding research        L120     0.30 hrs
                    requests on control of wrapped trusts.

11/04/2012   DAB    Draft analysis on control of wrapped trusts.         L120     2.60 hrs


11/05/2012   JAL    Prepare for conference call with Morrison Foerster   L120     1.80 hrs
                    lawyers to address MBIA (.20). Conference with
                    Mr. Beck regarding same (.30). Participate on
                    conference call with Morrison Foerster regarding
                    same (.50). Review and redraft analysis of RMBS
                    trust control issues and memo regarding same
                    (.50). Telephone conference with Mr. Beck
                    regarding same (.30).
11/05/2012   DAB    Call with Morrison & Foerster team regarding         L120     1.60 hrs
                    strategy on cure objections to servicing sale .

11/05/2012   DAB    Call with Mr. Rosenbaum and Ms. Beck (Morrison       L120     0.20 hrs
                    & Foerster) regarding strategy for call with Ambac
                    on servicing objection to asset sale.
11/05/2012   DAB    Draft analysis on control of wrapped trusts.         L120     1.70 hrs


11/05/2012   DAB    Communicate with Mr. Lee, Mr. Goren and Mr.          L120     0.20 hrs
                    Newton (Morrison & Foerster) regarding analysis
                    on control of wrapped trusts.
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  932 00059                 Monthly Invoices Pg 670 of 1163
                                                         Invoice # 52559         Page 3

11/05/2012   DAB    Call with Ambac's counsel, Mr. Rosenbaum and          L120     0.60 hrs
                    Ms. Beck (Morrison & Foerster) regarding
                    Ambac's cure claims.
11/05/2012   DAB    Draft e-mail to Ambac's counsel regarding             L120     0.40 hrs
                    additional information needed to analyze cure
                    claims.
11/05/2012   DAB    E-mail conversations with Mr. Rosenbaum and           L120     0.30 hrs
                    Ms. Beck (Morrison & Foerster) regarding call
                    with Ambac and next steps.
11/06/2012   DAB    Analyze additional materials provided by FGIC on      L120     0.10 hrs
                    cure claim.

11/06/2012   DAB    Call with Ms. Sinanyan (counsel to FGIC), Mr.         L120     0.30 hrs
                    Lee, Ms. Barrage and Ms. Beck (Morrison &
                    Forester) regarding FGIC cure claims and sale
                    objection.
11/06/2012   DAB    Follow up e-mails with Mr. Lee and Ms Barrage         L120     0.20 hrs
                    (Morrison & Foerster) regarding FGIC cure claims
                    and next steps with FGIC.
11/06/2012   DAB    Communicate with Ms. Marin (Morrison &                L120     0.10 hrs
                    Foerster) regarding analysis on purchase price
                    impact of rejecting FGIC deals.
11/06/2012   DAB    Call with Mr. Ruckdashel (Residential Capital),       L120     0.40 hrs
                    Mr. Rosenbaum and Ms. Beck (Morrison &
                    Foerster) regarding transfer of servicing on
                    terminated Ambac deals and strategy on cure
                    claims on Ambac deals being transferred.
11/08/2012   JAL    Review and revise memorandum regarding RMBS           L120     0.80 hrs
                    trust control (.30). Conference with Mr. Beck
                    regarding same (.20). Review and respond to
                    e-mails regarding same (.10). Review e-mails
                    regarding subordination research and application to
                    monoline claims. (20).
11/08/2012   DAB    Call with Mr. Schares, Mr. Witten (Residential        L120     0.50 hrs
                    Capital), Mr. Rosenbaum and Ms. Beck (Morrison
                    & Foerester) regarding Ambac diligence questions
                    on transferred deals.
11/08/2012   DAB    Conference with Mr. Philips regarding                 L120     0.10 hrs
                    impossibility research on FGIC claims.

11/08/2012   DAB    Draft e-mail to Morrison & Foerster team              L120     0.60 hrs
                    regarding trust control and claim issues between
                    monolines and trustees.
11/08/2012   DAB    Communicate with Mr. Lipps regarding e-mail to        L120     0.10 hrs
                    Morrison & Forester team on issues between
                    monolines and trustees.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
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                                                         Invoice # 52559        Page 4

11/09/2012   DAB    Communicate with Mr. Ruckdaschel of Residential      L120     0.20 hrs
                    Capital and Ms. Barrage (Morrison & Foertser)
                    regarding FGIC cure claim issues.
11/09/2012   DAB    Call with Ms. Barrage (Morrison & Foerster)          L120     0.20 hrs
                    regarding latest MBIA proposal on cure claims.

11/09/2012   DAB    Draft note to Residential Capital team with          L120     0.30 hrs
                    materials for FGIC meeting.

11/09/2012   DAB    Analyze new proposal from MBIA on cure claims.       L120     0.30 hrs


11/09/2012   DAB    Analyze MBIA's third quarter securities filings.     L120     0.30 hrs


11/09/2012   DAB    Research previous Residential Capital work           L320     0.50 hrs
                    product and communications from FGIC for
                    materials relevant to meeting preparation.
11/09/2012   DAB    At request of Mr. Rosenbaum of Morrison &            L120     0.60 hrs
                    Foerster, analyze subservicing agreement issues
                    posed by transfer of Ambac deals.
11/09/2012   DAB    Communicate with Mr. Rosenbaum and Ms. Beck          L120     0.30 hrs
                    (Morrison & Foerster) regarding analysis on
                    subservicing agreements.
11/11/2012   DAB    E-mails with Mr. Lipps and Ms. Battle regarding      L120     0.20 hrs
                    FGIC servicing objection.

11/11/2012   DAB    Communicate with Mr. Lipps regarding calls with      L120     0.20 hrs
                    trustee regarding monoline issues.

11/12/2012   JAL    Telephone conference with Mr. Beck regarding         L120     0.30 hrs
                    call with counsel for creditor group (.20). Review
                    and respond to e-mails regarding same (.10).
11/12/2012   DAB    Communicate with Mr. Newton and Ms. Beck             L120     0.10 hrs
                    (Morrison & Foerster) regarding scheduling of
                    calls with investors on claims.
11/12/2012   DAB    Communicate with counsel to various trustees and     L120     0.20 hrs
                    indenture trustees regarding claims.

11/12/2012   DAB    Analyze materials provided by FGIC concerning        L120     1.40 hrs
                    servicing cure claim.

11/12/2012   DAB    Call with Mr. Ruckdashel, Ms. Woehr, Mr.             L120     1.00 hrs
                    Detwiler, Mr. Schares (Residential Capital), Mr.
                    Goren, Ms. Barrage, Ms. Beck (Morrison &
                    Foerster) regarding FGIC cure claims and strategy
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
  932 00059                 Monthly Invoices Pg 672 of 1163
                                                         Invoice # 52559        Page 5
                    for meeting.
11/12/2012   DAB    Research possible arguments against FGIC             L120     1.50 hrs
                    servicing claims.

11/13/2012   DAB    Prepare for call with Ambac's counsel regarding      L120     0.40 hrs
                    Ambac caure claims.

11/13/2012   DAB    Participate in call with Ambac's counsel regarding   L120     0.60 hrs
                    Ambac cure claims.

11/13/2012   DAB    Call with Mr. Witten (Residential Capital), Mr.      L120     0.50 hrs
                    Rosenbaum and Ms. Beck (Morrison & Foerster)
                    regarding issues on Ambac cure claims and
                    transfer of servicing on Ambac wrapped deals.
11/13/2012   DAB    Research defenses against FGIC expense               L120     1.30 hrs
                    reimbursement claims.

11/13/2012   DAB    Conference with Mr. Newton and Ms. Beck              L120     0.20 hrs
                    (Morrison & Foerster) regarding preparations for
                    call with investor's counsel regarding monoline
                    claims.
11/13/2012   DAB    Call with investor's counsel, Mr. Newton and Ms.     L120     0.60 hrs
                    Beck (Morrison & Foerster) regarding relationship
                    between monoline and investor claims.
11/13/2012   DAB    Prepare for meeting with FGIC team, Mr.              L120     0.20 hrs
                    Ruckdashel, Ms. Woehr, Mr. Detwiler, Ms. Woehr
                    (Residential Capital), Mr. Goren, Ms. Barrage and
                    Ms. Beck (Morrison & Foerster) regarding FGIC
                    cure claims.
11/13/2012   DAB    Participate in meeting with FGIC team, Mr.           L120     2.50 hrs
                    Ruckdashel, Ms. Woehr, Mr. Detwiler, Ms. Woehr
                    (Residential Capital), Mr. Goren, Ms. Barrage and
                    Ms. Beck (Morrison & Foerster) regarding FGIC
                    cure claims.
11/13/2012   DAB    Follow-up meeting with Mr. Detwiler, Mr.             L120     0.80 hrs
                    Ruckdashel (Residential Capital), Mr. Goren and
                    Ms. Barrage (Morrison & Foerster) regarding next
                    steps on FGIC cure claims.
11/13/2012   DAB    Meeting with Mr. Rosenbaum and Ms. Beck              L120     0.60 hrs
                    (Morrison & Foerster) regarding issues on Ambac
                    cure claims and transfer of servicing on Ambac
                    wrapped deals.
11/13/2012   DAB    Research MBIA v. Countrywide summary                 L120     0.30 hrs
                    judgment opinion on causation.

11/13/2012   DAB    Communicate with Mr. Lee, Mr. Princi, Mr. Rains      L120     0.10 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
  932 00059                 Monthly Invoices Pg 673 of 1163
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                    and Ms. Levitt (Morrison & Foerster) regarding
                    causation issues on monoline claims.
11/13/2012   DAB    E-mail Mr. Lipps regarding new briefing in MBIA      L120     0.10 hrs
                    v. Countrywide case.

11/13/2012   DAB    Research regarding new briefing in MBIA v.           L120     0.20 hrs
                    Countrywide case.

11/14/2012   RBS    Obtain requested Countrywide pleadings by Mr.        L310     1.80 hrs
                    Beck.

11/14/2012   DAB    E-mails with Mr. Lee (Morrision & Foerster)          L120     0.30 hrs
                    regarding argument against monoline claims.

11/14/2012   DAB    Communicate with Ms. Beck (Morrision &               L120     0.10 hrs
                    Foerster) regarding insurance agreements.

11/14/2012   DAB    Communicate with Mr. Lipps regarding new             L120     0.10 hrs
                    filings in MBA v. Countrywide.

11/14/2012   DAB    Draft update for client regarding new support for    L120     0.40 hrs
                    cure claim received from Ambac.

11/14/2012   DAB    Communicate with counsel to Ambac regarding          L120     0.10 hrs
                    support for cure claim.

11/15/2012   DAB    Analyze recent filings in MBIA v. Countrywide        L120     0.10 hrs
                    case.

11/15/2012   DAB    Communicate with Mr. Ruckdashel (Residential         L120     0.20 hrs
                    Capital) regarding supporting material received
                    from Ambac for cure claim.
11/15/2012   DAB    Review and comment on Newton memo on                 L120     0.40 hrs
                    monoline issues.

11/16/2012   DAB    Prepare for call with Mr. Ruckdashel, Mr.            L120     0.10 hrs
                    Blaschko, Mr. Cancelliere (Residential Capital)
                    and Mr. Rosenbaum (Morrison & Foerster)
                    regarding Ambac cure claims analysis.
11/16/2012   DAB    Participate in call with Mr. Ruckdashel, Mr.         L120     0.90 hrs
                    Blaschko, Mr. Cancelliere (Residential Capital)
                    and Mr. Rosenbaum (Morrison & Foerster)
                    regarding Ambac cure claims analysis.
11/16/2012   DAB    E-mails with Mr. Cancelliere (Residential Capital)   L120     0.40 hrs
                    regarding follow-up issues on call.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
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11/18/2012   JALB   Correspondence with Mr. Wishnew (Morrison &           L120     0.10 hrs
                    Foerster) regarding strategy for handling claims.

11/18/2012   DAB    Draft topics outline for call on monoline claims.     L120     2.20 hrs


11/19/2012   JAL    Review FGIC proof of claim (.50). Review              L120     1.00 hrs
                    e-mails regarding same (.20). Review e-mails
                    regarding strategy for handling claims (.20).
                    Conference with Ms. Battle regarding same (.10).
11/19/2012   JALB   Review and revise draft response from Mr. Beck to     L120     0.30 hrs
                    questions raised by Mr. Lee of Morrison &
                    Foerster regarding monoline claims.
11/19/2012   JALB   Correspondence with Mr. Wishnew of Morrison &         L120     0.10 hrs
                    Foerster regarding strategy for handling claims.

11/19/2012   JALB   Review correspondence from Mr. Lee and Mr.            L120     0.30 hrs
                    Newton (Morrison & Foerster) regarding proofs of
                    claim and coordination of efforts.
11/20/2012   DAB    Draft e-mail on monoline versus trustee issues.       L120     0.40 hrs


11/20/2012   DAB    Conference with Mr. Lipps regarding monoline          L120     0.10 hrs
                    versus trustee issues.

11/20/2012   DAB    Communicate with Mr. Newton (Morrison &               L120     0.10 hrs
                    Foerster) regarding monoline proofs of claim.

11/20/2012   DAB    Revise outline for monoline claims call.              L120     0.80 hrs


11/20/2012   DAB    Communicate with Morrison & Foerster team             L120     0.10 hrs
                    regarding materials for monoline claims call.

11/21/2012   JAL    Prepare for conference call regarding Monoline        L120     2.90 hrs
                    claims (.20). Conference with Mr. Beck regarding
                    same (.10). Participate on conference call with Mr.
                    Lee, Mr. Princi, Mr. Rosenbaum, Mr. Newton
                    (Morrison & Foerster) and Mr. Beck regarding
                    Monoline claims (1.50). Review MBIA proofs of
                    claim (.20). Review and respond to e-mails
                    regarding same (.10). Review AMBAC proofs of
                    claim (.50). Review e-mail regarding same (.10).
                    Review subordination research (.10). Conference
                    with Mr. Beck regarding same (.10).
11/21/2012   DJB    Research previously propounded defendants'            L120     1.60 hrs
                    requests for production of documents in MBIA v.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
  932 00059                 Monthly Invoices Pg 675 of 1163
                                                         Invoice # 52559         Page 8
                    RFC and MBIA v. GMACM matters to use to
                    formulate document production requests in FGIC
                    or Ambac matters.
11/21/2012   DAB    Call with Mr. Lee, Mr. Princi, Mr. Rosenbaum,         L120     1.50 hrs
                    Mr. Newton (Morrison & Foerster) and Mr. Lipps
                    regarding monoline issues.
11/21/2012   DAB    Conference with expert regarding monoline claims.     L120     0.50 hrs


11/23/2012   JAL    Further review of Monoline proofs of claims (.50).    L120     2.00 hrs
                    Analyze bases for objections (1.10). Conference
                    with Mr. Beck regarding same (.40).
11/25/2012   JAL    Review and respond to e-mails regarding meeting       L120     0.80 hrs
                    to discuss claims handling methodology (.20).
                    Conference with Ms. Battle regarding same (.20).
                    Further review and analysis of Monoline proofs of
                    claim (.40).
11/25/2012   DJB    Analyze document requests to monolines in             L120    10.30 hrs
                    prepetition litigation. (3.40) Draft template of
                    Defendant's First Request for Production of
                    Documents (consisting of 84 document requests)
                    for use in FGIC or AMBAC cases. (6.90)
11/26/2012   JALB   Discussion with Mr. Beck regarding strategy for       L120     0.30 hrs
                    responding to monoline claims.

11/26/2012   JALB   E-mail Mr. Lipps and Mr. Beck regarding strategy      L120     0.40 hrs
                    MBIA and FGIC claims.

11/26/2012   JALB   Discuss claims handling process with Mr. Lipps.       L120     0.10 hrs


11/26/2012   JALB   Attend meeting with Mr. Wishnew, Mr.                  L120     0.30 hrs
                    Rosenbaum (both Morrison & Foerster) regarding
                    proposed plan for claims resolution.
11/26/2012   DJB    Communications with Mr. Beck regarding drafting       L120     1.20 hrs
                    of template for Defendant's First Request for
                    Production of Documents for use in FGIC cases.
                    (.20) Revise template. (1.00)
11/26/2012   DAB    Draft analysis on potential witnesses at monolines.   L330     0.80 hrs


11/26/2012   DAB    Draft document requests to FGIC. (.90)                L320     1.20 hrs
                    Conference with Ms. Battle regarding strategy on
                    monoline claims. (.30)
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
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11/26/2012   DAB    Conference with Mr. Newton (Morrison &               L120     0.10 hrs
                    Foerster) regarding monoline proofs of claim.

11/26/2012   DAB    Conference with Mr. Lee (Morrison & Foerster)        L120     0.30 hrs
                    and Mr. Lipps regarding white paper on monoline
                    claims.
11/26/2012   DAB    Draft outline on white paper on monoline claims.     L120     0.60 hrs


11/26/2012   DAB    E-mails with Mr. Barthel and Mr. Phillips            L120     0.20 hrs
                    regarding document requests to FGIC.

11/27/2012   JAL    Conference with Mr. Beck regarding investigation     L120     1.60 hrs
                    of potential Monoline witnesses (1.0). Review and
                    finalize memorandum regarding same (.50).
                    Review and respond to e-mails regarding same
                    (.10).
11/27/2012   DAB    Draft and revise memorandum on potential             L330     1.30 hrs
                    monoline witnesses.

11/27/2012   DAB    Draft and revise document requests to FGIC.          L320     1.70 hrs


11/28/2012   DAB    Analyze recent pleadings in MBIA v. Countrywide      L120     0.60 hrs
                    case for relevance to claims of MBIA and other
                    monolines in the Debtors cases.
11/29/2012   DAB    Communicate with Mr. Samson regarding proofs         L120     0.10 hrs
                    of claim from monoline insurers.

11/29/2012   DAB    Review monoline proofs of claim and identify         L120     0.20 hrs
                    additional deal documents needed to analyze
                    claims.
11/30/2012   JAL    Review Aurelius argument and SUN argument            L120     0.50 hrs
                    regarding subordination of PLS and rep and
                    warranty claim (.30). Communicate with Mr. Beck
                    regarding same (.10). Review and redraft e-mail to
                    Mr. Lee regarding same (.10).
11/30/2012   DAB    Analyze previous research for materials relevant     L120     0.60 hrs
                    for white paper on monoline claims.



                    TOTAL FEES FOR THIS MATTER                                   $20,760.00
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27                Exhibit E
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EXPENSES

11/13/2012              (TRIP-DAB-11/13/12) Out-of-Town Travel/Taxi - travel to New                   $47.90
                        York to attend meetings regarding FGIC cure claims

11/13/2012              (TRIP-DAB-11/13/12) Out-of-Town Travel/Parking @ Port                         $17.00
                        Columbus - travel to New York to attend meetings regarding
                        FGIC cure claims

11/13/2012              (TRIP-DAB-11/13/12) Out-of-Town Travel/Food/Beverage -                         $1.80
                        travel to New York to attend meetings regarding FGIC cure
                        claims (Breakfast 11/13/12)

11/13/2012              (TRIP-DAB-11/13/12) Out-of-Town Travel/Coach Airfare -                    $1,081.60
                        travel to New York to attend meetings regarding FGIC cure
                        claims

11/13/2012              (TRIP-DAB-11/13/12) Out-of-Town Travel/Food/Beverage -                        $20.00
                        travel to New York to attend meetings regarding FGIC cure
                        claims (Dinner 11/13/12)

11/26/2012              (TRIP-DAB-11/26/12) Out-of-Town Travel/Taxi - travel to New                   $44.76
                        York to attend meetings regarding monoline claims

11/26/2012              (TRIP-DAB-11/26/12) Out-of-Town Travel/Parking @ Port                         $17.00
                        Columbus - travel to New York to attend meetings regarding
                        monoline claims

11/26/2012              (TRIP-DAB-11/26/12) Out-of-Town Travel/Food/Beverage -                        $16.65
                        travel to New York to attend meetings regarding monoline claims
                        (Dinner 11/26/12)

11/26/2012              (TRIP-DAB-11/26/12) Out-of-Town Travel/Coach Airfare -                    $1,081.60
                        travel to New York to attend meetings regarding monoline claims

11/27/2012              Delivery Service/Messengers - Federal Express to Mr. Lipps                    $47.09
                        from Ms. Scaggs

11/30/2012              Delivery Service/Messengers - Federal Express to Mr. Lipps                    $58.76

                       TOTAL EXPENSES FOR THIS MATTER                                             $2,434.16


BILLING SUMMARY


         Beck, David A.                             55.30 hrs    230.00 /hr          $12,719.00


         Barthel, David J.                          13.10 hrs    210.00 /hr           $2,751.00


         Lipps, Jeffrey A.                          13.00 hrs    360.00 /hr           $4,680.00
    12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
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                                                         Invoice # 52559         Page 11



      Battle, Jennifer A.L.                   1.90 hrs   250.00 /hr        $475.00


      Samson, Robert B.                       1.80 hrs    75.00 /hr        $135.00



   TOTAL FEES                                85.10 hrs                $20,760.00

   TOTAL EXPENSES                                                      $2,434.16

   TOTAL CHARGES FOR THIS INVOICE                                     $23,194.16
       12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                              Monthly Invoices Pg 679 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                           January 02, 2013

                                                                    Billed through 11/30/2012
Tammy Hamzephour                                                    Invoice # 52560      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 932 00060
190-FTW-L95
Fort Washington, PA 19034

Re: ResCap Discovery Issues
Matter No.: 721750

PROFESSIONAL SERVICES

11/01/2012   JALB      Discussion with Mr. Blaschko and Ms. Shaw (both              L120        0.30 hrs
                       Residential Capital) regarding identification of
                       loans subject to plaintiffs' objection actively being
                       serviced.
11/01/2012   JALB      Communicate with Mr. Lipps regarding                         L120        0.40 hrs
                       preservation obligation questions raised by client.
                       (.20) Conference with Mr. Corcoran regarding
                       client's document preservation obligations. (.20)
11/01/2012   JRC       Review pleadings in Residential Capital residential          L210        1.40 hrs
                       mortgage backed securities cases in order to draft
                       chart relating to client's document preservation
                       obligations.
11/01/2012   JRC       Draft chart relating to client's document                    L210        0.40 hrs
                       preservation obligations.

11/01/2012   JRC       Conference with Ms. Battle regarding chart                   L320        0.20 hrs
                       relating to client's document preservation
                       obligations.
11/02/2012   DAB       Review FHFA letter to Judge Cote and Judge                   L120        0.20 hrs
                       Glenn on discovery.

11/02/2012   DAB       Communicate with Mr. Lipps and Ms. Battle                    L120        0.10 hrs
                       regarding FFHA letter.

11/02/2012   GNM       Researching in review databases to determine                 L320        0.70 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
  932 00060                 Monthly Invoices Pg 680 of 1163
                                                         Invoice # 52560         Page 2
                    volume estimate for continued productions to
                    Examiner and SEC.
11/02/2012   GNM    Drafting e-mail communication to Ms. Battle           L120     0.60 hrs
                    regarding research in review databases to
                    determine volume estimate for continued
                    productions to Examiner and SEC.
11/05/2012   GNM    Drafting e-mail communication to Ms. Battle           L120     0.40 hrs
                    regarding volume estimate for continued
                    productions to Examiner and SEC from the Kroll
                    database.
11/06/2012   JALB   Correspondence with Mr. Haims (Morrison &             L120     0.20 hrs
                    Foerster) responding to questions about
                    underwriting guidelines requested in FHFA
                    litigation.
11/06/2012   DAB    Research referenced prior order in FHFA briefing      L120     0.20 hrs
                    order.

11/06/2012   DAB    Analyze new briefing order in FHFA.                   L120     0.10 hrs


11/06/2012   DAB    Call with Mr. Ruckdaschel (Residential Capital),      L120     0.10 hrs
                    Mr. Rosenbaum and Ms. Beck (Morrison &
                    Foerster) regarding trustee request for loan files.
11/07/2012   JALB   E-mails with Ms. Marty and Ms. Sholl regarding        L120     0.20 hrs
                    status of available underwriting guidelines.

11/07/2012   JALB   Telephone conference with Ms. Sholl, Mr. Haims        L120     0.60 hrs
                    and Mr. Rothberg (both Morrison & Foerster)
                    regarding availability of underwriting guidelines.
11/08/2012   DAB    Analyze FHFA objection to motion to expedite          L120     0.10 hrs
                    hearing on motion to certify appeal to Second
                    Circuit.
11/08/2012   DAB    Communicate with Mr. Ramachandrappa (counsel          L120     0.20 hrs
                    to FHLB) regarding Judge Glenn's ruling on FHFA
                    discovery requests.
11/08/2012   DAB    Call counsel to Goldman regarding subpoena.           L120     0.10 hrs


11/08/2012   DAB    Communicate with Mr. Haims, Mr. Rosenbaum             L120     0.10 hrs
                    (Morrison & Foerster), Mr. Lipps and Ms. Battle
                    regarding Goldman subpoena.
11/08/2012   DAB    Communicate with Mr. Ramachandrappa (counsel          L120     0.20 hrs
                    to FHLB) regarding Judge Glenn's ruling on FHFA
                    discovery requests.
11/08/2012   DAB    Communicate with Mr. Brodsky (counsel to Dexia)       L120     0.10 hrs
                    regarding subpoenas to Debtors.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27       Exhibit E
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                                                         Invoice # 52560          Page 3


11/09/2012   JAL    Review objection of New Jersey Carpenters to sale      L120     1.30 hrs
                    order (.20). Review and respond to e-mails
                    regarding same (.10). Conference with Ms. Battle
                    regarding same (.10). Review proposed order
                    regarding retention of records (.20). Participate on
                    conference call to discuss document issues (.40).
                    Redraft proposed order (.20). Conference with Ms.
                    Battle regarding same (.10).
11/09/2012   JALB   Various telephone conferences with Mr. Rothberg        L120     0.40 hrs
                    (Morrison & Foerster), Mr. Goeke (Mayer Brown)
                    and Ms. Zellmann (Residential Capital) regarding
                    locating and producing seller files
11/09/2012   JALB   Review and respond to issues raised by Residential     L120     0.50 hrs
                    Capital (Ms. Hamzehpour, Mr. Thompson),
                    Morrison & Foerster (Mr. Englehardt) and Mr.
                    Beck regarding resolution of NJ Carpenters
                    document preservation request and sale
                    documentation.
11/09/2012   DAB    Communicate with Residential Capital and               L120     0.10 hrs
                    Morrison & Foerster team regarding New Jersey
                    Carpenters request for protective language on sale
                    and records access.
11/12/2012   JAL    Review and respond to various e-mails regarding        L120     0.50 hrs
                    document retention obligations in sale order (.20).
                    Redraft order language regarding same (.20).
                    Conference with Ms. Battle regarding same (.10).
11/14/2012   DAB    Draft letter to counsel to Goldman regarding           L120     0.80 hrs
                    automatic stay applicability to subpoenas to RFC
                    and homecomings.
11/14/2012   DAB    E-mail counsel to Goldman with letter regarding        L120     0.10 hrs
                    automatic stay applicability to subpoenas to RFC
                    and homecomings.
11/15/2012   JAL    Review and respond to various e-mails regarding        L120     0.50 hrs
                    document retention obligations in sale order (.20).
                    Redraft order language regarding same (.20).
                    Conference with Ms. Battle regarding same (.10).
11/16/2012   JAL    Review and redraft sale order provision related to     L120     0.30 hrs
                    document retention (.10). Review e-mails
                    regarding same (.10). Conference with Ms. Battle
                    regarding same (.10).
11/16/2012   JALB   Review revised document preservation language          L320     0.20 hrs
                    from sale agreement.

11/16/2012   JALB   Discuss with Mr. Lipps the revised document            L120     0.10 hrs
                    preservation language from sale agreement.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27       Exhibit E
  932 00060                 Monthly Invoices Pg 682 of 1163
                                                         Invoice # 52560          Page 4

11/16/2012   JALB   Send comments to Mr. Englehardt (Morrison &            L120     0.20 hrs
                    Foerster) regarding revised document preservation
                    language from sale agreement.
11/17/2012   JAL    Review proposed provision in sale order                L120     0.30 hrs
                    addressing retaining records (.10). Telephone
                    conference with Ms. Battle regarding same (.10).
                    Review and respond to e-mails regarding same
                    (.10).
11/18/2012   JAL    Review proposed revisions in sale order addressing     L120     0.30 hrs
                    retaining records (.10). Telephone conference with
                    Ms. Battle regarding same (.10). Review and
                    respond to e-mails regarding same (.10).
11/18/2012   JALB   Review and revise draft sale provision relating to     L120     0.30 hrs
                    preservation of books and records for Mr.
                    Engelhardt (Morrison & Foerster) and Ms.
                    Hamzehpour (Residential Capital).
11/19/2012   GNM    Drafting and sending e-mail communications to          L120     0.20 hrs
                    Ms. Zellman (Residential Capital) regarding
                    database invoices.
11/26/2012   VLS    Review recent production of loan files related to      L320     0.80 hrs
                    CMFG vs. RBS subpoena to determine number of
                    loan files produced.
11/26/2012   VLS    Receipt and review of e-mail from Mr. Beck             L320     0.20 hrs
                    regarding recent document production related to
                    CMFG vs. RBS subpoena.
11/26/2012   VLS    E-mail exchange with Ms. Wong at Profile               L320     0.40 hrs
                    Imaging regarding DII load file for recent
                    production related to CMFG vs. RBS subpoena.
11/26/2012   HLB    Meet with Ms. Marty and discussion on examiner         L300     1.00 hrs
                    protocol and background information on issues and
                    discovery.
11/27/2012   VLS    E-mail exchange with Ms. Wong at Profile               L320     0.30 hrs
                    Imaging regarding corrected DII load file for
                    recent document production related to CMFS vs.
                    RBS subpoena.
11/27/2012   VLS    E-mail to Mr Beck regarding corrected DII load         L320     0.30 hrs
                    file for recent document production related to
                    CMFS vs. RBS subpoena.
11/28/2012   DAB    Conference with Mr. Samson regarding bankruptcy        L120     0.10 hrs
                    pleadings needed.

11/28/2012   GNM    Updating the master custodian list to reflect wave 2   L320     0.30 hrs
                    custodian requests.

11/29/2012   DAB    Communicate with Ms. Zellman (Residential              L120     0.10 hrs
     12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27        Exhibit E
 932 00060                   Monthly Invoices Pg 683 of 1163
                                                          Invoice # 52560           Page 5
                      Capital) regarding update for Citi regarding FHFA
                      discovery dispute.


                      TOTAL FEES FOR THIS MATTER                                        $3,703.00


BILLING SUMMARY


       Beck, David A.                               2.70 hrs   230.00 /hr     $621.00


       Marty, Gretchen N.                           2.20 hrs   150.00 /hr     $330.00


       Buchanan, Heather L.                         1.00 hrs   240.00 /hr     $240.00


       Lipps, Jeffrey A.                            3.20 hrs   360.00 /hr   $1,152.00


       Battle, Jennifer A.L.                        3.40 hrs   250.00 /hr     $850.00


       Corcoran, Jeffrey R.                         2.00 hrs   180.00 /hr     $360.00


       Sholl, Veronica L.                           2.00 hrs    75.00 /hr     $150.00



    TOTAL FEES                                     16.50 hrs                $3,703.00

    TOTAL CHARGES FOR THIS INVOICE                                          $3,703.00
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                              Monthly Invoices Pg 684 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                           January 02, 2013

                                                                    Billed through 11/30/2012
Tammy Hamzephour                                                    Invoice # 52565      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 932 00064
190-FTW-L95
Fort Washington, PA 19034

Re: Examiner


PROFESSIONAL SERVICES

11/01/2012     AMP     Review e-mail from Ms. Battle regarding                      L120        0.30 hrs
                       additional Examiner interviewee requests.

11/01/2012     AMP     Review key officer memorandum and "who's who"                L320        1.20 hrs
                       key for privilege logs to provide additional
                       information on new interviewees.
11/01/2012     AMP     Multiple e-mail exchanges with Ms. Battle and Mr.            L120        0.40 hrs
                       Beck regarding key officer memorandum and
                       "who's who" key for privilege logs to provide
                       additional information on new interviewees.
11/01/2012     AMP     Telephone conference with Ms. Battle and Mr.                 L120        0.20 hrs
                       Beck regarding potential deponent Mr. Senick
                       (Residential Capital).
11/01/2012     AMP     Review prior deposition transcripts for references           L330        1.40 hrs
                       to Mr. Senick (Residential Capital) and/or his
                       department.
11/01/2012     AMP     Draft summary of Mr. Senick's (Residential                   L120        0.90 hrs
                       Capital) role and responsibilities for Ms. Battle and
                       Mr. Beck.
11/01/2012     AMP     Multiple e-mails regarding Mr. Senick's                      L120        0.70 hrs
                       (Residential Capital) role and responsibilities.

11/01/2012     AMP     Continue review of documents in Discovery                    L310        1.00 hrs
                       Partner for references to Mr. Senick (Residential
                       Capital).
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11/01/2012   AMP    Research regarding information on the RFG               L310     0.90 hrs
                    Valuation & Assumptions Working Group of
                    which Mr. Senick (Residential Capital) was a
                    member.
11/01/2012   AMP    Review e-mail provided to Morrison & Foerster           L120     0.20 hrs
                    regarding Mr. Senick (Residential Capital).

11/01/2012   AMP    Review documents and research role and                  L310     1.80 hrs
                    responsibilities of Mr. Senick (Residential Capital).

11/01/2012   JAL    Prepare for conference call to discuss examiner         L120     3.80 hrs
                    interview coverage and prepare for same (.20).
                    Participate on conference call with Mr. Illovsky,
                    Mr. Day (Morrison & Foerster) and Ms. Battle
                    regarding same (1.0). Conference with Ms. Battle
                    regarding interviewee outlines (.20). Draft e-mail
                    regarding Mr. Redmond's availability (.10).
                    Conference with Ms. Battle regarding same (.10).
                    Review materials regarding Ms. Applegate, Mr.
                    Biers, Mr. Redmond and Mr. Senick (.90). Review
                    and redraft outline for response to creditor
                    submissions (.40). Review creditors submission
                    further for outline (.40). Review e-mail from
                    examiner on additional witnesses (.10).
                    Conference with Ms. Battle regarding same (.10).
                    Conference with Mr. Beekhuizen and Ms. Battle
                    regarding response to creditor submissions (.30).
11/01/2012   VLS    Monitor review status of document review team.          L320     2.40 hrs


11/01/2012   VLS    Update document review status chart.                    L320     2.40 hrs


11/01/2012   VLS    Assignment of quality control review batches to         L320     0.40 hrs
                    quality control team members.

11/01/2012   VLS    Assignment of review batches to select document         L320     0.40 hrs
                    review team members.

11/01/2012   VLS    Update project status chart with additional             L320     1.70 hrs
                    custodian date to be reviewed.

11/01/2012   TKI    Review documents seeking responsiveness and             L120     0.90 hrs
                    privilege status for quality control purposes.

11/01/2012   JALB   Meet with Mr. Lipps regarding status of witness         L120     0.30 hrs
                    contact and scheduling for Examiner interviews
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11/01/2012   JALB   Correspondence with Mr. Beekhuizen regarding         L120     0.10 hrs
                    scheduling for interview of Mr. Paradis.

11/01/2012   JALB   Meet and confer call with Mr. Childs                 L120     1.20 hrs
                    (Chadbourne), Mr. Salerno and Mr. Brown
                    (Morrison & Foerster) regarding scope of ResCap
                    document production in response to UCC and
                    Examiner document requests.
11/01/2012   JALB   Follow-up discussion with Mr. Salerno and Mr.        L120     0.20 hrs
                    Brown (Morrison & Foerster) regarding responses
                    to follow-up requests from Chadbourne and next
                    steps.
11/01/2012   JALB   Review and respond to correspondence with Ms.        L120     0.20 hrs
                    Levitt and Mr. Salerno (Morrison & Foerster)
                    regarding time estimates to be communicated to
                    Chadbourne for completion of e-mail productions.
11/01/2012   JALB   Correspondence with Ms. Levitt, Mr. Illovsky, Mr.    L120     0.70 hrs
                    Day (all Morrison & Foerster), Ms. Whitfield, Mr.
                    Lipps and Mr. Beck regarding new list of 30+
                    Examiner-requested interviewees, positions, status
                    and potential representation. (.30) Conference
                    with Mr. Beck regarding same. (.40)
11/01/2012   JALB   Discussion with Mr. Corcoran regarding status of     L120     0.20 hrs
                    Examiner investigation and interplay with
                    discovery and 9019 issues.
11/01/2012   JALB   Provide witness background information to            L330     0.10 hrs
                    Morrison & Foerster Examiner witness preparation
                    team.
11/01/2012   JALB   Telephone conference with Mr. Illovsky and Mr.       L120     1.00 hrs
                    Day (Morrison & Foerster) and Mr. Lipps
                    regarding planning and scheduling for next round
                    of witness interviews by Examiner.
11/01/2012   JALB   Telephone conference with Mr. Redmond                L120     0.20 hrs
                    regarding interview scheduling.

11/01/2012   JALB   Follow-up discussions with Ms. Paul-Whitfield        L120     0.30 hrs
                    and Mr. Beck regarding second round of witnesses,
                    planning and scheduling.
11/01/2012   JALB   Telephone conference with Mr. Blaschko and Ms.       L120     0.50 hrs
                    Zellmann (both Residential Capital) and Mr.
                    Corcoran regarding research into investor holdings
                    for position paper damages response.
11/01/2012   JALB   Revise and circulated proposed draft outline for     L120     1.90 hrs
                    main omnibus position paper response.

11/01/2012   JALB   Correspondence with Mr. Illovsky, Mr. Day            L120     0.30 hrs
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                    (Morrison & Foerster), Mr. Lipps and Ms.
                    Whitfield regarding research on responsibilities of
                    Mr. Senick.
11/01/2012   JALB   Planning for staffing of quality control review        L120     0.20 hrs
                    team.

11/01/2012   DJB    Quality check and provide feedback to contract         L120     5.90 hrs
                    reviewers' first level responsiveness and privilege
                    coding of documents for custodian Young possible
                    privilege 001 (coded by Shinerr Parker) potentially
                    responsive to Examiner document requests.
11/01/2012   DJB    Quality check and provide feedback to contract         L120     5.30 hrs
                    reviewers' first level redaction and issue coding of
                    documents for custodian Young possible privilege
                    001 (coded by Shinerr Parker) potentially
                    responsive to Examiner document requests.
11/01/2012   MMM    Perform quality control review of Gess batch 12.       L120     3.60 hrs


11/01/2012   MMM    Perform quality control review of Lombardo batch       L120     3.50 hrs
                    2.

11/01/2012   DAB    Conference with Ms. Battle regarding examiner's        L120     0.40 hrs
                    second wave of interview requests.

11/01/2012   DAB    Communicate with Ms. Battle and Ms. Paul               L120     0.20 hrs
                    Whitfield regarding Mr. Senick's function within
                    company.
11/01/2012   DAB    Investigate background of additional witnesses         L330     0.80 hrs
                    named by examiner.

11/01/2012   DAB    Comment on outline for third party position paper      L120     0.70 hrs
                    response outline.

11/01/2012   JRC    Teleconference with Mr. Blaschko, Ms. Zellman,         L120     0.30 hrs
                    and Ms. Battle regarding examiner investigation
                    and interply with 9019 issues.
11/01/2012   JRC    E-mail exchange with Ms. Stilson (Dorsey &             L120     0.10 hrs
                    Whitney) regarding pleadings from Allstate v.
                    Ally.
11/01/2012   JRC    Review and analyze pleadings from Allstate v.          L210     0.20 hrs
                    Ally in order to respond to position papers
                    regarding Ally releases submitted to the
                    bankruptcy examiner by Allstate.
11/01/2012   JRC    E-mail exchanges with first-level document             L320     0.20 hrs
                    reviewers regarding the protocol for review of
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                    documents requested by the bankruptcy examiner.
11/01/2012   JRC    Review and analyze documents identified by            L320     0.30 hrs
                    first-level reviewers in order to provide
                    instructions on correct coding under bankruptcy
                    examiner document review protocol.
11/01/2012   JRC    Conference with Ms. Battle regarding position         L120     0.10 hrs
                    papers relating to Ally releases submitted to the
                    bankruptcy examiner.
11/01/2012   JRC    Review and analyze pleadings from Mass Mutual         L210     0.30 hrs
                    v. RFC in order to respond to position papers
                    regarding Ally releases submitted to the
                    bankruptcy examiner by Mass Mutual.
11/01/2012   JDR    Draft quality control feedback for batch Gess 010,    L320     0.30 hrs
                    focusing on issues for re-review.

11/01/2012   JDR    Quality control review of documents as outlined in    L320     2.30 hrs
                    quality control protocol and produced in response
                    to examiner requests, batch Gess 010, initial
                    review by Sandavol.
11/01/2012   JDR    Quality control review of documents as outlined in    L320     0.50 hrs
                    quality control protocol and produced in response
                    to examiner requests, batch Gess 011, initial
                    review by Demrem.
11/01/2012   SP     Analyze previously designated documents to be         L320     8.20 hrs
                    produced to the bankruptcy examiner relating to
                    Mr. Young in Discovery Partner for privilege and
                    confidentiality designation.
11/01/2012   GNM    Working in Discovery Partner database answering       L320     4.10 hrs
                    reviewers questions regarding privilege and
                    responsiveness designations.
11/01/2012   GNM    Editing production effort memorandum drafted by       L320     1.10 hrs
                    Mr. Brown (Morrison & Foerster).

11/01/2012   GNM    Researching previously restored custodian data        L320     0.60 hrs
                    against list of newly requested interview list from
                    Examiner.
11/01/2012   GNM    E-mail communications with Ms. Mohler                 L120     0.20 hrs
                    regarding privilege determinations.

11/01/2012   GNM    E-mail communications with Mr. Rhode regarding        L120     0.30 hrs
                    redactions.

11/01/2012   AJM    Quality control review of documents to be             L120     1.70 hrs
                    produced in response to examiner requests, batch
                    Lombardo possibly privileged 8, initial review by
                    Ms. Salahuddin.
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11/01/2012   AJM    Quality control review of documents to be              L320     2.70 hrs
                    produced in response to examiner requests, batch
                    Lombardo possibly privileged 3, initial review by
                    Ms. Walker.
11/01/2012   SCM    Quality control review of Lombardo 004                 L320     2.30 hrs
                    documents.

11/02/2012   AMP    Attention to privilege log issues.                     L320     0.90 hrs


11/02/2012   AMP    E-mail exchanges with Ms. Battle and Mr. Sechler       L320     0.30 hrs
                    regarding Mr. Senick's preparation materials.

11/02/2012   AMP    Multiple e-mail exchanges with Ms. Battle              L320     0.60 hrs
                    regarding privilege log productions on a rolling
                    basis to Examiner for productions made thus far.
                    (.40) Conference with Ms. Battle and Ms.
                    Paul-Whitfield regarding same. (.20)
11/02/2012   JAL    Conferences with Ms. Battle regarding interviewee      L120     7.30 hrs
                    availability (.30). Review and respond to e-mails
                    regarding same (.10). Review and finalize
                    circulation draft of outline for responses to credit
                    submissions (3.0). Review Mr. Senick's
                    documents (2.7). Review e-mails regarding same
                    (.20). Communicate with Ms. Battle regarding
                    location of additional interviewees (.20). Review
                    e-mails regarding same (.10). Review e-mails
                    regarding examiner interview schedule and
                    coverage (.20). Review and respond to e-mails
                    addressing use of confidential materials from
                    MBIA litigation (.20). Review e-mail regarding
                    Mr. Senick's prep materials (.10). Conference with
                    Ms. Battle regarding same (.10). Telephone
                    conference with Mr. Illovsky of Morrison &
                    Foerster regarding upcoming examiner interviews
                    (.10).
11/02/2012   VLS    Monitor review status of document review team          L320     2.10 hrs
                    consisting of 70 first level document reviewers.

11/02/2012   VLS    Monitor review status of quality control review        L320     2.10 hrs
                    team.

11/02/2012   VLS    Assignment of document review batches.                 L320     0.10 hrs


11/02/2012   VLS    Assignment of quality control review batches.          L320     0.10 hrs
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11/02/2012   VLS    Update document review progress chart.               L320     0.40 hrs


11/02/2012   VLS    E-mail exchange with Mr. Bennett in IT               L320     0.20 hrs
                    department regarding removal of select document
                    reviewers for project's group e-mail list.
11/02/2012   TKI    Review e-mail documents for quality control          L120     1.30 hrs
                    purposes.

11/02/2012   JALB   Discussion with Mr. Lipps regarding coordination     L120     0.50 hrs
                    of Examiner interviews. (.30) Follow-up on same.
                    (.20)
11/02/2012   JALB   Communicate with Mr. Beck, and Ms. Levitt and        L120     0.10 hrs
                    Mr. Newton (both Morrison & Foerster) regarding
                    status of investors' PSA.
11/02/2012   JALB   Correspondence with Mr. Lipps regarding status of    L120     0.20 hrs
                    draft position paper response outlines.

11/02/2012   JALB   Review, revise and consolidate research from Ms.     L120     0.40 hrs
                    Whitfield and Mr. Beck into e-mail memorandum
                    to Ms. Levitt (Morrison & Foerster) regarding
                    roles and responsibilities of new Examiner
                    witnesses requested by Chadbourne.
11/02/2012   JALB   Revise position paper draft outlines per comments    L120     1.80 hrs
                    from Mr. Lipps and Mr. Beck.

11/02/2012   JALB   Circulate draft outline to Examiner position paper   L120     0.10 hrs
                    team.

11/02/2012   JALB   Begin preparation of witness preparation outline     L330     0.50 hrs
                    for Mr. Redmond.

11/02/2012   JALB   At request of Mr. Brown (Morrison & Foerster),       L320     0.30 hrs
                    review and edit talking points memorandum on
                    status of discovery in anticipation of upcoming
                    Examiner conference.
11/02/2012   JALB   Telephone conference with Mr. Applegate (former      L120     0.50 hrs
                    Residential Capital) regarding scheduling of
                    Examiner interview.
11/02/2012   JALB   Correspondence with Mr. Lipps regarding              L120     0.10 hrs
                    scheduling of Examiner interview.

11/02/2012   JALB   Review and annotate proposed witness interview       L330     0.10 hrs
                    calendar.

11/02/2012   JALB   Communicate with Mr. Lipps regarding plan for        L120     0.30 hrs
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                    witness preparation outlines for new Examiner
                    witnesses.
11/02/2012   JALB   Communicate with Mr. Beck and Ms. Whitfield            L120     0.30 hrs
                    regarding research and fact investigation needed to
                    prepare for upcoming Examiner interviews of Mr.
                    Senick, Mr. Redmond and Mr. Applegate.
11/02/2012   JALB   Discussion with Ms. Whitfield and Ms. Marty            L120     0.20 hrs
                    regarding status and timing for generating privilege
                    logs for Examiner productions.
11/02/2012   JALB   Follow-up discussion with Mr. Corcoran regarding       L120     0.20 hrs
                    research into investor holdings for damages
                    analysis.
11/02/2012   JALB   Prepare memorandum to file regarding initial call      L120     1.70 hrs
                    with Mr. Applegate.

11/02/2012   JALB   Follow-up correspondence with Mr. Illovsky             L120     0.20 hrs
                    (Morrison & Foerster) and Mr. Lipps regarding
                    witness outreach.
11/02/2012   JALB   Follow-up with Mr. Applegate regarding witness         L120     0.20 hrs
                    outreach.

11/02/2012   JALB   E-mail memorandum to Mr. Sechler regarding             L120     0.20 hrs
                    document analysis for witness preparation of Mr.
                    Senick.
11/02/2012   JALB   Discussion with Mr. Corcoran regarding Mr.             L120     0.30 hrs
                    Applegate and Mr. Redmond's preparation.

11/02/2012   MMM    Continue quality control of Lombardo batch 2.          L120     6.10 hrs


11/02/2012   MMM    Perform quality control review of Lombardo batch       L120     3.00 hrs
                    4.

11/02/2012   DAB    Call with Ms. Battle regarding issues on third party   L120     0.10 hrs
                    position paper response outline.

11/02/2012   DAB    Revise third party position paper response outline.    L120     0.10 hrs


11/02/2012   DAB    Communicate with Ms. Levitt and Mr. Newton of          L120     0.20 hrs
                    Morrison & Foerster regarding Kathy Patrick and
                    Talcott Franklin plan support agreements.
11/02/2012   DAB    Communicate with Ms. Battle regarding previous         L120     0.20 hrs
                    work product on role of Mr. Redmond at the
                    company.
11/02/2012   DAB    E-mail Ms. Battle regarding preparations for           L120     0.20 hrs
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                    examiner interview of Mr. Senick.

11/02/2012   DAB    Communicate with Mr. Day of Morrison &                 L120     0.10 hrs
                    Foerster regarding signatories on certifications on
                    securities filings.
11/02/2012   JRC    Review and analyze pleadings from Allstate v.          L210     0.30 hrs
                    Ally in order to respond to position papers
                    regarding Ally releases submitted to the
                    bankruptcy examiner by Allstate.
11/02/2012   JRC    Review and analyze pleadings from Mass Mutual          L210     0.30 hrs
                    v. RFC in order to respond to position papers
                    regarding Ally releases submitted to the
                    bankruptcy examiner by Mass Mutual.
11/02/2012   JRC    E-mail exchanges with first-level document             L320     0.20 hrs
                    reviewers regarding the protocol for review of
                    documents requested by the bankruptcy examiner.
11/02/2012   JRC    Review and analyze documents identified by             L320     0.20 hrs
                    first-level reviewers in order to provide
                    instructions on correct coding under bankruptcy
                    examiner document review protocol.
11/02/2012   JRC    Conference with Ms. Battle regarding interview         L120     0.10 hrs
                    preparation materials for Mr. Applegate and Mr.
                    Redmond.
11/02/2012   JRC    Review and analyze deposition preparation              L320     0.80 hrs
                    materials of Mr. Redmond from MBIA v. RFC in
                    order to locate preparation materials for Mr.
                    Redmond's interview with the bankruptcy
                    examiner.
11/02/2012   JRC    Review and analyze documents in Discovery              L320     0.60 hrs
                    Partner in order to locate preparation materials for
                    Mr. Redmond's interview with the bankruptcy
                    examiner.
11/02/2012   JDR    Draft correspondence to Ms. Marty regarding            L120     0.10 hrs
                    issues for re-review of batch Gess 011.

11/02/2012   JDR    Quality control review of documents as outlined in     L320     1.20 hrs
                    quality control protocol and produced in response
                    to examiner requests, batch Gess 011, initial
                    review by Demrem.
11/02/2012   SP     Analyze previously designated documents to be          L320     7.10 hrs
                    produced to the bankruptcy examiner relating to
                    Mr. Young in Discovery Partner for privilege and
                    confidentiality designation.
11/02/2012   GNM    Telephone communications with Ms. Klun (Lumen          L120     0.20 hrs
                    Legal) regarding staffing levels for Examiner
                    review.
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11/02/2012   GNM    Performing quality control checks on EXAM           L320     1.80 hrs
                    114/115 productions.

11/02/2012   GNM    Drafting and sending e-mail communications to       L120     0.30 hrs
                    Mr. Brown (Morrison & Foerster) regarding
                    release of EXAM114/115 productions.
11/02/2012   GNM    Working in Discovery Partner database answering     L320     1.00 hrs
                    reviewers questions regarding privilege and
                    responsiveness designations. (.80) Conference
                    with Ms. Battle and Ms. Paul-Whitfield regarding
                    privilege logs. (.20)
11/02/2012   AJM    Quality control review of documents to be           L320     4.30 hrs
                    produced in response to examiner requests, batch
                    Lombardo possibly privileged 3, initial review by
                    Ms. Walker.
11/02/2012   SCM    Quality control review of Lombardo 004              L320     0.90 hrs
                    documents.

11/03/2012   JES    Review e-mails from Ms. Battle and Ms.              L120     1.00 hrs
                    Paul-Whitfield regarding Senick and Cancielliere
                    search. (.40) Prepare to conduct searches. (.60)
11/03/2012   JRC    E-mail exchanges with document reviewers            L320     0.20 hrs
                    regarding correct coding of documents under the
                    review protocol.
11/03/2012   JRC    Review and analyze documents in RMBS litigation     L320     1.60 hrs
                    databases in order to prepare examiner interview
                    preparation materials for Mr. Redmond.
11/03/2012   SCM    Quality control review of Lombardo 004              L320     3.10 hrs
                    documents.

11/04/2012   JAL    Prepare for conference call regarding use of MBIA   L120     0.80 hrs
                    expert reports (.10). Review and respond to
                    e-mails regarding same (.20). Participate on
                    conference call with Ms. Levitt (Morrison &
                    Foerster) and examiner regarding same (.30).
                    Review e-mail from examiner regarding follow-up
                    call on use of confidential materials from MBIA
                    litigation (.20).
11/04/2012   VLS    Assignment of document review batches.              L320     0.40 hrs


11/04/2012   VLS    Update document review status chart.                L320     0.30 hrs


11/04/2012   MMM    Continue quality control review of Lombardo         L120     2.60 hrs
                    batch 4.
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11/04/2012   JRC    Review and analyze documents in RMBS litigation        L320     5.70 hrs
                    databases in order to prepare examiner interview
                    preparation materials for Mr. Redmond.
11/04/2012   JRC    Review and analyze documents in Discovery              L320     0.30 hrs
                    Partner identified by first-level reviewers in order
                    to provide advice on how to code the documents
                    correctly.
11/04/2012   JRC    Draft e-mails to first-level reviewers regarding       L320     0.20 hrs
                    how to correctly code documents under the
                    examiner review protocol.
11/04/2012   GNM    Working in Discovery Partner database performing       L320     1.80 hrs
                    second level review on Hamzehpour data as
                    outlined in the Quality Control Protocol.
11/05/2012   JAL    Review and redraft outline of response to creditor     L120     2.00 hrs
                    submissions (.90). Review and respond to e-mails
                    regarding same (.10). Review additional interview
                    list from examiner (.10). Analyze same to
                    determine role at company and prepare responsible
                    party (.20). Review various follow-on e-mails
                    regarding same (.10). Participate on conference
                    call to discuss use of MBIA experts (.40).
                    Telephone conference with Ms. Battle regarding
                    same (.10). Review and respond to e-mails
                    regarding same (.10).
11/05/2012   MNB    Conference call with Mr. Paradis regarding             L120     0.20 hrs
                    examiner's request for interview.

11/05/2012   VLS    Monitor review status of expanded document             L320     0.70 hrs
                    review and quality control teams.

11/05/2012   VLS    Assignment of document review batches.                 L320     3.40 hrs


11/05/2012   VLS    Assignment of quality control review batches.          L320     0.80 hrs


11/05/2012   VLS    Update document review progress chart.                 L320     2.20 hrs


11/05/2012   VLS    Obtain and review time cards for document review       L320     0.60 hrs
                    team members.

11/05/2012   JES    Conduct document review to assist in drafting of       L120    10.00 hrs
                    Senick deposition preparation outline. (9.80)
                    Conference with Ms. Battle regarding same. (.20)
11/05/2012   JALB   Discussion with Mr. Lipps in preparation for call      L120     0.20 hrs
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                    with MBIA's counsel and Examiner on
                    confidentiality issues.
11/05/2012   JALB   Review materials in preparation for call on         L320     0.20 hrs
                    confidentiality issues.

11/05/2012   JALB   Follow-up correspondence with Mr. Hoff (counsel     L120     0.20 hrs
                    to MBIA) regarding confidential designation of
                    materials submitted with position paper.
11/05/2012   JALB   Participate in call with MBIA and Examiner          L120     0.30 hrs
                    regarding confidentiality issues.

11/05/2012   JALB   Follow-up correspondence with Chadbourne and        L120     0.10 hrs
                    Cadwalader attorneys regarding confidentiality
                    issues.
11/05/2012   JALB   Telephone conference with Mr. Paradis (former       L120     0.30 hrs
                    Residential Capital) and Mr. Beekhuizen regarding
                    Examiner interview scheduling.
11/05/2012   JALB   Review Mr. Senick's materials and follow-up with    L330     0.20 hrs
                    Mr. Sechler regarding same.

11/05/2012   JALB   Continue organizing materials for Mr. Redmond's     L330     0.30 hrs
                    preparation outline.

11/05/2012   JALB   Review prior Mr. Redmond's deposition materials     L330     0.90 hrs
                    and prepare outline for witness interview.

11/05/2012   DAB    Research history of residential capital reserve     L330     4.40 hrs
                    issues for examiner witness preparations.

11/05/2012   JRC    Review and analyze documents in RMBS litigation     L320     2.30 hrs
                    databases in order to prepare examiner interview
                    preparation materials for Mr. Redmond.
11/05/2012   JRC    Draft summaries of key documents in Mr.             L320     0.70 hrs
                    Redmond's examiner interview preparation
                    materials.
11/05/2012   SP     Analyze previously designated documents to be       L320     2.40 hrs
                    produced to the bankruptcy examiner relating to
                    Mr. Whitlinger in Discovery Partner for privilege
                    and confidentiality designation.
11/05/2012   SP     Provide feedback and suggest areas for              L120     0.30 hrs
                    improvement to first level reviewers.

11/05/2012   GNM    Working in Discovery Partner database researching   L320     2.40 hrs
                    role of outside firms for purposes of privilege
                    designations.
11/05/2012   GNM    Updating decision log for distribution to review    L320     3.60 hrs
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                    team, as outlined in the Quality Control Protocol.

11/05/2012   GNM    Telephone communications with Ms.Gulley (DTI)          L120     0.30 hrs
                    regarding privilege log format.

11/05/2012   GNM    Working in Discovery Partner database answering        L320     3.20 hrs
                    reviewers' questions regarding privilege and
                    responsiveness designations.
11/05/2012   SCM    Review Whitlinger PP4 documents.                       L320     0.40 hrs


11/05/2012   SCM    Review Lombardo RO 4 documents.                        L320     1.10 hrs


11/06/2012   AMP    Attention to privilege log issues for production set   L320     0.60 hrs
                    1.

11/06/2012   AMP    Attention to creating combined privilege log for       L320     0.40 hrs
                    production set 1.

11/06/2012   AMP    Attention to creating combined privilege log for       L320     0.40 hrs
                    production set 2.

11/06/2012   AMP    Attention to developing and creating privilege log     L320     0.30 hrs
                    report.

11/06/2012   AMP    Multiple e-mails with vendor regarding report          L120     0.20 hrs
                    information and formatting needed for draft
                    privilege log.
11/06/2012   JAL    Conference call with Ms. Battle, Mr. Beck, Mr.         L120     3.80 hrs
                    Illovsky and Mr Day of Morrison Foerster to
                    schedule examiner interviews and related preps
                    (.70). Conference with Ms. Battle regarding same
                    (.10). Review and respond to e-mails regarding
                    use of MBIA expert reports (.40). Conference with
                    Ms. Battle regarding same (.10). Review reports
                    (.20). Review e-mails regarding verbiage for use
                    of confidential materials (.10). Review and redraft
                    response to creditor submissions and third-party
                    claims (1.5). Meet with Ms. Battle and Mr. Beck
                    regarding rep and warranty reserves and related
                    disclosures. (.60)
11/06/2012   MNB    Review materials supporting response to                L120     0.80 hrs
                    third-party claimant submission papers to
                    bankruptcy examiner.
11/06/2012   MNB    Draft response to third-party submission papers to     L250     0.30 hrs
                    bankruptcy examiner.
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11/06/2012   VLS    Monitor review status of expanded document           L320     1.30 hrs
                    review and quality control teams.

11/06/2012   VLS    Assignment of quality control review batches.        L320     0.80 hrs


11/06/2012   VLS    Update document review progress chart.               L320     1.00 hrs


11/06/2012   VLS    Update production tracking spreadsheet with new      L320     1.50 hrs
                    custodian data.

11/06/2012   VLS    E-mail exchange with document reviewer Ms.           L320     0.30 hrs
                    Scutt regarding time card issue.

11/06/2012   VLS    E-mail exchange with Ms. Frantt at Lumen             L320     0.30 hrs
                    regarding time card issues.

11/06/2012   VLS    Assignment of document review batches. (2.90)        L320     3.20 hrs
                    Communicate with Mr. Philips regarding same.
                    (.30)
11/06/2012   JES    Review additional documents related to Mr. Senick    L120     5.00 hrs
                    and MSR/loss reserves issues.

11/06/2012   JALB   Review deposition transcript for Mr. Redmond and     L330     0.40 hrs
                    preparation materials for same, and incorporate
                    into current outline.
11/06/2012   JALB   Coordination call with Mr. Illovsky, Mr. Day (both   L120     0.70 hrs
                    Morrison & Foerster), Mr. Lipps and Mr. Beck
                    regarding upcoming interviews.
11/06/2012   JALB   Meet with Mr. Lipps and Mr. Beck regarding key       L120     0.80 hrs
                    documents and timelines relating to representation
                    and warranty reserves and disclosures. (.60) Meet
                    with Mr. Beck regarding same. (.20)
11/06/2012   JALB   Correspondence with Mr. Corcoran regarding           L120     0.20 hrs
                    follow-up documents needed for Mr. Redmond's
                    outline.
11/06/2012   JALB   Work on key issues and themes for Mr. Redmond's      L330     2.10 hrs
                    preparation outline.

11/06/2012   JALB   Meet with Ms. Marty and Mr. Corcoran regarding       L120     0.30 hrs
                    upcoming potential custodians and status of
                    document production to Examiner.
11/06/2012   MMM    Perform quality control review of Young possible     L120     1.80 hrs
                    privilege batch 11.
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11/06/2012   MMM    Perform quality control of Young possible             L120     0.90 hrs
                    privilege batch 4.

11/06/2012   MMM    Perform quality control review of Lombardo batch      L120     5.60 hrs
                    14.

11/06/2012   DAB    Communicate with Mr. Bergleson and Mr. Day            L120     0.20 hrs
                    (Morrison & Foerster) regarding access to
                    additional materials in data rooms.
11/06/2012   DAB    Update calendar of pending examiner interview         L330     0.10 hrs
                    deadlines.

11/06/2012   DAB    Research documents relating to Mr. Senick for         L330     3.10 hrs
                    examiner interview preparation.

11/06/2012   DAB    Conference with Ms. Battle on additional materials    L120     0.20 hrs
                    on reserves and for Mr. Senick's interview
                    preparation.
11/06/2012   DAB    Call with Mr. Ilovsky, Mr. Day (Morrison &            L120     0.70 hrs
                    Forester), Mr. Lipps and Ms. Battle regarding
                    preparations for examiner interviews of Mr. Senick
                    and Mr. Redmond and other second round witness
                    interviews.
11/06/2012   DAB    Conference with Mr. Lipps and Ms. Battle              L120     0.60 hrs
                    regarding history of loan repurchase reserves and
                    disclosures at Residential Capital.
11/06/2012   DAB    Research regarding presentations to audit             L120     0.90 hrs
                    committee on RMBS liability.

11/06/2012   DAB    Research history of ratings changes at Residential    L120     0.20 hrs
                    Capital.

11/06/2012   JRC    Review and analyze documents identified by            L320     0.20 hrs
                    first-level reviewers in Discovery Partner in order
                    to provide advice on how to correctly code the
                    documents under the examiner review protocol.
11/06/2012   JRC    Draft e-mails to first-level reviewers providing      L320     0.20 hrs
                    advice on how to correctly code documents under
                    examiner review protocol.
11/06/2012   JRC    Conference with Ms. Marty and Ms. Battle              L320     0.30 hrs
                    regarding status of document production to the
                    bankruptcy examiner.
11/06/2012   JRC    Review and analyze documents in RMBS litigation       L320     1.40 hrs
                    databases in order to prepare examiner interview
                    materials for Mr. Redmond.
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11/06/2012   SP     Analyze previously designated documents to be        L320     4.90 hrs
                    produced to the bankruptcy examiner relating to
                    Mr. Young in Discovery Partner for privilege and
                    confidentiality designation.
11/06/2012   SP     Communicate with first level reviewer regarding      L120     0.30 hrs
                    issues with analysis and areas for improvement.

11/06/2012   SP     Confer with Ms. Sholl regarding status of review     L120     0.30 hrs
                    projects.

11/06/2012   GNM    Working in Discovery Partner database answering      L320     1.90 hrs
                    reviewers questions regarding privilege and
                    responsiveness designations.
11/06/2012   GNM    Working in Discovery Partner database performing     L320     2.10 hrs
                    second level review on Hamzehpour data as
                    outlined in the Quality Control Protocol.
11/06/2012   GNM    Working in Discovery Partner database performing     L320     0.40 hrs
                    quality control checks on data to be released for
                    production.
11/06/2012   GNM    Updating decision log for distribution to review     L320     1.20 hrs
                    team, as outlined in the Quality Control Protocol.

11/06/2012   GNM    Drafting and sending e-mail communications to        L120     0.20 hrs
                    review team regarding updated decision log.

11/06/2012   GNM    Telephone communications with Ms. Whitfield          L120     0.20 hrs
                    regarding privilege log.

11/06/2012   GNM    Telephone communications with Ms. Gulley (DTI)       L120     0.20 hrs
                    regarding privilege terms for new data in Examiner
                    review.
11/06/2012   GNM    Quality control training meeting.                    L320     1.10 hrs


11/06/2012   GNM    Telephone communications with Ms. Wafalosky          L120     0.20 hrs
                    (Robert Half Legal) regarding staffing levels for
                    Examiner project.
11/06/2012   SCM    Quality control review of Whitlinger PP4             L320     0.70 hrs
                    documents.

11/07/2012   JAL    Review and respond to e-mails regarding coverage     L120     2.00 hrs
                    for additional interviewees (.20). Conference with
                    Ms. Battle regarding same (.10). Review and
                    respond to e-mails regarding Ms. Dondzila's
                    interview, part 2 (.10). Review Wilmington Trust
                    submission regarding third-party claims (.70).
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                    Conference with Mr. Beck and Ms. Battle
                    regarding same (.10). Review and respond to to
                    e-mails regarding same (.10). Review and respond
                    to e-mails regarding scheduling additional
                    interviewees for interviews (.20). E-mails with
                    Ms. Battle, Mr. Beck and Mr. Illovsky (Morrison
                    & Foerster) to discuss interview outlines, response
                    to creditor submissions and new list of
                    interviewees (.50).
11/07/2012   MNB    Draft response to third-party submission papers.      L250     5.00 hrs
                    (4.20) Conference with Mr. Beck regarding
                    submission by Kathy Patrick's noteholder group to
                    Examiner. (.30)
11/07/2012   VLS    Monitor review status of expanded review and          L320     1.60 hrs
                    quality control teams.

11/07/2012   VLS    Assignment of document review batches.                L320     4.40 hrs


11/07/2012   VLS    Assignment of quality control review batches.         L320     1.40 hrs


11/07/2012   VLS    Update document review progress chart.                L320     1.60 hrs


11/07/2012   VLS    E-mail exchange with Mr. Bennett regarding            L320     0.30 hrs
                    removal of document review team members for
                    e-mail group.
11/07/2012   VLS    E-mail exchange with Ms. Gulley (DTI) regarding       L320     0.30 hrs
                    deactivation of document reviewers who are
                    leaving the project.
11/07/2012   TKI    Review e-mail documents for quality control           L120     1.20 hrs
                    purposes.

11/07/2012   JALB   Attention to quality control staffing requirements.   L320     0.30 hrs


11/07/2012   JALB   Telephone conference with Mr. Bier (former            L120     0.40 hrs
                    Residential Capital).

11/07/2012   JALB   E-mail memorandum to Mr. Lipps regarding              L120     0.20 hrs
                    background on S-3 shelf registration statements.

11/07/2012   JALB   Correspondence with Mr. Lipps and Mr. Illovsky        L120     0.10 hrs
                    (Morrison & Foerster) regarding background on
                    S-3 shelf registration statements.
11/07/2012   JALB   Telephone conferences with Mr. Brown and Mr.          L120     1.40 hrs
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                    Salerno (both Morrison & Foerster) regarding
                    follow-up items for Examiner document requests.
11/07/2012   JALB   Discussion with Ms. Marty regarding pace of           L120     0.30 hrs
                    quality control review.

11/07/2012   JALB   Correspondence to Mr. Salerno (Morrison &             L120     0.30 hrs
                    Foerster) regarding pace of quality control review.

11/07/2012   JALB   Review witness interview tracking chart and           L330     0.50 hrs
                    correspond with Mr. Illovsky, Ms. Levitt, Mr. Day
                    (all Morrison & Foerster), Ms. Zellmann
                    (Residential Capital) and Mr. Lipps regarding
                    outreach to current and former employee
                    witnesses.
11/07/2012   JALB   Review correspondence from Mr. Rains (Morrison        L120     0.10 hrs
                    & Foerster) regarding Examiner status conference.

11/07/2012   JALB   Follow-up e-mails to selected Carpenter Lipps &       L120     0.20 hrs
                    Leland quality control staff regarding pace and
                    timing.
11/07/2012   JALB   Review of key documents and transcript and            L330     2.20 hrs
                    incorporation into Mr. Redmond's cover
                    memorandum and outline for interview
                    preparation.
11/07/2012   JALB   Continued work on Mr. Redmond's outline of key        L330     1.90 hrs
                    themes and topics.

11/07/2012   JALB   Review and respond to e-mails with Morrison &         L120     0.30 hrs
                    Foerster Examiner and 9019 teams regarding
                    production of 9019 data room materials to
                    Examiner.
11/07/2012   DJB    Research current employers and internet               L120     1.10 hrs
                    communications about Greg Schultz, Craig
                    Chapman, Lisa Gess, William Casey, and Josh
                    Weintraub in preparation for Examiner interviews.
11/07/2012   MMM    Continue quality control review of Lombardo           L120     2.70 hrs
                    batch 14.

11/07/2012   MMM    Conference with Ms. Marty regarding Young             L120     0.40 hrs
                    possible privilege batch 12 and issues for
                    re-review.
11/07/2012   MMM    Continue quality control review of Young possible     L120     1.20 hrs
                    privilege batch 12 documents coded as privileged.

11/07/2012   MMM    Perform quality control review of Lombardo batch      L120     3.80 hrs
                    13.
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11/07/2012   DAB    Research materials in production databases            L320     3.40 hrs
                    concerning reserves.

11/07/2012   DAB    Draft memorandum regarding reserve process.           L120     3.30 hrs


11/07/2012   DAB    Research history of ratings downgrades at             L120     0.30 hrs
                    Residential Capital.

11/07/2012   DAB    Communicate with Mr. Serrano and Mr. Day              L120     0.10 hrs
                    (Morrison & Foerster) regarding research needed
                    in Ally production on reserves.
11/07/2012   DAB    Conference with Mr. Beekhuizen regarding Kathy        L120     0.20 hrs
                    Patrick noteholder's group support of plan and
                    response to position paper on third party claims.
11/07/2012   DAB    Communicate with Mr. Lipps and Ms. Battle             L120     0.10 hrs
                    regarding senior unsecured notes strategy in case
                    and likely arguments in position paper.
11/07/2012   DAB    Conference with Ms. Marty regarding status of         L120     0.20 hrs
                    production on various witnesses on examiner
                    interview lists.
11/07/2012   JRC    Review and analyze documents identified by            L320     0.20 hrs
                    first-level reviewers in Discovery Partner in order
                    to provide advice on how to properly code those
                    e-mails under the examiner review protocol.
11/07/2012   JRC    Draft e-mails to first-level reviewers providing      L320     0.20 hrs
                    advice on how to code documents under the
                    examiner review protocol.
11/07/2012   SP     Analyze previously designated documents to be         L320     0.50 hrs
                    produced to the bankruptcy examiner relating to
                    Mr. Lombardo in Discovery Partner for privilege
                    and confidentiality designation.
11/07/2012   GNM    Working in Discovery Partner database answering       L320     4.30 hrs
                    reviewers questions regarding privilege and
                    responsiveness designations.
11/07/2012   GNM    Working in Discovery Partner database performing      L320     1.30 hrs
                    second level review on Hamzehpour data as
                    outlined in the Quality Control Protocol.
11/07/2012   GNM    Drafting and sending e-mail communications to         L120     0.30 hrs
                    Ms. Gulley (DTI) to release documents for
                    production.
11/07/2012   GNM    Telephone communications with Mr. Barthel             L120     0.10 hrs
                    regarding Examiner review.

11/07/2012   GNM    Telephone communications with Mr. Corcoran            L120     0.10 hrs
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                    regarding Examiner review.

11/07/2012   GNM    Telephone communications with Ms. Mohler              L120     0.40 hrs
                    regarding Examiner review.

11/07/2012   GNM    Telephone communications with Ms. Sholl               L120     0.20 hrs
                    regarding Examiner review.

11/07/2012   GNM    Telephone communications with Mr. Rhode               L120     0.20 hrs
                    regarding Examiner review.

11/07/2012   GNM    Meeting with Ms. Battle regarding status of quality   L120     0.20 hrs
                    control review.

11/07/2012   GNM    Telephone communications with Ms. Gulley (DTI)        L120     0.40 hrs
                    regarding privilege terms for new data in Examiner
                    review.
11/07/2012   GNM    Drafting and sending e-mail communications to         L120     0.30 hrs
                    Mr. Kitano (Morrison & Foerster) regarding the
                    Quality Control Protocol.
11/07/2012   GNM    Telephone communications with Mr. Kumar               L120     0.40 hrs
                    (Morrison & Foerster) regarding Quality Control
                    Protocol.
11/07/2012   AJM    Quality control review of documents withheld          L320     1.40 hrs
                    partially or entirely in response to examiner
                    document requests, first set of documents produced
                    to examiner.
11/07/2012   AJM    Draft privilege log for first set of documents        L320     1.80 hrs
                    produced in response to examiner document
                    requests.
11/07/2012   SCM    Quality control review of Whitlinger PP 4             L320     4.80 hrs
                    documents.

11/08/2012   AMP    Attention to issues regarding supplemental            L320     1.10 hrs
                    production documents.

11/08/2012   AMP    Multiple e-mails with Mr. Molnar and Ms. Marty        L320     0.30 hrs
                    regarding supplemental production documents.

11/08/2012   AMP    Multiple e-mails with Mr. Molnar regarding            L320     0.20 hrs
                    editing and revising combined privilege log for
                    production set 1.
11/08/2012   AMP    Review documents in the combined privilege log        L320     0.50 hrs
                    for production set 1 to address specific issues.

11/08/2012   AMP    Review e-mail exchanges regarding privilege           L120     0.20 hrs
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                    status of negotiations between Rescap and RFC.

11/08/2012   AMP    E-mail exchange with Mr. Molnar regarding arms'     L120     0.30 hrs
                    length transaction issues on going forward logs.

11/08/2012   AMP    Create privilege log for production set 2 for       L320     0.90 hrs
                    documents withheld or redacted for privilege.

11/08/2012   AMP    Edit and revise combined privilege log for          L320     3.00 hrs
                    production set 1.

11/08/2012   AMP    Review and address supplemental coding issues.      L320     0.40 hrs


11/08/2012   AMP    Prepare key of individuals appearing on combined    L320     1.20 hrs
                    privilege log for production set 1.

11/08/2012   AMP    Review combined privilege log for production set    L120     0.80 hrs
                    1 for arms' length transaction issues.

11/08/2012   DAW    Draft e-mail to Ms. Battle regarding Stephan        L120     0.60 hrs
                    testimony and veil piercing issues.

11/08/2012   DAW    Review e-mails regarding Stephan testimony and      L120     0.20 hrs
                    veil piercing issues.

11/08/2012   JAL    Prepare for Ms. Dondzilla's examination (.20).      L120     2.50 hrs
                    Review supplemental preparation outline and
                    related documents (1.60). Review and redraft Mr.
                    Redmond's preparation outline (.40). Telephone
                    conference with Ms. Battle regarding revisions to
                    same (.10). Review and respond to e-mails
                    regarding examiner interviews and prep sessions
                    (.20).
11/08/2012   VLS    Monitor review status of expanded document          L320     0.20 hrs
                    review and quality control teams.

11/08/2012   VLS    Assignment of document review batches.              L320     2.10 hrs


11/08/2012   VLS    Assignment of quality control document batches.     L320     0.20 hrs


11/08/2012   VLS    Update document review progress chart.              L320     0.60 hrs


11/08/2012   VLS    E-mail exchange with document reviewer Mr.          L320     0.30 hrs
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                    Mizelle regarding revised schedule for his last day
                    working on the project.
11/08/2012   VLS    Review of DVDs containing PDF version of recent       L320     0.80 hrs
                    seller file productions for uploading to the 9019
                    data room.
11/08/2012   VLS    E-mail exchange with Mr. Bergelson and Ms. Tice       L320     0.20 hrs
                    at Morrison and Foerster regarding PDF version of
                    seller files.
11/08/2012   VLS    E-mail exchanges with Ms. Marty and Ms. Gulley        L320     0.30 hrs
                    at DTI regarding status of uploading of additional
                    custodian data to database.
11/08/2012   VLS    E-mail exchange with Ms. Gulley (DTI) regarding       L320     0.30 hrs
                    delay in deactivation of Mr. Mizelle's user account
                    due to revised schedule.
11/08/2012   JES    Review additional documents regarding Senick and      L120     4.50 hrs
                    MSR valuation.

11/08/2012   RBS    Upload Redmond preparation kit to Morrison and        L310     1.20 hrs
                    Foerster Sharepoint for Mr. Beck.

11/08/2012   TKI    Review email documents for quality control            L120     1.60 hrs
                    purposes for Lombardo 10 batch.

11/08/2012   JALB   Correspondence with Ms. Paul-Whitfield, Mr.           L120     0.40 hrs
                    Barthel, Mr. Salerno and Ms. Levitt (both
                    Morrison & Foerser) regarding privilege and
                    common interest questions.
11/08/2012   JALB   Review correspondence from Mr. Rains (Morrison        L120     0.10 hrs
                    & Foerster) regarding Examiner status conference.

11/08/2012   JALB   Attention to witness scheduling issues (outreach to   L330     1.10 hrs
                    numerous current and former employees).

11/08/2012   JALB   Attention to representation questions for former      L330     0.20 hrs
                    employees.

11/08/2012   JALB   Communicate with Mr. Beck regarding supporting        L120     0.20 hrs
                    materials for Mr. Redmond presentation.

11/08/2012   JALB   Communicate with Mr. Beekhuizen regarding             L120     0.30 hrs
                    information needed for position paper response.

11/08/2012   JALB   Review data provided by Mr. Blaschko of               L120     0.30 hrs
                    Residential Capital for position paper response.

11/08/2012   JALB   Work on Mr. Redmond's witness preparation             L330     0.30 hrs
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                    outline.

11/08/2012   JALB   Correspondence with Ms. Marty and Mr. Salerno           L120     0.10 hrs
                    (Morrison & Foerster) regarding Examiner status
                    conference.
11/08/2012   JALB   Discussions with individual quality control review      L120     0.60 hrs
                    team members regarding Examiner status
                    conference.
11/08/2012   JALB   Telephone conference with Mr. Salerno (Morrison         L120     0.10 hrs
                    & Foerster) regarding Examiner status conference.

11/08/2012   JALB   Telephone conference with Mr. Hoffman                   L120     0.10 hrs
                    (Morrison & Foerster) regarding Examiner status
                    conference.
11/08/2012   JALB   Follow-up correspondence with Ms. Marty                 L120     0.30 hrs
                    regarding Examiner status conference.

11/08/2012   JALB   Incorporate additional materials into Mr.               L330     1.10 hrs
                    Redmond's outline.

11/08/2012   JALB   Finalize Mr. Redmond's outline.                         L330     0.60 hrs


11/08/2012   JALB   Discussion with Mr. Beck regarding Mr.                  L120     0.30 hrs
                    Applegate's witness preparation.

11/08/2012   JALB   Discussion with Mr. Beck regarding Mr. Senick's         L120     0.20 hrs
                    witness preparation and key documents produced
                    in 9019.
11/08/2012   JALB   Discussion with Mr. Beck regarding representation       L120     0.30 hrs
                    & warranty 2011-2012 reserve outline.

11/08/2012   JALB   Follow-up with Mr. Blaschko (Residential Capital)       L120     0.30 hrs
                    regarding additional information needed for
                    position paper response.
11/08/2012   JALB   Review and respond to correspondence among Mr.          L120     0.30 hrs
                    Brown and Mr. Ziegler (Morrison & Foerster) and
                    others on 9019 team regarding production of
                    confidential materials from 9019 data room.
11/08/2012   DJB    Quality check and provide feedback to contract          L120     7.80 hrs
                    reviewers' first level responsiveness, privilege, and
                    issue coding of documents for custodian Young
                    potentially responsive to Examiner document
                    requests.
11/08/2012   MMM    Continue quality control review of Lombardo             L120     1.10 hrs
                    batch 13.
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11/08/2012   DAB    Conference with Ms. Battle regarding materials        L120     0.30 hrs
                    and topics for Mr. Redmond's preparation sessions.

11/08/2012   DAB    Revise outline and associated materials for           L330     1.40 hrs
                    examiner preparation session for Mr. Redmond.

11/08/2012   DAB    E-mail Ms. Battle, Ms. Marty and Mr. Barthel          L120     0.10 hrs
                    regarding intercompany issues on privilege review.

11/08/2012   DAB    Research history of ratings agency separate           L120     2.60 hrs
                    treatment of Rescap and Ally.

11/08/2012   DAB    Research additional materials for Mr. Redmond's       L330     1.40 hrs
                    examiner preparation. (.90) Conference with Ms.
                    Battle regarding issues on Mr. Senick. (.30)
                    Conference with Ms. Battle regarding repaired
                    warranty time. (.20)
11/08/2012   DAB    E-mail Mr. Lipps and Ms. Battle regarding             L120     0.40 hrs
                    securities subordination issues and examiner
                    submissions on third party claims.
11/08/2012   JRC    Review and analyze documents identified by            L320     0.30 hrs
                    first-level reviewers in order to provide advice on
                    how to correctly code those documents under the
                    examiner review protocol.
11/08/2012   JRC    Draft e-mails to document reviewers providing         L320     0.30 hrs
                    advice on how to correctly code documents under
                    the examiner review protocol.
11/08/2012   JDR    Quality control review of documents as outlined in    L320     2.40 hrs
                    quality control protocol and produced in response
                    to examiner requests, batch Whitlinger 009, initial
                    review by Cericola.
11/08/2012   SP     Analyze previously designated documents to be         L320     1.70 hrs
                    produced to the bankruptcy examiner relating to
                    Mr. Lombardo in Discovery Partner for privilege
                    and confidentiality designation.
11/08/2012   GNM    Working in Discovery Partner database answering       L320     6.90 hrs
                    reviewers questions regarding privilege and
                    responsiveness designations.
11/08/2012   GNM    Working in Discovery Partner database performing      L320     1.20 hrs
                    second level review on Hamzehpour data as
                    outlined in the Quality Control Protocol.
11/08/2012   GNM    Telephone communication with Ms. Whitfield            L120     0.30 hrs
                    regarding items to be included in a supplemental
                    production.
11/08/2012   GNM    Telephone communications with Mr. Kumar               L120     0.60 hrs
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                    (Morrison & Foerster) regarding Quality Control
                    Protocol.
11/08/2012   GNM    Telephone communications with Mr. Rosenberg           L120     0.30 hrs
                    (Morrison & Foerster) regarding Quality Control
                    Protocol.
11/08/2012   GNM    Performing quality control checks on EXAM             L320     0.60 hrs
                    116/117 productions.

11/08/2012   GNM    Drafting and sending e-mail communications to         L120     0.30 hrs
                    Mr. Brown (Morrision & Foerster) regarding
                    release of EXAM116/117 productions.
11/08/2012   GNM    Communicate with Ms. Battle regarding status of       L120     0.20 hrs
                    Examiner review.

11/08/2012   AJM    Quality control review of documents withheld          L320     2.50 hrs
                    partially or entirely in response to examiner
                    document requests, first set of documents produced
                    to examiner.
11/08/2012   AJM    Draft privilege log for first set of documents        L320     3.20 hrs
                    produced in response to examiner document
                    requests.
11/08/2012   AJM    Quality control review of documents withheld          L320     2.60 hrs
                    partially or entirely in response to examiner
                    document requests, fourth set of documents
                    produced to examiner
11/08/2012   AJM    Draft privilege log for fourth set of documents       L320     3.40 hrs
                    produced in response to examiner document
                    requests.
11/08/2012   SCM    Quality control of Whitlinger PP 4 documents.         L320     3.70 hrs


11/09/2012   AMP    Attention to finalizing combined privilege log for    L320     1.70 hrs
                    production set 1.

11/09/2012   AMP    E-mail exchanges with Ms. Battle regarding status     L320     0.20 hrs
                    of completion of privilege logs for production sets
                    1 and 2.
11/09/2012   AMP    Attention to documents relating to possible lawsuit   L320     1.10 hrs
                    by Ms. Gess and responsiveness of same.

11/09/2012   AMP    Multiple e-mails with Ms. Battle and Ms. Marty        L320     0.20 hrs
                    regarding possible lawsuit by Ms. Gess and
                    responsiveness of same.
11/09/2012   AMP    Multiple e-mails with Ms. Battle regarding            L320     0.10 hrs
                    documents relating to the responsible practices
                    committee.
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11/09/2012   AMP    Review to documents relating to the responsible      L320     1.00 hrs
                    practices committee.

11/09/2012   AMP    Multiple e-mails with Morrison & Foerster review     L320     0.40 hrs
                    team and Mr. Molnar regarding combined privilege
                    log for production set 1.
11/09/2012   AMP    Edit and finalize combined privilege log for         L320     2.80 hrs
                    production set 2.

11/09/2012   AMP    Multiple e-mails with Morrison & Forester review     L320     0.50 hrs
                    team and Mr. Molnar regarding combined privilege
                    log for production set 2.
11/09/2012   AMP    Edit key of individuals appearing on privilege log   L320     0.90 hrs
                    for production 1.

11/09/2012   AMP    Prepare privilege log for production set 3.          L320     0.40 hrs


11/09/2012   JAL    Prepare for Ms. Dondzilla's interview (.30).         L120     9.30 hrs
                    Conference with Ms. Dondzilla (Residential
                    Capital) and Ms. Levitt (Morrison & Foerster) to
                    prepare for same (.80). Participate at Ms.
                    Dondzilla's interview (6.9). Conference with Ms.
                    Levitt regarding observations regarding interview
                    topics (.10). Draft memo regarding topic
                    observations (.30). Review and respond to e-mails
                    regarding scheduling examiner interviews and prep
                    sessions (.20). Review analysis of rep and
                    warranty reserves progression and supporting
                    documents (.20) Review e-mails regarding same
                    (.20). Review additional preparation materials for
                    Mr. Redmond and memo regarding same (.30).
11/09/2012   VLS    Monitor review status of expanded document           L320     0.60 hrs
                    review and quality control teams.

11/09/2012   VLS    Assignment of document review batches.               L320     1.40 hrs


11/09/2012   VLS    Assignment of quality control review batches.        L320     1.60 hrs


11/09/2012   VLS    Update document review progress chart.               L320     1.20 hrs


11/09/2012   VLS    Update document production tracking spreadsheet      L320     1.80 hrs
                    with new custodian data.
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11/09/2012   RBS    Revise tabs on u-drive in Reserve Material file for   L310     0.70 hrs
                    Mr. Beck.

11/09/2012   RBS    Upload tabs on u-drive in Reserve Material file to    L310     0.50 hrs
                    Morrison and Foerster Sharepoint.

11/09/2012   TKI    Review e-mail documents for quality control           L120     2.30 hrs
                    purposes for Lombardo 10 batch.

11/09/2012   JALB   Draft memorandum to Examiner interview                L120     0.60 hrs
                    preparation team (Mr. Illovsky and Mr. Day of
                    Morrison & Foerster, Mr. Lipps) regarding
                    availability of Ms. Gess, Mr. Rock and Mr. James
                    for Examiner interviews. (.70) Conference with
                    Mr. Beck regarding issues for round two witness
                    requests. (.20)
11/09/2012   JALB   Review documents relating to Mr. Senick               L330     0.80 hrs
                    (Residential Capital) in preparation for pre-call
                    regarding Examiner interview.
11/09/2012   JALB   Prepare for pre-call with Mr. Senick (Residential     L120     0.80 hrs
                    Capital) regarding Examiner interview.

11/09/2012   JALB   Review and analyze documents for Mr. Senick's         L330     0.90 hrs
                    (Residential Capital) witness preparation outline.

11/09/2012   JALB   Work on Mr. Senick's (Residential Capital) witness    L330     0.50 hrs
                    preparation outline.

11/09/2012   JALB   Correspondence with Mr. Blaschko (Residential         L120     0.30 hrs
                    Capital) and Mr. Beekhuizen regarding damages
                    analyses.
11/09/2012   JALB   Telephone conference with Mr. Senick                  L120     0.50 hrs
                    (Residential Capital) regarding preparation for
                    Examiner interview.
11/09/2012   JALB   Identify additional Redmond materials for             L330     0.40 hrs
                    Examiner preparation session.

11/09/2012   JALB   Prepare memorandum regarding additional               L120     0.30 hrs
                    Redmond materials for Examiner preparation
                    session.
11/09/2012   JALB   Follow-up correspondence with Ms. Hamzehpour          L120     0.30 hrs
                    (Residential Capital) and Mr. Brown (Morrison &
                    Foerster) regarding Examiner document request
                    close-outs.
11/09/2012   JALB   Correspondence with Ms. Marty, Ms. Whitfield,         L120     0.30 hrs
                    Ms. Tice (Morrison & Foerster) regarding
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                    document productions and privilege log
                    productions.
11/09/2012   MMM    Continue quality control review of Lombardo          L120     2.00 hrs
                    batch 13.

11/09/2012   DAB    Conference with Ms. Battle regarding preparations    L120     0.20 hrs
                    for examiner round two witness requests.

11/09/2012   DAB    Research materials on representation and warranty    L330     0.80 hrs
                    reserves relevant to examiner interviews.

11/09/2012   DAB    Communicate with Mr. Rains, Ms. Levitt, Mr. Day      L120     0.20 hrs
                    (Morrison & Forester) and Ms. Battle regarding
                    outline and supporting materials on representation
                    and warranty claims.
11/09/2012   DAB    Research discovery materials for items relevant to   L330     0.60 hrs
                    interview preparation kit for Mr. Senick.

11/09/2012   DAB    Research additional materials for Mr. Redmond's      L330     0.70 hrs
                    interview preparation.

11/09/2012   SP     Analyze previously designated documents to be        L320     5.20 hrs
                    produced to the bankruptcy examiner relating to
                    Mr. Lombardo in Discovery Partner for privilege
                    and confidentiality designation.
11/09/2012   SP     Analyze previously designated documents to be        L320     2.50 hrs
                    produced to the bankruptcy examiner relating to
                    Ms. Gess in Discovery Partner for privilege and
                    confidentiality designation.
11/09/2012   GNM    Working in Discovery Partner database answering      L320     6.70 hrs
                    reviewers questions regarding privilege and
                    responsiveness designations.
11/09/2012   GNM    Working in Discovery Partner database making         L320     1.30 hrs
                    privilege determinations regarding seller files.

11/09/2012   GNM    Telephone communications with Mr. Rosenberg          L120     0.10 hrs
                    (Morrison & Foerster) regarding Quality Control
                    Protocol.
11/09/2012   GNM    Telephone communications with Mr. Seligson           L120     0.20 hrs
                    (Morrison & Foerster) regarding Quality Control
                    Protocol.
11/09/2012   GNM    Telephone communications with Mr. Fasman             L120     0.30 hrs
                    (Morrison & Foerster) regarding Quality Control
                    Protocol.
11/09/2012   GNM    Telephone communications with Mr. Welch              L120     0.20 hrs
                    (Morrison & Foerster) regarding Quality Control
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                    Protocol.
11/09/2012   GNM    Drafting and sending e-mail communications to        L120     0.30 hrs
                    review team regarding privilege determinations
                    and frequent errors.
11/09/2012   GNM    E-mail communications with Ms. Chinn, Mr.            L120     0.20 hrs
                    Massey and Ms. Searls (contrct reviewers)
                    regarding second level review for Examiner.
11/09/2012   AJM    Quality control review of documents withheld         L320     1.90 hrs
                    partially or entirely in response to examiner
                    document requests, fourth set of documents
                    produced to examiner
11/09/2012   AJM    Draft privilege log for fourth set of documents      L320     3.80 hrs
                    produced in response to examiner document
                    requests.
11/09/2012   AJM    Identify persons appearing on privilege logs for     L320     2.90 hrs
                    examiner document productions one and four.

11/09/2012   AJM    Draft chart of persons appearing on privilege logs   L320     1.30 hrs
                    for examiner document productions one and four.

11/09/2012   SCM    Quality control review of Whitlinger PP 4            L320     3.90 hrs
                    documents.

11/10/2012   AMP    Attention to reviewing and updating chart of         L320     2.30 hrs
                    individuals appearing on privilege log of
                    productions 1 and 2.
11/10/2012   AMP    Attention to quality control of Lombardo 2010-12     L320     1.10 hrs
                    Batch 25 for responsiveness, confidentiality, and
                    privilege issues.
11/10/2012   AMP    Review and respond to e-mail from Ms. Marty          L120     0.20 hrs
                    regarding quality control review status.

11/10/2012   JAL    Draft interview notes and review Ms. Donzilla's      L120     3.00 hrs
                    exhibits (2.6). Review interview prep and
                    interview schedule (.20). Conference with Ms.
                    Battle regarding same (.10). Review and respond
                    to e-mails regarding interview coverage (.10).
11/10/2012   VLS    Monitor review status of expanded document           L320     1.20 hrs
                    review and quality control teams.

11/10/2012   VLS    Assignment of document review batches.               L320     1.60 hrs


11/10/2012   VLS    Assignment of quality control review batches.        L320     1.80 hrs
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11/10/2012   VLS    Update document review progress chart.               L320     1.40 hrs


11/10/2012   TKI    Review e-mail documents for quality control          L120     3.50 hrs
                    purposes for Young 17 batch.

11/10/2012   JALB   Correspondence with Ms. Levitt and Mr. Illovsky      L120     0.40 hrs
                    (Morrison & Foerster) and Mr. Beekhuizen
                    regarding status of Examiner position paper
                    responses.
11/10/2012   MMM    Continue quality control review of Lombardo          L120     1.90 hrs
                    batch 13.

11/10/2012   MMM    Begin quality control review of Lombardo batch 5.    L120     1.00 hrs


11/10/2012   JDR    Draft correspondence to Mr. Sandoval (contract       L120     0.20 hrs
                    reviewer) regarding areas of focus for first level
                    re-review.
11/10/2012   SP     Analyze previously designated documents to be        L320     4.40 hrs
                    produced to the bankruptcy examiner relating to
                    Ms. Gess in Discovery Partner for privilege and
                    confidentiality designation.
11/10/2012   GNM    Answering reviewer questions regarding privilege     L120     1.10 hrs
                    determinations.

11/11/2012   AMP    Draft notes regarding Lombardo 2010-12 Batch 25      L320     0.90 hrs
                    for preparation of feedback memorandum.

11/11/2012   AMP    Continued quality control review of Lombardo         L320     2.10 hrs
                    2010-12 Batch 25 for responsiveness,
                    confidentiality, and privilege issues.
11/11/2012   JAL    Review Mr. Redmond's potential interview             L120     8.50 hrs
                    documents (1.0). Review and redraft Mr.
                    Redmond's interview outline and documents (4.0).
                    Review and respond to e-mails regarding Mr.
                    Redmond's prep (.20). Review and redraft outline
                    regarding creditor submission responses (2.8).
                    Conference with Ms. Battle regarding same (.30).
                    Review Ms. Battle's memo regarding issues from
                    Ms. Dondzilla's interview (.20).
11/11/2012   MNB    Draft response to papers submitted to examiner       L250     9.00 hrs
                    regarding third-party claims. (8.40) E-mails with
                    Ms. Battle regarding issues on response. (.60)
11/11/2012   MNB    Multiple e-mails with Mr. Beck regarding same.       L120     0.40 hrs
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11/11/2012   VLS    Assignment of review batches to document review      L320     0.30 hrs
                    team

11/11/2012   VLS    Update document production spreadsheet.              L320     0.20 hrs


11/11/2012   TKI    Review e-mail documents for quality control          L120     6.50 hrs
                    purposes for Young 17 batch.

11/11/2012   JALB   Follow-up correspondence with Mr. Klein              L120     0.10 hrs
                    (Morrison & Foerster) regarding Bank/Mortgage
                    data.
11/11/2012   JALB   Continued work on witness preparation outline for    L330     3.40 hrs
                    Mr. Senick.

11/11/2012   JALB   Correspondence with Mr. Beekhuizen, Mr. Lipps        L120     0.60 hrs
                    and Mr. Beck regarding structure and legal
                    framework for Examiner position paper response.
11/11/2012   JALB   Correspondence with Mr. Lipps regarding Mr.          L120     0.20 hrs
                    Redmond's preparation topics.

11/11/2012   JALB   Review and analyze memorandum from Mr. Lipps         L330     0.40 hrs
                    regarding themes from Ms. Dondzila Day 2
                    interview.
11/11/2012   MMM    Continue quality control review of Lombardo          L120     4.20 hrs
                    batch 5.

11/11/2012   DAB    Communicate with Ms. Battle regarding board          L120     0.10 hrs
                    materials for interview of Mr. Redmond.

11/11/2012   DAB    Research materials regarding swap arrangements.      L120     0.30 hrs


11/11/2012   DAB    Review memorandum from Mr. Ilovsky (Morrison         L120     0.70 hrs
                    & Foerster) regarding Metromedia standards.

11/11/2012   DAB    Draft memorandum to Mr. Lipps, Mr. Beekhuizen        L120     0.60 hrs
                    and Ms. Battle regarding Metromedia issues on
                    third party claims.
11/11/2012   DAB    Multiple e-mails to Mr. Beekhuizen regarding         L120     0.40 hrs
                    issues on third party submission papers.

11/11/2012   DAB    Research cases relevant to response piece to third   L120     1.70 hrs
                    party claims submissions.

11/11/2012   JDR    Quality control review of documents as outlined in   L320     4.70 hrs
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                    quality control protocol and produced in response
                    to examiner requests, batch Gess 011, re-review by
                    Ritzler.
11/11/2012   SP     Analyze previously designated documents to be          L320     5.10 hrs
                    produced to the bankruptcy examiner relating to
                    Ms. Gess in Discovery Partner for privilege and
                    confidentiality designation.
11/11/2012   GNM    Working in Discovery Partner database performing       L320     3.00 hrs
                    second level review on Ms. Hamzehpour's data as
                    outlined in the Quality Control Protocol.
11/11/2012   SCM    Quality control review of Whitlinger PP 4              L320     4.10 hrs
                    documents.

11/12/2012   AMP    Review e-mail from Ms. Battle regarding key of         L330     0.40 hrs
                    individuals on privilege logs for productions 1 and
                    2 requested from Examiner's counsel.
11/12/2012   AMP    Finalize key of individuals appearing on logs.         L330     0.50 hrs


11/12/2012   AMP    E-mail exchange with Ms. Battle regarding key of       L330     0.20 hrs
                    individuals appearing on the logs for productions 1
                    and 2.
11/12/2012   AMP    Draft e-mail to Mr. Brown (Morrison & Foerster)        L320     0.20 hrs
                    with key of individuals appearing on the logs for
                    productions 1 and 2.
11/12/2012   AMP    Review document search for overlap issues with         L330     0.60 hrs
                    production sets 2 and 3.

11/12/2012   AMP    Multiple e-mails with Mr. Molnar and Mr. Marty         L330     0.50 hrs
                    regarding overlap issues with production sets 2 and
                    3.
11/12/2012   AMP    Draft e-mail to Ms. Marty regarding data search for    L320     0.20 hrs
                    privilege logs for productions 3 and 4.

11/12/2012   AMP    Conference call with Ms. Marty regarding search        L320     0.30 hrs
                    to export to create privilege logs for productions 3
                    and 4.
11/12/2012   AMP    Draft e-mail to Ms. Marty regarding follow-up          L330     0.30 hrs
                    issues from preparation of privilege logs for
                    productions 1 and 2.
11/12/2012   AMP    Conference call with Ms. Marty regarding               L330     0.40 hrs
                    follow-up issues on productions 1 and 2 and
                    supplemental productions from sets 1 and 2.
11/12/2012   AMP    Prepare privilege log for production 3.                L330     0.40 hrs
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11/12/2012   AMP    Resolve overlap issues with production sets 2 and   L330     0.40 hrs
                    3.

11/12/2012   JAL    Prepare for meeting with Mr. Redmond (ex            L120     8.30 hrs
                    Residential Capital) (.80). Meeting with Mr.
                    Redmond to prepare for examiner interview (4.80).
                    Conference call with Morrison & Foerster team,
                    Ms. Battle and Mr. Beekhuizen regarding response
                    to creditor submissions (.30). Telephone
                    conference with Ms. Battle regarding same (.20).
                    Review and redraft outline for response (.50).
                    Review and respond to e-mails regarding same
                    (.10). Review supplemental work plan for
                    examiner (.20). Review and respond to e-mails
                    regarding scheduling interviews and coverage
                    (.20). Review and revise Mr. Senick's outline
                    (.50).
11/12/2012   MNB    Draft response to papers submitted to examiner      L250    13.00 hrs
                    regarding third-party claims.

11/12/2012   VLS    Monitor review status of expanded review and        L320     1.10 hrs
                    quality control teams.

11/12/2012   VLS    Assignment of document review batches.              L320     2.70 hrs


11/12/2012   VLS    Assignment of quality control review batches.       L320     2.80 hrs


11/12/2012   VLS    Update document review progress chart.              L320     2.40 hrs


11/12/2012   VLS    Conference with Ms. Marty and Ms. Battle            L320     0.40 hrs
                    regarding document review status.

11/12/2012   VLS    E-mail exchanges with Ms. Gulley at DTI             L320     0.20 hrs
                    regarding imaging problems with select documents
                    in database.
11/12/2012   VLS    Telephone conference with Ms. Gulley at DTI         L320     0.20 hrs
                    regarding imaging problems with select documents
                    in database.
11/12/2012   JES    Conduct quality control of Young 2010-2012 batch    L120     5.00 hrs
                    53.

11/12/2012   JES    Review additional Senick-related documents.         L120     3.00 hrs
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11/12/2012   RBS    Compile and prepare electronic sets of pertinent       L310     1.70 hrs
                    documents for Senick preparation kit for Ms.
                    Battle.
11/12/2012   TKI    Review email documents for quality control             L120     5.10 hrs
                    purposes for Young 18 batch.

11/12/2012   JALB   Meeting with Ms. Marty and Ms. Sholl regarding         L120     0.40 hrs
                    production status.

11/12/2012   JALB   Review additional 2009-2010 materials for Mr.          L330     0.60 hrs
                    Senick's preparation outline.

11/12/2012   JALB   Finalize and circulate Mr. Senick's preparation        L330     2.20 hrs
                    outline.

11/12/2012   JALB   Review and respond to e-mails from Mr.                 L120     0.30 hrs
                    Beekhuizen and Mr. Lipps regarding Examiner
                    position paper content.
11/12/2012   JALB   Follow-up with Mr. Klein and Mr. Brown (both           L120     0.20 hrs
                    Morrison & Foerster) regarding collection of
                    additional materials.
11/12/2012   JALB   Telephone conference with Mr. Casey (former            L120     0.40 hrs
                    Residential Capital) regarding Examiner interview
                    process.
11/12/2012   JALB   Finalize Mr. Senick's supporting materials.            L330     0.90 hrs


11/12/2012   JALB   Telephone conference with Ms. Hamzehpour               L120     1.60 hrs
                    (Residential Capital) and Mr. Brown (Morrison &
                    Foerster) regarding follow-up collection of paper
                    documents for Examiner requests.
11/12/2012   JALB   Follow-up call with Mr. Brown (Morrison &              L120     0.30 hrs
                    Foerster) regarding collection of paper documents
                    for Examiner requests.
11/12/2012   JALB   Telephone conference with Ms. Levitt, Mr.              L120     1.00 hrs
                    Illovsky, Mr. Klein (all Morrison & Foerster), Mr.
                    Lipps, and Mr. Beekhuizen regarding preparation
                    of position paper responses.
11/12/2012   DJB    Quality check and provide feedback to contract         L120     4.30 hrs
                    reviewers' first level coding responsiveness and
                    privilege coding for custodian Young potentially
                    responsive to Examiner document requests.
11/12/2012   DJB    Quality check and provide feedback to contract         L120     4.50 hrs
                    reviewers' first level redaction and issue coding of
                    documents for custodian Young potentially
                    responsive to Examiner document requests.
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11/12/2012   DJB    Quality check and provide feedback to contract        L120     5.30 hrs
                    reviewers' first level responsiveness and issue
                    coding of documents for custodian Ms. Gess
                    2010-2012 015 (coded by Saima Khalil)
                    potentially responsive to Examiner document
                    requests.
11/12/2012   MMM    Discussion with Ms. Marty regarding issues on         L120     0.40 hrs
                    privilege designations for Ms. Hamzehpour.

11/12/2012   MMM    Continue quality control review of Lombardo           L120     3.40 hrs
                    batch 10.

11/12/2012   DAB    E-mail Mr. Beekhuizen regarding historical ratings    L120     0.30 hrs
                    on Residential Capital and evidence on
                    separateness.
11/12/2012   DAB    Conference with Mr. Beekhuizen regarding              L120     0.10 hrs
                    response to third party claims position papers.

11/12/2012   DAB    Communicate with Mr. Day (Morrison & Foerster)        L120     0.10 hrs
                    regarding third party production materials relevant
                    to response papers on third party release.
11/12/2012   JRC    Review documents identified by first-level            L320     0.30 hrs
                    reviewers in order to advise on how to correctly
                    code documents under the protocol.
11/12/2012   JRC    Draft e-mails to first-level reviewers regarding      L320     0.30 hrs
                    how to correctly code documents under the review
                    protocol.
11/12/2012   JDR    Quality control review of documents as outlined in    L320     1.80 hrs
                    quality control protocol and produced in response
                    to examiner requests, batch Gess 011, re-review by
                    Ritzler.
11/12/2012   JDR    Quality control review of documents as outlined in    L320     0.50 hrs
                    quality control protocol and produced in response
                    to examiner requests, batch Hamzepour 025, first
                    level review by Ritzler.
11/12/2012   SP     Analyze previously designated documents to be         L320     4.60 hrs
                    produced to the bankruptcy examiner relating to
                    Mr. Lombardo in Discovery Partner for privilege
                    and confidentiality designation.
11/12/2012   SP     Analyze previously designated documents to be         L320     3.70 hrs
                    produced to the bankruptcy examiner relating to
                    Ms. Gess in Discovery Partner for privilege and
                    confidentiality designation.
11/12/2012   GNM    Quality control training meeting.                     L320     0.60 hrs
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11/12/2012   GNM    Meeting with Mr. Sechler regarding Quality           L320     0.20 hrs
                    Control Protocol.

11/12/2012   GNM    Meeting with Ms. Mohler regarding Quality            L320     0.40 hrs
                    Control Protocol.

11/12/2012   GNM    Configuring data for privilege log.                  L320     0.60 hrs


11/12/2012   GNM    Meeting with Mr. Phillips regarding re-review of     L320     0.30 hrs
                    data in second level review.

11/12/2012   GNM    Telephone communications with Mr. Fasman             L120     0.60 hrs
                    (Morrison & Foerster) regarding Quality Control
                    Protocol.
11/12/2012   GNM    Telephone communications with Mr. Kumar              L120     0.20 hrs
                    (Morrison & Foerster) regarding Quality Control
                    Protocol.
11/12/2012   GNM    Working in Discovery Partner database performing     L320     6.50 hrs
                    second level review on Ms. Hamzehpour's data as
                    outlined in the Quality Control Protocol.
11/12/2012   GNM    Exchanging e-mail communications with Mr.            L120     0.40 hrs
                    Blieberg (Morrison & Foerster) regarding Quality
                    Control Protocol.
11/12/2012   GNM    Exchanging e-mail communications with Mr.            L120     0.40 hrs
                    Kumar (Morrison & Foerster) regarding Quality
                    Control Protocol.
11/12/2012   GNM    Drafting and sending e-mail communications to        L120     0.20 hrs
                    Ms. Whitfield regarding privilege log review.

11/12/2012   GNM    Working in Discovery Partner database performing     L320     2.20 hrs
                    quality control on Hamzehpour data for
                    production, checking privilege determinations and
                    redactions.
11/12/2012   GNM    Meeting with Ms. Whitfield regarding privilege log   L120     0.80 hrs
                    for multiple productions. (.70) Multiple e-mails
                    with Ms. Battle regarding privilege logs. (.10)
11/12/2012   GNM    Meeting with Ms. Sholl and Ms. Battle regarding      L120     0.60 hrs
                    review status. (.40) Follow-up on same. (.20)

11/12/2012   GNM    E-mails with Ms. Battle regarding status of second   L120     0.60 hrs
                    level review.

11/12/2012   GNM    Drafting and sending e-mail communications to        L120     0.30 hrs
                    quality control team regarding protocol for
                    reviewing Ms. Hamzehpour's data.
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11/12/2012   AJM    Quality control review of documents to be             L320     0.40 hrs
                    produced in response to examiner requests, batch
                    Lombardo possibly privileged 3, initial review
                    done by Ms. Walker.
11/12/2012   AJM    Quality control review of documents withheld          L320     1.60 hrs
                    partially or entirely in response to examiner
                    document requests, fifth set of documents
                    produced to examiner
11/12/2012   AJM    Draft privilege log for fifth set of documents        L320     3.40 hrs
                    produced in response to examiner document
                    requests.
11/12/2012   SCM    Quality control review of Whitlinger PP 4             L320     6.60 hrs
                    documents.

11/12/2012   SCM    Quality control review of Whitlinger PP 12            L320     0.40 hrs
                    documents.

11/13/2012   AMP    Review e-mail from Ms. Battle regarding privilege     L320     0.20 hrs
                    log questions from Examiner's counsel.

11/13/2012   AMP    Multiple e-mails with Mr. Brown (Morrison &           L320     0.70 hrs
                    Foerster) regarding response to Examiner on
                    questions regarding key for privilege logs.
11/13/2012   JAL    Preparation for meeting with Mr. Redmond (.5).        L120     6.30 hrs
                    Meeting with Mr. Redmond (former employee) to
                    prepare for Examiner interview (.5). Participate in
                    Examiner interview (4.0). Conference call with
                    Ms. Battle and Morrison & Foerster team
                    regarding Examiner interviews and coverage for
                    same (.3). Reviewing and responding to e-mails
                    regarding interview coverage and preparation
                    sessions (.2). Reviewing further and redrafting Mr.
                    Senick's outline (.6). Reviewing and responding to
                    issues regarding GAZELLE and CALM models
                    (.2).
11/13/2012   JAL    Review Mr. Redmond's exhibits (1.0). Draft initial    L120     5.80 hrs
                    summary from Mr. Redmond's materials (1.0).
                    Review and respond to e-mails regarding interview
                    schedule and preparation coverage (.3). Review
                    Examiner's prior interview exhibits (1.0). Review
                    and redraft current draft of response to creditor
                    submission on third-party claims (2.5).
11/13/2012   MNB    Draft response to papers submitted to examiner        L250     0.70 hrs
                    regarding third-party claims.

11/13/2012   VLS    Monitor review status of expanded review and          L320     2.20 hrs
                    quality control teams.
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11/13/2012   VLS    Assignment of document review batches.                L320     0.80 hrs


11/13/2012   VLS    Assignment of quality control review batches.         L320     4.10 hrs


11/13/2012   VLS    Update document review progress chart.                L320     1.60 hrs


11/13/2012   VLS    Conference with Ms. Marty and Ms. Battle              L320     0.40 hrs
                    regarding document review status.

11/13/2012   JES    Complete quality control review of Young              L120     3.00 hrs
                    2010-2012 batch 53.

11/13/2012   RBS    Upload Senick preparation kit materials on u-drive    L310     1.50 hrs
                    to Morrison and Foerster Sharepoint for Ms. Battle.

11/13/2012   RBS    Prepare additional Senick preparation notebooks       L310     0.60 hrs
                    for Ms. Battle.

11/13/2012   TKI    Review e-mail documents for quality control           L120     7.00 hrs
                    purposes for Hamzehpour 13 batch. (6.90)
                    Conference with Mr. Corcoran regarding coding of
                    documents. (.10)
11/13/2012   JALB   Telephone conference with former counsel for          L120     0.30 hrs
                    independents board members (Bryan Cave)
                    regarding Examiner interviews.
11/13/2012   JALB   Telephone conference with Ms. Zellmann and Mr.        L120     0.50 hrs
                    James (both Residential Capital) regarding
                    Examiner interview process.
11/13/2012   JALB   Outreach to former employee witnesses regarding       L330     1.40 hrs
                    interview process.

11/13/2012   JALB   Correspondence with Mr. Lipps, Mr. Illovsky           L120     0.30 hrs
                    (Morrison & Foerster) and Mr. Day (Morrison &
                    Foerster) regarding scheduling and preparation of
                    Mr. Redmond (former Residential Capital
                    employee) for Examiner interview.
11/13/2012   JALB   Review and comment on Mr. Beekhuizen's draft          L120     0.70 hrs
                    outline response to Examiner position papers.

11/13/2012   JALB   Review and comment on draft outline of                L120     0.30 hrs
                    Metromedia discussion.

11/13/2012   JALB   Attention to document quality control staffing and    L320     0.80 hrs
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                    coordination issues. (.40) Conference with Ms.
                    Marty regarding documents review status issues.
                    (.40)
11/13/2012   DJB    Quality check and provide feedback to contract          L120     4.60 hrs
                    reviewers' first level privilege and redaction coding
                    of documents for custodian Lisa Gess 2010-2012
                    015 (coded by Saima Khalil) potentially responsive
                    to Examiner document requests.
11/13/2012   DJB    Quality check and provide feedback to contract          L120     5.80 hrs
                    reviewers' first level privilege and redaction coding
                    documents for custodian Hamzehpour 2010-2012
                    006 (coded by Deshaun Harris) potentially
                    responsive to Examiner document requests.
11/13/2012   MMM    Quality control review of documents marked not          L120     5.90 hrs
                    privileged in Hamzehpour batch 20.

11/13/2012   MMM    Continue quality control review of documents            L120     6.50 hrs
                    marked partially privileged in Hamzehpour batch
                    20.(6.30) Meeting with Ms. Marty regarding
                    issues on review. (.20)
11/13/2012   MMM    Continue quality control review of Lombardo             L120     0.70 hrs
                    batch 10.

11/13/2012   DAB    E-mails with Mr. Day (Morrison & Foerster)              L120     0.30 hrs
                    regarding examiner exhibits and preparations for
                    upcoming examiner interviews.
11/13/2012   DAB    E-mail Ms. Battle regarding work tasks for              L120     0.10 hrs
                    upcoming examiner interviews.

11/13/2012   DAB    E-mails with Mr. Lee (Morrison & Foerster)              L120     0.30 hrs
                    regarding arguments on monoline claims.

11/13/2012   JRC    Communicate with Ms. Battle and Ms. Marty               L320     0.20 hrs
                    regarding status of document production to the
                    bankruptcy examiner.
11/13/2012   JRC    E-mail exchanges with document reviewers                L320     0.20 hrs
                    regarding correct coding of certain documents
                    under review protocol.
11/13/2012   JRC    Conference with Mr. Ibom regarding correct              L320     0.10 hrs
                    coding of documents under the review protocol.

11/13/2012   JRC    Review for quality control e-mails of Ms.               L320     4.40 hrs
                    Hamzehpour coded by first-level document
                    reviewers in Discovery Partner.
11/13/2012   JRC    Review and analyze documents in Discovery               L320     0.30 hrs
                    Partner in order to locate interview preparation
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                    materials for former independent directors Tom
                    Jacobs and Tom Melzer.
11/13/2012   JDR    Quality control review of documents as outlined in    L320     0.60 hrs
                    quality control protocol and produced in response
                    to examiner requests, batch Gess 010, initial
                    review by Sandavol.
11/13/2012   JDR    Quality control review of documents as outlined in    L320     0.80 hrs
                    quality control protocol and produced in response
                    to examiner requests, batch Hamzepour 025, first
                    level review by Ritzler.
11/13/2012   SP     Review board and audit committee meeting              L120     1.40 hrs
                    materials for information related to Mr. Senick and
                    Mr. Griffin in order to determine if anything is
                    needed in advance of interviews.
11/13/2012   SP     Communicate with Ms. Marty and Ms. Sholl              L120     0.50 hrs
                    regarding quality control protocol going forward.

11/13/2012   SP     Answer questions for first level reviewers relating   L120     0.60 hrs
                    to coding process and privilege issues.

11/13/2012   SP     Analyze previously designated documents to be         L320     3.20 hrs
                    produced to the bankruptcy examiner relating to
                    Mr. Lombardo in Discovery Partner for privilege
                    and confidentiality designation.
11/13/2012   SP     Analyze previously designated documents to be         L320     2.20 hrs
                    produced to the bankruptcy examiner relating to
                    Ms. Gess in Discovery Partner for privilege and
                    confidentiality designation.
11/13/2012   SP     Analyze previously designated documents to be         L320     6.20 hrs
                    produced to the bankruptcy examiner relating to
                    Ms. Hamzehpour in Discovery Partner for
                    privilege and confidentiality designation.
11/13/2012   GNM    Working in Discovery Partner database performing      L320     1.10 hrs
                    quality control checks on data to be released for
                    production.
11/13/2012   GNM    Drafting and sending e-mail communication to Ms.      L120     0.30 hrs
                    Gulley (DTI) to submit documents for production.

11/13/2012   GNM    Evaluating metrics for Examiner productions.          L320     0.50 hrs


11/13/2012   GNM    Meeting with Ms. Chinn (Contract Reviewer)            L120     0.50 hrs
                    regarding Quality Control Protocol.

11/13/2012   GNM    Meeting with Ms. Mohler regarding Quality             L120     0.20 hrs
                    Control Protocol.
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11/13/2012   GNM    Telephone communication with Ms. Gulley (DTI)        L120     0.50 hrs
                    regarding timeline for Examiner production.

11/13/2012   GNM    Telephone communications with DTI team               L120     0.20 hrs
                    regarding status of productions.

11/13/2012   GNM    Working in Discovery Partner database performing     L320     4.00 hrs
                    second level review on Ms. Hamzehpour's data as
                    outlined in the Quality Control Protocol.
11/13/2012   GNM    Working in Discovery Partner database answering      L320     4.00 hrs
                    reviewers questions regarding privilege and
                    responsiveness designations.
11/13/2012   GNM    Working in Discovery Partner database performing     L320     3.40 hrs
                    quality control on documents for production.

11/13/2012   GNM    Meeting with Ms. Sholl regarding missing             L120     0.30 hrs
                    redactions.

11/13/2012   GNM    Drafting e-mail communications for quality control   L120     0.40 hrs
                    team regarding timeline for review.

11/13/2012   GNM    E-mail communications with Mr. Albusieri             L120     0.20 hrs
                    (Contract Reviewer) regarding re-review of not
                    responsive documents.
11/13/2012   GNM    E-mail communications with Ms. Gulley (DTI)          L120     0.20 hrs
                    regarding annotation pane configuration for
                    privilege log review.
11/13/2012   AJM    Quality control review of documents withheld         L320     0.70 hrs
                    partially or entirely in response to examiner
                    document requests, fifth set of documents
                    produced to examiner
11/13/2012   AJM    Draft privilege log for fifth set of documents       L320     2.70 hrs
                    produced in response to examiner document
                    requests
11/13/2012   AJM    Quality control review of documents to be            L320     3.40 hrs
                    produced in response to examiner requests, batch
                    Hamzehpour 2010-12 22, initial review done by
                    Ms. Albuseiri.
11/13/2012   AJM    Quality control review of documents to be            L320     1.10 hrs
                    produced in response to examiner requests, batch
                    Hamzehpour 2010-12 36, initial review done by
                    Ms. McPaul.
11/13/2012   AJM    Quality control review of documents to be            L320     3.00 hrs
                    produced in response to examiner requests, batch
                    Hamzehpour 2010-12 11, initial review done by
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                    Ms. Parker.
11/13/2012   SCM    Quality control review of Hamzehpour 19              L320     4.60 hrs
                    documents.

11/14/2012   AMP    Draft e-mail to Mr. Brown (Morrison & Foerster)      L320     0.20 hrs
                    regarding corrections of production set
                    descriptions.
11/14/2012   AMP    Multiple e-mails with Mr. Brown (Morrison &          L320     0.40 hrs
                    Foerster) regarding corrections of production set
                    descriptions.
11/14/2012   AMP    Attention to combined privilege log for production   L320     0.90 hrs
                    set 5.

11/14/2012   AMP    Conference with Ms. Marty regarding corrections      L320     0.30 hrs
                    as to production sets for privilege log purposes.

11/14/2012   MNB    Draft response to papers submitted to examiner       L250     7.50 hrs
                    regarding third-party claims.

11/14/2012   VLS    Monitor review status of expanded review and         L320     1.20 hrs
                    quality control teams.

11/14/2012   VLS    Assignment of document review batches.               L320     0.80 hrs


11/14/2012   VLS    Assignment of quality control review batches.        L320     1.40 hrs


11/14/2012   VLS    Update document review progress chart. (1.60)        L320     2.20 hrs
                    Meeting with Ms. Marty regarding review status.
                    (.60)
11/14/2012   TKI    Review e-mail documents for quality control          L120     5.80 hrs
                    purposes for Young 18 batch.

11/14/2012   JALB   Review revised draft of position paper response      L120     0.70 hrs
                    and provide comments to Mr. Beekhuizen.

11/14/2012   JALB   Discussion with Mr. Corcoran and Mr. Beck            L120     0.80 hrs
                    regarding Examiner preparation materials for
                    upcoming witnesses, including Mssrs. Senick,
                    Bier, and James and Ms. Gess.
11/14/2012   JALB   Draft introductory section for position paper        L120     0.60 hrs
                    response.

11/14/2012   JALB   Review preparation materials for interview of Mr.    L330     0.80 hrs
                    Senick (Residential Capital employee).
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11/14/2012   JALB   Correspondence with Mr. Lipps and Mr.                   L120     0.30 hrs
                    Beekhuizen regarding position paper response.

11/14/2012   JALB   Correspondence with Mr. Brown (Morrison &               L120     0.40 hrs
                    Foerster) regarding follow-up on document review
                    and collection.
11/14/2012   JALB   Follow-up regarding quality control staffing and        L320     0.40 hrs
                    priorities.

11/14/2012   JALB   Continued review of Mr. Senick's preparation            L330     0.40 hrs
                    materials.

11/14/2012   JALB   Review and comment on main position paper               L120     0.90 hrs
                    response.

11/14/2012   JALB   Coordination with Ms. Levitt, Mr. Illovsky and Mr.      L120     0.90 hrs
                    Day (all Morrison & Foerster) regarding Examiner
                    preparation and interview scheduling.
11/14/2012   DJB    Quality check and provide feedback to contract          L120     5.60 hrs
                    reviewers' first level responsiveness and issue
                    coding of documents for custodian Hamzehpour
                    2010-2012 006 (coded by Deshaun Harris)
                    potentially responsive to Examiner document
                    requests.
11/14/2012   DJB    Quality check and provide feedback to contract          L120     5.30 hrs
                    reviewers' first level privilege and redaction coding
                    of documents for custodian Hamzehpour
                    2010-2012 006 (coded by Deshaun Harris)
                    potentially responsive to Examiner document
                    requests.
11/14/2012   DJB    Research contact information for Craig Chapman          L120     1.20 hrs
                    in preparation for Examiner interviews.

11/14/2012   MMM    Continue quality control review of documents            L120     4.20 hrs
                    marked partially privileged in Hamzepour batch
                    20.
11/14/2012   MMM    Perform quality control review of Hamzehpour            L120     1.50 hrs
                    batch 40.

11/14/2012   MMM    Perform quality control review of Hamzehpour            L120     2.50 hrs
                    batch 42.

11/14/2012   DAB    Analyze examiner exhibits received from Mr. Day         L120     0.20 hrs
                    of Morrison & Foerster.

11/14/2012   DAB    Meeting with Ms. Battle and Mr. Corcoran                L120     0.80 hrs
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                    regarding key issues and division of tasks for
                    preparation for upcoming examiner interviews.
11/14/2012   DAB    Follow-up conversation with Mr. Corcoran             L120     0.30 hrs
                    regarding examiner production database.

11/14/2012   DAB    Analyze list of Redmond exhibits from Mr. Day        L330     0.10 hrs
                    (Morrison & Foerster).

11/14/2012   DAB    Communicate with Mr. Corcoran regarding              L120     0.20 hrs
                    research needed on Redmond exhibits.

11/14/2012   DAB    Communicate with Mr. Day and Mr. Serrano             L120     0.20 hrs
                    (Morrison & Foerster) regarding Mr. Redmond's
                    exhibits.
11/14/2012   DAB    Research regarding exhibits used by examiner in      L120     3.70 hrs
                    previous interviews.

11/14/2012   JRC    Conference with Mr. Beck and Ms. Battle              L420     1.10 hrs
                    regarding interview preparation materials for
                    witnesses identified by the bankruptcy examiner.
                    (.80) Follow-up conference with Mr. Beck
                    regarding same. (.30)
11/14/2012   JRC    Review documents produced to the examiner in         L320     2.90 hrs
                    Discovery Partner in order to prepare interview
                    preparation materials for Mr. Senick.
11/14/2012   JRC    Review for quality control e-mails of Ms.            L320     0.50 hrs
                    Hamzehpour coded by first-level document
                    reviewers in Discovery Partner.
11/14/2012   JRC    Review and analyze exhibits previously marked in     L420     0.60 hrs
                    bankruptcy examiner interviews in order to prepare
                    interview preparation materials for Mr. Senick.
11/14/2012   JRC    Draft summary of documents relevant to Mr.           L320     0.30 hrs
                    Senick's interview preparation for Ms. Battle.

11/14/2012   JRC    Review documents produced to the examiner in         L320     2.40 hrs
                    Concordance in order to prepare interview
                    preparation materials for Mr. Senick.
11/14/2012   JRC    Review and analyze documents in Discovery            L320     0.30 hrs
                    Partner in order to prepare interview preparation
                    materials for Mr. James.
11/14/2012   JDR    Quality control review of documents as outlined in   L320     1.90 hrs
                    quality control protocol and produced in response
                    to examiner requests, batch Hamzepour 025, first
                    level review by Ritzler.
11/14/2012   SP     Analyze previously designated documents to be        L320     7.70 hrs
                    produced to the bankruptcy examiner relating to
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                    Ms. Hamzehpour in Discovery Partner for
                    privilege and confidentiality designation.
11/14/2012   GNM    Working in Discovery Partner database performing     L320     4.30 hrs
                    quality control on documents for production.

11/14/2012   GNM    E-mail communications with Ms. Gulley (DTI) to       L120     0.40 hrs
                    submit documents for production.

11/14/2012   GNM    Conference with reviewers regarding protocol for     L120     0.60 hrs
                    redactions.

11/14/2012   GNM    Meeting with Ms. Sholl regarding review status.      L120     0.60 hrs


11/14/2012   GNM    Researching in litigation databases to determine     L320     0.70 hrs
                    previously volume of previously restored data for
                    new custodian request.
11/14/2012   GNM    Drafting and sending e-mail communication to Ms.     L120     0.40 hrs
                    Battle regarding data available for new custodian
                    request.
11/14/2012   GNM    Working in Discovery Partner database answering      L320     2.10 hrs
                    reviewers questions regarding privilege and
                    responsiveness designations.
11/14/2012   GNM    Working in Discovery Partner database performing     L320     3.30 hrs
                    second level review on items marked with issue
                    codes as outlined in Quality Control Protocol.
11/14/2012   GNM    Working in Discovery Partner database                L320     1.00 hrs
                    configuring data for third level review.

11/14/2012   GNM    Drafting and sending email communications to         L120     0.40 hrs
                    quality control team regarding end of second level
                    review.
11/14/2012   GNM    Drafting and sending e-mail communications to        L120     0.80 hrs
                    Ms. Battle regarding conclusion of second level
                    review.
11/14/2012   GNM    Meeting with Ms. Whitfield regarding privilege       L120     0.60 hrs
                    log. (.30) Follow-up on issues raised in meeting.
                    (.30)
11/14/2012   GNM    E-mail communication with Mr. Underhill              L120     0.20 hrs
                    (Residential Capital) regarding new custodian
                    requests.
11/14/2012   AJM    Quality control review of documents to be            L320     7.40 hrs
                    produced in response to examiner requests, batch
                    Hamzehpour 2010-12 11, initial review done by
                    Ms. Parker.
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11/14/2012   SCM    Quality control review of Hamzehpour 19               L320     5.30 hrs
                    documents.

11/14/2012   SCM    Communicate with Ms. Marty regarding review of        L320     0.20 hrs
                    Hamzehpour documents.

11/15/2012   AMP    Review e-mails from Ms. Battle and Mr. Salerno        L320     0.20 hrs
                    (Morrison & Foerster) regarding status of
                    production of documents.
11/15/2012   JAL    Review Mr. Senick's preparation materials in          L120     1.50 hrs
                    transit (.40). Conference with Ms. Battle regarding
                    same (.10). Review and redraft current draft of
                    response to creditor submission (.50). Review
                    e-mail from Ms. Battle regarding same (.10).
                    Review and analyze swap documents (.20).
                    Review and respond to e-mails regarding use of
                    MBIA litigation confidential materials (.10).
                    Conference with Ms. Battle regarding same (.10).
11/15/2012   MNB    Review deposition exhibits from MBIA/RFC              L120     1.60 hrs
                    matter for potential use in response to MBIA
                    submission paper.
11/15/2012   VLS    Monitor review status of expanded review and          L320     1.10 hrs
                    quality control teams.

11/15/2012   VLS    Assignment of document review batches.                L320     1.60 hrs


11/15/2012   VLS    Update document review progress chart.                L320     0.90 hrs


11/15/2012   VLS    Conference with Ms. Marty to discuss completion       L320     0.40 hrs
                    of recent document production and review of
                    privileged documents for privilege log.
11/15/2012   VLS    Conference with Ms. Marty to discuss performance      L320     0.80 hrs
                    of first level document review team and reduction
                    in team size.
11/15/2012   VLS    Assignment of batches of privileged documents for     L320     1.10 hrs
                    privilege log review.

11/15/2012   JALB   Meet with Mr. Senick (Residential Capital), Mr.       L120     4.40 hrs
                    Illovsky and Mr. Day (both Morrison & Foerster)
                    regarding preparation for examiner witness
                    interview. (4.30) Communicate with Mr. Lipps
                    regarding issues for Mr. Senick. (.10)
11/15/2012   JALB   Further discussion with Mr. Illovsky and Mr. Day      L120     0.30 hrs
                    (Morrison & Foerster) regarding scheduling of
                    additional witnesses.
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11/15/2012   JALB   Discussion with Mr. Illovsky and Mr. Day              L120     0.40 hrs
                    (Morrison & Foerster) regarding experience of
                    other witnesses.
11/15/2012   JALB   Discussion with Mr. Day (Morrison & Foerster)         L120     0.70 hrs
                    regarding witness list and overlap of issues across
                    Examiner and other matters.
11/15/2012   JALB   Review supplemental materials regarding MSR           L330     1.70 hrs
                    swaps and Mr. Redmond's interview to prepare for
                    Mr. Senick's interview.
11/15/2012   JALB   Attention to witness scheduling.                      L330     0.30 hrs


11/15/2012   JALB   Meet with Mr. Illovsky and Mr. Day (both              L120     1.40 hrs
                    Morrison & Foerster) regarding witness scheduling
                    and Mr. Senick's preparation.
11/15/2012   JALB   Review revised draft of main position paper           L120     0.60 hrs
                    response and provide revisions to Mr. Beekhuizen
                    and Mr. Lipps.
11/15/2012   JALB   Follow-up e-mails and discussion with witnesses       L120     0.30 hrs
                    regarding scheduling of interview.

11/15/2012   JALB   Correspondence with Ms. Marty regarding quality       L120     0.10 hrs
                    control staffing.

11/15/2012   JALB   Correspondence with Mr. Corcoran, Mr. Beck and        L120     0.20 hrs
                    Mr. Rains (Morrison & Foerster) regarding other
                    complaints.
11/15/2012   DJB    Research and summarize William (Bill) Casey's         L120     1.90 hrs
                    roles at ResCap in preparation for Examiner
                    interviews.
11/15/2012   DAB    Review documents received from Morrison &             L330     0.20 hrs
                    Foerster related to Mr. Redmond's interview.

11/15/2012   DAB    Analyze examiner subpoenas to UBS entities.           L120     0.30 hrs


11/15/2012   DAB    Communicate with Ms. Battle and Mr. Corcoran          L120     0.20 hrs
                    regarding examiner subpoenas to UBS entities.

11/15/2012   DAB    Communicate with Mr. Phillips regarding               L120     0.10 hrs
                    additional analysis needed on board minutes.

11/15/2012   DAB    Update calendar on examiner issues.                   L120     0.30 hrs
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11/15/2012   DAB    Research issues related to steering committee          L120     1.40 hrs
                    paper for Mr. Beekhuizen.

11/15/2012   DAB    Research prepetition complaints to respond to          L120     2.80 hrs
                    questions of Ms. Battle.

11/15/2012   DAB    Draft e-mail to Mr. Illvosky and Mr. Day               L120     0.40 hrs
                    (Morrison & Foerster) regarding swap issues raised
                    by examiner in Dondzila interview.
11/15/2012   JRC    Review and analyze exhibits marked in interview        L330     0.90 hrs
                    of Mr. Redmond and documents produced to the
                    examiner in order to prepare interview preparation
                    materials for Mr. Senick.
11/15/2012   SP     Review board and committee meeting minutes to          L120     4.80 hrs
                    identify attendees for upcoming interviews.

11/15/2012   SP     Create chart of board and committee meeting            L120     4.30 hrs
                    attendees so that all of the necessary materials can
                    be included in interview-preparation binders.
11/15/2012   GNM    Editing Quality Control Protocol.                      L320     1.10 hrs


11/15/2012   GNM    Working in Discovery Partner answering reviewer        L320     0.60 hrs
                    questions regarding privilege and responsiveness
                    determinations.
11/15/2012   GNM    Drafting and sending e-mail communications to          L120     0.40 hrs
                    Mr. Salerno (Morrison & Foerster) regarding
                    conclusion of second level review for the first
                    wave custodians.
11/15/2012   GNM    Drafting and sending Ms. Battle e-mail regarding       L120     0.40 hrs
                    new custodian requests.

11/15/2012   GNM    Telephone communications with Ms. Klun (Lumen          L120     0.10 hrs
                    Legal) regarding staffing levels for Examiner
                    review.
11/15/2012   GNM    E-mail communications with Ms. Klun (Lumen             L120     0.20 hrs
                    Legal) regarding staffing levels for Examiner
                    review.
11/15/2012   GNM    Performing quality control checks on productions       L320     1.10 hrs
                    EXAM118-121 to be sent to Chadbourne.

11/15/2012   GNM    Drafting and sending e-mail to Mr. Brown               L120     0.40 hrs
                    (Morrison & Foerster) regarding productions
                    EXAM118-121 to be sent to Chadbourne.
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11/15/2012   GNM    Drafting cover letter to be sent with productions   L120     0.50 hrs
                    EXAM122/123.

11/15/2012   GNM    Telephone communications with Mr. Underhill         L120     0.50 hrs
                    (Residential Capital) regarding new custodian
                    requests.
11/15/2012   GNM    Meeting with Ms. Sholl regarding strategy for       L120     1.30 hrs
                    privilege log review. (.40) Conference with Ms.
                    Sholl regarding first level document review and
                    revisions to team size. (.90)
11/15/2012   GNM    Drafting and sending e-mail communications to       L120     0.40 hrs
                    quality control team regarding changes to the
                    Quality Control Protocol.
11/15/2012   AJM    Quality control review of documents withheld        L320     1.20 hrs
                    partially or entirely in response to examiner
                    document requests, fifth set of documents
                    produced to examiner.
11/15/2012   AJM    Draft privilege log for fifth set of documents      L320     1.80 hrs
                    produced in response to examiner document
                    requests.
11/15/2012   AJM    Quality control review of documents withheld        L320     0.80 hrs
                    partially or entirely in response to examiner
                    document requests, sixth set of documents
                    produced to examiner.
11/15/2012   AJM    Draft privilege log for sixth set of documents      L320     1.30 hrs
                    produced in response to examiner document
                    requests.
11/15/2012   SCM    Review second-level privilege review protocol.      L320     0.10 hrs


11/16/2012   AMP    Review and respond to e-mail from Mr. Barthel       L120     0.20 hrs
                    regarding Mr. Casey.

11/16/2012   AMP    Attention to clawback issues.                       L120     0.40 hrs


11/16/2012   AMP    E-mail exchange with Ms. Battle regarding           L120     0.20 hrs
                    clawback determinations.

11/16/2012   JAL    Conference with Ms. Battle regarding Mr. Senick's   L120     4.00 hrs
                    preparation (.40). Conference with Mr. Senick
                    (Residential Capital), Mr. Day (Morrison &
                    Foerster) and Ms. Battle regarding same (.60).
                    Participate in parts of examiner interview of Mr.
                    Senick (2.5). Review and redraft Mr. Redmond's
                    interview memo (.30). Review e-mails regarding
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                    use of MBIA litigation confidential material (.20).
11/16/2012   MNB    Draft response to papers submitted to examiner        L250     2.30 hrs
                    regarding third-party claims.

11/16/2012   VLS    Monitor review status of document review team.        L320     1.40 hrs


11/16/2012   VLS    Assignment of review batches to document review       L320     0.80 hrs
                    team

11/16/2012   VLS    Preparation of phase two document review status       L320     1.20 hrs
                    chart.

11/16/2012   VLS    Preparation of privilege log document review          L320     1.40 hrs
                    status chart.

11/16/2012   VLS    E-mail exchanges with document review team            L320     0.60 hrs
                    members regarding additional data being processed
                    and uploaded for review.
11/16/2012   VLS    E-mail exchange with Carpenter Lipps and Leland       L320     0.80 hrs
                    and Morrison and Foerster attorney regarding the
                    review and coding of documents for the privilege
                    log.
11/16/2012   JES    Conference with Mr. Beck regarding James              L120     0.20 hrs
                    interview preparations.

11/16/2012   JES    Begin document review for James interview             L120     3.00 hrs
                    preparation outline.

11/16/2012   JALB   Attention to planning for upcoming witness            L330     0.30 hrs
                    interviews (Bossidy, Jawes).

11/16/2012   JALB   Revise draft letter from Morrison & Foerster to       L120     0.30 hrs
                    Chadbourne regarding status of document
                    discovery.
11/16/2012   JALB   Correspondence with Mr. Salerno and Mr. Brown         L120     0.30 hrs
                    (both Morrison & Foerster) regarding additional
                    data collection for Examiner production.
11/16/2012   JALB   Review and comment on draft correspondence            L120     0.20 hrs
                    regarding current discovery demands.

11/16/2012   JALB   Various correspondence and telephone conferences      L120     0.40 hrs
                    with Ms. Marty regarding delays in Examiner
                    Phase 1 final production.
11/16/2012   JALB   Attend interview of Mr. Senick (Residential           L330     7.20 hrs
                    Capital). (6.20) Conference with Mr. Lipps
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                    regarding Mr. Senick's preparation. (.40)
                    Conference with Mr. Senick, Mr. Day (Morrison &
                    Foerster) and Mr. Lipps regarding same. (.60)
11/16/2012   DJB    Quality check and provide feedback to contract       L120     3.70 hrs
                    reviewers' first level coding of documents for
                    Privilege Log quality control Batch 26 potentially
                    responsive to Examiner document requests for
                    responsiveness and privilege.
11/16/2012   DJB    Quality check and provide feedback to contract       L120     4.60 hrs
                    reviewers' first level coding of documents for
                    Privilege Log quality control Batch 26 potentially
                    responsive to Examiner document requests for
                    redactions and issues.
11/16/2012   DAB    Communicate with Ms. Battle regarding pending        L120     0.20 hrs
                    projects on examiner and next work assignments.

11/16/2012   DAB    Conference with Mr. Sechler regarding preparation    L120     0.20 hrs
                    for upcoming examiner depositions.

11/16/2012   DAB    E-mail Mr. Day (Morrison & Foerster) regarding       L120     0.10 hrs
                    preparations for deposition of Mr. James and Ms.
                    Gess.
11/16/2012   DAB    Conference with Mr. Sechler regarding likely         L120     0.10 hrs
                    topics for examiner interview of Mr. James.

11/16/2012   DAB    Call with Mr. Day (Morrison & Foerster) and Mr.      L120     0.30 hrs
                    Sechler regarding preparations for examiner
                    interviews of Mr. James and Ms. Gess.
11/16/2012   JRC    Conference with Mr. Beck regarding interview         L120     0.10 hrs
                    preparation materials for bankruptcy examiner.

11/16/2012   JRC    E-mail exchange with first-level document            L320     0.10 hrs
                    reviewer regarding correct coding of documents
                    under the examiner review protocol.
11/16/2012   SP     Revise chart of board meeting attendees.             L120     1.20 hrs


11/16/2012   SP     Review board meeting minutes to identify             L120     1.80 hrs
                    attendees for preparations for upcoming
                    interviews.
11/16/2012   GNM    Working in Discovery Partner answering reviewer      L320     0.50 hrs
                    questions regarding privilege and responsiveness
                    determinations.
11/16/2012   GNM    Exchanging e-mail communications with Ms.            L120     0.80 hrs
                    Gulley (DTI) regarding productions
                    EXAM122/123.
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11/16/2012   GNM    Exchanging e-mail communications with Ms.            L120     0.60 hrs
                    Battle regarding productions EXAM122/123.

11/16/2012   GNM    Editing production effort memorandum drafted by      L320     0.50 hrs
                    Mr. Brown (Morrison & Foerster).

11/16/2012   GNM    Telephone communications with Mr. Seligson           L120     0.40 hrs
                    (Morrison & Foerster) regarding Quality Control
                    Protocol.
11/16/2012   GNM    E-mail communications with Ms. Tice (Morrison        L120     0.10 hrs
                    & Foerster) regarding productions EXAM122/123.

11/16/2012   GNM    Drafting and sending e-mail communications to        L120     0.20 hrs
                    Mr. Underhill (Residential Capital) regarding data
                    restoration for first wave custodians.
11/16/2012   GNM    Telephone communications with Mr. Underhill          L120     0.40 hrs
                    (Residential Capital) regarding new custodian
                    requests.
11/16/2012   AJM    Quality control review of documents withheld         L320     2.50 hrs
                    partially or entirely in response to examiner
                    document requests, sixth set of documents
                    produced to examiner.
11/16/2012   AJM    Draft privilege log for sixth set of documents       L320     3.20 hrs
                    produced in response to examiner document
                    requests.
11/16/2012   SCM    Privilege log quality control review for batch 19.   L320     3.70 hrs


11/17/2012   AMP    Revise privilege log for production set no. 5.       L320     1.40 hrs


11/17/2012   JAL    Review and redraft response to creditor              L250     2.50 hrs
                    submissions (2.3). Telephone conference with Mr.
                    Beekhuizen regarding same (20).
11/17/2012   SP     Review board meeting minutes to identify             L120     2.40 hrs
                    attendees for upcoming interviews.

11/17/2012   SP     Revise chart of board meeting attendees to include   L120     2.30 hrs
                    2010-2012 meetings.

11/17/2012   SP     Send board meeting attendance chart to team.         L120     0.20 hrs


11/17/2012   GNM    E-mail communications with Ms. Gulley (DTI)          L120     0.30 hrs
                    regarding production errors for EXAM122/123.
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11/17/2012   GNM    Telephone communications with Ms. Gulley (DTI)        L120     0.70 hrs
                    regarding production errors for EXAM122/123

11/17/2012   GNM    E-mail communication with Ms. Battle, Mr. Brown       L120     0.10 hrs
                    and Mr. Salerno (Morrison & Foerster) regarding
                    production issues for EXAM122/123.
11/17/2012   AJM    Quality control review of documents to be             L320     2.00 hrs
                    produced in response to examiner request,
                    supplemental production, privilege log review
                    batch 20.
11/18/2012   AMP    Multiple e-mails with Morrison & Foerster             L320     0.80 hrs
                    regarding withheld and redacted privilege log for
                    production set no. 5.
11/18/2012   AMP    Review documents and coding for same to identify      L320     1.20 hrs
                    potential clawback or potential supplemental
                    production documents from set no. 5.
11/18/2012   AMP    Revise and finalize combined withheld and             L320     2.90 hrs
                    redacted privilege log for production set no. 5 to
                    the Examiner.
11/18/2012   JAL    Review comments on response to creditor               L250     2.00 hrs
                    submission from Ms. Levitt (Morrison & Foerster)
                    (.40). Redraft response memorandum in light of
                    comments (1.5). Telephone conference with Mr.
                    Beekhuizen regarding same (.10).
11/18/2012   MNB    Draft response to Steering Committee argument         L250     2.70 hrs
                    that alter-ego claims belong to the RMBS Trusts
                    rather than to Debtors. (2.60) Conference with Mr.
                    Lipps regarding same. (.10)
11/18/2012   MNB    Review veil-piercing materials and research           L120     3.20 hrs
                    relating to Steering Committee arguments that alter
                    ego claims belong to the RMBS Trusts rather than
                    to Debtors.
11/18/2012   JALB   Organize preparation materials for witnesses Mr.      L330     0.20 hrs
                    Marano and Mr. James.

11/18/2012   JALB   Telephone conference with Ms. Marty, Ms. Gulley       L330     0.50 hrs
                    (DTI), Mr. Brown and Mr. Salerno (both Morrison
                    & Foerster) regarding final productions of Phase 1
                    e-mails to Chadbourne. (.30) Prepare for same.
                    (.20)
11/18/2012   JALB   Attention to witness scheduling coordination          L330     0.30 hrs
                    issues.

11/18/2012   JALB   Follow-up correspondence regarding final              L120     0.30 hrs
                    productions of Phase 1 e-mails to Chadbourne.
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11/18/2012   DAB    Research document productions for materials            L330     1.80 hrs
                    relevant to examiner interview of Ms. Gess.

11/18/2012   SP     Analyze previously designated documents to be          L320     2.60 hrs
                    produced to the bankruptcy examiner in Discovery
                    Partner for privilege and confidentiality
                    designation.
11/18/2012   SP     Review document review protocol and confirm            L120     0.40 hrs
                    questions with Ms. Marty.

11/18/2012   GNM    Conference call with Ms. Gulley (DTI), Mr. Brown       L120     0.30 hrs
                    and Mr. Salerno (Morrison & Foerster) and Ms.
                    Battle regarding production errors with
                    EXAM122/123.
11/18/2012   GNM    E-mail communications with Mr. Dalton (Morrison        L120     0.30 hrs
                    & Foerster) regarding Quality Control Protocol.

11/18/2012   GNM    Working in Discovery Partner database answering        L320     0.70 hrs
                    reviewers questions regarding privilege and
                    responsiveness designations.
11/18/2012   GNM    Editing production effort memorandum drafted by        L320     0.50 hrs
                    Mr. Brown (Morrison & Foerster).

11/18/2012   GNM    Re-drafting cover letter to be sent with productions   L120     0.40 hrs
                    EXAM122/123.

11/18/2012   GNM    E-mail communications with Ms. Tice (Morrison          L120     0.10 hrs
                    & Foerster) regarding productions EXAM122/123.

11/18/2012   AJM    Quality control review of documents to be              L320     2.00 hrs
                    produced in response to examiner request,
                    supplemental production, privilege log review
                    batch 20.
11/18/2012   SCM    Privilege log quality control review for batch 19.     L320     3.90 hrs


11/19/2012   AMP    Multiple e-mails with Mr. Brown (Morrison &            L320     0.30 hrs
                    Foerster) regarding privilege log issues.

11/19/2012   AMP    Attention to privilege log issues.                     L320     0.40 hrs


11/19/2012   AMP    Multiple e-mails regarding Cerberus' potentially       L320     0.60 hrs
                    privileged documents.

11/19/2012   AMP    Attention to logistics for review of Cerberus'         L320     0.20 hrs
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                    potentially privileged documents.

11/19/2012   AMP    Conference call with Mr. Brown (Morrison &            L320     0.30 hrs
                    Foerster) and Cerberus' counsel regarding review
                    of potentially privileged documents.
11/19/2012   AMP    Review and respond to e-mails from Ms. Battle         L320     0.40 hrs
                    and Mr. Brown (Morrison & Foerster) regarding
                    Cerberus' potentially privileged documents and the
                    review of the same.
11/19/2012   AMP    Conference calls with Mr. Brown (Morrison &           L320     0.30 hrs
                    Foerster) and Ms. Marty regarding review of
                    Cerberus' potentially privileged documents.
11/19/2012   AMP    Update key for privilege log relating to production   L320     1.10 hrs
                    no. 5.

11/19/2012   JAL    Participate on call with Ms. Levitt, Mr. Illovsky,    L120     3.10 hrs
                    Mr. Klein (Morrison & Foerster), Ms. Battle and
                    Mr. Beekhuizen to discuss creditor submission
                    responses (.60). Conference with Ms. Battle
                    regarding same (.20). Review e-mails regarding
                    same (.10). Review and redraft response to credit
                    submissions (.80). Conference with Mr.
                    Beekhuizen regarding same (.10). Review and
                    respond to e-mails regarding interview schedule
                    and coverage (.10). Review MBIA submission, the
                    SUN and Investor Steering Committee submissions
                    (1.20).
11/19/2012   MNB    Attend conference call with Morrison Foerster         L120     0.60 hrs
                    attorneys Mr. Lipps and Ms. Battle regarding
                    response to third-party claimant submission papers
                    to the examiner. (.50) Call with Mr. Lipps
                    regarding same. (.10)
11/19/2012   VLS    Update document review tracking spreadsheet with      L320     0.60 hrs
                    new custodian data.

11/19/2012   VLS    Obtain document reviewer time cards and review        L320     1.10 hrs
                    for accuracy.

11/19/2012   VLS    Approve document reviewer time cards.                 L320     0.30 hrs


11/19/2012   VLS    Monitor review status of privilege log document       L320     0.80 hrs
                    review.

11/19/2012   VLS    Update privilege log document review status chart.    L320     0.80 hrs
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11/19/2012   JES    Review and gather documents related to James          L120     8.00 hrs
                    interview. (7.70) E-mail Ms. Battle and Mr. Beck
                    regarding same. (.30)
11/19/2012   TKI    Review privilege log e-mail documents for quality     L120     3.20 hrs
                    control purposes.

11/19/2012   JALB   Telephone conference with Ms. Levitt, Mr.             L120     0.50 hrs
                    Illovsky, Mr. Klein (all Morrison & Foerster), Mr.
                    Lipps and Mr. Beekhuizen regarding revisions to
                    main position paper response and draft of Steering
                    Committee response.
11/19/2012   JALB   Correspondence with Mr. Brown (Morrison &             L120     0.10 hrs
                    Foerster) regarding document collection efforts.

11/19/2012   JALB   Various e-mails with Mr. Illovsky, Mr. Day            L120     0.40 hrs
                    (Morrison & Foerster) and Mr. Beck regarding
                    scheduling and coordination of Examiner
                    preparation and interviews
11/19/2012   JALB   Review draft of Steering Committee position paper     L120     0.30 hrs
                    response.

11/19/2012   DJB    Quality check and provide feedback to contract        L120     1.70 hrs
                    reviewers' first level coding of documents for
                    Privilege Log quality control Batch 26 potentially
                    responsive to Examiner document requests for
                    responsiveness and privilege.
11/19/2012   DJB    Quality check and provide feedback to contract        L120     2.60 hrs
                    reviewers' first level coding of documents for
                    Privilege Log quality control Batch 26 potentially
                    responsive to Examiner document requests for
                    redactions and issues.
11/19/2012   MMM    Perform quality control review of privileged log 18   L120     3.60 hrs
                    batch.

11/19/2012   DAB    Draft materials for Ms. Battle for preparation        L330     0.80 hrs
                    session for Mr. Marano.

11/19/2012   DAB    Research materials related to Mr. James.              L330     0.90 hrs


11/19/2012   DAB    Research document productions for materials           L330     0.60 hrs
                    relevant to examiner interview of Ms. Gess.

11/19/2012   DAB    Conference with Ms. Beekhuizen regarding              L120     0.10 hrs
                    response to Steering Committee position paper.

11/19/2012   DAB    Analyze steering committee response paper.            L120     0.40 hrs
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11/19/2012   DAB    Draft inserts for reply responding to steering          L120     1.40 hrs
                    committee position paper.

11/19/2012   DAB    Call with Mr. Day (Morrison & Foerster) and Mr.         L120     0.20 hrs
                    Sechler regarding preparations for upcoming
                    examiner papers.
11/19/2012   DAB    Communicate with Ms. Battle regarding results of        L120     0.10 hrs
                    call with Mr. Day of Morrison & Foerster and
                    work tasks on upcoming examiner interviews.
11/19/2012   DAB    Research materials relating to Ms. Gess.                L330     1.10 hrs


11/19/2012   DAB    Research arguments related to position papers of        L120     1.60 hrs
                    senior unsecured notes and junior secured notes.

11/19/2012   JDR    Quality control review of privilege log documents       L320     0.70 hrs
                    batch 013 as outlined in privilege log quality
                    control protocol.
11/19/2012   SP     Analyze previously designated documents to be           L320     3.20 hrs
                    produced to the bankruptcy examiner in Discovery
                    Partner for privilege and confidentiality
                    designation.
11/19/2012   GNM    Drafting and sending email communications to Mr.        L120     0.50 hrs
                    Brown (Morrison & Foerster) regarding release of
                    productions EXAM122/123.
11/19/2012   GNM    Conference call with Ms. Whitfield, Mr. Brown           L120     0.40 hrs
                    (Morrison & Foerster) and Ms. Gardiner (Schulte
                    Roth and Zabel) regarding possibly privileged
                    items.
11/19/2012   AJM    Quality control review of documents to be               L320     2.00 hrs
                    produced in response to examiner request,
                    supplemental production, privilege log review
                    batch 20.
11/19/2012   SCM    Privilege log quality control review for batch 19.      L320     3.70 hrs


11/19/2012   SCM    Telephone conference with Mr. Beck regarding            L120     0.10 hrs
                    research assignment regarding whether
                    veil-piercing claims are "time sensitive."
11/20/2012   AMP    Attention to privilege log relating to production no.   L320     0.90 hrs
                    6.
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11/20/2012   AMP    Multiple e-mails with Mr. Molnar regarding            L320     0.40 hrs
                    privilege log relating to production no 6.

11/20/2012   AMP    Telephone conference with Mr. Harris (Morrison        L320     0.30 hrs
                    & Foerster) regarding Kirkland & Ellis
                    interactions.
11/20/2012   AMP    E-mails with Mr. Brown (Morrison & Foerster)          L320     0.30 hrs
                    regarding Kirkland & Ellis interactions.

11/20/2012   AMP    Conference call with Mr. Brown (Morrison &            L320     1.10 hrs
                    Foerster), and Mr. Bryan (Kirkland & Ellis)
                    regarding Cerberus' potentially privileged
                    documents and the review of the same. (.20)
                    Conference with Ms. Marty regarding same. (.40)
11/20/2012   JAL    Participate on call with Mr. Illovsky, Ms. Levitt     L120     5.00 hrs
                    (Morrison & Foerster), Ms. Battle, Mr. Beck and
                    Mr. Beekhuizen to discuss creditor submission
                    responses (.50). Conference with Ms. Battle
                    regarding same (.20). Review and respond to
                    e-mails regarding SUN/JSN creditor submissions
                    (.20). Communicate with Mr. Beck and Ms. Battle
                    regarding proposed response (.30). Review and
                    redraft response to creditor submissions regarding
                    third-party claims (2.0). Review SUN and JSB
                    submissions (1.0). Review MBIA submission
                    (.50). Communicate with Ms. Battle, Mr. Beck
                    and Mr. Beekhuizen regarding same (.30).
11/20/2012   MNB    Draft response to submission papers to examiner       L250     3.20 hrs
                    regarding third-party claims. (2.30) Participate in
                    call with Morrison & Foerster team and Mr. Lipps,
                    Ms. battle and Mr. Beck regarding submission
                    responses. (.50) Conference with Ms. Battle and
                    Mr. Beck regarding issues raised by new wave of
                    papers. (.40)
11/20/2012   MNB    Receipt and review of MBIA submission to              L120     0.60 hrs
                    examiner regarding third-party claims.

11/20/2012   JES    Review additional Concordance documents for           L120     4.00 hrs
                    James interview.

11/20/2012   JES    Begin review of documents for Paradis interview       L120     3.00 hrs
                    preparation.

11/20/2012   TKI    Review privilege log e-mail documents for quality     L120     2.70 hrs
                    control purposes.

11/20/2012   JALB   Further discussion with Mr. Brown (Morrison &         L120     0.40 hrs
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                    Foerster) regarding document collection.

11/20/2012   JALB   Review new submissions from MBIA, JSNs,            L120      0.60 hrs
                    SUNs.

11/20/2012   JALB   Revise draft Steering Committee submission.        L120      2.90 hrs


11/20/2012   JALB   Telephone conference with Mr. Beekhuizen and       L120      0.30 hrs
                    Mr. Beck regarding new submissions.

11/20/2012   JALB   Telephone conference with Mr. Lipps regarding      L120      0.20 hrs
                    new submissions.

11/20/2012   JALB   Correspondence with Ms. Levitt (Morrison &         L120      0.30 hrs
                    Foerster) and team regarding new submissions.

11/20/2012   JALB   Meet with Mr. Brown (Morrison & Foerster) and      L120      0.20 hrs
                    Mr. Marano regarding document collection.

11/20/2012   JALB   Follow-up e-mails to Ms. Shank, Mr. Ruckdaschel    L120      0.70 hrs
                    and Ms. Zellmann (all Residential Capital)
                    regarding further collection of paper documents.
11/20/2012   JALB   Correspondence with Mr. Klein and Mr. Brown        L120      0.20 hrs
                    (Morrison & Foerster) regarding tracking of
                    information shared via Mesirow.
11/20/2012   JALB   Begin reviewing materials for interview            L330      0.50 hrs
                    preparation of Mr. James.

11/20/2012   JALB   Correspondence with Mr. Beck regarding materials   L120      0.30 hrs
                    for interview preparation of Mr. James.

11/20/2012   JALB   Mr. Day (Morrison & Foerster) regarding            L120      0.20 hrs
                    staffing/coverage of upcoming Examiner
                    interviews.
11/20/2012   JALB   Review witness preparation materials for Mr.       L330      0.60 hrs
                    Marano (Residential Capital).

11/20/2012   JALB   Provide substantive notes and topic areas to Mr.   L330      0.50 hrs
                    Sechler regarding Mssrs. Flees and Paradis to
                    guide witness preparation materials.
11/20/2012   JALB   Correspondence with Ms. Marty regarding status     L120      0.20 hrs
                    of Examiner document productions and privilege
                    logs.
11/20/2012   JALB   Review e-mail memorandum from Ms. Marty            L120      0.30 hrs
                    regarding status of Examiner document
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
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                    productions and privilege logs.
11/20/2012   JALB   Telephone conference with Ms. Levitt, Mr.            L120     0.50 hrs
                    Illovsky (both Morrison & Foerster), Mr. Lipps,
                    Mr. Beekhuizen and Mr. Beck regarding strategy
                    for responding to various position paper
                    submissions to Examiner.
11/20/2012   JALB   Review memorandum from Mr. Beck on reserves          L120     0.40 hrs
                    history for preparation of Mr. Marano.

11/20/2012   JALB   Review transcript of Mr. Marano's deposition to      L330     0.80 hrs
                    prepare for Examiner interview preparation
                    meeting.
11/20/2012   JALB   Review research on veil-piercing and incorporate     L120     0.30 hrs
                    into Steering Committee response.

11/20/2012   JALB   Review and respond to comments from Mr. Beck         L120     0.20 hrs
                    regarding Steering Committee response.

11/20/2012   DJB    Quality check and provide feedback to contract       L120     2.40 hrs
                    reviewers' first level coding of documents for
                    Privilege Log quality control Batch 26 potentially
                    responsive to Examiner document requests for
                    responsiveness and privilege.
11/20/2012   DJB    Quality check and provide feedback to contract       L120     2.60 hrs
                    reviewers' first level coding of documents for
                    Privilege Log quality control Batch 26 potentially
                    responsive to Examiner document requests for
                    redactions and issues.
11/20/2012   MMM    Continue quality control review of privilege batch   L120     3.70 hrs
                    18. (2.80) Meeting with Ms. Marty regarding
                    issues relating to same. (.90)
11/20/2012   DAB    Communicate with Ms. Battle regarding                L120     0.20 hrs
                    preparations for Mr. Marano's interview.

11/20/2012   DAB    Research materials relevant to examiner interview    L330     0.30 hrs
                    of Mr. Marano.

11/20/2012   DAB    Communicate with Mr. Samson regarding                L120     0.10 hrs
                    additional examiner exhibits.

11/20/2012   DAB    Analyze position papers from Junior Secured Note     L120     1.80 hrs
                    and Senior Unsecured Notes.

11/20/2012   DAB    Conference with Ms. Battle and Mr. Beekhuizen        L120     0.40 hrs
                    regarding issues raised by senior unsecured notes
                    and junior secured note position papers.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27    Exhibit E
  932 00064                 Monthly Invoices Pg 744 of 1163
                                                         Invoice # 52565       Page 61
11/20/2012   DAB    Communicate with Mr. Sechler regarding key         L120      0.20 hrs
                    documents for interview preparation session for
                    Mr. James located in Ms. Gess materials.
11/20/2012   DAB    Research document productions for materials        L330      6.90 hrs
                    relevant to examiner interview of Ms. Gess.

11/20/2012   DAB    Conference with Mr. Moeller regarding research     L120      0.10 hrs
                    needed on veil-piercing claims.

11/20/2012   DAB    Communicate with Mr. Ilovsky (Morrison &           L120      0.10 hrs
                    Foerster) regarding MBIA damages analysis.

11/20/2012   DAB    Revise response to steering committee submission   L120      0.40 hrs
                    to examiner.

11/20/2012   DAB    Call with Ms. Levitt, Mr. Illovksy (Morrison &     L120      0.50 hrs
                    Foerster), Mr. Lipps, Ms. Battle and Mr.
                    Beekhuizen regarding response to third party
                    position papers.
11/20/2012   DAB    Conference with Mr. Lipps and Mr. Beekhuizen       L120      0.10 hrs
                    regarding third party position paper issues.

11/20/2012   SP     Analyze previously designated documents to be      L320      2.10 hrs
                    produced to the bankruptcy examiner in Discovery
                    Partner for privilege and confidentiality
                    designation.
11/20/2012   GNM    Working in Discovery Partner database answering    L320      2.80 hrs
                    reviewers questions regarding privilege and
                    responsiveness designations.
11/20/2012   GNM    Meeting with Ms. Whitfield regarding possibly      L120      0.40 hrs
                    privileged items from Cerberus.

11/20/2012   GNM    Telephone communications with Ms. Diem             L120      0.60 hrs
                    (Contract Reviewer) regarding review of Madden
                    data.
11/20/2012   GNM    Meeting with Ms. Mohler regarding Quality          L120      0.90 hrs
                    Control Protocol.

11/20/2012   GNM    Telephone communications with DTI team             L120      0.30 hrs
                    regarding production timeline.

11/20/2012   GNM    Telephone communications with Ms. Gulley (DTI)     L120      0.50 hrs
                    regarding load of data from Cerberus.

11/20/2012   GNM    Exchanging e-mail communications with Mr.          L120      0.40 hrs
                    Barthel regarding Quality Control Protocol.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
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11/20/2012   GNM    Drafting and sending e-mail communications to        L120     0.70 hrs
                    Ms. Battle regarding status of Examiner review.

11/20/2012   GNM    Drafting and sending e-mail communications to        L120     0.40 hrs
                    Ms. Gully (DTI) regarding creation of sub project
                    for Cerberus documents.
11/20/2012   GNM    Communicate with Ms. Sholl regarding Examiner        L120     0.40 hrs
                    review.

11/20/2012   GNM    E-mail communications with Ms. Gardiner              L120     0.10 hrs
                    (Schulte Roth & Zabel) regarding transfer of
                    potentially privileged documents.
11/20/2012   AJM    Quality control review of documents to be            L320     7.50 hrs
                    produced in response to examiner request,
                    supplemental production privilege log review batch
                    20.
11/20/2012   SCM    Privilege log quality control review for batch 19.   L320     2.20 hrs


11/20/2012   SCM    Legal research regarding whether veil-piercing       L110     2.10 hrs
                    claims are "time sensitive."

11/20/2012   SCM    Draft e-mail to Mr. Beck regarding whether           L190     0.60 hrs
                    veil-piercing claims are "time sensitive."

11/21/2012   AMP    Attention to Cerberus' review project to determine   L320     0.40 hrs
                    potentially privileged documents and common
                    interest implications.
11/21/2012   AMP    Multiple e-mails with Ms. Marty and vendor           L320     0.60 hrs
                    regarding Cerberus' review project to determine
                    potentially privileged documents and common
                    interest implications.
11/21/2012   AMP    Review correspondence from Examiner's counsel        L320     0.50 hrs
                    regarding concerns with privilege log.

11/21/2012   AMP    Review privilege log.                                L320     0.30 hrs


11/21/2012   AMP    E-mails with Mr. Brown (Morrison & Foerster)         L320     0.30 hrs
                    regarding privilege log.

11/21/2012   JAL    Review and respond to e-mails regarding              L120     2.00 hrs
                    examination interviews and preparation coverage
                    (.10). Review and redraft response to steering
                    committee submission (.80). Review and redraft
                    responses to third party claims submissions (.80).
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
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                    Review and respond to e-mails regarding research
                    of MBIA creditor submission to UCC (.20).
                    Conference with Ms. Battle regarding same (.10).
11/21/2012   MNB    Draft and revise response to Steering Committee      L250     1.90 hrs
                    submission paper to examiner regarding third-party
                    claims.
11/21/2012   MNB    Draft response to submission papers to examiner      L250     4.70 hrs
                    regarding third-party claims.

11/21/2012   JES    Review documents for use in Paradis interview        L120     6.00 hrs
                    preparations. (3.70) Review documents for use in
                    Fleees interview preparation. (2.20) Communicate
                    with Mr. Beck regarding examiner preparation
                    materials for Mr. James. (.10)
11/21/2012   TKI    Review privilege log e-mail documents for quality    L120     3.40 hrs
                    control purposes.

11/21/2012   JALB   Review witness preparation materials in advance      L330     0.90 hrs
                    of meeting with Mr. Marano, Mr. Haims and Mr.
                    Rains (both Morrison & Foerster).
11/21/2012   JALB   Attend and participate in preparation of Mr.         L330     4.60 hrs
                    Marano for Examiner interview.

11/21/2012   DAB    Communicate with Mr. Sechler regarding               L120     0.10 hrs
                    examiner preparation materials for Mr. James.

11/21/2012   DAB    Communicate with Ms. Battle regarding interview      L120     0.10 hrs
                    preparation kit for Mr. James.

11/21/2012   DAB    Draft outline of key themes for examiner interview   L330     2.10 hrs
                    of Ms. Gess.

11/21/2012   DAB    Review and analyze materials selected by             L120     1.40 hrs
                    Morrison & Forester for upcoming intervenor
                    preparation sessions.
11/21/2012   SP     Analyze previously designated documents to be        L320     1.10 hrs
                    produced to the bankruptcy examiner in Discovery
                    Partner for privilege and confidentiality
                    designation.
11/21/2012   AJM    Quality control review of documents to be            L320     0.80 hrs
                    produced in response to examiner request,
                    supplemental production, privilege log review
                    batch 20.
11/22/2012   TKI    Review privilege log e-mail documents for quality    L120     4.10 hrs
                    control purposes.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
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11/22/2012   SP     Analyze previously designated documents to be        L320     6.20 hrs
                    produced to the bankruptcy examiner in Discovery
                    Partner for privilege and confidentiality
                    designation.
11/22/2012   SCM    Privilege log quality control review for batch 19.   L320     2.80 hrs


11/23/2012   AMP    Attention to addressing concerns of Examiner's       L320     0.60 hrs
                    counsel as to privilege logs for productions 1, 4,
                    and 5.
11/23/2012   AMP    E-mails with Mr. Molnar regarding concerns of        L320     0.60 hrs
                    Examiner's counsel as to privilege logs for
                    productions 1, 4, and 5.
11/23/2012   MMM    Perform quality control review of privilege log      L120     2.50 hrs
                    batch 18.

11/23/2012   JDR    Quality control review of privilege log documents    L320     1.90 hrs
                    batch 013 as outlined in privilege log quality
                    control protocol.
11/23/2012   SP     Analyze previously designated documents to be        L320     6.30 hrs
                    produced to the bankruptcy examiner in Discovery
                    Partner for privilege and confidentiality
                    designation.
11/23/2012   AJM    Quality control review of documents to be            L320     6.40 hrs
                    produced in response to examiner request,
                    supplemental production, privilege log review
                    batch 20.
11/23/2012   SCM    Privilege log quality control review for batch 19.   L320     5.40 hrs


11/24/2012   JAL    Review and redraft response to creditors'            L120     2.00 hrs
                    submissions on third party claims (1.60). Review
                    comments to same from Mr. Illovsky (Morrison &
                    Foerster) (.30). Review and respond to e-mails
                    regarding same (.10).
11/24/2012   TKI    Review privilege log e-mail documents for quality    L120     1.10 hrs
                    control purposes.

11/24/2012   JALB   Review materials to prepare for meeting with Mr.     L120     0.70 hrs
                    James (Residential Capital) for witness interview
                    preparation.
11/24/2012   JALB   Discussion with Ms. Marty regarding status of        L120     0.10 hrs
                    quality control review and staffing.
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11/24/2012   DAB    Draft outline for examiner interview of Ms. Gess.    L330     1.40 hrs


11/24/2012   JDR    Quality control review of privilege log documents    L320     1.70 hrs
                    batch 013 as outlined in privilege log quality
                    control protocol.
11/24/2012   SP     Analyze previously designated documents to be        L320     7.10 hrs
                    produced to the bankruptcy examiner in Discovery
                    Partner for privilege and confidentiality
                    designation.
11/24/2012   AJM    Quality control review of documents to be            L320     4.10 hrs
                    produced in response to examiner request,
                    supplemental production, privilege log review
                    batch 20.
11/24/2012   SCM    Privilege log quality control review for batch 19.   L320     4.40 hrs


11/25/2012   AMP    Attention to addressing concerns of Examiner's       L320     0.90 hrs
                    counsel as to privilege logs for productions 1, 4,
                    and 5.
11/25/2012   AMP    E-mails with Mr. Molnar regarding concerns of        L320     0.20 hrs
                    Examiner's counsel as to privilege logs for
                    productions 1, 4, and 5.
11/25/2012   AMP    E-mails with Mr. Brown (Morrison & Foerster)         L320     0.30 hrs
                    regarding concerns of Examiner's counsel as to
                    privilege logs for productions 1, 4, and 5.
11/25/2012   AMP    Review draft response to Examiner's counsel.         L320     0.70 hrs


11/25/2012   JAL    Review and respond to e-mails regarding examiner     L120     0.80 hrs
                    interview schedule and coverage of preparation
                    (.10). Review and redraft response to creditors'
                    submissions (.60). Review e-mails regarding same
                    (.10).
11/25/2012   MNB    Draft response to submission papers to examiner      L250     4.20 hrs
                    regarding third-party claims.

11/25/2012   TKI    Review privilege log e-mail documents for quality    L120     3.80 hrs
                    control purposes.

11/25/2012   JALB   Continued review of materials to prepare for         L330     0.40 hrs
                    meeting with Mr. James (Residential Capital) for
                    witness interview preparation.
11/25/2012   JALB   Review and respond to e-mail from Mr.                L120     0.10 hrs
                    Beekhuizen regarding witness preparation and
                    interview for Mr. Paradis.
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11/25/2012   DAB    Draft outline for examiner interview of Ms. Gess.     L330     4.90 hrs


11/25/2012   DAB    E-mails with Mr. Ilvosky, Ms. Levitt (Morrison &      L120     0.40 hrs
                    Foerster), Mr. Lipps, Mr. Beekhuizen and Ms.
                    Battle regarding arguments on steering committee
                    response paper.
11/25/2012   DAB    Call with Mr. Klein (Morrison & Foerster)             L120     0.10 hrs
                    regarding arguments in steering committee
                    response.
11/25/2012   SP     Analyze previously designated documents to be         L320     1.60 hrs
                    produced to the bankruptcy examiner in Discovery
                    Partner for privilege and confidentiality
                    designation.
11/25/2012   AJM    Draft e-mail responding to concerns regarding         L120     2.20 hrs
                    examiner privilege logs for productions 1, 4, and 5
                    raised by Mr. Schwinger in November 20, 2012
                    e-mail to Mr. Brown.
11/25/2012   AJM    Revise examiner privilege log for production 5 in     L120     0.40 hrs
                    response to concerns raised by Mr. Schwinger.

11/25/2012   SCM    Privilege log quality control review for batch 19.    L320     5.80 hrs


11/26/2012   AMP    Attention to revising and redrafting response to      L320     0.90 hrs
                    Examiner's counsel regarding privilege log issues.

11/26/2012   AMP    Multiple e-mails with Mr. Brown (Morrison &           L320     0.50 hrs
                    Foerster) regarding privilege log issues.

11/26/2012   AMP    Review edits to privilege logs for productions 1      L320     0.70 hrs
                    and 4.

11/26/2012   AMP    Attention to Cerberus privilege review project.       L320     1.30 hrs


11/26/2012   AMP    Attention to privilege log for production No. 6.      L320     3.20 hrs


11/26/2012   JAL    Review Ms. Gess' documents and prepare outline        L120     5.30 hrs
                    (.80). Review and respond to e-mails regarding
                    examiner interview coverage (.20). Conference
                    with Ms. Battle regarding current schedule and
                    prep efforts (.80). Review and respond to e-mails
                    regarding response to creditors' submissions (.20).
                    Review e-mail regarding need to respond to senior
                    unsecured notes and junior secured notes
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                    submissions (.10). Review and redraft response to
                    creditors' submissions (2.80). Conference with
                    Ms. Battle regarding same. (.20) Review letter to
                    AFI Board regarding UCC theories on transactions
                    involving Residential Capital assets (.20).
11/26/2012   MNB    Draft response to submission papers to examiner     L250     2.60 hrs
                    regarding third-party claims.

11/26/2012   VLS    Monitor review status of document review team.      L320     0.60 hrs


11/26/2012   VLS    Update document review status chart.                L320     0.40 hrs


11/26/2012   VLS    Monitor review status of privilege log document     L320     0.80 hrs
                    review team.

11/26/2012   VLS    Update privilege log review status chart.           L320     0.40 hrs


11/26/2012   VLS    E-mail exchange with document reviewer Ms.          L320     0.30 hrs
                    Walker regarding status of current batch
                    assignment.
11/26/2012   VLS    Obtain document reviewer time cards and review      L320     0.80 hrs
                    for accuracy.

11/26/2012   VLS    Approve document reviewer time cards.               L320     0.30 hrs


11/26/2012   VLS    E-mail exchange with Mr. Shipler at DTI regarding   L320     0.40 hrs
                    reviewer activity report function in Discovery
                    Partner database.
11/26/2012   JES    Review additional e-mails for use in James          L120     2.00 hrs
                    preparation.

11/26/2012   TKI    Review privilege log e-mail documents from batch    L120     6.90 hrs
                    23 for quality control purposes.

11/26/2012   JALB   E-mails with Mr. Sechler, Ms. Mallory and Mr.       L120     0.30 hrs
                    Beck regarding witness preparation.

11/26/2012   JALB   Discuss position paper responses with Mr. Lipps.    L120     0.30 hrs


11/26/2012   JALB   Review materials to prepare for meeting with Mr.    L330     1.30 hrs
                    James (Residential Capital) for witness interview
                    preparation.
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11/26/2012   JALB   Attention to witness scheduling and coordination     L330     0.60 hrs
                    with Morrison & Foerster.

11/26/2012   JALB   Correspondence with Mr. Beekhuizen regarding         L120     0.10 hrs
                    Examiner submissions.

11/26/2012   JALB   Telephone conference with Mr. Casey (former          L120     0.40 hrs
                    Residential Capital) regarding Examiner interview.

11/26/2012   JALB   Follow-up regarding telephone conference with        L120     0.20 hrs
                    Mr. Schulz (former Residential Capital) regarding
                    Examiner interview.
11/26/2012   JALB   Telephone conference with Mr. Schulz (former         L120     0.30 hrs
                    Residential Capital) regarding Examiner interview.

11/26/2012   JALB   Follow-up regarding telephone conference with        L120     0.20 hrs
                    Mr. Schulz (former Residential Capital) regarding
                    Examiner interview.
11/26/2012   JALB   Meet with Mr. Lipps regarding tasks, planning and    L120     0.80 hrs
                    staffing for Examiner document production process
                    and witness interview preparation.
11/26/2012   JALB   Review notes and e-mails from custodians on          L120     0.30 hrs
                    document collection and follow-up meetings and
                    email Mr. Brown (Morrison & Foerster) regarding
                    same.
11/26/2012   JALB   Telephone conferences and e-mails with Mr.           L120     0.70 hrs
                    Brown (Morrison & Foerster) and various
                    Residential Capital individuals regarding document
                    collection meetings.
11/26/2012   JALB   Review and comment on issues for response to         L120     0.20 hrs
                    Chadbourne regarding document collection.

11/26/2012   JALB   Review and comment on draft e-mail to                L120     0.20 hrs
                    Chadbourne regarding JSN and SUN submissions.

11/26/2012   JALB   Correspondence with Ms. Marty, Mr. Ibom and          L120     0.90 hrs
                    others regarding staffing and priorities for
                    document quality control project.
11/26/2012   JALB   Meet with Mr. James (Residential Capital) and Mr.    L120     0.30 hrs
                    Day (Morrison and Foerster) regarding
                    rescheduling of preparation and interview
                    meetings.
11/26/2012   JALB   Discussion regarding rescheduling of preparation     L120     0.30 hrs
                    and interview meetings with Mr. Day and Ms.
                    Levitt (both Morrison & Foerster).
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11/26/2012   JALB   Meet with Ms. Levitt (Morrison & Foerster)              L120     0.20 hrs
                    regarding preparation of Mr. Ilany (Residential
                    Capital).
11/26/2012   DJB    Quality check and provide feedback to contract          L120     2.60 hrs
                    reviewers' first level coding of documents for
                    Privilege Log quality control Batch 26 potentially
                    responsive to Examiner document requests for
                    responsiveness and privilege.
11/26/2012   DJB    Quality check and provide feedback to contract          L120     3.60 hrs
                    reviewers' first level coding of documents for
                    Privilege Log quality control Batch 26 potentially
                    responsive to Examiner document requests for
                    redactions and issues.
11/26/2012   MMM    Continue quality control review of privileged log       L120     4.90 hrs
                    batch 18.

11/26/2012   DAB    Conference with Mr. Lipps and Ms. Battle                L120     0.40 hrs
                    regarding preparations for upcoming examiner
                    interviews and issues on third party submission
                    papers.
11/26/2012   DAB    Conference with Mr. Day (Morrison & Foerster)           L120     0.20 hrs
                    regarding preparations for upcoming examiner
                    interviews.
11/26/2012   DAB    E-mails with Ms. Battle regarding preparations for      L120     0.20 hrs
                    upcoming examiner interviews.

11/26/2012   DAB    Call with Ms. Barrage (Morrison & Foerster)             L120     0.30 hrs
                    regarding jurisdictional issues on third party claims
                    response paper.
11/26/2012   DAB    E-mails with Ms. Levitt (Morrison & Foerster)           L120     0.20 hrs
                    regarding submission papers by JSN's and SUNS
                    on third party claims.
11/26/2012   DAB    Communicate with Ms. Battle, Mr. Sechler and            L120     0.10 hrs
                    Ms. Mohler regarding preparations for examiner
                    interview of Ms. Rock.
11/26/2012   DAB    Conference with Mr. Lipps regarding examiner            L120     0.40 hrs
                    issues.

11/26/2012   SP     Analyze previously designated documents to be           L320     7.60 hrs
                    produced to the bankruptcy examiner in Discovery
                    Partner for privilege and confidentiality
                    designation.
11/26/2012   GNM    Drafting and sending e-mail communications to           L120     0.30 hrs
                    Mr. Underhill of Residential Capital regarding data
                    restoration for second and third wave custodians.
11/26/2012   GNM    Drafting and sending e-mail communications to           L120     0.20 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27       Exhibit E
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                    review team regarding new data.

11/26/2012   GNM    Answering reviewer questions regarding privilege       L320     2.20 hrs
                    determinations.

11/26/2012   GNM    Working in Discovery Partner database performing       L320     1.10 hrs
                    Privilege Log quality control as outlined in Section
                    VII of the Quality Control Protocol.
11/26/2012   GNM    Drafting and sending e-mail communications to          L120     0.30 hrs
                    quality control team regarding Privilege Log
                    review.
11/26/2012   GNM    Analyzing production metrics to determine              L320     1.10 hrs
                    resources needed to complete Phase 2 custodian
                    discovery by January 31 deadline.
11/26/2012   GNM    Drafting e-mail communications to Ms. Battle           L120     1.60 hrs
                    regarding production metrics, staffing, production
                    timelines, data collection, and necessary resources.
11/26/2012   GNM    Meeting with Ms. Buchanan regarding ResCap             L120     1.00 hrs
                    discovery protocols.

11/26/2012   AJM    Quality control review of documents to be              L320     4.20 hrs
                    produced in response to examiner request,
                    supplemental production, privilege log review
                    batch 20.
11/26/2012   AJM    Draft proposed standard privilege log entries for      L320     0.70 hrs
                    use in revising privilege logs for Examiner
                    productions 1, 4, and 5.
11/26/2012   AJM    Revise examiner privilege log for productions 1, 4,    L320     4.90 hrs
                    and 5 in response to concerns raised by Mr.
                    Schwinger.
11/26/2012   SCM    Privilege log quality control review for batch 19.     L320     5.30 hrs


11/26/2012   SCM    Privilege log quality control review for batch 36.     L320     0.40 hrs


11/27/2012   AMP    Attention to quality control issues and interplay      L320     0.30 hrs
                    with privilege log review and preparation.

11/27/2012   AMP    Multiple e-mails with Mr. Molnar, Ms. Battle, and      L320     0.20 hrs
                    Ms. Marty regarding quality control issues and
                    interplay with privilege log review.
11/27/2012   JAL    Review and respond to e-mails from Ms. Gess            L120     2.40 hrs
                    regarding interview (.10). Review and revise
                    circulated draft of Ms. Gess' outline (.50). Review
                    and respond to e-mails regarding same (.10).
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                    Review exhibits from examiner interviews to
                    prepare for upcoming interviews (.40). Review and
                    redraft responses to creditors' submissions (1.30).
11/27/2012   MNB    Attend conference call with Morrison Foerster         L120     0.40 hrs
                    team regarding strategy for response to junior
                    secured notes and senior unsecured notes
                    submissions to examiner.
11/27/2012   MNB    Review fact/discovery references in MBIA              L120     0.60 hrs
                    submission to examiner.

11/27/2012   MNB    Draft response to submission papers to examiner       L250     1.30 hrs
                    regarding third-party claims.

11/27/2012   VLS    Conference with Ms. Marty regarding additional        L320     0.40 hrs
                    custodian data to be loaded into Discovery Partner
                    database.
11/27/2012   VLS    E-mail to document review team regarding revised      L320     0.20 hrs
                    time line for receipt of additional custodian data.

11/27/2012   VLS    Monitor review status of privilege log document       L320     0.80 hrs
                    review team.

11/27/2012   VLS    Update privilege log status chart.                    L320     0.60 hrs


11/27/2012   VLS    E-mail to Ms. Battle and Ms. Marty regarding          L320     0.20 hrs
                    privilege log document review.

11/27/2012   VLS    Monitor review status of document review team.        L320     0.80 hrs


11/27/2012   VLS    Update document review status chart.                  L320     0.60 hrs


11/27/2012   VLS    E-mail exchange with document reviewer Mr.            L320     0.30 hrs
                    Gendrikvos regarding status of review.

11/27/2012   VLS    E-mail exchange with document reviewer Mr.            L320     0.30 hrs
                    Watowicz regarding status of review.

11/27/2012   VLS    E-mail exchange with document reviewer Mr.            L320     0.30 hrs
                    Hickey regarding status of review.

11/27/2012   VLS    E-mail exchange with document reviewer Ms.            L320     0.30 hrs
                    Hodge regarding status of review.
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11/27/2012   VLS    Conference with Mr. Shipler at DTI regarding           L320     0.40 hrs
                    update of status of delivery of additional custodian
                    data.
11/27/2012   VLS    Research Discovery Partner database time log and       L320     1.10 hrs
                    coding histories due to discrepancies in select
                    document review time card entries.
11/27/2012   JES    Review documents for use in Applegate, Paradis,        L120     6.00 hrs
                    and Flees interview preparation outline. (5.80)
                    Conference with Mr. Beck regarding same. (.20)
11/27/2012   RBS    Prepare sets of Dondzila documents requested by        L310     2.50 hrs
                    Mr. Sechler.

11/27/2012   TKI    Review privilege log e-mail documents from batch       L120     3.70 hrs
                    29 for quality control purposes.

11/27/2012   TKI    Review privilege log e-mail documents from batch       L120     3.60 hrs
                    23 for quality control purposes.

11/27/2012   JALB   Meet with Ms. Levitt (Morrison & Foerster), Mr.        L120     3.50 hrs
                    Ilany (ResCap independent board member) and
                    attorneys from Morrison & Cohen regarding
                    preparation for Examiner interview.
11/27/2012   JALB   Prepare and send notes to Mr. Beekhuizen               L120     0.40 hrs
                    regarding MBIA issues to address in position paper
                    response.
11/27/2012   JALB   Correspondence with former employee witnesses          L120     0.60 hrs
                    (Ms. Gess, Mr. Casey), Mr. Illovsky and Mr. Day
                    (both Morrison & Foerster) and Mr. Lipps
                    regarding witness interview and preparation
                    coordination and logistics.
11/27/2012   DJB    Quality check and provide feedback to contract         L120     6.80 hrs
                    reviewers' first level coding of documents for
                    Privilege Log quality control Batch 26 potentially
                    responsive to Examiner document requests for
                    responsiveness and privilege.
11/27/2012   DJB    Quality check and provide feedback to contract         L120     6.20 hrs
                    reviewers' first level coding of documents for
                    Privilege Log quality control Batch 26 potentially
                    responsive to Examiner document requests for
                    redactions and issues.
11/27/2012   MMM    Continue quality control review of privileged log      L120     6.20 hrs
                    batch 18.

11/27/2012   MMM    Review materials relating to Ms. Rock in               L120     1.50 hrs
                    preparation for meeting regarding witness
                    preparation. (1.30) Conference with Mr. Beck
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                    regarding same. (.20)
11/27/2012   DAB    Communicate with Mr. Day (Morrison & Foerster)         L120     0.10 hrs
                    regarding Gess deposition.

11/27/2012   DAB    Draft Ms. Gess's preparation materials.                L330     0.80 hrs


11/27/2012   DAB    Participate in call with Morrison & Foerster team      L120     0.80 hrs
                    and Mr. Beekhuizen regarding response to JSN and
                    SUN papers on third party claims.
11/27/2012   DAB    Communicate with Ms. Battle regarding PSA              L120     0.20 hrs
                    questions for Ilany interview preparation.

11/27/2012   DAB    Analyze previous examiner work product for             L320     0.30 hrs
                    materials relevant to Ms. Rock.

11/27/2012   DAB    Conference with Mr. Sechler regarding                  L120     0.20 hrs
                    preparations for Applegate and Paradis interviews.

11/27/2012   DAB    Conference with Ms. Mohler regarding key issues        L120     0.20 hrs
                    for examiner interview of Ms. Rock.

11/27/2012   DAB    Conference with Ms. Barrage (Morrison &                L120     0.60 hrs
                    Foerster) regarding jurisdictional issues on third
                    party releases.
11/27/2012   DAB    Review new materials regarding reserves.               L320     0.70 hrs


11/27/2012   DAB    Communicate with Ms. Battle regarding relevance        L120     0.20 hrs
                    of new documents on reserves.

11/27/2012   SP     Analyze previously designated documents to be          L320     7.10 hrs
                    produced to the bankruptcy examiner in Discovery
                    Partner for privilege and confidentiality
                    designation.
11/27/2012   GNM    Telephone communications with Ms. Wafalosky            L120     0.30 hrs
                    (Robert Half) regarding staffing levels for
                    Examiner project.
11/27/2012   GNM    Meeting with Ms. Sholl regarding status of             L120     0.60 hrs
                    Examiner project. (.40) Follow-up on issues raised
                    in meeting. (.20)
11/27/2012   GNM    Answering reviewer questions regarding privilege       L320     2.40 hrs
                    determinations.

11/27/2012   GNM    Working in Discovery Partner database performing       L320     3.60 hrs
                    Privilege Log quality control as outlined in Section
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                    VII of the Quality Control Protocol.
11/27/2012   GNM    Telephone communications with Ms. Klun (Lumen        L120     0.40 hrs
                    Legal) regarding staffing levels for Examiner
                    project.
11/27/2012   GNM    E-mail communications with Ms. Klun (Lumen           L120     0.20 hrs
                    Legal) regarding staffing levels for Examiner
                    review.
11/27/2012   GNM    Updating decision log for distribution to review     L320     1.90 hrs
                    team, as outlined in the Quality Control Protocol.

11/27/2012   AJM    Revise examiner privilege log for production 1 in    L320     3.10 hrs
                    response to concerns raised by Mr. Schwinger.

11/27/2012   AJM    Draft privilege log for sixth set of documents       L320     1.30 hrs
                    produced in response to examiner document
                    requests.
11/27/2012   AJM    Quality control review of documents to be            L320     4.80 hrs
                    produced in response to examiner request,
                    supplemental production, privilege log review
                    batch 48.
11/27/2012   SCM    Privilege log quality control review for batch 19.   L320     4.50 hrs


11/27/2012   SCM    Privilege log quality control review for batch 36.   L320     1.60 hrs


11/27/2012   SCM    Telephone conference with Ms. Marty regarding        L320     0.20 hrs
                    privilege issues.

11/27/2012   SCM    Review decision log, attorney list, and corporate    L190     0.20 hrs
                    organizational chart.

11/28/2012   AMP    Attention to Cerberus potentially privilege          L320     0.90 hrs
                    document review project.

11/28/2012   AMP    Multiple e-mails with vendor regarding Cerberus      L320     0.20 hrs
                    potentially privilege document review project.

11/28/2012   AMP    Multiple e-mails with vendor regarding additional    L320     0.20 hrs
                    authorship information requested for attachments
                    in privilege logs.
11/28/2012   AMP    Revise and finalize draft response to Examiner's     L320     0.70 hrs
                    counsel regarding various privilege log issues.

11/28/2012   AMP    E-mails and discussions with Ms. Battle regarding    L320     0.20 hrs
                    response to Examiner's counsel regarding various
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                    privilege log issues.
11/28/2012   AMP    Multiple e-mails with Mr. Brown (Morrison &           L320     0.30 hrs
                    Foerster) regarding various privilege log issues.

11/28/2012   AMP    Research additional authorship information            L320     0.30 hrs
                    requested for attachments in privilege logs.

11/28/2012   JAL    Review Ms. Gess' documents and outline (1.5).         L120     7.50 hrs
                    Prepare for meeting with Ms. Gess (former
                    ResCap) (1.0). Conference with Mr. Haims and
                    Mr. Day (Morrison & Foerster) regarding same
                    (.80). Conference with Ms. Gess, Mr. Day and Mr.
                    Haims to prepare for examiner interview (4.0).
                    Review and respond to e-mail regarding request for
                    interview of Schultz (.20).
11/28/2012   MNB    Draft response to MBIA submission paper to            L250     4.70 hrs
                    examiner regarding third-party claims. (4.50)
                    Conference with Ms. Batle and Mr. Beck regarding
                    same. (.20)
11/28/2012   MNB    Attend conference call with Ms. Barrage from          L120     0.50 hrs
                    Morrison & Foerster regarding Metromedia and
                    jurisdictional analysis in response to submission
                    papers to the Examiner.
11/28/2012   VLS    Monitor review status of document review team.        L320     0.60 hrs


11/28/2012   VLS    Update document review status chart.                  L320     0.60 hrs


11/28/2012   VLS    Monitor review status of privilege log document       L320     0.60 hrs
                    review team.

11/28/2012   VLS    Update document review status chart.                  L320     0.40 hrs


11/28/2012   TKI    Review privilege log e-mail documents from batch      L120     6.30 hrs
                    23 for quality control purposes.

11/28/2012   TKI    Review privilege log e-mail documents from batch      L120     2.80 hrs
                    29 for quality control purposes.

11/28/2012   JALB   Meet with Ms. Mohler, Mr. Sechler and Mr. Beck        L120     1.40 hrs
                    (parts only) regarding strategy for preparation for
                    upcoming witness interviews.
11/28/2012   JALB   Various calls and e-mails with Mr. Brown              L120     0.50 hrs
                    (Morrison & Foerster) regarding coordination of
                    document custodian interviews.
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11/28/2012   JALB   Telephone conference with Mr. Brown (Morrison         L120     0.20 hrs
                    & Foerster) and Mr. Childs (Chadbourne)
                    regarding additional time periods for collection of
                    e-mail.
11/28/2012   JALB   Telephone conference with Mr. Brown (Morrison         L120     0.50 hrs
                    & Foerster), Mr. Ruckdaschel (Residential Capital)
                    and Ms. Zellmann (Residential Capital) regarding
                    collection of non-e-mail documents.
11/28/2012   JALB   Telephone conference with Mr. Brown (Morrison         L120     0.50 hrs
                    & Foerster) and Ms. Reichel (Residential Capital)
                    regarding collection of non-e-mail documents.
11/28/2012   JALB   Review notes regarding independent directors.         L120     0.40 hrs


11/28/2012   JALB   Telephone conference with Mr. Powell (Kirkland        L120     0.70 hrs
                    & Ellis) regarding witness scheduling.

11/28/2012   JALB   Telephone conference with Mr. Schulz (former          L120     0.90 hrs
                    Residential Capital) regarding Examiner interview
                    request.
11/28/2012   JALB   E-mail note to file regarding Examiner interview      L120     0.30 hrs
                    request.

11/28/2012   JALB   Correspondence with Mr. Lipps regarding               L120     0.20 hrs
                    preparation of Ms. Gess (former Residential
                    Capital) for interview.
11/28/2012   JALB   Discussion with Mr. Beekhuizen and Mr. Beck           L120     0.30 hrs
                    regarding position paper responses.

11/28/2012   JALB   Various discussions with Ms. Marty, Mr. Lipps         L120     1.30 hrs
                    and others regarding staffing and pace for quality
                    control review.
11/28/2012   JALB   Review and revise draft e-mail from Ms.               L120     0.30 hrs
                    Paul-Whitfield regarding privilege log.

11/28/2012   JALB   Review e-mail comments from Ms. Levitt and Mr.        L120     0.10 hrs
                    Lewis (Morrison & Foerster) regarding position
                    paper drafts.
11/28/2012   DJB    Quality check and provide feedback to contract        L120     6.30 hrs
                    reviewers' first level coding of documents for
                    Privilege Log quality control Batch 26 potentially
                    responsive to Examiner document requests for
                    responsiveness, privilege, redactions, and issues.
11/28/2012   MMM    Review documents for issues involving Ms. Rock        L120     6.30 hrs
                    in preparation for examiner interview.
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11/28/2012   MMM    Begin drafting Rock witness preparation outline.          L120     2.10 hrs
                    (1.90) Conference with Mr. Beck regarding same.
                    (.20)
11/28/2012   MMM    Meet with Ms. Battle, Mr. Sechler, and Mr. Beck           L120     1.30 hrs
                    (parts only) to discuss Rock witness preparation.

11/28/2012   DAB    Participate in parts of meeting with Ms. Battle and       L120     0.10 hrs
                    Ms. Mohler regarding materials needed for
                    upcoming examiner interviews.
11/28/2012   DAB    Participate in parts of meeting with Ms. Battle, Ms.      L120     0.60 hrs
                    Mohler and Mr. Sechler regarding key issues for
                    upcoming examiner interviews.
11/28/2012   DAB    Conference with Ms. Battle regarding research             L120     0.20 hrs
                    tasks for upcoming examiner interviews.

11/28/2012   DAB    Analyze previous work product on examiner for             L330     0.40 hrs
                    materials relevant for upcoming witnesses.

11/28/2012   DAB    Conference with Ms. Mohler regarding key issues           L120     0.20 hrs
                    for examiner interview of Ms. Rock.

11/28/2012   DAB    Conference with Mr. Beekhuizen regarding                  L120     0.30 hrs
                    jurisdictional issues for third party release briefing.

11/28/2012   DAB    Review cases on jurisdictional issues.                    L120     0.30 hrs


11/28/2012   DAB    Review and comment on response paper on third             L120     0.40 hrs
                    party releases.

11/28/2012   DAB    Call with Ms. Barrage, Mr. Klein (Morrison &              L120     0.50 hrs
                    Foerster) and Mr. Beekhuizen regarding response
                    papers on third party releases and coordination of
                    Carpenter Lipps & Leland and Morrison &
                    Foerster sections of brief.
11/28/2012   DAB    Conference with Mr. Beekhuizen and Ms. Battle             L120     0.20 hrs
                    regarding information from MBIA cases to include
                    in third party response papers.
11/28/2012   JRC    Review and analyze deposition testimony of RFC            L210     2.50 hrs
                    employees from MBIA v. RFC in order to draft
                    Residential Capital's response to MBIA's
                    submission to the examiner on third-party releases.
11/28/2012   JRC    Review and analyze submission by MBIA to the              L210     0.30 hrs
                    examiner on third-party releases in order to draft
                    response.
11/28/2012   SP     Analyze previously designated documents to be             L320     5.80 hrs
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                    produced to the bankruptcy examiner in Discovery
                    Partner for privilege and confidentiality
                    designation.
11/28/2012   GNM    Responding to quality control team member              L320     1.60 hrs
                    questions regarding privilege designations.

11/28/2012   GNM    Working in Discovery Partner database performing       L320     5.90 hrs
                    Privilege Log quality control as outlined in Section
                    VII of the Quality Control Protocol.
11/28/2012   GNM    Meeting with Ms. Buchanan regarding Examiner           L120     1.00 hrs
                    review project.

11/28/2012   GNM    Searching in Discovery Partner database for            L320     0.20 hrs
                    documents requested by Ms. Battle.

11/28/2012   GNM    Telephone communications with Ms. Klun (Lumen          L120     0.90 hrs
                    Legal) regarding staffing levels for Examiner
                    project.
11/28/2012   GNM    Drafting e-mail communications to Ms. Battle           L120     0.80 hrs
                    regarding production metrics, staffing, production
                    timelines, data collection, and necessary resources.
11/28/2012   AJM    Quality control review of documents to be              L320    11.00 hrs
                    produced in response to examiner request,
                    supplemental production, privilege log review
                    batch 48.
11/28/2012   SCM    Privilege log quality control review for batch 36.     L320     7.70 hrs


11/28/2012   SCM    E-mails to Ms. Marty regarding document review.        L320     0.10 hrs


11/28/2012   HLB    Second tier review of SDG-privilege documents          L120     0.80 hrs
                    per quality control protocol.

11/29/2012   AMP    Review e-mail from Mr. Brown (Morrison &               L320     0.20 hrs
                    Foerster) regarding specific document Examiner's
                    counsel requesting to be logged.
11/29/2012   AMP    Attention to specific document Examiner's counsel      L320     0.30 hrs
                    requesting to be logged.

11/29/2012   AMP    Conference with Mr. Molnar regarding specific          L320     0.20 hrs
                    document Examiner's counsel requesting to be
                    logged.
11/29/2012   AMP    Attention to issues regarding global legal             L120     0.30 hrs
                    department.
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11/29/2012   AMP    Review next round of correspondence from             L320     0.20 hrs
                    Examiner's counsel regarding privilege logs.

11/29/2012   AMP    E-mail to Mr. Brown (Morrison & Foerster)            L320     0.10 hrs
                    regarding revised log entry.

11/29/2012   AMP    Revise log privilege entry.                          L320     0.30 hrs


11/29/2012   AMP    Respond to correspondence from Examiner's            L320     0.40 hrs
                    counsel regarding privilege logs.

11/29/2012   JAL    Prepare for Ms. Gess' interview (.50). Review        L120     3.00 hrs
                    proposed outline for same (.50). Review and
                    respond to e-mails regarding supplementing Ms.
                    Gess' documents (.30). Conference with Mr. Day
                    regarding same (.20). Review supplemental
                    documents (.80). Prepare for additional meeting
                    with Ms. Gess (.70).
11/29/2012   MNB    Draft response to MBIA submission paper to           L250     3.30 hrs
                    examiner regarding third-party claims.

11/29/2012   VLS    Monitor review status of document review team.       L320     0.40 hrs


11/29/2012   VLS    Update document review status chart.                 L320     0.40 hrs


11/29/2012   VLS    Monitor review status of privilege log document      L320     0.60 hrs
                    review team.

11/29/2012   VLS    Update privilege log document review status chart.   L320     0.40 hrs


11/29/2012   VLS    E-mail exchange with Ms. Battle and Ms. Marty        L320     0.30 hrs
                    regarding status of privilege log review.

11/29/2012   JES    Prepare Applegate outline and notebook for           L120     6.00 hrs
                    examiner interview.

11/29/2012   EPH    Review Document Review Protocol Memorandum.          L120     2.00 hrs
                    Participate in training.

11/29/2012   TKI    Review privilege log e-mail documents from batch     L120     4.50 hrs
                    29 for quality control purposes.

11/29/2012   TKI    Review privilege log e-mail documents from batch     L120     4.60 hrs
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                    23 for quality control purposes.

11/29/2012   NMR    Document review training and case summary             L320     1.50 hrs
                    review.

11/29/2012   JALB   Follow-up discussions with Mr. Brown (Morrison        L120     0.70 hrs
                    & Foerster) regarding collection of non-e-mail
                    documents.
11/29/2012   JALB   Telephone interviews with various Residential         L120     1.80 hrs
                    Capital employees and Mr. Brown (Morrison &
                    Foerster) regarding collection of non-e-mail
                    documents.
11/29/2012   JALB   Follow-up regarding interview scheduling and          L120     1.20 hrs
                    representation issues for former employees.

11/29/2012   JALB   Correspondence with Mr. Day (Morrison &               L120     0.20 hrs
                    Foerster) and Ms. Zellmann (Residential Capital)
                    regarding interview scheduling and representation
                    issues for former employees.
11/29/2012   JALB   Prepare memorandum to Mr. Illovsky (Morrison &        L120     0.20 hrs
                    Foerster) and Mr. Lipps regarding regarding
                    interview scheduling and representation issues for
                    former employees.
11/29/2012   JALB   Respond to questions from Ms. Levitt (Morrison &      L120     0.20 hrs
                    Foerster) regarding third party claims submissions.

11/29/2012   JALB   Telephone conference with Mr. Corcoran                L120     0.20 hrs
                    regarding documents supporting position paper
                    points.
11/29/2012   JALB   Prepare summary memorandum for Mr. Salerno            L120     0.30 hrs
                    (Morrison & Foerster) regarding quality control
                    performance and progress.
11/29/2012   DJB    Quality check and provide feedback to contract        L120     5.30 hrs
                    reviewers' first level coding of documents for
                    Privilege Log quality control Batch 26 potentially
                    responsive to Examiner document requests for
                    responsiveness and privilege.
11/29/2012   DJB    Quality check and provide feedback to contract        L120     6.40 hrs
                    reviewers' first level coding of documents for
                    Privilege Log quality control Batch 26 potentially
                    responsive to Examiner document requests issues
                    and redactions.
11/29/2012   MMM    Continue review of documents for important            L120     6.00 hrs
                    information regarding Rock in preparation for
                    examiner interview.
11/29/2012   MMM    Continue drafting outline for Ms. Rock witness        L120     1.30 hrs
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                    preparation.

11/29/2012   DAB    Research additional materials in production           L320     4.10 hrs
                    databases for relevance for Ms. Gess's examination
                    based on requests of Mr. Lipps.
11/29/2012   DAB    Conference with Mr. Corcoran regarding issues on      L120     0.20 hrs
                    third party submission papers.

11/29/2012   DAB    E-mails with Mr. Lipps and Ms. Battle regarding       L120     0.40 hrs
                    issues for Ms. Gess's interview and on third party
                    submission papers.
11/29/2012   JRC    Review and analyze deposition testimony of RFC        L210     3.70 hrs
                    employees from MBIA v. RFC in order to draft
                    Residential Capital's response to MBIA's
                    submission to the examiner on third-party releases.
11/29/2012   JRC    Teleconference with Mr. Gerdts (Kroll) regarding      L120     0.10 hrs
                    error in Bates numbering in MBIA v. RFC
                    database.
11/29/2012   JRC    Teleconference with Mr. Gerdts (Kroll) regarding      L120     0.10 hrs
                    error in Bates numbering in MBIA v. RFC
                    database.
11/29/2012   JRC    Review deposition testimony cited by MBIA in its      L210     1.80 hrs
                    examiner submission on third-party releases in
                    order to draft Residential Capital's response.
11/29/2012   JRC    Review and analyze documents and exhibits cited       L210     3.60 hrs
                    by MBIA in its examiner submission on third-party
                    releases in order to draft Residential Capital's
                    response.
11/29/2012   JRC    Review and analyze expert reports cited by MBIA       L210     1.10 hrs
                    in its examiner submission on third-party releases
                    in order to draft Residential Capital's response.
11/29/2012   JRC    Draft Residential Capital's response to MBIA's        L210     1.40 hrs
                    submission to the examiner on third-party releases.

11/29/2012   SP     Analyze previously designated documents arising       L120     5.70 hrs
                    from transactions related to the European entities
                    to be produced to the bankruptcy examiner in
                    Discovery Partner for privilege and confidentiality
                    designation.
11/29/2012   SP     Analyze previously designated documents               L120     5.90 hrs
                    containing attorney names to be produced to the
                    bankruptcy examiner in Discovery Partner for
                    privilege and confidentiality designation.
11/29/2012   GNM    Conduct new reviewer training.                        L320     1.70 hrs
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11/29/2012   GNM    Telephone communications with Ms. Wafalosky            L120     0.10 hrs
                    (Robert Half) regarding staffing levels for
                    Examiner project.
11/29/2012   GNM    Meeting with Ms. Buchanan regarding database           L120     1.60 hrs
                    training. (1.00) Follow-up on same. (.60)

11/29/2012   GNM    E-mail communications with Ms. Wafalosky               L120     0.30 hrs
                    (RHL) regarding staffing levels for Examiner
                    project.
11/29/2012   GNM    Responding to quality control team member              L320     1.60 hrs
                    questions regarding privilege designations.

11/29/2012   GNM    Working in Discovery Partner database performing       L320     5.50 hrs
                    Privilege Log quality control as outlined in Section
                    VII of the Quality Control Protocol.
11/29/2012   GNM    Telephone communications with Mr. Hoffman              L120     0.30 hrs
                    (Morrison & Foerster) regarding SEC project.

11/29/2012   GNM    Telephone communications with Ms. Battle, Mr.          L120     0.50 hrs
                    Brown and Mr. Salerno (Morrison & Foerster)
                    regarding second and third wave custodian
                    requests.
11/29/2012   GNM    Telephone communications with Ms. Gulley (DTI)         L120     0.20 hrs
                    regarding reviewer rights in the database.

11/29/2012   GNM    Drafting and sending e-mails to Ms. Zellmann           L120     0.70 hrs
                    regarding production database estimates.

11/29/2012   GNM    Telephone communications with Mr. Bergelson            L120     0.10 hrs
                    (Morrison & Foerster) regarding Concordance
                    database.
11/29/2012   GNM    Telephone communications with Ms. Tice                 L120     0.10 hrs
                    (Morrison & Foerster) regarding Concordance
                    database.
11/29/2012   AJM    Quality control review of documents to be              L320    10.60 hrs
                    produced in response to examiner request,
                    supplemental production, privilege log review
                    batch 48.
11/29/2012   AJM    Draft privilege log entry for item EXAM10537446.       L320     0.30 hrs


11/29/2012   SCM    Privilege log quality control review for batch 36.     L320     7.10 hrs


11/29/2012   MJB    Conference with Carpenter Lipps & Leland               L120     0.80 hrs
                    managing partner and case leader to begin
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                    assignment to the case.
11/29/2012   HLB    Attend training session with Ms. Marty on               L120     1.00 hrs
                    Discovery Partner program.

11/29/2012   HLB    Perform first tier review of examiner documents in      L120     0.90 hrs
                    Discovery Partner per examiner review protocol.

11/30/2012   AMP    Attention to privilege log issues.                      L320     0.40 hrs


11/30/2012   AMP    Attention to scheduling call to discuss privilege       L120     0.20 hrs
                    issues.

11/30/2012   AMP    Multiple e-mails regarding scheduling call to           L120     0.30 hrs
                    discuss privilege issues.

11/30/2012   AMP    Attention to drafting and editing privilege log for     L320     0.90 hrs
                    production set no. 6.

11/30/2012   AMP    Attention to issues regarding Lazard production         L320     0.20 hrs
                    and potential privilege issues.

11/30/2012   AMP    Review and respond to e-mails with Ms. Battle and       L320     0.20 hrs
                    Morrison & Foerster regarding Lazard production
                    and potential privilege issues and priority of this
                    project.
11/30/2012   JAL    Prepare for Ms. Gess' examiner interview (.70).         L120    10.00 hrs
                    Conference with Mr. Day and Ms. Gess' regarding
                    same (1.0). Participate at Ms. Gess' interview (6.0).
                    Review Ms. Gess' exhibits in transit to Columbus
                    (1.0). Review and respond to e-mails regarding
                    examiner interview memorandums (.10). Review
                    and redraft response to creditors' submissions on
                    third party claims (1.0). Review and respond to
                    e-mails regarding interview and preparation
                    coverage (.20).
11/30/2012   MNB    Draft response to MBIA submission paper to              L250     7.00 hrs
                    examiner regarding third-party claims.

11/30/2012   VLS    Monitor review status of document review team.          L320     0.40 hrs


11/30/2012   VLS    Update document review status chart.                    L320     0.30 hrs


11/30/2012   VLS    Monitor review status of privilege log document         L320     0.80 hrs
                    review team.
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11/30/2012   VLS    Update privilege log document review status chart.     L320     0.60 hrs


11/30/2012   VLS    E-mail exchange with Ms. Battle and Ms. Marty          L320     0.30 hrs
                    regarding status of privilege log review.

11/30/2012   VLS    Conference with Ms. Marty regarding staffing           L320     0.40 hrs
                    adjustments to document review team and
                    document quality control team.
11/30/2012   VLS    E-mail exchange with Ms. Gulley at DTI regarding       L320     0.20 hrs
                    staffing adjustments and user accounts.

11/30/2012   VLS    E-mail exchange with Mr. Bennett in IT                 L320     0.20 hrs
                    department regarding adjustments to the e-mail
                    group lists for the document review team and the
                    quality control review team.
11/30/2012   JES    Review additional documents and draft witness          L120     7.00 hrs
                    preparation outline for Flees interview.

11/30/2012   EPH    Privilege log quality control review for batch 57.     L320     2.00 hrs


11/30/2012   TKI    Review privilege log e-mail documents from batch       L120     6.10 hrs
                    29 for quality control purposes.

11/30/2012   TKI    Review privilege log e-mail documents from batch       L120     3.50 hrs
                    23 for quality control purposes.

11/30/2012   NMR    Privilege log quality control review for batch .036.   L320     0.60 hrs


11/30/2012   JALB   Preparation of Ms. Gess (former employee) for          L330     0.20 hrs
                    interview.

11/30/2012   JALB   Correspondence with Mr. Lipps and Mr. Day              L120     0.20 hrs
                    (Morrison & Foerster) regarding prior interview
                    notes.
11/30/2012   JALB   Meet with Ms. Marty and Mr. Boyle regarding            L120     0.50 hrs
                    quality control project.

11/30/2012   JALB   Follow-up regarding quality control progress and       L120     0.40 hrs
                    staffing.

11/30/2012   JALB   Discussion with Mr. Beekhuizen regarding               L120     0.20 hrs
                    research on sources of information to support
                    position paper response.
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11/30/2012   JALB   Follow-up research on sources of information to       L120     0.30 hrs
                    support position paper response.

11/30/2012   JALB   Follow-up discussions with witnesses and Mr. Day      L120     0.50 hrs
                    (Morrison & Foerster) regarding retention and
                    expenses for former employees.
11/30/2012   DJB    Quality check and provide feedback to contract        L120     5.40 hrs
                    reviewers' first level coding of documents for
                    Privilege Log quality control Batch 26 potentially
                    responsive to Examiner document requests for
                    issues, privilege, and redactions.
11/30/2012   MMM    Continue to review documents and draft witness        L120     5.20 hrs
                    preparation outline for Ms. Rock.

11/30/2012   DAB    Conference with Ms. Mohler regarding research         L120     0.20 hrs
                    for interview preparation kit for Ms. Rock.

11/30/2012   DAB    Conference with Ms. Barrage (Morrison &               L120     0.30 hrs
                    Foerster) regarding issues on response to Steering
                    Committee third party claims submission to
                    examiner.
11/30/2012   DAB    Search for materials in Ally production relevant to   L330     1.60 hrs
                    interview preparation kit for Ms. Rock.

11/30/2012   DAB    Revise reserve analysis memorandum based on           L120     1.20 hrs
                    additional accounting documents.

11/30/2012   DAB    Conference with Mr. Klein (Morrison & Foerster)       L120     0.10 hrs
                    regarding transaction document research needed
                    for response to third party position papers.
11/30/2012   DAB    Research transaction documents for materials          L120     0.50 hrs
                    responsive to request of Mr. Klein of Morrison &
                    Foerster.
11/30/2012   JRC    Review deposition testimony cited by MBIA in its      L330     0.60 hrs
                    examiner submission on third-party releases in
                    order to draft Residential Capital's response.
11/30/2012   JRC    Review and analyze documents and exhibits cited       L210     1.20 hrs
                    by MBIA in its examiner submission on third-party
                    releases in order to draft Residential Capital's
                    response.
11/30/2012   JRC    Review and analyze expert reports cited by MBIA       L320     0.60 hrs
                    in its examiner submission on third-party releases
                    in order to draft Residential Capital's response.
11/30/2012   JRC    Draft analysis of documents cited by MBIA to          L320     2.80 hrs
                    support submission to examiner on third-party
                    releases.
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11/30/2012   JRC    Review deposition testimony from Residential         L330     2.20 hrs
                    Capital RMBS cases in order to draft response to
                    examiner submissions on third-party releases.
11/30/2012   JRC    Conference with Mr. Beekhuizen regarding             L120     0.20 hrs
                    Residential Capital's response to submission by
                    MBIA to examiner on third-party releases.
11/30/2012   SP     Analyze previously designated documents to be        L320     4.10 hrs
                    produced to the bankruptcy examiner in Discovery
                    Partner for privilege and confidentiality
                    designation.
11/30/2012   GNM    E-mail communications with Mr. Underhill             L120     0.10 hrs
                    (Residential Capital) regarding Phase 2 and Phase
                    3 custodian data.
11/30/2012   GNM    Telephone communications with Ms. Tice               L320     2.70 hrs
                    (Morrison & Foerster) regarding Concordance
                    database. (2.20) Conference with Ms. Battle and
                    Mr. Boyle regarding new reviewer training. (.50)
11/30/2012   GNM    Telephone communications with Mr. Winkler            L120     0.20 hrs
                    (Quality Control Team Member) regarding training
                    for Examiner project.
11/30/2012   GNM    Meeting with Ms. Sholl regarding production of       L120     0.50 hrs
                    Board Materials.

11/30/2012   GNM    Preparing report for Mr. Salerno (Morrison &         L320     1.30 hrs
                    Foerster) regarding production metrics, staffing,
                    production timelines, data collection, and
                    necessary resources.
11/30/2012   GNM    Responding to quality control team member            L320     1.10 hrs
                    questions regarding privilege designations.

11/30/2012   GNM    E-mail communications with Ms. Tice (Morrison        L120     0.10 hrs
                    & Foerster) regarding production of Board
                    Materials.
11/30/2012   GNM    E-mail communications with Ms. Battle regarding      L120     0.20 hrs
                    Phase 2 custodian data.

11/30/2012   AJM    Quality control review of documents to be            L320     4.50 hrs
                    produced in response to examiner request,
                    supplemental production, privilege log review
                    batch 48.
11/30/2012   SCM    Privilege log quality control review for batch 36.   L320     3.80 hrs


11/30/2012   SCM    Privilege log quality control review for batch 19.   L320     0.90 hrs
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11/30/2012   MJB    Conference with Ms. Marty regarding case                     L120     2.20 hrs
                    background and scope of document review project
                    to get up to speed on the case. Review document
                    review manual in preparation for training session.
11/30/2012   HLB    Perform first tier review of Renzi.020 documents             L120     4.30 hrs
                    in Discovery Partner per examiner review protocol.



                    TOTAL FEES FOR THIS MATTER                                          $346,972.50

EXPENSES

11/01/2012          Out-of-Town Travel/Fuel charges American Express (JAL)                      $16.65

11/01/2012          Out-of-Town Travel/Misc charges American Express (JAL)                      $22.00

11/07/2012          Out-of-Town Travel/Misc charges American Express (JAL)                      $22.00

11/08/2012          Delivery Service/Messengers - Federal Express to Morrison &                 $26.90
                    Forester from Ms. Sholl

11/10/2012          (TRIP-JAL-11/8-10/12) Out-of-Town Travel/Hotel - travel to             $739.10
                    New York City

11/10/2012          (TRIP-JAL-11/8-10/12) Out-of-Town Travel/Mileage to/from                     $6.60
                    Airport (12 miles X .55) - travel to New York City

11/10/2012          (TRIP-JAL-11/8-10/12) Out-of-Town Travel/Parking @ Port                     $34.00
                    Columbus - travel to New York City

11/10/2012          (TRIP-JAL-11/8-10/12) Out-of-Town Travel/Taxi - travel to New               $43.80
                    York City

11/10/2012          (TRIP-JAL-11/8-10/12) Out-of-Town Travel/Car Service - travel               $60.00
                    to New York City

11/10/2012          (TRIP-JAL-11/8-10/12) Out-of-Town Travel/Bellman - travel to                 $5.00
                    New York City (Tips for carrying boxes)

11/10/2012          (TRIP-JAL-11/8-10/12) Out-of-Town Travel/Food/Beverage -                    $17.50
                    travel to New York City (11/9/12 Breakfast)

11/10/2012          (TRIP-JAL-11/8-10/12) Out-of-Town Travel/Food/Beverage -                    $17.50
                    travel to New York City (11/10/12 Breakfast)

11/10/2012          (TRIP-JAL-11/8-10/12) Out-of-Town Travel/Food/Beverage -                    $15.00
                    travel to New York City (11/10/12 Lunch)

11/10/2012          (TRIP-JAL-11/8-10/12) Out-of-Town Travel/ Coach Airfare -             $1,139.31
                    travel to New York City
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11/10/2012          (TRIP-JAL-11/8-10/12) Out-of-Town Travel/Food/Beverage -                       $20.00
                    travel to New York City (11/8/12 Dinner)

11/10/2012          (TRIP-JAL-11/8-10/12) Out-of-Town Travel/Food/Beverage -                       $20.00
                    travel to New York City (11/9/12 Dinner)

11/14/2012          (TRIP-JAL-11/11-14/12) Out-of-Town Travel/Coach Airfare -                 $694.80
                    travel to San Francisco, CA for examiner interview

11/14/2012          (TRIP-JAL-11/11-14/12) Out-of-Town Travel/Hotel - travel to               $774.33
                    San Francisco, CA for examiner interview

11/14/2012          (TRIP-JAL-11/11-14/12) Out-of-Town Travel/Mileage to/from                       $6.60
                    Port Columbus (12 miles X .55) - travel to San Francisco, CA for
                    examiner interview

11/14/2012          (TRIP-JAL-11/11-14/12) Out-of-Town Travel/Parking @ Port                       $51.00
                    Columbus - travel to San Francisco, CA for examiner interview

11/14/2012          (TRIP-JAL-11/11-14/12) Out-of-Town Travel/Baggage Fee -                        $60.00
                    travel to San Francisco, CA for examiner interview

11/14/2012          (TRIP-JAL-11/11-14/12) Out-of-Town Travel/Taxi - travel to                     $55.20
                    San Francisco, CA for examiner interview

11/14/2012          (TRIP-JAL-11/11-14/12) Out-of-Town Travel/Car Service -                        $60.00
                    travel to San Francisco, CA for examiner interview

11/14/2012          (TRIP-JAL-11/11-14/12) Out-of-Town Travel/Bellman - travel to                   $8.00
                    San Francisco, CA for examiner interview (Tips for carrying
                    boxes)

11/14/2012          (TRIP-JAL-11/11-14/12) Out-of-Town Travel/Food/Beverage -                      $12.17
                    travel to San Francisco, CA for examiner interview (11/11/12
                    Dinner)

11/14/2012          (TRIP-JAL-11/11-14/12) Out-of-Town Travel/Food/Beverage -                      $20.00
                    travel to San Francisco, CA for examiner interview (11/12/12
                    Breakfast)

11/14/2012          (TRIP-JAL-11/11-14/12) Out-of-Town Travel/Food/Beverage -                      $20.00
                    travel to San Francisco, CA for examiner interview (11/12/12
                    Dinner)

11/14/2012          (TRIP-JAL-11/11-14/12) Out-of-Town Travel/Food/Beverage -                      $20.00
                    travel to San Francisco, CA for examiner interview (11/13/12
                    Breakfast)

11/14/2012          (TRIP-JAL-11/11-14/12) Out-of-Town Travel/Food/Beverage -                      $20.00
                    travel to San Francisco, CA for examiner interview (11/13/12
                    Dinner)

11/15/2012          Delivery Service/Messengers - Federal Express to Mr. Lipps                $335.10
                    (Box 1 of 3: Tracking ID 801371480773)
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11/15/2012          Delivery Service/Messengers - Federal Express to Mr. Lipps              $335.10
                    (Box 2 of 3: Tracking ID 801371480784)

11/15/2012          Delivery Service/Messengers - Federal Express to Mr. Lipps              $335.10
                    (Box 3 of 3: Tracking ID 801371480795)

11/16/2012          (TRIP-JALB-11/15-16/12) Out-of-Town Travel/Airfare (coach)              $971.60
                    - travel to New York for preparation of examniner interview

11/16/2012          (TRIP-JALB-11/15-16/12) Out-of-Town Travel/Hotel - travel to            $461.35
                    New York for preparation of examniner interview

11/16/2012          (TRIP-JALB-11/15-16/12) Out-of-Town Travel/Breakfast - travel                $19.76
                    to New York for preparation of examniner interview

11/16/2012          (TRIP-JALB-11/15-16/12) Out-of-Town Travel/Dinner - travel to                $63.12
                    New York for preparation of examniner interview

11/16/2012          (TRIP-JALB-11/15-16/12) Out-of-Town Travel/Dinner - travel to                 $5.00
                    New York for preparation of examniner interview

11/16/2012          (TRIP-JALB-11/15-16/12) Out-of-Town Travel/Parking @ Port                    $34.00
                    Columbus - travel to New York for preparation of examniner
                    interview

11/16/2012          (TRIP-JALB-11/15-16/12) Out-of-Town Travel/Taxi - travel to                  $50.15
                    New York for preparation of examniner interview

11/16/2012          (TRIP-JALB-11/15-16/12) Out-of-Town Travel/Taxi - travel to                  $51.74
                    New York for preparation of examniner interview

11/19/2012          Delivery Service/Messengers - Federal Express to Mr. Lipps                   $28.75

11/19/2012          Delivery Service/Messengers - Federal Express to Mr. Lipps                   $30.65

11/19/2012          Delivery Service/Messengers - Federal Express to Mr. Lipps                   $16.31

11/19/2012          Delivery Service/Messengers - Federal Express to Mr. Lipps                   $29.64

11/20/2012          Delivery Service/Messengers - Federal Express to Ms. Battle                  $23.64
                    from Mr. Sechler

11/20/2012          (TRIP-JAL-11/15-20/12) Out-of-Town Travel/Food/Beverage -                    $13.67
                    travel to New York City to attend 9019 deposition and Examiner
                    Investigation (11/16/12 Breakfast - Mr. Lipps and Ms. Battle_

11/20/2012          (TRIP-JAL-11/15-20/12) Out-of-Town Travel/Food/Beverage -                    $18.00
                    travel to New York City to attend 9019 deposition and Examiner
                    Investigation (11/16/12 Dinner)

11/20/2012          (TRIP-JAL-11/15-20/12) Out-of-Town Travel/Food/Beverage -                     $1.09
                    travel to New York City to attend 9019 deposition and Examiner
                    Investigation (11/16/12 Breakfast/Coffee)
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11/20/2012          (TRIP-JAL-11/15-20/12) Out-of-Town Travel/Food/Beverage -                     $4.70
                    travel to New York City to attend 9019 deposition and Examiner
                    Investigation (11/17/12 Dinner)

11/20/2012          (TRIP-JAL-11/15-20/12) Out-of-Town Travel/Food/Beverage -                     $5.84
                    travel to New York City to attend 9019 deposition and Examiner
                    Investigation (11/18/12 Breakfast)

11/20/2012          (TRIP-JAL-11/15-20/12) Out-of-Town Travel/Food/Beverage -                     $1.36
                    travel to New York City to attend 9019 deposition and Examiner
                    Investigation (11/18/12 Breakfast/Coffee)

11/20/2012          (TRIP-JAL-11/15-20/12) Out-of-Town Travel/Food/Beverage -                     $4.72
                    travel to New York City to attend 9019 deposition and Examiner
                    Investigation (11/18/12 Lunch)

11/20/2012          (TRIP-JAL-11/15-20/12) Out-of-Town Travel/Food/Beverage -                    $11.67
                    travel to New York City to attend 9019 deposition and Examiner
                    Investigation (11/19/12 Breakfast/Coffee)

11/20/2012          (TRIP-JAL-11/15-20/12) Out-of-Town Travel/Food/Beverage -                     $5.84
                    travel to New York City to attend 9019 deposition and Examiner
                    Investigation (11/20/12 Breakfast)

11/20/2012          (TRIP-JAL-11/15-20/12) Out-of-Town Travel/Coach Airfare -               $336.94
                    travel to New York City to attend 9019 deposition and Examiner
                    Investigation

11/20/2012          (TRIP-JAL-11/15-20/12) Out-of-Town Travel/Bellman - travel to                 $6.00
                    New York City to attend 9019 deposition and Examiner
                    Investigation (Tips for carrying boxes of documents)

11/20/2012          (TRIP-JAL-11/15-20/12) Out-of-Town Travel/Food/Beverage -                    $20.00
                    travel to New York City to attend 9019 deposition and Examiner
                    Investigation

11/20/2012          (TRIP-JAL-11/15-20/12) Out-of-Town Travel/Food/Beverage -                    $20.00
                    travel to New York City to attend 9019 deposition and Examiner
                    Investigation (11/15/12 Dinner)

11/20/2012          (TRIP-JAL-11/15-20/12) Out-of-Town Travel/Food/Beverage -                    $20.00
                    travel to New York City to attend 9019 deposition and Examiner
                    Investigation (11/18/12 Dinner)

11/20/2012          (TRIP-JAL-11/15-20/12) Out-of-Town Travel/Food/Beverage -                    $20.00
                    travel to New York City to attend 9019 deposition and Examiner
                    Investigation (11/19/12 Dinner)

11/20/2012          (TRIP-JAL-11/15-20/12) Out-of-Town Travel/Hotel - travel to             $615.92
                    New York City to attend 9019 deposition and Examiner
                    Investigation
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11/20/2012          (TRIP-JAL-11/15-20/12) Out-of-Town Travel/Taxi - travel to                   $13.37
                    New York City to attend 9019 deposition and Examiner
                    Investigation

11/20/2012          (TRIP-JAL-11/15-20/12) Out-of-Town Travel/Car Service -                      $20.00
                    travel to New York City to attend 9019 deposition and Examiner
                    Investigation

11/20/2012          (TRIP-JAL-11/15-20/12) Out-of-Town Travel/Parking @ Port                     $28.34
                    Columbus - travel to New York City to attend 9019 deposition
                    and Examiner Investigation

11/20/2012          (TRIP-JAL-11/15-20/12) Out-of-Town Travel/Mileage to/from                     $2.02
                    Port Columbus - travel to New York City to attend 9019
                    deposition and Examiner Investigation

11/21/2012          Delivery Service/Messengers - Federal Express to Ms. Battle                  $27.19

11/26/2012          Out-of-Town Travel/Misc charges American Express (JAL)                       $22.00

11/27/2012          (TRIP-JALB-11/26-27/12) Out-of-Town Travel/Airfare (coach) -           $1,610.60
                    travel to New York for examniner interview

11/27/2012          (TRIP-JALB-11/26-27/12) Out-of-Town Travel/Hotel - travel to            $530.21
                    New York for examniner interview

11/27/2012          (TRIP-JALB-11/26-27/12) Out-of-Town Travel/Taxi - travel to                  $60.00
                    New York for examniner interview

11/27/2012          (TRIP-JALB-11/26-27/12) Out-of-Town Travel/Taxi - travel to                  $70.00
                    New York for examniner interview

11/27/2012          (TRIP-JALB-11/26-27/12) Out-of-Town Travel/Parking @ Port                    $34.00
                    Columbus - travel to New York for examniner interview

11/27/2012          (TRIP-JALB-11/26-27/12) Out-of-Town Travel/Breakfast                          $3.90
                    11/27/12 - travel to New York for examniner interview

11/27/2012          (TRIP-JALB-11/26-27/12) Out-of-Town Travel/Breakfast                         $16.10
                    11/27/12 - travel to New York for examniner interview

11/27/2012          (TRIP-JALB-11/26-27/12) Out-of-Town Travel/Lunch 11/27/12 -                  $13.83
                    travel to New York for examniner interview

11/27/2012          (TRIP-JALB-11/26-27/12) Out-of-Town Travel/Dinner 11/27/12                    $6.09
                    - travel to New York for examniner interview

11/28/2012          Witness Fees - Lisa Gess                                               $1,170.00

11/30/2012          (TRIP-JAL-11/28-30/12) Out-of-Town Travel/Hotel - travel to            $1,060.42
                    New York for examiner investigation

11/30/2012          (TRIP-JAL-11/28-30/12) Out-of-Town Travel/Car Service -                      $60.00
                    travel to New York for examiner investigation
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27               Exhibit E
  932 00064                   Monthly Invoices Pg 775 of 1163
                                                           Invoice # 52565                  Page 92

11/30/2012            (TRIP-JAL-11/28-30/12) Out-of-Town Travel/Taxi - travel to                    $59.05
                      New York for examiner investigation

11/30/2012            (TRIP-JAL-11/28-30/12) Out-of-Town Travel/Bellman - travel to                 $21.00
                      New York for examiner investigation

11/30/2012            (TRIP-JAL-11/28-30/12) Out-of-Town Travel/Parking @ Port                      $51.00
                      Columbus - travel to New York for examiner investigation

11/30/2012            (TRIP-JAL-11/28-30/12) Out-of-Town Travel/Mileage to/from                      $6.60
                      Port Columbus (12 miles X .55) - travel to New York for
                      examiner investigation

11/30/2012            (TRIP-JAL-11/28-30/12) Out-of-Town Travel/Food/Beverage -                      $5.00
                      travel to New York for examiner investigation (11/28/12
                      Breakfast)

11/30/2012            (TRIP-JAL-11/28-30/12) Out-of-Town Travel/Food/Beverage -                     $17.50
                      travel to New York for examiner investigation (11/29/12
                      Breakfast)

11/30/2012            (TRIP-JAL-11/28-30/12) Out-of-Town Travel/Food/Beverage -                     $11.76
                      travel to New York for examiner investigation (11/29/12 Lunch)

11/30/2012            (TRIP-JAL-11/28-30/12) Out-of-Town Travel/Food/Beverage -                     $17.50
                      travel to New York for examiner investigation (11/30/12
                      Breakfast)

11/30/2012            (TRIP-JAL-11/28-30/12) Out-of-Town Travel/Food/Beverage -                     $14.89
                      travel to New York for examiner investigation (11/30/12 Dinner)

11/30/2012            (TRIP-JAL-11/28-30/12) Out-of-Town Travel/Coach Airfare -                $1,010.60
                      travel to New York for examiner investigation

11/30/2012            (TRIP-JAL-11/28-30/12) Out-of-Town Travel/Food/Beverage -                     $20.00
                      travel to New York for examiner investigation (11/28/12 Dinner)

11/30/2012            (TRIP-JAL-11/28-30/12) Out-of-Town Travel/Food/Beverage -                     $20.00
                      travel to New York for examiner investigation (11/29/12 Dinner)

                      TOTAL EXPENSES FOR THIS MATTER                                          $13,907.19


BILLING SUMMARY


         Molnar, Anthony J.                      140.80 hrs    210.00 /hr        $29,568.00


         Paul, Angela M.                           78.00 hrs   250.00 /hr        $19,500.00


         Beck, David A.                            95.10 hrs   230.00 /hr        $21,873.00
    12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
932 00064                   Monthly Invoices Pg 776 of 1163
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      Wallace, David A.                       0.80 hrs   260.00 /hr        $208.00


      Barthel, David J.                     118.80 hrs   210.00 /hr   $24,948.00


      Henry, Erik P.                          4.00 hrs   160.00 /hr        $640.00


      Marty, Gretchen N.                    175.30 hrs   150.00 /hr   $26,295.00


      Buchanan, Heather L.                    7.00 hrs   240.00 /hr    $1,680.00


      Lipps, Jeffrey A.                     114.50 hrs   360.00 /hr   $41,220.00


      Battle, Jennifer A.L.                 133.30 hrs   250.00 /hr   $33,325.00


      Rhode, Jacob D.                        21.60 hrs   160.00 /hr    $3,456.00


      Sechler, Joel E.                       76.70 hrs   190.00 /hr   $14,573.00


      Corcoran, Jeffrey R.                   55.30 hrs   180.00 /hr    $9,954.00


      Boyle, Michael J.                       3.00 hrs   180.00 /hr        $540.00


      Mohler, Mallory M.                    115.10 hrs   160.00 /hr   $18,416.00


      Beekhuizen, Michael N.                 82.30 hrs   250.00 /hr   $20,575.00


      Reiss, Nichole M.                       2.10 hrs   180.00 /hr        $378.00


      Samson, Robert B.                       8.70 hrs    75.00 /hr        $652.50


      Moeller, Steven C.                    108.70 hrs   200.00 /hr   $21,740.00


      Phillips, Segev                       156.80 hrs   220.00 /hr   $34,496.00
    12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
932 00064                  Monthly Invoices Pg 777 of 1163
                                                        Invoice # 52565        Page 94
      Ibom, Tyler K.                        95.50 hrs   150.00 /hr    $14,325.00


      Sholl, Veronica L.                   114.80 hrs    75.00 /hr     $8,610.00



   TOTAL FEES                             1708.20 hrs                $346,972.50

   TOTAL EXPENSES                                                     $13,907.19

   TOTAL CHARGES FOR THIS INVOICE                                    $360,879.69
12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27   Exhibit E
                      Monthly Invoices Pg 778 of 1163




         OHIO
      LITIGATION
       MATTERS
       12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
                               Monthly Invoices Pg 779 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                          January 02, 2013

                                                                  Billed through 11/30/2012
Tammy Hamzephour                                                  Invoice # 52548      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 621 01124
190-FTW-L95
Fort Washington, PA 19034

Re: Nicholas Stincic
Matter No.: 705844

PROFESSIONAL SERVICES

11/02/2012    DAW      Review e-mail from Mr. Stincic regarding account           L120        0.10 hrs
                       and CFPB complaint.

11/07/2012    DAW      Review e-mail from Mr. Stincic regarding case              L120        0.10 hrs
                       issues.

11/09/2012    DAW      Review e-mail from Mr. Stincic regarding                   L120        0.10 hrs
                       complaint filed with Consumer Financial
                       Protection Bureau.
11/09/2012    DAW      Draft responsive e-mail to Mr. Stincic regarding           L120        0.10 hrs
                       complaint filed with Consumer Protection Bureau.

11/13/2012    DAW      Telephone conference with Ms. Ho (Residential              L120        0.20 hrs
                       Capital, LLC) regarding CFPB complaint and
                       settlement.
11/13/2012    DAW      Draft e-mails regarding settlement agreement, and          L120        0.20 hrs
                       CFPB filing to Ms. Ho (Residential Capital, LLC).

11/15/2012    DAW      Telephone conference with Ms. Ho (Residential              L120        0.30 hrs
                       Capital, LLC) regarding response to inquiry
                       concerning account status and CFPB complaint.
11/15/2012    DAW      Review CFPB complaint.                                     L120        0.10 hrs


11/15/2012    DAW      Draft correspondence to Mr. Stincic regarding              L120        1.10 hrs
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27         Exhibit E
  621 01124                  Monthly Invoices Pg 780 of 1163
                                                          Invoice # 52548            Page 2
                      response to inquiry concerning CFPB complaint.

11/16/2012   DAW      Revise correspondence to Mr. Stincic regarding         L120        0.90 hrs
                      account information.

11/19/2012   DAW      Revise correspondence to Mr. Stincic regarding the     L120        1.10 hrs
                      history of the settlement agreement and his
                      payment schedule.
11/21/2012   DAW      Revise correspondence to Mr. Stincic regarding         L120        0.40 hrs
                      response to questions and CFPB complaint.

11/27/2012   DAW      Review e-mail from Mr. Stincic regarding response      L120        0.10 hrs
                      to inquiry.

11/29/2012   JDR      Research regarding requirements of a qualified         L120        0.30 hrs
                      written request under RESPA and cases construing
                      the requirements.


                      TOTAL FEES FOR THIS MATTER                                         $1,296.00


BILLING SUMMARY


         Wallace, David A.                          4.80 hrs    260.00 /hr   $1,248.00


         Rhode, Jacob D.                            0.30 hrs    160.00 /hr      $48.00



     TOTAL FEES                                     5.10 hrs                 $1,296.00

     TOTAL CHARGES FOR THIS INVOICE                                          $1,296.00
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                              Monthly Invoices Pg 781 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                          January 02, 2013

                                                                  Billed through 11/30/2012
Tammy Hamzephour                                                  Invoice # 52549      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 621 01128
190-FTW-L95
Fort Washington, PA 19034

Re: David Long
Matter No.: 706040

PROFESSIONAL SERVICES

11/01/2012   DAW       Review e-mails regarding case status from Ms.              L120        0.10 hrs
                       McGinnis (Residential Capital, LLC).

11/08/2012   DAW       Review Court's decision affirming dismissal.               L120        0.20 hrs


11/08/2012   DAW       Draft e-mail to Ms. McGinnis (Residential Capital,         L120        0.30 hrs
                       LLC) regarding affirmance.

11/08/2012   JAL       Review appellate decisions and order (.10).                L120        0.30 hrs
                       Conference with Mr. Wallace regarding same
                       (.10). Review and respond to e-mails regarding
                       same (.10).
11/12/2012   DAW       Revise e-mail to Ms. McGinnis (Residential                 L120        0.20 hrs
                       Capital, LLC) regarding Sixth Circuit decision
                       affirming dismissal of Long complaint.
11/30/2012   DAW       Review Sixth Circuit notice of mandate.                    L120        0.10 hrs


11/30/2012   DAW       Draft e-mail to Ms. McGinnis (Residential Capital,         L120        0.20 hrs
                       LLC) regarding Sixth Circuit mandate.

11/30/2012   JAL       Review mandate. (.10) Conference with Mr.                  L120        0.30 hrs
                       Wallace. Review correspondence regarding same.
     12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
 621 01128                   Monthly Invoices Pg 782 of 1163
                                                          Invoice # 52549         Page 2


                     TOTAL FEES FOR THIS MATTER                                       $502.00


BILLING SUMMARY


       Wallace, David A.                       1.10 hrs   260.00 /hr        $286.00


       Lipps, Jeffrey A.                       0.60 hrs   360.00 /hr        $216.00



    TOTAL FEES                                 1.70 hrs                     $502.00

    TOTAL CHARGES FOR THIS INVOICE                                          $502.00
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
                              Monthly Invoices Pg 783 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                          January 02, 2013

                                                                 Billed through 11/30/2012
Tammy Hamzephour                                                 Invoice # 52550      JAL
Residential Capital, LLC
1100 Virginia Drive                                              Our file # 621 01140
190-FTW-L95
Fort Washington, PA 19034

Re: Freddie Hoop
Matter No.: 709674

PROFESSIONAL SERVICES

11/25/2012   DAW       Draft e-mail to Ms. Ho (Residential Capital, LLC)         L120        0.30 hrs
                       regarding status.

11/25/2012   DAW       Draft e-mail to Mr. Sherrod (Hoop's counsel)              L120        0.30 hrs
                       regarding case status.

11/26/2012   DAW       Review e-mail from Mr. Sherrod (Hoop's counsel)           L120        0.10 hrs
                       regarding representation and status.



                       TOTAL FEES FOR THIS MATTER                                             $182.00


BILLING SUMMARY


         Wallace, David A.                           0.70 hrs    260.00 /hr        $182.00



     TOTAL FEES                                      0.70 hrs                     $182.00

     TOTAL CHARGES FOR THIS INVOICE                                               $182.00
       12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                                 Monthly Invoices Pg 784 of 1163
                            CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                             January 02, 2013

                                                                      Billed through 11/30/2012
Tammy Hamzephour                                                      Invoice # 52551      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 621 01145
190-FTW-L95
Fort Washington, PA 19034

Re: James Walton, Jr., et al.
Matter No.: 713075

PROFESSIONAL SERVICES

11/01/2012     DAW        Review Schwartzwald decision on standing and                L120        0.30 hrs
                          revise memorandum regarding impact.

11/01/2012     DAW        Review e-mail regarding notice of proceeding to             L120        0.10 hrs
                          foreclosure sale.

11/01/2012     DAW        Draft e-mail to Ms. Ho (Residential Capital, LLC)           L120        0.20 hrs
                          regarding foreclosure sale.

11/13/2012     DAW        Telephone conference with Ms. Ho (Residential               L120        0.10 hrs
                          Capital, LLC) regarding letter of intent to
                          foreclose.
11/13/2012     DAW        Draft e-mail to Mr. Hirtle regarding                        L120        0.20 hrs
                          correspondence indicating intent to foreclose.



                          TOTAL FEES FOR THIS MATTER                                               $234.00


BILLING SUMMARY


           Wallace, David A.                             0.90 hrs    260.00 /hr         $234.00



      TOTAL FEES                                         0.90 hrs                      $234.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
621 01145                 Monthly Invoices Pg 785 of 1163
                                                       Invoice # 52551         Page 2


   TOTAL CHARGES FOR THIS INVOICE                                        $234.00
       12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                               Monthly Invoices Pg 786 of 1163
                         CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                           January 02, 2013

                                                                   Billed through 11/30/2012
Tammy Hamzephour                                                   Invoice # 52552      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 621 01155
190-FTW-L95
Fort Washington, PA 19034

Re: National Remediation Project
Matter No.: 702040

PROFESSIONAL SERVICES

11/01/2012   DAW        (Christopher Weil, et al. matter) Review                   L120        0.30 hrs
                        Schwartzwald decision on standing and revise
                        memorandum regarding impact.
11/06/2012   DAW        (Edward Charles Miller, Jr. matter) Review e-mail          L120        0.10 hrs
                        from short sale offerer regarding status.

11/07/2012   DAW        (Edward Charles Miller, Jr. matter) Draft e-mail to        L120        0.30 hrs
                        Ms. Ho (Residential Capital, LLC) regarding status
                        of short sale.
11/12/2012   DAW        (Christopher Weil, et al. matter) Telephone                L120        0.50 hrs
                        conference with Mr. Howe (Weil counsel)
                        regarding vacating judgment and hearing on
                        objections.
11/12/2012   DAW        (Gary T. Thorne matter) Conference with Mr.                L120        0.30 hrs
                        Sechler regarding hearing issues and bankruptcy
                        stay issues.
11/12/2012   JES        (Gary T. Thorne matter) Review issue of                    L120        0.50 hrs
                        bankruptcy stay applicability to Thorne case given
                        upcoming 60(B) hearing.
11/13/2012   DAW        (Christopher Weil, et al. matter) Telephone                L120        0.30 hrs
                        conference with Ms. Ho (Residential Capital, LLC)
                        regarding hearing on objections and face-to-face
                        meeting issues.
11/15/2012   DAW        (Gary T. Thorne matter) Draft e-mail to Ms.                L120        0.10 hrs
                        McGinnis (Residential Capital, LLC) regarding
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
  621 01155                 Monthly Invoices Pg 787 of 1163
                                                         Invoice # 52552         Page 2
                    loss mitigation.
11/15/2012   DAW    (Gary T. Thorne matter) Review e-mail from Mr.        L120     0.10 hrs
                    Smith (opposing counsel) regarding loss mitigation
                    package.
11/15/2012   DAW    (Gary T. Thorne matter) Draft e-mail to Mr. Smith     L120     0.10 hrs
                    (opposing counsel) confirming receipt of loss
                    mitigation.
11/16/2012   DAW    (Gary T. Thorne matter) Revise e-mail to client       L120     0.40 hrs
                    regarding hearing issues and bankruptcy stay.

11/16/2012   JES    (Gary T. Thorne matter) Draft e-mail to Ms.           L120     0.50 hrs
                    McGinnis regarding options for handling notice of
                    stay in advance of 60(B) motion hearing.
11/18/2012   DAW    (Christopher Weil, et al. matter) Review              L120     0.90 hrs
                    Magistrate's decision, objections and response in
                    preparation for oral argument.
11/18/2012   DAW    (Christopher Weil, et al. matter) Review cases        L120     0.70 hrs
                    cited in Magistrate's decision in preparation for
                    oral argument.
11/19/2012   DAW    (Christopher Weil, et al. matter) Prepare for         L120     2.90 hrs
                    hearing on objections, and outline argument issues.

11/19/2012   DAW    (Christopher Weil, et al. matter) Attend hearing on   L230     1.90 hrs
                    objections before Judge Ruddock.

11/19/2012   DAW    (Christopher Weil, et al. matter) Conferences with    L120     0.60 hrs
                    Mr. Howe rgarding settlement and loss mitigation.

11/19/2012   DAW    (Christopher Weil, et al. matter) Draft e-mail        L120     0.30 hrs
                    reporting on hearing.

11/20/2012   DAW    (Christopher Weil, et al. matter) Revise e-mail       L120     0.40 hrs
                    reporting on hearing.

11/20/2012   DAW    (Anthony L. Harkins matter) Review Court order        L120     0.20 hrs
                    regarding show cause why case should not be
                    dismissed for lack of standing.
11/20/2012   DAW    (Gary T. Thorne matter) Review e-mail to Ms.          L120     0.30 hrs
                    McGinnis (Residential Capital, LLC) regarding
                    bankruptcy stay issues.
11/20/2012   JES    (Gary T. Thorne matter) Revise e-mail to Ms.          L120     0.30 hrs
                    McGinnis regarding strategy for filing of
                    bankruptcy stay notice.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27    Exhibit E
  621 01155                 Monthly Invoices Pg 788 of 1163
                                                         Invoice # 52552       Page 3

11/20/2012   KMC    (Anthony L. Harkins matter) Review entry            L210     0.10 hrs
                    ordering plaintiff to establish standing.

11/26/2012   DAW    (Anthony L. Harkins matter) Telephone conference    L120     0.10 hrs
                    with Mr. Richardson (Manley, Deas) regarding
                    response to Court order.
11/26/2012   DAW    (Anthony L. Harkins matter) Draft e-mail to         L120     0.30 hrs
                    foreclosure counsel regarding response to Court
                    order.
11/26/2012   RBS    (Anthony L. Harkins matter) Obtain and compile      L310     3.00 hrs
                    Schwartzwald Supreme Court citations. (2.40)
                    Prepare notebooks and index of same for Mr.
                    Wallace, Ms. Cadieux, and Mr. Rhode. (.60)
11/26/2012   KMC    (Anthony L. Harkins matter) Review file to          L110     0.60 hrs
                    determine if there are standing issues under
                    Shawtzwald.
11/27/2012   DAW    (Christopher Weil, et al. matter) Review Court's    L120     0.10 hrs
                    order regarding hearing on objections.

11/27/2012   DAW    (Anthony L. Harkins, matter) Telephone              L120     0.40 hrs
                    conference with Mr. Richardson (Manley, Deas)
                    regarding show cause response.
11/27/2012   DAW    (Anthony L. Harkins matter) Conference with Ms.     L120     0.30 hrs
                    Cadieux regarding potential issues with standing
                    concerning note and mortgage.
11/27/2012   KMC    (Anthony L. Harkins matter) Review additional       L110     0.40 hrs
                    information regarding standing issues.

11/28/2012   DAW    (Anthony L. Harkins matter) Review e-mails          L120     0.10 hrs
                    regarding risk assessment.

11/28/2012   DAW    (Anthony L. Harkins matter) Draft e-mail to Ms.     L120     0.10 hrs
                    Ho (Residential Capital, LLC) regarding standing
                    issues.
11/28/2012   KMC    (Anthony L. Harkins matter) Draft litigation risk   L110     1.10 hrs
                    summary per Ms. Ho's (Residential Capital)
                    request.
11/29/2012   DAW    (Christopher Weil, et al. matter) Draft e-mail to   L120     0.20 hrs
                    Ms. Ho (Residential Capital, LLC) regarding
                    hearing and Court order.
11/29/2012   DAW    (Anthony L. Harkins matter) Revise risk             L120     0.50 hrs
                    assessment memorandum.

11/29/2012   DAW    (Gary T. Thorne matter) Telephone conference        L120     0.10 hrs
                    with Ms. McGinnis (Residential Capital, LLC)
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27         Exhibit E
  621 01155                 Monthly Invoices Pg 789 of 1163
                                                         Invoice # 52552            Page 4
                    regarding risk assessment.
11/29/2012   DAW    (Gary T. Thorne matter) Conference with Mr.           L120        0.20 hrs
                    Sechler regarding initial review for Schwartzwald
                    issues.
11/29/2012   JES    (Gary T. Thorne matter) Review Thorne file to         L120        1.00 hrs
                    analyze the potential presence of issues implicated
                    by the Ohio Supreme Court Schwarzwald decision.
11/29/2012   KMC    (Anthony L. Harkins matter) Review e-mail             L110        0.10 hrs
                    correspondence regarding transfer of trustee.

11/29/2012   KMC    (Anthony L. Harkins matter) Draft litigation risk     L110        0.60 hrs
                    summary per Ms. Ho's (Residential Capital)
                    request.
11/29/2012   KMC    Revise litigation risk summary per Mr. Wallace.       L110        1.30 hrs


11/30/2012   DAW    (Anthony L. Harkins matter) Review e-mail from        L120        0.10 hrs
                    Ms. Ho (Residential Capital, LLC) regarding
                    record of documents at GMAC concerning note
                    and mortgage.
11/30/2012   DAW    (Anthony L. Harkins matter) Draft e-mail to Ms.       L120        0.20 hrs
                    Cadieux regarding additional information needed
                    for show cause response.
11/30/2012   DAW    (Gary T. Thorne matter) Review e-mail from Ms.        L120        0.10 hrs
                    McGinnis (Residential Capital, LLC) regarding
                    missing financial package documents.
11/30/2012   DAW    (Gary T. Thorne matter) Draft e-mail to Mr. Smith     L120        0.20 hrs
                    (Thorne counsel) regarding missing financial
                    package documents.
11/30/2012   KMC    (Anthony L. Harkins matter) Review e-mail             L110        0.10 hrs
                    regarding versions of note on Looking Glass.



                    TOTAL FEES FOR THIS MATTER                                        $4,998.00

EXPENSES

11/19/2012          (TRIP-DAW-11/19/12) Out-of-Town Travel/Mileage (130 miles               $71.50
                    X .55) - travel to Clinton County, OH to attend hearing

                    TOTAL EXPENSES FOR THIS MATTER                                          $71.50


BILLING SUMMARY
    12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
621 01155                   Monthly Invoices Pg 790 of 1163
                                                         Invoice # 52552         Page 5
      Wallace, David A.                      13.70 hrs   260.00 /hr    $3,562.00


      Sechler, Joel E.                        2.30 hrs   190.00 /hr        $437.00


      Cadieux, Karen M.                       4.30 hrs   180.00 /hr        $774.00


      Samson, Robert B.                       3.00 hrs    75.00 /hr        $225.00



   TOTAL FEES                                23.30 hrs                $4,998.00

   TOTAL EXPENSES                                                          $71.50

   TOTAL CHARGES FOR THIS INVOICE                                     $5,069.50
       12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
                                 Monthly Invoices Pg 791 of 1163
                          CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                            January 02, 2013

                                                                    Billed through 11/30/2012
Tammy Hamzephour                                                    Invoice # 52490      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01009
190-FTW-L95
Fort Washington, PA 19034

Re: Deborah A. Charity
Matter No.: 698543

PROFESSIONAL SERVICES

11/01/2012   JES         Telephone conference with client regarding recent          L120        0.30 hrs
                         e-mails and status of case dismissal.

11/01/2012   JES         Review latest e-mail from borrower regarding loan          L120        0.20 hrs
                         modification.

11/02/2012   DAW         Telephone conference with Ms. McGinnis                     L120        0.20 hrs
                         (Residential Capital, LLC) regarding recent e-mail
                         from Ms. Charity.
11/02/2012   DAW         Review recent e-mail from Ms. Charity regarding            L120        0.10 hrs
                         HAMP modification.

11/05/2012   DAW         Review e-mail from Mr. Sechler regarding status            L120        0.10 hrs
                         of hearing.

11/05/2012   DAW         Conference with Mr. Sechler regarding loan                 L120        0.10 hrs
                         modification.

11/05/2012   DAW         Revise e-mail to Ms. Charity.                              L120        0.30 hrs


11/05/2012   DAW         Telephone conferences with Ms. McGinnis                    L120        0.30 hrs
                         (Residential Capital, LLC) regarding HAMP and
                         loss mitigation.
11/05/2012   JES         Telephone conference with Ms. McGinnis                     L120        0.30 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
  096 01009                 Monthly Invoices Pg 792 of 1163
                                                         Invoice # 52490         Page 2
                    (Residential Capital) and Ms. Tassie (Residential
                    Capital) regarding case status.
11/05/2012   JES    Draft e-mail to Ms. Charity regarding her request     L120     0.50 hrs
                    to execute the loan modification late.

11/06/2012   DAW    Review and revise e-mail to Ms. Charity.              L120     0.40 hrs


11/06/2012   JES    Draft and revise letter and e-mail to Ms. Charity     L120     1.00 hrs
                    regarding HAMP loan modification.

11/07/2012   DAW    Review e-mails regarding status of Charity loan       L120     0.20 hrs
                    modification.

11/07/2012   DAW    Review proposed responsive e-mail regarding           L120     0.20 hrs
                    status of loan modification.

11/07/2012   JES    Review letter and executed modification agreement     L120     0.50 hrs
                    from Ms. Charity.

11/07/2012   JES    Draft e-mail to Ms. Charity regarding loan            L120     0.60 hrs
                    modification and questions contained in her latest
                    letter.
11/08/2012   DAW    Review e-mails regarding response of Ms. Charity      L120     0.20 hrs
                    to loan modification proposal.

11/08/2012   DAW    Conference with Mr. Sechler regarding response to     L120     0.10 hrs
                    inquiry.

11/08/2012   JES    Telephone conference with Ms. McGinnis                L120     0.30 hrs
                    (Residential Capital) regarding questions raised by
                    borrower.
11/08/2012   JES    Review e-mail from Ms. Charity regarding loan         L120     0.40 hrs
                    modifications.

11/14/2012   DAW    Telephone conference with Ms. McGinnis                L120     0.10 hrs
                    (Residential Capital, LLC) regarding response to
                    Ms. Charity.
11/15/2012   DAW    Revise e-mail to Ms. Charity responding to            L120     0.40 hrs
                    questions regarding principal reduction.

11/15/2012   JES    Draft e-mail to Ms. Charity regarding her loan        L120     0.50 hrs
                    modification questions.

11/19/2012   JES    Draft e-mail to Ms. McGinnis (Residential Capital)    L120     0.50 hrs
                    regarding latest e-mail from Ms. Charity.
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
  096 01009                    Monthly Invoices Pg 793 of 1163
                                                            Invoice # 52490                Page 3

11/20/2012   DAW        Review e-mails regarding Charity correspondence.           L120        0.20 hrs


11/21/2012   DAW        Revise correspondence to Ms. Charity.                      L120        0.10 hrs


11/21/2012   DAW        Review e-mail regarding what caused letter to be           L120        0.10 hrs
                        sent.

11/21/2012   JES        Draft e-mail to Ms. Charity regarding "current"            L120        0.50 hrs
                        status of her loan.

11/26/2012   DAW        Review e-mails regarding additional letters sent to        L120        0.20 hrs
                        Ms. Charity.

11/27/2012   JES        E-mail Ms. Charity regarding resolution to default         L120        0.20 hrs
                        letter issue.



                        TOTAL FEES FOR THIS MATTER                                             $1,960.00

EXPENSES

11/06/2012              Delivery Service/Messengers - Federal Express to Deborah                   $17.21
                        Charity from Mr. Sechler

11/08/2012              Delivery Service/Messengers - Federal Express to Cynthia                   $15.77
                        Hamilton, GMAC Mortgage from Mr. Sechler

                        TOTAL EXPENSES FOR THIS MATTER                                             $32.98


BILLING SUMMARY


         Wallace, David A.                             3.30 hrs    260.00 /hr        $858.00


         Sechler, Joel E.                              5.80 hrs    190.00 /hr      $1,102.00



     TOTAL FEES                                        9.10 hrs                    $1,960.00

     TOTAL EXPENSES                                                                  $32.98

     TOTAL CHARGES FOR THIS INVOICE                                                $1,992.98
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                              Monthly Invoices Pg 794 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                           January 02, 2013

                                                                   Billed through 11/30/2012
Tammy Hamzephour                                                   Invoice # 52491      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01011
190-FTW-L95
Fort Washington, PA 19034

Re: Emily Bradac
Matter No.: 690339

PROFESSIONAL SERVICES

11/01/2012   KMC       Telephone conference with Ms. McGinnis                      L110        0.30 hrs
                       (Residential Capital) regarding affidavits needed.

11/02/2012   AMP       Review affidavits regarding corrected note and in           L210        0.50 hrs
                       support of motion to substitute.

11/02/2012   AMP       E-mail exchanges with Ms. Cadieux and client                L210        0.30 hrs
                       regarding affidavit issues.

11/02/2012   KMC       Revise affidavit regarding motion to substitute             L210        0.30 hrs
                       based on the comments of Mr. Chiodo (Ally).

11/02/2012   KMC       E-mail correspondence with Ms. McGinnis                     L210        0.10 hrs
                       (Residential Capital) regarding supplemental
                       affidavit.
11/02/2012   KMC       Revise supplemental affidavit.                              L210        0.30 hrs


11/02/2012   KMC       Forward supplemental affidavit to Ms. McGinnis              L210        0.10 hrs
                       (Residential Capital).

11/02/2012   KMC       Review changes to affidavit for motion to                   L210        0.10 hrs
                       substitute.

11/05/2012   KMC       Review executed affidavit of Mr.Chiodo (Ally).              L210        0.20 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
  096 01011                 Monthly Invoices Pg 795 of 1163
                                                         Invoice # 52491               Page 2



11/12/2012   AMP    Attention to status of execution of affidavits.             L120     0.20 hrs
                    Conference with Ms. Cadieux regarding same.

11/19/2012   KMC    E-mail Ms. McGinnis (Residential Capital)                   L110     0.30 hrs
                    regarding supplemental affidavit and why it should
                    be executed by Mr. Zietz (Residential Capital).
11/20/2012   KMC    Forward Mr. Zeitz's (Residential Capital) original          L110     0.20 hrs
                    affidavit to Ms. McGinnis (Residential Capital).

11/26/2012   KMC    Revise supplemental affidavit to be executed by a           L110     0.40 hrs
                    corporate witness other than the witness who
                    executed the original affidavit.
11/26/2012   KMC    Telephone conference with Ms. McGinnis                      L110     0.20 hrs
                    (Residential Capital) regarding supplemental
                    affidavit.
11/27/2012   KMC    Revise supplemental affidavit.                              L210     0.10 hrs


11/28/2012   AMP    Attention to supplemental affidavit issues.                 L210     0.10 hrs


11/28/2012   AMP    Review and revise supplemental affidavit.                   L210     0.10 hrs


11/28/2012   AMP    Conference with Ms. Cadieux regarding                       L210     0.10 hrs
                    supplemental affidavit.

11/28/2012   AMP    Review e-mail to client regarding supplemental              L210     0.10 hrs
                    affidavit.

11/28/2012   RBS    Prepare exhibits for pleadings for Ms. Cadieux.      A902   L310     0.20 hrs


11/28/2012   KMC    Draft e-mail correspondence to Ms. McGinnis                 L110     0.20 hrs
                    (Residential Capital) regarding supplemental
                    affidavit.
11/28/2012   KMC    Revise supplemental affidavit per Ms. Whitfield.            L110     0.30 hrs


11/28/2012   KMC    Prepare exhibits to supplemental affidavit and              L110     0.40 hrs
                    background materials to send to affiant.



                    TOTAL FEES FOR THIS MATTER                                            $995.00
     12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
 096 01011                  Monthly Invoices Pg 796 of 1163
                                                         Invoice # 52491         Page 3


BILLING SUMMARY


       Paul, Angela M.                        1.40 hrs   250.00 /hr        $350.00


       Cadieux, Karen M.                      3.50 hrs   180.00 /hr        $630.00


       Samson, Robert B.                      0.20 hrs    75.00 /hr         $15.00



    TOTAL FEES                                5.10 hrs                     $995.00

    TOTAL CHARGES FOR THIS INVOICE                                         $995.00
       12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                              Monthly Invoices Pg 797 of 1163
                         CARPENTER LIPPS & LELAND LLP

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                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                           January 02, 2013

                                                                    Billed through 11/30/2012
Tammy Hamzephour                                                    Invoice # 52492      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01012
190-FTW-L95
Fort Washington, PA 19034

Re: Eric Rogers
Matter No.: 687375

PROFESSIONAL SERVICES

11/27/2012   KMC       Review e-mail from Ms. McGinnis (Residential                 L110        0.10 hrs
                       Capital) regarding status of case.

11/28/2012   DAW       Review e-mail confirming answer date.                        L120        0.10 hrs


11/28/2012   KMC       Telephone conference with Ms. McGinnis                       L110        0.10 hrs
                       (Residential Capital) regarding status of case.



                       TOTAL FEES FOR THIS MATTER                                                  $62.00


BILLING SUMMARY


          Wallace, David A.                            0.10 hrs    260.00 /hr          $26.00


          Cadieux, Karen M.                            0.20 hrs    180.00 /hr          $36.00



     TOTAL FEES                                        0.30 hrs                       $62.00

     TOTAL CHARGES FOR THIS INVOICE                                                   $62.00
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
                              Monthly Invoices Pg 798 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                          January 02, 2013

                                                                 Billed through 11/30/2012
Tammy Hamzephour                                                 Invoice # 52493      JAL
Residential Capital, LLC
1100 Virginia Drive                                              Our file # 096 01029
190-FTW-L95
Fort Washington, PA 19034

Re: Lamar Bridges
Matter No.: 705862

PROFESSIONAL SERVICES

11/06/2012   DAW       Review Court docket to confirm case status.               L120        0.10 hrs




                       TOTAL FEES FOR THIS MATTER                                               $26.00


BILLING SUMMARY


         Wallace, David A.                           0.10 hrs    260.00 /hr         $26.00



     TOTAL FEES                                      0.10 hrs                      $26.00

     TOTAL CHARGES FOR THIS INVOICE                                                $26.00
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                               Monthly Invoices Pg 799 of 1163
                            CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                           January 02, 2013

                                                                   Billed through 11/30/2012
Tammy Hamzephour                                                   Invoice # 52494      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01044
190-FTW-L95
Fort Washington, PA 19034

Re: Ray E. Potter
Matter No.: 698440

PROFESSIONAL SERVICES

11/15/2012   JES        E-mail client and opposing counsel regarding               L120        0.40 hrs
                        status of reverse mortgage.

11/21/2012   JES        Revise litigation assessment.                              L120        0.50 hrs




                        TOTAL FEES FOR THIS MATTER                                              $171.00


BILLING SUMMARY


         Sechler, Joel E.                               0.90 hrs   190.00 /hr        $171.00



     TOTAL FEES                                         0.90 hrs                    $171.00

     TOTAL CHARGES FOR THIS INVOICE                                                 $171.00
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27         Exhibit E
                              Monthly Invoices Pg 800 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                      280 Plaza, Suite 1300
                                      280 North High Street
                                      Columbus, OH 43215
                                         (614) 365-4100
                                     Federal ID # XX-XXXXXXX



                                         January 02, 2013

                                                               Billed through 11/30/2012
Tammy Hamzephour                                               Invoice # 52495      JAL
Residential Capital, LLC
1100 Virginia Drive                                            Our file # 096 01045
190-FTW-L95
Fort Washington, PA 19034

Re: Raymond Thomas
Matter No.: 695604

PROFESSIONAL SERVICES

11/26/2012   DAW       Review e-mail from Ms. McGinnis (Residential            L120        0.10 hrs
                       Capital, LLC) regarding status.



                       TOTAL FEES FOR THIS MATTER                                             $26.00


BILLING SUMMARY


         Wallace, David A.                         0.10 hrs    260.00 /hr         $26.00



     TOTAL FEES                                    0.10 hrs                      $26.00

     TOTAL CHARGES FOR THIS INVOICE                                              $26.00
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                               Monthly Invoices Pg 801 of 1163
                            CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                           January 02, 2013

                                                                    Billed through 11/30/2012
Tammy Hamzephour                                                    Invoice # 52496      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01048
190-FTW-L95
Fort Washington, PA 19034

Re: Ronald McGinn
Matter No.: 694500

PROFESSIONAL SERVICES

11/01/2012   JES        Review trial HAMP modification. (.10) E-mail                L120        0.30 hrs
                        opposing counsel regarding same. (.20)

11/03/2012   JES        Draft e-mail to Ms. Eyster (opposing counsel)               L120        0.50 hrs
                        regarding details underlying loan modification
                        offer.
11/27/2012   JES        E-mail Ms. McGinnis (Residential Capital) and               L120        0.20 hrs
                        opposing counsel regarding loan modification
                        questions raised by the borrowers.
11/28/2012   DAW        Review e-mail regarding loss mitigation issues.             L120        0.10 hrs


11/29/2012   DAW        Telephone conference with Ms. McGinnis                      L120        0.20 hrs
                        (Residential Capital, LLC) regarding loan
                        modification extension.


                        TOTAL FEES FOR THIS MATTER                                               $268.00


BILLING SUMMARY


         Wallace, David A.                             0.30 hrs     260.00 /hr         $78.00


         Sechler, Joel E.                              1.00 hrs     190.00 /hr        $190.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
096 01048                 Monthly Invoices Pg 802 of 1163
                                                       Invoice # 52496         Page 2



   TOTAL FEES                               1.30 hrs                     $268.00

   TOTAL CHARGES FOR THIS INVOICE                                        $268.00
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
                              Monthly Invoices Pg 803 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                          January 02, 2013

                                                                 Billed through 11/30/2012
Tammy Hamzephour                                                 Invoice # 52497      JAL
Residential Capital, LLC
1100 Virginia Drive                                              Our file # 096 01058
190-FTW-L95
Fort Washington, PA 19034

Re: Timothy Bryant
Matter No.: 713600

PROFESSIONAL SERVICES

11/20/2012   DAW       Telephone conference with Mr. Aguirre (GMAC)              L120        0.10 hrs
                       regarding case status.

11/25/2012   DAW       Draft e-mail to Ms. Ho (Residential Capital, LLC)         L120        0.20 hrs
                       regarding case status.



                       TOTAL FEES FOR THIS MATTER                                               $78.00


BILLING SUMMARY


         Wallace, David A.                           0.30 hrs    260.00 /hr         $78.00



     TOTAL FEES                                      0.30 hrs                      $78.00

     TOTAL CHARGES FOR THIS INVOICE                                                $78.00
       12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                              Monthly Invoices Pg 804 of 1163
                         CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                           January 02, 2013

                                                                   Billed through 11/30/2012
Tammy Hamzephour                                                   Invoice # 52498      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01061
190-FTW-L95
Fort Washington, PA 19034

Re: Cleveland Housing Renewal Project
Matter No.: 715020

PROFESSIONAL SERVICES

11/15/2012   DAW       Review defendant Bank of America, JPMorgan                  L120        0.10 hrs
                       Chase, and Barclays' motion to dismiss second
                       amended complaint.
11/20/2012   DAW       Review Court order regarding dismissal of                   L120        0.10 hrs
                       JPMorgan Case defendants.



                       TOTAL FEES FOR THIS MATTER                                                 $52.00


BILLING SUMMARY


          Wallace, David A.                           0.20 hrs     260.00 /hr         $52.00



     TOTAL FEES                                       0.20 hrs                       $52.00

     TOTAL CHARGES FOR THIS INVOICE                                                  $52.00
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                               Monthly Invoices Pg 805 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                             January 02, 2013

                                                                    Billed through 11/30/2012
Tammy Hamzephour                                                    Invoice # 52499      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01078
190-FTW-L95
Fort Washington, PA 19034

Re: Ronald J. Markus
Matter No.: 699618

PROFESSIONAL SERVICES

11/01/2012   DAW       Review Schwartzwald decision on standing and                 L120        0.30 hrs
                       revise memorandum regarding impact.

11/01/2012   DAW       Conference with Mr. Sechler regarding impact of              L120        0.10 hrs
                       Schwartzwald decision on a case.

11/01/2012   JES       Review Knapp deposition transcript in preparation            L240        1.00 hrs
                       for drafting reply in support of motion for
                       summary judgment.
11/01/2012   JDR       Revise memorandum to Mr. Wallace analyzing                   L120        0.40 hrs
                       recent Shwartzwald reasoning and holdings.

11/02/2012   JES       Draft reply in support of motion for summary                 L240        6.00 hrs
                       judgment. (4.80) Analyze Schwartzwald decision
                       for arguments to use in same. (1.20)
11/03/2012   JES       Revise reply brief.                                          L120        2.00 hrs


11/07/2012   JES       Finalize reply in support of motion for summary              L240        1.00 hrs
                       judgment.

11/29/2012   DAW       Conference with Mr. Sechler regarding risk                   L120        0.10 hrs
                       assessment.

11/29/2012   DAW       Draft e-mail to Ms. Ho (Residential Capital, LLC)            L120        0.10 hrs
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
  096 01078                    Monthly Invoices Pg 806 of 1163
                                                            Invoice # 52499                 Page 2
                        regarding risk assessment.

11/29/2012   JES        Prepare litigation risk assessment for Ms. Ho               L120        0.50 hrs
                        (Residential Capital).



                        TOTAL FEES FOR THIS MATTER                                              $2,215.00

EXPENSES

11/07/2012              Delivery Service/Messengers - Federal Express to Cuyahoga                   $20.01
                        County Clerk of Court from Mr. Sechler

11/07/2012              Delivery Service/Messengers - Federal Express to Cuyahoga                   $15.85
                        County Clerk of Court from Mr. Sechler

                        TOTAL EXPENSES FOR THIS MATTER                                              $35.86


BILLING SUMMARY


         Wallace, David A.                             0.60 hrs    260.00 /hr         $156.00


         Rhode, Jacob D.                               0.40 hrs    160.00 /hr          $64.00


         Sechler, Joel E.                             10.50 hrs    190.00 /hr       $1,995.00



     TOTAL FEES                                       11.50 hrs                     $2,215.00

     TOTAL EXPENSES                                                                   $35.86

     TOTAL CHARGES FOR THIS INVOICE                                                 $2,250.86
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                              Monthly Invoices Pg 807 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                           January 02, 2013

                                                                   Billed through 11/30/2012
Tammy Hamzephour                                                   Invoice # 52500      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01112
190-FTW-L95
Fort Washington, PA 19034

Re: Thang Nguyen
Matter No.: 712051

PROFESSIONAL SERVICES

11/01/2012   JES       Draft e-mails to client and opposing counsel                L120        0.50 hrs
                       regarding satisfaction of mortgage and dismissal
                       entry.
11/01/2012   JES       Telephone conference with client regarding recent           L120        0.30 hrs
                       e-mails and status of case dismissal.

11/16/2012   JES       E-mail opposing counsel regarding status of                 L120        0.10 hrs
                       dismissal entries.

11/20/2012   DAW       Review stipulation of dismissal.                            L120        0.10 hrs


11/20/2012   JES       Finalize dismissal entries.                                 L120        0.10 hrs


11/21/2012   DAW       Review Court's order confirming voluntary                   L120        0.10 hrs
                       dismissal.

11/27/2012   JES       E-mail stipulation of dismissal to Ms. McGinnis             L120        0.10 hrs
                       (Residential Capital).



                       TOTAL FEES FOR THIS MATTER                                               $261.00
     12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
 096 01112                   Monthly Invoices Pg 808 of 1163
                                                          Invoice # 52500         Page 2
BILLING SUMMARY


       Wallace, David A.                       0.20 hrs   260.00 /hr         $52.00


       Sechler, Joel E.                        1.10 hrs   190.00 /hr        $209.00



    TOTAL FEES                                 1.30 hrs                     $261.00

    TOTAL CHARGES FOR THIS INVOICE                                          $261.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27               Exhibit E
                                Monthly Invoices Pg 809 of 1163
                          CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                             January 02, 2013

                                                                       Billed through 11/30/2012
Tammy Hamzephour                                                       Invoice # 52501      JAL
Residential Capital, LLC
1100 Virginia Drive                                                    Our file # 096 01114
190-FTW-L95
Fort Washington, PA 19034

Re: Mardean Bridges, et al.
Matter No.: 712079

PROFESSIONAL SERVICES

11/02/2012    DAW        Review and revise settlement and release                      L160        0.40 hrs
                         agreement.

11/02/2012    KMC        Blackline settlement agreement.                               L160        0.10 hrs


11/02/2012    KMC        Draft settlement agreement.                                   L160        0.70 hrs


11/02/2012    KMC        Forward settlement agreement to Ms. McGinnis                  L160        0.10 hrs
                         (Residential Capital) for review and approval.

11/02/2012    KMC        Review e-mail approving settlement agreement.                 L160        0.10 hrs


11/05/2012    DAW        Review Court's order cancelling pretrial                      L120        0.10 hrs
                         conference.

11/05/2012    KMC        Telephone conference with Ms. McGinnis                        L160        0.20 hrs
                         (Residential Capital) regarding settlement.

11/05/2012    KMC        Revise settlement agreement.                                  L160        0.20 hrs


11/05/2012    KMC        Draft dismissal entry.                                        L210        0.40 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27       Exhibit E
  096 01114                 Monthly Invoices Pg 810 of 1163
                                                         Invoice # 52501          Page 2


11/05/2012   KMC    Forward settlement agreement and dismissal entry       L160     0.20 hrs
                    to borrowers' counsel.

11/05/2012   KMC    Telephone conference with Court regarding              L160     0.20 hrs
                    settlement.

11/05/2012   KMC    Review e-mail from borrowers' counsel regarding        L110     0.10 hrs
                    settlement to contacting the court regarding same.

11/05/2012   KMC    Review entry cancelling pretrial.                      L210     0.10 hrs


11/07/2012   DAW    Review Court order cancelling final pretrial           L120     0.10 hrs
                    conference.

11/07/2012   KMC    Review entry regarding settlement.                     L160     0.10 hrs


11/07/2012   KMC    E-mail correspondence with Ms. McGinnis                L160     0.10 hrs
                    (Residential Capital) regarding status of settlement
                    documents.
11/09/2012   KMC    E-mail borrowers' counsel regarding settlement         L160     0.10 hrs
                    documents.

11/12/2012   DAW    Review e-mail from Ms. McGinnis (Residential           L120     0.10 hrs
                    Capital, LLC) regarding settlement status.

11/12/2012   DAW    Draft e-mail to Ms. McGinnis (Residential Capital,     L120     0.20 hrs
                    LLC) regarding settlement status.

11/12/2012   KMC    Telephone conference with Ms. McGinnis                 L160     0.20 hrs
                    (Residential Capital) regarding status of
                    settlement.
11/15/2012   KMC    E-mail correspondence with counsel for borrowers       L110     0.30 hrs
                    regarding settlement documents.

11/16/2012   KMC    E-mail correspondence with borrowers' counsel          L110     0.10 hrs
                    regarding independent foreclosure review.

11/16/2012   KMC    Telephone conference with Ms. McGinnis                 L110     0.20 hrs
                    (Residential Capital) regarding independent
                    foreclosure review and effect of settlement.
11/20/2012   DAW    Telephone conference with Mr. Aguirre (GMAC)           L120     0.10 hrs
                    regarding witness availability issues.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27        Exhibit E
  096 01114                 Monthly Invoices Pg 811 of 1163
                                                         Invoice # 52501           Page 3
11/20/2012   KMC    E-mail correspondence with Ms. McGinnis                 L110     0.20 hrs
                    (Residential Capital) regarding status of settlement
                    agreement.
11/26/2012   KMC    E-mail borrowers' counsel regarding settlement          L110     0.20 hrs
                    agreement.

11/26/2012   KMC    Telephone conference with Ms. McGinnis                  L160     0.20 hrs
                    (Residential Capital) regarding status of settlement.

11/27/2012   KMC    Telephone conference with borrowers' counsel            L160     0.20 hrs
                    regarding status of settlement.

11/27/2012   KMC    E-mail Ms. McGinnis (Residential Capital)               L110     0.10 hrs
                    regarding borrowers' counsel's representations
                    related to settlement documents being executed
                    and returned.
11/27/2012   KMC    Telephone conference with Ms. McGinnis                  L160     0.10 hrs
                    (Residential Capital) regarding status of settlement.

11/29/2012   DAW    Conference with Ms. Cadieux regarding settlement        L120     0.10 hrs
                    status.

11/29/2012   KMC    Draft settlement proposal.                              L160     1.10 hrs


11/29/2012   KMC    E-mail borrowers' counsel regarding status of           L130     0.10 hrs
                    executed settlement documents.

11/29/2012   KMC    E-mail Ms. McGinnis (Residential Capital)               L110     0.10 hrs
                    regarding status of settlement documents.

11/29/2012   KMC    E-mail settlement proposal to Ms. McGinnis              L160     0.10 hrs
                    (Residential Capital)

11/30/2012   JES    Telephone Ms. Brown (opposing counsel)                  L120     0.10 hrs
                    regarding execution of settlement agreement.

11/30/2012   KMC    Telephone conference with Ms. McGinnis                  L160     0.20 hrs
                    (Residential Capital) regarding status of settlement.



                    TOTAL FEES FOR THIS MATTER                                       $1,403.00


BILLING SUMMARY
    12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
096 01114                   Monthly Invoices Pg 812 of 1163
                                                         Invoice # 52501         Page 4
      Wallace, David A.                       1.10 hrs   260.00 /hr        $286.00


      Sechler, Joel E.                        0.10 hrs   190.00 /hr         $19.00


      Cadieux, Karen M.                       6.10 hrs   180.00 /hr    $1,098.00



   TOTAL FEES                                 7.30 hrs                $1,403.00

   TOTAL CHARGES FOR THIS INVOICE                                     $1,403.00
       12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                                 Monthly Invoices Pg 813 of 1163
                              CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                             January 02, 2013

                                                                      Billed through 11/30/2012
Tammy Hamzephour                                                      Invoice # 52502      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 096 01116
190-FTW-L95
Fort Washington, PA 19034

Re: Jack H. Donnelly, et al.
Matter No.: 712313

PROFESSIONAL SERVICES

11/19/2012    JES         E-mail Ms. McGinnis (Residential Capital)                   L120        0.20 hrs
                          regarding loan modification application.

11/27/2012    JES         E-mail Ms. McGinnis (Residential Capital) and               L120        0.20 hrs
                          opposing counsel regarding additional information
                          needed for loan modification application.


                          TOTAL FEES FOR THIS MATTER                                                 $76.00


BILLING SUMMARY


           Sechler, Joel E.                             0.40 hrs   190.00 /hr            $76.00



      TOTAL FEES                                        0.40 hrs                        $76.00

      TOTAL CHARGES FOR THIS INVOICE                                                    $76.00
      12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                                Monthly Invoices Pg 814 of 1163
                             CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                                January 02, 2013

                                                                     Billed through 11/30/2012
Tammy Hamzephour                                                     Invoice # 52503      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01127
190-FTW-L95
Fort Washington, PA 19034

Re: Rebecca L. Folden


PROFESSIONAL SERVICES

11/16/2012   JES         Draft status report.                                        L120        0.50 hrs


11/30/2012   JES         Review Court order regarding bankruptcy stay.               L120        0.20 hrs


11/30/2012   JES         Review and respond to Court order regarding                 L120        0.20 hrs
                         bankruptcy stay.



                         TOTAL FEES FOR THIS MATTER                                               $171.00


BILLING SUMMARY


          Sechler, Joel E.                                0.90 hrs   190.00 /hr        $171.00



     TOTAL FEES                                           0.90 hrs                    $171.00

     TOTAL CHARGES FOR THIS INVOICE                                                   $171.00
       12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27                Exhibit E
                               Monthly Invoices Pg 815 of 1163
                         CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                            January 02, 2013

                                                                       Billed through 11/30/2012
Tammy Hamzephour                                                       Invoice # 52504      JAL
Residential Capital, LLC
1100 Virginia Drive                                                    Our file # 096 01128
190-FTW-L95
Fort Washington, PA 19034

Re: City of Cleveland (Muni CT Action)
Matter No.: 627238

PROFESSIONAL SERVICES

11/05/2012   AMP        E-mails with City's counsel regarding status of                L160        0.10 hrs
                        execution of settlement agreement.

11/05/2012   AMP        E-mails with client regarding status of execution of           L160        0.20 hrs
                        settlement agreement.

11/05/2012   AMP        Review executed agreement from the City.                       L160        0.10 hrs


11/12/2012   AMP        Draft e-mail to client regarding execution of                  L160        0.20 hrs
                        settlement agreement.

11/13/2012   AMP        Review e-mail from client regarding settlement                 L160        0.20 hrs
                        procedures and requirement of red-line and form
                        completion.
11/19/2012   AMP        Attention to red-lining settlement agreement and               L160        0.90 hrs
                        completing litigation settlement proposal form.
                        E-mails regarding same.
11/26/2012   AMP        Attention to status of receipt of settlement                   L160        0.10 hrs
                        proceeds.

11/26/2012   AMP        Review and respond to e-mails regarding status of              L160        0.20 hrs
                        receipt of settlement proceeds.

11/27/2012   AMP        Attention to status of receipt of wire transfer of             L160        0.20 hrs
     12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
 096 01128                  Monthly Invoices Pg 816 of 1163
                                                         Invoice # 52504         Page 2
                    settlement proceeds.



                    TOTAL FEES FOR THIS MATTER                                       $550.00


BILLING SUMMARY


       Paul, Angela M.                        2.20 hrs   250.00 /hr        $550.00



    TOTAL FEES                                2.20 hrs                     $550.00

    TOTAL CHARGES FOR THIS INVOICE                                         $550.00
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                               Monthly Invoices Pg 817 of 1163
                         CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                          January 02, 2013

                                                                   Billed through 11/30/2012
Tammy Hamzephour                                                   Invoice # 52505      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01133
190-FTW-L95
Fort Washington, PA 19034

Re: Shawn W. Ferrell
Matter No.: 715760

PROFESSIONAL SERVICES

11/15/2012   DAW       Review Court's notice of sale.                              L120        0.10 hrs




                       TOTAL FEES FOR THIS MATTER                                                 $26.00


BILLING SUMMARY


          Wallace, David A.                             0.10 hrs   260.00 /hr         $26.00



     TOTAL FEES                                         0.10 hrs                     $26.00

     TOTAL CHARGES FOR THIS INVOICE                                                  $26.00
       12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                                 Monthly Invoices Pg 818 of 1163
                          CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                            January 02, 2013

                                                                     Billed through 11/30/2012
Tammy Hamzephour                                                     Invoice # 52506      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01134
190-FTW-L95
Fort Washington, PA 19034

Re: Jeffrey A. Secrest
Matter No.: 716073

PROFESSIONAL SERVICES

11/16/2012    DAW        Review docket regarding notice of appeal.                   L120        0.10 hrs




                         TOTAL FEES FOR THIS MATTER                                                 $26.00


BILLING SUMMARY


          Wallace, David A.                            0.10 hrs      260.00 /hr         $26.00



      TOTAL FEES                                       0.10 hrs                        $26.00

      TOTAL CHARGES FOR THIS INVOICE                                                   $26.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27          Exhibit E
                                Monthly Invoices Pg 819 of 1163
                             CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                           January 02, 2013

                                                                  Billed through 11/30/2012
Tammy Hamzephour                                                  Invoice # 52507      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 096 01140
190-FTW-L95
Fort Washington, PA 19034

Re: Steven T. Biermann, et al.
Matter No.: 718120

PROFESSIONAL SERVICES

11/07/2012    JES        E-mail Mr. Smith (opposing counsel) regarding            L120        0.20 hrs
                         status of completion of loan modification
                         application.


                         TOTAL FEES FOR THIS MATTER                                              $38.00


BILLING SUMMARY


          Sechler, Joel E.                            0.20 hrs   190.00 /hr          $38.00



      TOTAL FEES                                      0.20 hrs                      $38.00

      TOTAL CHARGES FOR THIS INVOICE                                                $38.00
       12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
                              Monthly Invoices Pg 820 of 1163
                         CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                          January 02, 2013

                                                                 Billed through 11/30/2012
Tammy Hamzephour                                                 Invoice # 52508      JAL
Residential Capital, LLC
1100 Virginia Drive                                              Our file # 096 01143
190-FTW-L95
Fort Washington, PA 19034

Re: Jeanette Jordon
Matter No.: 718899

PROFESSIONAL SERVICES

11/06/2012   DAW       Review e-mail from Ms. McGinnis (Residential              L120        0.10 hrs
                       Capital, LLC) regarding REO property reporting
                       requirements after sale to Ocwen.
11/19/2012   DAW       Review follow-up e-mail regarding REO property            L120        0.10 hrs
                       reporting responsibilities.

11/19/2012   DAW       Draft e-mail to Ms. McGinnis (Residential Capital,        L120        0.10 hrs
                       LLC) regarding REO property reporting
                       responsibilities.
11/20/2012   DAW       Revise e-mail to Ms. McGinnis (Residential                L120        0.60 hrs
                       Capital, LLC) regarding REO property reporting
                       responsibilities after servicing transfer.


                       TOTAL FEES FOR THIS MATTER                                             $234.00


BILLING SUMMARY


          Wallace, David A.                          0.90 hrs    260.00 /hr        $234.00



      TOTAL FEES                                     0.90 hrs                     $234.00

      TOTAL CHARGES FOR THIS INVOICE                                              $234.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27    Exhibit E
096 01143                 Monthly Invoices Pg 821 of 1163
                                                       Invoice # 52508       Page 2
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                                Monthly Invoices Pg 822 of 1163
                           CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                            January 02, 2013

                                                                     Billed through 11/30/2012
Tammy Hamzephour                                                     Invoice # 52509      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01145
190-FTW-L95
Fort Washington, PA 19034

RE: Niesreen Abdalla, et al.
Matter No.: 718973

PROFESSIONAL SERVICES

11/01/2012    DAW        Review Schwartzwald decision on standing and                L120        0.30 hrs
                         revise memorandum regarding impact.

11/01/2012    JDR        Draft memorandum to Mr. Wallace analyzing                   L120        0.80 hrs
                         future and current implications of the Shwartzwald
                         decision.
11/07/2012    JES        E-mail Mr. Ralls (opposing counsel) regarding               L120        0.20 hrs
                         status of completion of loan modification
                         application.
11/08/2012    JES        E-mail and telephone conference with Ms.                    L120        0.40 hrs
                         McGinnis (Residential Capital) regarding
                         settlement demand from borrower's counsel.
11/09/2012    DAW        Review e-mail regarding applicability of AG                 L120        0.10 hrs
                         Group settlement from Abdallas' counsel.

11/12/2012    JES        E-mail Ms. McGinnis (Residential Capital)                   L120        0.20 hrs
                         regarding WellsFargo attorney general settlement
                         obligations.
11/13/2012    DAW        Review e-mail from Ms. McGinnis (Residential                L120        0.10 hrs
                         Capital, LLC) regarding inapplicability of attorney
                         general settlement funds.
11/16/2012    JES        E-mail Ms. McGinnis regarding upcoming final                L120        0.10 hrs
                         pretrial conferences.
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27          Exhibit E
  096 01145                    Monthly Invoices Pg 823 of 1163
                                                            Invoice # 52509             Page 2
11/19/2012   DAW        Revise e-mail response to Mr. Ralls' (Abdalla            L120       0.40 hrs
                        counsel) request to participate in attorney general
                        settlement.
11/20/2012   JES        Revise e-mail to borrower's counsel outlining            L120       0.40 hrs
                        settlement position.



                        TOTAL FEES FOR THIS MATTER                                           $609.00


BILLING SUMMARY


         Wallace, David A.                              0.90 hrs    260.00 /hr    $234.00


         Rhode, Jacob D.                                0.80 hrs    160.00 /hr    $128.00


         Sechler, Joel E.                               1.30 hrs    190.00 /hr    $247.00



     TOTAL FEES                                         3.00 hrs                  $609.00

     TOTAL CHARGES FOR THIS INVOICE                                               $609.00
       12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
                               Monthly Invoices Pg 824 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                          January 02, 2013

                                                                  Billed through 11/30/2012
Tammy Hamzephour                                                  Invoice # 52510      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 096 01150
190-FTW-L95
Fort Washington, PA 19034

Re: Melissa D. Lallo
Matter No.: 719854

PROFESSIONAL SERVICES

11/01/2012   DAW       Review Schwartzwald decision on standing and               L120        0.30 hrs
                       revise memorandum regarding impact.

11/01/2012   DAW       Conference with Mr. Sechler regarding impact of            L120        0.10 hrs
                       Schwartzwald on a case.

11/01/2012   JDR       Draft memorandum to Mr. Wallace analyzing                  L120        1.20 hrs
                       recent Shwartzwald reasoning and holdings.

11/01/2012   JDR       Revise memorandum to Mr. Wallace analyzing                 L120        0.50 hrs
                       future and current implications of the Shwartzwald
                       decision.
11/01/2012   JDR       Research regarding permissibility of wrongful              L120        0.30 hrs
                       foreclosure challenges to vacated judgments under
                       the Shwartzwald holding.
11/06/2012   JES       E-mail Mr. Montoya (GMAC) regarding                        L120        0.20 hrs
                       deposition review.

11/08/2012   JES       E-mail Mr. Montoya (GMAC) regarding                        L120        0.30 hrs
                       deposition transcript.

11/15/2012   DAW       Review defendant's motion for summary judgment.            L120        0.20 hrs


11/15/2012   DAW       Review defendant's motion to strike Montoya                L120        0.20 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27    Exhibit E
  096 01150                 Monthly Invoices Pg 825 of 1163
                                                         Invoice # 52510       Page 2
                    affidavit.

11/16/2012   JES    E-mail Ms. McGinnis (Residential Capital)           L120     0.10 hrs
                    regarding upcoming final pretrial conferences.

11/16/2012   JES    Review motion for summary judgment and motion       L240     1.50 hrs
                    to strike affidavit filed by borrowers' counsel.

11/19/2012   JES    Review Montoya deposition transcript.               L120     1.00 hrs


11/19/2012   JES    Prepare outline for responding to borrower's        L120     1.00 hrs
                    motion for summary judgment.

11/20/2012   JES    Draft motion for extension of time to oppose        L250     0.20 hrs
                    motion to strike.

11/26/2012   DAW    Conference with Mr. Sechler regarding summary       L120     0.20 hrs
                    judgment response and custodian affidavit.

11/26/2012   JES    E-mail Mr. Thomas (opposing counsel) and Ms.        L120     0.50 hrs
                    McGinnis (Residential Capital) regarding attorney
                    affidavit.
11/26/2012   JES    Respond to e-mails from Mr. Montoya (GMAC)          L120     0.50 hrs
                    regarding errata.

11/26/2012   JES    Draft risk summary for Ms. McGinnis (Residential    L120     1.00 hrs
                    Capital).

11/26/2012   JES    Draft opposition to borrower's motion to strike     L240     2.00 hrs
                    Montoya motion for summary judgment affidavit.

11/26/2012   JES    Draft opposition to borrower's motion for summary   L240     4.00 hrs
                    judgment.

11/27/2012   JES    Provide Montoya errata to Court reporter.           L120     0.10 hrs


11/28/2012   DAW    Revise opposition to motion to strike.              L240     0.60 hrs


11/28/2012   DAW    Revise opposition to motion for summary             L240     0.50 hrs
                    judgment.

11/29/2012   JES    Revise opposition to borrower's motion to strike.   L210     1.50 hrs
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
  096 01150                    Monthly Invoices Pg 826 of 1163
                                                            Invoice # 52510                 Page 3

11/30/2012   DAW        Review notice of suspension from Mr. Dann                   L120        0.10 hrs
                        (opposing counsel).

11/30/2012   JES        E-mail Ms. Doberdruk (opposing counsel)                     L120        0.10 hrs
                        regarding failure of service of borrower's
                        opposition brief.
11/30/2012   JES        Draft motion for extension to file reply brief.             L120        0.30 hrs




                        TOTAL FEES FOR THIS MATTER                                              $3,609.00

EXPENSES

11/08/2012              Deposition Transcripts - deposition transcript of Roberto                $313.35
                        Montoya (taken 10/23/12) by Esquire Deposition

11/20/2012              Delivery Service/Messengers - Federal Express to Cuyahoga                    $5.67
                        County Clerk from Mr. Sechler

11/20/2012              Delivery Service/Messengers - Federal Express to Cuyahoga                    $5.66
                        County Clerk from Mr. Sechler

11/29/2012              Delivery Service/Messengers - Federal Express Cuyahoga                      $11.33
                        County filing department from Mr. Sechler

11/30/2012              Delivery Service/Messengers - Federal Express Cuyahoga                      $11.33
                        County filing department from Mr. Sechler

                        TOTAL EXPENSES FOR THIS MATTER                                           $347.34


BILLING SUMMARY


         Wallace, David A.                              2.20 hrs     260.00 /hr       $572.00


         Rhode, Jacob D.                                2.00 hrs     160.00 /hr       $320.00


         Sechler, Joel E.                              14.30 hrs     190.00 /hr     $2,717.00



     TOTAL FEES                                        18.50 hrs                    $3,609.00

     TOTAL EXPENSES                                                                  $347.34

     TOTAL CHARGES FOR THIS INVOICE                                                 $3,956.34
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27    Exhibit E
096 01150                 Monthly Invoices Pg 827 of 1163
                                                       Invoice # 52510       Page 4
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                              Monthly Invoices Pg 828 of 1163
                          CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                            January 02, 2013

                                                                    Billed through 11/30/2012
Tammy Hamzephour                                                    Invoice # 52511      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01159
190-FTW-L95
Fort Washington, PA 19034

Re: Deborah Ann Shanks
Matter No.: 721494

PROFESSIONAL SERVICES

11/08/2012   KMC         Review entry vacating sale and dismissing case.            L210        0.10 hrs


11/08/2012   KMC         Forward entry vacating sale and dismissing case to         L210        0.10 hrs
                         Ms. McGinnis (Residential Capital)



                         TOTAL FEES FOR THIS MATTER                                                $36.00


BILLING SUMMARY


         Cadieux, Karen M.                             0.20 hrs    180.00 /hr          $36.00



     TOTAL FEES                                        0.20 hrs                       $36.00

     TOTAL CHARGES FOR THIS INVOICE                                                   $36.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27                 Exhibit E
                                Monthly Invoices Pg 829 of 1163
                           CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                             January 02, 2013

                                                                         Billed through 11/30/2012
Tammy Hamzephour                                                         Invoice # 52512      JAL
Residential Capital, LLC
1100 Virginia Drive                                                      Our file # 096 01163
190-FTW-L95
Fort Washington, PA 19034

Re: Elizabeth Campbell, et al.
Matter No.: 722676

PROFESSIONAL SERVICES

11/20/2012    DAW        Review and revise affidavit.                                    L210        0.60 hrs


11/20/2012    RBS        Prepare exhibits for affidavit for Ms. Cadieux.        A902     L310        0.60 hrs


11/20/2012    KMC        Review updated Fi-serv information.                             L110        0.10 hrs


11/20/2012    KMC        Draft affidavit in support of motion for summary                L110        1.10 hrs
                         judgment.

11/20/2012    KMC        Review loan file for documents needed for motion                L110        0.40 hrs
                         for summary judgment.

11/20/2012    KMC        Draft motion for summary judgment.                              L110        0.40 hrs


11/20/2012    KMC        Prepare exhibits for affidavit for motion for                   L110        0.40 hrs
                         summary judgment.

11/20/2012    KMC        E-mail correspondence with Ms. McGinnis                         L110        0.20 hrs
                         (Residential Capital) regarding additional
                         documents needed for affidavit.
11/20/2012    KMC        Review default letter.                                          L110        0.10 hrs
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27          Exhibit E
  096 01163                  Monthly Invoices Pg 830 of 1163
                                                          Invoice # 52512             Page 2



11/20/2012   KMC      Revise affidavit per Mr. Wallace.                        L210       0.40 hrs


11/20/2012   KMC      Review updated payment history.                          L110       0.20 hrs


11/20/2012   KMC      E-mail Ms. McGinnis (Residential Capital)                L110       0.20 hrs
                      regarding issues with note and different scanned
                      version of note.
11/20/2012   KMC      Review information regarding when different              L110       0.40 hrs
                      versions of the note were imaged.

11/20/2012   KMC      Telephone conference with Ms. McGinnis                   L110       0.30 hrs
                      (Residential Capital) regarding when different
                      versions of the note were imaged.
11/20/2012   KMC      Revise affidavit for motion for summary judgment.        L210       0.40 hrs


11/20/2012   KMC      E-mail correspondence with Ms. McGinnis                  L110       0.30 hrs
                      (Residential Capital) regarding multiple allonges
                      and issues regarding different versions of the note.
11/27/2012   KMC      E-mail Ms. McGinnis (Residential Capital)                L110       0.10 hrs
                      regarding status of original collateral file.

11/27/2012   KMC      Review e-mail regarding status of obtaining the          L110       0.10 hrs
                      original note.

11/28/2012   KMC      Telephone conference with Court regarding                L110       0.10 hrs
                      extension of time to file motion for summary
                      judgment.
11/28/2012   KMC      E-mail Ms. McGinnis (Residential Capital)                L110       0.10 hrs
                      regarding extension of time to file motion for
                      summary judgment.
11/30/2012   KMC      Review executed affidavit and copy of original           L110       0.20 hrs
                      note.



                      TOTAL FEES FOR THIS MATTER                                          $1,191.00


BILLING SUMMARY


         Wallace, David A.                            0.60 hrs    260.00 /hr    $156.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
096 01163                 Monthly Invoices Pg 831 of 1163
                                                       Invoice # 52512         Page 3


      Cadieux, Karen M.                     5.50 hrs   180.00 /hr        $990.00


      Samson, Robert B.                     0.60 hrs    75.00 /hr         $45.00



   TOTAL FEES                               6.70 hrs                $1,191.00

   TOTAL CHARGES FOR THIS INVOICE                                   $1,191.00
        12-12020-mg         Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
                                    Monthly Invoices Pg 832 of 1163
                             CARPENTER LIPPS & LELAND LLP

                                            280 Plaza, Suite 1300
                                            280 North High Street
                                            Columbus, OH 43215
                                               (614) 365-4100
                                           Federal ID # XX-XXXXXXX



                                               January 02, 2013

                                                                       Billed through 11/30/2012
Tammy Hamzephour                                                       Invoice # 52513      JAL
Residential Capital, LLC
1100 Virginia Drive                                                    Our file # 096 01171
190-FTW-L95
Fort Washington, PA 19034

Re: Jon G. Paglio, et al.
Matter No.: 724325

PROFESSIONAL SERVICES

11/01/2012     DAW          Telephone conference with Mr. Patterson (Paglio's          L120        0.30 hrs
                            counsel) regarding settlement and release
                            agreement, and payment issues.
11/01/2012     DAW          Telephone conference with Ms. McGinnis                     L120        0.10 hrs
                            (Residential Capital, LLC) regarding settlement
                            and release agreement, and payment issues.
11/01/2012     DAW          Telephone conferences with Mr. Paglio's office             L120        0.30 hrs
                            regarding loan modification issues.

11/01/2012     DAW          Draft e-mail regarding settlement and release              L120        0.10 hrs
                            agreement and loan modification.

11/01/2012     KMC          Review e-mail regarding status of settlement.              L110        0.20 hrs


11/01/2012     KMC          Review partially signed settlement agreement.              L160        0.10 hrs


11/02/2012     DAW          Telephone conference with Mr. Patterson (Paglio's          L120        0.20 hrs
                            counsel) regarding payment issues.

11/02/2012     DAW          Telephone conference with Ms. McGinnis                     L120        0.30 hrs
                            (Residential Capital, LLC) regarding payment
                            issues.
11/05/2012     DAW          Telephone conference with Mr. Patterson (Paglio's          L120        0.20 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27       Exhibit E
  096 01171                 Monthly Invoices Pg 833 of 1163
                                                         Invoice # 52513          Page 2
                    counsel) regarding payment issues.

11/05/2012   DAW    Telephone conference with Ms. McGinnis                 L120     0.40 hrs
                    (Residential Capital LLC) and Ms. Delaura
                    (Mediation Manager at GMAC ResCap) regarding
                    loan modification revision issues.
11/05/2012   KMC    Telephone conference with Ms. McGinnis                 L160     0.30 hrs
                    (Residential Capital) regarding settlement issues.

11/05/2012   KMC    Telephone conference with Ms. McGinnis                 L120     0.30 hrs
                    (Residential Capital) and Ms. Delaura (Residential
                    Capital) regarding how to proceed with settlement
                    given delay in down payment.
11/06/2012   DAW    Telephone conference with Mr. Patterson (Paglio's      L120     0.20 hrs
                    counsel) regarding loan modification issues.

11/07/2012   DAW    Review e-mails regarding new financial                 L120     0.20 hrs
                    documents.

11/07/2012   DAW    Conference with Ms. Cadieux regarding loan             L120     0.10 hrs
                    modification discrepancy.

11/07/2012   KMC    Telephone conference with Ms. McGinnis                 L110     0.20 hrs
                    (Residential Capital) regarding status of ability of
                    borrowers to make down payment.
11/07/2012   KMC    Telephone conference with Ms. McGinnis                 L110     0.30 hrs
                    (Residential Capital) regarding new loan
                    modification.
11/07/2012   KMC    E-mail Ms. McGinnis (Residential Capital)              L110     0.10 hrs
                    regarding difference in principal balance and
                    payment in new loan modification.
11/08/2012   KMC    Telephone conference with Ms. McGinnis                 L110     0.10 hrs
                    (Residential Capital) regarding issues with new
                    loan modification numbers.
11/08/2012   KMC    Review and revise e-mail regarding questions           L110     0.20 hrs
                    about new loan modification numbers per Ms.
                    McGinnis (Residential Capital) request.
11/09/2012   DAW    Review e-mails regarding new asset plan.               L120     0.20 hrs


11/09/2012   DAW    Telephone conference with Ms. McGinnis, Ms.            L120     0.50 hrs
                    Lopez, and Ms. DeLaura (Residential Capital,
                    LLC) regarding asset plan and loan modification
                    issues.
11/09/2012   KMC    Prepare for telephone conference with Ms.              L110     0.30 hrs
                    McGinnis (Residential Capital) and Ms. Delaura
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27          Exhibit E
  096 01171                  Monthly Invoices Pg 834 of 1163
                                                          Invoice # 52513             Page 3
                      (Residential Capital) regarding new loan
                      modification.
11/13/2012   DAW      Receive and review summary judgment                      L120       0.10 hrs
                      documents, and new payment.

11/13/2012   DAW      Conference with Ms. Cadieux regarding new loan.          L120       0.10 hrs


11/13/2012   KMC      Telephone conference with Mr. Patterson (Paglio's        L160       0.20 hrs
                      counsel) regarding settlement.

11/13/2012   KMC      Telephone conference with Ms. McGinnis                   L110       0.20 hrs
                      (Residential Capital) regarding new loan
                      modification numbers.
11/13/2012   KMC      Review updated forms for loan modification.              L110       0.10 hrs


11/14/2012   KMC      E-mail Ms. McGinnis (Residential Capital)                L110       0.10 hrs
                      regarding having loan modification documents
                      drafted.
11/27/2012   DAW      Conference with Ms. Cadieux regarding revised            L120       0.10 hrs
                      loan modification documents.

11/27/2012   KMC      E-mail Ms. McGinnis (Residential Capital)                L110       0.10 hrs
                      regarding loan modification documents.

11/27/2012   KMC      Telephone conference with Ms. McGinnis                   L110       0.10 hrs
                      (Residential Capital) regarding loan modification
                      documents.
11/27/2012   KMC      Review loan modification documents and compare           L110       0.40 hrs
                      to prior terms.

11/29/2012   DAW      Telephone conference with Ms. McGinnis                   L120       0.10 hrs
                      (Residential Capital, LLC) regarding loan
                      modification extension.
11/29/2012   DAW      Telephone conference with Ms. McGinnis                   L120       0.20 hrs
                      (Residential Capital, LLC) regarding loan
                      modification extension.


                      TOTAL FEES FOR THIS MATTER                                          $1,556.00


BILLING SUMMARY


         Wallace, David A.                           3.70 hrs     260.00 /hr    $962.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
096 01171                 Monthly Invoices Pg 835 of 1163
                                                       Invoice # 52513         Page 4


      Cadieux, Karen M.                     3.30 hrs   180.00 /hr        $594.00



   TOTAL FEES                               7.00 hrs                $1,556.00

   TOTAL CHARGES FOR THIS INVOICE                                   $1,556.00
        12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
                                  Monthly Invoices Pg 836 of 1163
                            CARPENTER LIPPS & LELAND LLP

                                           280 Plaza, Suite 1300
                                           280 North High Street
                                           Columbus, OH 43215
                                              (614) 365-4100
                                          Federal ID # XX-XXXXXXX



                                              January 02, 2013

                                                                     Billed through 11/30/2012
Tammy Hamzephour                                                     Invoice # 52514      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01172
190-FTW-L95
Fort Washington, PA 19034

Re: William J. Barrett, et al.
Matter No.: 724024

PROFESSIONAL SERVICES

11/30/2012     KMC         Review e-mail regarding proof of claim being filed        L110        0.10 hrs
                           in bankruptcy case.

11/30/2012     KMC         Telephone conference with Ms. McGinnis                    L110        0.10 hrs
                           (Residential Capital).



                           TOTAL FEES FOR THIS MATTER                                               $36.00


BILLING SUMMARY


           Cadieux, Karen M.                             0.20 hrs    180.00 /hr         $36.00



      TOTAL FEES                                         0.20 hrs                      $36.00

      TOTAL CHARGES FOR THIS INVOICE                                                   $36.00
       12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                              Monthly Invoices Pg 837 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                          January 02, 2013

                                                                    Billed through 11/30/2012
Tammy Hamzephour                                                    Invoice # 52515      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01173
190-FTW-L95
Fort Washington, PA 19034

Re: Price Hill Will
Matter No.: 724458

PROFESSIONAL SERVICES

11/01/2012   DAW       Review documents to be produced for                          L120        0.90 hrs
                       GMAC-serviced individual trusts.

11/01/2012   DAW       Review e-mail from Ms. Frohlich (Morgan, Lewis               L120        0.10 hrs
                       & Bockius LLP) regarding discovery responses.

11/01/2012   JES       Review e-mails from Ms. Frohlich (Morgan Lewis)              L310        0.50 hrs
                       and Ms. Rose (co-counsel) regarding written
                       discovery and verification issues.
11/01/2012   JES       Review and finalize Group F document production.             L300        2.00 hrs


11/06/2012   DAW       Review e-mail from Price Hill Will counsel                   L120        0.10 hrs
                       regarding additional discovery.

11/07/2012   DAW       Review e-mails regarding status and cancellation             L120        0.30 hrs
                       of deposition.

11/07/2012   JES       Review e-mails regarding upcoming depositions                L120        0.50 hrs
                       and related scheduling issues.

11/12/2012   DAW       Review e-mails regarding Strauss deposition.                 L120        0.10 hrs


11/13/2012   DAW       Attend deposition of Mr. Strauss.                            L330        6.10 hrs
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27               Exhibit E
  096 01173                    Monthly Invoices Pg 838 of 1163
                                                            Invoice # 52515                   Page 2



11/15/2012   DAW        Review correspondence regarding additional                 L120           0.10 hrs
                        documents to produce.



                        TOTAL FEES FOR THIS MATTER                                                $2,572.00

EXPENSES

11/02/2012              Delivery Service/Messengers - Federal Express to Mr. Schrider                $11.28
                        from Mr. Sechler

                        TOTAL EXPENSES FOR THIS MATTER                                               $11.28


BILLING SUMMARY


         Wallace, David A.                            7.70 hrs   260.00 /hr        $2,002.00


         Sechler, Joel E.                             3.00 hrs   190.00 /hr             $570.00



     TOTAL FEES                                     10.70 hrs                     $2,572.00

     TOTAL EXPENSES                                                                     $11.28

     TOTAL CHARGES FOR THIS INVOICE                                               $2,583.28
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                                Monthly Invoices Pg 839 of 1163
                             CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                             January 02, 2013

                                                                   Billed through 11/30/2012
Tammy Hamzephour                                                   Invoice # 52516      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01174
190-FTW-L95
Fort Washington, PA 19034

Re: Harold W. Rapp, et al.
Matter No.: 724334

PROFESSIONAL SERVICES

11/08/2012    JES        E-mail client and opposing counsel regarding               L120       0.30 hrs
                         executed settlement agreement and dismissal entry.

11/20/2012    DAW        Review stipulation of dismissal.                           L120       0.10 hrs


11/20/2012    JES        Finalize dismissal entries.                                L120       0.10 hrs


11/29/2012    DAW        Review dismissal entry.                                    L120       0.10 hrs




                        TOTAL FEES FOR THIS MATTER                                              $128.00

EXPENSES

11/20/2012               Delivery Service/Messengers - Federal Express to Erie County               $11.33
                         Clerk from Mr. Sechler

                        TOTAL EXPENSES FOR THIS MATTER                                              $11.33


BILLING SUMMARY
    12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
096 01174                   Monthly Invoices Pg 840 of 1163
                                                         Invoice # 52516         Page 2
      Wallace, David A.                       0.20 hrs   260.00 /hr         $52.00


      Sechler, Joel E.                        0.40 hrs   190.00 /hr         $76.00



   TOTAL FEES                                 0.60 hrs                     $128.00

   TOTAL EXPENSES                                                           $11.33

   TOTAL CHARGES FOR THIS INVOICE                                          $139.33
       12-12020-mg        Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27          Exhibit E
                                  Monthly Invoices Pg 841 of 1163
                              CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                             January 02, 2013

                                                                    Billed through 11/30/2012
Tammy Hamzephour                                                    Invoice # 52517      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01175
190-FTW-L95
Fort Washington, PA 19034

Re: Melissa Fox, et al.
Matter No.: 723432

PROFESSIONAL SERVICES

11/06/2012    JES         E-mail opposing counsel regarding loan                    L120        0.40 hrs
                          modification offer.

11/16/2012    JES         E-mail opposing counsel regarding status of               L120        0.10 hrs
                          dismissal entries.

11/27/2012    JES         E-mail Ms. McGinnis (Residential Capital) and             L120        0.20 hrs
                          opposing counsel regarding loan modification
                          questions raised by the borrowers.
11/29/2012    JES         Review and respond to e-mails from Ms. McGinnis           L120        0.20 hrs
                          (Residential Capital) regarding loss mitigation
                          issues.


                          TOTAL FEES FOR THIS MATTER                                             $171.00


BILLING SUMMARY


           Sechler, Joel E.                             0.90 hrs    190.00 /hr        $171.00



      TOTAL FEES                                        0.90 hrs                     $171.00

      TOTAL CHARGES FOR THIS INVOICE                                                 $171.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27    Exhibit E
096 01175                 Monthly Invoices Pg 842 of 1163
                                                       Invoice # 52517       Page 2
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
                              Monthly Invoices Pg 843 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                          January 02, 2013

                                                                 Billed through 11/30/2012
Tammy Hamzephour                                                 Invoice # 52518      JAL
Residential Capital, LLC
1100 Virginia Drive                                              Our file # 096 01182
190-FTW-L95
Fort Washington, PA 19034

Re: Tyrone McIntyre
Matter No.: 725803

PROFESSIONAL SERVICES

11/06/2012   DAW       Review e-mail from Ms. McGinnis (Residential              L120        0.10 hrs
                       Capital, LLC) regarding REO property reporting
                       requirements after sale to Ocwen.
11/19/2012   DAW       Review follow-up e-mail regarding REO property            L120        0.10 hrs
                       reporting responsibilities.

11/19/2012   DAW       Draft e-mail to Ms. McGinnis (Residential Capital,        L120        0.10 hrs
                       LLC) regarding REO property reporting
                       responsibilities.
11/20/2012   DAW       Revise e-mail to Ms. McGinnis (Residential                L120        0.60 hrs
                       Capital, LLC) regarding REO property reporting
                       responsibilities after servicing transfer.


                       TOTAL FEES FOR THIS MATTER                                             $234.00


BILLING SUMMARY


         Wallace, David A.                           0.90 hrs    260.00 /hr        $234.00



     TOTAL FEES                                      0.90 hrs                     $234.00

     TOTAL CHARGES FOR THIS INVOICE                                               $234.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27    Exhibit E
096 01182                 Monthly Invoices Pg 844 of 1163
                                                       Invoice # 52518       Page 2
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                              Monthly Invoices Pg 845 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                          January 02, 2013

                                                                   Billed through 11/30/2012
Tammy Hamzephour                                                   Invoice # 52519      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01183
190-FTW-L95
Fort Washington, PA 19034

Re: Jamah Jackson
Matter No.: 726125

PROFESSIONAL SERVICES

11/01/2012   DAW       Telephone conference with Ms. McGinnis                      L120        0.10 hrs
                       (Residential Capital, LLC) regarding settlement
                       and release agreement, and payment issues.
11/06/2012   DAW       Confirm status of dismissals and direct e-mail to           L120        0.50 hrs
                       Magistrate Roberts regarding matter status.

11/12/2012   DAW       Review e-mail from Mr. Radke (Morgan, Lewis &               L120        0.10 hrs
                       Bockius LLP) regarding nolle and dismissal issues.

11/12/2012   DAW       Draft e-mail to Mr. Radke (Morgan, Lewis &                  L120        0.30 hrs
                       Bockius LLP) regarding nolle and dismissal issues.

11/14/2012   DAW       Telephone conference with Ms. McGinnis                      L120        0.10 hrs
                       (Residential Capital, LLC) regarding payment
                       issues.
11/15/2012   DAW       Telephone conference with Magistrate Reitzloff              L120        0.30 hrs
                       regarding status of payments.

11/16/2012   DAW       Telephone conference with Court regarding                   L120        0.20 hrs
                       hearing.

11/16/2012   DAW       Review e-mail from Magistrate Reitzloff regarding           L120        0.10 hrs
                       waivers and nolles.

11/16/2012   DAW       Draft e-mail to Magistrate Reitzloff regarding              L120        0.30 hrs
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
  096 01183                  Monthly Invoices Pg 846 of 1163
                                                          Invoice # 52519               Page 2
                      waivers and nolles.

11/16/2012   DAW      Draft e-mail to Mr. Radke (Morgan, Lewis &                 L120       0.20 hrs
                      Bockius LLP) regarding waivers and nolles.

11/16/2012   DAW      Draft e-mail to Ms. McGinnis (Residential Capital,         L120       0.20 hrs
                      LLC) regarding waivers and nolles.

11/16/2012   DAW      Review arrangements for payment of waivers.                L120       0.20 hrs


11/28/2012   DAW      Review e-mail from Mr. Radke (Morgan, Lewis &              L120       0.10 hrs
                      Bockius LLP) regarding new citations at 7116
                      Dearborn and arraignment.
11/29/2012   DAW      Draft e-mail to Ms. McGinnis (Residential Capital,         L120       0.20 hrs
                      LLC) regarding new tickets and arraignment.

11/29/2012   DAW      Telephone conference with Ms. McGinnis                     L120       0.20 hrs
                      (Residential Capital, LLC) regarding new ticket
                      and arraignment.


                      TOTAL FEES FOR THIS MATTER                                             $806.00

EXPENSES

11/19/2012            Out-of-Town Travel/Mileage (290 miles X .55) - travel to               $159.50
                      Cleveland, OH for filing (VW)

                      TOTAL EXPENSES FOR THIS MATTER                                         $159.50


BILLING SUMMARY


         Wallace, David A.                          3.10 hrs    260.00 /hr        $806.00



     TOTAL FEES                                     3.10 hrs                      $806.00

     TOTAL EXPENSES                                                               $159.50

     TOTAL CHARGES FOR THIS INVOICE                                               $965.50
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                              Monthly Invoices Pg 847 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                          January 02, 2013

                                                                  Billed through 11/30/2012
Tammy Hamzephour                                                  Invoice # 52520      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 096 01185
190-FTW-L95
Fort Washington, PA 19034

Re: Lisa M. Ramey
Matter No.: 726140

PROFESSIONAL SERVICES

11/01/2012   KMC       Revise memorandum regarding Shwartzwald case               L110        0.40 hrs
                       and standing issues.

11/07/2012   DAW       Review litigation risk summary in connection with          L120        0.20 hrs
                       face-to-face meeting risk assessment conference
                       call.
11/07/2012   JES       Review additional documentation for potential              L310        1.00 hrs
                       production.

11/12/2012   DAW       Review materials in reference to risk assessment           L120        0.70 hrs
                       meeting.

11/12/2012   JES       Review face to face FHA meeting arguments in               L120        0.50 hrs
                       light of facts of Ramey case.

11/14/2012   DAW       Telephone conference with Ms. McGinnis                     L120        0.30 hrs
                       (Residential Capital, LLC) regarding face-to-face
                       meeting and risk issues.
11/14/2012   DAW       Review HUD regulations in preparation for risk             L120        0.80 hrs
                       assessment call regarding face-to-face meeting
                       requirement.
11/14/2012   KMC       E-mail correspondence with Ms. McGinnis                    L110        0.20 hrs
                       (Residential Capital) regarding whether GMACM
                       has any origination offices in Ohio.
11/14/2012   KMC       Research regarding face-to-face meeting                    L110        1.10 hrs
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27         Exhibit E
  096 01185                    Monthly Invoices Pg 848 of 1163
                                                            Invoice # 52520             Page 2
                        requirement in Ohio.

11/14/2012   KMC        Telephone conference with Ms. McGinnis                  L110        0.20 hrs
                        (Residential Capital) regarding face-to-face
                        meeting issues.
11/15/2012   DAW        Review HUD regulations, cases, cases and related        L120        1.10 hrs
                        materials in preparation for risk assessment for
                        face-to-face meeting.
11/15/2012   DAW        Review memorandum in preparation for risk               L120        0.30 hrs
                        assessment for face-to-face meeting.

11/15/2012   DAW        Attend conference call on risk issues regarding         L120        0.50 hrs
                        face-to-face meeting requirements regarding
                        HOPE office.
11/15/2012   JES        Participate in telephone conference with client         L115        0.50 hrs
                        regarding Ohio face to face meeting issues.

11/15/2012   KMC        Telephone conference with Ms. McGinnis                  L110        0.50 hrs
                        (Residential Capital) and Ms. Gerlich (Residential
                        Capital) regarding face-to-face meeting issues in
                        Ohio.
11/15/2012   KMC        Review information regarding origination offices        L110        0.20 hrs
                        and HOPE offices in Ohio and surrounding states.

11/15/2012   KMC        Prepare for face-to-face meeting conference.            L110        0.80 hrs


11/15/2012   KMC        Draft memorandum of issues to be discussed for          L110        0.60 hrs
                        face-to-face meeting conference.

11/16/2012   KMC        Review e-mail regarding HOPE offices and                L110        0.20 hrs
                        responsibilities.

11/29/2012   JES        Review and respond to e-mails from Ms. McGinnis         L120        0.20 hrs
                        (Residential Capital) regarding loss mitigation
                        issues.


                        TOTAL FEES FOR THIS MATTER                                          $2,188.00


BILLING SUMMARY


         Wallace, David A.                             3.90 hrs    260.00 /hr   $1,014.00


         Sechler, Joel E.                              2.20 hrs    190.00 /hr    $418.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
096 01185                 Monthly Invoices Pg 849 of 1163
                                                       Invoice # 52520         Page 3


      Cadieux, Karen M.                     4.20 hrs   180.00 /hr        $756.00



   TOTAL FEES                              10.30 hrs                $2,188.00

   TOTAL CHARGES FOR THIS INVOICE                                   $2,188.00
      12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
                                Monthly Invoices Pg 850 of 1163
                         CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                           January 02, 2013

                                                                   Billed through 11/30/2012
Tammy Hamzephour                                                   Invoice # 52521      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01186
190-FTW-L95
Fort Washington, PA 19034

Re: George W. Roberts
Matter No.: 726189

PROFESSIONAL SERVICES

11/01/2012   DAW        Telephone conference with Ms. McGinnis                     L120        0.10 hrs
                        (Residential Capital, LLC) regarding settlement
                        and release agreement, and payment issues.


                        TOTAL FEES FOR THIS MATTER                                                $26.00


BILLING SUMMARY


         Wallace, David A.                            0.10 hrs    260.00 /hr          $26.00



     TOTAL FEES                                       0.10 hrs                       $26.00

     TOTAL CHARGES FOR THIS INVOICE                                                  $26.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27               Exhibit E
                                Monthly Invoices Pg 851 of 1163
                           CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                             January 02, 2013

                                                                       Billed through 11/30/2012
Tammy Hamzephour                                                       Invoice # 52522      JAL
Residential Capital, LLC
1100 Virginia Drive                                                    Our file # 096 01189
190-FTW-L95
Fort Washington, PA 19034

Re: Bernard Turzynski, et al.
Matter No.: 726793

PROFESSIONAL SERVICES

11/01/2012    KMC        Telephone conference with Ms. McGinnis                        L110        0.10 hrs
                         (Residential Capital) regarding settlement
                         payment.
11/01/2012    KMC        Telephone conference with Ms. McGinnis                        L110        0.10 hrs
                         (Residential Capital) regarding status of settlement.

11/05/2012    KMC        E-mail Ms. Turzynski regarding check not                      L110        0.10 hrs
                         arriving.

11/06/2012    KMC        Telephone conference with Ms. McGinnis                        L160        0.20 hrs
                         (Residential Capital) regarding settlement.

11/06/2012    KMC        E-mail correspondence with borrower regarding                 L160        0.10 hrs
                         settlement funds.

11/07/2012    KMC        E-mail correspondence with Ms. McGinnis                       L110        0.30 hrs
                         (Residential Capital) regarding whether to proceed
                         with settlement.
11/07/2012    KMC        Telephone conference with Ms. McGinnis                        L110        0.30 hrs
                         (Residential Capital) regarding extending time to
                         make additional reinstatement payment.
11/07/2012    KMC        E-mail correspondence with borrower regarding                 L110        0.30 hrs
                         final reinstatement payment and when GMACM
                         will agree to extend the due date.
11/16/2012    KMC        Forward check for November payment to Ms.                     L110        0.10 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
  096 01189                 Monthly Invoices Pg 852 of 1163
                                                         Invoice # 52522        Page 2
                    McGinnis (Residential Capital).

11/19/2012   KMC    Review e-mails from borrowers regarding status of    L110     0.20 hrs
                    final lump sum payment.

11/19/2012   KMC    E-mail Ms. McGinnis (Residential Capital)            L110     0.10 hrs
                    regarding status of final lump sum payment.

11/19/2012   KMC    Review multiple e-mail correspondence from           L160     0.30 hrs
                    borrowers regarding status of settlement funds.

11/19/2012   KMC    Review e-mail regarding status of remaining lump     L110     0.10 hrs
                    sum funds.

11/19/2012   KMC    Telephone conference with Ms. McGinnis               L160     0.20 hrs
                    (Residential Capital) regarding how to proceed
                    with settlement.
11/19/2012   KMC    Leave message for borrowers' counsel regarding       L110     0.10 hrs
                    settlement.

11/19/2012   KMC    E-mail borrower's counsel regarding settlement and   L110     0.20 hrs
                    final extension of time.

11/20/2012   KMC    Review e-mail regarding status of remaining lump     L110     0.10 hrs
                    sum payment.

11/20/2012   KMC    Draft e-mail to borrowers' counsel regarding         L110     0.20 hrs
                    extension of time to make final lump sum payment.

11/20/2012   KMC    E-mail correspondence with Ms. McGinnis              L110     0.10 hrs
                    (Residential Capital) regarding updated
                    reinstatement quote.
11/20/2012   KMC    Review voice mail from borrowers' counsel            L110     0.10 hrs
                    regarding extending time for lump sum payment.

11/20/2012   KMC    E-mail correspondence with borrowers' counsel        L110     0.30 hrs
                    regarding new agreement to extend time to make
                    lump sum payment.
11/28/2012   KMC    E-mail borrowers' counsel regarding extension of     L110     0.10 hrs
                    time to make final reinstatement payment and
                    additional fees on the account.
11/28/2012   KMC    Leave message for Ms. McGinnis (Residential          L110     0.10 hrs
                    Capital) regarding updated payoff quote.

11/29/2012   DAW    Conference with Ms. Cadieux regarding settlement     L120     0.10 hrs
                    status.
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27               Exhibit E
  096 01189                  Monthly Invoices Pg 853 of 1163
                                                          Invoice # 52522                  Page 3

11/29/2012   KMC      E-mail correspondence with borrowers' counsel             L110           0.10 hrs
                      regarding completing settlement.

11/30/2012   KMC      Redline settlement agreement.                             L160           0.10 hrs


11/30/2012   KMC      Review checks from borrowers to complete                  L160           0.10 hrs
                      settlement.

11/30/2012   KMC      Telephone conference with Ms. McGinnis                    L120           0.10 hrs
                      (Residential Capital) regarding setting up
                      conference to discuss application of various
                      payments.
11/30/2012   KMC      Forward all checks for settlement to Ms. Frame            L160           0.20 hrs
                      (Residential Capital)

11/30/2012   KMC      E-mail Ms. McGinnis (Residential Capital) and             L110           0.10 hrs
                      Ms. Frame (Residential Capital) regarding total
                      amount of checks.
11/30/2012   KMC      E-mail settlement agreement and checks to Ms.             L160           0.10 hrs
                      McGinnis (Residential Capital).



                      TOTAL FEES FOR THIS MATTER                                                $854.00

EXPENSES

11/30/2012            Delivery Service/Messengers - Federal Express to Leigh Frame,                $15.77
                      GMAC

                      TOTAL EXPENSES FOR THIS MATTER                                               $15.77


BILLING SUMMARY


         Wallace, David A.                            0.10 hrs   260.00 /hr           $26.00


         Cadieux, Karen M.                            4.60 hrs   180.00 /hr       $828.00



     TOTAL FEES                                       4.70 hrs                    $854.00

     TOTAL EXPENSES                                                                   $15.77
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
096 01189                 Monthly Invoices Pg 854 of 1163
                                                       Invoice # 52522         Page 4
   TOTAL CHARGES FOR THIS INVOICE                                        $869.77
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                                Monthly Invoices Pg 855 of 1163
                         CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                           January 02, 2013

                                                                    Billed through 11/30/2012
Tammy Hamzephour                                                    Invoice # 52523      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01192
190-FTW-L95
Fort Washington, PA 19034

Re: Judith G. Bigelow
Matter No.: 728487

PROFESSIONAL SERVICES

11/01/2012   KMC        Review e-mail correspondence regarding prior                L110        0.10 hrs
                        HAMP modification.

11/01/2012   KMC        E-mail correspondence with borrower's counsel               L120        0.20 hrs
                        regarding reviewing borrower for HAMP a second
                        time and reason first offer was rejected.
11/01/2012   KMC        E-mail Ms. McGinnis (Residential Capital)                   L120        0.10 hrs
                        regarding whether we can review borrower for
                        HAMP a second time.
11/05/2012   KMC        Review e-mail regarding additional HAMP review.             L110        0.10 hrs


11/05/2012   KMC        E-mail borrower's counsel regarding not being able          L120        0.20 hrs
                        to review borrower for HAMP after her prior
                        rejection of a HAMP modification.
11/06/2012   DAW        Review Court order regarding loan modification              L120        0.10 hrs
                        status, and follow-up status report.

11/06/2012   KMC        E-mail correspondence with borrowers' counsel               L110        0.10 hrs
                        regarding loss mitigation.

11/06/2012   KMC        E-mail correspondence with borrowers' counsel               L110        0.20 hrs
                        regarding loan modification and other possible
                        resolutions.
11/07/2012   KMC        E-mail Ms. McGinnis (Residential Capital)                   L110        0.10 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
  096 01192                 Monthly Invoices Pg 856 of 1163
                                                         Invoice # 52523         Page 2
                    regarding possible deed in lieu.

11/07/2012   KMC    Telephone conference with Ms. McGinnis                L110     0.20 hrs
                    (Residential Capital) regarding rejection of loan
                    modification offer and whether a short sale or deed
                    in lieu may be possible.
11/07/2012   KMC    Review title work to determine if a short sale or     L110     0.40 hrs
                    deed in lieu may be possible.

11/07/2012   KMC    E-mail correspondence with Ms. McGinnis               L110     0.20 hrs
                    (Residential Capital) regarding no second liens on
                    the property and addressing defenses of borrowers'
                    ex-husband.
11/08/2012   DAW    Review e-mail regarding contacts with borrower        L120     0.10 hrs
                    by foreclosure counsel.

11/08/2012   KMC    E-mail correspondence with foreclosure counsel        L110     0.20 hrs
                    regarding dismissing Mr. Bigelow.

11/08/2012   KMC    Review e-mail correspondence between                  L110     0.10 hrs
                    foreclosure counsel and Mr. Bigelow's counsel.

11/14/2012   DAW    Conference with Ms. Cadieux regarding settlement      L120     0.10 hrs
                    negotiations.

11/14/2012   KMC    Telephone conference with borrower's counsel          L110     0.30 hrs
                    regarding deed in lieu.

11/14/2012   KMC    Exchange messages with counsel for ex-husband         L110     0.10 hrs
                    of borrower regarding status of case.

11/14/2012   KMC    Telephone conference with magistrate regarding        L110     0.20 hrs
                    status of case.

11/14/2012   KMC    Telephone conference with Ms. McGinnis                L110     0.30 hrs
                    (Residential Capital) regarding deed in lieu.

11/26/2012   KMC    Review e-mail correspondence regarding deed in        L110     0.20 hrs
                    lieu.

11/26/2012   KMC    Review order regarding status update.                 L210     0.10 hrs


11/26/2012   KMC    E-mail correspondence with borrowers' counsel         L110     0.10 hrs
                    regarding interior broker price opinion needed for
                    deed in lieu.
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27          Exhibit E
  096 01192                  Monthly Invoices Pg 857 of 1163
                                                          Invoice # 52523             Page 3
11/26/2012   KMC      E-mail correspondence with Ms. McGinnis                  L110       0.10 hrs
                      (Residential Capital) regarding interior broker
                      price opinion.
11/27/2012   KMC      Review e-mail correspondence regarding deed in           L110       0.20 hrs
                      lieu requirements.

11/28/2012   KMC      E-mail correspondence with Ms. Bishop                    L110       0.10 hrs
                      (Residential Capital) regarding interior broker
                      price opinion.


                      TOTAL FEES FOR THIS MATTER                                           $780.00


BILLING SUMMARY


         Wallace, David A.                           0.30 hrs     260.00 /hr     $78.00


         Cadieux, Karen M.                           3.90 hrs     180.00 /hr    $702.00



     TOTAL FEES                                      4.20 hrs                   $780.00

     TOTAL CHARGES FOR THIS INVOICE                                             $780.00
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                               Monthly Invoices Pg 858 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                           January 02, 2013

                                                                    Billed through 11/30/2012
Tammy Hamzephour                                                    Invoice # 52524      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01198
190-FTW-L95
Fort Washington, PA 19034

Re: Nancy M. Pannell
Matter No.: 729288

PROFESSIONAL SERVICES

11/01/2012   KMC       E-mail correspondence with Ms. McGinnis                      L110        0.10 hrs
                       (Residential Capital) regarding status of case.



                       TOTAL FEES FOR THIS MATTER                                                  $18.00


BILLING SUMMARY


         Cadieux, Karen M.                             0.10 hrs    180.00 /hr          $18.00



     TOTAL FEES                                        0.10 hrs                       $18.00

     TOTAL CHARGES FOR THIS INVOICE                                                   $18.00
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                              Monthly Invoices Pg 859 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                          January 02, 2013

                                                                  Billed through 11/30/2012
Tammy Hamzephour                                                  Invoice # 52525      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 096 01199
190-FTW-L95
Fort Washington, PA 19034

Re: Larry Crosser
Matter No.:729410

PROFESSIONAL SERVICES

11/02/2012   KMC       Review signed settlement documents.                        L160        0.20 hrs


11/02/2012   KMC       Forward signed settlement documents to Ms.                 L160        0.10 hrs
                       McGinnis (Residential Capital).

11/06/2012   KMC       Forward settlement check to Ms. Frame                      L160        0.10 hrs
                       (Residential Capital).

11/13/2012   KMC       Review fully executed settlement agreement.                L160        0.10 hrs


11/13/2012   KMC       Forward fully executed settlement agreement to             L160        0.10 hrs
                       borrowers' counsel.

11/13/2012   KMC       Forward dismissal entry to judge for execution.            L110        0.10 hrs


11/14/2012   KMC       E-mail correspondence with foreclosure counsel             L120        0.10 hrs
                       regarding dismissing case.



                       TOTAL FEES FOR THIS MATTER                                              $144.00
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
  096 01199                  Monthly Invoices Pg 860 of 1163
                                                          Invoice # 52525                  Page 2

EXPENSES

11/06/2012            Delivery Service/Messengers - Federal Express to Leigh Frame                $7.91

                      TOTAL EXPENSES FOR THIS MATTER                                              $7.91


BILLING SUMMARY


         Cadieux, Karen M.                         0.80 hrs   180.00 /hr             $144.00



     TOTAL FEES                                    0.80 hrs                      $144.00

     TOTAL EXPENSES                                                                   $7.91

     TOTAL CHARGES FOR THIS INVOICE                                              $151.91
       12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                                 Monthly Invoices Pg 861 of 1163
                              CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                             January 02, 2013

                                                                      Billed through 11/30/2012
Tammy Hamzephour                                                      Invoice # 52526      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 096 01201
190-FTW-L95
Fort Washington, PA 19034

Re: Robert D. Kehoe, et al.
    Matter No.:729779

PROFESSIONAL SERVICES

11/01/2012    KMC         Review order referring case to mediation.                   L210        0.10 hrs




                         TOTAL FEES FOR THIS MATTER                                                  $18.00


BILLING SUMMARY


           Cadieux, Karen M.                            0.10 hrs      180.00 /hr         $18.00



      TOTAL FEES                                        0.10 hrs                        $18.00

      TOTAL CHARGES FOR THIS INVOICE                                                    $18.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                                Monthly Invoices Pg 862 of 1163
                          CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                           January 02, 2013

                                                                    Billed through 11/30/2012
Tammy Hamzephour                                                    Invoice # 52527      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01202
190-FTW-L95
Fort Washington, PA 19034

Re: Kirksey Property (The City of Cleveland/ Pinkie and Maurice Kirksey)
    Case Matter No.: 729782
    Flat Fee No.: 699323
    Loan No.:

PROFESSIONAL SERVICES

11/01/2012    DAW       Telephone conference with Ms. McGinnis                      L120        0.10 hrs
                        (Residential Capital, LLC) regarding settlement
                        and release agreement, and payment issues.
11/02/2012    DAW       Draft e-mail to Ms. McGinnis (Residential Capital,          L120        0.10 hrs
                        LLC) regarding status of judgment.

11/02/2012    DAW       Draft e-mail to Magistrate Reitzloff regarding              L120        0.20 hrs
                        status of judgment.

11/15/2012    DAW       Telephone conference with Magistrate Reitzloff              L120        0.20 hrs
                        regarding mitigation issues.



                        TOTAL FEES FOR THIS MATTER                                               $156.00


BILLING SUMMARY


          Wallace, David A.                            0.60 hrs    260.00 /hr         $156.00



      TOTAL FEES                                       0.60 hrs                      $156.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
096 01202                 Monthly Invoices Pg 863 of 1163
                                                       Invoice # 52527         Page 2

   TOTAL CHARGES FOR THIS INVOICE                                        $156.00
       12-12020-mg         Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                                   Monthly Invoices Pg 864 of 1163
                            CARPENTER LIPPS & LELAND LLP

                                           280 Plaza, Suite 1300
                                           280 North High Street
                                           Columbus, OH 43215
                                              (614) 365-4100
                                          Federal ID # XX-XXXXXXX



                                              January 02, 2013

                                                                       Billed through 11/30/2012
Tammy Hamzephour                                                       Invoice # 52528      JAL
Residential Capital, LLC
1100 Virginia Drive                                                    Our file # 096 01203
190-FTW-L95
Fort Washington, PA 19034

Re: Caley Coleff, et al.
Matter No.: 729894

PROFESSIONAL SERVICES

11/01/2012     KMC         Review case regarding whether subject matter                L110        0.30 hrs
                           jurisdiction can be raised post judgment.

11/01/2012     KMC         Telephone conference with Ms. McGinnis                      L110        0.10 hrs
                           (Residential Capital) regarding status conference.

11/02/2012     DAW         Revise update regarding status of settlement.               L120        0.10 hrs


11/02/2012     KMC         E-mail Ms. McGinnis (Residential Capital)                   L110        0.20 hrs
                           regarding status.

11/02/2012     KMC         Prepare for status conference.                              L230        0.20 hrs


11/02/2012     KMC         Attend telephone status conference.                         L230        0.40 hrs


11/07/2012     KMC         Review profit and loss statement from borrower.             L110        0.10 hrs


11/07/2012     KMC         Forward profit and loss statement from borrower to          L110        0.10 hrs
                           Ms. McGinnis (Residential Capital).

11/08/2012     DAW         Review Court's order extending briefing deadline            L120        0.10 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27       Exhibit E
  096 01203                 Monthly Invoices Pg 865 of 1163
                                                         Invoice # 52528          Page 2
                    and setting follow-up conference.

11/08/2012   KMC    Review e-mail from Ms. McGinnis (Residential           L110     0.10 hrs
                    Capital) regarding profit and loss statement.

11/08/2012   KMC    Review entry regarding borrower's appellate brief      L110     0.10 hrs
                    and third telephonic conference.

11/19/2012   KMC    E-mail Ms. McGinnis (Residential Capital)              L110     0.10 hrs
                    regarding status of loan modification.

11/27/2012   KMC    E-mail Ms. McGinnis (Residential Capital)              L110     0.10 hrs
                    regarding getting asset plan for trial modification.

11/27/2012   KMC    Review trial modification documents and compare        L110     0.20 hrs
                    to prior payment amounts.

11/27/2012   KMC    Telephone conference with Ms. McGinnis                 L110     0.10 hrs
                    (Residential Capital) regarding trial modification
                    documents.
11/28/2012   KMC    Telephone conference with Ms. McGinnis                 L110     0.10 hrs
                    (Residential Capital) regarding asset plan.

11/29/2012   DAW    Conference with Ms. Cadieux regarding settlement       L120     0.10 hrs
                    status.

11/29/2012   KMC    Review asset plan.                                     L110     0.20 hrs


11/29/2012   KMC    Telephone conference with Ms. McGinnis                 L110     0.20 hrs
                    (Residential Capital) regarding asset plan and
                    escrow issues.
11/29/2012   KMC    Review escrow projection.                              L110     0.10 hrs


11/29/2012   KMC    E-mail correspondence with Ms. McGinnis                L110     0.10 hrs
                    (Residential Capital) regarding escrow issues.

11/30/2012   KMC    E-mail borrower's counsel regarding trial              L110     0.10 hrs
                    modification being approved.

11/30/2012   KMC    Telephone conference with Ms. McGinnis                 L110     0.10 hrs
                    (Residential Capital) regarding trial modification.



                    TOTAL FEES FOR THIS MATTER                                       $618.00
     12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
 096 01203                 Monthly Invoices Pg 866 of 1163
                                                        Invoice # 52528         Page 3


BILLING SUMMARY


       Wallace, David A.                     0.30 hrs   260.00 /hr         $78.00


       Cadieux, Karen M.                     3.00 hrs   180.00 /hr        $540.00



    TOTAL FEES                               3.30 hrs                     $618.00

    TOTAL CHARGES FOR THIS INVOICE                                        $618.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                                Monthly Invoices Pg 867 of 1163
                          CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                             January 02, 2013

                                                                      Billed through 11/30/2012
Tammy Hamzephour                                                      Invoice # 52529      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 096 01205
190-FTW-L95
Fort Washington, PA 19034

Re: Charles H. Loudermilk, et al.
Matter No.: 729944

PROFESSIONAL SERVICES

11/20/2012    KMC        E-mail correspondence with Ms. McGinnis                      L110        0.20 hrs
                         (Residential Capital) regarding status of case.



                         TOTAL FEES FOR THIS MATTER                                                  $36.00


BILLING SUMMARY


          Cadieux, Karen M.                              0.20 hrs    180.00 /hr          $36.00



      TOTAL FEES                                         0.20 hrs                       $36.00

      TOTAL CHARGES FOR THIS INVOICE                                                    $36.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                                Monthly Invoices Pg 868 of 1163
                          CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                             January 02, 2013

                                                                     Billed through 11/30/2012
Tammy Hamzephour                                                     Invoice # 52530      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01206
190-FTW-L95
Fort Washington, PA 19034

Re: Kevin D. Edwards, et al.
Matter No.: 730106

PROFESSIONAL SERVICES

11/08/2012    KMC        Review e-mail correspondence from borrowers'                L110        0.10 hrs
                         counsel regarding borrowers rejecting trial
                         modification offer.
11/08/2012    KMC        E-mail correspondence with Ms. McGinnis                     L120        0.20 hrs
                         (Residential Capital) regarding rejection of trial
                         modification and whether GMACM could estimate
                         the terms of a permanent modification.
11/12/2012    KMC        Telephone conference with Ms. McGinnis                      L110        0.20 hrs
                         (Residential Capital) regarding what information
                         can be provided to borrowers about permanent
                         modification.
11/12/2012    KMC        Draft e-mail regarding permanent modification               L110        0.30 hrs
                         terms.

11/13/2012    KMC        Draft e-mail to borrowers' counsel regarding trial          L110        0.20 hrs
                         modification and permanent modification terms.

11/13/2012    KMC        Forward draft e-mail to borrowers' counsel                  L110        0.10 hrs
                         regarding trial modification and permanent
                         modification terms to Ms. McGinnis (Residential
                         Capital) for review.
11/14/2012    KMC        E-mail borrowers' counsel regarding trial                   L110        0.20 hrs
                         modifications and terms of possible permanent
                         modification.
11/14/2012    KMC        Telephone conference with Ms. McGinnis                      L110        0.20 hrs
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27          Exhibit E
  096 01206                  Monthly Invoices Pg 869 of 1163
                                                          Invoice # 52530             Page 2
                      (Residential Capital) regarding loss mitigation.

11/14/2012   KMC      Review asset plan for loan modification.                 L110       0.10 hrs


11/14/2012   KMC      Telephone conference with Ms. McGinnis                   L110       0.10 hrs
                      (Residential Capital) regarding a set plan for loan
                      modification.
11/14/2012   KMC      E-mail correspondence regarding when we can              L110       0.10 hrs
                      receive trial loan modification documents.

11/19/2012   KMC      Review e-mail from borrowers' counsel regarding          L110       0.10 hrs
                      borrowers rejecting loan modification.

11/19/2012   KMC      E-mail Ms. McGinnis (Residential Capital)                L110       0.10 hrs
                      regarding borrowers rejecting loan modification.

11/29/2012   DAW      Conference with Ms. Cadieux regarding settlement         L120       0.10 hrs
                      status.



                      TOTAL FEES FOR THIS MATTER                                           $386.00


BILLING SUMMARY


         Wallace, David A.                            0.10 hrs    260.00 /hr     $26.00


         Cadieux, Karen M.                            2.00 hrs    180.00 /hr    $360.00



     TOTAL FEES                                       2.10 hrs                  $386.00

     TOTAL CHARGES FOR THIS INVOICE                                             $386.00
       12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27               Exhibit E
                                 Monthly Invoices Pg 870 of 1163
                              CARPENTER LIPPS & LELAND LLP

                                             280 Plaza, Suite 1300
                                             280 North High Street
                                             Columbus, OH 43215
                                                (614) 365-4100
                                            Federal ID # XX-XXXXXXX



                                                January 02, 2013

                                                                        Billed through 11/30/2012
Tammy Hamzephour                                                        Invoice # 52531      JAL
Residential Capital, LLC
1100 Virginia Drive                                                     Our file # 096 01207
190-FTW-L95
Fort Washington, PA 19034

Re: Orlinda Beatty, et al.
Matter No.: 730101

PROFESSIONAL SERVICES

11/26/2012     KMC           Review e-mail from borrowers' counsel regarding            L110        0.20 hrs
                             loss mitigation and bankruptcy issues.

11/26/2012     KMC           Review borrowers' loss mitigation application.             L110        0.20 hrs


11/26/2012     KMC           Forward borrowers' loss mitigation application to          L110        0.10 hrs
                             Ms. McGinnis (Residential Capital).



                             TOTAL FEES FOR THIS MATTER                                                $90.00


BILLING SUMMARY


           Cadieux, Karen M.                                0.50 hrs   180.00 /hr          $90.00



      TOTAL FEES                                            0.50 hrs                      $90.00

      TOTAL CHARGES FOR THIS INVOICE                                                      $90.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27                Exhibit E
                                Monthly Invoices Pg 871 of 1163
                            CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                            January 02, 2013

                                                                        Billed through 11/30/2012
Tammy Hamzephour                                                        Invoice # 52532      JAL
Residential Capital, LLC
1100 Virginia Drive                                                     Our file # 096 01208
190-FTW-L95
Fort Washington, PA 19034

Re: Michael J. Schuessler
    Matter No.:730191

PROFESSIONAL SERVICES

11/02/2012    KMC       Research regarding release and entity who should                L120        0.20 hrs
                        release lien.

11/08/2012    DAW       Review e-mail regarding correspondence to                       L120        0.20 hrs
                        borrower and attached certificate of release.

11/08/2012    KMC       Research regarding lien release.                                L110        0.20 hrs


11/08/2012    KMC       Forward lien release to Ms. McGinnis (Residential               L110        0.10 hrs
                        Capital).

11/08/2012    KMC       Review e-mail regarding check to borrower for                   L160        0.10 hrs
                        over payment.

11/13/2012    KMC       E-mail correspondence with Ms. McGinnis                         L110        0.20 hrs
                        (Residential Capital) regarding release of
                        mortgage.
11/14/2012    DAW       Revise amended answer to complaint that                         L210        0.10 hrs
                        disclaims interest in the property.

11/14/2012    RBS       Prepare and label exhibits for Ms. Cadieux.            A902     L310        0.20 hrs


11/14/2012    KMC       E-mail Ms. McGinnis (Residential Capital)                       L110        0.20 hrs
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
  096 01208                  Monthly Invoices Pg 872 of 1163
                                                          Invoice # 52532                Page 2
                      regarding issue with release of lien being done by
                      wrong entity.
11/14/2012   KMC      E-mail title counsel regarding lien release issues.         L110       0.10 hrs


11/14/2012   KMC      Draft amended answer.                                       L210       0.90 hrs


11/14/2012   KMC      Review e-mail from title counsel regarding                  L110       0.20 hrs
                      problem with lien release.

11/14/2012   KMC      Leave message for Ms. McGinnis (Residential                 L110       0.10 hrs
                      Capital regarding problem with lien release.

11/15/2012   DAW      Review proposed amended answer reflecting                   L120       0.60 hrs
                      assignment of mortgage.

11/15/2012   KMC      Revise amended answer.                                      L210       0.80 hrs


11/15/2012   KMC      Revise amended answer.                                      L210       0.60 hrs


11/16/2012   KMC      Draft correspondence to borrower regarding                  L120       0.20 hrs
                      account being paid off and closed and returning of
                      overage paid on account.
11/19/2012   KMC      Review corrective lien release.                             L110       0.10 hrs


11/20/2012   KMC      Forward corrected release of lien to title counsel.         L110       0.10 hrs




                      TOTAL FEES FOR THIS MATTER                                              $987.00

EXPENSES

11/15/2012            Delivery Service/Messengers - Federal Express to Clerk of                  $9.96
                      Courts, Cleveland, OH from Ms. Cadieux

                      TOTAL EXPENSES FOR THIS MATTER                                             $9.96


BILLING SUMMARY


         Wallace, David A.                              0.90 hrs   260.00 /hr      $234.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
096 01208                 Monthly Invoices Pg 873 of 1163
                                                       Invoice # 52532         Page 3


      Cadieux, Karen M.                     4.10 hrs   180.00 /hr        $738.00


      Samson, Robert B.                     0.20 hrs    75.00 /hr         $15.00



   TOTAL FEES                               5.20 hrs                     $987.00

   TOTAL EXPENSES                                                          $9.96

   TOTAL CHARGES FOR THIS INVOICE                                        $996.96
       12-12020-mg        Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
                                  Monthly Invoices Pg 874 of 1163
                           CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                             January 02, 2013

                                                                     Billed through 11/30/2012
Tammy Hamzephour                                                     Invoice # 52533      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01209
190-FTW-L95
Fort Washington, PA 19034

Re: Jesus Laboy, et al.
Matter No.: 730485

PROFESSIONAL SERVICES

11/14/2012    KMC         Review order regarding case settling.                      L160        0.10 hrs


11/14/2012    KMC         Forward order regarding case settling to Ms.               L160        0.10 hrs
                          McGinnis (Residential Capital).



                          TOTAL FEES FOR THIS MATTER                                                $36.00


BILLING SUMMARY


           Cadieux, Karen M.                             0.20 hrs   180.00 /hr          $36.00



      TOTAL FEES                                         0.20 hrs                      $36.00

      TOTAL CHARGES FOR THIS INVOICE                                                   $36.00
      12-12020-mg        Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                                 Monthly Invoices Pg 875 of 1163
                          CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                             January 02, 2013

                                                                     Billed through 11/30/2012
Tammy Hamzephour                                                     Invoice # 52534      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01211
190-FTW-L95
Fort Washington, PA 19034

Re: Michael A. Marinin
Matter No.: 731141

PROFESSIONAL SERVICES

11/28/2012   KMC         Telephone conference with Ms. Aguiar                        L110        0.30 hrs
                         (Residential Capital) regarding credit reporting and
                         response to inquiries to credit reporting agencies.
11/28/2012   KMC         Review updated reinstatement quote.                         L110        0.10 hrs


11/28/2012   KMC         Telephone conference with Ms. McGinnis                      L110        0.10 hrs
                         (Residential Capital).

11/28/2012   KMC         Leave message for Ms McGinnis (Residential                  L110        0.10 hrs
                         Capital) regarding scheduling a conference with
                         Ms. Aguiar to discuss credit reporting issues.


                         TOTAL FEES FOR THIS MATTER                                               $108.00


BILLING SUMMARY


          Cadieux, Karen M.                             0.60 hrs    180.00 /hr         $108.00



     TOTAL FEES                                         0.60 hrs                      $108.00

     TOTAL CHARGES FOR THIS INVOICE                                                   $108.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27    Exhibit E
096 01211                 Monthly Invoices Pg 876 of 1163
                                                       Invoice # 52534       Page 2
       12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                                 Monthly Invoices Pg 877 of 1163
                              CARPENTER LIPPS & LELAND LLP

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                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                              January 02, 2013

                                                                       Billed through 11/30/2012
Tammy Hamzephour                                                       Invoice # 52535      JAL
Residential Capital, LLC
1100 Virginia Drive                                                    Our file # 096 01212
190-FTW-L95
Fort Washington, PA 19034

Re: Felix R. Aponte, et al.
Matter No.: 731345

PROFESSIONAL SERVICES

11/09/2012     KMC        Review docket to determine if borrowers filed                L110        0.10 hrs
                          appellate brief.

11/13/2012     KMC        E-mail correspondence with foreclosure counsel               L110        0.10 hrs
                          regarding whether they received service copy of
                          appellate brief.
11/15/2012     KMC        E-mail correspondence with Ms. McGinnis                      L110        0.20 hrs
                          (Residential Capital) regarding status of appeal.

11/15/2012     KMC        E-mail foreclosure counsel regarding whether they            L110        0.20 hrs
                          received a service copy of borrowers' appellate
                          brief.
11/15/2012     KMC        E-mail correspondence with Ms. McGinnis                      L110        0.20 hrs
                          (Residential Capital) regarding status of appeal.

11/16/2012     DAW        Review brief of appellant.                                   L120        0.60 hrs


11/20/2012     DAW        Review motion for extension of time.                         L120        0.10 hrs


11/20/2012     KMC        Draft motion for extension of time to file appellate         L110        0.80 hrs
                          brief.

11/20/2012     KMC        Revise motion for extension of time per Mr.                  L110        0.30 hrs
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
  096 01212                  Monthly Invoices Pg 878 of 1163
                                                          Invoice # 52535              Page 2
                      Wallace.

11/25/2012   KMC      Review borrowers' appellate brief.                        L110       0.30 hrs


11/28/2012   KMC      Review docket to determine status of case.                L110       0.10 hrs




                      TOTAL FEES FOR THIS MATTER                                            $596.00


BILLING SUMMARY


         Wallace, David A.                          0.70 hrs       260.00 /hr    $182.00


         Cadieux, Karen M.                          2.30 hrs       180.00 /hr    $414.00



     TOTAL FEES                                     3.00 hrs                     $596.00

     TOTAL CHARGES FOR THIS INVOICE                                              $596.00
       12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27               Exhibit E
                              Monthly Invoices Pg 879 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                          January 02, 2013

                                                                     Billed through 11/30/2012
Tammy Hamzephour                                                     Invoice # 52536      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01215
190-FTW-L95
Fort Washington, PA 19034

Re: John V. Seel


PROFESSIONAL SERVICES

11/09/2012   KMC       E-mail correspondence with Ms. McGinnis                       L110        0.20 hrs
                       (Residential Capital) regarding second lien
                       procedures for relief from bankruptcy stay.


                       TOTAL FEES FOR THIS MATTER                                                   $36.00


BILLING SUMMARY


          Cadieux, Karen M.                           0.20 hrs   180.00 /hr             $36.00



     TOTAL FEES                                       0.20 hrs                         $36.00

     TOTAL CHARGES FOR THIS INVOICE                                                    $36.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                                Monthly Invoices Pg 880 of 1163
                          CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                             January 02, 2013

                                                                      Billed through 11/30/2012
Tammy Hamzephour                                                      Invoice # 52537      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 096 01216
190-FTW-L95
Fort Washington, PA 19034

Re: Robert H. Denny, et al. (Foreclosure Action)
Matter No.: 731863

PROFESSIONAL SERVICES

11/02/2012    DAW        Review Court's orders setting non-oral hearing on            L120        0.10 hrs
                         motion for protective order, denying motions to
                         strike and for default judgment.
11/02/2012    KMC        Review orders denying motion for default                     L210        0.10 hrs
                         judgment and setting non-oral hearing on motion
                         for protective order.
11/02/2012    KMC        Forward orders denying motion for default                    L210        0.10 hrs
                         judgment and setting non-oral hearing on motion
                         for protective order to Ms. McGinnis (Residential
                         Capital).
11/05/2012    DAW        Revise risk assessment.                                      L120        0.40 hrs


11/05/2012    KMC        Draft risk summary.                                          L110        1.20 hrs


11/05/2012    KMC        Review answer.                                               L210        0.20 hrs


11/08/2012    DAW        Conference with Ms. Cadieux regarding answer                 L120        0.20 hrs
                         and related case issues regarding prior settlement.

11/08/2012    KMC        Conference with Mr. Rhode regarding research on              L110        0.10 hrs
                         SCRA.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
  096 01216                 Monthly Invoices Pg 881 of 1163
                                                         Invoice # 52537        Page 2
11/08/2012   KMC    Review research on SCRA. and whether it applies      L110     0.30 hrs
                    to department of state contractors.

11/08/2012   KMC    Review borrowers' answer.                            L110     0.30 hrs


11/08/2012   KMC    Draft responses to discovery.                        L310     1.40 hrs


11/08/2012   KMC    Telephone conference with Ms. McGinnis               L160     0.20 hrs
                    regarding prior settlement agreement.

11/08/2012   KMC    E-mail Ms. McGinnis (Residential Capital)            L110     0.10 hrs
                    regarding obtaining original note.

11/08/2012   KMC    Forward entries regarding motion to strike, motion   L210     0.10 hrs
                    for default judgment and motion for protective
                    order to Ms. McGinnis (Residential Capital).
11/08/2012   KMC    Draft risk summary.                                  L110     0.40 hrs


11/08/2012   KMC    Review information regarding 2007 settlement.        L160     0.60 hrs


11/08/2012   KMC    E-mail Ms. McGinnis (Residential Capital)            L110     0.10 hrs
                    regarding loan modification documents from prior
                    settlement.
11/08/2012   JDR    Research regarding the SCRA coverage and scope       L120     0.80 hrs
                    to evaluate claims of benefits through independent
                    contract with the Department of State.
11/08/2012   JDR    Prepare summary of SCRA coverage and purpose.        L120     0.20 hrs


11/13/2012   KMC    E-mail with Ms. McGinnis (Residential Capital)       L120     0.20 hrs
                    regarding loan modification documents from prior
                    settlement.
11/13/2012   KMC    E-mail Ms. McGinnis (Residential Capital)            L110     0.10 hrs
                    regarding borrowers' request to stay case.

11/14/2012   DAW    Review response to motion for protective order.      L120     0.20 hrs


11/14/2012   KMC    E-mail correspondence with Ms. McGinnis              L110     0.30 hrs
                    (Residential Capital) regarding response to motion
                    for protective order and SCRA issues.
11/14/2012   KMC    Telephone conference with Ms. McGinnis               L160     0.30 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
  096 01216                 Monthly Invoices Pg 882 of 1163
                                                         Invoice # 52537        Page 3
                    (Residential Capital) regarding issues with
                    settlement.
11/14/2012   KMC    Review information regarding amount payments         L110     0.20 hrs
                    after prior settlement.

11/15/2012   KMC    Review payment history.                              L110     0.40 hrs


11/18/2012   KMC    Draft response to borrowers' request to stay case    L110     1.20 hrs
                    under SCRA while borrower works overseas.

11/19/2012   DAW    Revise opposition to motion to stay.                 L240     0.30 hrs


11/19/2012   KMC    Telephone conference with Ms. McGinnis               L160     0.30 hrs
                    (Residential Capital) regarding issues and
                    settlement agreement.
11/19/2012   KMC    Telephone conference with Ms. McGinnis               L110     0.40 hrs
                    (Residential Capital) and Mr. Martin (Residential
                    Capital) regarding payment history.
11/19/2012   KMC    Leave message for prior counsel for GMACM            L160     0.30 hrs
                    regarding settlement agreement.

11/19/2012   KMC    Revise response to request to stay case per Mr.      L210     0.40 hrs
                    Wallace.

11/20/2012   KMC    E-mail correspondence with Ms. McGinnis              L160     0.10 hrs
                    (Residential Capital) regarding settlement issues.

11/28/2012   KMC    Review docket to determine status of case.           L110     0.10 hrs


11/28/2012   KMC    Review payment notes.                                L110     0.40 hrs


11/28/2012   KMC    Telephone conference with prior counsel regarding    L110     0.40 hrs
                    questions about 2007 settlement agreement.

11/28/2012   KMC    E-mail Ms. McGinnis (Residential Capital)            L110     0.10 hrs
                    regarding telephone conference with prior counsel
                    regarding questions about 2007 settlement
                    agreement.
11/29/2012   DAW    Review Court's order staying case and denying        L120     0.20 hrs
                    motion for protective order.

11/29/2012   DAW    Conference with Ms. Cadieux regarding settlement     L120     0.40 hrs
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27          Exhibit E
  096 01216                  Monthly Invoices Pg 883 of 1163
                                                          Invoice # 52537             Page 4
                      agreement issues and case approach.

11/29/2012   KMC      Review order denying motion for protective order        L210        0.10 hrs
                      and staying case.

11/29/2012   KMC      Outline issues in case and options to proceed.          L110        0.30 hrs


11/30/2012   KMC      E-mail Ms. McGinnis (Residential Capital)               L120        0.10 hrs
                      regarding denial of motion for protective order and
                      staying case.


                      TOTAL FEES FOR THIS MATTER                                          $2,590.00


BILLING SUMMARY


         Wallace, David A.                           1.80 hrs    260.00 /hr     $468.00


         Rhode, Jacob D.                             1.00 hrs    160.00 /hr     $160.00


         Cadieux, Karen M.                          10.90 hrs    180.00 /hr   $1,962.00



     TOTAL FEES                                     13.70 hrs                 $2,590.00

     TOTAL CHARGES FOR THIS INVOICE                                           $2,590.00
       12-12020-mg         Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27         Exhibit E
                                   Monthly Invoices Pg 884 of 1163
                            CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                              January 02, 2013

                                                                    Billed through 11/30/2012
Tammy Hamzephour                                                    Invoice # 52538      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01219
190-FTW-L95
Fort Washington, PA 19034

Re: Nancy George, et al.
Matter No.: 733039

PROFESSIONAL SERVICES

11/01/2012    KMC          Review order staying case.                               L110        0.10 hrs


11/01/2012    KMC          Forward order staying case to Ms. McGinnis               L120        0.10 hrs
                           (Residential Capital).

11/08/2012    KMC          Forward bankruptcy notice to Ms. McGinnis                L110        0.10 hrs
                           (Residential Capital).



                           TOTAL FEES FOR THIS MATTER                                              $54.00


BILLING SUMMARY


          Cadieux, Karen M.                             0.30 hrs   180.00 /hr          $54.00



      TOTAL FEES                                        0.30 hrs                      $54.00

      TOTAL CHARGES FOR THIS INVOICE                                                  $54.00
        12-12020-mg        Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27          Exhibit E
                                   Monthly Invoices Pg 885 of 1163
                             CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                             January 02, 2013

                                                                     Billed through 11/30/2012
Tammy Hamzephour                                                     Invoice # 52539      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01220
190-FTW-L95
Fort Washington, PA 19034

Re: Robert C. Luft, Jr., et al.
Matter No.: 733433

PROFESSIONAL SERVICES

11/05/2012     KMC         Draft correspondence regarding procedure for              L120        0.20 hrs
                           relief from stay for first lienholders.



                           TOTAL FEES FOR THIS MATTER                                               $36.00


BILLING SUMMARY


           Cadieux, Karen M.                             0.20 hrs   180.00 /hr          $36.00



      TOTAL FEES                                         0.20 hrs                      $36.00

      TOTAL CHARGES FOR THIS INVOICE                                                   $36.00
       12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                                 Monthly Invoices Pg 886 of 1163
                           CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                             January 02, 2013

                                                                     Billed through 11/30/2012
Tammy Hamzephour                                                     Invoice # 52540      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01221
190-FTW-L95
Fort Washington, PA 19034

Re: Richard E. Jackson, et al.
Matter No.: 733428

PROFESSIONAL SERVICES

11/01/2012    KMC         Telephone conference with Ms. McGinnis                     L110        0.10 hrs
                          (Residential Capital) regarding how to proceed.

11/09/2012    KMC         Review docket to determine status of service.              L110        0.10 hrs


11/27/2012    KMC         Review docket to determine if service was made.            L110        0.10 hrs




                          TOTAL FEES FOR THIS MATTER                                                $54.00


BILLING SUMMARY


           Cadieux, Karen M.                             0.30 hrs   180.00 /hr          $54.00



      TOTAL FEES                                         0.30 hrs                      $54.00

      TOTAL CHARGES FOR THIS INVOICE                                                   $54.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                                Monthly Invoices Pg 887 of 1163
                          CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                            January 02, 2013

                                                                     Billed through 11/30/2012
Tammy Hamzephour                                                     Invoice # 52541      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01222
190-FTW-L95
Fort Washington, PA 19034

Re: John M. Wysocki, et al.
Matter No.: 733461

PROFESSIONAL SERVICES

11/09/2012    DAW       Conference with Ms. Cadieux regarding lifting of             L120        0.10 hrs
                        bankruptcy stay.

11/09/2012    KMC       Review motion to lift stay and motion for default            L110        0.30 hrs
                        judgment.

11/09/2012    KMC       Leave message for counsel for second lienholder              L110        0.10 hrs
                        regarding motion to lift stay and motion for default
                        judgment.
11/09/2012    KMC       Telephone conference with Ms. McGinnis                       L110        0.30 hrs
                        (Residential Capital) regarding motion to lift stay
                        and motion for default judgment.
11/13/2012    KMC       E-mail correspondence with counsel for first                 L110        0.20 hrs
                        lienholder regarding bankruptcy stay and
                        withdrawing motion for default judgment.
11/13/2012    KMC       Telephone conference with Ms. McGinnis                       L210        0.20 hrs
                        (Residential Capital) regarding lifting of stay and
                        default judgment motion.
11/13/2012    KMC       Review and revise motion and order vacating                  L110        0.10 hrs
                        lifting of bankruptcy stay.

11/13/2012    KMC       Review notice of withdrawal motion for default               L110        0.20 hrs
                        judgment.

11/13/2012    KMC       E-mail correspondence with counsel for first                 L210        0.20 hrs
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27        Exhibit E
  096 01222                  Monthly Invoices Pg 888 of 1163
                                                          Invoice # 52541           Page 2
                      lienholder regarding motion to withdraw and order
                      vacating lifting of bankruptcy stay.
11/20/2012   KMC      Review motion to vacate order reinstating case and     L110       0.10 hrs
                      notice of withdrawal of motion for default
                      judgment.
11/26/2012   KMC      Forward motion to vacate reactivation of case and      L110       0.10 hrs
                      notice of withdrawal of motion for default
                      judgment to Ms. McGinnis (Residential Capital)


                      TOTAL FEES FOR THIS MATTER                                         $350.00


BILLING SUMMARY


         Wallace, David A.                          0.10 hrs    260.00 /hr     $26.00


         Cadieux, Karen M.                          1.80 hrs    180.00 /hr    $324.00



     TOTAL FEES                                     1.90 hrs                  $350.00

     TOTAL CHARGES FOR THIS INVOICE                                           $350.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27                 Exhibit E
                                Monthly Invoices Pg 889 of 1163
                           CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                             January 02, 2013

                                                                         Billed through 11/30/2012
Tammy Hamzephour                                                         Invoice # 52542      JAL
Residential Capital, LLC
1100 Virginia Drive                                                      Our file # 096 01223
190-FTW-L95
Fort Washington, PA 19034

Re: Christopher C. Dubay et, al.


PROFESSIONAL SERVICES

11/05/2012    DAW        Revise reply to counterclaim.                                   L210        0.30 hrs


11/05/2012    KMC        Draft reply to counterclaim.                                    L110        2.20 hrs


11/05/2012    KMC        Draft bankruptcy letter.                                        L110        0.50 hrs


11/05/2012    KMC        E-mail Ms. McGinnis (Residential Capital)                       L110        0.10 hrs
                         regarding status of assumption package.

11/05/2012    KMC        E-mail Ms. McGinnis (Residential Capital)                       L110        0.10 hrs
                         regarding obtaining original collateral file.

11/05/2012    KMC        Review payment history.                                         L110        0.20 hrs


11/06/2012    KMC        Review assumption package.                                      L110        0.10 hrs


11/15/2012    KMC        Review information regarding death of Ms. Rivers                L110        0.30 hrs
                         and prior loss mitigation attempts.

11/15/2012    KMC        E-mail correspondence with Ms. McGinnis                         L110        0.30 hrs
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
  096 01223                  Monthly Invoices Pg 890 of 1163
                                                          Invoice # 52542              Page 2
                      (Residential Capital) regarding changing addressee
                      on assumption package.
11/15/2012   KMC      E-mail correspondence with Ms. McGinnis                  L110        0.20 hrs
                      (Residential Capital) regarding pretrial.

11/15/2012   KMC      Review contact history.                                  L110        0.30 hrs


11/15/2012   KMC      Telephone conference with Ms. McGinnis                   L110        0.20 hrs
                      (Residential Capital) regarding assumption packet
                      and pretrial.
11/15/2012   KMC      Prepare for pretrial.                                    L230        0.80 hrs


11/15/2012   KMC      Review updated assumption package.                       L110        0.10 hrs


11/15/2012   KMC      Review docket to determine status of pretrial.           L110        0.10 hrs


11/15/2012   KMC      Review updated Fi-serv information.                      L110        0.10 hrs


11/16/2012   KMC      Draft correspondence to borrowers' counsel with          L110        0.20 hrs
                      assumption package and instructions.

11/16/2012   KMC      Telephone conference with Ms. McGinnis                   L110        0.10 hrs
                      (Residential Capital) regarding pretrial being
                      cancelled.


                      TOTAL FEES FOR THIS MATTER                                           $1,140.00


BILLING SUMMARY


         Wallace, David A.                            0.30 hrs    260.00 /hr      $78.00


         Cadieux, Karen M.                            5.90 hrs    180.00 /hr   $1,062.00



     TOTAL FEES                                       6.20 hrs                 $1,140.00

     TOTAL CHARGES FOR THIS INVOICE                                            $1,140.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27               Exhibit E
                                Monthly Invoices Pg 891 of 1163
                           CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                             January 02, 2013

                                                                       Billed through 11/30/2012
Tammy Hamzephour                                                       Invoice # 52543      JAL
Residential Capital, LLC
1100 Virginia Drive                                                    Our file # 096 01224
190-FTW-L95
Fort Washington, PA 19034

Re: Ronald E. Saunders, et al.
Matter No.: 733731

PROFESSIONAL SERVICES

11/01/2012    KMC        E-mail correspondence with Ms. McGinnis                       L110        0.10 hrs
                         (Residential Capital) regarding whether a
                         bankruptcy notice is necessary.
11/05/2012    KMC        Telephone conference with Ms. McGinnis                        L110        0.10 hrs
                         (Residential Capital) whether bankruptcy notice
                         should be filed.
11/13/2012    KMC        Draft answer.                                                 L110        0.30 hrs


11/13/2012    KMC        Telephone conference with Ms. McGinnis                        L110        0.20 hrs
                         (Residential Capital) regarding whether
                         represention includes MERS.
11/14/2012    KMC        Draft answer.                                                 L210        0.60 hrs


11/15/2012    RBS        Prepare and label exhibits for Ms. Cadieux.                   L310        0.20 hrs


11/15/2012    KMC        E-mail correspondence with Ms. McGinnis                       L110        0.10 hrs
                         (Residential Capital) regarding default letter.

11/15/2012    KMC        Review contact history.                                       L110        0.20 hrs


11/15/2012    KMC        Review payment history.                                       L110        0.20 hrs
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27          Exhibit E
  096 01224                  Monthly Invoices Pg 892 of 1163
                                                          Invoice # 52543             Page 2



11/15/2012   KMC      E-mail correspondence with Ms. McGinnis                  L110       0.30 hrs
                      (Residential Capital) regarding whether to file a
                      cross-claim against borrowers and issues with
                      amount owed.
11/15/2012   KMC      Revise answer.                                           L110       0.30 hrs


11/15/2012   KMC      Draft cross-claim.                                       L210       1.10 hrs


11/16/2012   DAW      Review answer to complaint and cross-claim               L120       0.80 hrs
                      against defendants.

11/16/2012   KMC      E-mail correspondence with Ms. McGinnis                  L110       0.20 hrs
                      (Residential Capital) regarding obtaining
                      assignment to GMACM.
11/16/2012   KMC      Revise answer and cross-claim.                           L210       0.30 hrs


11/19/2012   KMC      E-mail Ms. McGinnis (Residential Capital)                L110       0.10 hrs
                      regarding assignment needed.

11/20/2012   KMC      Review payment history.                                  L110       0.30 hrs


11/20/2012   KMC      Telephone conference with borrower regarding             L110       0.20 hrs
                      working out a repayment plan with second
                      lienholder and status of foreclosure action.
11/26/2012   KMC      Review assignment.                                       L110       0.10 hrs


11/26/2012   KMC      Telephone conference with Ms. McGinnis                   L110       0.20 hrs
                      (Residential Capital) regarding possible loss
                      mitigation.


                      TOTAL FEES FOR THIS MATTER                                          $1,105.00


BILLING SUMMARY


         Wallace, David A.                            0.80 hrs    260.00 /hr    $208.00


         Cadieux, Karen M.                            4.90 hrs    180.00 /hr    $882.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27    Exhibit E
096 01224                 Monthly Invoices Pg 893 of 1163
                                                       Invoice # 52543        Page 3


      Samson, Robert B.                     0.20 hrs   75.00 /hr         $15.00



   TOTAL FEES                               5.90 hrs                $1,105.00

   TOTAL CHARGES FOR THIS INVOICE                                   $1,105.00
       12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                               Monthly Invoices Pg 894 of 1163
                         CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                            January 02, 2013

                                                                    Billed through 11/30/2012
Tammy Hamzephour                                                    Invoice # 52544      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01225
190-FTW-L95
Fort Washington, PA 19034

Re: Gene Bucnaventura McKinley, et al.
Matter No.: 734068

PROFESSIONAL SERVICES

11/02/2012   KMC        Review counterclaim.                                        L110        0.20 hrs


11/02/2012   KMC        Review contact history.                                     L110        0.30 hrs


11/02/2012   KMC        Review mortgage, note and assignment.                       L110        0.20 hrs


11/02/2012   KMC        Telephone conference with Ms. McGinnis                      L110        0.10 hrs
                        (Residential Capital) regarding new case.

11/05/2012   DAW        Review complaint, answer and affirmative                    L120        0.40 hrs
                        defenses, and counterclaim.

11/05/2012   KMC        Telephone conference with Ms. McGinnis                      L110        0.10 hrs
                        (Residential Capital) whether we need to file
                        bankruptcy notice.
11/09/2012   KMC        Review order regarding default judgment.                    L110        0.10 hrs


11/09/2012   KMC        Draft notice of bankruptcy.                                 L110        0.60 hrs


11/09/2012   KMC        E-mail correspondence with Ms. McGinnis                     L110        0.20 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
  096 01225                 Monthly Invoices Pg 895 of 1163
                                                         Invoice # 52544        Page 2
                    (Residential Capital) regarding bankruptcy notice.

11/12/2012   KMC    E-mail correspondence with Ms. Gerlich               L210     0.20 hrs
                    (Residential Capital) and Ms. McGinnis
                    (Residential Capital) regarding bankruptcy notice.
11/13/2012   KMC    Prepare for telephone conference with Ms.            L110     0.30 hrs
                    McGinnis (Residential Capital) and Ms. Gerlich
                    (Residential Capital) regarding bankruptcy notice.
11/13/2012   KMC    Attend telephone conference with Ms. McGinnis        L210     0.30 hrs
                    (Residential Capital) and Ms. Gerlich (Residential
                    Capital) regarding bankruptcy notice.
11/13/2012   KMC    Telephone conference with Ms. McGinnis               L210     0.30 hrs
                    (Residential Capital) regarding issues regarding
                    bankruptcy notice.
11/13/2012   KMC    Telephone conference with Ms. McGinnis               L110     0.20 hrs
                    (Residential Capital) regarding procedure for VA
                    assumptions.
11/13/2012   KMC    Review foreclosure file.                             L110     0.20 hrs


11/13/2012   KMC    E-mail foreclosure counsel regarding                 L110     0.10 hrs
                    correspondence with borrowers.

11/14/2012   DAW    Revise response to notice of default.                L210     0.20 hrs


11/14/2012   DAW    Revise reply to counterclaim.                        L210     0.20 hrs


11/14/2012   KMC    E-mail judge's assistant regarding response to       L110     0.20 hrs
                    notice.

11/14/2012   KMC    Draft response to notice regarding default           L210     0.70 hrs
                    judgment.

11/14/2012   KMC    Draft notice of appearance.                          L210     0.20 hrs


11/14/2012   KMC    Telephone conference with Ms. McGinnis               L110     0.20 hrs
                    (Residential Capital) regarding assumption.

11/14/2012   KMC    E-mail correspondence with Ms. McGinnis              L110     0.20 hrs
                    (Residential Capital) regarding how to proceed
                    with loss mitigation.
11/14/2012   KMC    Review information regarding assumption of VA        L110     0.20 hrs
                    loans.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27    Exhibit E
  096 01225                 Monthly Invoices Pg 896 of 1163
                                                         Invoice # 52544       Page 3


11/14/2012   KMC    Draft reply to counterclaim.                       L110      1.10 hrs


11/14/2012   KMC    Revise bankruptcy notice.                          L110      0.20 hrs


11/15/2012   DAW    Revise motion to reactivate.                       L250      0.60 hrs


11/15/2012   KMC    Draft motion to reactivate case.                   L210      0.40 hrs


11/15/2012   KMC    Draft order granting motion to reactivate case.    L210      0.10 hrs


11/16/2012   DAW    Review order reactivating case.                    L120      0.10 hrs


11/16/2012   KMC    Submit instructions for service on borrower at     L110      0.20 hrs
                    updated address.

11/16/2012   KMC    Review order reactivating case.                    L210      0.10 hrs


11/20/2012   KMC    Confirm filing and service of reply.               L110      0.20 hrs


11/20/2012   KMC    Confirm filing and service of bankruptcy notice.   L110      0.20 hrs


11/20/2012   KMC    Revise Reply to Counterclaim per Mr. Wallace.      L110      1.10 hrs


11/20/2012   KMC    Revise bankruptcy notice.                          L110      0.30 hrs


11/26/2012   DAW    Review notice of bankruptcy stay.                  L120      0.10 hrs


11/26/2012   KMC    Review order staying case.                         L210      0.10 hrs




                    TOTAL FEES FOR THIS MATTER                                   $2,054.00
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
  096 01225                  Monthly Invoices Pg 897 of 1163
                                                          Invoice # 52544         Page 4

EXPENSES

11/28/2012            Court Fees - Montgomery County Clerk of Courts                  $826.00

                      TOTAL EXPENSES FOR THIS MATTER                                  $826.00


BILLING SUMMARY


         Wallace, David A.                        1.60 hrs   260.00 /hr     $416.00


         Cadieux, Karen M.                        9.10 hrs   180.00 /hr   $1,638.00



     TOTAL FEES                                  10.70 hrs                $2,054.00

     TOTAL EXPENSES                                                         $826.00

     TOTAL CHARGES FOR THIS INVOICE                                       $2,880.00
       12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27                Exhibit E
                               Monthly Invoices Pg 898 of 1163
                            CARPENTER LIPPS & LELAND LLP

                                           280 Plaza, Suite 1300
                                           280 North High Street
                                           Columbus, OH 43215
                                              (614) 365-4100
                                          Federal ID # XX-XXXXXXX



                                               January 02, 2013

                                                                       Billed through 11/30/2012
Tammy Hamzephour                                                       Invoice # 52545      JAL
Residential Capital, LLC
1100 Virginia Drive                                                    Our file # 096 01226
190-FTW-L95
Fort Washington, PA 19034

Re: Amy Jo Abner, et al.
    Matter No.: 733680

PROFESSIONAL SERVICES

11/07/2012    DAW          Review e-mail from Ms. McWilliams (Residential              L120        0.10 hrs
                           Capital, LLC) regarding new case.

11/07/2012    DAW          Review CSC service report, summons, and                     L120        0.20 hrs
                           complaint.

11/07/2012    DAW          Draft e-mail to Ms. McWilliams (Residential                 L120        0.30 hrs
                           Capital, LLC) regarding new case, answer date,
                           and bankruptcy stay filing.
11/07/2012    KMC          Review complaint.                                           L110        0.20 hrs


11/07/2012    KMC          Research regarding liens on property.                       L110        0.40 hrs


11/09/2012    KMC          Draft bankruptcy notice.                                    L210        0.40 hrs


11/12/2012    DAW          Revise notice of bankruptcy and affect of stay.             L210        0.40 hrs


11/12/2012    KMC          E-mail correspondence with Ms. McWilliams                   L210        0.20 hrs
                           (Residential Capital) regarding notice of
                           bankruptcy.
11/13/2012    KMC          Review fact package.                                        L110        0.20 hrs
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27        Exhibit E
  096 01226                  Monthly Invoices Pg 899 of 1163
                                                          Invoice # 52545           Page 2



11/14/2012   KMC      Draft letter with bankruptcy notice.                   L110       0.20 hrs


11/19/2012   DAW      Review Court order regarding report hearing.           L120       0.20 hrs


11/26/2012   KMC      Telephone conference with Court regarding              L110       0.30 hrs
                      bankruptcy stay and whether status report hearing
                      was proceeding.
11/26/2012   KMC      Draft notice of appearance.                            L210       0.10 hrs




                      TOTAL FEES FOR THIS MATTER                                         $672.00


BILLING SUMMARY


         Wallace, David A.                           1.20 hrs   260.00 /hr    $312.00


         Cadieux, Karen M.                           2.00 hrs   180.00 /hr    $360.00



     TOTAL FEES                                      3.20 hrs                 $672.00

     TOTAL CHARGES FOR THIS INVOICE                                           $672.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                                Monthly Invoices Pg 900 of 1163
                           CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                             January 02, 2013

                                                                     Billed through 11/30/2012
Tammy Hamzephour                                                     Invoice # 52546      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01227
190-FTW-L95
Fort Washington, PA 19034

Re: Charles M. Lawler, et al.
    Matter No.: 734516

PROFESSIONAL SERVICES

11/16/2012    DAW        Review e-mail regarding new case assignment.                L120        0.20 hrs


11/16/2012    DAW        Review complaint and related materials.                     L120        0.20 hrs


11/16/2012    KMC        Review HUD-1.                                               L110        0.10 hrs


11/16/2012    KMC        Review PSA to determine current holder of note.             L110        0.20 hrs


11/16/2012    KMC        Research regarding prior liens.                             L110        0.30 hrs


11/16/2012    KMC        Review note, mortgage and loan modification.                L110        0.20 hrs


11/16/2012    KMC        Review docket to determine answer date.                     L110        0.20 hrs


11/16/2012    KMC        Telephone conference with Ms. McGinnis                      L110        0.20 hrs
                         (Residential Capital) regarding new case.

11/16/2012    KMC        Review complaint.                                           L210        0.30 hrs
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27          Exhibit E
  096 01227                  Monthly Invoices Pg 901 of 1163
                                                          Invoice # 52546             Page 2


11/16/2012   KMC      Review e-mail from Ms. McGinnis (Residential             L110       0.10 hrs
                      Capital) regarding new case.

11/16/2012   KMC      Review deed.                                             L110       0.10 hrs


11/16/2012   KMC      Review general fi-serv information.                      L110       0.10 hrs


11/16/2012   KMC      Telephone conference with Ms. McGinnis                   L110       0.20 hrs
                      (Residential Capital) regarding prior liens and
                      whether they were paid off with current loan.
11/19/2012   KMC      E-mail Ms. McGinnis (Residential Capital)                L110       0.10 hrs
                      regarding assignment needed.

11/26/2012   KMC      Review assignment of mortgage.                           L110       0.10 hrs


11/27/2012   KMC      Review docket to determine answer date.                  L110       0.20 hrs




                      TOTAL FEES FOR THIS MATTER                                           $536.00


BILLING SUMMARY


         Wallace, David A.                           0.40 hrs     260.00 /hr    $104.00


         Cadieux, Karen M.                           2.40 hrs     180.00 /hr    $432.00



     TOTAL FEES                                       2.80 hrs                  $536.00

     TOTAL CHARGES FOR THIS INVOICE                                             $536.00
       12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                                 Monthly Invoices Pg 902 of 1163
                              CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                              January 02, 2013

                                                                     Billed through 11/30/2012
Tammy Hamzephour                                                     Invoice # 52547      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01228
190-FTW-L95
Fort Washington, PA 19034

Re: Robert J. Baker, et al.
Matter No.: 734671

PROFESSIONAL SERVICES

11/26/2012     DAW        Review e-mail regarding new case assignment.               L120        0.10 hrs


11/26/2012     DAW        Review complaint.                                          L120        0.30 hrs


11/26/2012     KMC        Review complaint.                                          L110        0.20 hrs


11/26/2012     KMC        Telephone conference with Ms. McGinnis                     L110        0.10 hrs
                          (Residential Capital) regarding new case and
                          multiple assignments of mortgage.
11/27/2012     DAW        Review e-mail regarding new case assignment.               L120        0.10 hrs


11/27/2012     KMC        Review docket to determine answer date.                    L110        0.20 hrs


11/27/2012     KMC        Draft e-mail to Ms. McGinnis (Residential Capital)         L110        0.40 hrs
                          regarding review of case and recommendations for
                          how to proceed.
11/27/2012     KMC        Review payment history.                                    L110        0.20 hrs


11/27/2012     KMC        Review contact history.                                    L110        0.50 hrs
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27          Exhibit E
  096 01228                  Monthly Invoices Pg 903 of 1163
                                                          Invoice # 52547             Page 2



11/27/2012   KMC      Research regarding liens on property.                    L110       0.60 hrs


11/27/2012   KMC      Review note, mortgage and assignments.                   L110       0.20 hrs


11/27/2012   KMC      Research regarding value of property.                    L110       0.30 hrs


11/28/2012   DAW      Review e-mail from Ms. McGinnis (Residential             L120       0.10 hrs
                      Capital, LLC) regarding investor and directions to
                      file cross-claim.
11/28/2012   KMC      Review pooling and servicing agreement.                  L110       0.20 hrs


11/28/2012   KMC      Review broker price opinion.                             L110       0.10 hrs


11/28/2012   KMC      E-mail correspondence with Ms. McGinnis                  L110       0.10 hrs
                      (Residential Capital) regarding filing a cross-claim
                      against borrowers.
11/28/2012   KMC      Telephone conference with Ms. McGinnis                   L110       0.20 hrs
                      (Residential Capital) regarding missing exhibits to
                      complaint and how to proceed with case.


                      TOTAL FEES FOR THIS MATTER                                           $750.00


BILLING SUMMARY


         Wallace, David A.                            0.60 hrs    260.00 /hr    $156.00


         Cadieux, Karen M.                            3.30 hrs    180.00 /hr    $594.00



     TOTAL FEES                                       3.90 hrs                  $750.00

     TOTAL CHARGES FOR THIS INVOICE                                             $750.00
12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27   Exhibit E
                      Monthly Invoices Pg 904 of 1163




        DECEMBER
         INVOICES
       12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                               Monthly Invoices Pg 905 of 1163
                            CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                            January 25, 2013

                                                                    Billed through 12/31/2012
Tammy Hamzephour                                                    Invoice # 52818      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 932 00050
190-FTW-L95
Fort Washington, PA 19034

Re: General Restructuring


PROFESSIONAL SERVICES

12/05/2012   JAL        Conference with Morrison Foerster lawyers and               L120        2.00 hrs
                        Ally's counsel regarding material claims in cse and
                        other case issues.
12/05/2012   DAB        Prepare for meeting with Morrison & Foerster on             L120        1.30 hrs
                        claims and other issues.

12/05/2012   DAB        Meeting with Mr. Lee, Mr. Marinuzzi, Mr. Goren,             L120        2.80 hrs
                        Ms. Marines, Ms. Beck and Ms. Moss (Morrison &
                        Foerster) and Mr. Lipps (parts) regarding material
                        claims in case and other case issues.
12/07/2012   RBS        Prepare e-mail to distribute requested bankruptcy           L310        0.20 hrs
                        pleadings.

12/07/2012   RBS        Obtain bankruptcy pleadings requested by Mr.                L310        0.50 hrs
                        Beck.

12/12/2012   RBS        Obtain bankruptcy pleadings requested by Mr.                L310        0.20 hrs
                        Beck.

12/12/2012   RBS        Prepare e-mail to distribute of requested                   L310        0.10 hrs
                        bankruptcy pleadings.

12/13/2012   JALB       Weekly status telephone conference with Mr.                 L120        0.30 hrs
                        Thompson, Mr. Ruckdaschel, Ms. Delehey, Ms.
                        Zellmann (all Residential Capital) regarding open
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27         Exhibit E
  932 00050                    Monthly Invoices Pg 906 of 1163
                                                            Invoice # 52818            Page 2
                        issues and status of proceedings.
12/20/2012   JALB       Weekly team call with client (Mr. Thompson, Mr.        L120        0.50 hrs
                        Ruckdaschel, Ms. Delehey, Ms. Zellmann, Mr.
                        Underhill) regarding status of open discovery
                        issues and pending estate matters.
12/20/2012   JAL        Prepare for hearing on debtors' motion to extend       L230        4.00 hrs
                        exclusionary period and motion for plan mediator
                        (1.50). Participate at hearing (2.50).
12/20/2012   DAB        Communicate with Ms. Zellman (Residential              L120        0.20 hrs
                        Capital) regarding FHFA litigation developments.



                        TOTAL FEES FOR THIS MATTER                                         $3,424.00


BILLING SUMMARY


         Beck, David A.                                4.30 hrs   230.00 /hr     $989.00


         Lipps, Jeffrey A.                             6.00 hrs   360.00 /hr   $2,160.00


         Battle, Jennifer A.L.                         0.80 hrs   250.00 /hr     $200.00


         Samson, Robert B.                             1.00 hrs    75.00 /hr      $75.00



     TOTAL FEES                                       12.10 hrs                $3,424.00

     TOTAL CHARGES FOR THIS INVOICE                                            $3,424.00
       12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                              Monthly Invoices Pg 907 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                          January 25, 2013

                                                                    Billed through 12/31/2012
Tammy Hamzephour                                                    Invoice # 52819      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 932 00053
190-FTW-L95
Fort Washington, PA 19034

Re: Administrative


PROFESSIONAL SERVICES

12/14/2012   DAB       E-mail with Mr. Masumoto (United States Trustee)             L120        0.20 hrs
                       regarding United States Trustee questions on fees.

12/14/2012   DAB       Multiple calls with Mr. Masumoto (United States              L120        0.30 hrs
                       Trustee) regarding resolution of United States
                       Trustee objection to fees.
12/14/2012   DAB       Communicate with Mr. Lipps regarding possible                L120        0.30 hrs
                       resolution with United States Trustee.

12/14/2012   DAB       Research regarding trustee questions regarding               L120        0.60 hrs
                       contract attorneys.

12/14/2012   DAB       Research regarding United States Trustee questions           L120        0.40 hrs
                       on CLL expenses.

12/14/2012   DAB       Draft writeup for United States Trustee regarding            L120        0.50 hrs
                       monitoring of contract attorneys.

12/17/2012   VLS       E-mail exchange with Mr. Beck regarding                      L320        0.30 hrs
                       Discovery Partner review activity reports.

12/17/2012   VLS       Conference with Mr. Beck regarding process for               L320        0.40 hrs
                       review and approval of document review weekly
                       time cards.
12/17/2012   DAB       Communicate with Mr. Masumoto (United States                 L120        0.20 hrs
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
  932 00053                   Monthly Invoices Pg 908 of 1163
                                                           Invoice # 52819                 Page 2
                       Trustee) regarding possible resolution of fee
                       objection.
12/17/2012   DAB       Draft additional materials for Mr. Masumoto                 L120        0.20 hrs
                       (United States Trustee) regarding monitoring of
                       contract attorneys.
12/17/2012   DAB       Draft report for court regarding resolution of fee          L120        0.40 hrs
                       objection.

12/18/2012   DAB       E-mail Mr. Masumoto (United States Trustee)                 L120        0.20 hrs
                       regarding resolution of United States Trustee fee
                       objection.
12/20/2012   DAB       Prepare for fee hearing.                                    L230        1.70 hrs


12/20/2012   DAB       Participate in fee hearing.                                 L230        4.10 hrs


12/20/2012   DAB       E-mail Mr. Lipps regarding result of fee hearing.           L120        0.30 hrs


12/20/2012   DAB       Communicate with Mr. Marinuzzi and Ms.                      L120        0.20 hrs
                       Richards (Morrison & Foerster) regarding fee
                       order.


                       TOTAL FEES FOR THIS MATTER                                              $2,260.50

EXPENSES

12/18/2012             Delivery Service/Messengers - Federal Express to Mr. Beck                  $59.24

12/24/2012             Delivery Service/Messengers - Federal Express to Mr. Beck                  $88.10

12/24/2012             Deposition Transcripts - eScribers, LLC                                  $224.40

12/26/2012             Delivery Service/Messengers - Federal Express to Ms. Perkins               $29.63
                       from Mr. Beck

                       TOTAL EXPENSES FOR THIS MATTER                                           $401.37


BILLING SUMMARY


         Beck, David A.                                9.60 hrs    230.00 /hr      $2,208.00


         Sholl, Veronica L.                            0.70 hrs        75.00 /hr      $52.50
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
932 00053                 Monthly Invoices Pg 909 of 1163
                                                       Invoice # 52819         Page 3


   TOTAL FEES                              10.30 hrs                $2,260.50

   TOTAL EXPENSES                                                        $401.37

   TOTAL CHARGES FOR THIS INVOICE                                   $2,661.87
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
                                Monthly Invoices Pg 910 of 1163
                         CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                          January 25, 2013

                                                                   Billed through 12/31/2012
Tammy Hamzephour                                                   Invoice # 52820      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 932 00054
190-FTW-L95
Fort Washington, PA 19034

Re: SEC Post-Petition
Matter No.: 721750

PROFESSIONAL SERVICES

12/03/2012   VLS        Monitor review status of document review team.             L320        0.40 hrs


12/03/2012   VLS        Update document review status chart.                       L320        0.30 hrs


12/03/2012   VLS        E-mail exchange with document reviewer Mr.                 L320        0.20 hrs
                        Azikwe regarding document batch status.

12/03/2012   VLS        E-mail exchange with document reviewer Mr.                 L320        0.20 hrs
                        Joseph regarding document batch status.

12/03/2012   VLS        Obtain document reviewer time cards and review             L320        0.60 hrs
                        for accuracy.

12/03/2012   VLS        Approve document reviewer time cards for                   L320        0.30 hrs
                        payment.

12/04/2012   VLS        E-mail exchange with document reviewer Mr.                 L320        0.20 hrs
                        Shaw regarding status of document review batch.

12/04/2012   VLS        E-mail exchange with document reviewer Mr.                 L320        0.20 hrs
                        Azikwe regarding status of document review batch.

12/05/2012   JRC        Teleconference with Mr. Hoffman (Morrison &                L120        0.10 hrs
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27                Exhibit E
  932 00054                   Monthly Invoices Pg 911 of 1163
                                                           Invoice # 52820                   Page 2
                       Foerster) regarding document production to the
                       SEC.
12/11/2012   VLS       Obtain document review time cards.                         L320         0.40 hrs


12/11/2012   VLS       Review document review time cards for accuracy.            L320         0.20 hrs


12/17/2012   VLS       Obtain document review time cards and review for           L320         0.40 hrs
                       accuracy.

12/17/2012   VLS       Approve document review time cards for payment.            L320         0.20 hrs


12/21/2012   JRC       Review and analyze documents in litigation                 L320         0.90 hrs
                       databases in order to locate materials requested by
                       the Securities and Exchange Commission.
12/24/2012   JRC       Review and analyze documents in litigation                 L320         1.90 hrs
                       databases to locate materials requested from the
                       SEC.
12/26/2012   JRC       Review and analyze documents produced to the               L320         2.80 hrs
                       SEC in order to draft summary of particular
                       records produced for Mr. Hoffman (Morrison &
                       Foerster).
12/26/2012   JRC       Review and analyze documents in litigation                 L320         4.40 hrs
                       databases in order to locate materials requested by
                       the SEC.
12/26/2012   JRC       Draft e-mail to Mr. Hoffman (Morrison &                    L320         0.30 hrs
                       Foerster) providing summary of materials
                       requested by the SEC.


                       TOTAL FEES FOR THIS MATTER                                              $2,142.00

EXPENSES

12/02/2012             Litigation Support Vendors - Lumen Legal (services for 11/20/12         $9,434.86
                       to 12/2/12)

                       TOTAL EXPENSES FOR THIS MATTER                                          $9,434.86


BILLING SUMMARY


         Corcoran, Jeffrey R.                        10.40 hrs    180.00 /hr      $1,872.00
    12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
932 00054                  Monthly Invoices Pg 912 of 1163
                                                        Invoice # 52820         Page 3
      Sholl, Veronica L.                     3.60 hrs   75.00 /hr         $270.00



   TOTAL FEES                               14.00 hrs                $2,142.00

   TOTAL EXPENSES                                                    $9,434.86

   TOTAL CHARGES FOR THIS INVOICE                                   $11,576.86
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                              Monthly Invoices Pg 913 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                           January 25, 2013

                                                                    Billed through 12/31/2012
Tammy Hamzephour                                                    Invoice # 52826      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 932 00057
190-FTW-L95
Fort Washington, PA 19034

Re: RMBS Trust Settlement
Matter No.: 721750

PROFESSIONAL SERVICES

12/01/2012   AMP       Attention to review of Ally's second production of           L320        1.20 hrs
                       documents for key documents to assist Morrison &
                       Foerster in hearing/witness preparation.
12/01/2012   JALB      Review transcript of Mr. Sillman's deposition.               L330        0.50 hrs


12/01/2012   JALB      Correspondence with Mr. Rhode on preparation for             L120        0.30 hrs
                       expert depositions.

12/01/2012   JALB      Correspondence with Ms. Mohler regarding Lipps               L120        0.20 hrs
                       supplemental declaration.

12/01/2012   JALB      Telephone conference with Mr. Rains (Morrison &              L120        0.40 hrs
                       Foerster) regarding expert deposition planning and
                       next steps.
12/01/2012   JALB      Respond to questions from Mr. Harris (Morrison &             L120        0.40 hrs
                       Foerster) regarding prior complaints.

12/01/2012   JDR       Draft outline and analysis of strategy for deposition        L330        3.40 hrs
                       of UCC designated expert Cornell.

12/01/2012   JDR       Prepare designated expert witness deposition                 L330        0.80 hrs
                       examination materials and outline of responses to
                       areas of anticipated testimony.
12/01/2012   JDR       Draft correspondence to Ms. Battle regarding                 L330        0.20 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27       Exhibit E
  932 00057                 Monthly Invoices Pg 914 of 1163
                                                         Invoice # 52826          Page 2
                    expert depositions.

12/01/2012   JDR    Review analogous litigation challenges to 9019         L330     0.30 hrs
                    underwriting experts in preparation for depositions.

12/01/2012   JDR    Draft memorandum regarding Sillman reply               L210     2.70 hrs
                    declaration and hearing testimony.

12/02/2012   JDR    Review and analyze updated memorandum and              L210     1.00 hrs
                    materials on reserves in preparation for 9019 reply
                    brief.
12/02/2012   JDR    Draft memorandum regarding Sillman reply               L210     4.40 hrs
                    declaration and hearing testimony.

12/03/2012   AMP    Attention to review of Ally's second set of            L320     0.70 hrs
                    documents for key or significant documents to
                    assist Morrison & Foerster in hearing/witness
                    preparations.
12/03/2012   AMP    Multiple e-mails with reviewers regarding Ally's       L320     0.20 hrs
                    second set of documents.

12/03/2012   AMP    Attention to review for Mr. Devine's specific          L320     1.10 hrs
                    documents.

12/03/2012   AMP    Determining difference between what was                L320     0.60 hrs
                    produced post meet and confer and what was
                    identified pre-meet and confer.
12/03/2012   AMP    E-mail exchanges with Mr. Ziegler (Morrison &          L320     0.80 hrs
                    Foerster) regarding outcome of special review
                    project and 67 documents tagged as potentially
                    relevant.
12/03/2012   AMP    E-mail exchanges with Mr. Ziegler (Morrison &          L320     0.40 hrs
                    Foerster) regarding production off original logs
                    based on meet and confer.
12/03/2012   AMP    Review e-mail from Mr. Ziegler (Morrison &             L320     0.30 hrs
                    Foerster) regarding review of Rescap's productions
                    for references to Mr. Devine.
12/03/2012   AMP    Multiple e-mails with reviewers regarding review       L120     0.60 hrs
                    of Rescap's productions for references to Mr.
                    Devine.
12/03/2012   JAL    Review chart of claims released in settlement (.20).   L160     0.50 hrs
                    Conference with Ms. Battle regarding same (.20).
                    Review e-mails regarding same (.10).
12/03/2012   JALB   Meet with Mr. Lipps regarding preparation of           L120     0.30 hrs
                    sections of draft reply brief.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
  932 00057                 Monthly Invoices Pg 915 of 1163
                                                         Invoice # 52826        Page 3
12/03/2012   JALB   Review outline of reply brief and correspond with    L120     0.70 hrs
                    Mr. Rhode and Mr. Beck regarding status of
                    research and drafting for certain sections.
12/03/2012   MMM    Draft section on MASTR Asset decision in 9019        L120     3.10 hrs
                    reply brief.

12/03/2012   DAB    Draft analysis of RMBS Trust Settlement release      L120     0.70 hrs
                    treatment of claims brought by various objectors.

12/03/2012   DAB    Analyze objections to RMBS trust settlement.         L120     0.20 hrs


12/03/2012   DAB    Communicate with Ms. Battle regarding staffing       L120     0.10 hrs
                    and work projects on upcoming examiner
                    interviews.
12/03/2012   DAB    Conference with Mr. Rhode regarding reserve          L120     0.40 hrs
                    arguments raised in RMBS trust settlement
                    objections.
12/03/2012   JRC    Review and analyze deposition testimony of Mr.       L330     4.30 hrs
                    Lipps in order to draft deposition summary.

12/03/2012   JDR    Review board and audit committee representation      L210     1.50 hrs
                    and warranty presentations in preparation for
                    drafting 9019 reply brief.
12/03/2012   JDR    Draft summary and analysis of Mr. Sillman's          L330     0.80 hrs
                    deposition.

12/03/2012   JDR    Review internal accounting memorandums in            L210     0.80 hrs
                    preparation for drafting 9019 reply brief.

12/03/2012   JDR    Conference with Mr. Beck regarding 9019 reply        L120     0.40 hrs
                    brief.

12/03/2012   JDR    Draft correspondence to Ms. Battle regarding 9019    L120     0.20 hrs
                    reply brief strategy.

12/03/2012   JDR    Research regarding range of reasonableness for       L210     2.00 hrs
                    9019 settlement in preparation for drafting reply
                    brief.
12/03/2012   JDR    Draft reply brief section regarding range of         L210     2.70 hrs
                    reasonableness for 9019 settlement.

12/03/2012   JDR    Review SEC disclosures in preparation for drafting   L210     1.30 hrs
                    9019 reply brief.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
  932 00057                 Monthly Invoices Pg 916 of 1163
                                                         Invoice # 52826         Page 4

12/03/2012   JDR    Draft reply brief section regarding reserves.         L210     3.70 hrs


12/04/2012   AMP    Attention to technical issues regarding accessing     L120     0.60 hrs
                    additional 26,000 documents produced by Ally to
                    complete review.
12/04/2012   AMP    Attention to review of Ally's additional production   L320     1.90 hrs
                    and targeted searches of same for key documents.

12/04/2012   AMP    Multiple e-mails with Ms. Chinn (contract             L120     0.40 hrs
                    document reviewer) and Morrison & Foerster team
                    regarding technical issues accessing additional
                    26,000 documents produced by Ally to complete
                    review.
12/04/2012   RBS    Prepare notebooks and index of 9019 objection         L310     2.50 hrs
                    documents requested by Mr. Rhode.

12/04/2012   JALB   Discussion with Mr. Rhode regarding status of         L120     0.70 hrs
                    expert preparation. (.20) Conference with Mr.
                    Beck regarding same. (.30) Outline requests on
                    reply biref. (.20)
12/04/2012   JALB   Begin preliminary review of objections and expert     L120     0.80 hrs
                    reports.

12/04/2012   DAB    Meeting with Mr. Rhode to discuss issues on           L120     0.30 hrs
                    reserves for RMBS briefing.

12/04/2012   DAB    Conference with Ms. Battle regarding reply brief      L120     0.30 hrs
                    on RMBS objections.

12/04/2012   DAB    Draft response to RMBS objections on releases.        L120     2.80 hrs


12/04/2012   DAB    Communicate with Mr. Corcoran regarding               L120     0.20 hrs
                    summary of Mr. Lipps' deposition.

12/04/2012   JRC    Review and analyze deposition testimony of Mr.        L330     2.70 hrs
                    Lipps in order to draft deposition summary.

12/04/2012   JDR    Draft correspondence to Mr. Sillman (Fortace)         L120     0.20 hrs
                    regarding expert reports.

12/04/2012   JDR    Conference with Mr. Beck regarding 9019 reply         L120     0.30 hrs
                    brief issues.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
  932 00057                 Monthly Invoices Pg 917 of 1163
                                                         Invoice # 52826        Page 5

12/04/2012   JDR    Draft reply brief section regarding reserves.        L210     1.90 hrs


12/04/2012   JDR    Review fact depositions to assist in 9019 reply      L330     1.30 hrs
                    reserves section.

12/04/2012   JDR    Conference with Ms. Battle regarding 9019 reply      L120     0.20 hrs
                    brief and expert issues.

12/04/2012   JDR    Revise reply brief section regarding range of        L210     0.90 hrs
                    reasonableness for 9019 settlement.

12/04/2012   JDR    Review and analyze expert report of UCC expert       L420     1.70 hrs
                    Cornell.

12/04/2012   JDR    Review and analyze expert report of UCC expert       L420     1.30 hrs
                    Morrow.

12/04/2012   JDR    Review and analyze expert report of FGIC expert      L420     0.60 hrs
                    Rossi.

12/04/2012   JDR    Review and analyze expert report of MBIA expert      L420     1.80 hrs
                    Brown.

12/04/2012   JDR    Draft memorandum regarding expert report of          L210     1.40 hrs
                    UCC expert Cornell.

12/04/2012   JDR    Draft memorandum regarding expert report of          L210     0.90 hrs
                    UCC expert Morrow and MBIA expert Brown.

12/05/2012   AMP    Attention to status of review of 26,000 additional   L320     0.80 hrs
                    Ally documents for key issues.

12/05/2012   AMP    E-mails with Ms. Chinn (document reviewer)           L320     0.30 hrs
                    regarding status of review of 26,000 additional
                    Ally documents for key issues.
12/05/2012   AMP    Attention to technical issues with Mr. Bergelson     L120     0.30 hrs
                    (Morrison & Foerster) and Mr. Ziegler (Morrison
                    & Foerster).
12/05/2012   JAL    Review and redraft memorandum regarding              L120     1.70 hrs
                    Aurelius subordination argument (.40).
                    Conference with Mr. Beck regarding same (.10).
                    Review e-mails regarding same (.10). Review Mr.
                    Beck's claims chart (.30). Conference with Mr.
                    Beck regarding same (.10). Review Mr. Beck's
                    subordination analysis memo (.40). Conference
                    with Mr. Beck regarding same (.20). Review
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
  932 00057                 Monthly Invoices Pg 918 of 1163
                                                         Invoice # 52826        Page 6
                    analysis of FGIC wrapped deals (.10).
12/05/2012   JALB   Follow-up e-mails with Mr. Rains (Morrison &         L120     0.30 hrs
                    Foerster) regarding next steps on expert rebuttal
                    work.
12/05/2012   JALB   Discussion with Mr. Rhode, Mr. Corcoran (parts)      L120     0.60 hrs
                    and Ms. Mohler regarding expert rebuttal and cross
                    analysis.
12/05/2012   JALB   Telephone conference with Mr. Rains (Morrison &      L120     0.90 hrs
                    Foerster) and Mr. Sillman (Fortace) regarding next
                    steps on expert rebuttal work.
12/05/2012   JALB   Review and analysis of Cornell report.               L120     0.80 hrs


12/05/2012   MMM    Conference with Ms. Battle, Mr. Corcoran, and        L120     0.50 hrs
                    Mr. Rhode regarding current issues with 9019
                    settlement.
12/05/2012   MMM    Continue drafting section regarding MASTR asset      L120     0.20 hrs
                    decision in 9019 reply brief.

12/05/2012   DAB    Conference with Mr. Lipps regarding objections to    L120     0.50 hrs
                    RMBS settlement.

12/05/2012   DAB    Draft responses to RMBS objections on releases.      L120     4.40 hrs


12/05/2012   JRC    Review and analyze objections to the RMBS Trust      L210     1.60 hrs
                    Settlement filed with the Court in order to draft
                    summary of objections for Ms. Battle.
12/05/2012   JRC    Draft summary of objections to the RMBS Trust        L120     0.80 hrs
                    Settlement filed with the Court for Ms. Battle.

12/05/2012   JRC    Review and analyze FGIC's draft objections to        L120     0.70 hrs
                    RMBS Trust Settlement and accompanying
                    materials in order to draft Mr. Lipps second
                    supplemental declaration.
12/05/2012   JRC    Review and analyze UCC's draft objections to         L120     0.90 hrs
                    RMBS Trust Settlement and accompanying
                    materials in order to draft Mr. Lipps second
                    supplemental declaration.
12/05/2012   JRC    Review and analyze Wilmington Trusts' draft          L120     0.60 hrs
                    objections to RMBS Trust Settlement and
                    accompanying materials in order to draft Mr. Lipps
                    second supplemental declaration.
12/05/2012   JRC    Conference with Ms. Battle, Mr. Rhode and Ms.        L120     0.20 hrs
                    Mohler regarding draft of supplemental declaration
                    for Mr. Lipps.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27       Exhibit E
  932 00057                 Monthly Invoices Pg 919 of 1163
                                                         Invoice # 52826          Page 7

12/05/2012   JRC    Conference with Ms. Battle, Mr. Rhode and Ms.          L120     0.30 hrs
                    Mohler regarding depositions related to 9019
                    motion.
12/05/2012   JDR    Revise reply brief draft section regarding reserves.   L210     0.40 hrs


12/05/2012   JDR    Conference with Ms. Battle regarding 9019 expert       L120     1.00 hrs
                    depositions and reply brief. (.50) Research
                    regarding issues railed by Ms. Battle. (.40)
12/05/2012   JDR    Teleconference with Mr. Sillman (Fortace)              L330     1.00 hrs
                    regarding 9019 expert depositions and strategy.

12/05/2012   JDR    Draft correspondence to Mr. Rains (Morrison &          L120     0.20 hrs
                    Foerster) regarding expert diligence.

12/05/2012   JDR    Draft correspondence to objectors regarding expert     L120     0.50 hrs
                    report disclosures and clarification.

12/05/2012   JDR    Review prepetition complaints to analyze specific      L210     1.60 hrs
                    alleged representation and warranty breaches.

12/05/2012   JDR    Draft memorandum regarding prepetition                 L210     1.00 hrs
                    complaint analysis.

12/05/2012   JDR    Draft memorandum regarding strategy for Cornell        L330     1.80 hrs
                    deposition.

12/05/2012   JDR    Draft memorandum regarding representations and         L210     1.00 hrs
                    warranties analysis from select transaction
                    documents.
12/05/2012   JDR    Review settlement trusts transaction documents to      L320     2.80 hrs
                    focus on specific representations and warranties in
                    preparation for expert depositions and 9019 reply
                    brief.
12/06/2012   AMP    Attention to issues regarding Ally production          L120     0.30 hrs
                    review.

12/06/2012   AMP    Review e-mail from Mr. Harris (Morrison &              L120     0.20 hrs
                    Foerster) regarding professional eyes only
                    designations.
12/06/2012   AMP    Attention to professional eyes only designations.      L120     0.20 hrs


12/06/2012   AMP    Review and respond to e-mail from Ms. Battle           L120     0.10 hrs
                    regarding professional eyes only designations.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27       Exhibit E
  932 00057                 Monthly Invoices Pg 920 of 1163
                                                         Invoice # 52826          Page 8
12/06/2012   AMP    E-mails with Morrison & Foerster regarding             L120     0.20 hrs
                    technical issues with Ally production review.

12/06/2012   JALB   Meet with Mr. Rains (Morrison & Foerster)              L120     0.50 hrs
                    regarding preparation of reply brief and rebuttal
                    expert submissions.
12/06/2012   JALB   Review and analyze Cornell report.                     L120     0.50 hrs


12/06/2012   JALB   Telephone conference with Mr. Rains (Morrison &        L120     0.60 hrs
                    Foerster) and potential expert regarding statistical
                    analysis and housing crisis.
12/06/2012   JRC    Review and analyze deposition testimony from           L120     0.90 hrs
                    MBIA v. RFC in order to locate testimony in
                    support of 9019 settlement reply.
12/06/2012   JRC    E-mail exchange with Mr. Barthel and Ms. Battle        L120     0.20 hrs
                    regarding deposition testimony to be used in
                    support of 9019 settlement reply.
12/06/2012   JDR    Review and analyze charts provided by Mr.              L320     0.20 hrs
                    Sillman (Fortace).

12/06/2012   JDR    Teleconference with Mr. Sillman (Fortace).             L120     0.20 hrs


12/06/2012   JDR    Draft memorandum to Ms. Battle regarding               L120     0.40 hrs
                    Cornell diligence.

12/06/2012   JDR    Draft correspondence to Ms. Battle regarding 9019      L120     0.30 hrs
                    reply and Sillman analysis.

12/06/2012   JDR    Revise outline memorandum regarding UCC                L330     1.30 hrs
                    expert Cornell deposition strategy.

12/06/2012   JDR    Revise reply brief section regarding reserves with     L210     3.90 hrs
                    comments and strategy from Mr. Beck.

12/06/2012   JDR    Review and analyze data provided by Mr. Sillman.       L320     0.30 hrs


12/07/2012   JALB   Telephone conference with Mr. Raines (Morrison         L120     0.30 hrs
                    & Foerster) regarding Cornell report.

12/07/2012   JALB   Review and analyze Cornell report.                     L330     0.50 hrs


12/07/2012   JALB   Follow-up with Mr. Rhode and others regarding          L120     0.20 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27    Exhibit E
  932 00057                 Monthly Invoices Pg 921 of 1163
                                                         Invoice # 52826       Page 9
                    status of drafting of reply brief sections.

12/07/2012   JRC    Teleconference with Ms. DeArcy (Morrison &          L120     0.10 hrs
                    Foerster) regarding 9019 settlement motion.

12/07/2012   JDR    Revise reply brief sections.                        L210     1.50 hrs


12/07/2012   JDR    Revise citations and quotations in reply brief      L210     0.70 hrs
                    sections.

12/07/2012   JDR    Draft outline strategy for deposition of MBIA       L330     1.50 hrs
                    designated expert Brown.

12/07/2012   JDR    Draft outline strategy for deposition of UCC        L330     0.60 hrs
                    designated expert Morrow.

12/07/2012   JDR    Review 9019 filings to review allocation            L210     0.80 hrs
                    methodology.

12/07/2012   JDR    Research regarding reasonableness of 9019           L210     1.00 hrs
                    settlement release of claims in preparation for
                    drafting reply brief.
12/08/2012   JALB   Attention to non-core objections to RMBS            L120     0.20 hrs
                    settlement.

12/08/2012   JALB   Correspondence with Ms. DeArcy (Morrison &          L120     0.10 hrs
                    Foerster) regarding expert deposition status and
                    scheduling.
12/08/2012   DAB    Communicate with Mr. Rhode regarding research       L120     0.20 hrs
                    needed on releases for RMBS reply brief.

12/08/2012   JDR    Research regarding reasonableness of 9019           L210     2.80 hrs
                    settlement release of claims in preparation for
                    drafting reply brief.
12/08/2012   JDR    Review and analyze objectors' contentions           L210     0.60 hrs
                    regarding settlement releases in preparation for
                    drafting 9019 reply.
12/09/2012   DAB    E-mails with Mr. Rhode regarding release research   L120     0.20 hrs
                    on RMBS response.

12/09/2012   JDR    Research regarding reasonableness of 9019           L210     1.20 hrs
                    settlement release of claims in preparation for
                    drafting reply brief.
12/09/2012   JDR    Review draft reply section and draft                L120     0.80 hrs
                    correspondence to Mr. Beck and Ms. Battle
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27         Exhibit E
  932 00057                 Monthly Invoices Pg 922 of 1163
                                                         Invoice # 52826            Page 10
                    regarding research and strategy.
12/09/2012   JDR    Revise reply brief section regarding settlement          L210     0.80 hrs
                    range of reasonableness.

12/09/2012   JDR    Draft correspondence to Mr. Beck regarding reply         L120     0.20 hrs
                    brief strategy.

12/10/2012   AMP    Review e-mail from Mr. Ziegler (Morrison &               L120     0.10 hrs
                    Foerster) regarding professional eyes only
                    designations.
12/10/2012   JALB   Attention to drafting portions of reply brief relating   L120     1.10 hrs
                    to amount of allowed claim. (.80) Conference with
                    Mr. Rhode regarding allowed claim issues and
                    Sillman declaration. (.30)
12/10/2012   JALB   Telephone conference with Mr. Rains (Morrison &          L120     0.40 hrs
                    Foerster) regarding rebuttal experts and status of
                    briefing.
12/10/2012   JALB   Telephone conference with potential rebuttal             L120     0.80 hrs
                    expert regarding scope of assignment.

12/10/2012   DAB    Review and analyze outline on response to RMBS           L120     0.90 hrs
                    trial brief.

12/10/2012   DAB    Review and analyze filed objections to RMBS              L120     1.30 hrs
                    settlement.

12/10/2012   JDR    Communicate with Ms. Battle regarding 9019               L120     0.30 hrs
                    issues and Sillman reply declaration.

12/10/2012   JDR    Review and analyze chronology of 9019 and                L120     0.80 hrs
                    amendments in preparation for drafting reply brief.

12/10/2012   JDR    Prepare and compile expert diligence on FGIC             L330     0.80 hrs
                    expert Rossi in preparation for upcoming
                    deposition.
12/10/2012   JDR    Review UCC expert Morrow report in preparation           L210     0.70 hrs
                    for Sillman reply declaration.

12/10/2012   JDR    Research regarding Iridium litigation factors in         L120     1.20 hrs
                    preparation for drafting reply brief.

12/10/2012   JDR    Research regarding Iridium interests of creditors        L120     2.00 hrs
                    factor in preparation for drafting reply brief.

12/10/2012   JDR    Conference with Ms. Battle regarding 9019 reply          L120     0.20 hrs
                    brief.
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12/10/2012   JDR    Draft memorandum regarding Sillman reply                L210     1.40 hrs
                    declaration.

12/10/2012   SCM    Review of materials related to subordination            L110     0.20 hrs
                    assignment.

12/11/2012   DAB    Conference with Ms. Moloff (Morrison &                  L120     0.20 hrs
                    Foerster) regarding holdco election issues.

12/11/2012   DAB    Communicate with Ms. Battle regarding RMBS              L120     0.20 hrs
                    reply brief.

12/11/2012   DAB    Research discovery documents for materials on           L120     3.40 hrs
                    holdco election.

12/11/2012   JDR    Prepare case law exhibits for omnibus response          L210     3.30 hrs
                    brief.

12/11/2012   JDR    Draft memorandum to Mr. Beck regarding 9019             L120     1.20 hrs
                    reply brief research and strategy.

12/11/2012   JDR    Draft 9019 reply brief section regarding interests of   L210     0.90 hrs
                    creditors.

12/11/2012   JDR    Draft memorandum regarding Sillman reply                L210     3.80 hrs
                    declaration.

12/11/2012   JDR    Review and prepare select 9019 documents                L320     1.20 hrs
                    produced related to settlement releases.

12/11/2012   SCM    Review of documents related to subordination            L110     0.20 hrs
                    research project.

12/12/2012   JALB   Correspondence with Mr. Rhode and Mr. Lipps             L120     0.40 hrs
                    regarding potential rebuttal experts.

12/12/2012   JALB   Discussion with Mr. Rains (Morrison & Foerster)         L120     0.40 hrs
                    regarding recommendations and suggestions for
                    potential rebuttal experts.
12/12/2012   DAB    Communicate with Ms. DeArcy (Morrison &                 L120     0.10 hrs
                    Foerster) regarding RMBS trial brief.

12/12/2012   DAB    E-mail with Ms. Moloff (Morrison & Foerster)            L120     0.30 hrs
                    regarding additional materials needed for RMBS
                    trial brief.
12/12/2012   DAB    Research documents in production for use in             L120     3.10 hrs
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                    RMBS Trial brief.

12/12/2012   DAB    Draft inserts for RMBS trial brief.                  L120     3.80 hrs


12/12/2012   JDR    Draft memorandum regarding underwriting issues.      L210     3.80 hrs


12/12/2012   JDR    Review and prepare select 9019 documents             L320     1.00 hrs
                    produced related to settlement releases.

12/12/2012   JDR    Prepare binder with objector materials and expert    L420     0.70 hrs
                    reports.

12/12/2012   JDR    Review and analyze analogous RMBS filings for        L420     0.50 hrs
                    rebuttal expert diligence.

12/13/2012   AMP    Review e-mail from Mr. Ziegler (Morrison &           L120     0.30 hrs
                    Foerster) regarding priority review on exposure on
                    repurchase claims.
12/13/2012   AMP    Multiple e-mails with Mr. Ziegler and review team    L120     1.30 hrs
                    regarding priority review on exposure on
                    repurchase claims.
12/13/2012   AMP    Attention to search terms for priority review on     L320     2.40 hrs
                    exposure on repurchase claims.

12/13/2012   JAL    Conference with Mr. Beck regarding Mr. Rossi's       L120     0.10 hrs
                    deposition support (.10).

12/13/2012   JALB   Discussion with Mr. Lipps regarding Rossi            L120     0.60 hrs
                    corporate governance expert cross and analysis.

12/13/2012   JALB   Various discussions and correspondence with Mr.      L120     0.90 hrs
                    Rains (Morrison & Foerster) regarding status of
                    reply brief drafting and rebuttal expert strategy.
12/13/2012   JALB   Prepare analysis at request of Mr. Rains (Morrison   L120     0.80 hrs
                    & Foerster) of repurchase price calculation versus
                    Dr. Cornell's loss analysis.
12/13/2012   JALB   Telephone conference with Mr. Rains (Morrison &      L120     0.80 hrs
                    Foerster) and potential rebuttal expert regarding
                    scope of potential rebuttal report.
12/13/2012   JALB   Draft assigned sections of 9019 reply brief.         L120     0.60 hrs


12/13/2012   JALB   Revise draft sections of 9019 reply brief.           L120     0.40 hrs
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12/13/2012   JALB   Meeting with Mr. Lipps regarding strategy for          L120     0.40 hrs
                    9019 reply brief.

12/13/2012   JALB   Discussion with Mr. Beck regarding issues on           L120     0.50 hrs
                    RMBS litigation. (.30) E-mails with Mr. Rhode on
                    expert diligence. (.20)
12/13/2012   JALB   Meet with Ms. DeArcy (Morrison & Foerster)             L120     0.50 hrs
                    regarding strategy for reserves briefing and overall
                    strategy for 9019 reply brief drafting.
12/13/2012   DAB    Call with Ms. Battle regarding issues on RMBS          L120     0.30 hrs
                    litigation.

12/13/2012   DAB    Conference with Mr. Rhode regarding revisions to       L120     0.20 hrs
                    RMBS trial brief.

12/13/2012   DAB    Revise trial brief.                                    L120     2.70 hrs


12/13/2012   DAB    E-mail Ms. Battle regarding indenture trustees         L120     0.10 hrs
                    involved in the RMBS settlement.

12/13/2012   DAB    Research questions relating to indenture trustees      L120     0.20 hrs
                    involved in the RMBS settlement.

12/13/2012   DAB    Review e-mail and associated materials from Ms.        L120     0.20 hrs
                    Moloff of Morrison & Foerster regarding e-mails
                    to support RMBS brief.
12/13/2012   DAB    Revise RMBS brief based on additional materials        L120     0.40 hrs
                    from Ms. Moloff of Morrison & Foerster.

12/13/2012   JDR    Draft memorandum regarding potential challenges        L210     2.00 hrs
                    to Sillman declaration.

12/13/2012   JDR    Draft memorandum regarding underwriting issues.        L210     4.50 hrs


12/13/2012   JDR    Correspondence with Ms. Castro (Morrison &             L120     0.20 hrs
                    Foerster) regarding prepetition complaints analysis.

12/13/2012   JDR    Discuss expert report of Rossi to analyze              L420     0.60 hrs
                    permissible conclusions and opinions with Ms.
                    Battle.
12/13/2012   JDR    Draft memorandum regarding Sillman reply               L210     1.50 hrs
                    declaration.
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12/13/2012   JDR    Draft memorandum regarding key aspects of FGIC         L420     0.50 hrs
                    expert Rossi testimony.

12/13/2012   JDR    Prepare documents and data for 9019 rebuttal           L420     0.90 hrs
                    expert diligence.

12/13/2012   JDR    Prepare memorandum of research regarding               L420     0.80 hrs
                    permissibility of corporate governance expert
                    testimony.
12/13/2012   JDR    Revise 9019 reply brief draft.                         L210     0.30 hrs


12/13/2012   JDR    Draft correspondence to Ms. Battle and Ms. Lipps       L420     0.30 hrs
                    regarding 9019 expert diligence.

12/14/2012   AMP    Multiple e-mails with review team regarding            L120     0.40 hrs
                    search results.

12/14/2012   AMP    Attention to priority review as to exposure on         L120     1.70 hrs
                    repurchase claims.

12/14/2012   AMP    Draft e-mail to Mr. Ziegler (Morrison & Foerster)      L120     0.50 hrs
                    regarding documents found and tagged and
                    potentially significant on repurchase claims.
12/14/2012   JALB   Review and revise Carpenter Lipps & Leland             L120     2.20 hrs
                    sections of 9019 reply brief.

12/14/2012   JALB   Correspondence with Mr. Rhode and Mr. Corcoran         L120     0.30 hrs
                    regarding breakdown of Dr. Cornell's analysis.

12/14/2012   JALB   Follow-up regarding outlines for Lipps and             L120     0.40 hrs
                    Sillman rebuttal declarations.

12/14/2012   JALB   Discussion with Mr. Rains (Morrison & Foerster)        L120     0.40 hrs
                    regarding potential rebuttal experts.

12/14/2012   JALB   Discussion with Mr. Corcoran regarding Lipps           L120     0.30 hrs
                    Supplemental Declaration research.

12/14/2012   JALB   Integrate drafts of sections of 9019 reply brief for   L120     1.30 hrs
                    Mr. Rains (Morrison & Foerster).

12/14/2012   JALB   Integrate CLL sections of reply brief into single      L120     0.40 hrs
                    draft for review by Mr. Rains (Morrison &
                    Foerster).
12/14/2012   JDR    Draft correspondence to Ms. Battle regarding UCC       L330     0.30 hrs
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                    expert Cornell diligence and deposition
                    preparation.
12/14/2012   JDR    Draft memorandum regarding UCC expert Cornell         L330     1.00 hrs
                    and MBIA expert Brown report diligence in
                    preparation for upcoming depositions.
12/14/2012   JDR    Revise outline and strategy ideas for designated      L330     0.40 hrs
                    experts in preparation for depositions.

12/14/2012   JDR    Draft memorandum regarding Sillman reply              L210     0.50 hrs
                    declaration.

12/14/2012   JDR    Review 9019 expert documents produced to assist       L320     0.30 hrs
                    in rebuttal expert diligence.

12/14/2012   JDR    Draft correspondence to rebuttal expert.              L120     0.20 hrs


12/14/2012   JDR    Draft memorandum regarding Sillman reply              L210     1.00 hrs
                    declaration.

12/14/2012   SCM    Edit memorandum regarding issuer language in          L190     1.00 hrs
                    PLS litigation complaints.

12/15/2012   JRC    E-mail exchange with Ms. Battle regarding             L120     0.10 hrs
                    supplemental declaration of Mr. Lipps in support
                    of RMBS Trust Settlement.
12/15/2012   JRC    Teleconference with Ms. Battle regarding              L120     0.10 hrs
                    supplemental declaration of Mr. Lipps in support
                    of RMBS Trust Settlement.
12/15/2012   JDR    Revise memorandum regarding Sillman reply             L210     0.80 hrs
                    declaration.

12/15/2012   JDR    Draft broad outline of Sillman reply declaration to   L120     0.40 hrs
                    Ms. Battle.

12/15/2012   JDR    Correspondence with Ms. Battle regarding Sillman      L120     0.20 hrs
                    reply declaration.

12/16/2012   AMP    Follow-up detailed e-mail to Mr. Ziegler (Morrison    L320     0.40 hrs
                    & Foerster) regarding documents flagged as
                    potentially relevant regarding range of exposure on
                    repurchase claims.
12/16/2012   SCM    Edit memorandum regarding Issuer language in          L190     0.40 hrs
                    PLS litigation complaints.

12/17/2012   DAB    E-mails with Ms. Battle regarding representaiton      L120     0.30 hrs
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                    and warranty timeline and related materials.

12/17/2012   DAB    Analyze timeline and related materials on           L120     0.50 hrs
                    representation and warranty claims.

12/17/2012   JDR    Draft memorandum regarding underwriting issues.     L210     4.00 hrs


12/17/2012   JDR    Draft memorandum regarding response to              L210     2.70 hrs
                    objectors' experts' criticisms of Sillman.

12/17/2012   JDR    Draft deposition summary of Mr. Sillman's           L330     2.00 hrs
                    deposition.

12/17/2012   GNM    E-mail with Ms. Battle and Ms. Paul Whitfield       L190     0.10 hrs
                    regarding Reserves subproject.

12/17/2012   GNM    Draft and send e-mail to Mr. Underhill regarding    L190     0.30 hrs
                    Dondzilla data for Reserves subproject.

12/17/2012   GNM    Research Whitlinger data in the Reserves            L110     0.50 hrs
                    subproject.

12/17/2012   SCM    Edit memorandum regarding PLS "issuer"              L190     3.60 hrs
                    language.

12/18/2012   AMP    Attention to search issues regarding exposure       L120     1.10 hrs
                    ranges on repurchase in Whitlinger's raw data.

12/18/2012   JAL    Review revised scheduling order (.20).              L120     1.50 hrs
                    Conference with Ms. Battle regarding same (.10).
                    Review e-mail from Mr. Princi (Morrison &
                    Foerster) regarding Mr. Rossi's deposition (.10).
                    Conference with Mr. Beck regarding proposed
                    questions for Mr. Rossi (.20). Review proposed
                    questions (.20). Finalize same (.70).
12/18/2012   JALB   Telephone conference with Mr. Rains (Morrison &     L120     0.30 hrs
                    Foerster) regarding potential rebuttal experts.

12/18/2012   JALB   Telephone conferences with potential expert and     L120     0.20 hrs
                    correspondence with Mr. Mishol regarding
                    potential rebuttal experts.
12/18/2012   DAB    Analyze expert report of Mr. Rossi (expert for      L120     2.80 hrs
                    FGIC).

12/18/2012   DAB    Draft questions for deposition of FGIC expert Mr.   L120     3.90 hrs
                    Rossi.
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12/18/2012   DAB    Conference with Mr. Rhode regarding questions          L120     0.30 hrs
                    for deposition of Mr. Rossi (expert for FGIC).

12/18/2012   DAB    Conference with Mr. Lipps regarding deposition of      L120     0.20 hrs
                    Mr. Rossi (expert for FGIC).

12/18/2012   DAB    E-mail Mr. Princi (Morrison & Foerster) regarding      L120     0.30 hrs
                    issues for deposition of Mr. Rossi (expert for
                    FGIC).
12/18/2012   JDR    Draft memorandum regarding underwriting issues.        L210     1.00 hrs


12/18/2012   JDR    Prepare materials for designated expert Mr. Rossi      L420     0.20 hrs
                    diligence.

12/18/2012   JDR    Review and analyze expert report of Mr. Rossi in       L120     0.60 hrs
                    preparation for drafting deposition outline.

12/18/2012   JDR    Draft outline of cross examination questions for       L420     0.90 hrs
                    expert Mr. Rossi related to Sillman critique.

12/18/2012   JDR    Draft outline of cross examination questions for       L420     2.20 hrs
                    expert Mr. Rossi related to corporate governance.

12/18/2012   JDR    Draft deposition summary of Mr. Sillman's              L330     1.20 hrs
                    deposition.

12/18/2012   JDR    Draft correspondence to Ms. Battle and Mr. Beck        L120     0.30 hrs
                    regarding expert diligence.

12/19/2012   JAL    Telephone conference with Mr. Beck regarding           L330     0.30 hrs
                    Mr. Rossi's deposition. (.10) Review and respond
                    to e-mails regarding same. (.20)
12/19/2012   JALB   Telephone conference with Mr. Rains (Morrison &        L120     0.40 hrs
                    Foerster) regarding status of rebuttal expert
                    analysis.
12/19/2012   JALB   Follow-up on rebuttal expert scope and issues.         L120     0.40 hrs


12/19/2012   JALB   Telephone conference with potential experts.           L120     0.50 hrs


12/19/2012   DAB    Review of factual transcripts relevant to deposition   L330     3.20 hrs
                    of Mr. Rossi.
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12/19/2012   DAB    Participate in deposition of FGIC expert Mr. Rossi.   L330     5.30 hrs


12/19/2012   DAB    Follow-up on issues raised in deposition of Mr.       L330     0.30 hrs
                    Rossi.

12/19/2012   DAB    Communicate with Ms. Battle regarding                 L120     0.30 hrs
                    underwriting expert of Mr. Butler in Countrywide
                    cases.
12/19/2012   DAB    Conference with Mr. Princi (Morrison & Foerster)      L120     0.30 hrs
                    regarding Rossi deposition and next steps on
                    RMBS and monoline issues.
12/19/2012   DAB    Draft summary of Rossi deposition based on notes      L330     1.10 hrs
                    from deposition.

12/19/2012   DAB    Conference with Ms. Beck (Morrison & Foerster)        L120     0.30 hrs
                    regarding allocation issues under RMBS
                    settlement.
12/19/2012   JRC    Review and analyze memorandum of steering             L210     0.30 hrs
                    committee in support of RMBS Trust Settlement in
                    order to draft second supplemental declaration in
                    support of RMBS Trust Settlement.
12/19/2012   JRC    Research case law to draft second supplemental        L120     2.20 hrs
                    declaration of Mr. Lipps in support of RMBS Trust
                    Settlement.
12/19/2012   JDR    Draft memorandum regarding underwriting issues.       L210     2.70 hrs


12/19/2012   JDR    Draft correspondence to Ms. Battle regarding          L120     0.20 hrs
                    rebuttal expert diligence.

12/19/2012   JDR    Draft correspondence to Ms. Battle regarding          L120     0.30 hrs
                    rebuttal expert diligence.

12/19/2012   JDR    Draft summary of motion in limine for potential       L210     1.50 hrs
                    rebuttal expert.

12/19/2012   JDR    Revise memorandum regarding Sillman reply             L210     1.00 hrs
                    declaration.

12/19/2012   JDR    Review and analyze deposition transcript of MBIA      L330     0.50 hrs
                    expert C. J. Brown.

12/19/2012   JDR    Draft memorandum regarding Sillman reply              L210     1.30 hrs
                    declaration with integration of MBIA expert
                    Brown deposition materials.
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12/19/2012   JDR    Research regarding rebuttal experts.                  L120     1.40 hrs


12/19/2012   JDR    Review challenges and exclusions for potential        L120     1.00 hrs
                    rebuttal experts.

12/19/2012   JDR    Draft correspondence to Ms. Battle regarding          L120     0.20 hrs
                    rebuttal expert diligence.

12/19/2012   JDR    Research regarding rebuttal experts and loss          L120     0.60 hrs
                    causation defenses.

12/19/2012   JDR    Draft correspondence to Ms. Battle regarding loss     L120     0.20 hrs
                    causation rebuttal experts.

12/20/2012   AMP    Review and respond to e-mail from Mr. Ziegler         L420     0.20 hrs
                    (Morrison & Foerster) regarding expert issues.

12/20/2012   JALB   Discussion with Mr. Rhode regarding                   L120     0.60 hrs
                    identification of potential rebuttal experts (.20),
                    and research regarding same. (.40)
12/20/2012   JALB   Telephone conference with Mr. Rains (Morrison &       L120     0.70 hrs
                    Foerster) regarding status of reply brief and plan
                    for key rebuttal experts.
12/20/2012   JDR    Revise memorandum regarding loan underwriting         L210     2.60 hrs
                    issues.

12/20/2012   JDR    Draft correspondence to Ms. Battle regarding          L120     0.30 hrs
                    rebuttal expert diligence.

12/20/2012   JDR    Research regarding rebuttal diligence.                L120     1.40 hrs


12/20/2012   JDR    Review and analyze challenges to potential rebuttal   L120     0.80 hrs
                    experts.

12/20/2012   JDR    Conference with Ms. Battle regarding expert           L120     0.20 hrs
                    diligence.

12/20/2012   JDR    Review and analyze expert deposition transcript of    L330     0.40 hrs
                    expert Rossi.

12/20/2012   JDR    Review and analyze docket filings to compile          L120     1.50 hrs
                    objectors to 9019 for purposes of rebuttal expert
                    conflict check.
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12/21/2012   JALB   Revise draft of Section II of brief.                   L120     4.30 hrs


12/21/2012   JALB   Various e-mails and telephone conferences with         L120     0.80 hrs
                    potential rebuttal experts.

12/21/2012   DAB    Communicate with Ms. Battle regarding arguments        L120     0.20 hrs
                    on reasonableness of RMBS settlement.

12/21/2012   DAB    Research filed materials regarding professional        L120     0.20 hrs
                    fees related to RMBS settlement.

12/21/2012   DAB    E-mail Mr. Marinuzzi (Morrison & Foerster)             L120     0.20 hrs
                    regarding professional fees related to RMBS
                    settlement.
12/21/2012   DAB    Conference with Ms. Battle regarding materials         L120     0.10 hrs
                    from MBIA v. Countrywide relevant for RMBS
                    briefing.
12/21/2012   JDR    Teleconference with Mr. Zeigler (Morrison &            L120     0.30 hrs
                    Foerster) regarding 9019 reply and expert
                    diligence.
12/21/2012   JDR    Compile chart of objectors' experts methodology        L210     0.70 hrs
                    and calculations for potential integration in 9019
                    reply brief.
12/21/2012   JDR    Revise chart of objectors' experts methodology and     L210     0.40 hrs
                    calculations for potential integration in 9019 reply
                    brief.
12/21/2012   JDR    Conference with Ms. Battle regarding 9019 reply.       L120     0.20 hrs


12/21/2012   JDR    Review summary of J. F. Morrow deposition.             L330     0.20 hrs


12/21/2012   JDR    Review 9019 documents produced to obtain               L320     0.80 hrs
                    supporting documents and citations for 9019 reply
                    brief.
12/21/2012   JDR    Revise 9019 reply brief citations and analysis         L210     0.70 hrs
                    regarding expert findings.

12/21/2012   JDR    Revise 9019 reply draft with charts, citations, and    L210     1.50 hrs
                    research for Ms. Battle.

12/21/2012   JDR    Create chart from debtors' repurchase demand data      L210     0.50 hrs
                    for use in 9019 reply brief draft.

12/21/2012   JDR    Revise memorandum regarding Sillman reply              L210     0.60 hrs
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                    declaration with comments and strategy from Ms.
                    Battle.
12/21/2012   JDR    Teleconference with rebuttal expert regarding        L120     0.20 hrs
                    qualifications and challenges.

12/21/2012   JDR    Draft correspondence to Ms. Battle regarding         L120     0.20 hrs
                    rebuttal expert diligence.

12/21/2012   JDR    Prepare notebook with objectors' expert              L330     0.30 hrs
                    depositions.

12/27/2012   JALB   Review draft rebuttal report for Mr. Sillman         L120     0.80 hrs
                    (Fortace), review status of draft 9019 reply brief
                    sections prepared by Carpenter Lipps & Leland.
12/27/2012   JRC    Draft second supplemental declaration of Mr.         L210     1.90 hrs
                    Lipps in support of RMBS Trust Settlement.

12/27/2012   JRC    Research case law to draft the second supplemental   L120     1.30 hrs
                    declaration of Mr. Lipps in support of RMBS Trust
                    Settlement.
12/27/2012   JDR    Revise memorandum regarding underwriting             L210     2.00 hrs
                    issues.

12/27/2012   JDR    Prepare notebook regarding designated expert         L420     0.50 hrs
                    materials for 9019 reply.

12/28/2012   JALB   Review and revise draft of Mr. Sillman's (Fortace)   L120     0.70 hrs
                    rebuttal declaration.

12/28/2012   JALB   Review and revise draft of Carpenter Lipps &         L120     0.60 hrs
                    Leland sections of 9019 reply brief. (.30)
                    Conference with Mr. Beck regarding supplemental
                    Lipps declaration. (.30)
12/28/2012   DAB    Conference with Mr. Corcoran regarding potential     L120     0.10 hrs
                    supplemental declaration for Mr. Lipps on RMBS
                    trust settlement.
12/28/2012   JRC    Teleconference with Ms. Battle regarding second      L120     0.30 hrs
                    supplemental declaration of Mr. Lipps in support
                    of RMBS Trust Settlement.
12/28/2012   JRC    Teleconference with Mr. Beck regarding second        L120     0.10 hrs
                    supplemental declaration of Mr. Lipps in support
                    of RMBS Trust Settlement.
12/28/2012   JRC    Draft second supplemental declaration of Mr.         L210     3.30 hrs
                    Lipps in support of RMBS Trust Settlement.

12/28/2012   JRC    Review and analyze ResCap's securitization           L320     2.10 hrs
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                    documents in order to draft second supplemental
                    declaration of Mr. Lipps in support of RMBS Trust
                    Settlement.
12/28/2012   JRC    Review objections to the RMBS Trust Settlement        L210     0.60 hrs
                    in order to draft second supplemental declaration
                    of Mr. Lipps in support of RMBS Trust Settlement.
12/28/2012   JDR    Review and analyze deposition transcript of expert    L120     0.80 hrs
                    Mr. Brown to assist in preparation of 9019 reply
                    briefings.
12/28/2012   JDR    Review and analyze deposition transcript of expert    L120     0.70 hrs
                    Mr. Rossi to assist in preparation of 9019 reply
                    briefings.
12/28/2012   JDR    Review and analyze deposition transcript of expert    L120     1.90 hrs
                    Cornell to assist in preparation of 9019 reply
                    briefings.
12/29/2012   JAL    Review deposition transcripts for objector experts    L130     1.80 hrs
                    Mr. Rossi and Mr. Brown.

12/29/2012   JALB   Follow-up regarding questions from rebuttal           L120     0.20 hrs
                    expert.

12/29/2012   JDR    Prepare materials for rebuttal expert review and      L210     2.20 hrs
                    9019 reply brief.

12/30/2012   JAL    Review deposition transcripts of objector experts     L130     2.00 hrs
                    Mr. Morrow and Mr. Cornell.

12/30/2012   JALB   Respond to questions from Mr. Rains (Morrison &       L120     0.30 hrs
                    Foerster) regarding status of supplemental/rebuttal
                    expert declarations.
12/30/2012   JRC    Draft second supplemental declaration of Mr.          L210     2.30 hrs
                    Lipps in support of RMBS Trust Settlement.

12/30/2012   JRC    Review and analyze ResCap's securitization            L320     0.90 hrs
                    documents in order to draft second supplemental
                    declaration of Mr. Lipps in support of RMBS Trust
                    Settlement.
12/30/2012   JRC    Review pleadings from ResCap's RMBS cases in          L210     0.60 hrs
                    order to draft second supplemental declaration of
                    Mr. Lipps in support of RMBS Trust Settlement.
12/31/2012   JAL    Review and redraft portions of reply memorandum       L250     1.50 hrs
                    in support of 9019 (1.3). Telephone conference
                    with Ms. Battle regarding same (.20).
12/31/2012   JAL    Further review of 4 objector expert deposition        L130     2.80 hrs
                    transcripts (1.2). Review and revise supplemental
                    expert declaration (1.6).
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
  932 00057                 Monthly Invoices Pg 935 of 1163
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12/31/2012   JALB   Review and comment on draft Sillman rebuttal            L120         1.30 hrs
                    report.

12/31/2012   JALB   Discussion with Mr. Rhode regarding draft Sillman       L120         0.40 hrs
                    rebuttal report.

12/31/2012   JALB   Prepare inserts to 9019 reply draft.                    L120         0.80 hrs


12/31/2012   JRC    E-mail exchange with Mr. Beck regarding Mr.             L120         0.10 hrs
                    Lipps' second supplemental declaration.

12/31/2012   JRC    Review and analyze ResCap's securitization              L120         0.80 hrs
                    documents in order to draft second supplemental
                    declaration of Mr. Lipps in support of RMBS Trust
                    Settlement.
12/31/2012   JRC    Draft second supplemental declaration of Mr.            L210         1.80 hrs
                    Lipps in support of RMBS Trust Settlement.

12/31/2012   JRC    Research case law in order to draft the second          L120         0.60 hrs
                    supplemental declaration of Mr. Lipps in support
                    of RMBS Trust Settlement.
12/31/2012   JRC    Research case law regarding the issue in order to       L120         1.30 hrs
                    draft the second supplemental declaration of Mr.
                    Lipps in support of RMBS Trust Settlement.
12/31/2012   JDR    Revise memorandum regarding loan underwriting           L210         2.90 hrs
                    issues.

12/31/2012   JDR    Conference with Ms. Battle regarding Sillman            L120         0.50 hrs
                    reply declaration.

12/31/2012   JDR    Review and analyze deposition transcript of expert      L330         0.80 hrs
                    Morrow to assist in preparation of 9019 reply
                    briefings.
12/31/2012   JDR    Review and analyze expert work product materials        L120         0.50 hrs
                    in preparation for 9019 reply briefings.



                    TOTAL FEES FOR THIS MATTER                                          $63,572.50

EXPENSES

12/01/2012          (TRIP-JALB-11/18-21/12) Out-of-Town Travel/Airfare (coach) -         $1,106.60
                    travel to New York for RMBS trust settlement depositions
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27                 Exhibit E
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12/01/2012          (TRIP-JALB-11/18-21/12) Out-of-Town Travel/Hotel - travel to               $752.93
                    New York for RMBS trust settlement depositions

12/01/2012          (TRIP-JALB-11/18-21/12) Out-of-Town Travel/Parking @ Port                  $108.00
                    Columbus - travel to New York for RMBS trust settlement
                    depositions

12/01/2012          (TRIP-JALB-11/18-21/12) Out-of-Town Travel/Lunch 11/18/12 -                     $12.74
                    travel to New York for RMBS trust settlement depositions

12/01/2012          (TRIP-JALB-11/18-21/12) Out-of-Town Travel/Lunch 11/21/12 -                     $14.69
                    travel to New York for RMBS trust settlement depositions

12/01/2012          (TRIP-JALB-11/18-21/12) Out-of-Town Travel/Taxi from                            $41.99
                    Airport to Hotel 11/18/12 - travel to New York for RMBS trust
                    settlement depositions

12/01/2012          (TRIP-JALB-11/18-21/12) Out-of-Town Travel/Dinner 11/18/12                      $20.00
                    - travel to New York for RMBS trust settlement depositions

12/01/2012          (TRIP-JALB-11/18-21/12) Out-of-Town Travel/Breakfast                            $20.00
                    11/12/12 - travel to New York for RMBS trust settlement
                    depositions

12/01/2012          (TRIP-JALB-11/18-21/12) Out-of-Town Travel/Lunch 11/20/12 -                     $20.00
                    travel to New York for RMBS trust settlement depositions

12/01/2012          (TRIP-JALB-11/18-21/12) Out-of-Town Travel/Breakfast                            $20.00
                    11/21/12 - travel to New York for RMBS trust settlement
                    depositions

12/01/2012          (TRIP-JALB-11/18-21/12) Out-of-Town Travel/Taxi from Hotel                      $65.00
                    to Airport 11/21/12 - travel to New York for RMBS trust
                    settlement depositions

12/02/2012          Litigation Support Vendors - Lumen Legal (services for 11/20/12           $1,093.44
                    to 12/2/12)

12/20/2012          (TRIP-DAB-12/19-20/12) Out-of-Town Travel/Airfare (coach) -               $1,245.60
                    travel to New York to attend Mr. Rossi's deposition and to attend
                    fee hearing

12/20/2012          (TRIP-DAB-12/19-20/12) Out-of-Town Travel/Hotel - travel to                $381.03
                    New York to attend Mr. Rossi's deposition and to attend fee
                    hearing

12/20/2012          (TRIP-DAB-12/19-20/12) Out-of-Town Travel/Parking @ Port                        $34.00
                    Columbus - travel to New York to attend Mr. Rossi's deposition
                    and to attend fee hearing

12/20/2012          (TRIP-JAL-12/20/12) Out-of-Town Travel/Taxi - travel to New                     $63.00
                    York to attend hearing in Bankruptcy Court
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27                 Exhibit E
  932 00057                   Monthly Invoices Pg 937 of 1163
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12/20/2012            (TRIP-JAL-12/20/12) Out-of-Town Travel/Parking @ Port                           $27.00
                      Columbus - travel to New York to attend hearing in Bankruptcy
                      Court

12/20/2012            (TRIP-JAL-12/20/12) Out-of-Town Travel/Mileage to/from Port                      $6.60
                      Columbus (12 miles X .55) - travel to New York to attend
                      hearing in Bankruptcy Court

12/20/2012            (TRIP-JAL-12/20/12) Out-of-Town Travel/Airfare (coach) -                  $1,445.60
                      travel to New York to attend hearing in Bankruptcy Court

12/20/2012            (TRIP-JAL-12/20/12) Out-of-Town Travel/Lunch 12/20 - travel                     $12.75
                      to New York to attend hearing in Bankruptcy Court

12/20/2012            (TRIP-DAB-12/19-20/12) Out-of-Town Travel/Breakfast                              $6.92
                      12/19/12 - travel to New York to attend Mr. Rossi's deposition
                      and to attend fee hearing

12/20/2012            (TRIP-DAB-12/19-20/12) Out-of-Town Travel/Lunch 12/20/12 -                       $8.95
                      travel to New York to attend Mr. Rossi's deposition and to attend
                      fee hearing

12/20/2012            (TRIP-DAB-12/19-20/12) Out-of-Town Travel/Dinner 12/19/12 -                     $17.74
                      travel to New York to attend Mr. Rossi's deposition and to attend
                      fee hearing

12/20/2012            (TRIP-DAB-12/19-20/12) Out-of-Town Travel/Dinner 12/20/12 -                     $20.00
                      travel to New York to attend Mr. Rossi's deposition and to attend
                      fee hearing

12/20/2012            (TRIP-DAB-12/19-20/12) Out-of-Town Travel/Taxi from Airport                     $42.50
                      to Hotel 12/19/12 - travel to New York to attend Mr. Rossi's
                      deposition and to attend fee hearing

12/20/2012            (TRIP-DAB-12/19-20/12) Out-of-Town Travel/Taxi from Hotel                       $56.50
                      to Airport 12/20/12 - travel to New York to attend Mr. Rossi's
                      deposition and to attend fee hearing

12/20/2012            (TRIP-DAB-12/19-20/12) Out-of-Town Travel/Breakfast                             $34.81
                      12/20/12 - travel to New York to attend Mr. Rossi's deposition
                      and to attend fee hearing (JAL and DAB)

                      TOTAL EXPENSES FOR THIS MATTER                                            $6,678.39


BILLING SUMMARY


         Paul, Angela M.                           19.60 hrs    250.00 /hr         $4,900.00


         Beck, David A.                            47.60 hrs    230.00 /hr        $10,948.00
    12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
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      Marty, Gretchen N.                      0.90 hrs   150.00 /hr        $135.00


      Lipps, Jeffrey A.                      12.20 hrs   360.00 /hr    $4,392.00


      Battle, Jennifer A.L.                  37.00 hrs   250.00 /hr    $9,250.00


      Rhode, Jacob D.                       162.20 hrs   160.00 /hr   $25,952.00


      Corcoran, Jeffrey R.                   34.00 hrs   180.00 /hr    $6,120.00


      Mohler, Mallory M.                      3.80 hrs   160.00 /hr        $608.00


      Samson, Robert B.                       2.50 hrs    75.00 /hr        $187.50


      Moeller, Steven C.                      5.40 hrs   200.00 /hr    $1,080.00



   TOTAL FEES                               325.20 hrs                $63,572.50

   TOTAL EXPENSES                                                      $6,678.39

   TOTAL CHARGES FOR THIS INVOICE                                     $70,250.89
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                                Monthly Invoices Pg 939 of 1163
                         CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                            January 25, 2013

                                                                     Billed through 12/31/2012
Tammy Hamzephour                                                     Invoice # 52822      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 932 00058
190-FTW-L95
Fort Washington, PA 19034

Re: Securities Claims
Matter No.: 721750

PROFESSIONAL SERVICES

12/01/2012    DAB       Review analysis of Mr. Moeller on AIG procedural             L120        0.10 hrs
                        issues.

12/01/2012    SCM       Draft e-mail to Mr. Beck regarding legal research            L190        0.70 hrs
                        issues.

12/02/2012    DAB       Communicate with Mr. Moeller regarding analysis              L120        0.20 hrs
                        on AIG motions.

12/02/2012    DAB       Draft analysis for Mr. Lipps on procedural issues            L120        0.50 hrs
                        on AIG claims.

12/02/2012    SCM       Edit e-mail summarizing research regarding                   L190        0.50 hrs
                        availability of pre-confirmation classification of
                        securities claims.
12/03/2012    DAB       Analyze Freddie Mac proofs of claim.                         L120        0.10 hrs


12/03/2012    DAB       Communicate with Mr. Newton (Morrison &                      L120        0.10 hrs
                        Foerster) regarding missing securities claims by
                        FHFA.
12/04/2012    SP        Review decision in FHFA v. Credit Suisse relating            L120        0.40 hrs
                        to sampling.

12/04/2012    DAB       Draft materials for Mr. Lipps for meetings on                L120        0.30 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
  932 00058                 Monthly Invoices Pg 940 of 1163
                                                         Invoice # 52822        Page 2
                    securities claims.

12/05/2012   JAL    Conference with Mr. Beck regarding securities        L120     1.00 hrs
                    claims issues (.70). Conference with Mr. Beck and
                    Morrison Foerster attorneys to discuss same (.30).
12/05/2012   JALB   Correspondence with Ms. Levitt (Morrison &           L120     0.20 hrs
                    Foerster) and Mr. Lipps regarding meeting with
                    Kirkland & Ellis regarding handling of third party
                    claims.
12/05/2012   DAB    Conference with Mr. Lipps regarding issues posed     L120     0.70 hrs
                    by AIG motion and other issues on securities
                    claims.
12/05/2012   DAB    Conference with Mr. Lee, Mr. Marinuzzi, Mr.          L120     0.50 hrs
                    Goren (Morrison & Foerster) and Mr. Lipps
                    regarding issues on securities claims.
12/05/2012   SP     Research allegations in Mass Mutual and Allstate     L210     1.90 hrs
                    complaints for Mr. Beck.

12/08/2012   DAB    Communicate with Mr. Newton (Morrison &              L120     0.10 hrs
                    Foerster) regarding FHFA proofs of claim.

12/10/2012   DAB    Meeting with Mr. Lee, Mr. Haims, Mr.                 L120     1.10 hrs
                    Rosenbaum, Mr. Goren, Mr. Marinuzzi and others
                    at Morrison & Foerster regarding major
                    outstanding claims and divisions of work
                    assignments to respond to claims.
12/10/2012   DAB    Conversation with Mr. Marrinuzzi and Mr. Haims       L120     0.10 hrs
                    (Morrison & Foerster) regarding AIG motion.

12/10/2012   DAB    E-mails with Mr. Haims (Morrison & Foerster)         L120     0.20 hrs
                    regarding subordination issues related to AIG
                    motion.
12/10/2012   DAB    Conference with Mr. Moeller regarding factual        L120     0.20 hrs
                    research needed on securities claims.

12/10/2012   DAB    E-mails with Mr. Moeller regarding previous          L120     0.20 hrs
                    analysis on securities claims.

12/10/2012   SCM    Telephone conference with Mr. Beck regarding         L120     0.20 hrs
                    subordination assignment.

12/11/2012   SCM    Telephone conference with Mr. Beck regarding         L120     0.20 hrs
                    research assignment regarding subordination
                    issues.
12/11/2012   DAB    Call with Mr. Moeller regarding subordination        L120     0.30 hrs
                    research issues.
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27          Exhibit E
  932 00058                    Monthly Invoices Pg 941 of 1163
                                                            Invoice # 52822              Page 3

12/11/2012   DAB        E-mails to Mr. Moeller regarding subordination           L120        0.30 hrs
                        issues.

12/12/2012   SCM        Review memoranda regarding subordination                 L110        1.20 hrs
                        issues.

12/12/2012   SCM        Review complaints and draft chart containing             L110        1.00 hrs
                        identification of issuer.

12/13/2012   SCM        Gather issuer language in PLS complaints.                L110        2.60 hrs


12/18/2012   SCM        Edit and transmit memorandum regarding "issuer"          L190        0.10 hrs
                        language in securities complaints to Mr. Beck.

12/18/2012   DAB        Conference with Mr. Moeller regarding analysis           L120        0.10 hrs
                        needed on securities complaints.

12/18/2012   SCM        Telephone conference with Mr. Beck regarding             L120        0.10 hrs
                        Securities issues.

12/21/2012   JAL        Review e-mail regarding AIG subordination                L120        0.30 hrs
                        motion (.10). Conference with Mr. Beck regarding
                        same (.20).
12/21/2012   DAB        E-mails with Mr. Marinuzzi and Mr. Haims                 L120        0.20 hrs
                        (Residential Capital) regarding AIG response
                        timing.
12/21/2012   DAB        E-mail Mr. Lipps and Ms. Battle regarding                L120        0.10 hrs
                        adjournment of AIG hearing.



                        TOTAL FEES FOR THIS MATTER                                           $3,586.00


BILLING SUMMARY


         Beck, David A.                               5.40 hrs      230.00 /hr   $1,242.00


         Lipps, Jeffrey A.                            1.30 hrs      360.00 /hr    $468.00


         Battle, Jennifer A.L.                        0.20 hrs      250.00 /hr     $50.00


         Moeller, Steven C.                           6.60 hrs      200.00 /hr   $1,320.00
    12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
932 00058                   Monthly Invoices Pg 942 of 1163
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      Phillips, Segev                         2.30 hrs   220.00 /hr        $506.00



   TOTAL FEES                                15.80 hrs                $3,586.00

   TOTAL CHARGES FOR THIS INVOICE                                     $3,586.00
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                              Monthly Invoices Pg 943 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                          January 25, 2013

                                                                  Billed through 12/31/2012
Tammy Hamzephour                                                  Invoice # 52823      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 932 00059
190-FTW-L95
Fort Washington, PA 19034

Re: Monoline Claims
Matter No.: 721750

PROFESSIONAL SERVICES

12/01/2012   DAB       Call with Mr. Rosenbaum and Ms. Beck (Morrison             L120        0.40 hrs
                       & Foerster) regarding issues on transfer of Ambac
                       wrapped deals and Ambac cure claims.
12/02/2012   JAL       Review and redraft outline for monoline claims             L120        0.50 hrs
                       strategic analysis (.30). Conference with Mr. Beck
                       regarding revisions to same (.20).
12/02/2012   DAB       Draft outline for white paper on monoline claims.          L120        5.30 hrs


12/02/2012   DAB       Draft white paper on monoline claims.                      L120        2.00 hrs


12/03/2012   JAL       Review Assured Guaranty proof of claims (.20).             L120        0.30 hrs
                       Conference with Mr. Beck regarding same (.10).

12/03/2012   RBS       Prepare sets of notebooks of Monoline proofs of            L310        2.00 hrs
                       claim for Mr. Beck.

12/03/2012   RBS       Draft index of Monoline proofs of claim for                L310        1.50 hrs
                       notebooks.

12/03/2012   DAB       Communicate with Mr. Newton (Morrison &                    L120        0.10 hrs
                       Foerster) regarding bankruptcy inserts needed for
                       monoline white paper.
12/03/2012   DAB       Communicate with Mr. Samson regarding                      L120        0.10 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
  932 00059                 Monthly Invoices Pg 944 of 1163
                                                         Invoice # 52823        Page 2
                    monoline proofs of claim.

12/03/2012   DAB    Draft materials for monoline claims white paper on   L120     1.40 hrs
                    filed proofs of claim by monolines.

12/03/2012   DAB    Draft materials for monoline claims white paper on   L120     2.80 hrs
                    contractual rep and warrant claims.

12/03/2012   DAB    Prepare for call on Ambac cure claims.               L120     0.20 hrs


12/03/2012   DAB    Participate in call with Mr. Ruckdashel, Mr.         L120     0.50 hrs
                    Cancellieri, Mr. Blaschko (Residential Capital),
                    Mr. Rosenbaum and Ms. Beck (Morrison &
                    Foerster) regarding Ambac cure claims.
12/03/2012   DAB    E-mails to Residential Capital's servicing           L120     0.10 hrs
                    department regarding additional information
                    needed on Ambac cure claims.
12/03/2012   DAB    Draft materials for monoline claims white paper on   L120     3.10 hrs
                    fraudulent inducement claims asserted by
                    monolines.
12/04/2012   RBS    Prepare notebooks of monoline proofs of claim for    L310     2.50 hrs
                    Mr. Beck.

12/04/2012   DAB    Draft materials for monoline claims white paper on   L120     1.30 hrs
                    equitable rescission claims.

12/04/2012   DAB    Research regarding equitable rescission claims.      L120     1.10 hrs


12/04/2012   DAB    Draft materials for monoline claims white paper on   L120     1.30 hrs
                    monolines-asserted damages.

12/04/2012   DAB    Conference with Mr. Moeller regarding issues on      L120     0.30 hrs
                    damages for white paper.

12/04/2012   DAB    Draft materials for Mr. Lipps for meetings on        L120     0.30 hrs
                    monoline claims.

12/04/2012   DAB    Conference with Mr. Lipps regarding monoline         L120     0.10 hrs
                    claims meeting.

12/04/2012   DAB    Communicate with Mr. Schrock (Kirkland & Ellis)      L120     0.20 hrs
                    regarding questions on filed monoline claims.

12/04/2012   DAB    Analyze objections to RMBS settlement for release    L120     1.30 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
  932 00059                 Monthly Invoices Pg 945 of 1163
                                                         Invoice # 52823         Page 3
                    issues.

12/04/2012   DAB    E-mails with Mr. Rosenbaum and Ms. Beck               L120     0.20 hrs
                    (Morrison & Foerster) regarding next steps on
                    Ambac cure claims.
12/04/2012   DAB    Communicate with Mr. Goren and Ms. Rosenbuam          L120     0.20 hrs
                    (Morrison & Foerster) regarding next steps on
                    MBIA cure claims.
12/04/2012   SCM    Telephone conference with Mr. Beck regarding          L120     0.20 hrs
                    research regarding availability of rescissory
                    damages.
12/04/2012   SCM    Legal research regarding availability of rescissory   L110     1.80 hrs
                    damages.

12/05/2012   DAB    Conference with Mr. Lee, Mr. Marinuzzi, Mr.           L120     0.30 hrs
                    Goren (Morrison & Foerster) and Mr. Lipps
                    regarding issues on monoline claims.
12/05/2012   SCM    Legal research regarding availability of rescissory   L110     3.40 hrs
                    damages.

12/05/2012   JAL    Review and revise FGIC document requests (.70).       L120     1.30 hrs
                    Conference with Mr. Beck regarding monoline
                    white paper (.30). Telephone conference with Mr.
                    Beck and Ms. Battle regarding revising FGIC
                    document requests (.30).
12/05/2012   JALB   Review materials regarding FGIC payment history.      L120     0.20 hrs


12/05/2012   JALB   Follow-up with client regarding materials             L120     0.10 hrs
                    regarding FGIC payment history.

12/05/2012   DAB    Multiple conferences with Mr. Newton (Morrison        L120     0.50 hrs
                    & Foerster) regarding potential objections under
                    bankruptcy Law to monoline claims.
12/05/2012   DAB    Analyze materials on bankruptcy law based             L120     0.50 hrs
                    objections to monoline claims.

12/05/2012   DAB    Conference with Mr. Lipps and Ms. Battle              L120     0.30 hrs
                    regarding document requests to monolines.

12/05/2012   DAB    Conference with Mr. Lipps regarding monoline          L120     0.40 hrs
                    claims white paper.

12/05/2012   DAB    Conference with Mr. Rosenbaum (Morrison &             L120     0.20 hrs
                    Foerster) regarding Ambac cure claim issues.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
  932 00059                 Monthly Invoices Pg 946 of 1163
                                                         Invoice # 52823         Page 4
12/05/2012   DAB    E-mails with Mr. Rosenbaum (Morrison &                L120     0.30 hrs
                    Foerster) regarding Ambac issues.

12/06/2012   SCM    Communicate with Mr. Beck regarding availability      L120     0.20 hrs
                    of rescissory damages.

12/06/2012   DAB    Research regarding equitable rescission damage        L120     0.90 hrs
                    theories.

12/06/2012   DAB    Conference with Mr. Newton (Morrison &                L120     0.80 hrs
                    Foerster) regarding white paper on monoline
                    claims.
12/06/2012   DAB    Conference with Mr. Moeller regarding additional      L120     0.20 hrs
                    research needed on rescissory damages.

12/06/2012   DAB    Draft materials for monoline white paper on           L120     0.60 hrs
                    servicing claims.

12/06/2012   DAB    Draft materials for monoline white paper on rep       L120     2.30 hrs
                    and warranty issues.

12/06/2012   DAB    Draft materials for whiteline white paper on          L120     1.80 hrs
                    monoline contracts.

12/06/2012   DAB    Draft materials for monoline white paper on           L120     3.10 hrs
                    fraudulent rescission claims.

12/06/2012   SCM    Legal research regarding availability of rescissory   L110     3.70 hrs
                    damages.

12/06/2012   SCM    Draft white paper insert regarding availability of    L190     1.80 hrs
                    rescissory damages.

12/07/2012   SCM    Review, edit and cite-check insert regarding          L190     1.60 hrs
                    availability of rescissory damages.

12/07/2012   DAB    Participate in pre-call with Mr. Ruckdashel, Mr.      L120     0.30 hrs
                    Cancellieri, Mr. Blaschko (Residential Capital),
                    Mr. Rosenbaum, and Ms. Beck (Morrison &
                    Foerster) to prepare for conference call with
                    Ambac.
12/07/2012   DAB    Call with Ambac business people and outside           L120     0.70 hrs
                    counsel, Mr. Ruckdashel, Mr. Cancellieri, Mr.
                    Blaschko (Residential Capital), Mr. Rosenbaum,
                    and Ms. Beck (Morrison & Foerster) regarding
                    Ambac cure claims.
12/07/2012   DAB    Follow-up call with Mr. Cancellieri, Mr. Blaschko     L120     0.50 hrs
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                    (Residential Capital) and Mr. Rosenbaum
                    (Morrison & Foerster) regarding next steps with
                    Ambac.
12/07/2012   DAB    Draft portions of white paper on state law issues on   L120     6.80 hrs
                    monoline claims.

12/07/2012   DAB    Review and comment on white paper sections on          L120     2.60 hrs
                    bankruptcy law issues.

12/07/2012   SCM    E-mails to Mr. Beck regarding insert regarding         L120     0.20 hrs
                    availability of rescissory damages.

12/09/2012   JAL    Review and redraft monoline claims white paper         L120     1.00 hrs
                    (.70). Telephone conference with Mr. Beck
                    regarding same (.10). Review and respond to
                    e-mails regarding same (.20).
12/09/2012   JALB   Review and comment on draft white paper                L120     1.30 hrs
                    prepared by Mr. Beck.

12/09/2012   DAB    Revise monoline claims white paper based on            L120     0.80 hrs
                    comments of Mr. Lipps.

12/09/2012   DAB    E-mails with Mr. Lipps and Ms. Battle regarding        L120     0.30 hrs
                    comments on monoline claims white paper.

12/09/2012   DAB    E-mails with Mr. Newton (Morrison & Foerster)          L120     0.10 hrs
                    regarding bankruptcy law issues related to
                    monoline claims.
12/10/2012   JAL    Prepare for (.50) and participate in meeting with      L120     1.80 hrs
                    Morrison Foerster lawyers to address various plan
                    issues (1.1). Telephone conference with Mr. Beck
                    regarding same (.20).
12/10/2012   JAL    Further review monolines' claims white paper           L120     0.80 hrs
                    (.50). Telephone conference with Mr. Beck
                    regarding same (.20). Review and respond to
                    e-mails regarding same (.10).
12/10/2012   DAB    Conference with Mr. Lipps regarding issues for         L120     0.40 hrs
                    claims meetings.

12/10/2012   DAB    E-mail to Mr. Lee (Morrison & Foerster) regarding      L120     0.30 hrs
                    monoline claims issues.

12/10/2012   DAB    Conference with Mr. Lipps and Ms. Battle               L120     0.20 hrs
                    regarding meeting on discovery issues involving
                    monoline claims.
12/10/2012   DAB    Call with Ms. Battle regarding discovery issues        L120     0.10 hrs
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                    related to monoline claims.

12/10/2012   DAB    Analyze caselaw relevant to monoline claims.        L120     1.30 hrs


12/10/2012   DAB    Analyze briefing in Assured Guaranty case on        L120     0.80 hrs
                    monoline damage theories.

12/10/2012   DAB    Communicate with Mr. Corcoran regarding             L120     0.20 hrs
                    additional information needed for monoline claims
                    meeting.
12/10/2012   DAB    Participate in meeting with Mr. Princi and Mr.      L120     1.30 hrs
                    Lawrence (Morrison & Foerster) regarding
                    discovery issues involving monoline claims.
12/10/2012   DAB    Meeting with Mr. Lee, Mr. Haims, Mr.                L120     1.10 hrs
                    Rosenbaum, Mr. Goren, Mr. Marinuzzi and others
                    at Morrison & Foerster regarding major
                    outstanding claims and divisions of work
                    assignments to respond to claims.
12/10/2012   DAB    Meeting with Mr. Newton (Morrison & Foerster)       L120     0.20 hrs
                    regarding procedural issues on monoline
                    discovery.
12/10/2012   DAB    E-mail with counsel to Ambac regarding cure         L120     0.10 hrs
                    claim.

12/10/2012   DAB    E-mail with Mr. Rosenbaum (Morrison & Foerster)     L120     0.10 hrs
                    regarding Ambac cure claim issues.

12/10/2012   JRC    Teleconference with Mr. Beck regarding              L120     0.10 hrs
                    repurchase rate from MBIA securitizations.

12/10/2012   JRC    E-mail exchange with Mr. Beck regarding             L120     0.10 hrs
                    repurchase rate from MBIA securitizations.

12/10/2012   JRC    Teleconference with Mr. Beck regarding pleadings    L120     0.10 hrs
                    from another case brought by a financial guaranty
                    insurer against a securitization sponsor.
12/10/2012   JRC    Review and analyze pleadings from another case      L210     0.40 hrs
                    brought by a financial guaranty insurer against a
                    securitization sponsor.
12/11/2012   JAL    Conference with Mr. Beck regarding data on          L120     0.30 hrs
                    claims paid and not paid by MBIA and FGIC and
                    future projections regarding same (.20). Review
                    e-mails regarding same (.10).
12/11/2012   VLS    Assemble Residential Fundings Interrogatories and   L320     1.10 hrs
                    document requests prepared in the MBIA vs. RFC
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                    matter for use by Mr. Beck.
12/11/2012   VLS    Assemble GMAC Mortgage and document                     L320     0.40 hrs
                    requests prepared in the MBIA vs. RFC matter for
                    use by Mr. Beck.
12/11/2012   DAB    Analyze materials from company regarding Ambac          L120     0.30 hrs
                    cure claims.

12/11/2012   DAB    Communicate with Mr. Blaschko (Residential              L120     0.10 hrs
                    Capital) regarding materials from company
                    regarding Ambac cure claims.
12/11/2012   DAB    Call with counsel to Ambac and Mr. Rosenbaum            L120     0.50 hrs
                    (Morrison & Foerster) regarding cure claims.

12/11/2012   DAB    Conference with Mr. Lipps regarding claims              L120     0.40 hrs
                    meeting with Morrison & Foerster team and next
                    steps on monoline claims.
12/11/2012   DAB    Conference with Mr. Corcoran regarding                  L120     0.10 hrs
                    Countrywide summary judgment hearing.

12/11/2012   DAB    Communicate with Mr. Lipps and Ms. Battle               L120     0.10 hrs
                    regarding recent filings in Countrywide case.

12/11/2012   DAB    Analyze recent filings in MBIA v. Countrywide           L120     2.30 hrs
                    case.

12/11/2012   JRC    Review pre-bankruptcy discovery requests in             L310     0.80 hrs
                    monoline cases in order to assist Mr. Beck in
                    drafting discovery requests directed at the
                    monolines.
12/11/2012   JRC    Review and analyze MBIA's motion for summary            L230     0.80 hrs
                    judgment and accompanying exhibits in order to
                    prepare to attend hearing on the same.
12/11/2012   JRC    Review and analyze Countrywide's opposition to          L230     0.80 hrs
                    MBIA's motion for summary judgment and
                    accompanying exhibits in order to prepare to attend
                    hearing on the same.
12/11/2012   JRC    Review and analyze MBIA's reply in support of           L230     0.40 hrs
                    motion for summary judgment and accompanying
                    exhibits in order to prepare to attend hearing on the
                    same.
12/11/2012   JRC    Review and analyze Countrywide's motion for             L230     0.70 hrs
                    summary judgment and accompanying exhibits in
                    order to prepare to attend hearing on the same.
12/11/2012   JRC    Review and analyze MBIA's opposition to                 L230     0.80 hrs
                    Countrywide's motion for summary judgment and
                    accompanying exhibits in order to prepare to attend
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
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                    hearing on the same.
12/11/2012   JRC    Review and analyze Countrywide's reply in               L230        0.40 hrs
                    support of motion for summary judgment and
                    accompanying exhibits in order to prepare to attend
                    hearing on the same.
12/11/2012   JRC    Review and analyze MBIA's opposition to                 L230        0.40 hrs
                    Countrywide's motion to strike expert report in
                    order to prepare to attend hearing on the same.
12/11/2012   JRC    Review and analyze Countrywide's motion to              L230        0.30 hrs
                    strike expert report in order to prepare to attend
                    hearing on the same.
12/11/2012   JRC    Review and analyze Countrywide's reply in               L230        0.20 hrs
                    support of motion to strike expert report in order to
                    prepare to attend hearing on the same.
12/12/2012   DAB    E-mails with Mr. Lawrence (Morrison & Foerster)         L120        0.60 hrs
                    regarding prepetition discovery requests to MBIA.

12/12/2012   DAB    Communicate with Mr. Rosenbaum and Ms. Beck             120         0.10 hrs
                    (Morrison & Foerster) regarding materials for
                    Ambac on servicing transfer.
12/12/2012   DAB    Draft e-mail to Mr. Lee of Morrison & Foerster          L120        0.30 hrs
                    regarding additional information needed on
                    monoline claims.
12/12/2012   DAB    Communicate with Mr. Cancelliere (Residential           L120        0.20 hrs
                    Capital) regarding information needed on monoline
                    claims.
12/12/2012   JRC    Attend oral argument on MBIA's motion for               L230        4.90 hrs
                    summary judgment in MBIA v. Countrywide.

12/12/2012   JRC    Draft e-mail to Mr. Lipps, Ms. Battle, and Mr.          L230        0.30 hrs
                    Beck summarizing oral argument on MBIA's
                    motion for summary judgment in MBIA v.
                    Countrywide.
12/12/2012   JRC    Draft memorandum summarizing and analyzing              L230        3.40 hrs
                    oral argument on MBIA's motion for summary
                    judgment in MBIA v. Countrywide.
12/12/2012   JRC    Review and analyze PowerPoint used during oral          L230        0.30 hrs
                    argument by Countrywide on MBIA's motion for
                    summary judgment in order to draft oral argument
                    summary.
12/12/2012   JRC    Review and analyze PowerPoint used during oral          L230        0.30 hrs
                    argument by MBIA on MBIA's motion for
                    summary judgment in order to draft oral argument
                    summary.
12/13/2012   JAL    Conference with Mr. Lawrence (Morrison &                L120        1.60 hrs
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                    Foerster) to discuss document requests directed to
                    MBIA and FGIC (.50). Review and respond to
                    e-mails regarding same (.20). Review e-mails
                    regarding ResCap analysis of monoline wrapped
                    deals (.10). Review ResCap analysis (.20).
                    Review and redraft MBIA document requests
                    (.60).
12/13/2012   DAB    E-mail Mr. Lipps and Ms. Battle regarding            L120     0.20 hrs
                    discovery issues related to MBIA claims on third
                    party transaction.
12/13/2012   DAB    Conference with Mr. Lipps regarding results of       L120     0.10 hrs
                    meeting with Mr. Lawrence of Morrison &
                    Foerster regarding monoline discovery.
12/13/2012   DAB    Research additional materials for Mr. Alexander of   L120     0.20 hrs
                    Morrison & Foerster based on meeting.

12/13/2012   DAB    Draft discovery requests to MBIA regarding           L310     4.60 hrs
                    claims.

12/13/2012   DAB    Communicate with Mr. Alexander (Morrison &           L120     0.20 hrs
                    Foerster) regarding draft discovery requests to
                    MBIA regarding claims.
12/13/2012   DAB    E-mail Mr. Blaschko (Residential Capital)            L120     0.10 hrs
                    regarding payments by FGIC and Ambac on
                    insurance policies.
12/13/2012   DAB    Analyze materials provided by Mr. Blaschko of        L120     0.20 hrs
                    Residential Capital on insurance payments.

12/13/2012   DAB    Communicate with Mr. Lipps and Ms. Battle            L120     0.10 hrs
                    regarding materials provided by Mr. Blaschko on
                    insurance payments.
12/13/2012   DAB    Communicate with Mr. Lee and Mr. Princi of           L120     0.20 hrs
                    Morrison & Foerster regarding payment analysis.

12/13/2012   DAB    Review Countrywide docket for developments in        L120     0.10 hrs
                    monoline litigation.

12/13/2012   DAB    Call with Mr. Johnson, Mr. McCormick                 L120     0.20 hrs
                    (Cadwalader) and Ms. Barrage (Morison &
                    Foerster) regarding MBIA cure claims.
12/13/2012   DAB    Analyze MBIA powerpoints in Countrywide              L120     0.30 hrs
                    summary judgment briefing.

12/13/2012   DAB    Communicate with Mr. Lipps and Ms. Battle            L120     0.10 hrs
                    regarding MBIA powerpoints in Countrywide
                    summary judgment briefing.
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12/13/2012   DAB    E-mails with Mr. Alexander (Morrison & Foerster)     L120     0.20 hrs
                    Mr. Lipps and Ms. Battle regarding draft discovery
                    requests to MBIA.
12/13/2012   JRC    Attend oral argument on Countrywide's motion for     L230     4.90 hrs
                    summary judgment and Countrywide's motion to
                    strike in MBIA v. Countrywide.
12/13/2012   JRC    Draft e-mail to Mr. Lipps, Ms. Battle, and Mr.       L230     0.30 hrs
                    Beck summarizing oral argument on
                    Countrywide's motion for summary judgment in
                    MBIA v. Countrywide.
12/13/2012   JRC    Conference with Mr. Lipps regarding oral             L230     0.20 hrs
                    argument on MBIA's motion for summary
                    judgment in MBIA v. Countrywide.
12/13/2012   JRC    Review and analyze Countrywide's motion for          L230     0.30 hrs
                    summary judgment and accompanying exhibits in
                    order to attend hearing on the same.
12/13/2012   JRC    Review and analyze MBIA's opposition to              L230     0.30 hrs
                    Countrywide's motion for summary judgment and
                    accompanying exhibits in order to attend hearing
                    on the same.
12/14/2012   RBS    Obtain files of unredacted affirmation exhibits in   L310     1.80 hrs
                    MBIA/Countrywide for Mr. Beck.

12/14/2012   JALB   Telephone conference with Mr. Beck and Mr.           L120     0.40 hrs
                    Lawrence (Morrison & Foerster) regarding draft
                    discovery directed to MBIA.
12/14/2012   JALB   Follow-up correspondence with Mr. Lipps              L120     0.10 hrs
                    regarding draft discovery directed to MBIA.

12/14/2012   DAB    E-mails with Mr. Newton (Morrison & Foerster)        L120     0.30 hrs
                    regarding analysis on effect of Ambac and FGIC
                    insolvency proceedings on claims.
12/14/2012   DAB    Communicate with Mr. Alexander (Morrison &           L120     0.10 hrs
                    Foerster) regarding draft document requests to
                    monolines.
12/14/2012   DAB    Call with Mr. Alexander (Morrison & Foerster)        L120     0.20 hrs
                    and Ms. Battle regarding draft document requests
                    to monolines.
12/14/2012   DAB    Call with Mr. Johnson, Mr. McCormick                 L120     0.20 hrs
                    (Cadwalader), Ms. Barrage (Morrison & Foerster)
                    regarding possible resolution of MBIA cure claim
                    objection to servicing platform sale.
12/14/2012   DAB    E-mail Ms. Barrage (Morrison & Foerster)             L120     0.20 hrs
                    regarding MBIA cure claim.
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12/15/2012   DAB    Review MBIA presentation at Countrywide             L120     0.20 hrs
                    hearing on summary judgment.

12/15/2012   DAB    Communicate with Mr. Lipps and Ms. Battle           L120     0.10 hrs
                    regarding MBIA presentation on summary
                    judgment in Countrywide case.
12/16/2012   JRC    Draft summary and analysis of oral argument on      L230     3.60 hrs
                    Countrywide's motion for summary judgment and
                    motion to strike in MBIA v. Countrywide.
12/16/2012   JRC    Review and analyze transcript of oral argument on   L230     3.40 hrs
                    Countrywide's motion for summary judgment in
                    MBIA v. Countrywide in order to draft summary.
12/16/2012   JRC    Review PowerPoint presentations used by MBIA        L230     0.50 hrs
                    during oral argument on Countrywide's motion for
                    summary judgment in order to draft summary of
                    oral argument.
12/16/2012   JRC    Review PowerPoint presentations used by             L230     0.40 hrs
                    Countrywide during oral argument on
                    Countrywide's motion for summary judgment in
                    order to draft summary of oral argument.
12/17/2012   DAB    Analyze memorandum by Mr. Newton of Morrison        L120     1.70 hrs
                    & Forester and associated caselaw regarding FGIC
                    and Ambac insolvency proceedings effect on
                    claims.
12/17/2012   DAB    Draft comments on monoline memorandum by Mr.        L120     0.50 hrs
                    Newton of Morrison & Foerster.

12/17/2012   DAB    E-mails with Mr. Corcoran regarding analysis on     L120     0.30 hrs
                    Countrywide summary judgment pleadings.

12/17/2012   DAB    Communicate with Mr. Blaschko and Mr.               L120     0.20 hrs
                    Cancielliere (Residential Capital) regarding
                    analysis on Ambac cure claims.
12/17/2012   JRC    Review and analyze transcript of oral argument on   L230     3.20 hrs
                    MBIA's motion for summary judgment in MBIA v.
                    Countrywide in order to revise summary.
12/17/2012   JRC    Revise summary of oral argument on                  L230     3.60 hrs
                    Countrywide's motion for summary judgment in
                    MBIA v. Countrywide.
12/17/2012   JRC    Revise summary of oral argument on MBIA's           L230     1.40 hrs
                    motion for summary judgment in MBIA v.
                    Countrywide.
12/18/2012   JAL    Review trustee's memorandum regarding monoline      L120     0.80 hrs
                    claims (.80). Conference with Mr. Beck regarding
                    same (.20). Review e-mails regarding same (.10).
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12/18/2012   DAB    Draft and revise document requests to MBIA.            L120     0.70 hrs


12/18/2012   JRC    Review and analyze pleadings filed in MBIA v.          L210     0.20 hrs
                    Countrywide in order to prepare notebooks for Mr.
                    Lipps, Mr. Beck, and Ms. Battle.
12/19/2012   JAL    Review e-mails regarding discovery directed to         L120     1.00 hrs
                    monoline (.20). Conference with Mr. Beck
                    regarding same (.20). Review and redraft insert
                    into rule 2004 motion (.50). Review and respond
                    to e-mails regarding same (.10).
12/19/2012   DAB    Conference with Mr. Lawrence (Morrison &               L120     0.30 hrs
                    Foerster) regarding strategy on discovery of
                    monolines.
12/19/2012   DAB    Conference with Mr. Lawrence and Mr. Newton            L120     0.40 hrs
                    (Morrison & Foerster) regarding strategy on
                    discovery of monolines.
12/19/2012   DAB    Conference with Mr. Newton (Morrison &                 L120     0.60 hrs
                    Foerster) regarding monoline issues.

12/19/2012   DAB    Conference with Mr. Newton and Ms. Beck                L120     0.20 hrs
                    (Morrison & Foerster) regarding MBIA claims
                    related to GSR 2007-HEL1 transaction.
12/19/2012   JRC    Review and analyze pleadings in MBIA v.                L120     0.10 hrs
                    Countrywide in order to prepare notebooks for Mr.
                    Beck, Ms. Battle, and Mr. Lipps.
12/20/2012   JAL    Review and redraft discovery requests directed to      L320     3.30 hrs
                    FGIC (1.5). Review and redraft discovery requests
                    directed to MBIA (1.5). Conference with Mr.
                    Beck regarding further revisions to document
                    requests (.30).
12/20/2012   DAB    Revise document requests to FGIC. (2.10)               L320     2.40 hrs
                    Conference with Mr. Lipps regarding same. (.30)

12/21/2012   JAL    Review Mr. Lawrence's comments regarding               L120     1.70 hrs
                    MBIA and FGIC document requests (.40). Revise
                    same (.30). Conference with Mr. Beck regarding
                    same (.20). Further review and redraft of insert for
                    2004 request (.60). Review e-mails regarding
                    same (.20).
12/21/2012   DAB    Revise document request to FGIC.                       L320     0.20 hrs


12/21/2012   DAB    Revise document requests to MBIA.                      L320     1.70 hrs
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12/21/2012   DAB    E-mail Mr. Lipps regarding settlement on MBIA         L120     0.30 hrs
                    cure claims.

12/21/2012   DAB    Draft notes for Ms. Barrage of Morrison &             L120     1.20 hrs
                    Foerester regarding benefits of MBIA cure claims
                    settlement.
12/21/2012   DAB    Communicate with Mr. Lipps regarding upcoming         L120     0.20 hrs
                    claims call with Morrison & Foerster.

12/21/2012   DAB    Analyze newly unsealed MBIA v. Countrywide            L120     1.40 hrs
                    documents.

12/23/2012   DAB    Communicate with Ms. Battle regarding inserts for     L120     0.10 hrs
                    2004 motion on monolines.

12/23/2012   DAB    Communicate with Mr. Newton regarding inserts         L120     0.20 hrs
                    for 2004 motion on monoline.

12/24/2012   DAB    Revise materials for Ms. Barrage of Morrison &        L120     0.40 hrs
                    Foerster regarding benefits of settlement with
                    MBIA on cure claims.
12/26/2012   JAL    Review and redraft 2004 motion (.30).                 L250     1.00 hrs
                    Communicate with with Mr. Beck regarding same
                    (.20). Review and respond to e-mails regarding
                    same (.10). Review and redraft FGIC and MBIA
                    document requests (.40).
12/26/2012   DAB    Review and revise 2004 motion on monoline             L120     2.10 hrs
                    claims. (1.90) Communicate with Mr. Lipps
                    regarding same. (.20)
12/27/2012   JAL    Prepare for call to address claims strategy (.30).    L120     0.50 hrs
                    Review e-mails from Mr. Beck regarding same
                    (.10). Conference with Mr. Beck regarding same
                    (.10).
12/27/2012   DAB    Participate in call with Mr. Lee, Mr. Princi, Mr.     L120     1.10 hrs
                    Haims, Mr. Alexander, Mr. Goren, Mr. Alexander
                    and Mr. Newton (Morrison & Foerster) regarding
                    major issues on monoline, securities and class
                    action claims.
12/27/2012   DAB    Draft summary for Mr. Lipps and Ms. Battle of         L120     0.60 hrs
                    claims call with Morrison & Foerster and
                    upcoming claims tasks.
12/27/2012   DAB    Respond to questions of Ms. Barrage of Morrison       L120     0.60 hrs
                    & Forester regarding contract provisions related to
                    MBIA cure claims.


                    TOTAL FEES FOR THIS MATTER                                    $35,484.50
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EXPENSES

12/05/2012          Delivery Service/Messengers - Federal Express to Mr. Lipps                  $26.79

12/05/2012          Delivery Service/Messengers - Federal Express to Ms. Scaggs                 $29.63

12/06/2012          (TRIP-JAL-12/5-6/12) Out-of-Town Travel/Airfare (coach) -              $569.47
                    travel to New York to attend ResCap/Claims meeting

12/06/2012          (TRIP-JAL-12/5-6/12) Out-of-Town Travel/Hotel - travel to New          $569.21
                    York to attend ResCap/Claims meeting

12/06/2012          (TRIP-JAL-12/5-6/12) Out-of-Town Travel/Mileage to/from Port                 $3.30
                    Columbus - travel to New York to attend ResCap/Claims meeting

12/06/2012          (TRIP-JAL-12/5-6/12) Out-of-Town Travel/Parking @ Port                      $17.00
                    Columbus - travel to New York to attend ResCap/Claims meeting

12/06/2012          (TRIP-JAL-12/5-6/12) Out-of-Town Travel/Breakfast 12/5/12 -                  $5.00
                    travel to New York to attend ResCap/Claims meeting

12/06/2012          (TRIP-JAL-12/5-6/12) Out-of-Town Travel/Taxi from Airport to                $49.12
                    Hotel 12/5/12 - travel to New York to attend ResCap/Claims
                    meeting

12/06/2012          (TRIP-JAL-12/5-6/12) Out-of-Town Travel/Car Service from                    $60.00
                    Hotel to Airport 12/6/12 - travel to New York to attend
                    ResCap/Claims meeting

12/06/2012          (TRIP-JAL-12/5-6/12) Out-of-Town Travel/Dinner 12/6/12 -                    $20.00
                    travel to New York to attend ResCap/Claims meeting

12/07/2012          (TRIP-SKS-12/6-7/12) Out-of-Town Travel/Parking @ Port                       $5.00
                    Columbus - travel to New York to retrieve records from
                    prepetition MBIA litigation and ship documents back to
                    Columbus

12/07/2012          (TRIP-SKS-12/6-7/12) Out-of-Town Travel/Bellman Tips -                       $8.00
                    travel to New York to retrieve records from prepetition MBIA
                    litigation and ship documents back to Columbus

12/07/2012          (TRIP-SKS-12/6-7/12) Out-of-Town Travel/Mileage to/from Port                $34.00
                    Columbus (62 miles X .55) - travel to New York to retrieve
                    records from prepetition MBIA litigation and ship documents
                    back to Columbus

12/07/2012          (TRIP-SKS-12/6-7/12) Out-of-Town Travel/Airfare (coach) -              $913.40
                    travel to New York to retrieve records from prepetition MBIA
                    litigation and ship documents back to Columbus

12/07/2012          (TRIP-SKS-12/6-7/12) Out-of-Town Travel/Hotel - travel to New          $569.21
                    York to retrieve records from prepetition MBIA litigation and
                    ship documents back to Columbus
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12/07/2012          (TRIP-SKS-12/6-7/12) Out-of-Town Travel/Breakfast 12/6/12 -                     $17.50
                    travel to New York to retrieve records from prepetition MBIA
                    litigation and ship documents back to Columbus

12/07/2012          (TRIP-SKS-12/6-7/12) Out-of-Town Travel/Lunch 12/6/12 -                          $8.79
                    travel to New York to retrieve records from prepetition MBIA
                    litigation and ship documents back to Columbus

12/07/2012          (TRIP-SKS-12/6-7/12) Out-of-Town Travel/Lunch 12/6/12 -                          $6.00
                    travel to New York to retrieve records from prepetition MBIA
                    litigation and ship documents back to Columbus

12/07/2012          (TRIP-SKS-12/6-7/12) Out-of-Town Travel/Dinner 12/6/12 -                        $20.00
                    travel to New York to retrieve records from prepetition MBIA
                    litigation and ship documents back to Columbus

12/07/2012          (TRIP-SKS-12/6-7/12) Out-of-Town Travel/Breakfast 12/7/12 -                     $20.00
                    travel to New York to retrieve records from prepetition MBIA
                    litigation and ship documents back to Columbus

12/07/2012          (TRIP-SKS-12/6-7/12) Out-of-Town Travel/Dinner 12/7/12 -                        $20.00
                    travel to New York to retrieve records from prepetition MBIA
                    litigation and ship documents back to Columbus

12/07/2012          (TRIP-SKS-12/6-7/12) Out-of-Town Travel/Car Service from                        $65.00
                    Hotel to Airport 12/7/12 - travel to New York to retrieve records
                    from prepetition MBIA litigation and ship documents back to
                    Columbus

12/10/2012          (TRIP-DAB-12/10/12) Out-of-Town Travel/Airfare (coach) -                  $1,081.60
                    travel to New York to attend meeting with Morrison & Forester
                    regarding claims review

12/10/2012          (TRIP-DAB-12/10/12) Out-of-Town Travel/Parking @ Port                           $30.00
                    Columbus - travel to New York to attend meeting with Morrison
                    & Forester regarding claims review

12/10/2012          (TRIP-DAB-12/10/12) Out-of-Town Travel/Lunch 12/10/12 -                         $14.64
                    travel to New York to attend meeting with Morrison & Forester
                    regarding claims review

12/10/2012          (TRIP-DAB-12/10/12) Out-of-Town Travel/Dinner 12/10/12 -                        $15.01
                    travel to New York to attend meeting with Morrison & Forester
                    regarding claims review

12/10/2012          (TRIP-DAB-12/10/12) Out-of-Town Travel/Taxi from Hotel to                       $49.56
                    Airport - travel to New York to attend meeting with Morrison &
                    Forester regarding claims review

12/10/2012          (TRIP-DAB-12/10/12) Out-of-Town Travel/Taxi from Airport to                     $56.16
                    Morrison & Foerster 12/10/12- travel to New York to attend
                    meeting with Morrison & Forester regarding claims review
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
  932 00059                 Monthly Invoices Pg 958 of 1163
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12/13/2012          (TRIP-JRC-12/11-13/12) Out-of-Town Travel/Airfare (Coach) -          $1,047.60
                    travel to New York to attend Countrywide Summary Judgment
                    hearings

12/13/2012          (TRIP-JRC-12/11-13/12) Out-of-Town Travel/Hotel - travel to          $1,266.94
                    New York to attend Countrywide Summary Judgment hearings

12/13/2012          (TRIP-JRC-12/11-13/12) Out-of-Town Travel/Baggage Fee -                    $25.00
                    travel to New York to attend Countrywide Summary Judgment
                    hearings

12/13/2012          (TRIP-JRC-12/11-13/12) Out-of-Town Travel/Mileage to/from                   $8.80
                    Port Columbus - travel to New York to attend Countrywide
                    Summary Judgment hearings

12/13/2012          (TRIP-JRC-12/11-13/12) Out-of-Town Travel/WiFi - travel to                 $16.95
                    New York to attend Countrywide Summary Judgment hearings

12/13/2012          (TRIP-JRC-12/11-13/12) Out-of-Town Travel/WiFi - travel to                 $16.95
                    New York to attend Countrywide Summary Judgment hearings

12/13/2012          (TRIP-JRC-12/11-13/12) Out-of-Town Travel/Taxi from Airport                $43.70
                    to Hotel 12/11/12 - travel to New York to attend Countrywide
                    Summary Judgment hearings

12/13/2012          (TRIP-JRC-12/11-13/12) Out-of-Town Travel/Taxi from Hotel to               $69.50
                    Airport 12/13/12- travel to New York to attend Countrywide
                    Summary Judgment hearings

12/13/2012          (TRIP-JRC-12/11-13/12) Out-of-Town Travel/Dinner 12/11/12 -                 $4.00
                    travel to New York to attend Countrywide Summary Judgment
                    hearings

12/13/2012          (TRIP-JRC-12/11-13/12) Out-of-Town Travel/Dinner 12/12/12 -                $10.25
                    travel to New York to attend Countrywide Summary Judgment
                    hearings

12/13/2012          (TRIP-JRC-12/11-13/12) Out-of-Town Travel/Dinner 12/13/12 -                 $4.25
                    travel to New York to attend Countrywide Summary Judgment
                    hearings

12/13/2012          (TRIP-JRC-12/11-13/12) Out-of-Town Travel/Lunch 12/12/12 -                  $8.00
                    travel to New York to attend Countrywide Summary Judgment
                    hearings

12/13/2012          (TRIP-JRC-12/11-13/12) Out-of-Town Travel/Lunch 12/13/12 -                  $7.00
                    travel to New York to attend Countrywide Summary Judgment
                    hearings

12/13/2012          (TRIP-JRC-12/11-13/12) Out-of-Town Travel/Breakfast                         $7.00
                    12/12/12 - travel to New York to attend Countrywide Summary
                    Judgment hearings
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
  932 00059                    Monthly Invoices Pg 959 of 1163
                                                            Invoice # 52823                 Page 17

12/13/2012              (TRIP-JRC-12/11-13/12) Out-of-Town Travel/Breakfast                        $5.00
                        12/13/12 - travel to New York to attend Countrywide Summary
                        Judgment hearings

                        TOTAL EXPENSES FOR THIS MATTER                                          $6,824.33


BILLING SUMMARY


         Beck, David A.                            83.20 hrs    230.00 /hr      $19,136.00


         Lipps, Jeffrey A.                         15.90 hrs    360.00 /hr       $5,724.00


         Battle, Jennifer A.L.                       2.10 hrs   250.00 /hr            $525.00


         Corcoran, Jeffrey R.                      37.90 hrs    180.00 /hr       $6,822.00


         Samson, Robert B.                           7.80 hrs    75.00 /hr            $585.00


         Moeller, Steven C.                        12.90 hrs    200.00 /hr       $2,580.00


         Sholl, Veronica L.                          1.50 hrs    75.00 /hr            $112.50



     TOTAL FEES                                   161.30 hrs                   $35,484.50

     TOTAL EXPENSES                                                             $6,824.33

     TOTAL CHARGES FOR THIS INVOICE                                            $42,308.83
       12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                              Monthly Invoices Pg 960 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                           January 25, 2013

                                                                    Billed through 12/31/2012
Tammy Hamzephour                                                    Invoice # 52824      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 932 00060
190-FTW-L95
Fort Washington, PA 19034

Re: ResCap Discovery Issues
Matter No.: 721750

PROFESSIONAL SERVICES

12/12/2012   VLS       Review e-mail from Ms. Sortor at Korein Tillery              L320        0.30 hrs
                       regarding loan files and client guidelines.

12/12/2012   VLS       Research issues regarding loan files related to              L320        1.20 hrs
                       HVMLT-2005 and SVHE 2005-B Trust.

12/12/2012   DAB       Communicate with Ms. Sholl regarding loan file               L120        0.30 hrs
                       production to CUNA.

12/13/2012   JALB      Weekly status telephone conference with Mr.                  L120        0.30 hrs
                       Thompson, Mr. Ruckdaschel, Ms. Delehey, Ms.
                       Zellmann (all Residential Capital) regarding open
                       issues and status of proceedings.
12/13/2012   DAB       Communicate with Ms. Sholl regarding missing                 L120        0.10 hrs
                       loan files for CUNA.

12/13/2012   DAB       Research status of FHFA discovery disputes.                  L320        0.10 hrs


12/13/2012   DAB       Communicate with Ms. Zellmann (Residential                   L120        0.10 hrs
                       Capital) regarding status of FHFA discovery
                       disputes.
12/14/2012   VLS       Assemble additional RFC Client Guides for                    L320        1.20 hrs
                       production in connection with the CUNA
                       subpoena.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
  932 00060                 Monthly Invoices Pg 961 of 1163
                                                         Invoice # 52824              Page 2
12/14/2012   DAB    Draft reply to CUNA e-mail regarding additional           L120      0.10 hrs
                    loan files.

12/14/2012   DAB    Communicate with Mr. Ruckdaschel (Residential             L120      0.10 hrs
                    Capital) regarding CUNA loan file production.

12/17/2012   VLS    E-mail exchange with vendor Profile Discovery             L320      0.30 hrs
                    regarding additional materials needed to be bates
                    numbered related to the CUNA subpoena matter.
12/17/2012   DAB    E-mail counsel to CUNA regarding missing loan             L120      0.20 hrs
                    files.

12/18/2012   VLS    Preparation of draft e-mail regarding loan files          L320      0.40 hrs
                    which were not included in our recent production
                    of documents related to the CUNA subpoena
                    matter.
12/19/2012   JALB   Telephone conference with Mr. Underhill                   L120      0.60 hrs
                    regarding retention of hard drives and software
                    applications.
12/20/2012   JALB   Weekly team call with client (Mr. Thompson, Mr.           L120      0.40 hrs
                    Ruckdaschel, Ms. Delehey, Ms. Zellmann, Mr.
                    Underhill) regarding status of open discovery
                    issues and pending estate matters.
12/21/2012   VLS    Receipt and review of additional client guides for        L320      0.60 hrs
                    production related to the CUNA subpoena.

12/21/2012   VLS    Preparation of cover letter for production of             L320      0.40 hrs
                    additional client guides.

12/21/2012   DAB    Analyze Mass Mutual motion requesting loan                L120      0.40 hrs
                    tapes.

12/21/2012   DAB    Communicate with Ms. Sortor (counsel to CUNA)             L120      0.10 hrs
                    regarding production of additional underwriting
                    guidelines requested by CUNA.
12/26/2012   DAB    Review and revise production letter to CUNA.              L120      0.10 hrs




                    TOTAL FEES FOR THIS MATTER                                          $1,023.00

EXPENSES

12/27/2012          Delivery Service/Messengers - Federal Express to Mr. Klenov               $15.70
                    from Mr. Beck
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27        Exhibit E
  932 00060                    Monthly Invoices Pg 962 of 1163
                                                            Invoice # 52824           Page 3

12/31/2012              Outside Copying - CUNA Subpoena project, by ProFile               $780.02
                        Discovery

                        TOTAL EXPENSES FOR THIS MATTER                                    $795.72


BILLING SUMMARY


         Beck, David A.                             1.60 hrs   230.00 /hr       $368.00


         Battle, Jennifer A.L.                      1.30 hrs   250.00 /hr       $325.00


         Sholl, Veronica L.                         4.40 hrs    75.00 /hr       $330.00



     TOTAL FEES                                     7.30 hrs                  $1,023.00

     TOTAL EXPENSES                                                            $795.72

     TOTAL CHARGES FOR THIS INVOICE                                           $1,818.72
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                              Monthly Invoices Pg 963 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                           January 25, 2013

                                                                   Billed through 12/31/2012
Tammy Hamzephour                                                   Invoice # 52883      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 932 00064
190-FTW-L95
Fort Washington, PA 19034

Re: Examiner


PROFESSIONAL SERVICES

12/01/2012     JAL     Review various materials regarding 2009 GMAC                L120        0.30 hrs
                       bank transaction submitted to examiner as
                       follow-up to Mr. Smith's interview.
12/01/2012     EPH     Privilege log quality control review for batch 57.          L110        6.30 hrs


12/01/2012     TKI     Review privilege log e-mail documents from Batch            L120        6.10 hrs
                       23 for quality control purposes.

12/01/2012     DJB     Quality check and provide feedback to contract              L120        1.80 hrs
                       reviewers' first level coding of documents for
                       Privilege Log quality control Batch 26 potentially
                       responsive to Examiner document requests for
                       issues, privilege, and redactions.
12/01/2012     SP      Analyze previously designated documents to be               L320        1.90 hrs
                       produced to the bankruptcy examiner in Discovery
                       Partner for privilege and confidentiality
                       designation.
12/01/2012     GNM     Work in Discovery Partner database researching              L120        2.10 hrs
                       documents produced by USB at the request of Ms.
                       Battle.
12/01/2012     GNM     Draft and send e-mail to Ms. Battle regarding               L190        0.50 hrs
                       produced documents.

12/01/2012     GNM     Exchange e-mails with Ms. Battle regarding the              L190        0.40 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
  932 00064                 Monthly Invoices Pg 964 of 1163
                                                         Invoice # 52883               Page 2
                    documents.

12/01/2012   GNM    Draft and send e-mail Ms. Tice (Morrison &                  L190     0.40 hrs
                    Foerster) regarding Cancelliere documents.

12/02/2012   AMP    Attention to reviewing and revising privilege log           L320     1.40 hrs
                    for production No. 5.

12/02/2012   JAL    Review and revise outline for preparation of Ms.            L120     0.80 hrs
                    Rock (.20). Review comments regarding potential
                    revisions to omnibus response to creditors' third
                    party claims submissions (.20). Review e-mails
                    regarding same (.10). Conference with Mr.
                    Beekhuizen regarding same (.30).
12/02/2012   EPH    Privilege log quality control review for batch 57.   A104   L110     5.50 hrs


12/02/2012   DJB    Quality check and provide feedback to contract              L120     3.40 hrs
                    reviewers' first level coding of documents for
                    Privilege Log quality control Batch 26 potentially
                    responsive to Examiner document requests for
                    issues, privilege, and redactions.
12/02/2012   MMM    Continue to draft witness preparation outline for           L120     0.80 hrs
                    Ms. Rock.

12/02/2012   MMM    Complete quality control review of privileged log           L120     2.60 hrs
                    batch 18.

12/02/2012   JRC    Review and analyze deposition testimony of                  L120     3.30 hrs
                    products manager at RFC in order to draft
                    ResCap's response to submission papers to the
                    examiner on third-party releases.
12/02/2012   JRC    Review and analyze deposition testimony of a                L120     2.30 hrs
                    structured finance employee at RFC in order to
                    draft ResCap's response to submission papers to
                    the examiner on third-party releases.
12/02/2012   JRC    Review and analyze deposition testimony of                  L120     0.60 hrs
                    counsel for RFC in order to draft ResCap's
                    response to submission papers to the examiner on
                    third-party releases.
12/02/2012   HLB    Perform first tier review of examiner documents in          L120     1.50 hrs
                    Discovery Partner of Renzi batch 20 per examiner
                    review protocol.
12/03/2012   AMP    Attention to privilege log issues.                          L320     0.80 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27        Exhibit E
  932 00064                 Monthly Invoices Pg 965 of 1163
                                                         Invoice # 52883           Page 3
12/03/2012   AMP    Review list of standardized "additional                 L320     0.90 hrs
                    information" entries to be used to address
                    Examiner's counsel's questions regarding
                    non-standard entries.
12/03/2012   AMP    Multiple e-mails with Mr. Molnar regarding review       L320     0.30 hrs
                    list of standardized "additional information" entries
                    to be used to address Examiner's counsel's
                    questions regarding non-standard entries.
12/03/2012   AMP    Attention to issues regarding split of legal            L120     0.30 hrs
                    department in 2012.

12/03/2012   AMP    Telephone conference with Mr. Harris (Morrison          L120     0.20 hrs
                    & Foerster) regarding split of legal department in
                    2012.
12/03/2012   AMP    E-mail with Ms. Battle regarding split of legal         L120     0.10 hrs
                    department in 2012.

12/03/2012   AMP    E-mails with Mr. Harris regarding Ruckdaschel           L120     0.20 hrs
                    deposition transcript excerpt on topic.

12/03/2012   AMP    Conference call with Morrison & Foerster team           L120     0.80 hrs
                    regarding privilege log issues.

12/03/2012   AMP    E-mails with Ms. Battle regarding outcome of            L120     0.20 hrs
                    conference call with Morrison & Foerster.

12/03/2012   AMP    Review Ruckdaschel deposition transcript excerpt        L330     0.20 hrs
                    on splitting of legal department.

12/03/2012   JAL    Review and redraft consolidated response to third       L120     1.30 hrs
                    party submission of creditors (.50). Conference
                    with Mr. Beekhuizen regarding same (.10).
                    Conference with Mr. Beck regarding Gess
                    interview and preparations for upcoming
                    interviews (.20). Conference with Ms. Battle
                    regarding preparations for upcoming interviews.
                    (.50)
12/03/2012   MNB    Draft response to submissions to Examiner               L250     7.50 hrs
                    regarding third-party claims. (7.30) Conference
                    with Mr. Lipps regarding same. (.20)
12/03/2012   VLS    Monitor review status of privilege log quality          L320     0.40 hrs
                    control team.

12/03/2012   VLS    Update privilege log document review status chart.      L320     0.60 hrs


12/03/2012   VLS    Monitor review status of document review team.          L320     0.60 hrs
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  932 00064                 Monthly Invoices Pg 966 of 1163
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12/03/2012   VLS    Update document review status chart.                        L320     0.80 hrs


12/03/2012   VLS    Assignment of quality control batches to quality            L320     0.60 hrs
                    control team.

12/03/2012   VLS    Monitor review status of privilege log quality              L320     0.90 hrs
                    control team.

12/03/2012   VLS    Update privilege log document review status chart.          L320     0.30 hrs


12/03/2012   VLS    E-mail exchange with Mr. Shipler at DTI regarding           L320     0.30 hrs
                    discovery partner reviewer activity report.

12/03/2012   JES    Review additional documents (2.80) and revise               L120     4.00 hrs
                    Applegate outline to reflect additional research.
                    (1.20).
12/03/2012   JES    Review additional Flees materials. (2.90)                   L120     3.00 hrs
                    Conference with Mr. Beck regarding Gess exhibits.
                    (.10)
12/03/2012   RBS    Prepare Ms. Gess examiner interview exhibits on             L310     2.20 hrs
                    U-drive for Mr. Beck.

12/03/2012   EPH    Privilege log quality control review for batch 57.   A104   L110     1.50 hrs


12/03/2012   NMR    2nd Level Review privilege batch of Jones 2.                L320     1.00 hrs


12/03/2012   JALB   Meet with Mr. Lipps regarding status of                     L120     0.60 hrs
                    preparation for interviews.

12/03/2012   DJB    Finish quality check of contract reviewers' first           L120     4.10 hrs
                    level coding of documents for Privilege Log
                    quality control Batch 26 potentially responsive to
                    Examiner document requests for issues, privilege,
                    and redactions.
12/03/2012   MMM    Review documents and draft witness preparation              L120     3.60 hrs
                    outline for Mr. Casey.

12/03/2012   MMM    E-mail Ms. Paul-Whitfield and Ms. Battle                    L120     0.10 hrs
                    regarding specific date that Ally and ResCap legal
                    departments separated.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
  932 00064                 Monthly Invoices Pg 967 of 1163
                                                         Invoice # 52883        Page 5
12/03/2012   MMM    Quality control review of batch 14.                  L120     0.80 hrs


12/03/2012   DAB    Conference with Mr. Lipps regarding examiner         L120     0.20 hrs
                    interview of Ms. Gess and topics for upcoming
                    interviews.
12/03/2012   DAB    Conference with Mr. Samson regarding exhibits        L120     0.10 hrs
                    from examiner interviews.

12/03/2012   DAB    Conference with Mr. Sechler regarding materials      L120     0.10 hrs
                    from interview of Ms. Gess which are relevant for
                    future witnesses.
12/03/2012   DAB    Communicate with Ms. Battle regarding exhibits       L120     0.10 hrs
                    used in previous examiner interviews.

12/03/2012   DAB    Communicate with Ms. Battle regarding staffing       L120     0.10 hrs
                    and work projects on upcoming examiner
                    interviews.
12/03/2012   DAB    Communicate with Ms. Marty regarding status of       L120     0.10 hrs
                    examiner productions.

12/03/2012   JRC    Revise ResCap's response to submission papers to     L210     0.60 hrs
                    the examiner on third-party releases based on
                    deposition testimony in MBIA v. RFC.
12/03/2012   JRC    Review and analyze deposition testimony of           L120     1.90 hrs
                    counsel for RFC in order to draft ResCap's
                    response to submission papers to the examiner on
                    third-party releases.
12/03/2012   JRC    Conference with Ms. Marty regarding quality          L120     0.10 hrs
                    control review of documents produced to the
                    examiner.
12/03/2012   JRC    Conference with Mr. Beekhuizen regarding             L120     0.10 hrs
                    ResCap's response to submissions to the examiner
                    on third-party releases.
12/03/2012   JRC    Review and analyze deposition testimony of a         L330     1.70 hrs
                    capital markets employee at RFC in order to draft
                    ResCap's response to submission papers to the
                    examiner on third-party releases.
12/03/2012   JRC    Review and analyze deposition testimony of a         L330     1.60 hrs
                    quality audit employee at RFC in order to draft
                    ResCap's response to submission papers to the
                    examiner on third-party releases.
12/03/2012   SP     Communicate with Ms. Marty regarding review          L120     0.90 hrs
                    process. (.30) Quality control review of documents
                    to be prodcued to examiner. (.60)
12/03/2012   SP     Analyze previously designated documents to be        L320     2.40 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
  932 00064                 Monthly Invoices Pg 968 of 1163
                                                         Invoice # 52883        Page 6
                    produced to the bankruptcy examiner in Discovery
                    Partner for privilege and confidentiality
                    designation.
12/03/2012   GNM    Draft and send e-mail to contract review team        L190     0.30 hrs
                    regarding new data load.

12/03/2012   GNM    Meet with Mr. Hoelzel (Contract Attorney)            L190     0.60 hrs
                    regarding quality control.

12/03/2012   GNM    Draft and send e-mail to quality control team        L190     0.60 hrs
                    regarding updated protocols and decision log.

12/03/2012   GNM    New reviewer training.                               L130     3.00 hrs


12/03/2012   GNM    Work in Discovery Partner database answering         L120     1.00 hrs
                    questions relating to privilege determinations and
                    issue tagging.
12/03/2012   GNM    Meet with Mr. Beck regarding previously produced     L190     0.10 hrs
                    documents.

12/03/2012   GNM    Meet with Ms. Battle regarding Bates prefix of       L190     0.10 hrs
                    produced documents

12/03/2012   GNM    Draft and send e-mail to Mr. Lipps regarding Bates   L190     0.20 hrs
                    prefix of produced documents.

12/03/2012   GNM    Draft and send e-mail to Ms. Battle regarding        L190     0.30 hrs
                    previously produced documents.

12/03/2012   GNM    Draft and send e-mails to Mr. Hoelzel (Contract      L190     0.50 hrs
                    Attorney), Mr. Winkler (Contract Attorney) and
                    Mr. Boyle regarding quality control.
12/03/2012   GNM    Telephone conference with Ms. Tice (Morrison &       L190     0.10 hrs
                    Foerster) regarding Bates prefix of produced
                    documents.
12/03/2012   GNM    Draft and send e-mails with Ms. Tice (Morrison &     L190     0.30 hrs
                    Foerster) regarding Bates prefix of produced
                    documents.
12/03/2012   GNM    Telephone conference with Mr. Bergelson              L190     0.10 hrs
                    (Morrison & Foerster) regarding previously
                    produced documents.
12/03/2012   GNM    Draft and send e-mail to Mr. Petraglia (Morrison &   L190     0.20 hrs
                    Foerster) regarding privilege determinations.

12/03/2012   GNM    Draft and send e-mail to Mr. Phillips regarding      L190     0.30 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
  932 00064                 Monthly Invoices Pg 969 of 1163
                                                         Invoice # 52883        Page 7
                    quality control review issues.

12/03/2012   AJM    Revise examiner privilege log for production 1 in    L320     5.70 hrs
                    response to concerns raised by Mr. Schwinger
                    (Chadbourne).
12/03/2012   SCM    Review e-mail and materials regarding second         L320     0.20 hrs
                    round of quality control review.

12/03/2012   MJB    Training on document review platform, including      L120     6.30 hrs
                    initial steps to set up my personal account on the
                    system. (3.00) Review document review manual in
                    preparation for training session. (3.30)
12/03/2012   HLB    Perform first tier review of examiner documents in   L120     4.30 hrs
                    Discovery Partner of Renzi batch 20 per examiner
                    review protocol.
12/03/2012   ABW    Review background materials regarding ResCap.        L120     2.00 hrs


12/03/2012   ABW    Attend training meeting with Ms. Marty.              L190     3.00 hrs


12/04/2012   AMP    Attention to Cerberus privilege log review.          L320     3.20 hrs


12/04/2012   AMP    Attention to issues regarding Rescap's privilege     L120     1.10 hrs
                    logs and legal department.

12/04/2012   AMP    Communicate with Mr. Barthel regarding assisting     L120     0.40 hrs
                    with Cerberus privilege logging project and issues
                    regarding joint representation/common interest.
12/04/2012   JAL    Review and redraft consolidated response to third    L120     1.30 hrs
                    party submission of creditors (.50). Conference
                    with Mr. Beekhuizen regarding same (.10).
                    Review and redraft Ms. Rock's preparation outline
                    (.30). Review and redraft Mr. Casey's preparation
                    outline (.20). Review e-mails regarding coverage
                    of examiner interviews (.20).
12/04/2012   MNB    Draft response to submissions to Examiner            L250    10.00 hrs
                    regarding third-party claims. (9.70) Conference
                    with Mr. Lipps regarding same. (.10) E-mails with
                    Mr. Corcoran regarding same. (.20)
12/04/2012   VLS    E-mail exchange with document reviewer Mr.           L320     0.20 hrs
                    Kasmika regarding status of document review
                    batch.
12/04/2012   VLS    E-mail exchange with document reviewer Ms.           L320     0.20 hrs
                    Early regarding status of document review batch.
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12/04/2012   VLS    E-mail exchange with document reviewer Ms.                  L320     0.20 hrs
                    Diem regarding status of document review batch.

12/04/2012   VLS    Monitor review status of document review team.              L320     0.40 hrs


12/04/2012   VLS    Update document review status chart.                        L320     0.60 hrs


12/04/2012   VLS    Monitor review status of quality control review             L320     0.60 hrs
                    team.

12/04/2012   VLS    Assignment of quality control batches for review.           L320     0.60 hrs


12/04/2012   VLS    Update document review status chart.                        L320     0.70 hrs


12/04/2012   JES    Revise Flees interview outline.                             L120     2.00 hrs


12/04/2012   RBS    Obtain examiner exhibits from Sharepoint for Mr.            L310     0.60 hrs
                    Senick interview.

12/04/2012   EPH    Privilege log quality control review for batch 57.   A104   L110     2.00 hrs


12/04/2012   NMR    2nd Level Review of privilege batch Jones 20.               L320     0.20 hrs


12/04/2012   JALB   Correspondence with Mr. Casey (former ResCap                L120     0.30 hrs
                    employee) regarding Examiner interview.

12/04/2012   JALB   Follow-up regarding Rock and James interviews.              L120     0.20 hrs


12/04/2012   JALB   Attention to staffing of quality control review.            L120     0.60 hrs


12/04/2012   JALB   Correspondence with Mr. Lipps and Mr. Sechler               L120     0.30 hrs
                    regarding interview preparation for Mr. Applegate
                    and Ms. Gess (both Residential Capital former
                    employees).
12/04/2012   MMM    Continue drafting Rock witness preparation                  L120     0.50 hrs
                    outline. (.30) Conference with Mr. Beck regarding
                    same. (.20)
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12/04/2012   MMM    Review of documents in preparation for Casey       L120      5.90 hrs
                    Examiner interview.

12/04/2012   MMM    Complete quality control review of batch 14.       L120      0.60 hrs


12/04/2012   DAB    Review and comment on jurisdictional brief for     L120      0.80 hrs
                    examiner.

12/04/2012   DAB    Review and comment on estate claims insert for     L120      0.80 hrs
                    steering committee response.

12/04/2012   DAB    Conference with Ms. Barrage (Morrison &            L120      0.20 hrs
                    Foerster) regarding jurisdictional issues for
                    examiner response.
12/04/2012   DAB    Conference with Ms. Mohler regarding issues for    L120      0.20 hrs
                    Ms. Rock preparation.

12/04/2012   DAB    Conference with Mr. Day (Morrison & Foerster)      L120      0.20 hrs
                    regarding preparation for upcoming examiner
                    interviews.
12/04/2012   JRC    Review and analyze deposition testimony of an      L330      1.90 hrs
                    MBIA employee in new business in order to draft
                    ResCap's response to submission papers to the
                    examiner on third-party releases.
12/04/2012   JRC    Review and analyze deposition testimony of an      L330      1.40 hrs
                    MBIA employee in risk in order to draft ResCap's
                    response to submission papers to the examiner on
                    third-party releases.
12/04/2012   JRC    Draft e-mail to Mr. Beekhuizen summarizing         L330      0.20 hrs
                    relevant MBIA testimony for ResCap's response to
                    submission papers to the examiner on third-party
                    releases.
12/04/2012   SP     Analyze previously designated documents to be      L320      7.10 hrs
                    produced to the bankruptcy examiner in Discovery
                    Partner for privilege and confidentiality
                    designation.
12/04/2012   GNM    Meet with Ms. Battle regarding status of           L190      0.70 hrs
                    productions for Examiner review.

12/04/2012   GNM    Update production metrics report.                  L120      0.60 hrs


12/04/2012   GNM    Draft memo to quality control team regarding       L190      0.60 hrs
                    second level review protocol.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
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12/04/2012   GNM    Telephone conference with DTI team regarding         L190     0.60 hrs
                    production pipeline and data migration.

12/04/2012   GNM    Draft and send e-mail to review team regarding       L190     0.20 hrs
                    new data.

12/04/2012   GNM    Draft and send e-mail to quality control team        L190     0.20 hrs
                    regarding updated protocols and decision log.

12/04/2012   GNM    E-mail with Mr. Boyle regarding privilege            L190     0.20 hrs
                    determinations.

12/04/2012   GNM    Work in Discovery Partner database preparing data    L120     0.80 hrs
                    for production.

12/04/2012   GNM    Draft and send e-mail to Mr. Shipler (DTI)           L190     0.30 hrs
                    regarding data for production.

12/04/2012   GNM    E-mail with Mr. Underhill (Residential Capital)      L190     0.20 hrs
                    regarding data migration.

12/04/2012   GNM    Work in Discovery Partner database performing        L120     4.30 hrs
                    second level review of documents as outlined by
                    the quality control protocol.
12/04/2012   GNM    Edit e-mail response regarding future timing of      L190     0.70 hrs
                    productions and data migration drafted by Mr.
                    Brown (Morrison & Foerster).
12/04/2012   AJM    Revise examiner privilege log for production 1 in    L320     5.40 hrs
                    response to concerns raised by Mr. Schwinger.

12/04/2012   AJM    Revise examiner privilege log for production 4 in    L320     0.80 hrs
                    response to concerns raised by Mr. Schwinger.

12/04/2012   SCM    Quality control review of Olson 004 documents.       L320     1.40 hrs


12/04/2012   MJB    Review documents held out of first production for    L320     4.90 hrs
                    possible privilege to determine privileged status.

12/04/2012   HLB    Meet with Ms. Marty regarding Quality Control        L120     1.00 hrs
                    training and Quality Control protocol.

12/04/2012   HLB    Perform first tier review of examiner documents in   L120     1.20 hrs
                    Discovery Partner of Renzi batch 20 per examiner
                    review protocol.
12/04/2012   HLB    Perform quality control review of Renzi batch 5 in   L120     2.20 hrs
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                    Discovery Partner per examiner review protocol.

12/04/2012   ABW    Review documents from initial privilege batch for    L120     2.00 hrs
                    quality control purposes.

12/05/2012   AMP    Attention to review of Lazard's initial highly       L320     2.10 hrs
                    confidential documents for privilege and potential
                    clawback.
12/05/2012   AMP    Multiple e-mails with Morrison & Foerster and        L320     0.60 hrs
                    review team regarding Lazard documents.

12/05/2012   AMP    Attention to amended privilege logs for production   L320     0.90 hrs
                    Nos. 1 and 4.

12/05/2012   AMP    Review documents production Nos. 1 and 4.            L320     0.80 hrs


12/05/2012   AMP    Attention to privilege log issues.                   L320     0.20 hrs


12/05/2012   AMP    Review e-mail from Mr. Brown (Morrison &             L120     0.20 hrs
                    Foerster) regarding plan to have call with
                    Examiner's counsel to discuss.
12/05/2012   AMP    Multiple e-mails with Morrison & Foerster            L120     0.40 hrs
                    regarding privilege log and legal department
                    issues.
12/05/2012   JAL    Prepare for Ms. Rock's interview (.60). Review       L120     2.50 hrs
                    outline and documents regarding same (.60).
                    Review interview outline for Mr. Applegate (.10).
                    Conference with Ms. Battle regarding same (.10).
                    Review and respond to e-mails regarding
                    scheduling additional interviews (.20). Review
                    and redraft omnibus response to creditors third
                    party submission (.80). Review e-mails regarding
                    Mesirom accounting meetings (10).
12/05/2012   MNB    Attention to completing and doublechecking           L250     1.60 hrs
                    factual references in main response to third-party
                    submissions to Examiner.
12/05/2012   MNB    Draft and revise response to Steering Committee      L250     3.60 hrs
                    submission to Examiner regarding third-party
                    claims.
12/05/2012   VLS    Monitor review status of quality control review      L320     0.60 hrs
                    team.

12/05/2012   VLS    Assignment of quality control batches.               L320     0.40 hrs
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12/05/2012   VLS    Update document review status chart.                         L320     0.60 hrs


12/05/2012   VLS    E-mail exchange with quality control document                L320     0.20 hrs
                    reviewer Ms. Chinn regarding batch status.

12/05/2012   VLS    E-mail exchange with quality control document                L320     0.20 hrs
                    reviewer Mr. Massey regarding batch status.

12/05/2012   VLS    E-mail exchange with quality control document                L320     0.20 hrs
                    reviewer Mr. Huzofa regarding batch status.

12/05/2012   VLS    E-mail exchange with document reviewer Ms.                   L320     0.20 hrs
                    Early regarding batch status.

12/05/2012   VLS    E-mail exchange with document reviewer Ms.                   L320     0.20 hrs
                    Diem regarding batch status.

12/05/2012   JES    Update Applegate and Flees interview preparation             L120     1.00 hrs
                    notebooks. (.90) Conference with Ms. Battle
                    regarding Flees interview preparations. (.10)
12/05/2012   RBS    Prepare electronic set of Mr. Applegate's interview          L310     2.10 hrs
                    preparation kit for Mr. Sechler.

12/05/2012   RBS    Upload Mr. Applegate's witness preparation kit to            L310     0.30 hrs
                    Sharepoint.

12/05/2012   RBS    Prepare electronic set of Mr. Flee's documents for           L310     2.10 hrs
                    interview witness preparation kit for Mr. Sechler.

12/05/2012   EPH    Privilege log quality control review for batch 57.    A104   L110     2.00 hrs


12/05/2012   NMR    2nd Level Review privilege batch of Jones 2.                 L320     0.30 hrs


12/05/2012   JALB   Discuss preparation memorandum for Ms. Rock                  L120     0.30 hrs
                    interview with Ms. Mohler.

12/05/2012   JALB   Review preparation materials for Mr. Applegate               L330     0.70 hrs
                    interview.

12/05/2012   JALB   Correspondence with Mr. Applegate (former                    L120     0.60 hrs
                    Residential Capital), Ms. Levitt (Morrison &
                    Foerster) and Mr. Sechler regarding Applegate
                    preparation materials and preparation and
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                    interview logistics.
12/05/2012   JALB   Review preparation memorandum for Ms. Rock            L330     0.40 hrs
                    interview.

12/05/2012   JALB   Attention to quality control staffing for privilege   L320     0.30 hrs
                    review.

12/05/2012   JALB   Follow-up with Mr. Sechler regarding materials for    L120     0.10 hrs
                    Mr. Flees (former Residential Capital) interview
                    preparation meeting.
12/05/2012   JALB   Begin review of various memoranda summarizing         L120     0.60 hrs
                    prior interviews conducted by Examiner's counsel.

12/05/2012   MMM    Continue review of documents for Casey witness        L120     6.20 hrs
                    preparation and continue drafting witness
                    preparation outline. (5.90) Conference with Ms.
                    Battle regarding comments on Rock preparation
                    outline. (.30)
12/05/2012   MMM    Review documents for Bossidy witness preparation      L120     3.10 hrs
                    and draft witness preparation outline.

12/05/2012   MMM    Continue drafting Rock witness preparation            L120     0.40 hrs
                    outline.

12/05/2012   DAB    Review and comment on Ms. Rock examiner               L120     0.60 hrs
                    preparation outline.

12/05/2012   JRC    Review and analyze deposition testimony of risk       L120     0.90 hrs
                    employee at RFC in order to draft ResCap's
                    response to submissions to examiner on third-party
                    releases.
12/05/2012   JRC    Conference with Mr. Beekhuizen regarding              L120     0.10 hrs
                    ResCap's response to submissions to examiner on
                    third-party releases.
12/05/2012   SP     Analyze previously designated documents to be         L320     4.40 hrs
                    produced to the bankruptcy examiner in Discovery
                    Partner for privilege and confidentiality
                    designation.
12/05/2012   SP     Review board materials and other documents to         L120     2.20 hrs
                    assess ResCap independence from Ally and
                    number of independent board members.
12/05/2012   GNM    Work in Discovery Partner answering quality           L120     0.40 hrs
                    control team questions regarding privilege
                    determinations.
12/05/2012   GNM    E-mail with Ms. Mohler regarding data in              L190     0.20 hrs
                    Discovery Partner.
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12/05/2012   GNM    E-mails with Ms. Battle regarding privilege log     L190     0.10 hrs
                    supplemental productions.

12/05/2012   GNM    Draft and send e-mail to new quality control team   L190     0.20 hrs
                    members regarding protocol and training.

12/05/2012   GNM    Telephone conferences with Ms. Klun (Lumen          L190     0.60 hrs
                    Legal) regarding reviewer progress.

12/05/2012   GNM    Draft and send e-mail to Ms. Klun (Lumen Legal)     L190     0.30 hrs
                    regarding reviewer progress.

12/05/2012   GNM    Draft and send e-mails to Mr. Brown and Mr.         L190     0.40 hrs
                    Salerno (Morrison & Foerster) regarding privilege
                    log supplemental productions.
12/05/2012   AJM    Revise examiner privilege log for production 4 in   L320     7.60 hrs
                    response to concerns raised by Mr. Schwinger of
                    Chadbourne.
12/05/2012   SCM    Quality control review of Olson 004 documents.      L320     0.90 hrs


12/05/2012   MJB    Continue to review documents held out of first      L320     5.50 hrs
                    production for possible privilege to determine
                    privileged status.
12/05/2012   HLB    Performed quality control review of examiner        L120     3.70 hrs
                    documents in Geirtz batch 8.

12/05/2012   ABW    Review documents from initial privilege batch       L120     3.00 hrs
                    regarding quality control.

12/06/2012   AMP    Attention to status of privilege log productions.   L320     0.30 hrs


12/06/2012   AMP    E-mails with Ms. Battle regarding status of         L320     0.20 hrs
                    privilege log productions.

12/06/2012   AMP    Attention to deadlines to submit amended logs and   L120     0.30 hrs
                    additional logs.

12/06/2012   AMP    E-mails with Mr. Molnar regarding deadlines to      L120     0.20 hrs
                    submit amended logs and additional logs.

12/06/2012   AMP    Attention to reviewing and revising amended log     L320     2.90 hrs
                    for production No. 4.
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12/06/2012   AMP    E-mails with Mr. Molnar regarding reviewing and      L320     0.20 hrs
                    revising amended log for production No. 4.

12/06/2012   JAL    Telephone conference with Ms. Levitt and Mr.         L120     3.30 hrs
                    Skidmore, Ally's counsel, regarding response to
                    third party claims submissions by creditors (.50).
                    Review and redraft response to steering
                    committee's submission (.70). Review and redraft
                    response to other creditors' submissions on third
                    party claims (.50). Telephone conference with Mr.
                    Beekhuizen regarding revisions to same (.20).
                    Review and respond to e-mails regarding same
                    (.10). Review draft of Metromedia section (.40).
                    Conference with Mr. Beekhuizen regarding same
                    (.10). Review and respond to e-mails regarding
                    same (.10). Review and respond to e-mails
                    regarding Ms. Rock's preparation (.20). Review
                    and revise Ms. Rock's preparation outline (.30).
                    Review and respond to e-mails regarding examiner
                    interviews (.20).
12/06/2012   MNB    Research Delaware law regarding facts sufficient     L120     0.70 hrs
                    to allege alter ego claim.

12/06/2012   MNB    Draft and revise main response to submissions to     L250     7.20 hrs
                    Examiner regarding third-party claims. (6.90)
                    Multiple conferences with Mr. Lipps regarding
                    revisions to submissions. (.30)
12/06/2012   VLS    Monitor review status of document review team.       L320     0.40 hrs


12/06/2012   VLS    Assignment of document review batches.               L320     0.60 hrs


12/06/2012   VLS    Update document review status chart.                 L320     0.40 hrs


12/06/2012   VLS    Update document review status chart with new         L320     1.40 hrs
                    custodians.

12/06/2012   VLS    E-mail exchange with Mr. Bennett in IT               L320     0.20 hrs
                    department regarding update to document review
                    group e-mail list.
12/06/2012   VLS    Monitor review status of quality control review      L320     1.20 hrs
                    team.

12/06/2012   VLS    Assignment of quality control review batches.        L320     2.60 hrs
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12/06/2012   VLS    Update document quality control review status               L320     1.80 hrs
                    chart.

12/06/2012   JES    Finalize Flees interview outline.                           L120     1.50 hrs


12/06/2012   JES    Begin drafting Paradis interview outline.                   L120     1.50 hrs


12/06/2012   RBS    Upload Mr. Flees' interview preparation kit to              L310     0.30 hrs
                    Sharepoint.

12/06/2012   RBS    Prepare electronic set of Ms. Rock interview                L310     1.60 hrs
                    preparation kit.

12/06/2012   RBS    Upload Ms. Rock's interview preparation kit to              L310     0.60 hrs
                    Sharepoint.

12/06/2012   EPH    Privilege log quality control review for batch 57.   A104   L110     1.20 hrs


12/06/2012   JALB   Follow-up correspondence with former employee               L120     0.30 hrs
                    witnesses and Mr. Illovsky (Morrison & Foerster)
                    regarding scheduling.
12/06/2012   JALB   Meet with Mr. Applegate to prepare for examiner             L330     4.20 hrs
                    interview.

12/06/2012   JALB   Meet with Mr. Brown (Morrison & Foerster)                   L120     0.40 hrs
                    regarding follow-up on document collection.

12/06/2012   JALB   Review Mr. Applegate preparation materials to               L330     2.90 hrs
                    prepare for meeting.

12/06/2012   JALB   Various e-mails among Ms. Levitt, Mr. Lee, Mr.              L120     0.60 hrs
                    Salerno, Mr. Brown (all Morrison & Foerster)
                    revising draft communication to Chadbourne &
                    Parke regarding status of document discovery.
12/06/2012   DJB    Communications with David Brown (Morrison                   L120     0.40 hrs
                    Foerster), Ms. Battle, and Mr. Corcoran regarding
                    review and production of Laura Reichel's notebook
                    to the Examiner.
12/06/2012   DAB    Communicate with Ms. Battle, Mr. Sechler and                L120     0.10 hrs
                    Ms. Mohler regarding fiduciary duty presentations.
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12/06/2012   DAB    Conference with Mr. Lipps regarding papers for     L120      0.10 hrs
                    examiner on third party claims.

12/06/2012   DAB    Conference with Mr. Beekhuizen regarding           L120      0.10 hrs
                    remaining information needed on third party
                    submission paper response.
12/06/2012   DAB    Review response to steering committee response     L120      0.20 hrs
                    and identify sources of information to fill open
                    citations in paper.
12/06/2012   DAB    E-mail with Ms. Mohler regarding issues for        L120      0.30 hrs
                    examiner interview of Mr. Casey.

12/06/2012   DAB    Call with Mr. Lee, Ms. Levitt, Ms. Barrage         L120      0.50 hrs
                    (Morrison & Foerster), Mr. Beekhuizen and Mr.
                    Lipps regarding examiner interviews and third
                    party submission response.
12/06/2012   JRC    Review documents produced in MBIA v. RFC in        L320      0.20 hrs
                    order to determine whether handwritten notes of
                    RFC employee should be produced to the
                    bankruptcy examiner.
12/06/2012   JRC    Research state blue sky laws in order to draft     L120      1.40 hrs
                    ResCap's response to submission papers to
                    examiner on third-party releases.
12/06/2012   SP     Analyze previously designated documents to be      L320      6.10 hrs
                    produced to the bankruptcy examiner in Discovery
                    Partner for privilege and confidentiality
                    designation.
12/06/2012   SP     Communicate with Ms. Battle and Mr. Sechler        L120      0.60 hrs
                    regarding a discovery issue relating to a
                    memorandum drafted by Mr. Marple.
12/06/2012   SP     Perform research for Mr. Beekhuizen relating to    L120      1.90 hrs
                    corporate veil-piercing.

12/06/2012   GNM    Draft and send e-mail to review team regarding     L190      0.20 hrs
                    data migration.

12/06/2012   GNM    New reviewer training.                             L130      3.30 hrs


12/06/2012   GNM    Draff and send e-mail to Mr. Shipler (DTI)         L190      0.20 hrs
                    regarding data for production.

12/06/2012   GNM    Draft and send e-mail to review team regarding     L190      0.60 hrs
                    Cerberus data.

12/06/2012   GNM    E-mail with Ms. Buchanan regarding quality         L190      0.20 hrs
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                    control protocol.

12/06/2012   GNM    Work in Discovery Partner answering quality          L120     0.80 hrs
                    control team questions regarding privilege
                    determinations.
12/06/2012   GNM    Draft and send memo to Ms. Battle regarding          L190     0.90 hrs
                    production metrics, staffing and production
                    pipeline.
12/06/2012   GNM    Draft and send e-mail to new quality control team    L190     0.50 hrs
                    members regarding protocol.

12/06/2012   GNM    Draft and send e-mail to Mr. Shipler (DTI)           L190     0.30 hrs
                    regarding Cerberus sub-project.

12/06/2012   GNM    E-mail with Mr. Underhill (Residential Capital)      L190     0.20 hrs
                    regarding data migration.

12/06/2012   AJM    Revise examiner privilege log for production 4 in    L320     8.30 hrs
                    response to concerns raised by Mr. Schwinger.

12/06/2012   SCM    Quality control review of Olson 004 documents.       L320     2.40 hrs


12/06/2012   MJB    Continue to review documents held out of first       L320     6.10 hrs
                    production for possible privilege to determine
                    privileged status.
12/06/2012   HLB    Performed quality control review of examiner         L120     5.10 hrs
                    documents for Geirtz batch 8.

12/06/2012   ABW    Review documents from initial privilege batch        L120     1.90 hrs
                    regarding quality control.

12/07/2012   AMP    Attention to privilege logs amended for production   L320     1.90 hrs
                    Nos. 1, 4, and 5.

12/07/2012   AMP    Multiple e-mails with Mr. Brown (Morrison &          L320     0.30 hrs
                    Foerster) regarding privilege logs amended for
                    production Nos. 1, 4, and 5.
12/07/2012   AMP    Attention to scheduling call with Examiner to        L120     0.30 hrs
                    address privilege log and legal department (CI/JR)
                    issues.
12/07/2012   AMP    Multiple e-mails with Morrison & Foerster            L120     0.20 hrs
                    regarding scheduling call with Examiner to address
                    privilege log and legal department (CI/JR) issues.
12/07/2012   AMP    Attention to circulating privilege review protocol   L120     0.20 hrs
                    documents to team.
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12/07/2012   AMP    Conference with Mr. Molnar regarding preparing         L120     0.20 hrs
                    privilege log preparation memorandum.

12/07/2012   AMP    Revise and edit privilege log preparation              L120     0.40 hrs
                    memorandum.

12/07/2012   AMP    Attention to review and logging of Cerberus data       L320     0.90 hrs
                    from production No. 1, set 1.

12/07/2012   AMP    Review e-mails regarding Lazard privilege review.      L120     0.20 hrs


12/07/2012   AMP    Conference with Mr. Phillips and Mr. Molnar            L320     0.40 hrs
                    regarding assisting on privilege logs for production
                    Nos. 6 and 7.
12/07/2012   JAL    Prepare for conference call regarding accounting       L120     1.30 hrs
                    issues meeting and preparation for Ms. Rock (.30).
                    Telephone conference with Ms. Mohler regarding
                    same (.10). Review e-mails regarding same (.10).
                    Participate on call with Morrison Foerster lawyers
                    and Ms. Mohler to address Ms. Rock's preparation
                    (.50). Review Mr. Casey's preparation outline
                    (.20). Review e-mails regarding Mr. Paradis'
                    preparation (.10).
12/07/2012   VLS    E-mail exchange with Mr. Shipler at DTI regarding      L320     0.40 hrs
                    reports function in Discovery Partner.

12/07/2012   VLS    Monitor review status of document review team.         L320     1.70 hrs


12/07/2012   VLS    Assignment of document review batches.                 L320     2.80 hrs


12/07/2012   VLS    Update document review status chart.                   L320     0.80 hrs


12/07/2012   VLS    Monitor review status of document review quality       L320     0.60 hrs
                    control team.

12/07/2012   VLS    Assignment of document review quality control          L320     1.70 hrs
                    batches.

12/07/2012   VLS    Update document quality control status chart.          L320     1.20 hrs


12/07/2012   VLS    Preparation of examiner quality control team           L320     0.80 hrs
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                    weekly assignments and progress summary chart.

12/07/2012   JES    Review additional documents and finalize Paradis            L120     3.00 hrs
                    outline.

12/07/2012   RBS    Upload Mr. Paradis interview preparation kit to             L310     0.40 hrs
                    Sharepoint for Mr. Sechler.

12/07/2012   RBS    Upload Mr. Casey interview preparation kit to               L310     0.40 hrs
                    Sharepoint for Mr. Sechler.

12/07/2012   EPH    Privilege log quality control review for batch 57.   A104   L110     1.20 hrs


12/07/2012   TKI    Review e-mail documents for quality control                 L120     2.20 hrs
                    purposes for Applegate 10 batch.

12/07/2012   NMR    2nd Level Review privilege batch.                           L320     1.00 hrs


12/07/2012   JALB   Attend interview of Mr. Applegate.                          L330     6.40 hrs


12/07/2012   JALB   Correspondence with Mr. Sechler, Ms. Mohler,                L120     0.50 hrs
                    Mr. Beck, Mr. Lipps regarding key documents and
                    issues raised in Mr. Applegate's interview.
12/07/2012   JALB   Review outline of Mr. Casey's deposition                    L330     0.30 hrs
                    preparation memorandum.

12/07/2012   JALB   Correspondence with Morrison & Foerster team                L120     0.80 hrs
                    (Mr. Lee, Ms. Levitt, Mr. Salerno, Mr. Brown)
                    regarding status of document production and
                    response to Chadbourne regarding same.
12/07/2012   JALB   Prepare revised draft e-mail to Chadbourne                  L120     0.40 hrs
                    regarding status of document production.

12/07/2012   DJB    Draft e-mails to Ms. Paul Whitfield, Ms. Marty,             L120     1.80 hrs
                    and EED-DTI regarding review and creation of
                    privilege log for subpoenaed documents marked
                    potentially privileged by Cerberus to assist
                    Morrison Foerster in its production to the
                    Examiner.
12/07/2012   DJB    Quality check for responsiveness, privilege,                L120     3.90 hrs
                    redactions, and issues concerning contract
                    reviewers' first level coding of documents (Geirtz
                    Batch 3 - reviewed by Deshaun Harris) potentially
                    responsive to Examiner's document requests to
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                    assist Morrison Foerster.
12/07/2012   MMM    Prepare binder of relevant documents for examiner     L120     4.70 hrs
                    interview of Mr. Bossidy. (4.40) Conference with
                    Mr. Corcoran regarding same. (.30)
12/07/2012   MMM    Prepare binder of relevant documents for examiner     L120     3.50 hrs
                    interview of Mr. Casey. (3.30) Conference with
                    Mr. Beck regarding same. (.20)
12/07/2012   MMM    Prepare for and participate in telephone call         L120     1.00 hrs
                    regarding Rock interview. (.70) Summarize call
                    regarding same and forward to Mr. Lipps. (.30)
12/07/2012   DAB    Review and comment on draft examiner interview        L330     0.70 hrs
                    preparation outline for Mr. Casey.

12/07/2012   DAB    Conference with Ms. Mohler regarding additional       L120     0.20 hrs
                    issues for Casey outline.

12/07/2012   DAB    Conference with Mr. Phillips regarding                L120     0.30 hrs
                    information needed for response to steering
                    committee paper on third party claims.
12/07/2012   DAB    Conference with Mr. Phillips regarding briefing on    L120     0.30 hrs
                    statute of limitations needed for omnibus response.

12/07/2012   DAB    Communicate with Mr. Klein (Morrison &                L120     0.10 hrs
                    Foerster) regarding indemnification agreements
                    relevant to third party response.
12/07/2012   DAB    Research regarding indemnification agreements         L120     0.10 hrs
                    between Ally and Residential Captial.

12/07/2012   DAB    Research regarding question of Ms. Vasiliu            L120     0.20 hrs
                    (Morrison & Foerster) regarding escrows.

12/07/2012   DAB    E-mail Ms. Vasiliu, Mr. Day and Ms. Levitt            L120     0.10 hrs
                    (Morrison & Foerster) regarding escrows.

12/07/2012   JRC    E-mail exchanges with document reviewers              L320     0.10 hrs
                    regarding proper coding of documents in
                    Discovery Partner under examiner review protocol.
12/07/2012   JRC    Research state blue sky laws in order to draft        L120     1.10 hrs
                    ResCap's response to submission papers to
                    examiner on third-party releases.
12/07/2012   JRC    Draft e-mail to Mr. Beekhuizen summarizing            L120     0.20 hrs
                    relevant state blue sky laws.

12/07/2012   JRC    Review deposition testimony from MBIA v. RFC          L120     0.90 hrs
                    in order to draft ResCap's response to submission
                    papers to examiner on third-party releases.
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12/07/2012   JRC    Conference with Ms. Mohler regarding examiner        L120     0.30 hrs
                    interview preparation materials for Mr. Bossidy.

12/07/2012   JRC    Review and analyze documents in Discovery            L320     0.60 hrs
                    Partner in order to prepare interview preparation
                    materials for Mr. Bossidy.
12/07/2012   SP     Communicate with Ms. Paul-Whitfield and Mr.          L320     1.10 hrs
                    Molnar regarding privilege logs for examiner
                    productions. (.50) Conference with Mr. Beck
                    regarding statute of limitations research. (.30)
12/07/2012   SP     Conference with Mr. Beck (.30) and Mr.               L120     0.60 hrs
                    Beekhuizen (.30) regarding Steering Committee
                    response.
12/07/2012   SP     Review and revise privilege logs with privilege      L120     2.30 hrs
                    designations and explanations.

12/07/2012   SP     Review and revise response to Steering Committee     L120     2.30 hrs
                    response per discussions with Mr. Beck and Mr.
                    Beekhuizen.
12/07/2012   SP     Review documents cited in the Steering Committee     L120     2.10 hrs
                    response for appropriate citation.

12/07/2012   GNM    Work in Discovery Partner database answering         L120     1.10 hrs
                    reviewer questions relating to privilege
                    determinations and issue tagging.
12/07/2012   GNM    Draft and send e-mail to Ms. Battle regarding data   L190     0.30 hrs
                    volume and staffing levels.

12/07/2012   GNM    Draft and send e-mail to Ms. Battle regarding        L190     0.30 hrs
                    production time-line.

12/07/2012   GNM    E-mail with Ms. Battle regarding staffing levels.    L190     0.20 hrs


12/07/2012   GNM    Meet with review team regarding Cerberus data.       L190     0.40 hrs


12/07/2012   GNM    Meet with Ms. Paul Whitfield regarding review of     L190     0.60 hrs
                    Cerberus data.

12/07/2012   GNM    Meet with Ms. Sholl regarding production pipeline    L190     0.60 hrs
                    and reviewer progress.

12/07/2012   GNM    E-mail with Mr. Levine (Morrison & Foerster)         L190     0.20 hrs
                    regarding the quality control protocol.
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12/07/2012   GNM    Conduct new reviewer training.                          L130     2.10 hrs


12/07/2012   AJM    Revise examiner privilege log for production 5 in       L320     1.70 hrs
                    response to concerns raised by Mr. Schwinger of
                    Chadbourne.
12/07/2012   AJM    Conference with Ms. Paul Whitfield to discuss           L320     0.40 hrs
                    revisions of privilege logs in response to concerns
                    raised by Mr. Schwinger of Chadbourne.
12/07/2012   AJM    Conference with Ms. Paul Whitfield and Mr.              L320     0.50 hrs
                    Phillips to discuss revisions of privilege logs in
                    response to concerns raised by Mr. Schwinger of
                    Chadbourne.
12/07/2012   AJM    Revise examiner privilege log for production 1 in       L320     2.40 hrs
                    response to concerns raised by Mr. Schwinger of
                    Chadbourne.
12/07/2012   AJM    Draft examiner privilege log drafting protocol for      L320     2.40 hrs
                    use in revising privilege logs for production sets 1,
                    4, & 5 and for future logs.
12/07/2012   AJM    Draft e-mail to Ms. Paul Whitfield discussing           L320     0.20 hrs
                    Examiner document productions and
                    corresponding privilege log items.
12/07/2012   SCM    Quality control review of Olson 004 documents.          L320     2.30 hrs


12/07/2012   MJB    Continue to review documents held out of first          L320     8.30 hrs
                    production for possible privilege to determine
                    privileged status. (3.70) Perform quality control on
                    a batch of documents previously reviewed by
                    contract attorneys. (4.60)
12/07/2012   HLB    Performed quality control examiner review of            L120     4.80 hrs
                    batch Geirtz 8.

12/07/2012   ABW    Review documents from initial privilege batch           L120     1.80 hrs
                    regarding quality control.

12/08/2012   AMP    E-mails with Mr. Molnar and Mr. Phillips                L320     0.70 hrs
                    regarding privilege logs for production Nos. 6, 7,
                    and 8.
12/08/2012   AMP    Attention to availability of latest Cerberus data for   L320     0.60 hrs
                    privilege review and CI/JR determinations.

12/08/2012   AMP    Multiple e-mails with Mr. Barthel and vendor            L120     0.40 hrs
                    regarding latest Cerberus data for privilege review
                    and CI/JR determinations.
12/08/2012   AMP    Review reports of privilege logs for production         L320     0.40 hrs
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                    Nos. 6, 7, and 8 to determine distinction and
                    overlap.
12/08/2012   AMP    Review documents distinction and overlap             L320     1.10 hrs
                    regarding privilege logs for production Nos. 6, 7,
                    and 8.
12/08/2012   TKI    Review e-mail documents for quality control          L120     0.60 hrs
                    purposes for Applegate 10 batch.

12/08/2012   JALB   Correspondence with Mr. Illovsky, Mr. Day (both      L120     0.30 hrs
                    Morrison & Foerster) and Mr. Lipps regarding
                    scheduling and coverage of witness interviews and
                    preparation sessions.
12/08/2012   JALB   Review correspondence from Mr. Sechler               L120     0.10 hrs
                    regarding preparation materials for Mr. Paradis's
                    (former Residential Capital) interview.
12/08/2012   JALB   Correspond with Mr. Powell (Kirkland & Ellis)        L120     0.10 hrs
                    regarding deposition scheduling.

12/08/2012   JRC    E-mail exchanges with document reviewers             L320     0.20 hrs
                    regarding proper coding of documents in
                    Discovery Partner under examiner review protocol.
12/08/2012   SP     E-mails with Ms. Paul-Whitfield and Mr. Molnar       L120     0.60 hrs
                    regarding privilege logs. (.20) Conference with
                    Mr. Molnar regarding same. (.40)
12/08/2012   SP     Analyze previously designated documents to be        L320     1.80 hrs
                    produced to the bankruptcy examiner in Discovery
                    Partner for privilege and confidentiality
                    designation.
12/08/2012   SP     Review and revise privilege logs with privilege      L120     5.30 hrs
                    designations and explanations.

12/08/2012   GNM    E-mail with Mr. Barthel regarding Cerberus data.     L190     0.20 hrs


12/08/2012   GNM    Work in Discovery Partner database configuring       L120     0.20 hrs
                    new data for review.

12/08/2012   GNM    E-mail with Ms. Sholl regarding new data for         L190     0.10 hrs
                    review.

12/08/2012   GNM    E-mail with Mr. Henry regarding quality control      L190     0.10 hrs
                    protocol.

12/08/2012   GNM    Draft and send e-mail communications to Mr.          L190     0.30 hrs
                    DosSantos (Morrison & Foerster) regarding
                    attorney designations.
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12/08/2012   AJM    Revise examiner privilege log for production 1 in           L320     2.50 hrs
                    response to concerns raised by Mr. Schwinger
                    (Chadbourne).
12/08/2012   AJM    Revise examiner privilege log for production 4 in           L320     2.10 hrs
                    response to concerns raised by Mr. Schwinger
                    (Chadbourne).
12/08/2012   AJM    Telephone conference with Mr. Phillips to discuss           L320     0.30 hrs
                    drafting of privilege log for Examiner production
                    set 7.
12/08/2012   ABW    Review documents from initial privilege batch               L120     1.00 hrs
                    regarding quality control.

12/09/2012   AMP    E-mails with Mr. Molnar and Mr. Phillips                    L320     0.40 hrs
                    regarding privilege logs for production Nos. 7 and
                    8.
12/09/2012   AMP    Review documents for privilege logs for                     L320     0.90 hrs
                    production Nos. 7 and 8.

12/09/2012   AMP    Revise draft log for production No. 7.                      L320     2.30 hrs


12/09/2012   AMP    Attention to review of Cerberus data for privilege          L320     0.40 hrs
                    purposes.

12/09/2012   AMP    E-mails with Mr. Barthel regarding review of                L120     0.20 hrs
                    Cerberus data for privilege purposes.

12/09/2012   JAL    Review and respond to e-mails regarding coverage            L120     0.50 hrs
                    of examiner interviews (.10). Telephone
                    conference with Ms. Battle regarding same (.10).
                    Review examiner interview schedule e-mails (.10).
                    Review steering committee submission response
                    (.20).
12/09/2012   MNB    Draft and revise debtors' omnibus response to               L250     3.00 hrs
                    third-party submissions to Examiner regarding
                    release of third-party claims.
12/09/2012   MNB    Review proposed revisions to debtors' response to           L250     0.70 hrs
                    Steering Committee submission to Examiner
                    regarding release of third-party claims. (.40)
                    Conference with Mr. Philips regarding same. (.30)
12/09/2012   EPH    Privilege log quality control review for batch 57.   A104   L110     3.50 hrs


12/09/2012   TKI    Review e-mail documents for quality control                 L120     2.30 hrs
                    purposes for Applegate 10 batch.
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12/09/2012   JALB   Attention to witness preparation and scheduling.       L330     0.60 hrs


12/09/2012   JALB   Correspondence with Mr. Paradis regarding              L120     0.20 hrs
                    interview.

12/09/2012   JRC    Draft outline of interview preparation materials for   L120     2.80 hrs
                    Mr. Bossidy's interview with examiner.

12/09/2012   JRC    Review exhibits previously marked during               L120     0.80 hrs
                    examiner interviews in order to prepare interview
                    preparation materials for Mr. Bossidy.
12/09/2012   JRC    Review e-mails produced to the examiner in order       L320     4.20 hrs
                    to prepare examiner interview preparation
                    materials for Mr. Bossidy.
12/09/2012   SP     Analyze previously designated documents to be          L320     3.20 hrs
                    produced to the bankruptcy examiner in Discovery
                    Partner for privilege and confidentiality
                    designation.
12/09/2012   SP     Review and revise privilege logs with privilege        L120     5.30 hrs
                    designations and explanations.

12/09/2012   SP     Conference with Mr. Beekhuizen regarding               L120     0.30 hrs
                    response to the submission of the Steering
                    Committee.
12/09/2012   AJM    Revise examiner privilege log for production 4 in      L320     0.30 hrs
                    response to concerns raised by Mr. Schwinger.

12/09/2012   SCM    Quality control review of Olson 004 documents.         L320     5.30 hrs


12/09/2012   ABW    E-mail with Ms. Marty regarding quality control        L190     0.10 hrs
                    assignment.

12/09/2012   ABW    Review documents from initial privilege batch          L120     1.60 hrs
                    regarding quality control.

12/10/2012   AMP    Attention to revising and finalizing amended           L320     2.10 hrs
                    privilege log for production No. 1.

12/10/2012   AMP    Conference call with Morrison & Foerster to            L320     0.50 hrs
                    discuss privilege log issues.

12/10/2012   AMP    Conference call with Morrison & Foerster and           L320     0.90 hrs
                    Examiner's counsel regarding privilege log issues.
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12/10/2012   AMP    Attention to revising and finalizing amended             L320     3.20 hrs
                    privilege log for production No. 4.

12/10/2012   AMP    E-mails with Morrison & Foerster regarding               L320     0.70 hrs
                    privilege log.

12/10/2012   AMP    Attention to status of RCG group.                        L120     0.10 hrs


12/10/2012   AMP    Attention to review status of Cerberus' production       L320     1.10 hrs
                    No. 1, set 2.

12/10/2012   AMP    Review e-mail from Mr. Brown (Morrison &                 L320     0.20 hrs
                    Foerster) regarding inquiry into redacted document
                    from Mr. Casey.
12/10/2012   AMP    Attention to single entry privilege log for particular   L320     0.50 hrs
                    document requested by examiner.

12/10/2012   JAL    Review and respond to e-mails regarding examiner         L120     0.80 hrs
                    interviews and witness preparation (.10).
                    Telephone conference with Ms. Battle regarding
                    same (.10). Review draft of response to steering
                    committee submission (.40). Telephone
                    conference with Mr. Beekhuizen regarding same
                    (.10). Review e-mail regarding same (.10).
12/10/2012   MNB    Draft and revise debtors' omnibus response to            L250     6.30 hrs
                    submissions to Examiner regarding release of
                    third-party claims.
12/10/2012   MNB    Draft and revise response to Steering Committee          L250     2.20 hrs
                    submission to Examiner regarding release of
                    third-party claims. (2.10) Conference with Mr.
                    Lipps regarding same. (.10)
12/10/2012   VLS    Monitor review status of quality control document        L320     0.80 hrs
                    review team.

12/10/2012   VLS    Assignment of quality control review batches.            L320     0.30 hrs


12/10/2012   VLS    Update quality control document review status            L320     0.60 hrs
                    chart.

12/10/2012   VLS    Monitor review status of document review team.           L320     1.10 hrs


12/10/2012   VLS    Assignment of document review batches.                   L320     1.80 hrs
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12/10/2012   VLS    Update document review status chart.                        L320     0.80 hrs


12/10/2012   VLS    Update document review status chart with                    L320     1.70 hrs
                    additional custodian data.

12/10/2012   VLS    Conference with Ms. Marty regarding document                L320     0.60 hrs
                    review status.

12/10/2012   EPH    Privilege log quality control review for batch 57.   A104   L110     0.20 hrs


12/10/2012   TKI    Review e-mail documents for quality control                 L120     1.20 hrs
                    purposes for Applegate 10 batch.

12/10/2012   JALB   Correspondence with Ms. Hamzehpour                          L120     0.80 hrs
                    (Residential Capital), various former employee
                    witnesses, Mr. Illovsky and Mr. Day (both
                    Morrison & Foerster) regarding representation of
                    and scheduling of interviews for former
                    employees.
12/10/2012   JALB   Correspondence with Ms. Paul-Whitfield regarding            L120     0.30 hrs
                    privilege discussions and issues raised by
                    Chadbourne.
12/10/2012   JALB   Provide fact-checking and support to Mr.                    L120     0.80 hrs
                    Beekhuizen for draft of omnibus position paper
                    response.
12/10/2012   JALB   Various discussions and information-gathering in            L120     0.90 hrs
                    conjunction with Mr. Lee (Morrison & Foerster),
                    Mr. Underhill (Residential Capital) and others
                    regarding efforts to expedite document production.
12/10/2012   JALB   Prepare draft memorandum regarding efforts to               L120     0.50 hrs
                    expedite document production.

12/10/2012   JALB   Attention to management of contract staffing and            L320     0.60 hrs
                    quality control team staffing.

12/10/2012   DJB    Quality check reviewers' coding of privilege and            L120     7.90 hrs
                    redactions on subpoenaed documents marked
                    potentially privileged by Cerberus to assist
                    Morrison Foerster in its production to the
                    Examiner.
12/10/2012   MMM    Call with Mr. Day and Ms. Lowenberg (Morrison               L120     0.30 hrs
                    & Foerster) regarding Rock examiner interview
                    preparation.
12/10/2012   JRC    Review e-mails produced to the examiner in order            L320     4.70 hrs
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                    to prepare examiner interview preparation
                    materials for Mr. Bossidy.
12/10/2012   JRC    Draft outline of interview preparation materials for   L120     2.10 hrs
                    Mr. Bossidy's interview with examiner.

12/10/2012   JRC    E-mail exchange with document reviewer                 L320     0.10 hrs
                    regarding correct coding of documents under the
                    examiner review protocol.
12/10/2012   JRC    Conference with Ms. Mohler regarding interview         L120     0.10 hrs
                    preparation materials for Mr. Bossidy.

12/10/2012   JRC    Conference with Ms. Battle regarding interview         L120     0.10 hrs
                    preparation materials for Mr. Bossidy.

12/10/2012   JRC    Review deposition testimony of RFC employee in         L330     0.80 hrs
                    MBIA v. RFC in order to prepare response to
                    MBIA's examiner submission on third-party
                    releases.
12/10/2012   JDR    Review discovery documents produced for                L320     1.10 hrs
                    purposes of revising reply brief to Steering
                    Committee.
12/10/2012   SP     Analyze previously designated documents to be          L320     3.20 hrs
                    produced to the bankruptcy examiner in Discovery
                    Partner for privilege and confidentiality
                    designation.
12/10/2012   SP     Review and revise privilege logs with privilege        L120     4.30 hrs
                    designations and explanations.

12/10/2012   GNM    Telephone conference with Mr. Underhill                L190     0.70 hrs
                    (Residential Capital) regarding data migration.

12/10/2012   GNM    Work in Discovery Partner database performing          L120     2.80 hrs
                    second level review of documents as outlined by
                    the quality control protocol.
12/10/2012   GNM    Draft and edit Phase III production metrics            L190     1.40 hrs
                    tracking chart.

12/10/2012   GNM    E-mail with Ms. Battle regarding Phase III             L190     0.10 hrs
                    production metrics tracking chart.

12/10/2012   GNM    Draft cover letter to be sent with EXAM125/126         L120     0.40 hrs
                    productions.

12/10/2012   GNM    Telephone conference with Ms. Gardiner (Schulte        L190     0.10 hrs
                    Roth and Zabel) regarding Cerberus productions.
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12/10/2012   GNM    Telephone conference with Ms. Gulley (DTI)            L190     0.20 hrs
                    regarding highlighting in Cerberus sub-project.

12/10/2012   GNM    New reviewer training.                                L130     1.30 hrs


12/10/2012   GNM    Perform quality control checks on EXAM125/126         L120     0.30 hrs
                    productions.

12/10/2012   GNM    Draft and send e-mail with Contract Review team       L190     0.50 hrs
                    regarding review protocol for Cerberus data.

12/10/2012   GNM    E-mail with Ms. Gulley (DTI) regarding                L190     0.10 hrs
                    EXAM125/126 productions.

12/10/2012   GNM    Draft and send e-mail to Mr. Brown (DTI)              L120     0.30 hrs
                    releasing EXAM125/126 to be sent to Chadbourne.

12/10/2012   GNM    E-mail with Mr. Massey (Contract Reviewer)            L190     0.10 hrs
                    regarding quality control protocol.

12/10/2012   GNM    Draft and send e-mail to Mr. Baldock (Morrison &      L190     0.40 hrs
                    Foerster) regarding first level review protocol.

12/10/2012   GNM    Draft and send e-mail to Mr. Underhill (Residential   L190     0.30 hrs
                    Capital) regarding Legacy Custodians.

12/10/2012   SCM    Quality control review of Olson 004 documents.        L320     2.20 hrs


12/10/2012   MJB    Perform quality control on Stenger batch 8            L320     8.20 hrs
                    previously reviewed by contract attorneys.

12/10/2012   HLB    Perform quality control examiner review on set        L120     4.70 hrs
                    Giertz 008 per examiner review protocol.

12/10/2012   ABW    E-mail with Ms. Marty regarding quality control       L190     0.10 hrs
                    assignment.

12/10/2012   ABW    E-mail with Ms. Sholl regarding quality control       L190     0.10 hrs
                    assignment.

12/10/2012   ABW    Review regarding protocols for Section IV quality     L120     0.60 hrs
                    control.
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12/11/2012   AMP    Attention to revising and finalizing amended          L320     3.20 hrs
                    privilege log for production No. 4.

12/11/2012   AMP    Multiple e-mails with Mr. Molnar regarding            L120     0.30 hrs
                    revising and finalizing amended privilege log for
                    production No. 4.
12/11/2012   AMP    Attention to revising and finalizing privilege log    L320     3.10 hrs
                    for production No. 5.

12/11/2012   AMP    Multiple e-mails with Mr. Phillips regarding          L120     1.10 hrs
                    privilege log for production No. 5.

12/11/2012   AMP    Attention to revising privilege log for production    L320     1.90 hrs
                    No. 6.

12/11/2012   AMP    Attention to designations as to Ms. McGinty           L320     0.20 hrs
                    (Rescap litigation coordinator) on privilege logs.

12/11/2012   AMP    E-mails with Ms. Battle and Ms. Marty regarding       L120     0.20 hrs
                    phase 2 and 3 productions and completions of
                    privilege logs.
12/11/2012   AMP    Review and respond to e-mails with Morrison &         L120     0.20 hrs
                    Foerster regarding privilege logs.

12/11/2012   AMP    Review e-mails from Mr. Brown (Morrison &             L120     0.20 hrs
                    Foerster) regarding Lazard privilege review issues.

12/11/2012   AMP    Review draft response from Morrison & Foerster        L120     0.20 hrs
                    to Examiner regarding status of discovery in light
                    of additional requests by Examiner.
12/11/2012   AMP    Review and respond to e-mails with Ms. Battle and     L120     0.20 hrs
                    Ms. Marty regarding status of discovery in light of
                    additional requests by Examiner.
12/11/2012   AMP    Multiple e-mails with Morrison & Foerster review      L120     0.90 hrs
                    team regarding privilege log issues.

12/11/2012   AMP    Attention to response to Mr. Lee (Morrison &          L120     0.40 hrs
                    Foerster) regarding phase 2 and 3 productions and
                    completions of privilege logs.
12/11/2012   JAL    Review and redraft omnibus response to creditors'     L120     1.50 hrs
                    submissions on third party claims (.60). Review
                    decision in Huntington Bank dismissing claims
                    against AFI (.30). Review and respond to e-mails
                    regarding same (.20). Review letter of AFI's
                    counsel regarding UCC's claim on third party
                    claims (.20). Review and respond to e-mails
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                    regarding examiner interview schedule (.20).
12/11/2012   MNB    Draft and revise response to Steering Committee              L250     3.30 hrs
                    submission to Examiner regarding release of
                    third-party claims.
12/11/2012   MNB    Draft and revise omnibus response to submissions             L250     6.80 hrs
                    to Examiner regarding release of third-party
                    claims. (6.60) Conference with Mr. Beck
                    regarding additional information needed to finalize
                    resaponse. (.20)
12/11/2012   VLS    Assignment of document review batches. (1.20)                L320     1.40 hrs
                    Conference with Ms. Marty regarding document
                    review staffing issues. (.20)
12/11/2012   VLS    Obtain document review time cards.                           L320     0.60 hrs


12/11/2012   VLS    Review document review time cards for accuracy.              L320     0.30 hrs


12/11/2012   VLS    Monitor review status of document review team.               L320     0.80 hrs


12/11/2012   VLS    Update document review status chart.                         L320     0.60 hrs


12/11/2012   VLS    Monitor review status of document review quality             L320     0.80 hrs
                    control team.

12/11/2012   VLS    Assignment of document review quality control                L320     0.40 hrs
                    batches.

12/11/2012   VLS    Update quality control review status charts.                 L320     0.60 hrs


12/11/2012   RBS    Prepare marked Mr. Applegate interview exhibits              L310     2.10 hrs
                    for use on U-drive for Mr. Beck.

12/11/2012   EPH    Privilege log quality control review for batch 57.    A104   L110     1.00 hrs


12/11/2012   JALB   Discussion with Ms. Marty regarding status of                L120     0.90 hrs
                    quality control review and ongoing document
                    productions.
12/11/2012   JALB   Correspondence with Examiner team (Ms. Levitt,               L120     1.30 hrs
                    Mr. Brown, Mr. Salerno of Morrison & Foerster)
                    regarding analysis of remaining document
                    production work, timing of same, and preparation
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                    of response to Examiner's counsel regarding same.
12/11/2012   JALB   Correspondence regarding collection of non-e-mail       L120     0.30 hrs
                    documents for key custodians.

12/11/2012   JALB   Correspondence regarding preparation of attorney        L120     0.20 hrs
                    responsibilities chart.

12/11/2012   JALB   Telephone conference with Mr. Klein (Morrison &         L120     0.40 hrs
                    Foerster) regarding status of selected document
                    collection efforts.
12/11/2012   JALB   Telephone conference with Mr. Ruckdaschel               L120     0.40 hrs
                    (Residential Capital) and Ms. Levitt (Morrison &
                    Foerster) regarding comments to omnibus position
                    paper response.
12/11/2012   DJB    Communications with Ms. Paul Whitfield, Ms.             L120     1.20 hrs
                    Marty, and EED-DTI regarding review and
                    creation of privilege log for subpoenaed documents
                    marked potentially privileged by Cerberus to assist
                    Morrison Foerster in its production to the
                    Examiner.
12/11/2012   DJB    Perform second level quality check of documents         L120     6.60 hrs
                    received from Cerberus (First Set) for
                    attorney-client privilege, attorney work product,
                    joint defenses, and common interest to assist
                    Morrison Foerster with productions to the
                    Examiner.
12/11/2012   DJB    Format privilege law, indicating specific reasons       L120     6.30 hrs
                    why documents received from Cerberus (First Set)
                    are protected by attorney-client privilege, attorney
                    work product, joint defenses, and common interest,
                    and identify affiliations of individuals appearing on
                    e-mails to assist Morrison Foerster with
                    productions to the Examiner.
12/11/2012   DAB    Conference with Mr. Beekhuizen regarding                L120     0.20 hrs
                    additional information needed for examiner
                    position paper responses.
12/11/2012   JRC    Review deposition testimony of RFC employee in          L330     0.70 hrs
                    MBIA v. RFC in order to prepare response to
                    MBIA's examiner submission on third-party
                    releases.
12/11/2012   JRC    Review and analyze e-mails produced to the              L320     3.20 hrs
                    examiner relating to Mr. Bossidy in order to
                    prepare preparation materials for Mr. Bossidy's
                    interview with the bankruptcy examiner.
12/11/2012   JRC    Draft outline for Mr. Bossidy's interview with the      L210     3.70 hrs
                    bankruptcy examiner.
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12/11/2012   JDR    Prepare exhibits for omnibus response brief.           L210     1.40 hrs


12/11/2012   SP     Analyze previously designated documents to be          L320     5.20 hrs
                    produced to the bankruptcy examiner in Discovery
                    Partner for privilege and confidentiality
                    designation.
12/11/2012   SP     Review and revise privilege logs with privilege        L120     5.30 hrs
                    designations and explanations.

12/11/2012   SP     Collect and check cited material in the response to    L120     1.90 hrs
                    the omnibus submission.

12/11/2012   GNM    Telephone conference with Ms. Sholl regarding          L190     0.20 hrs
                    staffing levels.

12/11/2012   GNM    Work in Discovery Partner database preparing data      L120     0.70 hrs
                    for production.

12/11/2012   GNM    Quality control training.                              L130     1.00 hrs


12/11/2012   GNM    Work in Discovery Partner database answering           L120     3.60 hrs
                    reviewer questions relating to privilege
                    determinations and issue tagging.
12/11/2012   GNM    Draft and send e-mail to Ms. Gulley (DTI)              L190     0.30 hrs
                    regarding release of documents for production.

12/11/2012   GNM    Draft and send e-mail to quality control team          L190     0.60 hrs
                    regarding un-completed assignments.

12/11/2012   GNM    Draft and send e-mail to Ms. Battle regarding the      L190     0.60 hrs
                    efficiency and progress of the quality control team.

12/11/2012   GNM    Draft and send e-mail to Mr. Brown (Morrison &         L190     0.10 hrs
                    Foerster) regarding non-e-mail custodian data to be
                    produced.
12/11/2012   GNM    Draft and send e-mail to Ms. Levitt (Morrison &        L190     0.60 hrs
                    Foerster) in response to Chabourne inquiry.

12/11/2012   GNM    Assist Ms. Paul-Whitfield with privilege log data      L120     1.20 hrs
                    configuration and production time-lines.

12/11/2012   GNM    Edit e-mail response regarding future timing of        L190     0.30 hrs
                    productions and data migration drafted by Mr.
                    Salerno (Morrison & Foerster).
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12/11/2012   GNM    E-mail with Ms. Searls (contract reviewer)          L190     0.10 hrs
                    regarding quality control protocol.

12/11/2012   GNM    Meet with Ms. Battle regarding status of            L190     1.10 hrs
                    productions for Examiner review. (.90) Follow-up
                    on same. (.20)
12/11/2012   MJB    Perform quality control on a batch of documents     L320     6.50 hrs
                    previously reviewed by contract attorneys.

12/11/2012   HLB    Perform quality control examiner review on set      L120     4.80 hrs
                    Giertz.008 per examiner review protocol.

12/11/2012   ABW    Numerous e-mail with Ms. Marty regarding            L190     0.40 hrs
                    procedures.

12/11/2012   ABW    Document review regarding Spindel 13 quality        L120     1.60 hrs
                    control.

12/12/2012   AMP    Finalize amended privilege log for production No.   L320     0.40 hrs
                    1.

12/12/2012   AMP    Finalize amended privilege log for production No.   L320     1.60 hrs
                    4.

12/12/2012   AMP    Finalize amended privilege log for production No.   L320     1.90 hrs
                    5.

12/12/2012   AMP    E-mails with Mr. Barthel regarding Cerberus         L120     1.80 hrs
                    privilege log issues.

12/12/2012   AMP    E-mails with Morrison & Foerster team for final     L120     0.40 hrs
                    comment and production on privilege log for
                    production No. 1.
12/12/2012   AMP    E-mails with Morrison & Foerster team for final     L120     0.40 hrs
                    comment and production No. 4.

12/12/2012   AMP    E-mails with Morrison & Foerster team for final     L320     0.30 hrs
                    comment and production of production No. 5.

12/12/2012   AMP    Attention to Lazard documents and review of         L320     1.20 hrs
                    initial highly confidential documents. (.60)
                    Multiple e-mails with Morrison & Foerster
                    regarding same. (.40) Attention to Cerberus
                    privilege log issues. (.20)
12/12/2012   MNB    Draft and revise omnibus response to submissions    L250     4.00 hrs
                    to Examiner regarding release of third-party
                    claims.
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12/12/2012   MNB    Attention to reviewing and selecting exhibits for             L120     0.70 hrs
                    omnibus response to submissions to Examiner
                    regarding third-party claims.
12/12/2012   VLS    Monitor review status of document review team.                L320     1.40 hrs


12/12/2012   VLS    Assignment of document review batches.                        L320     0.80 hrs


12/12/2012   VLS    Update document review status chart.                          L320     0.80 hrs


12/12/2012   VLS    Monitor review status of document review quality              L320     0.80 hrs
                    control team.

12/12/2012   VLS    Assignment of document review quality control                 L320     0.60 hrs
                    batches.

12/12/2012   VLS    Update quality control review status chart.                   L320     0.80 hrs


12/12/2012   VLS    E-mail exchange with Discovery Partner support                L320     0.20 hrs
                    regarding document reviewer password for
                    database.
12/12/2012   VLS    E-mail exchange with Mr. Manning regarding                    L320     0.20 hrs
                    issues accessing Discovery Partner database.

12/12/2012   VLS    Telephone conference with Mr. Manning regarding               L320     0.20 hrs
                    issues accessing Discovery Partner database.

12/12/2012   RBS    Upload Mr. Bossidy interview preparation kit                  L310     0.20 hrs
                    materials to Sharepoint.

12/12/2012   EPH    Privilege log quality control review for batch 57.     A104   L110     0.30 hrs


12/12/2012   TKI    Review e-mail documents for quality control                   L120     3.10 hrs
                    purposes for Applegate 10 batch.

12/12/2012   JALB   Follow-up discussion with Mr. Underhill                       L120     0.30 hrs
                    (Residential Capital) regarding strategies to
                    expedite document processing and production.
12/12/2012   JALB   Telephone conference with Mr. Lee, Ms. Levitt,                L120     0.80 hrs
                    Mr. Salerno (all Morrison & Foerster), and Mr.
                    Underhill (Residential Capital) regarding strategies
                    to expedite document processing and production.
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12/12/2012   DJB    Perform second level quality check of documents         L120     7.10 hrs
                    received from Cerberus (First Set) for
                    attorney-client privilege, attorney work product,
                    joint defenses, and common interest to assist
                    Morrison Foerster with productions to the
                    Examiner.
12/12/2012   DJB    Format privilege law, indicating specific reasons       L120     7.40 hrs
                    why documents received from Cerberus (First Set)
                    are protected by attorney-client privilege, attorney
                    work product, joint defenses, or common interest,
                    and identify affiliations of individuals appearing on
                    e-mails to assist Morrison Foerster with
                    productions to the Examiner.
12/12/2012   DAB    Communicate with Ms. Battle regarding materials         L120     0.10 hrs
                    needed for Mr. Bossidy's preparation.

12/12/2012   DAB    Communicate with Mr. Samson regarding                   L120     0.10 hrs
                    materials needed for Mr. Bossidy's preparation.

12/12/2012   DAB    Communicate with Ms. Gaunder regarding                  L120     0.10 hrs
                    materials needed for Mr. Bossidy's preparation.

12/12/2012   DAB    E-mails with Mr. Lipps, Ms. Battle, Mr. Sechler         L120     0.40 hrs
                    and Ms. Mohler regarding 2006 Bank transactions.

12/12/2012   JDR    Prepare exhibits for omnibus response brief.            L210     0.50 hrs


12/12/2012   SP     Revise privilege log 6 with privilege designations      L120     3.40 hrs
                    and explanations.

12/12/2012   SP     Analyze previously designated documents                 L320     2.20 hrs
                    containing attorney names to be produced to the
                    bankruptcy examiner in Discovery Partner for
                    privilege and confidentiality designation.
12/12/2012   SP     Collect and check cited material in the response to     L120     2.80 hrs
                    the omnibus submission.

12/12/2012   GNM    Telephone conference with Ms. Gardiner (Schulte         L190     0.20 hrs
                    Roth and Zabel) regarding Cerberus productions.

12/12/2012   GNM    Telephone conference with Ms. Chinn (Contract           L190     0.40 hrs
                    Reviewer) regarding quality control protocol.

12/12/2012   GNM    Telephone conference with Mr. Phillips regarding        L190     0.20 hrs
                    Kroll data.
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12/12/2012   GNM    Work in Discovery Partner database researching        L120     5.20 hrs
                    for Nikki Rock interview preparation.

12/12/2012   GNM    Telephone conference with DTI team regarding          L190     0.40 hrs
                    production pipeline and data migration.

12/12/2012   GNM    Work in Kroll database researching documents at       L120     2.10 hrs
                    the request of Mr. Beekhuizen.

12/12/2012   GNM    Draft and send e-mail communications to the           L120     0.20 hrs
                    quality control team regarding reviewer feedback
                    forms.
12/12/2012   GNM    Exchang e-mails with Ms. Gulley (DTI) regarding       L190     0.40 hrs
                    the highlighting function in the database.

12/12/2012   GNM    E-mail with Ms. Mohler regarding Nikki Rock           L190     0.20 hrs
                    interview preparation.

12/12/2012   GNM    E-mail with Ms. Zellmann (Morrison & Foerster)        L190     0.10 hrs
                    regarding vendor budgets.

12/12/2012   GNM    Telephone conference with Mr. Salerno (Morrison       L190     0.50 hrs
                    & Foerster) regarding production time-lines and
                    production logistics.
12/12/2012   GNM    Draft and send e-mail to Ms. Battle regarding         L190     0.40 hrs
                    production logistics in response to e-mail from Ms.
                    Levitt (Morrison & Foerster).
12/12/2012   GNM    E-mail with Mr. Salerno (Morrison & Foerster)         L190     0.10 hrs
                    regarding Phase III production logistics.

12/12/2012   GNM    E-mail with Mr. Underhill (Residential Capital)       L190     0.30 hrs
                    regarding legacy custodians.

12/12/2012   AJM    Revise examiner privilege log for production 5 in     L320     4.00 hrs
                    response to concerns raised by Mr. Schwinger.

12/12/2012   AJM    Draft privilege log for sixth set of documents        L320     1.20 hrs
                    produced in response to Examiner document
                    requests.
12/12/2012   SCM    Quality control review of Spindel 007 documents.      L320     0.90 hrs


12/13/2012   AMP    E-mails with Ms. Battle regarding debtor privilege    L320     0.30 hrs
                    log issues and write-up for Examiner's counsel of
                    legal department.
12/13/2012   AMP    Attention to issues regarding timing of review of     L120     0.20 hrs
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                    Lazard documents.

12/13/2012   AMP    E-mails with Mr. Brown (Morrison & Foerster)           L120     0.20 hrs
                    regarding timing of review of Lazard documents.

12/13/2012   AMP    Attention to update to Mr. Brown regarding             L120     0.60 hrs
                    Cerberus privilege review.

12/13/2012   AMP    Attention to review of Cerberus' documents.            L320     1.00 hrs


12/13/2012   AMP    E-mails with Ms. Marty and Mr. Barthel regarding       L320     0.60 hrs
                    review of Cerberus' documents.

12/13/2012   AMP    Attention to progress of revised privilege log for     L320     0.80 hrs
                    production No. 6.

12/13/2012   AMP    E-mails with Mr. Molnar and Mr. Phillips               L320     0.20 hrs
                    regarding progress of revised privilege log for
                    production No. 6.
12/13/2012   AMP    Telephone conferences with Cerberus' counsel           L120     0.30 hrs
                    regarding need for Ally to review certain
                    documents.
12/13/2012   AMP    Telephone conference with Mr. Brown (Morrison          L120     0.20 hrs
                    & Foerster) regarding need for Ally to review
                    certain docuements.
12/13/2012   AMP    Telephone conference with Kirkland & Ellis             L120     0.30 hrs
                    regarding need for Ally to review certain
                    documents.
12/13/2012   JAL    Conferences with Mr. Day and Mr. Ilovsky               L120     7.80 hrs
                    (Morrison & Foerster) regarding preparation call
                    with Ms. Rock (.30). Participate on call with Ms.
                    Rick to discuss interview issues (1.0). Prepare for
                    meeting with Mr. Paradis to prepare for interview
                    (1.5). Participate in preparation meeting with Mr.
                    Paradis (3.8). Review e-mails regarding Ms.
                    Rock's preparation materials (.30). Review Ms.
                    Rock's presentation at Mesirow meeting (.30).
                    Review and redraft statute of limitations insert for
                    examiner submission (.50). Review and respond to
                    e-mails regarding same (.10).
12/13/2012   MNB    Draft proposed statute of limitations insert for       L250     3.00 hrs
                    omnibus response to submissions to Examiner
                    regarding third-party claims.
12/13/2012   MNB    Review and comment on proposed revisions to            L250     1.30 hrs
                    response to Steering Committee submission to
                    Examiner regarding third-party claims.
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12/13/2012   VLS    Monitor review status of document review team.       L320     0.80 hrs


12/13/2012   VLS    Assignment of document review batches.               L320     2.60 hrs


12/13/2012   VLS    Update document review status chart.                 L320     1.20 hrs


12/13/2012   VLS    Monitor review status of quality control document    L320     1.00 hrs
                    review team.

12/13/2012   VLS    Assignment of quality control review batches.        L320     0.80 hrs


12/13/2012   VLS    Update quality control document review status        L320     0.80 hrs
                    chart.

12/13/2012   RBS    Draft spreadsheet including summaries of all         L310     4.70 hrs
                    interview exhibits for Mr. Beck.

12/13/2012   EPH    Privilege log quality control review for batch 57.   L110     0.70 hrs


12/13/2012   JALB   Review materials to prepare for interview            L330     2.00 hrs
                    preparation meeting with Mr. Bossidy (former
                    Residential Capital).
12/13/2012   JALB   Attend interview preparation meeting with Mr.        L330     2.60 hrs
                    Bossidy (former Residential Capital).

12/13/2012   JALB   Discussion with Ms. Marty and Mr. Brown              L120     0.70 hrs
                    (Morrison & Foerster) re collection and production
                    of documents to Examiner.
12/13/2012   DJB    Communications with document reviewers               L120     1.20 hrs
                    regarding privilege determinations for documents
                    provided by Cerberus.
12/13/2012   DJB    Communications with DTI Global regarding             L120     0.40 hrs
                    processing of Cerberus documents for privilege
                    review.
12/13/2012   DJB    Perform second level quality check of documents      L120     3.10 hrs
                    received from Cerberus (First Set) for
                    attorney-client privilege, attorney work product,
                    joint defenses, and common interest to assist
                    Morrison Foerster with productions to the
                    Examiner.
12/13/2012   DJB    Format privilege law, indicating specific reasons    L120     4.30 hrs
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                    why documents received from Cerberus (First Set)
                    are protected by attorney-client privilege, attorney
                    work product, joint defenses, or common interest,
                    and identify affiliations of individuals appearing on
                    emails to assist Morrison Foerster with productions
                    to the Examiner.
12/13/2012   DJB    Draft e-mail for Ms. Paul-Whitfield to send to          L120     0.40 hrs
                    Morrison Foerster and Kirkland & Ellis regarding
                    status of privilege review and creation of privilege
                    log for documents provided by Cerberus.
12/13/2012   MMM    Attend conference call with Ms. Lowenberg               L120     0.40 hrs
                    (Morrison & Foerster) and Mr. Beck regarding
                    interview preparation for Ms. Rock.
12/13/2012   MMM    Review documents regarding derivative accounting        L120     0.40 hrs
                    for Rock preparation.

12/13/2012   DAB    E-mails with Mr. Day (Morrison & Foerster)              L120     0.10 hrs
                    regarding preparations for upcoming examiner
                    interviews
12/13/2012   DAB    Emails with Ms. Battle regarding preparations for       L120     0.10 hrs
                    upcoming examiner interviews.

12/13/2012   DAB    Call with Ms. Lowenberg (Morrison & Foerster)           L120     0.40 hrs
                    and Ms. Mohler regarding additional issues for Ms.
                    Rock's examiner interview preparation.
12/13/2012   DAB    E-mail Ms. Mohler regarding Dondzila materials          L120     0.10 hrs
                    relevant for Ms. Rock

12/13/2012   JRC    Review deposition testimony of RFC employee in          L330     2.70 hrs
                    MBIA v. RFC in order to prepare response to
                    MBIA's examiner submission on third-party
                    releases.
12/13/2012   JRC    Draft e-mail to Mr. Beekhuizen summarizing              L330     0.20 hrs
                    deposition testimony from MBIA v. RFC to be
                    used in ResCap's response to MBIA's examiner
                    submission on third-party releases.
12/13/2012   JDR    Review and analyze legal and factual citations in       L210     1.50 hrs
                    omnibus response to verify accuracy.

12/13/2012   SP     Conference with Ms. Paul-Whitfield and Mr.              L120     0.40 hrs
                    Molnar regarding privilege determinations.

12/13/2012   SP     Review documents from privilege log 6 for               L120     6.20 hrs
                    privilege and redactions.

12/13/2012   SP     Revise privilege log 6 with privilege designations      L120     5.90 hrs
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                    and explanations.

12/13/2012   GNM    Telephone conference with Ms. Klun (Lumen           L190     0.30 hrs
                    Legal) regarding staffing levels.

12/13/2012   GNM    Perform quality control checks on EXAM127/128.      L190     0.50 hrs


12/13/2012   GNM    Work in Discovery Partner database answering        L120     1.90 hrs
                    reviewer questions relating to privilege
                    determinations and issue tagging.
12/13/2012   GNM    E-mail with Ms. Battle regarding documents to be    L190     0.30 hrs
                    produced.

12/13/2012   GNM    E-mail with Ms. Battle regarding filtering data     L190     0.10 hrs
                    with new reserves search terms.

12/13/2012   GNM    Meet with Mr. Beck regarding e-discovery process    L120     0.20 hrs
                    and tracking mechanisms.

12/13/2012   GNM    Draft and send memo to Mr. Beck regarding           L190     0.80 hrs
                    e-discovery process and tracking mechanisms.

12/13/2012   GNM    Telephone conference with Ms. Gulley (DTI)          L190     0.40 hrs
                    regarding creation of a new sub-project database.

12/13/2012   GNM    Draft and send e-mail to Ms. Gulley (DTI)           L190     0.40 hrs
                    regarding creation of a new sub-project database.

12/13/2012   GNM    Work in Discovery Partner database configuring      L120     0.60 hrs
                    new data for review.

12/13/2012   GNM    Exchange e-mail with Mr. Brown (Morrison &          L190     0.50 hrs
                    Foerster) regarding research performed in
                    Discovery Partner database.
12/13/2012   GNM    Draft and send e-mail to Mr. Brown (Morrison &      L190     0.20 hrs
                    Foerster) regarding release of productions
                    EXAM127/128 to be sent to Chadbourne.
12/13/2012   GNM    Telephone conference with Ms. Walafosky (Robert     L190     0.20 hrs
                    Half Legal) regarding staffing levels.

12/13/2012   GNM    Work in Discovery Partner database researching      L120     1.10 hrs
                    letter sent from the FRB in response to inquiry
                    from Mr. Brown (Morrison & Foerster).
12/13/2012   AJM    Quality control review of documents withheld        L320     1.90 hrs
                    partially or entirely in response to Examiner
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                    document requests, sixth set of documents
                    produced to Examiner.
12/13/2012   AJM    Draft privilege log for sixth set of documents      L320     3.20 hrs
                    produced in response to Examiner document
                    requests.
12/13/2012   MJB    Perform quality control on a batch of documents     L320     6.70 hrs
                    previously reviewed by contract attorneys.

12/13/2012   ABW    Document review regarding Spindel 13 quality        L120     0.80 hrs
                    control.

12/14/2012   AMP    Attention to Cerberus privilege review issues.      L320     0.30 hrs


12/14/2012   AMP    E-mails with Mr. Barthel regarding Cerberus         L120     0.10 hrs
                    privilege review issues.

12/14/2012   AMP    Attention to Lazard privilege review issues.        L120     0.20 hrs


12/14/2012   AMP    Review e-mails from Morrison & Foerster             L120     0.30 hrs
                    regarding Lazard privilege review issues.

12/14/2012   JAL    Prepare for Mr. Paradis' interview (1.0).           L120    11.30 hrs
                    Conference with Mr. Paradis regarding same (.80).
                    Participate at interview of Mr. Paradis (9.0).
                    Review and respond to e-mails regarding examiner
                    submission on third party claims and
                    confidentiality (.30). Review and respond to
                    e-mails regarding steering committee submission
                    (.20).
12/14/2012   MNB    Attention to cite-checking and preparation of       L120     0.40 hrs
                    exhibits for responses to submissions to Examiner
                    regarding third-party claims.
12/14/2012   VLS    Monitor review status of document review team.      L320     1.40 hrs


12/14/2012   VLS    Assignment of document review batches.              L320     1.80 hrs


12/14/2012   VLS    Update document review status chart.                L320     0.80 hrs


12/14/2012   VLS    Monitor review status of quality control document   L320     1.20 hrs
                    review team.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27               Exhibit E
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12/14/2012   VLS    Assignment of quality control review batches.                  L320     0.70 hrs


12/14/2012   VLS    Update document quality control document review                L320     0.90 hrs
                    status chart.

12/14/2012   RBS    Revise spreadsheet of examiner interview exhibits              L310     3.50 hrs
                    for Mr. Beck.

12/14/2012   EPH    Privilege log quality control review for batch 57.      A104   L110     0.30 hrs


12/14/2012   TKI    Review e-mail documents for quality control                    L120     0.60 hrs
                    purposes for Spindel 003 batch.

12/14/2012   JALB   Follow-up regarding collection of non-email                    L120     0.40 hrs
                    documents from Mr. Ruckdaschel (Residential
                    Capital).
12/14/2012   DJB    Research and respond to questions from first-level             L120     0.80 hrs
                    contract attorneys about privilege calls for
                    documents produced by Cerberus.
12/14/2012   DJB    Perform second level quality check of documents                L120     2.10 hrs
                    received from Cerberus (First Set) for
                    attorney-client privilege, attorney work product,
                    joint defenses, or common interest to assist
                    Morrison Foerster with productions to the
                    Examiner.
12/14/2012   DJB    Format privilege law, indicating specific reasons              L120     3.30 hrs
                    why documents received from Cerberus (First Set)
                    are protected by attorney-client privilege, attorney
                    work product, joint defenses, or common interest,
                    and identify affiliations of individuals appearing on
                    emails to assist Morrison Foerster with productions
                    to the Examiner.
12/14/2012   DAB    Conference with Mr. Samson regarding exhibit                   L120     0.10 hrs
                    lists for examiner interviews.

12/14/2012   DAB    Revise master calendar on examiner dates.                      L120     0.20 hrs


12/14/2012   DAB    Research regarding additional emails for interview             L120     2.40 hrs
                    preparation session for Ms. Rock.

12/14/2012   DAB    E-mails with Mr. Day (Morrison & Foerster)                     L120     0.20 hrs
                    regarding preparations for upcoming examiner
                    interviews.
12/14/2012   JRC    E-mail exchange with document reviewer                         L320     0.10 hrs
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                    regarding proper coding of documents under
                    examiner review protocol.
12/14/2012   JDR    Review and analyze legal and factual citations in      L120     2.50 hrs
                    omnibus response to verify accuracy.

12/14/2012   JDR    Redline review of omnibus response.                    L210     1.00 hrs


12/14/2012   SP     Collect and check all cited material in the response   L120     2.10 hrs
                    to the Steering Committee submission.

12/14/2012   SP     Review and revise response to the omnibus              L120     2.80 hrs
                    submission.

12/14/2012   SP     Collect and check cited material in the response to    L120     1.60 hrs
                    the omnibus submission.

12/14/2012   AJM    Quality control review of documents withheld           L320     0.60 hrs
                    partially or entirely in response to Examiner
                    document requests, sixth set of documents
                    produced to Examiner.
12/14/2012   AJM    Draft privilege log for sixth set of documents         L320     1.00 hrs
                    produced in response to Examiner document
                    requests.
12/14/2012   MJB    Perform quality control on a batch of documents        L320     4.20 hrs
                    previously reviewed by contract attorneys.

12/14/2012   ABW    Document review regarding Spindel 13 quality           L120     0.60 hrs
                    control.

12/15/2012   AMP    Review e-mails from Mr. Brown and Mr. Salerno          L120     0.20 hrs
                    (Morrison & Foerster) regarding review of
                    Lazard's HC documents for privilege.
12/15/2012   JAL    Review and finalize omnibus response to third          L120     0.50 hrs
                    party claim creditors' submission (.30). Review
                    and respond to e-mails regarding same (.10).
                    Review and respond to e-mails with Ms.
                    Hamzehpour regarding Mr. Paradis' interview (10).
12/15/2012   MNB    Review proposed changes to omnibus response and        L120     0.70 hrs
                    response to steering committee submission.

12/15/2012   DAB    Communicate with Ms. Beck (Morrison &                  L120     0.10 hrs
                    Foerster) regarding transaction documents needed
                    for examiner submission papers.
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12/15/2012   DAB    Communicate with Mr. Beekhuizen regarding              L120     0.30 hrs
                    exhibits needed for examiner submission.

12/15/2012   JRC    Review and analyze publicly available news             L120     0.10 hrs
                    articles in order to prepare ResCap's response to
                    MBIA's submission to the examiner on third-party
                    releases.
12/15/2012   JDR    Prepare exhibits for Steering Committee response.      L120     0.30 hrs


12/15/2012   SP     Review and revise response to Steering Committee       L120     2.60 hrs
                    submission.

12/15/2012   SP     Collect and check all cited material in the response   L120     2.70 hrs
                    to the Steering Committee submission.

12/15/2012   GNM    Work in Discovery Partner database answering           L120     0.20 hrs
                    reviewer questions relating to privilege
                    determinations and issue tagging.
12/15/2012   GNM    Exchange e-mail with Mr. DosSantos (Morrison &         L190     0.40 hrs
                    Foerster) regarding quality control protocol and
                    privilege determinations.
12/15/2012   SCM    Quality control review of Spindel 007 documents.       L320     4.40 hrs


12/15/2012   ABW    Document review regarding Spindel 13 quality           L120     2.70 hrs
                    control.

12/16/2012   AMP    E-mail with Ms. Battle regarding write-up on           L120     0.10 hrs
                    structure of legal department.

12/16/2012   AMP    Review e-mails from Mr. Brown (Morrison &              L320     0.20 hrs
                    Foerster) regarding Lazard's privileged documents.

12/16/2012   AMP    E-mails with Mr. Phillips regarding priority project   L120     0.30 hrs
                    to review Lazard's already produced highly
                    confidential documents for privilege and clawback.
12/16/2012   JAL    Conference with Ms. Battle to discuss coverage for     L120     1.00 hrs
                    examiner interviews and preparation of
                    interviewees (.30). Review and redraft omnibus
                    response to creditors' submissions on third party
                    claims (.60). Review Ms. Hamzehpour's e-mail to
                    Mr. Paradis regarding interview.
12/16/2012   VLS    Assignment of document review batches.                 L320     0.50 hrs
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12/16/2012   DJB    Perform second level quality check of documents         L120     1.80 hrs
                    received from Cerberus (First Set) for
                    attorney-client privilege, attorney work product,
                    joint defenses, or common interest to assist
                    Morrison Foerster with productions to the
                    Examiner.
12/16/2012   DJB    Format privilege law, indicating specific reasons       L120     2.30 hrs
                    why documents received from Cerberus (First Set)
                    are protected by attorney-client privilege, attorney
                    work product, joint defenses, or common interest,
                    and identify affiliations of individuals appearing on
                    emails to assist Morrison Foerster with productions
                    to the Examiner.
12/16/2012   SP     Communicate with Ms. Paul-Whitfield regarding           L320     0.40 hrs
                    review of Lazard documents.

12/16/2012   GNM    E-mail with Mr. DosSantos (Morrison & Foerster)         L190     0.30 hrs
                    regarding quality control protocol and privilege
                    determinations.
12/16/2012   SCM    Quality control review of Spindel 007 documents.        L320     1.80 hrs


12/16/2012   ABW    Prepare quality control feedback form regarding         L120     0.20 hrs
                    Spindel 13.

12/16/2012   ABW    E-mail with Ms. Marty regarding check-in of             L120     0.10 hrs
                    Spindel 13.

12/17/2012   AMP    Attention to reviewing additional Lazard                L320     0.50 hrs
                    documents for privilege and confidentiality
                    designations.
12/17/2012   AMP    E-mails with Mr. Phillips and Mr. Brown                 L320     0.30 hrs
                    (Morrison & Foerster) regarding additional Lazard
                    documents for privilege and confidentiality
                    designations.
12/17/2012   AMP    Attention to privilege logs issue regarding             L320     0.60 hrs
                    production batches 110/111.

12/17/2012   AMP    E-mails with Mr. Molnar and Ms. Marty regarding         L120     0.40 hrs
                    privilege log issues regarding production batches
                    110/111.
12/17/2012   JAL    Review and respond to e-mails regarding examiner        L120     0.30 hrs
                    interviews.

12/17/2012   MNB    Review and provide comments to proposed                 L120     1.30 hrs
                    changes to omnibus response.
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12/17/2012   MNB    Revise omnibus response to submissions to           L250     5.30 hrs
                    Examiner regarding third-party claims.

12/17/2012   VLS    Monitor review status of document review team.      L320     1.00 hrs


12/17/2012   VLS    Assignment of document review batches.              L320     1.60 hrs


12/17/2012   VLS    Update document review status chart.                L320     0.80 hrs


12/17/2012   VLS    Monitor review status of quality control document   L320     0.70 hrs
                    review team.

12/17/2012   VLS    Assignment of quality control review batches.       L320     1.10 hrs


12/17/2012   VLS    Update quality control document review status       L320     0.90 hrs
                    chart.

12/17/2012   VLS    Obtain document review time cards and review for    L320     1.10 hrs
                    accuracy.

12/17/2012   VLS    Approve document review time cards for payment.     L320     0.40 hrs


12/17/2012   VLS    E-mail exchange with Ms. Marty regarding hours      L320     0.40 hrs
                    worked by document reviewers Ms. Williams, Mr.
                    King and Ms. Swietek.
12/17/2012   VLS    Assemble sample reviewer activity report for Mr.    L320     0.40 hrs
                    Beck.

12/17/2012   VLS    E-mail exchange with Ms. Marty regarding select     L320     0.30 hrs
                    document reviewer weekly review statistics.

12/17/2012   VLS    Telephone conference with Mr. Levine at Morrison    L320     0.40 hrs
                    and Foerster regarding quality control batch
                    assignment.
12/17/2012   TKI    Review e-mail documents for quality control         L120     1.10 hrs
                    purposes for Spindel 003 batch.

12/17/2012   DAB    Research additional emails relevant to examiner     L120     1.40 hrs
                    interview of Ms. Rock.

12/17/2012   DAB    Analyze examiner materials for missing interview    L120     0.60 hrs
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                    notes and exhibits.

12/17/2012   DAB    Communicate with Mr. Day of Morrison &                 L120     0.20 hrs
                    Forester regarding missing examiner exhibits and
                    interview notes.
12/17/2012   DAB    E-mails with Mr. Day of Morrison & Foerster            L120     0.20 hrs
                    regarding preparations for upcoming examiner
                    interviews.
12/17/2012   JRC    Conference with Mr. Ruckdaschel (Morrison &            L120     0.10 hrs
                    Foerster) regarding review of his hard copy files in
                    response to requests from the bankruptcy
                    examiner.
12/17/2012   SP     Communicate with Mr. Beekhuizen regarding              L120     0.60 hrs
                    review of indentures cited in steering committee
                    response.
12/17/2012   SP     Analyze previously designated documents                L320     0.80 hrs
                    containing attorney names to be produced to the
                    bankruptcy examiner in Discovery Partner for
                    privilege and confidentiality designation.
12/17/2012   SP     Review protective order relevant to documents          L320     0.60 hrs
                    produced by Lazard.

12/17/2012   SP     Review privilege logs and documents for privilege      L120     4.30 hrs
                    and redactions for Ms. Paul-Whitfield.

12/17/2012   GNM    Work in Discovery Partner database to answer           L120     2.30 hrs
                    reviewer questions regarding privilege
                    determinations and issue tagging.
12/17/2012   GNM    Work in Discovery Partner database preparing data      L120     0.70 hrs
                    for production.

12/17/2012   GNM    Work in Discovery Partner database performing          L120     5.00 hrs
                    second level review of Renzi 20 as outlined by the
                    quality control protocol.
12/17/2012   GNM    Draft and send Ms. Gulley (DTI) e-mail regarding       L190     0.30 hrs
                    data to be released for production.

12/17/2012   GNM    Draft and send e-mail to Mr. Salerno (Morrison &       L190     0.20 hrs
                    Forester) regarding quality control progress.

12/17/2012   GNM    Telephone conference with Mr. Bergleson                L190     0.40 hrs
                    (Morrison & Foerster) regarding the review of Ally
                    data for privilege.
12/17/2012   GNM    Draft and send e-mail communications to Mr.            L190     0.20 hrs
                    Bergelson (Morrison & Foerster ) regarding the
                    review of Ally data for privilege.
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12/17/2012   AJM    Quality control review of documents withheld        L320     2.20 hrs
                    partially or entirely in response to Examiner
                    document requests, set 110/111.
12/17/2012   AJM    Draft privilege log for documents produced in       L320     3.20 hrs
                    response to Examiner document requests, set
                    110/111.
12/17/2012   SCM    Quality control review of Spindel 007 documents.    L320     1.00 hrs


12/17/2012   MJB    Perform quality control on Renzi batch 6            L320     8.70 hrs
                    previously reviewed by contract attorneys.

12/17/2012   HLB    Perform quality control examiner review on set      L120     5.20 hrs
                    Stenger 004 per examiner review protocol.

12/17/2012   ABW    E-mail with Ms. Marty regarding review              L190     0.10 hrs
                    assignment.

12/17/2012   ABW    E-mail with Ms. Sholl regarding assignment.         L190     0.10 hrs


12/18/2012   AMP    Attention to privilege log for batches 110/111.     L320     1.60 hrs


12/18/2012   AMP    Attention to Mr. Pohl (Lazard) role at Lazard in    L320     0.70 hrs
                    determining privilege in Lazard documents.

12/18/2012   AMP    Attention to Cerberus privilege review.             L320     0.90 hrs


12/18/2012   AMP    E-mails with Mr. Brown regarding Cerberus           L320     0.20 hrs
                    privilege review.

12/18/2012   AMP    E-mails with Mr. Phillips and Mr. Brown             L320     0.40 hrs
                    (Morrison & Foerster) regarding Mr. Pohl (Lazard)
                    role at Lazard in determining privilege in Lazard
                    documents.
12/18/2012   JAL    Review and respond to e-mails regarding examiner    L120     0.30 hrs
                    schedules (.20). Review and respond to e-mails
                    regarding Ms. Rock's preparation and interview
                    (.20).
12/18/2012   MNB    Review and provide input to proposed changes to     L120     0.80 hrs
                    response to steering committee submission to
                    Examiner regarding third-party claims.
12/18/2012   MNB    Assist with finalizing omnibus response to          L120     0.30 hrs
                    submissions to Examiner regarding third-party
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                    claims.
12/18/2012   VLS    Monitor review status of document review team.         L320     0.80 hrs


12/18/2012   VLS    Assignment of document review batches.                 L320     1.10 hrs


12/18/2012   VLS    Update document review status chart.                   L320     1.60 hrs


12/18/2012   VLS    Monitor review status of quality control document      L320     0.70 hrs
                    review team.

12/18/2012   VLS    Assignment of quality control review batches.          L320     1.60 hrs


12/18/2012   VLS    Update quality control document review status          L320     0.80 hrs
                    chart.

12/18/2012   VLS    Conference with Ms. Marty regarding weekly             L320     0.40 hrs
                    hours and review statistics for select document
                    reviewers.
12/18/2012   VLS    Telephone conference with Mr. Shipler at DTI           L320     0.40 hrs
                    regarding detailed breakdown of documents coded
                    by select reviewer.
12/18/2012   JES    Conference with Mr. Beck regarding upcoming            L120     1.00 hrs
                    interviews. (.20) Review Morrison & Foerster
                    memorandum regarding Mr. Pensabene. (.80)
12/18/2012   DJB    Respond to contract reviewers' questions               L120     0.70 hrs
                    concerning whether documents are privileged.

12/18/2012   DJB    Perform second level quality check of documents        L120     7.80 hrs
                    received from Cerberus (batch 20121121) for
                    attorney-client privilege, attorney work product,
                    joint defenses, and common interest to assist
                    Morrison Foerster with productions to the
                    Examiner.
12/18/2012   DJB    Format privilege law, indicating specific reasons      L120     7.40 hrs
                    why documents received from Cerberus (batch
                    20121121) are protected by attorney-client
                    privilege, attorney work product, joint defenses, or
                    common interest, and identify affiliations of
                    individuals appearing on emails to assist Morrison
                    Foerster with productions to the Examiner.
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12/18/2012   DAB    Analyze materials for January examiner                L120     1.70 hrs
                    interviews.

12/18/2012   DAB    Conference with Mr. Sechler regarding                 L120     0.20 hrs
                    preparations for examiner interview of Mr.
                    Pensabene.
12/18/2012   DAB    Communicate with Ms. Battle regarding examiner        L120     0.20 hrs
                    interview list.

12/18/2012   DAB    Call with Mr. Day of Morrison & Foerster              L120     0.60 hrs
                    regarding preparations for upcoming examiner
                    interviews.
12/18/2012   DAB    Communicate with Mr. Lipps and Ms. Battle             L120     0.20 hrs
                    regarding conversation with Mr. Day of Morrison
                    & Foerster and preparations for upcoming
                    examiner interviews.
12/18/2012   DAB    Conference with Mr. Beekhuizen and Ms. Barrage        L120     0.10 hrs
                    (Morrison & Forester) regarding revisions to
                    steering committee response.
12/18/2012   JRC    Teleconference with Ms. Zellman (Residential          L120     0.10 hrs
                    Capital) regarding review of hard copy files of Mr.
                    Ruckdaschel in response to requests from the
                    bankruptcy examiner.
12/18/2012   JRC    Teleconference with Mr. Ruckdaschel (Residential      L120     0.10 hrs
                    Capital) regarding review of his hard copy files in
                    response to requests from the bankruptcy
                    examiner.
12/18/2012   JRC    Review and analyze documents filed with the SEC       L320     0.40 hrs
                    in order to prepare examiner interview preparation
                    materials.
12/18/2012   SP     Analyze documents from Lazard in Relativity for       L320     8.40 hrs
                    privilege and confidentiality designations.

12/18/2012   SP     Communicate with Ms. Paul-Whitfield regarding         L120     0.60 hrs
                    review process and possibility of redacting for
                    non-responsiveness.
12/18/2012   GNM    Work in Discovery Partner database to answer          L120     2.90 hrs
                    reviewer questions regarding to privilege
                    determinations and issue tagging.
12/18/2012   GNM    Perform quality control checks regarding              L190     0.90 hrs
                    EXAM129/130 productions.

12/18/2012   GNM    Update production metrics report.                     L190     1.20 hrs
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12/18/2012   GNM    Telephone conference with DTI team regarding           L190     0.50 hrs
                    production pipeline and data migration.

12/18/2012   GNM    Meet with Ms. Sholl regarding production pipeline      L190     0.50 hrs
                    and reviewer progress.

12/18/2012   GNM    Telephone conference with Mr. Brown and Ms.            L190     0.60 hrs
                    Tice (Morrison & Foerster) regarding Chadbourne
                    follow-up requests.
12/18/2012   GNM    Draft and send e-mail to Ms. Battle regarding          L190     0.80 hrs
                    quality control team efficiency and productivity.

12/18/2012   AJM    Quality control review of documents withheld           L320     2.20 hrs
                    partially or entirely in response to Examiner
                    document requests, set 110/111.
12/18/2012   AJM    Draft privilege log for documents produced in          L320     3.50 hrs
                    response to Examiner document requests, set
                    110/111.
12/18/2012   MJB    Perform quality control on a batch of documents        L320     8.30 hrs
                    previously reviewed by contract attorneys.

12/18/2012   HLB    Perform quality control examiner review on set         L120     3.50 hrs
                    Renzi 002 per examiner review protocol.

12/18/2012   HLB    Perform quality control examiner review on set         L120     1.30 hrs
                    Stenger 004 per examiner review protocol.

12/18/2012   HLB    Perform quality control examiner feedback form         L120     0.30 hrs
                    on set Stenger 004 per examiner review protocol.

12/18/2012   ABW    Document review of Stenger 16 quality control.         L120     2.00 hrs


12/19/2012   AMP    Attention to status of latest Lazard privilege         L320     0.70 hrs
                    review.

12/19/2012   AMP    E-mails with Mr. Phillips regarding status of latest   L320     0.20 hrs
                    Lazard privilege review.

12/19/2012   AMP    Draft e-mail to Mr. Brown (Morrison & Foerster)        L320     0.30 hrs
                    regarding completion of that Lazard review.

12/19/2012   AMP    Attention to Cerberus privilege review status.         L320     0.60 hrs


12/19/2012   AMP    E-mails with Mr. Barthel regarding Cerberus            L320     0.20 hrs
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                    privilege review status.

12/19/2012   AMP    Conference call with Cerberus' counsel regarding     L120     0.40 hrs
                    status of review.

12/19/2012   AMP    Draft e-mail to provide update.                      L120     0.30 hrs


12/19/2012   AMP    Conference call with Kirkland & Ellis teams and      L120     0.80 hrs
                    Morrison & Foerster teams regarding status of
                    Cerberus privilege review.
12/19/2012   JAL    Review decision of Judge Cote denying AFI's          L120     1.00 hrs
                    motion to dismiss FHFA's claims (.50).
                    Conferences with Ms. Battle and Mr. Beekhuizen
                    regarding same (.20). Review and respond to
                    e-mails regarding Ms. Rock's interview (.10).
                    Review e-mails regarding omnibus response to
                    third party creditors' submissions and response to
                    steering committee submission (.20).
12/19/2012   VLS    Monitor review status of document review team.       L320     0.80 hrs


12/19/2012   VLS    Assignment of document review batches to             L320     1.40 hrs
                    document review team.

12/19/2012   VLS    Update document review status chart.                 L320     0.60 hrs


12/19/2012   VLS    Monitor review status of document review quality     L320     0.60 hrs
                    control team.

12/19/2012   VLS    Assignment of document review quality control        L320     0.80 hrs
                    batches to quality control team.

12/19/2012   VLS    Update document review quality control status        L320     0.70 hrs
                    charts.

12/19/2012   VLS    E-mail exchange with document reviewer, Mr.          L320     0.30 hrs
                    Beach regarding document review progress.

12/19/2012   VLS    E-mail exchange with document reviewer, Mr.          L320     0.30 hrs
                    Kasmika regarding document review progress.

12/19/2012   JES    Begin Pensabene interview document review.           L120     2.00 hrs


12/19/2012   JALB   Telephone conference with Mr. Corcoran               L120     0.30 hrs
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                    regarding document collection in Minneapolis.

12/19/2012   DJB    Respond to contract reviewers' questions               L120     0.80 hrs
                    concerning whether documents are privileged.

12/19/2012   DJB    Perform second level quality check of documents        L120     6.60 hrs
                    received from Cerberus (batch 20121121) for
                    attorney-client privilege, attorney work product,
                    joint defenses, and common interest to assist
                    Morrison Foerster with productions to the
                    Examiner.
12/19/2012   DJB    Format privilege law, indicating specific reasons      L120     6.30 hrs
                    why documents received from Cerberus (batch
                    20121121) are protected by attorney-client
                    privilege, attorney work product, joint defenses, or
                    common interest, and identify affiliations of
                    individuals appearing on e-mails to assist Morrison
                    Foerster with productions to the Examiner.
12/19/2012   JRC    Review and analyze deposition testimony of             L210     0.80 hrs
                    ResCap employees in order to prepare to review
                    Mr. Ruckdaschel's hard copy files.
12/19/2012   JRC    Review and analyze deposition transcript of Mr.        L330     3.40 hrs
                    Ruckdaschel and accompanying exhibits in order
                    to prepare to review his hard copy files in response
                    to requests from the bankruptcy examiner.
12/19/2012   JRC    Review and analyze objections and accompanying         L210     1.10 hrs
                    exhibits filed to the RMBS Trust Settlement in
                    order to prepare to review Mr. Ruckdaschel's hard
                    copy files.
12/19/2012   SP     Analyze documents from Cerberus and marked as          L320     3.90 hrs
                    privileged by first-level reviewers in Discovery
                    Partner for privilege designation.
12/19/2012   SP     Analyze documents from Lazard in Relativity for        L120     4.90 hrs
                    privilege designation.

12/19/2012   SP     Communicate with Ms. Paul-Whitfield regarding          L120     0.30 hrs
                    review of Lazard documents.

12/19/2012   GNM    Work in Discovery Partner database tracking            L120     1.10 hrs
                    production metrics.

12/19/2012   GNM    Work in Discovery Partner database performing          L120     5.00 hrs
                    second level review of Renzi 20 as outlined by the
                    quality control protocol.
12/19/2012   GNM    E-mail with Ms. Klun (Lumen Legal) regarding           L190     0.20 hrs
                    reviewer progress.
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12/19/2012   GNM    Exchange e-mails with Ms. Gardiner (Schulte Roth     L190     0.40 hrs
                    Zabel) regarding Cerberus productions.

12/19/2012   GNM    Telephone conference with Ms. Gardiner (Schulte      L190     0.30 hrs
                    Roth and Zabel) regarding Cerberus productions.

12/19/2012   GNM    Exchange e-mail with Ms. Paul Whitfield              L190     0.40 hrs
                    regarding Cerberus productions.

12/19/2012   GNM    Work in Discovery Partner database configuring       L120     0.20 hrs
                    new data for review.

12/19/2012   GNM    Telephone conference with Ms. Klun (Lumen            L190     0.50 hrs
                    Legal) regarding reviewer progress.

12/19/2012   AJM    Quality control review of documents withheld         L320     0.90 hrs
                    partially or entirely in response to Examiner
                    document requests, set 110/111.
12/19/2012   AJM    Draft privilege log for documents produced in        L320     2.00 hrs
                    response to Examiner document requests, set
                    110/111.
12/19/2012   SCM    Review of Spindler 007 documents.                    L320     1.10 hrs


12/19/2012   MJB    Perform quality control on Renzi batch 6 and         L320     7.70 hrs
                    Olson2 batch 12previously reviewed by contract
                    attorneys.
12/19/2012   HLB    Perform quality control examiner review of Renzi     L120     3.60 hrs
                    002 per quality control protocol.

12/20/2012   AMP    Attention to attorney/legal department write-up.     L120     0.20 hrs


12/20/2012   AMP    Attention to Cerberus' document privilege review.    L120     0.30 hrs


12/20/2012   AMP    E-mails with Morrison & Foerster and Kirkland &      L120     0.20 hrs
                    Ellis regarding Cerberus' document privilege
                    review.
12/20/2012   AMP    Attention to initial log for set 1, batch 1 of       L320     0.60 hrs
                    Cerberus' privilege documents.

12/20/2012   AMP    E-mails with Morrison & Foerster regarding initial   L320     0.10 hrs
                    log for set 1, batch 1 of Cerberus' privilege
                    documents.
12/20/2012   AMP    Review e-mail from Examiner's counsel regarding      L120     0.20 hrs
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                    latest privilege log.

12/20/2012   AMP    E-mails with Mr. Molnar regarding latest privilege    L120     0.20 hrs
                    log.

12/20/2012   AMP    Meet with Ms. Battle regarding attorney/legal         L120     0.20 hrs
                    department write-up.

12/20/2012   JAL    Participate at hearing where examiner's counsel       L120     1.30 hrs
                    reported on status of investigation (.50). Review
                    and respond to e-mails regarding examiner
                    interviews (.20). Review and respond to e-mails
                    regarding submission addressing steering
                    committee submission (.10). Review response
                    (.50).
12/20/2012   VLS    Monitor review status of document review team.        L320     0.90 hrs


12/20/2012   VLS    Assignment of document review batches to              L320     1.60 hrs
                    document review team.

12/20/2012   VLS    Update document review status charts.                 L320     0.70 hrs


12/20/2012   VLS    Monitor review status of document review quality      L320     0.80 hrs
                    control team.

12/20/2012   VLS    Assignment of document review quality control         L320     0.70 hrs
                    batches to quality control team.

12/20/2012   VLS    Update document review quality control status         L320     0.90 hrs
                    charts.

12/20/2012   VLS    Update document review status chart with new          L320     1.10 hrs
                    custodians.

12/20/2012   JES    Review materials and memoranda regarding prior        L120     8.00 hrs
                    interviews in preparation for drafting preparation
                    materials for January interviews. (4.80) Continue
                    review of Pensabere materials. (3.20)
12/20/2012   JALB   Meet with Ms. Paul-Whitfield regarding attorney       L120     0.50 hrs
                    responsibilities project. (.20) Conference with Mr.
                    Corcoran regarding review of Mr. Ruckdaschel's
                    documents.
12/20/2012   JALB   Internal discussion regarding impact of Judge         L120     0.30 hrs
                    Cote's ruling in FHFA on third-party claim.
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12/20/2012   JALB   Follow- up research and drafting regarding             L120     0.40 hrs
                    attorney responsibilities project.

12/20/2012   JALB   Review and analyze Judge Cote's ruling in FHFA.        L120     0.40 hrs


12/20/2012   JALB   Respond to client questions regarding Examiner         L120     0.30 hrs
                    interview process.

12/20/2012   DJB    Perform second level quality check of documents        L120     3.80 hrs
                    received from Cerberus (batch 20121121) for
                    attorney-client privilege, attorney work product,
                    joint defenses, or common interest to assist
                    Morrison Foerster with productions to the
                    Examiner.
12/20/2012   DJB    Format privilege log, indicating specific reasons      L120     2.40 hrs
                    why documents received from Cerberus (batch
                    20121121) are protected by attorney-client
                    privilege, attorney work product, joint defenses, or
                    common interest, and identify affiliations of
                    individuals appearing on e-mails to assist Morrison
                    Foerster with productions to the Examiner.
12/20/2012   DJB    Communications with Ms. Paul Whitfield, Mr.            L120     1.20 hrs
                    Phillips, and Ms. Marty regarding completion of
                    privilege log for documents received from
                    Cerberus.
12/20/2012   JRC    Teleconference with Ms. Battle regarding review        L120     0.30 hrs
                    of Mr. Ruckdaschel's documents in response to
                    requests from the bankruptcy examiner.
12/20/2012   JRC    Conference with Ms. Zellman (Residential Capital)      L120     0.20 hrs
                    regarding review of Mr. Ruckdaschel's (Residential
                    Capital) hard copy files in response to requests
                    from the bankruptcy examiner.
12/20/2012   JRC    Conference with Mr. Ruckdaschel (Residential           L120     0.40 hrs
                    Capital) regarding review of his hard copy files in
                    response to requests from the bankruptcy
                    examiner.
12/20/2012   JRC    Review and analyze Mr. Ruckdaschel's hard copy         L320     7.30 hrs
                    files in Minneapolis in order to respond to requests
                    from the bankruptcy examiner.
12/20/2012   JRC    Review and analyze deposition transcript of Mr.        L330     0.90 hrs
                    Ruckdaschel and accompanying exhibits in order
                    to prepare to review his hard copy files in response
                    to requests from the bankruptcy examiner.
12/20/2012   JRC    Review and analyze objections and accompanying         L210     0.80 hrs
                    exhibits filed to the RMBS Trust Settlement in
                    order to prepare to review of Mr. Ruckdaschel's
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                    hard copy files.
12/20/2012   SP     Communicate with Ms. Marty regarding process        L120     0.40 hrs
                    for review of Cerberus-related documents.

12/20/2012   SP     Review documents from Cerberus and marked as        L320     7.60 hrs
                    privileged by first-level reviewers in Discovery
                    Partner for privilege designation.
12/20/2012   SP     Revise privilege log entries for Cerberus-related   L120     2.20 hrs
                    documents.

12/20/2012   SP     Review Cerberus-created privilege log and           L120     0.30 hrs
                    communicate with Ms. Paul-Whitfield about the
                    same.
12/20/2012   GNM    Work in Discovery Partner to answer quality         L120     3.80 hrs
                    control teams questions regarding privilege
                    determinations.
12/20/2012   GNM    Telephone conference with Ms. Gardiner (Schulte     L190     0.30 hrs
                    Roth and Zabel) regarding Cerberus productions.

12/20/2012   GNM    Telephone conference with Mr. Phillips regarding    L190     0.50 hrs
                    privilege designations.

12/20/2012   GNM    Meet with Ms. Buchanan regarding quality control    L190     0.30 hrs
                    Protocol.

12/20/2012   GNM    Meet with Ms. Paul Whitfield regarding review of    L190     0.30 hrs
                    Cerberus data.

12/20/2012   GNM    Draft and send e-mail to Ms. Levitt (Morrison &     L190     0.30 hrs
                    Forester) regarding current production volume.

12/20/2012   GNM    Work in Discovery Partner database preparing data   L120     0.70 hrs
                    for production.

12/20/2012   GNM    E-mail with Mr. Brown (Morrison & Forester)         L190     0.20 hrs
                    regarding items being withheld as subject to a
                    regulatory privilege.
12/20/2012   GNM    Telephone conference with Ms. Gardiner (Schulte     L190     0.20 hrs
                    Roth and Zabel) regarding Cerberus productions.

12/20/2012   GNM    Telephone conference with Ms. Gulley (DTI)          L190     0.40 hrs
                    regarding privilege log supplemental productions.

12/20/2012   GNM    Telephone conference with Mr. Frewell (DTI)         L190     0.30 hrs
                    regarding privilege log supplemental productions.
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12/20/2012   GNM    Telephone conference with Ms. Gulley (DTI)            L190     0.20 hrs
                    regarding Cerberus productions.

12/20/2012   GNM    E-mail with Ms. Gulley (DTI) regarding Cerberus       L190     0.20 hrs
                    productions.

12/20/2012   AJM    Draft privilege log for documents produced in         L320     0.20 hrs
                    response to Examiner document requests, set
                    110/111.
12/20/2012   AJM    Draft responses to Mr. Schwinger's concerns with      L320     0.60 hrs
                    privilege logs raised in his e-mail of December 18,
                    2012.
12/20/2012   SCM    Quality control review of Renzi 007 documents.        L320     3.00 hrs


12/20/2012   MJB    Perform quality control on Olson2 batch 12            L320     7.20 hrs
                    previously reviewed by contract attorneys.

12/20/2012   HLB    Perform quality control examiner review of Renzi      L120     6.30 hrs
                    002 per quality control protocol.

12/20/2012   HLB    Completed quality control feedback from for           L120     0.40 hrs
                    review of Renzi 002 per quality control protocol.

12/21/2012   AMP    Attention to attorney write-up issues.                L120     0.10 hrs


12/21/2012   AMP    E-mails with Ms. Battle regarding attorney            L120     0.20 hrs
                    write-up issues.

12/21/2012   JAL    Review e-mails regarding examiner interview           L120     0.30 hrs
                    preparation and scheduling matters (.20).
                    Conference with Mr. Beck regarding same (.10).
12/21/2012   VLS    Monitor review status of document review quality      L320     0.60 hrs
                    control team.

12/21/2012   VLS    Assignment of document review quality control         L320     2.30 hrs
                    batches to quality control team.

12/21/2012   VLS    Update document review quality control status         L320     1.80 hrs
                    charts.

12/21/2012   VLS    Monitor review status of document review team.        L320     0.80 hrs


12/21/2012   VLS    Assignment of document review batches to              L320     0.40 hrs
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                    document team.

12/21/2012   VLS    Update document review status chart.                  L320     0.80 hrs


12/21/2012   JES    Review additional potential documents for use in      L120     5.00 hrs
                    Pensabere preparation materials.

12/21/2012   TKI    Review e-mail documents for quality control           L120     2.10 hrs
                    purposes for Spindel 003 batch.

12/21/2012   JALB   Follow-up with Mr. Brown (Morrison & Foerster)        L120     0.40 hrs
                    and client regarding specific outstanding document
                    requests.
12/21/2012   JALB   Follow-up correspondence with Mr. Illovsky, Mr.       L120     0.50 hrs
                    Day (both Morrison & Foerster) and Mr. Lipps
                    regarding interview scheduling.
12/21/2012   DAB    E-mail Ms. Mohler regarding preparations for          L120     0.30 hrs
                    upcoming examiner interviews.

12/21/2012   JRC    E-mail exchange with document reviewer                L320     0.20 hrs
                    regarding proper coding of documents in response
                    to requests from the bankruptcy examiner.
12/21/2012   SP     Analyze documents from Cerberus and marked as         L320     5.70 hrs
                    privileged by first-level reviewers in Discovery
                    Partner for privilege designation.
12/21/2012   SP     Revise privilege log entries for Cerberus-related     L120     2.60 hrs
                    documents.

12/21/2012   GNM    Work in Discovery Partner database performing         L120     2.00 hrs
                    second level review of Renzi 20 data as outlined in
                    the quality control protocol.
12/21/2012   GNM    Work in the Discovery Parner database researching     L120     0.70 hrs
                    attorneys appearing most frequently.

12/21/2012   GNM    Draft and send e-mail to Mr. Brown (Morrison &        L190     0.30 hrs
                    Forester) releasing production EXAM129/130 to
                    be sent to Chadbourne.
12/21/2012   GNM    Draft cover letter to be sent with EXAM131            L190     0.40 hrs
                    production

12/21/2012   GNM    Draft and send e-mail to Ms. Gardiner (Schulte        L190     0.20 hrs
                    Roth and Zabel) regarding the Cerberus
                    productions.
12/21/2012   SCM    Quality control review of Renzi 007 documents.        L320     0.40 hrs
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12/21/2012   ABW    E-mail with Ms. Sholl regarding reviewer            L120     0.10 hrs
                    assignment.

12/23/2012   ABW    Document review of Stenger 16 quality control.      L120     1.80 hrs


12/24/2012   AMP    Review e-mails from Mr. Brown and Ms. Tice          L120     0.70 hrs
                    (Morrison & Foerster) regarding redactions in
                    Houlihan presentation and whether they are in
                    original or privileged.
12/24/2012   AMP    E-mails with Mr. Phillips regarding redactions in   L120     0.30 hrs
                    Houlihan presentation and whether they are in
                    original or privileged.
12/24/2012   VLS    Review and batch out for assignment new             L320     0.70 hrs
                    custodian data recently loaded into Discovery
                    Partner database.
12/24/2012   VLS    Assignment of document review batches to            L320     0.80 hrs
                    document review team.

12/24/2012   SP     Review report from Houlihan Lokey for Ms.           L120     0.60 hrs
                    Paul-Whitfield and answer questions regarding
                    privilege designations and redactions.
12/24/2012   GNM    Work in Discovery Partner to research documents     L120     1.40 hrs
                    requested by Chadbourne.

12/24/2012   GNM    Exchange e-mails with Ms. Tice and Mr. Brown        L190     0.90 hrs
                    (Morrison & Forester) regarding the documents
                    requested by Chadbourne.
12/25/2012   AMP    Draft e-mail to Mr. Brown (Morrison & Foerster)     L120     0.30 hrs
                    regarding Houlihan presentation redactions being
                    in original.
12/25/2012   ABW    Document review of Stenger 16 quality control.      L120     1.80 hrs


12/26/2012   JAL    Review and respond to e-mail regarding examiner     L120     0.30 hrs
                    interview preparation materials (.20). Review
                    same (.10).
12/26/2012   VLS    Monitor review status of document review team.      L320     0.80 hrs


12/26/2012   VLS    Assignment of document review batches to            L320     1.60 hrs
                    document review team.
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12/26/2012   VLS    Update document review status chart.                L320     1.10 hrs


12/26/2012   VLS    E-mail exchange with Discovery Partner support      L320     0.30 hrs
                    regarding log in issues for document reviewer Mr.
                    King.
12/26/2012   VLS    Obtain document reviewer time cards and review      L320     1.40 hrs
                    for accuracy.

12/26/2012   VLS    Approve document reviewer time cards for            L320     0.40 hrs
                    payment.

12/26/2012   VLS    E-mail exchange with document reviewer Ms.          L320     0.30 hrs
                    Perko regarding time card.

12/26/2012   VLS    E-mail exchange with document reviewer Mr. Peck     L320     0.30 hrs
                    regarding time card.

12/26/2012   VLS    Monitor review status of document review quality    L320     0.40 hrs
                    control team.

12/26/2012   VLS    Assignment of document review quality control       L320     0.80 hrs
                    batches to quality control team.

12/26/2012   VLS    Update document review quality control status       L320     0.40 hrs
                    charts.

12/26/2012   TKI    Review e-mail documents for quality control         L120     3.60 hrs
                    purposes for Applegate 10 batch.

12/26/2012   TKI    Review e-mail documents for quality control         L120     1.30 hrs
                    purposes for Spindel 003 batch.

12/26/2012   JALB   Follow-up on various e-mails from Mr. Brown         L120     0.40 hrs
                    (Morrison & Foerster) and Ms. Miller
                    (Chadbourne) regarding document collection
                    requests.
12/26/2012   JRC    E-mail exchange with document reviewer              L320     0.10 hrs
                    regarding proper coding of documents under the
                    examiner review protocol.
12/26/2012   SP     Analyze documents from Cerberus and marked as       L320     5.70 hrs
                    privileged by first-level reviewers in Discovery
                    Partner for privilege designation and provide
                    explanations for privilege log.
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12/26/2012   GNM    Work in Discovery Partner to research documents           L120     7.50 hrs
                    requested by Chadbourne.

12/26/2012   GNM    Exchange e-mails with Ms. Tice and Mr. Brown              L190     0.50 hrs
                    (Morrison & Forester) regarding the documents
                    requested by Chadbourne.
12/26/2012   GNM    Examine STM files for privileged material.                L190     1.90 hrs


12/26/2012   GNM    E-mail with Ms. Tice (Morrison & Forester)                L190     0.10 hrs
                    regarding STM files.

12/26/2012   ABW    Document review of Stenger 16 quality control.            L120     0.50 hrs


12/27/2012   AMP    E-mails regarding attorney chart for legal                L120     0.40 hrs
                    department explanation.

12/27/2012   AMP    E-mails with Ms. Battle regarding attorney chart          L120     0.30 hrs
                    for legal department explanation.

12/27/2012   AMP    Attention to Cerberus privilege review status.            L120     0.30 hrs


12/27/2012   AMP    Review e-mails from Morrison & Foerster                   L120     0.30 hrs
                    regarding document request No. 19.

12/27/2012   JAL    Review and respond to e-mails regarding examiner          L120     1.60 hrs
                    interview schedule and Ms. Rock's preparation
                    (.20). Review Ms. Rock's documents (.40).
                    Review Mr. Pensabone's documents (.40). Review
                    Mr. Nealy's documents (.50).
12/27/2012   EPH    Post-coding quality check for Jones batch 1.       A104   L110     1.20 hrs


12/27/2012   TKI    Review e-mail documents for quality control               L120     4.80 hrs
                    purposes for Applegate 10 batch.

12/27/2012   JALB   Revise "attorney affiliation" memorandum and              L120     0.30 hrs
                    chart.

12/27/2012   JALB   Review status of interview scheduling.                    L120     0.40 hrs


12/27/2012   DJB    Perform second level quality check of documents           L120     8.20 hrs
                    received from Cerberus (batches 20121205 and
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                    20121212) coded by first level contract reviewers
                    as not reviewed or needing further review as to
                    privilege and work product protections to assist
                    Morrison Foerster with productions to the
                    Examiner.
12/27/2012   DAB    Conference with Ms. Mohler regarding                L120     0.10 hrs
                    preparations for upcoming examiner interviews.

12/27/2012   DAB    E-mail Mr. Sechler and Ms. Mohler regarding         L120     0.20 hrs
                    materials relevant to upcoming examiner
                    interviews.
12/27/2012   SP     Analyze documents from Cerberus and marked as       L320     5.40 hrs
                    privileged by first-level reviewers in Discovery
                    Partner for privilege designation and provide
                    explanations for privilege log.
12/27/2012   SP     Conference with Ms. Paul-Whitfield, Ms. Marty,      L120     0.80 hrs
                    and Mr. Barthel regarding best practices for
                    reviewing documents and creating privilege logs.
12/27/2012   GNM    Work in Discovery Partner database to prepare       L120     1.00 hrs
                    data for production.

12/27/2012   GNM    Work in Discovery Partner database to answer        L120     2.00 hrs
                    reviewer questions regarding privilege
                    determinations and issue tagging.
12/27/2012   GNM    Update production metrics report.                   L190     0.70 hrs


12/27/2012   GNM    Draft and send e-mail to Ms. Battle regarding       L190     0.60 hrs
                    quality control team efficiency and productivity.

12/27/2012   GNM    Exchange e-mail with Mr. Brown (Morrison &          L190     0.50 hrs
                    Forester) regarding follow-up to items requested
                    by Chadbourne.
12/27/2012   GNM    E-mail with Ms. Gulley (DTI) releasing items for    L190     0.40 hrs
                    production.

12/27/2012   GNM    Draft and send e-mail to quality control team       L190     0.20 hrs
                    regarding availability.

12/27/2012   GNM    E-mail with Ms. Battle regarding reviewer           L190     0.10 hrs
                    statistics.

12/27/2012   AEG    Document review of Olson 2 batch 25 regarding       L140     0.40 hrs
                    quality control (second level) making sure
                    privileged and coding are properly done.
12/27/2012   ABW    E-mail to Ms. Sholl regarding check-in of Stenger   L190     0.10 hrs
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                    16.

12/27/2012   ABW    Document review of Stenger 16 quality control.         L120     2.20 hrs


12/28/2012   AMP    E-mails with Mr. Brown (Morrison & Foerster)           L320     0.80 hrs
                    regarding e-mail to Examiner's counsel with 12
                    Lazard documents that should be privileged and
                    clawedback and 3 Lazard documents that are PEO.
12/28/2012   AMP    Attention to issues regarding privilege of fairness    L120     0.40 hrs
                    opinions.

12/28/2012   AMP    E-mails regarding privilege of fairness opinions.      L120     0.20 hrs


12/28/2012   AMP    Attention to legal department organizational charts.   L120     0.20 hrs


12/28/2012   AMP    Attention to write-up regarding legal department.      L120     0.30 hrs


12/28/2012   AMP    E-mails with Ms. Battle regarding legal department     L120     0.20 hrs
                    organizational charts.

12/28/2012   JAL    Review examiner interview schedule (.10).              L120     1.30 hrs
                    Review e-mails regarding same (.10). Prepare for
                    Mr. Bier's interview by reviewing Mr. Bier's
                    Countrywide case deposition transcript (1.1).
12/28/2012   TKI    Review e-mail documents for quality control            L120     1.40 hrs
                    purposes for Applegate 10 batch.

12/28/2012   JALB   Revise "attorney affirmations" memorandum and          L120     0.20 hrs
                    chart.

12/28/2012   DJB    Research fairness opinions on privilege logs to        L120     0.20 hrs
                    assist Morrison Foerster in determining whether
                    they are subject to attorney-client or work product
                    protections.
12/28/2012   MMM    Review documents and begin draft of interview          L120     3.00 hrs
                    preparation outline for Mr. Neary.

12/28/2012   JRC    E-mail exchange with document reviewer                 L320     0.20 hrs
                    regarding proper coding of documents under
                    examiner review protocol.
12/28/2012   SP     Analyze documents from Cerberus and marked as          L320     7.40 hrs
                    privileged by first-level reviewers in Discovery
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                    Partner for privilege designation and provide
                    explanations for privilege log.
12/28/2012   SP     Communicate with Ms. Paul-Whitfield regarding       L120     0.30 hrs
                    organization of legal department.

12/28/2012   GNM    E-mail regarding non-e-mail custodian data.         L190     0.40 hrs


12/28/2012   GNM    E-mail with Ms. Gulley (DTI) releasing items for    L190     0.40 hrs
                    production.

12/28/2012   GNM    Work in Discovery Partner database preparing data   L190     0.60 hrs
                    for production.

12/28/2012   GNM    Draft and send e-mail to Mr. Brown (Morrison &      L190     0.50 hrs
                    Forester) releasing production EXAM201/202 to
                    be sent to Chadbourne.
12/28/2012   GNM    Work in Discovery Partner database to answer        L190     2.60 hrs
                    reviewer questions relating to privilege
                    determinations and issue tagging.
12/28/2012   SCM    Quality control review of Renzi 007 documents.      L320     2.10 hrs


12/28/2012   ABW    E-mail from Ms. Sholl regarding check-in of         L190     0.10 hrs
                    Stenger 16.

12/28/2012   ABW    Document review of Neary 15 quality control.        L120     3.20 hrs


12/29/2012   AMP    E-mails with Ms. Marty and privilege review team    L120     0.30 hrs
                    regarding global legal department and attorney
                    information.
12/29/2012   AMP    Review chart from Ms. Battle and edit same.         L120     0.40 hrs


12/29/2012   TKI    Review e-mail documents for quality control         L120     2.10 hrs
                    purposes for Spindel 003 batch.

12/29/2012   JALB   Revise "attorney affirmations" memorandum and       L120     1.30 hrs
                    chart.

12/29/2012   JALB   Follow-up with internal team (Mr. Beck, Mr.         L120     0.20 hrs
                    Sechler and Ms. Mohler) regarding preparation
                    materials.
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12/29/2012   JALB   Correspondence regarding review of Ms.                         L120     0.20 hrs
                    Hamzehpour (Residential Capital) files.

12/29/2012   JALB   Correspondence with Mr. Miller (Residential                    L120     0.10 hrs
                    Capital) and Mr. Brown (Morrison & Foerster)
                    regarding request for employee directory.
12/29/2012   SP     Analyze documents from Cerberus and marked as                  L320     0.60 hrs
                    privileged by first-level reviewers in Discovery
                    Partner for privilege designation and provide
                    explanations for privilege log.
12/29/2012   GNM    Work in Discovery Partner to configure data for                L120     0.10 hrs
                    review.

12/29/2012   GNM    Draft and send e-mail to Mr. Ritzler (Contract                 L190     0.20 hrs
                    Reviewer) regarding new

12/29/2012   GNM    Research organizational charts to locate                       L110     1.40 hrs
                    information regarding the historical structure of the
                    legal department.
12/29/2012   ABW    Document review of Neary 15 quality control.                   L120     2.10 hrs


12/30/2012   AMP    Attention to Lazard document issues.                           L320     0.70 hrs


12/30/2012   AMP    Attention to additions to attorney chart.                      L120     0.30 hrs


12/30/2012   AMP    E-mails with Ms. Battle regarding additions to                 L120     0.20 hrs
                    attorney chart.

12/30/2012   AMP    Respond to e-mail to Examiner's counsel regarding              L120     0.30 hrs
                    Lazard's 12 documents.

12/30/2012   AMP    E-mail to Mr. Brown (Morrison & Foerster)                      L120     0.20 hrs
                    regarding fairness opinions.

12/30/2012   AMP    Review e-mails regarding 12 privileged                         L120     0.40 hrs
                    documents.

12/30/2012   AMP    Provide additional details regarding 12 privileged             L120     0.40 hrs
                    documents.

12/30/2012   EPH    Post-coding quality check for Jones batch 1.            A104   L110     0.40 hrs
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12/30/2012   TKI    Review e-mail documents for quality control           L120     2.30 hrs
                    purposes for Spindel 003 batch.

12/30/2012   JALB   Follow-up regarding "attorney affirmations"           L120     0.20 hrs
                    project.

12/30/2012   JDR    Draft quality control feedback for batch Neary 016.   L320     0.30 hrs


12/30/2012   JDR    Quality control review of documents as outlined in    L320     3.50 hrs
                    quality control protocol and produced in response
                    to examiner requests, batch Neary 016, initial
                    review by Salahuddin.
12/30/2012   SP     Analyze documents from Cerberus and marked as         L320     0.40 hrs
                    privileged by first-level reviewers in Discovery
                    Partner for privilege designation and provide
                    explanations for privilege log.
12/30/2012   SP     Communicate with Ms. Paul-Whitfield relaying          L120     0.70 hrs
                    information regarding documents marked for
                    privilege from Lazard production.
12/30/2012   SCM    Quality control review of Renzi 007 documents.        L320     2.00 hrs


12/30/2012   ABW    E-mail to Ms. Sholl regarding check-in of Neary       L190     0.10 hrs
                    15.

12/30/2012   ABW    Document review of Neary 15 quality control.          L120     3.80 hrs


12/31/2012   AMP    Review draft e-mail to Examiner's counsel             L320     0.20 hrs
                    regarding Lazard's 12 documents.

12/31/2012   AMP    Draft responses to other issues raised by             L120     0.50 hrs
                    Examiner's counsel not covered by attorney chart.

12/31/2012   AMP    Draft e-mail to Mr. Brown (Morrison & Foerster)       L120     0.20 hrs
                    regarding responses to other issues raised by
                    Examiner's counsel not covered by attorney chart.
12/31/2012   AMP    E-mails with Mr. Molnar regarding technical           L120     0.20 hrs
                    response on unspecified sender e-mails.

12/31/2012   AMP    Attention to review of Cerberus documents             L120     0.90 hrs
                    involving potential Ally privilege.

12/31/2012   AMP    E-mails with Mr. Phillips regarding review of         L120     0.10 hrs
                    Cerberus documents involving potential Ally
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                    privilege.
12/31/2012   AMP    Draft e-mail to Ms. Levitt (Morrison & Foerster)      L120     0.30 hrs
                    regarding specifics of presentations in Lazard
                    documents being clawed back for privilege.
12/31/2012   AMP    Draft e-mail to Mr. Brown (Morrison & Foerster)       L120     0.20 hrs
                    regarding one document to remove from clawback
                    request.
12/31/2012   AMP    Draft proposed e-mail to Examiner's counsel           L120     0.10 hrs
                    regarding one document to remove from clawback
                    request.
12/31/2012   AMP    Review multiple attorney affiliation chart e-mails.   L120     0.30 hrs


12/31/2012   RBS    Obtain documents requested by Mr. Beck.               L310     0.10 hrs


12/31/2012   TKI    Review e-mail documents for quality control           L120     3.70 hrs
                    purposes for Spindel 003 batch.

12/31/2012   JALB   Follow-up discussion with Mr. Salerno (Morrison       L120     0.20 hrs
                    & Foerster) regarding attorney project.

12/31/2012   JALB   Prepare notes and revisions to attorney               L120     0.30 hrs
                    memorandum.

12/31/2012   JALB   Follow-up regarding "attorney affirmations"           L120     0.30 hrs
                    project.

12/31/2012   JALB   Follow-up regarding collection and review of          L330     0.10 hrs
                    additional materials from Ms. Hamzehpour.

12/31/2012   JALB   Telephone conference with in-house counsel and        L120     1.10 hrs
                    Mr. Salerno (Morrison & Foerster) regarding
                    attorney affiliation project.
12/31/2012   MMM    Continue review of documents and draft of outline     L120     0.30 hrs
                    for Neary preparation.

12/31/2012   DAB    E-mail Ms. Mohler regarding preparation for           L120     0.10 hrs
                    examiner interview of Mr. Neary.

12/31/2012   DAB    Call with Ms. Mohler regarding preparation for        L120     0.10 hrs
                    examiner interview of Mr. Neary.

12/31/2012   SP     Analyze documents from Cerberus and marked as         L320     7.10 hrs
                    privileged by first-level reviewers in Discovery
                    Partner for privilege designation and provide
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                    explanations for privilege log.
12/31/2012   SP     Review and revise attorney affiliation document            L120         0.30 hrs
                    for Ms. Paul-Whitfield.

12/31/2012   GNM    Work in Discovery Partner performing quality               L120         0.50 hrs
                    control checks on EXAM203/204.

12/31/2012   GNM    Draft and send e-mail communications to Mr.                L190         0.30 hrs
                    Brown (Morrison & Forester) releasing
                    productions EXAM203/204 to be sent to
                    Chadbourne.
12/31/2012   AJM    Review examiner privilege logs to determine if             L320         0.10 hrs
                    fairness opinions were included.

12/31/2012   AJM    Revise Residential Capital in-house attorney chart         L320         0.40 hrs
                    to be provided to examiner.

12/31/2012   SCM    Quality control review of Renzi 007 documents.             L320         0.70 hrs


12/31/2012   ABW    Document review of Paradies 7 for quality control.         L120         2.10 hrs


12/31/2012   ABW    E-mail from Ms. Sholl regarding assignment.                L190         0.10 hrs


12/31/2012   ABW    E-mail from Ms. Marty regarding assignment.                L190         0.10 hrs




                    TOTAL FEES FOR THIS MATTER                                           $259,626.00

EXPENSES

12/02/2012          Litigation Support Vendors - Lumen Legal (services for 11/20/12         $15,048.4
                    to 12/2/12)                                                                     4

12/02/2012          Litigation Support Vendors - Lumen Legal (services for 11/20/12         $8,603.70
                    to 12/2/12)

12/06/2012          Delivery Service/Messengers - Federal Express documents                       $29.85
                    returned from New York to Columbus

12/06/2012          Delivery Service/Messengers - Federal Express documents                       $28.19
                    returned from New York to Columbus

12/06/2012          Delivery Service/Messengers - Federal Express documents                       $27.36
                    returned from New York to Columbus
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12/06/2012          Delivery Service/Messengers - Federal Express documents               $22.06
                    returned from New York to Columbus

12/06/2012          Delivery Service/Messengers - Federal Express documents               $27.36
                    returned from New York to Columbus

12/06/2012          Delivery Service/Messengers - Federal Express documents               $26.60
                    returned from New York to Columbus

12/06/2012          Delivery Service/Messengers - Federal Express documents               $24.21
                    returned from New York to Columbus

12/06/2012          Delivery Service/Messengers - Federal Express documents               $28.19
                    returned from New York to Columbus

12/06/2012          Delivery Service/Messengers - Federal Express documents               $28.19
                    returned from New York to Columbus

12/06/2012          Delivery Service/Messengers - Federal Express documents               $23.44
                    returned from New York to Columbus

12/06/2012          Delivery Service/Messengers - Federal Express documents               $25.96
                    returned from New York to Columbus

12/06/2012          Delivery Service/Messengers - Federal Express documents               $24.21
                    returned from New York to Columbus

12/06/2012          Delivery Service/Messengers - Federal Express documents               $28.90
                    returned from New York to Columbus

12/06/2012          Delivery Service/Messengers - Federal Express documents               $25.04
                    returned from New York to Columbus

12/06/2012          Delivery Service/Messengers - Federal Express documents               $21.24
                    returned from New York to Columbus

12/06/2012          Delivery Service/Messengers - Federal Express documents               $23.44
                    returned from New York to Columbus

12/06/2012          Delivery Service/Messengers - Federal Express documents               $22.86
                    returned from New York to Columbus

12/06/2012          Delivery Service/Messengers - Federal Express documents               $28.19
                    returned from New York to Columbus

12/06/2012          Delivery Service/Messengers - Federal Express documents               $22.06
                    returned from New York to Columbus

12/06/2012          Delivery Service/Messengers - Federal Express documents               $21.24
                    returned from New York to Columbus

12/07/2012          Delivery Service/Messengers - Federal Express                         $25.04
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27       Exhibit E
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12/07/2012          Delivery Service/Messengers - Federal Express documents               $22.86
                    returned from New York to Columbus

12/07/2012          Delivery Service/Messengers - Federal Express documents               $22.86
                    returned from New York to Columbus

12/07/2012          Delivery Service/Messengers - Federal Express documents               $25.96
                    returned from New York to Columbus

12/07/2012          Delivery Service/Messengers - Federal Express documents               $25.04
                    returned from New York to Columbus

12/07/2012          Delivery Service/Messengers - Federal Express documents               $16.15
                    returned from New York to Columbus

12/07/2012          Delivery Service/Messengers - Federal Express documents                $9.93
                    returned from New York to Columbus

12/07/2012          Delivery Service/Messengers - Federal Express documents               $24.21
                    returned from New York to Columbus

12/07/2012          Delivery Service/Messengers - Federal Express documents               $25.04
                    returned from New York to Columbus

12/07/2012          Delivery Service/Messengers - Federal Express documents               $22.06
                    returned from New York to Columbus

12/07/2012          Delivery Service/Messengers - Federal Express documents               $25.96
                    returned from New York to Columbus

12/07/2012          Delivery Service/Messengers - Federal Express documents               $25.96
                    returned from New York to Columbus

12/07/2012          Delivery Service/Messengers - Federal Express documents               $27.36
                    returned from New York to Columbus

12/07/2012          Delivery Service/Messengers - Federal Express documents               $24.21
                    returned from New York to Columbus

12/07/2012          Delivery Service/Messengers - Federal Express documents               $24.21
                    returned from New York to Columbus

12/07/2012          Delivery Service/Messengers - Federal Express documents               $28.19
                    returned from New York to Columbus

12/07/2012          Delivery Service/Messengers - Federal Express documents               $22.86
                    returned from New York to Columbus

12/07/2012          Delivery Service/Messengers - Federal Express documents               $24.21
                    returned from New York to Columbus

12/07/2012          Delivery Service/Messengers - Federal Express documents               $15.29
                    returned from New York to Columbus
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
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12/07/2012          Delivery Service/Messengers - Federal Express documents                     $22.06
                    returned from New York to Columbus

12/07/2012          Delivery Service/Messengers - Federal Express documents                     $25.04
                    returned from New York to Columbus

12/07/2012          Delivery Service/Messengers - Federal Express documents                     $28.90
                    returned from New York to Columbus

12/07/2012          Delivery Service/Messengers - Federal Express documents                     $23.44
                    returned from New York to Columbus

12/07/2012          Delivery Service/Messengers - Federal Express documents                     $24.21
                    returned from New York to Columbus

12/07/2012          Delivery Service/Messengers - Federal Express documents                     $26.60
                    returned from New York to Columbus

12/07/2012          Delivery Service/Messengers - Federal Express                               $25.04

12/07/2012          Delivery Service/Messengers - Federal Express documents                     $22.06
                    returned from New York to Columbus

12/07/2012          Delivery Service/Messengers - Federal Express documents                     $35.10
                    returned from New York to Columbus

12/07/2012          Delivery Service/Messengers - Federal Express documents                     $24.21
                    returned from New York to Columbus

12/07/2012          (TRIP-JALB-12/6-7/12) Out-of-Town Travel/Airfare (coach) -            $1,081.60
                    travel to New York for examiner interviews

12/07/2012          (TRIP-JALB-12/6-7/12) Out-of-Town Travel/Hotel - travel to             $743.71
                    New York for examiner interviews

12/07/2012          Out-of-Town Travel/Mileage (32 miles X .55) - travel to Ms.                 $17.60
                    Battle's home for delivery (VW)

12/07/2012          (TRIP-JALB-12/6-7/12) Out-of-Town Travel/Taxi from Airport                  $47.30
                    to Hotel 12/6/12 - travel to New York for examiner interviews

12/07/2012          (TRIP-JALB-12/6-7/12) Out-of-Town Travel/Taxi from Hotel to                 $62.10
                    Airport 12/7/12 - travel to New York for examiner interviews

12/07/2012          (TRIP-JALB-12/6-7/12) Out-of-Town Travel/Lunch 12/6/12 -                    $13.07
                    travel to New York for examiner interviews

12/07/2012          (TRIP-JALB-12/6-7/12) Out-of-Town Travel/Breakfast 12/6/12 -                $20.00
                    travel to New York for examiner interviews

12/07/2012          (TRIP-JALB-12/6-7/12) Out-of-Town Travel/Lunch 12/7/12 -                    $20.00
                    travel to New York for examiner interviews
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12/07/2012          (TRIP-JALB-12/6-7/12) Out-of-Town Travel/Dinner 12/6/12 -                   $20.00
                    travel to New York for examiner interviews

12/07/2012          (TRIP-JALB-12/6-7/12) Out-of-Town Travel/Dinner 12/7/12-                    $40.00
                    travel to New York for examiner interviews (JALB and SKS)

12/11/2012          Witness Fees - Lisa Gess                                               $428.30

12/12/2012          Delivery Service/Messengers - Federal Express to Mr. Lipps             $157.31

12/13/2012          Litigation Support Vendors - David Applegate                           $312.00

12/14/2012          Delivery Service/Messengers - Federal Express to Mr. Lipps                  $83.69

12/14/2012          (TRIP-JAL-12/12-14/12) Out-of-Town Travel/Airfare (coach) -           $1,010.60
                    travel to New York for examiner investigation

12/14/2012          (TRIP-JAL-12/12-14/12) Out-of-Town Travel/Hotel - travel to           $1,244.02
                    New York for examiner investigation

12/14/2012          (TRIP-JAL-12/12-14/12) Out-of-Town Travel/Parking @ Port                    $62.00
                    Columbus - travel to New York for examiner investigation

12/14/2012          (TRIP-JAL-12/12-14/12) Out-of-Town Travel/Mileage to/from                    $6.60
                    Port Columbus - travel to New York for examiner investigation

12/14/2012          (TRIP-JAL-12/12-14/12) Out-of-Town Travel/Bellman - travel to               $17.00
                    New York for examiner investigation, bellman fees for carrying
                    boxes

12/14/2012          (TRIP-JALB-12/13-14/12) Out-of-Town Travel/Airfare (coach)            $1,106.60
                    - travel to New York for examiner interviews

12/14/2012          (TRIP-JALB-12/13-14/12) Out-of-Town Travel/Hotel - travel to           $495.77
                    New York for examiner interviews

12/14/2012          (TRIP-JALB-12/13-14/12) Out-of-Town Travel/Parking @ Port                   $29.00
                    Columbus - travel to New York for examiner interviews

12/14/2012          (TRIP-JAL-12/12-14/12) Out-of-Town Travel/Breakfast                         $35.00
                    12/13/12 - travel to New York for examiner investigation (JAL
                    and JRC)

12/14/2012          (TRIP-JAL-12/12-14/12) Out-of-Town Travel/Dinner 12/14/12 -                 $35.00
                    travel to New York for examiner investigation (JAL and JALB)

12/14/2012          (TRIP-JAL-12/12-14/12) Out-of-Town Travel/Taxi from AIrport                 $61.50
                    to Hotel 12/12/12 - travel to New York for examiner investigation

12/14/2012          (TRIP-JAL-12/12-14/12) Out-of-Town Travel/Car Service from                  $60.00
                    Hotel to Airport 12/14/12 - travel to New York for examiner
                    investigation
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12/14/2012          (TRIP-JALB-12/13-14/12) Out-of-Town Travel/Lunch 12/13/12 -                   $11.92
                    travel to New York for examiner interviews

12/14/2012          (TRIP-JALB-12/13-14/12) Out-of-Town Travel/Breakfast                           $7.07
                    12/14/12 - travel to New York for examiner interviews

12/14/2012          (TRIP-JALB-12/13-14/12) Out-of-Town Travel/Taxi from                          $48.49
                    Airport to Hotel 12/13/12 - travel to New York for examiner
                    interviews

12/14/2012          (TRIP-JALB-12/13-14/12) Out-of-Town Travel/Taxi from Hotel                    $60.00
                    to Airport 12/14/12- travel to New York for examiner interviews

12/14/2012          (TRIP-JAL-12/12-14/12) Out-of-Town Travel/Dinner 12/12/12 -                   $20.00
                    travel to New York for examiner investigation

12/14/2012          (TRIP-JAL-12/12-14/12) Out-of-Town Travel/Dinner 12/13/12 -                   $20.00
                    travel to New York for examiner investigation

12/16/2012          Litigation Support Vendors - Lumen Legal (services for 12/3/12          $24,462.9
                    to 12/16/12) (698.94 hours X $ 35.00 = $ 24,462.90)                             0

12/16/2012          Litigation Support Vendors - Lumen Legal (services for 12/3/12          $26,174.9
                    to 12/16/12) (315.10 hours X $ 38.00 = $ 11,973.80 and 417.68                   2
                    hours X $ 34.00 = $ 14,201.12 for a total of $ 26,174.92)

12/20/2012          (TRIP-JRC-12/19-20/12) Out-of-Town Travel/Airfare (coach) -             $1,181.60
                    travel to Mineapolis, MN for document review

12/20/2012          (TRIP-JRC-12/19-20/12) Out-of-Town Travel/Hotel - travel to              $113.13
                    Mineapolis, MN for document review

12/20/2012          (TRIP-JRC-12/19-20/12) Out-of-Town Travel/Parking @ Port                      $29.00
                    Columbus - travel to Mineapolis, MN for document review

12/20/2012          (TRIP-JRC-12/19-20/12) Out-of-Town Travel/Baggage Fee -                       $25.00
                    travel to Mineapolis, MN for document review

12/20/2012          (TRIP-JRC-12/19-20/12) Out-of-Town Travel/Baggage Fee -                       $25.00
                    travel to Mineapolis, MN for document review

12/20/2012          (TRIP-JRC-12/19-20/12) Out-of-Town Travel/Mileage to/from                      $8.80
                    Port Columbus - travel to Mineapolis, MN for document review

12/20/2012          (TRIP-JRC-12/19-20/12) Out-of-Town Travel/Taxi from Hotel to                  $39.30
                    Airport 12/20/12 - travel to Mineapolis, MN for document review

12/20/2012          (TRIP-JRC-12/19-20/12) Out-of-Town Travel/Dinner 12/19/12 -                   $10.43
                    travel to Mineapolis, MN for document review

12/20/2012          (TRIP-JRC-12/19-20/12) Out-of-Town Travel/Dinner 12/20/12 -                   $12.10
                    travel to Mineapolis, MN for document review

                    TOTAL EXPENSES FOR THIS MATTER                                         $84,314.22
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BILLING SUMMARY


       Winkler, A. Benjamin                  43.90 hrs   220.00 /hr    $9,658.00


       George, Amanda E.                      0.40 hrs   160.00 /hr        $64.00


       Molnar, Anthony J.                    67.80 hrs   210.00 /hr   $14,238.00


       Paul, Angela M.                       89.90 hrs   250.00 /hr   $22,475.00


       Beck, David A.                        17.90 hrs   230.00 /hr    $4,117.00


       Barthel, David J.                    117.00 hrs   210.00 /hr   $24,570.00


       Henry, Erik P.                        27.30 hrs   160.00 /hr    $4,368.00


       Marty, Gretchen N.                   135.80 hrs   150.00 /hr   $20,370.00


       Buchanan, Heather L.                  53.90 hrs   240.00 /hr   $12,936.00


       Lipps, Jeffrey A.                     40.60 hrs   360.00 /hr   $14,616.00


       Battle, Jennifer A.L.                 45.70 hrs   250.00 /hr   $11,425.00


       Rhode, Jacob D.                       12.10 hrs   160.00 /hr    $1,936.00


       Sechler, Joel E.                      32.00 hrs   190.00 /hr    $6,080.00


       Corcoran, Jeffrey R.                  64.50 hrs   180.00 /hr   $11,610.00


       Boyle, Michael J.                     88.60 hrs   180.00 /hr   $15,948.00


       Mohler, Mallory M.                    38.20 hrs   160.00 /hr    $6,112.00
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      Beekhuizen, Michael N.                70.70 hrs   250.00 /hr    $17,675.00


      Reiss, Nichole M.                      2.50 hrs   180.00 /hr        $450.00


      Samson, Robert B.                     21.20 hrs    75.00 /hr     $1,590.00


      Moeller, Steven C.                    32.10 hrs   200.00 /hr     $6,420.00


      Phillips, Segev                      177.90 hrs   220.00 /hr    $39,138.00


      Ibom, Tyler K.                        38.50 hrs   150.00 /hr     $5,775.00


      Sholl, Veronica L.                   107.40 hrs    75.00 /hr     $8,055.00



   TOTAL FEES                             1325.90 hrs                $259,626.00

   TOTAL EXPENSES                                                     $84,314.22

   TOTAL CHARGES FOR THIS INVOICE                                    $343,940.22
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         OHIO
      LITIGATION
       MATTERS
       12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
                              Monthly Invoices Pg 1042 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                          January 25, 2013

                                                                  Billed through 12/31/2012
Tammy Hamzephour                                                  Invoice # 52814      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 621 01124
190-FTW-L95
Fort Washington, PA 19034

Re: Nicholas Stincic
Matter No.: 705844

PROFESSIONAL SERVICES

12/03/2012    DAW      Review e-mail from Mr. Stincic.                            L120        0.10 hrs


12/03/2012    DAW      Draft responsive e-mail to Mr. Stincic.                    L120        0.10 hrs


12/06/2012    DAW      Review e-mail from Mr. Stincic regarding payment           L120        0.10 hrs
                       issues.

12/06/2012    DAW      Telephone conference with Ms. Ho (Residential              L120        0.10 hrs
                       Capital, LLC) regarding payment issues.

12/14/2012    DAW      Draft e-mail to Ms. Ho (Residential Capital, LLC)          L120        0.20 hrs
                       regarding conference call to discuss Mr. Stincic's
                       questions regarding loan account.
12/14/2012    DAW      Review correspondence from Mr. Stincic regarding           L120        0.30 hrs
                       alleged mistakes on account.

12/14/2012    DAW      Telephone conference with Ms. Ho and Ms. Frame             L120        0.50 hrs
                       (Residential Capital, LLC) regarding loan account
                       issues.
12/20/2012    DAW      Review e-mail from Mr. Stincic regarding loan              L120        0.10 hrs
                       account correction issues.

12/20/2012    DAW      Draft e-mail to Mr. Stincic regarding loan account         L120        0.40 hrs
     12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
 621 01124                Monthly Invoices Pg 1043 of 1163
                                                       Invoice # 52814         Page 2
                    correction issues.



                    TOTAL FEES FOR THIS MATTER                                     $494.00


BILLING SUMMARY


       Wallace, David A.                    1.90 hrs   260.00 /hr        $494.00



    TOTAL FEES                              1.90 hrs                     $494.00

    TOTAL CHARGES FOR THIS INVOICE                                       $494.00
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
                             Monthly Invoices Pg 1044 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                          January 25, 2013

                                                                 Billed through 12/31/2012
Tammy Hamzephour                                                 Invoice # 52815      JAL
Residential Capital, LLC
1100 Virginia Drive                                              Our file # 621 01128
190-FTW-L95
Fort Washington, PA 19034

Re: David Long
Matter No.: 706040

PROFESSIONAL SERVICES

12/03/2012   DAW       Review additional notice from Sixth Circuit Court         L120        0.10 hrs
                       regarding mandate.

12/03/2012   DAW       Draft e-mail to Ms. McGinnis (Residential Capital,        L120        0.10 hrs
                       LLC) regarding Sixth Circuit Court's mandate.

12/12/2012   DAW       Review e-mail from Ms. McGinnis (Residential              L120        0.10 hrs
                       Capital LLC) regarding update.



                       TOTAL FEES FOR THIS MATTER                                               $78.00


BILLING SUMMARY


         Wallace, David A.                           0.30 hrs    260.00 /hr         $78.00



     TOTAL FEES                                      0.30 hrs                      $78.00

     TOTAL CHARGES FOR THIS INVOICE                                                $78.00
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
                             Monthly Invoices Pg 1045 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                          January 25, 2013

                                                                 Billed through 12/31/2012
Tammy Hamzephour                                                 Invoice # 52816      JAL
Residential Capital, LLC
1100 Virginia Drive                                              Our file # 621 01140
190-FTW-L95
Fort Washington, PA 19034

Re: Freddie Hoop
Matter No.: 709674

PROFESSIONAL SERVICES

12/18/2012   DAW       Draft e-mail to Ms. Ho (Residential Capital, LLC)         L120        0.30 hrs
                       regarding case status.



                       TOTAL FEES FOR THIS MATTER                                               $78.00


BILLING SUMMARY


         Wallace, David A.                           0.30 hrs    260.00 /hr         $78.00



     TOTAL FEES                                      0.30 hrs                      $78.00

     TOTAL CHARGES FOR THIS INVOICE                                                $78.00
       12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                              Monthly Invoices Pg 1046 of 1163
                         CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                            January 25, 2013

                                                                     Billed through 12/31/2012
Tammy Hamzephour                                                     Invoice # 52817      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 621 01155
190-FTW-L95
Fort Washington, PA 19034

Re: National Remediation Project
Matter No.: 702040

PROFESSIONAL SERVICES

12/03/2012   DAW        (Anthony L. Harkins matter) Conference with Ms.              L120        0.30 hrs
                        Cadieux regarding motion for extension of time to
                        respond to Court's November 20, 2012 judgment
                        entry.
12/03/2012   DAW        (Gary T. Thorne matter) Review e-mail from Mr.               L120        0.10 hrs
                        Smith (Thorne counsel) regarding income
                        verification.
12/03/2012   DAW        (Gary T. Thorne matter) Draft e-mail to Mr. Smith            L120        0.30 hrs
                        (Thorne counsel) regarding income verification.

12/03/2012   DAW        (Gary T. Thorne matter) Draft e-mail to Ms.                  L120        0.20 hrs
                        McGinnis (Residential Capital, LLC) regarding
                        income verification.
12/03/2012   DAW        (Gary T. Thorne matter) Review e-mail from Mr.               L120        0.10 hrs
                        Smith (Thorne counsel) regarding pay stubs and
                        additional information.
12/03/2012   DAW        (Gary T. Thorne matter) Draft e-mail to Ms.                  L120        0.20 hrs
                        McGinnis (Residential Capital, LLC) regarding
                        pay stubs and additional information.
12/03/2012   KMC        (Anothony Harkins matter) Forward original                   L110        0.20 hrs
                        collateral file to Ms. Ho (Residential Capital) for
                        use in executing affidavit.
12/03/2012   KMC        (Anthony Harkins matter) Telephone conference                L110        0.20 hrs
                        with Ms. McGinnis (Residential Capital) regarding
                        original collateral file to Ms. Ho (Residential
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27    Exhibit E
  621 01155                Monthly Invoices Pg 1047 of 1163
                                                        Invoice # 52817        Page 2
                    Capital) for use in executing affidavit.
12/03/2012   KMC    (Anthony L. Harkins matter) Draft response to       L330     1.90 hrs
                    show cause order.

12/03/2012   KMC    (Anthony L. Harkins matter) Review documents        L110     0.90 hrs
                    regarding change of trustee.

12/03/2012   KMC    (Anthony L. Harkins matter) Research regarding      L110     1.20 hrs
                    standing issues.

12/04/2012   DAW    (Anthony L. Harkins matter) Conference with Ms.     L120     0.40 hrs
                    Cadieux regarding issue relating to standing and
                    discrepancy in notes.
12/04/2012   DAW    (Anthony L. Harkins matter) Revise e-mail to Ms.    L120     0.30 hrs
                    Ho (Residential Capital LLC) regarding additional
                    documents and information to prove standing.
12/04/2012   DAW    (Gary T. Thorne matter) Review e-mail and           L120     0.10 hrs
                    affidavit from Mr. Smith (Thorne counsel).

12/04/2012   DAW    (Gary T. Thorne matter) Draft e-mail to Ms.         L120     0.20 hrs
                    McGinnis (Residential Capital, LLC) regarding
                    affidavit and hearing issues.
12/04/2012   KMC    (Anthony L. Harkins matter) E-mail                  L110     0.10 hrs
                    correspondence with Ms. Ho (Residential Capital)
                    regarding trust documents needed for response to
                    show cause order.
12/04/2012   KMC    (Anthony L. Harkins matter) Review agreement of     L110     0.20 hrs
                    resignation and assumption.

12/04/2012   KMC    (Anthony L. Harkins matter) Review purchase         L210     0.80 hrs
                    agreement between BOA and JP Morgan Chase.

12/04/2012   KMC    (Anthony L. Harkins matter) Research regarding      L110     1.40 hrs
                    persons entitled to enforce a note.

12/04/2012   KMC    (Anthony L. Harkins matter) Draft response to       L210     1.60 hrs
                    show cause order.

12/04/2012   KMC    (Anthony L. Harkins matter) Review pooling and      L110     0.60 hrs
                    servicing agreement.

12/04/2012   KMC    (Anthony L. Harkins matter) Draft e-mail            L110     0.40 hrs
                    correspondence regarding additional items needed
                    for response to show cause order.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
  621 01155                Monthly Invoices Pg 1048 of 1163
                                                        Invoice # 52817          Page 3

12/05/2012   DAW    (Anthony L. Harkins matter) Review e-mails            L120     0.30 hrs
                    regarding background for show cause response.

12/05/2012   DAW    (Anthony L. Harkins matter) Telephone conference      L120     0.10 hrs
                    with Court regarding extension of time to respond
                    to Court's order.
12/05/2012   DAW    (Anthony L. Harkins matter) Revise motion for         L250     0.20 hrs
                    extension of time to respond to show cause order.

12/05/2012   DAW    (Gary T. Thorne matter) Telephone conference          L120     0.10 hrs
                    with Ms. McGinnis (Residential Capital, LLC)
                    regarding loss mitigation status.
12/05/2012   KMC    (Anthony L. Harkins matter) Draft motion for          L210     0.60 hrs
                    extension of time.

12/05/2012   KMC    (Anthony L. Harkins matter) Draft response to         L210     0.40 hrs
                    show cause order.

12/05/2012   KMC    (Anthony L. Harkins matter) E-mail                    L120     0.40 hrs
                    correspondence with Ms. Ho (Residential Capital)
                    regarding when endorsements were placed on the
                    note and items needed to respond to show order
                    cause.
12/05/2012   KMC    (Anthony L. Harkins matter) Research regarding        L110     1.90 hrs
                    status as a non-holder in possession of a note with
                    rights of a holder.
12/05/2012   KMC    (Anthony L. Harkins matter) Research regarding        L110     1.10 hrs
                    typographical errors in assignments and how it
                    effects their validity.
12/06/2012   DAW    (Anthony L. Harkins matter) Review motion for         L120     0.20 hrs
                    extension of time.

12/10/2012   DAW    (Edward Charles Miller, Jr. matter) Review e-mail     L120     0.10 hrs
                    regarding status of short sale offer.

12/12/2012   DAW    (Christopher Weil, et al. matter) Review settlement   L120     0.10 hrs
                    proposal from Mr. Howe (Weil counsel).

12/12/2012   DAW    (Christopher Weil, et al. matter) Draft e-mail to     L120     0.10 hrs
                    Ms. Ho (Residential Capital LLC) regarding
                    settlement proposal.
12/12/2012   DAW    (Gary T. Thorne matter) Review supplemental           L120     0.70 hrs
                    memorandum, affidavit, and documents submitted.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
  621 01155                Monthly Invoices Pg 1049 of 1163
                                                        Invoice # 52817         Page 4

12/13/2012   DAW    (Gary T. Thorne matter) Meet with Mr. Sechler        L120     0.40 hrs
                    regarding hearing preparation.

12/13/2012   DAW    (Gary T. Thorne matter) Telephone conference         L120     0.40 hrs
                    with Mr. Smith (Thorne counsel) regarding hearing
                    and settlement issues.
12/13/2012   DAW    (Gary T. Thorne matter) Telephone conference         L120     0.30 hrs
                    with Court regarding continuing motion hearing.

12/13/2012   DAW    (Gary T. Thorne matter) Draft joint motion to        L240     0.40 hrs
                    continue hearing.

12/13/2012   DAW    (Gary T. Thorne matter) Draft proposed order on      L120     0.10 hrs
                    motion to continue hearing.

12/13/2012   JES    (Gary T. Thorne matter) Prepare response to          L120     1.00 hrs
                    supplemental 60(B) motion from borrower.

12/14/2012   DAW    (Gary T. Thorne matter) Draft e-mail to Ms.          L120     0.20 hrs
                    McGinnis (Residential Capital LLC) regarding
                    motion to continue hearing on 60(B) motion.
12/17/2012   DAW    (Gary T. Thorne matter) Review e-mail from Mr.       L120     0.10 hrs
                    Smith regarding hearing issues.

12/17/2012   DAW    (Gary T. Thorne matter) Review e-mail and draft      L120     0.20 hrs
                    e-mail to Mr. Smith confirming continuance of
                    hearing.
12/17/2012   DAW    (Gary T. Thorne matter) Review e-mail                L120     0.10 hrs
                    confirming Court will grant motion to continue
                    hearing.
12/17/2012   JDR    (Anthony L. Harkins matter) Research regarding       L120     0.80 hrs
                    non holder in possession and successor in interest
                    status.
12/17/2012   JDR    (Anthony L. Harkins matter) Review and analyze       L120     0.50 hrs
                    research regarding non holder in possession and
                    successor in interest status.
12/18/2012   DAW    (Christopher Weil, et al. matter) Telephone          L120     0.20 hrs
                    conference with Ms. Ho (Residential Capital, LLC)
                    regarding loss mitigation approaches.
12/18/2012   DAW    (Edward Charles Miller, Jr. matter) Telephone        L120     0.10 hrs
                    conference with Ms. Ho (Residential Capital, LLC)
                    regarding short sale.
12/18/2012   DAW    (Anthony L. Harkins matter) Review Court order       L120     0.10 hrs
                    granting extension of time.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
  621 01155                Monthly Invoices Pg 1050 of 1163
                                                        Invoice # 52817         Page 5
12/18/2012   DAW    (Anthony L. Harkins matter) Review e-mail from       L120     0.10 hrs
                    Ms. Ho (Residential Capital, LLC) regarding
                    status.
12/18/2012   DAW    (Anthony L. Harkins matter) Review e-mails from      L120     0.10 hrs
                    Ms. Ho (Residential Capital, LLC) regarding
                    status.
12/18/2012   JES    (Gary T. Thorne matter) E-mail Ms. McGinnis          L120     0.30 hrs
                    (Residential Capital) regarding promissory note
                    iterations used throughout case.
12/18/2012   KMC    (Anthony L. Harkins matter) Draft affidavit for      L210     0.90 hrs
                    response to show cause order.

12/18/2012   KMC    (Anthony L. Harkins matter) E-mail                   L110     0.30 hrs
                    correspondence with Ms. Ho (Residential Capital)
                    regarding response to show cause order.
12/19/2012   KMC    (Anthony L. Harkins matter) Research regarding       L110     0.60 hrs
                    standing issues and non-holders in possession.

12/20/2012   DAW    (Christopher Weil, et al. matter) Draft e-mail to    L120     0.40 hrs
                    Mr. Howe (Weil counsel) regarding loss
                    mitigation.
12/20/2012   DAW    (Daniel S. Bledsoe, et al. matter) Review e-mail     L120     0.10 hrs
                    from Ms. Ho (Residential Capital, LLC) regarding
                    settlement and release agreement.
12/20/2012   DAW    (Daniel S. Bledsoe, et al. matter) Draft e-mail to   L120     0.20 hrs
                    Ms. Ho (Residential Capital) regarding settlement
                    and release agreement.
12/20/2012   DAW    (Anthony L. Harkins matter) Conference with Ms.      L120     0.50 hrs
                    Cadieux regarding issues relating to gaps in
                    mortgage assignment trail and proof of holder
                    status.
12/20/2012   DAW    (Anthony L. Harkins matter) Review assignment        L120     0.70 hrs
                    trail and endorsements in reference to evaluating
                    proof of holder status.
12/20/2012   DAW    (Anthony L. Harkins matter) Review loan level        L120     0.20 hrs
                    issuance file received from Ms. Ho (Residential
                    Capital).
12/20/2012   KMC    (Anthony L. Harkins matter) Draft affidavit for      L110     1.10 hrs
                    response to show cause order.

12/20/2012   KMC    (Anthony L. Harkins matter) Draft response to        L210     2.10 hrs
                    show cause order.

12/20/2012   KMC    (Anthony L. Harkins matter) Research regarding       L110     1.10 hrs
                    non-holder in possession.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27      Exhibit E
  621 01155                Monthly Invoices Pg 1051 of 1163
                                                        Invoice # 52817          Page 6

12/20/2012   KMC    (Anthony L. Harkins matter) Draft affidavit for       L210     0.90 hrs
                    response to show cause order.

12/20/2012   KMC    (Anthony L. Harkins matter) Prepare exhibits for      L210     1.10 hrs
                    affidavit.

12/20/2012   KMC    (Anthony L. Harkins matter) Review issuance file.     L110     0.60 hrs


12/20/2012   KMC    (Anthony L. Harkins matter) Conference with Mr.       L110     0.40 hrs
                    Wallace regarding issues with standing.

12/20/2012   KMC    (Anthony L. Harkins matter) E-mail Ms. Ho             L110     0.10 hrs
                    (Residential Capital) regarding original collateral
                    file.
12/21/2012   DAW    (Anthony L. Harkins matter) Review e-mails to         L120     0.20 hrs
                    Ms. Ho (Residential Capital, LLC) regarding
                    affidavit and collateral file issues.
12/21/2012   DAW    (Anthony L. Harkins matter) Review e-mail from        L120     0.20 hrs
                    Ms. Ho (Residential Capital, LLC) regarding
                    affidavit and collateral file issues.
12/21/2012   DAW    (Anthony L. Harkins matter) Conference with Ms.       L120     0.20 hrs
                    Cadieux regarding background of loan issues.

12/21/2012   DAW    (Anthony L. Harkins matter) Revise affidavit.         L210     1.10 hrs


12/21/2012   DAW    (Anthony L. Harkins matter) Revise e-mail             L120     0.20 hrs
                    regarding pooling and servicing agreement and
                    loan schedule issues.
12/21/2012   DAW    (Anthony L. Harkins matter) Review recent             L120     0.10 hrs
                    standing case.

12/21/2012   KMC    (Anthony L. Harkins matter) Draft affidavit for       L110     1.10 hrs
                    show cause order.

12/21/2012   KMC    (Anthony L. Harkins matter) Review purchase and       L110     0.60 hrs
                    assumption agreements.

12/21/2012   KMC    (Anthony L. Harkins matter) Review pooling and        L110     0.40 hrs
                    servicing agreement.

12/21/2012   KMC    (Anthony L. Harkins matter) Review issuance file      L110     0.60 hrs
                    for trust.

12/21/2012   KMC    (Anthony L. Harkins matter) E-mail Mr. Wallace        L110     0.20 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27   Exhibit E
  621 01155                Monthly Invoices Pg 1052 of 1163
                                                        Invoice # 52817       Page 7
                    regarding issues with issuance documents and
                    purchase agreement.
12/21/2012   KMC    (Anthony L. Harkins matter) E-mail                 L110     0.40 hrs
                    correspondence with Ms. Ho (Residential Capital)
                    regarding affidavit and items needed.
12/21/2012   KMC    (Anthony L. Harkins matter) Draft affidavit for    L110     1.10 hrs
                    response to show cause order.

12/21/2012   KMC    (Anthony L. Harkins matter) E-mail                 L110     0.20 hrs
                    correspondence with Ms. Ho (Residential Capital)
                    regarding affidavit for response to show cause
                    order.
12/21/2012   KMC    (Anthony L. Harkins matter) Review e-mail from     L110     0.10 hrs
                    Ms. Ho (Residential Capital) regarding original
                    collateral file.
12/21/2012   KMC    (Anthony L. Harkins matter) Review documents       L110     0.10 hrs
                    regarding original collateral file.

12/21/2012   KMC    (Anthony L. Harkins matter) E-mail                 L110     0.40 hrs
                    correspondence to Ms. Ho (Residential Capital)
                    regarding issues with issuance file and original
                    collateral file.
12/23/2012   KMC    (Anthony L. Harkins matter) Review pooling and     L110     0.30 hrs
                    servicing agreement.

12/23/2012   KMC    (Anthony L. Harkins matter) Revise affidavit for   L210     0.80 hrs
                    response to show cause order.

12/23/2012   KMC    (Anthony L. Harkins matter) Review purchase        L110     0.20 hrs
                    agreement.

12/23/2012   KMC    (Anthony L. Harkins matter) Prepare exhibits for   L210     0.40 hrs
                    affidavit.

12/24/2012   DAW    (Anthony L. Harkins matter) Revise affidavit.      L210     0.50 hrs


12/24/2012   DAW    (Anthony L. Harkins matter) Revise e-mail          L120     0.20 hrs
                    regarding affidavit.

12/24/2012   KMC    (Anthony L. Harkins matter) Revise affidavit for   L210     0.60 hrs
                    response to show cause order.

12/24/2012   KMC    (Anthony L. Harkins matter) E-mail                 L110     0.10 hrs
                    correspondence with Mr. Wallace regarding
                    affidavit and response to show cause order.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
  621 01155                Monthly Invoices Pg 1053 of 1163
                                                        Invoice # 52817         Page 8
12/24/2012   KMC    (Anthony L. Harkins matter) E-mail draft affidavit   L110     0.20 hrs
                    to Ms. Ho (Residential Capital).

12/24/2012   KMC    (Anthony L. Harkins matter) E-mail                   L110     0.20 hrs
                    correspondence wit Ms. Ho (Residential Capital)
                    regarding original note.
12/24/2012   KMC    (Anthony L. Harkins matter) Revise affidavit per     L110     0.20 hrs
                    Ms. Ho (Residential Capital).

12/26/2012   KMC    (Anthony L. Harkins matter) Draft response to        L210     0.60 hrs
                    show cause order.

12/26/2012   KMC    (Anthony L. Harkins matter) Review e-mail from       L110     0.10 hrs
                    Ms. Ho (Residential Capital) regarding issuance
                    file.
12/27/2012   DAW    (Anthony L. Harkins matter) Revise show cause        L210     1.10 hrs
                    response.

12/27/2012   KMC    (Anthony L. Harkins matter) E-mail Ms. Ho            L110     0.10 hrs
                    (Residential Capital) regarding setting up call to
                    discuss affidavit with witness.
12/27/2012   KMC    (Anthony L. Harkins matter) Review expanded          L110     0.60 hrs
                    issuance file.

12/27/2012   KMC    (Anthony L. Harkins matter) Draft response to        L210     2.90 hrs
                    show cause order.

12/27/2012   KMC    (Anthony L. Harkins matter) E-mail Ms. Ho            L110     0.10 hrs
                    (Residential Capital) regarding purchase
                    agreement.
12/27/2012   JDR    (Anthony L. Harkins matter) Research regarding       L120     0.70 hrs
                    errors in named assignee and standing to bring
                    foreclosure action.
12/31/2012   DAW    (Anthony L. Harkins matter) Revise response to       L210     3.90 hrs
                    show cause order.

12/31/2012   DAW    (Anthony L. Harkins matter) Telephone conference     L120     0.20 hrs
                    with Ms. Ho (Residential Capital, LLC) regarding
                    affidavit issues.
12/31/2012   KMC    (Anthony L. Harkins matter) Telephone conference     L210     0.20 hrs
                    with Ms. Ho (Residential Capital) regarding
                    response to show cause order.
12/31/2012   KMC    (Anthony L. Harkins matter) Draft notice of filing   L210     0.30 hrs
                    affidavit.

12/31/2012   KMC    (Anthony L. Harkins matter) Revise response to       L110     3.80 hrs
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
  621 01155                   Monthly Invoices Pg 1054 of 1163
                                                           Invoice # 52817                 Page 9
                        show cause order multiple times based on
                        comments of Mr. Wallace.
12/31/2012   KMC        (Anthony L. Harkins matter) Prepare exhibits for           L210         1.10 hrs
                        affidavit in support of show cause order.

12/31/2012   KMC        (Anthony L. Harkins matter) Attention to filing            L110         0.30 hrs
                        and service of response to show cause order.

12/31/2012   KMC        (Anthony L. Harkins matter) Attention to filing            L210         0.20 hrs
                        affidavit in support of show cause order.

12/31/2012   KMC        (Anthony L. Harkins matter) Draft notice of filing         L110         0.20 hrs
                        original affidavit.

12/31/2012   KMC        (Anthony L. Harkins matter) Draft supplement to            L210         0.20 hrs
                        response to show cause order.



                        TOTAL FEES FOR THIS MATTER                                             $12,521.00

EXPENSES

12/03/2012              Delivery Service/Messengers - Federal Express to Ms. Ho                    $26.39

                        TOTAL EXPENSES FOR THIS MATTER                                             $26.39


BILLING SUMMARY


         Wallace, David A.                            16.90 hrs    260.00 /hr      $4,394.00


         Rhode, Jacob D.                               2.00 hrs    160.00 /hr        $320.00


         Sechler, Joel E.                              1.30 hrs    190.00 /hr        $247.00


         Cadieux, Karen M.                            42.00 hrs    180.00 /hr      $7,560.00



     TOTAL FEES                                       62.20 hrs                   $12,521.00

     TOTAL EXPENSES                                                                  $26.39

     TOTAL CHARGES FOR THIS INVOICE                                               $12,547.39
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27   Exhibit E
621 01155                Monthly Invoices Pg 1055 of 1163
                                                      Invoice # 52817       Page 10
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                               Monthly Invoices Pg 1056 of 1163
                         CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                            January 25, 2013

                                                                     Billed through 12/31/2012
Tammy Hamzephour                                                     Invoice # 52754      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01006
190-FTW-L95
Fort Washington, PA 19034

Re: City of Cleveland
Matter No.: 687238

PROFESSIONAL SERVICES

12/05/2012    AMP       Review notice of dismissal of count 3 with                   L210        0.10 hrs
                        prejudice.

12/05/2012    AMP       Attention to appeal issues.                                  L500        0.30 hrs


12/05/2012    AMP       Review notice of dismissal of appeal for lack of             L210        0.20 hrs
                        final, appealable order.

12/05/2012    AMP       E-mails with Mr. Lipps and Mr. Sechler regarding             L120        0.10 hrs
                        dismissal of appeal for lack of final, appealable
                        order.
12/12/2012    AMP       Review reinstatement of notice of appeal.                    L500        0.10 hrs


12/12/2012    AMP       E-mail with Mr. Lipps regarding reinstatement of             L120        0.10 hrs
                        notice of appeal.

12/12/2012    AMP       Review local appellate rules regarding                       L120        0.30 hrs
                        reinstatement of notice of appeal.



                        TOTAL FEES FOR THIS MATTER                                                $300.00
     12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
 096 01006                 Monthly Invoices Pg 1057 of 1163
                                                        Invoice # 52754         Page 2
BILLING SUMMARY


       Paul, Angela M.                       1.20 hrs   250.00 /hr        $300.00



    TOTAL FEES                               1.20 hrs                     $300.00

    TOTAL CHARGES FOR THIS INVOICE                                        $300.00
       12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
                                Monthly Invoices Pg 1058 of 1163
                          CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                            January 25, 2013

                                                                    Billed through 12/31/2012
Tammy Hamzephour                                                    Invoice # 52755      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01009
190-FTW-L95
Fort Washington, PA 19034

Re: Deborah A. Charity
Matter No.: 698543

PROFESSIONAL SERVICES

12/05/2012   DAW         Review e-mail regarding OCRC meeting issues.               L120        0.10 hrs


12/05/2012   JES         Review e-mails from Ms. Charity and Ms.                    L120        0.20 hrs
                         McGinnis (Residential Capital) regarding status of
                         second HAMP modification.
12/07/2012   DAW         Review e-mail regarding 2-7 code on the account            L120        0.10 hrs
                         and lack of ability to pay on time.

12/07/2012   JES         Prepare for and attend telephone conference with           L120        0.30 hrs
                         Ms. McGinnis (Residential Capital) regarding
                         strategy and upcoming deadlines.
12/07/2012   JES         Review e-mails from Ms. Charity and Ms.                    L120        0.20 hrs
                         McGinnis (Residential Capital) regarding payment
                         issues.
12/13/2012   JES         Respond to e-mail from Ms. Charity regarding               L120        0.20 hrs
                         payment issues.

12/17/2012   JES         Telephone conference with client regarding online          L120        0.40 hrs
                         payment issue experienced by borrower.

12/18/2012   DAW         Review e-mails regarding 2-7 code on account and           L120        0.10 hrs
                         escrow issue.
     12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
 096 01009                  Monthly Invoices Pg 1059 of 1163
                                                         Invoice # 52755         Page 2


                      TOTAL FEES FOR THIS MATTER                                     $325.00


BILLING SUMMARY


       Wallace, David A.                      0.30 hrs   260.00 /hr         $78.00


       Sechler, Joel E.                       1.30 hrs   190.00 /hr        $247.00



    TOTAL FEES                                1.60 hrs                     $325.00

    TOTAL CHARGES FOR THIS INVOICE                                         $325.00
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
                             Monthly Invoices Pg 1060 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                              January 25, 2013

                                                                 Billed through 12/31/2012
Tammy Hamzephour                                                 Invoice # 52756      JAL
Residential Capital, LLC
1100 Virginia Drive                                              Our file # 096 01011
190-FTW-L95
Fort Washington, PA 19034

Re: Emily Bradac
Matter No.: 690339

PROFESSIONAL SERVICES

12/04/2012   AMP       Review and respond to e-mail from Ms. Cadieux             L120        0.10 hrs
                       regarding supplemental affidavit.

12/04/2012   AMP       Review status update from Ms. Cadieux.                    L120        0.20 hrs


12/04/2012   AMP       Revise supplemental affidavit.                            L210        0.10 hrs


12/04/2012   KMC       Draft status update.                                      L110        0.50 hrs


12/04/2012   KMC       Review executed supplemental affidavit.                   L210        0.10 hrs


12/05/2012   AMP       Review e-mail from client regarding supplemental          L120        0.10 hrs
                       affidavit.

12/05/2012   AMP       Revise motion to substitute.                              L210        0.20 hrs


12/05/2012   AMP       E-mails with Ms. Cadieux regarding revised                L120        0.10 hrs
                       motion to substitute.

12/05/2012   AMP       Attention to edits to status update.                      L120        0.20 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
  096 01011                Monthly Invoices Pg 1061 of 1163
                                                        Invoice # 52756         Page 2


12/05/2012   AMP    E-mails with Ms. Cadieux regarding edits to status   L120     0.10 hrs
                    update.

12/05/2012   KMC    Review e-mail from Ms. Paul regarding status         L110     0.10 hrs
                    update.

12/05/2012   KMC    Review executed supplemental affidavit.              L110     0.10 hrs


12/07/2012   AMP    Review e-mail from Ms. Cadieux regarding revised     L210     0.10 hrs
                    motion to substitute.

12/07/2012   AMP    Review motion to substitute.                         L210     0.10 hrs


12/07/2012   AMP    Conference with Ms. Cadieux regarding motion to      L120     0.10 hrs
                    substitute.

12/07/2012   KMC    Revise motion to substitute per Ms. Paul.            L210     0.60 hrs


12/07/2012   KMC    Draft notice of filing supplemental affidavit.       L210     0.20 hrs


12/07/2012   KMC    Draft supplemental attorney affidavit.               L210     0.30 hrs


12/07/2012   KMC    Draft notice of filing supplemental attorney         L210     0.20 hrs
                    affidavit.

12/07/2012   KMC    Revise supplemental attorney affidavit.              L110     0.40 hrs


12/07/2012   KMC    Review file to determine status of other             L110     0.30 hrs
                    counterclaims.

12/07/2012   KMC    Draft status update.                                 L110     0.10 hrs


12/07/2012   KMC    Attention to determining if new attorney affidavit   L110     0.20 hrs
                    is needed for supplemental affidavit.

12/07/2012   KMC    E-mail Ms. McGinnis (Residential Capital)            L110     0.20 hrs
                    regarding scheduling conference with affiant for
                    attorney affidavit.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27       Exhibit E
  096 01011                Monthly Invoices Pg 1062 of 1163
                                                        Invoice # 52756           Page 3
12/10/2012   DAW    Review motion to substitute Residential Funding        L120     0.60 hrs
                    Corporation as plaintiff and convert GMAC Bank
                    to third-party.
12/10/2012   KMC    Research regarding realignment of parties.             L110     1.90 hrs


12/10/2012   KMC    Revise motion to substitute per comments of Mr.        L110     1.40 hrs
                    Wallace.

12/10/2012   KMC    Telephone conference with Ms. McGinnis                 L110     0.20 hrs
                    (Residential Capital) regarding motion to substitute
                    and affidavits.
12/10/2012   KMC    E-mail Mr. Montoya (Residential Capital)               L110     0.10 hrs
                    regarding scheduling conference call with Mr.
                    Sechler for attorney affidavit.
12/11/2012   AMP    Review final motion to substitute and realign.         L210     0.10 hrs


12/11/2012   AMP    File and serve motion to substitute and realign.       L210     0.10 hrs


12/11/2012   KMC    Revise motion to substitute per comments of Ms.        L110     0.30 hrs
                    Paul.

12/13/2012   KMC    Prepare for telephone conference with Mr.              L120     0.40 hrs
                    Montoya (Residential Capital).

12/13/2012   KMC    Telephone conference with Mr. Montoya                  L110     0.20 hrs
                    (Residential Capital) regarding affidavit.

12/13/2012   KMC    Forward complete copy of complaint to Mr.              L110     0.30 hrs
                    Montoya (Residential Capital).

12/17/2012   KMC    Follow-up regarding attorney affidavit.                L110     0.20 hrs


12/18/2012   AMP    Revise status update.                                  L120     0.10 hrs


12/18/2012   AMP    E-mail with Ms. Cadieux regarding status update.       L120     0.10 hrs


12/18/2012   AMP    E-mail to client regarding as-filed motion to          L120     0.10 hrs
                    substitute.

12/18/2012   AMP    Review notice of filing supplemental affidavits.       L210     0.20 hrs
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
  096 01011                  Monthly Invoices Pg 1063 of 1163
                                                          Invoice # 52756                 Page 4


12/18/2012   KMC      Revise status update.                                       L110        0.30 hrs


12/18/2012   KMC      Review e-mail correspondence regarding motion to            L210        0.10 hrs
                      substitute.

12/19/2012   DAW      Telephone conference with Ms. McGinnis                      L120        0.20 hrs
                      (Residential Capital, LLC) regarding case issues
                      and strategy.


                      TOTAL FEES FOR THIS MATTER                                              $2,299.00

EXPENSES

12/11/2012            Delivery Service/Messengers - Federal Express - to Cuyahoga                 $13.73
                      County Clerk of Courts from Ms. LeBeau

12/18/2012            Delivery Service/Messengers - Federal Express to Cuyahoga                   $13.73
                      County Clerk of Courts from Ms. LeBeau

                      TOTAL EXPENSES FOR THIS MATTER                                              $27.46


BILLING SUMMARY


         Paul, Angela M.                             2.10 hrs   250.00 /hr          $525.00


         Wallace, David A.                           0.80 hrs   260.00 /hr          $208.00


         Cadieux, Karen M.                           8.70 hrs   180.00 /hr        $1,566.00



     TOTAL FEES                                    11.60 hrs                      $2,299.00

     TOTAL EXPENSES                                                                 $27.46

     TOTAL CHARGES FOR THIS INVOICE                                               $2,326.46
       12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                             Monthly Invoices Pg 1064 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                           January 25, 2013

                                                                   Billed through 12/31/2012
Tammy Hamzephour                                                   Invoice # 52757      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01012
190-FTW-L95
Fort Washington, PA 19034

Re: Eric Rogers
Matter No.: 687375

PROFESSIONAL SERVICES

12/12/2012   DAW       Conference with Ms. Cadieux regarding default               L120        0.20 hrs
                       judgment.

12/12/2012   DAW       Revise motion for default judgment.                         L240        0.50 hrs


12/12/2012   DAW       Revise affidavit in support of motion for default           L210        0.20 hrs
                       judgment.

12/12/2012   KMC       Research regarding filing documents under seal.             L110        0.30 hrs


12/12/2012   KMC       Research for motion for default judgment.                   L210        0.40 hrs


12/12/2012   KMC       Draft motion for default judgment.                          L210        1.60 hrs


12/12/2012   KMC       Draft motion for default judgment.                          L210        1.20 hrs


12/12/2012   KMC       Revise affidavit for motion for summary judgment            L210        0.40 hrs
                       per comments of Mr. Wallace.

12/12/2012   KMC       Draft affidavit for motion for default judgment.            L210        0.60 hrs
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
  096 01012                 Monthly Invoices Pg 1065 of 1163
                                                         Invoice # 52757                 Page 2


12/13/2012   KMC      Forward affidavit and exhibits for motion for              L110        0.20 hrs
                      default judgment to Ms. McGinnis (Residential
                      Capital) for execution.
12/19/2012   KMC      E-mail correspondence with Ms. McGinnis                    L110        0.10 hrs
                      (Residential Capital) regarding affidavit for motion
                      for default judgment.
12/19/2012   KMC      Telephone conference with Ms. McGinnis                     L110        0.10 hrs
                      (Residential Capital) regarding affidavit for motion
                      for default judgment.
12/21/2012   KMC      Review executed affidavit.                                 L110        0.10 hrs


12/21/2012   KMC      Telephone conference with Ms. McGinnis                     L110        0.10 hrs
                      (Residential Capital) regarding executed affidavit.

12/21/2012   KMC      Review executed affidavit.                                 L210        0.20 hrs


12/28/2012   KMC      Draft motion to file under seal.                           L210        0.20 hrs


12/28/2012   KMC      Draft order allowing filing under seal.                    L110        0.10 hrs


12/28/2012   KMC      Prepare exhibits for motion for default judgment.          L110        0.30 hrs




                      TOTAL FEES FOR THIS MATTER                                             $1,296.00


BILLING SUMMARY


         Wallace, David A.                               0.90 hrs   260.00 /hr     $234.00


         Cadieux, Karen M.                               5.90 hrs   180.00 /hr   $1,062.00



     TOTAL FEES                                          6.80 hrs                $1,296.00

     TOTAL CHARGES FOR THIS INVOICE                                              $1,296.00
       12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                             Monthly Invoices Pg 1066 of 1163
                         CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                          January 25, 2013

                                                                  Billed through 12/31/2012
Tammy Hamzephour                                                  Invoice # 52758      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 096 01030
190-FTW-L95
Fort Washington, PA 19034

Re: Larry J. King
Matter No.: 692426

PROFESSIONAL SERVICES

12/18/2012   DAW       Draft e-mail to Ms. McGinnis (Residential Capital,         L120        0.20 hrs
                       LLC) regarding case issues.

12/19/2012   DAW       Conferences with Ms. Cadieux regarding case                L120        0.30 hrs
                       status and approach.

12/19/2012   KMC       Draft detailed correspondence regarding status of          L110        0.90 hrs
                       case and how to proceed.

12/19/2012   KMC       Review docket and filing to determine status of            L110        1.10 hrs
                       case.



                       TOTAL FEES FOR THIS MATTER                                              $490.00


BILLING SUMMARY


          Wallace, David A.                           0.50 hrs   260.00 /hr         $130.00


          Cadieux, Karen M.                           2.00 hrs   180.00 /hr         $360.00



     TOTAL FEES                                       2.50 hrs                     $490.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
096 01030                Monthly Invoices Pg 1067 of 1163
                                                      Invoice # 52758         Page 2

   TOTAL CHARGES FOR THIS INVOICE                                       $490.00
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                             Monthly Invoices Pg 1068 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                           January 25, 2013

                                                                    Billed through 12/31/2012
Tammy Hamzephour                                                    Invoice # 52759      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01044
190-FTW-L95
Fort Washington, PA 19034

Re: Ray E. Potter
Matter No.: 698440

PROFESSIONAL SERVICES

12/03/2012   JES       Review and respond to e-mails from Ms. Gregory               L120        0.20 hrs
                       (GMAC Mortgage) regarding reverse mortgage
                       settlement option.
12/13/2012   JES       E-mail client and opposing counsel regarding                 L120        0.20 hrs
                       reverse mortgage status.

12/17/2012   JES       Prepare information for Ms. Gregory (GMAC                    L120        1.50 hrs
                       Mortgage) regarding potential trial losses for use in
                       reviewing reverse mortgage.
12/20/2012   JES       Review and respond to e-mail from opposing                   L120        0.20 hrs
                       counsel regarding settlement.

12/21/2012   JES       Prepare for and attend conference call with client           L120        0.50 hrs
                       regarding settlement options.

12/21/2012   JES       E-mail opposing counsel regarding settlement                 L120        0.20 hrs
                       options.



                       TOTAL FEES FOR THIS MATTER                                                $532.00


BILLING SUMMARY
    12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
096 01044                  Monthly Invoices Pg 1069 of 1163
                                                        Invoice # 52759         Page 2
      Sechler, Joel E.                       2.80 hrs   190.00 /hr        $532.00



   TOTAL FEES                                2.80 hrs                     $532.00

   TOTAL CHARGES FOR THIS INVOICE                                         $532.00
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                             Monthly Invoices Pg 1070 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                          January 25, 2013

                                                                  Billed through 12/31/2012
Tammy Hamzephour                                                  Invoice # 52760      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 096 01045
190-FTW-L95
Fort Washington, PA 19034

Re: Raymond Thomas
Matter No.: 695604

PROFESSIONAL SERVICES

12/17/2012   DAW       Review e-mail from Ms. McGinnis (Residential               L120        0.10 hrs
                       Capital, LLC) regarding case status.

12/17/2012   DAW       Conference with Mr. Sechler regarding case status.         L120        0.20 hrs


12/17/2012   JES       Telephone conference with Receiver's counsel               L120        0.30 hrs
                       regarding settlement status.

12/18/2012   DAW       Review e-mails regarding case status.                      L120        0.10 hrs


12/18/2012   JES       E-mail Receiver's counsel regarding potential dates        L120        0.10 hrs
                       for settlement meeting.

12/19/2012   DAW       Telephone conference with Ms. McGinnis                     L120        0.10 hrs
                       (Residential Capital, LLC) regarding case issues
                       and strategy.
12/19/2012   JES       E-mail opposing counsel regarding scheduling               L120        0.20 hrs
                       settlement meeting.



                       TOTAL FEES FOR THIS MATTER                                              $244.00
     12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
 096 01045                  Monthly Invoices Pg 1071 of 1163
                                                         Invoice # 52760         Page 2
BILLING SUMMARY


       Wallace, David A.                      0.50 hrs   260.00 /hr        $130.00


       Sechler, Joel E.                       0.60 hrs   190.00 /hr        $114.00



    TOTAL FEES                                1.10 hrs                     $244.00

    TOTAL CHARGES FOR THIS INVOICE                                         $244.00
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                              Monthly Invoices Pg 1072 of 1163
                            CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                           January 25, 2013

                                                                   Billed through 12/31/2012
Tammy Hamzephour                                                   Invoice # 52761      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01048
190-FTW-L95
Fort Washington, PA 19034

Re: Ronald McGinn
Matter No.: 694500

PROFESSIONAL SERVICES

12/14/2012   JES        E-mail opposing counsel and Ms. McGinnis                   L120        0.20 hrs
                        (Residential Capital) regarding loan modification
                        payment status.


                        TOTAL FEES FOR THIS MATTER                                                $38.00


BILLING SUMMARY


         Sechler, Joel E.                              0.20 hrs   190.00 /hr          $38.00



     TOTAL FEES                                        0.20 hrs                      $38.00

     TOTAL CHARGES FOR THIS INVOICE                                                  $38.00
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                             Monthly Invoices Pg 1073 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                          January 25, 2013

                                                                   Billed through 12/31/2012
Tammy Hamzephour                                                   Invoice # 52762      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01058
190-FTW-L95
Fort Washington, PA 19034

Re: Timothy Bryant
Matter No.: 713600

PROFESSIONAL SERVICES

12/03/2012   DAW       Review Court's notice of final appealable order.            L120        0.20 hrs


12/03/2012   DAW       Review Court's decision and entry.                          L120        0.70 hrs


12/03/2012   DAW       Draft e-mail to Ms. Ho (Residential Capital LLC)            L120        0.10 hrs
                       regarding Court's decision and entry.

12/03/2012   JES       Conference call with Court regarding obtaining              L120        0.20 hrs
                       copy of recent decision.

12/04/2012   DAW       Review e-mail to Ms. Ho (Residential Capital,               L120        0.40 hrs
                       LLC) regarding Bryant decision.

12/04/2012   JAL       Conference with Mr. Wallace regarding decision              L120        0.30 hrs
                       (.10). Review decision (.10). Review various
                       e-mails regarding same (.10).
12/04/2012   JES       Review decision from Judge Oney granting                    L120        0.50 hrs
                       foreclosure judgment.

12/04/2012   JES       Draft e-mail to Ms. Ho (Residential Capital)                L120        0.50 hrs
                       regarding Oney decision.

12/10/2012   DAW       Review final time-stamped appealable order                  L120        0.10 hrs
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
  096 01058                   Monthly Invoices Pg 1074 of 1163
                                                           Invoice # 52762               Page 2
                        regarding findings and conclusions.

12/13/2012   JES        Telephone Mr. McGookey (opposing counsel)                L120        0.10 hrs
                        regarding settlement position.

12/17/2012   JES        Telephone conference with Mr. McGookey                   L120        0.10 hrs
                        (opposing counsel) regarding settlement options.

12/17/2012   JES        Draft e-mail to client regarding settlement options.     L120        0.50 hrs


12/19/2012   DAW        Revise e-mail to Ms. Ho (Residential Capital,            L120        0.20 hrs
                        LLC) regarding settlement.

12/20/2012   JES        Review and respond to e-mail from Mr.                    L120        0.20 hrs
                        McGookey (opposing counsel) regarding
                        settlement options.
12/21/2012   DAW        Revise e-mail regarding settlement overture to Ms.       L120        0.30 hrs
                        Ho (Residential Capital, LLC).

12/31/2012   JAL        Review appeal papers.                                    L520        0.30 hrs




                        TOTAL FEES FOR THIS MATTER                                           $1,135.00


BILLING SUMMARY


         Wallace, David A.                              2.00 hrs    260.00 /hr     $520.00


         Lipps, Jeffrey A.                              0.60 hrs    360.00 /hr     $216.00


         Sechler, Joel E.                               2.10 hrs    190.00 /hr     $399.00



     TOTAL FEES                                         4.70 hrs                 $1,135.00

     TOTAL CHARGES FOR THIS INVOICE                                              $1,135.00
      12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                               Monthly Invoices Pg 1075 of 1163
                             CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                            January 25, 2013

                                                                     Billed through 12/31/2012
Tammy Hamzephour                                                     Invoice # 52763      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01078
190-FTW-L95
Fort Washington, PA 19034

Re: Ronald J. Markus
Matter No.: 699618

PROFESSIONAL SERVICES

12/14/2012   JES         E-mail Ms. Ho (Residential Capital) regarding               L120        0.20 hrs
                         upcoming status conference and recent case
                         developments.
12/18/2012   JES         Review and respond to e-mails from opposing                 L120        0.20 hrs
                         counsel regarding upcoming status conference.

12/21/2012   JES         Prepare for and attend status conference.                   L120        0.50 hrs


12/21/2012   JES         E-mail Ms. Ho (Residential Capital) regarding               L120        0.20 hrs
                         status conference update.



                         TOTAL FEES FOR THIS MATTER                                               $209.00


BILLING SUMMARY


          Sechler, Joel E.                              1.10 hrs     190.00 /hr        $209.00



     TOTAL FEES                                         1.10 hrs                      $209.00

     TOTAL CHARGES FOR THIS INVOICE                                                   $209.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27   Exhibit E
096 01078                Monthly Invoices Pg 1076 of 1163
                                                      Invoice # 52763       Page 2
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                               Monthly Invoices Pg 1077 of 1163
                          CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                            January 25, 2013

                                                                     Billed through 12/31/2012
Tammy Hamzephour                                                     Invoice # 52764      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01114
190-FTW-L95
Fort Washington, PA 19034

Re: Mardean Bridges, et al.
Matter No.: 712079

PROFESSIONAL SERVICES

12/02/2012    KMC        Review signatures for settlement agreement and              L160        0.10 hrs
                         dismissal entry.

12/03/2012    DAW        Review e-mails regarding receipt of settlement              L120        0.20 hrs
                         documents and modification to sent to Court.

12/03/2012    KMC        Forward signed settlement agreement and                     L160        0.20 hrs
                         dismissal entry to Ms. McGinnis (Residential
                         Capital) and e-mail correspondence regarding
                         same.
12/03/2012    KMC        Telephone conference with Court regarding                   L210        0.20 hrs
                         dismissal entry.

12/03/2012    KMC        Telephone conference with Ms. McGinnis                      L160        0.30 hrs
                         (Residential Capital) regarding total amount of
                         settlement.
12/03/2012    KMC        E-mail fees to Ms. McGinnis (Residential Capital)           L110        0.20 hrs
                         per her request and additional correspondence
                         regarding same.
12/05/2012    KMC        E-mail correspondence with borrowers' counsel               L110        0.10 hrs
                         regarding where to make December payment.

12/05/2012    KMC        E-mail Ms. McGinnis (Residential Capital)                   L110        0.10 hrs
                         regarding December payment being made.
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27   Exhibit E
  096 01114                Monthly Invoices Pg 1078 of 1163
                                                        Invoice # 52764       Page 2
12/06/2012   DAW    Review Court order cancelling trial date.          L120     0.10 hrs


12/06/2012   KMC    Review fully executed settlement agreement.        L160     0.10 hrs


12/06/2012   KMC    Forward fully executed settlement agreement to     L160     0.10 hrs
                    borrower's counsel.

12/10/2012   DAW    Review Court's order of dismissal.                 L120     0.10 hrs


12/10/2012   KMC    Review order dismissing case.                      L110     0.10 hrs


12/10/2012   KMC    Forward order dismissing case to Ms. McGinnis      L110     0.10 hrs
                    (Residential Capital).

12/10/2012   KMC    Review check for December payment.                 L110     0.10 hrs


12/10/2012   KMC    E-mail correspondence with Ms. McGinnis            L110     0.10 hrs
                    (Residential Capital) regarding check for
                    December payment.
12/11/2012   DAW    Review Court's notice of dismissal.                L120     0.10 hrs


12/11/2012   KMC    Review agreed order of dismissal.                  L110     0.10 hrs


12/11/2012   KMC    Review e-mail regarding reinstatement.             L110     0.10 hrs


12/14/2012   KMC    Telephone conference with Ms. McGinnis             L120     0.30 hrs
                    (Residential Capital) regarding overpayment and
                    how to apply.
12/14/2012   KMC    Review information regarding overpayment and       L120     0.20 hrs
                    how to apply.

12/17/2012   KMC    Review escrow analysis.                            L110     0.20 hrs


12/17/2012   KMC    Telephone conference with Ms. McGinnis             L110     0.10 hrs
                    (Residential Capital) regarding escrow analysis.
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27               Exhibit E
  096 01114                 Monthly Invoices Pg 1079 of 1163
                                                         Invoice # 52764                   Page 3
                      TOTAL FEES FOR THIS MATTER                                               $634.00

EXPENSES

12/03/2012            Delivery Service/Messengers - Federal Express to Judge Corrigan              $11.28

12/11/2012            Delivery Service/Messengers - Federal Express to Leigh Frame,                 $8.67
                      GMAC from Ms. Cadieux

                      TOTAL EXPENSES FOR THIS MATTER                                               $19.95


BILLING SUMMARY


         Wallace, David A.                         0.50 hrs    260.00 /hr         $130.00


         Cadieux, Karen M.                         2.80 hrs    180.00 /hr         $504.00



     TOTAL FEES                                    3.30 hrs                       $634.00

     TOTAL EXPENSES                                                                   $19.95

     TOTAL CHARGES FOR THIS INVOICE                                               $653.95
       12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                                Monthly Invoices Pg 1080 of 1163
                           CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                             January 25, 2013

                                                                      Billed through 12/31/2012
Tammy Hamzephour                                                      Invoice # 52765      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 096 01116
190-FTW-L95
Fort Washington, PA 19034

Re: Jack H. Donnelly, et al.
Matter No.: 712313

PROFESSIONAL SERVICES

12/03/2012    KMC         Forward settlement agreement to Court.                      L160        0.20 hrs


12/06/2012    JES         E-mail opposing counsel regarding loan                      L120        0.20 hrs
                          modification application and upcoming status
                          conference.
12/10/2012    KMC         Prepare for status conference.                              L110        0.20 hrs


12/10/2012    KMC         Attend status conference.                                   L230        0.20 hrs


12/10/2012    KMC         E-mail Ms. McGinnis (Residential Capital) and               L110        0.10 hrs
                          Mr. Sechler regarding status conference.

12/10/2012    KMC         Telephone conference with Ms. McGinnis                      L110        0.10 hrs
                          (Residential Capital) regarding status conference.

12/13/2012    JES         E-mail opposing counsel regarding insurance                 L120        0.10 hrs
                          declaration page.



                         TOTAL FEES FOR THIS MATTER                                                $201.00
     12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
 096 01116                  Monthly Invoices Pg 1081 of 1163
                                                         Invoice # 52765         Page 2
BILLING SUMMARY


       Sechler, Joel E.                       0.30 hrs   190.00 /hr         $57.00


       Cadieux, Karen M.                      0.80 hrs   180.00 /hr        $144.00



    TOTAL FEES                                1.10 hrs                     $201.00

    TOTAL CHARGES FOR THIS INVOICE                                         $201.00
       12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                              Monthly Invoices Pg 1082 of 1163
                         CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                            January 25, 2013

                                                                    Billed through 12/31/2012
Tammy Hamzephour                                                    Invoice # 52767      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01128
190-FTW-L95
Fort Washington, PA 19034

Re: City of Cleveland (Muni CT Action)
Matter No.: 627238

PROFESSIONAL SERVICES

12/03/2012   AMP        Attention to finalizing settlement and disbursement         L160        0.30 hrs
                        of settlement proceeds from trust account.

12/03/2012   AMP        Multiple e-mails regarding finalizing settlement            L160        0.30 hrs
                        and disbursement of settlement proceeds from trust
                        account.
12/04/2012   AMP        Finalize letter to opposing counsel with settlement         L160        0.20 hrs
                        check and request for proof of lien releases and
                        dismissal entry.
12/06/2012   AMP        Review notice of dismissal.                                 L210        0.10 hrs


12/11/2012   AMP        Review lien release notices from City's counsel.            L210        0.10 hrs


12/11/2012   AMP        Draft e-mail regarding lien release notices from            L120        0.10 hrs
                        City's counsel.

12/18/2012   AMP        Draft e-mail to client regarding dismissal entry and        L210        0.20 hrs
                        proof of lien releases.

12/26/2012   AMP        Review final notice of dismissal of co-defendants.          L210        0.10 hrs


12/26/2012   AMP        E-mail regarding final notice of dismissal of               L120        0.10 hrs
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
  096 01128                  Monthly Invoices Pg 1083 of 1163
                                                          Invoice # 52767                  Page 2
                      co-defendants.



                      TOTAL FEES FOR THIS MATTER                                               $375.00

EXPENSES

12/04/2012            Delivery Service/Messengers - Federal Express to Mr. Douglass                $11.28
                      from Ms. LeBeau

                      TOTAL EXPENSES FOR THIS MATTER                                               $11.28


BILLING SUMMARY


         Paul, Angela M.                           1.50 hrs    250.00 /hr         $375.00



     TOTAL FEES                                    1.50 hrs                       $375.00

     TOTAL EXPENSES                                                                   $11.28

     TOTAL CHARGES FOR THIS INVOICE                                               $386.28
       12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27         Exhibit E
                                Monthly Invoices Pg 1084 of 1163
                          CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                           January 25, 2013

                                                                  Billed through 12/31/2012
Tammy Hamzephour                                                  Invoice # 52768      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 096 01134
190-FTW-L95
Fort Washington, PA 19034

Re: Jeffrey A. Secrest
Matter No.: 716073

PROFESSIONAL SERVICES

12/12/2012    DAW        Review e-mail to Ms. McGinnis (Residential               L120        0.10 hrs
                         Capital LLC) regarding update.



                         TOTAL FEES FOR THIS MATTER                                              $26.00


BILLING SUMMARY


          Wallace, David A.                           0.10 hrs   260.00 /hr          $26.00



      TOTAL FEES                                      0.10 hrs                      $26.00

      TOTAL CHARGES FOR THIS INVOICE                                                $26.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
                               Monthly Invoices Pg 1085 of 1163
                             CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                            January 25, 2013

                                                                   Billed through 12/31/2012
Tammy Hamzephour                                                   Invoice # 52769      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01145
190-FTW-L95
Fort Washington, PA 19034

RE: Niesreen Abdalla, et al.
Matter No.: 718973

PROFESSIONAL SERVICES

12/07/2012    JES        Prepare for and attend telephone conference with          L120        0.30 hrs
                         Ms. McGinnis (Residential Capital) regarding
                         strategy and upcoming deadlines.


                         TOTAL FEES FOR THIS MATTER                                               $57.00


BILLING SUMMARY


          Sechler, Joel E.                             0.30 hrs    190.00 /hr         $57.00



      TOTAL FEES                                       0.30 hrs                      $57.00

      TOTAL CHARGES FOR THIS INVOICE                                                 $57.00
       12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                              Monthly Invoices Pg 1086 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                           January 25, 2013

                                                                    Billed through 12/31/2012
Tammy Hamzephour                                                    Invoice # 52770      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01150
190-FTW-L95
Fort Washington, PA 19034

Re: Melissa D. Lallo
Matter No.: 719854

PROFESSIONAL SERVICES

12/04/2012   JES       Revise opposition to the borrower's motion for               L240        1.00 hrs
                       summary judgment.

12/04/2012   JES       Draft reply in support of motion for summary                 L250        0.50 hrs
                       judgment.

12/07/2012   JES       Prepare for and attend telephone conference with             L120        0.30 hrs
                       Ms. McGinnis (Residential Capital) regarding
                       strategy and upcoming deadlines.
12/12/2012   DAW       Review opposition to motion for summary                      L120        0.80 hrs
                       judgment, including Montoya deposition
                       transcript.
12/13/2012   JES       Revise opposition to borrower's motion for                   L240        2.00 hrs
                       summary judgment and reply in support of Bank of
                       New York's motion for summary judgment.
12/17/2012   DAW       Review e-mails regarding pretrial conference, and            L120        0.10 hrs
                       case update.

12/17/2012   JES       Review e-mail from Ms. McGinnis (Residential                 L120        0.10 hrs
                       Capital) regarding litigation update.

12/18/2012   JES       Revise Final Pretrial Statement to reflect recent            L120        1.00 hrs
                       case developments and legal positions.

12/19/2012   DAW       Telephone conference with Ms. McGinnis                       L120        0.10 hrs
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
  096 01150                   Monthly Invoices Pg 1087 of 1163
                                                           Invoice # 52770                  Page 2
                        (Residential Capital, LLC) regarding case issues
                        and strategy.


                        TOTAL FEES FOR THIS MATTER                                              $1,191.00

EXPENSES

12/14/2012              Delivery Service/Messengers - Federal Express to Cuyahoga                   $13.73
                        County Clerk from Mr. Sechler

                        TOTAL EXPENSES FOR THIS MATTER                                              $13.73


BILLING SUMMARY


         Wallace, David A.                             1.00 hrs   260.00 /hr          $260.00


         Sechler, Joel E.                              4.90 hrs   190.00 /hr          $931.00



     TOTAL FEES                                        5.90 hrs                     $1,191.00

     TOTAL EXPENSES                                                                   $13.73

     TOTAL CHARGES FOR THIS INVOICE                                                 $1,204.73
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27         Exhibit E
                             Monthly Invoices Pg 1088 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                      280 Plaza, Suite 1300
                                      280 North High Street
                                      Columbus, OH 43215
                                         (614) 365-4100
                                     Federal ID # XX-XXXXXXX



                                         January 25, 2013

                                                               Billed through 12/31/2012
Tammy Hamzephour                                               Invoice # 52771      JAL
Residential Capital, LLC
1100 Virginia Drive                                            Our file # 096 01153
190-FTW-L95
Fort Washington, PA 19034

Re: Danna Rogers
Matter No.: 720558

PROFESSIONAL SERVICES

12/24/2012   KMC       Review deposition notice.                               L210        0.10 hrs




                       TOTAL FEES FOR THIS MATTER                                             $18.00


BILLING SUMMARY


         Cadieux, Karen M.                         0.10 hrs    180.00 /hr         $18.00



     TOTAL FEES                                    0.10 hrs                      $18.00

     TOTAL CHARGES FOR THIS INVOICE                                              $18.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27                 Exhibit E
                               Monthly Invoices Pg 1089 of 1163
                           CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                             January 25, 2013

                                                                         Billed through 12/31/2012
Tammy Hamzephour                                                         Invoice # 52772      JAL
Residential Capital, LLC
1100 Virginia Drive                                                      Our file # 096 01163
190-FTW-L95
Fort Washington, PA 19034

Re: Elizabeth Campbell, et al.
Matter No.: 722676

PROFESSIONAL SERVICES

12/03/2012    DAW        Revise motion for summary judgment.                             L240        0.60 hrs


12/03/2012    KMC        Draft order granting leave to file motion for                   L330        0.10 hrs
                         summary judgment.

12/03/2012    KMC        Review executed affidavit.                                      L330        0.10 hrs


12/03/2012    KMC        Prepare motion for summary judgment for filing                  L240        0.80 hrs
                         and service.

12/03/2012    KMC        Revise motion for summary judgment per executed                 L240        0.20 hrs
                         affidavit.

12/03/2012    KMC        Draft motion for leave to file motion for summary               L330        0.40 hrs
                         judgment.

12/19/2012    KMC        Forward motion for summary judgment to Ms.                      L210        0.20 hrs
                         McGinnis (Residential Capital).



                         TOTAL FEES FOR THIS MATTER                                                   $480.00
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
  096 01163                 Monthly Invoices Pg 1090 of 1163
                                                         Invoice # 52772                  Page 2

EXPENSES

12/03/2012            Delivery Service/Messengers - Federal Express to Ravenna, OH                $14.01

                      TOTAL EXPENSES FOR THIS MATTER                                              $14.01


BILLING SUMMARY


         Wallace, David A.                         0.60 hrs   260.00 /hr         $156.00


         Cadieux, Karen M.                         1.80 hrs   180.00 /hr         $324.00



     TOTAL FEES                                    2.40 hrs                      $480.00

     TOTAL EXPENSES                                                                  $14.01

     TOTAL CHARGES FOR THIS INVOICE                                              $494.01
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                             Monthly Invoices Pg 1091 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                           January 25, 2013

                                                                   Billed through 12/31/2012
Tammy Hamzephour                                                   Invoice # 52773      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01165
190-FTW-L95
Fort Washington, PA 19034

Re: Jessica Little
Matter No.: 722864

PROFESSIONAL SERVICES

12/03/2012   KMC       Telephone conference with Ms. McGinnis                      L110        0.20 hrs
                       (Residential Capital) regarding executed affidavit.



                       TOTAL FEES FOR THIS MATTER                                                 $36.00


BILLING SUMMARY


         Cadieux, Karen M.                            0.20 hrs    180.00 /hr          $36.00



     TOTAL FEES                                       0.20 hrs                       $36.00

     TOTAL CHARGES FOR THIS INVOICE                                                  $36.00
       12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                                Monthly Invoices Pg 1092 of 1163
                           CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                            January 25, 2013

                                                                     Billed through 12/31/2012
Tammy Hamzephour                                                     Invoice # 52774      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01169
190-FTW-L95
Fort Washington, PA 19034

Re: Theodore Klotz II, et al.
Matter No.: 725104

PROFESSIONAL SERVICES

12/03/2012     DAW        Review dismissal entry.                                    L120        0.10 hrs


12/03/2012     KMC        Review motion to dismiss.                                  L330        0.20 hrs


12/04/2012     KMC        Review order dismissing case.                              L210        0.10 hrs


12/04/2012     KMC        Forward dismissal entry to Ms. McGinnis                    L210        0.10 hrs
                          (Residential Capital).



                          TOTAL FEES FOR THIS MATTER                                                $98.00


BILLING SUMMARY


           Wallace, David A.                              0.10 hrs   260.00 /hr         $26.00


           Cadieux, Karen M.                              0.40 hrs   180.00 /hr         $72.00



      TOTAL FEES                                          0.50 hrs                     $98.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27    Exhibit E
096 01169                Monthly Invoices Pg 1093 of 1163
                                                      Invoice # 52774        Page 2

   TOTAL CHARGES FOR THIS INVOICE                                       $98.00
        12-12020-mg         Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                                   Monthly Invoices Pg 1094 of 1163
                             CARPENTER LIPPS & LELAND LLP

                                            280 Plaza, Suite 1300
                                            280 North High Street
                                            Columbus, OH 43215
                                               (614) 365-4100
                                           Federal ID # XX-XXXXXXX



                                               January 25, 2013

                                                                          Billed through 12/31/2012
Tammy Hamzephour                                                          Invoice # 52775      JAL
Residential Capital, LLC
1100 Virginia Drive                                                       Our file # 096 01171
190-FTW-L95
Fort Washington, PA 19034

Re: Jon G. Paglio, et al.
Matter No.: 724325

PROFESSIONAL SERVICES

12/05/2012     DAW          Telephone conference with Mr. Patterson (Paglio               L120        0.10 hrs
                            counsel) regarding check and payment issues.

12/06/2012     KMC          Draft correspondence regarding updated loan                   L110        0.40 hrs
                            modification terms.

12/06/2012     KMC          Telephone conference with Ms. McGinnis                        L110        0.10 hrs
                            (Residential Capital) regarding loan modification
                            and insurance payment.
12/06/2012     KMC          Revise loan modification documents.                           L110        0.20 hrs


12/06/2012     KMC          E-mail Ms. McGinnis (Residential Capital)                     L110        0.10 hrs
                            confirming loan modification can be sent to
                            borrowers' counsel.
12/06/2012     KMC          Review updated payment history.                               L110        0.20 hrs


12/07/2012     DAW          Revise correspondence to Mr. Patterson (Paglio                L120        0.40 hrs
                            counsel) regarding updated loan modification.

12/07/2012     KMC          Revise correspondence regarding updated loan                  L110        0.20 hrs
                            modification.

12/07/2012     KMC          E-mail Ms. McGinnis (Residential Capital)                     L110        0.10 hrs
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27         Exhibit E
  096 01171                 Monthly Invoices Pg 1095 of 1163
                                                         Invoice # 52775             Page 2
                      regarding additional fees that cannot be accounted
                      for in payment history.
12/10/2012   DAW      Review check received from Mr. Paglio.                  L120       0.10 hrs


12/10/2012   DAW      Review correspondence regarding loan                    L120       0.30 hrs
                      modification guidelines.

12/10/2012   KMC      Update letter regarding new loan modification term      L110       0.30 hrs
                      given payment already made by borrowers.

12/11/2012   DAW      Revise correspondence regarding updated loan            L120       0.10 hrs
                      modification.

12/11/2012   KMC      Revise correspondence regarding new loan                L110       0.20 hrs
                      modification.

12/12/2012   KMC      Review information regarding additional fees            L110       0.20 hrs
                      added to account.

12/12/2012   KMC      Telephone conference with Ms. McGinnis                  L110       0.30 hrs
                      (Residential Capital) regarding additional fees
                      added to account.
12/20/2012   DAW      Review signed settlement agreement.                     L120       0.10 hrs


12/20/2012   KMC      Review signed settlement agreement.                     L160       0.10 hrs




                      TOTAL FEES FOR THIS MATTER                                          $718.00


BILLING SUMMARY


         Wallace, David A.                           1.10 hrs    260.00 /hr    $286.00


         Cadieux, Karen M.                           2.40 hrs    180.00 /hr    $432.00



     TOTAL FEES                                      3.50 hrs                  $718.00

     TOTAL CHARGES FOR THIS INVOICE                                            $718.00
        12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                                 Monthly Invoices Pg 1096 of 1163
                            CARPENTER LIPPS & LELAND LLP

                                            280 Plaza, Suite 1300
                                            280 North High Street
                                            Columbus, OH 43215
                                               (614) 365-4100
                                           Federal ID # XX-XXXXXXX



                                                  January 25, 2013

                                                                       Billed through 12/31/2012
Tammy Hamzephour                                                       Invoice # 52776      JAL
Residential Capital, LLC
1100 Virginia Drive                                                    Our file # 096 01172
190-FTW-L95
Fort Washington, PA 19034

Re: William J. Barrett, et al.
Matter No.: 724024

PROFESSIONAL SERVICES

12/03/2012     DAW         Revise status report.                                       L120        0.20 hrs


12/03/2012     KMC         Draft status report.                                        L110        0.30 hrs




                           TOTAL FEES FOR THIS MATTER                                               $106.00


BILLING SUMMARY


           Wallace, David A.                                0.20 hrs   260.00 /hr         $52.00


           Cadieux, Karen M.                                0.30 hrs   180.00 /hr         $54.00



      TOTAL FEES                                            0.50 hrs                    $106.00

      TOTAL CHARGES FOR THIS INVOICE                                                    $106.00
       12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                             Monthly Invoices Pg 1097 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                          January 25, 2013

                                                                  Billed through 12/31/2012
Tammy Hamzephour                                                  Invoice # 52777      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 096 01173
190-FTW-L95
Fort Washington, PA 19034

Re: Price Hill Will
Matter No.: 724458

PROFESSIONAL SERVICES

12/05/2012   DAW       Review notices of deposition of Mr. Strauss, and           L120        0.20 hrs
                       Mr. Huber.

12/05/2012   DAW       Draft e-mail to Ms. McGinnis (Residential Capital,         L120        0.10 hrs
                       LLC) regarding deposition notices for Mr. Strauss
                       and Mr. Huber.
12/07/2012   DAW       Review e-mails regarding supplemental documents            L120        0.10 hrs
                       concerning Price Hill Will.

12/13/2012   DAW       Review e-mails regarding deposition issues and             L120        0.30 hrs
                       scheduling.

12/13/2012   JES       Review and respond to e-mails regarding                    L120        0.50 hrs
                       upcoming depositions.

12/14/2012   JES       Review documents recently produced by Price Hill           L300        2.00 hrs
                       Will in discovery.

12/14/2012   JES       Review Strauss deposition transcript.                      L120        3.00 hrs


12/15/2012   DAW       Review Strauss deposition and exhibits, and                L120        2.00 hrs
                       GMAC serviced properly documents in preparation
                       for resumed Strauss deposition.
12/16/2012   JES       Review underlying file and public sale records to          L120        5.00 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27       Exhibit E
  096 01173                Monthly Invoices Pg 1098 of 1163
                                                        Invoice # 52777           Page 2
                    create timeline for all seven properties in the case
                    serviced by GMAC.
12/17/2012   DAW    Review timeline of Deutsche Bank-owned                 L120     0.30 hrs
                    properties serviced by GMAC.

12/17/2012   DAW    Attend morning session of deposition of Mr.            L330     3.20 hrs
                    Strauss.

12/17/2012   DAW    Attend afternoon session of deposition of Mr.          L330     3.50 hrs
                    Strauss.

12/17/2012   JES    Research and locate additional auditor materials       L120     1.90 hrs
                    for potential use at Strauss and Huber depositions.

12/18/2012   DAW    Attend deposition of Mr. Huber.                        L330     4.10 hrs


12/18/2012   DAW    Conference with defense counsel regarding              L120     0.30 hrs
                    upcoming discovery.

12/18/2012   JES    Review documents regarding history of various          L120     4.00 hrs
                    code violations on properties at issue in the case,
                    and prepare memorandum for Mr. Wallace
                    regarding same.
12/18/2012   JES    Draft e-mail to opposing counsel regarding             L120     0.20 hrs
                    outstanding discovery issues.

12/20/2012   DAW    Review e-mails regarding Group D discovery             L120     0.10 hrs
                    responses.

12/21/2012   JES    Review deposition notices sent by Price Hill Will      L120     0.40 hrs
                    counsel.

12/24/2012   DAW    Review Rule 30(B)(5) notice of deposition of           L120     0.10 hrs
                    Deutsche Bank Trust Company Americas.

12/24/2012   DAW    Review Rule 30(B)(5) notice of deposition of           L120     0.10 hrs
                    Deutsche Bank National Trust Company.

12/24/2012   DAW    Review Rule 30(B)(5) notice of deposition of           L120     0.10 hrs
                    Wells Fargo Bank, N.A.



                    TOTAL FEES FOR THIS MATTER                                      $7,000.00


BILLING SUMMARY
    12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27   Exhibit E
096 01173                  Monthly Invoices Pg 1099 of 1163
                                                        Invoice # 52777       Page 3



      Wallace, David A.                     14.50 hrs   260.00 /hr    $3,770.00


      Sechler, Joel E.                      17.00 hrs   190.00 /hr    $3,230.00



   TOTAL FEES                               31.50 hrs                $7,000.00

   TOTAL CHARGES FOR THIS INVOICE                                    $7,000.00
       12-12020-mg        Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                                 Monthly Invoices Pg 1100 of 1163
                              CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                             January 25, 2013

                                                                      Billed through 12/31/2012
Tammy Hamzephour                                                      Invoice # 52778      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 096 01175
190-FTW-L95
Fort Washington, PA 19034

Re: Melissa Fox, et al.
Matter No.: 723432

PROFESSIONAL SERVICES

12/04/2012    JES         Draft and revise settlement agreement and                   L120        2.00 hrs
                          accompanying litigation summary.

12/17/2012    JES         E-mail Ms. McGinnis (Residential Capital)                   L120        0.20 hrs
                          regarding borrower loan modification payment
                          status.
12/18/2012    KMC         Review e-mail from foreclosure counsel regarding            L110        0.20 hrs
                          settlement.

12/18/2012    KMC         E-mail foreclosure counsel regarding status of              L110        0.20 hrs
                          case.



                          TOTAL FEES FOR THIS MATTER                                               $490.00


BILLING SUMMARY


           Sechler, Joel E.                              2.20 hrs     190.00 /hr        $418.00


           Cadieux, Karen M.                             0.40 hrs     180.00 /hr         $72.00



      TOTAL FEES                                         2.60 hrs                      $490.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
096 01175                Monthly Invoices Pg 1101 of 1163
                                                      Invoice # 52778         Page 2


   TOTAL CHARGES FOR THIS INVOICE                                       $490.00
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                             Monthly Invoices Pg 1102 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                           January 25, 2013

                                                                    Billed through 12/31/2012
Tammy Hamzephour                                                    Invoice # 52779      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01176
190-FTW-L95
Fort Washington, PA 19034

Re: Mark R. Bernard
Matter No.: 725184

PROFESSIONAL SERVICES

12/07/2012   DAW       Review Court order regarding status and show                 L120        0.10 hrs
                       cause.

12/07/2012   KMC       Review order regarding first lien holder's failure to        L110        0.10 hrs
                       prosecute the case.

12/27/2012   DAW       Review notice of dismissal without prejudice.                L120        0.10 hrs




                       TOTAL FEES FOR THIS MATTER                                                  $70.00


BILLING SUMMARY


         Wallace, David A.                             0.20 hrs    260.00 /hr          $52.00


         Cadieux, Karen M.                             0.10 hrs    180.00 /hr          $18.00



     TOTAL FEES                                        0.30 hrs                       $70.00

     TOTAL CHARGES FOR THIS INVOICE                                                   $70.00
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
                             Monthly Invoices Pg 1103 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                      280 Plaza, Suite 1300
                                      280 North High Street
                                      Columbus, OH 43215
                                         (614) 365-4100
                                     Federal ID # XX-XXXXXXX



                                          January 25, 2013

                                                                 Billed through 12/31/2012
Tammy Hamzephour                                                 Invoice # 52780      JAL
Residential Capital, LLC
1100 Virginia Drive                                              Our file # 096 01177
190-FTW-L95
Fort Washington, PA 19034

Re: Marcia Garcia
Matter No.: 724961

PROFESSIONAL SERVICES

12/17/2012   KMC       Review entry granting extension and time to               L210        0.10 hrs
                       respond to show cause order.



                       TOTAL FEES FOR THIS MATTER                                               $18.00


BILLING SUMMARY


         Cadieux, Karen M.                           0.10 hrs   180.00 /hr          $18.00



     TOTAL FEES                                      0.10 hrs                      $18.00

     TOTAL CHARGES FOR THIS INVOICE                                                $18.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
                               Monthly Invoices Pg 1104 of 1163
                          CARPENTER LIPPS & LELAND LLP

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                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                            January 25, 2013

                                                                   Billed through 12/31/2012
Tammy Hamzephour                                                   Invoice # 52781      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01180
190-FTW-L95
Fort Washington, PA 19034

Re: Christopher M. Weber, et al.
Matter No.: 725732

PROFESSIONAL SERVICES

12/20/2012    DAW        Review Court's decision affirming judgment.               L120        0.20 hrs


12/20/2012    JAL        Telephone conference with Mr. Sechler regarding           L120        0.30 hrs
                         decision (.10). Review decision (.10). Review
                         e-mails regarding same (.10).
12/20/2012    JES        Draft e-mail to Ms. McGinnis regarding appellate          L120        0.50 hrs
                         decision in Weber foreclosure action.

12/20/2012    KMC        Review opinion affirming judgment.                        L110        0.30 hrs


12/20/2012    KMC        Review decision affirming decision.                       L110        0.30 hrs


12/20/2012    KMC        Review e-mail correspondence regarding decision           L110        0.10 hrs
                         affirming decision.



                         TOTAL FEES FOR THIS MATTER                                             $381.00


BILLING SUMMARY


          Wallace, David A.                            0.20 hrs   260.00 /hr          $52.00
    12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
096 01180                  Monthly Invoices Pg 1105 of 1163
                                                        Invoice # 52781         Page 2



      Lipps, Jeffrey A.                      0.30 hrs   360.00 /hr        $108.00


      Sechler, Joel E.                       0.50 hrs   190.00 /hr         $95.00


      Cadieux, Karen M.                      0.70 hrs   180.00 /hr        $126.00



   TOTAL FEES                                1.70 hrs                     $381.00

   TOTAL CHARGES FOR THIS INVOICE                                         $381.00
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                             Monthly Invoices Pg 1106 of 1163
                        CARPENTER LIPPS & LELAND LLP

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                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                           January 25, 2013

                                                                    Billed through 12/31/2012
Tammy Hamzephour                                                    Invoice # 52782      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01183
190-FTW-L95
Fort Washington, PA 19034

Re: Jamah Jackson
Matter No.: 726125

PROFESSIONAL SERVICES

12/03/2012   DAW       Review additional citations regarding code                   L120        0.90 hrs
                       violations.

12/03/2012   DAW       Review equator notes.                                        L120        0.60 hrs


12/03/2012   DAW       Review additional materials in preparation for               L120        0.50 hrs
                       arraignment hearing.

12/03/2012   DAW       Outline defendant names and claims for                       L120        0.70 hrs
                       arraignment hearing.

12/04/2012   DAW       Review e-mail from Mr. Radke (Morgan, Lewis &                L120        0.20 hrs
                       Bockius, LLP) regarding instructions regarding
                       plea and arraignment.
12/04/2012   DAW       Prepare for pretrial conference.                             L120        2.40 hrs


12/04/2012   DAW       Meet with prosecutor regarding citations and                 L120        0.40 hrs
                       default identity issue.

12/04/2012   DAW       Attend arraignment hearing.                                  L230        1.40 hrs


12/04/2012   DAW       Telephone conference with Ms. McGinnis                       L120        0.30 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
  096 01183                Monthly Invoices Pg 1107 of 1163
                                                        Invoice # 52782         Page 2
                    (Residential Capital, LLC) regarding arraignment
                    hearing and demolition of property.
12/04/2012   DAW    Draft e-mail to Ms. McGinnis (Residential Capital,   L120     0.40 hrs
                    LLC) reporting on arraignment, including
                    scheduled pretrial conference.
12/04/2012   DAW    Draft e-mail to Mr. Radke (Morgan, Lewis &           L120     0.40 hrs
                    Bockius LLP) reporting on arraignment, including
                    scheduled pretrial conference.
12/04/2012   DAW    Telephone conference with Mr. Radke and Ms.          L120     0.40 hrs
                    Frohlich (Morgan, Lewis & Bockius LLP)
                    regarding arraignment and related issues.
12/04/2012   DAW    Draft e-mail to Ms. McGinnis (Residential Capital,   L120     0.30 hrs
                    LLC) regarding property demolition issues.

12/05/2012   DAW    Review e-mail from Ms. McGinnis (Residential         L120     0.10 hrs
                    Capital, LLC) regarding property demolition
                    issues.
12/05/2012   DAW    Draft e-mail to Ms. Zvomuya (prosecutor)             L120     0.20 hrs
                    regarding property demolition issues.

12/05/2012   DAW    Telephone conference with Ms. Zvomuya                L120     0.20 hrs
                    (prosecutor) regarding property demolition issues.

12/05/2012   DAW    Telephone conference with Mr. Radke (Morgan,         L120     0.10 hrs
                    Lewis & Bockius, LLP) regarding property
                    demolition issues.
12/05/2012   DAW    Telephone conferences with Ms. McGinnis              L120     0.30 hrs
                    (Residential Capital, LLC) regarding property
                    demolition issues.
12/12/2012   DAW    Telephone conference with Mr. Radke (Morgan,         L120     0.50 hrs
                    Lewis & Bockius LLP) regarding demolution and
                    litigation approach.
12/13/2012   DAW    Review e-mail from Mr. Radke (Morgan, Lewis &        L120     0.10 hrs
                    Bockius LLP) regarding motions to dismiss.

12/18/2012   DAW    Draft e-mail to Ms. Zvomuya (Prosecutor)             L120     0.30 hrs
                    regarding defendant name and related issues for
                    pretrial conference.
12/18/2012   DAW    Review e-mail from Mr. Radke (Morgan, Lewis &        L120     0.10 hrs
                    Bockius LLP) regarding defendant name and
                    related issues for pretrial conference.
12/18/2012   DAW    Draft e-mail to Mr. Radke (Morgan, Lewis &           L120     0.10 hrs
                    Bockius LLP) regarding contact with prosecutor.

12/19/2012   DAW    Telephone conference with Ms. McGinnis               L120     0.30 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27               Exhibit E
  096 01183                Monthly Invoices Pg 1108 of 1163
                                                        Invoice # 52782                   Page 3
                    (Residential Capital, LLC) regarding case issues
                    and strategy.
12/20/2012   DAW    Review equator notes and file in preparation for              L120      0.90 hrs
                    pretrial conference.

12/21/2012   DAW    Prepare for hearing.                                          L230      1.80 hrs


12/21/2012   DAW    Meet with prosecutor before hearing.                          L120      0.20 hrs


12/21/2012   DAW    Return travel to Columbus, including telephone                L230      1.80 hrs
                    conference with Ms. McGinnis (Residential
                    Capital, LLC) regarding pretrial conference and
                    citation fines amounts, and draft e-mails to Ms.
                    McGinnis (Residential Capital, LLC) and Mr.
                    Radke (Morgan, Lewis & Bockius LLP) regarding
                    pretrial conference, and citation fines amounts.
12/21/2012   DAW    Revise e-mails to Ms. McGinnis (Residential                   L120      0.40 hrs
                    Capital, LLC) and Mr. Radke (Morgan, Lewis &
                    Bockius LLP) reporting on pretrial conference.
12/21/2012   DAW    Review e-mails from Ms. Frohlich (Morgan, Lewis               L120      0.10 hrs
                    & Bockius LLP) regarding pretrial conference
                    report and name issues.
12/21/2012   DAW    Draft e-mails to Mr. Radke (Morgan, Lewis &                   L120      0.20 hrs
                    Bockius LLP) regarding pretrial conference report
                    and name issues.
12/21/2012   DAW    Attend pretrial conference hearing on citations.              L230      1.90 hrs




                    TOTAL FEES FOR THIS MATTER                                              $4,810.00

EXPENSES

12/04/2012          (TRIP-DAW-12/4/12) Out-of-Town Travel/Mileage (286 miles X               $157.30
                    .55) - travel to Cleveland Housing Court to attend arraignment
                    regarding tickets

12/04/2012          (TRIP-DAW-12/4/12) Out-of-Town Travel/Parking - travel to                     $7.50
                    Cleveland Housing Court to attend arraignment regarding tickets

12/21/2012          (TRIP-12/21/12) Out-of-Town Travel/Mileage (286 miles X .55)             $157.30
                    - travel to Cleveland Housing Court to attend hearing regarding
                    tickets

12/21/2012          (TRIP-12/21/12) Out-of-Town Travel/Parking- travel to                         $8.00
                    Cleveland Housing Court to attend hearing regarding tickets
     12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
 096 01183                Monthly Invoices Pg 1109 of 1163
                                                       Invoice # 52782         Page 4


                    TOTAL EXPENSES FOR THIS MATTER                                 $330.10


BILLING SUMMARY


       Wallace, David A.                   18.50 hrs   260.00 /hr    $4,810.00



    TOTAL FEES                             18.50 hrs                $4,810.00

    TOTAL EXPENSES                                                       $330.10

    TOTAL CHARGES FOR THIS INVOICE                                  $5,140.10
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27         Exhibit E
                             Monthly Invoices Pg 1110 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                      280 Plaza, Suite 1300
                                      280 North High Street
                                      Columbus, OH 43215
                                         (614) 365-4100
                                     Federal ID # XX-XXXXXXX



                                         January 25, 2013

                                                               Billed through 12/31/2012
Tammy Hamzephour                                               Invoice # 52783      JAL
Residential Capital, LLC
1100 Virginia Drive                                            Our file # 096 01184
190-FTW-L95
Fort Washington, PA 19034

Re: Ngozi Nkemere
Matter No.: 726176

PROFESSIONAL SERVICES

12/12/2012   DAW       Review e-mail from Ms. McGinnis (Residential            L120        0.10 hrs
                       Capital LLC) regarding update.



                       TOTAL FEES FOR THIS MATTER                                             $26.00


BILLING SUMMARY


         Wallace, David A.                         0.10 hrs    260.00 /hr         $26.00



     TOTAL FEES                                    0.10 hrs                      $26.00

     TOTAL CHARGES FOR THIS INVOICE                                              $26.00
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                             Monthly Invoices Pg 1111 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                           January 25, 2013

                                                                   Billed through 12/31/2012
Tammy Hamzephour                                                   Invoice # 52784      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01185
190-FTW-L95
Fort Washington, PA 19034

Re: Lisa M. Ramey
Matter No.: 726140

PROFESSIONAL SERVICES

12/07/2012   JES       Review documents to be produced to borrowers in             L320        3.00 hrs
                       discovery

12/07/2012   JES       Review documents produced by borrowers.                     L300        1.00 hrs


12/13/2012   JES       E-mail Ms. McGinnis (Residential Capital) and               L120        0.20 hrs
                       opposing counsel regarding loan modification
                       questions.
12/13/2012   JES       Finalize document production in response to                 L320        1.00 hrs
                       borrower discovery requests.

12/14/2012   JES       E-mail opposing counsel and Ms. McGinnis                    L120        0.20 hrs
                       (Residential Capital) regarding loan modification
                       payment status.
12/17/2012   JES       Review file in preparation for drafting motion for          L120        2.00 hrs
                       summary judgment.

12/17/2012   JES       Conduct case law research for use in motion for             L120        2.00 hrs
                       summary judgment.

12/18/2012   JES       Begin drafting motion for summary judgment.                 L240        4.00 hrs


12/19/2012   JES       Draft affidavit and prepare exhibits for motion for         L240        2.00 hrs
     12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27   Exhibit E
 096 01185                  Monthly Invoices Pg 1112 of 1163
                                                         Invoice # 52784       Page 2
                      summary judgment.



                      TOTAL FEES FOR THIS MATTER                                   $2,926.00


BILLING SUMMARY


       Sechler, Joel E.                      15.40 hrs   190.00 /hr    $2,926.00



    TOTAL FEES                               15.40 hrs                $2,926.00

    TOTAL CHARGES FOR THIS INVOICE                                    $2,926.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27               Exhibit E
                               Monthly Invoices Pg 1113 of 1163
                           CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                             January 25, 2013

                                                                       Billed through 12/31/2012
Tammy Hamzephour                                                       Invoice # 52785      JAL
Residential Capital, LLC
1100 Virginia Drive                                                    Our file # 096 01187
190-FTW-L95
Fort Washington, PA 19034

Re: Martha A. Richner, et al.
Matter No.: 726603

PROFESSIONAL SERVICES

12/17/2012    KMC        Review order confirming sale.                                 L110        0.10 hrs


12/17/2012    KMC        Review order distributing proceeds of sale.                   L110        0.10 hrs


12/18/2012    DAW        Review Court order of confirmation of sale and                L120        0.10 hrs
                         motion for distribution of proceeds.

12/19/2012    KMC        E-mail correspondence with Ms. McGinnis                       L110        0.20 hrs
                         (Residential Capital) regarding status of case.



                         TOTAL FEES FOR THIS MATTER                                                   $98.00


BILLING SUMMARY


           Wallace, David A.                             0.10 hrs      260.00 /hr         $26.00


           Cadieux, Karen M.                             0.40 hrs      180.00 /hr         $72.00



      TOTAL FEES                                         0.50 hrs                        $98.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27    Exhibit E
096 01187                Monthly Invoices Pg 1114 of 1163
                                                      Invoice # 52785        Page 2

   TOTAL CHARGES FOR THIS INVOICE                                       $98.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                               Monthly Invoices Pg 1115 of 1163
                           CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                             January 25, 2013

                                                                      Billed through 12/31/2012
Tammy Hamzephour                                                      Invoice # 52786      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 096 01189
190-FTW-L95
Fort Washington, PA 19034

Re: Bernard Turzynski, et al.
Matter No.: 726793

PROFESSIONAL SERVICES

12/03/2012    KMC        Telephone conference with Ms. McGinnis                       L110        0.20 hrs
                         (Residential Capital) regarding application of
                         settlement payments.
12/04/2012    KMC        Draft settlement proposal.                                   L160        0.60 hrs


12/04/2012    KMC        Draft notice of dismissal.                                   L210        0.20 hrs


12/04/2012    KMC        E-mail correspondence with Ms. McGinnis                      L110        0.20 hrs
                         (Residential Capital) regarding complaint.

12/04/2012    KMC        Telephone conference with Ms. McGinnis                       L110        0.10 hrs
                         (Residential Capital) regarding CFPB complaint.

12/04/2012    KMC        Telephone conference with Ms. McGinnis                       L160        0.20 hrs
                         (Residential Capital) regarding settlement
                         agreement.
12/04/2012    KMC        E-mail correspondence with Ms. McGinnis                      L110        0.10 hrs
                         (Residential Capital) regarding December
                         payment.
12/04/2012    KMC        Telephone conference with Ms. McGinnis                       L110        0.40 hrs
                         (Residential Capital) and Ms. Frame (Residential
                         Capital) regarding application of settlement funds.
12/06/2012    KMC        Review information regarding application of                  L110        0.10 hrs
      12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
  096 01189                Monthly Invoices Pg 1116 of 1163
                                                        Invoice # 52786         Page 2
                    reinstatement payments.

12/06/2012   KMC    Telephone conference with Ms. McGinnis               L110     0.10 hrs
                    (Residential Capital) and Ms. Frame (Residential
                    Capital) regarding payment application issues.
12/06/2012   KMC    Draft correspondence to borrowers' counsel           L110     0.40 hrs
                    regarding CFPB complaint, reinstatement,
                    December payment and credit reporting.
12/06/2012   KMC    Telephone conference with Ms. McGinnis               L110     0.10 hrs
                    (Residential Capital) regarding credit reporting.

12/10/2012   KMC    E-mail correspondence with Ms. Frame                 L110     0.20 hrs
                    (Residential Capital) regarding status of December
                    payment.
12/12/2012   KMC    Review fully executed settlement agreement.          L160     0.10 hrs


12/12/2012   KMC    Forward fully executed settlement agreement to       L160     0.10 hrs
                    borrowers' counsel.

12/17/2012   KMC    Review check for December payment.                   L110     0.10 hrs


12/17/2012   KMC    E-mail correspondence to Ms. McGinnis                L110     0.10 hrs
                    (Residential Capital) regarding December
                    payment.
12/17/2012   KMC    Forward check for December payment to Ms.            L110     0.10 hrs
                    Frame (Residential Capital) for processing.

12/20/2012   KMC    Review e-mail from Ms. Frame (Residential            L110     0.20 hrs
                    Capital) regarding escrow issues.

12/20/2012   KMC    Additional e-mail correspondence with Ms.            L110     0.30 hrs
                    McGinnis (Residential Capital) and Ms. Frame
                    (Residential Capital) regarding escrow issues.
12/21/2012   KMC    E-mail correspondence with Ms. Frame                 L110     0.20 hrs
                    (Residential Capital) regarding new escrow
                    analysis and payment application.
12/21/2012   KMC    Review e-mail correspondence from Ms. Frame          L110     0.20 hrs
                    (Residential Capital) regarding updated payment
                    after new escrow analysis.
12/31/2012   KMC    Review update escrow analysis and e-mail             L110     0.20 hrs
                    regarding payment amount being updated.
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
  096 01189                 Monthly Invoices Pg 1117 of 1163
                                                         Invoice # 52786                  Page 3
                      TOTAL FEES FOR THIS MATTER                                              $810.00

EXPENSES

12/17/2012            Delivery Service/Messengers - Federal Express to Ms. Frame,                 $14.91
                      GMAC from Ms. Cadieux

                      TOTAL EXPENSES FOR THIS MATTER                                              $14.91


BILLING SUMMARY


         Cadieux, Karen M.                         4.50 hrs    180.00 /hr           $810.00



     TOTAL FEES                                    4.50 hrs                         $810.00

     TOTAL EXPENSES                                                                  $14.91

     TOTAL CHARGES FOR THIS INVOICE                                                 $824.91
       12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                              Monthly Invoices Pg 1118 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                          January 25, 2013

                                                                     Billed through 12/31/2012
Tammy Hamzephour                                                     Invoice # 52787      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01190
190-FTW-L95
Fort Washington, PA 19034

Re: Richard J. Chang
Matter No.: 727175

PROFESSIONAL SERVICES

12/18/2012   KMC       Telephone conference with Ms. McGinnis                        L110        0.20 hrs
                       (Residential Capital) regarding settlement.



                       TOTAL FEES FOR THIS MATTER                                                   $36.00


BILLING SUMMARY


          Cadieux, Karen M.                           0.20 hrs       180.00 /hr         $36.00



     TOTAL FEES                                       0.20 hrs                         $36.00

     TOTAL CHARGES FOR THIS INVOICE                                                    $36.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27         Exhibit E
                               Monthly Invoices Pg 1119 of 1163
                         CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                          January 25, 2013

                                                                 Billed through 12/31/2012
Tammy Hamzephour                                                 Invoice # 52788      JAL
Residential Capital, LLC
1100 Virginia Drive                                              Our file # 096 01192
190-FTW-L95
Fort Washington, PA 19034

Re: Judith G. Bigelow
Matter No.: 728487

PROFESSIONAL SERVICES

12/04/2012   KMC        E-mail correspondence with borrowers' counsel            L110        0.20 hrs
                        regarding appraisal of property.

12/06/2012   KMC        E-mail correspondence with borrower's counsel            L110        0.20 hrs
                        regarding scheduling appraisal.

12/06/2012   KMC        Telephone conference with appraiser regarding            L110        0.10 hrs
                        appraisal date and time confirmed.

12/07/2012   KMC        E-mail correspondence with borrower's counsel            L110        0.20 hrs
                        regarding inspection of property.

12/07/2012   KMC        Telephone conference with appraiser regarding            L110        0.10 hrs
                        appraisal of property.

12/18/2012   KMC        Review e-mail correspondence regarding deed in           L110        0.20 hrs
                        lieu review.



                        TOTAL FEES FOR THIS MATTER                                            $180.00


BILLING SUMMARY


          Cadieux, Karen M.                          1.00 hrs    180.00 /hr        $180.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
096 01192                Monthly Invoices Pg 1120 of 1163
                                                      Invoice # 52788         Page 2



   TOTAL FEES                              1.00 hrs                     $180.00

   TOTAL CHARGES FOR THIS INVOICE                                       $180.00
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                             Monthly Invoices Pg 1121 of 1163
                          CARPENTER LIPPS & LELAND LLP

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                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                           January 25, 2013

                                                                    Billed through 12/31/2012
Tammy Hamzephour                                                    Invoice # 52789      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01197
190-FTW-L95
Fort Washington, PA 19034

Re: Michael W. Richmond
Matter No.: 729163

PROFESSIONAL SERVICES

12/18/2012   KMC       E-mail correspondence with Ms. Bishop                        L110        0.10 hrs
                       (Residential Capital) regarding appraisal.

12/19/2012   KMC       Review file and docket and draft status update.              L110        0.10 hrs




                       TOTAL FEES FOR THIS MATTER                                                  $36.00


BILLING SUMMARY


         Cadieux, Karen M.                            0.20 hrs      180.00 /hr         $36.00



     TOTAL FEES                                       0.20 hrs                        $36.00

     TOTAL CHARGES FOR THIS INVOICE                                                   $36.00
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27          Exhibit E
                              Monthly Invoices Pg 1122 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                      280 Plaza, Suite 1300
                                      280 North High Street
                                      Columbus, OH 43215
                                         (614) 365-4100
                                     Federal ID # XX-XXXXXXX



                                         January 25, 2013

                                                                 Billed through 12/31/2012
Tammy Hamzephour                                                 Invoice # 52790      JAL
Residential Capital, LLC
1100 Virginia Drive                                              Our file # 096 01198
190-FTW-L95
Fort Washington, PA 19034

Re: Nancy M. Pannell
Matter No.: 729288

PROFESSIONAL SERVICES

12/06/2012   KMC       Telephone conference with Ms. McGinnis                    L110        0.10 hrs
                       (Residential Capital) regarding payment
                       application issues.


                       TOTAL FEES FOR THIS MATTER                                               $18.00


BILLING SUMMARY


         Cadieux, Karen M.                         0.10 hrs      180.00 /hr         $18.00



     TOTAL FEES                                    0.10 hrs                        $18.00

     TOTAL CHARGES FOR THIS INVOICE                                                $18.00
      12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                             Monthly Invoices Pg 1123 of 1163
                        CARPENTER LIPPS & LELAND LLP

                                       280 Plaza, Suite 1300
                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                           January 25, 2013

                                                                   Billed through 12/31/2012
Tammy Hamzephour                                                   Invoice # 52791      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01199
190-FTW-L95
Fort Washington, PA 19034

Re: Larry Crosser
Matter No.:729410

PROFESSIONAL SERVICES

12/04/2012   DAW       Review dismissal entry.                                     L120        0.10 hrs


12/04/2012   KMC       Review agreed order of dismissal.                           L210        0.10 hrs


12/04/2012   KMC       Forward dismissal entry to Ms. McGinnis                     L210        0.10 hrs
                       (Residential Capital).

12/04/2012   KMC       Telephone conference with Ms. McGinnis                      L110        0.20 hrs
                       (Residential Capital) regarding refund of late
                       charges.
12/05/2012   KMC       Review updated account information after                    L120        0.30 hrs
                       reinstatement.

12/05/2012   KMC       Telephone conference with Ms. McGinnis                      L110        0.20 hrs
                       (Residential Capital) regarding reinstatement.

12/06/2012   KMC       Review payment history and compare to settlement            L120        0.30 hrs
                       agreement.

12/06/2012   KMC       Review Fi Serv information regarding status of              L110        0.10 hrs
                       loan account.

12/06/2012   KMC       E-mail borrower regarding late November                     L110        0.10 hrs
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27          Exhibit E
  096 01199                 Monthly Invoices Pg 1124 of 1163
                                                         Invoice # 52791              Page 2
                      payment.

12/06/2012   KMC      Telephone conference with Ms. McGinnis                   L110       0.30 hrs
                      (Residential Capital) and Ms. Frame (Residential
                      Capital) regarding payment application issues.
12/06/2012   KMC      Telephone conference with Ms. McGinnis                   L110       0.10 hrs
                      (Residential Capital) regarding credit reporting.

12/07/2012   DAW      Conference with Ms. Cadieux regarding recent             L120       0.10 hrs
                      default and lack of contact with borrower.

12/07/2012   DAW      Conference with Ms. Cadieux regarding contact            L120       0.10 hrs
                      with borrower.

12/07/2012   KMC      Attempt to contact borrowers regarding late              L120       0.30 hrs
                      November payment.

12/07/2012   KMC      Conference with Ms. McGinnis (Residential                L110       0.20 hrs
                      Capital) regarding inability to contact borrowers
                      regarding late payment.
12/07/2012   KMC      Draft correspondence to borrowers regarding late         L110       0.20 hrs
                      payment.

12/10/2012   KMC      Review e-mail regarding credit reporting being           L110       0.10 hrs
                      updated.

12/13/2012   KMC      Telephone conference with Ms. Crosser regarding          L110       0.10 hrs
                      payments.

12/14/2012   KMC      E-mail Ms. McGinnis (Residential Capital)                L110       0.10 hrs
                      regarding conference with Ms. Crosser regarding
                      November and December payments.
12/17/2012   KMC      E-mail correspondence with Ms. McGinnis                  L110       0.30 hrs
                      (Residential Capital) regarding payment issues.



                      TOTAL FEES FOR THIS MATTER                                           $636.00


BILLING SUMMARY


         Wallace, David A.                            0.30 hrs    260.00 /hr     $78.00


         Cadieux, Karen M.                            3.10 hrs    180.00 /hr    $558.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
096 01199                Monthly Invoices Pg 1125 of 1163
                                                      Invoice # 52791         Page 3


   TOTAL FEES                              3.40 hrs                     $636.00

   TOTAL CHARGES FOR THIS INVOICE                                       $636.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27          Exhibit E
                               Monthly Invoices Pg 1126 of 1163
                          CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                           January 25, 2013

                                                                  Billed through 12/31/2012
Tammy Hamzephour                                                  Invoice # 52792      JAL
Residential Capital, LLC
1100 Virginia Drive                                               Our file # 096 01202
190-FTW-L95
Fort Washington, PA 19034

Re: Kirksey Property (The City of Cleveland/ Pinkie and Maurice Kirksey)
    Case Matter No.: 729782
    Flat Fee No.: 699323
    Loan No.:

PROFESSIONAL SERVICES

12/05/2012    DAW       Telephone conference with Ms. McGinnis                    L120        0.20 hrs
                        (Residential Capital, LLC) regarding judgment and
                        case status.


                        TOTAL FEES FOR THIS MATTER                                               $52.00


BILLING SUMMARY


          Wallace, David A.                           0.20 hrs   260.00 /hr          $52.00



      TOTAL FEES                                      0.20 hrs                      $52.00

      TOTAL CHARGES FOR THIS INVOICE                                                $52.00
       12-12020-mg         Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                                  Monthly Invoices Pg 1127 of 1163
                            CARPENTER LIPPS & LELAND LLP

                                           280 Plaza, Suite 1300
                                           280 North High Street
                                           Columbus, OH 43215
                                              (614) 365-4100
                                          Federal ID # XX-XXXXXXX



                                               January 25, 2013

                                                                        Billed through 12/31/2012
Tammy Hamzephour                                                        Invoice # 52793      JAL
Residential Capital, LLC
1100 Virginia Drive                                                     Our file # 096 01203
190-FTW-L95
Fort Washington, PA 19034

Re: Caley Coleff, et al.
Matter No.: 729894

PROFESSIONAL SERVICES

12/04/2012     KMC         Review notice of disqualification of borrowers'              L110        0.10 hrs
                           counsel.

12/04/2012     KMC         Forward notice of disqualification to Ms.                    L110        0.10 hrs
                           McGinnis (Residential Capital).

12/07/2012     KMC         Prepare for status conference.                               L110        0.30 hrs


12/07/2012     KMC         Attend telephone status conference.                          L110        0.30 hrs


12/07/2012     KMC         E-mail Ms. McGinnis (Residential Capital)                    L110        0.20 hrs
                           regarding status conference and trial loan
                           modification.
12/07/2012     KMC         Telephone conference with Ms. McGinnis                       L110        0.30 hrs
                           (Residential Capital) regarding status of case and
                           strengths and weaknesses of case.
12/07/2012     KMC         Review foreclosure file to confirm evidence of               L110        0.60 hrs
                           standing.

12/07/2012     KMC         E-mail Ms. McGinnis (Residential Capital)                    L120        0.10 hrs
                           regarding evidence of standing in foreclosure case.

12/10/2012     KMC         Review e-mail from Ms. McGinnis (Residential                 L110        0.10 hrs
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27         Exhibit E
  096 01203                 Monthly Invoices Pg 1128 of 1163
                                                         Invoice # 52793             Page 2
                      Capital) regarding standing issues.

12/12/2012   DAW      Review Court's notice granting extension of             L120       0.10 hrs
                      appellants' brief.

12/12/2012   KMC      Review order extending deadline for borrower to         L110       0.10 hrs
                      file appellate brief.

12/12/2012   KMC      Review order setting deadline for borrower's brief.     L210       0.10 hrs


12/17/2012   KMC      Review order setting deadline for borrower's to file    L110       0.10 hrs
                      her appellate brief.



                      TOTAL FEES FOR THIS MATTER                                          $458.00


BILLING SUMMARY


         Wallace, David A.                           0.10 hrs    260.00 /hr     $26.00


         Cadieux, Karen M.                           2.40 hrs    180.00 /hr    $432.00



     TOTAL FEES                                      2.50 hrs                  $458.00

     TOTAL CHARGES FOR THIS INVOICE                                            $458.00
       12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27                 Exhibit E
                                Monthly Invoices Pg 1129 of 1163
                              CARPENTER LIPPS & LELAND LLP

                                             280 Plaza, Suite 1300
                                             280 North High Street
                                             Columbus, OH 43215
                                                (614) 365-4100
                                            Federal ID # XX-XXXXXXX



                                                 January 25, 2013

                                                                          Billed through 12/31/2012
Tammy Hamzephour                                                          Invoice # 52794      JAL
Residential Capital, LLC
1100 Virginia Drive                                                       Our file # 096 01207
190-FTW-L95
Fort Washington, PA 19034

Re: Orlinda Beatty, et al.
Matter No.: 730101

PROFESSIONAL SERVICES

12/05/2012     KMC           E-mail correspondence with Ms. McGinnis                      L110        0.30 hrs
                             (Residential Capital) regarding additional
                             documents needed to review for a loan
                             modification.
12/05/2012     KMC           E-mail borrowers' counsel regarding loss                     L120        0.30 hrs
                             mitigation and status of case.

12/05/2012     KMC           Telephone conference with Ms. McGinnis                       L110        0.20 hrs
                             (Residential Capital) regarding loss mitigation.

12/18/2012     KMC           E-mail correspondence with Ms. McGinnis                      L110        0.20 hrs
                             (Residential Capital) regarding loss mitigation.



                             TOTAL FEES FOR THIS MATTER                                                $180.00


BILLING SUMMARY


           Cadieux, Karen M.                                 1.00 hrs    180.00 /hr         $180.00



      TOTAL FEES                                             1.00 hrs                      $180.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
096 01207                Monthly Invoices Pg 1130 of 1163
                                                      Invoice # 52794         Page 2
   TOTAL CHARGES FOR THIS INVOICE                                       $180.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                               Monthly Invoices Pg 1131 of 1163
                            CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                            January 25, 2013

                                                                     Billed through 12/31/2012
Tammy Hamzephour                                                     Invoice # 52795      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01208
190-FTW-L95
Fort Washington, PA 19034

Re: Michael J. Schuessler
    Matter No.:730191

PROFESSIONAL SERVICES

12/05/2012    DAW       Review motion for default judgment.                          L120        0.10 hrs


12/11/2012    KMC       E-mail correspondence with Ms. McGinnis                      L110        0.20 hrs
                        (Residential Capital) regarding status of case.



                        TOTAL FEES FOR THIS MATTER                                                  $62.00


BILLING SUMMARY


          Wallace, David A.                             0.10 hrs    260.00 /hr          $26.00


          Cadieux, Karen M.                             0.20 hrs    180.00 /hr          $36.00



      TOTAL FEES                                        0.30 hrs                       $62.00

      TOTAL CHARGES FOR THIS INVOICE                                                   $62.00
       12-12020-mg        Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
                                 Monthly Invoices Pg 1132 of 1163
                           CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                              January 25, 2013

                                                                     Billed through 12/31/2012
Tammy Hamzephour                                                     Invoice # 52796      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01209
190-FTW-L95
Fort Washington, PA 19034

Re: Jesus Laboy, et al.
Matter No.: 730485

PROFESSIONAL SERVICES

12/20/2012    KMC         Review order substituting plaintiff.                       L110        0.10 hrs


12/27/2012    KMC         Review consent magistrate's order.                         L210        0.10 hrs


12/27/2012    KMC         E-mail consent entry dismissing claims against             L110        0.10 hrs
                          Homecomings to Ms. McGinnis (Residential
                          Capital).


                          TOTAL FEES FOR THIS MATTER                                                $54.00


BILLING SUMMARY


           Cadieux, Karen M.                              0.30 hrs   180.00 /hr         $54.00



      TOTAL FEES                                          0.30 hrs                     $54.00

      TOTAL CHARGES FOR THIS INVOICE                                                   $54.00
       12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                                Monthly Invoices Pg 1133 of 1163
                              CARPENTER LIPPS & LELAND LLP

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                                           280 North High Street
                                           Columbus, OH 43215
                                              (614) 365-4100
                                          Federal ID # XX-XXXXXXX



                                              January 25, 2013

                                                                      Billed through 12/31/2012
Tammy Hamzephour                                                      Invoice # 52797      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 096 01212
190-FTW-L95
Fort Washington, PA 19034

Re: Felix R. Aponte, et al.
Matter No.: 731345

PROFESSIONAL SERVICES

12/06/2012     KMC        Conference with Mr. Rhode regarding research for            L110        0.30 hrs
                          appellate brief.

12/07/2012     DAW        Review Court order granting extension to file               L120        0.10 hrs
                          reply.

12/08/2012     JDR        Review appellant brief in preparation for appellee          L520        0.40 hrs
                          response strategy.

12/08/2012     JDR        Research regarding the formation of an attorney             L520        1.40 hrs
                          client relationship for purposes of preparing
                          appellee brief.
12/08/2012     JDR        Research regarding the permissibility of adverse            L520        0.80 hrs
                          representation in the same dispute for purposes of
                          preparing appellee brief.
12/09/2012     JDR        Draft memorandum regarding attorney client                  L520        0.80 hrs
                          relationship and adverse representation in
                          preparation for appellee brief.
12/10/2012     KMC        Review memorandum regarding attorney client                 L110        0.30 hrs
                          relationship and conflicts of interest.

12/10/2012     JDR        Revise memorandum regarding attorney client                 L120        0.30 hrs
                          relationship and adverse representation in
                          preparation for appellee brief.
12/14/2012     KMC        Draft appellate brief.                                      L520        1.60 hrs
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27         Exhibit E
  096 01212                 Monthly Invoices Pg 1134 of 1163
                                                         Invoice # 52797              Page 2



12/17/2012   DAW      Review appellants' brief and case.                      L120        0.70 hrs


12/17/2012   DAW      Revise brief of appellee.                               L520        1.10 hrs


12/17/2012   KMC      Draft correspondence to clerk to obtain numbered        L110        0.10 hrs
                      docket.

12/17/2012   KMC      Research for appellate brief.                           L510        1.20 hrs


12/17/2012   KMC      Draft appellate brief.                                  L520        2.20 hrs


12/18/2012   DAW      Revise brief of appellee.                               L520        2.50 hrs


12/18/2012   KMC      Draft appellate brief.                                  L520        2.90 hrs


12/18/2012   KMC      Draft correspondence to clerk regarding obtaining       L110        0.10 hrs
                      numbered docket for trial court case.

12/18/2012   KMC      Revise appellate brief based on comments of Mr.         L110        2.80 hrs
                      Wallace.

12/19/2012   DAW      Revise brief of appellee.                               L520        3.90 hrs


12/19/2012   KMC      Revise appellate brief based on comments of Mr.         L510        4.30 hrs
                      Wallace.



                      TOTAL FEES FOR THIS MATTER                                          $5,594.00


BILLING SUMMARY


         Wallace, David A.                            8.30 hrs   260.00 /hr   $2,158.00


         Rhode, Jacob D.                              3.70 hrs   160.00 /hr    $592.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27   Exhibit E
096 01212                Monthly Invoices Pg 1135 of 1163
                                                      Invoice # 52797       Page 3
      Cadieux, Karen M.                   15.80 hrs   180.00 /hr    $2,844.00



   TOTAL FEES                             27.80 hrs                $5,594.00

   TOTAL CHARGES FOR THIS INVOICE                                  $5,594.00
       12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27               Exhibit E
                             Monthly Invoices Pg 1136 of 1163
                        CARPENTER LIPPS & LELAND LLP

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                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                           January 25, 2013

                                                                     Billed through 12/31/2012
Tammy Hamzephour                                                     Invoice # 52798      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01215
190-FTW-L95
Fort Washington, PA 19034

Re: John V. Seel


PROFESSIONAL SERVICES

12/19/2012   KMC       Review file and docket and draft status update.               L110        0.20 hrs


12/28/2012   KMC       Review first lienholder's request for relief from             L110        0.20 hrs
                       stay.

12/28/2012   KMC       E-mail Ms. McGinnis (Residential Capital)                     L110        0.10 hrs
                       regarding first lienholder's request for relief from
                       stay.


                       TOTAL FEES FOR THIS MATTER                                                   $90.00


BILLING SUMMARY


          Cadieux, Karen M.                             0.50 hrs    180.00 /hr          $90.00



     TOTAL FEES                                         0.50 hrs                       $90.00

     TOTAL CHARGES FOR THIS INVOICE                                                    $90.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                               Monthly Invoices Pg 1137 of 1163
                          CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                             January 25, 2013

                                                                      Billed through 12/31/2012
Tammy Hamzephour                                                      Invoice # 52799      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 096 01216
190-FTW-L95
Fort Washington, PA 19034

Re: Robert H. Denny, et al. (Foreclosure Action)
Matter No.: 731863

PROFESSIONAL SERVICES

12/05/2012    KMC        E-mail former counsel regarding issues related to            L160        0.10 hrs
                         settlement agreement.

12/06/2012    DAW        Review Court's order vacating stay.                          L120        0.20 hrs


12/07/2012    KMC        Telephone conference with Ms. McGinnis                       L110        0.20 hrs
                         (Residential Capital) regarding status of case.

12/07/2012    KMC        Forward order lifting stay to Ms. McGinnis                   L110        0.10 hrs
                         (Residential Capital).

12/10/2012    DAW        Review letter from Mr. Denny regarding stay issue.           L120        0.10 hrs


12/11/2012    KMC        E-mail former counsel regarding questions about              L160        0.10 hrs
                         settlement agreement in prior case.

12/19/2012    KMC        E-mail correspondence with foreclosure counsel               L110        0.10 hrs
                         regarding status of case.

12/26/2012    KMC        E-mail correspondence with prior counsel                     L110        0.20 hrs
                         regarding prior settlement terms.
     12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
 096 01216                Monthly Invoices Pg 1138 of 1163
                                                       Invoice # 52799         Page 2
                    TOTAL FEES FOR THIS MATTER                                     $222.00


BILLING SUMMARY


       Wallace, David A.                    0.30 hrs   260.00 /hr         $78.00


       Cadieux, Karen M.                    0.80 hrs   180.00 /hr        $144.00



    TOTAL FEES                              1.10 hrs                     $222.00

    TOTAL CHARGES FOR THIS INVOICE                                       $222.00
        12-12020-mg        Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
                                  Monthly Invoices Pg 1139 of 1163
                             CARPENTER LIPPS & LELAND LLP

                                           280 Plaza, Suite 1300
                                           280 North High Street
                                           Columbus, OH 43215
                                              (614) 365-4100
                                          Federal ID # XX-XXXXXXX



                                              January 25, 2013

                                                                      Billed through 12/31/2012
Tammy Hamzephour                                                      Invoice # 52800      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 096 01220
190-FTW-L95
Fort Washington, PA 19034

Re: Robert C. Luft, Jr., et al.
Matter No.: 733433

PROFESSIONAL SERVICES

12/19/2012     KMC         Review file and docket and draft status update.            L110        0.30 hrs




                           TOTAL FEES FOR THIS MATTER                                                $54.00


BILLING SUMMARY


           Cadieux, Karen M.                              0.30 hrs    180.00 /hr         $54.00



      TOTAL FEES                                          0.30 hrs                      $54.00

      TOTAL CHARGES FOR THIS INVOICE                                                    $54.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                               Monthly Invoices Pg 1140 of 1163
                          CARPENTER LIPPS & LELAND LLP

                                        280 Plaza, Suite 1300
                                        280 North High Street
                                        Columbus, OH 43215
                                           (614) 365-4100
                                       Federal ID # XX-XXXXXXX



                                            January 25, 2013

                                                                     Billed through 12/31/2012
Tammy Hamzephour                                                     Invoice # 52801      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01222
190-FTW-L95
Fort Washington, PA 19034

Re: John M. Wysocki, et al.
Matter No.: 733461

PROFESSIONAL SERVICES

12/04/2012    KMC       E-mail correspondence with first lienholder's                L110        0.30 hrs
                        counsel regarding relief from stay.

12/05/2012    DAW       Review notice of substitution of counsel.                    L120        0.10 hrs


12/05/2012    KMC       Review notice of bankruptcy filed by borrowers.              L210        0.10 hrs


12/05/2012    KMC       Review docket to determine status of case.                   L110        0.10 hrs


12/05/2012    KMC       E-mail counsel for first lien holder regarding               L110        0.20 hrs
                        vacating judgment entered in violation of
                        bankruptcy stay.
12/06/2012    KMC       Review docket to determine status of case.                   L110        0.10 hrs


12/06/2012    KMC       Draft notice of appearance.                                  L210        0.10 hrs


12/06/2012    KMC       E-mail foreclosure counsel regarding vacating                L110        0.20 hrs
                        judgment.

12/11/2012    KMC       Review motion to vacate judgment.                            L210        0.10 hrs
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27       Exhibit E
  096 01222                 Monthly Invoices Pg 1141 of 1163
                                                         Invoice # 52801           Page 2



12/11/2012   KMC      Review Chapter 13 plan.                               L110       0.10 hrs


12/12/2012   DAW      Review motion to vacate and order vacating            L120       0.10 hrs
                      judgment.

12/14/2012   KMC      Review e-mail correspondence regarding                L110       0.10 hrs
                      bankruptcy issues.

12/17/2012   KMC      Review motion to vacate judgment and order            L210       0.20 hrs
                      granting it.



                      TOTAL FEES FOR THIS MATTER                                        $340.00


BILLING SUMMARY


         Wallace, David A.                         0.20 hrs    260.00 /hr     $52.00


         Cadieux, Karen M.                         1.60 hrs    180.00 /hr    $288.00



     TOTAL FEES                                    1.80 hrs                  $340.00

     TOTAL CHARGES FOR THIS INVOICE                                          $340.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                               Monthly Invoices Pg 1142 of 1163
                           CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                            January 25, 2013

                                                                    Billed through 12/31/2012
Tammy Hamzephour                                                    Invoice # 52802      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01223
190-FTW-L95
Fort Washington, PA 19034

Re: Christopher C. Dubay et, al.


PROFESSIONAL SERVICES

12/28/2012    KMC        Telephone conference with borrower's counsel               L110        0.30 hrs
                         regarding status of submitting assumption packet.

12/28/2012    KMC        Telephone conference with borrowers' counsel               L110        0.20 hrs
                         regarding assumption package.

12/28/2012    KMC        Forward assumption package to borrowers'                   L110        0.20 hrs
                         counsel.



                         TOTAL FEES FOR THIS MATTER                                              $126.00


BILLING SUMMARY


          Cadieux, Karen M.                            0.70 hrs     180.00 /hr        $126.00



      TOTAL FEES                                       0.70 hrs                      $126.00

      TOTAL CHARGES FOR THIS INVOICE                                                 $126.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                               Monthly Invoices Pg 1143 of 1163
                           CARPENTER LIPPS & LELAND LLP

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                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                            January 25, 2013

                                                                    Billed through 12/31/2012
Tammy Hamzephour                                                    Invoice # 52803      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01224
190-FTW-L95
Fort Washington, PA 19034

Re: Ronald E. Saunders, et al.
Matter No.: 733731

PROFESSIONAL SERVICES

12/07/2012    KMC        E-mail correspondence with Ms. Napoli                      L110        0.10 hrs
                         (Residential Capital) regarding obtaining updated
                         payment history and contact history.
12/07/2012    KMC        Review updated payment history and contact                 L110        0.10 hrs
                         history.

12/19/2012    KMC        Review file and docket and draft status update.            L110        0.40 hrs




                         TOTAL FEES FOR THIS MATTER                                              $108.00


BILLING SUMMARY


           Cadieux, Karen M.                            0.60 hrs    180.00 /hr        $108.00



      TOTAL FEES                                        0.60 hrs                     $108.00

      TOTAL CHARGES FOR THIS INVOICE                                                 $108.00
       12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                              Monthly Invoices Pg 1144 of 1163
                         CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                            January 25, 2013

                                                                     Billed through 12/31/2012
Tammy Hamzephour                                                     Invoice # 52804      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01225
190-FTW-L95
Fort Washington, PA 19034

Re: Gene Bucnaventura McKinley, et al.
Matter No.: 734068

PROFESSIONAL SERVICES

12/03/2012   DAW        Review Court's cost notice.                                  L120        0.10 hrs


12/19/2012   KMC        Review file and docket and draft status update.              L110        0.30 hrs


12/21/2012   KMC        Review answer of Mr. McKinley.                               L110        0.10 hrs


12/21/2012   KMC        Review answer of Mr. McKinley (borrower).                    L110        0.20 hrs


12/21/2012   KMC        E-mail correspondence with Ms. McGinnis                      L110        0.20 hrs
                        (Residential Capital) regarding status of case.

12/28/2012   KMC        Leave message for counsel for borrower regarding             L110        0.10 hrs
                        loss mitigation.



                        TOTAL FEES FOR THIS MATTER                                                $188.00


BILLING SUMMARY


          Wallace, David A.                             0.10 hrs    260.00 /hr          $26.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
096 01225                Monthly Invoices Pg 1145 of 1163
                                                      Invoice # 52804         Page 2


      Cadieux, Karen M.                    0.90 hrs   180.00 /hr        $162.00



   TOTAL FEES                              1.00 hrs                     $188.00

   TOTAL CHARGES FOR THIS INVOICE                                       $188.00
       12-12020-mg     Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                              Monthly Invoices Pg 1146 of 1163
                            CARPENTER LIPPS & LELAND LLP

                                           280 Plaza, Suite 1300
                                           280 North High Street
                                           Columbus, OH 43215
                                              (614) 365-4100
                                          Federal ID # XX-XXXXXXX



                                              January 25, 2013

                                                                    Billed through 12/31/2012
Tammy Hamzephour                                                    Invoice # 52805      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01226
190-FTW-L95
Fort Washington, PA 19034

Re: Amy Jo Abner, et al.
    Matter No.: 733680

PROFESSIONAL SERVICES

12/03/2012    KMC          Review notice to pay costs.                              L110        0.10 hrs


12/18/2012    DAW          Review e-mails regarding status.                         L120        0.10 hrs


12/18/2012    KMC          Review fact package.                                     L110        0.20 hrs


12/18/2012    KMC          E-mail notice of bankruptcy to Ms. McWilliams            L110        0.10 hrs
                           (Residential Capital).



                           TOTAL FEES FOR THIS MATTER                                              $98.00


BILLING SUMMARY


          Wallace, David A.                              0.10 hrs   260.00 /hr         $26.00


          Cadieux, Karen M.                              0.40 hrs   180.00 /hr         $72.00



      TOTAL FEES                                         0.50 hrs                     $98.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27    Exhibit E
096 01226                Monthly Invoices Pg 1147 of 1163
                                                      Invoice # 52805        Page 2

   TOTAL CHARGES FOR THIS INVOICE                                       $98.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                               Monthly Invoices Pg 1148 of 1163
                           CARPENTER LIPPS & LELAND LLP

                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                            January 25, 2013

                                                                     Billed through 12/31/2012
Tammy Hamzephour                                                     Invoice # 52806      JAL
Residential Capital, LLC
1100 Virginia Drive                                                  Our file # 096 01227
190-FTW-L95
Fort Washington, PA 19034

Re: Charles M. Lawler, et al.
    Matter No.: 734516

PROFESSIONAL SERVICES

12/13/2012    DAW        Conference with Ms. Cadieux regarding answer                L120        0.30 hrs
                         and case issues.

12/13/2012    KMC        Draft answer for MERS.                                      L210        1.10 hrs


12/13/2012    KMC        Research regarding intervention.                            L120        0.60 hrs


12/13/2012    KMC        Draft motion to intervene.                                  L110        1.10 hrs


12/14/2012    DAW        Revise answer to complaint.                                 L210        0.30 hrs


12/14/2012    DAW        Conference with Ms. Cadieux regarding default               L120        0.40 hrs
                         and cross-claim issues, and intervention.

12/14/2012    DAW        Revise answer to complaint by MERS.                         L210        0.30 hrs


12/14/2012    DAW        Revise answer to complaint by Residential                   L210        0.30 hrs
                         Funding Corporation.

12/14/2012    DAW        Revise motion to intervene.                                 L250        0.50 hrs
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27         Exhibit E
  096 01227                 Monthly Invoices Pg 1149 of 1163
                                                         Invoice # 52806              Page 2


12/14/2012   KMC      Draft answer for RFC.                                   L210        1.10 hrs


12/14/2012   KMC      Telephone conference with Ms. McGinnis                  L110        0.30 hrs
                      (Residential Capital) regarding amount owed and
                      whether to file a cross-claim.
12/14/2012   KMC      E-mail correspondence with Ms. Napoli                   L110        0.10 hrs
                      (Residential Capital) regarding FiServ information.

12/14/2012   KMC      Revise motion to intervene based on comments of         L210        0.90 hrs
                      Mr. Wallace and prepare for filing and service.

12/14/2012   KMC      Revise answer for MERS based on comments of             L210        0.30 hrs
                      Mr. Wallace and prepare for filing and service.

12/14/2012   KMC      Revise answer for RFC based on comments of Mr.          L210        0.30 hrs
                      Wallace and prepare for filing and service.

12/14/2012   KMC      Draft proposed order granting motion to intervene.      L210        0.20 hrs


12/27/2012   DAW      Review answer filed by defendant Lawler.                L120        0.10 hrs


12/27/2012   DAW      Review Court order regarding intervention and           L120        0.10 hrs
                      leave to answer.

12/27/2012   KMC      Review motion to intervene and answer.                  L210        0.20 hrs


12/27/2012   KMC      Review borrower's answer.                               L210        0.10 hrs




                      TOTAL FEES FOR THIS MATTER                                          $1,732.00


BILLING SUMMARY


         Wallace, David A.                           2.30 hrs    260.00 /hr    $598.00


         Cadieux, Karen M.                           6.30 hrs    180.00 /hr   $1,134.00
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27   Exhibit E
096 01227                Monthly Invoices Pg 1150 of 1163
                                                      Invoice # 52806       Page 3
   TOTAL FEES                              8.60 hrs                $1,732.00

   TOTAL CHARGES FOR THIS INVOICE                                  $1,732.00
       12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27               Exhibit E
                                Monthly Invoices Pg 1151 of 1163
                              CARPENTER LIPPS & LELAND LLP

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                                           Columbus, OH 43215
                                              (614) 365-4100
                                          Federal ID # XX-XXXXXXX



                                             January 25, 2013

                                                                        Billed through 12/31/2012
Tammy Hamzephour                                                        Invoice # 52807      JAL
Residential Capital, LLC
1100 Virginia Drive                                                     Our file # 096 01228
190-FTW-L95
Fort Washington, PA 19034

Re: Robert J. Baker, et al.
Matter No.: 734671

PROFESSIONAL SERVICES

12/10/2012     DAW        Conference with Ms. Cadieux regarding answer                  L120        0.20 hrs
                          and case issues.

12/10/2012     RBS        Prepare exhibits for Ms. Cadieux.                             L310        0.20 hrs


12/10/2012     KMC        Draft answer.                                                 L210        1.30 hrs


12/10/2012     KMC        Review docket to determine status of case.                    L110        0.10 hrs


12/12/2012     DAW        Revise answer of MERS.                                        L210        0.40 hrs


12/12/2012     KMC        Revise answer based on comments of Mr. Wallace.               L210        0.90 hrs


12/14/2012     KMC        Review additional service documents for Deutsche              L110        0.20 hrs
                          Bank and MERS.

12/14/2012     KMC        Research regarding other liens on property.                   L110        0.20 hrs


12/14/2012     KMC        Draft correspondence to Ms. McGinnis                          L110        0.20 hrs
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
  096 01228                 Monthly Invoices Pg 1152 of 1163
                                                         Invoice # 52807                 Page 2
                      (Residential Capital) regarding researching
                      Deutsche Bank loan.
12/14/2012   KMC      Draft amended answer.                                      L210        0.30 hrs


12/17/2012   KMC      Draft amended answer.                                      L210        0.20 hrs


12/27/2012   KMC      Review e-mail regarding borrowers contacting               L110        0.10 hrs
                      GMACM.

12/27/2012   KMC      Review prior loss mitigation paperwork.                    L110        0.40 hrs


12/27/2012   KMC      Telephone conference with Ms. McGinnis                     L110        0.20 hrs
                      (Residential Capital) regarding loss mitigation.

12/27/2012   KMC      Telephone conference with counsel for borrowers            L110        0.30 hrs
                      regarding loss mitigation.

12/28/2012   KMC      Review updated docket.                                     L110        0.20 hrs


12/28/2012   KMC      E-mail Ms. McGinnis (Residential Capital)                  L110        0.10 hrs
                      regarding service on Deutsche Bank and whether
                      GMACM services a loan for Deutsche Bank.


                      TOTAL FEES FOR THIS MATTER                                             $1,017.00


BILLING SUMMARY


         Wallace, David A.                            0.60 hrs      260.00 /hr     $156.00


         Cadieux, Karen M.                            4.70 hrs      180.00 /hr     $846.00


         Samson, Robert B.                            0.20 hrs       75.00 /hr      $15.00



     TOTAL FEES                                       5.50 hrs                   $1,017.00

     TOTAL CHARGES FOR THIS INVOICE                                              $1,017.00
      12-12020-mg        Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27           Exhibit E
                                Monthly Invoices Pg 1153 of 1163
                          CARPENTER LIPPS & LELAND LLP

                                          280 Plaza, Suite 1300
                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                             January 25, 2013

                                                                    Billed through 12/31/2012
Tammy Hamzephour                                                    Invoice # 52808      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01229
190-FTW-L95
Fort Washington, PA 19034

Re: Mae Huggins
    Matter No.: 735091

PROFESSIONAL SERVICES

12/07/2012   KMC         Telephone conference with Ms. McGinnis                     L110        0.20 hrs
                         (Residential Capital) regarding case and how to
                         proceed.
12/07/2012   KMC         Review complaint.                                          L110        0.20 hrs


12/07/2012   KMC         Review general FiServ information.                         L110        0.10 hrs


12/09/2012   DAW         Review complaint and additional documents, and             L120        0.50 hrs
                         determine service date.

12/10/2012   KMC         Calculate answer date.                                     L110        0.10 hrs


12/28/2012   KMC         Draft answer.                                              L110        0.80 hrs


12/28/2012   KMC         Review payment history.                                    L110        0.20 hrs


12/28/2012   KMC         E-mail Ms. Napoli (Residential Capital) regarding          L110        0.10 hrs
                         current amount owed.

12/28/2012   KMC         E-mail to Mr. Samson regarding preparing exhibits          L110        0.10 hrs
      12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27        Exhibit E
  096 01229                 Monthly Invoices Pg 1154 of 1163
                                                         Invoice # 52808            Page 2
                      to answer.

12/31/2012   RBS      Prepare exhibits for answer for Ms. Cadieux.           L310       0.20 hrs




                      TOTAL FEES FOR THIS MATTER                                         $469.00


BILLING SUMMARY


         Wallace, David A.                          0.50 hrs    260.00 /hr    $130.00


         Cadieux, Karen M.                          1.80 hrs    180.00 /hr    $324.00


         Samson, Robert B.                          0.20 hrs     75.00 /hr     $15.00



     TOTAL FEES                                     2.50 hrs                  $469.00

     TOTAL CHARGES FOR THIS INVOICE                                           $469.00
       12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27            Exhibit E
                               Monthly Invoices Pg 1155 of 1163
                             CARPENTER LIPPS & LELAND LLP

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                                         280 North High Street
                                         Columbus, OH 43215
                                            (614) 365-4100
                                        Federal ID # XX-XXXXXXX



                                            January 25, 2013

                                                                    Billed through 12/31/2012
Tammy Hamzephour                                                    Invoice # 52809      JAL
Residential Capital, LLC
1100 Virginia Drive                                                 Our file # 096 01230
190-FTW-L95
Fort Washington, PA 19034

Re: Christine M. Falkosky


PROFESSIONAL SERVICES

12/14/2012   JES         Draft notice of bankruptcy and automatic stay.             L120        1.00 hrs




                         TOTAL FEES FOR THIS MATTER                                              $190.00


BILLING SUMMARY


          Sechler, Joel E.                             1.00 hrs    190.00 /hr         $190.00



     TOTAL FEES                                        1.00 hrs                      $190.00

     TOTAL CHARGES FOR THIS INVOICE                                                  $190.00
       12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                                Monthly Invoices Pg 1156 of 1163
                           CARPENTER LIPPS & LELAND LLP

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                                          280 North High Street
                                          Columbus, OH 43215
                                             (614) 365-4100
                                         Federal ID # XX-XXXXXXX



                                             January 25, 2013

                                                                      Billed through 12/31/2012
Tammy Hamzephour                                                      Invoice # 52810      JAL
Residential Capital, LLC
1100 Virginia Drive                                                   Our file # 096 01231
190-FTW-L95
Fort Washington, PA 19034

Re: Robert S. Dinkins, et al.
Matter No.: 735559

PROFESSIONAL SERVICES

12/21/2012     DAW        Review e-mail regarding new case assignment                 L120        0.10 hrs
                          from Ms. McGinnis (Residential Capital, LLC).

12/21/2012     DAW        Telephone conference with Ms. McGinnis                      L120        0.10 hrs
                          (Residential Capital, LLC) regarding background
                          of new case.
12/21/2012     KMC        Review answer to counterclaim.                              L110        0.10 hrs


12/21/2012     KMC        Determine reply due date.                                   L110        0.10 hrs


12/21/2012     KMC        Telephone conference with Ms. McGinnis                      L110        0.10 hrs
                          (Residential Capital) regarding new case.

12/21/2012     KMC        Review foreclosure file.                                    L110        0.30 hrs


12/21/2012     KMC        Review counterclaim                                         L110        0.20 hrs


12/28/2012     KMC        Attention to docketing reply due date.                      L110        0.10 hrs
     12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
 096 01231                Monthly Invoices Pg 1157 of 1163
                                                       Invoice # 52810         Page 2
                    TOTAL FEES FOR THIS MATTER                                     $214.00


BILLING SUMMARY


       Wallace, David A.                    0.20 hrs   260.00 /hr         $52.00


       Cadieux, Karen M.                    0.90 hrs   180.00 /hr        $162.00



    TOTAL FEES                              1.10 hrs                     $214.00

    TOTAL CHARGES FOR THIS INVOICE                                       $214.00
       12-12020-mg    Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27             Exhibit E
                             Monthly Invoices Pg 1158 of 1163
                        CARPENTER LIPPS & LELAND LLP

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                                       280 North High Street
                                       Columbus, OH 43215
                                          (614) 365-4100
                                      Federal ID # XX-XXXXXXX



                                          January 25, 2013

                                                                   Billed through 12/31/2012
Tammy Hamzephour                                                   Invoice # 52811      JAL
Residential Capital, LLC
1100 Virginia Drive                                                Our file # 096 01232
190-FTW-L95
Fort Washington, PA 19034

Re: Dale R. Earl


PROFESSIONAL SERVICES

12/21/2012   DAW       Review e-mail regarding new case assignment                 L120        0.10 hrs
                       from Ms. McGinnis (Residential Capital, LLC).

12/21/2012   DAW       Telephone conference with Ms. McGinnis                      L120        0.10 hrs
                       (Residential Capital, LLC) regarding background
                       of new case.
12/21/2012   DAW       Conference with Mr. Sechler regarding initial case          L120        0.20 hrs
                       review and strategy.

12/21/2012   JES       Review file in new matter to prepare strategy.              L120        1.00 hrs


12/21/2012   JES       Telephone conference with Mr. Wallace and Ms.               L120        0.50 hrs
                       McGinnis (Residential Capital) regarding strategy
                       in new matter.
12/21/2012   JES       Draft motion of extension of time and proposed              L120        0.50 hrs
                       order granting same.

12/21/2012   KMC       Review new case documents.                                  L110        0.30 hrs




                       TOTAL FEES FOR THIS MATTER                                               $538.00
      12-12020-mg      Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
  096 01232                   Monthly Invoices Pg 1159 of 1163
                                                           Invoice # 52811                  Page 2

EXPENSES

12/21/2012              Delivery Service/Messengers - Federal Express to Columbiana                 $16.28
                        County Clerk from Mr. Sechler

                        TOTAL EXPENSES FOR THIS MATTER                                              $16.28


BILLING SUMMARY


         Wallace, David A.                           0.40 hrs   260.00 /hr            $104.00


         Sechler, Joel E.                            2.00 hrs   190.00 /hr            $380.00


         Cadieux, Karen M.                           0.30 hrs   180.00 /hr             $54.00



     TOTAL FEES                                      2.70 hrs                         $538.00

     TOTAL EXPENSES                                                                    $16.28

     TOTAL CHARGES FOR THIS INVOICE                                                   $554.28
        12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27              Exhibit E
                                 Monthly Invoices Pg 1160 of 1163
                            CARPENTER LIPPS & LELAND LLP

                                           280 Plaza, Suite 1300
                                           280 North High Street
                                           Columbus, OH 43215
                                              (614) 365-4100
                                          Federal ID # XX-XXXXXXX



                                              January 25, 2013

                                                                        Billed through 12/31/2012
Tammy Hamzephour                                                        Invoice # 52812      JAL
Residential Capital, LLC
1100 Virginia Drive                                                     Our file # 096 01233
190-FTW-L95
Fort Washington, PA 19034

Re: John T. Walker, III, et al.


PROFESSIONAL SERVICES

12/21/2012     KMC         E-mail correspondence with Ms. McGinnis                      L110        0.10 hrs
                           (Residential Capital) regarding new case.

12/26/2012     KMC         Review counterclaim and other initial case                   L110        0.40 hrs
                           documents.

12/26/2012     KMC         E-mail correspondence with Ms. McGinnis                      L110        0.20 hrs
                           (Residential Capital) regarding new case.

12/27/2012     DAW         Review e-mail regarding new case assignment                  L120        0.10 hrs
                           from Ms. McGinnis (Residential Capital, LLC).

12/27/2012     DAW         Review pleadings and case materials.                         L120        0.30 hrs


12/28/2012     KMC         Attention to docketing reply due date.                       L110        0.10 hrs


12/28/2012     KMC         Review pay history and contact history.                      L110        0.30 hrs




                          TOTAL FEES FOR THIS MATTER                                                 $302.00


BILLING SUMMARY
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
096 01233                Monthly Invoices Pg 1161 of 1163
                                                      Invoice # 52812         Page 2



      Wallace, David A.                    0.40 hrs   260.00 /hr        $104.00


      Cadieux, Karen M.                    1.10 hrs   180.00 /hr        $198.00



   TOTAL FEES                              1.50 hrs                     $302.00

   TOTAL CHARGES FOR THIS INVOICE                                       $302.00
        12-12020-mg       Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27                Exhibit E
                                 Monthly Invoices Pg 1162 of 1163
                               CARPENTER LIPPS & LELAND LLP

                                              280 Plaza, Suite 1300
                                              280 North High Street
                                              Columbus, OH 43215
                                                 (614) 365-4100
                                             Federal ID # XX-XXXXXXX



                                                  January 25, 2013

                                                                          Billed through 12/31/2012
Tammy Hamzephour                                                          Invoice # 52813      JAL
Residential Capital, LLC
1100 Virginia Drive                                                       Our file # 096 01234
190-FTW-L95
Fort Washington, PA 19034

Re: Kellie J. Boyer, et al.


PROFESSIONAL SERVICES

12/31/2012     DAW            Review e-mail regarding new case assignment.                L120        0.10 hrs


12/31/2012     DAW            Review complaint, note, mortgage, and answer.               L120        0.20 hrs


12/31/2012     KMC            Review complaint.                                           L110        0.30 hrs


12/31/2012     KMC            Attention to doing conflict check.                          L110        0.10 hrs


12/31/2012     KMC            Telephone conference with Ms. McGinnis                      L110        0.30 hrs
                              (Residential Capital) regarding new case.

12/31/2012     KMC            Review payment history and contact notes.                   L110        0.60 hrs


12/31/2012     KMC            Review assignment, RPO, note and mortgage.                  L110        0.30 hrs




                              TOTAL FEES FOR THIS MATTER                                               $366.00


BILLING SUMMARY
    12-12020-mg   Doc 3174-5 Filed 03/14/13 Entered 03/14/13 13:15:27     Exhibit E
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      Wallace, David A.                    0.30 hrs   260.00 /hr         $78.00


      Cadieux, Karen M.                    1.60 hrs   180.00 /hr        $288.00



   TOTAL FEES                              1.90 hrs                     $366.00

   TOTAL CHARGES FOR THIS INVOICE                                       $366.00
